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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEW JERSEY

     In re:                                                       Chapter 11

     LTL MANAGEMENT LLC,1                                         Case No. 21-30589 (MBK)

                      Debtor.



     LTL MANAGEMENT LLC,

               Plaintiff,

     v.                                                           Adv. No.: 21-03032 (MBK)

     THOSE PARTIES LISTED ON
     APPENDIX A TO COMPLAINT
     and JOHN AND JANE DOES 1-1000,

               Defendants.                                        Ref. Docket No. 170


                                         AFFIDAVIT OF SERVICE

 STATE OF NEW YORK  )
                    ) ss.:
 COUNTY OF NEW YORK )

 PANAGIOTA MANATAKIS, being duly sworn, deposes and says:

 1. I am employed as a Senior Case Manager by Epiq Corporate Restructuring, LLC, located at
    777 Third Avenue, New York, New York 10017. I am over the age of eighteen years and am
    not a party to the above-captioned action.

 2. I caused to be served the following:

          a. “Notice of Agenda of Matters Scheduled for Hearing February 14 Through February 18,
             2022 at 9:00 A.M.,” dated February 10, 2022 [Docket No. 170], (the “Agenda”), and




 1
  The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
 501 George Street, New Brunswick, New Jersey 08933.
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     b. Personalized slip sheet indicating a consolidated affected party list, sent to the attention
        of one unique mailing address, a sample of which is annexed hereto as Exhibit A, (the
        “Slip-Sheet”),

 by causing true and correct copies of the:

    i.   Agenda to be enclosed securely in separate postage pre-paid envelopes and delivered via
         first class mail to those parties listed on the annexed Exhibit B, on February 10, 2022,

   ii.   Agenda to be delivered via electronic mail to those parties listed on the annexed Exhibit
         C, on February 10, 2022,

  iii.   Agenda to be enclosed securely in separate postage pre-paid envelopes and delivered via
         first class mail to those parties listed on the annexed Exhibit D, on February 11, 2022,
         and

  iv.    Agenda and Slip-Sheet to be enclosed securely in separate postage pre-paid envelopes
         and delivered via first class mail to those 105 law firms on the annexed Exhibit E, who
         represent multiple creditors included and listed on Exhibit F, on February 11, 2022.

 3. All envelopes utilized in the service of the foregoing contained the following legend:
    LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
    ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                                     /s/ Panagiota Manatakis
                                                                     Panagiota Manatakis
  Sworn to before me this
  15th day of February, 2022
  /s/ Cassandra Murray
  Notary Public, State of New York
  No. 01MU6220179
  Qualified in Queens County
  Commission Expires April 12, 2022
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    Epiq Corporate Restructuring, LLC                        Legal Documents Enclosed
    PO BOX 4470                                              Please direct to the attention
    Beaverton, OR 97076-4470                                 of the Addressee,
    Address Service Requested                                Legal Department or President


    LLC DI 170 HH4 02-11-2022 (CREDITOR,CREDNUM) 1000047410

    BAR(23) MAIL ID *** 000203775702 ***



    %"$!)'!#'"#&"*%" '#%)#%)# % & %& " '!)-%& & %" '-)!)%#& %)'!')!1
    SALKOW LAW, APC
    1540 7TH STREET, SUITE 206
    SALKOW, RICHARD
    SANTA MONICA, CA 90401




        YOU ARE BEING SERVED ON BEHALF OF THE
          NOTICE PARTIES ENCLOSED WITH THIS
                    DOCUMENT(S).




Group ID: HH4, 2
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Claim Name                       Address Information
AHLBIN, DIANA                   SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
ALTRINGER, REBECCA              SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
BARRETTE, DIANE                 SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
BERDUE, DARLENE                 SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
CASTRO, KERIJANE                SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
COOK, KYNDA                     SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
DELGADO, REBECCA                SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
FAHIMI, SOLMAZ                  SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
FITZHUGH, ANTONIA               SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
FRAUSTO, BEATRIZ                SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
FRIEND, DARLENE                 SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
GRIJALVA, LAUREN                SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
HARGROVE, TONI                  SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
HOLMES, MERIDITH                SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
HOWARD, BERTHA                  SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
ITURRERIA, SUSAN                SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
JACQUEZ, NANCY                  SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
JOHNSON, CONSTANCE              SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
JONES, MONA                     SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
KERP, SUSAN                     SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
LANGLEY, LISA                   SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
LAVENDER, KAREN                 SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
MADDEN, KAREEN                  SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
MAITLAND, ELOISE                SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
MCLEAN, JILL                    SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
MEIER, CYNTHIA                  SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
MILLER, ROBIN                   SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA



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Claim Name                       Address Information
MILLER, ROBIN                   90401
NATTRESS, INGE                  SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
PAN, LILING                     SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
POWELL, NANCY                   SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
RANSOM, SHEILA                  SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
ROCKS, PAMELA                   SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
SALKOW LAW, APC                 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA 90401
SAN FILIPPO, SARAH              SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
SILVA, RENEE                    SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
SIMMONS, CARRIE                 SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
STEENS, LA RAYNE                SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
STOCKTON, TAMALYN               SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
TORIBIO, LEILANI                SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
VAI, STEPHANIE                  SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
VARR, LESLIE                    SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
WEDLICK-ORTIZ, ELLEN            SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
WOLF, SUSIE                     SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401




                         Total Creditor count 43




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                                               LTL Management LLC
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Claim Name                               Address Information
ARNOLD & ITKIN LLP                      ATTN KURT B ARNOLD, CAJ BOATRIGHT, ROLAND CHRISTENSEN & JASON ITKIN 6009
                                        MEMORIAL DRIVE HOUSTON TX 77007
ASHCRAFT & GEREL, LLP                   ATTN MICHELLE PARFITT, JAMES F. GREEN & PATRICK LYONS 1825 K STREET, NW, STE
                                        70 WASHINGTON DC 20006
AYLSTOCK WITKIN KREIS &                 OVERHOLTZ PLLC; ATN MARY PUTNICK & DANIEL THORNBURGH 17 E MAIN ST, STE 200; PO
                                        BOX 12630 PENSACOLA FL 32502
BAILEY & GLASSER LLP                    (COUNSEL TO OFFICIAL COMITTEE TALC CLAIMANTS) ATTN: CARY JOSHI 1055 THOMAS
                                        JEFFERSON ST NW STE 540 WASHINGTON DC 20007
BALLARD SPAHR LLP                       (COUNSEL ALBERTSONS COMPANIES, INC) ATTN: TOBEY M. DALUZ, LESLIE C. HEILMAN,
                                        LAUREL D. ROGLEN 919 N. MARKET STREET, 11TH FLOOR WILMINGTON DE 19801
BARNES FIRM                             ATTN JOE VAZQUEZ 420 LEXINGTON AVE, STE 2140 NEW YORK NY 10170
BEASLEY ALLEN LAW FIRM                  ATTN: CHARLIE STERN & LEIGH O'DELL 218 COMMERCE ST PO BOX 4160 MONTGOMERY AL
                                        36104
BLANCO TACKABERY & MATAMOROS, P.A.      (COUNSEL TO IMERYS TALC AMERICA, INC) ATTN: ASHLEY S. RUSHER 404 NORTH
                                        MARSHALL ST WINSTON-SALEM NC 27101
BROWN RUDNICK LLP                       (COUNSEL TO OFFICIAL COMMITTEE OF TALC CLAIMANTS) ATTN: DAVID J. MOLTON &
                                        ROBERT J. STARK SEVEN TIMES SQUARE NEW YORK NY 10036
BROWN RUDNICK LLP                       (CO-COUNSEL TO THE COMMITTEE OF TALC CLAIMANTS) ATTN SUNNI P. BEVILLE ONE
                                        FINANCIAL CENTER BOSTON MA 02111
BURNS CHAREST LLP                       (COUNSEL TO PLAINTIFFS STEERING COMMITTEE) ATTN: DANIEL H CHAREST 900 JACKSON
                                        STREET, SUITE 500 DALLAS TX 75202
CELLINO LAW LLP                         ATTN BRIAN GOLDSTEIN 800 DELAWARE AVE BUFFALO NY 14209
CLYDE & CO US LLP                       (COUNSEL TO THE CONTINENTAL INS CO) ATTN: KONRAD R. KREBS 200 CAMPUS DR, STE
                                        300 FLORHAM PARK NJ 07932
CLYDE AND CO US LLP                     (COUNSEL TO THE CONTINENTAL INSURANCE COMPANY) ATTN: CLINTON E. CAMERON,
                                        MEGHAN DALTON 55 WEST MONROE ST, STE 3000 CHICAGO IL 60603
COHEN, PLACITELLA & ROTH, P.C.          ATTN DENNIS M. GEIER & CHRISTOPHER M. PLACITELLA 127 MAPLE AVE RED BANK NJ
                                        07701
COHEN, PLACITELLA & ROTH, P.C.          ATTN JARED M. PLACITELLA 2001 MARKET ST, SUITE 2900 PHILADELPHIA PA 19103
COLE SCHOTZ P.C.                        (COUNSEL TO CLAIMANTS REPRESENTED BY BARNES LAW) ATTN: FELICE R. YUDKIN 25
                                        MAIN ST, P.O. BOX 800 HACKENSACK NJ 07602-0800
COLE SCHOTZ P.C.                        (COUNSEL TO CLAIMANTS REPRESENTED BY BARNES LAW) ATTN: MARK TSUKERMAN 1325
                                        AVENUE OF THE AMERICAS 19TH FLOOR NEW YORK NY 10019-6079
COOLEY LLP                              (COUNSEL TO OFFICIAL COMMITTEE OF TALC CLAIMANTS) ATTN: EVAN M. LAZEROWITZ 55
                                        HUDSON YARDS NEW YORK NY 10001
CORDES LAW, PLLC                        (COUNSEL TO BCBS OF MASSACHUSETTS, INC.) ATTN STACY C. CORDES & MEGHAN A. VAN
                                        VYNCKT 1800 EAST BOULEVARD CHARLOTTE NC 28203
CROWELL & MORING LLP                    (COUNSEL TO CENTURY INSURERS) ATTN GREGORY GENNADY PLOTKO 590 MADISON AVENUE,
                                        19TH FLOOR NEW YORK NY 10022-2524
CROWELL & MORING LLP                    (COUNSEL TO CENTURY INSURERS) ATTN TACIE YOON & RACHEL JANKOWSKI 1001
                                        PENNSYLVANIA AVE, N.W. WASHINGTON DC 20004
CROWELL & MORING LLP                    (COUNSEL TO CENTURY INSURERS) ATTN MARK D. PLEVIN & KEVIN D. CACABELOS THREE
                                        EMBARCADERO CENTER, 26TH FLOOR SAN FRANCISCO CA 94111
DALIMONTE RUEB STOLLER, LLP             ATTN JOHN A DALIMONTE, JENNIFER ORENDI & GREGORY RUEB 1250 CONNECTICUT AVE NW,
                                        STE 200 WASHINGTON DC 20036
DAVID CHRISTIAN ATTORNEYS LLC           (COUNSEL TO THE CONTINENTAL INS CO) ATTN: DAVID CHRISTIAN 105 W. MADISON ST.,
                                        STE 1400 CHICAGO IL 60602
DEAN OMAR BRANHAM SHIRLEY, LLC          ATTN JESSICA DEAN, J BRADLEY SMITH, CHARLES W BRANHAM III 302 N MARKET ST, STE
                                        300 DALLAS TX 75202
DLA PIPER LLP (US)                      (COUNSEL TO CENTURY INSURERS) ATN AIDAN MCCORMACK & BRIAN SEIBERT 1251 AVENUE
                                        OF THE AMERICAS NEW YORK NY 10020
DRISCOLL FIRM, LLC                      ATTN JOHN DRISCOLL 211 NORTH BROADWAY, 40TH FL ST LOUIS MO 63102
DUANE MORRIS LLP                        (COUNSEL TO REPUBLIC INDEMNITY) ATTN: SOMMER L. ROSS 1940 ROUTE 70 EAST, STE


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Claim Name                               Address Information
DUANE MORRIS LLP                        100 CHERRY HILL NJ 08003-2171
DUANE MORRIS LLP                        (COUNSEL TO REPUBLIC INDEMNITY) ATTN: PHILIP R. MATTHEWS SPEAR TOWER ONE
                                        MARKET PLAZA, STE 2200 SAN FRANCISCO CA 94105-1127
EAMONN O'HAGAN, ESQ                     (COUNSEL TO PENSION BENEFIT GUARANTY CORP) 970 BROAD ST, STE 700 NEWARK NJ
                                        07102
EMMET, MARVIN & MARTIN LLP              (COUNSEL TO PTI UNION LLC & PTI ROYSTON LLC) ATTN: THOMAS A PITTA 120
                                        BROADWAY, 32ND FLOOR NEW YORK NY 10271
FEARS NACHAWATI LAW FIRM                ATTN DARREN MCDOWEL & MAJED MACHAWATI 5473 BLAIR RD DALLAS TX 75231
FERRARO LAW FIRM                        ATN LESLIE ROTHENBERG & JOSE BECERR 600 BRICKELL AVE, STE 3800 MIAMI FL 33131
FISHERBROYLES LLP                       (COUNSEL TO TRAVELERS CASUALTY AND SURETY CO.) ATTN: DEBORAH L FLETCHER 338
                                        SHARON AMITY ROAD, #518 CHARLOTTE NC 28211
FLINT LAW FIRM LLC                      ATTN ETHAN FLINT 222 E PARK ST, STE 500, PO BOX 189 EDWARDSVILLE IL 62034
GENOVA BURNS LLC                        (COUNSEL TO OFFIC. COMMIT. OF TALC CLAIMANTS) ATTN: DANIEL M. STOLZ, ESQ,
                                        DONALD W. CLARKE, ESQ, MATTHEW I. W. BAKER, ESQ 110 ALLEN ROAD, STE 304
                                        BASKING RIDGE NJ 07920
GIMIGLIANO MAURIELLO & MALONEY          (COUNSEL TO TRAVELERS) ATTN STEPHEN V. GIMIGLIANO, JOHN MALONEY & ROBIN
                                        RABINOWITZ PO BOX 1449 MORRISTOWN NJ 07962-1449
GOLOMB SPIRIT GRUNFELD, PC              ATN RICHARD GOLOMB, ANDREW SPIRIT & KENNETH GRUNFELD 1835 MARKET ST, STE 2900
                                        PHILADELPHIA PA 19103
GREENBAUM, ROWE, SMITH & DAVIS LLP      (COUNSEL TO MOTLEY RICE LLC) ATTN: NANCY ISAACSON, ESQ 75 LIVINGSTON AVENUE
                                        STE 301 ROSELAND NJ 07068
GREENBERG TRAURIG, LLP                  (COUNSEL TO BAUSCH HEALTH) ATTN: ALAN J. BRODY 500 CAMPUS DRIVE FLORHAM PARK
                                        NJ 07932
HALPERIN BATTAGLIA BENZIJA LLP          (COUNSEL TO BLUE CROSS BLUE SHIELD) ATTN: ALAN D. HALPERIN, DONNA H. LIEBERMAN
                                        40 WALL STREET, 37TH FLOOR NEW YORK NY 10005
HERRICK FEINSTEIN LLP                   (COUNSEL TO THE AMICI PROFESSORS) ATTN: STEVEN SMITH, RACHEL GINZBURG 2 PARK
                                        AVE NEW YORK NY 10016
HILL HILL CARTER FRANCO COLE &          BLACK, PC ATTN ELIZABETH CARTER 425 PERRY STREET MONTGOMERY AL 36104
HONIK LLC                               ATTN RUBEN HONIK & DAVID STANOCH 1515 MARKET ST, STE 1100 PHILADELPHIA PA
                                        19102
HUGHES HUBBARD & REED LLP               (COUNSEL TO IMERYS SA) ATTN CHRISTOPHER L. KIPLOK, WILLIAM J. BEAUSOLEIL &
                                        ERIN E. DIERS ONE BATTERY PARK PLAZA NEW YORK NY 10004
J.C. WHITE LAW GROUP PLLC               (COUNSEL TO ONDERLAW, LLC) ATTN: JAMES C. WHITE 100 EUROPA DRIVE, SUITE 401
                                        CHAPEL HILL NC 27517
JD THOMPSON LAW                         (COUNSEL TO BARNES LAW GROUP PLAINTIFFS) ATTN JUDY D. THOMPSON P.O. BOX 33127
                                        CHARLOTTE NC 28233
JOHNSON LAW GROUP                       ATTN BLAKE TANASE & BASIL ADHAM 2925 RICHMOND AVE, STE 1700 HOUSTON TX 77098
KARST & VON OISTE LLP                   ATTN ERIC KARST 23923 GOSLING RD, STE A SPRING TX 77389
KASOWITZ BENSON TORRES LLP              (COUNSEL TO CYPRUS MINES CORPORATION) ATTN: DAVID S. ROSNER, ROBERT M. NOVICK
                                        & ANDREW S. GOLDEN 1633 BROADWAY NEW YORK NY 10019
KASOWITZ BENSON TORRES LLP              (COUNSEL TO CYPRUS MINES CORPORATION) ATTN: MICHAEL E. HUTCHINS 1230
                                        PEACHTREE, NE, SUITE 2445 ATLANTA GA 30309
KATTEN MUCHIN ROSENMAN LLP              (COUNSEL TO ATLANTA INTERNATIONAL COMPANY, ETC) ATTN: SHAYA ROCHESTER,
                                        KATHERINE A. SCHERLING 575 MADISON AVE NEW YORK NY 10022-2585
KATTEN MUCHIN ROSENMAN LLP              (COUNSEL TO ATLANTA INTERNATIONAL INSURANCE, ETC) ATTN: KELSEY R. PANIZZOLO
                                        550 SOUTH TRYON STREET STE 2900 CHARLOTTE NC 28202-4213
KAZAN MCCLAIN SATTERLY &                GREENWOOD PLC C/O JOSEPH SATTERLEY, STEVEN KAZAN & DENYSE F. CLANCY 55 HARISON
                                        ST, STE 400 OAKLAND CA 94607
KENNEDYS CMK LLP                        (COUNSEL TO TIG INSURANCE CO & EVEREST REINSURANCE CO) ATTN: HEATHER E.
                                        SIMPSON 120 MOUNTAIN VIEW BLVD PO BOX 650 BASKING RIDGE NJ 07920
KIESEL LAW, LLP                         ATTN PAUL R KIESEL & MELANIE PALMER 8648 WILSHIRE BLVD BEVERLY HILLS CA 90211
KING & SPALDING LLP                     (COUNSEL TO BESTWALL LLC) ATTN: CHELSEA COREY 300 SOUTH TRYON STREET, STE 1700
                                        CHARLOTTE NC 28202


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Claim Name                                Address Information
KING & SPALDING LLP                      (COUNSEL TO BESTWALL LLC) ATTN: RICHARD A. SCHNEIDER 1180 PEACHTREE STREET,
                                         N.E. ATLANTA GA 30309
KLEHR HARRISON HARVEY BRANZBURG LLP      (COUNSEL TO AD HOC MESOTHELIOMA COMMITTEE) ATTN CAROL A SLOCUM, MORTON R
                                         BRANZBURG 10000 LINCOLN DRIVE E, STE 201 MARLTON NJ 08053
KLEHR HARRISON HARVEY BRANZBURG LLP      (COUNSEL TO AD HOC MESOTHELIOMA COMMITTEE) ATTN: MORTON R. BRANZBURG, ESQ.
                                         1835 MARKET ST. PHILADELPHIA PA 19103
KTBS LAW LLP                             (COUNSEL TO AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC) ATTN MICHAEL L TUCHIN,
                                         ESQ, ROBERT J PFISTER, ESQ, SAMUEL M KIDDER, ESQ & NIR MAOZ, ESQ 1801 CENTURY
                                         PARK EAST, 26TH FL LOS ANGELES CA 90067
LANIER LAW FIRM                          ATTN MICHAEL A AKSELRUD 21550 OXNARD ST, 3RD FL WOODLANDS HILLS CA 91367
LATHAM & WATKINS LLP                     (COUNSEL TO IMERYS TALC AMERICA, INC. ETC.) ATTN ADAM S. RAVIN 1271 AVENUE OF
                                         THE AMERICAS NEW YORK NY 10020-1401
LATHAM & WATKINS LLP                     (COUNSEL TO IMERYS TALC AMERICA, INC., ETC) ATTN JEFFREY E. BJORK, KIMBERLY A.
                                         POSIN, AMY C. QUARTAROLO 355 SOUTH GRAND AVENUE, SUITE 100 LOS ANGELES CA
                                         90071-1560
LAW FIRM OF BRIAN W HOFMEISTER, LLC      (COUNSEL TO VARIOUS CLAIMANTS) ATTN: BRIAN W. HOFMEISTER 313 PRINCETON PIKE,
                                         BLDG 5, STE 110 LAWRENCEVILLE NJ 08648
LAW OFFICES OF MITCHELL J. MALZBERG,     (COUNSEL TO VARIOUS CLAIMANTS) ATTN: MITCHELL MALZBERG, ESQ. PO BOX 5122 6 E
LLC                                      MAIN STREET, STE 7 CLINTON NJ 08809
LAW OFFICES OF R. KEITH JOHNSON, P.A.    (COUNSEL TO LINDA RABASCA AND BRANDI CARL) ATTN: R. KEITH JOHNSON 1275 S. NC
                                         BUS. HWY. 16 STANLEY NC 28164
LEVIN PAPANTONIO RAFFERTY                ATTN: CHRISTOPHER TISI 316 S BAYLEN STREET, SUITE 600 PENSACOLA FL 325002
LEVY KONIGSBERG LLP                      ATTN MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP NJ 08648
LEVY KONIGSBERG LLP                      (COUNSEL TO RANDY DEROUEN) ATTN JEROME BLOCK & AUDREY RAPHAEL 605 THIRD AVE.,
                                         33RD FLOOR NEW YORK NY 10158
LEX NOVA LAW LLC                         (COUNSEL TO ERWIN CHEMERINSKY) 10 E. STOW RD, STE 250 MARLTON NJ 08053
LITE DEPALMA GREENBERG & AFANADOR, LLC   (COUNSEL TO DISANTO) ATTN: ALLEN J. UNDERWOOD II 570 BROAD ST, STE 1201 NEWARK
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AGRESTA, PATRICIA                MOTLEY RICE, LLC 20 CHURCH STREET 17TH FLOOR JASINSKI, MATHEW P. HARTFORD CT
                                 06103
AGUILAR, MELISSA; ROBB,MARY      SILL LAW GROUP, PLLC 1101 N. BROADWAY, SUITE 102 SILL, MATTHEW J. GRIFFIN,
                                 KATIE OKLAHOMA CITY OK 73013
AGUILAR, MELISSA; ROBB,MARY      BURCH & GEORGE 204 N. ROBINSON AVENUE, STE. 1500 BURCH, DEREK K OKLAHOMA CITY
                                 OK 73102
AGUILAR, MELISSA; ROBB,MARY      WHITE & WEDDLE, P.C. 630 N.E. 63RD STREET WHITE, JR, JOE E OKLAHOMA OK 73105
AGUILAR, MELISSA; ROBB,MARY      ZELBST, HOLMES & BUTLER C/O JOHN P. ZELBST P.O. BOX 365, 411 SW 6TH STREET
                                 LAWTON OK 73502-0365
AHMED, KATHRYNE                  KIRKENDALL DWYER LLP 4343 SIGMA RD SUITE 200 DALLAS TX 75244
AIKENS, CHELSEA                  POURCIAU LAW FIRM, LLC 2200 VETERANS MEMORIAL BLVD SUITE 210 KENNER LA 70062
AIKENS, CHELSEA                  GALANTE & BIVALACQUA LLC 650 POYDRAS STREET, SUITE 2615 GALANTE, SCOTT M. NEW
                                 ORLEANS LA 70130



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Claim Name                       Address Information
AIKENS, CHELSEA                 THE CHEEK LAW FIRM 650 POYDRAS STREET, SUITE 2310 LINDSEY A. CHEEK NEW ORLEANS
                                LA 70130
AL CATANTII, SASHAH             THE DEATON LAW FIRM 450 NORTH BROADWAY EAST PROVIDENCE RI 02814
ALEXANDER, BERTHA               SLACK & DAVIS LLP 6001 BOLD RULER WAY, SUITE 100 BOWEN, DONNA J. AUSTIN TX
                                78746
ALEXANDER, BESSIE               THE DUGAN LAW FIRM ONE CANAL PLACE - STE 1000 365 CANAL STREET NEW ORLEANS LA
                                70130
ALEXANDER, LEOLA                BURNS CHAREST LLP 500 NORTH AKARD STREET, SUITE 2810 COX, MARK DALLAS TX 75201
ALFONSO, LISA                   VENTURA LAW 235 MAIN STREET BARBER, NICOLE L. DANBURY CT 06810
ALICEA, ANA                     MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN; KASSAN, RANDI ALYSON 100 GARDEN CITY
                                PLAZA, SUITE 500 GARDEN CITY NY 11530
ALLBRIGHT, DIANE                THE GORNY LAW FIRM, LC 4330 BELLEVIEW AVE, STE 200 KANSAS CITY MO 64111
ALLEE, ILA                      SILL LAW GROUP, PLLC 1101 N. BROADWAY, SUITE 102 SILL, MATTHEW J. OKLAHOMA
                                CITY OK 73013
ALLEN, ARNELLIA                 MESHBESHER & SPENCE, LTD. 1616 PARK AVENUE MINNEAPOLIS MN 05540
ALLEN, DEANNA                   BERMAN & SIMMONS, P. A. 129 LISBON STREET FAUNCE, SUSAN LEWISTON ME 04240
ALLEN, DEANNA                   LAW OFFICES OF MICHAEL L. RAIR, PA 43 COLUMBIA STREET, SUITE ONE RAIR, MICHAEL
                                L. BANGOR ME 04401-6346
ALLEN, JOYCE                    LAW OFF OF ROGER 'ROCKY' WALTON, P C. 2310 WEST INTERSTATE 20, STE 200 WALTON,
                                ROGER ARLINGTON TX 76017
ALLEN, KELLY                    CORY, WATSON, CROWDER & DEGARIS, PC 2131 MAGNOLIA AVE., SUITE 200 HUNT,
                                STEPHEN BIRMINGHAM AL 35205
ALLEN, MARY                     THORNTON LAW FIRM LLP ONE LINCOLN 25TH FLOOR MCGOLDRICK, MARILYN T. BOSTON MA
                                02111
ALLEN, PATRICIA                 CAMPBELL & ASSOCIATES 717 EAST BLVD CAMPBELL, CLAIR G. CHARLOTTE NC 28203
ALLEN, WANDA                    TAFT STETTINIUS & HOLLISTER LLP 111 EAST WACKER, SUTIE 2800 CHICAGO IL 60601
ALMANZA, SYLVIA                 ASPEY, WATKINS & DIESEL, PLLC 123 N SAN FRANCISCO ST SUITE 300 FLAGSTAFF AZ
                                86001
ALSTON, DIANNA                  MCGOWAN, HOOD & FELDER, LLC 10 SHEM DR STE 300 MT PLEASANT SC 29464-5282
ALSTON, SHIRLEY                 SAUNDERS & WALKER, P.A. P.O. BOX 1637 SAUNDERS, JOSEPH H. PINELLAS PARK FL
                                33780-1637
ALVAREZ, MARIA                  MAUNE RAICHLE HARTLEY FRENCH & MUDD LLC; C/O SUZANNE M RATCLIFFE 659 EAGLE
                                ROCK AVENUE, SUITE 28 WEST ORANGE NJ 07052
AMBROSE, LINDA                  NIX PATTERSON & ROACH 3600 N CAPITAL OF TX B350 SMITH,D. NEIL JOHNSON, C.R.
                                IHRIG, CHAD AUSTIN TX 78746
AMELITA DEL MUNDO               WAGSTAFF LAW FIRM NORTHRUP, ALBERT 940 LINCOLN STREET DENVER CO 80203
AMERKANIAN, LINDA               SLATER, SLATER, SCHULMAN, LLP SLATER, ADAM 445 BORAD HOLLW RD, ST. 419
                                MELVILLE NY 11747
AMMONS, CHRISTINA               LINVILLE LAW GROUP 1932 N DRUID HILLS RD NE, SUITE 200 GANDHI, VINITA ATLANTA
                                GA 30319
AMO, DONNA                      BEREZOFSKY LAW GROUP, LLC 210 LAKE DRIVE EAST, SUITE 101 BEREZOFSKY, ESTHER
                                CHERRY HILL NJ 08002
AMRON, ROBERT                   MAUNE RAICHLE HARTLEY FRENCH & MUDD LLC; C/O SUZANNE M RATCLIFFE 659 EAGLE
                                ROCK AVENUE, SUITE 28 WEST ORANGE NJ 07052
ANDERSEN, MARSHA                MOTLEY RICE, LLC 20 CHURCH STREET 17TH FLOOR JASINSKI, MATHEW P. HARTFORD CT
                                06103
ANDERSON, BETTY                 MOORE LAW GROUP PLLC 1473 SOUTH 4TH STREET SMITH, ASHTON ROSE LOUISVILLE KY
                                40208
ANDERSON, BRENDA                GOLDENBERG HELLER ANTOGNOLI & ROWLAND, P.C. 2227 S STATE RTE 157 HUBBARD,
                                KATIE A. EDEARDSVILLE IL 62025
ANDERSON, BRENDA                BARRETT LAW GROUP, P.A. 404 COURT SQUARE LEXINGTON MS 39095
ANDERSON, BRENDA                BURNS CHAREST LLP 365 CANAL ST, STE 1170 AMANDA KLEVORN NEW ORLEANS LA 70130



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ANDERSON, GLORIA                THE CHEEK LAW FIRM 650 POYDRAS STREET, SUITE 2310 LINDSEY A. CHEEK NEW ORLEANS
                                LA 70130
ANDERSON, GLORIA                UNGLESBY LAW FIRM 246 NAPOLEON STREET UNGLESBY, LEWIS O. BATON ROUGE LA 70802
ANDERSON, HOLLY                 THE PATE LAW FIRM PO BOX 370 CHRISTIANSTED VI 00821-0370
ANDERSON, JANET                 THE WHITEHEAD LAW FIRM, LLC 3639 AMBASSADOR CAFFERY PKWY PETROLEUM TWR, STE
                                303 LAFAYETTE LA 70503
ANDERSON, JANET                 FLEMING, NOLEN & JEZ, LLP 2800 POST OAK BLVD., STE 4000 HOUSTON TX 77056
ANDERSON, JUDITH                THE LAW OFFICES OF SEAN M CLEARY,PA 19 W FLAGLER ST., STE 618 PEREIRA, ANDRES
                                MIAMI FL 03313
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                                92101
ANDERSON, KIMBERLY              BERSTEIN LIEBHARD LLP 10 EAST 40TH STREET - FLOOR 22 BURKE, DANIEL C. NEW YORK
                                NY 10016
ANDERSON, LISA                  THE EARLY FIRM, LLC C/O MATHEW PARK 360 LEXINGTON AVE, 20TH FLOOR NEW YORK NY
                                10017
ANDERSON, LISA                  KARST & VON OISTE, LLP C/O ERIC KARST 23923 GOSLING RD, SUITE A SPRING TX
                                77389
ANDERSON, MACY                  BACHUS & SCHANKER LLC 123 N COLLEGE AVE #200 FORT COLLINS CO 80524
ANDERSON, MARY                  OCONNOR, MCGUINNESS, CONTE, DOYLE, OLESON, WATSON AND LOFTUS, LLP 1 BARKER AVE
                                SUITE 675 WHITE PLAINS NY 10601
ANDERSON, MICHELLE              MOTLEY RICE NEW JERSEY LLC 210 LAKE DRIVE EAST, STE. 101 BEREZOFSKY, ESTHER
                                CHERRY HILL NJ 08002
ANDERSON, MONA                  THE DUGAN LAW FIRM ONE CANAL PLACE - STE 1000 365 CANAL STREET NEW ORLEANS LA
                                70130
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                                10061
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                                SC 29403
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ANDREWS, BETH                   MESHBESHER & SPENCE, LTD. 1616 PARK AVENUE RASO, ASHLEIGH E. MINNEAPOLIS MN
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ANISSA YZQUIERDO                PARAFINCZUK WOLF, P.A. 9050 PINES BLVD STE 450-2 PEMBROKE PNES FL 33024-6401
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ANNA WILLHITE                   MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
ANNETTE ORTIZ                   CAMPBELL & ASSOCIATES CAMPBELL, CLAIR G. 717 EAST BLVD CHARLOTTE NC 28203
ANNETTE ORTIZ                   FRAZER PLC FRAZER II, T, FRAZER III, T, & MCMURTRAY 30 BURTON HILLS BLVD, STE
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                                HOUSTON TX 77057
ARCHIBALD, BERNADINE            THE DIETRICH LAW FIRM, PC 101 JOHN JAMES AUDUBON PKWY BUFFALO NY 14228-1111
ARCHIBALD, MARGARET             CHAPPELL, SMITH & ARDEN, P.A. 2801 DEVINE ST, SUITE 300 COLUMBIA SC 29205
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ARMITAGE, TONYA                      MIAMI FL 03313
ARMSTRONG, DIANA                     FLEMING, NOLEN & JEZ, LLP 2800 POST OAK BLVD., STE 4000 HOUSTON TX 77056
ARMSTRONG, JANICE                    LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 SAN FRANCISCO CA 94111
ARNOFF, PHYLLIS                      RHEINGOLD VALET RHEINGOLD MCCARTNEY & GIUFFRA 551 5TH AVE, 29TH FL; RUFFO,
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ARNOLD, MARGARET                     MARLIN & SALTZMAN LLP 29800 AGOURA ROAD, SUITE 210 AGOURA HILLS CA 97301
ARNOLD, RAMONA                       NIX PATTERSON & ROACH 3600 N CAPITAL OF TX B350 SMITH,D NEIL JOHNSON, C.R.
                                     IHRIG, CHAD AUSTIN TX 78746
ARREDONDO, CLAUDIA                   THE BARNES FIRM, LC 655 W. BROADWAY, STE. 940 OLIVER, CHRISTIAN R SAN DIEGO CA
                                     92101
ARREOLA, PILAR                       COONEY AND CONWAY C/O MICHAEL COONEY 120 N. LASALLE STREET, 30TH FLOOR CHICAGO
                                     IL 60602
ARREOLA, PILAR                       COONEY AND CONWAY C/O MICHAEL COONEY 120 N. LASALLE STREET, 30TH FLOOR CHICAGO
                                     IL 60602
ASBELL, TEANA                        SLATER, SLATER, SCHULMAN, LLP 445 BORAD HOLLW RD, ST. 419 SLATER, ADAM
                                     MELVILLE NY 01174
ASCENZO, MAUREEN                     THORNTON LAW FIRM LLP ONE LINCOLN 25TH FLOOR MCGOLDRICK, MARILYN T. BOSTON MA
                                     02111
ASCHINGER, MARY                      CATES MAHONEY, LLC 216 WEST POINTE DR, SUITE A CATES, DAVID I. SWANSEA IL
                                     62226
ASHFORD, SHIRLEY                     SILL LAW GROUP, PLLC 1101 N. BROADWAY, SUITE 102 SILL, MATTHEW J. OKLAHOMA
                                     CITY OK 73013
ASSATOURIANS, CRISTINA               HAFFNER LAW PC 445 SOUTH FIGUEROA ST, SUITE 2325 LOS ANGELES CA 90071
ASSEF, MEHRNAZ                       LAW OFF OF ISAAC TOVEG PROFESSIONAL LAW CORP 2600 W. OLIVE AVE. STE 91505;
                                     TOVEG, ISAAC BURBANK CA 09150
ASTLE, CAROL                         SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C. 120 BROADWAY 27TH FLOOR NEW YORK
                                     NY 01027
ATEEK, SHIRLEY                       DOROTHY V. MAIER, PA 435 SOUTH RIDGEWOOD AVENUE MAIER, DOROTHY V. DAYTONA
                                     BEACH FL 03211
ATKINS, PAMELA                       SHAW COWART, LLP 1609 SHOAL CREEK BLVD, SUITE 100 SHAW, ETHAN L. COWART, JOHN
                                     P. AUSTIN TX 78701
AUSTIN, SUSAN                        THE REARDON LAW FIRM, P.C. 160 HEMPSTEAD ST. NEW LONDON CT 06320
AUSTIN, VICKIE                       HELMSDALE LAW, LLP 6 CONSULTANT PL., SUITE 100-A DURHAM NC 17707
AUTIN, CHRISTINE                     POURCIAU LAW FIRM, LLC 2200 VETERANS MEMORIAL BLVD STE 210 KENNER LA 70062
AUTIN, CHRISTINE                     GALANTE & BIVALACQUA LLC 650 POYDRAS STREET, SUITE 2615 GALANTE, SCOTT M. NEW
                                     ORLEANS LA 70130
AUTIN, CHRISTINE                     THE CHEEK LAW FIRM 650 POYDRAS STREET, SUITE 2310 LINDSEY A. CHEEK NEW ORLEANS
                                     LA 70130
AVARY, MARY                          KIRKENDALL DWYER LLP 4343 SIGMA RD SUITE 200 DALLAS TX 75244
AVERETT, NANCY                       LINVILLE LAW GROUP 1932 N DRUID HILLS RD NE, SUITE 200 GANDHI, VINITA ATLANTA
                                     GA 30319
AYALA-CRUZ, MIOSOTIS                 LIAKOS LAW APC 1611 S. PACIFIC COAST HIGHWAY STE 200D REDONDO BEACH CA 90277
AYERS, DOLLIE                        ENVIRONMENTAL LITIGATION GROUP, PC 2160 HIGHLAND AVENUE SOUTH WALL, CHRISTINA
                                     ROWE, MARK MCKIE KEVIN CA BIRMINGHAM AL 32205
B-SZCZESNY, AMANDA; ORWOLL, F.;      PONCE, A. NAPOLI SHKOLKIK, PLLC 525 S DOUGLAS ST, STE 260 EL SEGUNDO CA 90245
BABAUTA, SHELLEY                     GOZA & HONNOLD, LLC 9500 MALL AVE #400 OVERLAND PARK KS 66207
BABCOCK, SANDI                       THE DUGAN LAW FIRM ONE CANAL PLACE - STE 1000 365 CANAL STREET NEW ORLEANS LA
                                     70130
BABICH, MARILYN                      PAUL LLP 601 WALNUT STREET, SUITE 300 KANSAS CITY MO 64106
BABISH, ROSEMARIE                    LOPEZ-MCHUGH, LLP 601 WALNUT STREET SUITE 720 E JOHNSON, REGINA SHARLOW
                                     PHILADELPHIA PA 19112
BACCHUS, ERNESTINE                   POURCIAU LAW FIRM, LLC 2200 VETERANS MEMORIAL BLVD. SUITE 210 KENNER LA 70062



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BACCHUS, ERNESTINE                   GALANTE & BIVALACQUA LLC 650 POYDRAS STREET, SUITE 2615 GALANTE, SCOTT M. NEW
                                     ORLEANS LA 70130
BACCHUS, ERNESTINE                   THE CHEEK LAW FIRM 650 POYDRAS STREET, SUITE 2310 LINDSEY A. CHEEK NEW ORLEANS
                                     LA 70130
BAER, PERIANNE                       SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C. 120 BROADWAY 27TH FLOOR NEW YORK
                                     NY 01027
BAFALON, MARGARET                    MOLL LAW GROUP 22 W WASHINGTON ST, 15 FL MADDIE CHICAGO IL 60602
BAGGETT, ILONA                       THE WEINBERG LAW FIRM 149 LIVINGSTON AVENUE NEW BRUNSWICK NJ 08901
BAGGETT, KAREN                       HOLLIS, WRIGHT, CLAY & VAIL, P.C. 2201 MORRIS AVE MCNUTT, CHRISTOPHER
                                     BIRMINGHAM AL 35203
BAGWELL, JANET                       EDLUND,GALLAGHER,HASLAM,MCCALL,WOLF & WOOTEN, PLLC 1701 N. MARKET ST SUTIE 210
                                     MCCALL, VICTOR L. DALLAS TX 75202
BAHNSEN, JANET                       WILLIAMS DECLARK TUSCHMAN CO, LPA 626 MADISON AVENUE TOLEDO OH 43604-1110
BAILEY, DESSIRE                      DRISCOLL FIRM, P.C. 7110 W. MAIN STREET DRISCOLL, JOHN J. BELLEVILLE IL 62223
BAILEY, SHERRY                       BURNS CHAREST LLP 365 CANAL ST, STE 1170 AMANDA KLEVORN NEW ORLEANS LA 70130
BAILIFF, COLLEEN                     KELLEY UUSTAL, PLC 500 NORTH FEDERAL HIGHWAY, STE 200 FORT LAUDERDALE FL 33301
BAKER, JENNIFER                      BERSTEIN LIEBHARD LLP 10 EAST 40TH STREET - FLOOR 22 BURKE, DANIEL C. NEW YORK
                                     NY 10016
BAKER, LINDA                         SLATER, SLATER, SCHULMAN, LLP 445 BORAD HOLLW RD, ST. 419 SLATER, ADAM
                                     MELVILLE NY 01174
BAKER, NANCY                         POWERS ROGERS & SMITH LLP 70 W. MADISON, SUITE 5500 SCOTT, CAROLYN DALEY
                                     POWER, JAMES I CHICAGO IL 06060
BAKER, TAMARA                        BACHUS & SCHANKER LLC 123 N COLLEGE AVE #200 FORT COLLINS CO 80524
BALASKONIS, ANTONIA                  RHEINGOLD VALET RHEINGOLD MCCARTNEY & GIUFFRA 551 5TH AVE, 29TH FL; RUFFO,
                                     EDWARD NEW YORK NY 10017
BALDINO, LUCILLE                     LEVY, BALDANTE,FINNEY & RUBENSTEIN, P.C. 89 NORTH HADDON AVENUE, STE D KELLER,
                                     KYLE J. GR HADDONFIELD NJ 08033
BALDWIN, JAMIE                       HARRISON DAVIS STEAKLEY MORRISON JONES, PC 5 RITCHIE RD WACO TX 76712
BALL, SHARON                         FITZGERALD LAW GROUP, LLC 120 EXHANGE STREET, SUITE 200 FITZGERALD, KEVIN M
                                     PORTLAND ME 04101
BALT, PATRICIA AND BAPP, RONALD      KARST & VON OISTE, LLP C/O ERIC KARST 23923 GOSLING RD, SUITE A SPRING TX
                                     77389
BANDERET, JOAN                       MARLIN & SALTZMAN LLP 29800 AGOURA ROAD, SUITE 210 AGOURA HILLS CA 97301
BANKER, DEREK                        DUFFY LAW LLC C/O CHRISTOPHER DUFFY 70 WASHINGTON STREET, SUITE 312 SALEM MA
                                     01970
BARAFF, CAROL                        MOTLEY RICE, LLC 20 CHURCH STREET 17TH FLOOR JASINSKI, MATHEW P. HARTFORD CT
                                     06103
BARBARA BARNETT                      MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
BARBARA MEDEIROS                     MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
BARBEE-COUGLER, LINDA                FLEMING, NOLEN & JEZ, LLP 2800 POST OAK BLVD., STE 4000 HOUSTON TX 77056
BARCHETTI, JOANN                     DEGARIS WRIGHT MCCALL 2 20TH ST N SAPONE, ANDREA L. BIRMINGHAM AL 35203
BARDEN, DOUGLAS                      SZAFERMAN, LAKIND, BLUMSTEIN & BLADDER PC; C/O ROBERT LYTLE 101 GROVERS MILL
                                     ROAD, SUITE 200 LAWRENCEVILLE NJ 08648
BARKER, ANDREA                       THE WHITEHEAD LAW FIRM, LLC 3639 AMBASSADOR CAFFERY PKWY PETROLEUM TWR, STE
                                     303 LAFAYETTE LA 70503
BARKER, CARLA                        WILLIAMS DECLARK TUSCHMAN CO, LPA 626 MADISON AVENUE TOLEDO OH 43604-1110
BARKER, JANICE                       WALTON TELKEN FOSTER, LLC 241 N. MAIN ST. EDWARDSVILLE IL 62035
BARKLEY, SUSAN S.                    KAZAN,MCCLAIN,SATTERLEY & GREENWOOD C/O JOSEPH SATTERLEY; J.LONDON MARKET 55
                                     HARRISON ST STE 400 OAKLAND CA 94607
BARNES, VIVIAN                       DEGARIS WRIGHT MCCALL 5707 W INTERSTATE 10 STE 101 SAN ANTONIO TX 78201-2860
BARNHOUSE, LORETTA                   THE DREESEN LAW FIRM, LLC 16105 SWINGLEY RIDGE ROAD, 4097 CHESTERFIELD MO
                                     63006


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Claim Name                            Address Information
BARNHOUSE, LORETTA                   REEVES & GOFF, P.C. 1 NORTH JEFFERSON STREET GOFF, JOSEPH L FARMINGTON MO
                                     63640
BARONE, LISA                         KIRKENDALL DWYER LLP 4343 SIGMA RD SUITE 200 DALLAS TX 75244
BARRETT, STACY                       THE DIETRICH LAW FIRM, PC 101 JOHN JAMES AUDUBON PKWY BUFFALO NY 14228-1111
BARRINEAU, LAURA                     CHAPPELL, SMITH & ARDEN, P.A. 2801 DEVINE ST, SUITE 300 COLUMBIA SC 29205
BARROW, PATRICIA                     FLEMING, NOLEN & JEZ, LLP 2800 POST OAK BLVD., STE 4000 HOUSTON TX 77056
BARSNESS, LORI                       CORY, WATSON, CROWDER & DEGARIS,PC 2131 MAGNOLIA AVE., SUITE 200 HUNT, STEPHEN
                                     BIRMINGHAM AL 35205
BARTH-ANDREWS, SUSAN                 MORGAN & MORGAN, P.A. 191 PEACHTREE ST. NE ATLANTA GA 30303
BARTLETT, CAROL                      DAMATO LAW FIRM, P.C. 2900 FIRE ROAD, SUITE 200 DAMATO, PAUL R. EGG HARBOR
                                     TOWNSHIP NJ 08234
BARTOLETTI, CAROL                    EDLUND, GALLAGHER, HASLAM, MCCALL, WOLF & WOOTEN,PLLC 1701 N MARKET ST SUTIE
                                     210 WOOTEN, COBY L. SM DALLAS TX 75202
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                                     55112-5060
BATES, HOPE                          CPC 2 CORPORATE PARK, SUITE 110 IRVINE CA 92606
BATTISTE, DEBBIE                     THE CHEEK LAW FIRM 650 POYDRAS STREET, SUITE 2310 LINDSEY A. CHEEK NEW ORLEANS
                                     LA 70130
BAUMGARTEN, CAREY                    LAW OFFICES OF SEAN M. CLEARY 19 WEST FLAGLER STREET, SUITE 618 PEREIRA,
                                     ANDRES MIAMI FL 33130
BAXTER, JENNIFER                     THE DEATON LAW FIRM 450 NORTH BROADWAY EAST PROVIDENCE RI 02814
BAY, WANDA                           THE WEINBERG LAW FIRM 149 LIVINGSTON AVENUE NEW BRUNSWICK NJ 08901
BAYHYLLE, MARY                       THE BARNES FIRM, P.C. 420 LEXINGTON AVE, STE 2140 NEW YORK NY 10170
BEAN, MARY                           DAMATO LAW FIRM, P.C. 2900 FIRE ROAD, SUITE 200 DAMATO, PAUL R. EGG HARBOR
                                     TOWNSHIP NJ 08234
BEAN, MARY                           HERMAN GEREL, LLP 230 PEACHTREE STREET, SUITE 2260 HIRSCH, ANDREA S ATLANTA GA
                                     30303
BEASLEY, PATRICIA                    LINVILLE LAW GROUP 1932 N DRUID HILLS RD NE, SUITE 200 GANDHI, VINITA ATLANTA
                                     GA 30319
BEAULIEU, SANDRA                     LAW OFF OF JEFFREY S GLASSMAN, LLC ONE INTERNATIONAL PLACE, 18TH FL BOSTON MA
                                     02110
BECK, CAROL                          FLEMING, NOLEN & JEZ, LLP 2800 POST OAK BLVD., STE 4000 HOUSTON TX 77056
BECK, KAREN                          VICKERY & SHEPHERD, LLP 10000 MEMORIAL DR., SUITE 750 HOUSTON TX 77024
BECKER, CARRIE                       MOTLEY RICE, LLC 55 CEDAR ST., STE 100 FITZPATRICK, FIDELMA PROVIDENCE RI
                                     02903
BECKER, MARY                         CORY, WATSON, CROWDER & DEGARIS,PC 2131 MAGNOLIA AVE., SUITE 200 HUNT, STEPHEN
                                     BIRMINGHAM AL 35205
BECKER, VIRGINIA                     THE DEATON LAW FIRM 450 NORTH BROADWAY EAST PROVIDENCE RI 02814
BEDFORD, WANDA                       THE ZEVAN AND DAVIDSON LAW FIRM ONE NORTH TAYLOR AVENUE ST. LOUIS MO 63105
BEDFORD, WANDA                       JACOBS OHARA MCMULLEN , P.C. 14550 TORREY CHASE BLVD STE 260 HOUSTON TX 77014
BEDROSIAN, DIANA                     SLACK & DAVIS LLP 6001 BOLD RULER WAY, SUITE 100 BOWEN, DONNA J. AUSTIN TX
                                     78746
BELENO, BRENDA                       MOTLEY RICE C/O DANIEL LAPINSKI WOODLAND FALLS CORPORATE PARK 210 LAKE DRIVE
                                     EAST, SUITE 101 CHERRY HILL NJ 08002
BELINO, BRENDA AND BELENO, JOSE      FLINT LAW FIRM LLC C/O ETHAN FLINT 222 E PARK ST, STE 500, PO BOX 189
                                     EDWARDSVILLE IL 62034
BELL, ANNIE                          THE CHEEK LAW FIRM 650 POYDRAS STREET, SUITE 2310 LINDSEY A. CHEEK NEW ORLEANS
                                     LA 70130


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Claim Name                       Address Information
BELL, ANNIE                     UNGLESBY LAW FIRM 246 NAPOLEON STREET UNGLESBY, LEWIS O. BATON ROUGE LA 70802
BELL, GLORIA                    HELMSDALE LAW, LLP 6 CONSULTANT PL., SUITE 100-A DURHAM NC 17707
BELL, KELLIE                    HURLEY MCKENNA & MERTZ 20 S CLARK ST STE 2250 CHICAGO IL 60603-1817
BELL-SPENCER, PAMELA            ARNOLD LAW OFFICE 865 HOWE AVENUE, SUITE 300 WEXLER, NOAH M. ARNOLD, KURT B.
                                SACRAMENTO CA 95825
BELLANGER, CRYSTAL              LILLIS LAW FIRM 338 LAFAYETTE STREET LILLIS, MICHAEL NEW ORLEANS LA 07013
BELLANGER, CRYSTAL              MARTZELL, BICKFORD & CENTOLA 338 LAFAYETTE STREET CENTOLA III, LAWRENCE J. NEW
                                ORLEANS LA 70130
BELLANGER, CRYSTAL              MICHAEL HINGLE & ASSOCIATES, LLC 220 GAUSE BOULEVARD PFLEEGER, BRYAN A.
                                HINGLE, MICHAEL SLIDELL LA 70458
BELLANTIS, CATHERINE            ANAPOL WEISS ONE LOGAN SQUARE, 130 N. 18TH ST SUITE 1600 ASHE, EMILY B.
                                PHILADELPHIA PA 19107
BENEDICT, INGRID                PETERSON & ASSOCIATE, P.C. 801 W 47TH ST, STE 107 PETERSON, DAVID M.
                                CLEVENGER, NICHOLAS S. KANSAS CITY MO 64112
BENFORD, ASHLEY                 HART MCLAUGHLIN & ELDRIDGE 22 W WASHINGTON ST STE 1600 CHICAGO IL 60602-1615
BENHAM-SINGH, DENISE            THE POTTS LAW FIRM, LLP 1901 W 47TH PL #210 KANSAS CITY MO 66205
BENIAMEN, YOUANNA               KELLEY & FERRARO, LLP C/O EDWARD KELLEY 950 MAIN AVENUE, SUITE 1300 CLEVELAND
                                OH 44113
BENNETT, CAROLYN                MEYERS & FLOWERS, LLC 225 WEST WACKER DR., SUITE 1515 CHICAGO IL 60606
BENNETT, GRACE                  MOTLEY RICE, LLC 20 CHURCH STREET 17TH FLOOR JASINSKI, MATHEW P. HARTFORD CT
                                06103
BENNETT, JAMIE                  HARRISON DAVIS STEAKLEY MORRISON JONES, PC 5 RITCHIE RD WACO TX 76712
BENNETT, KEA                    LAW OFFICES OF CHARLES H JOHNSON,PA 2599 MISSISSIPPI STREET NEW BRIGHTON MN
                                55112-5060
BENSON, ARLENE                  THE LAW OFFICES OF HAYTHAM FARAJ 1935 W BELMONT AVE FARAJ, HAYTHAM CHICAGO IL
                                60657
BENTAIEB, KATHY M               THE BARNES FIRM, LC 655 W. BROADWAY, STE. 940 OLIVER, CHRISTIAN R SAN DIEGO CA
                                92101
BENTON, BETTY                   THE WEINBERG LAW FIRM 149 LIVINGSTON AVENUE NEW BRUNSWICK NJ 08901
BERGMAN, MELINDA                CORY, WATSON, CROWDER & DEGARIS, P.C. HUNT, STEPHEN 2131 MAGNOLIA AVE., SUITE
                                200 BIRMINGHAM AL 35205
BERKLAND, SHELLEY               SHINDLER, ANDERSON, GOPLERUD & WEESE P.C., 5769, 5015 GRAND RIDGE DR; UNIT 100
                                WEST DES MOINES IA 50265-5749
BERKLAND, SHELLEY               HELVEY LAW 2735 FIRST AVENUE SE, SUITE 101 CEDAR RAPIDS IA 52402
BERNDT, ALICE                   MOTLEY RICE, LLC 20 CHURCH STREET 17TH FLOOR JASINSKI, MATHEW P. HARTFORD CT
                                06103
BERNHARDT, ROBIN                BROWN, READDICK, BUMGARTNER, CARTER, STRICKLAND & WATKINS LLP 5 GLYNN AVE
                                BRUNSWICK GA 31521-0220
BERNIER, THERESE                ROCHON GENOVA LLP 121 RICHMOND STREET WEST SUITE 900 TORONTO ON M5H 2K1 CANADA
BERNIER, THERESE                WILL DAVIDSON LLP 220 BAY STREET #1400 MILLER, PAUL TORONTO ON M5J 2W4 CANADA
BERNOUDY, LAURA                 ANAPOL WEISS ONE LOGAN SQUARE, 130 N. 18TH ST SUITE 1600 ASHE, EMILY B.
                                PHILADELPHIA PA 19107
BERRETH, GAYLE                  THE DEATON LAW FIRM 450 NORTH BROADWAY EAST PROVIDENCE RI 02814
BERRY, JANCY                    SALVI, SCHOSTOK & PRITCHARD P.C. 161 N. CLARK STREET SUITE 4700 CHICAGO IL
                                60601
BERRY, NANCY                    SILL LAW GROUP, PLLC 1101 N. BROADWAY, SUITE 102 SILL, MATTHEW J. OKLAHOMA
                                CITY OK 73013
BERSON, SHAUNA                  CHAPPELL, SMITH & ARDEN, P.A. 2801 DEVINE ST, SUITE 300 COLUMBIA SC 29205
BERTRAN, MAGALI                 GANCEDO LAW FIRM, INC 1575 NORTH LAKE AVE., 202 PASADENA CA 91104
BEST, BARBARA                   SCHLESINGER LAW OFFICES, P.A. 1212 SE 3RD AVE SCHLESINGER,SCOTT P GDANSKI,
                                JOHNATHAN R. FT. LAUDERDALE FL 33316
BEST, PEGGY                     SWMW LAW, LLC C/O BENJAMIN SCHMICKLE 701 MARKET STREET, SUITE 1000 ST. LOUIS


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Claim Name                              Address Information
BEST, PEGGY                            MO 63101
BETHEA, ELIZABETH                      MARLIN & SALTZMAN LLP 29800 AGOURA ROAD, SUITE 210 AGOURA HILLS CA 97301
BETHEA, NICIALE                        KIRKENDALL DWYER LLP 4343 SIGMA RD SUITE 200 DALLAS TX 75244
BETTY WATKINS                          CORY, WATSON, CROWDER & DEGARIS, P.C. HUNT, STEPHEN 2131 MAGNOLIA AVE., SUITE
                                       200 BIRMINGHAM AL 35205
BETZ, MICHELLE                         THE POTTS LAW FIRM, LLP 1901 W 47TH PL #210 KANSAS CITY MO 66205
BEWLEY, SANDRA                         LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 SAN FRANCISCO CA 94111
BEXLEY, CHARLA                         LAW FIRM OF KELLEY UUSTAL, PLC 500 NORTH FEDERAL HIGHWAY, STE 200 UUSTAL,
                                       KELLEY FORT LAUDERDALE FL 33301
BEZUE, MASHANDER                       LILLIS LAW FIRM 338 LAFAYETTE STREET LILLIS, MICHAEL NEW ORLEANS LA 07013
BEZUE, MASHANDER                       MARTZELL, BICKFORD & CENTOLA 338 LAFAYETTE STREET CENTOLA III, LAWRENCE J. NEW
                                       ORLEANS LA 70130
BEZUE, MASHANDER                       MICHAEL HINGLE & ASSOCIATES, LLC 220 GAUSE BOULEVARD PFLEEGER, BRYAN A.
                                       HINGLE, MICHAEL SLIDELL LA 70458
BIAGETTI, MARILYN L AND BIAGETTI,      ROPGER; DEATON LAW FIRM C/O JOHN DEATON 450 N. BROADWAY EAST PROVIDENCE RI
                                       02914
BIGELOW, LOUISE                        CHAPPELL, SMITH & ARDEN, P.A. 2801 DEVINE ST, SUITE 300 COLUMBIA SC 29205
BILYEU, DARLA                          LANGDON & EMISON 911 MAIN STREET EMISON, BRETT A LEXINGTON MO 64067
BINIUS, CHRISTINA                      LEVIN SIMES ABRAMS LLP 1700 MONTGOMERY, SUITE 250 SAN FRANCISCO CA 94111
BIRCH, KIERSTEN                        MEYERS & FLOWERS, LLC 225 WEST WACKER DR., SUITE 1515 CHICAGO IL 60606
BIRMINGHAM, CONNIE                     BOHRER LAW FIRM, LLC 8712 JEFFERSON HIGHWAY, SUITE B BOHRER, PHILIP BATON
                                       ROUGE LA 70809
BISCEGLIO, JANICE                      MAUNE RAICHLE HARTLEY FRENCH & MUDD LLC; C/O SUZANNE M RATCLIFFE 659 EAGLE
                                       ROCK AVENUE, SUITE 28 WEST ORANGE NJ 07052
BISCHOFF, ERIKA                        CPC 9033 WILSHIRE BLVD STE 300 BEVERLY HILLS CA 90211-1846
BLACK, LAVINIA                         WILENTZ, GOLDMAN, & SPITZER, P.A. 90 WOODBRIDGE CENTER DR, STE. 900 KIZIS,
                                       LYNNE M. WOODBRIDGE NJ 07095
BLACKSTON, FARRIE                      HURLEY MCKENNA & MERTZ 20 S CLARK ST STE 2250 CHICAGO IL 60603-1817
BLACKWOOD, DIANA                       NIX PATTERSON & ROACH 3600 N CAPITAL OF TEXAS B350 SMITH, D. NEIL AUSTIN TX
                                       78746
BLAIR-RICHMOND, MIA                    LIAKOS LAW APC 1611 S. PACIFIC COAST HIGHWAY SUITE 200D REDONDO BEACH CA 90277
BLAIS, DANIELLE                        DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, STE 300 DIAZ JR., GERALD J. MADISON
                                       MS 39110
BLAJSZCZAK, CARMELLA                   BROWN CHIARI LLP 2470 WALDEN AVENUE WALSH, THERESA M. BUFFALO NY 14225
BLAJSZCZAK, CARMELLA                   BROWN CHIARI LLP 2470 WALDEN AVENUE WALSH, THERESA M. BUFFALO NY 14225
BLAKE, CHRISTINE                       THE CARLSON LAW FIRM 100 E CENTRAL TEXAS EXPRESSWAY KILLEEN TX 76541
BLAKE, KRYSTA                          EDLUND, GALLAGHER, HASLAM, MCCALL, WOLF & WOOTEN,PLLC 1701 N MARKET ST SUTIE
                                       210 WOOTEN, COBY L. SM DALLAS TX 75202
BLAKE, SUSAN                           HUTTON & HUTTON 8100 E. 22ND ST NORTH, BLDG. 1200 HUTTON, MARK B. HUTTON,
                                       ANDREW W. WITCHITA KS 67226
BLALOCK, CHRISTINE                     GUILLORY & MCCALL, L.L.C. PO BOX 1607 GUILLORY JR., ROBERT E. LAKE CHARLES LA
                                       70602-1607
BLANCHARD, ERIN                        BERNHEIM KELLY BATTISTA & BLISS 4 COURT STREET BERNHEIM, JESSE PLYMOUTH MA
                                       02360
BLANKSCHAEN, JUDITH                    MAUNE RAICHLE HARTLEY FRENCH & MUDD LLC; C/O SUZANNE M RATCLIFFE 659 EAGLE
                                       ROCK AVENUE, SUITE 28 WEST ORANGE NJ 07052
BLANTON, SHARON                        EDLUND, GALLAGHER, HASLAM, MCCALL, WOLF & WOOTEN,PLLC 1701 N MARKET ST SUTIE
                                       210 WOOTEN, COBY L. SM DALLAS TX 75202
BLAZIO, LINDA                          LAW OFFICE OF JOHN D. SILEO, LLC 320 NORTH CARROLLTON AVE, STE 101 SILEO, JOHN
                                       D. MOLL, CASEY NEW ORLEANS LA 70119
BLEECKER, ANNE                         THE CLORE LAW GROUP LLC 125 WAPPOO CREEK DR BLDG G STE 102 CHARLESTON SC 29412
BLOSS, CONCETTA                        THORNTON LAW FIRM 1 LINCOLN ST, FL 13, STATE ST FIN CTR MCGOLDRICK, MARILYN T.


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BLOSS, CONCETTA                  BOSTON MA 02111
BLOW, PRISCILLA                  NIX PATTERSON & ROACH 3600 N CAPITAL OF TEXAS B350 SMITH, D. NEIL AUSTIN TX
                                 78746
BLUME, LESLEY                    WILSON LAW PA 1111 HAYNES ST, STE 103 (27604) RALEIGH NC 27605
BLUTH, DEBORAH                   SCHLESINGER LAW OFFICES, P.A. 1212 SE 3RD AVE SCHLESINGER,SCOTT P GDANSKI,
                                 JOHNATHAN R. FT. LAUDERDALE FL 33316
BOBO, GEORGIA                    THE POTTS LAW FIRM, LLP 1901 W 47TH PL #210 KANSAS CITY MO 66205
BOCANEGRA, ELIZABETH EST OF      E. GABALDON; FLINT LAW FIRM LLC C/O ETHAN FLINT 222 E PARK ST, STE 500, PO BOX
                                 189 EDWARDSVILLE IL 62034
BOECKER, ADELINE                 THORNTON LAW FIRM LLP ONE LINCOLN 25TH FLOOR MCGOLDRICK, MARILYN T. BOSTON MA
                                 02111
BOHANNON, MARY                   BART DURHAM INJURY LAW DURHAM, BLAIR 404 JAMES ROBERTSON PKWY, STE 1712
                                 NASHVILLE TN 37219
BOLES, SAMANTHA                  MARY ALEXANDER & ASSOCIATES, P.C. 44 MONTGOMERY STREET, SUITE 1303 WAY,
                                 BRENDAN D.S. MUNOZ, CATALINA S SAN FRANCISCO CA 94104
BOLTON, GLORIA                   HOLLIS, WRIGHT, CLAY & VAIL, P.C. 2201 MORRIS AVE MCNUTT, CHRISTOPHER
                                 BIRMINGHAM AL 35203
BOND, KRISTIE                    BLASINGAME, BURCH,GARRARD & ASHLEY, PC; GARRARD,H, HILL,A, MATTHEWS,J P.O. BOX
                                 832 ATHENS GA 30603
BOND-BOOTH, BEVERLY              TAUTFEST BOND 5151 BELT LIND RD, STE 1000 GLITZ, JESSICA DALLAS TX 07525
BONDURANT, LYNDA                 ALLAN BERGER AND ASSOCIATES 4173 CANAL STREET GEIGER, ANDREW NEW ORLEANS LA
                                 70119
BONNEM, SUSAN L.                 COONEY AND CONWAY C/O MICHAEL COONEY 120 N. LASALLE STREET, 30TH FLOOR CHICAGO
                                 IL 60602
BONNER, ANGELINNE                THE CARLSON LAW FIRM 100 E CENTRAL TEXAS EXPRESSWAY KILLEEN TX 76541
BORGER, SUSAN                    GOLDENBERG HELLER ANTOGNOLI & ROWLAND, PC 2227 S STATE RTE 157 HUBBARD, KATIE
                                 A. EDEARDSVILLE IL 62025
BORGER, SUSAN                    BARRETT LAW GROUP, P.A. 404 COURT SQUARE LEXINGTON MS 39095
BORGER, SUSAN                    BURNS CHAREST LLP 500 NORTH AKARD STREET, STE 2810 COX, SPENCER M. DALLAS TX
                                 75201
BOSTWICK, DOLORES                SEITHEL LAW LLC POST OFFICE BOX 1929 CHARLESTON SC 29457
BOSWELL, ARLENE                  BERSTEIN LIEBHARD LLP 10 EAST 40TH STREET - FLOOR 22 BURKE, DANIEL C. NEW YORK
                                 NY 10016
BOTZENHARDT, CRISTINE            THE MICHAEL BRADY LYNCH FIRM 127 W. FAIRBANKS AVE, NO. 528 WINTER PARK FL
                                 32789
BOTZENHARDT, CRISTINE            MILSTEIN, JACKSON, FAIRCHILD & WADE, LLP 10250 CONSTELLATION BLVD, STE 1400
                                 LOS ANGELES CA 90067
BOUCHARD, LAURA                  WILSON LAW PA 1111 HAYNES ST, SUITE 103 (27604) RALEIGH NC 27605
BOUGHER, BARBARA                 THE BARNES FIRM, LC 655 W. BROADWAY, STE. 940 OLIVER, CHRISTIAN R SAN DIEGO CA
                                 92101
BOULIER, TAMARA                  BERMAN & SIMMONS, P. A. 129 LISBON STREET KAYATTA, E.A. GIDEON, B.R. LEWISTON
                                 ME 04240
BOUNDS, JANA                     DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, STE 300 DIAZ JR., GERALD J. MADISON
                                 MS 39110
BOUNDY, LYNNETTE                 JOEL E. BROWN & ASSOCIATES, P.C. 416 MAIN ST., SUITE 1300 PEORIA IL 61602
BOURBON, MARY                    THORNTON LAW FIRM LLP ONE LINCOLN 25TH FLOOR MCGOLDRICK, MARILYN T. BOSTON MA
                                 02111
BOURNE, REGINA                   THE POTTS LAW FIRM, LLP 1901 W 47TH PL #210 KANSAS CITY MO 66205
BOVA, KIRA                       MARY ALEXANDER & ASSOCIATES, P.C. 44 MONTGOMERY STREET, SUITE 1303 WAY,
                                 BRENDAN D.S. MUNOZ, CATALINA S SAN FRANCISCO CA 94104
BOWEN, ELAINE                    CLARK ROBB MASON COULMBE, ET AL. 350 CAMINO GARDENS BLVD STE 303 BOCA RATON FL
                                 33432-5825



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BOWENS, SHARON                        BART DURHAM INJURY LAW DURHAM, BLAIR 404 JAMES ROBERTSON PKWY, STE 1712
                                      NASHVILLE TN 37219
BOWERS, ELISA                         KELLEY UUSTAL, PLC 500 NORTH FEDERAL HIGHWAY, STE 200 FORT LAUDERDALE FL 33301
BOWLAND, AMBER                        BERNSTEIN LIEBHARD LLP 10 E 40TH ST, FLOOR 29 BURKE, DANIEL C. NEW YORK NY
                                      10016
BOWLIN, NORMA EST OF GARY MOSS        KASSEL MCVEY 1330 LAUREL STREET POST OFFICE BOX 1476 COLUMBIA SC 29202
BOWLIN, NORMAN D EST OF GARY JAY      MOSS; DEAN OMAR BRANHAM, LLP C/O JESSICA DEAN 302 N. MARKET ST., SUITE 300
                                      DALLAS TX 75202
BOWLING, OLEITA                       SILL LAW GROUP, PLLC 1101 N. BROADWAY, SUITE 102 SILL, MATTHEW J. OKLAHOMA
                                      CITY OK 73013
BOWMAN, JOANN                         MAUNE RAICHLE HARTLEY FRENCH & MUDD LLC, C/O SUZANNE M. RATCLIFFE 659 EAGLE
                                      ROCK AVENUE, SUITE #28 WEST ORANGE NJ 07052
BOWMAN, PHYLLIS-JEANNE                LAW OFFICES OF JAMES SCOTT FARRIN 280 MANGUM STREET, SUITE 400 JACKSON, GARY
                                      W. DURHAM NC 27701
BOYCE, JOANN                          ROSS LAW OFFICES, P.C. 18 EAST CHESTNUT STREET SHARON MA 02067
BOYD, JENNIFER                        BECKER LAW GROUP 117 E COLORADO BLVD, STE 500 SHEAR, BRIAN E. BECKER, TODD B.
                                      PASADENA CA 91105
BOYKINS, KIMBERLY                     HAUSFELD 888 16TH ST NW STE 300 WASHINGTON DC 20006-4103
BOYLE, YOLANDA                        SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C. 120 BROADWAY 27TH FLOOR NEW YORK
                                      NY 01027
BRADEN, LINDA                         BART DURHAM INJURY LAW DURHAM, BLAIR 404 JAMES ROBERTSON PKWY, STE 1712
                                      NASHVILLE TN 37219
BRADLEY, MARCIE                       SILL LAW GROUP, PLLC 1101 N. BROADWAY, SUITE 102 SILL, MATTHEW J. OKLAHOMA
                                      CITY OK 73013
BRAL, MOJGAN                          THE LAW FIRM OF JOSEPH H. LOW IV 100 OCEANGATE, 12TH FLOOR LOW IV, JOSEPH H.
                                      LONG BEACH CA 90802
BRAMMER, JOYCE                        HARRISON DAVIS STEAKLEY MORRISON JONES, PC 5 RITCHIE RD WACO TX 76712
BRANCH, SANDRA                        LAW OFFICES DENNIS F. OBRIEN, P.A. 2012 S. TOLLGATE ROAD SUITE 209 OBRIEN,
                                      DENNIS F. BEL AIR MD 21015
BRANDON, RACHEL STEEN                 FRAZER LAW LLC 1415 UNIVERSITY AVE MCMURTRAY, P.D. FRAZER II, T.R. OXFORD MS
                                      38655
BRAYALL, ELISA                        WOCL LEYDON LLC 80 FOURTH STREET LEYDON, B.P. FUSCO, J.E. STAMFORD CT 06905
BREAUX, DORIS                         FLEMING, NOLEN & JEZ, LLP 2800 POST OAK BLVD., STE 4000 HOUSTON TX 77056
BRIDGES, DEBBIE                       LINVILLE LAW GROUP 1932 N DRUID HILLS RD NE, SUITE 200 GANDHI, VINITA ATLANTA
                                      GA 30319
BRIDGES, LAURA                        BACHUS & SCHANKER LLC 123 N COLLEGE AVE #200 FORT COLLINS CO 80524
BRIDGES, MARJORIE                     FLEMING, NOLEN & JEZ, LLP 2800 POST OAK BLVD., STE 4000 HOUSTON TX 77056
BRIGMAN, BARBARA                      STECKLER GRESHAM COCHRAN 62 COLUMBUS STREET FEIDLER, STEFAN B ST. CHARLESTON
                                      SC 29403
BRINKLEY, JOAN                        MORRELL LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                      YORK NY 10017
BRISON, DEANNA                        SILL LAW GROUP, PLLC 1101 N. BROADWAY, SUITE 102 SILL, MATTHEW J. OKLAHOMA
                                      CITY OK 73013
BROCK, LATISHA                        LAW OFFICE OF HAYTHAM FARAJ 1935 W BELMONT AVE FARAJ, HAYTHAM CHICAGO IL 60657
BROCK, LOIS                           THE CUFFIE LAW FIRM 3080 CAMPBELTON ROAD SOUTHWEST CUFFIE, THOMAS ATLANTA GA
                                      30311
BROMLEY, BRENDA                       GOZA & HONNOLD, LLC 9500 NALL AVE., SUITE 400 OVERLAND PARK KS 66207
BROOKS, DENISE                        MEYERS & FLOWERS, LLC FLOWERS, PETER J. 225 WEST WACKER DR., SUITE 1515
                                      CHICAGO IL 60606
BROOKS, EVELYN                        HARRISON DAVIS STEAKLEY MORRISON JONES, PC 5 RITCHIE RD WACO TX 76712
BROOKS, RAMONA                        LAW OFFICES OF THEIDA SALAZAR 2140 NORTH HOLLYWOOD WAY, 7192 SALAZAR, THEIDA
                                      BURBANK CA 91510



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Claim Name                                Address Information
BROUGHTON, DEBORAH                       DUGAN LAW FIRM, PLC 365 CANAL PLACE NEW ORLEANS LA 70130
BROUGHTON, ERICA                         GOZA & HONNOLD, LLC 9500 MALL AVE #400 OVERLAND PARK KS 66207
BROUSSARD, SHAVONTAIE                    POURCIAU LAW FIRM, LLC 2200 VETERANS MEMORIAL BLVD. SUITE 210 KENNER LA 70062
BROUSSARD, SHAVONTAIE                    THE CHEEK LAW FIRM 650 POYDRAS STREET, SUITE 2310 LINDSEY A. CHEEK NEW ORLEANS
                                         LA 70130
BROWDER, ALMA                            THE LAW OFFICES OF HAYTHAM FARAJ 1935 W BELMONT AVE FARAJ, HAYTHAM CHICAGO IL
                                         60657
BROWER, DIANE                            ROBBINS ROSS ALLOY BELINFANTE LITTLEFIELD LLC 500 14TH ST, NW ATLANTA GA 30318
BROWN, AMY                               1300 S UNIVERSITY DR STE 407 FT WORTH TX 76107-5727
BROWN, BRENDA                            MICHAEL HINGLE & ASSOCIATES, LLC 220 GAUSE BOULEVARD PFLEEGER, BRYAN A.
                                         HINGLE, MICHAEL SLIDELL LA 70458
BROWN, CAMMIE EST OF CASSIE COLWELL      SWMW LAW, LLC C/O BENJAMIN SCHMICKLE 701 MARKET STREET, SUITE 1000 ST. LOUIS
                                         MO 63101
BROWN, DANA                              LINVILLE LAW GROUP 1932 N DRUID HILLS RD NE, SUITE 200 GANDHI, VINITA ATLANTA
                                         GA 30319
BROWN, EDNA                              TAFT STETTINIUS & HOLLISTER LLP 111 EAST WACKER, SUTIE 2800 CHICAGO IL 60601
BROWN, EDNA                              MEYERS & FLOWERS, LLC 225 WEST WACKER DR., SUITE 1515 CHICAGO IL 60606
BROWN, ELAINE                            CAMPBELL & ASSOCIATES 717 EAST BLVD CAMPBELL, CLAIR G. CHARLOTTE NC 28203
BROWN, ESTEFANA                          THE CARLSON LAW FIRM 100 E CENTRAL TEXAS EXPRESSWAY KILLEEN TX 76541
BROWN, JUANITA                           THORNTON LAW FIRM LLP ONE LINCOLN 25TH FLOOR MCGOLDRICK, MARILYN T. BOSTON MA
                                         02111
BROWN, LILLIE                            THE DEATON LAW FIRM 450 NORTH BROADWAY EAST PROVIDENCE RI 02814
BROWN, MELANIE                           THE WHITEHEAD LAW FIRM, LLC 3639 AMBASSADOR CAFFERY PKWY PETROLEUM TWR, STE
                                         303 LAFAYETTE LA 70503
BROWN, OZZIE                             THE CUFFIE LAW FIRM 3080 CAMPBELTON ROAD SOUTHWEST CUFFIE, THOMAS ATLANTA GA
                                         30311
BROWN, PHYLLIS                           NAPOLI SHKOLNIK LLC 400 BROADHOLLOW RD, STE 305 HRUBIEC, R. JOSEPH MELVILLE NY
                                         11747
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                                         NY 10016
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                                         BIRMINGHAM MI 48009
BRYANT, SHERRI AND BRYANT, MARK          DEAN OMAR BRANHAM, LLP C/O JESSICA DEAN 302 N. MARKET ST., SUITE 300 DALLAS TX
                                         75202
BUANNIC, LYNN                            FELDMAN & PINTO 30 S 15TH ST, 15TH FLOOR LAURA A. FELDMAN PHILADELPHIA PA
                                         19102
BUBACZ, CARLA                            DUGAN LAW FIRM, PLC 365 CANAL PLACE NEW ORLEANS LA 70130
BUBRIG, REBA                             ALLAN BERGER AND ASSOCIATES 4173 CANAL STREET GEIGER, ANDREW NEW ORLEANS LA
                                         70119
BUCKHOLZ, PAMELA                         BOHRER LAW FIRM, LLC 8712 JEFFERSON HIGHWAY, SUITE B BOHRER, PHILIP BATON
                                         ROUGE LA 70809
BUCKIE, JUDITH                           MOTLEY RICE NEW JERSEY LLC 210 LAKE DRIVE EAST, STE. 101 BEREZOFSKY, ESTHER
                                         CHERRY HILL NJ 08002
BUCKLEY, ROSEMARY                        DEGARIS WRIGHT MCCALL 5707 W INTERSTATE 10 STE 101 SAN ANTONIO TX 78201-2860
BUEHLER, TAMMY                           WILLIAMS DECLARK TUSCHMAN CO, LPA 626 MADISON AVENUE TOLEDO OH 43604-1110
BUENROSTRO, GINA                         LEVY KINIGSBERG LLP 605 3RD AVE FL 16 NEW YORK NY 10158-1699
BUENTING, ASHLEY                         MOTLEY RICE NEW JERSEY LLC 210 LAKE DRIVE EAST, STE. 101 BEREZOFSKY, ESTHER


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Claim Name                          Address Information
BUENTING, ASHLEY                   CHERRY HILL NJ 08002
BUFFALOE, ROCKY HENDRICKS          LAW OFFICES OF JAMES SCOTT FARRIN 280 MANGUM STREET, SUITE 400 JACKSON, GARY
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                                   SUITE 100 REDBANK NJ 07701
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BUNCH, LINDA                       LAW OFFICES OF DONALD G. NORRIS 3055 WILSHIRE BLVD, STE. 980 NORRIS, DONALD G
                                   LOS ANGELES CA 90010
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BURGER, BRITTANY                   SWMW LAW, LLC C/O BENJAMIN SCHMICKLE 701 MARKET STREET, SUITE 1000 ST. LOUIS
                                   MO 63101
BURGER, CHRISTIE                   MARLIN & SALTZMAN LLP 29800 AGOURA ROAD, SUITE 210 AGOURA HILLS CA 97301
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BURGO, DEBORAH                     LINVILLE LAW GROUP 1932 N DRUID HILLS RD NE, SUITE 200 GANDHI, VINITA ATLANTA
                                   GA 30319
BURKAT, MARGARET                   MOTLEY RICE NEW JERSEY LLC LAPINSKI, DANIEL R. 210 LAKE DRIVE EAST, STE. 101
                                   CHERRY HILL NJ 08002
BURKEY, DARLINE                    DUGAN LAW FIRM, PLC 365 CANAL PLACE NEW ORLEANS LA 70130
BURKS, LUCILLE                     THE CUFFIE LAW FIRM 3080 CAMPBELTON ROAD SOUTHWEST CUFFIE, THOMAS ATLANTA GA
                                   30311
BURNETT, LISA                      NIX PATTERSON & ROACH 3600 N CAPITAL OF TEXAS B350 SMITH, D. NEIL AUSTIN TX
                                   78746
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                                   CADE, GREGORY A BIRMINGHAM AL 32205
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                                   70130
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                                   SC 29403
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                                   STEPHEN BIRMINGHAM AL 35205
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                                   210 WOOTEN, COBY L. SM DALLAS TX 75202
BUVINGER, LINDA                    KILLIAN, DAVIS, RICHTER & MAYLE, PC 202 NORTH 7TH STREET MAYLE, NICHOLAS W.
                                   GRAND JUNCTION CO 81502
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BYINGTON, ALMA                     BART DURHAM INJURY LAW DURHAM, BLAIR 404 JAMES ROBERTSON PKWY, STE 1712
                                   NASHVILLE TN 37219
BYNUM, LANA                        FRAZER LAW LLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER II,



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BYNUM, LANA                              T. ROE NASHVILLE TN 37215
BYRD, DARLENE                            MICHAEL HINGLE & ASSOCIATES, LLC 220 GAUSE BOULEVARD PFLEEGER, BRYAN A.
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CABAN, ZAIDA                             SZAFERMAN LAKIND BLUMSTEIN & BLADER,PC; 101 GROVRS MILL RD, #200 LYTLE, ROBERT
                                         E LAWRENCE TOWNSHIP NJ 08648
CABELLO, VANESSA                         LIEFF CABRASER HEIMANN & BERNSTEIN LLP; 250 HUDSON ST, 8TH FL MCNABB, KELLY K
                                         LONDON, SARAH R. NEW YORK NY 10013
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                                         R. SAN FRANCISCO CA 94111-3339
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CAIN, LINDA                              THE CARLSON LAW FIRM 100 E CENTRAL TEXAS EXPRESSWAY KILLEEN TX 76541
CAIN, NIKKI                              SUGARMAN LAW, LLC 80 EAST MAIN STREET SUGARMAN, BARRY B. SOMERVILLE NJ 08876
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                                         ORLEANS LA 71063
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                                         P. AUSTIN TX 78701
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CAMPBELL, MARY                           THE CARLSON LAW FIRM 100 E CENTRAL TEXAS EXPRESSWAY KILLEEN TX 76541
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                                         70130
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                                         WELLING, LAUREN IRVINE CA 92606



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CANTOR, BETH                             THORNTON LAW FIRM LLP ONE LINCOLN 25TH FLOOR MCGOLDRICK, MARILYN T. BOSTON MA
                                         02111
CANZATE, KIMBERLY EST OF MARY MINER      SWMW LAW, LLC C/O BENJAMIN SCHMICKLE 701 MARKET STREET, SUITE 1000 ST. LOUIS
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CARAS, SHIRLEY                           THE CARLSON LAW FIRM 100 E CENTRAL TEXAS EXPRESSWAY KILLEEN TX 76541
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                                         02111
CARNES, JULIE                            KILLIAN, DAVIS, RICHTER & MAYLE, PC 202 NORTH 7TH STREET MAYLE, NICHOLAS W.
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                                         MS 39110
CARR, ROSE                               BOHRER LAW FIRM, LLC 8712 JEFFERSON HIGHWAY, SUITE B BOHRER, PHILIP BATON
                                         ROUGE LA 70809
CARRINO, SUSAN                           MOTLEY RICE NEW JERSEY LLC 210 LAKE DRIVE EAST, STE. 101 BEREZOFSKY, ESTHER
                                         CHERRY HILL NJ 08002
CARROLL, ROSELYN                         SAUNDERS & WALKER, P.A. P.O. BOX 1637 SAUNDERS, JOSEPH H. PINELLAS PARK FL
                                         33780-1637
CARROLL, SANDRA                          LAW OFFICES OF CHARLES H JOHNSON,PA 2599 MISSISSIPPI STREET NEW BRIGHTON MN
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                                         BOUDREAUX, PAUL T. TULSA OK 74136
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                                         CHERRY HILL NJ 08002
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                                         91505
CARVER, RUTH                             THE DEATON LAW FIRM 450 NORTH BROADWAY EAST PROVIDENCE RI 02814
CASANO, MARY                             THE WEINBERG LAW FIRM 149 LIVINGSTON AVENUE NEW BRUNSWICK NJ 08901
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CASARETTO,ALBERTO & CASARETTO,IRENE      LEVIN PAPANTONIO THOMAS, ET AL. C/O CHRISTOPHER TISI 316 SOUTH BAYLEN ST, STE
                                         600 PENSACOLA FL 32502
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                                         ASLAMI,SOPHIA M. ALEXANDER,MARY E SAN FRANCISCO CA 94104
CASEY, CAROL                             MOORE LAW GROUP PLLC 1473 SOUTH 4TH STREET SMITH, ASHTON ROSE LOUISVILLE KY
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CASEY, CAROL                             OLDFATHER LAW FIRM 1330 SOURTH THIRD STREET LOUISVILLE KY 40208
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CASTILLE, BERNADETTE                     DEATON LAW FIRM C/O JOHN DEATON 450 N. BROADWAY EAST PROVIDENCE RI 02914



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Claim Name                            Address Information
CASTILLO, BECKY                      CPC 2 CORPORATE PARK, SUITE 110 IRVINE CA 92606
CASTILLO, RACHAEL                    WILSON LAW PA 1111 HAYNES ST, STE 103 (27604) RALEIGH NC 27605
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CEA, ELIZABETH                       YAEGER LAW, PLLC 834 3RD AVENUE SOUTH YAEGER, LAURA V BENCH, ROBERT J TIERRA
                                     VERDE FL 33715
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                                     JOHNSON,CHRISTOPHER R AUSTIN TX 78746
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CHAPMAN, THERESA                     MOTLEY RICE NEW JERSEY LLC 210 LAKE DRIVE EAST, STE. 101 HOYLE, THOMAS DAVID
                                     CHERRY HILL NJ 08002
CHARLEBOIS, PAMELA                   DEGARIS WRIGHT MCCALL 5707 W INTERSTATE 10 STE 101 SAN ANTONIO TX 78201-2860
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                                     SUITE 3400 DALLAS TX 75204
CHARLES, ROSE                        POURCIAU LAW FIRM, LLC 2200 VETERANS MEMORIAL BLVD. SUITE 210 KENNER LA 70062
CHARLES, ROSE                        GALANTE & BIVALACQUA LLC 650 POYDRAS STREET, SUITE 2615 GALANTE, SCOTT M. NEW
                                     ORLEANS LA 70130
CHARLES, ROSE                        THE CHEEK LAW FIRM 650 POYDRAS STREET, SUITE 2310 LINDSEY A. CHEEK NEW ORLEANS
                                     LA 70130
CHAVEZ, MICHELLE                     ASPEY, WATKINS & DIESEL, PLLC 123 N SAN FRANCISCO ST SUITE 300 FLAGSTAFF AZ
                                     86001
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                                     NJ 07016
CHESTER, DIANE                       THE CARLSON LAW FIRM 100 E CENTRAL TEXAS EXPRESSWAY KILLEEN TX 76541
CHIARAMONTE, PHYLLIS                 VENTURA LAW 235 MAIN STREET FITZPATRICK, KELLY A. DANBURY CT 06810
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                                     BRAHMBHATT,SEJAL K BOUNDAS,JOHN T HOUSTON TX 77017
CHRISTOPHER, KAREN                   EISENBERG ROTWEILLER, ET AL. 1634 SPRUCE ST SCHOENHAUS, TODD A. PHILADELPHIA
                                     PA 19103
CHRISTOPHER, MARSHA                  MARTIN BAUGHMAN, PLLC 3141 HOOD STREET, STE 600 DALLAS TX 75219


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Claim Name                               Address Information
CHRISTOPHERSON, SHIRLEY                 PETERSON & ASSOCIATE, P.C. 801 W. 47TH ST, STE 107 PETERSON, DAVID M.
                                        CLEVENGER, NICHOLAS S. KANSAS CITY MO 64112
CHRUCH, SHERON                          FRAZER LAW LLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER II,
                                        T. ROE NASHVILLE TN 37215
CHURCH, JANE                            COHEN, PLACITELLA & ROTH, P.C. 2001 MARKET ST, SUITE 2900 GEIER, DENNIS M.
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CICCARIELLO, KATHRYN                    THE DEATON LAW FIRM 450 NORTH BROADWAY EAST PROVIDENCE RI 02814
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CINTRON, MARTA                          CARAZO QUETGLAS LAW OFFICES PMB 133 AVE. ESMERALDA 53, STE. 2 CARAZO-QUETGLAS,
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                                        WILLIAM L. BIRMINGHAM AL 35203
CLARK, IDA                              HARRISON DAVIS STEAKLEY MORRISON JONES, PC 5 RITCHIE RD WACO TX 76712
CLARK, KATHLEEN                         THE DEATON LAW FIRM 450 NORTH BROADWAY EAST PROVIDENCE RI 02814
CLARK, KAYME                            THE EARLY FIRM, LLC C/O MATHEW PARK 360 LEXINGTON AVE, 20TH FLOOR NEW YORK NY
                                        10017
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                                        75202
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COLLINS, ERMA                   LIAKOS LAW APC 1611 S. PACIFIC COAST HIGHWAY STE 200D REDONDO BEACH CA 90277
COLLINS, PATRICIA               THE ZEVAN AND DAVIDSON LAW FIRM ONE NORTH TAYLOR AVENUE ST. LOUIS MO 63105
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CORPUS, EDNA                    FEARS NACHAWATI, PLLC 5489 BLAIR RD DALLAS TX 75231



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CORRON, ALLISON                   LIAKOS LAW APC 1611 S. PACIFIC COAST HIGHWAY STE 200D REDONDO BEACH CA 90277
CORTES DE MARRON, ALTAGRACIA      GOLDENBERG HELLER ANTOGNOLI & ROWLAND, PC 2227 S STATE RTE 157 HUBBARD, KATIE
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CROFT, GLENDA                     MORRIS LAW FIRM 4111 W. ALAMEDA AVE SUITE 611 MORRIS, JAMES A. BURBANK CA
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CRONE, DENIS                      THE BRANDI LAW FIRM 354 PINE ST, 3RD FL MALLOY, BRIAN J EDWARDS, TERENCE D
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CULLEY, LISA                      HART MCLAUGHLIN & ELDRIDGE 22 W WASHINGTON ST STE 1600 CHICAGO IL 60602-1615



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CULP, MELVA                              FLEMING, NOLEN & JEZ, LLP 2800 POST OAK BLVD., STE 4000 HOUSTON TX 77056
CUMBY, LAVERNE                           ASPEY, WATKINS & DIESEL, PLLC 123 N SAN FRANCISCO ST SUITE 300 FLAGSTAFF AZ
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Claim Name                                Address Information
DAVIS, JUDY                              67226
DAVIS, KAREN                             LIEFF CABRASER HEIMANN & BERENSTEIN LLP; 250 HUDSON ST, 8TH FL MCNABB, KELLY K
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DEDEAAUX, GLORIA                         FRAZER LAW LLC 1415 UNIVERSITY AVE MCMURTRAY, P.D. FRAZER II, T. R. OXFORD MS
                                         38655
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Claim Name                       Address Information
DENEEN, CAROL                   THORNTON LAW FIRM LLP ONE LINCOLN 25TH FLOOR MCGOLDRICK, MARILYN T. BOSTON MA
                                02111
DENNIS, ANGELA                  GOZA & HONNOLD, LLC 9500 MALL AVE #400 OVERLAND PARK KS 66207
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DEVILLE, PAMELA                 GALANTE & BIVALACQUA LLC 650 POYDRAS STREET, SUITE 2615 GALANTE, SCOTT M. NEW
                                ORLEANS LA 70130
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                                19102
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DICKENS, CYNTHIA                MORRIS LAW FIRM 6310 SAN VICENTE BLVD, SUITE 360 MORRIS, JAMES A. ANDERSON,
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                                21201
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                                CARMEL IN 46032
DIMARIA, DIANE                  MCELDREW YOUNG 123 S. BROAD STREET, SUITE 2250 LAURIA, BRANDON J. PHILADELPHIA
                                PA 19146
DIPPOLD, ELIZABETH              BROWN CHIARI LLP 2470 WALDEN AVENUE WALSH, THERESA M. BUFFALO NY 14225
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DIVIDUO, ZULMA                  CARAZO QUETGLAS LAW OFFICES PMB 133 AVE. ESMERALDA 53, STE. 2 CARAZO-QUETGLAS,
                                JORGE GUAYNABO PUERTO PR 00969
DIVJAK, ELSIE                   MICHAEL S. WERNER, PARKER WAICHMAN LLP 6 HARBOR PARK DR. PORT WASHINGTON NY
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                                ROUGE LA 70809
DIXON, BRENDA                   CATES MAHONEY, LLC 216 WEST POINTE DR, SUITE A CATES, DAVID I. SWANSEA IL
                                62226
DONAHUE, MARION                 THE WHITEHEAD LAW FIRM, LLC 3639 AMBASSADOR CAFFERY PKWY PETROLEUM TWR, STE
                                303 LAFAYETTE LA 70503


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Claim Name                                Address Information
DONAWAY, LUANN                           MOTLEY RICE NEW JERSEY LLC 210 LAKE DRIVE EAST, STE. 101 BEREZOFSKY, ESTHER
                                         CHERRY HILL NJ 08002
DONNA, JOHNSON,                          WEITZ & LUXENBERG C/O MARK BRATT 1880 CENTURY PARK EAST, SUITE 700 LOS ANGELES
                                         CA 90067
DOOHER, CAROL                            COPPICE ASSET MANAGEMENT 101 S SALINA ST; 750 M&T BANK BLDG SHANNON, KELSEY W.
                                         SYRACUSE NY 13202
DORFMAN, PATRICIA                        MARLIN & SALTZMAN LLP 29800 AGOURA ROAD, SUITE 210 AGOURA HILLS CA 97301
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                                         SUGAR LAND TX 77478-3688
DORZEY, MARY                             BEKMAN, MARDER, & ADKINS, LLC 1829 REISTERSTOWN RD STE 200 PIKESVILLE MD
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DOUB, ANNE                               FITZGERALD LAW GROUP, LLC 120 EXHANGE STREET, SUITE 200 FITZGERALD, KEVIN M
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DOUGLAS, VALERIE                         PANISH, SHEA & BOYLE 11111 SANTA MONICA BLVD., SUITE 700 KAUFMAN, PETER L. LOS
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DOWNS, JUDITH                            LANGDON & EMISON 911 MAIN STREET EMISON, BRETT A LEXINGTON MO 64067
DOWNS, SUE                               DAMATO LAW FIRM, P.C. 2900 FIRE ROAD, SUITE 200 DAMATO, PAUL R. EGG HARBOR
                                         TOWNSHIP NJ 08234
DOYLE, LINDA                             YAEGER LAW, PLLC 834 3RD AVENUE SOUTH YAEGER, LAURA V BENCH, ROBERT J TIERRA
                                         VERDE FL 33715
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                                         HARRISON ST #400 OAKLAND CA 94607
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                                         EAST, SUITE 101 CHERRY HILL NJ 08002
DOZIER, DONNA                            FLINT LAW FIRM LLC C/O ETHAN FLINT 222 E PARK ST, STE 500, PO BOX 189
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                                         DIEGO CA 92101
DUFRENE, JOAN                            POURCIAU LAW FIRM, LLC 2200 VETERANS MEMORIAL BLVD SUITE 210 KENNER LA 70062
DUFRENE, JOAN                            GALANTE & BIVALACQUA LLC 650 POYDRAS STREET, SUITE 2615 GALANTE, SCOTT M. NEW
                                         ORLEANS LA 70130
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DUKES, ANDRIEA                           THE CUFFIE LAW FIRM 3080 CAMPBELTON ROAD SOUTHWEST CUFFIE, THOMAS ATLANTA GA
                                         30311
DUNBAR, CHARLOTTE                        THE BRANDI LAW FIRM 354 PINE STREET, THIRD FLOOR EDWARDS,TERENCE D.


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DUNBAR, CHARLOTTE                        BRANDI,THOMAS J. SAN FRANCISCO CA 94104
DUNBAR, PATRICIA                         TAFT STETTINIUS & HOLLISTER LLP 111 EAST WACKER, SUTIE 2800 CHICAGO IL 60601
DUNHAM, WANDA                            BERMAN & SIMMONS, P. A. 129 LISBON STREET FAUNCE, SUSAN LEWISTON ME 04240
DUNN, JOANNE                             MOTLEY RICE NEW JERSEY LLC 210 LAKE DRIVE EAST, STE. 101 BEREZOFSKY, ESTHER
                                         CHERRY HILL NJ 08002
DUNN, VIRGINIA                           RIESEN DURANT, LLC 613 LONG POINT RD 100 CANNON JR.   RHAME 'CHIP' B. MT
                                         PLEASANT SC 29464
DUNNAVANT, TEREASA                       WILSON LAW PA 1111 HAYNES STREET,STE 103 (27604) RALEIGH NC 27605
DUPART, SHERRI                           MARY ALEXANDER & ASSOCIATES, P.C. 44 MONTGOMERY STREET, SUITE 1303 ASLAMI,
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DUPOUX, CAROL                            OSBORNE & FRANCIS LAW FIRM PLLC 433 PLAZA REAL, SUITE 271 BOCA RATON FL 33432
DURAN, LILIA (JASSO)                     GIBBS LAW GROUP LLP 6701 CENTER DRIVE WEST, 14TH FLOOR LOS ANGELES CA 90045
DURAN, ROSA                              SHAW COWART, LLP 1609 SHOAL CREEK BLVD, SUITE 100 SHAW, ETHAN L. COWART, JOHN
                                         P. AUSTIN TX 78701
DURBIN, RACHAEL                          CHAPPELL, SMITH & ARDEN, P.A. 2801 DEVINE ST, SUITE 300 COLUMBIA SC 29205
DURKIN, ESTHER                           DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, STE 300 DIAZ JR., GERALD J. MADISON
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DYCKMAN, DIANE                           HELMSDALE LAW, LLP 6 CONSULTANT PL., SUITE 100-A DURHAM NC 17707
DYE, KATHLEEN                            MOTLEY RICE, LLC 55 CEDAR ST., STE 100 ORENT, JONATHAN D. PROVIDENCE RI 02903
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EAGLIN, SHARON                           THE LEVENSTEN LAW FIRM, P.C. 1420 WALNUT STREET, SUITE 1500 PHILADELPHIA PA
                                         19102
EASTER, TRAMAINE                         CAMPBELL & ASSOCIATES 717 EAST BLVD CAMPBELL, CLAIR G. CHARLOTTE NC 28203
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                                         MIAMI FL 03313
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                                         78746
EDWARDS, CHRISHA                         THE CUFFIE LAW FIRM 3080 CAMPBELTON ROAD SOUTHWEST CUFFIE, THOMAS ATLANTA GA
                                         30311
EDWARDS, JENNIFER                        PUTNICK LEGAL, LLC C/O MARY ELIZABETH PUTNICK AYLSTOCK WITKIN, 17 E. MAIN ST
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EDWARDS, MAMIE                           FEARS NACHAWATI, PLLC 5489 BLAIR RD DALLAS TX 75231
EDWARDS, SHIRLEY                         THE CUFFIE LAW FIRM 3080 CAMPBELTON ROAD SOUTHWEST CUFFIE, THOMAS ATLANTA GA
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EGGERS,VERNON EST OF BARBARA EGGERS      DEAN OMAR BRANHAM, LLP C/O JESSICA DEAN 302 N. MARKET ST., SUITE 300 DALLAS TX
                                         75202
EGLI, MEREDITH                           KAZAN,MCCLAIN,SATTERLEY & GREENWOOD C/O JOSEPH SATTERLEY J LONDON MARKET 55
                                         HARRISON ST #400 OAKLAND CA 94607
EHART, VICTORIA                          THE WHITEHEAD LAW FIRM, LLC 3639 AMBASSADOR CAFFERY PKWY PETROLEUM TWR, STE


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EHART, VICTORIA                          303 LAFAYETTE LA 70503
EHRENBORG, JEANNETTE                     RAPPAPORT, GLASS, LEVINE & ZULLO 1355 MOTOR PARKWAY ISLANDIA NY 11749
EHRLICH, MELINDA                         CLARK ROBB MASON COULMBE, ET AL. 350 CAMINO GARDENS BLVD STE 303 ROBB, MICHAEL
                                         A.; CLARK, BOCA RATON FL 33432
EICH, MAUREEN                            MARTIN BAUGHMAN, PLLC 3141 HOOD STREET, STE 600 DALLAS TX 75219
EIDSON, CAROL                            SANGISETTY LAW FIRM, LLC 3914 CANAL ST SANGISETTY, RAVI NEW ORLEANS LA 70119
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EISENHARDT, MARGARET                     GALANTE & BIVALACQUA LLC 650 POYDRAS STREET, SUITE 2615 GALANTE, SCOTT M. NEW
                                         ORLEANS LA 70130
EISENHARDT, MARGARET                     THE CHEEK LAW FIRM 650 POYDRAS STREET, SUITE 2310 LINDSEY A. CHEEK NEW ORLEANS
                                         LA 70130
EISMAN, GESELE                           HARRY I. KATZ, PC 61-25 UTOPIA PARKWAY WEINMAN, VICTORIA I FRESH MEADOWS NY
                                         11366
EL-ATRACHE, DEDE                         THE BRANDI LAW FIRM 354 PINE STREET, THIRD FLOOR EDWARDS,TERENCE D.
                                         BRANDI,THOMAS J. SAN FRANCISCO CA 94104
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                                         10061
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                                         MARKET 55 HARRISON ST #400 OAKLAND CA 94607
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ELLIOTT, GWENDOLYN                       MICHAEL HINGLE & ASSOCIATES, LLC 220 GAUSE BOULEVARD PFLEEGER, BRYAN A.
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                                         MIAMI FL 03313
ELLIS, VERNA                             SANGISETTY LAW FIRM, LLC 3914 CANAL ST SANGISETTY, RAVI NEW ORLEANS LA 70119
ELLISON, SHIRLEETA                       MOTLEY RICE NEW JERSEY LLC 210 LAKE DRIVE EAST, STE. 101 BEREZOFSKY, ESTHER
                                         CHERRY HILL NJ 08002
ELLSWORTH, ELAINE                        GOZA & HONNOLD, LLC 9500 MALL AVE #400 OVERLAND PARK KS 66207
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                                         STREET, SUITE 1200 ST. LOUIS MO 63101
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EMERSON, SANDRA                          MONTROSE LAW LLP 6 CONSULTANT PL., STE 100-A DURHAM NC 27707
EMMANUEL, SVETLANA                       MOTLEY RICE NEW JERSEY LLC 210 LAKE DRIVE EAST, STE. 101 BEREZOFSKY, ESTHER
                                         CHERRY HILL NJ 08002
ENCINAS, MARY                            KNAPP & ROBERTS, P.C. 8777 N. GAINEY CENTER DR. SUITE 165 SCOTTSDALE AZ 85258
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EPLIN, SHERRI                            NIX PATTERSON & ROACH 3600 N CAPITAL OF TEXAS B350 ROACH, NELSON J. JOHNSON,
                                         C.R. AUSTIN TX 78746
EREKA WHITT                              MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
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Claim Name                                Address Information
ESCOBEDO, GUADALUPE                      78746
ESCOBEDO, ROSA                           THE WHITEHEAD LAW FIRM, LLC 3639 AMBASSADOR CAFFERY PKWY PETROLEUM TWR, STE
                                         303 LAFAYETTE LA 70503
ESTILL, WAYNE                            SWMW LAW, LLC C/O BENJAMIN SCHMICKLE 701 MARKET STREET, SUITE 1000 ST. LOUIS
                                         MO 63101
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                                         70130
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FALGOUT, MARY                            POURCIAU LAW FIRM, LLC 2200 VETERANS MEMORIAL BLVD SUITE 210 KENNER LA 70062
FALGOUT, MARY                            THE CHEEK LAW FIRM 650 POYDRAS STREET, SUITE 2310 LINDSEY A. CHEEK NEW ORLEANS
                                         LA 70130
FALTUS, TIMOTHY EST OF SHARI FALTUS      THE ONDER LAW FIRM C/O JAMES ONDER 110 EAST LOCKWOOD, SECOND FLOOR ST. LOUIS
                                         MO 63119
FAN, SHARON                              CORRIE YACKULIC LAW FIRM, PLLC 110 PREFONTAINE PLACE S, STE 304 YACKULIC,
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FARMER, LENEL                            THE DEATON LAW FIRM 450 NORTH BROADWAY EAST PROVIDENCE RI 02814
FAROOQI-WILLISON, SHAEDA                 ROCHON GENOVA LLP 121 RICHMOND STREET WEST SUITE 900 TORONTO ON M5H 2K1 CANADA
FAROOQI-WILLISON, SHAEDA                 WILL DAVIDSON LLP 220 BAY STREET #1400 MILLER, PAUL TORONTO ON M5J 2W4 CANADA
FARRINGTON, STEPHANIE                    JOHN B. OSTROW, P.A. 25 SE 2ND AVE, STE 740 MIAMI FL 33131
FARRINGTON, STEPHANIE                    SCHLESINGER LAW OFFICES, P.A. 1212 SE 3RD AVE SCHLESINGER,SCOTT P GDANSKI,
                                         JOHNATHAN R. FT. LAUDERDALE FL 33316
FARUQI, NAILA                            CRAIG SWAPP & ASSOCIATES EMILY B ASHE 9980 S. 300 W. #400 SANDY UT 84070
FAUCETTE, TERESA                         FRAZER LAW LLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER II,
                                         T. ROE NASHVILLE TN 37215
FAUST, JOY                               STEWART & STEWART 931 S. RANGELINE ROAD STEWART, DAVID SOBIERAY, MICHAEL
                                         CARMEL IN 46032
FEIN, DEBORAH                            FELDMAN & PINTO 30 S 15TH ST, 15TH FLOOR LAURA A. FELDMAN PHILADELPHIA PA
                                         19102
FELDMANN, ELIZABETH                      THORNTON LAW FIRM 1 LINCOLN ST, FL 13, STATE ST FIN CTR MCGOLDRICK, MARILYN T.
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FELDMANN, TERRI                          THE WHITEHEAD LAW FIRM, LLC 3639 AMBASSADOR CAFFERY PKWY PETROLEUM TWR, STE
                                         303 LAFAYETTE LA 70503
FERGUSON, PHOEBIE                        CHAPPELL, SMITH & ARDEN, P.A. 2801 DEVINE ST, SUITE 300 COLUMBIA SC 29205
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FIELDS, IRENE                            PO BOX 222881 WEST PALM BCH FL 33422-2881


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Claim Name                                Address Information
FIELDS, MADELENA                         VENTURA LAW 235 MAIN STREET RIBEIRO, A.J. BARBER, N.L. DANBURY CT 06810
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Claim Name                              Address Information
FORSTALL, JANELL                       THE DUGAN LAW FIRM ONE CANAL PLACE - STE 1000 365 CANAL STREET NEW ORLEANS LA
                                       70130
FOSTER, LINDA                          NIX PATTERSON & ROACH 3600 N CAPITAL OF TEXAS B350 SMITH, D. NEIL JOHNSON,
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Claim Name                          Address Information
GAMBLE, LORI                       CHAFFIN LUHANA LLP 600 THIRD AVENUE 12TH FLOOR NEW YORK NY 10016
GAMELIN, ROSEMARY                  SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C. 120 BROADWAY 27TH FLOOR NEW YORK
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Claim Name                          Address Information
GAY, BETTY                         C.S. ALEXANDER, MAR SAN FRANCISCO CA 94104
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Claim Name                        Address Information
GLADKIN, GAYLE                   60601
GLEASON, PATRICIA                DARCY JOHNSON DAY, P.C. 3120 FIRE RD. SUITE 100 DARCY, ANDREW EGG HARBOR TWP
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                                 39501
GORDON, NICOLE                   ROBINS KAPLAN, LLP 800 LASALLE AVE, STE. 2800 MINNEAPOLIS MN 55402



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Claim Name                                Address Information
GORDON, SHAMIKA                          LAW OFFICE OF ROGER 'ROCKY' WALTON, P.C.; 2310 W INTERSTATE 20, STE 200
                                         WALTON, ROGER ARLINGTON TX 76017
GOSS, NICOLE                             MICHAEL S. WERNER, PARKER WAICHMAN LLP 6 HARBOR PARK DR. PORT WASHINGTON NY
                                         11050
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GOTHARD, DENISE                          CORY, WATSON, CROWDER & DEGARIS, PC 2131 MAGNOLIA AVE., SUITE 200 HUNT,
                                         STEPHEN BIRMINGHAM AL 35205
GOUCHER, NANCY                           NIX PATTERSON & ROACH 3600 N CAPITAL OF TEXAS B350 SMITH, D. NEIL JOHNSON,
                                         C.R. AUSTIN TX 78746
GOULD, DALPHINA                          THE LAW OFFICES OF HAYTHAM FARAJ 1935 W BELMONT AVE FARAJ, HAYTHAM CHICAGO IL
                                         60657
GOULD, DOLORES                           PRATT & ASSOCIATES 1871 THE ALAMEDA, SUITE 425 SAN JOSE CA 95126
GOULD, JOSEPHINE                         PRIBANIC & PRIBANIC, LLC 1735 LINCOLN WAY WHITE OAK PA 15131
GOZA, PATTI                              CORY, WATSON, CROWDER & DEGARIS, PC 2131 MAGNOLIA AVE., SUITE 200 HUNT,
                                         STEPHEN BIRMINGHAM AL 35205
GRAFMYER, NIMNON                         FEARS NACHAWATI, PLLC 5489 BLAIR RD DALLAS TX 75231
GRAGG, JUDY                              SWMW LAW, LLC C/O BENJAMIN SCHMICKLE 701 MARKET STREET, SUITE 1000 ST. LOUIS
                                         MO 63101
GRAHAM, ADA                              BACHUS & SCHANKER LLC 123 N COLLEGE AVE #200 FORT COLLINS CO 80524
GRAHAM, ELSIE                            LAW OFFICES OF JEFFREY MUTNICK C/O JEFFREY S. MUTNICK 737 SW VISTA AVENUE
                                         PORTLAND OR 97205
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GRAHAM,SCOTT EST OF PATRICIA GRAHAM      KARST & VON OISTE, LLP C/O ERIC KARST 23923 GOSLING RD, SUITE A SPRING TX
                                         77389
GRAMUGLIA, CARMELA                       DARCY JOHNSON DAY, P.C. 3120 FIRE RD. SUITE 100 DARCY, ANDREW EGG HARBOR TWP
                                         NJ 08234
GRAN, SUSAN                              EISENBERG, ROTHWEILER, WINKLER EISENBERG & JECK, P.C. 1634 SPRUCE ST
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GRANA, CATHERINE                         MOTLEY RICE, LLC 55 CEDAR ST., STE 100 FITZPATRICK, FIDELMA PROVIDENCE RI
                                         02903
GRAY, DIANA                              SALVI, SCHOSTOK & PRITCHARD P.C. 161 N. CLARK STREET SUITE 4700 CHICAGO IL
                                         60601
GRAY, MARY                               CPC 2 CORPORATE PARK, SUITE 110 IRVINE CA 92606
GRAY, SANDRA                             BERMAN & SIMMONS, P. A. 129 LISBON STREET FAUNCE, SUSAN LEWISTON ME 04240
GRAY, TABETHA                            THE LEVENSTEN LAW FIRM, P.C. 1420 WALNUT STREET, SUITE 1500 PHILADELPHIA PA
                                         19102
GRAYSON, REBECCA                         THE LAW OFFICES OF HAYTHAM FARAJ 1935 W BELMONT AVE FARAJ, HAYTHAM CHICAGO IL
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GRECO, JOSEPHINE                         BERSTEIN LIEBHARD LLP 10 EAST 40TH STREET - FLOOR 22 BURKE, DANIEL C. NEW YORK
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GREEN, TRASI                             KNAPP & ROBERTS, P.C. 8777 N. GAINEY CENTER DR. SUITE 165 SCOTTSDALE AZ 85258
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GREENE, ANN                              BART DURHAM INJURY LAW DURHAM, BLAIR 404 JAMES ROBERTSON PKWY, STE 1712
                                         NASHVILLE TN 37219
GREENE, CAROL                            ANAPOL WEISS ONE LOGAN SQUARE, 130 N. 18TH ST, SUITE 1600 ASHE, EMILY B.
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GREENE, LEITHA                           HAIR SHUNNARAH TRIAL ATTORNEYS LLC 3540 S. I-10 SERVICE RD W, STE 300 METAIRIE
                                         LA 70001



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GRELLING, PATRICIA                LANGDON & EMISON 911 MAIN STREET EMISON, BRETT A LEXINGTON MO 64067
GREMILLION, ERNESTINE             THE CHEEK LAW FIRM 650 POYDRAS STREET, SUITE 2310 LINDSEY A. CHEEK NEW ORLEANS
                                  LA 70130
GREMILLION, ERNESTINE             UNGLESBY LAW FIRM 246 NAPOLEON STREET UNGLESBY, LEWIS O. BATON ROUGE LA 70802
GRESKE, JANET                     CATES MAHONEY, LLC 216 WEST POINTE DR, SUITE A CATES, DAVID I. SWANSEA IL
                                  62226
GRIFFIN, JANE                     GOZA & HONNOLD, LLC 9500 MALL AVE #400 OVERLAND PARK KS 66207
GRIFFIN, KAREN                    FRAZER LAW LLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER II,
                                  T. ROE NASHVILLE TN 37215
GRIFFIN, LYNETTE                  THE CARLSON LAW FIRM 100 E CENTRAL TEXAS EXPRESSWAY KILLEEN TX 76541
GRIFFITH, EDNA                    THORNTON LAW FIRM LLP ONE LINCOLN 25TH FLOOR MCGOLDRICK, MARILYN T. BOSTON MA
                                  02111
GRIFFITH, JENNIFER                THE DUGAN LAW FIRM ONE CANAL PLACE - STE 1000 365 CANAL STREET NEW ORLEANS LA
                                  70130
GRIFFITH, PAULINE                 PENDLEY, BAUDIN & COFFIN, LLP 1515 POYDRAS STREET, SUITE 1400 ROCKFORTE,
                                  NICHOLAS FONTENOT, EVAN NEW ORLEANS LA 70118
GRIGSBY, KIMBERLY                 PANISH, SHEA & BOYLE 11111 SANTA MONICA BLVD., SUITE 700 KAUFMAN, PETER L. LOS
                                  ANGELES CA 90025
GRILLO, SALVATORE & CARMELLA      FLINT LAW FIRM LLC C/O ETHAN FLINT 222. E PARK ST, STE 500, PO BOX 189
                                  EDWARDSVILLE IL 62034
GRIMES, CAMILLE                   MORRIS, CARY, ANDREWS, TALMADGE & DRIGGERS LLC 3334 ROSS CLARK CIRCLE
                                  TALMADGE, JR, JOSEPH DANIEL DOTHAN AL 36303
GRINAGE, SHEENAE                  PRIBANIC & PRIBANIC, LLC 1735 LINCOLN WAY WHITE OAK PA 15131
GROOMS, SHIRLEY                   CHAPPELL, SMITH & ARDEN, P.A. 2801 DEVINE ST, SUITE 300 COLUMBIA SC 29205
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                                  78746
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                                  SARAH R. SAN FRANCISCO CA 94111
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                                  COVER, HEATHER SEATTLE WA 09810
GUBIN, STEPHANIE                  CHRISTOPHER D. SMITH P.A. 5391 LAKEWOOD RANCH BLVD N, STE 203 SMITH,
                                  CHRISTOPHER D BEGGAN, JOHN SARASOTA FL 34240-8617
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                                  CANADA
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                                  ANGELES CA 90067-2325
GUIDRY, MARY                      MOTLEY RICE, LLC 20 CHURCH STREET 17TH FLOOR JASINSKI, MATHEW P. HARTFORD CT
                                  06103
GUILAINE MCMILLAN                 CORY, WATSON, CROWDER & DEGARIS, P.C. HUNT, STEPHEN 2131 MAGNOLIA AVE., SUITE
                                  200 BIRMINGHAM AL 35205
GUINN, LINDA                      LAW OFFICE OF HAYTHAM FARAJ 1935 W BELMONT AVE FARAJ, HAYTHAM CHICAGO IL 60657
GULCZYNSKI, LYNESE                HABUSH HABUSH & ROTTIER SC 777 E. WISCONSIN AVENUE, SUITE 2300 YOUNG, PETER M.
                                  ROTTIER, DANIEL MILWAUKEE WI 53202
GULLEDGE, CONNIE                  FRAZER LAW LLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER II,
                                  T. ROE NASHVILLE TN 37215
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                                  10036


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Claim Name                               Address Information
GULLY, CYNTHIA                          THE BARNES FIRM, P.C. 420 LEXINGTON AVE, STE 2140 NEW YORK NY 10170
GUNN, TINA EST OF MARGARET BOTTOMS      FLINT LAW FIRM LLC C/O ETHAN FLINT 222 E PARK ST, STE 500 PO BOX 189
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GUNNELS, VERONICA                       LOPEZ-MCHUGH, LLP 601 WALNUT STREET SUITE 720 E JOHNSON, REGINA SHARLOW
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GURDA, JEANNE                           FLEMING, NOLEN & JEZ, LLP 2800 POST OAK BLVD., STE 4000 HOUSTON TX 77056
GUSTAFSON, MARILYN                      LAW OFFICE OF RICHARD R BARRETT 2086 OLD TAYLOR ROAD, SUITE 1011 OXFORD MS
                                        38655
GUTHRIE, BETTY                          EISENBERG, ROTHWEILER, WINKLER & JECK, P.C. 1634 SPRUCE STREET SCHOENHAUS,
                                        TODD A. BEUERMAN, C PHILADELPHIA PA 19103
GUTHRIE, BRANDI                         BURNETT LAW FIRM 3737 BUFFALO SPEEDWAY, 18TH FLOOR HOUSTON TX 77098
GUTHRIE, JEANNIVEE                      THE CUFFIE LAW FIRM 3080 CAMPBELTON ROAD SOUTHWEST CUFFIE, THOMAS ATLANTA GA
                                        30311
GUTIERREZ, MARICELA                     WEITZ & LUXENBERG C/O MARK BRATT 1880 CENTURY PARK EAST, SUITE 700 LOS ANGELES
                                        CA 90067
GUZMAN, SOPHIA                          CLAYEO C. ARNOLD, APC 865 HOWE AVENUE WATSON, JOSHUA H. STRALEN, JOHN T.
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HAAS, MICHELE                           THE DEATON LAW FIRM 450 NORTH BROADWAY EAST PROVIDENCE RI 02814
HABECK, MARILYN                         HABUSH HABUSH & ROTTIER SC 777 E. WISCONSIN AVENUE, SUITE 2300 YOUNG, PETER M.
                                        ROTTIER, DANIEL MILWAUKEE WI 53202
HACKNEY, JUDY                           KILLIAN, DAVIS, RICHTER & MAYLE, PC 202 NORTH 7TH STREET MAYLE, NICHOLAS W.
                                        GRAND JUNCTION CO 81502
HADDAD, GEORGETTE                       OSBORNE & FRANCIS LAW FIRM PLLC 433 PLAZA REAL, SUITE 271 BOCA RATON FL 33432
HADDAD, WINIFRED AND HADDAD, HANI       THORNTON LAW FIRM LLP C/O ANDREA LANDRY ONE LINCOLN STREET, 13TH FL. BOSTON MA
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HADLEY, BARBARA                         CAMPBELL & ASSOCIATES 717 EAST BLVD CAMPBELL, CLAIR G. CHARLOTTE NC 28203
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HAINES, JOANN                           THE LEVENSTEN LAW FIRM, P.C. 1420 WALNUT STREET, SUITE 1500 PHILADELPHIA PA
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HAIR, LARAINE                           BARNES & THORNBURG LLP 2029 CENTURY PARK E SUITE 300 MURDICA, JAMES F. KO,
                                        SANDRA M. LOS ANGELES CA 90067
HAIR, LARAINE                           THE KRUGER LAW FIRM 485 S. ROBERTSON BLVD., SUITE 4 KRUGER, JACKIE BEVERLY
                                        HILLS CA 90211
HALEY, BETHANY                          DOMENGEAUX WRIGHT ROY & EDWARDS LLC JEFFERSON TOWERS, SUITE 500, 556 JEFFERSON
                                        STREET LAFAYETTE LA 70502-3668
HALEY, BETHANY                          FRANKLIN, MOSELE & WALKER, PC 2060 NORTH LOOP WEST, STE 230 HOUSTON TX 77018
HALL, BERTHA                            DALTON AND ASSOCIATES, PA 1106 WEST 10TH STREET WILMINGTON DE 19806
HALL, JUDY                              LINVILLE LAW GROUP 1932 N DRUID HILLS RD NE, SUITE 200 GANDHI, VINITA ATLANTA
                                        GA 30319
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HALL, PAULA                             MEYERS & FLOWERS, LLC 225 WEST WACKER DR., SUITE 1515 CHICAGO IL 60606
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                                        PA 19103
HAMANN, MABEL                           LAW OFFICE OF CHARLES H JOHNSON, PA 2599 MISSISSIPPI STREET NEW BRIGHTON MN
                                        55112-5060


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HAMBELTON, PATSY                     KIRKENDALL DWYER LLP 4343 SIGMA RD SUITE 200 DALLAS TX 75244
HAMMER, MARY                         WILSON LAW PA 1111 HAYNES ST, SUITE 103 (27604) RALEIGH NC 27605
HAMMOND, SHELLY                      EDLUND GALLAGHER HASLAM MCCALL WOLF & WOOTEN, PLLC 1701 N. MARKET ST SUTIE 210
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                                     ANDREW W. WITCHITA KS 67226
HANCOCK, PEGGY                       FLEMING, NOLEN & JEZ, LLP 2800 POST OAK BLVD., STE 4000 HOUSTON TX 77056
HANNAH, SHIRLEY                      GOZA & HONNOLD, LLC 9500 MALL AVE #400 OVERLAND PARK KS 66207
HANSON, KIM                          SCHMIDT & SETHI, PC 1790 EAST RIVER ROAD SUITE 300 CAMPBELL, SCOTT A TUCSON AZ
                                     85718
HANSON, KIM                          PANISH, SHEA & BOYLE 11111 SANTA MONICA BLVD., SUITE 700 DIESEL, LOUIS M. LOS
                                     ANGELES CA 90025
HARDIMAN, LYNN                       PULASKI LAW FIRM 2925 RICHMOND SUITE 1725 PULASKI, ADAM HOUSTON TX 77098
HARE, KRISTIE                        EDLUND GALLAGHER HASLAM MCCALL WOLF & WOOTEN, PLLC 1701 N. MARKET ST SUTIE 210
                                     WOOTEN, COBY L. SM DALLAS TX 75202
HARGROVE, JENNIFER                   THE ZEVAN AND DAVIDSON LAW FIRM ONE NORTH TAYLOR AVENUE ST. LOUIS MO 63105
HARGROVE, JENNIFER                   JACOBS OHARA MCMULLEN , P.C. 14550 TORREY CHASE BLVD STE 260 HOUSTON TX 77014
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                                     62025
HARRAH, TINA RE: HARRAH, STEVEN      KARST & VON OISTE, LLP C/O ERIC KARST 23923 GOSLING RD, SUITE A SPRING TX
                                     77389
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                                     ORLEANS LA 70130
HARRIS, RUTH                         MICHAEL HINGLE & ASSOCIATES, LLC 220 GAUSE BOULEVARD PFLEEGER, BRYAN A.
                                     HINGLE, MICHAEL SLIDELL LA 70458
HARRIS, SHELIA                       THE CUFFIE LAW FIRM 3080 CAMPBELTON ROAD SOUTHWEST CUFFIE, THOMAS ATLANTA GA
                                     30311
HARRIS, WILLIE                       HUTTON & HUTTON 8100 E. 22ND ST NORTH, BLDG. 1200 HUTTON, MARK B. HUTTON,
                                     ANDREW W. WITCHITA KS 67226
HARRISON, DOREEN                     DECOF, BARRY, MEGA & QUINN, P.C. ONE SMITH HILL BARRY, PATRICK C. PROVIDENCE
                                     RI 02903
HARRON, TAMARA                       EISENBERG, ROTHWEILER, WINKLER EISENBERG & JECK, P.C. 1634 SPRUCE ST
                                     SCHOENHAUS, TODD A. PHILADELPHIA PA 19103
HARTER, PATSY                        MCGOWAN, HOOD & FELDER, LLC 10 SHEM DR STE 300 MT PLEASANT SC 29464-5282
HARTLAUB, MARGUERITE                 MCGOWAN, HOOD & FELDER, LLC 10 SHEM DR STE 300 MT PLEASANT SC 29464-5282
HARTLEY, CATHERINE                   LAW OFFICES OF SEAN M. CLEARY 19 WEST FLAGLER STREET, SUITE 618 PEREIRA,
                                     ANDRES MIAMI FL 33130
HARTLEY, SHERRY                      VAUGHAN LEGAL TRIAL TEAM 2909 HILLCROFT AVE, STE 575 VAUGHAN, JEFFREY R.
                                     HOUSTON TX 77057
HARTMAN, JUDY                        THE CARLSON LAW FIRM 100 E CENTRAL TEXAS EXPRESSWAY KILLEEN TX 76541
HARTUNG, BOBBI                       EISENBERG, ROTHWEILER, WINKLER EISENBERG & JECK, P.C. 1634 SPRUCE ST


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HARTUNG, BOBBI                           SCHOENHAUS, TODD A. PHILADELPHIA PA 19103
HARVEY, CYNTHIA                          LAW OFFICES OF JAMES SCOTT FARRIN 280 MANGUM STREET, SUITE 400 JACKSON, GARY
                                         W. DURHAM NC 27701
HARVILL, TAMMY                           HABUSH HABUSH & ROTTIER SC 777 E. WISCONSIN AVENUE, SUITE 2300 ROTTIER, DANIEL
                                         MILWAUKEE WI 53202
HASKETT, NANCY                           LAW OFFICES OF SEAN M. CLEARY 19 WEST FLAGLER STREET, SUITE 618 PEREIRA,
                                         ANDRES MIAMI FL 33130
HASKETT, NANCY                           LAW OFFICES OF SEAN M. CLEARY 19 WEST FLAGLER STREET, SUITE 618 PEREIRA,
                                         ANDRES MIAMI FL 33130
HATAM, MARIE                             KNAPP & ROBERTS, P.C. 8777 N. GAINEY CENTER DR. SUITE 165 SCOTTSDALE AZ 85258
HATMAKER, VICKIE                         GOLDENBERG HELLER ANTOGNOLI ROWLAND P.C. 2227 SOUTH STATE RTE 157 KATIE A.
                                         HUBBARD EDEARDSVILLE IL 62025
HATMAKER, VICKIE                         BARRETT LAW GROUP, P.A. 404 COURT SQUARE LEXINGTON MS 39095
HATMAKER, VICKIE                         BURNS CHAREST LLP 365 CANAL ST, STE 1170 AMANDA KLEVORN NEW ORLEANS LA 70130
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                                         05540
HAUSER, LESLEY                           THORNTON LAW FIRM LLP ONE LINCOLN 25TH FLOOR MCGOLDRICK, MARILYN T. BOSTON MA
                                         02111
HAWKINS, ARBUNEY                         HAIR SHUNNARAH TRIAL ATTORNEYS LLC 3540 S. I-10 SERVICE RD W, STE 300 METAIRIE
                                         LA 70001
HAWKINS, CONNIE                          HELMSDALE LAW, LLP 6 CONSULTANT PL., SUITE 100-A DURHAM NC 17707
HAWKINS, RHONDA                          ASHCRAFT & GEREL, LLP 1825 K. STREET, NW, STE 700 M. PARFITT WASHINGTON, DC
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HAYES, ANITA                             THE CHEEK LAW FIRM 650 POYDRAS STREET, SUITE 2310 LINDSEY A. CHEEK NEW ORLEANS
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HAYES, ANITA                             UNGLESBY LAW FIRM 246 NAPOLEON STREET UNGLESBY, LEWIS O. BATON ROUGE LA 70802
HAYES, BESSIE                            GOLDENBERG HELLER ANTOGNOLI ROWLAND P.C. 2227 SOUTH STATE ROUTE 157
                                         GOLDENBERG, STUART L. EDEARDSVILLE IL 62025
HAYES, CYNTHIA EST OF DONNA A HAYES      KAZAN MCCLAIN SATTERLEY & GREENWOOD C/O JOSEPH SATTERLEY J LONDON MARKET 55
                                         HARRISON ST STE 400 OAKLAND CA 94607
HAYES, DONNA                             SATTERLEY & KELLEY C/O JOSEPH SATTERLEY 8700 WESTPORT ROAD, SUITE 202
                                         LOUISVILLE KY 40242
HAYES, DONONA                            SILL LAW GROUP, PLLC 1101 N. BROADWAY, SUITE 102 SILL, MATTHEW J. OKLAHOMA
                                         CITY OK 73013
HAYES, SHARON                            LAW OFFICE OF HAYTHAM FARAJ 1935 W BELMONT AVE FARAJ, HAYTHAM CHICAGO IL 60657
HAYMAKER, BRYNNE                         HELMSDALE LAW, LLP 6 CONSULTANT PL., SUITE 100-A DURHAM NC 17707
HAYNES, CHERYL                           DUGAN LAW FIRM, PLC 365 CANAL PLACE NEW ORLEANS LA 70130
HAYNES, JULIE                            THE CUFFIE LAW FIRM 3080 CAMPBELTON ROAD SOUTHWEST CUFFIE, THOMAS ATLANTA GA
                                         30311
HAYNES, PEGGY                            HAIR SHUNNARAH TRIAL ATTORNEYS LLC 3540 S. I-10 SERVICE RD W, STE 300 METAIRIE
                                         LA 70001
HAYNES, REBECCA                          THORNTON LAW FIRM LLP ONE LINCOLN 25TH FLOOR MCGOLDRICK, MARILYN T. BOSTON MA
                                         02111
HAYOS, MERIDITH                          LIEFF CABRASER HEIMANN & BERNSTEIN 275 BATTERY STREET, 30TH FLOOR LONDON,
                                         SARAH R. SAN FRANCISCO CA 94111
HAZIM, ELENA                             OSBORNE & FRANCIS LAW FIRM PLLC 433 PLAZA REAL, SUITE 271 BOCA RATON FL 33432
HEALEY, SUSAN                            THORNTON LAW FIRM LLP ONE LINCOLN 25TH FLOOR MCGOLDRICK, MARILYN T. BOSTON MA
                                         02111
HEATON, JANET                            ROCHON GENOVA LLP 121 RICHMOND STREET WEST SUITE 900 TORONTO ON M5H 2K1 CANADA
HEATON, JANET                            WILL DAVIDSON LLP 220 BAY STREET #1400 MILLER, PAUL TORONTO ON M5J 2W4 CANADA
HEAVNER, EMMA LOU                        FRAZER LAW LLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER II,
                                         T. ROE NASHVILLE TN 37215



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Claim Name                             Address Information
HEBERT, MARY                          TAUTFEST BOND 5151 BELT LIND RD, STE 1000 GLITZ, JESSICA DALLAS TX 07525
HEBRON, WILHELMIN                     DARCY JOHNSON DAY, P.C. 3120 FIRE RD. SUITE 100 DARCY, ANDREW EGG HARBOR TWP
                                      NJ 08234
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HELBOCK, CHRISTINE                    CORRIE YACKULIC LAW FIRM, PLLC 110 PREFONTAINE PLACE SOUTH STE 304 YACKULIC,
                                      CORRIE SEATTLE WA 98104
HELO, NAWAL B.                        KAZAN MCCLAIN SATTERLEY & GREENWOOD C/O JOSEPH SATTERLEY, J LONDON MARKET 55
                                      HARRISON ST STE 400 OAKLAND CA 94607
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HENNINGS, DEBBIE                      THE BARNES FIRM, LC 655 W. BROADWAY, STE. 940 OLIVER, CHRISTIAN R SAN DIEGO CA
                                      92101
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                                      33301
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                                      70130
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HERNANDEZ, JUANITA                    CARAZO QUETGLAS LAW OFFICES PMB 133 AVE. ESMERALDA 53, STE. 2 CARAZO-QUETGLAS,
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                                      33780-1637



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Claim Name                                Address Information
HEYDMAN, NANCY                           LINVILLE LAW GROUP 1932 N DRUID HILLS RD NE, SUITE 200 GANDHI, VINITA ATLANTA
                                         GA 30319
HICKAM, EVERETT                          GOZA & HONNOLD, LLC 9500 MALL AVE #400 OVERLAND PARK KS 66207
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                                         HARRISON ST STE 400 OAKLAND CA 94607
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                                         70119
HOLLEY, EMILY                            THE CARLSON LAW FIRM 100 E CENTRAL TEXAS EXPRESSWAY KILLEEN TX 76541
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HOLLOWAY, TERRI                          MOTLEY RICE, LLC 20 CHURCH STREET 17TH FLOOR JASINSKI, MATHEW P. HARTFORD CT
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HOOD,ANGELA M ESTATE OF MARY B MCBRAYER DEAN OMAR BRANHAM, LLP C/O JESSICA DEAN 302 N. MARKET ST., SUITE 300 DALLAS TX
                                        75202
HOPKINS, LINDA                           WAGNER REESE, LLP 11939 NORTH MERIDIAN STREET CARMEL IN 46032
HOPLER, PAMELA                           LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 SAN FRANCISCO CA 94111
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                                         VERDE FL 33715
HOUSTON, HILDA                           GOLDENBERG HELLER ANTOGNOLI P.C. 2227 SOUTH STATE ROUTE 157 GOLDENBERG, STUART
                                         L. EDEARDSVILLE IL 62025
HOUSTON, ROBIN                           HUBER, SLACK, THOMAS & MARCELLE 1100 POYDRAS STREET, SUITE 2200 ALBERTINE,
                                         LOGAN S. NEW ORLEANS LA 70163
HOWARD, EULA                             THE DILORENZO LAW FIRM, LLC 505 20TH STTREE NORTH, STE 1275 BIRMINGHAM AL
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HOWARD, RENEE                            FLEMING, NOLEN & JEZ, LLP 2800 POST OAK BLVD., STE 4000 HOUSTON TX 77056
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HUBANKS, HEATHER                         LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 SAN FRANCISCO CA 94111
HUCK, VINCENT ESTATE OF HOSANA HUCK      SWMW LAW, LLC C/O BENJAMIN SCHMICKLE 701 MARKET STREET, SUITE 1000 ST. LOUIS
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HUDOCK, SANTA                            MARLIN & SALTZMAN LLP 29800 AGOURA ROAD, SUITE 210 AGOURA HILLS CA 97301
HUDSON, VALOREY                          POURCIAU LAW FIRM, LLC 2200 VETERANS MEMORIAL BLVD STE 210 KENNER LA 70062
HUDSON, VALOREY                          GALANTE & BIVALACQUA LLC 650 POYDRAS STREET, SUITE 2615 GALANTE, SCOTT M. NEW
                                         ORLEANS LA 70130
HUDSON, VALOREY                          THE CHEEK LAW FIRM 650 POYDRAS STREET, SUITE 2310 LINDSEY A. CHEEK NEW ORLEANS
                                         LA 70130
HUDSON-GIVENS, LYDIA                     THE DUNKEN LAW FIRM DUNKEN, BURT TERRY 77 SUGAR CREEK CENTER BLVD STE 600
                                         SUGAR LAND TX 77478-3688
HUFFMAN, CHERYL                          POURCIAU LAW FIRM, LLC 2200 VETERANS MEMORIAL BLVD STE 210 KENNER LA 70062
HUFFMAN, CHERYL                          GALANTE & BIVALACQUA LLC 650 POYDRAS STREET, SUITE 2615 GALANTE, SCOTT M. NEW
                                         ORLEANS LA 70130
HUFFMAN, CHERYL                          THE CHEEK LAW FIRM 650 POYDRAS STREET, SUITE 2310 LINDSEY A. CHEEK NEW ORLEANS
                                         LA 70130
HUFKINS, CATHERINE                       LINVILLE LAW GROUP 1932 N DRUID HILLS RD NE, SUITE 200 GANDHI, VINITA ATLANTA
                                         GA 30319
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HUGHES-WALKER, MARY                      JONES WARD PLC 1205 EAST WASHINGTON ST., STE 111 DAVIS, ALEX C. LOUISVILLE KY
                                         40206
HUGUS, CHARLENE                          HABUSH HABUSH & ROTTIER SC 777 E. WISCONSIN AVENUE, SUITE 2300 ROTTIER, DANIEL
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HURLEY, KATHY                            GALANTE & BIVALACQUA LLC 650 POYDRAS STREET, SUITE 2615 GALANTE, SCOTT M. NEW
                                         ORLEANS LA 70130
HURLEY, KATHY                            THE CHEEK LAW FIRM 650 POYDRAS STREET, SUITE 2310 LINDSEY A. CHEEK NEW ORLEANS


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Claim Name                             Address Information
HURLEY, KATHY                         LA 70130
HURLEY, SHERRY                        NASS CANCELLIERE BRENNER 1515 MARKET STREET, SUITE 2000 PHILADELPHIA PA 19102
HURST, SUE                            WRIGHT & SCHULTE, LLC 812 EAST NATIONAL ROAD, SUITE A VANDALIA OH 45377
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                                      77389
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                                      MO 63101
INNIS, VONDA                          POURCIAU LAW FIRM, LLC 2200 VETERANS MEMORIAL BLVD STE 210 KENNER LA 70062
INNIS, VONDA                          GALANTE & BIVALACQUA LLC 650 POYDRAS STREET, SUITE 2615 GALANTE, SCOTT M. NEW
                                      ORLEANS LA 70130
INNIS, VONDA                          THE CHEEK LAW FIRM 650 POYDRAS STREET, SUITE 2310 LINDSEY A. CHEEK NEW ORLEANS
                                      LA 70130
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                                      40208
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JACKSON, MARY                         MAUNE RAICHLE HARTLEY FRENCH & MUDD C/O SUZANNE M. RATCLIFFE 659 EAGLE ROCK
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JACKSON, PAULA                        LAW OFFICE OF EUSI H. PHILLIPS 330 CARONDELET 4TH FLOOR NEW ORLEANS LA 70130



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Claim Name                              Address Information
JACKSON, URSULA                        STONE GRANADE & CROSBY PC 8820 US HIGHWAY 90 STRACHAN, LAURA IRVINE, GEORGE
                                       DAPHNE AL 36526
JACOBY, LISA                           WEITZ & LUXENBERG C/O DANNY KRAFT 700 BROADWAY NEW YORK NY 10003
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                                       CADE, GREGORY A BIRMINGHAM AL 32205
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                                       SUGAR LAND TX 77478-3688
JENKINS, MICHELE                       BERKE LAW FIRM, PA 4423 DEL PRADO BOULEVARD S. BERKE, BILL B. CAPE CORAL FL
                                       33904
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                                       77389
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JENSEN, KAYMARIE                       GOETZ, BALDWIN & GEDDES, P.C. 35 NORTH GRAND AVE NELSON, KYLE W. GEDDES,
                                       DEVLAN J. BOZEMAN MT 59771
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JIMINEZ, SUSAN                           07928
JOACHIM, DONNA ET. AL                    KARST & VON OISTE, LLP C/O ERIC KARST 23923 GOSLING RD, SUITE A SPRING TX
                                         77389
JOHNSON, BARBARA                         SZAFERMAN, LAKIND, BLUMSTEIN & BLADER PC C/O ROBERT LYTLE 101 GROVERS MILL
                                         ROAD, SUITE 200 LAWRENCEVILLE NJ 08648
JOHNSON, CANDACE                         PANISH, SHEA & BOYLE 11111 SANTA MONICA BLVD., SUITE 700 KAUFMAN, PETER L. LOS
                                         ANGELES CA 90025
JOHNSON, CANDACE                         PANISH, SHEA & BOYLE 11111 SANTA MONICA BLVD., SUITE 700 KAUFMAN, PETER L. LOS
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JOHNSON, IRENE                           CARPENTER & SCHUMACHER, PC 2500 DALLAS PKWY STE 495 PLANO TX 75093-4882
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JOHNSON-SUMMERS, JULIE                   FRAZER LAW LLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER II,
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JONES, BRENDA                            POURCIAU LAW FIRM, LLC 2200 VETERANS MEMORIAL BLVD STE 210 KENNER LA 70062
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JONES, DONNA                             STRAUSS TROY CO., LPA 150 EAST FOURTH STREET 4TH FLOOR CINCINNATI OH



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JONES, DONNA                             45202-4015
JONES, DONNA                             GOLDENBERG HELLER ANTOGNOLI ROWLAND P.C. 2227 SOUTH STATE ROUTE 157 KATIE A.
                                         HUBBARD EDEARDSVILLE IL 62025
JONES, DONNA                             BARRETT LAW GROUP, P.A. 404 COURT SQUARE LEXINGTON MS 39095
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                                         SEGAWA, ALYSSA R HONOLULU HI 96813-2935
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                                         02111
JUNIOR, REGINA                           THE CHEEK LAW FIRM 650 POYDRAS STREET, SUITE 2310 LINDSEY A. CHEEK NEW ORLEANS
                                         LA 70130
JUNIOR, REGINA                           UNGLESBY LAW FIRM 246 NAPOLEON STREET UNGLESBY, LEWIS O. BATON ROUGE LA 70802
JUSTICE, PATRICIA                        MORRIS LAW FIRM 4111 W. ALAMEDA AVE SUITE 611 MORRIS, JAMES A. BURBANK CA
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KAMINSKY, DOROTHY                        ANAPOL WEISS ONE LOGAN SQUARE, 130 N. 18TH ST SUITE 1600 ASHE, EMILY B.
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                                         55114
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KANJI, KHATUN                            ANGELES CA 90025
KARAHALIS, PENELOPE                      ROSS LAW OFFICES, P.C. 18 EAST CHESTNUT STREET SHARON MA 02067
KARAVAS, AUBREY                          MAUNE RAICHLE HARTLEY FRENCH & MUDD LLC, C/O T. BARTON FRENCH 1015 LOCUST
                                         STREET, SUITE 1200 ST. LOUIS MO 63101
KARRICK, KIMBERLY                        GAINSBURGH, BENJAMIN, DAVID MEUNIER & WARSHAUER, LLC 2800 ENERGY CENTRE
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KARRICK, KIMBERLY                        SUTTON, ALKER & RATHER, LLC 4080 LONESOME RD MANDEVILLE LA 70448
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KEATING, JOAN                            MCGOWAN, HOOD & FELDER, LLC 10 SHEM DR STE 300 MT PLEASANT SC 29464-5282
KEEFOVER, BETTY                          SLATER, SLATER, SCHULMAN, LLP 445 BORAD HOLLW RD, ST. 419 SLATER, ADAM
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KELLEY, LAURA                            PRO SE NEWARK OH
KELLY AKINS                              MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
KELLY, GERALDINE                         LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 SAN FRANCISCO CA 94111
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KENDRICK, WENDY                          REBECCA S. VINOCUR LAW C/O REBECCA VINOCUR 5915 PONCE DE LEON BLVD., SUITE 14
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                                         EDWARDSVILLE IL 62034
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KENT, ANNIE                              THE CUFFIE LAW FIRM 3080 CAMPBELTON ROAD SOUTHWEST CUFFIE, THOMAS ATLANTA GA
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KHAN, NAOMI ; SANTILLAN; LYNDA           BRUSTER PLLC BRUSTER, ANTHONY, HULL, JOHN C 680 N. CARROLL AVE., STE. 110
                                         SOUTHLAKE TX 76092
KHAN, NAOMI ; SANTILLAN; LYNDA           THE GATTI LAW FIRM JENNINGS, RYAN S 235 FRONT ST. SE, STE. 200 SALEM OR 97301
KHAN, NAOMI ; SANTILLAN; LYNDA           THE GATTI LAW FIRM JENNINGS, RYAN S 235 FRONT ST. SE, STE. 200 SALEM OR 97301
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                                         SUITE 1200 ST. LOUIS MO 63101

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Claim Name                               Address Information
KING, ELIZABETH                         THE REARDON LAW FIRM, P.C. 160 HEMPSTEAD ST. NEW LONDON CT 06320
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                                        CHERRY HILL NJ 08002
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                                        70130
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                                        CADE, GREGORY A BIRMINGHAM AL 32205
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                                        BOSTON MA 02111
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                                        91505
KLEINER, ELLEN                          EISENBERG, ROTHWEILER, WINKLER EISENBERG & JECK, P.C. 1634 SPRUCE ST
                                        EISENBERG, STEWART J PHILADELPHIA PA 19103
KLINE, JUDITH                           LAW OFFICE OF CHARLES H JOHNSON, PA 2599 MISSISSIPPI STREET NEW BRIGHTON MN
                                        55112-5060
KLUG, NOEL                              HABUSH HABUSH & ROTTIER SC 777 E. WISCONSIN AVENUE, SUITE 2300 YOUNG, PETER M.
                                        ROTTIER, DANIEL MILWAUKEE WI 53202
KNAUSS, DIANN                           CHAFFIN LUHANA LLP 600 THIRD AVENUE 12TH FLOOR NEW YORK NY 10016
KNIGHT, HAROLD                          BEVAN & ASSOCIATES LPA, INC. C/O THOMAS BEVAN 6555 DEAN MEMORIAL PKWY. BOSTON
                                        HEIGHTS OH 44236
KNIGHT, KIMBERLY                        MEYERS & FLOWERS, LLC 225 WEST WACKER DR., SUITE 1515 CHICAGO IL 60606
KNOBLE, BARBARA                         PETERSON & ASSOCIATE, P.C. 801 W. 47TH STREET, SUITE 107 PETERSON, DAVID M.
                                        KANSAS CITY MO 64112
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KNUTSON,CHRISTINA & KNUTSON,EUGENE      SWMW LAW, LLC C/O BENJAMIN SCHMICKLE 701 MARKET STREET, SUITE 1000 ST. LOUIS
                                        MO 63101
KOBEE, HOLLY                            LEVY KINIGSBERG LLP 605 3RD AVE FL 16 NEW YORK NY 10158-1699


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Claim Name                               Address Information
KOCH, GLENDA                            THE ZEVAN AND DAVIDSON LAW FIRM ONE NORTH TAYLOR AVENUE ST. LOUIS MO 63105
KOCH, GLENDA                            JACOBS OHARA MCMULLEN , P.C. 14550 TORREY CHASE BLVD STE 260 HOUSTON TX 77014
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KOLODZIEJ, ELAINE                       BREIT LAW PC 5544 GREENWICH ROAD, STE 100 BREIT, WILLIAM D VIRGINIA BEACH VA
                                        23462
KOLODZIEJ, ELAINE                       BREIT LAW PC 5544 GREENWICH ROAD, STE 100 BREIT, WILLIAM D VIRGINIA BEACH VA
                                        23462
KOMOROSKI, MARY                         THE GOSS LAW FIRM, P.C. 1501 WESTPORT RD GOSS, PETER E. KANSAS CITY MO 64111
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KRZYZOSIAK, NORMA                 EDEARDSVILLE IL 62025
KRZYZOSIAK, NORMA                 BARRETT LAW GROUP, P.A. 404 COURT SQUARE LEXINGTON MS 39095
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Claim Name                              Address Information
LANE, ELERA                            PIERCE SKRABANEK BRUERA, PLLC 3701 KIRBY DR, STE 760 HOUSTON TX 77098
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Claim Name                                Address Information
LEE, JACQUELINE                          FLEMING, NOLEN & JEZ, LLP 2800 POST OAK BLVD., STE 4000 HOUSTON TX 77056
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Claim Name                             Address Information
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Claim Name                                Address Information
LUNARDINI, CECILIA                       PRIBANIC & PRIBANIC, LLC 1735 LINCOLN WAY WHITE OAK PA 15131
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MARCZYNSKI, PATRICIA                     ANDREW W. WITCHITA KS 67226
MARGARET MORGENSTERN                     SLATER, SLATER, SCHULMAN, LLP SLATER, ADAM 445 BORAD HOLLW RD, ST. 419
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                                         33432-5825
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MASON, ELLEN                             BURG SIMPSON ELDREDGE HERSH JARDINE P.C. 40 INVERNESS DRIVE EAST ENGLEWOOD CO
                                         80112



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MASON, VICKIE                            LAW OFF OF ROGER 'ROCKY' WALTON P C. 2310 WEST INTERSTATE 20, STE 200 WALTON,
                                         ROGER ARLINGTON TX 76017
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MCCOY, CARLA                             MCNULTY LAW FIRM 827 MORAGA DRIVE MCNULTY, PETER J. LOS ANGELES CA 90049



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MCCOY, CHRISTI (SMITH)                   LANGSTON & LOTT, PLLC 100 SOUTH MAIN ST. LOTT, CASEY L. BOONEVILLE MS 03882
MCCOY, SANDRA                            LANGSTON & LOTT, PLLC 100 SOUTH MAIN ST. LOTT, CASEY L. BOONEVILLE MS 03882
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MCNEAL, PATRICIA                  PHILADELPHIA PA 19107
MCNEILL, MARY                     SLATER, SLATER, SCHULMAN, LLP 445 BORAD HOLLW RD, ST. 419 SLATER, ADAM
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Claim Name                                Address Information
MILES, JENNIFER                          CORRIE SEATTLE WA 98104
MILES, LINDA                             CORRIE YACKULIC LAW FIRM, PLLC 110 PREFONTAINE PLACE SOUTH STE 304 YACKULIC,
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MILLER, KAREN                            HUTTON & HUTTON 8100 E. 22ND ST NORTH, BLDG. 1200 HUTTON, ANDREW W. WITCHITA
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MILLER, MARGARET                         MORRIS LAW FIRM 4111 W. ALAMEDA AVE SUITE 611 MORRIS, JAMES A. BURBANK CA
                                         91505
MILLER, MYRA                             LAW OFFICES OF CHARLES H. JOHNSON 2599 MISSISSIPPI STREET NEW BRIGHTON MN
                                         55112-5060
MILLER, TERESSA                          CATES MAHONEY, LLC 216 WEST POINTE DR, SUITE A CATES, DAVID I. SWANSEA IL
                                         62226
MILLIREN, SANDRA                         HELMSDALE LAW, LLP 6 CONSULTANT PL., SUITE 100-A DURHAM NC 17707
MILLIS, JOAN                             ANAPOL WEISS ONE LOGAN SQUARE, 130 N. 18TH ST SUITE 1600 ASHE, EMILY B.
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                                         02111
MILLS, ROSEMARIE                         BELLUCK & FOX, LLP 546 FIFTH AVENUE, 4TH FLOOR GEORGIOU, KRISTINA NEW YORK NY
                                         10036
MINOR,EST MARGARETTE OF MINOR,CAROL      COONEY AND CONWAY C/O MICHAEL COONEY 120 N. LASALLE STREET, 30TH FLOOR CHICAGO
                                         IL 60602
MINTZER, BOBBI                           THE DEATON LAW FIRM 450 NORTH BROADWAY EAST PROVIDENCE RI 02814
MIRROW, HEIDI                            LAW OFFICE OF ROGER 'ROCKY' WALTON C. 2310 WEST INTERSTATE 20, STE 200 WALTON,
                                         ROGER ARLINGTON TX 76017
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MISKOFF, LAURIE EST OF MURARY BECK       KARST & VON OISTE, LLP C/O ERIC KARST 23923 GOSLING RD, SUITE A SPRING TX
                                         77389
MITCHELL, BRENDA                         BERMAN & SIMMONS, P. A. 129 LISBON STREET FAUNCE, SUSAN LEWISTON ME 04240
MITCHELL, JANE                           LAW OFFICE OF HAYTHAM FARAJ 1935 W BELMONT AVE FARAJ, HAYTHAM CHICAGO IL 60657
MITCHELL, LINDA                          NIX PATTERSON & ROACH 3600 N CAPITAL OF TEXAS B350 ROACH, NELSON JOHNSON,
                                         CHRISTOPHER AUSTIN TX 78746
MITCHELL, REBECCA                        MOTLEY RICE C/O DANIEL LAPINSKI WOODLAND FALLS CORPORATE PARK 210 LAKE DRIVE
                                         EAST, SUITE 101 CHERRY HILL NJ 08002
MITCHELL, REBECCA                        FLINT LAW FIRM LLC C/O ETHAN FLINT 222. E. PARK ST STE 500, PO BOX 189
                                         EDWARDSVILLE IL 62034
MITCHELL, TAMI                           THE LAW OFFICES OF SEAN M. CLEARY 19 W FLAGLER ST., STE 618 PEREIRA, ANDRES
                                         MIAMI FL 03313
MOBERS, ANDY ESTATE OF ELZA MOBERS       FLINT LAW FIRM LLC C/O ETHAN FLINT 222. E. PARK ST STE 500, PO BOX 189
                                         EDWARDSVILLE IL 62034
MOBERS, ELZA                             MOTLEY RICE C/O DANIEL LAPINSKI WOODLAND FALLS CORPORATE PARK 210 LAKE DRIVE
                                         EAST, SUITE 101 CHERRY HILL NJ 08002


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Claim Name                       Address Information
MOCHEL, RHONDA                  LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 SAN FRANCISCO CA 94111
MOEN, DEBORAH                   WALTON TELKEN FOSTER, LLC 241 N. MAIN ST. EDWARDSVILLE IL 62035
MOHAMMAD, CYNTHIA               JAVERBAUM WURGAFT HICKS KAHN WIKSTROM & SININS, P.C. 15 WARREN STREET PH WEST
                                HACKENSACK NJ 07601
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                                ORLEANS LA 70130
MONTZ, CAROL                    MICHAEL HINGLE & ASSOCIATES, LLC 220 GAUSE BOULEVARD PFLEEGER, BRYAN A.
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                                WALTON, ROGER ARLINGTON TX 76017
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MORRIS, SUSAN                   CHISHOLM & CHISHOLM, P.C. 516 FIRST AVENUE WEST PO BOX 2034, CHISHOLM, DEAN
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MORRISSEY, CAROLE                      DEMETRIO, TOM A CHICAGO IL 60602
MORTIMER, DIANNE                       THORNTON LAW FIRM 1 LINCOLN ST, FL 13, STATE ST FIN CTR MCGOLDRICK, MARILYN T.
                                       BOSTON MA 02111
MORTIMER, LAURA                        ASHCRAFT & GEREL, LLP 1825 K. STREET, NW, STE 700 M. PARFITT WASHINGTON, DC
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MORTON, VICTORIA                       KIRKENDALL DWYER LLP 4343 SIGMA RD SUITE 200 DALLAS TX 75244
MOSCHOGIANIS, NANCY                    MESHBESHER & SPENCE, LTD. 1616 PARK AVENUE RASO, ASHLEIGH E. MINNEAPOLIS MN
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MOSLEY, JEFFELYN                       BART DURHAM INJURY LAW DURHAM, BLAIR 404 JAMES ROBERTSON PKWY, STE 1712
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MOSS, PENNY                            NIX PATTERSON & ROACH 3600 N CAPITAL OF TEXAS B350 ROACH, NELSON JOHNSON,
                                       CHRISTOPHER AUSTIN TX 78746
MOTOLA, JOANN                          VENTURA LAW 235 MAIN STREET BARBER, NICOLE L. DANBURY CT 06810
MOUNT, COLETTE                         MARY ALEXANDER & ASSOCIATES, P.C. 44 MONTGOMERY ST, SUITE 1303 FIORE, JENNIFER
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MURRAY, BESSIE BLAND                   HAFELI STARAN & CHRIST, P. C. 2055 ORCHARD LAKE ROAD SYLVAN LAKE MI 48320
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                                       06103
NALLS, CLARISSA                        ENVIRONMENTAL LITIGATION GROUP, PC 2160 HIGHLAND AVENUE SOUTH ANDERSON, GARY
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Claim Name                               Address Information
NEFF, MARY                              THE BARNES FIRM, P.C. 420 LEXINGTON AVE, STE 2140 NEW YORK NY 10170
NEILSON, VICTORIA                       CPC 2 CORPORATE PARK, SUITE 110 IRVINE CA 92606
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NELSON, RUTH                            LINVILLE LAW GROUP 1932 N DRUID HILLS RD NE, SUITE 200 GANDHI, VINITA ATLANTA
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NELSON, SUZANNE                         SUMMERS & JOHNSON, P.C. 717 THOMAS ST. WESTON MO 64098
NETTLES, CYNTHIA                        CHAPPELL, SMITH & ARDEN, P.A. 2801 DEVINE ST, SUITE 300 COLUMBIA SC 29205
NEWCOMB, NANCY                          THE CARLSON LAW FIRM 100 E CENTRAL TEXAS EXPRESSWAY KILLEEN TX 76541
NEWMAN, JILL                            SHAW COWART, LLP 1609 SHOAL CREEK BLVD, SUITE 100 SHAW, ETHAN L. COWART, JOHN
                                        P. AUSTIN TX 78701
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NEWTON, JERRY B. AND NEWTON, PATSY      DEAN OMAR BRANHAM, LLP C/O JESSICA DEAN 302 N. MARKET ST., SUITE 300 DALLAS TX
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                                        19102
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                                        32789
NICHOLS, TRISHA                         MILSTEIN, JACKSON, FAIRCHILD & WADE 10990 WILSHIRE BLVD STE 800 LOS ANGELES CA
                                        90024-3931
NICHOLSON, JOYCIE                       THE DILORENZO LAW FIRM, LLC 505 20TH STTREE NORTH, STE 1275 BIRMINGHAM AL
                                        35203
NICKALOFF, LANA                         BOUCHER LLP 21600 OXNARD STREET, SUITE 600 WOODLAND HILLS CA 91367
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NIXON, BETTY                            DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, STE 300 DIAZ JR., GERALD J. MADISON
                                        MS 39110
NIXON, ROBIN                            CHAPPELL, SMITH & ARDEN, P.A. 2801 DEVINE ST, SUITE 300 COLUMBIA SC 29205
NIXON, SHELBY                           THE PENTON LAW FIRM 209 HOPPEN PL BOGALUSA LA 70427-3827
NOGA, DONNA                             CRAIG SWAPP & ASSOCIATES EMILY B ASHE 9980 S. 300 W. #400 SANDY UT 84070
NOORDA, GABRIELA                        MORRIS LAW FIRM 4111 W. ALAMEDA AVE SUITE 611 MORRIS, JAMES A. GREENBERG,
                                        SHANE BURBANK CA 91505
NORMAN, STANTRA                         JEANSONNE & REMONDET POST OFFICE BOX 91530 REMONDET, JR., MICHAEL J. LAFAYETTE
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NORRIS, LISA                            EISENBERG ROTWEILLER, ET AL. 1634 SPRUCE ST SCHOENHAUS, TODD A. PHILADELPHIA
                                        PA 19103
NORRIS, THERESA                         THE DUGAN LAW FIRM ONE CANAL PLACE - STE 1000 365 CANAL STREET NEW ORLEANS LA
                                        70130
NOVIKOFF, ELENA                         CPC 2 CORPORATE PARK, SUITE 110 IRVINE CA 92606
NUCKLES, SALLY                          KIRKENDALL DWYER LLP 4343 SIGMA RD SUITE 200 DALLAS TX 75244
NUCKOLS, ETHEL                          THE MICHAEL BRADY LYNCH FIRM 127 W. FAIRBANKS AVE, NO. 528 WINTER PARK FL
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NUNEZ, MARY                             MOTLEY RICE NEW JERSEY LLC 210 LAKE DRIVE EAST, STE. 101 BEREZOFSKY, ESTHER
                                        CHERRY HILL NJ 08002
NUNLEY-CALLENDER, ZONIA                 BART DURHAM INJURY LAW DURHAM, BLAIR 404 JAMES ROBERTSON PKWY, STE 1712
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OATIS, GINA                             FRAZER LAW LLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER II,


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Claim Name                                Address Information
OATIS, GINA                              T. ROE NASHVILLE TN 37215
OATMAN, JANICE                           OSBORNE & FRANCIS LAW FIRM PLLC 433 PLAZA REAL, SUITE 271 BOCA RATON FL 33432
OATMAN, JANICE                           OSBORNE & FRANCIS LAW FIRM PLLC 433 PLAZA REAL, SUITE 271 J. ROBERT BELL III
                                         BOCA RATON FL 33432
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ODLE, MARTHA                             COLLEY SHROYER & ABRAHAM CO. LLC 536 SOUTH HIGH STREET COLUMBUS OH 43215
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                                         PA 19103
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                                         JORGE GUAYNABO PUERTO PR 00969
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                                         GA 30319
OLLMAN, LOIS                             THE WEINBERG LAW FIRM 149 LIVINGSTON AVENUE NEW BRUNSWICK NJ 08901
OLSON, BARBARA                           THE WEINBERG LAW FIRM 149 LIVINGSTON AVENUE NEW BRUNSWICK NJ 08901
OLSON, DONNA A. AND ROBERT M.            LEVY KONIGSBERG LLP RENNER WALKER 605 THIRD AVE., 33RD FLOOR NEW YORK NY 10158
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ONEAL, D FULMORE EST OF C FULMORE        WEITZ & LUXENBERG C/O DANNY KRAFT 700 BROADWAY NEW YORK NY 10003
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                                         86001
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                                         PHILADELPHIA PA 19107
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                                         55112-5060
ORDETX, ZONIA                            PANISH, SHEA & BOYLE 11111 SANTA MONICA BLVD., SUITE 700 KAUFMAN, PETER L. LOS
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ORLIN, DENISE                            CORY, WATSON, CROWDER & DEGARIS 2131 MAGNOLIA AVE., SUITE 200 HUNT, STEPHEN
                                         BIRMINGHAM AL 35205
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                                         MARY E. SAN FRANCISCO CA 94104


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Claim Name                                Address Information
ORTIZ, SHERLEEN                          MOTLEY RICE, LLC 20 CHURCH STREET 17TH FLOOR JASINSKI, MATHEW P. HARTFORD CT
                                         06103
ORTIZ, SONIA                             KELLEY UUSTAL, PLC 500 NORTH FEDERAL HIGHWAY, STE 200 FORT LAUDERDALE FL 33301
ORTIZ, SONIA                             THE MADALON LAW FIRM 100 NORTH FEDERAL HIGHWAY 4TH FLOOR FORT LAUDERDALE FL
                                         33301
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                                         45202-4015



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Claim Name                               Address Information
PARKER, MADELINE                        ENVIRONMENTAL LITIGATION GROUP, PC 2160 HIGHLAND AVENUE SOUTH MCKIE, KEVIN B.
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Claim Name                                Address Information
PITRE, ALENA                             LIAKOS LAW APC 1611 S. PACIFIC COAST HIGHWAY SUITE 200D REDONDO BEACH CA 90277
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Claim Name                               Address Information
PROKOP, CYNTHIA                         62226
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Claim Name                          Address Information
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RENEW, MARY                             JAMES, VERNON & WEEKS, PA 1626 LINCOLN WAY COEUR DALENE ID 83814
RENNA, GENEVIEVE                        ZEVAN DAVIDSON ROMAN LLC 211 N. BROADWAY STE 2675 ST. LOUIS MO 63102
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RING, DEBBIE                           MOTLEY RICE NEW JERSEY LLC 210 LAKE DRIVE EAST, STE. 101 BEREZOFSKY, ESTHER
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RODRIGUEZ, HAYDEE                        JORGE GUAYNABO PUERTO PR 00969
RODRIGUEZ, TRACY EST OF R RODRIGUEZ      COONEY AND CONWAY C/O MICHAEL COONEY 120 N. LASALLE STREET, 30TH FLOOR CHICAGO
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Claim Name                                Address Information
ROY, LYNNE                               DEAN OMAR BRANHAM, LLP C/O JESSICA DEAN 302 N. MARKET ST., SUITE 300 DALLAS TX
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                                         10017
SALGADO, CARMELA                         MARY ALEXANDER & ASSOCIATES, P.C. 44 MONTGOMERY STREET, SUITE 1303 WAY,
                                         BRENDAN D.S. MUNOZ, CATALINA S SAN FRANCISCO CA 94104
SALISBURY, CYNTHIA                       THE LAW OFFS. OF SEAN M CLEARY P.A. 19 W FLAGLER ST., STE 618 PEREIRA, ANDRES
                                         MIAMI FL 03313
SALKIN, DEBORAH                          LEVY BALDANTE FINNEY & RUBENSTEIN 1845 WALNUT ST., SUITE 1300 RUBENSTEIN,
                                         MARTIN R COHEN, MARK R. PHILADELPHIA PA 19103
SAMIA, DORI ESTATE OF JOHN DEGRAZIA      DEATON LAW FIRM C/O JOHN DEATON 450 N. BROADWAY EAST PROVIDENCE RI 02914
SAMONTE, TAMMY                           LAW OFFICES OF JAMES SCOTT FARRIN 280 MANGUM STREET, SUITE 400 JACKSON, GARY
                                         W. DURHAM NC 27701
SAMPLE, MARY                             PO BOX 222881 WEST PALM BCH FL 33422-2881


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Claim Name                          Address Information
SAMPSON, BETTY                     ASPEY, WATKINS & DIESEL, PLLC 123 N SAN FRANCISCO ST SUITE 300 FLAGSTAFF AZ
                                   86001
SAMUEL, BETTIE                     NAPOLI SHKOLNIK LLC 919 NORTH MARKET STREET, SUITE 1801 HRUBIEC, R. JOSEPH
                                   WILMINGTON DE 19801
SAMUELS, SABRINA                   GOZA & HONNOLD, LLC 9500 MALL AVE #400 OVERLAND PARK KS 66207
SANCHEZ, YVONNE                    LAW OFFICE OF HAYTHAM FARAJ 1935 W BELMONT AVE FARAJ, HAYTHAM CHICAGO IL 60657
SANDERS, GAIL                      LAW OFFS. OF PETER G. ANGELOS, P.C. 100 NORTH CHARLES ST, 22ND FLOOR BALTIMORE
                                   MD 21201
SANDERS, GEORGIA                   DICELLO LEVITT GUTZLER LLC 7556 MENTOR AVENUE MENTOR OH 44060
SANDERSON, LYNETH                  THE CUFFIE LAW FIRM 3080 CAMPBELTON ROAD SOUTHWEST CUFFIE, THOMAS ATLANTA GA
                                   30311
SANDOVAL, SAN JUANA                WEITZ & LUXENBERG C/O MARK BRATT 1880 CENTURY PARK EAST, SUITE 700 LOS ANGELES
                                   CA 90067
SANDRA JOHNSON                     MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
SANSONE, KRISTINA                  POURCIAU LAW FIRM, LLC 2200 VETERANS MEMORIAL BLVD., STE 210 KENNER LA 70062
SANTANA, ANN                       COHEN, PLACITELLA & ROTH, P.C. 2001 MARKET ST, SUITE 2900 GEIER, DENNIS M.
                                   PHILADELPHIA PA 19103
SANTISTEBAN, THAMAR                LAW OFF. OF NICHOLAS A. BOYLAN, APC 233 A STREET, SUITE 1205 VAVASOUR, LIAM F
                                   BOYLAN, NICHOLAS A SAN DIEGO CA 92101
SANTOS, GENOVEVA                   HAIR SHUNNARAH TRIAL ATTORNEYS LLC 3540 S. I-10 SERVICE RD W, STE 300 METAIRIE
                                   LA 70001
SASAKI, ELENA                      ASPEY, WATKINS & DIESEL, PLLC 123 N SAN FRANCISCO ST SUITE 300 FLAGSTAFF AZ
                                   86001
SATTERWHITE-MUHAMMAD, BARBARA      FLEMING, NOLEN & JEZ, LLP 2800 POST OAK BLVD., STE 4000 HOUSTON TX 77056
SAUNDERS, PAULA                    HAIR SHUNNARAH TRIAL ATTORNEYS LLC 3540 S. I-10 SERVICE RD W, STE 300 METAIRIE
                                   LA 70001
SAVAGE, MARILYN                    BERKE LAW FIRM, PA 4423 DEL PRADO BOULEVARD S. BERKE, BILL B. CAPE CORAL FL
                                   33904
SAWYER, NINA                       LANGDON & EMISON 911 MAIN STREET EMISON, BRETT A LEXINGTON MO 64067
SAYEGH, CHERYL                     HART MCLAUGHLIN & ELDRIDGE 22 W WASHINGTON ST STE 1600 MCLAUGHLIN, ROBERT
                                   CHICAGO IL 60602-1615
SCAMAN, LINDA                      SLACK & DAVIS LLP 6001 BOLD RULER WAY, SUITE 100 BOWEN, DONNA J. AUSTIN TX
                                   78746
SCARBROUGH, CATHERINE              DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, STE 300 DIAZ JR., GERALD J. MADISON
                                   MS 39110
SCHEFFLER, LINDA                   SLATER, SLATER, SCHULMAN, LLP 445 BORAD HOLLW RD, ST. 419 SLATER, ADAM
                                   MELVILLE NY 01174
SCHELLINGER, GAIL                  HARRISON DAVIS STEAKLEY MORRISON JONES, PC 5 RITCHIE RD WACO TX 76712
SCHMAUS, CAROL                     CORY WATSON, CROWDER & DEGARIS P.C. 2131 MAGNOLIA AVE., SUITE 200 HUNT,
                                   STEPHEN BIRMINGHAM AL 35205
SCHMIDT, MARALDINE                 TAFT STETTINIUS & HOLLISTER LLP 111 EAST WACKER, SUTIE 2800 CHICAGO IL 60601
SCHMIDT, MICHELLE                  THE DEATON LAW FIRM 450 NORTH BROADWAY EAST PROVIDENCE RI 02814
SCHMITT, ALLISON                   MESSA & ASSOCIATES, P.C. 123 S. 22ND STREET MCLAFFERTY, ELIZABETH PHILADELPHIA
                                   PA 19103
SCHMITZ, ASHLEY LEIGH              KAZAN MCCLAIN SATTERLEY & GREENWOOD C/O JOSEPH SATTERLEY, J. LONDON MARKET 55
                                   HARRISON ST STE 400 OAKLAND CA 94607
SCHMITZ, MICHAELINE                MORRIS LAW FIRM 4111 W. ALAMEDA AVE SUITE 611 MORRIS, JAMES A. BURBANK CA
                                   91505
SCHMITZ, PATRICIA                  KAZAN MCCLAIN SATTERLEY & GREENWOOD C/O JOSEPH SATTERLEY, J. LONDON MARKET 55
                                   HARRISON ST STE 400 OAKLAND CA 94607
SCHNEIDER, SUSAN                   LIEFF CABRASER HEIMANN & BERNSTEIN, LLP, 275 BATTERY STREET, 30TH FLOOR
                                   ZEGEYE, TISEME LONDON, SARAH R. SAN FRANCISCO CA 94111



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Claim Name                             Address Information
SCHNIER, MIRIAM                       RHEINGOLD, GLUFFRA RUFLO & PLOTKIN 561 FIFTH AVENUE 29TH FLOOR RUFFO, EDWARD
                                      NEW YORK NY 10176
SCHOFIELD, MARY                       LAW OFFICES OF ERIC H. WEINBERG 149 LIVINGSTON AVENUE NEW BRUNSWICK NJ 08901
SCHOFIELD, MARY                       THE WEINBERG LAW FIRM 149 LIVINGSTON AVENUE NEW BRUNSWICK NJ 08901
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                                      LOUIS MO 63101
SCHUBERT, KAREN                       HABUSH HABUSH & ROTTIER SC 777 E. WISCONSIN AVENUE, SUITE 2300 ROTTIER, DANIEL
                                      MILWAUKEE WI 53202
SCHULTZE, HEIDELINDE & SCHULTZE,      RICHARD; KARST & VON OISTE, LLP C/O ERIC KARST 23923 GOSLING RD, SUITE A
                                      SPRING TX 77389
SCHWAMPE, JUDY                        LAW OFFICES OF JAMES S. ROGERS 1500 FOURTH AVE, SUITE 500 ROGERS, JAMES S
                                      COVER, HEATHER SEATTLE WA 09810
SCHWARTZ, WENDY                       SEIDMAN MARGULIS & FAIRMAN, LLP 110 W. MAIN ST., STE. 110 SEIDMAN, DANIEL R.
                                      BELLEVILLE IL 62220
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                                      BALTIMORE MD 21201
SCOBEE, ROBIN                         LAW OFFS. OF CHARLES H. JOHNSON, PA 2599 MISSISSIPPI STREET NEW BRIGHTON MN
                                      55112-5060
SCOTT, LYNDA                          THE DUGAN LAW FIRM ONE CANAL PLACE - STE 1000 365 CANAL STREET NEW ORLEANS LA
                                      70130
SCOVENS, DIANE                        LANGDON & EMISON 911 MAIN STREET EMISON, BRETT A LEXINGTON MO 64067
SCUTARI, TARA                         JAVERBAUM WURGAFT HICKS KAHN WIKSTROM & SININS, P.C. 15 WARREN STREET PH WEST
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                                      WALTON, ROGER ARLINGTON TX 76017
SENTER, DEBORAH                       THE MICHAEL BRADY LYNCH FIRM 127 W. FAIRBANKS AVE, NO. 528 WINTER PARK FL
                                      32789
SENTER, DEBORAH                       MILSTEIN, JACKSON, FAIRCHILD & WADE, LLP, 10250 CONSTELLATION BLVD., STE 1400
                                      LOS ANGELES CA 90067
SERRANO, LINDA                        THE WHITEHEAD LAW FIRM, LLC 3639 AMBASSADOR CAFFERY PKWY PETROLEUM TWR, STE
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SESKIN, MARILYN                       THE ALVAREZ LAW FIRM 3251 PONCE DE LEON BLVD CORAL GABLES FL 33134
SETZER, ANNIE                         THE CUFFIE LAW FIRM 3080 CAMPBELTON ROAD SOUTHWEST CUFFIE, THOMAS ATLANTA GA
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SEWELL, STEPHANIE                     LEVIN SIMES ABRAMS LLP 1700 MONTGOMERY, SUITE 250 SAN FRANCISCO CA 94111
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                                      MARY E. SAN FRANCISCO CA 94104
SEYBOLT, PATRICIA                     CLAYEO C. ARNOLD, APC 865 HOWE AVENUE WATSON, JOSHUA H. STRALEN, JOHN T.
                                      SACRAMENTO CA 92825
SEYMOUR, YOKITA                       HART MCLAUGHLIN & ELDRIDGE 22 W WASHINGTON ST STE 1600 CHICAGO IL 60602-1615
SHABAN, L EUNA                        SANGISETTY LAW FIRM, LLC 3914 CANAL ST SANGISETTY, RAVI NEW ORLEANS LA 70119
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SHADER, PATRICIA                      MAUNE RAICHLE HARTLEY FRENCH & MUDD LLC, C/O SUZANNE M. RATCLIFFE 659 EAGLE
                                      ROCK AVENUE, SUITE 28 WEST ORANGE NJ 07052
SHAMBLIN, WANDA                       THE CHEEK LAW FIRM 650 POYDRAS STREET, SUITE 2310 LINDSEY A. CHEEK NEW ORLEANS


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Claim Name                            Address Information
SHAMBLIN, WANDA                      LA 70130
SHANN, RAYMOND                       SWMW LAW, LLC C/O BENJAMIN SCHMICKLE 701 MARKET STREET, SUITE 1000 ST. LOUIS
                                     MO 63101
SHANNON, CAROL                       SUMMERS & JOHNSON, P.C. 717 THOMAS ST. WESTON MO 64098
SHARP, MICHELLE                      WILLIAMS KHERKHER HART BOUNDAS, LLP 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT,
                                     SEJAL K BOUNDAS, JOHN T HOUSTON TX 77017
SHAW, CATHERINE                      MAUNE RAICHLE HARTLEY FRENCH & MUDD, LLC C/O T. BARTON FRENCH 1015 LOCUST
                                     STREET, SUITE 1200 ST. LOUIS MO 63101
SHAW, IONE                           THE DUGAN LAW FIRM ONE CANAL PLACE - STE 1000 365 CANAL STREET NEW ORLEANS LA
                                     70130
SHAW, SHIRLEY                        SUMMERS & JOHNSON, P.C. 717 THOMAS ST. WESTON MO 64098
SHEA, DOLORES                        WILENTZ, GOLDMAN, & SPITZER, P.A. 90 WOODBRIDGE CENTER DRIVE, STE. 900, KIZIS,
                                     LYNNE M. WOODBRIDGE NJ 07095
SHEARON, VICKIE                      PAUL LLP 601 WALNUT STREET, SUITE 300 KANSAS CITY MO 64106
SHEEHY, KELLY                        COOK, BARTHOLOMEW, SHEVLIN, COOK & JONES LLP 12 W LINCOLN ST BELLEVILLE IL
                                     62220
SHELTON, BRENDA                      CAMPBELL & ASSOCIATES 717 EAST BLVD HOOVER, PAYTON D. CAMPBELL, CLAIR G
                                     CHARLOTTE NC 28203
SHELTON, BRENDA                      FRAZER LAW LLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER II,
                                     T. ROE NASHVILLE TN 37215
SHELTON, BRENDA                      FRAZER LAW LLC 1415 UNIVERSITY AVE OXFORD MS 38655
SHELTON, DEANNA                      BROWN, READDICK, BUMGARTNER, CARTER, STRICKLAND, SCOTT, PAUL M - 5 GLYNN
                                     AVENUE BRUNSWICK GA 31521-0220
SHEPPERSON, JULIE                    THE CHEEK LAW FIRM 650 POYDRAS STREET, SUITE 2310 LINDSEY A. CHEEK NEW ORLEANS
                                     LA 70130
SHEPPERSON, JULIE                    UNGLESBY LAW FIRM 246 NAPOLEON STREET UNGLESBY, LEWIS O. BATON ROUGE LA 70802
SHERLOCK, TINA                       SANGISETTY LAW FIRM, LLC 3914 CANAL ST SANGISETTY, RAVI NEW ORLEANS LA 70119
SHERMAN SILVERSTEIN KOHL ROSE &      ATTN: ARTHUR J ABRAMOWITZ, ROSS J. SWITKES 308 HARPER DR, STE 200 MOORESTOWN
PODOLSKY                             NJ 08057
SHERMAN, CAROL                       THE LAW OFFS. OF SEAN M CLEARY P.A. 19 W FLAGLER ST., STE 618 PEREIRA, ANDRES
                                     MIAMI FL 03313
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                                     33780-1637
SHINSKE, DIANA                       DANZIGER & DE LLANO, LLP MICHELLE WHITMAN 440 LOUISIANA ST, UNIT 1212 HOUSTON
                                     TX 77002
SHIPLEY, BARBARA                     FREDEKING & BISER LAW OFFICES 511 EIGHTH STREET BISER, PAUL E. HUNTINGTON WV
                                     25701
SHIRLEY, NIEMEYER,                   LEVY KONIGSBERG LLP C/O JEROME BLOCK 800 3RD AVE., 11TH FLOOR NEW YORK NY
                                     10022
SHLIGER, DAYNA                       SEITHEL LAW LLC POST OFFICE BOX 1929 CHARLESTON SC 29457
SHOEMAKER, JULIANNE                  ASHCRAFT & GEREL, LLP 1825 K. STREET, NW, STE 700 M. PARFITT WASHINGTON, DC
                                     20006
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                                     SCHOENHAUS, TODD A. PHILADELPHIA PA 19103
SHRIVER, BARBARA                     VAUGHAN LEGAL TRIAL TEAM 2909 HILLCROFT AVE, STE 575 VAUGHAN, JEFFREY R.
                                     HOUSTON TX 77057
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                                     T. ROE NASHVILLE TN 37203
SHUMAN, FRANCINE L.                  WEITZ & LUXENBERG C/O DANNY KRAFT 700 BROADWAY NEW YORK NY 10003
SIDECO, TERESITA                     NAPOLI SHKOLNIK PLLC SACKS, SHAYNA E. 360 LEXINGTON AVE, 11TH FL NEW YORK NY
                                     10017



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Claim Name                              Address Information
SIECKMAN, KARL                         THE MICHAEL BRADY LYNCH FIRM 127 W. FAIRBANKS AVE, NO. 528 WINTER PARK FL
                                       32789
SIFUENTES, NORMA                       BERNSTEIN LIEBHARD LLP 10 EAST 40TH ST, FLOOR 29 BURKE, DANIEL C. NEW YORK NY
                                       10061
SILBERMAN, JANET                       RHEINGOLD VALET RHEINGOLD MCCARTNEY & GIUFFRA 551 5TH AVE, 29TH FL; RUFFO,
                                       EDWARD NEW YORK NY 10017
SILVA, KAMALA                          ANDREWS THORNTON HIGGINS RAZMARA, LLP 4701 VON KARMAN AVE., STE 300 NEWPORT
                                       BEACH CA 92660
SILVA, R EST OF M SILVA B SILVA &      K SILVA , DEATON LAW FIRM C/O JOHN DEATON 450 N. BROADWAY EAST PROVIDENCE RI
                                       02914
SILVA, SANDRA                          BERSTEIN LIEBHARD LLP 10 EAST 40TH STREET - FLOOR 22 BURKE, DANIEL C. NEW YORK
                                       NY 10016
SILVERMAN, HARRIET & SILVERMAN,        KENNETH; WEITZ & LUXENBERG C/O DANNY KRAFT 700 BROADWAY NEW YORK NY 10003
SIMMONS, ALICE                         THE WEINBERG LAW FIRM 149 LIVINGSTON AVENUE NEW BRUNSWICK NJ 08901
SIMMONS, CARRIE                        ZEVAN DAVIDSON ROMAN LLC 211 N. BROADWAY STE 2675 ST. LOUIS MO 63102
SIMMONS, CARRIE                        JACOBS OHARA MCMULLEN , P.C. 14550 TORREY CHASE BLVD STE 260 HOUSTON TX 77014
SIMMONS, LORRAINE                      THE DUGAN LAW FIRM ONE CANAL PLACE - STE 1000 365 CANAL STREET NEW ORLEANS LA
                                       70130
SIMMONS, MILDRED                       CHAFFIN LUHANA LLP 600 THIRD AVENUE 12TH FLOOR NEW YORK NY 10016
SIMMONS, TAMMY                         LAW OFFICE OF HAYTHAM FARAJ 1935 W BELMONT AVE FARAJ, HAYTHAM CHICAGO IL 60657
SIMPSON, BRENDA                        HURLEY MCKENNA & MERTZ 20 S CLARK ST STE 2250 CHICAGO IL 60603-1817
SIMPSON, CYNTHIA                       ALLEN & NOLTE PLLC 5445 LA SIERRA DRIVE, SUITE 350 ALLEN, III, JOHN H 'TREY'
                                       DALLAS TX 75231
SIMS, CONNIE                           MAUNE RAICHLE HARTLEY FRENCH & MUDD LLC, C/O SUZANNE M. RATCLIFFE 659 EAGLE
                                       ROCK AVENUE, SUITE 28 WEST ORANGE NJ 07052
SIMS, DARLAH                           THE WHITEHEAD LAW FIRM, LLC 3639 AMBASSADOR CAFFERY PKWY PETROLEUM TWR, STE
                                       303 LAFAYETTE LA 70503
SINCLAIR, DELOISE                      CAMPBELL & ASSOCIATES 717 EAST BLVD CAMPBELL, CLAIR G. CHARLOTTE NC 28203
SINCLAIR, DELOISE                      FRAZER LAW LLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER II,
                                       T. ROE NASHVILLE TN 37215
SINISCAL, MADELENE                     DRISCOLL FIRM, P.C. 7110 W. MAIN STREET DRISCOLL, JOHN J. BELLEVILLE IL 62223
SIPPLE, ALICE                          NAPOLI SHKOLNIK LLC 919 NORTH MARKET STREET, SUITE 1801 HRUBIEC, R. JOSEPH
                                       WILMINGTON DE 19801
SISSAC, VILMA                          MICHAEL HINGLE & ASSOCIATES, LLC 220 GAUSE BOULEVARD PFLEEGER, BRYAN A.
                                       HINGLE, MICHAEL SLIDELL LA 70458
SIZEMORE, ROBIN                        HART MCLAUGHLIN & ELDRIDGE 22 W WASHINGTON ST STE 1600 CHICAGO IL 60602-1615
SKELTON, BESSIE                        LIAKOS LAW APC 1611 S. PACIFIC COAST HIGHWAY, SUITE 200D REDONDO BEACH CA
                                       90277
SKONORD, CYNTHIA                       HABUSH HABUSH & ROTTIER SC 777 E. WISCONSIN AVENUE, SUITE 2300 ROTTIER, DANIEL
                                       MILWAUKEE WI 53202
SKORUPA, SHERRY                        SAUNDERS & WALKER, P.A. P.O. BOX 1637 SAUNDERS, JOSEPH H. PINELLAS PARK FL
                                       33780-1637
SLACK, MARY                            WALTON TELKEN FOSTER, LLC 241 N. MAIN ST. EDWARDSVILLE IL 62035
SLAMPA, NORMA                          THE LAW OFFICES OF PETER G. ANGELOS 100 NORTH CHARLES ST BALTIMORE MD 21201
SLAYDEN, RENE                          PRATT & TOBIN, P.C. ROUTE 111 AT AIRLINE DRIVE TOBIN, GREGORY M. EAST ALTON IL
                                       62024
SLEIK-LINDAHL, SALLY                   HABUSH HABUSH & ROTTIER SC 777 E. WISCONSIN AVENUE, SUITE 2300 ROTTIER, DANIEL
                                       MILWAUKEE WI 53202
SLUSHER, THERESA                       PIERCE SKRABANEK BRUERA, PLLC 3701 KIRBY DR, STE 760 HOUSTON TX 77098
SMARRA, ROSEMARY                       BALZARINI & WATSON 310 GRANT STREET, STE. 3303 BALZARINI, LAURA PITTSBURGH PA
                                       15219
SMITH, AUDREY                          MAUNE RAICHLE HARTLEY FRENCH & MUDD LLC, C/O T. BARTON FRENCH 1015 LOCUST



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Claim Name                            Address Information
SMITH, AUDREY                        STREET, SUITE 1200 ST. LOUIS MO 63101
SMITH, AUDREY AND SMITH, STEVEN      MAUNE RAICHLE HARTLEY FRENCH & MUDD, LLC, C/O T. BARTON FRENCH 1015 LOCUST
                                     STREET, SUITE 1200 ST. LOUIS MO 63101
SMITH, BARBARA                       WILENTZ, GOLDMAN, & SPITZER, P.A. 90 WOODBRIDGE CENTER DRIVE, STE. 900, KIZIS,
                                     LYNNE M. WOODBRIDGE NJ 07095
SMITH, BARBARA                       SEITHEL LAW LLC POST OFFICE BOX 1929 CHARLESTON SC 29457
SMITH, BARBARA                       DELISE & HALL 528 W. 21ST AVENUE HALL JR., ALTON J. COVINGTON LA 70433
SMITH, BRENDA                        THE WEBSTER LAW FIRM 6200 SAVOY, SUITE 515 WEBSTER, JASON C. HOUSTON TX 77036
SMITH, BRINDA                        LINVILLE LAW GROUP 1932 N DRUID HILLS RD NE, SUITE 200 GANDHI, VINITA ATLANTA
                                     GA 30319
SMITH, CAROLE                        BACHUS & SCHANKER LLC 123 N COLLEGE AVE #200 FORT COLLINS CO 80524
SMITH, CATHERINE                     SUMMERS & JOHNSON, P.C. 717 THOMAS ST. WESTON MO 64098
SMITH, COLLEEN                       CHAFFIN LUHANA LLP 600 THIRD AVENUE 12TH FLOOR NEW YORK NY 10016
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                                     78746
SMITH, DEANNA                        CATES MAHONEY, LLC 216 WEST POINTE DR, SUITE A CATES, DAVID I. SWANSEA IL
                                     62226
SMITH, DEBORAH                       DARCY JOHNSON DAY, P.C. 3120 FIRE RD. SUITE 100 DARCY, ANDREW EGG HARBOR TWP
                                     NJ 08234
SMITH, DONNA                         GOZA & HONNOLD, LLC 9500 MALL AVE #400 OVERLAND PARK KS 66207
SMITH, DOROTHY                       THE CUFFIE LAW FIRM 3080 CAMPBELTON ROAD SOUTHWEST CUFFIE, THOMAS ATLANTA GA
                                     30311
SMITH, GLORIA                        FITZGERALD LAW GROUP, LLC 120 EXHANGE STREET, SUITE 200 FITZGERALD, KEVIN M
                                     PORTLAND ME 04101
SMITH, GLORIA                        CAMPBELL & ASSOCIATES 717 EAST BLVD CAMPBELL, CLAIR G. CHARLOTTE NC 28203
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                                     20006
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                                     BOX 832 ATHENS GA 30603
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SMITH, KIRK A.                       MAUNE RAICHLE HARTLEY FRENCH & MUDD, LLC, C/O T. BARTON FRENCH 1015 LOCUST
                                     STREET, SUITE 1200 ST. LOUIS MO 63101
SMITH, LINDA                         LEVY KONIGSBERG LLP 800 THIRD AVE 11TH FLOOR LONG, AMBER BLUMENKRANZ, ROBIN B.
                                     NEW YORK NY 10022
SMITH, MARTHA                        THE WHITEHEAD LAW FIRM, LLC 3639 AMBASSADOR CAFFERY PKWY PETROLEUM TWR, STE
                                     303 LAFAYETTE LA 70503
SMITH, OVERIA                        PAUL LLP 601 WALNUT STREET, SUITE 300 KANSAS CITY MO 64106
SMITH, ROBERTA                       THE MICHAEL BRADY LYNCH FIRM 127 W. FAIRBANKS AVE, NO. 528 WINTER PARK FL
                                     32789
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SMITH, SHARON                        KELLEY UUSTAL, PLC 500 NORTH FEDERAL HIGHWAY, SUITE 200 FORT LAUDERDALE FL
                                     33301
SMITH, SHERRY                        JUSTINIAN & ASSOCIATES PLLC 7042 ALAMO DOWNS PKWY STE 370 SAN ANTONIO TX
                                     78238-4526
SMITH, SHIRLEY                       KAPUSTA DEIHL & SCHWEERS, LLC 445 FORT PITT BOULEVARD, SUITE 500 DEIHL, HOLLY
                                     L. PITTSBOURGH PA 15219
SMITH, SYLVIA                        THE DUNKEN LAW FIRM DUNKEN, BURT TERRY 77 SUGAR CREEK CENTER BLVD STE 600
                                     SUGAR LAND TX 77478-3688
SMITH, WINDY                         WEITZ & LUXENBERG, P.C. 700 BROADWAY SHARMA, BHARATI O NEW YORK NY 10003
SNEAD, VANESSA                       DUGAN LAW FIRM, PLC 365 CANAL PLACE NEW ORLEANS LA 70130



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Claim Name                       Address Information
SNEDEN, CATHERINE               ANAPOL WEISS ONE LOGAN SQUARE, 130 N. 18TH ST, SUITE 1600 PHILADELPHIA PA
                                19107
SNEL, ELEANOR                   LIAKOS LAW APC 1611 S. PACIFIC COAST HIGHWAY, SUITE 200 D REDONDO BEACH CA
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                                60657
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                                IL 60611
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SONDGEROTH, LILLIAN             GALANTE & BIVALACQUA LLC 650 POYDRAS STREET, SUITE 2615 GALANTE, SCOTT M. NEW
                                ORLEANS LA 70130
SONDGEROTH, LILLIAN             THE CHEEK LAW FIRM 650 POYDRAS STREET, SUITE 2310 LINDSEY A. CHEEK NEW ORLEANS
                                LA 70130
SONIER, MILDRED                 LAW OFF. OF ROGER 'ROCKY' WALTON P. C. 2310 WEST INTERSTATE 20, STE 200
                                WALTON, ROGER ARLINGTON TX 76017
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                                P. AUSTIN TX 78701
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SPIER, KATJE                    BARRETT LAW GROUP, P.A. 404 COURT SQUARE LEXINGTON MS 39095
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SPINKS, SHARON                  KARST & VON OISTE, LLP C/O ERIC KARST 23923 GOSLING RD, SUITE A SPRING TX
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SPONABLE, BONNIE                THE CARLSON LAW FIRM 100 E CENTRAL TEXAS EXPRESSWAY KILLEEN TX 76541
SPORT, NAOMI                    THE CUFFIE LAW FIRM 3080 CAMPBELTON ROAD SOUTHWEST CUFFIE, THOMAS ATLANTA GA
                                30311
SPOTTS, JEAN                    EISENBERG, ROTHWEILER, WINKLER EISENBERG & JECK, P.C. 1634 SPRUCE ST
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Claim Name                       Address Information
STADTMUELLER, TONYA             MCELDREW YOUNG 123 S. BROAD STREET, SUITE 2250 LAURIA, BRANDON J. PHILADELPHIA
                                PA 19146
STAHL, BONNIE                   FEARS NACHAWATI, PLLC 5489 BLAIR RD DALLAS TX 75231
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STARK, KIMMY                    GALANTE & BIVALACQUA LLC 650 POYDRAS STREET, SUITE 2615 GALANTE, SCOTT M. NEW
                                ORLEANS LA 70130
STARK, KIMMY                    THE CHEEK LAW FIRM 650 POYDRAS STREET, SUITE 2310 LINDSEY A. CHEEK NEW ORLEANS
                                LA 70130
STARNES-MAXWELL, KATHLEEN       EDLUND, GALLAGHER, HASLAM, MCCALL, WOLF & WOOTEN, PLLC 1701 N. MARKET ST, STE
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STEARNS, MARY                   CHAFFIN LUHANA LLP 600 THIRD AVENUE 12TH FLOOR NEW YORK NY 10016
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Claim Name                                Address Information
STONE, BETTY                             CHAPPELL, SMITH & ARDEN, P.A. 2801 DEVINE ST, SUITE 300 COLUMBIA SC 29205
STONE, DENISE                            HAUSFELD 888 16TH ST NW STE 300 WASHINGTON DC 20006-4103
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STRASSBERG, DOROTHY                      SLACK & DAVIS LLP 6001 BOLD RULER WAY, SUITE 100 BOWEN, DONNA J. AUSTIN TX
                                         78746
STRATHDEE, CINDY                         ROCHON GENOVA LLP 121 RICHMOND STREET WEST SUITE 900 TORONTO ON M5H 2K1 CANADA
STRATHDEE, CINDY                         WILL DAVIDSON LLP 220 BAY STREET #1400 MILLER, PAUL TORONTO ON M5J 2W4 CANADA
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STRINGFELLOW, THOMAS                     MAUNE RAICHLE HARTLEY FRENCH & MUDD LLC C/O SUZANNE M. RATCLIFFE 659 EAGLE
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STROBEL, DOUGLAS AND STROBEL, JOANN      BRAYTON PURCELL LLP C/O GILBERT PURCELL 222 RUSH LANDING ROAD NOVATO CA 94945
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                                         MELVILLE NY 11747
SUASY ACEVEDO                            SLATER, SLATER, SCHULMAN, LLP SLATER, ADAM 445 BORAD HOLLW RD, ST. 419
                                         MELVILLE NY 11747
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SULLIVAN, CARRIE                         MALATESTA LAW OFFICES, LLC 5310 HARLEM AVE., STE 203 MALATESTA, MICHAEL J
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SULLIVAN, LAURIE                         THE CARLSON LAW FIRM 100 E CENTRAL TEXAS EXPRESSWAY KILLEEN TX 76541
SULLIVAN, TEANICKE                       DUGAN LAW FIRM, PLC 365 CANAL PLACE NEW ORLEANS LA 70130
SUMMERS, CAROL                           MEYERS & FLOWERS, LLC 225 WEST WACKER DR., SUITE 1515 CHICAGO IL 60606
SUMMERS, JACQUELINE ADAMS                FRAZER LAW LLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER II,
                                         T. ROE NASHVILLE TN 37215
SUMNER, PATRICIA                         STECKLER GRESHAM COCHRAN 62 COLUMBUS STREET FEIDLER, STEFAN B ST. CHARLESTON
                                         SC 29403
SUMTER, IVANELL                          TAUTFEST BOND 5151 BELT LIND RD, STE 1000 GLITZ, JESSICA DALLAS TX 07525
SUNARJO, SHERLEY                         THE CARLSON LAW FIRM 100 E CENTRAL TEXAS EXPRESSWAY KILLEEN TX 76541
SUONPERA, CYNTHIA                        ROSS LAW OFFICES, P.C. 18 EAST CHESTNUT STREET SHARON MA 02067
SWAN, JUDITH                             BUCKINGHAM BARRERA LAW FIRM 4110 CUTLER AVE., NE ALBUQUERQUE NM 87110
SWERDLOFF, LANCIA                        BEKMAN, MARDER, & ADKINS, LLC 1829 REISTERSTOWN RD STE 200 PIKESVILLE MD
                                         21208-7105
SWING, LOUISE                            KELLEY UUSTAL, PLC 500 NORTH FEDERAL HIGHWAY, STE 200 FORT LAUDERDALE FL 33301
SYKES, STEPHANIE                         CAPRETZ & ASSOCIATES 4667 MACARTHUR BLVD #310 NEWPORT BEACH CA 92660
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                                         40208
SZAFRANSKI, ANNETTE                      CATES MAHONEY, LLC 216 WEST POINTE DR, SUITE A CATES, DAVID I. SWANSEA IL
                                         62226

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Claim Name                           Address Information
SZEKELY, DOROTHY                    THORNTON LAW FIRM LLP ONE LINCOLN 25TH FLOOR MCGOLDRICK, MARILYN T. BOSTON MA
                                    02111
SZRAMEK, ELIZABETH                  SEIDMAN MARGULIS & FAIRMAN, LLP 110 W. MAIN ST., STE. 110 SEIDMAN, DANIEL R.
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                                    JORGE GUAYNABO PUERTO PR 00969
TABOR, PEGGY                        BART DURHAM INJURY LAW DURHAM, BLAIR 404 JAMES ROBERTSON PKWY, STE 1712
                                    NASHVILLE TN 37219
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                                    62226
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                                    GA 30319
TAXTER, MARY                        RHEINGOLD VALET RHEINGOLD MCCARTNEY & GIUFFRA 113 EAST 37TH STREET RUFFO,
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                                    06810
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                                    NEW YORK NY 10022
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                                    NY 10016
TERRY, LORI                         LINVILLE LAW GROUP 1932 N DRUID HILLS RD NE, SUITE 200 GANDHI, VINITA ATLANTA
                                    GA 30319
TERRY, ROBIN                        SEITHEL LAW LLC POST OFFICE BOX 1929 CHARLESTON SC 29457
TERRY, SHARON                       RILEYCATE, LLC 11 MUNICIPAL DRIVE, SUITE 320 FISHERS IN 46038
TESSMER, SUSAN                      LAW OFFICE OF CHARLES H JOHNSON, PA 2599 MISSISSIPPI STREET NEW BRIGHTON MN
                                    55112-5060
THACKER, JOYCE                      JUSTINIAN & ASSOCIATES PLLC 7042 ALAMO DOWNS PKWY STE 370 SAN ANTONIO TX
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THE SHAPIRO LAW FIRM                ATTN: JANET A. SHAPIRO 325 N. MAPLE RIVE, #15186 BEVERLY HILLS CA 90209
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                                    STEVENS JR ELWOOD ROY LAFAYETTE LA 70502-3668
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Claim Name                               Address Information
THOMPSON, CRYSTAL                       20016
THOMPSON, DANIA                         LANGDON & EMISON 911 MAIN STREET EMISON, BRETT A LEXINGTON MO 64067
THOMPSON, DEBORAH                       MONTROSE LAW LLP 6 CONSULTANT PL., STE 100-A DURHAM NC 27707
THOMPSON, HELEN                         RAPPAPORT, GLASS, LEVINE & ZULLO 1355 MOTOR PARKWAY ISLANDIA NY 11749
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                                        ROUGE LA 70809
THOMPSON, LISA                          CARLSON LAW FIRM 100 EAST CENTRAL TEXAS EXPRESSWAY 90277 KILLEEN TX 76541
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THORPE, DEBORAH                         THE DUGAN LAW FIRM ONE CANAL PLACE - STE 1000 365 CANAL STREET NEW ORLEANS LA
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THOUN, SALLY                            THE DEATON LAW FIRM 450 NORTH BROADWAY EAST PROVIDENCE RI 02814
THREADGILL, EVA                         BARNES & THORNBURG LLP 2029 CENTURY PARK E SUITE 300 MURDICA, JAMES F. KO,
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TILLMAN, AMY                            THE DEATON LAW FIRM 450 NORTH BROADWAY EAST PROVIDENCE RI 02814
TINDER, MARY                            TAUTFEST BOND 5151 BELT LIND RD, STE 1000 GLITZ, JESSICA DALLAS TX 07525
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                                        75202
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                                        STEPHEN BIRMINGHAM AL 35205
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                                        STEPHEN BIRMINGHAM AL 35205
TOLLARI, PATRICIA                       NASS CANCELLIERE BRENNER 1515 MARKET STREET, SUITE 2000 PHILADELPHIA PA 19102
TOLLEFSON, KATHERINE                    MAUNE RAICHLE HARTLEY FRENCH & MUDD LLC, C/O SUZANNE M. RATCLIFFE 659 EAGLE
                                        ROCK AVENUE, SUITE 28 WEST ORANGE NJ 07052
TOLLIVER, RUTHIE                        STEVE MERRITT LAW 523 W LAMAR ALEXANDER PKWY, STE 11 MERRITT, STEVE MARYVILLE
                                        TN 37801
TOMLIN, REBECCA ANN EST OF RICHARD      TOMLIN; MAUNE RAICHLE HARTLEY FRENCH & MUDD LLC, C/O SUZANNE M. RATCLIFFE; 659
                                        EAGLE ROCK AVE #28 WEST ORANGE NJ 07052
TOMLINSON, NORMA THE EST OF J           TOMLINSON; BEVAN & ASSOCIATES LPA, INC, C/O THOMAS BEVAN 6555 DEAN MEMORIAL
                                        PKWY. BOSTON HEIGHTS OH 44236
TORIBIO, LEILANI                        ZEVAN DAVIDSON ROMAN LLC 211 N. BROADWAY STE 2675 ST. LOUIS MO 63102
TORIBIO, LEILANI                        JACOBS OHARA MCMULLEN , P.C. 14550 TORREY CHASE BLVD STE 260 HOUSTON TX 77014
TORRES, JESSICA                         THE LAW OFFS. OF SEAN M CLEARY P.A. 19 W FLAGLER ST., STE 618 PEREIRA, ANDRES
                                        MIAMI FL 03313
TORRES, MELISSA                         THE LAW OFFS. OF SEAN M CLEARY P.A. 19 W FLAGLER ST., STE 618 PEREIRA, ANDRES
                                        MIAMI FL 03313


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Claim Name                         Address Information
TOUCHSTONE, SHIRLEY               SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C. 120 BROADWAY 27TH FLOOR NEW YORK
                                  NY 01027
TOUSANT, ELIZA                    THE LAW OFFICES OF ERIC H. WEINBERG 149 LIVINGTON AVENUE NEW BRUNWICK NJ 08901
TOUSSANT, ELIZA                   THE WEINBERG LAW FIRM 149 LIVINGSTON AVENUE NEW BRUNSWICK NJ 08901
TRACY GARRICK                     SLATER, SLATER, SCHULMAN, LLP SLATER, ADAM 445 BORAD HOLLW RD, ST. 419
                                  MELVILLE NY 11747
TRACY GARRICK                     SLATER, SLATER, SCHULMAN, LLP SLATER, ADAM 445 BORAD HOLLW RD, ST. 419
                                  MELVILLE NY 11747
TRACY, NANCY                      MOTLEY RICE, LLC 20 CHURCH STREET 17TH FLOOR JASINSKI, MATHEW P. HARTFORD CT
                                  06103
TRACYE CRANFORD                   THE DILORENZO LAW FIRM, LLC DILORENZO, JOEL L. 505 20TH STTREE NORTH, STE 1275
                                  BIRMINGHAM AL 35203
TRAPP, JEAN                       LANGDON & EMISON 911 MAIN STREET EMISON, BRETT A LEXINGTON MO 64067
TRAYAN, TERESA                    SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C. 120 BROADWAY 27TH FLOOR NEW YORK
                                  NY 01027
TRAYNOR, MARLENE                  FITZGERALD LAW GROUP, LLC 120 EXHANGE STREET, SUITE 200 FITZGERALD, KEVIN M
                                  PORTLAND ME 04101
TREADWELL, LINDA                  HART MCLAUGHLIN & ELDRIDGE 22 W WASHINGTON ST STE 1600 PRIOR, JOHN (JACK)
                                  POZAN, KYLE CHICAGO IL 60602-1615
TREETER, DEBRA                    HAIR SHUNNARAH TRIAL ATTORNEYS LLC 3540 S. I-10 SERVICE RD W, STE 300 METAIRIE
                                  LA 70001
TRIMARCO, JENNIE                  MORGAN & MORGAN, P.A. 191 PEACHTREE ST. NE ATLANTA GA 30303
TRIPP, ARLENE                     ALLAN BERGER AND ASSOCIATES 4173 CANAL STREET GEIGER, ANDREW NEW ORLEANS LA
                                  70119
TRIPP, SUZANNE                    THE DEATON LAW FIRM 450 NORTH BROADWAY EAST PROVIDENCE RI 02814
TRUJILLO, NANCY                   LAW OFFICE OF CHARLES H JOHNSON, PA 2599 MISSISSIPPI STREET NEW BRIGHTON MN
                                  55112-5060
TRUJILLO,JACQUELINE ET , UX.      MAUNE RAICHLE HARTLEY FRENCH & MUDD, LLC, C/O T. BARTON FRENCH 1015 LOCUST
                                  STREET, SUITE 1200 ST. LOUIS MO 63101
TSUCHIDA, MEGUMI                  WEITZ & LUXENBERG C/O MARK BRATT 1880 CENTURY PARK EAST, SUITE 700 LOS ANGELES
                                  CA 90067
TUCKER, JOAN                      CHAFFIN LUHANA LLP 600 THIRD AVENUE 12TH FLOOR NEW YORK NY 10016
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                                  STEPHEN BIRMINGHAM AL 35205
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                                  210 WOOTEN, COBY L. SM DALLAS TX 75202
TURNER, TONYA                     BRUERA LAW FIRM PLLC BRUERA, SOFIA 3100 TIMMONS LANE, SUITE 310 HOUSTON TX
                                  11027
TUTTLE, DEBRA                     SHAW COWART, LLP 1609 SHOAL CREEK BLVD, SUITE 100 SHAW, ETHAN L. COWART, JOHN
                                  P. AUSTIN TX 78701
TYLER, CHARLENE                   SLATER, SLATER, SCHULMAN, LLP 445 BORAD HOLLW RD, ST. 419 SLATER, ADAM
                                  MELVILLE NY 01174
ULRICH, ANNE                      THORNTON LAW FIRM LLP ONE LINCOLN 25TH FLOOR MCGOLDRICK, MARILYN T. BOSTON MA
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UNGER, ANNE                       MARY ALEXANDER & ASSOCIATES, P.C. 44 MONTGOMERY STREET, SUITE 1303 ALEXANDER,
                                  MARY E. SAN FRANCISCO CA 94104
URICK, DONNA                      ZEVAN DAVIDSON ROMAN LLC 211 N. BROADWAY STE 2675 ST. LOUIS MO 63102
URICK, DONNA                      JACOBS OHARA MCMULLEN , P.C. 14550 TORREY CHASE BLVD STE 260 HOUSTON TX 77014
UTLEY, YOLUNDA                    HILLARD MUNOZ GONZALES, LLP 719 SOUTH SHORELINE BOULEVARD PINEDO, THOMAS
                                  CHRISTOPHER CORPUS CHIRSTI TX 07837
UYEN LAI                          MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
VALDEZ, IRMA                      SINGLETON SCHREIBER MCKENZIE & SCOTT, LLP 450 A ST, 5TH FLOOR TRIMBLE,
                                  KIMBERLY S SINGLE SAN DIEGO CA 92101


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Claim Name                                Address Information
VALLOT, PEGGY                            LAW OFFICE OF JOHN D. SILEO, LLC 320 NORTH CARROLLTON AVE, STE 101 SILEO, JOHN
                                         D. MOLL, CASEY NEW ORLEANS LA 70119
VAN HOOSEN, PATSY                        LANGDON & EMISON 911 MAIN STREET EMISON, BRETT A LEXINGTON MO 64067
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VANDERSCHAAF, EVELYN                     BARRETT LAW GROUP, P.A. 404 COURT SQUARE LEXINGTON MS 39095
VANDYKE, RANOTA                          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO, P.C. 120 BROADWAY 27TH FLOOR NEW YORK
                                         NY 01027
VANHOOSE, JACQUELINE MARGARET            THE GORI LAW FIRM, P.C. C/O SARAH SALGER 156 N. MAIN STREET EDWARDSVILLE IL
                                         62025
VANKLIVE, NEDELKA                        KAZAN MCCLAIN SATTERLEY & GREENWOOD C/O JOSEPH SATTERLEY, J. LONDON MARKET 55
                                         HARRISON ST STE 400 OAKLAND CA 94607
VANKLIVE, NEDELKA                        KAZAN MCCLAIN SATTERLEY & GREENWOOD JOHN LANGDOC & DENYSE CLANCY J LONDON MKT.
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VELASCO, SANDRA                          GACOVINO, LAKE & ASSOCIATES 270 WEST MAIN STREET ZGODA, JR, RICHARD SAYVILLE
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VIERRA, MARY                             PATRICK MILLER, LLC 400 POYDRAS ST., SUITE 1680 NEW ORLEANS LA 70130
VIERRA, MARY                             PLYMALE LAW FIRM 201 ST. CHARLES AVE., SUITE 2500 NEW ORLEANS LA 70170
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                                         30311


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Claim Name                            Address Information
VIRGINIA LAMAR                       MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
VIX, RAECHELLE                       WILENTZ, GOLDMAN, & SPITZER, P.A. 90 WOODBRIDGE CENTER DR, STE. 900 KIZIS,
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VORNHOLT, PAMELA                     VAUGHAN LEGAL TRIAL TEAM 2909 HILLCROFT AVE, STE 575 VAUGHAN, JEFFREY R.
                                     HOUSTON TX 77057
WADE, LINDA                          EISENBERG ROTWEILLER, ET AL. 1634 SPRUCE ST SCHOENHAUS, TODD A. PHILADELPHIA
                                     PA 19103
WAGNER, LOUIS & WAGNER, NANETTE      MAUNE RAICHLE HARTLEY FRENCH & MUDD, LLC, C/O T. BARTON FRENCH 1015 LOCUST
                                     STREET, SUITE 1200 ST. LOUIS MO 63101
WAGONER, CONSTANCE                   SOMMERS SCHWARTZ, PC ONE TOWN SQUARE, 17TH FLOOR THOMPSON, JASON J SICKELS,
                                     ROBERT B SOUTHFIELD MI 48076
WALES, DEBRA                         DEGARIS WRIGHT MCCALL 5707 W INTERSTATE 10 STE 101 SAN ANTONIO TX 78201-2860
WALKER, TERESA                       WILLIAM G. COLVIN, PLLC 801 BROAD STREET, STE 428 COLVIN, WILLIAM G.
                                     CHATTANOOGA TN 37402
WALKER, VICKI                        DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, STE 300 DIAZ JR., GERALD J. MADISON
                                     MS 39110
WALKER, WENDY                        FRAZER LAW LLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER II,
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WALLACE, PANILLA                     LAW OFFICE OF HAYTHAM FARAJ 1935 W BELMONT AVE FARAJ, HAYTHAM CHICAGO IL 60657
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                                     53703-1481
WALLACE, VEERAKAMOL                  SUMMERS & JOHNSON, P.C. 717 THOMAS ST. WESTON MO 64098
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                                     91505
WALLS, BEATRICE                      LINVILLE LAW GROUP 1932 N DRUID HILLS RD NE, SUITE 200 GANDHI, VINITA ATLANTA
                                     GA 30319
WALLS, ELIZABETH                     WAGNER REESE, LLP 11939 NORTH MERIDIAN STREET CARMEL IN 46032
WALLS, KATHLEEN                      WILSON LAW PA 1111 HAYNES ST, STE 103 (27604) RALEIGH NC 27605
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                                     PIKESVILLE MD 21208-7105
WAREHAM, RHONDA                      CONSTANT LEGAL GROUP LLP PO BOX 161151 CONROY, ANDREW A CLEVELAND OH 44116
WARF, NANCY                          THORNTON LAW FIRM 1 LINCOLN ST, FL 13, STATE ST FIN CTR MCGOLDRICK, MARILYN T.
                                     BOSTON MA 02111
WARREN, ANNIE                        CHAFFIN LUHANA LLP 600 THIRD AVENUE 12TH FLOOR NEW YORK NY 10016
WARREN, REBECCA                      KILLIAN, DAVIS, RICHTER & MAYLE, PC 202 NORTH 7TH STREET MAYLE, NICHOLAS W.
                                     GRAND JUNCTION CO 81502
WASHINGTON, CARMEN                   THE DIETRICH LAW FIRM, PC 101 JOHN JAMES AUDUBON PKWY BUFFALO NY 14228-1111
WASHINGTON, CHARLES                  FLINT LAW FIRM LLC C/O ETHAN FLINT, 222 E. PARK ST, STE 500, PO BOX 189
                                     EDWARDSVILLE IL 62034
WASHINGTON, CHARLES                  KARST & VON OISTE, LLP C/O ERIC KARST 23923 GOSLING RD, SUITE A SPRING TX
                                     77389
WASHINGTON, EDITH                    THORNTON LAW FIRM LLP ONE LINCOLN 25TH FLOOR MCGOLDRICK, MARILYN T. BOSTON MA
                                     02111
WASHINGTON, KATHER                   THE CUFFIE LAW FIRM 3080 CAMPBELTON ROAD SOUTHWEST CUFFIE, THOMAS ATLANTA GA
                                     30311
WASHINGTON, LINDA                    LILLIS LAW FIRM 338 LAFAYETTE STREET, LILLIS, MICHAEL CENTOLA III, LAWRENCE J.
                                     NEW ORLEANS LA 07013
WASHINGTON, SHANEDRA                 BARRETT LAW GROUP, P.A. 404 COURT SQUARE LEXINGTON MS 39095
WASHINGTON-HUDSPETH, CHERYL          NAPOLI SHKOLNIK, PLLC 525 SOUTH DOUGLAS STREET, SUITE 260 EL SEGUNDO CA 90245



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Claim Name                       Address Information
WATERS, THERESA                 DAMATO LAW FIRM, P.C. 2900 FIRE ROAD, SUITE 200 DAMATO, PAUL R. EGG HARBOR
                                TOWNSHIP NJ 08234
WATERS, THERESA                 ASHCRAFT & GEREL, LLP 1825 K. STREET, NW, STE 700 M. PARFITT WASHINGTON, DC
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                                GOLDENBERG, STUART L. EDEARDSVILLE IL 62025
WATKINS, MARY                   THE DIETRICH LAW FIRM, PC 101 JOHN JAMES AUDUBON PKWY SHEMIK, NICHOLAS J.
                                BUFFALO NY 14228
WATSON, AMANDA                  BACHUS & SCHANKER LLC 123 N COLLEGE AVE #200 FORT COLLINS CO 80524
WATSON, LINDA                   DARCY JOHNSON DAY, P.C. 3120 FIRE RD. SUITE 100 DARCY, ANDREW EGG HARBOR TWP
                                NJ 08234
WATSON, MARI                    THORNTON LAW FIRM LLP ONE LINCOLN 25TH FLOOR MCGOLDRICK, MARILYN T. BOSTON MA
                                02111
WEATHERS, MARY                  KELLEY UUSTAL, PLC 500 NORTH FEDERAL HIGHWAY STE 200 D FORT LAUDERDALE FL
                                33301
WEATHERS, SANDRA                MAUNE RAICHLE HARTLEY FRENCH & MUDD LLC, C/O SUZANNE M. RATCLIFFE 659 EAGLE
                                ROCK AVENUE, STE 28 WEST ORANGE NJ 07052
WEAVER, MISTY                   BART DURHAM INJURY LAW DURHAM, BLAIR 404 JAMES ROBERTSON PKWY, STE 1712
                                NASHVILLE TN 37219
WEBB, MARY                      PADILLA LAW GROUP 320 ENCINITAS BLVD., SUITE A ENCINITAS CA 92024
WEBSTER, SUEANN                 THE DUGAN LAW FIRM ONE CANAL PLACE - STE 1000 365 CANAL STREET NEW ORLEANS LA
                                70130
WEINER, JUDITH                  RHEINGOLD, GLUFFRA RUFLO & PLOTKIN 561 FIFTH AVENUE 29TH FLOOR RUFFO, EDWARD
                                NEW YORK NY 10176
WEINHEIMER-REYES, LISA          THE CARLSON LAW FIRM 100 E CENTRAL TEXAS EXPRESSWAY KILLEEN TX 76541
WEISBROT, ELAINE                LOCKS LAW FIRM C/O ALFRED ANTHONY 801 NORTH KINGS HIGHWAY CHERRY HILL NJ 08034
WEISBROT, ELAINE                GOLDENBERG HELLER ANTOGNOLI & ROWLAND, P.C. 2227 SOUTH STATE RTE 157, HUBBARD,
                                KATIE A. EDEARDSVILLE IL 62025
WELCH, MARGARET                 MOTLEY RICE NEW JERSEY LLC 210 LAKE DRIVE EAST, STE. 101 BEREZOFSKY, ESTHER
                                CHERRY HILL NJ 08002
WELLINGTON, MISTEL              THE BRANDI LAW FIRM 354 PINE STREET, THIRD FLOOR BRANDI, THOMAS J. SAN
                                FRANCISCO CA 94104
WELLS, DINA                     LIAKOS LAW APC 1611 S. PACIFIC COAST HIGHWAY, SUITE 200 D REDONDO BEACH CA
                                90277
WELLS, PEGGY                    LAW OFF. OF ROGER 'ROCKY' WALTON P C. 2310 WEST INTERSTATE 20, STE 200,
                                WALTON, ROGER ARLINGTON TX 76017
WELTER, CAROLYN                 MORGAN & MORGAN, P.A. 191 PEACHTREE ST. NE ATLANTA GA 30303
WERNER, FRED                    THE DAILEY LAW FIRM C/O WILLIAM DAILEY JR. 230 BEMISTON AVENUE, SUITE 1470 ST.
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WERNER, FRED                    THE DAILEY LAW FIRM C/O WILLIAM DAILEY JR. 230 BEMISTON AVENUE, SUITE 1470 ST.
                                LOUIS MO 63105
WERTHEIMER, BARBARA             EISENBERG, ROTHWEILER, WINKLER EISENBERG & JECK, P.C. 1634 SPRUCE ST
                                SCHOENHAUS, TODD A. PHILADELPHIA PA 19103
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                                MARTIN R PHILADELPHIA PA 19103
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                                35203
WEST, NANCY                     LOPEZ-MCHUGH, LLP 601 WALNUT STREET SUITE 720 E JOHNSON, REGINA SHARLOW
                                PHILADELPHIA PA 19112
WEST, TERESA                    GACOVINO, LAKE & ASSOCIATES 270 WEST MAIN STREET ZAPPA, RICHARD A. SAYVILLE NY
                                11782
WEST, VIRGINIA                  SILL LAW GROUP, PLLC 1101 N. BROADWAY, SUITE 102 SILL, MATTHEW J. OKLAHOMA


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Claim Name                               Address Information
WEST, VIRGINIA                          CITY OK 73013
WEXLER, SUSAN                           THE LAW OFF. OF SEAN M. CLEARY, P.A., 19 W FLAGLER ST., STE 618, PEREIRA,
                                        ANDRES MIAMI FL 03313
WHEET, GLADIES                          GOLDENBERG HELLER ANTOGNOLI & ROWLAND, P.C. 2227 SOUTH STATE RTE 157, HUBBARD,
                                        KATIE A. EDEARDSVILLE IL 62025
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WHEET, GLADIES                          BURNS CHAREST LLP 365 CANAL ST, STE 1170 AMANDA KLEVORN NEW ORLEANS LA 70130
WHETSEL, BRANDON                        FLINT LAW FIRM LLC C/O ETHAN FLINT 222 E PARK ST., STE 500, PO BOX 189
                                        EDWARDSVILLE IL 62034
WHETSEL, TONYA ESTATE OF B WHETSEL      FLINT LAW FIRM LLC C/O ETHAN FLINT 222 E PARK ST, STE 500, PO BOX 189
                                        EDWARDSVILLE IL 62034
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WHITE, CAROL                            MAUNE RAICHLE HARTLEY FRENCH & MUDD LLC, C/O SUZANNE M. RATCLIFFE 659 EAGLE
                                        ROCK AVENUE, SUITE 28 WEST ORANGE NJ 07052
WHITE, DEBORAH                          MOTLEY RICE, LLC 20 CHURCH STREET 17TH FLOOR JASINSKI, MATHEW P. HARTFORD CT
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                                        55112-5060
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WHITEHEAD, HATTIE                       THORNTON LAW FIRM LLP ONE LINCOLN 25TH FLOOR MCGOLDRICK, MARILYN T. BOSTON MA
                                        02111
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WHITLEY, CATHERINE                      DARCY JOHNSON DAY, P.C. 3120 FIRE RD. SUITE 100 DARCY, ANDREW EGG HARBOR TWP
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WHITNEY, LORI                           WEINSTEIN CAGGIANO PLLC 600 UNIVERSITY ST, STE 1620 SEATTLE WA 98101
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WILBOURN, KARYN                         RHEINGOLD, GLUFFRA RUFLO & PLOTKIN 561 FIFTH AVENUE 29TH FLOOR RUFFO, EDWARD
                                        NEW YORK NY 10176
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                                        60657
WILDEROTTER, JANE                       DELISE & HALL 528 W. 21ST AVENUE HALL JR., ALTON J. COVINGTON LA 70433
WILDMAN, SHARON                         TAFT STETTINIUS & HOLLISTER LLP 111 EAST WACKER, SUTIE 2800 CHICAGO IL 60601
WILDSTEIN, CLAIRE                       PROVOST UMPHREY LAW FIRM 490 PARK STREET BEAUMONT TX 77704
WILDSTEIN, CLAIRE                       MORRIS LAW FIRM 6310 SAN VICENTE BLVD, SUITE 360 MORRIS, JAMES A. LOS ANGELES
                                        CA 90048
WILES, BARBARA                          MOTLEY RICE NEW JERSEY LLC 210 LAKE DRIVE EAST, STE. 101 BEREZOFSKY, ESTHER
                                        CHERRY HILL NJ 08002
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WILKINS, ALBERTA                        THE BARNES FIRM, P.C. 420 LEXINGTON AVE, STE 2140 NEW YORK NY 10170
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WILKINSON, JOSEPHINE                    LAW OFFICE OF HAYTHAM FARAJ 1935 W BELMONT AVE FARAJ, HAYTHAM CHICAGO IL 60657
WILKS, MERRION                          THE CUFFIE LAW FIRM 3080 CAMPBELTON ROAD SOUTHWEST CUFFIE, THOMAS ATLANTA GA


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Claim Name                          Address Information
WILKS, MERRION                     30311
WILLBURN, MARKIEN                  LINVILLE LAW GROUP 1932 N DRUID HILLS RD NE, SUITE 200 GANDHI, VINITA ATLANTA
                                   GA 30319
WILLIAMS, ANNIE                    THE CUFFIE LAW FIRM 3080 CAMPBELTON ROAD SOUTHWEST CUFFIE, THOMAS ATLANTA GA
                                   30311
WILLIAMS, BARBY                    SLACK & DAVIS LLP 6001 BOLD RULER WAY, SUITE 100 BOWEN, DONNA J. AUSTIN TX
                                   78746
WILLIAMS, CLARA                    LAW OFF. OF RICHARD R BARRETT, PLLC 2086 OLD TAYLOR ROAD, SUITE 1011 OXFORD MS
                                   38655
WILLIAMS, CONNIE                   CORRIE YACKULIC LAW FIRM, PLLC 110 PREFONTAINE PL. SOUTH, STE 304 YACKULIC,
                                   CORRIE SEATTLE WA 98104
WILLIAMS, CONNIE                   GLP ATTORNEYS, P.S., INC. 2601 4TH AVE., FLOOR 6 SEATTLE WA 98121
WILLIAMS, GLORIA                   CLORE LAW GROUP LLC 125 WAPPOO CREEK DR BUILDING G, STE 102 CHARLESTON SC
                                   29412
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WILLIAMS, KATHLEEN                 MORRIS LAW FIRM 4111 W. ALAMEDA AVE SUITE 611 MORRIS, JAMES A. BURBANK CA
                                   91505
WILLIAMS, KIRK                     WILLIAMS, KIRK (879031) AIRWAY HEIGHTS CORRECTION CENTER P.O. BOX 2049-L-B-05
                                   AIRWAY HEIGHTS WA 99001
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WILLIAMS, SARAH EST OF MATTIE      WILLIAMS; BEVAN & ASSOCIATES LPA, INC., C/O THOMAS BEVAN 6555 DEAN MEMORIAL
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WILLIAMS, SHARON                   ALLAN BERGER AND ASSOCIATES 4173 CANAL STREET GEIGER, ANDREW NEW ORLEANS LA
                                   70119
WILLIAMS, SHIRLEY                  WILLIAMS & WILLIAMS 1281 RUSSELL STREET ORANGEBURG SC 29115
WILLIAMS, SHIRLEY                  RICHARDSON, THOMAS, HALTIWANGER, MOORE & LEWIS 1513 HAMPTON ST COLUMBIA SC
                                   29201
WILLIAMS, SUSAN                    THE WEINBERG LAW FIRM 149 LIVINGSTON AVENUE NEW BRUNSWICK NJ 08901
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                                   ANDRES MIAMI FL 33130
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                                   78238-4526
WILLIAMS, VERONICA                 LAW OFFICES OF DONALD G. NORRIS 3055 WILSHIRE BLVD, STE. 980 NORRIS, DONALD G
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WILLITS, TRACEY                    THE DEATON LAW FIRM 450 NORTH BROADWAY EAST PROVIDENCE RI 02814
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WILLS, MARY                        LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 SAN FRANCISCO CA 94111
WILLS, SHAWN                       NIX PATTERSON & ROACH 3600 N CAPITAL OF TEXAS B350 IHRIG, CHAD E. AUSTIN TX
                                   78746
WILSON, CHERIE                     THORNTON LAW FIRM LLP ONE LINCOLN 25TH FLOOR MCGOLDRICK, MARILYN T. BOSTON MA
                                   02111



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WILSON, ERIN                             VENTURA LAW 235 MAIN STREET BARBER, NICOLE L. DANBURY CT 06810
WILSON, GLORIA                           SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C. 120 BROADWAY 27TH FLOOR NEW YORK
                                         NY 01027
WILSON, KAREN                            OSBORNE & FRANCIS LAW FIRM PLLC 433 PLAZA REAL, SUITE 271 BOCA RATON FL 33432
WILSON, LUCILLE                          THE CARLSON LAW FIRM 100 E CENTRAL TEXAS EXPRESSWAY KILLEEN TX 76541
WILSON, MARGARET                         CHAPPELL, SMITH & ARDEN, P.A. 2801 DEVINE ST, SUITE 300 COLUMBIA SC 29205
WILSON, PHYLLIS                          FLEMING, NOLEN & JEZ, LLP 2800 POST OAK BLVD., STE 4000 HOUSTON TX 77056
WILSON, SHANTERIA                        FLEMING, NOLEN & JEZ, LLP 2800 POST OAK BLVD., STE 4000 HOUSTON TX 77056
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WINDRAM, JENNIFER                        MAUNE RAICHLE HARTLEY FRENCH & MUDD, LLC, C/O T. BARTON FRENCH 1015 LOCUST
                                         STREET, SUITE 1200 ST. LOUIS MO 63101
WING, ROXANN                             SHAW COWART, LLP 1609 SHOAL CREEK BLVD, SUITE 100 SHAW, ETHAN L. COWART, JOHN
                                         P. AUSTIN TX 78701
WINGFIELD, MARY                          LAW OFFICES OF DONALD G. NORRIS 3055 WILSHIRE BLVD, STE. 980 NORRIS, DONALD G
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WINHELD, LINDA                           LAW OFF. OF RICHARD R. BARRETT PLLC 2086 OLD TAYLOR ROAD, STE 1011 OXFORD MS
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WINTNER, SARAH                           MORRIS LAW FIRM 4111 W. ALAMEDA AVE SUITE 611 MORRIS, JAMES A. BURBANK CA
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WISE, CLAUDETTE                          MORRIS LAW FIRM 6310 SAN VICENTE BLVD, SUITE 360 MORRIS, JAMES A. LOS ANGELES
                                         CA 90048
WITHERINGTON, CARLA                      MCGOWAN, HOOD & FELDER, LLC 10 SHEM DR STE 300 MT PLEASANT SC 29464-5282
WODARSKI, ROSALIND                       HAIR SHUNNARAH TRIAL ATTORNEYS LLC 3540 S. I-10 SERVICE RD W, STE 300 METAIRIE
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WODENKA, ADRIENNE                        SEITHEL LAW LLC POST OFFICE BOX 1929 CHARLESTON SC 29457
WOELFEL, ROSEMARIE                       BROWN CHIARI LLP 2470 WALDEN AVENUE WALSH, THERESA M. BUFFALO NY 14225
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WOLTERSDORF, ANNALISA                    PANISH, SHEA & BOYLE 11111 SANTA MONICA BLVD., SUITE 700 KAUFMAN, PETER L. LOS
                                         ANGELES CA 90025
WOOD, AMY                                CLARK ROBB MASON COULMBE, ET AL. 350 CAMINO GARDENS BLVD STE 303 BOCA RATON FL
                                         33432-5825
WOOD, BARBARA                            NAPOLI SHKOLNIK LLC 919 NORTH MARKET STREET, SUITE 1801 HRUBIEC, R. JOSEPH
                                         WILMINGTON DE 19801



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WOOD, BARBARA                         LANGDON & EMISON 911 MAIN STREET EMISON, BRETT A LEXINGTON MO 64067
WOOD, CAROLYN                         PETERSON & ASSOCIATE, P.C. 801 W. 47TH ST, STE 107 PETERSON, DAVID M.
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                                      SUGAR LAND TX 77478-3688
WOODS, DANIEL L AND WOODS, ALLIE      BUCK LAW FIRM C/O ROBERT BUCK, FORUM N, STE 360 3930 E JONES BRIDGE RD
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WRIGHT, SHERRI                        JACOBS & CRUMPLER, P.A. 750 SHIPYARD DRIVE, SUITE 200 WILMINGTON DE 19801
WYLLIE, DEBORAH                       THE DUGAN LAW FIRM ONE CANAL PLACE - STE 1000 365 CANAL STREET NEW ORLEANS LA
                                      70130
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                                      KELLEY FORT LAUDERDALE FL 33301
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                                      90277
YONKERS, RUTH                         NAPOLI SHKOLNIK LLC 919 NORTH MARKET STREET, SUITE 1801 HRUBIEC, R. JOSEPH
                                      WILMINGTON DE 19801
YOST, BETTY                           BARRETT LAW GROUP, P.A. 404 COURT SQUARE LEXINGTON MS 39095
YOUNG, ALICE                          THE CARLSON LAW FIRM 100 E CENTRAL TEXAS EXPRESSWAY KILLEEN TX 76541
YOUNG, LAURA                          SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO, P.C. 120 BROADWAY 27TH FLOOR NEW YORK
                                      NY 01027
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                                      55112-5060
YOUNG, MARY                           KARSMAN, MCKENZIE & HART 21 WEST PARK AVENUE SAVANNAH GA 31401



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Claim Name                       Address Information
YOUNG, TATIANA                  WILSON LAW PA 1111 HAYNES STREET, STE 103 (27604) RALEIGH NC 27605
ZACHARA, MARZENA                MAUNE RAICHLE HARTLEY FRENCH & MUDD LLC, C/O SUZANNE M. RATCLIFFE 659 EAGLE
                                ROCK AVENUE, SUITE 28 WEST ORANGE NJ 07052
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ZEISLOFT, JUDY                  THE WEINBERG LAW FIRM 149 LIVINGSTON AVENUE NEW BRUNSWICK NJ 08901
ZEMO, FRANCES                   THE DUNKEN LAW FIRM DUNKEN, BURT TERRY 77 SUGAR CREEK CENTER BLVD STE 600
                                SUGAR LAND TX 77478-3688
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                                MS 39110
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                                BUFFALO NY 14228




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Claim Name                                Address Information
ANDRUS WAGSTAFF, P.C.                    7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
ARNOLD & ITKIN LLP                       6009 MEMORIAL DRIVE K ARNOLD, J ITKIN, N WEXLER HOUSTON TX 77007
ASHCRAFT & GEREL                         8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL, EMILY FAIRFAX VA
                                         22031
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                                         20006
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AYLSTOCK, WITKIN, KREIS & OVERHOLTZ      PLLC; THORNBURGH, DANIEL J 17 EAST MAIN STREET, SUITE 200 PENSACOLA FL 32502
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BAUM, HEDLUND, ARISTEI & GOLDMAN,PC      10940 WILSHIRE BLVD, SUITE 1600 WISNER, ROBERT BRENT LOS ANGELES CA 90024
BEASLEY ALLEN CROW METHVIN PORTIS &      MILES; JAMES,L, ODELL,P & SCOTT,B 218 COMMERCE STREET MONTGOMERY AL 36104
BEASLEY, ALLEN, CROW, METHVIN,           PORTIS & MILES,PC; 218 COMMERCE ST MEADOWS,MALLORY,JAMES,LAMPKIN,ZINNS
                                         MONTGOMERY AL 36104
BISNAR AND CHASE                         1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH CA 92660
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BURNS CHAREST LLP                        365 CANAL STREET, SUITE 1170 WILL THOMPSON, SPENCER M. COX NEW ORLEANS LA
                                         70130
BURNS CHAREST LLP                        900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX 75202
CELLINO & BARNES, P.C.                   2500 MAIN PLACE TOWER M WILSON, M WILLIAMS, B GOLDSTEIN BUFFALO NY 14202-3725
CHEELEY LAW GROUP                        2500 OLD MILTON PKWY, STE 200 ROBERT D. CHEELEY ALPHARETTA GA 30009
CHILDERS, SCHLUETER & SMITH, LLC         1932 NORTH DRUID HILLS RD, STE 100 ATLANTA GA 30319
CLIFFORD LAW OFFICES, P.C.               120 N. LASALLE STREET, SUITE 3100 KRISTOFER S RIDDLE, PETER J MCNULTY CHICAGO
                                         IL 60602
COHEN & MALAD, LLP                       ONE INDIANA SQ, STE 1400; SANDIFER, TAKEENA, KNOLL, HALL, MULLIGAN
                                         INDIANAPOLIS IN 46204
COHEN, PLACITELLA & ROTH                 127 MAPLE AVE. DENNIS GEIER,CHRISTOPHER PLACITELLA RED BANK NJ 07701
DALIMONTE RUEB, LLP                      J DALIMONTE, J ORENDI, Y FLORES G RUEB;1250 CONNECTICUT AVE NW,#200 WASHINGTON
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DAVIS, BETHUNE & JONES, L.L.C.           1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L. KANSAS CITY MO 64105
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DRISCOLL FIRM, P.C.                      211 N. BROADWAY, STE. 2440 JOHN DRISCOLL, PAUL JOHNSON ST. LOUIS MO 63102
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FEARS NACHAWATI LAW FIRM                 LONG, MCDOWELL, SHAHAN, LUFF,RAGGIO 5473 BLAIR ROAD DALLAS TX 75231
FLETCHER V. TRAMMELL                     3262 WESTEIMER, SUITE 423 MELISSA BINSTOCK, MELISSA EPHRON HOUSTON TX 77098
FRAZER PLC                               30 BURTON HILLS BLVD #450 MCMURTRAY P MCMURTRAY, P HOOVER, T FRAZER II
                                         NASHVILLE TN 37215
GIRARDI & KEESE                          1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
GOLDENBERGLAW, PLLC                      800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L. MINNEAPOLIS MN 55402
GOLOMB & HONIK, P.C.                     1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GOLOMB & HONIK, PC                       1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA PA 19102
GORI JULIAN & ASSOCIATES, P.C.           156 N. MAIN ST, TODD MATHEWS, EVAN BUXNER, MEGAN ARVOLA, SARA SALGER
                                         EDWARDSVILLE IL 62025
HENINGER GARRISON DAVIS, LLC             2224 1ST AVE NORTH CARROLL, ANNA M. BROSS, WILLIAM L. BIRMINGHAM AL 03520
HEYGOOD, ORR & PEARSON                   6363 N. STATE HIGHWAY 161, STE 450 IRVING TX 75038
HILLIARD MARTINEZ GONZALES, LLP          719 SOUTH SHORELINE BOULEVARD PINEDO, THOMAS CHRISTOPHER CORPUS CHIRSTI TX


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Claim Name                                Address Information
HILLIARD MARTINEZ GONZALES, LLP          07837
HOLLAND LAW FIRM                         300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO 63101
HOVDE, DASSOW, & DEETS, LLC              10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN 46290
JASON J. JOY & ASSCIATES P.L.L.C.        909 TEXAS STREET, SUITE 1801 HOUSTON TX 77002
JOHNSON BECKER, PLLC                     444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST. PAUL MN 55101
JOHNSON BECKER, PLLC                     444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
JOHNSON LAW GROUP                        2925 RICHMOND AVENUE, SUITE 1700 G TOBIN, A TIZENO, B ADHAM HOUSTON TX 77098
KEEFE BARTELS                            170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
KIESEL LAW, LLP                          8648 WILSHIRE BLVD. HAYTHAM FARAJ, PAUL R. KIESEL BEVERLY HILLS CA 90211
KLINE & SPECTER, P.C.                    1525 LOCUST ST. PRISCILLA JIMENEZ , LEE B BALEFSKY PHILADELPHIA PA 19102
LAW OFFICE OF GRANT D. AMEY, LLC         PO BOX 67 FAIRHOPE AL 03653
LENZE KAMERRER MOSS, PLC                 J LENZE, J MOSS, L KAMERRER,A MCGEE 1300 HIGHLAND AVE, SUITE 207 MANHATTAN
                                         BEACH CA 90266
LENZE LAWYERS, PLC                       JENNIFER A LENZE, AMANDA D MCGEE 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH
                                         CA 90266
LEVIN SIMES LLP                          1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA 94111
LEVIN, PAPANTONIO,THOMAS,MITCHELL &      PROCTOR, P.A. 316 SOUTH BAYLEN ST., SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL
                                         32502
LEVY KONIGSBERG LLP                      C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP NJ 08648
LUNDY, LUNDY, SOILEAU & SOUTH, LLP       501 BROAD STREET KOHRS, HIGHTOWER, LUNDY, LAKE CHARLES LA 07060
MARTINIAN & ASSOCIATES, INC.             2801 CAHUENGA BLVD WEST LOS ANGELES CA 09006
MCSWEENEY/LANGEVIN, LLC                  2116 SECOND AVENUE SOUTH MCSWEENEY,RHETT A LANGEVIN, DAVID M MINNEAPOLIS MN
                                         55404
MEIROWITZ & WASSERBERG, LLP              C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW YORK NY 10017
MELANIE H MUHLSTOCK/PARKER               WAICHMAN LLP; 6 HARBOR PARK DR PORT WASHINGTON NY 11050
MILBERG COLEMAN BRYSON PHILLIPS          GROSSMAN; 800 S GAY ST STE 1100 LAURA WELLING KNOXVILLE TN 37929
MILLER DELLAFERA PLC                     3420 PUMP RD., PMD 404 HENRICO VA 23233
MORELLI LAW FIRM, PLLC                   B MORELLI, D SIROTKIN, P FALLICK, J SHATYNSKI, 777 THIRD AVE, 31ST FL NEW YORK
                                         NY 10017
MORGAN & MORGAN                          GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST TAMPA FL 33602
MORRIS BART & ASSOCIATES                 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW ORLEANS LA 70130
MOTLEY RICE, LLC                         50 CLAY STREET, SUITE 1 MIGLIORI, GREENE, HOYLE, HALL,ORENT MORGANTOWN WV
                                         26501
MOTLEY RICE, LLC                         28 BRIDGESIDE BLVD. T HOYLE, D MIGLIORI, L OLIVER MT. PLEASANT SC 29464
MUELLER LAW PLLC                         404 W. 7TH STREET MARK MUELLER, CHARLES BEUERMAN AUSTIN TX 78701
MURRAY LAW FIRM                          650 POYDRAS STREET, SUITE 2150 S MURRAY, A MURRAY, C THOMAS NEW ORLEANS OH
                                         70130
NAPOLI BERN RIPKA SHKOLNIK & ASSOC,      LLP 3500 SUNRISE HIGHWAY, STE T-207 BERMAN, W. STEVE GREAT RIVER NY 11739
NAPOLI SHKOLNIK                          C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY PR 00918
NAPOLI SHKOLNIK, PLLC                    400 BROADHOLLOW, STE 305; BERMAN, W STEVEN; LOPALO, CHRISTOPHER R MELVILLE NY
                                         11747
ONDERLAW, LLC                            BLACK, RADOS, ONDER, BLAIR, BOWDEN, ORDIWAY; 110 E. LOCKWOOD, 2ND FL ST. LOUIS
                                         MO 63119
PARKER WAICHMAN, LLP                     6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
POGUST BRASLOW & MILLROOD, LLC           8 TWR BRIDGE, #940, 161 WASHINGTON ST LECKMAN, T MATTHEW BRASLOW CONSHOHOCKEN
                                         PA 19428
PORTER & MALOUF, PA                      P.O. BOX 12768 HARRIS, LAUREL LI GIVENS, JOHN T. JACKSON MS 39236-2768
POTTS LAW FIRM                           3737 BUFFALO SPEEDWAY, SUITE 1900 ROJAS, RACHAL HOUSTON TX 77098
REICH & BINSTOCK, LLP                    4265 SAN FELIPE BLVD, #1000 REICH, M EPHRON, D REICH, R BINSTOCK HOUSTON TX
                                         77027
ROBINSON CALCAGNIE ROBINSON SHAPIRO      DAVIS; KARAVATOS, LUKEI, ROBINSON, COLLINS; 19 CORPORATE PLZ DR NEWPORT BEACH


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Claim Name                                Address Information
ROBINSON CALCAGNIE ROBINSON SHAPIRO      CA 92660
ROSS FELLER CASEY, LLP                   1 LIBERTY PL,1650 MARKERT ST,#3450 J FELLER, M CASEY, R ROSS,C FELLER
                                         PHILADELPHIA PA 19103
SALKOW LAW, APC                          1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA 90401
SALTZ MONGELUZZI & BENDESKY PC           1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA 19103
SANDERS PHILLIPS GROSSMAN, LLC           100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY 11530
SANDERS VIENER GROSSMAN, LLP             100 HERRICKS ROAD MINEOLA NY 11501
SEEGER WEISS LLP                         550 BROAD ST., SUITE 920 C SEEGER, A BADARUZZAMAN, D SINDHU NEWARK NJ
                                         07102-4573
SIMMONS HANLY CONROY                     ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
SKIKOS, CRAWFORD, SKIKOS & JOSEPH        ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA 94104
SULLO & SULLO, LLP                       2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX 77098
THE BENTON LAW FIRM, PLLC                1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
THE DIAZ LAW FIRM, PLLC                  208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J. MADISON MS 39110
THE DUGAN LAW FIRM, APLC                 ONE CANAL PLACE, 365 CANAL ST, STE 1000 NEW ORLEANS LA 70130
THE ENTREKIN LAW FIRM                    3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX AZ 08501
THE FERRARO LAW FIRM, P.A.               600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, FERRARO, DIMATTEO MIAMI FL 33131
THE MILLER FIRM, LLC                     108 RAILROAD AVE. J SELDOMRIDGE, M MILLER, T SHAH ORANGE VA 02296
THE SEGAL LAW FIRM                       C AMOS II, J FOSTER, S SEGAL 810 KANAWHA BLVD, EAST CHARLESTON WV 25301
THE SIMON LAW FIRM, PC                   800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
THE SMITH LAW FIRM, PLLC                 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TORHOERMAN LAW LLC                       101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL 62025
TRAMMELL PC                              3262 WESTHEIMER ROAD, SUITE 423 M BINSTOCK, M EPHRON HOUSTON TX 77098
WAGSTAFF & CARTMELL, LLP                 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
WATERS & KRAUS, LLP                      S CHESTER-SCHINDLER, L MACLEAN 3141 HOOD STREET, STE 700 DALLAS TX 75219
WEITZ & LUXENBERG                        220 LAKE DRIVE EAST, SUITE 210 SHARMA, JENKINS, MURTHA,BOYLE,EIDEN CHERRY HILL
                                         NJ 08002
WEXLER WALLACE LLP                       55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
WILLIAMS HART LAW FIRM                   8441 GULF FREEWAY, SUITE 600 BRAHMBHATT,BOUNDAS,TREVINO,CUBBERLY HOUSTON TX
                                         77017




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Claim Name                       Address Information
A. WILSON, MEL                  NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
AALTO, EILEEN                   THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
ABAD, LORNA                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ABAGNALE, LINDA                 ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
ABALOS, PATSY                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
ABBATE, DIANE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ABBATE, DIANE                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
ABBATE, DIANE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ABBATE, DIANE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ABBATE, DIANE                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ABBOT, PATRICIA                 WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
ABBOTT, DEBORAH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ABBOTT, PIPER                   POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                BRASLOW, DEREK T CONSHOHOCKEN PA 19428
ABBOTT, PIPER                   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
ABBOTT, POLLY                   NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
ABBOTT, SANDRA                  NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
ABBOTT, SANDRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ABBOTT-EDWARDS, LORI            JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
ABDELBARY, STEPHANIE            THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ABDIANNIA, NOZHEH               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ABDUR-RASHEED, DAIMA            CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
ABDUR-RASHEED, DAIMA            BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
ABE, PATRICIA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ABEAR, NANCY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ABEDI-SAGHERIAN, RIMA           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ABEL, HARRIET                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
ABEL, HAYDEE                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ABEL, PATRICIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ABELES, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ABELL, ASHLEY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ABELL, TAMMY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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ABELLA, GEORGIANA               SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
ABELSON, LYNN                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ABERBOM, DEBRA                  REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J EPHRON
                                MELISSA BINSTOCK ROBERT HOUSTON TX 77027
ABERCROMBIE, BETTY              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ABERCROMBIE, CHRISTINE          BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 BUDD, RUSSELL W DALLAS TX
                                75219
ABERCROMBIE, REGINA             GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
ABERCROMBIE, REGINA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ABERCROMBIE, REGINA             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ABERCROMBIE, REGINA             PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ABERNATHY, JENNIFER             COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
ABERNATHY, SARA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ABERNATHY, SARA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ABERNATHY, SARA                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
ABERNATHY, VIRGINIA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ABEYTA, CHRISTINE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ABINANTE, MELODY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ABNER, MARY                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ABNER, SUZANNE                  POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
ABNEY, BRENDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ABNEY, KIMBERLY                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ABNEY, NILA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ABNEY, OLA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ABNEY, SHAMAE                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ABOLOS, CHRISTINA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ABOLOS, CHRISTINA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ABOLOS, CHRISTINA               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ABOOD, MADONNA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ABOOD, MADONNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ABRACINSKAS, JEAN               DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ABRAHAM, CHERYL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ABRAHAM, JANE                   JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
ABRAM, EDWINA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ABRAM, EDWINA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ABRAM, EDWINA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157


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Claim Name                       Address Information
ABRAM, EDWINA                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
ABRAMS, BARBARA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ABRAMSON, BARBARA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ABREU, MELINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ABRON, GRACIE                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
ABRUZZESE, ELISA                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
ABSHIRE, MONICA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ACANFRIO, DIANA                 MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
ACERBI, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ACETI, LEIGH                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ACEVEDO, ANA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ACEVEDO, DIANE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ACEVEDO, ESMERALDA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ACEVEDO, LOLA                   COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
ACEVEDO, LOLA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD GORI, RANDY
                                L. EDWARDSVILLE IL 62025
ACEVEDO, MELISSA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ACEY, ANNIE                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
ACHENBACH, DORIS                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ACHENBACH, ELIZABETH            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ACHESON, MARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ACKER, CATHLEEN                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ACKER, DENISE                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ACKERAMAN, TRACY                FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE FRAZE NASHVILLE TN 37215
ACKERMAN, CAROL                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ACKERMAN, GWYNN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ACKERMAN, MARYANNE              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ACKERMAN, MILDRED               KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
ACKERMAN-CASTELLANOS, BEA       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ACKERSON, PAULA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ACKLEY, MICHELE                 MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
ACKMAN, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ACLA, BILLIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ACOSTA, BARBIE                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ACOSTA, ELEANOR                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102


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Claim Name                       Address Information
ACOSTA, ELEANOR                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ACOSTA, ELEANOR                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
ACOSTA, ELEANOR                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ACOSTA, FAYETTA                 HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
ACOSTA, GLORIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ACOSTA, LAURA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ACOSTA, MARIA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ACOSTA, MIGDALIA                HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
ACOSTA, OLIVIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ACOSTA, STEPHANIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ACOSTA, TRINIDAD                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
ACOSTA, TRINIDAD                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ACOSTA, TRINIDAD                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ACOSTA, WENDY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ACQUAAHHARRISON, TAWANNA        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ACQUAVIVA, AUDRA                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ACQUAVIVA-AUBIN, PATRICIA       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ACREE, DOROTHY                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ACREMAN, LEAHA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ACTON, ELIZABETH                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ADAIR, KATHLEEN                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ADAIR, PATRICIA                 HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
ADAIR, RACHEL                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ADAIR, RACHEL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ADAM, ELIZABETH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ADAM, LAURA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ADAM, MARION                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ADAME, MELISSA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ADAME, MICHELLE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ADAMI, KATHLEEN                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ADAMOYURKA, DENISE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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ADAMOYURKA, DENISE              75231
ADAMS, ALICE                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
ADAMS, ALICE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ADAMS, AMANDA                   WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
ADAMS, AMBER                    JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
ADAMS, ANGELA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ADAMS, BETTY                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ADAMS, BEVERLY                  HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
ADAMS, BEVERLY                  SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
ADAMS, BRENDA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ADAMS, BRIDGET                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ADAMS, CAROL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADAMS, CAROLYN                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
ADAMS, CAROLYN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ADAMS, CECILIA                  LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, STEPHENSON, W. CAMERON 316
                                SOUTH BAYLEN ST., SUITE 400 PENSACOLA FL 32502
ADAMS, CHERYL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADAMS, CONNIE                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ADAMS, DARLENE                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ADAMS, DEBORAH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ADAMS, DEBORAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADAMS, DEBORAH                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ADAMS, DEBORAH                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ADAMS, DEBRA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ADAMS, DELETTE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADAMS, DENISE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ADAMS, DOROTHY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ADAMS, EILEEN                   TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
ADAMS, ELIZABETH                CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
ADAMS, ELIZABETH                BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
ADAMS, ELIZABETH S.             MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                YORK NY 10017
ADAMS, ELLA                     WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
ADAMS, EVELYN                   HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
ADAMS, GEORGIA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747



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Claim Name                       Address Information
ADAMS, GLORIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ADAMS, HELEN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ADAMS, IRENE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ADAMS, JACKIE                   NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
ADAMS, JANE                     CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
ADAMS, JANET                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ADAMS, JANICE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADAMS, JANIS                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ADAMS, JESSIE                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
ADAMS, JOAN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ADAMS, JOSEPHINE CLAY           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ADAMS, KARLA                    JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
ADAMS, KATHY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ADAMS, LESLIE                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ADAMS, LILLIAN                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ADAMS, LILLIAN                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
ADAMS, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADAMS, MADJUIANNA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADAMS, MARIA                    MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
ADAMS, MARY                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ADAMS, MELISSA                  BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
ADAMS, MELVERTA                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
ADAMS, MICKI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADAMS, NIKITA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ADAMS, NIKITA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADAMS, NIKITA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ADAMS, NIKITA                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
ADAMS, PATRICIA                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
ADAMS, PATRICIA                 KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
ADAMS, PAULA                    THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
ADAMS, PRISCILLA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ADAMS, REBEKAH                  WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700



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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
ADAMS, REBEKAH                  DALLAS TX 75219
ADAMS, ROBERTA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADAMS, ROMA                     BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
ADAMS, SHARON                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
ADAMS, SHIRLEY                  HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
ADAMS, STACY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADAMS, TERESA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ADAMS, TERESA                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
ADAMS, TERESA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADAMS, TERESA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ADAMS, TERESA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ADAMS, TERRY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADAMS, TONI                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADAMS, VIRGINIA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ADAMS, WANDA                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
ADAMS, WAYNETTE                 THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
ADAMS, WENDY                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ADAMS, WILMA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ADAMS-GASTON, JAVAUNE           PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
ADAMSON, LINDA                  MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
ADCOCK, LOIS                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADCOCK, MARKIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADCOCK, TERRI                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
ADDELSTON, JUDY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ADDINGTON, PHYLLIS              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADDIS, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADDISON, DIANNE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADDISON, DIANNE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ADDISON, DIANNE                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ADDISON, TARA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADDISON, TERESA                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
ADELMAN, NANCY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADERIBOLE, OMOBONIKE            SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
ADERIBOLE, OMOBONIKE            POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                BRASLOW, DEREK T CONSHOHOCKEN PA 19428
ADGER, MARSHA                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
ADKINS, ANGELA                  MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
ADKINS, BARBARA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ADKINS, BERNADINE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098



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Claim Name                       Address Information
ADKINS, DARILYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ADKINS, JESSICA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADKINS, MARTHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADKINS, MICHELLE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADKINS, MILDRED                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ADKINS, SUSAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADKINS, YOLANDA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ADKISON, IDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADLER, MYRNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADOCK, ELIZABETH                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ADOLPH, PATRICIA                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ADORNO, CARMEN                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ADORNO, JASMINE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ADRAGNA, DOREEN                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ADRAGNA, SHAWNA                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
ADRIANO, ELSA                   NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
ADSHER, SHIRLEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADWAY, EARLEAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ADWOA THOMAS                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
AERTS, MARY                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
AERY, LINDA                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
AERY, LINDA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
AFANADOR-MEJIA, ELIZA           GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
AFFOLTER, EVA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AFRICANO, KELLY                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
AGBESI, KATHERINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AGE, KIMBERLY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AGEE, DEBORAH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AGER, STELLA                    KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
AGER, STELLA                    LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
AGER, VIRGINIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AGETSTEIN, BARBARA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
AGIN, HEIDI                     TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
AGIN, LINDA PEACOCK             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
AGNEW, ANN                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
AGNEW, ANN                      GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402



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Claim Name                       Address Information
AGNEW, ANN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AGNEW, ANN                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
AGNEW, ANN                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
AGONOY, JANET                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
AGOSTA, LINA                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
AGRAWAL, SUDHA                  SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
AGRESS, LLEWELLYN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
AGUAYO, MARIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
AGUDELO, MARISOL                MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
AGUILAR, CRYSTAL                WEITZ & LUXENBERG RELKIN, ELLEN & SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE
                                210 CHERRY HILL NJ 08002
AGUILAR, JANE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
AGUILAR, MAGGIE                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
AGUILAR, MELISSA                WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
AGUIRRE, HILDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AGUIRRE, JUANITA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AGUIRRE, LORIANN                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
AGUIRRE, MARITZA                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
AGUIRRE, STARLENE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
AHART, JENNIFER                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
AHEARN, CHRISTINA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
AHEARN, CHRISTINA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AHEARN, CHRISTINA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
AHEARN, CHRISTINA               PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
AHEARN, STASIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AHERN, STACEY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
AHLBIN, DIANA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
AHLBIN, DIANA                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
AHLBIN, DIANA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AHLBIN, DIANA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
AHLBIN, DIANA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
AHLBIN, DIANA                   SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
AHLBORN, DEBBIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
AHLBORN, DEBBIE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
AHLBORN, DEBBIE                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
AHLVIN, TRACY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
AHLVIN, TRACY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
AHLVIN, TRACY                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
AHLVIN, TRACY                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
AHMED, BABLY                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
AHMED, NUZHAT                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AHNER, PATRICIA                 KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
AHREND, MARIANNE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
AHRENS, BRENDA                  NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
AHRENS-TRAMS, DAWN              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
AHSOAK, NAOMI                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
AHUMADA, JULIE                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
AIELLO, LYNDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
AIKENS, JANET                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AIME, ALEXANDRA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
AIMES, MARVA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AINILIAN, MARY                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
AITCHISON, JACQUELINE           BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
AITYAHIA, ABDERR                MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                YORK NY 10017
AJAMY, MICHELLE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AKEMANN, KARLA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
AKERS, BELINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AKERS, DEBRA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
AKERS, DIANE                    HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
AKERS, VERONICA                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
AKERS, VERONICA                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
AKERS, WANDA                    THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
AKINS, DIANNE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
AKINS, DIANNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AKINS, DIANNE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
AKINS, DIANNE                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
AKINS, LOUELLA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
AKINS, OLGA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AKINS, TANYA                    WEITZ & LUXENBERG RELKIN, ELLEN & SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE
                                210 CHERRY HILL NJ 08002



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Claim Name                       Address Information
AKRIDGE, NICOLE                 THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
AKTARY, SUSAN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
AL-BADEE, TASKIN                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
AL-BADEE, TASKIN                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
AL-BADEE, TASKIN                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
AL-NURRIDIN, FATIMAH            JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ALABA, JANE                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ALAMILLO, ERICA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALAMILLO, JOAQUINA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALANDT, VICKIE                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
ALANIS, GAUDALUPE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALANIS, GRACIELA                HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
ALANIZ, ODELIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALBA, JOSELINE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ALBACH, PAMELA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
ALBACH, PAMELA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ALBACH, PAMELA                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
ALBACH, PAMELA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ALBAN, HARRIET                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
ALBANESE, CYNTHIA               BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
ALBEDYLL, LINDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALBER, ZACHARY M.               WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
ALBERDING, DONNA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALBERDING, ROSEMARY             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALBERGO, LILLIAN                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ALBERS, BILLIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALBERT, ESTELLE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ALBERT, HELEN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALBERT, KATHLEEN                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ALBERT, KATHLEEN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALBERT, LULA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALBERT, MARY                    THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST



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                                                     List
                                                         Entered 02/17/22 16:31:44           Desc Main
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Claim Name                          Address Information
ALBERT, MARY                       CHARLESTON WV 25301
ALBERT, RETHA                      PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
ALBERT, SHERRY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALBERTIN, LISA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALBERTINE, ANNE                    MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
ALBERTS, SHARON                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
ALBEY, CLAUDINE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
ALBIN, CARLENE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALBORANO, JEANNE                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
ALBRECHT, LAURA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALBRIGHT, ELAINE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALBRIGHT, LINDA                    MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
ALBRIGHT-WILSON, JENNIFER          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
ALBRITTON, CAROL                   BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                   30603
ALCALA, SUSANA                     BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                   ROBERT BRENT LOS ANGELES CA 90024
ALCOTT, LISA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALDAPA, PEARL                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALDERSON, SHIRLEY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
ALDRICH, SHERYLE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
ALDRICH,K.; DECHRISTOFARO,J.;      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
KNUTSON,M.                         ORANGE VA 02296
ALDRICH-JACOBS, LISA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALDRIDGE, DEBORAH                  THE SEGAL LAW FIRM AMOS, II, CHARLES EDWARD & SEGAL, SCOTT 810 KANAWHA BLVD,
                                   EAST CHARLESTON WV 25301
ALDRIDGE, KATHERINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALDRIDGE, PHYLLIS                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
ALDRIDGE, SUSAN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
ALEGANDRA-DOMINGUEZ, SINDY         NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                   PR 00918
ALEGRE, TERESA                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
ALEGRIA, BERNICE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALEGRIA, MONICA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
ALEGRIA, PAULA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
ALEJANDRA SALLEE                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                   PAUL MN 55101
ALEJANDRE, ERIKA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALEJANDRO, VALERIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALEJO, MARY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALEMANY, GRETZA                    CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100


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Claim Name                       Address Information
ALEMANY, GRETZA                 ATLANTA GA 30319
ALENA POTES                     DAVIS, BETHUNE & JONES, L.L.C. DAVIS, GRANT L. 1100 MAIN STREET, SUITE 2930
                                KANSAS CITY MO 64196
ALEQUIN, CONNIE                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
ALESSI, VICKY                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ALESSIO, NANCY                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
ALEX, VERA                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ALEXANDER, ALESHIA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ALEXANDER, ANNA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALEXANDER, ANNETTE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALEXANDER, BARBARA              DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ALEXANDER, BARBARA              WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
ALEXANDER, CAROLE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ALEXANDER, CHARLENE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALEXANDER, DEEDRA               SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
ALEXANDER, DORINE               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
ALEXANDER, DORINE               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ALEXANDER, DORINE               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ALEXANDER, DORINE               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ALEXANDER, HARRIET              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALEXANDER, JANNIE               BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ALEXANDER, JANNIE               BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
ALEXANDER, JEAN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALEXANDER, JOETTA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALEXANDER, KIMBERLY             TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
ALEXANDER, LINDA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ALEXANDER, LISA                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
ALEXANDER, NORMA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALEXANDER, PAT                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALEXANDER, PATRICIA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALEXANDER, PRENELLA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALEXANDER, REATHA               JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
ALEXANDER, SANDRA               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ALEXANDER, SHANICE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALEXANDER, SHERRY               BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
ALEXANDER, TILSA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                       Address Information
ALEXANDER, TILSA                75231
ALEXANDER, VALERIE              DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
ALEXANDER, VALERIE              LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ALEXANDER, VALERIE              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ALEXIS WINCHESTER               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
ALEY, ANNA                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ALFINITO-RENTA, QUINTETTE       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALFORD, ALFREDIA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ALFORD, ANDREA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ALFORD, BRENDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ALFORD, ETHEL                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ALFORD, JENNY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALFORD, KAY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALFORD, PEGGY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ALFORD, RUBY                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ALFORD, RUBY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALFORD, VICKI                   THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
ALFORQUE, CECELIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ALFRED, NATALIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALFRED, SHIRLEY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALFRED, SHIRLEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALFRED, SHIRLEY                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
ALGER, DOROTHY                  CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
ALGER, JUANITA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ALGER, JUANITA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALHART, THERESA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALI, NEELAM                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALI, ZANIFFA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ALICE MADDOX                    MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
ALICE ZEHNPFENNIG               JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
ALKHAS, ANITA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ALKHOURI, MADLAIN               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX



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Claim Name                       Address Information
ALKHOURI, MADLAIN               77007
ALKINS, MARLENE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALKIRE, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLARD, JANA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ALLBACK, CLAIRE                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ALLBRIGHT, DIANE                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ALLCHIN, LUCILLE                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
ALLDAY, BETTY                   THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
ALLEMAN, BEVERLY                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
ALLEN, ALLISON                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ALLEN, ANGELA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ALLEN, ANNIE                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
ALLEN, BETTY                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ALLEN, BEULAH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLEN, BONNIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLEN, BONNIE                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
ALLEN, CARLA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALLEN, CHARLOTTE                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ALLEN, CLAIRE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALLEN, CLARA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALLEN, CONNIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLEN, CONNIE                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ALLEN, DARA                     NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
ALLEN, DARLENE                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ALLEN, DEBBIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALLEN, DEBORAH                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ALLEN, DEBORAH                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ALLEN, DONNA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ALLEN, DOROTHY                  WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
ALLEN, EBONY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLEN, ELAINE                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130



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Claim Name                       Address Information
ALLEN, GLENA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALLEN, GLENA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLEN, GLENA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ALLEN, GLENA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ALLEN, GLENDA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ALLEN, GLENDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALLEN, HOPE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLEN, HOUSTINE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLEN, IISHA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLEN, IRENE                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ALLEN, IVETTE                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ALLEN, JAMIE                    EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
ALLEN, JAMIE                    SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
ALLEN, JAMIE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALLEN, JANE                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
ALLEN, JEANINE                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
ALLEN, JESSICA                  LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
ALLEN, JUNE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALLEN, JUNE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLEN, JUNE                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ALLEN, JUNE                     PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
ALLEN, KATHERINE                LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET KOHRS, NICHOLAS HIGHTOWER,
                                KRISTIE LAKE CHARLES LA 07060
ALLEN, KAY                      GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
ALLEN, KELLY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLEN, KELLY                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ALLEN, KELLY                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ALLEN, KELLY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ALLEN, KERRIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALLEN, KERRIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLEN, KERRIE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ALLEN, KERRIE                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ALLEN, KIMBERLY                 BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
ALLEN, KRISTI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLEN, KRISTY                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
ALLEN, LEAHA                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ALLEN, LETHA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231



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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
ALLEN, LORAINE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALLEN, LULA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALLEN, MARIAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLEN, MARTHA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. ARVOLA, MEGAN T. EDWARDSVILLE IL 62025
ALLEN, MARY                     HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
ALLEN, MELISSA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ALLEN, PAMELA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLEN, PATRICIA                 FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE FRAZE NASHVILLE TN 37215
ALLEN, PHYLLIS                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ALLEN, RONDALYN                 SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
ALLEN, RONDALYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALLEN, RONDALYN                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ALLEN, RONDALYN                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ALLEN, ROSA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLEN, ROSEMARY                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ALLEN, RUTH                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ALLEN, SABYNE                   CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
ALLEN, SALLIE                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
ALLEN, SHANEITA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ALLEN, SHANEKA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ALLEN, SHARON                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ALLEN, SHARON                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALLEN, SHERYL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLEN, SHERYL                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ALLEN, SHERYL                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ALLEN, TAMMY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ALLEN, THERESA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ALLEN, THERESA                  MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
ALLEN, TRACY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLEN, VICTORIA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ALLEN, VIRGINIA                 SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
ALLEN, VIVIAN                   DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
ALLEN, WANDA                    CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602



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                                       LTL Management LLC
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Claim Name                       Address Information
ALLEN, WANDA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ALLEN, WILLIAM T                MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                YORK NY 10017
ALLEN-WILBORN, JANET            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ALLENBERG, TAMARA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALLEY, JOYCE                    HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
ALLGAIER, JUDITH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLGAYER, JESSICA               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ALLGEIER, HARRIET               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLGIER, KATHRYN                WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
ALLGOOD, MADONNA                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
ALLGOOD, PATRICIA               MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
ALLINGHAM, LOIS                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
ALLISON, ANDREA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALLISON, ANGELA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALLISON, BETTY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALLISON, BETTY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLISON, BETTY                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ALLISON, BETTY                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ALLISON, HELEN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALLISON, JANICE                 SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
ALLISON, JUDITH                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ALLISON, OMA                    GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
ALLISON, SHARON                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALLISON, SHARON                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
ALLISON, SHARON                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLISON, SHARON                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ALLISON, SHARON                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ALLIZZO, LINDA                  JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
ALLMAN, KATIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLMYER, CAROL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLOCCA, DEBORAH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALLOUCHE, ROSEMARIE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLRED, BOBBIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALLSBROOK, FRIDA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ALLSHOUSE, MARGARET             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
ALLSHOUSE, MARGARET             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ALLSHOUSE, MARGARET             PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ALLSOP, DIANNE                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ALLTOP, NANCY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALLUMS, ROSA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ALLWOOD, NELLIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ALMANZA, SYLVIA                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ALMARAZ, NORMA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ALMEIDA, JANEEN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALMOND, KITTY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALMOND, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALONSO, TAMMY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALONZO, BLANCA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ALORSAN, DEBORAH                REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J EPHRON
                                MELISSA BINSTOCK ROBERT HOUSTON TX 77027
ALRASHDAN, REBECCA              WEITZ & LUXENBERG RELKIN, ELLEN & SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE
                                210 CHERRY HILL NJ 08002
ALRUBAIIE, REBECCA              PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
ALSOP, JUDY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALSTON, GAIL                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
ALSTON, RUTH                    GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
ALSTON-SIMMONS, LAVONA          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALSTROM, NORMA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ALSTROM, NORMA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALSUP, MELISSA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ALT, TRACY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALTER, EILEEN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALTERA, KAY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALTHANS-BURNS, STACEY           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALTMAN, FLORA                   MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
ALTRINGER, REBECCA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ALTRINGER, REBECCA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALTRINGER, REBECCA              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ALTRINGER, REBECCA              PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
ALTRINGER, REBECCA              SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
ALVARADO, DENISE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ALVARADO, ELENA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                              Address Information
ALVARADO, JACQUELINE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALVARADO, LOURDES                      MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                       YORK NY 10017
ALVARADO, MARIA                        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ALVARADO, MARIA                        SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                       19103
ALVARADO, NILDA                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
ALVARADO, NILDA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ALVARADO, NORMA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ALVARADO, VINNIE                       DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ALVARADO, YAHAIRA                      JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                       PAUL MN 55101
ALVAREZ, ANGELINA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALVAREZ, BERTHA                        CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
ALVAREZ, FRANCES                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ALVAREZ, GRACIELA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALVAREZ, JUANITA                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
ALVAREZ, LUZ                           GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ALVAREZ, MARIA                         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ALVAREZ, MIGUEL THE ESTATE OF M ALVAREZ LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                        NJ 08648
ALVAREZ, MILAGROS                      DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ALVAREZ, ROBIN                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
ALVAREZ, SUSAN                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALVAREZ, VALERIE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALVAREZ, YANIRA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALVAREZ-CEPEDA, MARIA                  EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
ALVAREZ-PEREZ, YVETTE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ALVAREZ-PEREZ, YVETTE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALVAREZ-PEREZ, YVETTE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ALVAREZ-PEREZ, YVETTE                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
ALVEREZ-PEREZ, YVETTE                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                       PA 19102
ALVERSON, SANDRA                       MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
ALVES, DIANA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALVILLAR, HELEN                        MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
ALVIS, KATHRYN                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ALVY, CRISTINA                         HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
ALYINOVICH, ELIZABETH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ALZAMORA, MARY                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
AMADON, JEANNE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                               Address Information
AMANA, LANA                              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AMANDA HINES                             JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                         PAUL MN 55101
AMANULLAH, FARKHANDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AMARA, DEBORAH                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
AMARAL, MARIA                            BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                         ROBERT BRENT LOS ANGELES CA 90024
AMARO, HILARY                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AMATO, FELICIA                           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
AMAUGWU, JOY                             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
AMAYA, PAULA                             LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                         SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
AMBADJES, BARBARA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AMBER BRIDGES                            ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                         LOUIS MO 63119
AMBERT, NORMA                            THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
AMBRIZ, ALIZA                            BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                         ROBERT BRENT LOS ANGELES CA 90024
AMBROS, KATHERINE                        ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
AMBROSE, JOANNE                          ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
AMBROSE, LINDA                           COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                         INDIANAPOLIS IN 46204
AMBURGY, CHARLOTTE                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
AMBURN, SHAY                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
AMENDOLA, DONNA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
AMENDOLA, RACHELLE                       CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                         14202-3725
AMENGUAL, CARMEN                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
AMENTA, CATHY                            POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
AMERSON, DEANDRA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AMERSON, DEANDRA                         ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
AMES, MARY                               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
AMES-FRITZ, DENYSE EST OF STEVEN FRITZ   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
AMEY, DEBRA                              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
AMEZCUA, OFELIA                          DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
AMHOLT, KAREN                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AMI, HELEN                               BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                         75202
AMICA, JACQUELINE                        HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
AMIN, JALPABEN                           NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY



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                                                 LTL Management LLC
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                                                           List
                                                               Entered 02/17/22 16:31:44            Desc Main
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Claim Name                                Address Information
AMIN, JALPABEN                           11747
AMIN, SUSIE                              CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                         GA 30009
AMIN, SUSIE                              BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                         30060
AMIRGHAHARI, NILOOFAR                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                         LOUIS MO 63119
AMIRGHOLI, JENNIFER                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AMIRO, HEIDI                             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
AMIRO, HEIDI                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
AMIRO, HEIDI                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AMIRO, HEIDI                             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
AMIRO, HEIDI                             PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
AMISTADI, MARY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
AMLONG, JOYCE                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
AMMAR, JACQUELINE                        ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                         LOUIS MO 63119
AMMESMAKI, DEBBIE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AMMONS, PHYLLIS                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AMMONS, SHELLEY                          WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                         NJ 08002
AMO, DONNA                               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 22960
AMODEI, DONNA                            ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
AMODEI, DONNA                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
AMOGRETTI, GLORIA                        GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                         PA 19102
AMOGRETTI, GLORIA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
AMOGRETTI, GLORIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AMOGRETTI, GLORIA                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
AMOGRETTI, GLORIA                        PORTER & MALOUF, PA P.O. BOX 12768 HARRIS, LAUREL LI GIVENS, JOHN T. JACKSON
                                         MS 39236-2768
AMOS, JACQUELINE                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
AMOS, MARY                               THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
AMOS, SARAH                              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AMRICH, SHEILA                           GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                         PA 19102
AMRINE, DONNA                            MILLER DELLAFERA PLC 3420 PUMP RD., PMD 404 HENRICO VA 23233
AMRON, ROBERT K. AND AMRON, ROSE A.      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                         NJ 08648
AMSBRY, KARINA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AMY CALL                                 TORHOERMAN LAW LLC DAVIS, STEVEN 101 W. VANDALIA SUITE 350 EDWARDSVILLE IL
                                         62025
ANABLE, KAREN                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
ANANOPULOS, NANCY               KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
ANASTASIA, ELAINE               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ANCIRA, MARY                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ANDERS, NAOMI                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
ANDERS, TAMMY                   BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
ANDERSEN, CHARLOTTE             ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
ANDERSEN, CYNTHIA               LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
ANDERSEN, DAWN                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ANDERSEN, RITA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDERSEN, TRACEY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, ADA                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
ANDERSON, ADA                   MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
ANDERSON, AMANDA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ANDERSON, AUTUMN                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ANDERSON, BARBARA               ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
ANDERSON, BARBARA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDERSON, BARBARA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, BARBARA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ANDERSON, BARBARA               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ANDERSON, BARBARA               FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY DALLAS TX 75231
ANDERSON, BEATRICE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, BERNICE               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ANDERSON, BERNICE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDERSON, BETTY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ANDERSON, BRANDY                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ANDERSON, BRENDA                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ANDERSON, BRENDA                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 NEW ORLEANS LA 70130
ANDERSON, BRENDA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ANDERSON, CARLA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ANDERSON, CAROL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, CAROLYN               WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
ANDERSON, CASEY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231



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Claim Name                       Address Information
ANDERSON, CHARLENE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, CHARLOTTE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDERSON, CHERIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDERSON, CHRISTINA             FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ANDERSON, CHRISTINE AND         WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
ANDERSON,WILLIAM                HILL NJ 08002
ANDERSON, CYNTHIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, CYNTHIA               BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
ANDERSON, DANA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ANDERSON, DARLENE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDERSON, DEBORAH               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
ANDERSON, DEBRA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY ADHAM, BASIL
                                HOUSTON TX 77098
ANDERSON, DELANDRA              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ANDERSON, DEMERITA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, DIANE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDERSON, DONNA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, DORIS                 THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
ANDERSON, DRONDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, DYNNIA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ANDERSON, EDITH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDERSON, ELISA                 BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
ANDERSON, ELOUISE               BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ANDERSON, ELOUISE               BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
ANDERSON, ESSIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDERSON, FLORENTYNE            BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ANDERSON, FRANCES               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
ANDERSON, GEORGIA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ANDERSON, GLORIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, GWENDOLYN             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, HOLLY                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ANDERSON, HOLLY                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, MARK NEW ORLEANS LA 70130
ANDERSON, IDA                   THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
ANDERSON, JANE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098



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Claim Name                       Address Information
ANDERSON, JANET                 DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
ANDERSON, JANET                 KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
ANDERSON, JANINE                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ANDERSON, JEAN                  FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE FRAZE NASHVILLE TN 37215
ANDERSON, JEANETTE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, JENNIFER              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDERSON, JEWELL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, JOAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, JUANITA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ANDERSON, JUDITH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDERSON, JULIE                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
ANDERSON, KARENE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ANDERSON, KARENE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDERSON, KATHRYN               HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
ANDERSON, KATHRYN               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
ANDERSON, KATHRYN               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ANDERSON, KATHRYN               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ANDERSON, KATHRYN               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                LUKEI, SHANNON KARAVATOS, NEWPORT BEACH CA 92660
ANDERSON, KATHY                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ANDERSON, KATHY                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
ANDERSON, KRISTINA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ANDERSON, LATOSHA               ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
ANDERSON, LAURA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, LAURI                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
ANDERSON, LAWRENCE              WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
ANDERSON, LINDA                 MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
ANDERSON, LISA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, MARGARET              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ANDERSON, MARTHELL              POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
ANDERSON, MARY                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ANDERSON, MARY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDERSON, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
ANDERSON, MICHELLE              GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
ANDERSON, MICHELLE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, MICHELLE              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ANDERSON, MICHELLE              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ANDERSON, MILDRED               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDERSON, MONICA                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ANDERSON, NANCY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, NANCY                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
ANDERSON, ORA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ANDERSON, PATRICIA              THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
ANDERSON, PATRICIA              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ANDERSON, PLEASANT              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, RACHEL                FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE FRAZE NASHVILLE TN 37215
ANDERSON, RACHEL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, RENEE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDERSON, RITA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ANDERSON, ROBIN                 POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                BRASLOW, DEREK T CONSHOHOCKEN PA 19428
ANDERSON, ROBYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, ROCHARLENIA           ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ANDERSON, ROSEMARY              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ANDERSON, ROSETTA               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ANDERSON, ROSETTA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDERSON, SANDRA                KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
ANDERSON, SANDRA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, SANDRA                LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
ANDERSON, SARA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDERSON, SARAH                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
ANDERSON, SHANETTA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, SHANNON               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ANDERSON, SHARLENE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDERSON, SHARLENE              GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
ANDERSON, SHARLENE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, SHARLENE              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ANDERSON, SHARLENE              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ANDERSON, SHARON                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX


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Claim Name                       Address Information
ANDERSON, SHARON                75202
ANDERSON, SHIRLEY               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ANDERSON, SHIRLEY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDERSON, SHIRLEY               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
ANDERSON, SHIRLEY               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ANDERSON, SHIRLEY               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ANDERSON, SONIA                 BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
ANDERSON, STACEY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, TERESA                WEITZ & LUXENBERG RELKIN, ELLEN & SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE
                                210 CHERRY HILL NJ 08002
ANDERSON, TYLENA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ANDERSON, TYLENA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDERSON, VALERIE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDERSON, VERNA                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
ANDERSON, VICKI                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ANDERSON, VICKI                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDERSON, VIRGINIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, VIRGNIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON, VIRGNIA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ANDERSON, VIRGNIA               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ANDERSON, WILMA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDERSON-MUNROE, JOY            ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ANDERT, LUZ                     BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ANDERT, LUZ                     BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
ANDES, PATRICIA                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
ANDONIADIS, MARTHA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDRADE, ANNAMARIE              FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY DALLAS TX 75231
ANDRADE, MAUREEN                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ANDRADE, ORVELLA                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ANDRADE, VIVIAN                 MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
ANDRADE, VIVIAN                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
ANDRASI, ARLENE                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ANDRE, JOYCE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDREA PAYTON                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.



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Claim Name                       Address Information
ANDREA PAYTON                   LOUIS MO 63119
ANDREASON, LORAE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDREOTTI, SHARON               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ANDREOZZI, CATHERINE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDRES, DIANA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ANDRES, DIANA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDRESSEN, JULIANNE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDREW, WALTRAUD                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ANDREW, WALTRAUD                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDREWS (MO), BRENDA            GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
ANDREWS (MO), BRENDA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDREWS (MO), BRENDA            THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ANDREWS (MO), BRENDA            PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ANDREWS, ALEASE                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
ANDREWS, BEVERLY                WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
ANDREWS, BRENDA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ANDREWS, CAROL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDREWS, CHRISTY                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ANDREWS, CINDY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDREWS, DEBRA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ANDREWS, DIANE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDREWS, DIANE                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
ANDREWS, DIANE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDREWS, DIANE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ANDREWS, DIANE                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ANDREWS, DOLORES                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANDREWS, DORIS                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ANDREWS, GERALDINE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ANDREWS, HEATHER                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDREWS, JOAN                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ANDREWS, MARGARETTA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDREWS, MELISSA                POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
ANDREWS, OLLIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDREWS, PAMELA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ANDREWS, PAMELA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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ANDREWS, PAMELA                        MEADOWS, TED G. MONTGOMERY AL 36104
ANDREWS, PATRICIA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDREWS, RACHEL                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
ANDREWS, RENEE                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
ANDREWS, SHAKEDRA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
ANDREWS, TAMMY                         ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119
ANDREWS, TESSICA                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
ANDREWS, VANNA                         DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                       ANTHONY ST. LOUIS MO 63102
ANDREWS, VANNA                         LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ANDREWS, VANNA                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ANDREWS-NOEL, NATASHA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ANDRIOLA, MICHELE                      JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
ANDRIS, LORRAINE                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
ANDROJNA, HEIDI                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANDRUS WAGSTAFF, P.C.                  7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
ANDRUS, KATHERINE ANN                  MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
ANFINSN,ANGULO,CARFAGNO,PINTR,ROMN,TRAH ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
N                                       ROBINSON, JR. MARK P. KAR NEWPORT BEACH CA 92660
ANGE-ROLAND, SUZANNE                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
ANGEL, CINDY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ANGEL, KAREN                           DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                       ANTHONY ST. LOUIS MO 63102
ANGEL, KAREN                           LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                       MANHATTAN BEACH CA 90266
ANGEL, KAREN                           LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ANGEL, KAREN                           ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                       & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
ANGEL, KAREN                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ANGEL, LINDA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ANGEL, SUZANNE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ANGELA PRIEST                          ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119
ANGELA WRIGHT                          MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
ANGELES, LINDA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ANGELES, SOPHIA                        WATERS & KRAUS, LLP MACLEAN, LESLIE - 3141 HOOD STREET, STE 700 DALLAS TX
                                       75219
ANGELICA GARCIA-ADAMU                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119



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Claim Name                       Address Information
ANGELINE DILWORTH               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
ANGELL, IRENE                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ANGELL, JULIE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ANGELL, JULIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANGELO, GAYLE-JEAN              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANGELO, GAYLE-JEAN              GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
ANGELO, GAYLE-JEAN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANGELO, GAYLE-JEAN              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ANGELO, GAYLE-JEAN              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ANGELO, GINA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ANGELO, WENDY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANGILLETTA, JOAN                MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
ANGLIN, BARBARA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANGLIN, JOANN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANGLIN, JOANN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANGLIN, JOANN                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ANGLIN, JOANN                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ANGSTADT, RUTH                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ANGUIANO, MARIA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ANGUS, MEAGAN                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ANGUSTAIN, LAURIE               GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
ANITA KINKEAD                   FLETCHER V. TRAMMELL TRAMMELL, FLETCHER V 3262 WESTEIMER, SUITE 423 HOUSTON TX
                                77098
ANN GRAYESKI                    JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
ANNA CURLIN                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
ANNA DEHENNIS                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
ANNA LAWTON                     JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
ANNA MUNCHRATH                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
ANNA STUART                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
ANNA YUHAS                      ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
ANNALORO, LUCILLE               MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
ANNAN, KIMYETTA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
ANNE BASHER                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
ANNEETA DESANTIS                BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                COMMERCE STREET MONTGOMERY AL 36104
ANNETTE HILTON                  MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
ANNETTE KEITH                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
ANNETTE WILSON                  FLETCHER V. TRAMMELL BINSTOCK, MELISSA & TRAMMELL, FLETCHER V 3262 WESTEIMER,
                                SUITE 423 HOUSTON TX 77098
ANNIE CHAMBERS                  BARON & BUDD, P.C. MANN, JONAS 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX
                                75219
ANNIE WILSON                    JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
ANNIS, KERRY                    THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
ANNUNZIATA, AMORELLI            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANSALDI, GINA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ANSPACH, REBECCA                THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
ANSTED, LESLIE                  PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
ANSTINE, BRIANNE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANTHONY, APRIL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANTHONY, BARBARA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANTHONY, CATHY                  SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
ANTHONY, CONNIE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ANTHONY, CONNIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANTHONY, DELIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ANTHONY, JOANN                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
ANTHONY, JOANN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ANTHONY, KIMBERLY               HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
ANTHONY, MICHELE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANTHONY, PATRICIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ANTHONY-MORTON, SHAWN           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANTOCICCO, YOLANDA              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ANTOINE, BEVERLY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANTOINE, CATHERINE              MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
ANTOLOWITZ, ANNETTE             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ANTONETTI, JANELL               KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
ANTONINI, MARIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANTONIO, MARIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
ANTONIO, MARIA                  MEADOWS, TED G. MONTGOMERY AL 36104
ANTONUCCI, MARGARET             CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ANTOS, CAROL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ANTOS, MARY                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
APARICIO, CONSTANCE             GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
APARICIO, DIANA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
APARICIO, DIANA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
APELIAN, BARBARA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
APONTE, ANALYDE                 HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
APONTE, NOEMI                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
APPEL, ELLEN                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
APPINO, SHARON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
APPLE, CHRISTINA                LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
APPLEBEE, CHERYL                BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
APPLEGATE, MESHELL              WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
APPLEN, VIRGINIA                MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
APPLEWHITE, JENNY               SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
APPLEWHITE, JENNY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
APPLEWHITE, JENNY               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
APPLEWHITE, JENNY               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
APREA, JEANNE                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
APRIL BRAZEL                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
APT, DEBORAH                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AQUILINA, LILY                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
AQUINO, LIZANNE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AQUINO, MILDRED                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
AQUIO, MICHEL                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ARAGON, KARIN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ARAIZA, DOLORES                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARAMBULA, BRENDA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ARAMBULA, KELSEY                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
ARANA, HAZEL                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747



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Claim Name                       Address Information
ARANGO, ADRIANA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARANGO, ADRIANA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARANGO, ADRIANA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ARANGO, ADRIANA                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
ARAUJO, GLORIA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ARAUJO, ROXANNE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ARAUJO, YOLANDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARBOUR, NANCY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARBUCKLE, BARBARA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARBUCKLE, BARBARA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ARBUCKLE, SANDRA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARBUTHNOT, DONNA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ARCACHE, AIDA                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
ARCENEAUX, PATRICIA             DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
ARCENEAUX, TANYA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARCHDEACON, PEGGIANNE           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARCHER, CANDACE                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
ARCHER, CHERYL                  CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
ARCHER, CHERYL                  BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
ARCHER, CHRISTINE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ARCHER, DENNA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARCHER, EDNA                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
ARCHER, KELLY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ARCHER, MARQUIETA               WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
ARCHIBALD, BRANDI               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARCHIE, KAREN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARCHIE, THERESA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARCHIE, THERESA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ARCHIE, THERESA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ARCHIELD, DANA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ARCHULETA, DENISE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARCHULETA, JORDAN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
ARCIUOLO, JOYCE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ARD, ANITA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARDEN, DARLENE                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
ARDIZZONE, JUNE                 BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
ARELLANO, MARIA DE LA LUZ       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ARENA, KATHY                    GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
ARENDS, BARBARA                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
ARENDT, SHERRIE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ARENSBERG, JEANNETTE            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ARENZ, DANA                     MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
ARESHEH, NAHDIA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
AREVALO, RACHEL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARGENT, BARBARA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ARGERENON, PAMELA               LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
ARGETSINGER, DAWN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARGINSKY, MARTHA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARGIRO, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARGO, BETTY                     HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
ARGUELLO, DALIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARGUELLO, JOANN                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
ARGUELLO, SARENNA               WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
ARGUELLO-ALLEN, DEBRA           GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ARGUETA, MARIA                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
ARGUETA-FRAZIER, SANDRA         POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                BRASLOW, DEREK T CONSHOHOCKEN PA 19428
ARIAS, KRISTY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARIAS-ARAGON, JESUS             NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
ARIBON, JUDITH                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ARIENO, MARLENE                 WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
ARIETTA, GENEVIEVE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARILYN HALSTEAD                 MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
ARINOLDO, LINDA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ARISPE, BROOKE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ARISPE, DONNA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,



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Claim Name                       Address Information
ARISPE, DONNA                   EVAN D. ARVOLA, MEGAN T. EDWARDSVILLE IL 62025
ARISPE, VICTORIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARLEDGE, DONNA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ARLENE WINTER                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
ARMATO, LISA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARMENDARIZ, DELIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARMENDARIZ, DELIA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ARMENDARIZ, DELIA               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ARMENI, MICHELLE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARMER, WILMA                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
ARMES, AMY                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ARMES, LAURA                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ARMISTEAD, LYNNETTE             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ARMISTEAD, LYNNETTE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARMONTROUT, MARY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARMS, SHERRY                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
ARMSTEAD, BRIDGETT              THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
ARMSTEAD, ETHEL                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARMSTEAD, ETHEL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARMSTEAD, ETHEL                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ARMSTEAD, ETHEL                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ARMSTEAD, ETHEL                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR. MARK P. KAR NEWPORT BEACH CA 92660
ARMSTEAD, LUCRETIA              NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
ARMSTEAD, ROCSHELL              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARMSTRONG, BARBARA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARMSTRONG, BETTY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARMSTRONG, CHRISTY              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ARMSTRONG, CINDY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARMSTRONG, DAWN                 THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
ARMSTRONG, DONNA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARMSTRONG, FRANCES              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARMSTRONG, JUDY                 LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
ARMSTRONG, LAURA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ARMSTRONG, LINDA                THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
ARMSTRONG, LOIS                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
ARMSTRONG, LORETTA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARMSTRONG, MARY                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ARMSTRONG, NANCY                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ARMSTRONG, NANCY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARMSTRONG, NANNIE               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ARMSTRONG, NANNIE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARMSTRONG, SHIRLEY              ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
ARMSTRONG, SUSAN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARMSTRONG, SUSAN                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ARMSTRONG, SUSAN                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ARMSTRONG, TONYA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ARNDT, MOLLIE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ARNEBERG, KATHY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARNESEN, ERNA                   MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
ARNETT, TERESA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARNETT, TERESA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARNETT, TERESA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ARNETT, TERESA                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
ARNETTE WILLIAMS                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
ARNOLD & ITKIN LLP              6009 MEMORIAL DRIVE K ARNOLD, J ITKIN, N WEXLER HOUSTON TX 77007
ARNOLD, GENIE                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ARNOLD, GLORIA                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
ARNOLD, INAZE                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
ARNOLD, JANA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARNOLD, JANELL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARNOLD, KAREN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARNOLD, KAREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARNOLD, KAREN                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ARNOLD, KAREN                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
ARNOLD, KIMBERLY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARNOLD, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARNOLD, MARGARET                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ARNOLD, MARY                    COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
ARNOLD, MARY                    DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196


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                                       LTL Management LLC
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Claim Name                       Address Information
ARNOLD, PAMELA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY ADHAM, BASIL
                                HOUSTON TX 77098
ARNOLD, PHYLLIS                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ARNOLD, RAMONA                  COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
ARNOLD, ROBIN                   THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
ARNOLD, SHARON                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ARNOLD, TERESA                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
ARNOLD, TERRI                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ARNOULT, SALLIE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ARNOULT, SALLIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARNSTEIN, LOIS                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ARNSTEIN, LOIS                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARNSTEIN, LOIS                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARNSTEIN, LOIS                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ARNSTEIN, LOIS                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
AROCHO, LUZ                     MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
AROMANDO, LAURIE                COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
ARON, MADELINE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARONEAU, KATHARYN               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ARONEAU, KATHARYN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARP, BRENDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARP, JULIANNE                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
ARP, JULIANNE                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ARP, JULIANNE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ARP, JULIANNE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                LUKEI, SHANNON KARAVATOS, NEWPORT BEACH CA 92660
ARRAO, DIANNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARREAGA, ELAINE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARREDONDO, PATRICIA             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ARREDONDO, REBECCA              BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ARREDONDO, REBECCA              BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
ARREDONDO, ROSALBA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ARREOLA, YOLAND                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007


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Claim Name                       Address Information
ARRIAGA, SYLVIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ARRIGO, GINA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ARRINGTON, ANDREA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARRINGTON, DEBBIE               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ARRINGTON, DEBBIE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARRINGTON, MISTY                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ARRINGTON, NAKIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ARRINGTON, VERNA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARRIOLA, JANET                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ARROWOOD, JOHNNA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ARROYO, ANA                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
ARROYO, ANNA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ARROYO, ANNA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARROYO, ANNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARROYO, ANNA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ARROYO, ANNA                    PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
ARROYO, MERIDA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ARROYO, PEGGY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARROYO, PEGGY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARROYO, PEGGY                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ARROYO, PEGGY                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
ARROYO, RHONDA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ARROYO, THEA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARROYO, WHILHELMINA             CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ARSENAULT, DONNA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARSENAULT, ELIZABETH            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARSENAULT, ELIZABETH            DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
ARSENAULT, ELIZABETH            LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
ARSENAULT, ELIZABETH            LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ARSENAULT, ELIZABETH            ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
ARSENAULT, ELIZABETH            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660


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Claim Name                       Address Information
ARSENEAULT, CAREN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARTAC, CHRISTINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARTEAGA, MARIA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ARTEAGA, SHIRLEY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARTERBRIDGE, BRENDA             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ARTESSA, CHRISTINE              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ARTHUR, DAWN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ARTHUR, KAREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARTHUR, LAMONICA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ARTHUR, TRACY                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ARTIAGA, JOANN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ARTIS, BETTY                    THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
ARTIS, DIANE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ARTIS, MINNIE                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
ARTIS, TAMMY                    ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
ARTON, MARGARET                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ARTZ, JANET                     LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, STEPHENSON, W. CAMERON 316
                                SOUTH BAYLEN ST., SUITE 400 PENSACOLA FL 32502
ARVELO, DONNA, M                LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                NJ 08648
ARVIE, EMILY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARVIZU, ROXANNE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ARWICK, SANDRA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
ARWICK, SANDRA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ARWICK, SANDRA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ARWINR, RANDY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ARYEE, FELICIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ARZOLA, LINDA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ASARO, MARIA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ASBELL, TEANA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ASBURY, MARY                    BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
ASBY, ANNA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ASCENCIO, ROSA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                          Address Information
ASCENCIO, ROSA                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ASCENCIO, ROSA                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ASCHENBRENNER, GLINDA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
ASCHOFF, KAREN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ASH, JUNE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ASH, ROSEANNA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ASHBORN, MELISSA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ASHBROOK, BRANDY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
ASHBROOK, JLENDA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
ASHBURN, LINDA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
ASHBURN, LINDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ASHBURN, LINDA                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ASHBURN, LINDA                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ASHBY, AUDREY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ASHBY, LEE                         THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
ASHBY, MATTIE                      NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                   11747
ASHBY, SHERYL                      WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
ASHBY, TERESA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ASHCRAFT & GEREL                   8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL, EMILY FAIRFAX VA
                                   22031
ASHCRAFT & GEREL, LLP              1825 K STREET, SUITE 700, NW PARENT, GREGORY,GREEN,LYONS PARFITT WASHINGTON DC
                                   20006
ASHCRAFT, PEGGY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ASHCRAFT, ROSEMARIE                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
ASHED, RUTH                        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ASHER, CHRISTINA                   ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
ASHER, MAXINE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ASHFORD, OCIEOLA                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                   CHARLESTON WV 25301
ASHFORD, RUBY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ASHLEY GRILLS                      ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
ASHLEY JONES                       WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                   NJ 08002
ASHLEY, CARLA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ASHLEY, DANNA                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ASHLEY, DEBRA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
ASHLEY, HARRIS                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
ASHLEY, THERESA                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                   EVAN D. ARVOLA, MEGAN T. EDWARDSVILLE IL 62025
ASHLEY-JARMON, DESHAWN             ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX


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Claim Name                       Address Information
ASHLEY-JARMON, DESHAWN          77007
ASHLINE, TAMMY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ASHLOCK, MICHELLE               THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
ASHLOCK, TERESA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ASHRATI, GHYZAL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ASHTON, JANICE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ASHTON, MARIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ASHWORTH, CAROL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ASHWORTH, GLORIA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ASHWORTH, LINDA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ASIF, AMBER                     NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
ASKEW, BILLIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ASKEW, DANIELLE                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ASKEW, NANCY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ASKEW, NANCY                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
ASKEW, NANCY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ASKEW, NANCY                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ASKEW, NANCY                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ASKINS, PAMELA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ASKINS, PAMELA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
ASKINS, PAMELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ASKINS, PAMELA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ASKINS, PAMELA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ASLESON, WANDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ASP, BRENDA                     JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
ASPIRAS, MARGARET               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ASSAF, JANICE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ASSENTI, DENISE                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
ASSENTI, DENISE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ASSUNTA BALLETTI                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC PUTNICK, MARY ELIZABETH 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
ASTLE, KAREN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ASTON, CAROLYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ASTUDILLO, JOAN                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ATCHINSON, DORIS                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                           Address Information
ATCHINSON, DORIS                    75231
ATCHISON, KATHLEEN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ATEN, DEBRA                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                    77098
ATHERTON, DARLENE                   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                    KNOXVILLE TN 37929
ATHERTON, JANET                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ATHERTON, PHYLLIS                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ATHERTON, YVONNE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ATIRAM, LESLEE                      GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                    PA 19102
ATIVIE, DIANE                       HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                    AL 03520
ATKINS, CANDY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ATKINS, DOROTHY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ATKINS, EDWINA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ATKINS, RENA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ATKINS, STARLIC                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ATKINS, YVETTE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ATKINSON, ALYSSA                    MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                    KNOXVILLE TN 37929
ATKINSON, ANITA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ATKINSON, ANNETTE                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ATKINSON, BETTY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
ATKINSON, MARGORIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ATKINSON, MINNIE                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                    77098
ATKINSON, MONNIE                    LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                    NICHOLAS HIGHTOWER, KRISTIE LAKE CHARLES LA 07060
ATKINSON, PAULA                     THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                    ORLEANS LA 70130
ATLEY, MELANIE                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                    77098
ATMAJIAN, ANGELA; OWEN, ALICIA      MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                    KNOXVILLE TN 37929
ATTAWAY, WILDA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
ATTEBERRY, ROBIN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
ATTENDORN, KAREN                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                    EMILY FAIRFAX VA 22031
ATTERBERRY, KEELER                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                    STREET, SUITE PENSACOLA FL 32502
ATTERHOLT, CYNTHIA                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                    EDWARDSVILLE IL 62025
ATTIG, JUDITH                       THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                    AZ 08501
ATWOOD, IRENE                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
ATWOOD, JAYNE                       DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ATWOOD, JOAN                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                       Address Information
ATWOOD, JOAN                    75231
ATWOOD, NORMA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
AUBERT, VERONICA                MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
AUCOIN, KIM                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
AUDDINO, ELIZABETH              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AUDETTE, FAITH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AUFDENCAMP, DONIELLE            JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
AUFMAN, CAROL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
AUGEN, MARJORIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AUGSBURGER, DONA                THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
AUGUST, CAROL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
AUGUST, CAROL                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
AUGUST, CAROL                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
AUGUST, INGRID                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
AUGUSTE, GUIRTELLE              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
AUGUSTUS, ALYSHA                WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
AUGUSTUS, DENICE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AULD, ANITA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
AULD, CARLA                     COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
AULISI, JOSEPH J.               WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
AULT, CHARLENE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
AULTMAN, DOROTHY                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
AULTMAN, DOROTHY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
AULTMAN, KATHERINE              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
AULTMAN, KATHERINE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
AUMSBAUGH, BRENDA               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
AUMUA, VAOITA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AURICK, CYNTHIA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
AUSBORNE, LUCY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
AUSBY, ASHLEY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
AUSTEN-SCHLIER, LOIS            HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
AUSTIN, ALESIA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
AUSTIN, ANA                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
AUSTIN, BEVERLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
AUSTIN, CAROLYN                 NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
AUSTIN, DENISE                  THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
AUSTIN, DORIS                   BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
AUSTIN, EVELYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AUSTIN, JANICE                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
AUSTIN, JANIS                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
AUSTIN, JEWELL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AUSTIN, KATHY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
AUSTIN, MINNIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
AUSTIN, NANCY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
AUSTIN, PATRICIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
AUSTIN, SHERONDA                MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
AUSTIN, STEPHANIE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
AUSTIN, TRACIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AUSTIN, WILMA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
AUSTIN-WYATT, MAUDE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AUSTINSON, BARBARA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AUTEN, KAREN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
AUTEN, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AUTHEMENT, APRIL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AUTRY, EVELYN                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
AVALOS, EMMA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
AVANT, VERNICE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
AVANT, VERNICE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
AVANTS-BALDUCCI, MARIAN         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
AVARY, MARY                     THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
AVDEYEVA, YELENA                DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
AVEAI, FILIFILI                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AVED, VALENTINA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
AVELLINO, NANCY                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
AVENETTI, EVANGELINA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AVENT, APRIL                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
AVERHEART, CAROLYN              NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY



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Claim Name                          Address Information
AVERHEART, CAROLYN                 11747
AVERSA, CHRISTINE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AVERY, ELIZABETH                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
AVERY, JODY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AVERY, LAURA                       GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
AVERY, LINDA                       GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
AVERY, LINDA                       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
AVERY, MILDRED                     MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
AVERY, PHAWNTA                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
AVERY, SELENA                      DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102
AVERY, SUSAN                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
AVETISYAN, MAGDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AVEY, KATHLEEN                     ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                   ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
AVEYARD, GEORGIANNA                ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                   FELLER, JOEL J. PHILADELPHIA PA 19103
AVILA, DIANA                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
AVILA, GLORIA                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
AVILA, VICTORIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AVITIA, MYRNA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AWAD, MANERVA AND AWAD, FAYEZ      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                   NJ 08648
AWBREY, DELIA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
AXELOD, PENNY                      MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
AXTELL, WAUNITA                    FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SCHULTZ, DEBRA LUFF, DALLAS TX 75231
AXTEN, MARITA                      GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
AYALA, JUANITA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
AYALA, JUANITA                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
AYALA, JUANITA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AYALA, JUANITA                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
AYALA, JUANITA                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
AYALA, KAREN                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AYALA, LANI                        DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                   ANTHONY ST. LOUIS MO 63102
AYALA, LANI                        LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
AYALA, LANI                        ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                   & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
AYALA, LANI                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
AYALA, LITHIA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AYALA, VANNESA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX


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Claim Name                                Address Information
AYALA, VANNESA                           77098
AYCOCK, DOROTHY                          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                         ROBERT BRENT LOS ANGELES CA 90024
AYER, BETTY                              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
AYER, BETTY                              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
AYERS, BRENDA                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
AYERS, GAYLE                             WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                         BOUNDAS, JOHN T. HOUSTON TX 77017
AYERS, IRIS                              MILLER DELLAFERA PLC 3420 PUMP RD., PMD 404 HENRICO VA 23233
AYERS, KATHRYN                           GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
AYERS, KATHRYN                           DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                         KANSAS CITY MO 64196
AYERS, MOIRA                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
AYERS, SANDRA                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
AYERS, SONYA                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
AYLSTOCK, WITKIN, KREIS & OVERHOLTZ      PLLC; P.O. BOX 12630 (32591) 17 EAST MAIN STREET, SUITE 200 PENSACOLA FL 32502
AYLSTOCK, WITKIN, KREIS & OVERHOLTZ      PLLC; THORNBURGH, DANIEL J 17 EAST MAIN STREET, SUITE 200 PENSACOLA FL 32502
AYO, EVELYN                              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
AYON, YVONNE                             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                         77098
AYOUB, NADIA                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AYRES, DIANE                             JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                         PAUL MN 55101
AYRES, ROBIN                             FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
AYTES, STACY                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
AZDAR, GAIL                              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                         14202-3725
AZEVEDO, SHARON                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
AZEVEDO, SHARON                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
AZIMI, AZAR                              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
AZIMI, AZAR                              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
AZIZ, EDNA                               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
AZIZ, EDNA                               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
AZIZ, SHNO                               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
AZNAR, DEBORAH                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
AZOVSKAYA, YEVDOKIYA                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                         STREET, SUITE 200 PENSACOLA FL 32502
AZPIRI, GINA                             GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103



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Claim Name                          Address Information
B, E                               THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                   CHARLESTON WV 25301
BAACK, LETHA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BAARS, PEARL                       GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BAASCH, TANYA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BABA, LUCILLE                      THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
BABAR, VIVIAN                      DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102
BABAUTA, SHELLEY                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                   11747
BABB, DEBRA                        DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                   KANSAS CITY MO 64196
BABB, GEORGANNA                    WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                   NJ 08002
BABB, KELLY                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
BABB, MARJORIE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BABB, MARJORIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BABB, MARJORIE                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BABB, MARJORIE                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BABB, MARJORIE                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
BABB, SUSAN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BABBS, COLETTE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BABCOCK, MONA                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
BABCOCK, MONA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BABE, JAN                          JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
BABER, CASSANDRA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BABER, ROSETTE                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
BABERS, ALMA                       LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
BABIN, KARLA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BABUCA, IVETTE                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BACA, CRYSTAL                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BACA, MARGARET                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
BACA, MARY                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BACCA, DEE                         SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                   01153
BACCARI, LILIANA                   COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
BACHELDER, MONIQUE                 NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                   BERMAN, W. STEVE GREAT RIVER NY 11739
BACHIE, DELORES                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BACHMAN, SUSAN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BACK, CHERI                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BACKER, BETSY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                          Address Information
BACKER, KARA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BACKES, KELLEY                     TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                   62025
BACKLUND, JEAN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BACKOFF, NETTIE                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BACKUS, BARBARA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BACLIG, EMILIANA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BACON, DOROTHY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BACON, HERLASCHIA                  WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                   NJ 08002
BACON, SANDRA                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BACON, SANDRA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BACON, TRINA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BACON-BARNETTE, KAREN              GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
BADEN, MARY                        LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                   94111
BADER, LINDA                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BADER-REINDL, F                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BADGER, ADA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BADGER, LOU                        DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BADGETT, KATIE                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BADGLEY, LINDA                     SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                   07102-4573
BAEHMAN, CYNTHIA                   NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                   BERMAN, W. STEVE GREAT RIVER NY 11739
BAEZ, IDA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BAGASBAS, MARILYN                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BAGBY, JANICE                      NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                   11747
BAGGETT, ROSETTA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BAGGETT, SHERRILL                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
BAGGOTT, DENISE                    MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                   DAVID M. MINNEAPOLIS MN 55404
BAGINSKI, DEE                      WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
BAGLEY, DORIS                      BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                   70130
BAGLEY, DORIS                      BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                   75202
BAGLEY, JOANNE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAGLEY, LINDA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BAGSBY, JUAWANA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAGWELL, DORA                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX



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Claim Name                       Address Information
BAGWELL, DORA                   77007
BAHAM, GWENDOLYN                THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
BAHMLER, JANICE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAHRE, AMY                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BAHRE, AMY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BAHREY, MARLENE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAIER, DEBRA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BAILER, ELIZABETH               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAILEY, ADDIE                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BAILEY, ALMETER                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
BAILEY, ANGEL                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BAILEY, ANGELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAILEY, ANGELA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BAILEY, BEATRICE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAILEY, BECKY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BAILEY, BERNADETTE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BAILEY, BRENDA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BAILEY, BRENDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAILEY, CARLENE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BAILEY, CHRISSA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BAILEY, CHRISTINE               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BAILEY, DEBRA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BAILEY, DENICE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BAILEY, DENICE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAILEY, DENICE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BAILEY, DENICE                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
BAILEY, DIANA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BAILEY, ELFRIEDA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BAILEY, GEVINCIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAILEY, HILDA                   REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                BINSTOCK, ROBERT J. HOUSTON TX 77027
BAILEY, JENNIFER                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAILEY, JOELLA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BAILEY, JOYCE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BAILEY, JOYCE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
BAILEY, JULIA                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
BAILEY, KAREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAILEY, KELLI                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BAILEY, LATOYA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAILEY, LAURA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BAILEY, LESLIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAILEY, LETICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BAILEY, LINDA                   WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
BAILEY, LINDA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BAILEY, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BAILEY, LUCY                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BAILEY, LUKESHIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BAILEY, LYNN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAILEY, MARIE                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BAILEY, MARTHA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BAILEY, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAILEY, MICAH                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
BAILEY, MICHELLE                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BAILEY, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAILEY, PATRICIA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BAILEY, REGINA                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
BAILEY, RELDA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BAILEY, RHONDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BAILEY, SALLY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BAILEY, SALLY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BAILEY, SELENA                  WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
BAILEY, SHERRY                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
BAILEY, SHIRLEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAILEY, TAMMY                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BAILEY, WANDA                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BAILEY, ZORA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BAILEY-PARKER, SARAH            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BAILEY-PARKER, SARAH            GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402



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Claim Name                          Address Information
BAILEY-PARKER, SARAH               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAILEY-PARKER, SARAH               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BAILEY-PARKER, SARAH               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BAILEY-WYCHE, SYLVIA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
BAILIFF, COLLEEN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE ST LAMPKIN
                                   II,JAMES W MONTGOMERY AL 36104
BAILLARGERON, CORNELIUS            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BAILOR, JEANNE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAIN, DEBRA                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
BAIN, YOLANDA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BAINES, A                          POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
BAINES, ROSALIND                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BAIR, FRANCES                      CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
BAIRD, ELLEN                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BAIRD, ELLEN                       PORTER & MALOUF, PA P.O. BOX 12768 HARRIS, LAUREL LI JACKSON MS 39236-2768
BAIRD, NETTIE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAIZE, SHEILA                      BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                   ROBERT BRENT LOS ANGELES CA 90024
BAJACK, DEBRA                      WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
BAJWA, SHAZIA                      ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
BAK, DIANA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BAKER, ALMA                        WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                   DALLAS TX 75219
BAKER, BEATRICE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BAKER, BETHANY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAKER, BETTY                       THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
BAKER, CARMEN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAKER, CAROL                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
BAKER, CAROL                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BAKER, CAROL                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAKER, CAROLYN                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BAKER, CATHERINE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAKER, CLARA                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
BAKER, CLARA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BAKER, COLLEEN                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231



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Claim Name                       Address Information
BAKER, COREENA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAKER, CRYSTAL                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BAKER, DARLENE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BAKER, DARLENE WILKERSON        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BAKER, DEANA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAKER, DEBORAH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BAKER, DEBORAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAKER, DEBORAH                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BAKER, DEBORAH                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
BAKER, DEBRA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BAKER, DONNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAKER, ELSIE                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BAKER, ESSIE                    JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
BAKER, GLENDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BAKER, GLORIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BAKER, GRACE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAKER, HATTIE                   FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE FRAZE NASHVILLE TN 37215
BAKER, HELEN                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BAKER, HELEN                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BAKER, ILENE                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
BAKER, JANET                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BAKER, JANICE                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
BAKER, JEANNIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAKER, JOYCE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAKER, KELLY                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BAKER, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAKER, LUANN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BAKER, LYNDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAKER, MABLE                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BAKER, MABLE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAKER, MARGARET                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BAKER, MARION                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAKER, MARY                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BAKER, MARY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                       Address Information
BAKER, MEGHAN                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BAKER, MELISSA                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
BAKER, MELISSA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BAKER, MISTY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BAKER, NANETTE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAKER, NELDA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BAKER, PAMELA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
BAKER, PEGGY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAKER, ROSEMARIE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BAKER, SHERRIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BAKER, SHINIKA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BAKER, STEPHANIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAKER, SUSAN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BAKER, TAMMY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAKER, THERESA                  MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
BAKER, VIKKI                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BAKER, VIKKI                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BAKER-DUHO, RAMONA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAKER-FOSTER, JEANITTA          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BAKER-KARR, REBECCA             DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BAKER-LADD, SHELLY              HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
BAKKE, CATHY                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BAKKEN, JANIECE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BAKKEN, MARY                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BAKKEN, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BAKKER, MARGARET                BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
BAKMAN, DEBBIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BAKMAN, DEBBIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAKMAN, DEBBIE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BAKMAN, DEBBIE                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
BAKMAN, DEBBIE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
BAKSA, DOROTHY                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BAKSH, KAREEMA                  MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
BAKSH, NAZIMA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                          Address Information
BAKUS, REBECCA                     ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                   ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
BAKUS, REBECCA                     MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                   KNOXVILLE TN 37929
BAL, RAYNA                         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BAL, RAYNA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BALA, SUSAN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BALASOW, EMMA                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
BALCH, PATRICIA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
BALDERRAMA, DIANA                  SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                   07102-4573
BALDON, ELMIRA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BALDRIDGE, ANDREA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BALDRIDGE, PAULINE                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BALDRIDGE, PAULINE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BALDUCCI, MARIAN AVANTS            ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
BALDUF, MELANIE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BALDWIN, ALEXANDRIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BALDWIN, ANGELA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BALDWIN, CHRISTINA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BALDWIN, GWENDOLYN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BALDWIN, JEANNE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BALDWIN, SHERRY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BALDYGA, DOLORES                   LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
BALE, PAMELA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BALENTINA, RHONDA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
BALENTINE, VICKEY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BALES, SANDRA                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BALFOUR, SANDRA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
BALGAME, JOLYNE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BALKE, SHASHONNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BALKUM, IRENE                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
BALL, BELINDA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BALL, GEORGETTA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BALL, IVY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BALL, JESSICA                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
BALL, LINDA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
BALL, LINDA                     MEADOWS, TED G. MONTGOMERY AL 36104
BALL, LINDA                     JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
BALL, LOUISE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BALL, LUGUSTA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BALL, PAMELA                    LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
BALL, SANDRA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BALL, TERESA                    THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
BALL, YUVONNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BALLANTYNE, DIANE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BALLARD, ANNA                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
BALLARD, DIANA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BALLARD, EUNICE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BALLARD, KIMBERLY               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
BALLEW, FRANCES                 THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
BALLEW, NICOLE                  FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE FRAZE NASHVILLE TN 37215
BALLEZ, CONNIE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BALLIU, KLEVA                   WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
BALLON, MARY                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BALLOU, CHRISTINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BALLREE, BENITA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BALMER, BEATRICE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BALMER, TERESA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BALMFORTH, KATHLEEN             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BALOGH, MILDRED                 WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
BALOUGH, NANCYANN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BALSAM, ELIZABETH               BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
BALSAMO, VICTORIA               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BALSBAUGH, MARCIA               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BALSINGER, CATHERINE            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BALSON, JUDITH                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BALTHAZAR, ANNIE                TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
BALTHAZAR, NORA                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
BALTON, RHONDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231



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Claim Name                        Address Information
BALVIN, JANA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BANACH, CATHERINE                LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                 SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
BANAHAN, JULIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BANANA, EDDIE                    THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                 AZ 08501
BANDA, ROSE                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
BANDILLI, MARIKA                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                 ROBERT BRENT LOS ANGELES CA 90024
BANDIN, DANA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BANEY, DONNA                     BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
BANEY, JEANNA                    LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
BANGHART-GIORDANO, MICHELLE      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BANKS, CAROLYN                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                 70130
BANKS, CAROLYN                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                 75202
BANKS, CHERYL                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                 77098
BANKS, DOMINIQUE                 WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                 NJ 08002
BANKS, JANET                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
BANKS, JOAN                      HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                 AL 03520
BANKS, JOYCE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BANKS, LINDA                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                 EMILY FAIRFAX VA 22031
BANKS, LINDA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
BANKS, LISA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BANKS, LOREDA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                 77007
BANKS, LYNN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BANKS, MAGGIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
BANKS, MARY                      LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET HIGHTOWER, KRISTIE LAKE
                                 CHARLES LA 07060
BANKS, MONICA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
BANKS, NETTIE                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BANKS, ROBIN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
BANKS, ROSE                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
BANKS, VANESSA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BANKS, YVONNE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
BANKS-HARDING, EVA               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                 KNOXVILLE TN 37929
BANKS-HARRIS, BEULAH             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX



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Claim Name                       Address Information
BANKS-HARRIS, BEULAH            77098
BANKS-HARRIS, BEULAH            LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
BANKS-WRIGHT, MARGIE            THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BANKSTON, LISA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BANNA, CYNTHIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BANNAR, DOROTHY                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
BANNERMAN, ANNIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BANNISTER, ANDREA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BANOVIC, GLORIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BANOVIC, GLORIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BANOVIC, GLORIA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BANOVIC, GLORIA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BANSEY, JASMINE                 SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
BANTA, NANCY                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
BANUELOS, DONNA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BANYAI, ILONA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAPPLE, MARIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAPTIST, GEORGIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BAPTIST, JACQUELINE             CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BAPTISTE, MARGARET              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BAPTISTE, TRACY                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
BAPTISTE, TRACY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAQUERO, MARTHA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARAJAS, SARA                   SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
BARAN, IRENA                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BARAN, JUDITH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARAN, NORA                     GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
BARAN, NORA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARAN, NORA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARAN, NORA                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BARAN, NORA                     PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
BARAN, VICKI                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BARANCZYK, ROBERTA              MILLER DELLAFERA PLC 3420 PUMP RD., PMD 404 HENRICO VA 23233
BARANICH, TERRI                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARANOWSKI, DEBORAH             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296


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Claim Name                       Address Information
BARATH, PATRICIA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BARATZ, RITA                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BARBAER, MARGARET               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BARBAN, ROSALINA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BARBARA BREN                    JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
BARBARA FERREN                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
BARBARA GOAD                    FLETCHER V. TRAMMELL TRAMMELL, FLETCHER V 3262 WESTEIMER, SUITE 423 HOUSTON TX
                                77098
BARBARA HALL                    JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
BARBARA WELK                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
BARBAROTTA-KOZAK, JANET         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARBELLA, DAWN                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
BARBER, ANNE                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BARBER, CONNIE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BARBER, ETHEL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARBER, GLADYS                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARBER, SONIA                   MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
BARBER-BOTZKO, GLORIA           CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BARBIC, SAMANTHA                HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
BARBIN, JOYCE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARBORKA, BERNITA               BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
BARBOSA, TINA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARBOUR, JESSIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARCELLONA, KATHRYN             GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BARCENA, DEBRA                  SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
BARCLAY, VIRGINIA               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BARCLIFF, MARY                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
BARDSLEY, CAMILLE               POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
BARDWELL, DAWN                  COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
BAREFIELD, LENORA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BAREFOOT, KAREN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARELA, SANDRA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036



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                                       LTL Management LLC
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Claim Name                       Address Information
BARENTINE, LINDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARETELA, JEAN                  NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
BARGAS, GLORIA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BARGE, DEBORAH                  SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
BARGE, DEBORAH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARGE, DEBORAH                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BARGE, DEBORAH                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BARGE, KATHLEEN                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BARGE-CHAMBERS, MARY            MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
BARGO, BARBARA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BARIATTI, HARRIET               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BARIL, DEBORAH                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BARILE, JANE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARKER, ANDREA                  KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
BARKER, CHAKARA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BARKER, DEBORA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARKER, IVA                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BARKER, IVA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARKER, JEANETTE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARKER, JESSICA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARKER, KANDICE                 TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
BARKER, PATRICIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARKER, REGINA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARKER, SHIRLEY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARKHAMER, JOSEPHINE            GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BARKLEY, CHARLOTTE              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BARKSDALE, JACQUEOLYN           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARKYOUMB, SANDRA               DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
BARLEY, LESLIE                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BARLOW, JULIA                   THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
BARLOW, PATRICIA                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
BARLOW, PATRICIA                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
BARLOW, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARLOW, PATRICIA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157


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Claim Name                       Address Information
BARLOW, PATRICIA                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BARLOW, SHELIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARLOW, ZOE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARMES, BERTHA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
BARNARD, SHIRLEY                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BARNEBURG, KATHLEEN             POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
BARNER, DENISE                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
BARNER, JESSICA                 KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
BARNER, PEGGY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARNES LAW GROUP, LLC           31 ATLANTA STREET ROSICHAN, BARNES, BEVIS MARIETTA GA 30060
BARNES, ALICE                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
BARNES, ANGELA                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BARNES, BILLIE                  GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
BARNES, BILLIE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
BARNES, CHERYL                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BARNES, CONNIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BARNES, CYNTHIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARNES, DANA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARNES, DENISE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARNES, ELIZABETH               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARNES, JACQUELINE              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BARNES, JOANNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARNES, KATHY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BARNES, LAUREN                  POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
BARNES, LIDDIE                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BARNES, LIDDIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARNES, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARNES, LISA                    THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
BARNES, LORETTA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARNES, LUCIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARNES, MARTHA                  CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
BARNES, MARTHA                  BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
BARNES, MARY                    LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                NICHOLAS LAKE CHARLES LA 07060
BARNES, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
BARNES, MARY                    MEADOWS, TED G. MONTGOMERY AL 36104
BARNES, MARY                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
BARNES, MARY                    MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                DAVID M. MINNEAPOLIS MN 55404
BARNES, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARNES, MARY                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BARNES, MARY                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BARNES, MICHELLE                MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
BARNES, NAIKETA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BARNES, OK                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARNES, SHEILA                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
BARNES, SHENNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARNES, SHURHONDA               ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
BARNES, SUSIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARNES-PIERCE, JOYCE            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BARNETT, ARIANA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARNETT, CATHERINE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARNETT, DAWN                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BARNETT, DELORIS                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BARNETT, DONNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARNETT, GLENDA                 THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
BARNETT, JADIE                  JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
BARNETT, KATHRYN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARNETT, KIM                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARNETT, LAURA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARNETT, NANCY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARNETT, NANCY                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
BARNETT, NANCY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARNETT, NANCY                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BARNETT, NANCY                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BARNETT, PEARL                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BARNETT, PHYLLIS                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BARNETT, RUBY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BARNETT, RUBY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
BARNETT, RUBY                   MEADOWS, TED G. MONTGOMERY AL 36104
BARNETT, SHERI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARNETT, STEPHANIE              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BARNETT, TAMMY                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BARNETT, TAMMY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARNETTE, OLA JONES             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BARNETTE, VICTORIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARNFIELD, NICOLE               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BARNHART, JONI                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARNHART, JONI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARNHART, JONI                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BARNHART, JONI                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
BARNHART, JONI                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
BARNHART, KAREN                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BARNHART, MARYANN               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BARNHART, SHARAN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARNHOLT, DIANE                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
BARNS, TAMMIE                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BARNSTORF, ROBERTA              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BARNUM, DEBORAH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARNUM, IRENE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARNUM, REBECCA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BARO, COURTNEY                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BAROCAS, JANICE                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
BAROCAS, JANICE                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BAROCAS, JANICE                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
BAROCAS, JANICE                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BAROCAS, JANICE                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
BARON & BUDD, P.C.              3102 OAK LAWN AVE, STE 1100; DANIEL SINDHU; RUSSELL BUDD; JONAS MANN DALLAS TX
                                75219
BARON, JUDITH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARON, MARY                     JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
BARON, MICHELE                  FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY DALLAS TX 75231
BARONE, FLORENCE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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Claim Name                                Address Information
BARONE, FLORENCE                         75231
BAROTTA, GLORIA                          GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BARR, CHRISTINE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARR, DOLLY                              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
BARR, GAIL                               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BARR, GAIL                               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
BARR, LINDA                              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARR, MARY                               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
BARR, PAULA                              LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
BARR, VICKIE                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARR, VICKY                              LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                         SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
BARRAGAN, ELIZABETH                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
BARRAN-JAMES, SANDRA                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                         LOUIS MO 63119
BARRANGER, ELIZABETH                     NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                         11747
BARRAS, MARGARET                         ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
BARRAZA, GLORIA                          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                         SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
BARRELL, KATHLEEN                        ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BARRELL, MARCY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARRERA, KARLA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
BARRERA, MIRELLA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
BARRERAS, PATRICIA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
BARRESI, CHERYL                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                         77098
BARRETT LAW GROUP                        404 COURT SQUARE NORTH LEXINGTON MS 39095
BARRETT, BETTY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
BARRETT, CINDY                           THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                         FERRARO, JR, JAMES L MIAMI FL 33131
BARRETT, CLOTTE                          BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. BUDD,
                                         RUSSELL W DALLAS TX 75219
BARRETT, JONI L AND BARRETT, BUFORD      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
BARRETT, JOYCE                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
BARRETT, KARIN                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARRETT, LINDA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
BARRETT, MICHELL                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARRETT, ROBIN                           ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
BARRETT, SHARON                          DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG



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Claim Name                       Address Information
BARRETT, SHARON                 ANTHONY ST. LOUIS MO 63102
BARRETT, SHARON                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BARRETT, SHARON                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BARRETT, SUSAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARRETT, SUSAN                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
BARRETT, TAWANA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARRETT, VIOLET                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARRETT, VIOLET                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BARRETT, VIOLET                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
BARRETTE, DIANE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARRETTE, DIANE                 SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
BARRIGA, ELIZABETH              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BARRINGER, CARMEN               THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
BARRINGER, DENISE               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
BARRINGER, DENISE               JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
BARRIOS, CLARA                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
BARRISH, KATHLEEN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARRON, DEIRDRE                 THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
BARRON, EVANGELINA              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BARRON, GLORIA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
BARRON, IRMGARD                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARROW, JILLSYN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BARROWS, DEBORAH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARROWS, LATOSHA                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
BARRS, RUBY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARRY, CAROL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARRY, CAROL                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BARRY, CAROL                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BARRY, DENISE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARRY, ELLEN                    TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
BARRY, GERALDINE                POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
BARRY, LISA                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
BARRY, MARY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BARSALOUX, MARY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                       Address Information
BARSH, ELEANOR                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
BARSHAY, LEENA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BART, CYNTHIA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BART, SANDRA                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
BARTASI, MARY                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BARTCHER, EUNICE                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BARTEL, MEDA                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
BARTEL, MEDA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BARTEL, MEDA                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BARTEL, MEDA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BARTELL, DEBORAH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARTELL, JANE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARTELS, JERI                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BARTER, KAREN                   WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
BARTH, ANNETTE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BARTH, JULIA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BARTH, MARY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BARTH, SUZANNE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BARTHELME, GWEN                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BARTHELOTTI, LIGIA              WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
BARTHOLOMEW, CHRISTINE          JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
BARTLETT, BARBARA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARTLETT, DENETT                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BARTLETT, DIANA                 MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
BARTLETT, LYNDA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BARTLETT, PATRICIA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BARTLEY, BRENDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BARTLEY, SHERYL                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BARTNICK, DEBRA                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. ARVOLA, MEGAN T. EDWARDSVILLE IL 62025
BARTOCCI, ANNA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BARTOLI, RONNA DE               THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301


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Claim Name                               Address Information
BARTON, ALANA                           LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BARTON, ALANA                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE,
                                        ROBINSON, JR. MARK P. LU NEWPORT BEACH CA 92660
BARTON, AMY                             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                        77098
BARTON, CINDY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
BARTON, DIANA LEE EST OF JAMES LEE      BARTON, WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE
                                        210 CHERRY HILL NJ 08002
BARTON, DIANE                           ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
BARTON, ELLA                            DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
BARTON, IRENE                           WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                        BOUNDAS, JOHN T. HOUSTON TX 77017
BARTON, MARY LOUISE                     WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
BARTON, SHIRLEY                         NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                        11747
BARTON, SUSAN                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
BARTON, WANDA                           BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                        70130
BARTON, WANDA                           BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                        75202
BARTOSIAK, AUDREY                       POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
BARTOSZEK, JOAN                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
BARTOW, RAMONA                          MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                        DAVID M. MINNEAPOLIS MN 55404
BARTOWICK, KRISTINA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                        77098
BARTUCCI, DOROTHY                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                        ORANGE VA 02296
BARTUS, BARBARA                         CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                        14202-3725
BARTZ, KELLI                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                        STREET, SUITE PENSACOLA FL 32502
BARWICK, ALESIA                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                        STREET, SUITE PENSACOLA FL 32502
BARYCKI, JUDITH                         GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                        PA 19102
BARYLAK, MARIA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BASBAGILL, KATIE                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                        ORANGE VA 22960
BASBAGILL, KATIE                        HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                        46290
BASDEN, CONNIE                          FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BASGALL, CINDY                          TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
BASH, DEBORAH                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BASHAM, BOBBIE                          ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                        LOUIS MO 63119
BASHORE, DOROTHY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                             Address Information
BASICH, ADELAIDA                       GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                       EDWARDSVILLE IL 62025
BASILE, DIANE                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
BASINGER, DEBRA                        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
BASINGER, ELSA                         ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
BASKERVILLE, VALERIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BASKERVILLE, YVETTE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
BASKETT, URSULA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
BASNAW, SHIRLEY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BASNIGHT, GEORGE & BASNIGHT, CAMILLA   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                       HILL NJ 08002
BASPED, JESSIE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BASS, ANGELA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BASS, CHRISTINE                        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BASS, CORTNEY                          DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BASS, DENISE                           ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BASS, PAMELA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
BASS, PAULA                            ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                       ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
BASS, TAMBERLYN                        MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
BASS, WANDA                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
BASSAK, MABEL                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BASSETT, ANTOINETTE                    WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                       NJ 08002
BASSETT, CINDY                         THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                       ORLEANS LA 70130
BASSEY, ANNETTE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BASSEY, ANNETTE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BASSEY, ANNETTE                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BASSEY, ANNETTE                        PORTER & MALOUF, PA P.O. BOX 12768 HARRIS, LAUREL LI GIVENS, JOHN T. JACKSON
                                       MS 39236-2768
BASSFIELD, CATHERINE                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                       YORK NY 10017
BASSLER, TAMELA                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
BASSLER, TAMELA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BASTAIN, CELESTINE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
BASTEDENBECK, MARILYN                  MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                       KNOXVILLE TN 37929
BASTEGUIAN, MARY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BASTIS-CHIRAS, BERNICE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BASWELL, DARLA                         GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103



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Claim Name                       Address Information
BATALITZKY, KIM                 THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
BATCHELOR, BRENDA               REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                BINSTOCK, ROBERT J. HOUSTON TX 77027
BATCHELOR, CRISTY               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BATCHELOR, CRISTY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BATCHELOR, EUGENIA              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BATCHELOR, EUGENIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BATCHELOR, ROSEMARIE            THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BATEMAN, BEVERLY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BATES, BEVERLY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BATES, BRENDA                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
BATES, CARLEY                   NAPOLI SHKOLNIK PLLC 400 BROADHOLLOW RD, STE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BATES, DELORES                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
BATES, DIANE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BATES, DUANN                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BATES, EDNA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BATES, JACQUELYN                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BATES, MARGARET                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BATES, PAMELA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BATES, PAULINE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BATES, SANDRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BATES, SEALETA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BATES, TESHINA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BATES-RAY, CHERYL               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BATEY, PAMELA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BATHKE, BEVERLY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BATIS, EARLENE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BATISTA, DOREEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BATISTA, MONICA                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
BATISTE, BERNADETTE             ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BATISTE, BERNADETTE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BATISTE, DEIADRIA               BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
BATISTE, DEIADRIA               BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, MARK DALLAS TX 75202
BATISTE, ELMIRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
BATMAN, LINDA                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
BATRES, HIMARA                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
BATTAGLIA, LOIS                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BATTAGLIA, LOIS                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BATTAGLIA, LOIS                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BATTEN, GAIL                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BATTEN, GAIL                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BATTLE, CAROLYN                 NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
BATTLE, MARTA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BATTLE, NORMA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BATTLE, PRISCILLA               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BATTLE, SHEILA                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
BATTLE-MINCEY, YVETTE           DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
BATTS, LISA                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BATTS, LISA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BATTS, TAMMIE                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BAUBY, DELIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAUCHNER, DONNA                 MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
BAUCOM, ANNA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BAUDER, CAROLYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BAUER, BARBARA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BAUER, JANET                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BAUER, JUDY                     LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
BAUER, KATHY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BAUER-LOSTAUNAU, NORMA          THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
BAUERLA, CAROLE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BAUGH, CAREY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BAUGH, KENDALL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAUGHARD, PATRICIA              THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
BAUGHMAN, JOYCE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAUGHMAN, JULIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAUGHMAN, SUE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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                                                LTL Management LLC
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Claim Name                                Address Information
BAUHNECHT, MARY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
BAUHS, TANJA                             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
BAUHS, TANJA                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
BAULT, MITZI                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAUM, HEDLUND, ARISTEI & GOLDMAN,PC      10940 WILSHIRE BLVD, SUITE 1600 WISNER, ROBERT BRENT LOS ANGELES CA 90024
BAUM, MARY                               PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
BAUMAN, NATALIE                          COHEN, PLACITELLA & ROTH GEIER, DENNIS M. 127 MAPLE AVE. RED BANK NJ 07701
BAUMANN, DARLENE                         DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                         ANTHONY ST. LOUIS MO 63102
BAUMANN, DARLENE                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
BAUMANN, DARLENE                         LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BAUMANN, DARLENE                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BAUMGARDNER, ALBERTA                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                         BOUNDAS, JOHN T. HOUSTON TX 77017
BAUSCH, TONIA                            FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY DALLAS TX 75231
BAUSWELL, KARON                          FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BAUTISTA, ANA                            GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                         PA 19102
BAUTISTA, ARLENE                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
BAUTISTA, ARLENE                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
BAUTISTA, KRISTINA                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
BAUTISTA, MELY                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
BAXENDALE, EVANLINDA                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
BAXLEY, MARY                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
BAXTER, ELIZABETH                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
BAXTER, ELIZABETH                        GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                         MINNEAPOLIS MN 55402
BAXTER, ELIZABETH                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAXTER, ELIZABETH                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BAXTER, ELIZABETH                        PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BAXTER, KATHY                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                         STREET, SUITE 200 PENSACOLA FL 32502
BAXTER, LAURA                            WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
BAXTER, MELBA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAXTER, SHARON                           LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BAXTER, SUZANNE                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
BAXTON, NIAROBIA                         DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BAY, DEBORAH                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                             Address Information
BAYBO, MARY                            HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                       63101
BAYER, WILMA                           THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
BAYHI, JULIE                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BAYKAL, SHERRYLLYNNE                   LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                       NJ 08648
BAYLOR, HELMA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAYNE, HERMOINE                        MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                       KNOXVILLE TN 37929
BAYS, JOYCE                            HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                       63101
BAZAN, MELISSA                         ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119
BAZEMORE, GLADYS                       GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                       PA 19102
BAZEMORE, LYNDA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
BAZICK, CATHERINE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BAZILE, SHIRLEY                        ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
BEACH, CLAIRE                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
BEACH, JANET                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
BEACH, KATHY                           ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
BEACH, KATHY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BEACH, KERRY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BEACH, LESIA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEACH, SANDRA                          BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                       70130
BEACH, SANDRA                          BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                       75202
BEACH, THERESA                         CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
BEACHLER, TERRI                        WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
BEADLE, MARCIA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEADLING, CAROL                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BEAGLES, CALEETA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEAL, MARION ELIZABETH & EST OF GENE   BEAL, MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23
                                       FLOOR NEW YORK NY 10017
BEAL, SANDRA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEAL, SHEILA                           DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                       77024
BEALE, CATHERINE                       NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                       11747
BEALL, FELICIA                         BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX


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Claim Name                                Address Information
BEALL, FELICIA                           75202
BEALMEAR, MARY                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
BEALS, BRENDA                            CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                         14202-3725
BEALS, TASHA                             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
BEALS, TASHA                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
BEAMAN, MARGARET                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
BEAMAN, MARGARET                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
BEAMON, LORETTA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEAMON, MARY                             WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                         NJ 08002
BEAN, DEBORAH                            JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
BEAN, ELLA                               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEAN, FAY                                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BEAN, FRANCES                            DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BEAN, JANET                              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
BEAN, JUDY                               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
BEAN, KAREN                              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BEAN, KAREN                              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
BEAN, SCARLETT                           ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
BEAR, TONIA                              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
BEAR, VICKI                              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEARCHILD, GAIL                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEARD, DANIKA                            GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                         EDWARDSVILLE IL 62025
BEARD, DIANNE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEARD, DIANNE                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
BEARD, KAY                               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
BEARD, NANCY                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEARDEN, CLASSIE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEARDEN, DONNA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEARDEN, DONNA                           POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
BEARDSLEY, SHELLEY                       THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
BEARFIELD, ROSEMARY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEASLEY ALLEN CROW METHVIN PORTIS &      MILES; JAMES,L, ODELL,P & SCOTT,B 218 COMMERCE STREET MONTGOMERY AL 36104
BEASLEY, ALLEN, CROW, METHVIN,           PORTIS & MILES,PC; 218 COMMERCE ST MEADOWS,MALLORY,JAMES,LAMPKIN,ZINNS
                                         MONTGOMERY AL 36104
BEASLEY, CHARLOTTE                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BEASLEY, DONNA                           CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY


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Claim Name                       Address Information
BEASLEY, DONNA                  14202-3725
BEASLEY, JUDY                   SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
BEASLEY, MARTHA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BEASLEY, NORMA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BEASLEY, NORMA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BEASLEY, PATRICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEASLEY, SHEILA                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BEASLEY, SHELIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BEASLEY-LEBOEUF, LISA           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BEATRICE GRANT                  MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
BEATRIZ BUJAN                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC PUTNICK, MARY ELIZABETH 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
BEATTY, DONNA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BEATY, PAMELA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BEATY, SHARON                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEAUCHAMP, DIANNE               MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
BEAUCHAMP, LISA                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
BEAUCHAMP, LISA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BEAUCHAMP, SHARON               NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BEAUDOIN, JOANNE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEAUDOIN, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEAULIEU, CLAUDETTE             LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BEAULIEU, CLAUDETTE             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BEAULIEU, JOYCE                 SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
BEAULIEU, MARION                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BEAVER, PATRICIA                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
BEAVER, PATRICIA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BEAVER, SANDRA                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
BEAVER, SHIRLEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEAVERS, DWANA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEBE BARTLEY                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
BEBERMEIER, JILL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEBINGER, KATHERINE             ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BECERRA, MARGARITA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BECERRA, MARGARITA              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157


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Claim Name                          Address Information
BECERRA, MARGARITA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BECHARD, MARIE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BECHTEL, BENNIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BECHTOLD, CHERYLE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BECICKA, SHIRLEY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
BECK, BETTY                        MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                   DAVID M. MINNEAPOLIS MN 55404
BECK, CAROL                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BECK, DONNA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BECK, ELIZABETH                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
BECK, ELIZABETH                    WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
BECK, EVA                          COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                   INDIANAPOLIS IN 46204
BECK, GOLDIE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BECK, GRACE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BECK, GRETCHEN                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
BECK, KATHLEEN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BECK, KATHY                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
BECK, MARCIA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BECK, SHANNON                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
BECK, WENDI                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BECKA, GAIL                        ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BECKER, BEVERLY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BECKER, LYNDELL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BECKER, MARY                       LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                   SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
BECKER, MAUREEN                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                   & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
BECKER, MELBA                      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
BECKER, MOLLY                      MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
BECKER, MONIQUE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BECKER, RISA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BECKERMAN, SVETLANA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BECKFORD, TRACEY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BECKLEY, ANNIE                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031



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Claim Name                       Address Information
BECKLIN, TAMIE                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BECKMAN, BILLIE                 CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
BECKMANN, DENISE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BECKREST, KAREN                 ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
BECKUM, LINDA                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
BECKWITH, AUDREY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BECRAFT, PHYLLIS                POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                BRASLOW, DEREK T CONSHOHOCKEN PA 19428
BECTON, BARBARA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BECTON, EDNA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BECTON, MADELINE                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
BECZEK, BARBARA                 LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MCGEE, AMANDA D
                                MANHATTAN BEACH CA 90266
BEDARD, MICHAELINE              MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
BEDDINGFIELD, RUTH              SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
BEDEKER, ALLA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BEDENBAUGH, CHERYL              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BEDFORD, DARLENE                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BEDFORD, SAUNDRA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BEDFORD, WANDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEDFORD, WANDA                  THE POTTS LAW FIRM, LLP 3737 BUFFALO SPEEDWAY STE 1900 HOUSTON TX 77098
BEDICHEK, DAREN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEDWELL-JACKSON, JESSICA        CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BEE, JUANITA                    TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
BEEBE, BETTY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEEBE, MARY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BEEBE, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEEBIE, KATHRYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEECH, VICKY                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BEECH, VICKY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BEECHER, DOREEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEEGLE, CATHY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BEEHLER, BONNIE                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BEEKS, CRYSTAL                  MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
BEELER, MARY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231



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Claim Name                       Address Information
BEELER, SHERYL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEEMAN, DIANA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BEENE, JOYCE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BEENKEN, SUSAN                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BEER, BARBARA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BEERBOWER, DONNA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEERS, BRENDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BEESO, RAVEN                    JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
BEETAR, DEMETRA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BEGAY, BERTHA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BEGAY, RITA                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
BEGAY, SHARON                   MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
BEGAY, SHIRLEY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BEGAYE, AUDREY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BEGAYE, SHIRLEEN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BEGGS, MARJORIE                 SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
BEGLEY, SYLVIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BEGLY, LINDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BEGUM, SHAHIDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEHLER, KATHY                   MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
BEHLERT, MARIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEHRENS, ADELE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEHRENS, DIANNE                 LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
BEHRING, DONNA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BEHUNIN, CARRIE                 COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
BEILKE, SUSAN                   NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
BEIRNE, MARGARET                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BEIRNE, MARGARET                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BEITNER, RUTH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEJARANO, IRMA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BEJARANO, IRMA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                         Address Information
BEJEC, LILIA                      POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
BEKAS, LINDA                      NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                  BERMAN, W. STEVE GREAT RIVER NY 11739
BEKET, MARGARET                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BELARDEES, TERESA                 JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
BELCHER, DENA                     JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
BELCHER, GLORIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
BELCHER, HELEN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
BELCHER, LAURA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BELCZYNSKI-ALEF, LEONA            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
BELDEN, CHRISTINA                 THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                  FERRARO, JR, JAMES L MIAMI FL 33131
BELGARD, BILLIE                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                  ORLEANS LA 70130
BELGARD, CAMILLA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BELGARDE, DEE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
BELIZEARD, VALLERIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BELIZEARD, VALLERIE               ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
BELK, LESSIE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
BELKE-BECKER, PATRICIA            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
BELKNAP, LORETTA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
BELL, ANDREWNETTA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
BELL, ANGELA                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BELL, ANNIE                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
BELL, AUDRIA                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BELL, BARBARA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BELL, CARLA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
BELL, CATHY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BELL, CHANDA                      WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                  NJ 08002
BELL, CHASIDI                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BELL, DEBRA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BELL, DIANE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
BELL, DJ                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BELL, ELIZABETH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BELL, ELLEN                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BELL, ETHEL                       ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                  77007
BELL, GAIL                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
BELL, GAIL                        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN


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Claim Name                          Address Information
BELL, GAIL                         STREET, SUITE PENSACOLA FL 32502
BELL, GWENDOLYN                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BELL, JENNY                        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
BELL, JOAN                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BELL, LAWONDA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BELL, LEKISA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BELL, LIN                          LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                   94111
BELL, MAMIE                        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BELL, MAMIE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BELL, MAMIE                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BELL, MARGARET                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BELL, MARGARET                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BELL, MARILOU                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BELL, MARILYN                      HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
BELL, MICHELLE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BELL, NANCY                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
BELL, NANCY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BELL, NELLIE                       ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BELL, PAULA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BELL, ROSIE                        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BELL, SHARON                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BELL, STARTRECE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BELL, SUSAN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BELL, TRACY                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
BELL, TRACY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BELL, WINNETTE                     SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                   01153
BELLAK, DEBRA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BELLAMY, CAROLYN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BELLAMY, SANDRA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BELLANTI, CATHERINE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BELLCOM, EVA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BELLE-ROBINSON, CRYSTAL            NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                   PR 00918
BELLEW, TAMMY                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
BELLI, SHARON                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
BELLIGIERE, MEGAN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BELLIN, MARY                    THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
BELLINA, LESLIE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BELLINA, LESLIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BELLINGER, MARTHA               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BELLINGER, MARTHA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BELLINGER, SARH                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BELLIVEAU, LORI                 WATERS & KRAUS, LLP MACLEAN, LESLIE - 3141 HOOD STREET, STE 700 DALLAS TX
                                75219
BELLO, LOUISE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BELLO, MELISSA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BELLOMA, JUDITH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BELLOMA, SHELLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BELLOMONTE, CAROL               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BELLOMONTE, CAROL               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BELLON, PHYLLIS                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BELONEY, GAIL                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BELONEY, GAIL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BELOTE, LORI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BELOTTI, DIANE                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
BELOUSOVA, NINA                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BELTON, LINDA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BELTON, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BELTRAN, BESSIE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BELTRAN, DEANNA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BELTRAN, HILDA                  MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
BELTRAN, MAYRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BELUSH, CYNTHIA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BELUSH, CYNTHIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BELUSKO, LORETTA                LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
BELZ, LINDA                     MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
BEMIS, TRIPINA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747


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Claim Name                       Address Information
BENAC, DOINA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
BENASUTTI, RITA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BENAVIDES, NORA                 BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
BENAVIDEZ, STACY                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BENBOW, ANGELIA                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
BENBOW, CHRISTY                 THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
BENBOW, SANTANA                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BENCIVENGA, PATRICIA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENDELL, HANSINA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BENDER, JENNIFER                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENDER, KARLEY                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
BENDER, LISA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BENDER, SHERRY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BENDIGO, TONYA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BENECKE, JEAN                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
BENEDICT, ELAINE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
BENEFIELD, DEBORAH              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BENEFIELD, DEBRA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BENEFIELD, JUANITA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BENFORD, TASHAY                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BENGE, MICHELLE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENHAM, JOYCE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BENIGNO, SHERRY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BENIGNO, SHERRY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENIGNO, SHERRY                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BENIQUEZ, FRANCESCA             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BENIQUEZ, FRANCESCA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BENIQUEZ, FRANCESCA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENIQUEZ, FRANCESCA             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BENIQUEZ, FRANCESCA             PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
BENISON, ANDREA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BENITEZ, MARIA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
BENITEZ, MARIA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266



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Claim Name                               Address Information
BENITEZ, MARIA                          LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                        MANHATTAN BEACH CA 90266
BENITEZ, MARIA                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                        ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BENITEZ, MARIA                          ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                        S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
BENITEZ, MARIA LIRA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                        77098
BENITO, REYNA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
BENJAMIN, DANA                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                        77098
BENJAMIN, HANNAH                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
BENJAMIN, PATRICIA                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
BENJAMIN, PATRICIA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
BENJAMIN, SINQUISA                      HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                        CHRISTOPHER CORPUS CHIRSTI TX 07837
BENMAR, PETER AND BENMAR, CLAUDINE      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                        NJ 08648
BENNANE, DIANE                          GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BENNER, DAWN                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                        STREET, SUITE PENSACOLA FL 32502
BENNETT, BARBARA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENNETT, BEVERLY                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
BENNETT, CATHERINE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENNETT, CHRISTINA                      DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                        ANTHONY ST. LOUIS MO 63102
BENNETT, CHRISTINA                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BENNETT, CHRISTINA                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                        ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
BENNETT, DIANE                          MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                        ARTHUR M. NEW ORLEANS OH 70130
BENNETT, DONNA                          FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BENNETT, DOROTHY                        CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                        14202-3725
BENNETT, ELENITA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
BENNETT, ELIZABETH                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENNETT, ELIZABETH                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BENNETT, ELIZABETH                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                        ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BENNETT, HELEN GLOVER                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
BENNETT, JACQUELINE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENNETT, JANELLE                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                        ORANGE VA 02296
BENNETT, JUDITH                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
BENNETT, KELLEY                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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BENNETT, KELLEY                 MEADOWS, TED G. MONTGOMERY AL 36104
BENNETT, LINAYA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BENNETT, LINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BENNETT, LISA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENNETT, MARIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENNETT, PATRICIA               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BENNETT, PATSY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENNETT, PAULA                  FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD RAGGIO, JOHN LUFF, DALLAS TX 75231
BENNETT, PEGGY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENNETT, SANDRA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BENNETT, SANDRA                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
BENNETT, SANDRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENNETT, SANDRA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BENNETT, SANDRA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BENNETT, SHIRLEY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BENNETT, SUELLEN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENNETT, TANYA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENNETT, TONI                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BENNETT, TONI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BENNETT, TRACEY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BENNETT, VICKIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENNETT, WANDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BENNETT, WANDA                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
BENNETT, YVONNE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BENNETTI, DEBRA                 THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 FERRARO, JR., JAMES
                                L. MIAMI FL 33131
BENNING, CARRIE                 JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
BENNING, MARY                   BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
BENNINGTON, AMANDA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENOIT, DEBARCUS                BARON & BUDD, P.C. MANN, JONAS 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX
                                75219
BENOIT, PAMELA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BENSCH, CAROL                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
BENSON, ARLENE                  MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 09006
BENSON, CHERYL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BENSON, ELIN                    MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464


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BENSON, EVETTA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BENSON, HSIOUMEI                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENSON, JEAN                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BENSON, JOANNE                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
BENSON, LATRICIA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BENSON, LOLA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENSON, MARY                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BENSON, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BENSON, RACHEL                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
BENSON, YVETTE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BENSON-MILLER, MARLENE          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BENT, DEBRA                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BENTFORD, SHARON                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BENTLE, DONNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENTLE, DONNA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BENTLE, DONNA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BENTLEY, CAROLYN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BENTLEY, CATHLEEN               GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
BENTLEY, DONNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENTLEY, GAIL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENTLEY, JANET                  JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
BENTLEY, LISA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENTLEY, NELL                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BENTLEY, SUSAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENTLEY, TERESA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BENTLEY, VICTORIA               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BENTO, MARIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BENTON, IRENE                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BENTON, JOANNE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BENTON, LESA                    JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
BENTON, ROBERTA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BENTON, ROBERTA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
BENTON, ROBERTA                 MEADOWS, TED G. MONTGOMERY AL 36104
BENTON, WANDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BENTRUD, KATHERINE              THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 FERRARO, JR., JAMES
                                L. MIAMI FL 33131
BENUSA, ANN                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BENZ, KIMBERLY                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
BENZ, KIMBERLY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BENZ, KIMBERLY                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BENZ, KIMBERLY                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BENZAR, JULIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BEQUER, MYRIAM                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
BERARDI, LUCI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BERDE, VIRGINIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERDECIA, GUADALUPE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERDUE, DARLENE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BERDUE, DARLENE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERDUE, DARLENE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BERDUE, DARLENE                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
BERDUE, DARLENE                 SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
BERDZIK, DEBORAH                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BERENBLIT, DIANE                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BERENS, KATIE                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BERENS, KATIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BERFECT-CULLER, NEOMI           MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
BERG, BRENDA                    POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
BERG, CAROL                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BERG, CHERYL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERG, ROSALIND                  MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
BERGE, DIANA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BERGEN, KATHLEEN                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BERGER, BARBARA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BERGER, HAZEL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BERGER, JENNIFER                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BERGER, KERRI                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098



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                                ANTHONY ST. LOUIS MO 63102
BERGER, MARILYN                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BERGER, MARILYN                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
BERGER, MARILYN                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BERGER, MARILYN                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
BERGER, SHARON                  SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
BERGER, SUSAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BERGER, SUSAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERGER, SUSAN                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BERGER, SUSAN                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BERGER, VIRGINA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERGERON, CAROL                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
BERGERON, KELLY                 MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
BERGERON, SHELBY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERGEVIN, SUSAN                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BERGEVIN-HAYES, MIRIAM          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERGHAUS, ANGELA                JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
BERGHEGER, SUSAN                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BERGIN, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BERGKAMP, KELLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERGLUND, JENNIFER              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BERGLUND, JENNIFER              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BERGLUND, LINDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BERGMAN, SELMA                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
BERGQUIST, CYNTHIA              GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
BERKE, SHERRY                   COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
BERKES, MADELINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERKEY, DEBORAH                 MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
BERKEY, STEPHANIE               HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
BERKLEY, AUSTINE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BERLONI, ANA                    DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
BERLOWITZ, MYRA                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BERMAN, MARYLIN                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K



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Claim Name                       Address Information
BERMAN, MARYLIN                 BOUNDAS, JOHN T. HOUSTON TX 77017
BERMAN, TAMARA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BERNAL, EMMA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BERNAL, ESTHER                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BERNAL, ESTHER                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
BERNAL, JULIA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BERNAL, MARGARET                THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
BERNAL, MILADIS                 HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
BERNAL, REBECA                  WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
BERNAL-GARCIA, TAMMY            MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
BERNAND, JUDY                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BERNARD, AIDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERNARD, ELLEN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERNARD, GLENDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BERNARD, JILL                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
BERNARD, JOYCE                  MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                DAVID M. MINNEAPOLIS MN 55404
BERNARD, KAYMONA                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
BERNARD, KELLY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERNARD, LINDA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BERNARD-MCCALLUSTER, WANDA      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERNARDI, MAUREEN               ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
BERNHARD, MARY                  THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
BERNHARD, PATRICIA              WEITZ & LUXENBERG C/O F. ALEXANDER EIDEN 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
BERNHARD, PATRICIA              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BERNHARDT, BETTY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERNHARDT, JEANETTE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BERNICHIO, HEATHER              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERNIER, LOUISE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BERNING-SZCZESNY, AMANDA        NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BERNITA PAYTON                  BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                COMMERCE STREET MONTGOMERY AL 36104
BERNSTEIN, GLORIA               POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
BERNSTEIN, OLGUITA              BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
BERNTHOLD, JULIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERRETH, GAYLE                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102


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Claim Name                       Address Information
BERRETH, GAYLE                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BERRETH, GAYLE                  LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
BERRETH, GAYLE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BERRETH, GAYLE                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
BERRIOS, DENISE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERRY, AAISHA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BERRY, AMY                      NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BERRY, ANGELA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BERRY, ANNIE                    LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW LUNDY,
                                MATTHEW LAKE CHARLES LA 07060
BERRY, CHERYL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BERRY, CHERYL                   SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
BERRY, CHRISTINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BERRY, DANA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BERRY, DANA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERRY, DANA                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BERRY, DANA                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BERRY, DIANNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERRY, JERI                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERRY, JOAN                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BERRY, LUCILE                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
BERRY, LUCILE                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BERRY, LUCILE                   LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
BERRY, LUCILE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BERRY, LUCILE                   ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
BERRY, MARCELLA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERRY, MARQUERITE               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
BERRY, MARY                     MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
BERRY, MELISSA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BERRY, MICHELE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BERRY, MICHELLE                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BERRY, NANCY                    THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
BERRY, RUTH                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,



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Claim Name                       Address Information
BERRY, RUTH                     EMILY FAIRFAX VA 22031
BERRY, RUTH                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BERRY, STEPHANIE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BERRY, VICKY                    DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
BERRY, VINNIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERRY-WILSON, FLORELL           THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BERST, MARCY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERTANZA, CAROL                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BERTELLI, PATTI                 FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD MCDOWELL, DARREN LUFF, PATRICK -
                                PLUFF2FNLAWFIRM.C DALLAS TX 75231
BERTHELSEN, JEROLYNN            BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
BERTLANEY, JEANNE               THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                FERRARO, JR, JAMES L MIAMI FL 33131
BERTORELLI, JANETTE             JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
BERTRAM, EILEEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERTRAND, MARY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BERTRAND, MARY                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
BERTRAND, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERTRAND, MARY                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BERTRAND, MARY                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BERTRAND, PATRICIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERTSCH, SHIRLEY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BERUBE, CLAUDIA                 MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
BERUMEN, MARIA                  LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
BERWIND, CHARLOTTE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERZLEY, JANELLE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BERZLEY, JANELLE                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
BERZLEY, JANELLE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BERZLEY, JANELLE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BERZLEY, JANELLE                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BESBES, PATRICIA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BESECKER, GLADYS                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BESHEARS, DELORIS               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BESHEARS, PEGGY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BESHEARS, PEGGY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BESHEARS, PEGGY                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BESKE, JESSICA                  EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
BESSELMAN, PATRICIA             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031


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Claim Name                       Address Information
BESSETTE, IRENE                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BESSLER, LAURIE                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BESSPIATA, NANCY                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BEST, ELIZABETH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BETANCES, PATRICIA              NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BETANCOURT, ANA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
BETANCOURT, BLANCA              LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BETANCOURT, BLANCA              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BETHDA, MARY                    WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
BETHEA, HAZEL                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BETHEA, TIAJUANA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BETHELL, KIMBERLY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BETHELL, KIMBERLY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BETHELL, KIMBERLY               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BETHELL, KIMBERLY               PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
BETHELL, KIMBERLY               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
BETHUNE, ANTONIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BETTENCOURT, JACKIE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BETTENCOURT, PATRICIA           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BETTENDORF, JEAN                HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
BETTERIDGE, PAULA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BETTIS, VANESSA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BETTS, BARBARA                  LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
BETTS, JENNIFER                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BETTS, MARA                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BETTS, RHONDA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BETTS, WANDA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BETTWY, ELIZABETH               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BETZ, ANGEL                     WATERS & KRAUS, LLP MACLEAN, LESLIE - 3141 HOOD STREET, STE 700 DALLAS TX
                                75219
BETZ, VICKI                     HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
BEURMAN, BONNIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BEVELLE, MAXINE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
BEVENS, LISA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BEVER, NANCY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BEVERLY BURTON                  MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
BEVERLY HILTON                  DALIMONTE RUEB, LLP DALIMONTE, J., ORENDI, J. & RUEB, G. 1250 CONNECTICUT
                                AVENUE NW, SUITE 200 WASHINGTON DC 20036
BEVERLY HOEFTMAN                MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
BEVERLY LESUEUR                 DAVIS, BETHUNE & JONES, L.L.C. DAVIS, GRANT L. 1100 MAIN STREET, SUITE 2930
                                KANSAS CITY MO 64196
BEVERLY WALTER                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
BEVERLY, DONNA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BEVERLY, DONNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BEXLEY, CHARLA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE ST LAMPKIN
                                II,JAMES W MONTGOMERY AL 36104
BEY, ANTOINETTE                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BEY, ANTOINETTE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BEY, IRENE                      DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BEYNON, DORI                    COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
BEYS, THALIA                    MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
BEZIK, SANDRA                   HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
BHAGAUTI, MEERA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BHATURIA, ALKA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BHIMANI, MUNIRA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BHOATWRIGHT, KHEYNEHYAH         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BHOJ, MOHANIE                   THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
BIALUSKI, ELIZABETH             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BIAN, GINGER                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BIAN, MARY                      GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
BIAN, MARY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BIAN, MARY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BIAN, MARY                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BIAN, MARY                      PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
BIANCHI, JOY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BIANCO, DONNA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BIANCO, DONNA                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
BIANCO, DONNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BIANCO, DONNA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BIANCO, DONNA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BIANCO, MARY                    KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
BIASI, LISA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                              Address Information
BIBBY, LACHRISHA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BIBEAU, ANNETTE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BIBER, ANGELA                           CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                        14202-3725
BICE, CICILIA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
BICE, JESSICA                           WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                        BOUNDAS, JOHN T. HOUSTON TX 77017
BICHELL, CAROLYN                        MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                        YORK NY 10017
BICKETT, ELIZABETH                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BICKHAM, LEIJUANA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BICKNELL, BONNIE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BIDDIE, DONNA                           HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                        63101
BIDDINGS, LAKISHA                       MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                        YORK NY 10017
BIEHL, DOLORES                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
BIEHL, IVETTA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BIELBY, ELAINE                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
BIELECKI, HANNA L. & BIELECKI, EDWARD   MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                        YORK NY 10017
BIENEMY, PHILLIS                        POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
BIENVENU, YVONNE                        ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BIENVENUE-ALSALEH, LAURA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
BIER, BETTY                             MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                        ORLEANS LA 70130
BIERMANN, ELSIE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BIERMANN, TAMARA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BIGBEE, BRIDGETTE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
BIGBEE, BRIDGETTE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BIGBEE, BRIDGETTE                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BIGBEE, BRIDGETTE                       PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BIGDAY, MARLENA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BIGGER, DEANNA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
BIGGER, GAIL                            THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                        ORANGE VA 02296
BIGGERSTAFF, DAVA                       THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                        AZ 08501
BIGGS, BARBIE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BIGGS, DANA                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BIGGS, GAIL                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BIGGS, VIRGINIA                         THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
BIGHORSE, WANDA                         WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                        BOUNDAS, JOHN T. HOUSTON TX 77017
BIGLER, DIXIE                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231


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Claim Name                       Address Information
BIGSBY, VIVIKA                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
BIHUN, ELIZABETH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BILBREY, TANNA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BILEK, CAROL                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BILLER, VIRGINIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BILLIE, ADELINE                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BILLINGS, BARBARA               LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
BILLINGS, GAIL                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BILLINGSLEY, JOYCE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BILLINGSLEY, PHYLLIS            GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BILLIOT, MICHELLE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BILLUPS, CARRIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BILLUPS, JUDY                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BILTZ, JUDY                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
BILZZARD, ZORA                  CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
BINDER, DEBORAH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BINGE, DEBRA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BINGHAM, CYNTHIA                BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
BINGHAM, LISA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BINGHIERI, MARY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BINGMAN, ROBIN                  POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
BINION, JOYCE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BINION, JUANITA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BINION, KIMBERLY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BINION, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BINKLEY, MARGARET               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BIRCH, KIERSTEN                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BIRCH, MARCY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BIRCH, TERRI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BIRCHARD, DEBRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BIRCHFIELD, CHERYLYN            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BIRCHNAUGH, DEBRA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BIRD, GAIL                      BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095



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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
BIRD, PATRICIA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BIRD, SALLY                     BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
BIRDSELL, MARILEE               DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BIRDSONG, CHRISTINA             BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 BUDD, RUSSELL W DALLAS TX
                                75219
BIRDWELL, SHEILA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BIRDYSHAW, CAROL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BIRGE, KELSI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BIRKBECK, DIANE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BIRKLE, DONNA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BIRRIEL, ERIKA                  SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
BISAILLON, ELLEN                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BISARO, LYNN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BISARYA, VANDANA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BISBEE, ELEANOR                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BISCEGLIO, JANICE SUSAN         LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                NJ 08648
BISCHOFF, ELIZABETH             FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BISCOTTO, MIA                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
BISE, MATTIE                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BISHOP, CHARLA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BISHOP, DEBRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BISHOP, DONNA                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
BISHOP, IMELDA                  COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
BISHOP, JANE                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BISHOP, JOAN                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
BISHOP, LORI                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BISHOP, LORRAINE                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BISHOP, MARY                    FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD RAGGIO, JOHN LUFF, DALLAS TX 75231
BISHOP, MELANIE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BISHOP, NICOLE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BISHOP, NORA                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
BISHOP, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BISHOP, PENNY                   MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
BISHOP, SARAH                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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Claim Name                       Address Information
BISHOP, SARAH                   75231
BISHOP, SHARON                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BISHOP, SHAWNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BISHOP, TRACEY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BISHOP, WINONA                  KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
BISHOP, YOLANDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BISMARCK, ANNETTE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BISNAR AND CHASE                1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH CA 92660
BISSESSAR, SHELIA               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
BITZEL, MARY                    DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
BIVINS, ASHLEY                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BIXLER, JANET                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BIZETTE, BARBARA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BJELAN, DESA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BLACCONIERE, ANN                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
BLACK, BARBARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLACK, BERNICE                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
BLACK, BETTY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLACK, BEVERLY                  MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
BLACK, DEBORAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLACK, DIANNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLACK, DIANNA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BLACK, DIANNA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BLACK, DIANNA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BLACK, DONNA                    BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
BLACK, GENIE                    MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
BLACK, HEIDI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLACK, INNA                     HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
BLACK, JOANNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLACK, KATHLEEN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BLACK, LAURA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BLACK, LEWANDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLACK, LOUISE                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
BLACK, MARY                     LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                NJ 08648
BLACK, MARY                     THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
BLACK, PATRICIA                 MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464


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Claim Name                       Address Information
BLACK, ROSIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BLACK, SARAH                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BLACK, WANDA                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BLACKBEAR, CAROLYN              THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
BLACKBURN, CYNTHIA              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
BLACKBURN, CYNTHIA              HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
BLACKBURN, KATHLEEN             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLACKBURN, TRACY                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
BLACKBURN, TRACY                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BLACKBURN, TRACY                LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
BLACKBURN, TRACY                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BLACKBURN, TRACY                ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
BLACKETT, VILMA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLACKFORD, CARRIE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BLACKFORD, CARRIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLACKFORD, CARRIE               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BLACKFORD, CARRIE               PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
BLACKHAWK, CHEYENNE             LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
BLACKMAN, ALBERTHA              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BLACKMON, BERNADETTE            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BLACKMON, CAROLYN               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BLACKMON, CATINA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BLACKMON, JUDY                  HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
BLACKMON, KATHLEEN              THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
BLACKMON, NOLA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BLACKMORE, JEAN                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
BLACKSHERER, ELIZABETH          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BLACKSHERER, ELIZABETH          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BLACKSTONE, CHADSIDY            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLACKSTONE, ELSA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BLACKWELL, DENICE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLACKWELL, ELAINE               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502



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Claim Name                           Address Information
BLACKWELL, PAMELA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
BLACKWELL, PAULETTE                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                    ORANGE VA 02296
BLACKWELL, SUSAN                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                    ROBINSON, JR. MARK P. KAR NEWPORT BEACH CA 92660
BLACKWOOD, CHRISTIANE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
BLACKWOOD, DIANA                    COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                    INDIANAPOLIS IN 46204
BLADE, KAREN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLADEN, ATHENA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
BLADES, JANE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
BLAES, SHAWN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLAES, SHAWN                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BLAES, SHAWN                        PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BLAIR, BARBARA                      HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
BLAIR, BEATE                        ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BLAIR, BEATE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
BLAIR, CHELSEA                      DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                    63102
BLAIR, DEBRA; TYSON, ELIZABETH      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                    ORANGE VA 02296
BLAIR, FRANCES                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BLAIR, FRANCES                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
BLAIR, JESSICA                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                    ORANGE VA 02296
BLAIR, JULIE                        ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                    LOUIS MO 63119
BLAIR, LINDA                        DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
BLAIR, OTINA                        DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                    63102
BLAIR, TERESA                       LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                    SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
BLAIR, VANESSA                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BLAISDELL, NATASHA                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                    EDWARDSVILLE IL 62025
BLAISURE, ERIN                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
BLAKE, CAREY                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                    77098
BLAKE, DIANNE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLAKE, ELDA                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                    77098
BLAKE, HALCYON                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
BLAKE, HALCYON                      PORTER & MALOUF, PA P.O. BOX 12768 HARRIS, LAUREL LI JACKSON MS 39236-2768
BLAKE, IMOJEAN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
BLAKE, JUANITA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BLAKE, JULEE                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BLAKE, LINDSAY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BLAKE, MARVA                    MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
BLAKE, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLAKE, MERLIN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLAKE, PAMELA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BLAKE, PAMELA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLAKE, TERESA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BLAKE, TRACY                    JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
BLAKE, WANDA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BLAKELY, KAREN                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BLAKELY, MARY ANN               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BLAKES, LATRICE                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
BLALOCK, EVELYN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BLALOCK, KIMBERLY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLANCHARD, DAWN                 MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
BLANCHARD, MARIBETH             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BLANCHARD, SHARON               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLANCHARD, TAMMIE               SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
BLANCHE, KATONA                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BLANCHETT, SHERYL               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLANCHETTE, BRENDA              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BLANCHETTE, KARYN               JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
BLANCHETTE, NICOLE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLANCHETTE, RUTH                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BLANCO, CRISTINA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BLAND, DEBRA                    MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
BLAND, EVELYN                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BLAND, KATHERINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BLAND, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLAND, SHELIA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BLAND, THELMA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                         Address Information
BLAND, VICTORIA                   SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                  19103
BLANKEN, LORETTA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLANKENCHIP, DAWN                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                  EMILY FAIRFAX VA 22031
BLANKENCHIP, DAWN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
BLANKENCHIP, DAWN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLANKENCHIP, DAWN                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BLANKENCHIP, DAWN                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
BLANKENSHIP, CATHERINE            CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                  14202-3725
BLANKENSHIP, FRANCES              ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                  WASHINGTON DC 20006
BLANKENSHIP, FRANCES              BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                  STREET MONTGOMERY AL 36104
BLANKENSHIP, LISA                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                  KANSAS CITY MO 64196
BLANKENSHIP, PATSY                MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                  ORLEANS LA 70130
BLANKS, ANGEL                     GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
BLANKS, ELLA                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                  EMILY FAIRFAX VA 22031
BLANKS, JOYCE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
BLANKS, MARTHA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
BLANSETT, CINDY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLANTON, ASHLEY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
BLANTON, BETTY                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BLANTON, BETTY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
BLANTON, JOEN                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BLANTON, VICTORIA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BLAPPERT, CARON                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
BLAS, SYLVIA                      BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                  CA 92660
BLASE, STELLA                     GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
BLASE, STELLA                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                  ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
BLASE, STEPHANIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLASINGAME, BURCH, GARRARD &      ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA 30603
BLASINI, NYDIA                    ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
BLASIOL, VICTOR                   NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                  PR 00918
BLASKA, ASHLEY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
BLASKO, KATHY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
BLASSER, DOMINIQUE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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                                             LTL Management LLC
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Claim Name                            Address Information
BLASSER, DOMINIQUE                   75231
BLASSINI, VILMA & PEREZ, VICTOR      MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                     YORK NY 10017
BLATT, DEBORA                        ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                     77007
BLAYDE, SEBRENA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLAYLOCK, GAYLEEN                    NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                     BERMAN, W. STEVE GREAT RIVER NY 11739
BLAYLOCK, SHONNA                     REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J EPHRON,
                                     MELISSA HOUSTON TX 77027
BLEASE, TIERNEY                      DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
BLEDSOE, BRENDA                      BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                     70130
BLEDSOE, CAROL                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
BLEDSOE, HANNAH                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                     77007
BLEDSOE, KIMBERLY                    THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                     CHARLESTON WV 25301
BLEDSOE, NANCY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLEMKER, SANDRA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
BLEMKER, SANDRA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLEMKER, SANDRA                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BLEMKER, SANDRA                      PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
BLEUEL, KAREN                        LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BLEUER, BETSY                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                     77098
BLEVINS, ARLENE                      BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                     75202
BLEVINS, CRYSTAL                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BLEVINS, DENISE                      DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BLEVINS, FLORETTA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLEVINS, LAVONDA                     DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                     63102
BLEVINS, LORA                        DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                     63102
BLEVINS, PRISCILLA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
BLEVINS, TRACY                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
BLINDER, KATHLEEN                    PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
BLINDERMAN, LISA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLISH, JANICE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLISS, THERESA                       BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
BLIZZARD & NABERS, LLP               5020 MONTROSE BLVD STE 410 HOUSTON TX 77006
BLOCHLINGER, LELA                    BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                     75202
BLOCK, RHONDA                        GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                     PA 19102
BLOCK, RHONDA                        DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                     63102


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Claim Name                          Address Information
BLOCK, SYLVIA                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
BLOCK-MERKEL, MARY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BLOCKER, LATONIA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
BLOCKER, TERESA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BLOCTON, JOMATIA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
BLODGETT, JUDITH                   WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
BLODGETT, MARGARET                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BLOHM, THERESA                     TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
BLOIS, MELANIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLOOD, DEBORAH                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BLOODSAW, COLLEEN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BLOOM, JEANETTE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BLOOMER, PATRICIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BLOOMFIELD, KAY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLOSE, BEVERLY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BLOSSOM, JENNIFER                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLOUCHER-HARRIS, ASHLEY            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BLOUGH, BILLIE                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
BLOUNT, AUDREY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLOUNT, CLASSIE                    BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                   75202
BLOW, PRISCILLA                    COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                   INDIANAPOLIS IN 46204
BLUE, DONNA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLUE, KHELIA                       ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
BLUE, VERTIS                       WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                   HILL NJ 08002
BLUETT, SUZANNE                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BLUITT-HECHAVARRIA, SCHEVONNE      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BLUM, BEVERLY                      CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
BLUM, PHYLLIS                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLUM, SANDRA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BLUM, VICTORIA                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BLUMENFELD, SHANNON                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLUMENTHAL, CHERI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BLUTCHER, LISA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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BLUTCHER, LISA                          MEADOWS, TED G. MONTGOMERY AL 36104
BLYTHE, LAURA                           GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BOADA, LUISA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOARD, CAROL                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOARDMAN, ANITA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOATNER, ELIZABETH                      DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                        KANSAS CITY MO 64196
BOATWRIGHT, DINAH                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOATWRIGHT, JACQUELINE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
BOATWRIGHT, JACQUELINE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
BOAZ, KAMERON                           SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                        77098
BOBADILLA, MARISA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
BOBB, MARGARET                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                        77098
BOBBITT, SHIRLEY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
BOBINEY, EVETTE M. AND BOBINEY, LARRY   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
BOBO, SHELIA                            GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                        EDWARDSVILLE IL 62025
BOCANEGRA, CATHY                        WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                        BOUNDAS, JOHN T. HOUSTON TX 77017
BOCHAN, PATTY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
BOCHANSKI, VIRGINIA                     GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                        PA 19102
BOCHANSKI, VIRGINIA                     LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET KOHRS, NICHOLAS HIGHTOWER,
                                        KRISTIE LAKE CHARLES LA 70601
BOCK, DENISE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOCK, MARGIE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOCK, MARLENE                           NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                        BERMAN, W. STEVE GREAT RIVER NY 11739
BOCKMANN, CHRISTINE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
BOCKO, DONNA                            POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
BOCOOK, CHERYL                          ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BOCOOK, CHERYL                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
BODDEN, IVON                            THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                        CHARLESTON WV 25301
BODDEN, STACY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
BODDIE, EUNICE                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
BODE, PETRINA                           THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                        ORANGE VA 02296
BODELL, LINDA                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                        STREET, SUITE PENSACOLA FL 32502



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BODEN, MARCEE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BODIE, MARY                     HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
BODIFORD, JEWEL                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BODIFORD, JEWEL                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BODIRIAU, CATALINA              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BODISON, MARY                   HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
BODKIN, SHARON                  TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
BODNAR, BARBARA                 BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
BODNAR, ROSE                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BODONY, PRISCILLA               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BODWALK, BETH                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BODY, SUPORN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOEHM, VANESSA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOEHME, WYNONIA                 NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
BOEHRNS, KAREN                  NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
BOENING, PEGGY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOERGERS, DONNA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOERGERS, DONNA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BOERGERS, DONNA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BOERNER, KRISTIN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOESE, SANDRA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOESE, SANDY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BOETTCHER, ALICE                HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
BOGACZYK, NELLA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
BOGACZYK, NELLA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BOGAN, ORA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOGAN, VICKIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOGARD, TERESA                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
BOGART, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOGENRIEF, HEATHER              NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BOGER, ELLEN                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BOGERT, AMANDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
BOGERT, AMANDA                  MEADOWS, TED G. MONTGOMERY AL 36104
BOGGAN, FANNIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOGGS, BRENDA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BOGGS, CONNIE                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BOGGS, KRISTINA                 SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
BOHACS, NANCY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BOHANNAN, GLORIA                WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
BOHANNON, ELEANOR               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BOHANNON, ELEANOR               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOHANNON, MARY                  FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
BOHL, BARBARA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BOHL, BARBARA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOHL, MELANIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOHM, LISA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOHN, KATHLEEN                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BOHN, MARILYNN                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BOHNET, AMBER                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BOHONIS, BETTY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOIE, ELIZABETH                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BOILEAU, EDNA                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BOIS, PATRICIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOIS, PATRICIA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
BOIS, PATRICIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOIS, PATRICIA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BOIS, PATRICIA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BOIVIN, JENNIFER                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOJAKOWSKI, KATHLEEN            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOKUN, JUDITH                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOLAND, CHERYL                  MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
BOLAND, MILDRED                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOLAND, NICHOLET                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
BOLAND, NICHOLET                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BOLAND, NICHOLET                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BOLD, JANET                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BOLDEN, BERNICE                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006


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Claim Name                       Address Information
BOLDEN, MARY                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BOLDEN, MELISSA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOLDEN, PARRIS                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BOLDIN, EMMA                    POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
BOLDING, KELLY                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BOLDS, DOMINIQUE                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BOLDS, MICHELE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOLDS, SHANTAIN                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BOLEN, HELEN                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BOLEN, HELEN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOLEN-PARENTEAU, COLLEEN        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOLENDER, MARY                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BOLES, ANGELA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BOLES, ANGELA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOLES, JANICE                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BOLIEU, JOYCE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOLIN, BILLIE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BOLIN, ENEDINA                  LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                NICHOLAS LAKE CHARLES LA 07060
BOLIN-SANTIAGO, JOAQUINA        ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
BOLING, STEPHANIE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOLINGER, JEANNE                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
BOLINGER, JEANNE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOLINGER, JEANNE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BOLINGER, JEANNE                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BOLINGER, RITA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOLIVER, PATRICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOLL, KATHLEEN                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
BOLLARD, CANDACE                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BOLLARD, CANDACE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOLLINGER, CHARLOTTE            BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
BOLLINGER, CHARLOTTE            BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202



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Claim Name                       Address Information
BOLLINGER, REBECCA              KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
BOLLMANN, LORRAINE              WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
BOLS, FRANCES                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BOLSTAD, DEBORAH                REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                BINSTOCK, ROBERT J. HOUSTON TX 77027
BOLT, CAROLYN                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BOLTON, ANA                     BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
BOLTON, CAROL                   THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
BOLTON, DIANE                   THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
BOLTON, LAURA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOLTON, SUZY                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BOLTON, SUZY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOLTUCH, LEONA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BOLUS, FRANKIE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BOLYARD, NANCY                  WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
BOMAR, GEORGETTE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOMAR, TRICIA                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BOMBA, ANGELA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BOMBA, ANGELA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BOMMON, ROSA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOMZER, KAREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BONA, MARIA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BONA, MARIA                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BONA, MARIA                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BONACCI, MARGARET               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BONAMO, DORIAN                  NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
BONANNO, LINDA                  SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
BONBURANT, MELINDA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOND, ANNA                      FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
BOND, CATHY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOND, DONNA                     HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
BOND, JAMI                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOND, JUDITH                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOND, KIMBERLI                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOND, MARION                    MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
BOND, MARY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOND, NANCY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                          Address Information
BOND, NANCY                        75231
BOND, RUTH                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOND, SUE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BOND-RAST, RISA                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
BONDA, JUDI                        ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
BONDS, PAULETTE                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
BONDS, PAULETTE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BONEE, BRENDA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BONEY, SHERRY                      GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                   EDWARDSVILLE IL 62025
BONGIORNI, FREDA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BONGIORNO, ANN                     UNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                   NICHOLAS LAKE CHARLES LA 70602
BONGIOVANNI, SUSAN                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BONHAM, BARBARA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BONHEYO, LORI                      DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                   ANTHONY ST. LOUIS MO 63102
BONHEYO, LORI                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BONHEYO, LORI                      LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                   MANHATTAN BEACH CA 90266
BONHEYO, LORI                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BONHEYO, LORI                      ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                   S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
BONILLA, GRECIA                    DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                   KANSAS CITY MO 64196
BONILLA, SULEMA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BONIT, MAXIE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BONJO, LAURIE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BONNER, CHERYL                     TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
BONNER, DEBRA                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BONNER, KARLA                      DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                   KANSAS CITY MO 64196
BONNETTE, KELLY                    MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                   TAMPA FL 33602
BONNEVILLE, LAURIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BONNEY MCWILLIAM                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                   PAUL MN 55101
BONNIE MEDINA                      JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                   PAUL MN 55101
BONNIE PATTEN                      MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
BONTA, MAUREEN                     MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501



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Claim Name                       Address Information
BONTRAGER, SHEILA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOODRO, DEBORAH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOOKER, DELORES                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOOKER, ELIZABETH               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOOKER, KANTIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOOKER, KIMBERLY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOOKER, LIANE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOOKER, SHEILA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOOKER, SHEILA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BOOKER, SHEILA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BOOKER, TAMMY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOOKER, TAMMY                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
BOOKER, TAMMY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOOKER, TAMMY                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BOOKER, TAMMY                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BOOKER, TENESIA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BOOKER, TENESIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOOKHAGEN, ELAINE               THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
BOOKHART, TRACEY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOOKHOP, JEAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOONE, MARSHA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BOONE, MARSHA                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
BOONE, MARSHA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BOONE, MARSHA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BOONE, SHEILA                   BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
BOONE, VESTA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BOONSES, SOMJIT                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BOORMAN, MARIAN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOOS, CHRISTINE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOOS, MARGARET                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
BOOSE, CYNTHIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOOTH, CAROL                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
BOOTH, CAROL                    HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
BOOTH, CAROL                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BOOTH, CLAUDETTE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOOTH, CONNIE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098



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                                                          Entered 02/17/22 16:31:44           Desc Main
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Claim Name                           Address Information
BOOTH, JANET                        MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                    YORK NY 10017
BOOTH, JEANNE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
BOOTH, LYNNE                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                    77098
BOOTH, ROBERTA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
BOOTH, SHIRLEY                      DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                    ANTHONY ST. LOUIS MO 63102
BOOTH, SHIRLEY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOOTH, SHIRLEY                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BOOTH, SHIRLEY                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                    ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BOOTH, SUE                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
BOOTHE, CINDY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOOTS, CARRI                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
BOOTS, SUSAN                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
BORCHARDT, JENNIFER                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                    63102
BORCHARDT, JOYCE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
BORCHERT, JOANNE                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                    77098
BORDAK, LORA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
BORDAK, LORA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BORDAK, LORA                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BORDEAUX, LISA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BORDELON, APRIL                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                    STREET, SUITE PENSACOLA FL 32502
BORDELON, LYNDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BORDEN, JOYCE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
BORDOFF, NITA                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                    EMILY FAIRFAX VA 22031
BORDOFF, NITA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
BORGAL, LOIS AND BORGAL, JAMES      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                    HILL NJ 08002
BORGER, SUSAN                       COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
BORGER, SUSAN                       BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 NEW ORLEANS LA 70130
BORGES, DOLORES                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                    ORANGE VA 02296
BORGES, JEANETTE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
BORGES, MARJORIE                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                    ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
BORGH, PATRICIA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                              Address Information
BORGS,                                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
HAMILTN,HORNR,JOHNSN,SCHULMN,VARR      MEADOWS, TED G. MONTGOMERY AL 36104
BORGS,                                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
HAMILTN,HORNR,JOHNSN,SCHULMN,VARR      MINNEAPOLIS MN 55402
BORGS,                                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAMILTN,HORNR,JOHNSN,SCHULMN,VARR
BORGS,                                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HAMILTN,HORNR,JOHNSN,SCHULMN,VARR
BORGS,                                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HAMILTN,HORNR,JOHNSN,SCHULMN,VARR
BORING, DIANE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BORIS, JUDI                            MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
BORJA, FRANCES                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
BORN, JENNIFER                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BORN, MARY                             MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                       KNOXVILLE TN 37929
BORN, SHIRLEY                          BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
BORNSCHEUER, PAMELA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BOROWICZ, SHANNON                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BORREL, MARY                           MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                       ORLEANS LA 70130
BORRERO, CARMEN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BORSELLA, BERNADETTE                   DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
BORSETT, CAROLE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BORSKEY, GWENDA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BORTLE, SHARYN                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BORUCKI, CHARMANE                      DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                       KANSAS CITY MO 64196
BORUFF, PAMELA                         ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
BORUM, BRIDGET                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BORUNDA, LINDA                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
BORZELLO, ELYSE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BOSAK, CHARLOTTE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOSAN, DIANE                           GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                       EDWARDSVILLE IL 62025
BOSARGE, KAREN                         THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                       ORLEANS LA 70130
BOSCHERT, MARY                         TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
BOSE, STEPHANIE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOSER, MARGARET                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOSI, PATRICIA                         CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
BOSKO, ALESIA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOSQUE, JUANA                          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BOSQUET, NIRKA                         KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
BOSS, KERRY                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
BOSSALINA, DONNA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BOSSERMAN, JANET                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOSSERT, NANCY                  COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
BOST, DARLENE                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BOST, DARLENE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BOST, HEIDI                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
BOSTIAN, MARILYN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOSTICK, PAULA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOSTON, COLEEN                  WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
BOSTON, KAREN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOSTON, VICKIE                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BOSTON, WILLETTA                HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
BOSTWICK, DEBORAH               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BOSWELL, MARLYN                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BOSWELL, PATRICIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOSWELL, TERRI                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
BOSWELL, VERLINDA               MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
BOTCHIE, DEBRA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BOTHE, BEVERLY                  COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
BOTHWELL, CRYSTAL               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BOTHWELL, ROSEMARY              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOTKIN, RITA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOTT, DEBORAH                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOTT, JACQUELINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOTTIGLIERI, KELLY              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOTTO, PATRICIA                 BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
BOTTOMS, ALEDDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOTTONE, ANGELA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOTTS, DELIA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BOTTS, LOIS                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN


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Claim Name                        Address Information
BOTTS, LOIS                      STREET, SUITE 200 PENSACOLA FL 32502
BOTTS, THEONA                    BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                 ROBERT BRENT LOS ANGELES CA 90024
BOUCH, STEPHANIE                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                 STREET, SUITE PENSACOLA FL 32502
BOUCHARD, ANITTA                 JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
BOUCHARD, MICHELLE               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                 YORK NY 10017
BOUCHER, DORIS                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                 63102
BOUCHER, GOYENA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOUCHER, JANE; HOLLIS, VERA      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                 ORANGE VA 02296
BOUCHER, PEGGY                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                 STREET, SUITE PENSACOLA FL 32502
BOUCHER, VALERIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
BOUDREAU, DIANE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                 ORANGE VA 02296
BOUDREAU, PATRICIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
BOUDREAUX, CHERYL                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                 77007
BOUDREAUX, DIANA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                 EMILY FAIRFAX VA 22031
BOUDREAUX, JEAN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
BOUDREAUX, MANDY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOUDREAUX, MARION                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOUDREAUX, RENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOUDROT, MARY                    JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                 PAUL MN 55101
BOUFORD, DEBORAH                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
BOUGHTER, SHERYL                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BOUGHTON, JODIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOULAI, DENISE                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                 63102
BOULAS, ERICA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BOULAS, ERICA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
BOULDEN, TERESA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BOULDIN, JEANETTE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOULER, SHERRY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
BOULER, SHERRY                   PORTER & MALOUF, PA P.O. BOX 12768 HARRIS, LAUREL LI JACKSON MS 39236-2768
BOULEY, LISA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
BOULTON, ANNIE                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                 CHARLESTON WV 25301
BOUND, DEBRA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                 77098



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BOUNDS, JOAN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
BOURAY-SPECHTENHAUSER, MARY      CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                 14202-3725
BOURDEAU, MADELEINE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
BOURG, BARBARA                   WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                 NJ 08002
BOURGEOIS, BARBARA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
BOURGEOIS, LORRAINE              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                 STREET, SUITE PENSACOLA FL 32502
BOURKE, BEATRICE                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                 BOUNDAS, JOHN T. HOUSTON TX 77017
BOURQUE, CAROLYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOURQUE, JENNIFER                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                 EMILY FAIRFAX VA 22031
BOURQUE, JENNIFER                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
BOURQUE, MARY                    MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
BOUTCHER, ELIZABETH              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                 77098
BOUTERIE, TRACI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOUTERIE, TRACI                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BOUTERIE, TRACI                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BOUTIETTE, KIMBERLY              WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                 BOUNDAS, JOHN T. HOUSTON TX 77017
BOUTIN-GOULD, ORALINE            NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                 11747
BOUTWELL JR., LONNIE             BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                 75202
BOUTWELL, JUANITA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOUVIA, STEPHANIE                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                 77098
BOUYEA, JACKELINE                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                 KNOXVILLE TN 37929
BOUYER, BERNICE                  FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LUFF, PATRICK - DALLAS TX 75231
BOVA, JOYCE                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                 77098
BOVE, JANE                       MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                 YORK NY 10017
BOVE, MARYANN                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                 14202-3725
BOVE, MARYANN                    CELLINO & BARNES, P.C. GOLDSTEIN, BRIAN A. 2500 MAIN PLACE TOWER BUFFALO NY
                                 14202-3725
BOVE, SUNEUM                     LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                 SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
BOVIDGE, SUSAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOVINO, CHRISTINE                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BOWDEN, DEBORAH                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                 ORANGE VA 02296
BOWDEN, DEBRA                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                 LOUIS MO 63119


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Claim Name                       Address Information
BOWDEN, KATHRYN                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
BOWDEN, MARY                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BOWDEN, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOWDEN, MARY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY ADHAM, BASIL
                                HOUSTON TX 77098
BOWDEN, SHIRLEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOWDEN, TAMMIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOWDEN, VICKY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOWDEN-MINNIX, BEVERLY          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOWDRE-NOEL, TINA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOWE, RUTH                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOWEN, CAROL                    JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
BOWEN, DARLA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOWEN, DEANNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOWEN, JULIE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOWEN, LISA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOWEN, LISA                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BOWEN, LISA                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BOWEN, SANDRA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOWENS, JANET                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
BOWENS, KHADIJA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOWENS, SHARON                  FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
BOWENS, SHARRITTA               SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
BOWENS, TAMARA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOWER, SANDRA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BOWERMAN, BRITTANY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOWERS, BERNARD                 WEITZ & LUXENBERG C/O F. ALEXANDER EIDEN 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
BOWERS, BETTY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOWERS, CATHERINE               ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
BOWERS, DAPHNE                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BOWERS, DAPHNE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BOWERS, ELISA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE ST MEADOWS,
                                TED G. MONTGOMERY AL 36104
BOWERS, ELIZABETH               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BOWERS, ELIZABETH               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOWERS, ELIZABETH               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BOWERS, ELIZABETH               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768


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Claim Name                       Address Information
BOWERS, KATHY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOWERS, MEREDITH                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOWERS, REBECCA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BOWERS, VERA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOWERS, VIRGINIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOWIE, GWENDOLYN                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BOWIE, MARDELL                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BOWIE, ROSIE                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
BOWIE, ROSIE                    THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
BOWKER, TANYA                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BOWLES, ALICIA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BOWLES, KATHERINE               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
BOWLES, MYRA                    ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
BOWLING, BONNIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOWLING, KIMBERLY               ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
BOWLING, LINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOWLING, LISA                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
BOWLING, LISA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BOWLING, LISA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOWLING, LISA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BOWLING, LISA                   LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
BOWLING, LISA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BOWLING, LISA                   ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
BOWLING, MARGIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOWLSON, KENYATTA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BOWMAN, BRENDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOWMAN, BRENDA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
BOWMAN, CANDY                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BOWMAN, ETHEL                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BOWMAN, IN-YOUNG                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                       Address Information
BOWMAN, IN-YOUNG                75231
BOWMAN, JAN                     SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
BOWMAN, JANET                   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
BOWMAN, KHADIJAH                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BOWMAN, LISA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOWMAN, MARIA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BOWMAN, MELANIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOWMAN, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOWMAN, PAULA                   REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J EPHRON,
                                MELISSA HOUSTON TX 77027
BOWMAN, PENNY                   COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
BOWMAN, RHONDA                  HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
BOWMAN, TERRI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOWMAN, VIVIAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOWNE, NANCY                    POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
BOWNE, ROBERTA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY ADHAM, BASIL
                                HOUSTON TX 77098
BOWSER, LINDA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BOWSER, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOWYER, HELENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOWYER, LOUISE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BOXER, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOYCE, JANE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOYCE, JANET                    BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
BOYCE, LINDA                    COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
BOYCE, LINDA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BOYCE, RUTH                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BOYD, ALISA                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BOYD, BARBARA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOYD, DONNA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOYD, JENNETTE                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BOYD, JENNIFER                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
BOYD, KAREN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOYD, KATHERINE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOYD, KRISTIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOYD, MARIE                     DALIMONTE RUEB, LLP DALIMONTE, J., ORENDI, J. & RUEB, G. 1250 CONNECTICUT
                                AVENUE NW, SUITE 200 WASHINGTON DC 20036


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Claim Name                       Address Information
BOYD, MARILYN                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BOYD, PATRICIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOYD, PAULA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOYD, PAULA                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
BOYD, PAULA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOYD, PAULA                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BOYD, PAULA                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BOYD, PAULINE                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
BOYD, SHERRIE                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BOYD, STEPHANIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOYD, SYRIL                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BOYD, TERESA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOYD, TERESA                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
BOYD, TINA                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BOYD, YVONNE                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BOYER, DONNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOYER, ELIZABETH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOYER, LISA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BOYER, MELODYE                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BOYER, MELODYE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOYETTE, CYNTHIA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BOYHAN, LINDA                   HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
BOYKIN, JUNE                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BOYKIN, MARTHA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOYKINS, EULANDA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOYKOV, YANA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOYLAN, DEE                     REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                BINSTOCK, ROBERT J. HOUSTON TX 77027
BOYLAN, STEPHANIE               ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
BOYLE, ELIZABETH                ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
BOYLE, MISTI                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BOYLE, PATRICIA                 KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
BOYLE, YOLANDA                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO



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Claim Name                       Address Information
BOYLE, YOLANDA                  63101
BOYLES, LISA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BOYLES, MARLANA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BOYNER, LORAINE                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
BOYNTON, LISA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BOYUM, VAN-TURA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BOZEMAN, EDDIE                  THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
BOZEMAN, SHELIA                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
BOZETT, SUZANNE                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BOZIC, LINDA                    BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
BOZICEVIC, IRENE                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BOZICH, JOSEPHINE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BOZZO, MARY                     KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
BRAAK, DEBORAH                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BRACCO, ANNETTE                 THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
BRACE, LYNDA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BRACERO, MILAGROS               MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
BRACEY, SANDRA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
BRACEY, SANDRA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BRACEY, SANDRA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BRACEY, SHANA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRACKE, KATHRYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRACKETT, CAROLYN               MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
BRACKIN, ANGELA                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
BRACKINRIDGE, MARIE             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BRACKINS, PAULA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BRACKINS, PAULA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRADBURY, EVELYNE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY ADHAM, BASIL
                                HOUSTON TX 77098
BRADDOCK, ETHEL                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BRADEN, KATHERINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRADEN, LINDA                   FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215



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Claim Name                       Address Information
BRADEN, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRADEN, SUZANNE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BRADEN-BERDEJA, GARI            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRADEN-GRADY, LISA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRADFORD, ASHLEY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRADFORD, DEBORAH               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRADFORD, DIONNE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRADFORD, JAMIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRADFORD, JANA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
BRADFORD, JANA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRADFORD, JANA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BRADFORD, JANA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BRADFORD, JYONE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRADFORD, KATHY                 WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
BRADFORD, MAURIANNE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRADFORD, VERLEAN               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BRADLEY, ALOMA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRADLEY, AMANDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRADLEY, BETTY                  POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                BRASLOW, DEREK T CONSHOHOCKEN PA 19428
BRADLEY, BIRDIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRADLEY, CAROL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRADLEY, CAROLYN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRADLEY, CATHERINE              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BRADLEY, CHARLENE               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BRADLEY, DANITRIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRADLEY, DONA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BRADLEY, EARNESTINE             GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BRADLEY, GEORGIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRADLEY, JANE (JILL)            BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
BRADLEY, JANET                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRADLEY, JOAN                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
BRADLEY, KATHY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRADLEY, LOLA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BRADLEY, MARCIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRADLEY, PENELOPE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRADLEY, RITA                   NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE NEW YORK NY 10118



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Claim Name                              Address Information
BRADLEY, THERESA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRADLEY, VERNA                          WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                        BOUNDAS, JOHN T. HOUSTON TX 77017
BRADLEY, VICKY                          DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                        63102
BRADLEY, VICTORIA                       HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                        63101
BRADLEY-COMBS, LULA                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
BRADLEY-TURNER, TERESA                  JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
BRADSHAW, JOAN                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
BRADSHAW, SHAUNA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRADSTROM, MARY                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
BRADSTROM, MARY                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
BRADT, JEAANN                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRADT, RACHEL                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRADY, ANDREA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRADY, EMILIA C. EST OF R & F MARSICO   WEITZ & LUXENBERG C/O F. ALEXANDER EIDEN 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
BRADY, JOANN                            DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                        63102
BRADY, LISA                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
BRADY, LISA                             LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                        SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
BRADY, MARTHA                           ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
BRADY, MARTHA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
BRADY, NANCY                            JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                        77098
BRADY, SHARON                           DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                        63102
BRADY, SHAWN                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
BRADY, SHEILA                           THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                        ORANGE VA 02296
BRAEDEN, KATHERINE                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
BRAGER, CHERYL                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
BRAGG, CINDY                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRAGG, KAY                              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
BRAGG, MELODY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRAGG, SUSIE                            MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                        KNOXVILLE TN 37929
BRAGG, VALERIE                          WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                        NJ 08002
BRAHM, LISA                             SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA


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Claim Name                       Address Information
BRAHM, LISA                     94104
BRAINARD, LINDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRAITHWAITE, CATHY              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BRAITHWAITE, ELIZABETH          GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
BRAITHWAITE, ELIZABETH          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRAKE, DEBORAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRAKE, DEBORAH                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BRAKE, DEBORAH                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BRAMAN, BILLIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRAMAN, ELIZABETH               ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
BRAMANTI, CHELSEA               KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
BRANCH, ANGELA                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
BRANCH, BRENDA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BRANCH, CASSONDRA               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BRANCH, DEBORAH                 HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
BRANCH, GLENDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRANCH, GLORIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRANCH, JOAN                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
BRANCH, JOAN                    LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
BRANCH, JOAN                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BRANCH, JOAN                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
BRANCH, JOAN                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BRANCH, KELSEY                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BRAND, DEBORAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRAND, ELDA                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BRAND, STACEY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BRANDAU, ALEXIS                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRANDENBURG, MARTHA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRANDEWIE, NANCY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRANDI, BETTY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRANDNER, CAROL                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BRANDON, DOROTHY                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
BRANDON, SANDRA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRANDON, SHANNON                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007


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BRANDON-WATTERS, CANDICE        LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
BRANDSEMA, ALICE                WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
BRANDT-NAAB, DORREEN            JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BRANHAM, ANDREA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BRANHAM, SHARI                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRANION, STEPHANIE              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BRANION, STEPHANIE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRANNAN, BARBARA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BRANNAN, BARBARA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRANNAN, SANDRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRANNON, ALICE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRANNON, ALICE                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
BRANNON, ALICE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRANNON, ALICE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BRANNON, ALICE                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BRANNON, DONNA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BRANNON, DONNA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BRANNON, PATRICE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRANNON, VERONICA               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BRANOWICKI, PATRICIA            GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BRANSDORFER, PEGGY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRANSON, MARIANNE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRANSON, OSCEOLA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BRANSON, OSCEOLA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRANT, SOMMER                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BRANT, TAMMRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRANTLEY, CAROL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRANTLEY, EUGENIA               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BRANTLEY, JOHNEAN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRANTLEY, LASHAUN               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BRANTLEY, LORETTA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BRANTLEY, MARY                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BRAQUET, MARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRASE, JOHANNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                          Address Information
BRASELL, LILA                      MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
BRASFIELD, LELA                    HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                   AL 03520
BRASHER, BELISH                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRASHER, COROLYN                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
BRASHER, LOIS                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BRASKA, ELINOR                     MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                   DAVID M. MINNEAPOLIS MN 55404
BRASKETT, NANCY                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
BRASSELL, KIMBERLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRASSFIELD, DEBORAH                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BRASWELL, GWENDOLYN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BRATINA, LINDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRATTON, AYESHA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BRATTON, LANA                      GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                   EDWARDSVILLE IL 62025
BRAUDY, LILLIAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRAUN, BERNICE                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BRAUN, MARION                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRAUN, NANCI                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRAUTIGAM, ZOFIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BRAVERMAN, GALE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BRAVO, CHRISTIE                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                   EVAN D. EDWARDSVILLE IL 62025
BRAWAND, MARSHA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BRAXTON, ELIZABETH                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BRAXTON, SANDRA                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BRAY, CAROL                        GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                   EDWARDSVILLE IL 62025
BRAY, CAROLYN                      GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
BRAY, DYNISE                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BRAY, FLOSSIE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRAY, KAY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRAY, RUTH                         ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
BRAYBOY, DEBORAH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRAYTON, HEATHER                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BRAYTON, HEATHER                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BRAZEALE, JACKIE                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                   ANTHONY ST. LOUIS MO 63102



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Claim Name                        Address Information
BRAZEALE, JACKIE                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BRAZEALE, JACKIE                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                 MANHATTAN BEACH CA 90266
BRAZEALE, JACKIE                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                 ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BRAZEALE, JACKIE                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                 S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
BRAZELL, JOAN                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                 11747
BRAZELL, MICHIKO                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                 ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BRAZELL, PATRICIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
BRAZELLE, RILLA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
BRAZEY, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRAZIL, KATHRYN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
BRAZIL, LOUISEANN                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                 77098
BRAZZEL, CHARITA                 JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
BRAZZLE, BRIDAY                  WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                 NJ 08002
BRAZZLE, STEPHANIE               SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
BREAUX, BETTIE                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                 CHARLESTON WV 25301
BREAUX, VALARIE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BREAZEALE, NICOLETTE             WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                 NJ 08002
BRECHT, CINDY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
BRECKENRIDGE, IDA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                 ORANGE VA 02296
BRECKENRIDGE, PHYLLIS            FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BREDEMEIER, CATHERINE            LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BREDEMEIER, CATHERINE            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                 ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BREDEMEIER, DIXIE                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                 YORK NY 10017
BREDEWEG-DEJAGER, SIMIE          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                 77098
BREDFORD-JARAMILLO, DEBORAH      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
BREED, MARIA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
BREEDEN, CORRIE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                 EMILY FAIRFAX VA 22031
BREEDEN, LAURA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                 STREET, SUITE PENSACOLA FL 32502
BREEDING, JOYCE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                 EMILY FAIRFAX VA 22031
BREEDING, JOYCE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                           Address Information
BREEDLOVE, KATHY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                    ORANGE VA 02296
BREEN, ELIZABETH                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                    EMILY FAIRFAX VA 22031
BREEN, ELIZABETH                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
BREESE, JENNIFER                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                    EDWARDSVILLE IL 62025
BREGEL, JOSEPHINE                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                    77007
BREGMAN, HELEN                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
BREIER, LYNNETTE                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                    EDWARDSVILLE IL 62025
BREITHAUPT, ERMA                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                    EDWARDSVILLE IL 62025
BREITNER, JANICE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BREMSETH, CORA                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                    77098
BRENDA ARMSTEAD                     BARON & BUDD, P.C. MANN, JONAS 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX
                                    75219
BRENDA CROM                         ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                    LOUIS MO 63119
BRENDA DEAN                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                    STREET, SUITE 200 PENSACOLA FL 32502
BRENDA GUGELMAN                     DAVIS, BETHUNE & JONES, L.L.C. DAVIS, GRANT L. 1100 MAIN STREET, SUITE 2930
                                    KANSAS CITY MO 64196
BRENDA MURRELL                      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                    STREET, SUITE 200 PENSACOLA FL 32502
BRENDA WINFREY                      ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                    LOUIS MO 63119
BRENDEL, CHERYL                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRENDEN, MYRNA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRENEMAN, ANGELIQUE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
BRENHOLTZ, ROBIN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
BRENNA, PHYLLIS                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                    BOUNDAS, JOHN T. HOUSTON TX 77017
BRENNAN, NANCY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
BRENNAN, SUE                        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                    STREET, SUITE PENSACOLA FL 32502
BRENNAN-JONES, CHERYL               GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
BRENNAN-MAGDALENSKI, ELIZABETH      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                    ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BRESCIA, FRANCES                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                    77007
BRESHEARS, JOANNE                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BRESLIN, BRENDA                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                    STREET, SUITE PENSACOLA FL 32502
BRESSI, SANDRA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                       Address Information
BRETCH, TRACY                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BRETSCH, PHYLLIS                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BREUNIG, JENNIFER               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
BREUNNER, ANN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BREWER, BARBARA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BREWER, CANDACE                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
BREWER, CHERYL                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BREWER, DEBBIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BREWER, DEBORAH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BREWER, DONNA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BREWER, ELAINE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BREWER, HAZEL                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BREWER, KELLIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BREWER, LINDA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BREWER, PHYLLIS                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BREWER, RITA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BREWER, SUSAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BREWER, WENDY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BREWER, YVONNE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BREWER-ELAM, BESSIE             THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
BREWINGTON, MARILYN             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BREWSTER, DEBORAH               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BREWSTER, JENNIFER              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BREWSTER, TENITA                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
BRICKER, SUSAN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BRICKER, TERRI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRICKLEY, NICOLA                PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
BRIDGE, JANET                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BRIDGEFORD, NANCY               WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219


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Claim Name                       Address Information
BRIDGEMAN, JUDY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRIDGERS, LINDA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BRIDGERS, LINDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRIDGES, BRENDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRIDGES, BRENDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRIDGES, BRENDA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BRIDGES, BRENDA                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
BRIDGES, DEBBIE                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BRIDGES, DIANNE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRIDGES, FLETA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BRIDGES, JEANETTE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRIDGES, KIMBERLY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRIDGES, MARYA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BRIDGET BEAUDET                 JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
BRIDGEWATER, MARILYN            CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BRIEN, CLAIRE                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
BRIEN, CLAIRE                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BRIEN, PAULINE                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
BRIENO, MERLINDA                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BRIENO, MERLINDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRIERY, GEORGIA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BRIERY, GEORGIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRIGGS, AMBER                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BRIGGS, CINDY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRIGGS, GLORIA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BRIGGS, IRA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BRIGGS, MAURA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRIGGS, PATRICIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRIGGS, TINA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BRIGGS-HARLOW, DARLENE          DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
BRIGHAM, JANET                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231



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Claim Name                             Address Information
BRIGHAM, ROSALEE                       HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                       63101
BRIGHT, ANGELA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRIGHT, KIMBERLY                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BRIGHT, KIMBERLY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRIGHT, KIMBERLY                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BRIGHT, KIMBERLY                       PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
BRIGMAN, TAMMY                         SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
BRILEY, CONNIE                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
BRILL, PAMELA                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
BRILL, ROBYN                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BRIMBERRY, KATHERINE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BRIMBERRY, KATHERINE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRIMBERRY, KATHERINE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BRIMBERRY, KATHERINE                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BRIMMER, SYLVIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRINDAR, LUDMILA                       BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                       75202
BRINKER, REOLIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRINKLEY, FLORENCE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
BRINKLEY, JANE                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BRINKLEY, LINDA                        KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
BRINKLEY, MARIA                        FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BRINKLEY, PAULA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRINKMAN, BEVERLY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRINKMAN, LINDA                        ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
BRINKMAN, TRACY                        DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                       77024
BRINLEE, MISTY                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BRINNEMAN, TYLER & BRINNEMAN, AUBREY   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                       HILL NJ 08002
BRINSON, DEBBIE                        MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                       YORK NY 10017
BRIONES, PATRICIA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BRIONES, TERESITA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
BRISBANE, ROBYN                        ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BRISBANE, ROBYN                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BRISCO, BRENDA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRISCOE, AUDREY                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
BRISCOE, ETHELYN                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                       Address Information
BRISCOE, ETHELYN                75231
BRISKIN, SUSAN                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BRISSELL, DIXIE                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BRISSON, LINDA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
BRISTO, CATHIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BRISTOW, FELECIA                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BRISTOW, REBECCA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRITT, BIRDIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRITT, BRENDA                   LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
BRITT, CAROLYN                  THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                FERRARO, JR, JAMES L MIAMI FL 33131
BRITT, MARY                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BRITT, PEGGY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRITTAIN, BILLIE                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
BRITTANY WALDREP                MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
BRITTEN, SHAMEKIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRITTEN, YVONNE                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
BRITTEN, YVONNE                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BRITTEN, YVONNE                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BRITTINGHAM, JUDY               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BRITTINGHAM, JUDY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRITTMAN, JUDY                  DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
BRITTNEY KAISER                 HENINGER GARRISON DAVIS, LLC BROSS, WILLIAM L. 2224 1ST AVE NORTH BIRMINGHAM
                                AL 35203
BRITTON, AMBRA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BRITTON, BELINDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRITTON, CHARLENE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRITTON, FELISHA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BRITTON, GLORIA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BRITTON, GLORIA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BRITTON, JESSICA                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BRITTON, JUDITH                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BRITTON, MARY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BRITTON, MARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
BRITTON, MARY                   MEADOWS, TED G. MONTGOMERY AL 36104
BRITTON, RUTH                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BRITZKE, ANN                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
BRIXIE, ELIZABETH               NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BRIZZOLARA, SONYA               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BROADHEAD, DELORIS              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROADHEAD, RICILYN              WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
BROADRICK, BAILEY               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BROADWAY, TARA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BROADWELL, BONNIE               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BROCATO, MARGARET               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BROCCOLI, LINDA                 SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
BROCHU, JOSEPHINE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROCK, BARBARA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BROCK, BETH                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROCK, CANDACE                  MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
BROCK, CLARISSA                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BROCK, DARLENE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
BROCK, LATISHA                  MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
BROCK, LATISHA                  KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
BROCK, LYNN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROCK, PENNY                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BROCK, RUTH                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROCK, SUSAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROCK, TRICIA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BROCK, WANDA                    THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
BROCK, YEDOBATY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROCKDORFF, LOUISE VON          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROCKELMEYER, CHRISTIANE        HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
BROCKMAN, MARY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BRODE, JOAN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                       Address Information
BRODER, CAROL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRODERICK, LANA                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
BRODERICK, MARGARET             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRODERICK, SUSAN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRODERICK, SUSAN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRODERICK, SUSAN                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BRODIE, CELINE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRODNICK, DIANE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRODOWSKI, CHRISTINE            SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
BRODSKY, MAXINE                 MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
BROGAN, RACHEL                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
BROGAN, TERRI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROGNA, CARMEN                  SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
BROLL, DAWN                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BROMELL, VANESSA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BROMILEY, LAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROMLEY, JAMIE                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
BROMLEY, PATRICIA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BRONIEC, DIANA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY ADHAM, BASIL
                                HOUSTON TX 77098
BRONSON, JOCELINE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRONSON, JOCELINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRONSON, JOCELINE               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BRONSON, JOCELINE               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BRONZO, LAURA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROOKE, SUSAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROOKIN, ERICA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BROOKINGS, CHERYL               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BROOKINS, BESSIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROOKINS, DEBBIE                CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
BROOKINS, DEBBIE                BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
BROOKINS, MATTIE                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BROOKMAN, JUDITH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROOKMAN, MARY                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BROOKS, ADONICA                 DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728


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Claim Name                       Address Information
BROOKS, ANNE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BROOKS, BEULAH                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BROOKS, CAROLYN                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BROOKS, CAROLYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROOKS, CARRIE                  BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
BROOKS, CHARLETA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROOKS, CHARLOTTE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROOKS, CYNTHIA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BROOKS, CYNTHIA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BROOKS, CYNTHIA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BROOKS, DEBORAH                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BROOKS, DENISE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
BROOKS, DENISE                  THE MILLER FIRM, LLC MILLER, MICHAEL J. 108 RAILROAD AVE. ORANGE VA 22960
BROOKS, DENISE                  HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
BROOKS, DENISE                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BROOKS, DIANNE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROOKS, DOROTHEA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BROOKS, EVE                     NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BROOKS, EVELYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROOKS, FLORA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BROOKS, GAYLA                   HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
BROOKS, HARRIET                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BROOKS, HOLLY                   BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
BROOKS, HURRACANE               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BROOKS, JANET                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BROOKS, JEANETTE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROOKS, JOETTA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROOKS, JOETTA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
BROOKS, JOETTA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROOKS, JOETTA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BROOKS, JOETTA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BROOKS, JUDITH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
BROOKS, KELLY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BROOKS, KERRY                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BROOKS, KRISTY                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BROOKS, LATONYA                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
BROOKS, LATOYA                  WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
BROOKS, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROOKS, LORENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROOKS, LORI                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BROOKS, MARCIA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BROOKS, MARTHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROOKS, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROOKS, MELBA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BROOKS, MELVA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROOKS, MONICA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROOKS, MYRA                    KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
BROOKS, NANCY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BROOKS, NORMA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROOKS, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROOKS, PATRICIA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BROOKS, REGINA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BROOKS, SHADEZ                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROOKS, SONYA                   LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MOSS, JAIME MANHATTAN
                                BEACH CA 90266
BROOKS, SUSAN                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BROOKS, SUSAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROOKS, SYLVIA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BROOKS, SYLVIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROOKS, TERESA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BROOKS, VICKI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROOKS, VIRGINIA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BROOKS, WINIFRED                HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
BROOKS-HILLIARD, KANDY          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BROOKS-HILLIARD, KANDY          LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111



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                                       LTL Management LLC
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                                                  List
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Claim Name                       Address Information
BROOKSHIRE, BETTY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROOKSHIRE, TANYA               LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
BROSNAN, JONELL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROSSARD, CAROL                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
BROTHERS, BARBARA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROTHERS, BONNIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROTHERS, SHELLY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROUCEK, KELLY                  LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
BROUGHTON, ANITA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROUGHTON, JESSIE               BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
BROUGHTON, SHATEMA              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BROUGHTON, VANESSA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BROUSE, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROUSSARD, DEBORAH              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROUSSARD, DEBRA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROUSSARD, THERESA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROUWER, STEPHANIE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROUWER, STEPHANIE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROUWER, STEPHANIE              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BROUWER, STEPHANIE              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BROWDER, ALMA                   MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 09006
BROWER, CAROL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, ADA                      MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
BROWN, ADRIANNA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, ALEXIS                   WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
BROWN, ALEXIS                   WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
BROWN, ALICE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROWN, ALICE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, ALICE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BROWN, ALISON                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BROWN, ALISON                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROWN, ALVESTA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BROWN, AMANDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, AMANDA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BROWN, AMECIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
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Claim Name                       Address Information
BROWN, ANDREA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, ANGELA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROWN, ANGELA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, ANNA                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
BROWN, ANNA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, ANNETTE                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
BROWN, ANTONIO                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, ARLENE                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BROWN, AVIES                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, BARBARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, BARBARA                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
BROWN, BARBARA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BROWN, BEATRICE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BROWN, BECKY                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BROWN, BECKY                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BROWN, BERTHA                   LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MOSS, JAIME MANHATTAN
                                BEACH CA 90266
BROWN, BETH                     BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
BROWN, BETTY                    BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
BROWN, BETTY                    BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
BROWN, BETTY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BROWN, BEVERLY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, BILLIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, BOBBIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BROWN, BRENDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, CAROL                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BROWN, CAROL                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROWN, CAROL                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BROWN, CAROLE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, CAROLYN                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BROWN, CAROLYN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROWN, CAROLYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, CAROLYN                  WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
BROWN, CARRIE                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
BROWN, CATHERINE                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY


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Claim Name                       Address Information
BROWN, CATHERINE                11747
BROWN, CATHERINE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BROWN, CELESTE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BROWN, CHERYL                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
BROWN, CHRISTINE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BROWN, CINDY                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BROWN, CINDY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROWN, CLAUDIA                  LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
BROWN, CONNIE                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
BROWN, CONNIE                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
BROWN, CRYSTAL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, CRYSTALYN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, CYNTHIA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BROWN, CYNTHIA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BROWN, DAPHINE                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BROWN, DAWN                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BROWN, DAWN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, DEBORAH                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
BROWN, DEBORAH                  MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
BROWN, DEBORAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, DEBRA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BROWN, DENICE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, DENNELLE                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BROWN, DESIREE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROWN, DIANA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BROWN, DIANE                    COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
BROWN, DIANNA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BROWN, DIANNE                   FEARS NACHAWATI, PLLC PATRICK LUFF & JOHN RAGGIO 5473 BLAIR ROAD DALLAS TX
                                75231
BROWN, DONNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, DONNA                    BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
BROWN, DOROTHY                  WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
BROWN, EDNA                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
BROWN, EDNA                     CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.



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Claim Name                                Address Information
BROWN, EDNA                              CHICAGO IL 60602
BROWN, ELAINE                            FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                         THOMAS ROE NASHVILLE TN 37215
BROWN, ELIZABETH                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
BROWN, ELIZABETH                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
BROWN, ELIZABETH                         ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
BROWN, ELLEN                             MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                         YORK NY 10017
BROWN, ELLEN                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
BROWN, ESTHER                            KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
BROWN, EVA                               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
BROWN, FELICIA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, GAIL                              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
BROWN, GEORGIA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, GLENDA                            FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BROWN, GLORIA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, HELEN                             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
BROWN, HELENA                            MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
BROWN, IRENE                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
BROWN, JACQUELINE                        DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BROWN, JACQUELYN                         ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                         ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
BROWN, JACQUELYN                         MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                         KNOXVILLE TN 37929
BROWN, JACQUELYN                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
BROWN, JANET                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, JANICE                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
BROWN, JANIE                             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
BROWN, JAYNE                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, JEANIE                            BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
BROWN, JENNIFER                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, JENNIFER                          FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BROWN, JESSICA                           DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                         KANSAS CITY MO 64196
BROWN, JO                                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
BROWN, JOAN                              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                         14202-3725
BROWN, JOANNA                            MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                         ARTHUR M. NEW ORLEANS OH 70130
BROWN, JOHN D. AND BROWN, ELIZABETH      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY



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                                                LTL Management LLC
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                                                           List
                                                               Entered 02/17/22 16:31:44           Desc Main
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Claim Name                                Address Information
BROWN, JOHN D. AND BROWN, ELIZABETH      HILL NJ 08002
BROWN, JOSEPHINE                         BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                         75202
BROWN, JOYCE                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, JUDITH                            MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
BROWN, JULIA                             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
BROWN, KAREN                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
BROWN, KAREN                             BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                         75202
BROWN, KAREN                             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
BROWN, KARON                             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
BROWN, KATHY                             CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                         14202-3725
BROWN, KATIE                             WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                         NJ 08002
BROWN, KETSHA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, KIMBERLY                          THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                         CHARLESTON WV 25301
BROWN, KRISTY                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, KRYSTAL                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
BROWN, LAURA                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, LAURIE                            NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                         11747
BROWN, LEA                               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
BROWN, LEANNE                            SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
BROWN, LILLIAN                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
BROWN, LINDA                             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
BROWN, LINDA                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
BROWN, LINDA                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, LINDA                             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BROWN, LINDA                             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
BROWN, LINDA                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
BROWN, LIONDA                            FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BROWN, LISA                              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, LISA                              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
BROWN, LOIS                              MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                         DAVID M. MINNEAPOLIS MN 55404
BROWN, LORI                              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, LUCINDA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231



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Claim Name                       Address Information
BROWN, LYNETTE                  PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
BROWN, MARGARET                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROWN, MARGARET                 THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
BROWN, MARGARET                 BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
BROWN, MARIA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BROWN, MARIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, MARY                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BROWN, MARY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROWN, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, MARY                     BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
BROWN, MARYANN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, MICHELE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BROWN, MYRA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, NATALIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, NEACOLE                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
BROWN, NELL                     THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
BROWN, NELLIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, ONA                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BROWN, PATRICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROWN, PATRICIA                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
BROWN, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, PATRICIA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BROWN, PATRICIA                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
BROWN, PATSY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, PHYLLIS                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BROWN, RACHELLE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, REAGANNE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROWN, RENESSA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROWN, ROBERT                   MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                YORK NY 10017
BROWN, ROBERTA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, ROSALIND                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, ROSE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROWN, ROSE                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BROWN, ROSIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, ROXANNA                  WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
BROWN, RUTHA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                             Address Information
BROWN, RUTHA                          75231
BROWN, SALLY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, SALLY                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BROWN, SALLY                          PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BROWN, SALLY                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                      77098
BROWN, SARA                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                      STREET, SUITE PENSACOLA FL 32502
BROWN, SARAH                          DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                      63102
BROWN, SARINA                         ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                      LOUIS MO 63119
BROWN, SHARON                         NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                      11747
BROWN, SHARON                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
BROWN, SHARON                         SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
BROWN, SHARON                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, SHELIA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
BROWN, SHELIA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, SHELIA                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BROWN, SHERI                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, SHIELA                         THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                      ORANGE VA 02296
BROWN, SHIRLENE                       THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                      CHARLESTON WV 25301
BROWN, SHIRLEY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
BROWN, STACY                          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                      ROBERT BRENT LOS ANGELES CA 90024
BROWN, SUSAN                          GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BROWN, SUSAN                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
BROWN, SUSAN                          BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
BROWN, TERESA                         COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
BROWN, TERESA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
BROWN, TERESA                         GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                      MINNEAPOLIS MN 55402
BROWN, TERESA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, TERESA                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BROWN, TERESA                         PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BROWN, TERESA                         HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
BROWN, TERESA; SANTOS, CAROLANNE      GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD GORI, RANDY
                                      L. EDWARDSVILLE IL 62025
BROWN, TONETTE                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                      EMILY FAIRFAX VA 22031
BROWN, TONYA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, TRACY                          GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                      EDWARDSVILLE IL 62025
BROWN, TYRRA                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.


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BROWN, TYRRA                    ORANGE VA 02296
BROWN, ULESSA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, VALERIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, VARONICA                 WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
BROWN, VIRGINIA                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
BROWN, WILMA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROWN, WYVONNE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN, YOLANDA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BROWN, YVONNE                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
BROWN, YVONNE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BROWN-ALLEN, IDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN-DEVORCE, GLORIA           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BROWN-WARREN, JUANITA           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWN-WILSON, GLORIA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWNE, ALICE                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BROWNE, ALICE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROWNE, CAMILLE                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BROWNER, SHEILA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BROWNING, CATHERINE             THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
BROWNING, GLORIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROWNING, JOAN                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BROWNING, JOAN                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
BROWNING, JOAN                  LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
BROWNING, JOAN                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BROWNING, JOAN                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
BROWNING, JOAN                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BROWNING, LYNETTE               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BROWNING, NANCY                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BROWNING, TERESA                REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J EPHRON,
                                MELISSA HOUSTON TX 77027
BROWNING, TRACEY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROWNLEE, JACQUELINE            LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET HIGHTOWER, KRISTIE LAKE
                                CHARLES LA 07060
BROXSON, TERRI                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BROXTON, BILLIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BROXTON, BILLIE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157


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Claim Name                       Address Information
BROXTON, BILLIE                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BROYLES, DEBRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRUBAKER, KARON                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BRUBAKER, LISA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BRUBAKER, WENDY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BRUCE, CATHERINE                SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
BRUCE, DEVOTA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRUCE, KAY                      BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
BRUCE, MINNIE                   CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
BRUCE, MINNIE                   BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
BRUCE, SUSIE                    SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
BRUCH, CONNIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BRUCKNER, FERN                  REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                BINSTOCK, ROBERT J. HOUSTON TX 77027
BRUCKNER, MELODY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRUECKER, ELLEN                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BRUEMMER, CATHERINE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRUEMMER, CATHERINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRUEMMER, CATHERINE             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BRUEMMER, CATHERINE             PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
BRUEMMER, SHARRON               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRUENS, GAIL                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRUESHABER, KATHLEEN            MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
BRUGGEMAN, DEBORAH              THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
BRUGGER, ANNETTE                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BRUGH, JEANNI                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BRUHN, BROWNING                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
BRUHN, BROWNING                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BRUHN, BROWNING                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BRUHN, JEAN                     LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
BRUHN, JEAN                     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
BRUINSMA, LINDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRUMFIELD, DOROTHY              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,



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Claim Name                       Address Information
BRUMFIELD, DOROTHY              EMILY FAIRFAX VA 22031
BRUMFIELD, DOROTHY              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRUMFIELD, YAVONDA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRUMLEVE, CAROL                 THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
BRUMLEY, JUNE                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
BRUMLEY, KATHERINE              LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
BRUMMETT, KUEN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRUMMETT, VANESSA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRUMMOND, HOLLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRUNDIDGE, MARY                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BRUNEAU, SIMONNE                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BRUNELL, KEITHA                 THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
BRUNELL, ROBERTA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRUNELLE, ELIZABETH             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRUNER, JAMIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRUNETTE, JANIE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BRUNIER, CAROL                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BRUNK, BROOKE                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BRUNK, KAREN                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BRUNK, VICTORIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRUNNER, KATHY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRUNO, JOSEFINA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRUNO, LILIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRUNO, SHEILA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BRUNO, TIARA                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BRUNO, VALERIE                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
BRUNSED, BIRGIT                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BRUNSON, CLAUDINE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRUNSON, LAKIEMA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRUNSON, NANCY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRUNSON, SHARON                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRUNSON, SHIRLEY                LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
BRUNSON, TERRALYNN              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BRUNTON, MELVINA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                       Address Information
BRUNTON, MELVINA                75231
BRUNTY, SARAH                   GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
BRUSETH, MADGE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BRUTTON, MARGIE                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
BRYAN, JOYCE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRYAN, KAYLYN                   WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
BRYAN, MARY                     THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
BRYAN, SERITA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BRYAN, TERESA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRYAN, TRACI                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BRYANT, AMY                     BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
BRYANT, ARETHA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
BRYANT, ARETHA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BRYANT, ARETHA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BRYANT, BARBARA                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
BRYANT, BARBARA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRYANT, BETTY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRYANT, BETTY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BRYANT, CASSANDRA               FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
BRYANT, CHERYL                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BRYANT, COLLEEN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BRYANT, CYNTHIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRYANT, CYNTHIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BRYANT, DAPHNE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BRYANT, DIANA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRYANT, DIANA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRYANT, DIANA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BRYANT, DIANA                   PORTER & MALOUF, PA P.O. BOX 12768 HARRIS, LAUREL LI GIVENS, JOHN T. JACKSON
                                MS 39236-2768
BRYANT, DIXIE                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BRYANT, IDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRYANT, IRENE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRYANT, JOYCE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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Claim Name                       Address Information
BRYANT, JOYCE                   75231
BRYANT, JUANITA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRYANT, JULIE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BRYANT, KAY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BRYANT, MARGIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRYANT, MATTIA (MATTIE)         MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
BRYANT, PAULA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BRYANT, SHARON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRYANT, SHIRLEY                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BRYANT, SHIRLEY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BRYANT, SHIRLEY                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
BRYANT, SHIRLEY                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BRYANT, SHIRLEY                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BRYANT, SOLLIAH                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BRYANT, VIACOUNTESS             MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
BRYANT, WENDY                   KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
BRYANT, WENDY                   LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
BRYANT-FRANCE, ROSE             NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BRYANT-KIDWELL, RHONDA          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRYMER, DAWN (SPIRIT)           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BRYSON, ANGELA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BRYSON, ANN                     NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
BRYSON, LATONYA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BRYSON, MARTHA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BRZYCKI, CAROLYN                THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
BUBAK, DEBORAH                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BUBOLTZ, BARBARA                SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
BUCARO, BARBARA                 WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
BUCCIERI, DOROTHY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BUCHANAN, BAMBI                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUCHANAN, BRITTANY              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BUCHANAN, CORNELL               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUCHANAN, DEBRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUCHANAN, EVA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUCHANAN, EVON                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098


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Claim Name                       Address Information
BUCHANAN, JEAN                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BUCHANAN, KELLY                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BUCHANAN, PANSY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUCHECK, CURTIS                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
BUCHECK, CURTIS                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUCHECK, CURTIS                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BUCHECK, CURTIS                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BUCHITE, LAURA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUCHTA, CHRISTINE               GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
BUCIORELLI, MARY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUCK, MARCIA                    SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
BUCK, MARCIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BUCK, MARCIA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BUCK, MARCIA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BUCK, PATRICIA                  POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                BRASLOW, DEREK T CONSHOHOCKEN PA 19428
BUCK, TRACEY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BUCKHANON, ETHEL                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BUCKHANON, ETHEL                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BUCKINGHAM, ALICIA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BUCKLER, CECILIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BUCKLES, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUCKLEY, ANNETTE                CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
BUCKLEY, ANNETTE                BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
BUCKLEY, BELINDA                WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
BUCKLEY, JANICE                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BUCKLEY, JANICE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BUCKLEY, PENELLA                LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
BUCKLEY, TARA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BUCKLIN, KAYLEEN                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BUCKNER, KIM                    HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
BUCKNER, PATRICIA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007



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Claim Name                             Address Information
BUCKNER, SHARON                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUCKNER, STELLA JONES                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                       63102
BUCKNER, STEPHANI                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
BUCKNER, STEPHANI                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BUCKWALD, SONIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUCOLO, MICHELE                        SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                       01153
BUCZEK, PATRICIA                       GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                       PA 19102
BUCZEK, ROYCE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BUCZEK, ROYCE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUCZEK, ROYCE                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BUCZEK, ROYCE                          PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
BUDA, KATHY                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BUDZIUS, NANCY                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
BUEHLER,EVA L. ESTATE OF ROGER D       WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
BUEHLER                                HILL NJ 08002
BUEHLMAIER, KIMBERLY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BUELNA, MARTHA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUELOW, SHIRELY                        DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                       ANTHONY ST. LOUIS MO 63102
BUELOW, SHIRELY                        LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BUELOW, SHIRELY                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BUENCAMINO, NELLA                      POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
BUENO, IDALYS                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUENO, JAYLEE                          FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BUENO, KAREN                           GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                       EDWARDSVILLE IL 62025
BUFFAMONTI, MARY                       CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
BUFFINGTON, BETTY                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
BUFFORD, JOY                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
BUFORD, LOIS                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BUGG, TENESHA                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
BUGLIONE, CHRISTINE                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
BUHEIT, CHRISTINE D                    THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                       FERRARO, JR, JAMES L MIAMI FL 33131
BUHL, PEGGY                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
BUHLIG, MARCELLA AND BUHLIG, WILLIAM   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY



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Claim Name                             Address Information
BUHLIG, MARCELLA AND BUHLIG, WILLIAM   HILL NJ 08002
BUI, XUAN-MAI                          SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                       77098
BUIE, DEBORAH                          THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                       MADISON MS 39110
BUIE, KATIE                            DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                       ANTHONY ST. LOUIS MO 63102
BUIE, KATIE                            LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BUIE, KATIE                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BUJ, SILVIA                            GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BUJEIRO, ELISABEL                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY ADHAM, BASIL
                                       HOUSTON TX 77098
BUJERIO, ELISABEL                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUKATY, JULIANNE                       CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
BUKOSKI, MUZEYYEN                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BUKSAR, MARILYN                        MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                       YORK NY 10017
BULGER, VIRGINIA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BULL, KIMBERLY                         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BULL, KIMBERLY                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BULL, TERRI                            THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
BULLARD, BRITTANY                      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
BULLARD, DEBORAH                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BULLARD, JACKIE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BULLARD, KIM                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BULLARD, NATASHA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BULLINGTON, EDITH                      DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BULLOCK, ANNIE                         SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
BULLOCK, CYNTHIA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BULLOCK, CYNTHIA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
BULLOCK, MARGARET                      DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                       KANSAS CITY MO 64196
BULLOCK, SABRINA                       ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119
BUMGARDNER, CHARISE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUMGARNER, MARILYN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUMGARNER, RITA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BUMPHREY, CAROLYN                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BUMPHUS, TAMARSHA                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
BUMPHUS, TAMARSHA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BUMPUS, SHARON                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BUNCH, JACLYN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
BUNCH, KATIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUNCY, KAREN                    JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
BUNDOCK, CAROL                  MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
BUNDORN CHOTIPRADIT             ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
BUNDRIDGE, MICHELLE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUNDY, VONDA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BUNEA, KARON                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUNGE, BETTY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BUNGE, JOAN                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BUNIAK, VERA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUNK, TISHYLINDA                JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
BUNKER, KATI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUNKER, MICHELLE                CHILDERS, SCHLUETER & SMITH, LLC SMITH, M. BRANDON 1932 NORTH DRUID HILLS
                                ROAD, SUITE 100 ATLANTA GA 30319
BUNKLEY, ERWINNA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUNN, SUSAN                     MILLER DELLAFERA PLC 3420 PUMP RD., PMD 404 HENRICO VA 23233
BUNNER, LAURA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUNOL, ROSE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BUNT, RHONDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUNTEN, DEBORAH                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BUNTER, ERICA                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
BUNTING, JENNIFER               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUNTING, MARGARET               THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
BUNYARD, MARY                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
BUONO, CATHERINE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BUONO, CORNELIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUPP, DOROTHY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURCH, DOROTHY                  WEITZ & LUXENBERG RELKIN, ELLEN & SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE
                                210 CHERRY HILL NJ 08002
BURCH, ELAINE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BURCH, JANA                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
BURCH, JUDEITH                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
BURCH, SHIRLEY                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
BURCH, SUSAN                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BURCHAM, REBECCA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BURCHETTE, DOLORES              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BURCHETTE, DOLORES              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                       Address Information
BURCIAGA, VIRGINIA              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BURCIAR, ROSELYN                ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
BURD, JOAN                      MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
BURD, RHONDA                    DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
BURDA, CYNTHIA                  EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
BURDEN, DONNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURDEN-DAVIS, JOANNE            KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
BURDEN-DAVIS, JOANNE            LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
BURDICK, LANI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BURDICK, LANI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURDICK, LANI                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BURDICK, LANI                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
BURDINE, GLORIA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BURDYCK, CHERYL                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BURELL, PATRICIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BURETT, VALERIE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BURFORD, JENNIFER               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BURGAN, YOLANDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BURGAN, YOLANDA                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
BURGAN, YOLANDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURGAN, YOLANDA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BURGAN, YOLANDA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BURGART, PAMELA                 SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
BURGE, DONNA                    MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
BURGE, LAURA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BURGER, DARCY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BURGER, DARCY                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BURGER, DARCY                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BURGER, DOROTHY                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BURGER, MARTHA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BURGERT, JANINE                 THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
BURGERT, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURGESS, AMANDALEE              JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
BURGESS, BEULAH                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BURGESS, BRENDA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098


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Claim Name                       Address Information
BURGESS, DIONA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BURGESS, FRANCES                MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
BURGESS, GAIL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURGESS, JOYCE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BURGESS, KAY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BURGESS, PATRICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURGESS, SHERRY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURGESS, STEPHANIE              THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
BURGESS, VICKI                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BURGESS, YVONNE                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BURGETT, ELKE                   SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
BURGHER, SUSAN                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
BURGHER, SUSAN                  LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
BURGHER, SUSAN                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BURGHER, SUSAN                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
BURGHER, SUSAN                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BURGIN, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURGIO, SHARON                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BURGO, CAROLE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURGOON, BETTY                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
BURGOS, ELIZABETH               SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
BURGOS, MARIA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BURGS-JACKSON, LINDA            MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
BURGSTALLER, KATHY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURHAM, SHAUNA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BURK, GERALDINE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BURK, PAMELA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURKE, ARLIS                    DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
BURKE, BETTY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BURKE, BRENDA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BURKE, CAROL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURKE, CATHERINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BURKE, CONSTANCE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURKE, CRISTINE                 MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST


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Claim Name                       Address Information
BURKE, CRISTINE                 TAMPA FL 33602
BURKE, EDNA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURKE, EILEEN                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BURKE, KRISTIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURKE, LISA                     NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
BURKE, LORA                     ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
BURKE, MICHELLE                 FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LUFF, PATRICK - DALLAS TX 75231
BURKE, OLGA                     BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
BURKE, ROSEMARY                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BURKE, SANDRA                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BURKE, SANDRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURKE, SHEILA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BURKE, SHILOH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURKEEN, KAREN                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
BURKES, ANNE                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BURKETT, CAREN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BURKETT, CRYSTAL                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BURKETT, ELLEN                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BURKEY, SANDRA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BURKHALTER, KARLA               WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
BURKHALTER, MARGARET            BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
BURKHALTER, MARGARET            BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
BURKHALTER, PATRICIA            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BURKHARDT, LISA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BURKHART, CAROLYN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURKHART, NELL                  WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
BURKHART, SYLVIA                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BURKHOLDER, CAROLYN             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BURKHOLTZ, VIVIAN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BURKS, KIMBERLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURKS, KIMBERLY                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BURKS, KIMBERLY                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BURKS, NANCY                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BURKS, PATTIE                   MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
BURKS, TERESA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
BURKS-SMITH, CLARA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURL, DEONA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BURLEIGH, MARTHA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BURLEIGH, MARY                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BURLEIGH, MARY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BURLESON, BRENDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURLESON, JUANITA               WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
BURLEW, RUTH                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BURLEY, ERIN                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BURLEY, ROBIN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURLINGHAM, MARIAN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURMASTER, TIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURMEISTER, JOLAINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURNAM, KATHLEEN                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BURNAM, KATHLEEN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BURNELL, DAWNCINA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BURNETT, BARBARA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURNETT, BEVERLY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURNETT, CORAL                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
BURNETT, JERRYE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURNETT, JUDY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURNETT, KAREN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BURNETT, KAREN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURNETT, KAREN                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BURNETT, KAREN                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
BURNETT, KATHLEEN               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BURNETT, KATHLEEN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BURNETT, LISA                   COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
BURNETT, LISA                   THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
BURNETT, LISA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BURNETT, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURNETT, RAMONA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BURNETT, TYLER                  NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
BURNETTE, CHERYL                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
BURNETTE, KRISTY                THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
BURNETTE, LINDA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                       Address Information
BURNETTE, LINDA                 75231
BURNETTE, LORI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURNETTE, SANDRA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BURNEY, ELVIRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURNEY, KATHY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BURNEY, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BURNEY, THOMASIA                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
BURNHAM, EARLENE                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BURNHAM, LISA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURNS CHAREST LLP               365 CANAL STREET, SUITE 1170 WILL THOMPSON, SPENCER M. COX NEW ORLEANS LA
                                70130
BURNS CHAREST LLP               900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX 75202
BURNS, BRENDA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BURNS, BRENDA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BURNS, CYNTHIA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BURNS, DENISE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BURNS, DOROTHY                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BURNS, DOROTHY                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BURNS, ELIZABETH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BURNS, JOANEVA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BURNS, JOANEVA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURNS, JOANEVA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BURNS, JOANEVA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BURNS, JOANNE                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BURNS, KAREN                    POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                LECKMAN, T. MATTHEW CONSHOHOCKEN PA 19428
BURNS, KELLI                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BURNS, MARGARET                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BURNS, MELANIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURNS, MELINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BURNS, PAMELA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BURNS, PATRICIA                 COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
BURNS, PATRICIA                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
BURNS, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURNS, PATRICIA                 THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
BURNS, PATRICIA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BURNS, REBECCA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098


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Claim Name                       Address Information
BURNS, SANDRA                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
BURNS, SANDRA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BURNS, SANDRA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BURNS, SHARON                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURNS, SHELLY                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
BURNS, SHELLY                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BURNS, SHELLY                   LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
BURNS, SHELLY                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BURNS, SHELLY                   ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
BURNS, SHIRLEY                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BURNS, SHIRLEY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BURNS, TAMARA                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
BURNS-GARCIA, LILLIAN           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURO, LAURA                     GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
BURR, MONICA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BURRELL, BEVERLY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BURRELL, BEVERLY                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
BURRELL, BEVERLY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURRELL, BEVERLY                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BURRELL, BEVERLY                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BURRELL, JANEL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURRELL, JUNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURRELL, MELVA                  MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                DAVID M. MINNEAPOLIS MN 55404
BURRELL, TERRYLYN               TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
BURRESS, ANNETTE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BURRESS, ANNETTE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURRESS, ANNETTE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BURRESS, ANNETTE                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BURRESS, DENISE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURRILL, FOOSSIE                DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
BURRIS, AMBER                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BURRIS, DONNA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BURRIS, PAMELA                  MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY



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Claim Name                           Address Information
BURRIS, PAMELA                      11050
BURROUGHS, DARLA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BURROUGHS, ELAINE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURROUGHS, JESSIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURROUGHS, MARY                     LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
BURROUGHS, MELANIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURROWBRIDGE, JOAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURROWS, BRANDY; JOFFROY, LISA      BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                    CA 92660
BURSE, LELIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURSINGER, JULIANNE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
BURT, DOREEN                        POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
BURT, KEONYA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURT, MARLENE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
BURTON, ANDREA                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                    ORANGE VA 02296
BURTON, CHERYL                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BURTON, CHERYL                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
BURTON, GLADYS                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURTON, HELEN                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURTON, LINDA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
BURTON, MARECYA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
BURTON, MARTHA                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BURTON, PAULA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURTON, PETRINA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
BURTON, REBECCA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
BURTON, ROBBIE                      BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. BUDD,
                                    RUSSELL W DALLAS TX 75219
BURTON, ROSA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
BURTON, VERDA                       CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                    14202-3725
BURTRAM, JOYCE                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
BURTS, SIRENA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BURTTRAM, GINA                      THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                    ORLEANS LA 70130
BURUKHINA, NATALIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
BURZENSKI, CHERYL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
BURZYCH, JILL                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
BUSACK, ALISON                      GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                    EDWARDSVILLE IL 62025


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                                                     List
                                                         Entered 02/17/22 16:31:44           Desc Main
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Claim Name                          Address Information
BUSBEE, CLAUDIA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
BUSBIN, LYDIA                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BUSBY, BRENDA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BUSBY, CAROLE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUSBY, GINA                        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
BUSBY, LATONIA                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BUSBY, MARY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BUSBY, REBECCA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BUSCH, BARBARA                     CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                   CHICAGO IL 60602
BUSCH, CHERYL                      THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                   AZ 08501
BUSCH, GEORGANN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BUSCH, JOAN                        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BUSCH, MARTHA                      GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
BUSCH, NASTASSJA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BUSCIACCO, MARIA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                   EDWARDSVILLE IL 62025
BUSH, BARBARA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUSH, BETTY                        MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                   ORLEANS LA 70130
BUSH, CHRISTA                      NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                   11747
BUSH, DONNA                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
BUSH, ESTHER                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
BUSH, ESTHER                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BUSH, GEORGIA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
BUSH, JULIE                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY ADHAM, BASIL
                                   HOUSTON TX 77098
BUSH, KIM                          MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                   ORLEANS LA 70130
BUSH, LAVONDA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUSH, LOLITA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
BUSH, SUE                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
BUSH, THERESA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUSH, TRESHA                       DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102
BUSH, WILMA                        DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102
BUSHA, PATRICIA                    POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                   BRASLOW, DEREK T CONSHOHOCKEN PA 19428


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Claim Name                       Address Information
BUSHAW, LINEECE                 BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
BUSHEY, ROCHELLE                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
BUSHIKA, EVA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BUSHMAN, CHARLENE               SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
BUSKIRK, TRACY                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
BUSSEY, CINDY                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BUSSIERE, SUZANNE               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BUSTAMANTE, MARIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BUSTER, EDWINA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BUSTOS, AMY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BUSTOS, BARBARA                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
BUSTOS, PAMELA                  HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
BUTCHER, DARLENE                BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
BUTCHER, MARY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
BUTE, GENEVA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUTE, ROXANNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUTLER, AMELIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BUTLER, AMELIA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BUTLER, AMELIA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BUTLER, CONSTANCE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BUTLER, COURTNEY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUTLER, CYNTHIA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BUTLER, DEBRA                   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
BUTLER, EMILY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUTLER, GLENDA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BUTLER, GLORIA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BUTLER, GRETA NICHOLS           THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BUTLER, JENNIFER                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUTLER, JESSICA                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
BUTLER, JOAN                    THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
BUTLER, JOE                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BUTLER, JUDY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BUTLER, KATHY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUTLER, KEMUEL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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BUTLER, LISA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BUTLER, LISA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUTLER, LISA                    POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
BUTLER, LUCILLE                 LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
BUTLER, LUVENIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BUTLER, MARLENE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BUTLER, MATTIE                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
BUTLER, NADJA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
BUTLER, NADJA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BUTLER, REGINA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BUTLER, RITA                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
BUTLER, SADE                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
BUTLER, SANDRA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BUTLER, SHALAYA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BUTLER, SHAQUELLA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BUTLER, SHERYL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUTLER, SIAN                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BUTLER, TEGRA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BUTLER, VIVIAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUTLER-HAGY, ANN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUTLER-SISNROY, MARY            JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BUTLER-WEST, VATTISEE           BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
BUTT, DOLORES                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
BUTTE, MARIA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
BUTTERFIELD, ANGELA             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
BUTTERFIELD, BRENDA             NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
BUTTERFIELD, PAULA              COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
BUTTERFIELD, PAULA              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 BINSTOCK, MELISSA HOUSTON TX
                                77098
BUTTERWORTH, CINDY              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BUTTERWORTH, CINDY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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BUTTERWORTH, CINDY                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BUTTERWORTH, CINDY                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BUTTERWORTH, JACQUELIN                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                       PA 19102
BUTTERWORTH, MARY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUTTITTA, PAULA                        GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                       PA 19102
BUTTOR, SHEILA                         GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BUTTOR, SHELIA                         GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                       PA 19102
BUTTS, JUDITH                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BUTTS, PAMELA                          SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                       07102-4573
BUTTS, PAMELA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BUTTS, PAMELA                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
BUTTS, PAMELA                          PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
BUTUCARU-COPACEL, MARIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
BUTURLA, ROSE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BUTZOW, SHELIA                         BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
BUURSMA, JOYCE                         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
BUURSMA, JOYCE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BUZA, SUSAN                            MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
BUZZANGA, JOYCE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BUZZARD, CHARLENE                      WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
BUZZELLI, ANN                          CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
BUZZELLI, MARTHA                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
BYERLEY, TINA                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
BYERLEY, TRINA                         TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
BYERLY, VALERIE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BYERS, BONNIE                          CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
BYERS, SHIRLEY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BYERS, VALENCIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BYINGTON, ALMA                         FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                       THOMAS ROE NASHVILLE TN 37215
BYINGTON, LINDA                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
BYLER, JENINE                          SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                       77098
BYNES, TERA                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
BYNUM, PAULETTE B ESTATE OF PAUL MURRAY WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
BYNUM, ROYLENE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
BYNUM, TIFFANY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BYRD, DIANNE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
BYRD, DONNA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BYRD, EARNESTINE                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
BYRD, ERVINE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BYRD, ESTELIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BYRD, GLORIA                    WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
BYRD, JANEY                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
BYRD, JOANNE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BYRD, KARLA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BYRD, KATIE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BYRD, KENYA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BYRD, LAURA                     POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
BYRD, LORRANIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BYRD, PATRICIA                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
BYRD, PATRICIA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
BYRD, PATRICIA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
BYRD, PATRICIA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
BYRD, ROSEMARY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BYRD, TERRY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
BYRDSONG, DOROTHY               BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
BYRDSONG, DOROTHY               BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
BYRNE, KIMBERLEE                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
BYRNES, PAMELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
BYROM, ANGELA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
BZDAFKA, JENNIFER               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
C. PENA, JORGE                  NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
C., K                           NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
CABA, JUANA                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
CABADING, CATHERINE             MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
CABAEL, LETICIA                 SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573


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                                       LTL Management LLC
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Claim Name                       Address Information
CABALEIRO, MARIA                JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
CABALLERO, TAMI                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CABALLERO, TAMI                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CABALLERO, TAMI                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CABALLERO, TAMI                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
CABANA, ARLENE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CABELL, CAROLYN                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CABEZA, BEATRIZ                 CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
CABRAL, JOAN                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
CABRAL, MACHALIA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CABRAL, RITA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CABRAL, SANDRA                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
CABRERA, CYNTHIA                BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
CABRERA, JOSEFA                 GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
CABRERA, NORMA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CABRERA, RAMONA                 HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
CACCIA, BERTHA                  FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
CACCIATORE, SUSAN               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
CACIOPPE, SUSAN                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CADDICK, PATRICIA               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CADDICK, PATRICIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CADE, DEBBIE                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CADENA, JANIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CADIEUX, JOANNE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CADIS, DEBORAH                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CADIZ, ELIZABETH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CADOR, MIGOLE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CADWELL, ELIZABETH              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CAESAR, EURA                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
CAFARO, LORETTA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CAFFEE, BRENDA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502



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                                       LTL Management LLC
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Claim Name                       Address Information
CAFFEE, JUDY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CAFFERTY, BARBARA               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CAFFERTY, BARBARA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CAFFERY, STAYSHA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CAGG, PATRICIA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CAGGIANO, MARYANN               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CAGGIANO, VIRGINIA              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CAGLE, DEBRA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CAGLE, PATRICIA S.              WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
CAGLE, THERESA                  SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
CAHALL, BARBARA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CAHALL, MARLENE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAHALL, MARLENE                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
CAHILL, CATHERINE               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CAHILL, CATHERINE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CAHILL, CATHERINE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CAHILL, PATRICIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CAHN, LORNA                     THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
CAHOON, DEBRA                   MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
CAIL, GLORIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAIMPON, CARMELITA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAIN, ADINA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAIN, ANITA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAIN, CHARLES                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
CAIN, CHRISTY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CAIN, CYNTHIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CAIN, DAWN                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CAIN, DAWN                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CAIN, DEBORAH                   KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
CAIN, HELEN                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CAIN, JACQUELINE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CAIN, JACQUELINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
CAIN, JACQUELINE                MEADOWS, TED G. MONTGOMERY AL 36104
CAIN, JESSICA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAIN, LINDA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CAIN, MARTHA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CAIN, MARY PRINCE               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CAIN, MARY PRINCE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CAIN, MELBA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CAIN, MELBA                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
CAIN, MELBA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAIN, MELBA                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CAIN, MELBA                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CAINE, SANDRA                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
CAINE, SUSAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAIRA, CONCETTA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CAIRATTI, ALFREDIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CAIRNS, MELINDA                 MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
CAIRNS, REBECCA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAIRNS, ROSEMARIE               DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
CAJIGAS, VIRGENMINA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CALABRESE, KATHLEEN             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CALAHAN, NANCY                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
CALANDRA, JOY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CALANDRA, JOY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CALANDRA, JOY                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CALANDRA, JOY                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
CALASARA, ELMA                  MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
CALDABAUGH, TAMA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CALDERON, ADELAIDA              HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
CALDERON, CRESENCIA             THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
CALDERON, ELEANOR               DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
CALDERON, ELEANOR               KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
CALDERON, GENEVIEVE             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CALDERON, MARIA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CALDERWOOD, CYNTHIA             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231


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Claim Name                       Address Information
CALDWELL, BARBARA               CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
CALDWELL, BARBARA               BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
CALDWELL, BRENDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CALDWELL, CARRIE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CALDWELL, DONNA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CALDWELL, DOROTHY               FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
CALDWELL, GERALDINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CALDWELL, GERALDINE             THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
CALDWELL, IRENE MURRAY          NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
CALDWELL, JUDITH                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
CALDWELL, JUDITH                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CALDWELL, LE-TORIA              NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
CALDWELL, MARIA                 DRISCOLL FIRM, P.C. JOHNSON, PAUL W. 211 N. BROADWAY, STE. 2440 ST. LOUIS MO
                                63102
CALDWELL, MARILYN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CALDWELL, PEGGY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CALDWELL, SHARON                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
CALDWELL, SHARONDA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CALDWELL, VICKY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CALHOON, SANDRA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CALHOON, SANDRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CALHOON, SANDRA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CALHOON, SANDRA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CALHOUN, BECKY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CALHOUN, BECKY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CALHOUN, BECKY                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CALHOUN, BECKY                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CALHOUN, BETTY                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CALHOUN, BETTY                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CALHOUN, CAROL                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CALHOUN, CAROLYN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CALHOUN, MANDY                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CALHOUN, PAM                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
CALHOUN, PATTI                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024



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Claim Name                       Address Information
CALHOUN, TRISH                  SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
CALI, JULIE                     FEARS NACHAWATI, PLLC C/O DARREN MCDOWEL 5473 BLAIR ROAD DALLAS TX 75231
CALICOTT, JULIANNE              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CALIGIURI, NANCY                ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
CALIGUIRE, ANNE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CALIPSO, GWENDOLYN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CALK-ROACH, ROSE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CALKIN, GINA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CALL, STEPHANIE                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CALLAHAN, ELLEN                 JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
CALLAHAN, ELLEN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CALLAHAN, JANET                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
CALLAHAN, JANICE                ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
CALLAHAN, JUDITH                HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
CALLAHAN, KADEE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CALLAHAN, LINDA                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
CALLAHAN, MICHELLE              NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
CALLAHAN, PATRICIA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CALLAHAN, PHYLIS                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CALLAHAN, PHYLIS                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CALLAHAN, SHELIA                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
CALLAHAN, SHELIA                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CALLAHAN, SHELIA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CALLAHAN, THERESA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CALLAHAN, TINA                  SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
CALLAHAN, TINA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CALLAHAN, TINA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CALLAHAN, TINA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CALLAWAY, MONICA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CALLAWAY, MONICA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CALLEGRI, CYNTHIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CALLEI, ADAMO                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX



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Claim Name                              Address Information
CALLEI, ADAMO                          77007
CALLIHAN, AUTUMN                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CALLISON, MARIA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
CALLISON, MARIA                        GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                       MINNEAPOLIS MN 55402
CALLISON, MARIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CALLISON, MARIA                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CALLISON, MARIA                        PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CALLOWAY, AILEEN                       ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
CALLOWAY, ALIEEN                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                       77098
CALLOWAY, WANDA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
CALLWOOD, ANNA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CALONI, JEANNINE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CALTON, LAKIESHIA                      GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                       MINNEAPOLIS MN 55402
CALVA, DOROTHY                         DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
CALVERT, BENNIE                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
CALVERT, BRENDA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CALVERT, JUDITH                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
CALVERT, VICKIE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CALVETTI, JAMES A & EST OF JOSEPH      CALVETTI, MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23
                                       FLOOR NEW YORK NY 10017
CALVI, AMY                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
CALVI, DIANE                           THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                       AZ 08501
CALVIELLO, GERALDINE                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
CAMACHO, ELIZABETH                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAMACHO, KELLY                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CAMACHO, MARIA                         JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                       77002
CAMAIONI, ROSEANNA                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CAMARILLO, CHRISTINE                   MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
CAMARILLO, DELPHINE                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CAMARILLO, DELPHINE                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CAMBRIA, BEVERLY                       KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
CAMBRIA, KELLY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAMBRON, MONICA                        CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                       CHICAGO IL 60602
CAMEL, DONNA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAMERA, ROSE                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
CAMERILLO, DELPHINE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAMERON, DEBORAH                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                             Address Information
CAMERON, KATHLEEN                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CAMERON, LENA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
CAMERON, LYNDA                        FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD RAGGIO, JOHN LUFF, DALLAS TX 75231
CAMERON, TAMMY                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
CAMERON, TRACY                        DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                      63102
CAMERON, VERA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
CAMERON, VICTORIA                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                      ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
CAMILLI, JOAN                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
CAMIONSCHU, MARIANA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                      ORANGE VA 02296
CAMMALLERI,EMILIO &                   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
CAMMALLERI,CLAUDETTE                  HILL NJ 08002
CAMMARN, CARLA                        HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                      63101
CAMP, ANDREA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
CAMP, BARBARA                         SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
CAMP, CARLA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
CAMP, CARLA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAMP, CARLA                           THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CAMP, CARLA                           PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CAMP, CAROL                           THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
CAMP, JERRYE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
CAMP, KIMBERLY AND CAMP, MICHAEL      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                      HILL NJ 08002
CAMP, METOKA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAMP, MICHELLE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAMP, SHERRY                          FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CAMP, VALERIE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAMP-GRAY, AMANDA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
CAMPA, HELEN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAMPA, ROSAMIA                        LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CAMPA, ROSAMIA                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                      ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
CAMPANA, GERMANIA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
CAMPANY, MAMIE                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                      ORANGE VA 02296
CAMPBELL, ARDITH                      SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
CAMPBELL, ARLENE                      CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                      14202-3725
CAMPBELL, ASHLEY                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CAMPBELL, BELINDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                                Address Information
CAMPBELL, BERTHA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
CAMPBELL, BETTY                          THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
CAMPBELL, BRENDA                         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CAMPBELL, BRENDA                         DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
CAMPBELL, BRENDA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
CAMPBELL, BRENNA                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
CAMPBELL, BRENNA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
CAMPBELL, CHERI                          HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                         CHRISTOPHER CORPUS CHIRSTI TX 07837
CAMPBELL, CHERLYN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAMPBELL, CHERYL                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAMPBELL, CINDY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
CAMPBELL, COLLEEN                        DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                         63102
CAMPBELL, CONNIE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAMPBELL, CYNTHIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAMPBELL, DAVELENE                       POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
CAMPBELL, DIANNE                         ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
CAMPBELL, DORA                           ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
CAMPBELL, DOROTHY                        THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                         CHARLESTON WV 25301
CAMPBELL, ELIZABETH                      LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                         SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
CAMPBELL, ELLEN                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
CAMPBELL, EMILY                          BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                         70130
CAMPBELL, GAY & EST OF IVY FERGUSON      MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                         YORK NY 10017
CAMPBELL, JANET                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAMPBELL, JANETTE                        HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                         63101
CAMPBELL, JENNIFER                       MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                         YORK NY 10017
CAMPBELL, JENNIFER                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
CAMPBELL, JOANN                          BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                         70130
CAMPBELL, JOY                            FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CAMPBELL, KATHLEEN                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAMPBELL, KATHRYN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAMPBELL, KIMBERLY                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
CAMPBELL, KIMBERLY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAMPBELL, LATOYA                         WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                         NJ 08002



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Claim Name                       Address Information
CAMPBELL, LAURIE                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CAMPBELL, LEANN                 LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
CAMPBELL, LUCY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CAMPBELL, MARCELL               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CAMPBELL, MARCELL               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CAMPBELL, MARGARET              DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
CAMPBELL, MARGARET              LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CAMPBELL, MARGARET              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CAMPBELL, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAMPBELL, NANCY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CAMPBELL, PAMELA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CAMPBELL, PAULETTE              GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
CAMPBELL, PEARLIE               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CAMPBELL, RUBY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CAMPBELL, SANDRA                SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
CAMPBELL, SHANNON               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
CAMPBELL, SHARON                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CAMPBELL, SURFLORUNIA           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CAMPBELL, TAMMY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAMPBELL, TAMMY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CAMPBELL, TERESA                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
CAMPBELL, VANESSA               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
CAMPBELL, VEDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAMPBELL, WANDA                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
CAMPBELL, YAKEISHA              THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
CAMPBELL, YVONNE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAMPBELL-TURNER, VIRGINIA       THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
CAMPEN, KAREN                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CAMPI, ERIN                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CAMPISI, DEBRA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX


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Claim Name                              Address Information
CAMPISI, DEBRA                         77098
CAMPO, SUSANNA ESTATE OF GIOVANNI CAMPO LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                        NJ 08648
CAMPOLINI, LINDA                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
CAMPOS, NICOLE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAMPOS, TERESA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
CAMPOS, TERESA                         GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                       MINNEAPOLIS MN 55402
CAMPOS, TERESA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAMPOS, TERESA                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CAMPOS, TERESA                         PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CAMPUS, ELEANOR                        NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                       11747
CANADA, SARAH TERESA                   LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET HIGHTOWER, KRISTIE LAKE
                                       CHARLES LA 07060
CANADAY, AMANDA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
CANADY, CAROL                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
CANADY, CHRISTINE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
CANADY, CHRISTINE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CANADY, CHRISTINE                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CANADY, ENITA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
CANADY, PAMELA                         REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J EPHRON,
                                       MELISSA HOUSTON TX 77027
CANALES, CLAUDIA                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
CANAN, CHARMINE                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
CANANT, REGINA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CANARD, BEVERLY                        THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                       MADISON MS 39110
CANCIENNE, HAZEL                       ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CANCIENNE, HAZEL                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
CANDELLARIO, MARIA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CANDIELLO, ROSE                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
CANEJO, MELISSA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CANFIELD, FERN                         NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                       PR 00918
CANFORA, JUDITH                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
CANGE, MARY                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CANINE, SHIRLEY                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
CANIPE, NATALIE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
CANN, DIANA                     POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
CANN, MARY                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CANNADY, MICHELLE               GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
CANNICE, KAREN                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 THOMPSON, WILL COX, SPENCER M.
                                NEW ORLEANS LA 70130
CANNING, DEBORAH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CANNINI, PAULINE                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
CANNON, ANNE                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
CANNON, BERNICE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CANNON, BOBBIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CANNON, CANDY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CANNON, CHERYL                  COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
CANNON, DEBORAH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CANNON, ELDORA                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
CANNON, JANET                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CANNON, JENNY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CANNON, JESSIE                  TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
CANNON, JUDITH                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CANNON, LINDA                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
CANNON, MARIAN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CANNON, MELODY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CANNON, PATRICIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CANNON, PHYLLIS                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
CANNON, SHARITA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CANNOVO, TRACY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CANNY, ELLEN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CANO, CLAIRE                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CANO, ISABEL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CANO, MELISSA                   MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
CANOSA, SANDRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CANSINO, LIZA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CANTAGI, MARIE                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
CANTALUPO, LOIS                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CANTALUPO, LOIS                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                         Address Information
CANTER, BETTY                     GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
CANTER, BETTY                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                  ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
CANTERINO, DOMENICA               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
CANTLEY, KIMBERLY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
CANTLEY, LINDA                    ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                  ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
CANTRELL, KATRINA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CANTRELL, KRISTAL                 MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                  KNOXVILLE TN 37929
CANTRELL, LINDA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                  EMILY FAIRFAX VA 22031
CANTRELL, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
CANTRELL, SHERRY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
CANTRELL, VERSIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
CANTU, FRANCIS                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
CANTU, JUAN AND CANTU, LAURA      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                  HILL NJ 08002
CANTU, KATHY                      ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                  LOUIS MO 63119
CANTU, MARIA                      POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
CANTWELL, MARGARET                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
CAPECI, ANN                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                  STREET, SUITE PENSACOLA FL 32502
CAPEHART, ALMEATHA                WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                  NJ 08002
CAPEHART, KAREN                   BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                  CA 92660
CAPEK, CLAUDIA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
CAPERTON, REGINA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CAPIZZI, DENISE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAPLES, TANYA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAPLIN, CAROL                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAPO, MELISSA                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CAPO, REGINA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
CAPP, FLORENCE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAPPA, JOYCE                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CAPPELLO, JANICE                  MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                  KNOXVILLE TN 37929
CAPPELLO, TERRI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
CAPPIELLO, CHRISTINA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
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Claim Name                       Address Information
CAPPS, JUDY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAPRIO, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAPRIOTTI, JOANNE               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CAPUTO, JESSICA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CARABALLO, DAISY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARABALLO, ESPERANZA            MCSWEENEY/LANGEVIN, LLC MCSWEENEY, RHETT A. 2116 SECOND AVENUE SOUTH
                                MINNEAPOLIS MN 55404
CARABETTA, PATRICIA             GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CARACAPPA, DIANA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARACCIOLO, ELSIE               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CARACCIOLO, ELSIE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARAGAN, CHERYL                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARAMANICA, EDWARD              MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                YORK NY 10017
CARANNANTE, IRENE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARASSALE, DONNA                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
CARASSALE, DONNA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARAWAY, PAULETTE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARAWAY, PAULETTE               GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
CARAWAY, PAULETTE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARAWAY, PAULETTE               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CARAWAY, PAULETTE               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CARBAJAL, LIDIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARBAJAL, LIDIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARBAJAL, LIDIA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CARBAJAL, LIDIA                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
CARBAJAL, LIDIA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
CARBONE, ANN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARBONNEAU, CAROL               DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
CARD, JANET                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CARD, JANET                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARDAMONE, WENDY                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CARDELLA, ANTOINETTE            FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CARDELLA, SHELLY                MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
CARDELLO, GAETANA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARDEN, MINERVA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARDENAS, AIMEE                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102


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Claim Name                               Address Information
CARDENAS, AIMEE                         LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CARDENAS, AIMEE                         ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                        & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
CARDENAS, AIMEE                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                        ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CARDENAS, CECILIA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
CARDENAS, JEAN AND ANDREA CARDENAS      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                        NJ 08648
CARDENAS, KATHERINE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
CARDENAS, MARIA                         HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                        63101
CARDENAS, MARISELA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARDENAS, OLGA                          DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
CARDER, CRYSTAL                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
CARDER, CRYSTAL                         GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                        MINNEAPOLIS MN 55402
CARDER, CRYSTAL                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARDER, CRYSTAL                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CARDER, CRYSTAL                         PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CARDER, KATIE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARDER, KIM                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARDINALE, JUDITH                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARDINALLI, CAY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARDONA, JEANNIE                        ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
CARDOSO, MAUREEN                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
CARDWELL, DONNA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARDWELL, MALIA                         MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                        KNOXVILLE TN 37929
CARDWELL, STACY                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                        ROBINSON, JR. MARK P. KAR NEWPORT BEACH CA 92660
CAREAGA, LYDIA                          ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CAREAGA, LYDIA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
CARELLA, ALICE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
CARELLAS, KRISTIN                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                        STREET, SUITE PENSACOLA FL 32502
CARETTO, MINDY                          PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
CAREW, MARYELLEN                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
CAREW, TAMARA                           MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                        TAMPA FL 33602
CAREW, VENUS                            FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CAREY, CHRYSTAL                         THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                        ORANGE VA 02296
CAREY, DIANE                            ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007



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                                                              Entered 02/17/22 16:31:44           Desc Main
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Claim Name                               Address Information
CAREY, ELIZABETH                        ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                        LOUIS MO 63119
CAREY, FRANCES                          TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
CAREY, JOANNE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAREY, PAMELA                           FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CAREY-WESTOVER, TARA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
CARICCHIO, NANCY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
CARINCI, FRANCESCA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARINI, DONNA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
CARINI, LOURDES                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
CARKHUFF, HELEN                         THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                        CHARLESTON WV 25301
CARL, BRANDI                            GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                        PA 19102
CARLA KELDER                            JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                        PAUL MN 55101
CARLE, ALICIA                           ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
CARLE, LOUISE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARLE, TERESA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
CARLETON, ANNE                          MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                        TAMPA FL 33602
CARLETON, CATHY                         THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
CARLEY, PATRICIA                        JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                        77002
CARLILE, JANE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARLIN, HEATHER                         COHEN, PLACITELLA & ROTH 127 MAPLE AVE. PLACITELLA, CHRISTOPHER M. GEIER,
                                        DENNIS M. RED BANK NJ 07701
CARLIN, MELISSA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARLINE, HELGA AND CARLINE, GERALD      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
CARLINE, KATHLEEN                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARLINE, LISA                           ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
CARLINO, ROSEANN                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
CARLISLE, MARY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARLISLE, ROLELIAN                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
CARLISLE, VIRGINIA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARLO, MARGARET                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARLOS, CANDELARIA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARLOTTA, DOROTHY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARLSON, CHRISTY                        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CARLSON, CHRISTY                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                        77098
CARLSON, ILIONE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
CARLSON, ILIONE                 MEADOWS, TED G. MONTGOMERY AL 36104
CARLSON, JOANN                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
CARLSON, JOANN                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
CARLSON, MARY                   THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
CARLSON, NANCY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARLSON, SARA                   WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
CARLSTEAD, MARILYN              DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
CARLTON, AMANDA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CARLTON, AMANDA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CARLTON, ANNIE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CARLTON, JACQUELYN              WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
CARLTON, PATRICIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CARLTON, ROCKLIN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARLYLE, MELODIE                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CARMACK, SABRINA                BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
CARMACK, SHIRLEY                FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
CARMACK-SWIFT, DEBORAH          DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
CARMELO, BONITA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CARMEN ROBERTSON                BISNAR AND CHASE ANTURNOVICH, TOM & CHASE, BRIAN D. 1301 DOVE STREET, SUITE
                                120 NEWPORT BEACH CA 92660
CARMEN, SHERRY                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
CARMEN, SHERRY                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CARMEN, SHERRY                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CARMICHAEL, BERNICE             GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CARMICHAEL, TERRIE              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
CARMICHAEL, TIWANA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CARMICHAEL, YVETTE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARMON, TRACY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARMONA, RACHEL                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CARMOUCHE, JUNE                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CARNEAL, NANCY                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
CARNELL, MARYANNE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CARNES, BETTY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
CARNES, BETTY                   MEADOWS, TED G. MONTGOMERY AL 36104
CARNES, CHRISTINA               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CARNEY, ALETHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARNEY, KIMBERLY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARNEY, MARGARET                THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
CARNLEY, ROSARIO                WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
CARO, DIANA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CARO, EDUVIGES                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARO, LISA                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CAROL CASINO                    BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                COMMERCE STREET MONTGOMERY AL 36104
CAROL CORLESS                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
CAROL MCGARY                    JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
CAROL MITCHELL                  BISNAR AND CHASE ANTURNOVICH, TOM & CHASE, BRIAN D. 1301 DOVE STREET, SUITE
                                120 NEWPORT BEACH CA 92660
CAROL ROBINSON                  MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
CAROL SCURRY                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
CAROLINE MURPHY                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
CAROLLO, SUSAN                  TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
CAROLYN FLADLAND                JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
CAROLYN OLSON                   MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
CAROLYN SILAY                   FLETCHER V. TRAMMELL TRAMMELL, FLETCHER V 3262 WESTEIMER, SUITE 423 HOUSTON TX
                                77098
CAROLYN SIRKER                  BISNAR AND CHASE ANTURNOVICH, TOM & CHASE, BRIAN D. 1301 DOVE STREET, SUITE
                                120 NEWPORT BEACH CA 92660
CAROLYN YANKE                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
CARON, ANNE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARON, MARIANNE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CAROTHERS, BETTY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CAROTHERS, PAMELA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CARPEN, NANDIKUMARIE            CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
CARPENTER, BARBARA              GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
CARPENTER, BARBARA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARPENTER, BILLIE               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CARPENTER, BONNIE               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CARPENTER, BRYAN                NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY



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Claim Name                       Address Information
CARPENTER, BRYAN                PR 00918
CARPENTER, CAROL                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
CARPENTER, CAROLYN              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
CARPENTER, CARRIE               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CARPENTER, CARRIE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARPENTER, CHARLYN              BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
CARPENTER, DASENA               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CARPENTER, DAWN                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
CARPENTER, DAWN                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CARPENTER, DAWNMARIE            THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
CARPENTER, DEBORAH              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARPENTER, DEVANNI              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CARPENTER, EUNICE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARPENTER, JESSICA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CARPENTER, KAREN                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CARPENTER, KELLY                MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 09006
CARPENTER, LINDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARPENTER, MARVA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CARPENTER, PAMELA               JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
CARPENTER, SHARON               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARPENTER, STARLA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARPENTER, VICKY                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CARPENTIERI, MARY               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CARPENTIERI, MARY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARPER, WENDY                   BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
CARPINTERO, RUBY                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
CARR, ALEXIS                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
CARR, BETTY                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CARR, CAROLE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARR, CAROLYN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CARR, CARRIE                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031



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Claim Name                       Address Information
CARR, CARRIE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARR, DESIREE                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CARR, DIANNE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARR, FANNIE                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CARR, FRANCINE                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
CARR, ILENE                     FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
CARR, MELISSA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARR, PAMELA                    MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
CARR, ROSE                      SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
CARR, RUTHIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CARR, SHELLY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARRARO, JEANNE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARRAS, PAULA                   THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                FERRARO, JR, JAMES L MIAMI FL 33131
CARRASCO, GUADALUPE             DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
CARRASCO, MARISOL               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CARREAU, MARCELLE               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CARREAU, MARCELLE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARREIRO, SHANNON               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CARRELL, JENNIFER               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARREON, RAMON                  MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                YORK NY 10017
CARREON, SHERRY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARRERA, GUADALUPE              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CARRERO, AMPARO                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
CARRETO, LINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARRICO, RASHEL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARRIER, KAREN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARRIER, KAREN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARRIER, KAREN                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CARRIER, TAVITA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CARRIERE, TONYA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARRILLO, HILDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARRILLO, HILDA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX



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Claim Name                       Address Information
CARRILLO, HILDA                 77007
CARRILLO, MARIA                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
CARRILLO, STACY                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CARRINGTON, CELESTE             DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
CARRINGTON, LENAE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARRINGTON, TAMMY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARRINO, SUSAN                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 TREVINO, MARGOT CUBBERLY
                                WALT BRAHMBHATT SEJAL K HOUSTON TX 77017
CARRIUOLO, DEBRA                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CARRIUOLO, DEBRA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CARRIUOLO, JOANNE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CARROLL, ALVETTA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CARROLL, CRISTINA               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
CARROLL, EMILY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARROLL, INA                    BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
CARROLL, JULIA                  MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
CARROLL, KERRY                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
CARROLL, LANELLE                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CARROLL, LANELLE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARROLL, LINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARROLL, MARIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARROLL, MARRIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CARROLL, MYRTLE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CARROLL, ROXANE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARROLL, SHARON                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARROLL, SHARON                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARROLL, SHARON                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CARROLL, SHARON                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
CARROLL, SHARON                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CARROLL, STACEY                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
CARROLL, TAMARA                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
CARROLL, TINA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARRUBBA, MARSHA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CARRUBBA, MARSHA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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CARRUYO, MARIOL                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CARSON, ALMA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARSON, CAROLYN                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
CARSON, CAROLYN                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
CARSON, CHRISTA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARSON, DEBORAH                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CARSON, DONNA                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
CARSON, JESSIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CARSON, LATANGELA               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CARSON, MARGIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARSON, RAMONA                  HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
CARTER, ANGELA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARTER, ANNA                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
CARTER, ARLITA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARTER, BARBARA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CARTER, BARBARA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARTER, BETH                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARTER, BONNIE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CARTER, BRENDA                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
CARTER, BRENDA                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
CARTER, CARMIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARTER, CAROL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARTER, CAROL                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CARTER, CRYSTAL                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CARTER, CYNTHIA                 LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MOSS, JAIME MANHATTAN
                                BEACH CA 90266
CARTER, DEBORAH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARTER, DIANA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARTER, DONNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARTER, DOTTIE                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
CARTER, EVELYN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARTER, FELICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARTER, FLORA                   MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464



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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
CARTER, GEORGEANN               THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
CARTER, GLORIA                  MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
CARTER, JANE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CARTER, JANINE                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
CARTER, JEAN                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, STEPHENSON, W. CAMERON 316
                                SOUTH BAYLEN ST., SUITE 400 PENSACOLA FL 32502
CARTER, JOAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARTER, KAREN                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CARTER, KATHERINE               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CARTER, KATHY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARTER, KELLY                   NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
CARTER, KIMBERLY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARTER, LAVINA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CARTER, LINDA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CARTER, LINDA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
CARTER, LISA                    TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
CARTER, LISA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARTER, LISA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CARTER, LORNA                   COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
CARTER, LYNETTE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARTER, LYNETTE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CARTER, LYNETTE                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CARTER, LYNETTE                 MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
CARTER, MARIANNE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARTER, MARILYN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CARTER, MARLENE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARTER, MARY                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CARTER, MATTIE                  TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
CARTER, MILLICENT               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARTER, MONA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CARTER, MONICA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CARTER, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARTER, PAULINE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARTER, REGINA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007



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Claim Name                       Address Information
CARTER, RHONDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARTER, RHONDA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
CARTER, RHONDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARTER, RHONDA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CARTER, RHONDA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CARTER, STELLA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CARTER, STELLA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
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CARTER, TARSHWA                 CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
CARTER-CRUZ, BERNADETTE         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARTER-LEDSOME, PAMELA          WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
CARTER-PALMER, PENELOPE         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CARTER-SEIBERT, KAREN           ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CARTHER, ROSETTA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CARTIER, ROBIN                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CARTLEDGE, NORMA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARTOLANO, FRANCINE             CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
CARTWRIGHT, BARBARA AND         LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
CARTWRIGHT,JASON                NJ 08648
CARTWRIGHT, PATRICIA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARTY, JACQUELINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARUSO, ANN                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CARUSO, DONNA                   COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
CARUSO, GREGORY                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CARUTHERS, TERRY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARVER, CAROLYN                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CARVER, DEBRA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CARVER, GWEN                    THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
CARVER, LISA                    BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
CARVER, MARGARITA               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CARVER, PAMELA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CARWILE, ALICE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CARY, LYNN                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                       Address Information
CARY, LYNN                      GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
CARY, LYNN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARY, LYNN                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CARY, LYNN                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CARY, TERRI                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
CARYL, KIMBERLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CARYL, KIMBERLY                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
CARZELL, MARQUETTA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CASAMENTO, LORRAINE             GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CASAS, BELINDA                  WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
CASAS, SOLANGEL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CASAS, SOLANGEL                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CASAS, SOLANGEL                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CASAZZA, ROSEMARIE              KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
CASBOHM, HEATHER                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CASCARDI, LITA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CASCELLA, KELLY                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
CASCI, KATHLEEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CASCI, KATHLEEN                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CASCI, KATHLEEN                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CASCONE, GINA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CASE, DANIELLE                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CASE, DELORES                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CASE, IVON                      MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
CASE, PEGGY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CASE, ROSE                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CASELLA, THERESA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CASELLA, THERESA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CASELLA, VIRGINIA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CASEMAN, SHIRLEY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CASERO, JUDITH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CASERTA, SHARON                 LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
CASEY, BRENDA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CASEY, DONNA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
CASEY, DONNA                    MEADOWS, TED G. MONTGOMERY AL 36104
CASEY, DONNA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
CASEY, DONNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CASEY, DONNA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CASEY, DONNA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CASEY, EDDA                     WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
CASEY, GRAZYNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CASEY, KAREN                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
CASEY, KATHERINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CASEY, KATHERINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CASEY, KATHERINE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CASEY, KATHERINE                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CASEY, KENNY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CASEY, LINDA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CASEY, LINDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CASEY, MELISSA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CASEY, PATRICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CASEY, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CASEY, PATRICIA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CASEY, PATRICIA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CASEY, SHELBA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CASEY, SHERRI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CASHER, YVONNE                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
CASHION, RITA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CASIANO, JOSEPHINE              BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
CASIAS, ANGELITA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CASIMIRE, CELESTINE GLOVER      WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
CASKEY, RITA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CASKEY-SCHREIBER, LAURA         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CASLIN, LINDA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CASON, SHAREN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CASPER, MARLENE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CASS, LOIS                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CASSADA, JUNE                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
CASSADA, JUNE                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
CASSANDRA DURAN                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502


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Claim Name                       Address Information
CASSEL, ARLENE                  KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
CASSELLA, SILVERIA              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
CASSELLO-MALONE, LILA           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CASSELMAN, BETTY                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
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                                THOMAS ROE NASHVILLE TN 37215
CASSIDY, RAYNITA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CASSIE CHAPEL                   FLETCHER V. TRAMMELL BINSTOCK, MELISSA & TRAMMELL, FLETCHER V 3262 WESTEIMER,
                                SUITE 423 HOUSTON TX 77098
CASSIO, DIANE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CASSITY, KARI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CASTANEDA, RAYDEL               DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
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CASTELLANO, MARINA              BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
CASTELLANOS, JESSICA            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CASTELLANOS, MARIA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CASTELLI, DEBORAH               WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
CASTELLO, MARA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CASTELLO, MAUREEN               MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
CASTELLO, PEARL                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CASTERLIN, BARBARA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CASTIGLIONI, STACEY             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CASTIGLONE, JEANROSE            CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
CASTILLO, CRYSTAL               DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
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                                STREET, SUITE PENSACOLA FL 32502
CASTILLO, ESPERANZA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CASTILLO, JUN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
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CASTILLO, MARICHIA              DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
CASTILLO, MONICA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CASTILLO, PAULA                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
CASTILLO, PAULA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CASTILLO, PAULA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CASTILLO, PAULA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768


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CASTILLO, PETRA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CASTILLO, SINDA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
CASTILLO, SINDA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CASTILLO, SINDA                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
CASTILLO, SINDA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CASTILLO, SINDA                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
CASTLE, ANNINA                  WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
CASTLE, BRIDGET                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CASTLE, BRIDGET                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CASTLE, HEATHER                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CASTNER, KIMBERLY               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
CASTONGUAY, CHRISTINE           JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
CASTORE, TAMMY                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
CASTRICONE, ELIZABETH           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
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CASTRO, ALICIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CASTRO, ANNE                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
CASTRO, CINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CASTRO, KERIJANE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CASTRO, KERIJANE                THE POTTS LAW FIRM, LLP 3737 BUFFALO SPEEDWAY STE 1900 HOUSTON TX 77098
CASTRO, KERIJANE                SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
CASTRO, LEILA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CASTRO, LOURDES                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CASTRO, MARJORIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CASTRO, MARSHA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
CASTRO, VANESSA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CASWELL, KRISTEEN               LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                NICHOLAS LAKE CHARLES LA 07060
CATALANO, BARBARA               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
CATALDO, JOANNA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CATANIA, PATRICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CATANZARO, DORIS                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CATAPANO, ROSEANNE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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CATAPANO, ROSEANNE                MEADOWS, TED G. MONTGOMERY AL 36104
CATAPANO, ROSEANNE                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                  MINNEAPOLIS MN 55402
CATAPANO, ROSEANNE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CATAPANO, ROSEANNE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CATAPANO, ROSEANNE                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CATARIOUS, LORI                   COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
CATCHINGS, KRYSTAL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CATER, VALERIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
CATES, CARLA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
CATES, FLORENCE                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                  STREET, SUITE PENSACOLA FL 32502
CATES, LINDA EST MARIA CATES      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                  NJ 08648
CATES, VICKIE                     FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
CATHCART, MARILYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
CATHERINE FIELDS                  BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                  COMMERCE STREET MONTGOMERY AL 36104
CATHERINE GILLIGAN                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                  LOUIS MO 63119
CATHERINE SCOTT                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                  LOUIS MO 63119
CATHERS, JUDITH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CATHY BAIRD                       JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                  PAUL MN 55101
CATHY CARRERA                     WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                  NJ 08002
CATHY MOSS                        BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                  COMMERCE STREET MONTGOMERY AL 36104
CATHY NEAL                        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                  STREET, SUITE 200 PENSACOLA FL 32502
CATILLER, BARBARA                 NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                  PR 00918
CATO, LINDA                       CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                  14202-3725
CATO, SANDRA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
CATOE, MARGARET                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
CATRETT, ANGELA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                  EMILY FAIRFAX VA 22031
CATRETT, ANGELA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
CATRON, MELISSA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                  77007
CAUBBLE, DELORES                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAUDILL, KIMBERY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAUDILL, MELISSA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                  STREET, SUITE PENSACOLA FL 32502



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CAUDILLO, PHYLLIS               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAUDLE, MARION                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
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CAULTON, MARCIA                 JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
CAUSEY, JOANN                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CAUSEY, WENDY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CAUSWAY, SANDRA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CAUTI, MARGARET                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CAVANAGH, CATHERINE             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CAVANAGH, CATHERINE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CAVANAUGH, TERESA               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CAVAZOS, GRACIE                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
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CAVAZOS, ROSALINDA              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CAVE, JALISA                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
CAVETT, STEPHANIE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
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CAVICCHIO, JACQUELINE           MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. MIGLIORI, DONALD A. MT. PLEASANT SC 29464
CAVIN, EURYDICE                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
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                                KNOXVILLE TN 37929
CAVOR, BALINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CAWTHRA, ELIZABETH              HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
CAYANAN, LAINNIE                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CAYLOR, SARA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CAYLOR, SARA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CAZALOT, VONCEIL                MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
CAZARES, CARLA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
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CAZARES, NICOLE                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CAZARES, VERONICA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CEBALLOS, RITA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CEBALLOS, SONIA                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY


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Claim Name                       Address Information
CEBALLOS, SONIA                 14202-3725
CEBALLOS, THERESSA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CECCATO, RHONDA                 SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
CECERE, JENNIFER                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CECHURA, MARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CECHURA, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CECHURA, MARY                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CECHURA, MARY                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CECIL, CATHERINE                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CECIL, ROSE                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CECILIA CRAIG                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
CECILIA HERNANDEZ               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
CECILIA PAPPAS                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC PUTNICK, MARY ELIZABETH 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
CEDERLE, LUCILLE                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CEJA, MARTHA                    TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
CELAURO, LUIGIA                 MOTLEY RICE, LLC 50 CLAY STREET, SUITE 1 HOYLE, THOMAS DAVID MORGANTOWN WV
                                26501
CELESTINE, DEBORAH              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CELESTINO, CHERRY               JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
CELI, FRANCES                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
CELLINO & BARNES, P.C.          2500 MAIN PLACE TOWER M WILSON, M WILLIAMS, B GOLDSTEIN BUFFALO NY 14202-3725
CENA, ROXANNE                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
CENTENO, ELIZABETH              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CENTENO, ELSA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CENTENO, JADIRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CENTERS, PATRICIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CENTRILLA, EILEEN               POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                BRASLOW, DEREK T CONSHOHOCKEN PA 19428
CEPEDA, FATIMA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CEPHAS, LYNETTE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CERCEO, ALINE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CERIGNY, MANDY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CERNA, SONIA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR. MARK P. KAR NEWPORT BEACH CA 92660
CERNIGLIA, JANET                HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
CERRITOS, MARIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CERRITTO, KATHLEEN              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231


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Claim Name                       Address Information
CERRONE, CHERI                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CERRONE, CLAIRE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CERVANTES, ALICIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CERVANTES, LORRAINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CESARIO, CHRISTINE              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CESMAT, DONNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CESPEDES, RHONDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CETINA, TANYA                   WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
CHABINEC, ANGELA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHACON, PATRICIA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CHADDOCK, GRACIE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CHAFFEY, DEBBIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHAFFIN, KATHLEEN               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CHAFFINS, BARBARA WEAVER        DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
CHAIN, JOAN                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
CHAIREZ, GLORIA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CHAISSON, GRACE                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
CHAKALOS, JANICE                MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
CHALEKIAN, SUZANNE              LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
CHALIFOUR, BRENDA               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
CHALK, DORIS                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHALKER, JEANETTE               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CHALLENGER, VEDA                WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
CHAMBERLAIN, ANGELA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHAMBERLAIN, BUCKY              WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
CHAMBERLAIN, CAMILLE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHAMBERLAIN, GERTRUDE           KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
CHAMBERLAIN, LYDIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHAMBERLIN, CHRISTINE           CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
CHAMBERLIN, LEIGH               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
CHAMBERLIN, LEIGH               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CHAMBERLIN, LEIGH               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CHAMBERLIN, MARY                BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 BUDD, RUSSELL W DALLAS TX
                                75219
CHAMBERS, BERNICE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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CHAMBERS, BERNICE               75231
CHAMBERS, BONNIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHAMBERS, BONNIE                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
CHAMBERS, BONNIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHAMBERS, BONNIE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CHAMBERS, BONNIE                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CHAMBERS, BRENDA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CHAMBERS, CELINDA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHAMBERS, DIANNE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CHAMBERS, DIANNE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHAMBERS, JANICE                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
CHAMBERS, JOANN                 LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
CHAMBERS, JUDY                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CHAMBERS, JUDY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHAMBERS, LATICE                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CHAMBERS, LISA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CHAMBERS, LULLA                 HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
CHAMBERS, MARJORIE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHAMBERS, NANCY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHAMBERS, RUTH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHAMBERS, SYLVIA                COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
CHAMBERS, VIRGINIA              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CHAMBERS, VIRGINIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHAMBLISS, LINDA                GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
CHAMPAGNE, CATHEY               POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
CHAMPAGNE, MANNON               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CHAMPION, GENEVIEVE             NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
CHAMPION, HOLLIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHAMPION, JACKIE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CHAMPION, JACKIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHAMPION, MARY                  MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
CHAMPION, MINNIE                THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
CHAMPION-COLEMAN, DORA          DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
CHAN-JONES, JAYDENE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
CHAN-JONES, JAYDENE             MEADOWS, TED G. MONTGOMERY AL 36104
CHANCE, HELEN                   FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LUFF, PATRICK - DALLAS TX 75231
CHANCELLOR, TRACI               MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                YORK NY 10017
CHANDLER, BRENDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHANDLER, CAROLYN               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CHANDLER, DEBRA                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
CHANDLER, DENA                  THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
CHANDLER, DIANE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHANDLER, ELIZABETH             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CHANDLER, EMILY                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
CHANDLER, JESSICA               TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
CHANDLER, KELLY                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CHANDLER, LYNANNE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHANDLER, LYNANNE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CHANDLER, MARY                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
CHANDLER, SHAUNTIA              POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
CHANDLER, SHIRLEY               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CHANDLER, SUSAN                 BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
CHANDLER, TERRI                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHANEY, BARBARA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHANEY, BOBBIE                  HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
CHANEY, JEANNINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHANEY, KRISTI                  THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
CHANEY, VALETTA                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
CHANG, HAE                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CHANGUS, MYRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHANTHAPANYA, DAVAHN            MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
CHANTHAXOTH, SAMANTHA           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHAPA, JOANNA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CHAPALA, MARGARET               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CHAPEL, SANDRA                  POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
CHAPIN, DEBRA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CHAPIN, DEBRA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098



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Claim Name                               Address Information
CHAPMAN, AMANDA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHAPMAN, ANGELA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
CHAPMAN, BERNADETTE                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
CHAPMAN, CHRISTOPHER & CHAPMAN, ANGELA   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
CHAPMAN, CRYSTAL                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHAPMAN, DEBORAH                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
CHAPMAN, EVELYN                          HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                         63101
CHAPMAN, JUNE                            JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
CHAPMAN, JUNE                            LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                         94111
CHAPMAN, KAREN                           FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CHAPMAN, KATHRYN                         THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
CHAPMAN, LETHA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
CHAPMAN, MARGUERITE                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
CHAPMAN, MARGUERITE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
CHAPMAN, MARY                            ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
CHAPMAN, MARY                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
CHAPMAN, MEREDITH                        POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
CHAPMAN, SANDRA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
CHAPMAN, SHARON                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
CHAPMAN, SHERRY                          GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CHAPMAN, TERESA                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
CHAPPELL, KELLY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
CHAPPELL, KELLY                          GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                         MINNEAPOLIS MN 55402
CHAPPELL, KELLY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHAPPELL, KELLY                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CHAPPELL, KELLY                          PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CHAPPELL, LILLIE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHAPPELL, REBBECCA                       MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
CHAPPELL, ROXANNE                        NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                         11747
CHAPUT, KIMBERLEY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHARBONNEAU, COLETTE                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
CHARELLE, COURTNEY                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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Claim Name                       Address Information
CHARELLE, COURTNEY              75231
CHARLES, DEBORAH                SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
CHARLES, DEBRA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CHARLES, ELERIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHARLES, ELIZABETH              SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
CHARLES, GRACE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CHARLES, GRACE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHARLES, LORRAINE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CHARLES, NORALEE                ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
CHARLES, SILVA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CHARLES, TINA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHARLES-ADAMS, CELIA            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHARLES-ADAMS, CELIA            GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
CHARLES-ADAMS, CELIA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHARLES-ADAMS, CELIA            THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CHARLES-ADAMS, CELIA            PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CHARLOTTE SCHREIBER             FLETCHER V. TRAMMELL TRAMMELL, FLETCHER V 3262 WESTEIMER, SUITE 423 HOUSTON TX
                                77098
CHARNOFF, PHYLLIS               JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
CHARTER, MELINDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHARTER, MELINDA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CHARTER, MELINDA                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CHASE, CAROL                    DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
CHASE, CHERYL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHASE, ELIZABETH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHASE, ELIZABETH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHASE, ELIZABETH                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CHASE, ELIZABETH                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CHASE, MELAGRETO                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHASON, MEGAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHASON, SHEILA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHASSE, CHRISTINE               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CHASSE, CHRISTINE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHASTAIN, KATHY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHASTAIN, MARIBEL               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHASTEEN, SARAH                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CHATFIELD, CANDIDA              ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450


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Claim Name                       Address Information
CHATFIELD, CANDIDA              ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
CHATMAN, DAVIDA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CHATMON, CHRISTINE              POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
CHAUDHRI, SHIREEN               BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
CHAVANA, ORALIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CHAVEZ, BARBARA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHAVEZ, DIANA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CHAVEZ, EVANGELINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHAVEZ, EVELYN                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CHAVEZ, GLORIA                  DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
CHAVEZ, LAUREL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHAVEZ, LINDA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CHAVEZ, MARIA                   JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
CHAVEZ, MARIAN                  ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                FELLER, JOEL J. PHILADELPHIA PA 19103
CHAVEZ, MICHELLE                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
CHAVEZ, MIRNA                   GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
CHAVEZ, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHAVEZ, RACHEL                  WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
CHAVEZ, REBECCA                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
CHAVEZ, SANJUANITA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHAVEZ, SHELSEA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CHAVEZ, SONIA                   MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
CHAVIRA, FRANCISCO V            MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                YORK NY 10017
CHAVIS, SHERITA                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
CHAYTOR, LAURIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHEATHAM, DANESSA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHEATHAM, JOYCE MURRAY          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
CHEATHAM, MARJORIE              DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
CHECKAN, CAROLYN                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CHEDAKA, NIKITA                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
CHEEK, DIANE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHEEK, DIMETRIA                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
CHEEK, KARI                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296



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Claim Name                          Address Information
CHEELEY LAW GROUP                  2500 OLD MILTON PKWY, STE 200 ROBERT D. CHEELEY ALPHARETTA GA 30009
CHEELY-HALL, CINDY                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
CHEGAR, RITA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHELF, KAREN                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
CHEN, ALICE                        ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CHEN, ALICE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
CHEN, CUI                          KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
CHEN, MARIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHEN, RUTH                         MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                   11050
CHENAULT, DELORES                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CHENAULT, DELORES                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CHENEVERT, DUSTY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
CHENEY, KIMBERLY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
CHENIER, ROSEMARY                  COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B.
                                   INDIANAPOLIS IN 46204
CHENNAULT, WILLIE                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
CHENOFF, MARSHA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHERAMIE, LYNN                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
CHERIM, LUCIA                      SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
CHERMAK, JONI                      DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
CHERNEY, ARLENE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
CHERRA, NARINDER                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
CHERRA, NARINDER                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHERRA, NARINDER                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CHERRA, NARINDER                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
CHERRIE, ALYCE                     MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                   11050
CHERRY, DOROTHY                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
CHERRY, DOROTHY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
CHERRY, FRANCES                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
CHERRY, LISA                       GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CHERRY, LUCILLE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
CHERRY, MARTHA                     MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
CHERRY, SHAVON                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHERYL HUGHEY                      ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
CHERYL THOMPSON                    LENZE LAWYERS, PLC LENZE, JENNIFER A 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN
                                   BEACH CA 90266


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Claim Name                       Address Information
CHERYL THOMPSON                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
CHESLEY, KENITA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CHESMORE, PATSY                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CHESMORE, PATSY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHESNA, YVONNE                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
CHESNUTT, MACKIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHESNUTT, MACKIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHESNUTT, MACKIE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CHESNUTT, MACKIE                PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
CHESSON, EMMA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHESTEEN, MOLLY                 SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
CHESTEEN, MOLLY                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CHESTEEN, MOLLY                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CHESTER, BONNIE                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
CHESTER, VEDA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CHESTNUT, KIMBERLY              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CHESTON, ELOISE                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CHEVALIER, ROSA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CHEVALIER, SHARON               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHEW, LINDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHEWNING, TANYA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHEZEN, SHARON                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHIARAMONTE, MARY               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CHIARELLO, GERALDINE            FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CHIAROLANZA, HAYDEE             GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CHICK, CONNIE                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
CHIDERS, JONI                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CHIDINMA SALAKO                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC PUTNICK, MARY ELIZABETH 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
CHILARSKI, MICHAEL              NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
CHILD, KATHLEEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHILDERS, ATIM                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CHILDERS, ISLA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CHILDERS, JOYCE                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502



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                                             LTL Management LLC
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Claim Name                             Address Information
CHILDERS, KIMAIKI                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
CHILDERS, SCHLUETER & SMITH, LLC      1932 NORTH DRUID HILLS RD, STE 100 ATLANTA GA 30319
CHILDERS, TAHNEE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHILDERS, TERESA                      FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                      THOMAS ROE NASHVILLE TN 37215
CHILDERS, TINA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHILDERSS, KATRINA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
CHILDRED, DARLENE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
CHILDRESS, GINNIE                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                      77098
CHILDRESS, GINNIE                     LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                      94111
CHILDRESS, JULIA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
CHILDRESS, MARTHA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHILDRESS, MARTHA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                      77098
CHILDRESS, TOWONNER                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
CHILDS, CHERRIE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHILDS, CLARISSA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
CHILES, SHIRLEY                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
CHILES-PATT, CAROLYN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                      EMILY FAIRFAX VA 22031
CHILES-PATT, CAROLYN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
CHILTON, MARY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHIMENTO, CAROL                       GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                      PA 19102
CHIMENTO, GAIL                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
CHIMENTO, GAIL                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHIMENTO, GAIL                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CHIMENTO, GAIL                        PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
CHIMITS, JUDI                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
CHIMITS, JUDI                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CHIMITS, JUDI                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                      ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
CHIMOCK, BERNADINE                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                      ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
CHIN, LISA                            THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                      ORLEANS LA 70130
CHINAPANA, SUNITA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHINEN, ADA                           JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                      77002
CHIOCCA, DONNA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
CHIODO, JESSICA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHIPMAN, HEIDI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHIPPS-HILVERDING, NANCY        NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
CHISHOLM, JOYCE                 KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
CHISHOLM, NANCY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CHISLER, BETTY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHISM, FELICIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CHISM, PATRICIA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CHISM, ZABRINA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CHISOLM, GEORGIA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CHITTUM, MARY                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
CHITWOOD, MARGARET              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CHITWOOD, MARIETTA              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CHIUMIENTO, MARIA               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CHIZMAIDA, CHERYL               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CHLUS, HEATHER                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CHLUS, HEATHER                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHMELYNSKI, CAROL               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHMURA, RITA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CHMURA, RITA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHO, STEPHANIE                  JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
CHOATE, GRETCHEN                DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
CHOATE, MARY                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
CHOATE, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHOATE, MARY                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CHOATE, MARY                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CHOATE, SANDRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHOATE, SHAWNE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
CHOI, FRANCINE                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
CHOI, MARY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHOINIERE, CAROLYN              GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
CHOLEWA, JANET                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
CHOLEWA, JANET                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
CHOLEWA, JANET                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHOLEWA, JANET                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CHOLEWA, JANET                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CHOLEWA, LINDA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
CHOPYAK, MARGARET               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHOTOOSINGH, ASHLEY             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CHOUINARD, DOLORES              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CHOUINARD, PAMELA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHOWDHRY, ASIMA                 ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
CHOWDHURY, SHAHEDA              CHILDERS, SCHLUETER & SMITH, LLC 1932 N DRUID HILLS RD, STE 100 ATLANTA GA
                                30319
CHREST, SHIRLEY                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CHRETIEN, AVRIL                 MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
CHRISLEY, PATRICIA              THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, D.,
                                FERRARO, JR. J. DIMATT MIAMI FL 33131
CHRISMAN, LEONA                 NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
CHRIST, CLAIRE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CHRISTAKIS, VICKY               THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
CHRISTEN, LISA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
CHRISTENSEN, KARELEEN           GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CHRISTENSEN, KITTY              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CHRISTENSEN, LEANNE             BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
CHRISTENSEN, MARINDA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHRISTENSON, JEAN               GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
CHRISTENSON, MICHELLE           DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
CHRISTENSON, MICHELLE           LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CHRISTENSON, MICHELLE           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CHRISTI, LAURA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CHRISTIAN, CARLA                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
CHRISTIAN, COLLEEN              WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
CHRISTIAN, FAYEJEAN             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CHRISTIAN, JOAN                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.


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CHRISTIAN, JOAN                 MINNEAPOLIS MN 55402
CHRISTIAN, LORIE                BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
CHRISTIAN, NANETTE              ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
CHRISTIAN, RUGINER              GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
CHRISTIAN, RUGINER              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHRISTIAN, TRACY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHRISTIANSEN, CHRISTI           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CHRISTIANSEN, COLLEEN           THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CHRISTIANSEN, COLLEEN           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHRISTIANSEN, KAREN             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHRISTIE, CAROLYN               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CHRISTIE, TONYA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHRISTINA COLLINS               WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
CHRISTINA CONKLIN               THE MILLER FIRM, LLC SHAH, TAYJES M. 108 RAILROAD AVE. ORANGE VA 22960
CHRISTINA POLITES               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
CHRISTINE HICKS                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
CHRISTINE KINGSLEY              FLETCHER V. TRAMMELL TRAMMELL, FLETCHER V 3262 WESTEIMER, SUITE 423 HOUSTON TX
                                77098
CHRISTINE MILLER                MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
CHRISTMAN, MARTHA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CHRISTMAN, MARY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CHRISTOPHER, CATHY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHRISTOPHER, JUDITH             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHRISTOPHER, KAREN              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHRISTOPHER, KAREN              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CHRISTOPHER, KELLY              PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
CHRISTOPHER, NANCY              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
CHRISTOPHER, PERLIE             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CHRISTOPHERSEN, MARY            DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
CHRISTOPHERSEN, MARY            LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CHRISTOPHERSEN, MARY            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CHRISTOPHERSON, YVONNE          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHRISTY, KIMBERLEY              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098



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CHROSTOFFERSEN, MERINA          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CHROSTOWSKI, HEATHER            HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
CHROWL, DEBORAH                 ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                WASHINGTON DC 20006
CHROWL, DEBORAH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
CHRYSLER, SHERYL                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHRYSTLER, BEVERLY              HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
CHTAY, SAMIRAH                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CHUBB, TERESA                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
CHUDY, PATRICIA                 TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
CHUDYK, KRISTINE                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
CHUMBURIDZE, TEO                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CHUMBURIDZE, TEO                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHURCH, ANGELA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CHURCH, DOROTHY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHURCH, JILL                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CHURCH, LILLY                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
CHURCH, SHIRLEY                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CHURCH, VIKKI                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
CHURCH, VIKKI                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CHURCH, VIKKI                   ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
CHURCH, VIKKI                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CHURCHILL, JANICE               THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
CHURCHILL, SHERRY               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CIACCIO-BROWN, JANETTE          DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
CIAMPA, MARIA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CIAMPOLI, MARY                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CIANCIO, ADRIANA                THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
CIANCIOLA, ESTHER               NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
CIANFRINI, CHRISTINE            GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102


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Claim Name                       Address Information
CIANI, DOROTHY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CICALA, SARAH                   BEASLEY ALLEN CROW METHVIN PORTIS &MILES SCOTT, BRITTANY SAMANTHA 218 COMMERCE
                                STREET MONTGOMERY AL 36104
CICALESE, CHIARA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CICCONE, KIM                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
CICCONE, PATRICIA               HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
CICCONE, PHYLLIS                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CICHOSZ, PATRICIA               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CIDILA, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CIERS, DONNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CILELI, TULAN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CILIBERTO, BARBARA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CILLI, SANTINA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CIMINO, CAROL                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
CIMINO, LAURA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
CINC, POMPILIA                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
CINDY CARTHEL                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
CINDY LOPRESTO                  MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
CINTRA, YORLENE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CINTRON, BLANCA                 COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B.
                                INDIANAPOLIS IN 46204
CINTRON, ELMA                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
CINTRON, REGINA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CIPOLLA, LUCIA                  SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
CIPPONERI, BARBARA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CIPRIANI, GAIL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CIPRIANI, GERALDINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CISCO, CAROLYN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CISCO, CAROLYN                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
CISCO, CAROLYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CISCO, CAROLYN                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CISCO, CAROLYN                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CISNEROS, ANABEL                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CISNEROS, ANABEL                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CISNEROS, BRANDY                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CISNEROS, MARI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CITRON, ROBIN                   ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW


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Claim Name                       Address Information
CITRON, ROBIN                   WASHINGTON DC 20006
CITRON, ROBIN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
CIUCHTA, RHONDA                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
CIULLA, CAROL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CIULLA, RENEE                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CIVIDANES, MAGDA                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
CIZEWSKI, KATHLEEN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLACK, BARBARA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLAFFEY, BARBARA                POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
CLAIBON, CHRISANDRA             FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CLAIBORNE, MARY                 FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
CLAIR, KRISTI                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
CLAKLEY, JESSICA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CLANCY, DONNA                   JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
CLANCY, RANDI                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
CLANCY, TASHINA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CLANCY, TASHINA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLARA ORSI                      FLETCHER V. TRAMMELL TRAMMELL, FLETCHER V 3262 WESTEIMER, SUITE 423 HOUSTON TX
                                77098
CLARDY, BRYCANDIS               THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
CLARK, ADRIANA                  WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
CLARK, ALICE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLARK, ALLYSON                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
CLARK, ANNETTE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK, BARBARA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CLARK, BARBARA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLARK, BARBARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK, BEVERLY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK, BOBBIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLARK, BRANDY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CLARK, BRIDGETT                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CLARK, CAROL                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLARK, CHRISTIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK, CHRISTINA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK, CHRISTINE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                       Address Information
CLARK, CHRISTINE                75231
CLARK, CONNIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CLARK, CONSTANCE                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
CLARK, CYNTHIA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CLARK, DARLENE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLARK, DEBBIE                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
CLARK, DEBORA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLARK, DEBRA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK, DELPHIA                  THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                FERRARO, JR, JAMES L MIAMI FL 33131
CLARK, DENISE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CLARK, DIANA                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
CLARK, DIANE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CLARK, DORSHELL                 HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
CLARK, EUTAWNA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CLARK, EVELYN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK, FELICIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLARK, GWENDOLYN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLARK, HELEN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK, JACQUELINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK, JACQUELINE               BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
CLARK, JANICE                   SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
CLARK, JANICE                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
CLARK, JANIE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLARK, JEANNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK, JENNIFER                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK, JOAN                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CLARK, JOAN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLARK, JOANNE                   DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
CLARK, JUDITH                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CLARK, JUDY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK, JUNE                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098


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Claim Name                       Address Information
CLARK, KATHERINE                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
CLARK, KATHIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK, KATRINA                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
CLARK, LADELL                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CLARK, LAURA                    ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450
                                FELLER, JOEL CASEY, MATTHEW A. PHILADELPHIA PA 19103
CLARK, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK, LINDA                    THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
CLARK, LISA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK, MARIE                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CLARK, MARIE                    LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
CLARK, MARTHA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CLARK, MARY                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CLARK, MICHELLE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CLARK, MINNIE                   JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
CLARK, MOZELLE                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
CLARK, MYRA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK, NANCY                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CLARK, NANCY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK, PAMELA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK, PATRICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLARK, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK, PATRICIA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CLARK, PATRICIA                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
CLARK, PATRICIA                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
CLARK, PATRICIA                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
CLARK, QUEEN                    NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
CLARK, RANDALYN                 HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
CLARK, RENEE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK, ROSA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CLARK, ROSALYN                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
CLARK, ROSE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CLARK, ROSEMARIE                SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
CLARK, ROSEMARIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK, SANDRA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
CLARK, SANDRA                   MEADOWS, TED G. MONTGOMERY AL 36104
CLARK, SHAWN                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CLARK, SHERRY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CLARK, SHIRLEY                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
CLARK, SUNANTHA                 JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
CLARK, SUSAN                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CLARK, TABITHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK, TARA                     NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
CLARK, TEAUNNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK, TERICA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLARK, TRISTAN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLARK, WENDY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CLARK, ZELMA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK-HANSEN, LAURA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLARK-HANSEN, LAURA             GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
CLARK-HANSEN, LAURA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK-HANSEN, LAURA             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CLARK-HANSEN, LAURA             PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CLARK-HESTER, TAMMY             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARK-HESTER, TAMMY             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CLARK-HESTER, TAMMY             PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CLARK-PARKER, GERTRUDE          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CLARKE, KRISTEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARKE, LAURA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
CLARKE, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARKE, TRISHA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CLARKE, WALDA                   BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
CLARKSON, DENITA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARKSON, WILMA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CLARKSON, WILMA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLARSON, GENA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CLARY, WANDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLARY-JONES, SHARON             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLASS, NANCY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLATTERBUCK, DEBORAH            LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CLATTERBUCK, DEBORAH            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660


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                                       LTL Management LLC
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                                                  List
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Claim Name                       Address Information
CLAUDY, NAOMI                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
CLAUSELL, CATOYA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLAUSER, MARTHA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CLAUSS, JANET                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLAVARIO, MARIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLAVARIO, MARIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLAVARIO, MARIA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CLAVARIO, MARIA                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
CLAVON, ROSA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLAWSON, EVELYN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CLAXTON, CHRISTINA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLAXTON, FELICIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CLAY, JOCELYNE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLAY, KAROLINA                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
CLAY, LINDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLAY, MARY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLAY, SHAROLYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLAY, SONJA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CLAYBAUGH, DEBORAH              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CLAYBERGER, PATRICIA            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLAYBORN, VERA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLAYCOMB, ANNIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CLAYTON, BARBARA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CLAYTON, BARBARA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLAYTON, CRISTI                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLAYTON, LAURETTA               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CLAYTON, LAURETTA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLAYTON, NANCY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLAYTON, ZENOVIA                THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
CLAYTOR, PAMELA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CLEAR, ARICA                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
CLEAR, CHRISTINE                SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
CLEARY, JULIA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CLEGHORN, VIRGINIA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231


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Claim Name                       Address Information
CLELLAND, SHARON                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CLEM, LAURA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLEM, SHIRLEY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLEMANS, SANDRA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CLEMANS, SANDRA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLEMENCE, PAMELA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CLEMENS, CHERYL                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CLEMENS, LORETTA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CLEMENS, PAULIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLEMENTE, DONNA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLEMENTE, ROSA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CLEMENTS, AMY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLEMENTS, AMY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLEMENTS, AMY                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CLEMENTS, AMY                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
CLEMENTS, KAREN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLEMENTS, NITA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLEMENTS, PENELOPE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CLEMENTS, RENEE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLEMENTS, SUSAN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLEMMONS, ELIZABETH             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CLEMMONS, JEANETTE              WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
CLEMON, FRANKIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLEMONS, KERRI                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CLEMONS, MANDY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLEMONS, TESA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLESTER, LOIS                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLEVELAND, CONNIE               EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP EICHEN, BARRY R. - KELLY, JOHN P - 40
                                ETHEL ROAD EDISON NJ 08817
CLEVELAND, DELOIS               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLEVELAND, DOLORES              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CLEVELAND, SHANNON              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLEVENGER, LORI                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLEVERLEY, VERNA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.



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Claim Name                             Address Information
CLEVERLEY, VERNA                      ORANGE VA 02296
CLEVINGER, DEBORAH                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                      YORK NY 10017
CLICK, DIANA                          CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                      ATLANTA GA 30319
CLICK, HEATHER                        FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CLICK, MARGARET                       NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                      11747
CLIFF, JERI                           WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                      BOUNDAS, JOHN T. HOUSTON TX 77017
CLIFF, PATRICIA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLIFFORD LAW OFFICES, P.C.            120 N. LASALLE STREET, SUITE 3100 KRISTOFER S RIDDLE, PETER J MCNULTY CHICAGO
                                      IL 60602
CLIFFORD, EMMA                        ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CLIFFORD, GAIL                        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                      STREET, SUITE PENSACOLA FL 32502
CLIFFORD, NANCY                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
CLIFFORD, PATRICIA                    THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                      AZ 08501
CLIFFORD, SHARYN                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                      ORANGE VA 02296
CLIFFORD, VERA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLIFT, BARBARA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
CLIFTON, JOYCE                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                      ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
CLIFTON, REJEANA ESTATE OF JAMES      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
CLIFTON                               HILL NJ 08002
CLINARD, GRACE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLINE, CAROL                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
CLINE, CAROL                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLINE, CHERYL                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
CLINE, DIANA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLINE, KAREN                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                      ORANGE VA 02296
CLINE, LAURIE                         EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
CLINE, MARY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
CLINE, NATALIE                        TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
CLINE, PEARL                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLINE, PENELOPE                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                      77098
CLINE, REBEKAH                        FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CLINE, TONI                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLINEFF, LINDA                        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                      STREET, SUITE 200 PENSACOLA FL 32502
CLINGAN, KAREN                        MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                      KNOXVILLE TN 37929
CLINKENBEARD, ABIGALE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,



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CLINKENBEARD, ABIGALE           EMILY FAIRFAX VA 22031
CLINKENBEARD, ABIGALE           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLINKENBEARD, ABIGALE           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLINKENBEARD, ABIGALE           THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CLINKENBEARD, ABIGALE           PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
CLINKSCALES, NAOMI              TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
CLINTON, JAQUEL                 HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
CLINTON, MARION                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CLINTON, MARY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CLIVER, SUSAN                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CLIVIO, SANDRA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CLOO, CHERI                     PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
CLORISA MARTINEZ                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
CLOSE, SHIRLEY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLOSSER, BELINDA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CLOUD, ANJILLA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLOUD, CANDACE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CLOUD, KIKUE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CLOUD, REGINA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLOUD, RUTH                     GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
CLOUGH, LYNNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLOUGH, RITA                    PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
CLOUSER, BARBARA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CLOUSER, BLANCHE                SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
CLOUSER, DIANE                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CLOUTIER, ELAINE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CLOUTIER, ELAINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLOVER, RANAE                   BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
CLOYD, ASHLEY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLUBB, MARZELL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CLUFF, GAYLE                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CLUFF, GAYLE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLUGSTON, NICOLE                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102



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Claim Name                       Address Information
CLUNIS, EMITY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CLUTS, KAREN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLYBURN, BRIDGETTE              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CLYBURN, BRIDGETTE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CLYBURN, JACQUELINE             WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
CLYMA, REBECCA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COAKLEY, ETHEL                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
COALSON, MICHAEL                DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
COATES, BRIDGET                 CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
COATES, LISA                    THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
COATES, NANCY                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
COATNEY, STEPHANIE              HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
COATS, CAEOL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COATS, OLEVIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COATS, ROBERT                   NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
COBB, ALICE                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
COBB, CATHERINE                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
COBB, CINDY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COBB, CINDY                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
COBB, CINDY                     LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
COBB, GLADYS                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
COBB, LESLIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COBB, MARY                      DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
COBB, RONNIE                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
COBB, TAMI                      HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
COBB, VANDRA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
COBB, VANDRA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COBB, VANDRA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
COBB, VANDRA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
COBBS, ALEXANDRA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COBBS, NICHELLE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COBBS-GREEN, ANDREA             MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
COBERN, BILLIEMAE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
COBLE, DOROTHY                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
COBLE, SHARON                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COBLENTZ, VERNA                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
COBURN, YVONNE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COCA, TANYA                     BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
COCA, TANYA                     BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
COCCA, BETH                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
COCCO, PATRICIA                 ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
COCHELL, SHIRLEY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COCHRAN, DANA                   BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
COCHRAN, GWENDOLYN              BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
COCHRAN, LILLIAN                PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
COCHRAN, MARY                   MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
COCHRAN, SARAH                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
COCHRANE, MARY                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
COCKERHAM, BRENDA               NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
COCKRAN, BETTY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COCKRELL, LINDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COCKRELL, REGINA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COCKRELL, SELMA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COCKROFT, DEBRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COCKRUM, LAURICE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COCO, RUTH                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
COCO, RUTH                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COCOZZA, JAMIE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CODDINGTON, SHAREN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CODI, JUDITH                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CODRINGTON, RUTH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CODY, DIANE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CODY, HANNAH                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CODY, MARILYN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CODY, MARTHA                    DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
COE, JUDITH                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COE, KAREN                      JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
COE, MICHELLE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                             Address Information
COE, SHERI                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COEN, JOANN                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COFFEL, NORMA                          FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
COFFEY, DEBORAH                        LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
COFFEY, LAUREN                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
COFFEY, LAUREN                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
COFFEY, VERNA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
COFFIN, BARBARA                        FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
COFFIN, LYNN                           GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
COFFINGER, CHRISTINE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
COFFINGER, CHRISTINE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
COFFMAN, MICHELLE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COGAN, CYNTHIA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COGAR, MARILYN                         GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                       EDWARDSVILLE IL 62025
COGDELL, CATHERINE                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
COGDILL, APRIL                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
COGHILL, KIMBERLY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COGLIANDRO, KELLY                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
COGORNO, PIA                           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
COGSWORTH, NORMA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
COHAN, AGNES                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COHAN, PHYLLIS                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
COHEE, PAMELA & EST OF VINCENT COHEE   MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                       YORK NY 10017
COHEN & MALAD, LLP                     ONE INDIANA SQ, STE 1400; SANDIFER, TAKEENA, KNOLL, HALL, MULLIGAN
                                       INDIANAPOLIS IN 46204
COHEN, ALEXANDRA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COHEN, AMY                             DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                       63102
COHEN, CONNIE                          LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                       NJ 08648
COHEN, EVELYN                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
COHEN, JACQUELINE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COHEN, JANET                           TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                       62025
COHEN, LORI                            THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
COHEN, MINNIE                          NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                       11747



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Claim Name                       Address Information
COHEN, PHYLLIS                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
COHEN, PLACITELLA & ROTH        127 MAPLE AVE. DENNIS GEIER,CHRISTOPHER PLACITELLA RED BANK NJ 07701
COHEN, SARI                     SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
COHEN, SHEILA                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
COHEN, SUSAN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COHN, JOAN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COHN, JOAN                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COHN-SHARON, LILLIAN            CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
COKER, JANET                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
COKER, TERESA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COLANDRA, BARBARA               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
COLANDRA, BARBARA               LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                NICHOLAS HIGHTOWER, KRISTIE LAKE CHARLES LA 70601
COLATA, SERA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLATA, SERA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
COLBERT, BRANDIE                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
COLBERT, EMILY                  DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
COLBERT, MARY                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
COLBERT, MARY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
COLBETH, SUZANNE                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
COLBURN, NICHOLE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COLBY, MARGARET                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
COLCLOUGH, WILLIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLE, ANGILA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
COLE, CANDACE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLE, CHARLENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLE, CHRISTINE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLE, COLETTE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLE, DEMETRICE                 SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
COLE, EUGENA                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
COLE, FREEDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLE, FREEDA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
COLE, GLADYS                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                              Address Information
COLE, GLADYS                           MEADOWS, TED G. MONTGOMERY AL 36104
COLE, JEANETTE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLE, JOHN ESTATE OF ROBERTA COLE      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                       NJ 08648
COLE, KAREN                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLE, KATHERINE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLE, LAUREN                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLE, LINDA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLE, LISA                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLE, LOLITA                           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
COLE, LONI                             DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                       ANTHONY ST. LOUIS MO 63102
COLE, LONI                             LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
COLE, LONI                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
COLE, LUGENIA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLE, LWANDA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLE, MARILYN                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
COLE, MARILYN                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
COLE, MARY                             BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                       TX 75219
COLE, MASHEILA                         MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
COLE, MILDRED                          GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
COLE, PATRICIA WILBANKS                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                       KNOXVILLE TN 37929
COLE, PAULA                            BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                       70130
COLE, ROBIN                            ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
COLE, SAVANNAH                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLE, SHEMEKA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLE, TANYA                            ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
COLE, TONIA                            JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
COLE, VELDA                            BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
COLE, VELMA                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
COLE, VONSEAL                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
COLE, VONSEAL                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLE, VONSEAL                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
COLE, VONSEAL                          PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
COLE-GRAHAM, YVETTE                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
COLELLA, JENNIFER                      THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                       ORLEANS LA 70130
COLELLA, SHARON                        GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET SALGER, SARA M MATHEWS, D.
                                       TODD EDWARDSVILLE IL 62025


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                                                  List
                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
COLELLO, MELISSA                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
COLEMAN, AISHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLEMAN, AMY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLEMAN, ANNETTE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COLEMAN, ARLETTA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLEMAN, BEVERLEY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLEMAN, BEVERLY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLEMAN, BILLIE                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
COLEMAN, BILLIE                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
COLEMAN, BRENDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COLEMAN, CAROLANN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COLEMAN, CATHERINE              MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
COLEMAN, CHERRIE                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
COLEMAN, CHERRIE                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
COLEMAN, CHERRIE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
COLEMAN, CORONIA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
COLEMAN, CYNTHIA                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
COLEMAN, DENISE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLEMAN, DIANE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLEMAN, ERIKA                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
COLEMAN, EVA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
COLEMAN, JAMELA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
COLEMAN, KIMBERLY               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
COLEMAN, KIMBERLY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COLEMAN, LAVERNE                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
COLEMAN, LEATHE                 THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
COLEMAN, LEE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COLEMAN, LINDA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
COLEMAN, LINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COLEMAN, LINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLEMAN, MARTHA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
COLEMAN, MARY                   COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
COLEMAN, MRYTLE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
COLEMAN, MRYTLE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
COLEMAN, MRYTLE                 MEADOWS, TED G. MONTGOMERY AL 36104
COLEMAN, OLIVIA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
COLEMAN, PATRICIA               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
COLEMAN, PRISCILLA              DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
COLEMAN, RHONDA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
COLEMAN, ROHNDA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COLEMAN, SARAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLEMAN, SHARON                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COLEMAN, TONA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COLEMAN, TONA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLEMAN, TONA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
COLEMAN, TONA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
COLEMAN, TONYA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLEMAN, WILLIE                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
COLEMAN, YVONNE                 JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
COLEMAN-NEAL, ROSALIND          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLEMAN-SANDOVAL, TONYA         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COLEMERE, JOY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLES, CYNTHIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COLETTE, WENDEE                 BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
COLEY, EDNA                     MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
COLEY, KAREN                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
COLEY, KAREN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COLEY, NANETTE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COLEY, TAMMY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COLGRAVE, ROSALEE               NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
COLGROVE, CATHRYN               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
COLGROVE, CATHRYN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COLGROVE, CYNTHIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLISTER, ETHEL                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COLLAZO, BRUNILDA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COLLAZO, HARRIET                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231



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Claim Name                       Address Information
COLLEN, CAROLYN                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
COLLETT, MARY                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
COLLETT, SUSAN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COLLETTE MURRAY                 JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
COLLETTE, PAMELA                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
COLLEVECHIO, KELLY              MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
COLLEY, SHAUNA                  HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
COLLIER, NANCY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COLLIER, PATIE                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
COLLIER, SANDRA                 BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
COLLIER, TERRI                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
COLLIGAN, SUE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLLING, HOPE                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
COLLING, HOPE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
COLLINS, ALLEAN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLLINS, BARBARA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
COLLINS, BARBARA                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
COLLINS, BERNICE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLLINS, BERNICE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COLLINS, BETTY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COLLINS, BRENDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLLINS, CLARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLLINS, CLARA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
COLLINS, CLAUDIA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
COLLINS, CYNTHIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLLINS, CYNTHIA                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
COLLINS, CYNTHIA                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, MARK DALLAS TX 75202
COLLINS, DAPHNE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLLINS, DEBORAH                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COLLINS, DEETTA                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
COLLINS, DELOISE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLLINS, DENISE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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Claim Name                       Address Information
COLLINS, DENISE                 75231
COLLINS, DOLORES                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
COLLINS, DOLORES                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
COLLINS, DOLORES                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
COLLINS, EDANA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
COLLINS, ESTHER                 BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
COLLINS, EULA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
COLLINS, EVA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLLINS, FREIDA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
COLLINS, FREIDA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
COLLINS, GLADYS                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
COLLINS, HELEN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLLINS, IRENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLLINS, JANNELL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLLINS, JOHNA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
COLLINS, JUDITH                 HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
COLLINS, KAREN                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
COLLINS, KARMEN                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
COLLINS, KATHERINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLLINS, KATHLEEN               JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
COLLINS, KATHY                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
COLLINS, KIMBERLY               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
COLLINS, KIMBERLY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLLINS, LESLIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLLINS, LINDA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
COLLINS, LORETTA                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
COLLINS, LORI                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
COLLINS, MARILYN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLLINS, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLLINS, MARYANN                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
COLLINS, NATASHA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLLINS, NETTIE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
COLLINS, PATRICIA               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
COLLINS, PATRICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLLINS, PATRICIA               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
COLLINS, PATRICIA               THE POTTS LAW FIRM, LLP 3737 BUFFALO SPEEDWAY STE 1900 HOUSTON TX 77098
COLLINS, PAULA                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025



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Claim Name                       Address Information
COLLINS, PEARLIE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
COLLINS, PEARLIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COLLINS, RACHEL                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
COLLINS, REBECCA                HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
COLLINS, REBECCA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
COLLINS, ROSE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
COLLINS, ROSE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COLLINS, SHEILA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
COLLINS, TERESA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COLLINS, TERRI                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
COLLINS, THERESA                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
COLLINS, VALERIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COLLINS, VERONICA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLLINS, WINNETTA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLLINS-HINES, MARGARET         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COLLISON, LINDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COLLISON, LINDA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
COLLISON, LINDA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
COLLUM, CATHERINE               HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
COLLURA, STEPHANIE              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
COLLYMORE, DENIQUE              LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
COLOMBI, KIM                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET SALGER, SARA M ARVOLA, MEGAN
                                T. EDWARDSVILLE IL 62025
COLOMBO, PAULETTE               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
COLOMBRINO, CHERYL              DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
COLON, ELAINE                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
COLON, EMMA                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
COLON, IRIS                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COLON, JUANITA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLON, JULIE                    TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
COLON, MARIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLON, MYRNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLON, ROSA                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
COLON, VIVIAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLQUHOUN, KATHY                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,


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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
COLQUHOUN, KATHY                EMILY FAIRFAX VA 22031
COLQUHOUN, KATHY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COLSON, JOLAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COLSON, LESA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
COLSON, ROSE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COLSTEN, MICHAEL                NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
COLSTON, OCA                    MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
COLTELLI, DIANA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
COLTER, SYLVIA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
COLTON, LORI                    JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
COLTRANE, DORIS                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
COLTRANE, DORIS                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COLUCCI, ALMA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLUNGA, GRISELDA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLVIN, CAROLE                  NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
COLVIN, LISA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
COLVIN, MARCIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COLVIN, MICHELLE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COLVIN, MICHELLE                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
COLVIN, ROSEMARY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COLVIN, VALERIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COLVIN, VIRGINIA                WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
COLWELL, CHERYL                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COLWELL, CHERYL                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
COLWELL, CHERYL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLWELL, CHERYL                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
COLWELL, CHERYL                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
COLWELL, DANA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COLWELL, KAREN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLWELL, ROYA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COLWELL, ROYA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
COLWELL, ROYA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768



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                                       LTL Management LLC
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                                                  List
                                                      Entered 02/17/22 16:31:44            Desc Main
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Claim Name                       Address Information
COMAS, ESTHER                   THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID
                                A. MIAMI FL 33131
COMBEST, KAYLA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COMBS, CINDY                    MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
COMBS, DELLAJEAN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COMBS, DELLAJEAN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COMBS, DELLAJEAN                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
COMBS, DELLAJEAN                PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
COMBS, DELLAJEAN                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR. MARK P. KAR NEWPORT BEACH CA 92660
COMBS, FELICIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COMBS, JODIE                    FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
COMBS, LONDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COMBS, MISTY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COMBS, THELMA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COMEAUX, SUSAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COMER, AMY                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
COMFORT, GAYLE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COMMESSO, JO ANN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COMMODORE, ARLISS               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
COMPERCHIO, BARBARA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COMPSON, DARCY                  SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
COMPSTON, TAMARA                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
COMPTON, JO                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
COMPTON, LISA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COMPTON, PATRICIA               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
COMPTON, VERNESSA               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TOBIN, GREGORY M. HOUSTON
                                TX 77098
COMSTOCK, ANN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONARD, CONNIE                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CONDELLO, DONNA                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
CONDO, JULIA                    COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
CONDON, CAROL                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CONDON, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CONDON, SHARI                   WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
CONDRA, CIERRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONDREY, SUSAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONE, CAROL                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CONEY, JIMMIE                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725



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Claim Name                       Address Information
CONGROVE, LAURA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CONKLIN, ANGELA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CONKLIN, CHARLENE               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
CONKLIN, DIANE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CONKLIN, DONNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONKLIN, JO                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CONLEY, ANNETTE                 SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
CONLEY, ARDITH                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CONLEY, BETTY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CONLEY, BETTY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CONLEY, CAROL                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CONLEY, DEBBIE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CONLEY, DORIS                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CONLEY, ELIZABETH               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CONLEY, KAREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONLEY, KRYSTAL                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
CONLEY, LILLIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CONLEY, MANDY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CONLEY, MANDY                   LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
CONLEY, ROBERTA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CONLEY, ROBERTA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONLEY, ROBERTA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CONLEY, ROBERTA                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
CONLEY, SHIRLEY                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CONLEY, SHIRLEY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CONLEY, STEVY                   PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
CONLEY, SUSAN                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
CONLON, SHARON                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CONN, WANDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONNALLY, CHAMANE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CONNEL, MAUREEN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
CONNEL, MAUREEN                 MEADOWS, TED G. MONTGOMERY AL 36104
CONNELL, ROBIN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CONNELLY, LYNETTE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CONNER, BETTY                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
CONNER, JULIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONNER, JUSSETT                 NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
CONNER, KATHRYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CONNER, LILLIAN                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CONNER, REBECCA                 JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
CONNER, ZENOBIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONNER-MCGUIRE, DORA            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CONNERS, JOANN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CONNERY, MORGAN                 MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
CONNERY, RITA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CONNIE GARCIA                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
CONNIE MAGUIRE                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
CONNIE METROVKA                 EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP EICHEN, BARRY R. & KELLY, JOHN P. 40
                                ETHEL ROAD EDISON NJ 08817
CONNIE WILLIAMS                 THE MILLER FIRM, LLC SHAH, TAYJES M. 108 RAILROAD AVE. ORANGE VA 22960
CONNOLLY, CAROL                 SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                11530
CONNOLLY, JOAN                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
CONNOLLY, SUNSHINE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CONNOLLY-AMBURGEY, BETHAN       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONNOR, CAROL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CONNOR, PATRICIA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CONNORS, ANN                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CONNORS, JEAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONNORS, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONNORS, MICHELLE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONNORS, MICHELLE               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
CONNORS, SANDRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONOLLY, LUCIE-PEARL            CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
CONOLLY, LUCIE-PEARL            ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.



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Claim Name                          Address Information
CONOLLY, LUCIE-PEARL               LOUIS MO 63119
CONOVER, CONSUELO                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONOVER, PEGGY                     TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
CONOVER, SUSAN                     DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                   KANSAS CITY MO 64196
CONOVER, TALEKAH                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CONRAD, ANN                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
CONRAD, CHRISTIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONRAD, MARY                       CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
CONROW, ELLEN                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
CONROW, MICHELLE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
CONROY, ANNA                       BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                   CA 92660
CONSALVAS, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
CONSIGLIO, ANN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONSOLE, DERBY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONSTANT, BECKY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONSTANT, KATHERINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
CONTE, JANICE                      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
CONTE, JOANNE                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CONTE, SHIRLEY                     BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
CONTE, SHIRLEY                     BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 NEW ORLEANS LA 70130
CONTE, SUSAN                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONTI, KIMBERLY                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CONTRADES, NANCY                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                   SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
CONTRERAS, REBECCA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONTRERAS, SONIA                   REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J EPHRON,
                                   MELISSA HOUSTON TX 77027
CONTRERAS, TRICIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
CONVERSE, BETTY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONVERSE, HILARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONWAY, KAREN                      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
CONWAY, LUPE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONWAY, PAULINE                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CONWAY, PAULINE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
CONWAY, VANNA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONWAY, WILMA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CONYERS, ANGELA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
COOK, AMY                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007


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Claim Name                          Address Information
COOK, ANGELA                       ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
COOK, ANNA                         SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
COOK, BETTY                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
COOK, BRENDA                       DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
COOK, BRIDGETTE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COOK, BRITTANI                     THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
COOK, CAROL                        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
COOK, CAROLYN                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
COOK, CLAUDIA                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
COOK, DEBRA                        ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
COOK, DEBRA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
COOK, DELLIN                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
COOK, DENA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COOK, DOLORES                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COOK, DONNA                        SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                   01153
COOK, DORIS                        NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                   11747
COOK, DYANN                        HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
COOK, ELAINE                       CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                   CHICAGO IL 60602
COOK, ELIZABETH                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COOK, ESTER                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
COOK, HALEY                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
COOK, HELEN                        FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
COOK, JACKIE                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
COOK, JACKIE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
COOK, JANNETTA                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
COOK, JESSICA                      SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                   77098
COOK, JUDY                         THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                   CHARLESTON WV 25301
COOK, KAREN                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
COOK, KARON                        DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
COOK, KERRIE                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
COOK, KIM                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
COOK, KYNDA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                             Address Information
COOK, KYNDA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COOK, KYNDA                            THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
COOK, KYNDA                            PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
COOK, KYNDA                            SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                       90401
COOK, LATASHA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COOK, LEAH                             FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
COOK, LOLA                             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
COOK, LOUISE                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
COOK, MARIA                            JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
COOK, MARIA                            LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                       94111
COOK, MARY                             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
COOK, MARY                             THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
COOK, NICOLE                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
COOK, PATRICIA AND DUCKWORTH, RODNEY   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                       HILL NJ 08002
COOK, PRISCILLA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
COOK, PRISCILLA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COOK, PRISCILLA                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
COOK, PRISCILLA                        PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
COOK, REGINAE                          DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                       ANTHONY ST. LOUIS MO 63102
COOK, REGINAE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COOK, REGINAE                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
COOK, RESHELIA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COOK, SARA                             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
COOK, SARINA                           GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                       MINNEAPOLIS MN 55402
COOK, STACEY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COOK, SUSAN                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
COOK, SUSAN                            BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                       70130
COOK, SUSAN                            BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                       75202
COOK, TANYA                            ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
COOK, TANYA                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
COOK, TONI                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COOK, VELMA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COOK, WENDY                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660



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Claim Name                       Address Information
COOK-ELLISON, CARMEN            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COOK-WILDER, ANITA              NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
COOKE, FRANCES                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COOKE, TAMARA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COOKE, TAMMY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COOKS, SHANAY                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
COOL, BARBARA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COOLEEN, ELIZABETH              MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
COOLEY, CASSIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COOMBES, CLARA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
COOMBES, CLARA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
COOMBS, CHERI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COOMER, HARRIETT                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COOMES, JOAN                    TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
COON, JEWEL                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COON, RENEE                     WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
COON, SHIRLEY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COOPER, AMANDA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
COOPER, AMY                     GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
COOPER, AMY                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
COOPER, ANGIE                   NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
COOPER, ASHA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COOPER, CAROL                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
COOPER, CAROLYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COOPER, CHERYL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COOPER, CHERYL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COOPER, CHERYL                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
COOPER, CLARICE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COOPER, CLARICE                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
COOPER, CLARICE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COOPER, CLARICE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
COOPER, CLARICE                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
COOPER, DEBORAH                 THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
COOPER, EMMIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COOPER, HELEN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231


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Claim Name                       Address Information
COOPER, JACKIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COOPER, JAMIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COOPER, JENNIFER                WEITZ & LUXENBERG RELKIN, ELLEN & SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE
                                210 CHERRY HILL NJ 08002
COOPER, JESSICA                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
COOPER, JULIE                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
COOPER, KAREN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COOPER, KAREN                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
COOPER, KATY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
COOPER, KRISTINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COOPER, LAURA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
COOPER, LAUREN                  WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
COOPER, LAURETTE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COOPER, LINDA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
COOPER, LINDA                   HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
COOPER, LORETTA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COOPER, MARJORIE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COOPER, MARY                    NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
COOPER, MATTIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COOPER, MICHELE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COOPER, MICHELLE                LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                NJ 08648
COOPER, MILDRED                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COOPER, OTHA MERLE              POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
COOPER, PAULA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
COOPER, PAULA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COOPER, REBECCA                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
COOPER, RITA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COOPER, RUTH                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
COOPER, SANDRA                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
COOPER, SHARON                  PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
COOPER, SHARON                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COOPER, SHARON                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.


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Claim Name                       Address Information
COOPER, SHARON                  PAUL MN 55101
COOPER, SHARON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COOPER, SHIRLEY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COOPER, SHIRLEY                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
COOPER, SUSAN                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
COOPER, TOYMICA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COOPER-MCNULTY, CYNTHIA         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
COOPER-MCNULTY, CYNTHIA         LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
COOPERMAN, MARCIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COOTS, CATHERINE                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
COOTS, TINA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COPE, MARJORIE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
COPELAND, DOROTHY               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
COPELAND, FRANCES               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COPELAND, SYLVIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COPELAND, TAKESHA               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
COPERTINO, LORRAINE             NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
COPPEDGE, JANET                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COPPEE, NICOLE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COPPENGER, REBECCA              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
COPPOLA, MARYANN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COPPOLECCHIA, ANGELA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COQUERAN, ALICE                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
COQUERAN, ALICE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CORA REBER                      BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                COMMERCE STREET MONTGOMERY AL 36104
CORA, JEAN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CORA, VIRGINIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CORBALLY, BETH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CORBEIL, KATHLENE               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CORBEIL, KATHLENE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CORBELLI, MARIE                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301



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                                               LTL Management LLC
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                                                            Entered 02/17/22 16:31:44             Desc Main
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Claim Name                              Address Information
CORBETT, ANNIE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CORBETT, BARBARA                       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
CORBETT, CHRISTINE                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                       EDWARDSVILLE IL 62025
CORBETT, CYNTHIA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
CORBETT, ERNESTINE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
CORBETT, NATASHA                       ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119
CORBETT,HILLARY ESTATE OF C LICHENSTEIN LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                        NJ 08648
CORBIN, CAROL                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CORBIN, CINDY                          DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
CORBIN, GAYLE                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
CORBIN, JILL                           GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CORBIN, ROBIN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CORBIN, STACI                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
CORBITT, LULA                          ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CORBITT, LULA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
CORBITT, PATRICIA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CORBY, TONI                            HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
CORCORAN, BETSY                        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CORCORAN, JOSEPHINE                    SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
CORDELL, LORETTA                       JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                       PAUL MN 55101
CORDER, JAMIE                          MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
CORDER, JAMIE                          KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
CORDER, LORIE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
CORDER-JONES, WANDA                    MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
CORDERO, ELIZABETH                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CORDERO, PAMELA                        ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119
CORDES, HOWARD                         NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                       PR 00918
CORDES, JO-ANN                         GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CORDIER, LISA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
CORDIER-HYMAN, LISA                    FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD MCDOWELL, DARREN LUFF, PATRICK -
                                       PLUFF2FNLAWFIRM.C DALLAS TX 75231
CORDONA, BELINDA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CORDONNIER, ANN                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
CORDOVA, EVANGELINA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
CORDOVA, GREGORIA                      SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
CORDOVA, JENNIFER                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,


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CORDOVA, JENNIFER               EMILY FAIRFAX VA 22031
CORDOVA, JENNIFER               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CORDOVA, LUCY                   THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
CORDOVA, RITA                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
CORDOVA, VALERIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CORDOVES, ARLEY                 LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
COREA, PEGGY                    KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
CORELL, CHERYL                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COREY, EARLENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COREY, EARLENE                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
COREY, PATRICIA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
COREY, PATRICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CORGLIANO, KATHLEEN             CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
CORKINS, DEENA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CORKINS, DEENA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CORLESS, ELIZABETH              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CORLESS, LEIGH                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
CORLETTO, LISA                  WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
CORLEW, ASHLEY                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CORLEY, DANA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CORLEY, DORA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CORLEY, EVELYN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CORLEY, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CORLEY, MARIE                   THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
CORLEY, OPAL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CORLEY, SANDRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CORLEY, TERESAS                 MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
CORLISS-KELLY, MARCIA           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CORMAN, PATTY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CORMIER, DENISE                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
CORMIER, KIMBERLY               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CORMIER, PATRICIA               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CORMIER, REBECCA                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119



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Claim Name                                Address Information
CORMIER, WANDA                           BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                         ROBERT BRENT LOS ANGELES CA 90024
CORMIER-FRANCO, MARSHA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
CORNEJO, BEE                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CORNELIEN-CADET, ANNE                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                         11747
CORNELIOUS, ALESIA                       GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                         MINNEAPOLIS MN 55402
CORNELIUS, BARBARA                       ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CORNELIUS, BARBARA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
CORNELIUS, DIANE                         ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
CORNELIUS, NANCY                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
CORNELIUSEN, MARILYN                     HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                         AL 03520
CORNELL, DONNA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
CORNELL, JEWEL                           DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
CORNELL, NEDRA                           THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
CORNELL, WILLIAM EST OF DIANE CORNELL    WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
CORNER, REBECCA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CORNETT, DONNA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
CORNETT, SHANNON                         BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                         ROBERT BRENT LOS ANGELES CA 90024
CORNFIELD, LYNN                          JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
CORNINE, BARBARA                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
CORNS, REGINA                            MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                         YORK NY 10017
COROMANDEL, KENDRA                       CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                         14202-3725
CORONA, ANNETTE                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
CORONADO, MARIO AND PORRAS, MELANIE      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                         NJ 08648
CORONEL, GENOVEVA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
CORONEOS, MARGARET                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
CORONEOS, MARGARET                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
CORRAGGIO, JERRELYN                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CORRAL, BEATRIZ                          NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                         PR 00918
CORRAL, ELIZABETH                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
CORRALES, LAURA                          FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098


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Claim Name                         Address Information
CORRAO, MARILYN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
CORREA, MARIA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CORREDOR, SUSAN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
CORREIA, ELAINE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CORREIA, JOAN                     WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                  NJ 08002
CORREIA, JOAN                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
CORRELL, SUSAN                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CORRIE, SHIRLEY                   DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
CORRIGAN, JILLENE                 LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                  NICHOLAS LAKE CHARLES LA 07060
CORRIGAN, KATHLEEN                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
CORRIVEAU, CINDY                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                  EMILY FAIRFAX VA 22031
CORRIVEAU, CINDY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
CORRSETTI, SALMA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                  14202-3725
CORRY, JANET                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
CORSETTI, KATHLEEN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
CORSINI, PATSY                    HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                  63101
CORTES DE MARRON, ALTAGRACIA      BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 NEW ORLEANS LA 70130
CORTES, DIANA                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                  77007
CORTES, LILLY                     DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                  63102
CORTES, RAMONITA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CORTEZ, GILDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CORTEZ, LILLIANA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
CORTEZ, LORNA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
CORTEZ, MARY                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                  EMILY FAIRFAX VA 22031
CORTEZ, SHELLY                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                  11747
CORTI, BARBARA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
CORTRIGHT, NANCY                  MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                  TAMPA FL 33602
COSBY, CASSANDRA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                  YORK NY 10017
COSBY, JEANNIE                    BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                  75202
COSBY, KATHY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COSBY, KIM                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                        Address Information
COSBY, KIM                       MEADOWS, TED G. MONTGOMERY AL 36104
COSBY, LAMEKA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COSENZA, ROSE                    THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
COSGROVE, LISA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                 77098
COSIO, KARINA                    THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
COSNER, LOIS                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COSPER, VALERIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COSS, ROGER AND COSS, SUSAN      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                 NJ 08648
COSTA, ALTA                      CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                 14202-3725
COSTA, JULIE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
COSTA, JULIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COSTA, JULIE                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
COSTA, JULIE                     PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
COSTA, KATHLEEN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
COSTA, KATHLEEN                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                 MINNEAPOLIS MN 55402
COSTA, KATHLEEN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COSTA, KATHLEEN                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
COSTA, KATHLEEN                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
COSTA, LINDELIA                  MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                 KNOXVILLE TN 37929
COSTANTINO, SHERRI               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COSTANZA, SANDY                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                 STREET, SUITE PENSACOLA FL 32502
COSTANZO, SARAH                  MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                 TAMPA FL 33602
COSTANZO, SUSAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COSTELLO, ELIZABETH              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COSTELLO, JOANNE                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                 STREET, SUITE PENSACOLA FL 32502
COSTELLO, TRINA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                 77098
COSTELLOW, SARAH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COSTER, BARBARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COSTLEY, CHERYL                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
COSTLOW, MARY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                 ORANGE VA 02296
COSTON, CATHERINE                HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                 63101
COSTOSO, JEANETTE                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                 63102
COTCAMP, CAROLYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
COTCAMP, CAROLYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COTCAMP, CAROLYN                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
COTCAMP, CAROLYN                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768



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                                                         List
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Claim Name                              Address Information
COTE, BRENDA                           DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                       63102
COTE, LAURA                            DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                       KANSAS CITY MO 64196
COTE, TABATHA                          MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
COTHRAN, AMANDA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COTIC, SANDRA                          MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                       YORK NY 10017
COTMAN-RIDGE, MARILYN                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                       63102
COTNER, VIRGINIA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
COTNOIR, MARY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
COTTEN, MONIQUE                        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
COTTINGHAM, DEBRA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
COTTO, MARIA                           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                       KNOXVILLE TN 37929
COTTO, SUSANA                          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                       KNOXVILLE TN 37929
COTTON, BARI                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COTTON, DEBORAH                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
COTTON, JOAN                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
COTTON, KATHLEEN                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COTTON, TYAISHA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
COTTON, VICTORIA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
COTTON, VICTORIA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COTTON, VICTORIA                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
COTTON, VICTORIA                       PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
COTTRELL, NANCY                        WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
COTTRILL, BECKY                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
COTTRILL, PAMELA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COUCH, ALEXANDER AND COUCH, NORMA      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                       HILL NJ 08002
COUCH, CHARLOTTE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
COUCH, DEBRA                           THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
COUCH, ELAIME                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
COUCH, LAURA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COUCH, MARILYN                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
COUCH, SHAILEE                         WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                       NJ 08002
COUCH, SHANNON                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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                                                         List
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Claim Name                              Address Information
COUCHMAN, DREAMA                       LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
COUCHMAN, DREAMA                       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
COUGHLIN, MARY                         BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                       75202
COUGHLIN, SHERRI                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
COUILLARD, RUTH                        ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                       WASHINGTON DC 20006
COUILLARD, RUTH                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                       STREET MONTGOMERY AL 36104
COULBOURN, SHIRLEY AND COULBOURN,      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
DANIEL                                 HILL NJ 08002
COULBOURN, VIRGIE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COULING, TERESA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COULL, ERIKA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COULSTON, KIMBERLIE                    THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                       CHARLESTON WV 25301
COULTER, CHARLOTTE                     BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                       ROBERT BRENT LOS ANGELES CA 90024
COULTER, JACKIE                        DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                       KANSAS CITY MO 64196
COULTER, SHERRY                        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
COULTER, SHERRY                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
COULTER, TIFFANY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COUNCE, AMY                            WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                       DALLAS TX 75219
COUNCIL-COUCH, ETTA                    BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
COUNTS, CATHY                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
COUNTS, CATHY                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
COUNTS, JANET                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
COURSE-CISLO, TRICIA                   JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
COURSEN, SYLVIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COURT, DALE                            MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                       YORK NY 10017
COURTER, KATHLEEN                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
COURTIS, MARIA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COURTLAND, PAULA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
COURTNEY, BRANDY                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
COURTNEY, ELIZABETH                    COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                       JONATHAN A. INDIANAPOLIS IN 46204
COURTNEY, GLENDA                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
COURTNEY, JOAN                         LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                       SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
COURTNEY, VIRGINIA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
COURTNEY-MORONG, MARILYN        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COURTS, MARTHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COURVILLE, LELA                 BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
COUSETTE, MARY                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
COUSINS, TERESA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COUZIN, SHARON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COVIL, DIONNE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COVINGTON, DARLENE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COVINGTON, DEBORAH              THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
COVINGTON, LORI                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COVINGTON, MARTHA               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
COVINGTON, SHIRLEY              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COVINGTON, STEPHANIE            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COVINGTON, SUZANNE              JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
COVINGTON, TAMIKO               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COVINGTON, TRACY                ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
COWAN, ANGELA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
COWAN, ROXANNE                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
COWANS, VIRGINIA                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
COWARD, TERESA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
COWARD, TERESA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
COWARD, TERESA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
COWARD, WANDA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
COWART, MELISSA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COWDEN, BETHYL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COWEN, DEBRA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COWEN, FRANCES                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COWEN, JENNIFER                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COWEN, JULIE                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
COWLES, CHERLY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COWLES, JANICE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COWLES, JOICE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COWLES, MARION                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
COWLEY, JOSEPHINE               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098


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Claim Name                          Address Information
COWLEY, MELANIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COWLEY, RUTH                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
COX, ANGELA                        WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                   DALLAS TX 75219
COX, BEATRICE                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
COX, BEVERLY                       WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
COX, BRANDIE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COX, CATHY                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
COX, CELESTINE                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
COX, CINDY                         ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
COX, CYNTHIA                       ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
COX, CYNTHIA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
COX, DEBRA                         THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                   AZ 08501
COX, DOROTHY                       DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
COX, IRENE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
COX, JAZZMIN                       GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
COX, JENNIFER                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COX, KAREN                         DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
COX, KAREN AND COX, TIMOTHY        WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                   HILL NJ 08002
COX, LISA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COX, LUCINDA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COX, LYNETTE                       DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                   KANSAS CITY MO 64196
COX, MANDY                         WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
COX, MARION                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COX, MARTHA                        CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                   GA 30009
COX, MARTHA                        BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                   30060
COX, MARTHA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COX, MARY                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
COX, NORMA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COX, ROBERTA                       MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
COX, SHOCKEY                       MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                   KNOXVILLE TN 37929
COX, SONYA                         WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                   DALLAS TX 75219
COX, SUSAN                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COX, TERESA                        GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                   EDWARDSVILLE IL 62025
COX, WANDA                         DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036


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Claim Name                       Address Information
COX-LAFRAMBOISE, CONNIE         SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
COY, DENISE                     ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
COY, VIRGINIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
COYE, JANICE                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
COZART, SHELIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
COZZIE, BARBARA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRABB, PENELOPE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRABBE, MARY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CRABTREE, DIANNA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRABTREE, PATRICIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRABTREE, REATA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CRADDOCK, CLARA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CRADDOCK, SHARMAN               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CRADER, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRAFT, RACHEL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRAFT, TAMMIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRAGO, MARION                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CRAIG, CANDACE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRAIG, CANDACE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRAIG, CANDACE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CRAIG, CANDACE                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
CRAIG, CHERYL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRAIG, MARRILY                  SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
CRAIG, MARTHA                   HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
CRAIG, MARY                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CRAIG, MARY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CRAIG, MEGAN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRAIG, PAMELA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRAIG, PATRICIA                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
CRAIG, PATRICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRAIG, SHIRLEY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CRAIG, STEPHANIE                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007



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Claim Name                       Address Information
CRAIG, TEENA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRAIG-HOGLAN, CONSTANCE         DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
CRAIGHEAD, JANICE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CRAIN, DEBORAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRAIN, DEBRA                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
CRAIN, JOYCE                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CRAIN, JOYCE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRAIN, STACEY                   KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
CRAIN, STACEY                   LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
CRAMER, REBECCA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRAMER, ROSIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CRAMER, SHARON                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
CRAMER, SHARON                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CRAMER, SUSAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRAMER, TONYA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
CRAMMER, JORDAN                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CRANDALL, CLAUDIA               THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
CRANDALL, PEGGY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CRANE, ANGELA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CRANE, CYNTHIA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
CRANE, JACQUELINE               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
CRANE, JOYCELYN                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CRANE, LESLIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRANE, SHARA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CRANFILL, TERRI                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CRANFORD, EVELYN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRANFORD, LISA                  SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
CRANFORD, MACHELLE              DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
CRANSTON, JEANETTE              THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
CRASE, LYNETTE                  POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
CRAVANAS, ELAINE                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CRAVEN, DENISE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231



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Claim Name                       Address Information
CRAVEN, JONI                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CRAVEN, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRAVEN, MARGARET                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CRAVEN, MARTHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRAVEN, ZINA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
CRAVENOR, TERESA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRAVILLION, ETHEL               THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
CRAWFORD, BARBARA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CRAWFORD, BEVERLY               MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
CRAWFORD, CATHARINE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRAWFORD, CATHY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRAWFORD, CELAI                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRAWFORD, DOROTHY               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CRAWFORD, ELOISE                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
CRAWFORD, GLENDA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRAWFORD, KARLA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRAWFORD, KIMBERLY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRAWFORD, LISA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRAWFORD, LISA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRAWFORD, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRAWFORD, MORGAN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRAWFORD, NANCY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CRAWFORD, NIKKI                 THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
CRAWFORD, PAULINE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CRAWFORD, PHYLLIS               HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
CRAWFORD, ROSALEE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRAWFORD, SHIRLEY               SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
CRAWFORD, SHUNDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRAWFORD, STEPHANIE             TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
CRAWFORD, VERSIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRAWHORN, LINDA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
CRAWHORN, LINDA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CRAWHORN, LINDA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660



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Claim Name                       Address Information
CRAWLEY, JOAN                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CRAWLEY, JOAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRAWLEY, LISA                   SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
CRAWLEY, LISA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRAWLEY, LISA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CRAWLEY, LISA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CRAWLEY, MAMIE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CREAL, JULIE                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
CREAMER, AMY                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CREAMER, DOROEHEA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CREAMER, HEIDIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CREAMER, HEIDIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CREAMER, LAVERA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CREAMER, MISTY                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CREASY, VIRGINIA                DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
CREDLE, CARMELA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CREDLE, DEBORAH                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CREDLE, DEBORAH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
CREEACH, DANA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CREECH, DOROTHY                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
CREECH, ERNESTINE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CREECH, LINDA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CREECH, PATRICIA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CREECH, SANDY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CREED, CHRISTINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CREED, LORI                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CREED, LORI                     LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
CREIGHTON, ALICE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CREIGHTON, LESLIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRENSHAW, HELEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRENSHAW, JEAN                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301


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Claim Name                       Address Information
CRENSHAW, LAKEISHA              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CRESCIONE, PATRICIA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRESON, DORA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CRESON, DORA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRESPO, SANDRA                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
CRESSMAN, ANGELA                WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
CRESSWELL, DEBORAH              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CRESWELL, ARTIE                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
CRESWELL, ARTRIE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CRETHERS, CORA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CREW, LAKISHA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CREWS, BARBARA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CREWS, BELINDA                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
CREWS, CHARLENE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CREWS, LYDA                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CREWS, SAMANTHA                 WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
CREZO, VELINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CREZO, VELINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRIADO, SHARON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRIBB, CYNTHIA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CRIBB, LISA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CRIDER, TERESA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRIGGER, SAMANTHA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRIM, JUDITH                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRIMMINS, KATHLEEN              LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
CRINCOLI, LOUISE                THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, D.,
                                FERRARO, JR. J. DIMATT MIAMI FL 33131
CRINER, SALLY                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CRIOLLO, GUADALUPE              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CRIPPEN, CANDACE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRISMON, CYNTHIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRISMON, CYNTHIA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CRISMON, CYNTHIA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
CRISO, IRENE                    COHEN, PLACITELLA & ROTH 127 MAPLE AVE. PLACITELLA, CHRISTOPHER M. GEIER,
                                DENNIS M. RED BANK NJ 07701



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Claim Name                       Address Information
CRISO, IRENE                    EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD ROSENBERG, EVAN EDISON
                                NJ 08817
CRISOSTOMO, YOLANDA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRISOSTOMO, YOLANDA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRISOSTOMO, YOLANDA             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CRISOSTOMO, YOLANDA             PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CRISP, DEBBIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRISP, IRENE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRISP, MARY                     HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
CRISP, VIRGINIA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CRISP-SILVA, CHANDRA            ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                FELLER, JOEL J. PHILADELPHIA PA 19103
CRIST, PAULA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRISTOBAL, NANETTE              BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
CRISWELL, CRISANDRA             FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CRITE-WILKINS, GWENDOLYN        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRIVELLO, CHRISTINA             DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
CROAL, COLLETTE                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
CROBARGER, KALA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CROBARGER, KALA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CROBARGER, KALA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
CROCE, AVIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CROCHET, JODY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CROCHET, JODY                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CROCHET, JODY                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CROCKER, AUDREY                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CROCKER, AUDREY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CROCKER, BARBARA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CROCKER, LOIS                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CROCKETT, ANNIE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CROCKETT, DARLENE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CROCKETT, KANISHA               DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
CROCKETT-TURNER, SHARON         THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
CROFT, GRETI                    HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
CROFT, WALISHIA                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
CROFTS, MARTHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
CROLLARD, SHELLY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CROMER, SOMBEN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CROMER, SOMBEN                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
CROMER, SOMBEN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CROMER, SOMBEN                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CROMER, SOMBEN                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CROMPTON, LORRAINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CROMWELL, PAULA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CRONANDER, LAURA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRONE, SANDRA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRONEY, JANET                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRONIN, JEAN                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CRONKHITE, KRISTIN              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CRONKRITE, LINDA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CROOK, DEBORAH                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CROOK, SHERRY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CROOKS, SHARON                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CROOKS, VALERIE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CROOMS, TAMMY                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
CROPP, ROSEMARIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CROPPER, DANASTACIA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CROPPER, LIBERTY                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
CROPPER, LIBERTY                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CROPPER, LIBERTY                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CROSBY, BERTHA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CROSBY, LUELLA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CROSBY, MARGARET                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CROSBY, PEARL                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CROSBY, SHARON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CROSLAND, THELMA                THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
CROSS, BRENDA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CROSS, CORA                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.



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Claim Name                       Address Information
CROSS, CORA                     ORANGE VA 02296
CROSS, DEBORAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CROSS, ELIZABETH                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CROSS, HERLUNDA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CROSS, JOAN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CROSS, JOSEPHINE                LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
CROSS, LANELLE                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
CROSS, LETTA                    TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
CROSS, LILLIAN                  COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
CROSS, MARY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CROSS, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CROSS, MARY                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CROSS, MARY                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CROSS, RENEA                    GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
CROSS, ROBIN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CROSS, STEPHANIE                POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                BRASLOW, DEREK T CONSHOHOCKEN PA 19428
CROSS, VEDA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CROSSLAND, KRISTY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CROSSLAND-MALLOY, BEVERLY       GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CROSSLEY, ANNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CROSSLEY, LYNN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CROSSWHITE, CHARLOTTE           THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CROTSER, DONNA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CROTSER, DONNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CROTZER, DIANNA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CROUCH, CYNTHIA LORRAINE        LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                NJ 08648
CROUCH, EVELYN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CROUCH, HELEN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CROUSE, JEANNETTE               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CROUSE, KANDACE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CROUSE, LAURINDA                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
CROW, ANGELA                    SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
CROW, CAROLINE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CROWDER, CHERYL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CROWDER, DEBORAH                SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573


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Claim Name                       Address Information
CROWDER, DEBORAH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CROWDER, DEBORAH                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CROWDER, DEBORAH                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CROWE, ANGELA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CROWE, ARITHA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CROWE, ARITHA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CROWE, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CROWE, NANCY                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
CROWE, NANCY                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CROWE, NANCY                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CROWE, REBEKAH                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
CROWE, SHARON                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
CROWELL, LORETTA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CROWL, JANET                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CROWL, JEANNETTE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CROWL, SANDRA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CROWLEY, JANICE                 DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
CROWN, DEBORAH                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CROXTON, JOANN                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CROXTON, LEAH                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CROY, JENNIFER                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
CRUCE, LISA                     LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                NICHOLAS LAKE CHARLES LA 07060
CRUCHELOW, MARLYS               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRUDUP, DIANE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CRUM, CARLA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRUM, KAREN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRUMBLE, ELFREDIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CRUMLISH, KATHLEEN              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRUMLISH, KATHLEEN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRUMLISH, KATHLEEN              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CRUMLISH, KATHLEEN              PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
CRUMM, SHANNON                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CRUMP, CAROLE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
CRUMP, INEZ                     SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
CRUMP, MARIANNE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CRUMP, MICHELE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRUMP, SHARON                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CRUSE, DEBORAH                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CRUSE, LINDSI                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CRUSE, REBECCA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRUSE, SONJI                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CRUSHA, DEBRA                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
CRUSHA, DEBRA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CRUSHA, DEBRA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CRUSON, HEIDI                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CRUTCHFIELD, KIM                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRUTCHFIELD, MARSHA             WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
CRUZ, AIDA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CRUZ, CARMEN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRUZ, CHRISTINE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CRUZ, CLARA                     JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
CRUZ, EMILY DELA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRUZ, GLORIA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CRUZ, JOHNANNA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
CRUZ, JOSEFINA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CRUZ, JOSEFINA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CRUZ, LINDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRUZ, MELISSA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CRUZ, NIRMA                     KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
CRUZ, NIRMA                     LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
CRUZ, REBECCA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CRUZ, RIONA                     BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
CRUZ, SAMANTHA                  HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
CRUZ, SANDRA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRUZ, SANDRA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CRUZ, SHANTA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CRUZ, SUSAN                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
CRUZ, SUSAN                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266


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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
CRUZ, SUSAN                     LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
CRUZ, SUSAN                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CRUZ, SUSAN                     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
CRUZ, VIVIAN                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
CRUZ, ZENAIDA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CRUZE, SUSAN                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
CRUZE, SUSAN                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CRUZE, SUSAN                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CRYSTAL DUKES                   WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
CUAMBA, VERONICA                COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
CUBBY, CLARISSA                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
CUBLEY, VIRGINIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CUCCHIARA, PAMELA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CUCCHIELLA, LOUISE              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CUCCHIELLA, LOUISE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CUCINOTTA, JO LYNN              JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
CUCURELLA, LAURA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CUCURELLA, LAURA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CUDDON, LEONORA                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
CUDDY, ANN                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CUELLAR, MARIA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CUEVAS, ANNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CUEVAS, BRAUDELINA              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
CUEVAS, JULIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CUEVAS, KATHLEEN                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CUEVAS, KATHLEEN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CUEVAS, NORMA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CUEVAS, ZULEMA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CUFF, SANDRA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CUFF, SHAWNA                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
CUGINI, JOSEPHINE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                       Address Information
CUGINI, JOSEPHINE               75231
CUKOVIC, ALEKSANDRA             MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
CULBREATH, PHENOLA              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CULCLASURE, AUGUSTE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CULHANE, ANN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CULLEN, ANNE                    FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
CULLEN, DONNA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CULLEN, FRANCES                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CULLEN, JENNIFER                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
CULLEN, ROSELYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CULLEN, VALERIE                 SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
CULLEN-CHIGAS, DIANE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CULLER, DONNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CULLETTO, MARGARET              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CULLETTO, MARGARET              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CULLINS, GAIL                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CULLISON, SHIRLEY               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CULLIVAN, LUCIA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CULOTTA, JENNIFER               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CULP, JERRLYN                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CULPEPPER, ALLEGRA              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CULPEPPER, ALLEGRA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CULPEPPER, AMELIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CULPEPPER, JANICE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CULPEPPER, TINA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
CULPEPPER, TINA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CULPEPPER, TINA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CULPEPPER, TINA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
CULVER, BARBARA                 KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
CULVER, NELDA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
CUMBERLAND, MARCELEINE          DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
CUMBIE, GRACIE                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
CUMBY, LAVERNE                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
CUMBY, SANDRA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103


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Claim Name                               Address Information
CUMMINGS, ANNA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CUMMINGS, CHARLIE                        FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CUMMINGS, DIANA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
CUMMINGS, JAMES AND CUMMINGS, ROSEMARY   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
CUMMINGS, KAREN                          COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
CUMMINGS, MAUREEN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CUMMINGS, NANCY                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
CUMMINGS, SHAMIA                         CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                         ATLANTA GA 30319
CUMMINS, BONNIE                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
CUMMINS, PHYLLIS                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
CUNCIC, SUZANNE                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
CUNNING, DIANE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CUNNINGAN-WILSON, SHARON                 POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                         BRASLOW, DEREK T CONSHOHOCKEN PA 19428
CUNNINGHAM, AMY                          BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                         70130
CUNNINGHAM, AMY                          BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                         75202
CUNNINGHAM, BONNIE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
CUNNINGHAM, CATHLEEN                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
CUNNINGHAM, CYNTHIA                      LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET HIGHTOWER, KRISTIE LAKE
                                         CHARLES LA 07060
CUNNINGHAM, DEBORAH                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CUNNINGHAM, ELVA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CUNNINGHAM, JACQUELINE                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                         63102
CUNNINGHAM, JOANNE                       DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                         ANTHONY ST. LOUIS MO 63102
CUNNINGHAM, JOANNE                       LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                         MANHATTAN BEACH CA 90266
CUNNINGHAM, JOANNE                       LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CUNNINGHAM, JOANNE                       ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                         & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
CUNNINGHAM, JOANNE                       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
CUNNINGHAM, KAY                          THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                         AZ 08501
CUNNINGHAM, KAY                          BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
CUNNINGHAM, MILDRED                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
CUNNINGHAM, NORMA                        DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                         77024
CUNNINGHAM, NORMA                        KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211



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CUNNINGHAM, PAMELA                       GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CUNNINGHAM, PATRICIA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
CUNNINGHAM, PATRICIA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CUNNINGHAM, PATRICIA                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CUNNINGHAM, PATRICIA                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CUNNINGHAM, PATRICIA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
CUNNINGHAM, RHONDA                       WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                         BOUNDAS, JOHN T. HOUSTON TX 77017
CUNNINGHAM, SANDRA                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CUNNINGHAM, SARAH                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
CUNNINGHAM, VIRGINIA                     MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
CUNNINGHAM, VIRGINIA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
CUNNINGHAM, YAVONNE                      CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                         ATLANTA GA 30319
CUNNINGHAM-SCURTO, MARY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
CUNNINGHAM-SCURTO, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CUNNINGHAM-SCURTO, MARY                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CUNNINGHAM-SCURTO, MARY                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CUOZZO, MARY                             ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                         LOUIS MO 63119
CUPELES, MELISSA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CUPELLI, WENDY                           HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                         CHRISTOPHER CORPUS CHIRSTI TX 07837
CUPIL, ORA                               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
CUPINA, DONNA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CUPO, MARION                             GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                         MINNEAPOLIS MN 55402
CUPO, MARION                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CUPO, MARION                             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
CUPO, MARION                             PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
CUPP, ALICE                              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
CUPP, ALICE                              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
CUPP, ELENA                              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CUPPER, JUNE                             THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                         CHARLESTON WV 25301
CUPPS, CATHERINE AND CUPPS, CLIFTON      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
CUPSTID, LISA                            ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CUPULONG, MARITESS                       COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                         INDIANAPOLIS IN 46204
CURE, ADRIANE                            THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
CURETON, RENEE                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                       Address Information
CURIEL, MONICA                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
CURILLA, CYNTHIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CURRAN, JACQUELINE              WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
CURRAN, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CURRAN, SHAWNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CURRAN, VALENTIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CURRIE, CHERYL                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
CURRIE, JOYCE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CURRIER, SAVANNAH               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CURRIER-RUSACK, JANALYN         DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
CURRIER-RUSACK, JANALYN         LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
CURRIER-RUSACK, JANALYN         LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
CURRIER-RUSACK, JANALYN         ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
CURRIER-RUSACK, JANALYN         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
CURRY, ALICE                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
CURRY, ANGELA                   HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
CURRY, AUDREY                   WEITZ & LUXENBERG RELKIN, ELLEN & SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE
                                210 CHERRY HILL NJ 08002
CURRY, CHARLENE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CURRY, DEBRA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CURRY, ELIZABETH                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CURRY, JEANETTE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CURRY, JENNIFER                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CURRY, JUANITA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CURRY, LAURA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CURRY, LISA                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CURRY, LISA                     GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
CURRY, PAMELA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CURRY, RANDI                    MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
CURRY, RUTH                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
CURRY, SAUNDRA                  ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                FELLER, JOEL J. PHILADELPHIA PA 19103
CURRY, SHARON                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
CURRY, VALERIE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
CURTHS, DORCAS                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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Claim Name                       Address Information
CURTHS, DORCAS                  75231
CURTIN, KATHLEEN                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CURTIN, MAGDALENA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CURTIS, APRIL                   WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
CURTIS, APRIL                   CHILDERS, SCHLUETER & SMITH, LLC SMITH, M. BRANDON 1932 NORTH DRUID HILLS
                                ROAD, SUITE 100 ATLANTA GA 30319
CURTIS, CHERYLENE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CURTIS, DEBRA                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
CURTIS, ESTHER                  MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
CURTIS, FLORENCE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CURTIS, JANICE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CURTIS, JAVONDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CURTIS, JENNIFER                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CURTIS, JODY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CURTIS, JODY                    FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
CURTIS, LINDA                   KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
CURTIS, MELISSA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CURTIS, NICHOLE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CURTIS, PATRICIA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
CURTIS, PEGGY                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
CURTIS, RAMONA                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
CURTIS, SANDRA                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
CURTIS, SANDRA                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
CURTIS, SHARON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CURTIS, SHEILLA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CURTIS, TAMARA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
CURTIS, TAMMY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CURTIS, THEA                    BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
CURYK, ALEXA                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
CUSANELLI, SHERRY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CUSHING, THERESA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CUSHMAN, CYNTHIA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
CUSICK, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CUSTER, DIANA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CUSTIS, GERALDINE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CUSTODIO, MARANGELY             WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL


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Claim Name                       Address Information
CUSTODIO, MARANGELY             NJ 08002
CUSUMANO, JOSEPHINE             GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
CUTHBERT, NORMA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CUTLER, SUZANNE                 JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
CUTLIP, CASSANDRA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CUTRER, LORA                    MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
CUTRONE, FRANCES                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
CUTRONE, LAURA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
CUTRUMBES, CAROLE               NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
CUTTER, JANIS                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
CVETKOVIC, GRESCHEN             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CYMBALUK, LOUISE                ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
CYNEWSKI, ALTHEA                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
CYNTHIA ROMINE                  BISNAR AND CHASE ANTURNOVICH, TOM & CHASE, BRIAN D. 1301 DOVE STREET, SUITE
                                120 NEWPORT BEACH CA 92660
CYNTHIA SCRUGGS                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
CYNTHIA, GREENE                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
CYNTHIA, GREENE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
CYPHERS, GENEVA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CZAJKOWSKI, MARYBETH            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
CZAPANSKY, BETTIE               MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
D'APRILE, LOIS                  ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                WASHINGTON DC 20006
D'APRILE, LOIS                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
DABBS, TAMMY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DABELL, D'ANN                   NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
DABNEY, CAROLYN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DACE, KAREN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DACOVICH, REBECCA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DACRUZ, ANNA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DACUS, PATRICIA                 ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                WASHINGTON DC 20006
DACUS, PATRICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
DADDARIO, JOHANNA               DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DADLES, VICKI                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296



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Claim Name                       Address Information
DADLES, VICKI                   ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                WASHINGTON DC 20006
DADLES, VICKI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
DAFFINRUD, APEARLELLA           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DAFOE, JOY                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
DAFOE, JOY                      HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
DAGA, FLORENCIA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DAGGETT, REVIS                  TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
DAGH-GOODMAN, DEBRA             DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
DAGOSTINO, GERALDINE            NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
DAGROSA, PATRICIA               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
DAHDAL, FATENA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAHER, BARBARA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DAHILIG, KATHLEEN SHELTON       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DAHL, BETTY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DAHL, JULIA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAHL, KARI                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DAHL, MICHELE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DAHL, MICHELE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAHL, MICHELE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DAHL, MICHELE                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
DAHLBERG, MADDALENA             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DAHLGREN, LORI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAHLMAN, RACHEL                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
DAHME, BARB                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DAHMS, DEB                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAIGLE, DEBRA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DAIGLE, DEBRA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DAIGLE, DEBRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAIGLE, KATHLEEN                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
DAIGNEAU, STACEY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAILEY, DEBRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAILEY, ESTHER                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN



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Claim Name                          Address Information
DAILEY, ESTHER                     STREET, SUITE PENSACOLA FL 32502
DAILEY, MARY                       DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102
DAILEY, MARYANN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAILEY, SHARON                     WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                   NJ 08002
DAILEY, SHELIA                     FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD MCDOWELL, DARREN LUFF, PATRICK -
                                   PLUFF2FNLAWFIRM.C DALLAS TX 75231
DAILEY, TERRY                      POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                   BRASLOW, DEREK T CONSHOHOCKEN PA 19428
DAILEY, TINA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAILY, RHONDA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAILY, VIRGINIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAKA, BETTIE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAKA, BETTIE                       BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                   TX 75219
DAKE, VICKY                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
DALBY, JO                          WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                   DALLAS TX 75219
DALBY, PEGGY                       ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DALBY, PEGGY                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DALE, ARRETTA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DALE, DIANA                        HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                   63101
DALE, LANA                         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DALE, MARY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DALEDA DESHONG                     DAVIS, BETHUNE & JONES, L.L.C. DAVIS, GRANT L. 1100 MAIN STREET, SUITE 2930
                                   KANSAS CITY MO 64196
DALEN, JONI                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DALEY, BEVERLY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DALEY, DEIDRE                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
DALEY, JONEY                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
DALEY, MAIRON                      THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                   CHARLESTON WV 25301
DALEY, REESE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DALEY, ROBBIN                      POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                   LECKMAN, T. MATTHEW CONSHOHOCKEN PA 19428
DALEY, THERESA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DALFERES, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DALIMONTE RUEB, LLP                J DALIMONTE, J ORENDI, Y FLORES G RUEB;1250 CONNECTICUT AVE NW,#200 WASHINGTON
                                   DC 20036
DALLAIRE, DOROTHY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DALLAS, DALE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DALLAS, DESHANNON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
DALLAS, KIM                     LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                NICHOLAS LAKE CHARLES LA 07060
DALLATOR, ELVIRA                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
DALLER, MARIE                   LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
DALLEY, TASMIN                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
DALMORAL, MARY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DALTO, SHARON                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DALTON, BEVERLY                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DALTON, CONNIE                  ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
DALTON, GLENDA                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
DALTON, GLORIEST                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DALTON, JULIE                   THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
DALTON, LEE                     MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
DALTON, MARGARET                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DALTON, STEPHANIE               THE MILLER FIRM, LLC SHAH, TAYJES M. 108 RAILROAD AVE. ORANGE VA 22960
DALTON, TETIANA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
DALVERY, ESTHER                 EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
DALY, MEGAN                     MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
DALYRMPLE, MELANIE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DALZELL, GERRI                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DAMBROSIA, ASCENZIA             CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
DAMEWORTH, JOYCE                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
DAMEWORTH, JOYCE                LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
DAMEWORTH, JOYCE                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DAMEWORTH, JOYCE                ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
DAMEWORTH, JOYCE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DAMHOF, JEANNE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DAMHOF, JEANNE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DAMICO, ANNE                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DAMICO, HEATHER                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
DAMMASCHKE, TINA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DANA, KATHY                     GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102


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Claim Name                       Address Information
DANA, KATHY                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DANA, PEGGY                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DANA, PEGGY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DANAHER, MARTIN                 LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                NJ 08648
DANAHEY, AMY                    JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
DANBY, DIANA                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
DANCE, LAKEN                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DANCE, PATRICIA                 COHEN, PLACITELLA & ROTH 127 MAPLE AVE. PLACITELLA, CHRISTOPHER M. GEIER,
                                DENNIS M. RED BANK NJ 07701
DANCY, CATESIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DANCY, SHIRLEY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DANDO, LINDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DANDO, LISA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DANEK, SHIRLEY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DANEK, SHIRLEY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DANEK, SHIRLEY                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DANEK, SHIRLEY                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
DANEL, ANITA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DANG, THUNGA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
DANGELO, PAMELA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DANIECE MILLER                  MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
DANIEL & ASSOCIATES, LLC        7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX 77024
DANIEL, ASHLEY                  TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
DANIEL, BARBARA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DANIEL, BARBARA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DANIEL, CAROLYN                 GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
DANIEL, DORIAN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DANIEL, JEFFREY                 NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
DANIEL, JOANN                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
DANIEL, LECHIA                  ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
DANIEL, LISA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DANIEL, LULA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DANIEL, SHARON                  COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
DANIEL, SIOBAINNE               JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.



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Claim Name                       Address Information
DANIEL, SIOBAINNE               PAUL MN 55101
DANIEL, SUSAN                   ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
DANIEL, TAMALA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DANIEL, THERESA                 KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
DANIEL, VICTORIA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DANIELS, ANGELA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DANIELS, CHACORI                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
DANIELS, CLAUDIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DANIELS, DANA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DANIELS, DANA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
DANIELS, EVELYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DANIELS, FREDERICA              THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
DANIELS, JACQUELYN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DANIELS, JEANIE                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DANIELS, JERALDINE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DANIELS, KATHERINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DANIELS, KATHLEEN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DANIELS, KATHRYN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DANIELS, LAURA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DANIELS, LISA                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
DANIELS, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DANIELS, MORIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DANIELS, NORA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DANIELS, NORA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DANIELS, NORA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DANIELS, RACHAEL                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
DANIELS, SHERYL                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
DANIELS, SONYA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DANIELS, SONYA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
DANIELS, TERESA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
DANIELS, TERRI                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
DANIELS, TIFFANY                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
DANIELS-BRIDGES, RETHA          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DANIELSON, SHARON               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
DANKERT, JAN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DANKO, BETTY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                                Address Information
DANKO, BETTY                             75231
DANKO, CYNTHIA                           DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DANKO, MAERUSHKA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
DANKO, MAERUSHKA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DANKO, MAERUSHKA                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DANKO, MAERUSHKA                         PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DANNA, ROSA                              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DANNER, DOREEN                           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
DANNER, JANINE                           HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                         CHRISTOPHER CORPUS CHIRSTI TX 07837
DANNER, LINDA                            GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                         PA 19102
DANNER, LINDA                            COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                         INDIANAPOLIS IN 46204
DANNER, PAMELA                           DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DANNS, EVELYN                            FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LUFF, PATRICK - DALLAS TX 75231
DANNUNZIO, CHRISTINE                     DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                         63102
DANSBY, JESSICA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
DANTIN, MELODY BAEHR & EST OF LLOYD      BAEHR, MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23
                                         FLOOR NEW YORK NY 10017
DANTINNE, TERESITA                       KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
DANTZLER, SABRINA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
DAOUST, NIKKI                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
DAQUIENO, ELIZABETH                      NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                         11747
DARAG, MILA                              DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DARANDA, TAMARA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DARBY, BEVERLY                           LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DARBY, BEVERLY                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
DARBY, JANET                             LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                         SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
DARCANGELO, COLLEEN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DARCEY, ELEANOR                          NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                         11747
DARCY LAVALLEE                           MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
DARDAR, APRIL                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DARDAR, DONNA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DARDEN, AMANDA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DARDEN, JOVINE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DARDEN, KIMBERLY                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
DARDEN, LISA                             THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                         ORLEANS LA 70130
DARDEN, RITA                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                          Address Information
DARE, SUZANNE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DARE, SUZANNE                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
DARE, VIRGINIA                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DARIAN, NAHID                      MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                   KNOXVILLE TN 37929
DARLENE MILLER                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
DARLING, KIMBERLY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DARLING, MARY                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
DARLING, MARY                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
DARLING, SUSAN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DARLING-MITCHELL, YVONNE           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DARLINGTON, FRANCES                MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                   DAVID M. MINNEAPOLIS MN 55404
DARMAND, CHRISTINE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
DARNEL, CATHLEEN                   FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
DARNELL, CRYSTAL                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
DARNELL, DONNA                     POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
DARNELL, LASHAWN                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
DARR, RUBY                         CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
DARRAH-NORDBERG, DIANE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DARROW, VIRGINIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DASALLA, RAMONA                    BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                   75202
DASILVA, MARIA                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
DASKALAKIS, CHRYSANTHE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DASTOLI, ARLENE                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DAU, JEAN                          THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
DAUBERT, LEILA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAUBNMIRE, MARTHA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
DAUGEREAU, TARA                    LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                   NICHOLAS LAKE CHARLES LA 07060
DAUGEREAU, TARA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAUGHDRILL, CYNTHIA                BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                   ROBERT BRENT LOS ANGELES CA 90024
DAUGHERTY, DEBORAH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DAUGHERTY, JENNIFER                WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                   NJ 08002
DAUGHERTY, KAY                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036



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Claim Name                               Address Information
DAUGHERTY, ROBBIE                        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP EICHEN, BARRY R. - KELLY, JOHN P - 40
                                         ETHEL ROAD EDISON NJ 08817
DAUGHTON, MALEA                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
DAUGHTRY, BONNIE                         TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
DAUGHTRY, JUANITA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
DAUGHTRY, TERESA                         MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
DAUGHTRY, TERESA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAUKSZA, MICHELLE                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
DAVAZIER, DONNA                          DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                         KANSAS CITY MO 64196
DAVELLA, THERESA                         ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                         ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
DAVENPORT, CARRIE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVENPORT, KELLY                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
DAVENPORT, KELLY                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DAVENPORT, LOLA                          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                         KNOXVILLE TN 37929
DAVENPORT, NAOMI                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
DAVENPORT, SANDRA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVENPORT, SHAREN                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
DAVI, BARBARA A. EST OF JAMES H. DAVIS   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
DAVI, LINDA                              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVID, GRACE                             MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                         ORLEANS LA 70130
DAVID, LAURIE                            GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                         MINNEAPOLIS MN 55402
DAVID, MARY                              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DAVID, WANDA                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIDOVICS, ESTHER                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIDSEN, ANITA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIDSON, ANITA                          DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DAVIDSON, ANITA                          JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
DAVIDSON, CHARLENE                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
DAVIDSON, ELAINE                         MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
DAVIDSON, JACQUELINE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
DAVIDSON, KAREN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIDSON, LINDA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIDSON, LOUISE                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
DAVIDSON, NELLIE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIDSON, ROBERTA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIDSON, VICTORIA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                              Address Information
DAVIE, ANN                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIE, LAURIE                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
DAVIE, LAURIE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                       STREET MONTGOMERY AL 36104
DAVIES, HILDA                          PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
DAVILA, DIANA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
DAVILA, DIANA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVILA, DIANA                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DAVILA, DIANA                          PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
DAVILA, EVANGELINA                     THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                       CHARLESTON WV 25301
DAVILLA, MYLYNDA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
DAVIN, BEATRICE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, ALISHIA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, ALISHIA                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DAVIS, ALISHIA                         PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DAVIS, ALMEDA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
DAVIS, ALONDA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
DAVIS, AMANDA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, AMANDA                          ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119
DAVIS, ANGELA                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
DAVIS, ANGELA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
DAVIS, ANTOINETTE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, ARLENE                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
DAVIS, AUDREY                          MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                       DAVID M. MINNEAPOLIS MN 55404
DAVIS, BENITA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, BETHUNE & JONES, L.L.C.         1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L. KANSAS CITY MO 64105
DAVIS, BETTY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, BETTY                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
DAVIS, BLANCA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
DAVIS, BONNIE                          JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
DAVIS, BRENDA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
DAVIS, BRIAN K EST OF K DAVIS & L DAVIS WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
DAVIS, BRITTANY                        BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                       75202
DAVIS, CAROL                           HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
DAVIS, CAROLYN                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231


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Claim Name                       Address Information
DAVIS, CAROLYN                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
DAVIS, CARRIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, CATHERINE                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
DAVIS, CHANNING                 SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
DAVIS, CHARDONNAY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, CHERIE                   SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
DAVIS, CHERYL                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DAVIS, CHRISTIANE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, CHRISTINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DAVIS, CHRISTINE                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DAVIS, CINDY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DAVIS, CINDY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, CLARA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, COLMIN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, CONNIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, CONSTANCE                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
DAVIS, CYNTHIA                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
DAVIS, DAJIAH                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
DAVIS, DARLENE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
DAVIS, DARLENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, DAYNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, DEBBIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DAVIS, DEBBIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DAVIS, DEBBIE                   KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
DAVIS, DEBORAH                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
DAVIS, DEBORAH                  TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
DAVIS, DEBORAH                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DAVIS, DEBRA                    SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
DAVIS, DEBRA                    WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
DAVIS, DEBRA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, DEBRA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
DAVIS, DELLA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, DELORES                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, DENISE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, DESSIE                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
DAVIS, DIANA                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO


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Claim Name                              Address Information
DAVIS, DIANA                            63102
DAVIS, DIANA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, DIANE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, DINA                             LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DAVIS, DINA                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                        ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
DAVIS, DOLORES                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, DONNA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, DORIS & EST OF PATRICK L DAVIS   MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                        YORK NY 10017
DAVIS, DOROTHY                          BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
DAVIS, EARLENE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, EDNA                             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                        ORANGE VA 02296
DAVIS, ELIZABETH                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
DAVIS, ELIZABETH                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, ERICA                            ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
DAVIS, ETHELINE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
DAVIS, EVELYN                           FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DAVIS, EVERLYN                          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DAVIS, EVERLYN                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                        ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
DAVIS, FERN                             POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
DAVIS, FRANCES                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, GENEVA                           WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                        NJ 08002
DAVIS, GERALDINE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
DAVIS, GERTRUDE                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
DAVIS, GLORIA                           CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                        CHICAGO IL 60602
DAVIS, GLYNNDA                          LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                        NICHOLAS LAKE CHARLES LA 07060
DAVIS, HARRIET                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
DAVIS, HELEN                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, HELEN                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
DAVIS, IRENE                            HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                        AL 03520
DAVIS, JAMILA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, JANE                             ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
DAVIS, JANIE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, JEANETTE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
DAVIS, JENNIFER                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, JESSICA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
DAVIS, JOAN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, JOANNA                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
DAVIS, JONI                     TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
DAVIS, JUDITH                   ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                WASHINGTON DC 20006
DAVIS, JUDITH                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
DAVIS, JUDY                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
DAVIS, JUDY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, JUDY                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DAVIS, KATHLEEN                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DAVIS, KATHLEEN                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DAVIS, KATHY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DAVIS, KATINA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DAVIS, KELLIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, KELLY                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
DAVIS, KELLY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, KELLY                    BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
DAVIS, KELLY                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DAVIS, KELLY                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DAVIS, KIMBERLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, LA CARLA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DAVIS, LARETTA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, LAURA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
DAVIS, LAURA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DAVIS, LEAH                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DAVIS, LEANNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, LEATHA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DAVIS, LISA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, LOIS                     DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
DAVIS, LOIS                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DAVIS, LORETTA                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
DAVIS, LUCCEAL                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
DAVIS, LYNAE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, LYNAE                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157



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Claim Name                       Address Information
DAVIS, LYNAE                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DAVIS, MARABETH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DAVIS, MARABETH                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
DAVIS, MARABETH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, MARABETH                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DAVIS, MARABETH                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DAVIS, MARGIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DAVIS, MARIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, MARIE                    SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
DAVIS, MARILYN                  COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
DAVIS, MARIZONA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DAVIS, MARSHA                   HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
DAVIS, MARY                     WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
DAVIS, MARY                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DAVIS, MARY                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DAVIS, MARY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DAVIS, MELINDA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
DAVIS, MELISSA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
DAVIS, MELONY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, MICHEALE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DAVIS, MICHELE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DAVIS, NANCY                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DAVIS, NANCY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DAVIS, NORMA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
DAVIS, OLA                      DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
DAVIS, OLA                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DAVIS, OLA                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DAVIS, PATRICIA                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
DAVIS, PATRICIA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
DAVIS, PATRICIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DAVIS, PAULA                    HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520


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Claim Name                       Address Information
DAVIS, REGINA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, RENEE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, RHONDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DAVIS, RHONDA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DAVIS, ROBIN                    WEITZ & LUXENBERG RELKIN, E; SHARMA, B 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
DAVIS, ROBIN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, RONCINDRA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DAVIS, ROSETTA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DAVIS, ROSIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, RUTHANNE                 ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
DAVIS, SANDRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, SHALANDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, SHARON                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
DAVIS, SHAWN                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
DAVIS, SHEILA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, SHENIQUA                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
DAVIS, SHERICA                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
DAVIS, SHERICA                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, MARK DALLAS TX 75202
DAVIS, SHERRY                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
DAVIS, SHIRLENE                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
DAVIS, SHIRLENE                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DAVIS, SHIRLENE                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
DAVIS, SHIRLENE                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DAVIS, SHIRLENE                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
DAVIS, SHIRLEY                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
DAVIS, SHIRLEY                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
DAVIS, SHIRLEY                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DAVIS, SINA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DAVIS, SUSAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, TAMMY                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
DAVIS, TAYJHA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DAVIS, TERESA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                             Address Information
DAVIS, TERIA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, THERESA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
DAVIS, THERESA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, TIMMIE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, TIRA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, TRACI                           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
DAVIS, ULRIKE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, VALERIE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, VALORIE                         GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                       EVAN D. EDWARDSVILLE IL 62025
DAVIS, VERA                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
DAVIS, VERNONA                         MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                       KNOXVILLE TN 37929
DAVIS, VICTORIA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
DAVIS, VIRGINIA                        MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                       KNOXVILLE TN 37929
DAVIS, VIRGINIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS, VONDA ESTATE OF SANDRA BRYANT   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                       HILL NJ 08002
DAVIS, WILLENE                         THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
DAVIS, WILLIE                          FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LUFF, PATRICK - DALLAS TX 75231
DAVIS, YVETTE                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 22960
DAVIS, ZENINA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVIS,D; GIROLAMO,B; SETZER,C;         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
TALUCCI,B                              MEADOWS, TED G. MONTGOMERY AL 36104
DAVIS,D; GIROLAMO,B; SETZER,C;         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TALUCCI,B
DAVIS,D; GIROLAMO,B; SETZER,C;         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TALUCCI,B
DAVIS,D; GIROLAMO,B; SETZER,C;         PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TALUCCI,B
DAVIS-ALVAREZ, ANGELA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
DAVIS-BLAIR, DIANA                     BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                       30603
DAVIS-CAMPBELL, DERHETA                THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                       AZ 08501
DAVIS-CARTER, VICTORIA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
DAVIS-THOMAS, KAREN                    DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                       77024
DAVISON, DONNA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
DAVISON, SANDRA                        CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
DAVISON, SARAH                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502


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Claim Name                              Address Information
DAVISSON, LINDA                        PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
DAVISSON, LINDA                        DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                       ANTHONY ST. LOUIS MO 63102
DAVISSON, LINDA                        LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DAVISSON, LINDA                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DAVISSON, LISA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVISSON, SANDRA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVITT, CYNTHIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAVLIN, DORIS                          SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
DAVLIN, MIKELLE                        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DAVNER, MARY LOU                       DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DAVONNA BOOTH                          ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119
DAVY, JAMIE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAWE, DONNA                            POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                       LECKMAN, T. MATTHEW CONSHOHOCKEN PA 19428
DAWIEC, SYNTHIA                        MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                       KNOXVILLE TN 37929
DAWKINS, CONSTANCE                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DAWKINS, TIFFANY                       THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                       ORLEANS LA 70130
DAWN SMITH                             MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
DAWOOD, CYNTHIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAWSON, ALBERTA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
DAWSON, BARBARA                        THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
DAWSON, DEBORAH                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAWSON, DIANA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAWSON, KATHERINE                      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                       STREET, SUITE 200 PENSACOLA FL 32502
DAWSON, LAURA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAWSON, LINDA                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
DAWSON, PASSION                        KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
DAWSON, PASSION                        LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
DAWSON, SANDRA                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
DAWSON, STEFANIE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAWSON, TAMMY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAWSON, YOLANDA                        COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
DAWSON, YOLANDA                        ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
DAY, CAROLYN                           DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DAY, CLAIRE ESTATE OF ARLENE J MAYVILLE WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
DAY, DEBRA                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAY, DONNA                             FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                       THOMAS ROE NASHVILLE TN 37215
DAY, ELIZABETH                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DAY, ETTA                              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                          Address Information
DAY, KAYE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAY, LILLIAN                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DAY, LOIS                          ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DAY, LUCILLE                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
DAY, MELISSA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DAY, MELISSA                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DAY, MELISSA                       KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
DAY, NANCY                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
DAY, PATRICIA                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
DAY, PATRICIA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DAY, PATRICIA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAY, SARA                          DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                   ANTHONY ST. LOUIS MO 63102
DAY, SARA                          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DAY, SARA                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DAY, SUE                           FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DAY, WINNIFRED                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DAY, YVONNE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DAY-ROSS, CARMELIZA                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
DAY-SMITH, LENORA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAYAL, VENITA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DAYE, PATRICIA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAYEKH, RANIA                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
DAYRIES, LOUBERTHA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
DAYTON, ROSANNE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DAZEN, JEANETTE                    MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
DAZEN, JEANETTE                    KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
DAZEY, KELLY                       ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                   ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
DE ALBA, OLIVIA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
DE CRUZ, JESSE                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
DE CRUZ, JESSE                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DE ESCAMILLA, CARMEN               BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                   ROBERT BRENT LOS ANGELES CA 90024
DE ESTEVES, MARIA                  THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                   AZ 08501
DE FORERO, KAREN                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DE GUZMAN, SALVACION               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW


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Claim Name                             Address Information
DE GUZMAN, SALVACION                   YORK NY 10017
DE KING, YVONNE RUA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DE LA CRUZ, NATALI                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DE LA ROSA, EVA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
DE LA TORRE, JUDITH                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
DE LEON, FRANCES                       MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                       KNOXVILLE TN 37929
DE LEON, OLENA                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
DE LEON, TASIANA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DE LOPEZ, JUANA                        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
DE LOS REYES, KATRINA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
DE LOS REYES, MARUBY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
DE LOS SANTOS, MARIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DE LOZA, ADELA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
DE LUCA, JOYCE                         GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DE MARRON, ALTAGRACIA                  BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
DE RAMUS, PHYLLIS                      THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
DE ROJAS, RACHAEL & EST OF MARGARITA   ROJAS, MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23
                                       FLOOR NEW YORK NY 10017
DE TOTH, NINA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
DE TROLIO, MARY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
DEAGUIAR, MARTA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEAL, DEBORAH                          HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                       63101
DEAL, DEBORAH                          FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DEAL, DIANE                            ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
DEAL, DIANE                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
DEAL, KELLY                            ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DEAL, KELLY                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
DEAL-SCOTT, MALEEKA                    PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
DEAN, ANDREA                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DEAN, BEVERLY                          BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                       75202
DEAN, DENISE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEAN, DORENE                           WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                       DALLAS TX 75219
DEAN, JENNIFER                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEAN, JUDITH                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
DEAN, JULIE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DEAN, KATHLEEN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEAN, LOIS                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DEAN, LOIS                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DEAN, MARGARET                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DEAN, MELISSA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DEAN, MELISSA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DEAN, PATRICIA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DEAN, PATRICIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DEAN, RHONDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DEAN, TAMELA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEAN, TAVA                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DEAN, TERESA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEAN, WENDY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEANDA, DORA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEANECELLI, DAWN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEANES, WILLIE                  BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
DEANGELIS, GAIL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEANN SORENSON                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
DEANN STRACHAN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DEANN STRACHAN                  BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                COMMERCE STREET MONTGOMERY AL 36104
DEANNA SUTO                     LEVIN PAPANTONIO THOMAS MITCHELL PROCTOR STEPHENSON, W. CAMERON 316 SOUTH
                                BAYLEN ST., SUITE 400 PENSACOLA FL 32502
DEANS, CYNTHIA                  ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                WASHINGTON DC 20006
DEANS, CYNTHIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
DEANS, TARKEISHA                ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                WASHINGTON DC 20006
DEANS, TARKEISHA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
DEAR, JANICE                    SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
DEAR, JANICE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEARBORNE, VIVIAN               SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
DEARDOFF, KAREN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEARDORF, DIANE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEARING, SALLY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEARMAN, SARAH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DEARMAS, INELDA                 THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 FERRARO, JR., JAMES
                                L. MIAMI FL 33131


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Claim Name                       Address Information
DEARTH, DONNA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DEARY, PENNY                    BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
DEATON, APRIL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEATON, LEA                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
DEATON, LEA                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DEATON, LEA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DEATON, LEA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEATON, LEA                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DEATON, LEA                     PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
DEATON, PENELOPE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DEATON, PENELOPE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DEBAILEY, SHAWANNA              DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
DEBAILEY, SHAWANNA              LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DEBAILEY, SHAWANNA              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DEBANO, JUSTINE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEBARBIERIS, DONNA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DEBAUN, JUDY                    THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
DEBENHAM, GIANA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DEBERRY, COY                    ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                WASHINGTON DC 20006
DEBERRY, COY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
DEBERRY, SARA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
DEBISH, MICHELE                 PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
DEBLIECK, JANE                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
DEBLOCK, DARLINE                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
DEBLOCK, DARLINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEBLOCK, DARLINE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DEBLOCK, DARLINE                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DEBOISE, RUTHIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DEBOLT, SARAH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEBORAH CARR                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
DEBORAH HEATH                   FLETCHER V. TRAMMELL BINSTOCK, MELISSA & TRAMMELL, FLETCHER V 3262 WESTEIMER,
                                SUITE 423 HOUSTON TX 77098
DEBORAH NIX                     MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
DEBORAH RICCIO                  MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464



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Claim Name                       Address Information
DEBOSE, BLONDENIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEBOTH, RAMONA                  THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
DEBRA BENNETT                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
DEBRA CRUSHA                    LENZE LAWYERS, PLC LENZE, JENNIFER A 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN
                                BEACH CA 90266
DEBRA CRUSHA                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
DEBRA FORMOLA                   DAVIS, BETHUNE & JONES, L.L.C. DAVIS, GRANT L. 1100 MAIN STREET, SUITE 2930
                                KANSAS CITY MO 64196
DEBRUCE, JEANNE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DECAMP, JAYNE                   ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                WASHINGTON DC 20006
DECAMP, JAYNE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
DECARLO, NANCY                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
DECASTRIS, JOANNE               ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
DECAUSEY, YVONNE                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DECAYLOR, RITA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DECEMBRE, AMERICUS              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DECKARD, MAVIS                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DECKELMANN, VIRGINIA            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DECKER, CAROLYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DECKER, KATHERINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DECKER, KATHERINE               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DECKER, KATHERINE               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DECKER, LORI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DECKER, MARTHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DECKER, MARTHA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DECKER, MARTHA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DECKER, SHIRLEY                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
DECKER-CLARK, CHEYANN           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DECKMAN, JANET                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DECLERCK, DIANE                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
DECOLA, JODI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DECOSTA, LORI                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DECOTEAUX, PATRICIA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DECOTTLE, THERESA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DECOUX, BETTY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DECUIRE, PATRICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEDIOS, CONSUELO                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEDMAN, SAMANTHA                ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.


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Claim Name                         Address Information
DEDMAN, SAMANTHA                  LOUIS MO 63119
DEDOSANTOS-VALDIVA, CAROLINA      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                  EMILY FAIRFAX VA 22031
DEE, HELEN                        ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                  FELLER, JOEL J. PHILADELPHIA PA 19103
DEEM, BETTY                       NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                  11747
DEEN, NORMA                       TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
DEES, GLENDA                      WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                  BOUNDAS, JOHN T. HOUSTON TX 77017
DEES, MELISSA                     HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                  63101
DEFABBI, THERESA                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                  PA 19102
DEFAZIO, ANITA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
DEFEHR, VIOLET                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEFFLER, SARA                     MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
DEFIGH, AMELIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEFILIPPIS, KATHYRN               NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                  PR 00918
DEFONZO, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEFORERO, KAREN                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                  STREET, SUITE PENSACOLA FL 32502
DEFOREST, ALVIN                   NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                  PR 00918
DEFOREST, JENNIFER                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                  77007
DEFOSSE, ANN                      HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
DEFRAGA, ROBERTA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DEFRANCE, LILLIAN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
DEFRANCO, COLLEEN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
DEGAND, VIRGINIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
DEGANO, DELORES                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                  77007
DEGANO, SUSAN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                  STREET MONTGOMERY AL 36104
DEGEYTER, DEBRA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DEGIDIO, KATHLEEN                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                  PA 19102
DEGIDIO, KATHLEEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEGIDIO, KATHLEEN                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DEGIDIO, KATHLEEN                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DEGIDIO-MUELLER, CHRISTINA        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
DEGIDIO-MUELLER, CHRISTINA        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DEGIDIO-MUELLER, CHRISTINA        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                  ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DEGILIO, ROSE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
DEGNAN, SANDRA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
DEGNAN, SANDRA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DEGNAN, SANDRA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DEGRAFFENREID, KEAUNDREA        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEGRAFFINREID, ATHIELIA         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEGROOT, JANICE                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DEGRYSE, BONNIE                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DEGUZMAN, REBECCA               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
DEHART, VIRGINIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEHATE, SHERRI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEIMLER, ELIZABETH              NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
DEISHER, REBECCA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DEISHER, REBECCA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DEITERS, MARCELLA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEJESUS, EVELYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DEJESUS, EVELYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEJESUS, EVELYN                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DEJESUS, EVELYN                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
DEJESUS, EVELYN                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DEJESUS, IRIS                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DEJESUS, JOANN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DEJESUS, MARILYN                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DEJON, MARTI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEKEN, JANINE                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
DEKEN, JANINE                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DEKEN, JANINE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DEKEYZER, EULA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DEKLEIN, YVONNE                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DEL GUIDICE, LORI               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DEL HOYO, OMAYRA                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
DEL REAL, ROSA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DEL TORO, ENEDINA               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DEL VALLE, PATRICIA             DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
DEL VALLE, PATRICIA             LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DEL VALLE, PATRICIA             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE


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Claim Name                       Address Information
DEL VALLE, PATRICIA             ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DEL VECCHIO, PALMIRA            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DELA TORRE, DELIA               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DELABARRE, GEORGIA              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DELABARRE, GEORGIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DELACRUZ, CAROL                 PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
DELACRUZ, LAURA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DELAMAR, BERNADETTE             CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
DELAMAR, BERNADETTE             BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
DELANEY, CAITLYN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DELANEY, CHARLOTTE              NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
DELANEY, JUDITH                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DELANEY, JUDITH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DELANEY, JULIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DELANOY, DENISE                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DELANUEZ, DIANNA                COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
DELAROSA, DENISE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DELASHMIT, MELISSA              MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
DELAVEGA, MARY                  SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
DELBERNETTE DEDRICK             ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
DELCOURT, AMY                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DELEON, ANNIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DELEON, ARGELIS                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DELEON, BELINDA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DELEON, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DELEON, MARISA                  SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
DELEON, MELISSA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DELEON, NAYADE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DELEON, OMARINA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DELEON, PETRA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DELEON, STEPHANIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DELEON-BRAITERMAN, NORMA        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DELGADO, CHRISTINA              JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
DELGADO, FRANCES                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DELGADO, HERLINDA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
DELGADO, HERLINDA               MEADOWS, TED G. MONTGOMERY AL 36104
DELGADO, HERLINDA               GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
DELGADO, HERLINDA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DELGADO, HERLINDA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DELGADO, HERLINDA               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DELGADO, JENNA                  JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
DELGADO, REBECCA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DELGADO, REBECCA                THE POTTS LAW FIRM, LLP 3737 BUFFALO SPEEDWAY STE 1900 HOUSTON TX 77098
DELGADO, REBECCA                SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
DELGADO, RHONDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DELGADO, SANDRA                 HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
DELIBERTO, ELEANORA             GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DELICRUZ, LYNN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DELISA, CAROL                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
DELISA, CAROL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DELISA, CAROL                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DELISA, CAROL                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DELLA-MONICA, NOLA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DELLEVAS, ALEXANDRA             HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
DELMAN, JANE                    KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
DELMORE, JEVETTA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DELOACH, CONNIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DELOCH, VICKIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DELONG, ANGIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DELONG, MARGARET                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DELONG, TERRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DELONG, TONYA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DELP, RHONDA                    TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
DELPH, KALLIOPI                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
DELPIER, DONNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DELPRIORE, MARY                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
DELSESTO, ELAINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DELSIGNORE, DELORES             NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
DELSO, ELISA                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
DELTOUR, HELEN                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130


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Claim Name                       Address Information
DELTOUR, HELEN                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
DELUCA, JANET                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DELUCA, MARGARET                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DELUCCA, RITA                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
DELUCIA, LINDA                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
DELUNA, STACEY                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DEMAILO, LUCRETIA               WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
DEMAND, JOYCE                   BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
DEMARCO, GRACE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DEMARCO, NADINE                 JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
DEMAREE, SHIRLEY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEMAREE, SHIRLEY                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DEMAREE, SHIRLEY                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DEMAS, CLAIRE                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
DEMEDUK, JOANN                  POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
DEMELIA, MARYLOU                THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
DEMELLO, KAREN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DEMELLO, KAREN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEMELLO, KAREN                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DEMELLO, KAREN                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DEMELLO, ROSELANI               MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                DAVID M. MINNEAPOLIS MN 55404
DEMELO, ELBA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
DEMERITT, BONNIE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DEMERS, AGNES                   HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
DEMERS, EVELYN                  BEASLEY ALLEN CROW METHVIN PORTIS &MILES JAMES, LAUREN A. 218 COMMERCE STREET
                                MONTGOMERY AL 36104
DEMETRO, JANICE                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DEMETRO, JANICE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DEMIRJIAN, LINDA                BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
DEMITA, ARLENE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DEMMONS, SELENA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEMORGANDIE, NANCY              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DEMOSS, SHAWN                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
DEMOTTE, MARY                   MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
DEMOUCHET, JEANETTE             HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837


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Claim Name                       Address Information
DEMPSEY, CHERYL                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
DEMPSEY, FRANCES                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DEMPSEY, JAMIE                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DEMPSEY, KORI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DEMPSEY, RITA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DEMSKI, EILEEN                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
DEMYAN, DENIS                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
DENATO, LYNN                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
DENELL, SUSAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DENEUT, SYREETA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DENGEL, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DENGLER, CONNIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DENISE FISHER                   BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                COMMERCE STREET MONTGOMERY AL 36104
DENISE JEFFERSON                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
DENISE RODGERS                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
DENISON, LAURA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DENITHORNE, ALLANA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DENK, LINDA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DENKE, GAIL                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DENKERS, VERDEEN                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DENKINS, DAWN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DENLEY, GLORIA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DENLEY, GLORIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DENNARD, PAULA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DENNARD, PAULA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DENNARD, PAULA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DENNEY, CONNIE                  CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
DENNEY, CONNIE                  BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
DENNEY, MICHELLE                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
DENNING, OLIVIA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DENNIS, DANIELLE                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN


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Claim Name                       Address Information
DENNIS, DANIELLE                STREET, SUITE PENSACOLA FL 32502
DENNIS, DONELLA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DENNIS, DOROTHY                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DENNIS, DOROTHY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DENNIS, FRANCINA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DENNIS, HELENA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DENNIS, HELENA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
DENNIS, HELENA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DENNIS, HELENA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DENNIS, HELENA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DENNIS, MABLE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DENNIS, MARIANNE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DENNIS, PAMELA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
DENNIS, PAMELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DENNIS, PAMELA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DENNIS, PAMELA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DENNIS, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DENNIS, TAMEKA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DENNIS, TERESA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DENNISON, TANYA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DENNY, MICHELLE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DENOCHICK, NICOLE               THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
DENOON, SONJA                   BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
DENOYIOR, JUDITH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DENSON, TERKEETA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
DENT, JOYCE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DENT, OLIVIA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DENT, TABATHA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DENT, TINA                      SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
DENTICE, ANGELA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DENTICE, ANGELA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
DENTITH, JANE                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
DENTON, DONNA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
DENTON, ELAINE                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG


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Claim Name                                Address Information
DENTON, ELAINE                           ANTHONY ST. LOUIS MO 63102
DENTON, ELAINE                           LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DENTON, ELAINE                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DENTON, KATHLEEN                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
DENUCCI, APRIL                           ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                         WASHINGTON DC 20006
DENUCCI, APRIL                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                         STREET MONTGOMERY AL 36104
DENUNE-ROY, NIKKI                        THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                         CHARLESTON WV 25301
DENUNZIO, MAUREEN                        DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                         63102
DENWIDDIE, MONICA ; LIEFELD, EILEEN      WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                         BOUNDAS, JOHN T. HOUSTON TX 77017
DENWIDDIE, MONICA; LIEFELD, EILEEN       THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
DENYER, MARIA                            ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DENYS, CORNELIA                          JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                         PAUL MN 55101
DEPACE, FRANCES                          CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                         14202-3725
DEPALMA, NOREEN                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
DEPARTHY, SUSAN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEPAULO-HARGRAVES, LINDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEPAULT, TINA                            JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
DEPENZE, STEPHENY                        MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                         ORLEANS LA 70130
DEPEW, LISA                              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DEPODESTA, GAIL                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEPPE, KIMBERLY                          WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
DEPREZ, CLAUDIA                          ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                         ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
DEPUTRON, NANCY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DERAKHSHANI, DOROTHY                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
DERAKHSHANI, DOROTHY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
DERAMUS, PHYLLIS                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
DERANGE, PATRICIA                        ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                         WASHINGTON DC 20006
DERANGE, PATRICIA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                         STREET MONTGOMERY AL 36104
DERBAUM, TREVA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DERBAUM, TREVA                           THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DERBAUM, TREVA                           PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DERBYSHIRE, AIMEE                        REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                         BINSTOCK, ROBERT J. HOUSTON TX 77027



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Claim Name                       Address Information
DERDEN, REBECCA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DEREG, PEGGY                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DERIBAS, SUSAN                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
DERINGER, LISA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DERITA, DOLORES                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DERITA, DOLORES                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DERITA, DOLORES                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DERITA, DOLORES                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DEROCCO, KATHLEEN               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
DEROSA, KERRI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DEROSA, NORMA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DEROSARIO, DEBRA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEROSE, SUSAN                   MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
DEROUEN, MARGIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEROUEN, RANDY                  LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                NJ 08648
DERR, ARTHENE                   NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
DERRENBACHER, DOROTHY           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, DANIEL S. LUKEI NEWPORT BEACH CA 92660
DERRICK, BETTY                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DERRICK, SHIRLEY                BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
DERRY, PATRICIA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
DERTON, BARBARA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
DESAI, MEENA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DESALLE, ELISE                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
DESANTIS, EVA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DESCHAMPS, VICKY                WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
DESELLE, KIMBERLY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DESERSA, DOVALIEN               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
DESERSA, DOVALIEN               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DESERSA, DOVALIEN               LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
DESERSA, DOVALIEN               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DESERSA, DOVALIEN               ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
DESIMONE, JANICE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
DESIMONE, LIA                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DESJARDINS, THERESA             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DESKINS, ANNETTE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DESLAURIERS, NORMANDE           JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
DESMOND, JESSICA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DESOMER, TORY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DESORCY, KATHLEEN               THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
DESOTELL, JULIE                 THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
DESPAIN, ROXANNA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DESSELLE, PIA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DESSLER, LUCILLE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DESTEFANO, LAURA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DESTEFANO, LAURA                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
DESTEFANO, LAURA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DESTEFANO, LAURA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DESTEFANO, LAURA                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DESTEFANO, LAURIE               GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
DETAR, EVELYN                   MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
DETAR, EVELYN                   KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
DETHERAGE, DOLLY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DETMAN, NICOLE                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
DETONNO, THERESA                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
DETORRE, JOANNE                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
DETRES, ISADORA                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
DETTLING, FAYE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DEUSON, DIANE VAN               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DEUTSCH, DANIELLE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEVALL, ANITA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEVARGAS, CASANDRA              GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
DEVELLIS, DALE                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
DEVER, DONNA                    BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
DEVERA, DEBRA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DEVILBISS, MOIRA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEVILLE, SANDRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEVILLIER, MARY                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX


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Claim Name                       Address Information
DEVILLIER, MARY                 77098
DEVINE, DORIS                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DEVINE, KELLY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEVINE, PAMELA                  BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
DEVINS, ANGELA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DEVITA, BARBARA                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
DEVIZIO, PHYLLIS                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DEVLIN, MARGARET                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEVLIN, MERRY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DEVLIN, RITA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEVON HAMNER                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
DEVONE, JOANN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEVORE, ANN                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
DEVORE, JENNIFER                JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
DEVORE, KUIKIEW                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DEVORE, KUIKIEW                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEVORE, KUIKIEW                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DEVORE, KUIKIEW                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
DEVOULD, JUDY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEVRIES, CINTHIA                ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                WASHINGTON DC 20006
DEVRIES, CINTHIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
DEVRIES, JEANETTA               SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
DEWALL, CONNIE                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
DEWALT, LINDA                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
DEWATER, DANIELLE               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
DEWBERRY, BARBARA               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DEWEASE, ELSSYE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEWEES, BRENDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DEWEESE, GAIL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEWITT, BRIDGET                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEWITT, COLETTE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEWITT, JOANNE                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
DEWS, LEXIDEAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEXEL, DEBRA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DEXTER, DONNA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX


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Claim Name                       Address Information
DEXTER, DONNA                   77007
DEXTER, ELIZABETH               SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
DEXTER, JANET                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DEXTER, JANET                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DEXTER, JANET                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DEXTER, JANET                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DEYO, CHERYL                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DEZELLEM, MYRNA                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
DEZEN, SHARI                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
DEZERN, TAMARA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DEZERN, TAMARA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DHAN, RIMAL                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DHEIN, BRENDA                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
DHONDT, KIM                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DI GIROLAMO, BONNIE             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DI NUNZIO, PATRICIA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DI PIETO, JOAN                  BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
DIA, CYNTHIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIAL, BETTY                     BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
DIAL, ROBIN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIAMBRI, PATRICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIAMICO, PEGGIE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DIAMOND LAW                     1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
DIAMOND, DIANE                  LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
DIAMOND, GLADYS                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DIAMOND, GLADYS                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DIAMOND-COX, HOPE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIAMOND-COX, HOPE               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DIAMOND-COX, HOPE               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DIAMONDS, DENEE                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
DIANA HEISTERHAGEN              JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
DIANE MOORE                     BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                COMMERCE STREET MONTGOMERY AL 36104
DIANE SPIELMAN                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
DIANE WALTON                    BISNAR AND CHASE ANTURNOVICH, TOM & CHASE, BRIAN D. 1301 DOVE STREET, SUITE
                                120 NEWPORT BEACH CA 92660


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Claim Name                       Address Information
DIANE, DELVECCHIO               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DIANE, DELVECCHIO               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DIANGELO, OLIVIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIAS, MARIA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIAS, PATRICIA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
DIAS, PATRICIA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DIAS, PATRICIA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DIAZ, BETH                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DIAZ, CARMEN                    BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
DIAZ, CARMEN DE LA CORDAD       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DIAZ, ELSA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DIAZ, ELSA                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DIAZ, ESPERANZA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
DIAZ, EVANGELINA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
DIAZ, GEORGINA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DIAZ, JULIE                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
DIAZ, KATHLEEN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DIAZ, LESLIE                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
DIAZ, LINDA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DIAZ, MANUELA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DIAZ, MARTA                     HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
DIAZ, NICOLE                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DIAZ, RAMONA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
DIAZ, ROSA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIAZ, TAWNYA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DIAZ, YESENIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DIAZ-ARTIGUES, MARICARMEN       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DIAZ-CRUZ, SHAKIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIAZ-FERNANDEZ, JACQUELINE      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
DIAZ-GALARZA, EVELIA            SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
DIAZ-REGUS, CELIDA              THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101



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Claim Name                       Address Information
DIBATTISTA, DELIA               JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
DIBATTISTA, DOROTHY             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIBATTISTA, LESLIE              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DIBATTISTA, LESLIE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DIBATTISTA, LESLIE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIBATTISTA, LESLIE              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DIBATTISTA, LESLIE              PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
DIBBERN, STEPHANIE              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DIBBS, KATHLEEN                 HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
DIBELLO, MARY                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DIBERNARDO, ELSA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DICANIO, LINDA                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
DICANIO, LINDA                  SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
DICARLO, JUDY                   COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
DICARLO, JUDY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
DICARLO, RITA                   MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
DICARLO, TAMMY                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DICARLO, TAMMY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DICARLO-WAKELEY, SANDRA         THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
DICESARE, LAURA                 ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
DICESARE, SHARON                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DICK, BRENDA                    THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
DICK, DEFLOY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DICKE, MARYANN                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
DICKE, NANCY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DICKEL, DIANNE                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
DICKEN, JODY                    JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
DICKENS, DOROTHY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DICKENS, PASTY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DICKERSON, BELINDA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DICKERSON, CAROLYN              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
DICKERSON, CHARLENE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DICKERSON, GLORIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DICKERSON, LISA                 EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP EICHEN, BARRY R. & KELLY, JOHN P 40
                                ETHEL ROAD EDISON NJ 08817


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Claim Name                       Address Information
DICKERSON, MARILYN              HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
DICKERSON, MARTHA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DICKERSON, MISTY                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DICKERSON, TAMMY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DICKERSON, TAMMY                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DICKERSON, TERI                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DICKERSON, VICTORIA             FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DICKES, JULEE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
DICKEY, ARMITA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DICKEY, FRANKIE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DICKEY, FRANKIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DICKEY, GLENDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DICKEY, GLENDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DICKEY, GLENDA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DICKEY, GLENDA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DICKEY, MACY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DICKEY, MARYAM                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
DICKEY, SUSAN                   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
DICKINSON, DEBRA                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DICKINSON, DEBRA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
DICKINSON, SUSAN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DICKISON, MICHELE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DICKS-RADFORD, BELINDA          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DICKSON, JEANNE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DICKSON, LINDA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DICKSON, MARY                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
DICORATO, JOAN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DICOSIMO, ROXANNE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DICTOR, EILEEN                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DIDONATO, LORETTA               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DIEDRE HARRIS                   WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
DIEFENDERFER, MARY              MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
DIEFENDERFER, TRACI             POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
DIEGO, SUSAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                          Address Information
DIEHL, CATHY                       DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DIEHL, KIM                         NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                   PR 00918
DIEHL, SALLY                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
DIEMER, MARYANNE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DIENER, ANNA                       MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
DIESING, GINGER                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
DIETRICH, BELINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIETRICK, DIANE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
DIETSCH, LORI                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIETTERICH, BRIANNA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIETTERICH, MARY                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
DIETZ, STEVEN                      NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                   PR 00918
DIEU-STEELE, SHERRI                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
DIEW, AUDREY                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
DIEZ, LUZ                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIFATTA JR., CHARLES               NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                   PR 00918
DIFELICE, JANET                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
DIFRANCESCO, MAUREEN               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DIFRANCO, BETTY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIFRANCO, CHRISTINE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
DIFRANCO, CHRISTINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DIGGS, CHEQUAN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DIGGS, EVA                         MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
DIGGS, PEARL                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
DIGIACOMO, CHRISTINA               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
DIGIACOMO, CHRISTINA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DIGIOSIO, MARY                     NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                   BERMAN, W. STEVE GREAT RIVER NY 11739
DIIANNI, EILEEN                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                   SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
DIIORIO, CELESTA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
DIKIS, RUTH                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DILDINE, CARROLL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
DILGER, JEANNE                  FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
DILKS, DONNA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DILL, KATHLEEN                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
DILLAHUNT, JANIE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DILLARD, ELCIA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
DILLARD, FAY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DILLARD, MICHELLE               MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
DILLARD, MILDRED                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DILLARD, STACY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DILLASHAW, EULA                 PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
DILLEY, CATHERINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DILLEY, DEIDRE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DILLON, ANNIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DILLON, EVA                     THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
DILLON, HATTIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DILLON, IRENE                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DILLON, JACQUELINE              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
DILLON, JEANNE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DILLON, LAUREN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DILLON, LUCILLE                 TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
DILLON, TINA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DILLON, VERLENA                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
DILLOW, CAROL                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DILORETO, SUSAN                 WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
DILULLO, STEPHANIE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DILWORTH, TERESA                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
DILWORTH, TONJA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DIMARINO, DAWN                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
DIMARINO, ROSE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DIMARIO, JOSEPH                 NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
DIMARZO, MARION                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DIMARZO, MARION                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIMARZO, MARION                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DIMARZO, MARION                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768


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Claim Name                          Address Information
DIMATULAC, CECILIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DIMATULAC, CECILIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIMATULAC, CECILIA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DIMATULAC, CECILIA                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
DIMONTE, TINA                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
DIMONTE, TINA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DINA HUTT                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                   STREET, SUITE 200 PENSACOLA FL 32502
DINAN, KERI                        TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
DINET, KIMBERLY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DINEYAZHE, ROSANNA                 DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
DINGESS, ROBIN                     DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102
DINGESS, TONI                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DINGMAN, PAULINE                   THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                   AZ 08501
DINGWELL, ANGELINA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DINKA, DIANNA                      LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                   SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
DINKAR, PREMDEVIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
DINKEL, JULIE                      BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                   75202
DINKINS, LAJUAN                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
DINKINS, LOQUATOR                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DINKINS, LOQUATOR                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
DINKINS, MAY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DINNEEN, KELLEY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DIODATO, DOREEN                    WEITZ & LUXENBERG RELKIN, ELLEN & SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE
                                   210 CHERRY HILL NJ 08002
DIONESOTES, DEBORAH                THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                   ORLEANS LA 70130
DIORIO, WANDA                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
DIOSO, REBECCA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIOVANNI, EVELYN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DIPALERMO, SANDRA                  BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                   30603
DIPAOLO-COPP, JODI                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DIPERSIO, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIPIETRO, SANDRA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
DIPIETRO, TRACY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
DIPLACIDO, PAMELA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DIPPOLITO, DORIS                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DIPSEY, VICTORIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DIRICO, MARY                    POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
DIRKMAN, KAREN                  POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                BRASLOW, DEREK T CONSHOHOCKEN PA 19428
DIRKS, SHARONDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DIRKS, SHARONDA                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
DIRKS, SHARONDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIRKS, SHARONDA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DIRKS, SHARONDA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DIRKSON, PATRICIA               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
DIRKSON, PATRICIA               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DIROCCO, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIROCCO, MARY                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DIROCCO, MARY                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DISALLE, BECKY                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
DISANTIS, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DISHMAN, BRENDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DISHNO, LINDA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DISNEY, ELLEN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DISPENSA, DAWN                  CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
DISRUD-JORIS, CARRIE            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DISSMORE, DEBORAH               BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
DISTASIO, DEBORAH               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DISTEFANO, DONNA                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
DISTEFANO, MARY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DITMORE, ANN                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
DITMORE, ERIN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DITTEMORE, DESIREE              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DITTEMORE, DESIREE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DITTER, DONNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DITTMAR, JO-ANN                 WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
DITTRICH, JOAN                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402



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                                          LTL Management LLC
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Claim Name                          Address Information
DITZELL, KAREN                     BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                   30603
DIUTE, KATHLEEN                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
DIUTE, KATHLEEN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DIVENANZO, SANDRA                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
DIVERS, KAREN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIVINCENZO, JUDITH                 DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                   77024
DIVINE, DIANA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DIVINE, DIANA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIVINE, DIANA                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DIVINE, DIANA                      PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
DIVINE, DIANA                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DIVITA, NANCY                      DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                   77024
DIVITA, SUSAN                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DIX, IDA                           ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
DIX, IDA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DIXIE FORBES-GORBY                 BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                   COMMERCE STREET MONTGOMERY AL 36104
DIXON, BARBARA                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DIXON, BRANDI                      GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                   EVAN D. EDWARDSVILLE IL 62025
DIXON, CHRISTY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
DIXON, COURTNEY                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DIXON, CYNTHIA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIXON, DORIS                       MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
DIXON, EARLIE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIXON, EDNA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
DIXON, INEZ                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DIXON, JANICE                      MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
DIXON, JEANETTE                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
DIXON, JEANETTE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DIXON, JO                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIXON, JOYCE                       BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                   75202
DIXON, JULIA                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DIXON, JUNE                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231



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                                               LTL Management LLC
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Claim Name                              Address Information
DIXON, LANITA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIXON, MARSHA                           LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                        NICHOLAS LAKE CHARLES LA 07060
DIXON, MARSHA                           DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                        63102
DIXON, MARY                             CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                        ATLANTA GA 30319
DIXON, MELODY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
DIXON, ROSA                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIXON, SARAH                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
DIXON, SHIRLEY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIXON, SUSAN                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
DIXON, TIMIKA                           SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                        19103
DIXON, VERA                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIXON, ZELINDA                          MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
DIXSON, KOZETTA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIXSON-HENDERSON, MARVA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DIZON, BARBARA                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                        77098
DIZON, DANA                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DJUIKOM-NGUENOUTTO, BEATRICE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOAK, ELIZABETH                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
DOAK, JANICE                            BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                        ROBERT BRENT LOS ANGELES CA 90024
DOANE, ELEANOR                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOBACK, PATRICIA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
DOBBINS, CATHEY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOBBINS, DONNA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOBBINS, LEAH                           HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                        CHRISTOPHER CORPUS CHIRSTI TX 07837
DOBBINS, WIMONT                         ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                        WASHINGTON DC 20006
DOBBINS, WIMONT                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                        STREET MONTGOMERY AL 36104
DOBBS, JUDITH                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOBSON, THERESA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOCKERY, LOREN EST OF DOCKERY, SANDRA   LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                        NJ 08648
DOCKHAM, NELLIE                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
DOCKHAM, NELLIE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
DOCTORELLO, LYNDA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DODD, BOBBIE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DODD, CAROL                             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                        77098


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Claim Name                       Address Information
DODD, CASA                      HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
DODD, DONNA                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DODD, MARY                      DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
DODD, MARY                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DODD, MARY                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DODD, SHERRY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DODDROE, CAROLE                 PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
DODDY, SHIRLEY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DODGE, ALEXANDRA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DODGE, BETTY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DODGE, MARY                     DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
DODGE, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DODGEN, CYNTHIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DODSON, DIANNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DODSON, DONNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DODSON, EUGENIA                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
DODSON, HEIDI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DODSON, LORETTA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
DODSON, LORETTA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DODSON, LORETTA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DODSON, LORETTA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DODSON, MARJORIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DODSON, PEGGY                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
DODWORTH, LAURIE                SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
DOERFLINGER, MARILEA            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR. MARK P. KAR NEWPORT BEACH CA 92660
DOHERTY, BARBARA                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
DOHERTY, JESSICA                WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
DOHERTY, LAURA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DOHERTY, MARY                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
DOHERTY, REBECCA                DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
DOHERTY, TINA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DOHNERT, SANDRA                 MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
DOIEL, DEBORAH                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DOKES, FRANKIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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DOKTER, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DOKTER, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOKTER, LINDA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DOKTER, LINDA                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
DOLAN, ANGELA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DOLAN, ANGELA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DOLAN, LISA                     WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
DOLBY, DEBRA                    THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, D.,
                                FERRARO, JR. J. DIMATT MIAMI FL 33131
DOLEY, LOUISE                   TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
DOLIVEIRA, CHERYL               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DOLL, LINDA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DOLL, LINDA                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
DOLL, LINDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOLL, LINDA                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DOLL, LINDA                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DOLL, RENEE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DOLLAR, ANN                     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
DOLLAR, JOSEPHINE               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
DOLLAR, JOSEPHINE               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DOLLAR, JOSEPHINE               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DOLLAR, ROBBIE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DOLLARD, SHERWYNIA              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
DOLLINS, JUDY                   NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
DOLORES SHABRACK                JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
DOMAGALLA, ROBIN                WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
DOMAN (OVERACRE), DANIELLE      DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
DOMAN (OVERACRE), DANIELLE      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DOMAN (OVERACRE), DANIELLE      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DOMANIECKI, LINDA               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
DOMANIECKI, LINDA               THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
DOMATO, CHERYL                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031



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Claim Name                        Address Information
DOMBROWSKI, LOTTIE               SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
DOMESTICO, NATALIA               DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DOMIER, PAULETTE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOMINA, DAWN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOMINGUE, TAMMY                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                 ORANGE VA 02296
DOMINGUEZ, BARBARA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOMINGUEZ, CAROL                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                 77007
DOMINGUEZ, DAILINA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOMINGUEZ, DAILINA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
DOMINGUEZ, DEBBIE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
DOMINGUEZ, DORA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DOMINGUEZ, DORA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                 ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
DOMINGUEZ, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOMINGUEZ, SUSAN                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                 ORANGE VA 02296
DOMINGUEZ, SUSAN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
DOMINQUEZ, ALICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOMINSKI, TERESE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
DOMROE, JANIS                    THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                 CHARLESTON WV 25301
DONAHUE, ANN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DONAHUE, BEVERLY                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
DONAHUE, KAREN                   ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                 WASHINGTON DC 20006
DONAHUE, KAREN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                 STREET MONTGOMERY AL 36104
DONAHUE, MARION                  DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                 77024
DONAHUE, SAMI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DONALD L. SCHLAPPRIZZI P.C.      211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG ANTHONY ST. LOUIS MO 63102
DONALD, GEORGIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
DONALD, KAREN                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                 EMILY FAIRFAX VA 22031
DONALD, LETTIE                   BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
DONALD, MABLE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DONALDSON, DONNA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DONALDSON, DONNA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
DONALDSON, JUDITH                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                 ORANGE VA 02296
DONALDSON, LINDA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                 ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
DONALDSON, LORI (EUBANKS)        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DONALDSON, LUDVINA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
DONALDSON, LUDVINA              MEADOWS, TED G. MONTGOMERY AL 36104
DONALDSON, MELANIE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DONALDSON, ROBERTA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DONALDSON, TAMMY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DONALS, DEBORAH                 SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
DONALS, DEBORAH                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DONALS, DEBORAH                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DONART, TONI                    WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
DONATH, CHERYL                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
DONATO, MARGARET                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DONAWAY, LUANN                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
DONEGAN, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DONHAM, STACEY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DONIA, MILDRED                  JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
DONIS, ARLENE                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
DONLEY, IRIS                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
DONLON, NORMA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DONNA ELMHORST                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
DONNA JOURNEY                   MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
DONNA MECK                      MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
DONNA SAULTER                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
DONNA WOODS                     BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                COMMERCE STREET MONTGOMERY AL 36104
DONNA, BEATRICE                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64105
DONNA, HOLDER                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DONNELLY, CAMILLE               ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
DONNELLY, CHAROLTTE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DONNELLY, CINDY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DONNELLY, CINDY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DONNELLY, CINDY                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DONNELLY, CINDY                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
DONNELLY, KATE                  WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
DONNELLY, LAURA                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
DONNELLY, LINDA                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
DONNELLY, SUSAN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DONNER, LYDIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DONNER, LYDIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
DONNER, LYDIA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DONNER, LYDIA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DONNER, MARIE                   JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
DONOHOE, CATHIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DONOHOE, SHEILA                 PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
DONOHUE, ROBIN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DONOHUE, ROBIN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DONOHUE, ROBIN                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DONOHUE, ROBIN                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
DONOSO, DARIAN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DONOSO, DARIAN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DONOVAN, ANDREA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DONOVAN, ANNEMARIE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DONOVAN, JUEL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DONOVAN, KATHERINE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DONOVAN, LORETTA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
DONOVAN, MARGARET               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DOOLEY, ALICE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DOOLEY, DELANA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DOOLEY, DIANA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DOOLEY, DIANA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOOLEY, DIANA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DOOLEY, DIANA                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
DOOLEY, JACQUELINE              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DOOLEY, JUANITA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DOOLEY, SANDRA                  DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
DOOLITTLE, LISA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DOPLER, DIANA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DOPLER, DIANA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DORADO, TABBATHA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DORAME, CARMEN                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DORAN, PAULA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DORAN, REBECCA                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
DORCIL, FAITH                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DORCIL, FAITH                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE


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Claim Name                       Address Information
DORCIL, FAITH                   ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
DORIN, MARION                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DORINDA HENDERSON-WILLIAMS      ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
DORIS CORDERO                   DAVIS, BETHUNE & JONES, L.L.C. DAVIS, GRANT L. 1100 MAIN STREET, SUITE 2930
                                KANSAS CITY MO 64196
DORLEY, JANET                   THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
DORMAN, TRACY                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DORN, JANET                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DORN, SHIRLEY                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
DORN, THERESA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DORNA FRANCIS                   THE MILLER FIRM, LLC SHAH, TAYJES M. 108 RAILROAD AVE. ORANGE VA 22960
DORNAN, LINDA                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
DORNEY, LILLY                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, STEPHENSON, W. CAMERON 316
                                SOUTH BAYLEN ST., SUITE 400 PENSACOLA FL 32502
DOROTHEE TREMAINE               MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
DOROTHY COLLINS                 FLETCHER V. TRAMMELL TRAMMELL, FLETCHER V 3262 WESTEIMER, SUITE 423 HOUSTON TX
                                77098
DOROTHY KLAUSNER                JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
DORR, KATHY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DORR, TACY                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
DORRIS, ARLENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DORSA, SHARON                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
DORSEY, BETTY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DORSEY, CONCETTA                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
DORSEY, DEBORAH                 WEITZ & LUXENBERG RELKIN, ELLEN & SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE
                                210 CHERRY HILL NJ 08002
DORSEY, DONNA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
DORSEY, IRMA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DORSEY, JANET                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DORSEY, KENDRA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
DORSEY, LINDA                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
DORSEY, LYNN                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
DORSEY, PATRICIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DORSEY, SUMMER                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DORSEY, VICKI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DORSEY, VIOLA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                          Address Information
DORSEY, VIOLA                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
DORSTEN, TERESA                    DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                   KANSAS CITY MO 64196
DORTCH, BLANCHIE                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                   CHARLESTON WV 25301
DORTCH, MABLE                      GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                   EDWARDSVILLE IL 62025
DORTON, JUDY                       ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
DOS REIS, CLEIDE                   THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                   ORLEANS LA 70130
DOS SANTOS, MARY                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DOSEY, BARBARA                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DOSEY, BARBARA                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
DOSEY-DAVIS, BESSIE                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                   70130
DOSIA, THERESA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOSS, JULIE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOSS, MARLYN                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
DOSS, MARLYN                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DOSS, SALENA                       MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
DOSS, VICTORIA (VICKEY)            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR. MARK P. KAR NEWPORT BEACH CA 92660
DOSTAL, KAREN                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DOSTER, LINDA                      LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                   94111
DOTSON, AILEEN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DOTSON, CONNIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOTSON, JANE                       THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                   AZ 08501
DOTSON, MARIA                      SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
DOTSON, PHYLLIS                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
DOTSON, RONALD                     LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                   NJ 08648
DOTSON, SANDRA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOTSON, SONYA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
DOTY, AMBER                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOTY, AMY                          DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102
DOTY, SUSAN                        LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DOTY, THERESE                      POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
DOUCETTE, ROSEMARIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOUGAN, THERESA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOUGHERTY, DEBRA                   CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100



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Claim Name                       Address Information
DOUGHERTY, DEBRA                ATLANTA GA 30319
DOUGHERTY, DEBRA                KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
DOUGHERTY, EILEEN               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DOUGHERTY, EILEEN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DOUGHERTY, LISA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOUGHERTY, ROBERTA              MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
DOUGHERTY, TAMMY                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
DOUGHTERTY, CRYSTAL             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOUGHTERY, WINDY                DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
DOUGHTY, JUDITH                 TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
DOUGLAS, BARDEN AND ROSLYN      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                NJ 08648
DOUGLAS, BEATRICE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOUGLAS, BETTY                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DOUGLAS, BETTY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DOUGLAS, CASSANDRA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DOUGLAS, CHERYL                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DOUGLAS, DARLENE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DOUGLAS, DEBRA                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
DOUGLAS, DIANNA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DOUGLAS, GERALDINE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DOUGLAS, HARLYNN                SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
DOUGLAS, JOANN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOUGLAS, JOANN                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DOUGLAS, JOANN                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DOUGLAS, KIMBERLY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DOUGLAS, LINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOUGLAS, LORI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DOUGLAS, MARY                   MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
DOUGLAS, MARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DOUGLAS, MARY                   BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
DOUGLAS, MAUREEN                MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
DOUGLAS, PATRICIA               ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                FELLER, JOEL J. PHILADELPHIA PA 19103
DOUGLAS, REBECCA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DOUGLAS, SANDRA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
DOUGLAS, SANDRA                 MEADOWS, TED G. MONTGOMERY AL 36104
DOUGLAS, SANDRA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
DOUGLAS, SUSAN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DOUGLASS, JUDY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DOUGLASS, JUDY                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DOUTHIT, TRACY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOUTHITT, JACINDA               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
DOUTHITT, JACINDA               LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
DOUTHITT, JACINDA               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DOUTHITT, JACINDA               ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
DOUTHITT, JACINDA               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DOUVIER, RENEE                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DOVE, CHARLOTTE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOVE, FRANCES                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DOVE, MARGIE                    GOLOMB & HONIK, P.C. GOLOMB, RICHARD M. 1835 MARKET STREET, SUITE 2900
                                PHILADELPHIA PA 19103
DOVE, MONIQUE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOVEL, KIM                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOVERSPIKE, JUDY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DOWD, CATHERINE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOWD, DEBORAH                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
DOWD, DEBORAH                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DOWD, DEBORAH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOWD, DEBORAH                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DOWD, DEBORAH                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
DOWD, SHARON                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DOWDEE, JULIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DOWDELL, LYNDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DOWDELL, SARAH                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
DOWDY, DEBRA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
DOWDY, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOWELL, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOWELLS-COBLE, RETHA            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DOWLER, DEBORAH                 LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                NICHOLAS LAKE CHARLES LA 07060



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                                                  List
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Claim Name                       Address Information
DOWLING, JOY                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DOWLING, ROXANNE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DOWNARD, BRENDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOWNARD, ROBERTA                WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
DOWNER, CHERYL                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DOWNER, CHERYL                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
DOWNES, PATRICIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DOWNEY, BRENDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DOWNEY, BRENDA                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
DOWNEY, CAROL                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
DOWNEY, DARLENE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOWNEY, FRANCINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DOWNEY, YVONNE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOWNIE, MARY                    THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
DOWNIN, NANCY                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
DOWNING, ELIZABETH              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DOWNING, LINDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DOWNING, TINA                   WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
DOWNS, CRYSTAL                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DOWNS, ELRITA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOWNS, JOYCE                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DOWNS, LORETTA                  WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
DOWNS, MARSHA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DOWNS, SUE                      LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                NICHOLAS HIGHTOWER, KRISTIE LAKE CHARLES LA 70601
DOWNS, VIVIAN                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
DOYLE, ANTONETTE                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DOYLE, ANTONETTE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
DOYLE, CATHY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DOYLE, CHRISTINE                ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
DOYLE, DONNA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DOYLE, GLENDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOYLE, HELLEN                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747



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Claim Name                          Address Information
DOYLE, JANE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOYLE, JESSICA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DOYLE, JESSICA                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
DOYLE, JESSICA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DOYLE, JESSICA                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DOYLE, JESSICA                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DOYLE, KAREN                       CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
DOYLE, MARGERY                     GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
DOYLE, MARGERY                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
DOYLE, MARSHA                      JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                   77098
DOYLE, RENEE                       NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                   11747
DOYLE, SHERRIA                     WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                   NJ 08002
DOYTRE, LORILIE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DOZIER, CONNIESTINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DOZIER, NICOLE                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
DOZIER, VERNA                      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                   HILL NJ 08002
DOZIER, ZHENYA                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                   EDWARDSVILLE IL 62025
DRAA, AMY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DRABIK, RUTH                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
DRADT, CATHY                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
DRAGAN, SHARON                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
DRAGON, VICTORIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DRAGONETTI, MARYANN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DRAIN-MATHIS, CHANELL              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DRAKE, ANGELIA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DRAKE, DIANA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DRAKE, ELIZABETH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DRAKE, FRONA                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DRAKE, LATONNA                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
DRAKE, RANN                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DRAKE, RANN                        GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402



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Claim Name                             Address Information
DRAKE, RANN                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DRAKE, RANN                           THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DRAKE, RANN                           PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DRAKE, TINA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DRALLE, MARGARET                      DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DRAPER, CHARLENE                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                      77098
DRAPER, RHONDA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
DRAYTON, DARLENE ESTATE OF ORL&O      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
MERCADO                               NJ 08648
DRAYTON, LANNETTE                     SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
DRAYTON, REBECCA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
DRAYTON, REBECCA                      GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                      MINNEAPOLIS MN 55402
DRAYTON, REBECCA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DRAYTON, REBECCA                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DRAYTON, REBECCA                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DRAYTON, SYLVIA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
DRAZICH, LOIS                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
DREER, TERESA                         GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DREIER, DIANA                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                      STREET, SUITE PENSACOLA FL 32502
DREITLEIN, MELISSA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DRENNON, MARY                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
DRESSER, ROBERTA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DRESSLER, JERI                        GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                      EDWARDSVILLE IL 62025
DRESSLER, RENEE                       ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                      LOUIS MO 63119
DREW, JANICE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DREW, KRISTIN                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DREWNOSKI, MARYANNN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DREWRY, MARCIA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
DREXEL, KELLY                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                      STREET, SUITE PENSACOLA FL 32502
DREYER, PATTI                         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DREYER, PATTI                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
DREYER, YVONNE                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                      77098
DREYFOUS, BEVERLY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
DRINKHOUSE, ALFREDA                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                      YORK NY 10017
DRINKWATER, MAUDIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231


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Claim Name                         Address Information
DRISCOLL FIRM, P.C.               211 N. BROADWAY, STE. 2440 JOHN DRISCOLL, PAUL JOHNSON ST. LOUIS MO 63102
DRISCOLL, COLEEN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
DRISCOLL, COLLEEN                 MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
DRISCOLL, ELIZABETH               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
DRISCOLL, LOUISE                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DRISCOLL-FITZPATRICK, TRACEY      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
DRIVER, ALEXIS                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DRIVER, LEILA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DRIVER, MARGARET                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
DRIVER, MARY                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DRIVER, MAXINE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DRIVER, SANDY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DROG, JEAN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DROOK, JOYCE                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DROOK, JOYE                       ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                  77007
DRUCK, BARBARA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DRUDI, JOAN                       WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                  BOUNDAS, JOHN T. HOUSTON TX 77017
DRUM, DENISE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DRUMGOLE, ANITA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DRUMMOND, DIANE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
DRYER, BETTY                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
DRYER-ANDREWS, JOYCE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
DRYER-ANDREWS, JOYCE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DRYER-ANDREWS, JOYCE              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DRYER-ANDREWS, JOYCE              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DRZYMALA, CAROL                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                  14202-3725
DU BOSE, GEORGIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DU FRIEND, CRYSTAL                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
DU PURTON, PANAGIOTA              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                  14202-3725
DUANE-MCAULIFFE, ROXANNE          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
DUARTE, HEATHER                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                  ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
DUBA, ANNA                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                  ORANGE VA 02296
DUBE, SUSAN                       THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                  ORLEANS LA 70130
DUBE, WENDY                       ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                  WASHINGTON DC 20006
DUBE, WENDY                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE


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Claim Name                       Address Information
DUBE, WENDY                     STREET MONTGOMERY AL 36104
DUBER, STACEY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DUBIN, CAROL                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
DUBLIN, JACQUELINE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DUBOIS, BILLIE-JO               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUBOIS, CATHY                   WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
DUBOIS, PAULA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUBOIS, SANDRA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DUBON, MARTHA                   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
DUBOSE, DELORES                 THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
DUBOSE, DORA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
DUBOSE, DORA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUBOSE, DORA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DUBOSE, DORA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DUBOSE, JEANETTE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DUCHAINE, DEBRA                 ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                WASHINGTON DC 20006
DUCHAINE, DEBRA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
DUCHESNE, CLAUDETTE             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DUCHESNE, CLAUDETTE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DUCKSWORTH, SHERRON             MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
DUCKWORTH, INGRID               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
DUCKWORTH, MADALINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUCKWORTH, MADALINE             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DUCKWORTH, MADALINE             PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DUCONGE, CATRINNE               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
DUCRAN, ADRIANA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
DUCRE, DORIS                    WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
DUCROT, REJANE                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
DUDA, TRACY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DUDDY, DEIRDRE                  SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
DUDEK, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUDEK, THERESA                  SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
DUDIS, PATRICIA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DUDIS, PATRICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                          Address Information
DUDIS, PATRICIA                    MEADOWS, TED G. MONTGOMERY AL 36104
DUDKOWSKI, JANICE                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
DUDLEY, IRIS                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DUDLEY, SYLVIA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DUDUIT, DEANNA                     LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                   94111
DUE, JILL                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
DUELL, LONNETTE                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DUENAS, MARIBEL                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
DUET, LORRAINE                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
DUFAULT, MELLISA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUFF, JUNE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DUFF, LINDA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUFF, MARY                         ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
DUFF, WILLADEAN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DUFFEY, SUSAN                      JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                   PAUL MN 55101
DUFFIN, DAWNE                      DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                   KANSAS CITY MO 64196
DUFFIN, SANDRA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DUFFY, CLAUDIA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUFFY, DARLENE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUFFY, DENISE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DUFFY, DENISE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUFFY, DENISE                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DUFFY, DENISE                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DUFFY, FLORIS                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
DUFFY, JOYCE                       WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                   HILL NJ 08002
DUFFY, LANA                        DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102
DUFFY, LILA                        THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
DUFFY, MARY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUFNER, PATRICIA                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DUFORD, BEVERLY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DUFOUR, STEPHANIE                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
DUFRENE, CAROLYN                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                   ORLEANS LA 70130



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Claim Name                       Address Information
DUFRESNE, BARBARA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DUFRESNE, NINA                  POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
DUGAN, ARLENE                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
DUGAN, DEBORAH                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
DUGAN, KATHY                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
DUGAN, KRISTEN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DUGAN, TERESA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DUGAS, CAROL                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DUGAS, JUANITA                  KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
DUGGAN, JESSICA                 WEITZ & LUXENBERG RELKIN, ELLEN & SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE
                                210 CHERRY HILL NJ 08002
DUGGER, KATHERINE               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
DUGGER, KATHERINE               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DUGGER, KATHERINE               LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
DUGGER, KATHERINE               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
DUGGER, KATHERINE               ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
DUGOSH, MARY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
DUGUID, MIRIAM                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUHAMEL, MICHELLE               DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DUHE, SILVIA                    WEITZ & LUXENBERG RELKIN, ELLEN & SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE
                                210 CHERRY HILL NJ 08002
DUICH, REBECCA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DUJULIO, FAITH                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DUKE, ANDRA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DUKE, NANCY                     MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
DUKE, TULANE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUKES, KATHLEEN                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DUKES, KATHLEEN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DUKES, KATHLEEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUKES, KATHLEEN                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DUKES, KATHLEEN                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
DUKES, MAMIE                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DUKES, MAMIE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DUKES, MARTHA                   THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207



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Claim Name                       Address Information
DUKES, NORMA                    ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                WASHINGTON DC 20006
DUKES, NORMA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
DUKES, SHEILA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUKEWITS, SUZANNE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DULA, ROBIN                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DULANEY, JUDY                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                FELLER, JOEL J. PHILADELPHIA PA 19103
DULL, PATRICIA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
DUMAS, DEBRA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DUMAS, LEA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DUMESNIL, THERESA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUMITRU, SANDRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUMONT, KAREN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DUMORMAY, MARIE                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DUMOVICH, SUSAN                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
DUNAWAY, PAULA                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
DUNBAR, GLENDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUNBAR, KATE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUNBAR, PATRICIA                CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
DUNBAR, PEGGY                   MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
DUNBAR, TAKIYAH                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
DUNCAN, BRENDA                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
DUNCAN, BRENDA                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
DUNCAN, CHERYL                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DUNCAN, DARLA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
DUNCAN, DEBORAH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUNCAN, DIANNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DUNCAN, DONNA                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
DUNCAN, JEAN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DUNCAN, JOAN                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
DUNCAN, LATOYA                  HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
DUNCAN, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUNCAN, MARILYN                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DUNCAN, MICHELLE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                             Address Information
DUNCAN, PATRICIA                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DUNCAN, PATRICIA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
DUNCAN, PATRICIA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUNCAN, SANDRA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUNCAN, SHARON                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
DUNCAN, VICTORIA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUNCAN, VIRGINIA                      BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                      75202
DUNFORD, CLOEATA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUNGAN, CHARMAINE                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                      77007
DUNHAM, LUCIA                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                      EMILY FAIRFAX VA 22031
DUNHAM, LUCIA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
DUNHAM, WILMA & DUNHAM, SHELBY D      MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                      YORK NY 10017
DUNIGAN, KECIE                        SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
DUNKER, MARGARET                      SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                      07102-4573
DUNKER-CROSS, BECKY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUNKIN, PAMELA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
DUNLAP, CHRISTY                       LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                      SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
DUNLAP, KIMBERLY                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
DUNLAP, NUANA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
DUNLAP, NUANA                         GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                      MINNEAPOLIS MN 55402
DUNLAP, NUANA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUNLAP, NUANA                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DUNLAP, NUANA                         PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DUNLOP, TERESA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUNMIRE, MARY                         WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                      BOUNDAS, JOHN T. HOUSTON TX 77017
DUNMORE, ANNA                         DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
DUNN, BRENDA                          ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DUNN, BRENDA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
DUNN, DEBORAH                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
DUNN, DEBORAH                         LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
DUNN, DEBORAH                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                      ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
DUNN, DONNA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUNN, DRAMONDA                        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DUNN, JEAN                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUNN, JOANNE                          WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 TREVINO, MARGOT CUBBERLY


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                                       LTL Management LLC
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                                                  List
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Claim Name                       Address Information
DUNN, JOANNE                    WALT BRAHMBHATT SEJAL K HOUSTON TX 77017
DUNN, KATHERINE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUNN, KATHERINE                 BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
DUNN, MAGGIE                    MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
DUNN, MARGARET                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DUNN, MARLENE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DUNN, MARSHA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DUNN, MELVA                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
DUNN, NAKEISHA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DUNN, PEGGY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUNN, PEGGY                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DUNN, PEGGY                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DUNN, SHELIA                    SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
DUNN, SHELIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DUNN, SHELIA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DUNN, SHELIA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DUNN, TAMMI                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUNN, TRISHA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
DUNN-BORGRA, LAURA              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DUNNE, JEANNE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DUNNING, ANGELA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DUNNING, ANGELA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DUNPHY, COLLEEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUNPHY, VICTORIA                JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
DUNSTAN, GEORGIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DUNSTON, IDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUPAS, FAITH                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
DUPELL, CHRISTINE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DUPONT, BRENDA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DUPONT, BRENDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DUPREE, DOROTHY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
DUPREE, JOYCE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUPUY, CHINHUI                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DUQUETTE, ISABELLE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
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Claim Name                       Address Information
DURAN, CATHERINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DURAN, CATHERINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DURAN, CATHERINE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DURAN, CATHERINE                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DURAN, HELEN                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
DURAN, LOUISE                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
DURAN, MARIA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
DURAN, PRISCILLA                LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
DURAN, SHABA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DURAN, SUSAN                    WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
DURAND-BLOUNT, JESSICA          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DURANT, JANICE                  HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
DURANTE, MARY                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
DURBIN, DAWN                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
DURBIN, DAWN                    HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
DURDEN, LESA                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET SALGER, SARA M MATHEWS, D.
                                TODD EDWARDSVILLE IL 62025
DURFEE, CAROL                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
DURFEE, PEGGY                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
DURHAM, ANGELA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DURHAM, ANGELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DURHAM, APRIL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DURHAM, PATRICIA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
DURHAM, PATRICIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DURHAM, RUTH                    THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
DURHAM, TAMMY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DURHEIM, JENNIFER               WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
DURING, MARGALINE               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
DURING, MARGALINE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
DURIO, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DURIVAGE, JILL                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
DURKEE, DONNA                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036



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Claim Name                         Address Information
DUROVEY, TAMARA                   JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
DURRAH, ALICE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DURRANCE, BARBARA                 MOTLEY RICE, LLC 50 CLAY STREET, SUITE 1 HOYLE, THOMAS DAVID MORGANTOWN WV
                                  26501
DURRETT, HEATHER                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DURRETT, IMA                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
DURSO, ANITA                      DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                  63102
DURYEE, PHYLLIS                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
DUTCH, SHARON                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUTCH, SHARON                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                  77007
DUTTON, AMY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUTTON, AMY                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DUTTON, AMY                       PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DUTTON, KAREN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUVAL, PATRICIA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                  EMILY FAIRFAX VA 22031
DUVAL, PATRICIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
DUVALL, AMY                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                  ORANGE VA 02296
DUVALL, CHERYL                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
DUVALL, EDITH                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                  EDWARDSVILLE IL 62025
DUVALL, MICHELE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
DUVALL, MICHELE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DUVALL, MICHELE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DUVALL, SETH                      FEARS NACHAWATI, PLLC C/O DARREN MCDOWEL 5473 BLAIR ROAD DALLAS TX 75231
DUZIK, CYNTHIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
DVORSCEK, MEGAN                   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN; 800 S. GAY ST STE 1100 LAURA WELLING
                                  KNOXVILLE TN 37929
DWECK, CHERYL                     NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                  PR 00918
DWELLE, PATRICIA                  HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
DWORAK, CHERLYN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
DWYER, PATRICIA                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                  LOUIS MO 63119
DYAR, PATRICIA                    DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                  KANSAS CITY MO 64196
DYAR, PEGGY                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
DYE, AMY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
DYE, BETTY                        NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                  11747
DYE, DARLEEN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                          Address Information
DYE, JACQUELYN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DYE, NORMA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DYE, SANDRA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DYE, SANDRA                        GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
DYE, SANDRA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DYE, SANDRA                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
DYE, SANDRA                        PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
DYER, AMY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DYER, BARBARA                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DYER, BETTY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DYER, MIRIAM                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
DYER, NELLIE                       DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102
DYER, PAMELA                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
DYER, PAMELA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                   STREET MONTGOMERY AL 36104
DYER, ROBINA                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
DYER, SUSAN                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
DYER, VALERIE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DYESS, ZELLA                       LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                   SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
DYETT, JULIA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DYHHOUSE, ANNE MARIE               NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                   PR 00918
DYKE, DONNA VAN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
DYKEMAN, AMBER                     NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                   11747
DYKER, NOEL                        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
DYKSTRA, JOAN                      POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
DYMBURT, MAXENE                    GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
DYMOND, PATRICIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DYREK, AMELIA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
DYSART, GERALDINE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
DYSON, BOBBY                       BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                   75202
DYSON, SHARON                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
EAGAN, KATHLEEN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EAGLETON, TANYA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
EAKER, BERTIE                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
EAKER, BERTIE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
EAKER, BERTIE                   MEADOWS, TED G. MONTGOMERY AL 36104
EAMES, LINNIE                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
EANES, JENNY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
EARL, SUZETTE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EARL, SUZETTE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
EARL, SUZETTE                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
EARLE, GRAZELDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EARLE, LISA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EARLE, SHIRLEY                  TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
EARLE, SYLVIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
EARLEY, KIMBERLY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EARLS, AUDREY                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
EARLS, BETTY                    HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
EARLS, DEBRA                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
EARLS, DEBRA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
EARLS-RODGERS, JANIE            THE MILLER FIRM, LLC SHAH, TAYJES M. 108 RAILROAD AVE. ORANGE VA 22960
EARLY, CHRISTINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EARNEST, MARY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
EARNHARDT, CAROL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EARNHARDT, ROSA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EARP, JILL                      GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
EASH, KATHY                     SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
EASLEY, BETTY                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
EASLEY, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EASLY, DOLORES                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EASON, ONNETA                   MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
EAST, ARLEEN                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
EAST, ARLEEN                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
EAST, SANDRA                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
EASTER, DEBRA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EASTER, GLENDA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
EASTER, LOUISE                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
EASTER, MARJORIE                NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
EASTER, TRAMAINE                FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
EASTERLING, GENEVA              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
EASTERLING, GENEVA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
EASTERLING, GENEVA              MEADOWS, TED G. MONTGOMERY AL 36104
EASTERLING, SANDRA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EASTERLING-TORGIANI, JULIA      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EASTERLING-TORGIANI, JULIA      GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
EASTERLING-TORGIANI, JULIA      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EASTERLING-TORGIANI, JULIA      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
EASTERLING-TORGIANI, JULIA      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
EASTERWOOD, LORRAINE            GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
EASTIN, JUDITH                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
EASTMAN, ALMA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EASTMAN, ALMA                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
EASTMAN, ALMA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EASTMAN, ALMA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
EASTMAN, ALMA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
EASTMAN, LINDA                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
EASTMAN, SHARON                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
EASTON, MEAGAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EASTWOOD, ELIZABETH             FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
EATON, GERALDINE                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
EATON, HELEN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EATON, JANET                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
EATON, MELISSA                  WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
EATON, PAMELIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
EATON, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EATON, RUBY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EBEL, MELA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EBER, ELLEN                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
EBERHARDT, JANICE               KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
EBERHARDT, JANICE               LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
EBERHARDT, VALI                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
EBERSOLD, CHERYL                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
EBERSOLDT, PRISCILLA            THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
EBERT, JUDY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EBONI EVANS                     JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
EBRAHIMI, PATRICIA              REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                BINSTOCK, ROBERT J. HOUSTON TX 77027
EBY, ROBERTA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                          Address Information
EBY, ROBERTA                       MEADOWS, TED G. MONTGOMERY AL 36104
ECHEVARRIA, ALBA                   SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                   01153
ECHEVARRIA, CECILIA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ECHEVARRIA, WILMARIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ECHEVERRIA, EVA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR. MARK P. KAR NEWPORT BEACH CA 92660
ECHOLS, JANICE                     TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
ECHOLS, KEMO                       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ECK, BRENDA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ECK, KELLY                         GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ECK, SHIRLEY                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
ECKEL, JANICE                      GOLOMB & HONIK, P.C. GOLOMB, RICHARD M. 1835 MARKET STREET, SUITE 2900
                                   PHILADELPHIA PA 19103
ECKELS, JOZEL                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ECKER, VALERIE                     SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                   01153
ECKER, VALERIE                     WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                   NJ 08002
ECKERT, PATRICIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
ECKES, CAROL                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ECKLOR, CHRISTINE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
ECKSTEIN, DARLENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDBERG, EYDIE                      GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
EDDE, BOBBIE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDDINS, KARY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDDINS, MARY                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
EDDLEMAN, TERI                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
EDDLEMAN, TERI                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
EDDLEMAN, TERI                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDDLEMAN, TERI                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
EDDLEMAN, TERI                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
EDDLEMON, BONNIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDDY, CHRISTINA                    TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                   62025
EDDY, DONNA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDDY, KENNA                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
EDDY, MONA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDDY, YVONNE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDE, LORI                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
EDE, THERESA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDE, TRICIA                        MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,


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Claim Name                       Address Information
EDE, TRICIA                     ARTHUR M. NEW ORLEANS OH 70130
EDEN, JANET                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EDEN, SVETLANA                  WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
EDENS, RITA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDGAR, WILMA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDGE, BARBARA                   THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
EDGERTON, NATALIE               KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
EDGEWORTH, SALOME               WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
EDGIN, DIANE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EDGIN, ROBERTA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
EDGIN, ROBERTA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EDITH LONGMIRE                  DAVIS, BETHUNE & JONES, L.L.C. DAVIS, GRANT L. 1100 MAIN STREET, SUITE 2930
                                KANSAS CITY MO 64196
EDLUND, JUDY                    REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                BINSTOCK, ROBERT J. HOUSTON TX 77027
EDMOND, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDMOND, URSULA                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
EDMONDS, ALICE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
EDMONDS, DELORES                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
EDMONDS, DELORES                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
EDMONDS, DELORES                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
EDMONDS, DELORES                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
EDMONDS, JANIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDMONDS, LAURIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDMONDS, LESLIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
EDMONDS, MONA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDMONDSON, BARBARA              NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
EDSALL, PENNY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDSILL, KATHERINE               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
EDWARDS, ANDREA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDWARDS, ANNABELLE              BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
EDWARDS, ARISHA                 CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
EDWARDS, ARLENE                 COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
EDWARDS, AUDREY                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
EDWARDS, BARBARA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
EDWARDS, BERTHA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EDWARDS, BEVERLY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDWARDS, BOBBIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
EDWARDS, BRENDA                 MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
EDWARDS, BRENDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EDWARDS, CORA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
EDWARDS, CRYSTAL                NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
EDWARDS, CYNTHIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDWARDS, DARLA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
EDWARDS, DARLA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
EDWARDS, DARLENE                ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
EDWARDS, DAWN                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
EDWARDS, DEBORAH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDWARDS, DENISE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EDWARDS, DENISE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDWARDS, DENISE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
EDWARDS, DENISE                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
EDWARDS, DOROTHY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
EDWARDS, ELLA                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
EDWARDS, ELLA                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
EDWARDS, HAZEL                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
EDWARDS, JANET                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
EDWARDS, JEANETTE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
EDWARDS, JESSICA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDWARDS, KATHY                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
EDWARDS, KATHY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EDWARDS, LATASHA                ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
EDWARDS, LINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EDWARDS, LISA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EDWARDS, MARSHA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
EDWARDS, MARY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231



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                                       LTL Management LLC
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                                                  List
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Claim Name                       Address Information
EDWARDS, MISCHELLE              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
EDWARDS, NANCY                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
EDWARDS, NANCY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EDWARDS, NANCY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
EDWARDS, NEFERTITI              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
EDWARDS, PAMELA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EDWARDS, PAMELA                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
EDWARDS, PAMELA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDWARDS, PAMELA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
EDWARDS, PAMELA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
EDWARDS, PATRICIA               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
EDWARDS, PATRICIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EDWARDS, PATRICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDWARDS, PRECIOUS               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDWARDS, PRECIOUS               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
EDWARDS, RITA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDWARDS, SANDRA                 HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
EDWARDS, SHERRICE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDWARDS, SHIRLEY                SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
EDWARDS, STACEY                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
EDWARDS, STACEY                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
EDWARDS, TAI                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
EDWARDS, TANTRELL               WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
EDWARDS, TASHONDA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
EDWARDS, TERRINA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDWARDS, TINA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDWARDS, VOCTORIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDWARDS-ALFORD, BARBARA         WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
EDWARDS-FOUNTAIN, BERNICE       TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
EDWARDS-HARTE, AMY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EDWARDS-ROWE, JACQUELYN         HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
EDWARDS-SIKES, MICHELE          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EEL, PENELOPE                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103



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                                                LTL Management LLC
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Claim Name                                Address Information
EFENDIC, MULIJA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
EFFLANDT, ANN                            GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
EGAN, ELIZABETH                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
EGAN, JENNIFER                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
EGENDOERFER, DIANE                       SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                         77098
EGLEN, LAURA                             JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                         PAUL MN 55101
EHART, VICTORIA                          DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                         77024
EHLING, BETTY                            ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
EHLING, BETTY                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
EHRENSING, MARY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
EHRIG, NANCY                             GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                         EDWARDSVILLE IL 62025
EHRLICH, JULIET                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
EIBEN, ANGELA                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
EICH, KATHERINE                          GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
EICHELBERGER, MILDRED                    WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                         DALLAS TX 75219
EICHEN, CRUTCHLOW,ZASLOW & MCELROY,      LLP; BARRY EICHEN, JOHN KELLY, EVAN ROSENBERG; 40 ETHEL ROAD EDISON NJ 08817
EICHLER, CAROLYN                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
EICHNER, MARJORIE                        FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
EICHORST, ROSEMARY                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
EICK, SUSAN                              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
EIFER, SHARON                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
EILEEN FERRALL                           ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                         LOUIS MO 63119
EILEEN GRUNSPAN-SHIPLEY                  BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                         COMMERCE STREET MONTGOMERY AL 36104
EILLERS, BRIDGETTE; PADILLA, ANAKELLA    BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                         CA 92660
EINBINDER, JOANN                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
EISCHEN, CHERILYN                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
EISELE, MARY                             LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                         SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
EISENLAUER, KIM                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
EISHEN, DIANE                            CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY


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Claim Name                          Address Information
EISHEN, DIANE                      14202-3725
EISINGER, MICHELLE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EISLER, DEBORAH                    ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
EISMAN-DORR, ROBERTA               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
EITEL, DOROTHY                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
EITEL, DOROTHY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EITEL, DOROTHY                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
EITEL, DOROTHY                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
EKKER, GINA                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                   77098
EKUWSUMI, DEBORAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EL-KHAYYAT, DAVENE                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                   EVAN D. EDWARDSVILLE IL 62025
EL-SHABAZZ, QAMARRAH               WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                   NJ 08002
ELAINE DENTON                      ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                   S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
ELAINE HEARD                       FEARS NACHAWATI LAW FIRM GIBSON, N, LONG, J, LUFF, P, MCCARLEY, M 5473 BLAIR
                                   ROAD DALLAS TX 75231
ELAINE MORANG                      MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
ELDER, GLORIA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
ELDER, HARRIETT                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELDER, ILA                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
ELDER, JUDITH                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ELDER, JUDITH                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
ELDER, KAREN                       COHEN, PLACITELLA & ROTH 127 MAPLE AVE. PLACITELLA, CHRISTOPHER M. GEIER,
                                   DENNIS M. RED BANK NJ 07701
ELDER, LINDA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELDER, ROSEMARIE                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ELDER, ROSEMARIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
ELDERIDGE, GAYLA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELDRIDGE, CAROL                    MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
ELDRIDGE, CAROLYN                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                   CHARLESTON WV 25301
ELDRIDGE, MARY                     THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
ELDRIDGE, NANCY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
ELDRIDGE, REGINA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ELDRIDGE, REGINA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
ELDRIDGE, RUTH                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
ELEDGE, DOROTHY                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ELFANT, B EST OF JOSEPHINE M.      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
MARCHESANO                         NJ 08648


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Claim Name                       Address Information
ELFSTROM, ELLEN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ELGIN, MARIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ELHAG, AMAL                     LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
ELIA, JAKLIN                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ELIAS, GLORIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ELIAS, JULIE                    BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
ELIF, DOGANALP,                 LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                NJ 08648
ELIGAH, BARBARA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ELIJAH, DOROTHY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELIO, DORIS                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ELION, JACQUELINE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ELISSA WRIGHT                   MORELLI LAW FIRM, PLLC MORELLI, BENEDICT P. & SIROTKIN, DAVID T 777 THIRD
                                AVENUE, 31ST FLOOR NEW YORK NY 10017
ELIZABETH CHAVEZ                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
ELIZABETH GEBHARD               JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
ELIZABETH GOLDING               DAVIS, BETHUNE & JONES, L.L.C. DAVIS, GRANT L. 1100 MAIN STREET, SUITE 2930
                                KANSAS CITY MO 64196
ELIZABETH GOODEMOTE-MOGOR       LENZE LAWYERS, PLC LENZE, JENNIFER A 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN
                                BEACH CA 90266
ELIZABETH GOODEMOTE-MOGOR       ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
ELIZABETH THOMPSON-GAINES       FLETCHER V. TRAMMELL TRAMMELL, FLETCHER V 3262 WESTEIMER, SUITE 423 HOUSTON TX
                                77098
ELIZARDO, VICKIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ELIZONDO, NEYDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELKIN, KATHLEEN                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ELKINS, CHRISTINA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELKINS, JESSICA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
ELKINS, JESSICA                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
ELKINS, JESSICA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ELKINS, JESSICA                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
ELKINS, JESSICA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ELKINS, MARY                    FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
ELKINS, RHONDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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ELKINS, SHERRI                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
ELKINS, TOYE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ELLARD, LINDA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ELLARD, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ELLEDGE, VELMA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELLEN ANDERSON                  FLETCHER V. TRAMMELL TRAMMELL, FLETCHER V 3262 WESTEIMER, SUITE 423 HOUSTON TX
                                77098
ELLEN, MILLER                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELLENOR WADE                    ASHCRAFT & GEREL, LLP GREEN, J., LYONS, P. & PARFITT, M. 1825 K STREET, SUITE
                                700, NW WASHINGTON DC 20006
ELLER, MARIAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ELLER, RITA                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ELLER, RITA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ELLERD, CHRISTINE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ELLERSON, STEPHANIE             DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ELLERT, MARY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ELLIANO, DOLORES                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ELLINGBURG, LAKEVIA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELLINGSON, DOTTIE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ELLINGTON, SUSAN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ELLIOT, DIANA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELLIOT, EMMA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ELLIOT, JUDY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELLIOT, RACHEL                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ELLIOT, SHERYL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ELLIOT, SHERYL                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
ELLIOT, SHERYL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELLIOT, SHERYL                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ELLIOT, SHERYL                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ELLIOT, VERNEDA                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
ELLIOTT, ADA                    WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
ELLIOTT, BEVERLY                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
ELLIOTT, CAROLYN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELLIOTT, CATHERINE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231



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Claim Name                       Address Information
ELLIOTT, CATHY                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ELLIOTT, CYNTHIA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ELLIOTT, CYNTHIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ELLIOTT, CYNTHIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELLIOTT, DANIELLE               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
ELLIOTT, DAWN                   DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
ELLIOTT, DIANNE                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ELLIOTT, IDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ELLIOTT, JANE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELLIOTT, LISA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELLIOTT, MARSHIYYAT             CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ELLIOTT, MARY                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
ELLIOTT, MILEAH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELLIOTT, RENEE                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ELLIOTT, ROSALIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELLIOTT, RUBY                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
ELLIOTT, VALERIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ELLIOTT, VICKY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ELLIS, ANNIE                    KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
ELLIS, ANNIE                    LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
ELLIS, ARBUTUS                  EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
ELLIS, BELINDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ELLIS, BRENDA                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
ELLIS, BRENDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELLIS, BRENDA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ELLIS, BRENDA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ELLIS, CANDY                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ELLIS, CANDY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ELLIS, CELIA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ELLIS, DEBORAH                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ELLIS, DEBORAH                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ELLIS, DEBORAH                  BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
ELLIS, DENIA                    WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
ELLIS, DONNA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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ELLIS, DONNA                    MEADOWS, TED G. MONTGOMERY AL 36104
ELLIS, DORIS                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ELLIS, EUNICE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ELLIS, JANE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELLIS, JANICE                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ELLIS, JANICE                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ELLIS, JENESICA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ELLIS, JENNIFER                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
ELLIS, JENNIFER                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
ELLIS, JENNIFER                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ELLIS, JENNIFER                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
ELLIS, JENNIFER                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ELLIS, JERRY                    BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ELLIS, JOYCE                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ELLIS, KAREN                    BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
ELLIS, KATHY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ELLIS, KAYLA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELLIS, MARYANN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELLIS, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELLIS, PAULA                    MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
ELLIS, TERESA                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
ELLIS, VALARIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELLISON, ANNETTE                BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 BUDD, RUSSELL W DALLAS TX
                                75219
ELLISON, BARBARA                JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
ELLISON, CANDICE                PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
ELLISON, CAREN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELLISON, MEGHAN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELLISON, MICHELE                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ELLISON, PATRICE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELLSWORTH, DIANE                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ELLSWORTH-ANDREWS, JANET        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ELMORE, DESIREE                 ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
ELMORE, MONA                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
ELMSHAEUSER, NINA               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098


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Claim Name                              Address Information
ELOVICH, DYAN                           GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                        EDWARDSVILLE IL 62025
ELROD, JANET                            THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
ELROD, MARY                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELROD, SANDRA                           MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                        ARTHUR M. NEW ORLEANS OH 70130
ELSASSER, DORTHY                        HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                        63101
ELSBERRY, LORI                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELSEL, INGRID                           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                        77098
ELSEY, RHANDI                           PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
ELSIE, ALICE                            DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ELSIFOR, KIMBERLY                       ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                        WASHINGTON DC 20006
ELSIFOR, KIMBERLY                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                        STREET MONTGOMERY AL 36104
ELSMORE, JOANNA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELSON, DONNA                            JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
ELSON, PHYLLIS ESTATE OF EUGENE ELSON   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
ELSTON, JANICE                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
ELSTON, JESENTA                         NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                        PR 00918
ELSTON, MARY                            DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ELSTON, SHIRLEY                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
ELVEBAK, SHIRLEY                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                        ORANGE VA 02296
ELWELL, GARY                            WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
ELWOOD, TERRY                           WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                        DALLAS TX 75219
ELY, CHRISTINE                          DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                        KANSAS CITY MO 64196
ELY, DEBRA                              BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                        30603
ELY, MARY                               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ELY, MELISSA                            ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
ELZAYATY, FATHIA                        GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                        PA 19102
ELZIE, LAURA                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
EMANUEL, CHARLENE                       GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
EMBERTON, KIM                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
EMBREY, GEORGIA                         TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
EMBREY, JANICE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
EMBRY, ANN                              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                          Address Information
EMBRY, ANN                         MEADOWS, TED G. MONTGOMERY AL 36104
EMBRY, CHRISTINA                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102
EMBRY, MARTHA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EMEL, ROMAYNE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EMERSON, DIANE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
EMERSON, GAYLE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
EMERSON, JULIE                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
EMERSON, MARTHA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
EMERT-SCHMOLL, SALLY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
EMERY, ALICE                       GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
EMERY, BONNIE                      COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B.
                                   INDIANAPOLIS IN 46204
EMERY, DIANE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
EMERY, MARGARET                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
EMERY, SHONDA; RIPLEY, DAWNE       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR. MARK P. KAR NEWPORT BEACH CA 92660
EMILYON, ANN                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EMINETH, LADONNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EMMA CUMMINGS                      MCSWEENEY/LANGEVIN, LLC MCSWEENEY, RHETT A 2116 SECOND AVENUE SOUTH
                                   MINNEAPOLIS MN 55404
EMMA TIMS                          FEARS NACHAWATI LAW FIRM GIBSON, N, LONG, J, LUFF, P, MCCARLEY, M 5473 BLAIR
                                   ROAD DALLAS TX 75231
EMMA, GAIL                         GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
EMMANUEL, SVETLANA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
EMMANUEL, SVETLANA                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 TREVINO, MARGOT CUBBERLY
                                   WALT BRAHMBHATT SEJAL K HOUSTON TX 77017
EMMERT, NINA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EMMILE ATCHISON                    FLETCHER V. TRAMMELL TRAMMELL, FLETCHER V 3262 WESTEIMER, SUITE 423 HOUSTON TX
                                   77098
EMMONS, DAWN                       BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                   70130
EMPERIO, DELIACORAZON              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ENCINAS, ANDREA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
ENCINAS, ARTEMISA                  MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A.
                                   MCSWEENEY, RHETT A. MINNEAPOLIS MN 55404
ENDERS, DIANE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ENDERS, GEORGINA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
ENDERS, GEORGINA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ENDERS, GEORGINA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ENDERS, GEORGINA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ENDICOTT, COURTNEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
ENDICOTT, RHONDA                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
ENDICOTT, SHARON                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
ENDLICH, LEATRICE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ENDRES, CHRISTINA               COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
ENDRES, CHRISTINA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ENDRIZZI, BERNARDA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ENDSLEY, DELLA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ENDSLEY, DELLA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ENDSLEY, DELLA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ENDSLEY, DELLA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ENDSLEY, DELLA                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
ENDY, JUDITH                    HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
ENG, CASSANDRA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ENG-MAXWELL, JEAN               KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
ENGDAHL, FATMATA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ENGEL, JAMIE                    MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
ENGEL, PATRICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ENGELHARDT, CYNTHIA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ENGELMAN, MARIA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ENGELMANN, MARIA                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MCGEE, AMANDA D MANHATTAN
                                BEACH CA 90266
ENGELS, SHAHZADEE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ENGELSMAN, SHAWNA               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ENGEMANN, MICHELLE              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ENGER, CHERYL                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ENGERS, DONNA                   THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                FERRARO, JR, JAMES L MIAMI FL 33131
ENGLAND, BENNA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ENGLAND, BONNIE                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ENGLAND, CHRIS                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ENGLAND, CHRIS                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
ENGLAND, CHRIS                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ENGLAND, CHRIS                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ENGLAND, CHRIS                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768



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                                       LTL Management LLC
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Claim Name                       Address Information
ENGLAND, CONNIE                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ENGLAND, ELLI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ENGLAND, MARIE                  COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
ENGLAND, MARY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ENGLAND, REGINA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ENGLAND, RITA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ENGLE, CAROLYN                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
ENGLE, MARY                     THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
ENGLE, ROSALIE                  TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
ENGLE, SUSAN                    DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
ENGLEHART, DARNELLA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ENGLER, LISA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ENGLISH, BONNIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ENGLISH, BONNIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ENGLISH, BONNIE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ENGLISH, BONNIE                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ENGLISH, BRITTANY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ENGLISH, DELIA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ENGLISH, JANELL                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ENGLISH, JULIANA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ENGLISH, REBECCA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ENGLISH, SARAH                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ENGLISH, TERRY                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ENGLISH, TERRY                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
ENGLISH, TERRY                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ENGLUND, GAYE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ENGSTROM, RENE                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
ENGVALDSEN, BRENDA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ENINGOWUK, LUCY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ENISELINA TAUFA                 MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
ENLOE, JANE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ENNES, PATRICIA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ENNIN, CORINTHIANS              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ENNIS, CHANTIP                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ENNIS, JOYCE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ENOCH, NORA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
ENOCHS, YVONNE                  LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
ENOS, ELIZABETH                 MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
ENRICO, BONNY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ENRIGHT, LINDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ENRIQUEZ, ANGELA                THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
ENRIQUEZ, PATRICIA              NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
ENRIQUEZ, PATRICIA              THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
ENSELL, JUDITH                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ENSIGN, CATHY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ENSIGN, DIANE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ENSLEY, CARMEN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ENSOR, BARBARA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ENSOR, BARBARA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
ENSOR, BARBARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ENSOR, BARBARA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ENSOR, BARBARA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ENTERLINE, BARBARA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EOFF, KIMBERLY                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
EPIFANE, DEBORAH                SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
EPLIN, SHERRI                   COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
EPLING, VERA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EPPERLY, DONNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EPPERSON, JUDITH                THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
EPPERSON, MIRIAM                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EPPES-WARD, PATRICIA            THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
EPPRIGHT, SAMMIE                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
EPPS, ALLYCIN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EPPS, ANTONIETA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
EPPS, CYNTHIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EPPS, EARTHA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
EPPS, MYRA                      THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
EPPS, RUBY                      THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
EPPS, TAMMIE                    MILLER DELLAFERA PLC 3420 PUMP RD. PMB 404 MILLER, PETER A. HENRICO VA 23233
EPSMAN, LYNN                    HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520


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Claim Name                       Address Information
EPSTEIN, BEATRIZ                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
ERBE, JOAN                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ERBER, JONNA                    ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                WASHINGTON DC 20006
ERBER, JONNA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
ERBLAND, JULIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ERBY, MINNIE                    THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
ERCOLINA, JENNY                 HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
ERDAL, JOYCE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ERDMAN, KAREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ERFURTH, LILY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ERICKSEN, DONITA                JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
ERICKSON, CONNIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ERICKSON, CYNTHIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ERICKSON, CYNTHIA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ERICKSON, CYNTHIA               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ERICKSON, GERALYN               MOTLEY RICE, LLC 50 CLAY STREET, SUITE 1 MIGLIORI, DONALD A. GREENE, VINCENT
                                L. MORGANTOWN WV 26501
ERICKSON, LUANN                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ERICKSON, MARY                  THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
ERICKSON, PATRICIA              ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
ERICKSON, TAMI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ERICKSON, TERESA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ERICKSON, TERESA                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
ERICKSON, TERESA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ERICKSON, TERESA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ERICKSON, TERESA                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ERIKA GRANADOS                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
ERIKA JORGENSEN                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
ERIKSEN, STEPHAINE              BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
ERIVES, ELSA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ERIVES, ELSA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ERIVES, ELSA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ERNST, BETTY                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ERNST, DANA                     SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
ERNST, KAREN                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ERNST, ROSE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
ERPELDING, LYNNE PHILLIPS       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ERPELDING, LYNNE PHILLIPS       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ERPELDING, LYNNE PHILLIPS       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ERRANTE, ROSEANN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ERSKINE, DAWN                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ERSKINE, DAWN                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ERSKINE, JEAN                   MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
ERVES, DOROTHY                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ERVIN, ANTONIETTE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ERVIN, CORIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ERVIN, GLORIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ERVIN, GWENDOLYN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ERVIN, LORETTA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ERVIN, TAMIKA                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
ERVIN-DIETSCHER, GWENDOLYN      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ERWIN, DEANNA                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ERWIN, DEANNA                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
ERYSIAN, ANN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ESCALANTE, ARMANDINA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ESCALANTE, GINA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ESCALANTE, LORENA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ESCALANTE-GARZA, FERNANDO       NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
ESCAMILLA, JUANITA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ESCAMILLA, RACHEL               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ESCANUELAS, REBECCA             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ESCARENO, SANDRA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ESCH, JENNIFER                  COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
ESCOBAR, LOURDES                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ESCOBAR, ROCIO                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ESCOBAR, ROSARIO                WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
ESCOBEDO, FRANCES               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ESCOBEDO, MARIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ESCOBEDO, ROSA                  DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024



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Claim Name                       Address Information
ESCOVAR, MARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ESHELMAN, EDNA                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
ESHELMAN, MARY                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ESHLEMAN, SHIRLEY               DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ESKANDANI, KATHY                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ESKEW, GLORIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ESLER, MARY                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ESLINGER, LESSA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ESMOND, CHETECA                 THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
ESMOND, CHETECA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ESPARZA, IVONNE                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ESPARZA, MELISSA                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
ESPARZA, NANCY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ESPENSHADE, ROSE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ESPINO, JANICE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ESPINOSA, CRYSTAL               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ESPINOSA, LESLEY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ESPINOSA, PAMELA                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ESPINOZA, AMANDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ESPINOZA, DIANE                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ESPINOZA, RAYNA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ESPINOZA, RAYNA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ESPINOZA, ROCHELLE              THE MILLER FIRM, LLC SHAH, TAYJES M. 108 RAILROAD AVE. ORANGE VA 22960
ESPINOZA, VIRGINIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ESPINOZA, YOLANDA               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ESPOSITO, BRUNHILDA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ESPOSITO, LISA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ESPOSITO, ROSE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ESPOSITO, SHERRI                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ESPY, JOANN                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
ESQUIBEL, SANDRA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ESQUIVEL, BERTHA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ESQUIVEL, KATHY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ESSER, MAUREEN                  COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701


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                                         LTL Management LLC
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Claim Name                         Address Information
ESSIG, ASHLEY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
ESTABROOK, CHRISTINE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
ESTELL, DEBRA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
ESTELL, KELLI                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ESTELLE, PAMELA                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                  PA 19102
ESTELLE, PAMELA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
ESTELLE, PAMELA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ESTELLE, PAMELA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ESTELLE, PAMELA                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
ESTEP, JANET                      DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                  ANTHONY ST. LOUIS MO 63102
ESTEP, JANET                      LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                  MANHATTAN BEACH CA 90266
ESTEP, JANET                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ESTEP, JANET                      ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                  & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
ESTEP, JANET                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                  ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ESTEP, PAULA                      ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                  LOUIS MO 63119
ESTEP, STEPHANIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ESTEP, VIKKI                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
ESTES, DARDANELLES                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                  77007
ESTES, MARCIE                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
ESTES, MARTHA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
ESTES, PAMELA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
ESTES, RAMONA                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ESTES, TOYA                       MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                  ORLEANS LA 70130
ESTEVE, MARIA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ESTRADA, CYNTHIA                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                  63102
ESTRADA, LYDIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ESTRADA, MIRIAM                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
ESTRADA, ROMONA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
ESTRADA-CASTREJON, SOLEDAD        DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                  63102
ESTRELLA-MAGALLANES, YOLANDA      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
ESWAY, PEGGY                      KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211



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Claim Name                       Address Information
ETCITTY, DARLENE                ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
ETEBARI, SALLY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ETHEL BLAIR                     JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
ETHERIDGE, REGINA               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ETHRIDGE, ELNORE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ETHRIDGE, ELNORE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ETSITTY, DARLENE                REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                BINSTOCK, ROBERT J. HOUSTON TX 77027
ETTA RODERICK                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
ETTANNANI, ROSALIE              WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
ETUKUDOH, GLORY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EUBANK, CHRISTINE               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
EUBANK, MARTHA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
EUBANKS, BETTIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EUBANKS, SHIRLEY                CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
EUBANKS, SHIRLEY                BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
EUGENI, LORETTA                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
EURE, ZORA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EUREKA, SHARON                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
EURIBE, GRACIELA                THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
EVANCHEC, KATHLEEN              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EVANGELINE CAPLES               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
EVANOSKI, LINDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EVANOSKI, LINDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EVANOSKI, LINDA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
EVANS, ASHLEY                   PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
EVANS, BETTY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
EVANS, BONNIE                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
EVANS, BONNIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EVANS, BRENDA                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
EVANS, CARLA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
EVANS, CAROLINE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,


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Claim Name                       Address Information
EVANS, CAROLINE                 EMILY FAIRFAX VA 22031
EVANS, CAROLYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EVANS, CAROLYN                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
EVANS, CHARLOTTE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EVANS, CHRISTINA                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
EVANS, CYNTHIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EVANS, CYNTHIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
EVANS, CYNTHIA                  LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
EVANS, DELORES                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
EVANS, DIANE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EVANS, DOREEN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EVANS, DOROTHY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EVANS, DORRETHA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
EVANS, ELAINE                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
EVANS, EMMA                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
EVANS, ERON                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EVANS, ERON                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
EVANS, ERON                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
EVANS, GINGER                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EVANS, JANET                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EVANS, JARONDA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
EVANS, JEANNE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
EVANS, JILL                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
EVANS, JODI                     WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
EVANS, JUANITA                  WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
EVANS, KAREN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EVANS, KATHLEEN                 MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
EVANS, KATHY                    SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
EVANS, KELSEY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
EVANS, LAURA                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
EVANS, LEONORA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EVANS, LILLIAN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
EVANS, MARGIE                   CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
EVANS, MARGIE                   BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA


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Claim Name                       Address Information
EVANS, MARGIE                   30060
EVANS, MARGIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EVANS, MARY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
EVANS, MAUREEN                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
EVANS, PENNY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EVANS, PENNY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EVANS, PENNY                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
EVANS, PENNY                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
EVANS, SANDRA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
EVANS, SUELYN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EVANS, SUSAN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
EVANS, TAMMY                    TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
EVANS, TERESA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
EVANS, THERESA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EVANS, VAKESHA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
EVANS, VERONDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EVANS, VICKIE                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
EVANS, WHITNEY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EVANS-MORRISON, FELICIA         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EVANS-MORRISON, FELICIA         GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
EVANS-MORRISON, FELICIA         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EVANS-MORRISON, FELICIA         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
EVANS-MORRISON, FELICIA         PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
EVDOSUK, PATRICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EVELAND, LISA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EVELEIGH, GLORIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EVELYN WEATHERBIE               MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
EVEREST, NICOLE                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
EVERETT, DONNA                  SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
EVERETT, SHERRI                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
EVERETT, VERONICA               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
EVERETT, VERONICA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EVERETTE, SUSAN                 TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
EVERHART, KRISTY                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747


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Claim Name                       Address Information
EVERLITH, LINDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EVERLY, FAITH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EVERMAN, TAMMY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EVERS, ANNETTE                  SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
EVERSOLE, DOROTHY               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
EVERSOLE, VICKI                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EVERSON, DORI                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
EVERSON, DORI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EVERSON, PATRICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EVERSON, SALLY                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
EVERSPAUGH, WANDA               WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
EVERTT, SHERRI                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
EVERTT, SHERRI                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
EVERTT, SHERRI                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
EVERY, RUBY                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
EVERY, RUBY                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
EVERY, RUBY                     LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
EVERY, RUBY                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
EVERY, RUBY                     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
EWANITSKO, LISA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EWBANK, CAROLYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EWELL, HELEN                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
EWING, MARGARET                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
EWING, MARISA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
EXLINE, DIANA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
EXLINE, DIANA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EXLINE, DINA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
EYER, CHERI                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EYZAGUIRRE, MARTHA              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
EZELL, ADRIENNE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
EZELL, JIMMIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
EZERINS, MARA                   HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
EZZAT, AZZA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FAAPOULI, NAOMI                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG


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Claim Name                       Address Information
FAAPOULI, NAOMI                 ANTHONY ST. LOUIS MO 63102
FAAPOULI, NAOMI                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FAAPOULI, NAOMI                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FABER, ARLENE                   SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
FABER, KATHLEEN                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
FABIAN, DORIS                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FABIAN, PENNY                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
FABRE, MARGIE                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FABREGAS, LUISE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
FABRITIS, HAZEL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FABRIZIO, CINDY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FABRIZIO, PATRICIA              KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
FABRIZIO, PATRICIA              LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
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                                PAUL MN 55101
FACSINA, CONNIE                 THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
FADDEN, LINDA                   JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
FAGAN, JOYCE                    WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
FAGAN, KATHRYN                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
FAGAN, KATHRYN                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FAGAN, KATHRYN                  LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
FAGAN, KATHRYN                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FAGAN, KATHRYN                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
FAGAN, KELLIE                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
FAGAN, SARA                     BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 BUDD, RUSSELL W DALLAS TX
                                75219
FAGOT, DESRIE                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
FAGUNDO, SHARON                 LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
FAHERTY, NANCY                  HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
FAHEY, CAROL                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FAHEY, CAROL                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FAHEY, GAYE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FAHIMI, SOLMAZ                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FAHIMI, SOLMAZ                  THE POTTS LAW FIRM, LLP 3737 BUFFALO SPEEDWAY STE 1900 HOUSTON TX 77098
FAHIMI, SOLMAZ                  SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
FAHNSTROM, STEPHANIE            ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,


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Claim Name                       Address Information
FAHNSTROM, STEPHANIE            EMILY FAIRFAX VA 22031
FAHNSTROM, STEPHANIE            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FAHRBACH, JEANINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FAHRER, MARTHA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
FAHS, BONITA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FAHS, BONITA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FAHS, BONITA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FAHS, BONITA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FAIELLA, PAULA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
FAIL, NANCY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FAILOR, JOANN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FAIN, JANET                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FAIN, JANET                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FAIR, APRIL                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FAIR, APRIL                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
FAIR, LORETTA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
FAIR, SYLVIA                    THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
FAIRBANKS, MARY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FAIRBROTHER, CATHERINE          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FAIRCHILD, DONNA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FAIRCHILD, TRACY                WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
FAIRCLOTH, CYNTHIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FAIRHEAD, GLORIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FAIRLEY, AUGUSTINE              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FAIRLEY, AUGUSTINE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FAIRLEY, MYRA                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
FAIRLEY, NEESHAWNDRA            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FAIRWEATHER, ROBIN              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FAISON, CLARA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FAISON, GRACE                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
FAISON, TERESA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FAITH OLIVER                    LENZE LAWYERS, PLC LENZE, JENNIFER A 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN
                                BEACH CA 90266



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Claim Name                           Address Information
FAITH OLIVER                        ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                    S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
FAJARDIN, LYNDA                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                    14202-3725
FAJARDO, ROSEMARY                   SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                    94104
FAJKUS, VIKKI                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                    ORANGE VA 02296
FALBO, CAROL                        CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                    14202-3725
FALCHECK, ANN                       BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                    70130
FALCO, SUE                          GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FALCON, ELIZABETH                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                    CHARLESTON WV 25301
FALCON, REBECCA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
FALCON, REGINA                      DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                    ANTHONY ST. LOUIS MO 63102
FALCON, REGINA                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FALCON, REGINA                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                    ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FALCON, ROSALVA                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                    ANTHONY ST. LOUIS MO 63102
FALCON, ROSALVA                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FALCON, ROSALVA                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                    ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FALCONE, CHRISTINA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FALCONER, MARIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FALGOUT, DELANIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FALIS, SARAH                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FALK, AUDIE D. AND FALK, ALVIN      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                    HILL NJ 08002
FALK, JANET                         POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
FALKINGHAM, BARBARA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                    77098
FALKNER, ROBERTA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
FALLS, CYNTHIA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
FALLS, GLADYS                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
FALLS, LENA                         MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                    YORK NY 10017
FALONE, MICHELE                     BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                    CA 92660
FALOTICO, LYNDA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
FALZARANO, TERESA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                    77098
FALZONE, SHARON                     DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                    63102
FAMBRO, MARY                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                       Address Information
FAMBRO, MARY                    75231
FAMULARO, PATRICIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FANCHER, DORIS                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
FANCHER, DORIS                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FANCHER, DORIS                  LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
FANCHER, DORIS                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FANCHER, DORIS                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
FANDREY, KAREN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FANDREY, LINDA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
FANELLI, PATRICIA               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
FANEUF, TAMATHA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FANEUF, TAMATHA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FANEUF, TAMATHA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FANEUF, TAMATHA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FANG, QIANYI                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
FANG, SARAH                     HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
FANGROW, JOANN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FANNIE MARSHALL                 DALIMONTE RUEB, LLP DANIEL, STEPHEN 'BUCK' 1250 CONNECTICUT AVENUE NW, SUITE
                                200 WASHINGTON DC 20036
FANNON, SHARON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FANSLER, LINDA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FANSLER, MARY                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
FANSLER, MARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FANSLER, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FANSLER, MARY                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FANSLER, MARY                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
FANTZ, CHRISTINE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FARACI, JOYCE                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FARACI, JOYCE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FARAZI, RAHIMA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FARBO, VALERIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FARDIG, CORAL                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
FARIAS, KATHERINE               BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
FARIAS, SHIRLEY                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX



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Claim Name                       Address Information
FARIAS, SHIRLEY                 77098
FARINA, THERESA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FARINO, SANDRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FARISHIAN, ESTRELLA             ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FARISHIAN, ESTRELLA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FARIVAR, GOLY                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
FARJO, DIALA                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FARJO, DIALA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
FARKAS, CAROLE                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
FARLEY, CAROLANN                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
FARLEY, DEBORAH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FARLEY, ELIZABETH               MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
FARLEY, GEORGIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FARLEY, JENNIFER                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FARLEY, JUSTINE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FARLEY, PATRICIA                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
FARLEY, RONA                    GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
FARLEY, RONA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FARLEY, RONA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FARMER, ANGELA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FARMER, BARBARA                 PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
FARMER, CRYSTAL                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FARMER, DANA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FARMER, DANA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
FARMER, DANA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FARMER, DANA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FARMER, DANA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FARMER, DOLLY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FARMER, GRETTIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FARMER, HESTER                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FARMER, KATHLEEN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FARMER, SHIRLEY                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
FARMER, TIA                     MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
FARMER-JORDAN, SHIRLEY          CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
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FARMER-OLSEN, SHIRLEY           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FARNAM, CHRISTINE               HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
FARNER, KIMBERLY                MILLER DELLAFERA PLC 3420 PUMP RD., PMD 404 HENRICO VA 23233
FARNSWORTH, JEANETTE            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
FARON, ELIZABETH                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
FARQUHARSON, BRENDA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FARR, HEIDI                     MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
FARR, PATRICIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FARR, PATRICIA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
FARR, SHARON                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
FARRA, DONNA                    ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
FARRAND, DREAMA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FARRAR, PATRICIA                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
FARRELL, CYNTHIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FARRELL, DONNA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FARRELL, JANE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FARRELL, KATHERINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FARRELL, KEISHA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FARRELL, MARGARET               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
FARRELL, MARILYN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FARRELL, VIRGINIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FARRIA, DEBBIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FARRICK, CHRISTINE              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FARRINGTON, JACQUELINE          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FARRINGTON, KIM                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
FARRINGTON, LORENE              MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
FARRINGTON, PENELOPE            NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
FARRINGTON, PENOLOPE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FARRIS, ANNIE                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FARRIS, MARIAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FARRIS, RUTH                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FARRIS-FOSTER, VALERIE          ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FARRO, RISA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FARRO, RISA                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
FARRO, RISA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
FARRO, RISA                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FARRO, RISA                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FARTHING, MARCIA                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FARVE, MERIAL                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FARVER, MARLENE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FASSE, PAMELA                   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
FATIGATO, JULIA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FATSCHEL, DIANA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FATSCHEL, DIANA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
FATTAL, KAREN                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
FATTAL, KAREN                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FATTAL, KAREN                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FATTEL, KAREN                   LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
FATTEL, KAREN                   ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
FATUNDIMU, GERALDINE            ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FATUNDIMU, GERALDINE            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FAUCHER, GRACIELA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FAULK, CAROLYN                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
FAULK, KELLY                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
FAULK, RUBY                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FAULK, WENDY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FAULKNER, LENORE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FAULKNER, SHERRY                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FAULTERSACK, CHRISTINA          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FAUST, SHERRY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FAUST, SUSAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FAUSTMANN, ANNE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FAVALORO, GAIL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FAVER, SHERRIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FAVICHIA, MARCELINA             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FAVOR, BLOSSOM                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FAVORITE, CINDY                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FAVORITE, CINDY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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FAVORITE, CINDY                 MEADOWS, TED G. MONTGOMERY AL 36104
FAVORS, DOROTHY                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
FAVORS, PATRICIA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FAVRE, PAULA                    DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
FAVREAU, LORRAINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FAY, DOROTHY                    MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
FAY, PRISCILLA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FAY, PRISCILLA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FAYARD, KIMBERLY                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FAYARD, KIMBERLY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FAYNE, JUDITH                   THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
FAZIO, JUDITH                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
FAZIO, LYNNE                    POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                BRASLOW, DEREK T CONSHOHOCKEN PA 19428
FE ROMANOFF                     JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
FEAGINS, HELEN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FEARON, MICHELLE                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
FEARON, SUSAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FEARON, SUSAN                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FEARON, SUSAN                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FEARS NACHAWATI LAW FIRM        LONG, MCDOWELL, SHAHAN, LUFF,RAGGIO 5473 BLAIR ROAD DALLAS TX 75231
FEARS, MARGARET                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
FEARS, MILDRED                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FEARS, MILDRED                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
FEARS, MILDRED                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FEARS, MILDRED                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FEARS, MILDRED                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FEASTER, GWENDOLYN              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
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FEATHER SNEAGLE                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
FEATHERS, JEAN                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
FEATHERSTON, JANA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FEATHERSTON, KAYLEIGH           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FEATHERSTONE, MARY              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FEBO, FANNY                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017



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Claim Name                       Address Information
FEBUS, PAMELA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
FEDD, CRYSTAL                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FEDE, ANGELA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FEDEWA, MISTI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FEFIE, RITA                     MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
FEGETT, ROSA                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
FEHER, BARBARA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
FEHER, BARBARA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FEHER, BARBARA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
FEHER, DIANE                    LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
FEHR, ANNA                      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
FEICHKO, MOLLEY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FEICHT, VADA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FEIDLER, SYLVIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FEIN, DEBORAH                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
FEINSTEIN, BRIAN                NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
FEKIN, ELEANORE                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
FELDAN, KAREEN                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
FELDERMAN, PATRICIA             ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
FELDKAMP, KAREN                 HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
FELDMAN, AMY                    BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
FELDMAN, AMY                    BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
FELDMAN, BARBARA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
FELDMAN, DIANA                  BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
FELDMAN, MARJORIE               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FELDMAN, TRACY                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
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FELDMANN, TERRI                 KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
FELENSTEIN, DIANE               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
FELGER, REBECCA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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FELICELLO, JANET                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FELICELLO, JANET                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FELICIANO, CARMEN               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
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FELIX, BETTY                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
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                                75231
FELIZ, MARLENE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FELKINS, TANYA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
FELKINS, TANYA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FELKINS, TANYA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FELL, ALISA                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FELLER, RYAN                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
FELLOWS, CHRISTY                HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
FELLOWS, SUSAN                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
FELLS, ANDREA                   HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
FELTER, CHRISTINA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FELTHOUSEN, BONNIE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FELTHOUSEN, BONNIE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FELTHOUSEN, BONNIE              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FELTHOUSEN, BONNIE              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FELTNER, ANGELA                 BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
FELTNER, JOAN                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FELTNER, JOAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
FELTNER, RUBY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FELTON, DORIS                   ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
FELTON, MELINDA                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
FELTS, SUSAN                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
FELTUS, TAMMY                   THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
FELTY, ERNA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FELTY, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FELTY, TAMIE                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
FEMMINELLA, JOAN                MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
FENCH, MARY                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
FENCIL, NOREEN                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
FENCIL, NOREEN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031


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Claim Name                       Address Information
FENDERSON, ASHLEY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FENER, SANDRA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
FENERAN, DEBORAH                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FENERAN, DEBORAH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FENLEY, JOAN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FENLEY, MARY                    SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
FENNELL, LAVERNE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FENNELL, LAVERNE                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
FENNELL, LAVERNE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FENNELL, LAVERNE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FENNELL, LAVERNE                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FENNELL, ZANDRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FENNIGKOH, JOAN                 SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
FENSTEMAKER, TERESA             NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
FENTIMAN, TINA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FENTON, JENNIFER                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FENTON, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FENWICK-SANCHEZ, JUDITH         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FEOLA, MARILYN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FERARI, PATRICIA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FERARI, PATRICIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FERDINAND, PHYLLIS              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
FERGERSON, RAMONA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FERGUSON, ALTHEA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FERGUSON, BETTY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FERGUSON, DEBORAH               BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
FERGUSON, DIANA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FERGUSON, DIANE                 SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
FERGUSON, ELLEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FERGUSON, EMILY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FERGUSON, ERNESTINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FERGUSON, KAREN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FERGUSON, LINDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FERGUSON, LISA                  WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
FERGUSON, MARIE                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025


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Claim Name                       Address Information
FERGUSON, MICHELL               DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
FERGUSON, MICHELL               GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
FERGUSON, PRINCESS              NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
FERGUSON, RASHIDA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FERGUSON, RODNEYTA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FERGUSON, TAISKA                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
FERGUSON, VICKIE                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
FERGUSON, VICKIE                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
FERGUSON-WILLIAMS, MERTIS       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FERKETICH, FELICIA              BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
FERLAND, ERIN                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
FERLITA, STEPHANIE              GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
FERLITA, STEPHANIE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FERLITA, STEPHANIE              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FERLITA, STEPHANIE              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FERMAN, CAROL                   COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
FERNANDEZ, BRISELDA             ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
FERNANDEZ, DENISE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FERNANDEZ, ELSE                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
FERNANDEZ, FATIMA               ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
FERNANDEZ, FATIMA               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
FERNANDEZ, H. PATRICIA          GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FERNANDEZ, JACKELINE            MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
FERNANDEZ, JUANA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FERNANDEZ, LINDA                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
FERNANDEZ, LORRAINE             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FERNANDEZ, LYDIA                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
FERNANDEZ, MARIA                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
FERNANDEZ, NICOLE               WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 JENKINS, NSENGA CHERRY HILL
                                NJ 08002
FERNANDEZ, NICOLE               DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
FERNANDEZ, SOL                  JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
FERNANDEZ, TERESA               GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017



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Claim Name                       Address Information
FERNANDEZ, TERESA               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FERNLEY, SELINA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FERRAN, MARIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FERRARA, JOAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FERRARA, JOAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FERRARA, JOAN                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FERRARA, JOAN                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FERRARI, DIANE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FERRARI, STEPHANIE              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
FERRARO, JANICE                 NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
FERREIRA, CARMEN                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FERREIRA, RAMONA                BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
FERREIRA, WENDY                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
FERREL, GLORIA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FERRELL, ANNIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FERRELL, CHARLENE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
FERRELL, CLISTIE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FERRELL, DEBORAH                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
FERRELL, DOROTHY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FERRELL, GLENDA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FERRELL, HELEN                  MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
FERRELL, JESSICA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
FERRELL, JOYCE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
FERRELL, KAYLA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FERRELL, LAURA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FERRELL, MARGARET               BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 BUDD, RUSSELL W DALLAS TX
                                75219
FERRELL, RONNITA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FERRELL, SANDY                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
FERRELL, TAMIKA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FERRELL, TEANIKA                DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
FERRELL, TEANIKA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FERRELL, TRENA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
FERRELL, VERONICA               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,



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Claim Name                       Address Information
FERRELL, VERONICA               EMILY FAIRFAX VA 22031
FERRELL, VERONICA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FERRELL-LYNN, DEBORAH           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
FERRER, GIAVONNA                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
FERRER, MARISOL                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FERRERA, GEORGIANNA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FERRERI, TONI                   COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
FERRETTI, FRANCESCA             GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
FERRI, NICOLETTE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FERRIBY, HELEN                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FERRIBY, HELEN                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
FERRIE, KATHRYN                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FERRIER, DOROTHY                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
FERRIER, KAREN                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
FERRIER, KAREN                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
FERRIS, TERESA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
FERRO, KAREN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FESKANICH, ROXANN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FESPERMAN, BARBARA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FESSLER, HOLLI                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
FESTA, RAMONA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FESTA, RAMONA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FESTA, RAMONA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FESTA, RAMONA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FESTER, NANCY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FESTER, NANCY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FETTERS, SHARON                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
FETZ, JEANIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FEUERSTEIN, KAREN               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FEWRY, NOREEN                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
FEY, TRACIE                     BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130



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                                                  List
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Claim Name                       Address Information
FICACCI, BARBARA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
FICACCI, BARBARA                HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
FICCARDI, SUZANNE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FICHERA, MARY-BETH              LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
FICHTER, ERICA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FICK, LAURA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FICK, MARSHA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FIDLER, NANCY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
FIE, KATHLEEN                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
FIEDLER, GLORIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FIEDLER, PAMELA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FIEGEL, MARY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
FIELD, AMY                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FIELD, CONSTANCE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FIELD, DIERDRA                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
FIELDINGS, JEANETTE             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FIELDS, ANGELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FIELDS, AUNITRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FIELDS, CATHY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FIELDS, CYNTHIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FIELDS, CYNTHIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FIELDS, DEBBIE                  MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
FIELDS, DONNA                   SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
FIELDS, DONNA                   SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
FIELDS, IRENE                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
FIELDS, KORRI                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FIELDS, LILLIE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
FIELDS, ROSALIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FIELDS, SUSAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FIELDS, SUSAN                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FIELDS, SUSAN                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FIELDS, THEOLA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FIELDS, TRACEY                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464



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Claim Name                                Address Information
FIELDS, URMA                             FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
FIELDS,, MARVIN                          WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
FIENAGHA, VIOLA                          GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FIERRO, ALBA                             WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                         NJ 08002
FIERRO, GLORIA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FIERRO, JANIE                            NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                         11747
FIERRO, KRISTINE                         TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
FIERRO, MARTHA                           GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                         EDWARDSVILLE IL 62025
FIERRO-QUINTANA, VESENTA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
FIESTER, BETTY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
FIGUEROA, ADELAIDA                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
FIGUEROA, GLORIA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FIGUEROA, KATIA AND FIGUEROA, DAVID      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
FIGUEROA, KEISHLA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
FIGUEROA, LETICIA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
FIGUEROA, MARY                           MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                         YORK NY 10017
FIGUEROA, RICHARD EST OF SHARON ALVAREZ WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
FIGURES, BOBBIE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FIGURES, JANICE                          DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                         ANTHONY ST. LOUIS MO 63102
FIGURES, JANICE                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
FIGURES, JANICE                          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FIGURES, JANICE                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FIGURSKI, SUZANNE                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
FIGURSKI, SUZANNE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
FIKE, REBECCA                            DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                         ANTHONY ST. LOUIS MO 63102
FIKE, REBECCA                            LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FIKE, REBECCA                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FILICETTI, KAREN                         CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                         14202-3725
FILIFILI, RASELA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FILIPASIC, LYDIA                         SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
FILIPSKI, ANNA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FILLERS, VALERIE                         MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW



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Claim Name                       Address Information
FILLERS, VALERIE                ORLEANS LA 70130
FILLEUL, SUZANN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FILLEUL, SUZANN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FILLEUL, SUZANN                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FILLEUL, SUZANN                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FILLEY, BETH                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FILLINGER, YVONNE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
FILLMORE, JILL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FILMORE, CONNIE                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
FILMORE, RUTH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FILOMENO, NURYS                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FIMPLE, DEBORAH                 MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
FINCH, ANNA                     MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
FINCH, DAWN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FINCH, MARY                     GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
FINCH, PAULA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FINCH, PAULA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
FINCH, WANNETTA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FINCHAM, BARBARA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FINCHER, CHRISTINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FINCHER, CRYSTAL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FINCK, LISA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FINCK, LISA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FINCK, LISA                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FINCK, LISA                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FINDLAY, SHEILA                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
FINDLEY, SAMANTHA               GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
FINE, BRENDA                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
FINE, JUDITH                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
FINE, MICHELLE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ORDIWAY, LINDA ST. LOUIS MO 63119
FINEGAN, ANNE                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FINERD, SUSAN                   THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
FINGERHUT, SUSAN                ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
FINGERS, MAMIE                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
FINIGAN, HEIDI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FINK, CAROL                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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FINK, DORIS                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FINK, JUDITH                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FINKBEIN, CATHLEEN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FINKBINER, LINDA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FINKELSTEIN, LYNN               DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
FINKEN, EARLENA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FINKLEA, NORMA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FINLASON, MARIE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
FINLAYSON, LINDA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FINLEY, DANA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FINLEY, DANA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FINLEY, DANA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FINLEY, DANA                    PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
FINLEY, LUCILLE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FINLEY, SHIRLEY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FINN, JO ANNE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FINN, KATHRYN                   MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
FINN, SUSAN                     MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
FINN, TERRESA                   JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
FINNEY, ANGELA                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
FINNIGAN, TERESA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FIOLA, NANCY                    BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
FIORANELLI, DEBRA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FIORE, HELEN                    KLINE & SPECTER, P.C. 1525 LOCUST ST. BALEFSKY, LEE B. PHILADELPHIA PA 19102
FIORE, ROSEMARIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FIORE, ROSEMARIE                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
FIORE-ITHIER, COLLETTE          JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
FIORINI, CYNTHIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FIRESTONE, DOROTHY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FIRLE, MARILYN                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
FIRTH, DELORES                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FIRTH, DELORES                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FIRTH, DELORES                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FIRTH, DELORES                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
FISCHBACH, CHARLA               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031


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Claim Name                       Address Information
FISCHBACH, CHARLA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FISCHER, CATHY                  LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
FISCHER, JANICE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FISCHER, MARCY                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FISCHER, MARILYN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FISCHER, SUSAN                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
FISCHER, WANDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FISCHESSER, ANGELA              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
FISH, EVELYN                    GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
FISH, KATHY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FISHBEIN, DEBRA                 THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, D.,
                                FERRARO, JR. J. DIMATT MIAMI FL 33131
FISHER, ALISON                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FISHER, ALTA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FISHER, AULBREY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FISHER, BRENDA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FISHER, BRENDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FISHER, DIANE                   LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
FISHER, DOLORES                 MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                DAVID M. MINNEAPOLIS MN 55404
FISHER, DONNA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
FISHER, JANET                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FISHER, KRISTINA                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
FISHER, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FISHER, MARTHA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FISHER, MARY                    HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
FISHER, MARY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FISHER, MARY                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
FISHER, MARYLEA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FISHER, MICHELE                 SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
FISHER, MITZIE                  MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
FISHER, ROSALINDA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
FISHER, ROSANNE                 BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095



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Claim Name                       Address Information
FISHER, SHARON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FISHER, SHARON                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FISHER, SHEILA                  ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
FISHER, THERESA                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
FISHER-LACEY, VIVIAN            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FISHERO, DIANE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FISHKIND, LYNN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FISHKIND, LYNN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FISHKIND, LYNN                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FISHKIND, LYNN                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FISHMAN, ALLISON                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FISHMAN, ARLENE                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
FISK, MICHELE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FISKE, MARTHA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FISSEL, JAYE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FITCH, DOROTHY                  DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
FITCH, HILDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FITCH, JANICE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FITCH, LINDA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FITCH, LISA                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FITCH, MARIAN                   NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
FITE, SHELBY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FITROS, PAMELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FITZ, KAREN                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
FITZ, KAREN                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
FITZ, RACHEL                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FITZGERALD, AIMEE               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FITZGERALD, DOROTHY             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FITZGERALD, JENNIFER            ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FITZGERALD, JENNIFER            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FITZGERALD, MARIE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FITZGERALD, RANAE               MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
FITZGIBBON, CANDICE             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296



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Claim Name                       Address Information
FITZHUGH, ANTONIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FITZHUGH, ANTONIA               SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
FITZHUGH, BETTY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                LAMPKIN II, JAMES W. MONTGOMERY AL 36104
FITZHUGH, SHERRI                POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
FITZMAURICE, BRIGETTE           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FITZPATRICK, ALISA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FITZPATRICK, DEBORAH            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FITZPATRICK, DEBORAH            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FITZPATRICK, DEBORAH            THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FITZPATRICK, DEBORAH            PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FITZPATRICK, DEBRA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FITZPATRICK, DONNA              DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
FITZPATRICK, PHYLLIS            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FITZPATRICK, WILLIE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FITZSIMMONS, CAROL              KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
FITZSIMMONS, CAROL              LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
FITZWATER, LOREEN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FITZWATER, PATRICIA             ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
FIVECOAT, SONDRA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FIVGAS, AGNES                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
FJAYAN, AQUILINA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FLACK, BRENDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FLADER, JANE                    THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
FLAGG, JOCELYN                  COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
FLAGG, JOCELYN                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FLAHARDY, FRANCIS               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLAKE, TERESA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FLANAGAN, JILL                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
FLANAGAN, ROSE                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
FLANAGAN, ROXIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLANAGAN, SHERYL                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
FLANARY, SONYA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FLANDERS, ANGELA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX



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Claim Name                       Address Information
FLANDERS, ANGELA                77098
FLANERY, PAMELA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FLANIGAN, VANESSA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FLANNAGAN, DIANE                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
FLANNERY, SANDRA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLASHMAN, LINDA                 MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
FLECHA, JOSEPHINE               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
FLECK, REBECCA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
FLECKENSTEIN, PATSY             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FLEENOR, DORIS                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FLEENOR, JENNIFER               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLEISCHMAN, CHERYL              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLEISHMAN, LADAWN               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FLEITES, ROSA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FLEMING, BETTIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLEMING, CHERYL                 JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
FLEMING, CHRISTINE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FLEMING, EVELYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FLEMING, GAIL                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FLEMING, HELEN                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
FLEMING, HILDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLEMING, PATRICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLEMINGS, LORENE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FLEMISTER, RHONDA               BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
FLEMISTER, RHONDA               BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
FLENER, TAMATHA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLESCH, VERONICA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FLESCH, VERONICA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FLESHIN, DIANE                  NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
FLESHMAN, NATALIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLESHMAN, VICKIE                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FLESHMAN, VICKIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FLETCHER V. TRAMMELL            3262 WESTEIMER, SUITE 423 MELISSA BINSTOCK, MELISSA EPHRON HOUSTON TX 77098
FLETCHER, BARBARA               DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036


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Claim Name                       Address Information
FLETCHER, BOBBIE                WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
FLETCHER, CAROLYN               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FLETCHER, CAROLYN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FLETCHER, CAROLYN               MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
FLETCHER, CASAUNDRA             GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
FLETCHER, CATHERINE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FLETCHER, CATHERINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLETCHER, CATHERINE             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FLETCHER, CATHERINE             PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FLETCHER, DEANNA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLETCHER, DEBORAH               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FLETCHER, ELESA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
FLETCHER, HOLLIS                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FLETCHER, JOANNE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLETCHER, KIMBERLY              BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
FLETCHER, LEZLIE                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FLETCHER, MARTHA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
FLETCHER, MILENA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FLETCHER, MIRANDA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLETCHER, WANDA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FLEURETTE, GLENDA               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FLEURY, ROSE                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FLEURY, ROSE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FLEWELLEN, REGINA               NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
FLICKER, JOAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLICKINGER, JACQUELINE          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FLIN, LEUREN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FLINN, DANA                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
FLINT, LISA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FLIPPIN, GLENDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FLIPPO, KAY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLISS, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLONNORY, LINDA                 BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
FLOOD, ANITA                    MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
FLORENCE HAMILTON               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.


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Claim Name                             Address Information
FLORENCE HAMILTON                     LOUIS MO 63119
FLORENCE, MICHELLE                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                      LOUIS MO 63119
FLORENCE-SKIPPER, ANN                 REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J EPHRON,
                                      MELISSA HOUSTON TX 77027
FLORENT, HELEN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLORES, ALICIA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
FLORES, ALMA                          FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FLORES, ANA                           ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                      LOUIS MO 63119
FLORES, ANGELA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLORES, ANITA                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                      EMILY FAIRFAX VA 22031
FLORES, ANN                           THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                      ORANGE VA 22960
FLORES, ANN                           HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                      46290
FLORES, ANNFRANCES                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                      77007
FLORES, CARMEN                        CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                      14202-3725
FLORES, CARMEN                        MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
FLORES, CLAUDIA                       GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FLORES, CORAZON                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
FLORES, CORAZON                       GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                      MINNEAPOLIS MN 55402
FLORES, CORAZON                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLORES, CORAZON                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FLORES, CORAZON                       PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FLORES, CYNTHIA                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                      STREET, SUITE PENSACOLA FL 32502
FLORES, DELFINA                       FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LUFF, PATRICK - DALLAS TX 75231
FLORES, DIANE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
FLORES, DIXIE                         GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FLORES, ESTHER                        SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                      07102-4573
FLORES, ESTHER                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
FLORES, ESTHER                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FLORES, ESTHER                        PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FLORES, HAYDEE                        ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                      77007
FLORES, HELEN                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLORES, JESSICA; GREEN; VIRGINIA      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                      ORANGE VA 02296
FLORES, KATHERINE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLORES, LEAH                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                      ORANGE VA 22960
FLORES, LEAH                          HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN


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Claim Name                             Address Information
FLORES, LEAH                           46290
FLORES, LINDA                          FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FLORES, LIZETH                         CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
FLORES, LOUIS S. & FLORES, BERTHA G.   MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                       YORK NY 10017
FLORES, MARIA                          DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
FLORES, MARIANNE                       WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
FLORES, MARYANN                        FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FLORES, MAXINE                         DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                       ANTHONY ST. LOUIS MO 63102
FLORES, MAXINE                         LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FLORES, MAXINE                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FLORES, NORMA                          CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
FLORES, OFELIA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
FLORES, PATRICIA                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FLORES, PAULA                          DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                       63102
FLORES, RACHEL                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
FLORES, RACHEL                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
FLORES, ROSALIE                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
FLORES, ROSALIE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                       STREET MONTGOMERY AL 36104
FLORES, SYLVIA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
FLORES, THERESA                        DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                       ANTHONY ST. LOUIS MO 63102
FLORES, THERESA                        LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FLORES, THERESA                        LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                       MANHATTAN BEACH CA 90266
FLORES, THERESA                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FLORES, THERESA                        ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                       S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
FLORES, TINA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
FLORES, TINA                           DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                       77024
FLORES, VERONICA                       DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                       63102
FLORES, VERONICA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
FLORES, YOLANDA                        DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 FLORES, YOLANDA
                                       WASHINGTON DC 20036
FLORES, YRANIA                         GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FLORES-ANANY, ESMERALDA                WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL


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Claim Name                       Address Information
FLORES-ANANY, ESMERALDA         NJ 08002
FLOREZ, ANITA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
FLOREZ, MELISSA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLOREZ, MELISSA                 THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
FLOW, ELVA                      MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
FLOWE, SHERRY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FLOWERS, ANN                    HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
FLOWERS, DENISE                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
FLOWERS, DONNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLOWERS, GLORIA                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
FLOWERS, LILLIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLOWERS, MARVIS                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
FLOWERS, MARY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FLOWERS, MARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FLOWERS, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLOWERS, MARY                   WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
FLOWERS, SAMANTHA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FLOWERS, SAMANTHA               GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
FLOWERS, SAMANTHA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLOWERS, SAMANTHA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FLOWERS, SAMANTHA               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FLOWERS, SHIRLEY                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FLOWERS, SHIRLEY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FLOWERS, TAMELA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLOWERS, TAMMY                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
FLOWERS, TRANSITA               NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
FLOYD, ALMA                     DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
FLOYD, AVA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FLOYD, BARBARA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FLOYD, BETTINA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FLOYD, DEBORAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLOYD, DIANA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLOYD, GLORIA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
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Claim Name                       Address Information
FLOYD, JEANE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FLOYD, JENNIFER                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FLOYD, JENNIFER                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
FLOYD, JENNIFER                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLOYD, JENNIFER                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FLOYD, JENNIFER                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FLOYD, PARIS                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
FLOYD, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLOYD, SANDRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLOYD, SYLVIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLOYD, VIVIAN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FLOYD, YOLANDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLOYD-TOBLER, ROSALYN           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FLUHARTY, BRENDA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FLUHARTY, BRENDA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FLUKER, MILDRED                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
FLUKER, ROSIE                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FLUNDER, JOANNE                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
FLURRY, ANGELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLYNN, CATHY                    THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
FLYNN, CATINA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FLYNN, CYNTHIA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FLYNN, CYNTHIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FLYNN, JANE                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
FLYNN, KAREN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FLYNN, LINDA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FLYNN, REGINA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FLYNN, REGINA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FLYNN, SUSAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FLYNN, SUSAN                    DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
FLYNT, FRANCES                  FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
FOARD, HELEN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FOCHT, ANNA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOCHTMAN, LISA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX


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Claim Name                       Address Information
FOCHTMAN, LISA                  77098
FODA, RANDA                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FODA, RANDA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FODA, RANDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FODA, RANDA                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FODA, RANDA                     PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
FODD, GAILTRICIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FODELL, NANCY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FODERA, DONNA                   SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
FODROCY, JEANNE                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
FOERSTER, CAROL                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FOGARTY, CARMINA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOGARTY, DOLORES                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FOGARTY, DOLORES                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FOGEL, LINDA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FOGEL, LINDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FOGG, CATHERINE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FOGLE, CAROL                    ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
FOGLE, CYNTHIA                  THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
FOGLE, DIANE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOGLE, ERNESTINE                HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
FOGLE, JOANNE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FOGLE, SHERYL                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
FOHN, ROSE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOISY, BERNADETTE               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FOLDS, BEVERLY                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
FOLEY, BRANDI                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FOLEY, HEIDI                    WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
FOLEY, SUSAN                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FOLEY-LANDRY, MARTHA            ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FOLEY-LANDRY, MARTHA            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FOLIGNO, PHYLLIS                COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
FOLIO, LORENTINA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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                                                     List
                                                         Entered 02/17/22 16:31:44           Desc Main
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Claim Name                          Address Information
FOLIO, LORENTINA                   75231
FOLIO, LORENTINA                   GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
FOLIO, LORENTINA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FOLKESTAD, RUTH                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOLKS, LENDA                       GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FOLKS, LORI                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOLSOM, NORMA                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
FOLSOM, NORMA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
FOLTZ, JEAN                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
FOLTZ, JENNY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOMBY, WILMAJEAN                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                   CHARLESTON WV 25301
FONCERRADA, PENNY                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FONDREN, SUSAN                     BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                   70130
FONDREN, SUSAN                     BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                   75202
FONDULIS, DEBRA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
FONNER, CYNTHIA                    WEITZ & LUXENBERG RELKIN, ELLEN & SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE
                                   210 CHERRY HILL NJ 08002
FONSECA, SONIA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
FONT, ANN                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
FONTAINE, BRIDGET                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                   PAUL MN 55101
FONTAINE, DEBORAH                  BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
FONTAINE, THERESA                  WEITZ & LUXENBERG RELKIN, ELLEN & SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE
                                   210 CHERRY HILL NJ 08002
FONTANA, LORRIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FONTANILLE, HOPE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FONTENOT, HEATHER                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FONTENOT, LINDA                    MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                   ORLEANS LA 70130
FOOTE, DAWN                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
FOOTE, LINDA                       THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
FOOTE, RUTH                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOOTMAN-DACIL, LEAHRE              BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                   ROBERT BRENT LOS ANGELES CA 90024
FOOTS, SONJA                       BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                   70130
FORBERG, SHIRLEY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FORBES, ANGELA                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
FORBES, BRENDA                     WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                   NJ 08002



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                                                      Entered 02/17/22 16:31:44           Desc Main
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FORBES, JANES                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FORBES, OPIE                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FORBES, REBECCA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FORCE, JODI                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FORCIER, NANCY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FORD, ANNA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FORD, BELINDA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FORD, DEANNA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FORD, DEANNA                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FORD, DENISE                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FORD, DENISE                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
FORD, DORIS                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FORD, ELIZABETH                 LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 03653
FORD, GLENDA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FORD, GLORIA                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
FORD, HILDA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FORD, IRENE                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
FORD, JESSIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FORD, KATHLEEN                  SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
FORD, LAVANDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FORD, LINDA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FORD, LYNDA                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FORD, MARRISSIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FORD, MARY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FORD, NEOLIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FORD, PAULETTE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
FORD, PRISCILLA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FORD, RUBASHUANA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FORD, SARAH                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FORD, TAMYKA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FORD, THELMA                    BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
FORD, TINA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FORD-KNIGHT, JULIETTA           MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
FORDE, ELLEN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                              Address Information
FORDHAM, PHYLLIS                       WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                       DALLAS TX 75219
FORDYCE, JOHNNIE                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
FORDYCE, JOHNNIE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
FORDYCE, KATHLEEN                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
FOREMAN, CHANTHONY                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                       MINNEAPOLIS MN 55402
FOREMAN, DEBORAH                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
FOREMAN, GEORGANNA                     SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                       94104
FOREMAN, JOANN                         WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
FOREST, HILDA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
FORET, ELOISE                          BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                       TX 75219
FORGAR, TERRY                          WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                       NJ 08002
FORGET, BARBARA                        ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FORGET, BARBARA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
FORLIVESI-AMARAL, LISA                 SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                       94104
FORMALEJO, TONI                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
FORMALEJO, TONI                        GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                       MINNEAPOLIS MN 55402
FORMALEJO, TONI                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FORMALEJO, TONI                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FORMALEJO, TONI                        PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FORMAN, CHARLENE                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                       STREET, SUITE 200 PENSACOLA FL 32502
FORMAN, JEAN                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
FORNEY, LULA                           POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
FORNEY, THERESA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
FORNWALT, PEGGY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FORREST, KATHY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FORREST, MILDRED                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
FORREST,V; GIESE,V; MARINO,D; VOGELER,S BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
FORREST,V; GIESE,V; MARINO,D; VOGELER,S ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FORREST,V; GIESE,V; MARINO,D; VOGELER,S THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FORREST,V; GIESE,V; MARINO,D; VOGELER,S PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FORRESTER, CAROLYN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FORRESTER, LAVERNE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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Claim Name                       Address Information
FORRESTER, LAVERNE              75231
FORRESTER, PATRICIA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FORRIDER, DONNA                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
FORSBERG, JESSICA               BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
FORSBERG, JESSICA               BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
FORSE, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FORSEY, PATRICIA                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
FORSHEE, DORIS                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FORSTER, GRACE                  LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
FORSTING, LINDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FORSTON, CARMEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FORSYTH, EMILY                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FORSYTH, EMILY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FORSYTHE, ANTOINETTE            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FORSYTHE, BARBARA               NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
FORSYTHE, DOROTHY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FORT, BETTY                     CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
FORT, BETTY                     BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
FORT, KATHRYN                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
FORTE, JOAN                     THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
FORTI, MARILYN                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FORTIER, DORIS                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FORTIER, SANDRA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FORTNER, GINA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FORTON, EVELYN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FORTS, GLORIA                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
FORTT, LOUISE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FORTUNATA LIBERATORE            MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
FORTUNATO, EILEEN               ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
FORTUNE, ERIN                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FORY, KAREN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOSELLA, CYNTHIA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296



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Claim Name                              Address Information
FOSS, KAREN                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
FOSSA, CONSTANCE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
FOSSELL, LINDA                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FOSTEESTATE, EDWIN OF C MCKNIGHT-FOSTER LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                        NJ 08648
FOSTER, ANISSA                         WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
FOSTER, BETTYE                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FOSTER, BONNIE                         GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                       MINNEAPOLIS MN 55402
FOSTER, BRANDY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOSTER, CATHY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
FOSTER, CATINNA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
FOSTER, CYNTHIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOSTER, DAWN                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
FOSTER, DEBORAH                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
FOSTER, DESIREE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOSTER, DIANNE                         DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
FOSTER, EVA                            GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FOSTER, GEORGIA                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
FOSTER, GERALDINE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOSTER, JANNIE                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
FOSTER, JEANIE                         THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                       ORLEANS LA 70130
FOSTER, JEANITTA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
FOSTER, JOYCE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOSTER, KAREN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOSTER, KRISTEN                        BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                       70130
FOSTER, KRISTINA                       SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                       77098
FOSTER, LINDA                          COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                       INDIANAPOLIS IN 46204
FOSTER, LINDA                          DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                       ANTHONY ST. LOUIS MO 63102
FOSTER, LINDA                          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FOSTER, LINDA                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FOSTER, LISA                           ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
FOSTER, LIZZIE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOSTER, LOTTIE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
FOSTER, LOTTIE                  MEADOWS, TED G. MONTGOMERY AL 36104
FOSTER, LOTTIE                  KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
FOSTER, MAGGIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FOSTER, MYRNA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FOSTER, NANCY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOSTER, NICOLE                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
FOSTER, PAMELA                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
FOSTER, ROBIN                   MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
FOSTER, SHERI                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
FOSTER, STACEY                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FOSTER, SYLVIA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
FOSTER, TAMMY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FOSTER, TRACY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FOSTER, VICKI                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
FOSTER, VICKI                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FOSTER, VICKI                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FOSTER, VIRGINIA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FOSTER, VIRGINIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FOSTER, ZIPPORAH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FOSTER, ZIPPORAH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOSTER, ZIPPORAH                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FOSTER, ZIPPORAH                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FOUCHIE, TAMMY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOULKES, SUZANNE                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FOUNTAIN, CASSANDRA             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FOUNTAIN, JANICE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOURNIER, M                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FOURNIER, M                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FOURNIER, MONIQUE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FOURNIER, REBECCA               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FOUST, DIANNA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FOUST, GLADYS                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FOUST, KAREN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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                                         LTL Management LLC
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Claim Name                         Address Information
FOUST, LETITIA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
FOUT, DIANNA                      THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                  CHARLESTON WV 25301
FOUT, JEANNIE                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                  ORANGE VA 02296
FOWLE, KAREN                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
FOWLE, KAREN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOWLE, KAREN                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FOWLE, KAREN                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FOWLER, AZAZIAH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOWLER, BRENDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOWLER, CHERYL                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
FOWLER, CHERYL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOWLER, CHERYL                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FOWLER, CHERYL                    PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
FOWLER, DAWN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOWLER, DIANE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOWLER, FAITH                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
FOWLER, FAITH                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                  MINNEAPOLIS MN 55402
FOWLER, FAITH                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOWLER, FAITH                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FOWLER, FAITH                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FOWLER, GAIL                      COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
FOWLER, JULIE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
FOWLER, LAURA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
FOWLER, LISA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOWLER, MARY                      GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                  MINNEAPOLIS MN 55402
FOWLER, MARY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOWLER, MARY                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FOWLER, MARY                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FOWLER, MOLLY                     HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                  63101
FOWLER, NINA                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FOWLER, PENNY                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                  STREET, SUITE PENSACOLA FL 32502
FOWLER, SHERI                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
FOWLER, VICKIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOX, ANGELA                       WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                  NJ 08002
FOX, ANN                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
FOX, BONNIE                       TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                  62025


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Claim Name                          Address Information
FOX, CAROLYN                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
FOX, CYNTHIA                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
FOX, DEBORAH                       GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FOX, DEBRA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOX, ELDA                          CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
FOX, HELEN                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
FOX, HELEN                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
FOX, JACQUELINE                    GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
FOX, JACQUELINE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
FOX, JEANETTE                      MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
FOX, JOANN                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
FOX, KATHLEEN                      BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                   TX 75219
FOX, LORRANIE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
FOX, LORRIANE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOX, MARIE                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
FOX, MARJORIE                      POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
FOX, MEGAN                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FOX, MELINDA                       WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
FOX, MELISSA AND FOX, MICHAEL      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                   HILL NJ 08002
FOX, PAM                           ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
FOX, SARAH                         BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                   70130
FOX, SARAH                         BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                   75202
FOX, STEPHANIE                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                   EVAN D. EDWARDSVILLE IL 62025
FOX, SUSAN                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
FOX, SUSAN                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
FOX, TERESA                        MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                   KNOXVILLE TN 37929
FOX, TERESA                        DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                   77024
FOX, VANESSA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
FOX, VANESSA                       GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
FOX, VANESSA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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FOX, VANESSA                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FOX, VANESSA                       PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FOX, YVETTE                        ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                   ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
FOXWELL, ROSE                      JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                   PAUL MN 55101
FOXWORTH, RAYLETTE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOXWORTH, THERESA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FOY, IOLA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
FRACASSE, ANNIE                    REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J EPHRON,
                                   MELISSA HOUSTON TX 77027
FRAGA, CARRIE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRAILEY, FONG-LING                 JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                   77098
FRALEY, DOLLY                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
FRANCE, KATHLEEN                   BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                   CA 92660
FRANCES COSTLEY                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
FRANCES GARMAN                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
FRANCES SKITZKI                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                   STREET, SUITE 200 PENSACOLA FL 32502
FRANCES-JONES, BRENDA              MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                   ORLEANS LA 70130
FRANCESCHINI, CATHLEEN             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRANCESE, PHYLLIS                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRANCHI, FRANCESCA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRANCINE CAMPBELL                  DAVIS, BETHUNE & JONES, L.L.C. DAVIS, GRANT L. 1100 MAIN STREET, SUITE 2930
                                   KANSAS CITY MO 64196
FRANCIS, AISHA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
FRANCIS, ANNIE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
FRANCIS, CHRISTINA                 THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                   AZ 08501
FRANCIS, CRYSTAL                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FRANCIS, DONNA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
FRANCIS, EVELYN                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
FRANCIS, FLORENCE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRANCIS, KATHLEEN                  HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
FRANCIS, MIKE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
FRANCIS, NELDA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
FRANCIS, SUSAN                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
FRANCIS, WANDA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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Claim Name                         Address Information
FRANCIS, WANDA                    75231
FRANCISSIMPIER, MORGAN            WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                  NJ 08002
FRANCK, NENITA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRANCO, ANITA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRANCO, CLAUDIA                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                  63102
FRANCO, GLADYS                    WATERS & KRAUS, LLP MACLEAN, LESLIE - 3141 HOOD STREET, STE 700 DALLAS TX
                                  75219
FRANCO, JULIE                     BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                  CA 92660
FRANCO, MISTI                     WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                  NJ 08002
FRANCOIS, CARLA                   WEITZ & LUXENBERG RELKIN, ELLEN & SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE
                                  210 CHERRY HILL NJ 08002
FRANCUCK, JANET                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
FRANGOS, PATRICIA                 MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                  TAMPA FL 33602
FRANK, DEBRA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
FRANK, ERIN                       GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                  PA 19102
FRANK, ERIN                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
FRANK, ERIN                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRANK, ERIN                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FRANK, ERIN                       PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FRANK, ERIN                       LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                  NICHOLAS HIGHTOWER, KRISTIE LAKE CHARLES LA 70601
FRANK, JOANNE                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                  YORK NY 10017
FRANK, JOANNE                     THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                  CHARLESTON WV 25301
FRANK, JOHNNA                     THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
FRANK, JULIE                      ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                  ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
FRANK, LISA L. EST OF JUDITH      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
BLANKSCHAEN                       NJ 08648
FRANK, LOTTIE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
FRANK, MARY                       ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FRANK, MARY                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
FRANK, RACHEL                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRANK, SHARON                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRANKE, JANET                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
FRANKHAUSER, PAULA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FRANKLIN, AMANDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
FRANKLIN, ANGELA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY



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Claim Name                        Address Information
FRANKLIN, ANGELA                 11747
FRANKLIN, BRITTIE                BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
FRANKLIN, CYNTHIA                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FRANKLIN, DIANA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRANKLIN, DONNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRANKLIN, ELOISE                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FRANKLIN, ELVA                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                 SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
FRANKLIN, FELICIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
FRANKLIN, JEAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRANKLIN, JESSIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRANKLIN, KRISTINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRANKLIN, LAYNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRANKLIN, LINDA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FRANKLIN, LINDA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                 EMILY FAIRFAX VA 22031
FRANKLIN, LOIS                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
FRANKLIN, MARLENE                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                 63102
FRANKLIN, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRANKLIN, OLA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
FRANKLIN, PAMELA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRANKLIN, RUTH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRANKLIN, SALLY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRANKLIN, SHERRY                 MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
FRANKLIN, SONIA                  HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                 AL 03520
FRANKLIN, TERESA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRANKLIN, VERONICA               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                 ANTHONY ST. LOUIS MO 63102
FRANKLIN, VERONICA               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FRANKLIN, VERONICA               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                 ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FRANKLIN, WAVERLYNN              THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                 CHARLESTON WV 25301
FRANKLIN-JACKSON, SHARINESE      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FRANKLIN-KNIGHT, PENNY           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
FRANKOSKI, LISA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FRANKS, LEANANI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRANKS, QUANDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRANS, ANITA                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                 YORK NY 10017
FRANTZ, BARBARA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
FRANTZ, KAREN                    MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                 YORK NY 10017
FRANTZ, MARY                     DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                 63102

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Claim Name                       Address Information
FRANULOVICH-MARTIN, TINA        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
FRANZ, CATHERINE                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
FRANZ, MARJORIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FRANZEN, BARBARA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FRANZEN, BARBARA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FRASCA, JANINE                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
FRASER, LAURA                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
FRASER, NICHOLE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FRASER, NICOLE                  MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
FRASER, NICOLE                  KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
FRASURE, SHAUNA                 TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
FRATANTARO, LUCIA               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FRATANTARO, LUCIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FRAUSTO, BEATRIZ                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FRAUSTO, BEATRIZ                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRAUSTO, BEATRIZ                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FRAUSTO, BEATRIZ                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FRAUSTO, BEATRIZ                PORTER & MALOUF, PA P.O. BOX 12768 HARRIS, LAUREL LI GIVENS, JOHN T. JACKSON
                                MS 39236-2768
FRAUSTO, BEATRIZ                SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
FRAZEE, ELIZABETH               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
FRAZER PLC                      30 BURTON HILLS BLVD #450 MCMURTRAY P MCMURTRAY, P HOOVER, T FRAZER II
                                NASHVILLE TN 37215
FRAZER, THERESA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
FRAZIER, AGNES                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRAZIER, BERTHA                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
FRAZIER, BETTY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRAZIER, CAROL                  DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
FRAZIER, DEBORAH                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FRAZIER, ELLA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRAZIER, GEORGIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FRAZIER, HEATHER                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FRAZIER, JENNIFER               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098



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Claim Name                       Address Information
FRAZIER, JUDITH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRAZIER, KATRINA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRAZIER, KELLY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRAZIER, KHADIJA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRAZIER, LAVERNE                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FRAZIER, LUANN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FRAZIER, PAMELA                 ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
FRAZIER, SADIE                  HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
FRAZIER, SANDRA                 EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
FRAZIER, SANDRA                 SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
FRAZIER, TONIA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
FRAZIER, TONIA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FRAZIER, TONIA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FRAZIER, TONYA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FRAZIER, TONYA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FRAZIER, YOLAND                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FREDELL, SALLY                  NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
FREDENBURGH, LEONORA            GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FREDERIC, SONJA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FREDERICK, ALICIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FREDERICK, AMY                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FREDERICK, AMY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FREDERICK, AMY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FREDERICK, AMY                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FREDERICK, AMY                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
FREDERICK, JENNIFER             NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
FREDERICK, JUANITA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FREDERICK, KIMBERLY             DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
FREDERICK, MARTHA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FREDERICK, NANCY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FREDERICK, SHERRI               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FREDERICKS, KATHLEEN            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FREDERICKS, LINDA               GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017



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FREDERICKS, ROBERTA             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FREDRICK, CAROL                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
FREDRICK, LINDA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FREDRICKS, LISA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FREDRICKSON, MELISSA            ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FREDSALL, GLORIA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
FREE, LINDA                     NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
FREEBURG, SHAUN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FREELAND, CHARLOTTE             JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
FREEMAN, ALETHA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FREEMAN, BELINDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FREEMAN, BELINDA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FREEMAN, BENNETTA               KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
FREEMAN, BENNETTA               LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
FREEMAN, BETTY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FREEMAN, BLANCHE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FREEMAN, CARMEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FREEMAN, COLEEN                 PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
FREEMAN, DARLENE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FREEMAN, DONNARAE               MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
FREEMAN, EMERALD                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FREEMAN, GLORIA                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
FREEMAN, JACQUELYN              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FREEMAN, JEANETTE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FREEMAN, JESSICA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FREEMAN, JOYCE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FREEMAN, JULIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FREEMAN, KIM                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FREEMAN, KIM                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FREEMAN, KIM                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FREEMAN, KIM                    PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
FREEMAN, KIMBERLEY              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
FREEMAN, KIMBERLY               BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
FREEMAN, KIMBERLY               BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
FREEMAN, LANEICE                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
FREEMAN, LINDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
FREEMAN, LINDA                  75231
FREEMAN, MARY                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
FREEMAN, MARY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FREEMAN, MARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FREEMAN, MELANIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FREEMAN, PAMELA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FREEMAN, PAMELA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FREEMAN, ROBERTA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FREEMAN, SANDRA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FREEMAN, SANDRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FREEMAN, SANDRA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FREEMAN, SANDRA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FREEMAN, TERREZ                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FREEMAN, VICTORIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FREEMAN, VIRGINIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FREEZE, IRENE                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
FREGER, VICTORIA                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
FREGER, VICTORIA                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FREGER, VICTORIA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FREIBURGER, BARBARA             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FREIDA, ANNAMARIE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FREIDA, ANNAMARIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FREIDA, ANNAMARIE               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FREIDA, ANNAMARIE               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FREIER, CATHERINE               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
FREITAS, PHYLLIS                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FREITAS, PHYLLIS                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FREITAS, PHYLLIS                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FRELIGH, AMY                    WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
FRELIX, SANDRA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FREMOUNT, MICHELLE              DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
FREMOUNT, ROSALYN               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
FRENCH, CLARA                   SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
FRENCH, CYNDEE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRENCH, DIANA                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.


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Claim Name                       Address Information
FRENCH, DIANA                   PAUL MN 55101
FRENCH, GENEVA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FRENCH, GLENDA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
FRENCH, JEANNE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FRENCH, PAMELA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FRENCH, SHARON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRENCH, TERESA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FRENDO, MELISSA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRERES, REGINA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRERICHS, MARLENE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FREUDENTHAL, JENNIFER           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
FREW, ELIZABETH                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
FREY, JANICE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRIAS, GIANNA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
FRICK, KAREN                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
FRICK, KAREN                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FRICK, KAREN                    LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
FRICK, KAREN                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FRICK, KAREN                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
FRIE, ROSALIE                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
FRIE, ROSALIE                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FRIE, ROSALIE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FRIED, SANDRA                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
FRIEDMAN, MADELINE              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
FRIEDRICH, ELIZABETH            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRIEDRICH, LILLIAN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRIEND, DARLENE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FRIEND, DARLENE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRIEND, DARLENE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FRIEND, DARLENE                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
FRIEND, DARLENE                 SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
FRIEND, GLENNA                  POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
FRIEND, MARLENE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                          Address Information
FRIEND, MARLENE                    MEADOWS, TED G. MONTGOMERY AL 36104
FRIGON, MICKEY                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
FRISBIE-JONES, ANITA               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
FRISBY, PATRICIA                   SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                   94104
FRISCHOLZ, RUTH                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
FRISCO, CARIN                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
FRISSORA, ANNETTE                  WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                   HILL NJ 08002
FRITSON, MARY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRITZ, DARLENE                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
FRITZ, ELIZABETH                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
FRITZ, SHEILA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRITZ, TANYA                       GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FRIZELL, CHEREE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRIZELL, MARLENE                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
FROCK, MEGHAN                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FROELICH, LEONA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
FROGGE, PATRICIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
FRONCHECK, SHARON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRONK, SUZANNE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
FROST, CHRISTINE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FROST, CHRISTINE                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
FROST, ELLEN                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
FROST, FU-CHYUNG                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
FROST, MARY                        DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102
FROST, SHERRI                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
FROST-PEMBERTON, ELIZABETH         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FROTHINGHAM, TONI                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
FROWNFELTER, PATRICIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRUCIANO, MARIA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
FRUGE, ASHLEY                      MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                   ORLEANS LA 70130
FRY, JOAN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRY, LAURA                         CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY



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Claim Name                          Address Information
FRY, LAURA                         14202-3725
FRY, ROXY                          BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                   CA 92660
FRY, SALLY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRYE, CECELIA                      THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                   CHARLESTON WV 25301
FRYE, KAREN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRYE, KATHLEEN                     JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                   PAUL MN 55101
FRYE, KATHY                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
FRYE, KATHY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
FRYE, SARAH                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
FRYE-MORAGNE, ANN                  CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 RIDDLE, KRISTOFER
                                   S. CHICAGO IL 60602
FRYE-POE, LANA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FRYER, KIMBERLY                    BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                   ROBERT BRENT LOS ANGELES CA 90024
FRYMIRE, ELIZABETH                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                   70130
FRYREAR, TAMMY                     DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102
FUCHS, SANDRA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FUDGE-HITE, FLORENCE               THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
FUECHSEL, BARBARA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                   77098
FUEL, LOYA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FUENTES, PATSY                     SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                   07102-4573
FUGATE, ANITA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FUGATE, VONDA                      DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                   ANTHONY ST. LOUIS MO 63102
FUGATE, VONDA                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FUGATE, VONDA                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FUGIEL, DEBRA                      CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                   CHICAGO IL 60602
FUGLER, BRENDA                     MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                   KNOXVILLE TN 37929
FUHRMAN, MARGARETE                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102
FUJII, KRYSTAL                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
FULEP, KAREN                       WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
FULFER, WANDA                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FULGIONE, ELEANOR                  HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                   AL 03520
FULK, NANCY                        SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
FULKERSON, CHRISTINA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007



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Claim Name                       Address Information
FULKERSON, ELRINA               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FULKERSON, ELRINA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FULKERSON, PHOEBE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FULLARD, FELISHA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FULLEM, GEORGIA                 BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
FULLEN, RICHARD W               MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                YORK NY 10017
FULLER, CHERYL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FULLER, DEBORAH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FULLER, DIANNA                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
FULLER, GLORIA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FULLER, JESSICA                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
FULLER, KARLA                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
FULLER, KATHLENE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FULLER, LILLIE                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
FULLER, LYNN                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FULLER, LYNN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FULLER, NANCY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FULLER, OTHELLA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FULLER, PATRICIA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
FULLER, PEARL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FULLER, ROBIN                   MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
FULLER, SHERRY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FULLER, SHIRLEY                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
FULLER, SUSAN                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
FULLER, TAMBRIA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FULLER, THRESIA                 LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                NICHOLAS LAKE CHARLES LA 07060
FULLER, TIPPHANY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FULLER-CROUCH, LEAH             LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FULLERTON, ANN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FULLERTON, ESTELITA             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FULLMORE, MIA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR. MARK P. KAR NEWPORT BEACH CA 92660


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Claim Name                       Address Information
FULMER, DEBORAH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FULMER, SHIRLEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FULP, CHRISTY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FULTON, ANNIE                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
FULTON, ANNIE                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
FULTON, DOLORES                 NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
FULTON, HOLLI                   MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
FULTON, HOLLI                   KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
FULTON, JUDITH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FULTON, TARITA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FULTON, WINIFRED                COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
FULTZ, DAWNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FUNDERBURK, ANNIE               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FUNDERBURK, ANNIE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FUNDERBURK, DORA                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
FUNDERBURKE, DEBORAH            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
FUNES, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FUNG, MARY                      BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
FUNT, CAROLINE                  WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
FUOCCO, CHARLENE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FUOCCO, CHARLENE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FUOCCO, CHARLENE                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FUOCO, CHARLENE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FUOCO, CHARLENE                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
FUOCO, CHARLENE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FUOCO, CHARLENE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
FUOCO, CHARLENE                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
FUOSS, BRENDA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
FUQUA, DENISE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FUQUAY, SHIRLEY                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
FUQUAY, SHIRLEY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FURBY, REVA                     LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET KOHRS, NICHOLAS HIGHTOWER,
                                KRISTIE LAKE CHARLES LA 07060
FURHMAN, DENISE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
FURIA, MARINA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
FURLONG, CRYSTAL                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                        Address Information
FURLONG, CRYSTAL                 75231
FURMAN, BETZY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FURNISH, DEBORAH                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                 EMILY FAIRFAX VA 22031
FURY, JANICE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FUSARO, CARMELA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                 14202-3725
FUSCO, REGINA                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
FUSEK, BETSY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FUSELIER, KIMBERLY               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                 EMILY FAIRFAX VA 22031
FUSELIER, KIMBERLY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
FUSELLO, KRISTIN                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                 14202-3725
FUSON, DONNA                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                 ORANGE VA 02296
FUSON, JUDITH                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FUSSELL, JOSEPHINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
FUST, CAROL                      CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                 GA 30009
FUST, CAROL                      BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                 30060
FUTADO, MICHELLE                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                 BOUNDAS, JOHN T. HOUSTON TX 77017
FUTCH, LESLIE                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                 ANTHONY ST. LOUIS MO 63102
FUTCH, LESLIE                    LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                 MANHATTAN BEACH CA 90266
FUTCH, LESLIE                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
FUTCH, LESLIE                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                 & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
FUTCH, LESLIE                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                 ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
FUTCH, TAMMY                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                 ORANGE VA 02296
FUTERMAN, DIANE                  MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
FUZESSY, SHARON                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                 EMILY FAIRFAX VA 22031
FYHRIE, DEBORAH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
FYLER, BEVERLY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                 77007
FYOCK, PATRICIA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                 77098
GAAL, TAMARA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
GABBARD, PENELOPE                BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
GABBERT, ROBIN                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                 11747
GABBERT-ROBERTSON, MARVALEE      HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                 63101



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Claim Name                       Address Information
GABBITAS, ERMA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GABEL, MARY                     HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
GABLE, BRENDA                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
GABLE, ERNESTINE                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GABLE, JADE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GABLE, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GABLER, DEBORAH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GABLER, SUSAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GABREE, LAURA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GABRIEL, DEBORAH                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GABRIEL, DEBRA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GABRIEL, DEBRA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
GABRIELE, ALICE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GABRIELE, CARMELA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GABRIELE, CARMELA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GABRIELE, CARMELA               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GABRION, LUCINDA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GABRISZESKI, NANCY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GABUTIN, ROSALINA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GACCETTA, WANDA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GADBERRY, MARY                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GADD, DONNA                     FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
GADD, DONNA                     LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
GADDIE, BRENDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GADDY, DENICKA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GADFIELD, MERRY                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
GADSDEN, MINNIE                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GADSON, CAROLYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GADSON, OCTAVIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GADSON, ROSE                    LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET HIGHTOWER, KRISTIE LAKE
                                CHARLES LA 07060
GAETAN, BRENDA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GAFFEY, CHERYL                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GAFFEY, KATHLEEN                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GAFFNEY, ALEEN                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196


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Claim Name                              Address Information
GAFFNEY, CHRISTINE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAFFNEY, KAYLA                         SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
GAFFNEY, MYRNA                         ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                       WASHINGTON DC 20006
GAFFNEY, MYRNA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                       STREET MONTGOMERY AL 36104
GAFFORD, MARY                          MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                       ORLEANS LA 70130
GAGE, HATTIE                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
GAGE, HAZEL                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
GAGE, LINDA                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
GAGLIANO, FRANCES                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
GAGLIARDI, MARY                        MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
GAGLIARDI, ROSALIA AND GAGLIARDI,      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
ENRICO                                 NJ 08648
GAGLIARDI, THERESA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
GAGLIARDI-JEAN, MARIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAGNE, SUSAN                           WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
GAGNON, GEORGEANNE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
GAGNON, GEORGEANNE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAGNON, GEORGEANNE                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GAIGL, CHRISTINE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAIL CHAVIS                            ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119
GAIL JOHNSON                           FLETCHER V. TRAMMELL BINSTOCK, MELISSA & TRAMMELL, FLETCHER V 3262 WESTEIMER,
                                       SUITE 423 HOUSTON TX 77098
GAINES, AGNES                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAINES, BESSIE                         MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                       YORK NY 10017
GAINES, CATHERINE                      BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
GAINES, CELESTE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
GAINES, CLAUDETTE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAINES, GWENDOLYN                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GAINES, HEATHER                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                       77098
GAINES, LYNN                           ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
GAINES, PEARL                          CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
GAINES, SHARI                          BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
GAINES-DANIEL, JULIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAINEY, AMANDA                         WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
GAINEY, JEANETTE                       THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                       CHARLESTON WV 25301



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Claim Name                       Address Information
GAINEY, MARY                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GAIR-LEVIN, KATHLEEN            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAITANOS, PATRICIA              THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
GAITER, KAREN                   WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
GAIUS, PEGGY                    POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
GAJAFSKY, JESSICA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GALADE, DEBORAH                 WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
GALANIS, TEDDI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GALANTE, LINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GALANTI, JANET                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GALANTO, SYLVIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GALAT, PAMELA                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
GALAT, PAMELA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GALAT, PAMELA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GALATI, ANNA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GALAVIZ, MARIA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GALAYDA, EDITH                  TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
GALBIS, ELY                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GALBREATH, BETTY                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
GALBREATH, MARY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GALBRETH, JUDY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GALDAMEZ, YESENIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GALE, DEBRA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GALEANO, IRMA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GALES, ANGELA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GALES, LATONYA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GALIAZZI, MARIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GALIAZZI, MARIE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GALIAZZI, MARIE                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GALIMORE, DEBRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GALINDO, CLARA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GALINDO, NOREEN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GALINDO, PATRICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GALL, MARY                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GALLAGHER, ANTONIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GALLAGHER, CECELIA              DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX


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Claim Name                       Address Information
GALLAGHER, CECELIA              77024
GALLAGHER, CELIA                DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
GALLAGHER, JANETTA              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
GALLAGHER, MELISSA              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GALLAGHER, MELISSA J            CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GALLAGHER, RACHEL               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GALLAGHER, RACHEL               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GALLAGHER, REGINA               THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
GALLAGHER, RUTHANNE RHODES      HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
GALLAGOS, BEVERLY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GALLANT, ANNA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GALLARDO, ANNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GALLATY, DEBRA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GALLATY, DEBRA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GALLAUGHER, RENE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GALLEGOS, ANNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GALLEGOS, GINA                  PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
GALLEGOS, JACQUELINE            GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
GALLEGOS, JOSEFINA              WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
GALLEGOS, KIM                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GALLEGOS, TERESA                MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
GALLEY, MARIE                   SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
GALLIA, KAREN                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
GALLIMORE, AIMEE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GALLINARO, MARY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GALLNITZ, ELIZABETH             ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GALLO, ELIZABETH                COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
GALLO, MARIA                    BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
GALLO, SUSAN                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GALLOT, CASSANDRA               MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
GALLOW, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GALLOWAY, BEVERLY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GALLOWAY, LUELLA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GALLOWAY, ROXIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GALLOWAY, YVONNE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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GALLOWAY, YVONNE                MEADOWS, TED G. MONTGOMERY AL 36104
GALLOWAY, YVONNE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GALLOWAY, YVONNE                KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
GALLUP, REGINA                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
GALLUP, SANDRA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GALLUP, SANDRA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GALOVSKI, MIRJANA               DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GALPIN, JANE                    WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
GALVAN, IRMA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GALVEZ, APRIL                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GALVEZ, NORMA                   WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
GAMACHE, REID                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GAMAGE, JANICE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GAMAUNT, JOANNE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GAMAUNT, JOANNE                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
GAMAUNT, JOANNE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAMAUNT, JOANNE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GAMAUNT, JOANNE                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GAMBEL, LYNNE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GAMBEL, LYNNE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GAMBINO, CHRISTINA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GAMBINO, CHRISTINA              KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
GAMBINO-PELUSO, ANTONIA         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAMBLE, FRANCINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAMBLE, SARAH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAMBLE, WILLA                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
GAMBLES, TAMATHA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAMBLIN, MARY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GAMBLIN, VERONA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GAMBOA, ADRIANA                 BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
GAMBOE, MARGARET                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GAMBREL, SUSIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAMER, PATRICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GAMEZ, CRYSTAL                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
GAMEZ, DANIELLE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                       Address Information
GAMEZ, DANIELLE                 75231
GAMEZ, FRANCES                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAMIERE, PATRICIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GAMMELL, LORI                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GANGE, ANNMARIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GANIERE, THERESA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GANLEY, SUSAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GANN, DOROTHY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GANN, JENNIFER                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GANN, SHERRY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GANN, SHERRY                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
GANN, SHERRY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GANN, SHERRY                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GANN, SHERRY                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GANSBERG, JEFFREY               NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
GANSKY-STEVENS, MARY            WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
GANTT, ADRIAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GANTT, SYLVIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GANTZ, PATRICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GANZ, JANICE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GAPAC, SUSAN                    FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LUFF, PATRICK - DALLAS TX 75231
GAPPMAYER, KAREN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GARABEDIAN, ANNE                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GARAFALO, DALE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GARAVAGLIA, AMANDA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GARBER, ELLEN                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GARBER, MICHELLE                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GARBETT, PAMELA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GARBRECHT, MELISSA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GARCES, ELOISA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GARCES, JESSICA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARCIA, ADELA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GARCIA, ANA                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025



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Claim Name                       Address Information
GARCIA, ANNETTE                 THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
GARCIA, ANNMARIA                WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
GARCIA, BERTHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARCIA, BERTHA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GARCIA, BETTY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
GARCIA, BLANCA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARCIA, CARMEN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GARCIA, CAROLA                  HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
GARCIA, CHRYSIAN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GARCIA, CONNIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARCIA, CONNIE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GARCIA, DEBBIE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GARCIA, DEBRA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GARCIA, DEE                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
GARCIA, DEIDRE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GARCIA, DINAH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARCIA, DOLORES                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARCIA, EDWARD AND LISA         WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
GARCIA, ELIDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARCIA, ELISA                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
GARCIA, ELISA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GARCIA, ELIZABETH               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GARCIA, ELIZABETH               DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
GARCIA, ERLINDA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GARCIA, ERLINDA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
GARCIA, ESTER                   WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
GARCIA, GRACIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARCIA, GUADALUPE               DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
GARCIA, GUADALUPE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARCIA, HILDA                   MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
GARCIA, JENNIFER                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARCIA, JENNY                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
GARCIA, JOLYNN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231



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Claim Name                       Address Information
GARCIA, JOSEPHINE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GARCIA, JUANA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GARCIA, KIM                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GARCIA, KIM                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
GARCIA, KIM                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARCIA, KIM                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GARCIA, KIM                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GARCIA, LAURIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GARCIA, LAURIE                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
GARCIA, LILLIAN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GARCIA, LILLIAN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARCIA, LILLIAN                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GARCIA, LILLIAN                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
GARCIA, LILLIAN                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GARCIA, LINDA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GARCIA, LUPE                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
GARCIA, MARIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARCIA, MARIA                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
GARCIA, MARIA V                 MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                YORK NY 10017
GARCIA, MARLENE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARCIA, MARY                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GARCIA, MERCEDES                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARCIA, MIDIAM                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
GARCIA, MINERVA                 SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
GARCIA, NORA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GARCIA, NORMA                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GARCIA, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARCIA, PEGGY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GARCIA, PERCY                   CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
GARCIA, RALPH                   MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                YORK NY 10017
GARCIA, REBECCA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
GARCIA, REBECCA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARCIA, REBECCA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GARCIA, REBECCA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660


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                                                       List
                                                           Entered 02/17/22 16:31:44           Desc Main
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Claim Name                            Address Information
GARCIA, ROSA                         DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                     KANSAS CITY MO 64196
GARCIA, ROSARIO                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARCIA, SHEILA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARCIA, SOL                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARCIA, STEPHANIE                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                     YORK NY 10017
GARCIA, STEPHANIE                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                     77098
GARCIA, SYLVIA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARCIA, TAMMY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
GARCIA, TAMMY                        GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                     MINNEAPOLIS MN 55402
GARCIA, TAMMY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARCIA, TAMMY                        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                     STREET, SUITE PENSACOLA FL 32502
GARCIA, TAMMY                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GARCIA, TAMMY                        PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GARCIA, TERESA                       ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                     77007
GARCIA, TERESA                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GARCIA, TERESITA                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                     YORK NY 10017
GARCIA, VERA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARCIA, VERONICA                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                     YORK NY 10017
GARCIA, VERONICA                     LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                     SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
GARCIA, YOHANY                       NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                     PR 00918
GARCIA, ZAIDA                        DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GARCIA,JENNIFER GARCIA & EST OF      GARCIA, MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23
HIPOLITO                             FLOOR NEW YORK NY 10017
GARCIA-FERRY, LINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
GARCIA-FERRY, LINDA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GARCIA-FERRY, LINDA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                     ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GARCIA-LUNA, NOLI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARDINER, MILDRED                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARDINER, MILDRED                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GARDINER, MILDRED                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GARDNER, ANNA                        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GARDNER, ANNIE                       DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                     63102
GARDNER, BARBARA                     DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                     63102
GARDNER, CHERYL                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
GARDNER, DANIELLE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARDNER, DIXIE                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                       Address Information
GARDNER, DIXIE                  75231
GARDNER, DORIS                  FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
GARDNER, ELIZABETH              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GARDNER, GAYLE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GARDNER, GERTHA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GARDNER, LINDA                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
GARDNER, MELODY                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GARDNER, MLISSA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GARDNER, MLISSA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARDNER, MLISSA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GARDNER, MLISSA                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
GARDNER, PATRICIA               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
GARDNER, PEGGY                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GARDNER, PENNY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GARDNER, SHEENA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GARDNER, TRACY                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GARDNER, TRACY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GARDNER, VALERIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GARDUNO, CYNTHIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARFIELD, EMILEE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GARFOOT, ELIZABETH              JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
GARGALA, JANICE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARGES, JENNIE                  MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
GARISON, DEBORAH                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GARLAND, LADONNA                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
GARLAND, PATRICIA               SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
GARLAND, ROBIN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GARLAND, SOPHIA                 WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
GARLINGTON, VERA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARLOCK, YVONNE                 BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
GARLOCK, YVONNE                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 NEW ORLEANS LA 70130
GARMAN, GEORGIA                 MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
GARMON, CRYSTAL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARMOND, LATRICIA               DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102


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Claim Name                       Address Information
GARNER, CHRISTINA               HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
GARNER, ELAINE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GARNER, ELAINE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GARNER, EMILY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARNER, JANETTE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GARNER, KAREENA                 CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
GARNER, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARNER, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARNER, PAULA                   ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                WASHINGTON DC 20006
GARNER, PAULA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
GARNER, SHERLAND                SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
GARNER, TINA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARNER, WILMA                   NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
GARNES, LISA                    BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
GARNETT, DOROTHY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARNETT, DORTHEY                MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
GARNETT, DORTHEY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GARONZIK, DIANE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARONZIK, LILLIAN               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GAROZZO, NANCY                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GARRARD, KATHY                  HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
GARRATT, GAIL                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
GARREN, GLORIA                  WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
GARRETSON, JANE                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GARRETSON, JANE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GARRETT, CHARLESETTA            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GARRETT, CRYSTAL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARRETT, DEBRA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GARRETT, FANNIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GARRETT, JOYCE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARRETT, JUANITA                ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
GARRETT, JUANITA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
GARRETT, LYNN                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GARRETT, MARY                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
GARRETT, PATRICIA               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
GARRETT, PATRICIA               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GARRETT, PATRICIA               LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
GARRETT, PATRICIA               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GARRETT, PATRICIA               ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
GARRETT, RACHEL                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GARRETT, RITA                   THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
GARRETT, VERONICA               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GARRICK, CHANTEL                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GARRISON, CATHERINE             ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GARRISON, DARCY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GARRISON, EILEEN                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GARRISON, GENEVA                LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                NICHOLAS LAKE CHARLES LA 07060
GARRISON, JILL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARRISON, VICKI                 PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
GARRITSON, LORENA               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GARRITY, KATHRYN                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GARROW, MELISSA                 LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
GARSKO, PAMELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARTH, MAGGIE                   BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
GARVEY, CYNTHIA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GARVIN, DENISE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARWOOD, DIANE                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
GARY, PATRICIA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GARY, PATRICIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GARY, PATRICIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARZA, ANA                      BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
GARZA, DIANA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GARZA, DIANA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402


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Claim Name                       Address Information
GARZA, DIANA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARZA, DIANA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GARZA, DIANA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GARZA, FRANCES                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GARZA, JANIS                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
GARZA, JENNIFER                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GARZA, JORGE                    WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
GARZA, LILLIAN                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
GARZA, MARIA                    BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
GARZA, MARJORIE                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GARZA, SANDRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GASBARRO, JOANN                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GASBARRO, JOANN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GASCON, ANDREA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GASE, CHARLENE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GASE, CHARLENE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GASKIN, IRMA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GASKIN, SANDRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GASKIN, SHERYL                  JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
GASKINS, EMILY                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GASKINS, WILMA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GASNER, CHERYL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GASPARD, CHERYL                 PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
GASPARD, ETHEL                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GASPARD, PATRICIA               GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
GASPER, SALLY                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
GASPERETTI, BARBARA             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GASSAWAY, EUMEKE                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
GASSETT, JOYCE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GASSMANN, KRISTIE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GAST, GEERTRUIDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAST, GLENDA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GAST, GLENDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GASTON, LODEAL                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                             Address Information
GASTON, LODEAL                         75231
GASTON, ORA                            MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                       ORLEANS LA 70130
GASTON, SONNEY                         THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                       CHARLESTON WV 25301
GATANIS, BARBARA                       GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GATCHELL, GINA                         JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                       PAUL MN 55101
GATES, BETTY                           THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
GATES, CRYSTAL                         DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                       77024
GATES, DENISE                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
GATES, JESEFINA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GATES, MELISSA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GATES, SUZANNE                         LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                       94111
GATES-GREEN, REGINA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GATHERS, STACEY                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
GATLIFF, BRENDA                        GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                       EDWARDSVILLE IL 62025
GATLIN, ADAIRE                         TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
GATLIN, ELIZABETH                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GATLIN, TYRENA                         SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                       19103
GATSON, RONMUNDA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GATTER, ANDREA                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR. MARK P. KAR NEWPORT BEACH CA 92660
GATTI, MARY                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GATTONE, PEGGY B. AND GATTONE, PETER   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                       HILL NJ 08002
GATTSHALL, KELSEY                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
GATTUSO, JOAN                          FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GATTUSO, MARGARET                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAUDET, PAULA                          ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GAUDET, PAULA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
GAUDIO, THELMA                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
GAUER, PATRICIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAUGH, PEGGY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAUNT, LISA                            WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
GAURUDER, JOHNA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAUTHIER, CAROLYN                      WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
GAUTHIER, LYNN                         SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                       07102-4573
GAUTHIER, LYNN                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GAUTHIER, LYNN                         PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GAUTHIER, SHARON                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
GAUTHIER, SHARON                MEADOWS, TED G. MONTGOMERY AL 36104
GAUTHIER, WENDY                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GAUTIER, MONA                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
GAUVIN, VLADY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAVIN, CAMILLE                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
GAVIN, ELLEN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAVIN, ROSALYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAWLOWSKI, KRISTA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAWNE, DONNA                    JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
GAY, KAREN                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GAY, LAURIE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GAY, RACHEL                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAYHEART, CHRISTY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAYLE SOUTHARD                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
GAYLE, CAROL                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GAYNES, JULIE                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GAYTAN, CARIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAYZ, NORINE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GAZARD, DAISY                   NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
GEAR, LORI                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GEARHART, BEVERLY               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
GEARHART, NANCY                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GEARTY, ANN                     MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
GEARY, JEAN                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
GEARY, JEAN                     LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
GEARY, JEAN                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GEARY, JEAN                     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
GEARY, JEAN                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GEBARA, GAIL                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GEBARD, KATHY                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
GEER, NOLA                      DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
GEER, NOLA                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GEER, NOLA                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GEER, TERESA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296


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Claim Name                       Address Information
GEFFKE, JACQUELINE              ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
GEHLKE, REBECCA                 BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
GEHRES, GRETCHEN                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GEHRING, JANET                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GEHRINGER, DARLENE              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GEHRINGER, DARLENE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GEHRS, MARY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GEIBIG, RENEE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GEIER, KATHLEEN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GEIGER, DARLENE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GEIGER, VIKMA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GEIGER-WALDRON, BARBARA         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GEIMER, JULIANNE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GEISER, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GEISSLER, JUDIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GELBKE, SHERRY                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GELERMAN, ROZA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GELLEPIS, KEITH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GELLER, NORMAN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GELO, BARBARA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GELSER-WEBB, PEG                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GELTZ, PENNY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GELZINIS, ELEANOR               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GEMME, MARILYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GENDREAU, PAULA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GENET, RENA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GENEVA WATTS                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
GENN, SHERI                     SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
GENNINE STEINFORT               MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
GENOVESE, GABRIELE              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GENSTER, EMMA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GENTHERT, LINDA                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024



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GENTILE, BONNIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GENTILE, JOANNE                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
GENTILE, MARIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GENTILE, MARIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GENTILE, MARIA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GENTILE, MARIA                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
GENTILE, MARLENE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GENTNER, LYDIA                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
GENTRY, ANITA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GENTRY, JACQUELINE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GENTRY, JEANETTE                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GENTRY, JOYCE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GENTRY, LA CINDY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GENTRY, LEASA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
GENTRY, MELODEE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GENTRY, PENNY                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
GENTRY, PHYLLIS                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GENTRY, RHONDA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
GENTRY, TINA                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
GENTRY, TINA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GEOFFROY, KAREN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GEORGATOS, JEAN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GEORGATOS, JEAN                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
GEORGATOS, JEAN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GEORGATOS, JEAN                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GEORGATOS, JEAN                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GEORGE, DEBORAH                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
GEORGE, ELSIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GEORGE, GINA                    THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
GEORGE, JANICE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GEORGE, JANIS                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
GEORGE, KIM                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GEORGE, LAURA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                BULLARD, MALLORY C. MONTGOMERY AL 36104
GEORGE, LISA                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GEORGE, ROSEANN                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GEORGE, SHIRLEY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GEORGE, SUSAN                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GEORGE, SUSAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GEORGE, SUZANNE                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GEORGE, THEODORA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GEORGE, THERESA                 LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
GEORGE, WENDY                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
GEORGE, WENDY                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GEORGE, WENDY                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GEORGE, WILMA                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
GEORGIANA, JOAN                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GEPHART, DOROTHY                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GEPHART, DOROTHY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GEPHART, REBECCA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GERALD, FRONNIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GERALDINO, FLOR                 ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
GERARD, ANNA                    HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
GERARD, JOYCE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GERARD, ZELDA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GERARDA ANI                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC PUTNICK, MARY ELIZABETH 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
GERAUER, BRENDA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GERBER, DARLA                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
GERBER, PAMELA                  HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
GERBINO, MICHELE                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
GERBINO, MICHELE                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301


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                                               LTL Management LLC
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Claim Name                              Address Information
GERBITZ, MARIA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
GERDUNG, GEORGETTA                      DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
GERE, ANA                               NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                        11747
GERE, ANNA                              NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                        11747
GEREMIA, FRANCO AND GEREMIA, PATRICIA   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
GERENA, VERONICA                        DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                        ANTHONY ST. LOUIS MO 63102
GERENA, VERONICA                        LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GERENA, VERONICA                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                        ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GERETY, JANET                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
GEREZ, CARMEN                           MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                        YORK NY 10017
GERG, LOIS                              BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                        70130
GERG, LOIS                              BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                        75202
GERHART, DEBORAH                        DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GERMANN, HELANIE                        NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                        11747
GERMANO, TRAVEY                         MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                        YORK NY 10017
GERMANY, GAYLA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
GERMANY, GAYLA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GERMANY, GAYLA                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GERMANY, GAYLA                          PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
GERMOND, CAROL                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
GERRARD, JEAN                           ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
GERRARD-KOENIG, SHERRY                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                        ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GERREN, TIFFANY                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
GERREN, TIFFANY                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
GERRISH, ANMBRA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
GERRISH, ANMBRA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GERRISH, ANMBRA                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GERRISH, ANMBRA                         PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GERSHENFELD, JANET                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GERSIN, SHERRI                          BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
GERVAIS, SALLY                          CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                        14202-3725
GERWIN, PAULA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
GERYCH, KRISTA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GESCHWIND, THELMA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GESUALDO, ELIZABETH             ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GESUALDO, ELIZABETH             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GETCHELL, JESSICA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GETCHELL, SUSAN                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
GETER, REBECCA                  WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
GETHERS, MICHELLE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GETTY, DEENA                    THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
GETTY, DONNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GETZ, MARYANNA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GETZ, MARYANNA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GEURIN, FAY                     BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
GEURIN, FAY                     BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
GEUS, MARY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GEYER, LINDA                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
GEYER, PATRICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GEYER, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GEYER, PATRICIA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GEYER, PATRICIA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GHAFARY, MARYAM                 MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
GHAFFAR-TEHRANI, SARA           BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
GHALAMKAR, JUANITA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GHANOUM, FERYAL                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GHERE, JULIE                    MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
GHETIA, ARUNA                   SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
GHOLSON, SONYA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GHOLSTON, ALTHEA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GHORMLEY, KERRY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIAMBRONE, LISA                 KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
GIAMPAPA, KATHY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GIAMPIETRO, JO                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GIAMPIETRO, JO                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GIANCURSIO, JULIANNE            ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GIANCURSIO, JULIANNE            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                       Address Information
GIANFRANCESCO, PIPER            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GIANGRECO, TERI                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
GIANNA, JOANNE                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GIANNA, JOANNE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GIANNECCHINI, DEBORAH           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GIANNETTINO, ROBIN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIANNINI, ELIZABETH             DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
GIANNINI, KATHY                 PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
GIANNONE, MARIA                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
GIANNONE, MARIA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GIANNOTTI, ANNA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GIANNOTTI, BARBARA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIAQUINTO, JULIANNE             CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GIARD, DENISE                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
GIARDELLO, MICHELE              POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
GIBAS, MARJORIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GIBAS, MARJORIE                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
GIBAS, MARJORIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIBAS, MARJORIE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GIBAS, MARJORIE                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GIBBONS, CHARLENE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIBBONS, ELEANOR                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
GIBBONS, HOLLY                  BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
GIBBONS, IRMA                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
GIBBONS, IRMA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GIBBONS, IRMA                   LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
GIBBONS, IRMA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GIBBONS, IRMA                   ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
GIBBS, AGNES                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GIBBS, ANNA                     THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
GIBBS, DORIS                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIBBS, GOLDIE                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036



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Claim Name                       Address Information
GIBBS, KENDRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIBBS, KENDRA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GIBBS, KENDRA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GIBBS, KIMBERLY                 ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                FELLER, JOEL J. PHILADELPHIA PA 19103
GIBBS, MELISSA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIBBS, NANCY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GIBBS, SHEREE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GIBBS, SHIRLEY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GIBBS, SIMON                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
GIBBS, SOUJERNE                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
GIBER, SHARON                   BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
GIBLIN, ANNE                    HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
GIBLIN, EMMYLN                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GIBSON, ACCRISISUS              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GIBSON, ALICIA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GIBSON, ANGELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIBSON, BARBARA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIBSON, BERNETTE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIBSON, BRENDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GIBSON, CARMEN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIBSON, DEVIN                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GIBSON, DEVIN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GIBSON, DEVIN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIBSON, DEVIN                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GIBSON, DEVIN                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
GIBSON, DONNA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GIBSON, DONNA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GIBSON, ERNESTINE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GIBSON, GINGER                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
GIBSON, HELEENA                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
GIBSON, HELEENA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GIBSON, HELEENA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIBSON, HELEENA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GIBSON, HELEENA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768


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                                                        Entered 02/17/22 16:31:44           Desc Main
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Claim Name                         Address Information
GIBSON, JENNIFER                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIBSON, JOAN                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GIBSON, KIMBERLY                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                  EMILY FAIRFAX VA 22031
GIBSON, LATONJA                   WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                  NJ 08002
GIBSON, LINDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIBSON, LINDA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
GIBSON, PATRICIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
GIBSON, RHYS                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIBSON, SHARON                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                  STREET, SUITE PENSACOLA FL 32502
GIBSON-HERRON, BRENDA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIBSON-PACK, ALECIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
GIBSON-PACK, ALECIA               GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                  MINNEAPOLIS MN 55402
GIBSON-PACK, ALECIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIBSON-PACK, ALECIA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GIBSON-PACK, ALECIA               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GIBSON-STARKS, LAWANNA            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
GIDCUMB, DORIS                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
GIDEON, JESSIE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
GIDICH, DENISE                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                  ORANGE VA 02296
GIDLEY, SANDRA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIDLEY, SHANNON                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                  LOUIS MO 63119
GIESEKE, BARBARA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                  14202-3725
GIESSERT, LISA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIFFEN, PATRICIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
GIFFERSON, PATRICIA               DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GIFFIN, JANICE                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                  BOUNDAS, JOHN T. HOUSTON TX 77017
GIFFORD, ALISHA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GIFFORD, MONICA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                  EVAN D. EDWARDSVILLE IL 62025
GIFFORD, NANCY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIFFORD, PAMELA                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                  ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
GIFT, NORMA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIGUERE, VALERIE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
GIL, ANA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIL, BECKY                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.


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GIL, BECKY                      ORANGE VA 02296
GILBERT, ALICE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GILBERT, CARMEN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GILBERT, CAROL                  HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
GILBERT, CAROLINE               THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
GILBERT, DAWN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GILBERT, DEBRA                  BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
GILBERT, DIANE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GILBERT, DIANE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GILBERT, GERALDINE              GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
GILBERT, GLADYS                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GILBERT, KIMBERLY               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GILBERT, LYNDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GILBERT, MARY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GILBERT, MARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GILBERT, PENNY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GILBERT, ROBERTA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GILBERT, SUKANTHI               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
GILBERT, THERESA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GILBERT, TOMIEKA                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
GILBERT, TOMIEKA                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GILBERT, TOMIEKA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GILBERT, WANDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GILBERTO, ELAINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GILBERTSON, PENNY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GILBRIDE, ELLYN                 LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                NJ 08648
GILCHRIST, BETHANESE            GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GILCHRIST, PENNY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GILCHRIST, REGINA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GILDHARRY, LILOUTIE             GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GILDNER, BODIL                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098


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Claim Name                       Address Information
GILES, CHRISTINE                LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
GILES, GAIL                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GILES, GINA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GILES, HENRIETTA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GILES, IMONIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GILES, RUTH                     SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
GILES, RUTH                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GILES, RUTH                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GILES, RUTH                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GILES, SUSAN                    GOLOMB & HONIK, P.C. GOLOMB, RICHARD M. 1835 MARKET STREET, SUITE 2900
                                PHILADELPHIA PA 19103
GILES, VALERIE                  MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
GILES, VALERIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GILES-GAGNE, SUSAN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GILHAUS, BARBARA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GILKISON, JOANNA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GILL, ELAINE                    BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
GILL, ELAINE                    BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
GILL, HEIDI                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
GILL, MARECIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GILL, NANCY                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
GILL, SANDRA                    THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
GILL, SHARON                    GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
GILL, SHEILA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GILL, TINA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GILLESPIE, DIANA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GILLESPIE, DIANE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GILLESPIE, JOYCE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GILLESPIE, LAURA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GILLESPIE, MARY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GILLETT, LAFETTA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GILLETTE, JANEAN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GILLIAM, DOTTIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GILLIAM, DOTTIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GILLIAM, JANICE                 WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112


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Claim Name                       Address Information
GILLIAND, SONIA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GILLIE, SUSAN                   LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
GILLIES, GAIL                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GILLILAND, ALTA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GILLILAND, CINDY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GILLINGHAM, CINDY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GILLINGS-SUAZO, TIYANA          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GILLIS, ANN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GILLIS, HELEN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GILLIS, KAREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GILLIS, NORA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GILLISPIE, JULIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GILLISS, PAULA                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
GILLISS, PAULA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GILMAN, RITA                    BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
GILMAN, RITA                    BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
GILMORE, ANIKA                  HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
GILMORE, APRIL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GILMORE, BETTY                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GILMORE, CYNTHIA                THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
GILMORE, JAWANIKA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GILMORE, VIRGINIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GILPIN, LAVITA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GILROY, LINDA                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
GILROY, LINDA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GILROY, LINDA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GILTNER, BERDINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GILYARD, THELMA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GILZEAN, MONICA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GINDI, MERVAT                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GINET, CIERA                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
GINN, CINDY                     SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
GINOBILE, THERESA               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GINSBURG, TINA                  CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
GINSBURG, TINA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET ZINNS,


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Claim Name                       Address Information
GINSBURG, TINA                  SHARON MONTGOMERY AL 36104
GINSBURG, TINA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIORDANO, ESTELLE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIORDANO, LESLIE                ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
GIORDANO, ROSEMARIE             GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
GIORDANO, ROSEMARIE             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GIORLANDO, MARIA                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GIOVANNI, ANGELICA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIPSON, MADALYNE                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GIPSON, REGINA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GIPSON, REGINA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIPSON, REGINA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GIPSON, REGINA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GIRADO, LETICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GIRADO, TAMMY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GIRARD, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIRARDI & KEESE                 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
GIRASUOLO, NANCY                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
GIROUX, PEGGY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GIRTON, MELISSA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
GIRTON, MELISSA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GIRTON, MELISSA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GIRTON, PAULA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GISELA MANLEY                   MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
GIST, MARY                      DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
GIST, MARY                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
GIST-MCLAURIN, ROBIN            MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
GISTESUND, GLORIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GITANA STEINS                   BISNAR AND CHASE ANTURNOVICH, TOM & CHASE, BRIAN D. 1301 DOVE STREET, SUITE
                                120 NEWPORT BEACH CA 92660
GITTENS, ELIZABETH              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIULIANO, LYDIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GIULIANO, ROSETTA               NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747



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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
GIUSTI, ELEANOR                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GIVEN, KATHERINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GIVEN, KATHERINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GIVEN, KATHERINE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GIVEN, KATHERINE                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GIVENS, BEVERLY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GIVENS, DENITA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GIVENS, SHIRLEY                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
GJELOSHAJ, DRITA                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
GLABERMAN, DEBORAH              THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
GLADDEN, RHUDIEN                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GLADMAN, DIANE                  KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
GLADSON, SHARON                 SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
GLADSTONE, JESSICA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GLADSTONE, KATHLEEN             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GLADYS VAN DYKE                 LENZE LAWYERS, PLC LENZE, JENNIFER A 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN
                                BEACH CA 90266
GLADYS VAN DYKE                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
GLANCY, CHERYL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GLANTON, VERBENA                SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
GLANZ, KAREN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GLANZ, KAREN                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
GLANZ, KAREN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GLANZ, KAREN                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GLANZ, KAREN                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GLASER, GLORIA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GLASER, GLORIA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GLASER, MARILYNN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GLASER, SHEILA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GLASGOW, KATHLEEN               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GLASNAPP, LORI                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GLASS, ANGELA                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
GLASS, DIANA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GLASS, JUDITH                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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Claim Name                       Address Information
GLASS, JUDITH                   75231
GLASS, RACHEL                   THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
GLASS, WILLIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GLASSCOCK, DEBRA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GLASSER, JUDY                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GLASSO, MACHELLE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GLASSON, EVELYN                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GLASSON, EVELYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GLASSTANG, MARY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GLASSTANG, MARY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GLASSTANG, MARY                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GLASSTANG, MARY                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
GLATZLE, ERIC                   NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
GLAUNER, KRISTA                 PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
GLAVA, DARLENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GLAZE, PATRICIA                 WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
GLAZER, LORETTA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GLAZIER, KAREN                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
GLEASON, BRENDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GLEASON, EDITH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GLEASON, MARILYN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GLEASON, MARILYN                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GLEASON, MELYNDA                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GLEBA, DEBRA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GLEISSNER, KATHLEEN             MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
GLENDA, ELY                     NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
GLENN, ALFREDIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GLENN, JOSEPHINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GLENN, KAREN                    WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
GLENN, ROBIN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GLENN, SUE                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GLENN, SUE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GLESS-GREEN, HOLLY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GLESSNER, KAY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                        Address Information
GLICK, KAREN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GLIDEWELL, LUCILLE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
GLISSON, LILLIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
GLORIA BURTON                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                 LOUIS MO 63119
GLORIA LOLLIS                    LENZE LAWYERS, PLC LENZE, JENNIFER A 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN
                                 BEACH CA 90266
GLORIA LOLLIS                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                 S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
GLORIA ROMERO                    MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
GLORIA TRASK                     THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J., & SEGAL, S. 810 KANAWHA BLVD,
                                 EAST CHARLESTON WV 25301
GLOVER, ANGELA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
GLOVER, BRENDA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                 EDWARDSVILLE IL 62025
GLOVER, DIXIE                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                 77098
GLOVER, LESLIE                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                 ORLEANS LA 70130
GLOVER, MALINDA                  MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
GLOVER, MELISSA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                 ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
GLOVER, NICCI                    HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                 63101
GLOVER, SHEILA                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                 BOUNDAS, JOHN T. HOUSTON TX 77017
GLOVER, VIOLA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GLOVER, VIOLET                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
GLOYN, GARY & GLOYN, NORMAN      MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                 YORK NY 10017
GLUCK, ERICA                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                 EMILY FAIRFAX VA 22031
GLUCK, ERICA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
GLYNN, JOYCE                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                 77098
GLYNN, PATRICIA                  WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
GLYNN, SUSAN                     NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                 11747
GNACINSKI, LEOLA                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                 11747
GNIAS, BRENDA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                 77098
GNIEWEK, BARBARA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                 EMILY FAIRFAX VA 22031
GNIEWEK, BARBARA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
GOAD, ELIZABETH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOALEY, DAWN                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN


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Claim Name                       Address Information
GOALEY, DAWN                    STREET, SUITE PENSACOLA FL 32502
GOATEE, ZARAH                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GOBBEL, DONNA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GOBERT, ISSABELLA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GOBLE, MAGGIE                   HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
GOBLE, ROCHELLE                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
GOBLE, SUSAN                    SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
GOCHENAUR, PAMELA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GODBEE, NANCY                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
GODBEE, NANCY                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
GODDARD, DEBORAH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GODFREY, CONSTANCE              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GODFREY, GLENDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GODFREY, JOELLYN                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GODFREY, KATHY                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
GODFREY, NATALIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GODICH, TERESA                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
GODIN, MARGARET                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GODIN, VANESSA                  COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
GODINEZ, MARISSA                BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
GODLEWSKI, PHYLISS              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GODSCHALL, MICHELINE            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GODSO, BETTY                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GODSON, FELICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GODSY, VICKY                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GODSY, VICKY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GODWIN, FRANKIETTIA             FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GODWIN, LOIS                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GODWIN, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GODWIN, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GODWIN, MARY                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GODWIN, MARY                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768



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Claim Name                       Address Information
GODWIN, MILDRED                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GOEB, CHRISTA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GOEHRING, TAMMY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOELZ, JANET                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOENS, AMY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GOENS, AMY                      GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
GOENS, AMY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOENS, AMY                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GOENS, AMY                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GOERTZ, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOESSLER, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOETTSCH, DARLENE               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GOETZE, WENDY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOETZE, WENDY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GOFF, MICHELLE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOFFINET, TERRY                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
GOFORTH, ANGELA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOFORTH, IRENE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GOINES, CASSIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOINES, PATRICIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GOINES, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOINES, PATRICIA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GOINES, PATRICIA                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GOINGS, MARILOU                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GOINGS, MARILOU                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GOINGS, MARILOU                 KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
GOINS, HELEN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOINS, KIM                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOINS, MAGGIE                   BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
GOINS, MARICA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
GOINS-TISDALE, LATOUSYA         THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
GOLA, LORRAINE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GOLD, CAROL                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOLD, ELENA                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GOLD, ELISSA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GOLDABER, SHARON                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031


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Claim Name                       Address Information
GOLDABER, SHARON                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GOLDBERG, ELLEN                 MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
GOLDBERG, SANDRA                CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
GOLDBERG, SANDRA                BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
GOLDBERG, TAFFINEY              BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
GOLDEN, ARLENE                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
GOLDEN, DEBORAH                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
GOLDEN, DEBORAH                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GOLDEN, DONNA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GOLDEN, HELEN                   SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
GOLDEN, JOHELEN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GOLDEN, JUNE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GOLDEN, MICHEAL                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GOLDEN, MONICA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GOLDEN, ROSEMARY                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GOLDENBERGLAW, PLLC             800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L. MINNEAPOLIS MN 55402
GOLDENBROOK, VALORIE            ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GOLDER, KARLETTA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GOLDESKI, CARLEEN               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
GOLDFARB, STANLEY               NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
GOLDMAN, DOROTHY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GOLDMAN, SHANECA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GOLDSBOROUGH, DOLORES           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOLDSMITH, ELAINE               DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GOLDSMITH, ELAINE               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
GOLDSMITH, MARY                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GOLDSMITH, MARY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GOLDSTEIN, BARBARA              DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
GOLDSTEIN, BELINDA              DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
GOLDSTEIN, LINDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
GOLDSTEIN, LORRAINE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GOLDSTEIN, LORRAINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOLDSTEIN, LORRAINE             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GOLDSTEIN, LORRAINE             PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
GOLDSTEIN, MICHELLE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOLDSTON, DOLLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOLIGHTLY, JEAN                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GOLLEDGE, JUDY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GOLLENBUSCH, DELLA              WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
GOLOMB & HONIK, P.C.            1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GOLOMB & HONIK, PC              1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA PA 19102
GOLOMBEK, PATRICIA              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GOLOSEWSKI, MARY                MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
GOLSON, MARYANN                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
GOLSTON, MARQUETTA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOLYSKI, KAREN                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GOMAN, SUSAN                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GOMES, ALTINA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GOMES, JENNIFER                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOMES, MARY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GOMES, MARY                     DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
GOMES, VICTORIA                 CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
GOMEZ, AMANDA                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
GOMEZ, ANGELITA                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
GOMEZ, APRIL                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GOMEZ, DENA                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GOMEZ, ELAINE                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GOMEZ, EMILY                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GOMEZ, EMILY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GOMEZ, ESTELA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOMEZ, GLORIA                   WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
GOMEZ, JACQUELINE               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
GOMEZ, JACQUELINE               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GOMEZ, JACQUELINE               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GOMEZ, JOANN                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.


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Claim Name                       Address Information
GOMEZ, JOANN                    LOUIS MO 63119
GOMEZ, LIDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOMEZ, LOUISA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GOMEZ, MARGARET                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GOMEZ, PORSHA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GOMEZ, ROSA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GOMEZ, SOCORRO                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GOMEZ, SOCORRO                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GOMEZ, TERESA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GOMEZ, TINA                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GOMEZ, VALERIE                  WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
GOMEZ, VALERIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GONDOLY, REGINA                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
GONSALVES, CHARLENE             DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GONSALVES, GEORGIANN            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GONSALVES, GEORGIANN            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GONSALVES, GEORGIANN            THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GONSALVES, GEORGIANN            PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GONXHE, KIMBERLY                KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
GONXHE, KIMBERLY                LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
GONZALEA, KRISTI                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
GONZALEA, KRISTI                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GONZALEA, KRISTI                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GONZALES, ANGIE                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
GONZALES, ANNETTE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GONZALES, BARBARA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GONZALES, BARBARA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GONZALES, BARBARA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GONZALES, BARBARA               PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
GONZALES, CARMEN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GONZALES, CARMEN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GONZALES, CARMEN                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GONZALES, CARMEN                PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
GONZALES, CHRISTINE             ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119


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Claim Name                       Address Information
GONZALES, CONNIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GONZALES, DONNA                 THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
GONZALES, EILEEN                ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
GONZALES, ERIKA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GONZALES, FRANCES               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GONZALES, JAMIE                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
GONZALES, JAMIE                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GONZALES, JAMIE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GONZALES, JAMIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GONZALES, JAMIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GONZALES, JAMIE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GONZALES, JAMIE                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
GONZALES, MARIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GONZALES, MARYJANE              LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET KOHRS, NICHOLAS HIGHTOWER,
                                KRISTIE LAKE CHARLES LA 07060
GONZALES, OLIVIA                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET SALGER, SARA M MATHEWS, D.
                                TODD EDWARDSVILLE IL 62025
GONZALES, ROSE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GONZALES, SIRIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GONZALEZ, ANA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GONZALEZ, ANGELA                MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
GONZALEZ, ANNE                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GONZALEZ, BLANCA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GONZALEZ, CARMEN                EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
GONZALEZ, CARMEN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GONZALEZ, CARMEN                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GONZALEZ, CATHY                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
GONZALEZ, CHRISTINA             DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GONZALEZ, DENISE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GONZALEZ, FLORENTINA            JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GONZALEZ, HASSEL                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GONZALEZ, IRMA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GONZALEZ, ISABEL                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GONZALEZ, JENNIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GONZALEZ, JUANA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GONZALEZ, JUANITA               HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
GONZALEZ, KARLA                 SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098


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Claim Name                               Address Information
GONZALEZ, KIM                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GONZALEZ, LAURA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
GONZALEZ, LUCILLE                        SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
GONZALEZ, MARCY                          HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                         63101
GONZALEZ, MARIA                          GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                         PA 19102
GONZALEZ, MARIA                          COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                         INDIANAPOLIS IN 46204
GONZALEZ, MARIA                          HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                         63101
GONZALEZ, MARIA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
GONZALEZ, MARIA & EST OF MIGUEL GARCIA   MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                         YORK NY 10017
GONZALEZ, MARTHA                         GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GONZALEZ, MAYRA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GONZALEZ, PATRICIA                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GONZALEZ, RACHAEL                        FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GONZALEZ, RHONDA                         HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
GONZALEZ, RUTH                           MCSWEENEY/LANGEVIN, LLC MCSWEENEY, RHETT A. 2116 SECOND AVENUE SOUTH
                                         MINNEAPOLIS MN 55404
GONZALEZ, SAN                            FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GONZALEZ, SANJUANA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GONZALEZ, SONIA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
GONZALEZ, TABITHA                        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
GONZALEZ, UTE                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
GONZALEZ, VIVIAN                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
GONZALEZ, VIVIENEE                       DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                         ANTHONY ST. LOUIS MO 63102
GONZALEZ, VIVIENEE                       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE,
                                         ROBINSON, JR. MARK P. LU NEWPORT BEACH CA 92660
GONZALEZ, VIVIENNE                       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
GONZALEZ-SED, OLGA                       KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
GONZALO, IRIS                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
GOOCEY, NANCY                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOOD, CASSAUNDRA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOOD, ELIZABETH                          ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                         LOUIS MO 63119
GOODALE, KRYSTAL                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
GOODE, ANGELA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOODE, CINDY                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOODE, DIANA                             ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                         ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103



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Claim Name                       Address Information
GOODE, HATTIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOODE, OLIVIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOODE, PAULA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOODE, ROXANNE                  DRISCOLL FIRM, P.C. JOHNSON, PAUL W. 211 N. BROADWAY, STE. 2440 ST. LOUIS MO
                                63102
GOODE, SHANNA                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
GOODE, WENDY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOODE, WENDY                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GOODE, WENDY                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GOODEMOTE-MOGOR, ELIZABETH      DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
GOODEMOTE-MOGOR, ELIZABETH      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GOODEMOTE-MOGOR, ELIZABETH      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GOODEN, ANNIE                   COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
GOODEN, CATHERINE               GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
GOODEN, CATHERINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOODEN, CATHERINE               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GOODEN, CATHERINE               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GOODEN, CHANTELLE               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
GOODEN, DOROTHY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GOODEN, JOAN                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GOODEN, KIM                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
GOODEN, NAOMI                   MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
GOODEN, VIVIAN                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GOODFACE, ANNETTE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GOODIN, DIANE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GOODIN, DIANE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GOODIN, DIANE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOODIN, DIANE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GOODIN, DIANE                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
GOODIN-VASQUEZ, DENISE          JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
GOODING, CAROL                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GOODMAN, AUDREY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GOODMAN, BRENDA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GOODMAN, CATHERINE              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GOODMAN, JOAN                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098


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Claim Name                       Address Information
GOODMAN, KRISTY                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GOODMAN, LILLIE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GOODMAN, MARY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GOODMAN, MERRYAN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOODMAN, MOLLY                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GOODMAN, MOLLY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GOODMAN, PATRICIA               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
GOODMAN, RHODA                  BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 BUDD, RUSSELL W DALLAS TX
                                75219
GOODMAN, SHEILA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GOODRICH, ALICE                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GOODRICH, ELIZABETH             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOODRICH, MEREDITH              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GOODRICH, RUBY                  ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
GOODRICH, RUTH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOODRICH, SANDRA                DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
GOODRUM, EVELYN                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GOODS, EMILY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GOODS, LOLITA                   MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
GOODSELL, ANGELA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
GOODSON, BARBARA                MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
GOODSON, KELLY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOODSON, LOIS                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GOODSON, RENEE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOODWIN, PATRICIA               BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
GOODWIN, REBECCA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GOODWIN, RITA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOODWIN, RUTH                   BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
GOODWIN, SHEILA                 LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
GOODWIN, TAMMY                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GOODY, MISTI                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GOODY, MISTI                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
GOODYEAR, CAMMIE                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GOODYKOONTZ, NATALIE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOOGE, BARBARA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GOOLSBY, DEBRA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GOOSBY, EMMA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOOSIC, KAREN                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GORDAN, ELAINE                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GORDEN, JODY                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GORDEN, JODY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GORDEN, TRACY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GORDON, ANGELIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GORDON, ANTIONIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GORDON, BARBARA                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
GORDON, BARBARA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GORDON, BARBARA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GORDON, BARBARA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GORDON, BARBARA                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
GORDON, BARBARA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GORDON, BETSY                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
GORDON, CANDACE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GORDON, CANDACE                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GORDON, CARRIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GORDON, CATHERINE               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GORDON, CECILE                  BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
GORDON, CHARLIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GORDON, CHERYL                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
GORDON, CYNTHIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GORDON, DONESHIA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GORDON, ELIZABETH               HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
GORDON, FLORIDA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GORDON, FREYA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GORDON, FREYA                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
GORDON, FREYA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
GORDON, FREYA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GORDON, FREYA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GORDON, FREYA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR. MARK P. KAR NEWPORT BEACH CA 92660
GORDON, JEANNE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GORDON, JEANNE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GORDON, JEANNE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GORDON, JEANNE                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
GORDON, JUDY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GORDON, KAREN                   THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
GORDON, LIZZA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GORDON, LUINDIA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GORDON, MARGARET                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GORDON, MARIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GORDON, MILDRED                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GORDON, NIKOLINA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GORDON, NIKOLINA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GORDON, NIKOLINA                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GORDON, REBECCA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GORDON, ROSA                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
GORDON, ROSA                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GORDON, ROSA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GORDON, VELDA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GORDON-HERNANDEZ, JODY          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GORDON-MONSOUR, CHERIE          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GORDON-OZGUL, PATRICIA          DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
GORDON-OZGUL, PATRICIA          DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
GORDON-OZGUL, PATRICIA          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GORDON-OZGUL, PATRICIA          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GORDY, ILDA                     DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
GORE, BRENDA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GORE, LAWANDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GORE, WILLA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GOREE, LESHIA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GORGES, CHERYL                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
GORGONA, JUANITA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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                                           LTL Management LLC
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Claim Name                           Address Information
GORHAM, EMMA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GORI JULIAN & ASSOCIATES, P.C.      156 N. MAIN ST, TODD MATHEWS, EVAN BUXNER, MEGAN ARVOLA, SARA SALGER
                                    EDWARDSVILLE IL 62025
GORING, CHERYL                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                    77098
GORKA-DUDEK, KATHERINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GORKIN, MARJORIE                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                    14202-3725
GORLINSKI, KATHLEEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GORMAN, CHRISTINE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GORMAN, DONNA                       THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                    ORLEANS LA 70130
GORMAN, JEAN                        NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                    BERMAN, W. STEVE GREAT RIVER NY 11739
GORNEAU, ANITA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GORNY, KATHLEEN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GORRELL, REBECCA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GORRELL, SAMANTHA                   SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
GORSKI, MARY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GORSKY, DEBRA                       JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
GORTAREZ, RACHEL                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
GORTAREZ, RACHEL                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                    MINNEAPOLIS MN 55402
GORTAREZ, RACHEL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GORTAREZ, RACHEL                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GORTAREZ, RACHEL                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GORZ, HELEN                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GORZEGNO, CAROLYN                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                    ORANGE VA 02296
GOSHE, RONDA                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                    ORANGE VA 02296
GOSMAN, ERIN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOSS, CARRIE                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK 5473 BLAIR ROAD DALLAS TX 75231
GOSS, LEAH                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOSS, SUSAN                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
GOSSARD, TERESA                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                    ANTHONY ST. LOUIS MO 63102
GOSSARD, TERESA                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GOSSARD, TERESA                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                    ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GOSSETT, JESSIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOTCH, ELEANOR                      DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                    63102
GOTHARD, TAMMIE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
GOTTHARD, PATRICIA                  WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                    DALLAS TX 75219
GOTTLIEB, DORA                      POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
GOTTLIEB, GAIL                      DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                    KANSAS CITY MO 64196


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Claim Name                       Address Information
GOTZLER, KAREN                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GOUCH, DEBRA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GOUCHER, NANCY                  COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
GOUDEAU, RETA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOUDY, JANET                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
GOUDY, RUBY                     JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
GOUGH, NICOLE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOULD, DALPHINA                 MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
GOULD, DALPHINA                 KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
GOULD, TAYLOR                   SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
GOUR, TIFFINY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOUR, TIFFINY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GOURDINE, RUTH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOURLEY, ELLEN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GOUVEIA, LISA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOVEIA, CAROL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOWDY, JEANNINE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GOWDY, JEANNINE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GOWER, NANCY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GOWING, SUSAN                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GOWTON, VICTORIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GOYER, LISA                     BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
GOYRIENA, OLGA                  WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
GRABOWSKI, MICHELE              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GRACE, KATHLEEN                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
GRACE, KAY                      CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GRACE, MADELINE                 HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
GRACE, MERI                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GRACE, ROBYN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRACE, ROBYN                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GRACE, ROBYN                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GRADDY, SHARON                  ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
GRADY, JACQUELYN                MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
GRADY, VICTORIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
GRAENING, MARY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRAESER, MARY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GRAEWIN, JILL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRAF, ALICE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GRAF, CHRISTINE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GRAF-SPIEGEL, SUSAN             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GRAFMYER, NIMNON                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAFT, DIANE                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
GRAFTON, MANDY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GRAH, KAREN                     ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450
                                FELLER, JOEL CASEY, MATTHEW A. PHILADELPHIA PA 19103
GRAHAM, ANGELIQUE               WEITZ & LUXENBERG RELKIN, ELLEN & SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE
                                210 CHERRY HILL NJ 08002
GRAHAM, BERNICE                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GRAHAM, BILLIE                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
GRAHAM, CAROLINE                EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP EICHEN, BARRY R. - KELLY, JOHN P - 40
                                ETHEL ROAD EDISON NJ 08817
GRAHAM, CAROLYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRAHAM, CARRIE                  POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
GRAHAM, CHRISTINE               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
GRAHAM, CONSTANCE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAHAM, DENISE                  TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
GRAHAM, DORIS                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GRAHAM, ELIZABETH               HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
GRAHAM, GAYLE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRAHAM, GAYLE                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
GRAHAM, GAYLE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAHAM, GAYLE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GRAHAM, GAYLE                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GRAHAM, GAYLE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GRAHAM, GINA                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
GRAHAM, GLORIA                  BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
GRAHAM, GLORIA                  LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
GRAHAM, GRACE                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101



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GRAHAM, HATTIE                  WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
GRAHAM, JENNIFER                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAHAM, JOANNE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRAHAM, JOY                     SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
GRAHAM, JUANITA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GRAHAM, JULIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAHAM, KATHLEEN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAHAM, KATHLEEN                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GRAHAM, KATHLEEN                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GRAHAM, LATOYA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GRAHAM, LIKEESHA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAHAM, LINDA                   BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
GRAHAM, LINDSEY                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GRAHAM, LISA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GRAHAM, MARGARET                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAHAM, MARIE                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GRAHAM, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAHAM, MEAGAN                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GRAHAM, NANCY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GRAHAM, ROSA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GRAHAM, RUTH                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GRAHAM, SALLY                   WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
GRAHAM, SEPTEMBER               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GRAHAM, SHANDELLE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GRAHAM, TERRI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAHAM-CONOVER, CARLYN          GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
GRAHAM-MATTHEWS, MARGARET       COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
GRAHAM-MATTHEWS, MARGARET       ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GRALEWSKI, CATHY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRALEY, KATHY                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
GRAME, MICHELINA                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GRAMENZ, BARBARA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAMLICH, LANA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031



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Claim Name                       Address Information
GRAMLICH, LANA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRAMLING, JOANNA                HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
GRAMUGLIA, CARMELA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRAMUGLIA, CARMELA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAMUGLIA, CARMELA              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GRAMUGLIA, CARMELA              PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
GRANADO, ELIDA                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
GRANADOS, MONA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRANBERRY, BOBY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRANCHI, MARSHA                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
GRANDE, LISA                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
GRANDE, REBECCA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GRANDERSON, WILLIE              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GRANGER, CHERYL                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GRANGER, SUZY                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GRANGER-WRIGHT, DEBRA           DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
GRANIERI, JANET                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
GRANIERI, JANET                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
GRANNAN, ANGELA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRANNIS, ELIZABETH              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRANNON, LEE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRANT, CAROLYN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GRANT, CHERALYN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GRANT, DARLEAN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GRANT, DOROTHY                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
GRANT, DORTE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRANT, ELLA                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GRANT, FELICE                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
GRANT, JACQUELINE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRANT, JEANETTE                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
GRANT, JEANETTE                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266



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Claim Name                          Address Information
GRANT, JEANETTE                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GRANT, JEANETTE                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                   & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
GRANT, JEANETTE                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GRANT, JEANNE                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
GRANT, JO                          THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
GRANT, JOAN                        GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                   EDWARDSVILLE IL 62025
GRANT, KATHERINE                   THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                   AZ 08501
GRANT, MARY                        BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 BUDD, RUSSELL W DALLAS TX
                                   75219
GRANT, MELINDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRANT, MERCEDES                    TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
GRANT, NANCY                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
GRANT, NANCY                       WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
GRANT, RENEE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
GRANT, RENEE                       GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
GRANT, RENEE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRANT, RENEE                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GRANT, RENEE                       PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GRANT, ROBERTA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
GRANT, ROBIN                       DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                   ANTHONY ST. LOUIS MO 63102
GRANT, ROBIN                       LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GRANT, ROBIN                       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GRANT, SHEILA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
GRANT, SHEILA                      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                   STREET, SUITE 200 PENSACOLA FL 32502
GRANT, SHIRLEY                     HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                   63101
GRANT, TERESA                      MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                   11050
GRANT-HATHAWAY, DIANE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRANT-RICHBERG, TONYA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
GRANUM, ANNE                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
GRASCH, NANCY                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
GRASCH, NANCY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
GRASMAN, MARYANN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                          Address Information
GRATER, BENAY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAVELINE, DEBORAH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAVELLE, LORI                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
GRAVELY, DONNA                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
GRAVELY, VIVIAN                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
GRAVER, KATHLEEN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
GRAVES, ANITA                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
GRAVES, BRIDGET                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
GRAVES, BRIDGET                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
GRAVES, CHRISTINE                  MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
GRAVES, ELISA                      DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102
GRAVES, KRISTIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAVES, KRISTIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
GRAVES, LESLEE                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GRAVES, LORNA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
GRAVES, NORMA                      THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                   CHARLESTON WV 25301
GRAVES, ROBYN                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
GRAVES, ROSE                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
GRAVES, SHIRLEY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
GRAVES, TURESSER                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                   EDWARDSVILLE IL 62025
GRAVITT-EVANS, BRENDA              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GRAVLEY, MARTHA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
GRAWBADGER, JEAN                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
GRAY, ADA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAY, ANGELA                       THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                   CHARLESTON WV 25301
GRAY, ANNA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
GRAY, BRENDA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAY, BRIDGET                      DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102
GRAY, DARLENE                      LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                   SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
GRAY, DEBRA                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
GRAY, DELLA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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                                                         Entered 02/17/22 16:31:44           Desc Main
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Claim Name                          Address Information
GRAY, DINA                         ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
GRAY, DONA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAY, EARNESTINE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAY, ELLEN                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GRAY, ELMA                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GRAY, GAIL                         MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                   ORLEANS LA 70130
GRAY, GLADYS                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
GRAY, GWENDOLYN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
GRAY, JACQUELINE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAY, JACQULIN                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
GRAY, JUANITA                      THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
GRAY, JUDITH                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAY, KATHY                        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GRAY, KATHY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAY, KIM                          LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                   NJ 08648
GRAY, LEGGERD                      MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                   ORLEANS LA 70130
GRAY, LOIS                         JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                   77098
GRAY, LORENE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAY, LYNSHINA                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 22960
GRAY, LYNSHINA                     HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                   46290
GRAY, MABLE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAY, MARSHA                       BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                   ROBERT BRENT LOS ANGELES CA 90024
GRAY, MARTHA                       BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                   70130
GRAY, MARTHA                       BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                   75202
GRAY, MARY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAY, MILDRED                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
GRAY, PATRICE                      WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                   NJ 08002
GRAY, PATRICIA                     HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                   63101
GRAY, PHYLISS                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
GRAY, ROSA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAY, SANDRA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
GRAY, SARAH                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAY, SHELBY                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
GRAY, SHELBY                    MEADOWS, TED G. MONTGOMERY AL 36104
GRAY, SHERRI                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GRAY, SHERRY                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
GRAY, SUSAN                     THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
GRAY, SUSAN                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GRAY, SUSAN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAY, VELMA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAY, VIRGIE                    WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
GRAY, YOLANDA                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
GRAY, YOLANDA                   MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
GRAYS, ARZETTA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GRAYS, ELLA                     NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
GRAYS, NORMA                    BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
GRAYS, NORMA                    BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
GRAYSON, BEVERLY                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GRAYSON, FREDDIE                SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
GRAYSON, KATHRYN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRAYSON, PAMELA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GRAYSON, REBECCA                MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
GRAYSON, REBECCA                KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
GRAZES, ALADREA                 SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
GRAZULIS, PATRICIA              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GRAZULIS, PATRICIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREANEY, EILEEN                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
GREANY, CHRISTINA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREATHOUSE, SANDRA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREAVES, JACQUELINE             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GREAVES, SHERRYLEE              ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
GRECO, JUDITH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRECO, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRECO, MARY                     WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
GREDZICKI, BARBARA              TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
GREEAR, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREELEY, PATRICIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
GREELEY, PATRICIA               MEADOWS, TED G. MONTGOMERY AL 36104
GREELEY, PAULA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
GREEN, ALETA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREEN, ALETA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
GREEN, ALETA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREEN, ALETA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GREEN, ALETA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GREEN, ALICE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREEN, ALICE                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GREEN, ANNETTE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREEN, APRIL                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREEN, ASHLEY                   EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
GREEN, BETSY                    HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
GREEN, BETSY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GREEN, BETTY                    HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
GREEN, BETTY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREEN, CAROL                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GREEN, CAROL                    BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
GREEN, CATHERINE                GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
GREEN, CHRIS                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GREEN, CHRIS                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREEN, CONNIE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GREEN, CONNIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREEN, CONNIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
GREEN, DARLENE                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
GREEN, DEBORAH                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GREEN, DEBORAH                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
GREEN, DEBRA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREEN, DIANE                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GREEN, DORI-ANNE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREEN, DORIS                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GREEN, EDNA                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GREEN, EDNA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
GREEN, EMILIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREEN, GERALDINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREEN, GERTRUDE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREEN, GLADYS                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREEN, GWENDOLYN                GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
GREEN, HELEN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREEN, JACQUELINE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GREEN, JANET                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREEN, JAYME                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREEN, JENNIFER                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
GREEN, JUDITH                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
GREEN, KELLY                    TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
GREEN, KIM                      PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
GREEN, LAURIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GREEN, LEESA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
GREEN, LINDA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
GREEN, LINDA                    HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
GREEN, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREEN, LISA                     WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
GREEN, LORETTA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GREEN, LORRAINE                 THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
GREEN, MARIANNE                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
GREEN, MARTHA                   THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
GREEN, MARY LOU                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GREEN, MIA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GREEN, PATRICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREEN, RUTH                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREEN, SANDRA                   GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
GREEN, SHIRLEY                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
GREEN, SUSAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREEN, TERRI                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
GREEN, TRACI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREEN, TYRONZA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GREEN, VIRGINIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
GREEN-HINES, YOLANDA            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREEN-HINES, YOLANDA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREEN-HINES, YOLANDA            THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GREEN-HINES, YOLANDA            PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
GREEN-KNOX, VIVIAN              THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
GREEN-NEWMAN, CARMEN            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREEN-NEWMAN, CARMEN            THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GREEN-NEWMAN, CARMEN            PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GREENBAUM, MYRA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GREENBAUM, MYRA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREENBERG, DORIS                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GREENBERG, GAIL                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GREENBERG, JANICE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREENBERG, JUDITH               CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
GREENBERG, MARISSA              NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
GREENBERG, RITA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREENBERGER, HELEN              LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GREENBERGER, HELEN              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
GREENE, AMANDA                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
GREENE, ANITA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GREENE, ANN                     FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
GREENE, APRIL                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GREENE, CYNTHIA                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
GREENE, HELEN                   BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
GREENE, INA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREENE, JANE                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
GREENE, JANE                    LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
GREENE, JANE                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GREENE, JANE                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
GREENE, JANE                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GREENE, JANICE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREENE, JESSICA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREENE, KAREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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GREENE, MARGERY                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GREENE, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREENE, PAMELA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
GREENE, PAMELA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
GREENE, PAMELA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GREENE, PAMELA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GREENE, PATRICIA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GREENE, PATRICIA                GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
GREENE, REBECCA                 PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
GREENE, REGENIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREENE, SAUNDRA                 THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
GREENE, SHARON                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREENE, STACI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREENE, TAMARA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
GREENE, TAMARA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GREENE, TAMARA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GREENE, VICKI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREENER, ELIZABETH              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREENFIELD, AMELIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREENFIELD, LILLIE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GREENFIELD, LINDA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GREENFIELD, PAMELA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREENHALGH, LOIS                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GREENLAND, SHELLI               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREENLAW, TECUMSEH              DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
GREENLEAF, CHERYL               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GREENLICK, LUELLEN              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GREENSTEIN, NANCY               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GREENWALD, DANA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREENWALD, MARGARET             DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
GREENWALD, MARGARET             LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GREENWALD, MARGARET             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660



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GREENWALD, MARY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREENWALD-HILL, DONNA           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREENWELL, KATHY                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GREENWOOD, BUNNIA               MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
GREENWOOD, DONA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GREENWOOD, GOFFAN               DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
GREENWOOD, JULIE                PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
GREENWOOD, LOIS                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREENWOOD, SUSAN                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
GREER, FAITH                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GREER, JUDITH                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GREER, LAJOHNNA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREER, LATISIA                  KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
GREER, LATISIA                  LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
GREER, LSTISIA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
GREER, PATRICIA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GREER, TONYA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREER, TRACEY                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GREER, WILLA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREGA, DEBORAH                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GREGA, DEBORAH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREGG, EDITH                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GREGG, EDITH                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
GREGGS-LETT, CARRIE             NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
GREGORY, BRENDA                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
GREGORY, CACILIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREGORY, CLAUDIA                HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
GREGORY, GLORIA                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
GREGORY, KAREN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREGORY, KAREN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREGORY, KAREN                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GREGORY, KAREN                  PORTER & MALOUF, PA P.O. BOX 12768 HARRIS, LAUREL LI GIVENS, JOHN T. JACKSON
                                MS 39236-2768
GREGORY, KAREN                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660



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Claim Name                       Address Information
GREGORY, KATHERINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREGORY, LOU                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GREGORY, MARY                   GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
GREGORY, SHARON                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREGORY, SHAUNIEA               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GREGORY, SONNA                  CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
GREGORY, SONNA                  BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
GREGORY, SUNDI                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GREGORY, TAMMY                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
GREGORY, TAMMY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREGORY, TERRIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GREGORY, VICKI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREGORY-BILOTTA, MARGARET       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GREHAN, LYNDA                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
GREINER, MARLIN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREITZER, SHIRLEY               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GRELL, MIRIAM                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GRENDELL, VICTORIA              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GRENIER, CECILE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRENIER, JANICE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRENIER, RACHEL                 REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                BINSTOCK, ROBERT J. HOUSTON TX 77027
GRENZOW, DEBRA                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
GRESHAM, DONNA                  BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 BUDD, RUSSELL W DALLAS TX
                                75219
GRESHAM, JOYCE                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
GRESHAM, LAUNA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GRESHAM, MARY                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
GRESHAM, NICOLE                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GRESHAM, REBA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRESKI, BARBARA                 HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
GRESS, NICOLE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRESSETT, BOBBIE                THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
GRETCHEN, DILLON                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREVE, SHEILA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006



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Claim Name                       Address Information
GREVE, SHEILA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREWAL, KAMALJIT                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GREWE, DEBRA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREY, DONNA                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GREY, JEANETTE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREY, ROBERTA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GREZIK, BETTY HAMPTON           LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET KOHRS, NICHOLAS HIGHTOWER,
                                KRISTIE LAKE CHARLES LA 07060
GRGUROVICH, KOSA                JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
GRIDER, BETTY                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
GRIDLEY, CAROLE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRIEBEL, LYNNE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GRIEBEL, LYNNE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRIEBEL, LYNNE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRIEGO, DOLORES                 BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
GRIEGO, GINA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRIER, ELLEN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRIER, REGINA                   HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
GRIER, SHIRLEY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRIER, VYVEKA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GRIFFEE, CHRISTY                JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
GRIFFETH, MANDY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRIFFEY, MONICA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRIFFIN, ALICIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GRIFFIN, ANNETTE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRIFFIN, BARBARA REITZELL       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GRIFFIN, BRENDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRIFFIN, BRENDA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
GRIFFIN, CARRESAL               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRIFFIN, DEMETRICE              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GRIFFIN, GERALDINE              GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
GRIFFIN, GERALDINE              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GRIFFIN, GERALDINE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
GRIFFIN, GLADYS                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GRIFFIN, HELENE                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
GRIFFIN, INGRID                 THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
GRIFFIN, JANET                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
GRIFFIN, JEAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRIFFIN, JOYCE                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
GRIFFIN, JOYCE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GRIFFIN, JULIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRIFFIN, KAREN                  THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
GRIFFIN, KELLY                  LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
GRIFFIN, KELLY                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
GRIFFIN, LINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRIFFIN, LINDA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
GRIFFIN, MANDY                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GRIFFIN, MARI                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
GRIFFIN, MARTHA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GRIFFIN, MATTIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRIFFIN, MELODY                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GRIFFIN, NADINE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GRIFFIN, PAMELA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRIFFIN, PATRICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRIFFIN, PATTI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRIFFIN, PEARLIE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GRIFFIN, RACHEL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRIFFIN, SANDRA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
GRIFFIN, SHARON                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GRIFFIN, SHEILA                 MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
GRIFFIN, THERESA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRIFFIN, TONDRAH                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GRIFFIN, TRACEY                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
GRIFFIS, CATHY                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GRIFFITH, ANGELA                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA



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Claim Name                       Address Information
GRIFFITH, ANGELA                PA 19102
GRIFFITH, DIANA                 MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
GRIFFITH, DOROTHY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRIFFITH, JULIA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GRIFFITH, JULIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRIFFITH, JULIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRIFFITH, JULIA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GRIFFITH, JULIA                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
GRIFFITH, LAFRANCIS             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRIFFITH, MARGARET              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GRIFFITH, MARY                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
GRIFFITH, MARY                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
GRIFFITH, MARYANN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRIFFITH, SANDRA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GRIFFITH, SANDRA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRIFFITHS, BRENDA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRIFFITHS, FAITH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRIFFON, MARGARET               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GRIGG, GLORIA                   TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
GRIGGS, KRISTEN                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GRIGGS, KRISTEN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRIGGS, LAUREN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRIGNON, PRISCILLA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRIGSBY, CHARLENE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRIGSBY, CHARLOTTE              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GRIJALVA, LAUREN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRIJALVA, LAUREN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRIJALVA, LAUREN                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GRIJALVA, LAUREN                PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
GRIJALVA, LAUREN                SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
GRILLO, BARBARA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRILLO, DEBRAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRIM, VIVAN                     THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
GRIMALDI, VIRGINIA              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GRIMALDI, VIRGINIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRIMALDO, MARIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
GRIMBERG, CAROL                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GRIMES, BEVERLY                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
GRIMES, CAMILLE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRIMES, DEBRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRIMES, NORMA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRIMES, SHARI                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
GRIMES, SHARON BENNETT          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRIMES, YVETTE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GRIMM, ANNA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRIMM, CHRISTINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRIMM, ELAINE                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
GRIMM, KAREN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRIMM, MICHELLE                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GRIMM, PATSY                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
GRIMM, TERRIE                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GRIMM, THERESA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GRIMMETT, KELLY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRIMSLEY, ANGELIA               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GRIMSLEY, ANGELIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRIMSLEY, SHERRY                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
GRIMSLEY, SHERRY                HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
GRIMSTAD, TAMARA                KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
GRINDLE, KRISTEN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRINNELL, HOLLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRINTER, LEAH                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GRIPPANDO, VIRGINIA             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GRISHAM, PATRICIA               THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
GRISIUS, RAE                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GRISMORE, LUELLA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GRISSOM, ALICIA                 THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
GRISSOM, JUDY                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,


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Claim Name                       Address Information
GRISSOM, JUDY                   SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
GRISSOM, WILLIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GRITTON, LINDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GRIZONT, POLINA                 SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
GRIZZLE, TERESA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GROCE, JULIE                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GRODEM, ROBIN                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GROEGER, ELIZABETH              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GROETSCH, HEATHER               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GROFF, ELMAS                    MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
GROFF, KAREN                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GROFF, SANYETTA                 BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
GROLER, DAWN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GROMADZKI, LEE                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GROMADZKI, LEE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GROMASKI, CAROL                 BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
GRONDAHL, LUCY                  POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
GRONE, LOIS                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRONEK, ROBYN                   JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
GRONER, TERA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GROOME, SHARON                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GROOME, SHARON                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
GROOME, SHARON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GROOME, SHARON                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GROOME, SHARON                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GROOMS, EMMIE                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GROOMS, SHERIAN                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
GROOMS, SHURIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GROOMS, VIVIAN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GROOVER, PENNY                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
GROSCH, NAOMI                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GROSE, KAYLA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GROSE, PATRICIA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098



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                                                  List
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Claim Name                       Address Information
GROSE, PATRICIA                 LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
GROSECLOSE, DENAY               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
GROSS, ABBE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GROSS, BARBARA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GROSS, BARBARA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GROSS, BETTY                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
GROSS, CHRISTINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GROSS, EDITH                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GROSS, JACQUELINE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GROSS, JEAN                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GROSS, KATIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GROSS, KIMBERLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GROSS, LYNN                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GROSS, SHIRLEY                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GROSS, SHIRLEY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GROSS, SONIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GROSS, TONI                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
GROSS, TONI                     HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
GROSS, VICTORIA                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
GROSSETT, CASTEL                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GROSSHAUSER, JOAN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GROSSMAN, HELENE                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
GROSVENOR, BRIDGET              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GROTE, LINDA                    FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD RAGGIO, JOHN LUFF, DALLAS TX 75231
GROTH, DAWN                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GROVE, DIANA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GROVE, LAKITA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GROVE, MAUREEN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GROVER, LORI                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GROVES, CONNIE                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GROVES, DONNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GROVES, LINDA                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
GROVES, LORI                    HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101



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Claim Name                       Address Information
GROWE, VIOLETTE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRUALY-MALDONADO, LARA          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRUALY-MALDONADO, LARA          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRUALY-MALDONADO, LARA          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GRUALY-MALDONADO, LARA          PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GRUBA, JULIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRUBB, JEAN                     MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
GRUBB, SHARON                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRUBE, MARY                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GRUBER, GRACIELA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GRUBER, KRISTY                  HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
GRUBER, MARJORIE                COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
GRUBS, CLEONE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GRUNDEN, BETH                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRUNDEN, MELINDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRUNWELL, NANCY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRUSH, DEBRA                    MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
GRUVER, BRENDA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GRUZINSKI, LESLIE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GRYCUK, WANDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GRYWALSKY, ANITA                BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
GRZYB, HEATHER                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
GRZYBEK, JUDITH                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
GU, XIAO X                      MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                YORK NY 10017
GUADALUPE, MARIA                FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LUFF, PATRICK - DALLAS TX 75231
GUAJARDO, DEANNA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUALTIERI, LISA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUARD, LOUISA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GUARD, LOUISA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUARD, LOUISA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GUARD, LOUISA                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
GUARDADO, MONICA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUARDADO, SHELLEY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUARINO, DEBORAH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GUARINO-RIVERA, VICTORIA        ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                WASHINGTON DC 20006
GUARINO-RIVERA, VICTORIA        BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
GUBECKA, ALAINA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GUBITZ, LADONNA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,



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Claim Name                       Address Information
GUBITZ, LADONNA                 EMILY FAIRFAX VA 22031
GUBITZ, LADONNA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GUCCIARDO, BEVERLY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUDAS, JEAN                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
GUDAS, JEAN                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
GUDZ, PATRICIA                  WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
GUERNSEY, BEVERLY               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
GUERNSEY, BEVERLY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GUERRA, BETTY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUERRA, CARMELA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUERRA, CLAUDIA                 TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
GUERRA, DOLORES                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUERRA, NANCY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GUERRA, SHERRI                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
GUERRA-SAMUEL, MAYDA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUERRERO, ALICIA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
GUERRERO, HAZEL                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
GUERRERO, JUANA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GUERRERO, KATHELINA             MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
GUERRERO, KIMBERLY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUERRERO, LESLAY                SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
GUERRERO, MARIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GUERRERO, MELINDA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUERRERO, PETRA                 KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
GUERRERO, RAMONA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GUERRERO, TERRI                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GUESNIER, HILLARY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUESS, JOAN                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GUEST, PHYLLIS                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUEVARA, SARITA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUGLIOTTI, LOUISE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GUIDEN, JACQUELINE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GUIDI, MARILYNN                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
GUIDRY, CINDY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GUIDRY, KEISHAWN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUIDRY, KEISHAWN                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098


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Claim Name                       Address Information
GUIDRY, RITA                    BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
GUIDRY, RITA                    BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
GUILD, GREGORY AND NANCY        LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                NJ 08648
GUILDS, CANDICE                 SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
GUILIANO, NOREEN                JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
GUILLAUME, CHRISTINE            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GUILLAUME, CHRISTINE            GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
GUILLAUME, CHRISTINE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUILLAUME, CHRISTINE            THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GUILLAUME, CHRISTINE            PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GUILLEN, ELIDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUILLIAME, VIANELLA             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GUILLORY, CHERYL                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GUILLORY, JUANITA               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GUILLORY, RITA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GUILLORY, SHANIQUA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUILLOT, BETTIE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GUILLOT, LINDA                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
GUILLOT, PEARL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUINN, BETTY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GUINN, CHERYL                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GUINN, CLARE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GUINN, LINDA                    MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
GUINN, LINDA                    KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
GUINN, RUBY                     GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
GUINN, SELENA                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                FELLER, JOEL J. PHILADELPHIA PA 19103
GUISE, KAREN                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
GUISTI, ROSE                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
GUITIERREZ, MARYBETH            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GUITY, KATHY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GUITY, KATHY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
GUITY, KATHY                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GUITY, KATHY                    PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
GUKASYAN, ANNA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GULICH, BROOK                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
GULKHANDIA, SUDHA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GULKIS, ARLENE                  THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                FERRARO, JR, JAMES L MIAMI FL 33131
GULLETT, CHRISTINA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GULLETTE, VERNA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GULLEY, ALICE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GULLEY, PEGGY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GULLEY, SHEILA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GULLIFORD, RUTH                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
GULLMAN, ELIZABETH              GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
GUMINSKI, ALICE                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
GUMM, BRENDA                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GUMM, DIANA                     NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
GUMM, LANA                      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GUMPERT, LINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUNBY, TERESA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
GUNDBERG, JOANN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GUNDO, KARRIE                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
GUNN, SUSAN                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
GUNNELS, STEFANIE               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GUNTER, BARBARA                 MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
GUNTER, KAREN                   DRISCOLL FIRM, P.C. JOHNSON, PAUL W. 211 N. BROADWAY, STE. 2440 ST. LOUIS MO
                                63102
GUNTER, SHIRLEY                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
GUNTER, SHIRLEY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GUNTER, TANYA                   MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
GUNTER, TONYA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUNTER, WANDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
GUNTHER, MAIDA                  CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319


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                                                        List
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Claim Name                             Address Information
GUPTILL, MARY                          MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
GUPTON-BEARD, RUBY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
GURAL, MAUREEN                         LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
GURGA, CAROL                           HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                       AL 03520
GURGANIOUS-STANLEY, WENDY              NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                       11747
GURGANUS, MARILYN                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
GURGANUS, MARILYN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GURGANUS, MARILYN                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GURGANUS, MARILYN                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
GURLEY, EARLINE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GURLEY, MARY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GURROLA, MARGARITA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
GURULE, ILEEA                          DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
GUSE, CAROL                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUST, MARSHA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUSTA, PRISCILLA                       THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                       CHARLESTON WV 25301
GUSTAFSON, CASSANDRA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
GUSTAFSON, LINDA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
GUSTAFSON, PAULETTE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
GUSTAFSON, SHARON                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
GUSTAFSON, SHARON; WHITNEY; JENNIFER   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
GUSTAVSON, NANCY                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
GUSTIN, ANGELA                         WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
GUSTMAN, SUSAN                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUTHEIL, DENISE                        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GUTHRIE, BETTY                         MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
GUTHRIE, LORI                          FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
GUTHRIE, TAMMY                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
GUTIERREZ, ANA                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
GUTIERREZ, ANGELA                      EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP EICHEN, BARRY R. & KELLY, JOHN P 40
                                       ETHEL ROAD EDISON NJ 08817
GUTIERREZ, CHRISTINE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUTIERREZ, JESSICA                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GUTIERREZ, LINDA                       GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
GUTIERREZ, LUCY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUTIERREZ, MARGARITA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
GUTIERREZ, NELDA                       GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103


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Claim Name                        Address Information
GUTIERREZ, RINA                  JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
GUTIERREZ, ROSLINDA              WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
GUTIERREZ, YOLANDA               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                 PA 19102
GUTIERREZ-CARRABALLO, GLORA      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
GUTMAN, ANN                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                 EMILY FAIRFAX VA 22031
GUTMAN, ANN                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
GUTOWIECZ, NATALIE               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                 PA 19102
GUTSHALL, NANCY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUTTILLA, CHRISTINE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
GUY, JANET                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                 STREET, SUITE PENSACOLA FL 32502
GUY, JONIQUE                     BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
GUY, KAREN                       ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                 ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
GUY, NANCY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUY, SHIRLEY                     THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                 CHARLESTON WV 25301
GUY, TRESSA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUYER, EVA                       NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                 11747
GUYETTE, TERESA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUYNES, LOIS                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
GUYNES, LOIS                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
GUYNES, LOIS                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                 ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GUYON, PATRICIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
GUZMAN, BARBARA                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                 BOUNDAS, JOHN T. HOUSTON TX 77017
GUZMAN, CHRISTINA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                 STREET, SUITE PENSACOLA FL 32502
GUZMAN, HILDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUZMAN, JUDY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUZMAN, LILLIAN                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                 KANSAS CITY MO 64196
GUZMAN, LISA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
GUZMAN, MARIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
GUZY, JADWIGA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
GWENDOLYN HAMLIN                 TORHOERMAN LAW LLC DAVIS, STEVEN 101 W. VANDALIA SUITE 350 EDWARDSVILLE IL
                                 62025
GWYNNE, ALICIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
GWYNNE, ALICIA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157



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GWYNNE, ALICIA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
GYLLING, LENORA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
GYORY, ESTER                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAACK, DEBORAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAACK, PATRICIA                 ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
HAAG, CAROL                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HAAG, CAROL                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
HAAG, JEAN                      THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
HAAG, MARY                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HAAG, NANCY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAAS, COLLEEN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HAAS, DEBRA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HAAS, JOANNE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HAAS, JOANNE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAAS, JOANNE                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HAAS, JOANNE                    PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
HAAS, JOANNE                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HAAS, JUDITH                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HAAS, MARGUERITE                THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
HAASE, JUSTINE                  BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
HAATVEDT, KELLIE                SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
HABEKOTT, KATHERINE             DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HABERSHAM, JANET                SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
HABIG, JACQUELINE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HACHEM, FATME                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
HACHEM, FATME                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HACHEM, FATME                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HACHEM, FATME                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HACHEY, NOREEN                  NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
HACHEY, SAYLA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HACKERMAN, SHARON               POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                BRASLOW, DEREK T CONSHOHOCKEN PA 19428
HACKETT, CAROL                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
HACKETT, DEBORAH                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HACKETT, VEOLA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HACKETT-MAINE, DEBORAH          POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098


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HACKLEY, CLARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HACKMAN, ANGELA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HACKNEY, PATRICIA               TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
HADA, JYOSTNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HADAD, ANITA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HADDAD, DORIS                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
HADDEN, JANE                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HADDEN, MAUREEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HADDOCK, MARIE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HADDOX, JEAN                    SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
HADLEY, BARBARA                 FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
HADLEY, DANA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HADLEY, TRINA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
HADNOT, JANA                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
HADSELL, MARGARET               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HAEBLER, TRIXIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HAEFELE, CINDY                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HAEHL, MICHELLE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAEMMERLE, SANTINA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAFER, LISA                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HAFFNER, SHARON                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HAFFNER, VIRGINIA               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HAFFNER, VIRGINIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HAFFORD, ETTA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAFNER, MARGIE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HAGADORN, JESSICA               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
HAGAN, ANGELA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HAGAN, HEATHER                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAGAN, KATHRYN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HAGAN, LEONA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAGAN, LEONA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HAGAN, LEONA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HAGAN, LORETTA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HAGAN, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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HAGAN, VIRGINIA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAGANS, LILLIE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
HAGE, TERESA                            FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                        THOMAS ROE NASHVILLE TN 37215
HAGEMANN, NICOLE; SCHWABENLAND, LINDA   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                        ORANGE VA 02296
HAGEMANN, PAMELA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAGEMEIER, DEBORAH                      LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                        SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
HAGEN, STACIE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAGENDORF, ALICE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
HAGENDORF, MARIAN                       WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                        DALLAS TX 75219
HAGER, JACKIE                           DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HAGER, KAREN                            THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
HAGER, MARY                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
HAGER, SUZANNE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAGERMAN, JOAN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAGERTY, ELLEN                          WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                        NJ 08002
HAGGARD, ISABEL                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAGGERTY, GLORIA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
HAGGERTY, KIM                           ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
HAGGERTY, MARIA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAGLER, JEAN                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAGLER, KRISTEN                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
HAGLER, NANCY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
HAGLER, TRACY                           FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
HAGOOD, CORA                            ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
HAGOOD, CORA                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
HAGUE, ROBERTA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
HAHN, BETTY                             ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HAHN, KATHLEEN                          BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
HAHN, SHELBA                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
HAHN, VERA                              HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
HAIGH, MICHELE                          GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                        MINNEAPOLIS MN 55402
HAIGHT, MARJORIE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAILE, SHEILA                           GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                        MINNEAPOLIS MN 55402
HAILE, SHEILA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAILE, SHEILA                           THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157


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Claim Name                       Address Information
HAILE, SHEILA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HAILEY, KRYSTAL                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HAILEY, MARTHA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HAILS, ANNE                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HAILS, ANNE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HAILS, ANNE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAILS, ANNE                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HAILS, ANNE                     PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
HAINER, JODI                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
HAINES, HAROLYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAINES, SHARON                  DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
HAINES, SHAWN                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
HAINES, SUSAN                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
HAINEY, VICKIE                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
HAINS, NANCY                    MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
HAIR, JACQUELINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HAIR, KELLEY                    MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
HAIRSTON, DWANA                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
HAIRSTON, DWANA                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
HAIRSTON, ORA                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
HAISLIP, JANIE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HAISLIP, JANIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
HAKE, ANGELEA                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HAKE, ROSALIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAKE, ROSALIE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HAKE, ROSALIE                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HAKEEM, TRINESHA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HAL-HENDERSON, TONYA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALAGARDA, BEV                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HALAY, RENEE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALBACH, ANN                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HALBAUER, VIRGINIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALBERSTAM-HIRSCH, HELEN        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HALBERSTAM-HIRSCH, HELEN        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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HALBERSTAM-HIRSCH, HELEN           MEADOWS, TED G. MONTGOMERY AL 36104
HALBERT, RENEE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALBERT, VIRGINIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALBOTH, LORETTA                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                   75202
HALE, BETTY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALE, DEBRA                        THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                   CHARLESTON WV 25301
HALE, FANNIE                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
HALE, IMOJEAN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALE, INEZ                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HALE, JOANN                        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
HALE, KATHY                        ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HALE, LINDA                        THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                   CHARLESTON WV 25301
HALE, LINDA                        TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                   62025
HALE, ROXANNE                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
HALE, SHARON                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HALE, SUN                          CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                   ATLANTA GA 30319
HALEEM, CAROL                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALEY, BESSIE                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
HALEY, BETHANY                     MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
HALEY, GRACE                       HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                   63101
HALEY, JANICE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALEY, JENIFFER                    DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                   KANSAS CITY MO 64196
HALEY, JENIFFER                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
HALEY, JUDY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALFHILL, STELLA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALFON, VICTORIA                   BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
HALIFAX, SHELLEY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                   77098
HALKIAS, MARTHA                    HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                   63101
HALL, AMANDA                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HALL, AMBER                        WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                   NJ 08002
HALL, AMBER                        ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
HALL, ANDREA                       DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HALL, ANITRA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL, ANNA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231


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HALL, ATHENE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL, AUDREY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL, BARBARA                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
HALL, BARBARA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HALL, BARBARA                      SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
HALL, BARBARA                      TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                   62025
HALL, BARBARA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL, CANDICE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL, CASSANDRA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
HALL, CATHY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL, CHARLIE                      CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                   GA 30009
HALL, CHARLIE                      BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                   30060
HALL, CHRISTINE                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
HALL, CYNTHIA                      MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
HALL, DEBORAH                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL, DEBRA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HALL, DIANA                        GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
HALL, DIANA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL, DIANA                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HALL, DIANA                        PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HALL, DIANNE                       DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HALL, DONNA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL, EDDIE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL, ELISABETH                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
HALL, ELIZABETH                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL, ERIN                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HALL, FALLON                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
HALL, HEATHER                      GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
HALL, HEATHER                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL, HEATHER                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HALL, HEATHER                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HALL, IRA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HALL, IRA                          GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
HALL, IRA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL, IRA                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HALL, IRA                          PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768



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Claim Name                       Address Information
HALL, JACKLYN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HALL, JOSEPHINE                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HALL, JOYCE                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HALL, KAREN                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HALL, KAREN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL, KATHY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL, LEKEITHSHA                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
HALL, LEZAH                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HALL, LINDA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HALL, LINDA                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
HALL, LINDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL, LINDA                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HALL, LINDA                     LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
HALL, LINDA                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HALL, LINDA                     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
HALL, LORANETTA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL, LORRAINE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HALL, LORRAINE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HALL, MABLE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HALL, MABLE                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
HALL, MABLE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL, MABLE                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HALL, MABLE                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HALL, MARJORIE                  BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
HALL, MARTHA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HALL, MARY                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HALL, MARY                      NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
HALL, MICHELLE                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HALL, MILILANI                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HALL, MONA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HALL, NADINE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL, NANCY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL, NORMA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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HALL, NORMA                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
HALL, NORMA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL, NORMA                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HALL, NORMA                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HALL, PAMELA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
HALL, PATRICIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL, PATRICIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HALL, PAULA                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HALL, RACHEL                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HALL, ROBIN                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HALL, SABRINA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HALL, SADIE                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HALL, SARA                      JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
HALL, SARAH                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HALL, SHABRADIA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HALL, SHANDEE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL, SHANNON                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HALL, SHARON                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
HALL, SHELIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HALL, SHERRY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL, STEPHANIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HALL, SUSAN                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HALL, TAMELA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HALL, TARA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HALL, TAWNYA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HALL, TERESA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL, TWAYNA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HALL, VANESSA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HALL, VANESSA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HALL, YVONNE                    SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
HALL-BURTON, WANDA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALL-NASH, MAMIE                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
HALL-NASH, MAMIE                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266



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Claim Name                       Address Information
HALL-NASH, MAMIE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HALL-PAYTON, SARAH              NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
HALL-RAMSEY, SHIRLEY            DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
HALL-RAMSEY, SHIRLEY            LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HALL-RAMSEY, SHIRLEY            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HALL-STEVENS, OCTAVIA           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HALLAM, PATRICIA                JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
HALLER, DENISE                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HALLIDAY-CORNELL, FRANCES       GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
HALLIDAY-CORNELL, FRANCES       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HALLIDAY-CORNELL, FRANCES       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALLIDAY-CORNELL, FRANCES       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HALLIDAY-CORNELL, FRANCES       PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HALLIGAN, MAUREEN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HALLMAN, VALENCIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALLORAN, CYNTHIA               BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
HALLORAN, MARILYN               HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
HALLOWELL, LEIGH                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HALLSTROM, KATHY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HALMAS, KELLY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HALPERIN, JULIE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HALPERN, SANDRA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HALSEY, LOVELLE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HALSEY, PEGGY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HALSEY, PEGGY                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
HALSEY, PEGGY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALSEY, PEGGY                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HALSEY, PEGGY                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HALSTEAD, JUNE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALSTEAD, SHIRLEY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALTER, AMADA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HALTERMAN, BETHANY              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HALVORSON, JUNE                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO



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Claim Name                       Address Information
HALVORSON, JUNE                 63102
HALVORSON, NANETTE              THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
HALWERIZ, CHRISTINE             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HALYE, NAYON                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HAM, KELLEY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HAMBAUGH, JULIANNA              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HAMBERSONIAN, ALIS              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HAMBLIN, FOREST                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HAMBRIC, ROBERTA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HAMBRIGHT, DEBRA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAMBY, CONSTANCE                HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
HAMBY, KATHY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HAMBY, MARANDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HAMBY, ROBYN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HAMBY, SHAWNA                   MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
HAMEL, LINDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HAMEL, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAMEL, LINDA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HAMEL, LINDA                    PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
HAMEL, LINDA                    KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
HAMEL, TERESA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAMES, LISA                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HAMIEL, STEPHANIE               HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
HAMILL, CATHERINE               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HAMILL, LYNNE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HAMILL, LYNNE                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
HAMILL, LYNNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAMILL, LYNNE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HAMILL, LYNNE                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HAMILTON, ALICE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HAMILTON, ALICE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAMILTON, ALICE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HAMILTON, ALICE                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HAMILTON, ALLEYENE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAMILTON, ANNE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAMILTON, BARBARA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
HAMILTON, BEULAH                KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
HAMILTON, BEVERLY               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HAMILTON, BEVERLY               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
HAMILTON, CAROLYNA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAMILTON, CINDY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HAMILTON, CYNTHIA               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HAMILTON, DAYANA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HAMILTON, DEBBIE                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HAMILTON, DEBORAH               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HAMILTON, DIANNE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HAMILTON, DOMINQUE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HAMILTON, DONNA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HAMILTON, ELEANOR               NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
HAMILTON, ESSIE                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HAMILTON, ETHEL                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
HAMILTON, FRANKIE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HAMILTON, JACQUELINE            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HAMILTON, JO LETA               MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
HAMILTON, KAREN                 THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
HAMILTON, KARIN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAMILTON, LINDA                 LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                NICHOLAS LAKE CHARLES LA 07060
HAMILTON, MAE                   ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
HAMILTON, MARSHIA               DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HAMILTON, MAUREEN               DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HAMILTON, OLA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAMILTON, PEGGY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HAMILTON, RUBY                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HAMILTON, SAMANTHA              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HAMILTON, TAMMYE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HAMILTON, TANGELA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HAMILTON, TRACY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                                Address Information
HAMILTON, TRACY                          MEADOWS, TED G. MONTGOMERY AL 36104
HAMILTON-RODGERS, HOPLE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAMLET, CAROL                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAMLET, URSULA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAMM, CONNIE                             SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
HAMM, CYNTHIA                            SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                         19103
HAMM, DOROTHY                            FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HAMM, GEORGIA                            JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
HAMMACK, TRINA                           JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
HAMMER, DIANA                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
HAMMER, JESSICA                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
HAMMER, JESSICA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
HAMMER, JONI                             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
HAMMER, MARY                             DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                         ANTHONY ST. LOUIS MO 63102
HAMMER, MARY                             LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HAMMER, MARY                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HAMMER-ALLEN, MICHELLE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
HAMMERS, LORRAINE                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
HAMMERSLEY, BARBARA                      ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                         LOUIS MO 63119
HAMMERSTAD-SMITH, ASHHLEY                WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                         DALLAS TX 75219
HAMMETER, DIANE                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
HAMMETT, KERRY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
HAMMITT, MARION                          DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                         ANTHONY ST. LOUIS MO 63102
HAMMITT, MARION                          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HAMMITT, MARION                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HAMMITT, TINA                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
HAMMOCK, BETTY                           ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HAMMOCK, BETTY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
HAMMOCK, DAVID, ESTATE OF S HAMMOCK      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                         NJ 08648
HAMMOCK, JOANNE                          SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                         77098
HAMMOND, ABIGAIL                         BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                         70130



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                                       LTL Management LLC
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Claim Name                       Address Information
HAMMOND, ABIGAIL                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
HAMMOND, BRENDA                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
HAMMOND, GRACE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HAMMOND, JORDAN                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HAMMOND, PATRICIA               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
HAMMOND, PATRICIA               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HAMMOND, PATRICIA               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HAMMOND-WILLIAMS, JEANETTE      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HAMMONDS, AMY                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HAMMONDS, LIZZIE                KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
HAMMONDS, LIZZIE                LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
HAMMONDS, RENEE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAMMONS, LISA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAMOLTON, MELODIE               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HAMPEL, TRISHA                  TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
HAMPSHIRE, ELIZABETH            SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
HAMPTON, BETTY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HAMPTON, CATHERINE              BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
HAMPTON, CATHERINE              BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
HAMPTON, CHRISTY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAMPTON, CYNTHIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HAMPTON, ETHELENE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAMPTON, EVELYN                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
HAMPTON, JOYCE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HAMPTON, JUDY                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
HAMPTON, SHIRLEY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAMPTON, SUSAN                  SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
HAMRICK, BRENDA                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
HAMRICK, DEBORAH                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HAMRICK, DEBORAH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HANAVAN, MARSHA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HANCHULAK, THERESA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HANCOCK, BARBARA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
HANCOCK, CONNIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HANCOCK, ELIZABETH              GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
HANCOCK, JANICE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HANCOCK, JENNIFER               SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
HANCOCK, KAREN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HANCOCK, LOIS                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HANCOCK, MARY                   BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
HANCOCK, SHARON                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HANCOCK, TAMMY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HANCOCK, TAMMY                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
HAND, HAZEL                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HANDELMAN, KIM                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HANDELMAN, KIM                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HANDELMAN, KIM                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HANDELMAN, KIM                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HANDER, CAROL                   MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
HANDFORD, LATASHA               NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
HANDLEY, ALICIA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HANDLEY, MARJORIE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HANDLEY, WANDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HANDORGAN, CECELIA              LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HANDORGAN, CECELIA              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
HANDSHOE, ANNIS                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HANDY, BESSIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HANDY, DOLORAE                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
HANDY, EARLENE                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
HANDYSIDE, GLORIA               DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
HANENKRATT, SANDRA              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
HANES, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HANEY, DEBRA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HANEY, MARY                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
HANGES, JANICE                  BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA



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Claim Name                          Address Information
HANGES, JANICE                     30603
HANKINS, JOYCE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HANKINS, JUANITA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
HANKINS, TRACY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HANKINS, TRACY                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HANKINS, TRACY                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HANKINS, VANESSA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HANKS, BEVERLY                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HANKS, EDNA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HANLEY, LAURA                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HANLEY, LAURA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HANLEY, LINDA                      MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                   TAMPA FL 33602
HANLEY, SANDRA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HANLEY, SHANNON                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HANMER, EDNA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HANN, SUE                          ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HANN, SUE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HANNA, PATRICIA                    MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                   TAMPA FL 33602
HANNA, SANDRA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HANNA, SUSAN                       BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                   70130
HANNA, SUSAN                       BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                   75202
HANNA, TINA                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
HANNA, YAMILET                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
HANNAH, CATHERINE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
HANNAH, CATHERINE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HANNAH, DAWN                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HANNAH, DAWN                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HANNAH, DAWN                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HANNAH, DAWN                       PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HANNAN, CHARLOTTE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
HANNAN, GEORGIA                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                   PR 00918
HANNAN, GRETCHEN                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
HANNIGAN, DEYANIRA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HANNIGAN, DEYANIRA                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.


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                                       LTL Management LLC
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Claim Name                       Address Information
HANNIGAN, DEYANIRA              MINNEAPOLIS MN 55402
HANNIGAN, DEYANIRA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HANNIGAN, DEYANIRA              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HANNIGAN, DEYANIRA              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HANNING, LILLIAN                HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
HANSBURY, CRYSTAL               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HANSELMAN-WONG, ELIZABETH       BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
HANSEN, BRENDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HANSEN, CAROL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HANSEN, CHARLOTTE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HANSEN, CINDY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HANSEN, DENISE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HANSEN, ELSIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HANSEN, EVELYN                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
HANSEN, JO-ANN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HANSEN, JO-ANN                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HANSEN, KATHIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HANSEN, MARYANN                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HANSEN, NANCI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HANSEN, NANCI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HANSEN, NANCI                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HANSEN-BAWS, CAROLE             CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
HANSL, ANNE                     BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
HANSON, ANTOINETTE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HANSON, CHARLOTTE               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HANSON, CHARLOTTE               MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
HANSON, CINDY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HANSON, ELAINE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HANSON, ERIN                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HANSON, JANE                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HANSON, JUANITA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HANSON, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HANSON, LUPE                    BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
HANSON, MELISSA                 MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
HANSON, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HANSON, REBECCA                 SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573


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                                                  List
                                                      Entered 02/17/22 16:31:44            Desc Main
                                  Document    Page 605 of 1437
Claim Name                       Address Information
HANSON, SHERRY                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
HANSON, SUSAN                   THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
HANTON, MADELINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAPGOOD, SUSAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARABUC, VIRGINIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARABUC, VIRGINIA               GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
HARABUC, VIRGINIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARABUC, VIRGINIA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HARABUC, VIRGINIA               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HARALDSON, ROBIN                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
HARBAUGH, BEVERLY               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HARBIN, AVERL                   DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
HARBIN, DORTHY                  BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
HARBISON, BETTY                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HARBISON, BETTY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARBY, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARDAGE, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARDEE, LINDA                   MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
HARDELL, RUTH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARDEN, SHARON                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HARDERS, CHRISTINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARDESTY, DEBORAH               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARDESTY, DEBORAH               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARDESTY, DEBORAH               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HARDESTY, DEBORAH               PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
HARDESTY, HESPERANSA            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HARDESTY, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARDESTY, PATRICIA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HARDIMAN, LYNN                  SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
HARDIN, ATHANIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARDIN, CHARLOTTE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARDIN, JENNIFER                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARDIN, KASSANDRA               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
HARDIN, KATHLEEN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARDIN, SHARON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARDIN, STACEY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARDING, BOBBIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231

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                                                  List
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Claim Name                       Address Information
HARDISON, BARBARA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARDISON, SHARIF                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HARDUNG, WANDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARDWICK, GERI                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HARDWICK, SONJA                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
HARDY, CAROL                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HARDY, CONCETTA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARDY, ERAINA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARDY, ERAINA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARDY, ERAINA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HARDY, ERAINA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HARDY, JENAVISA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HARDY, KATHLEEN                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HARDY, KATHLEEN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARDY, ROBIN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARDY, SHAPHONIA                MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
HARE, CATHERINE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HARE, KRISTINE                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
HARE, VICKI                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HAREMZA, GRACE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HARGET, JACQUELINE              DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
HARGET, JACQUELINE              LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
HARGET, JACQUELINE              LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HARGET, JACQUELINE              ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
HARGET, JACQUELINE              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HARGETT, DEBORAH                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HARGETT, DEBORAH                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
HARGETT, JOAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARGIS, ELIZABETH               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARGIS, JUDY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HARGRAVE, DANISHIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARGRAVE, DONNA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231



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Claim Name                             Address Information
HARGROVE, GAIL                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
HARGROVE, JENNIFER                    BEASLEY ALLEN CROW METHVIN PORTIS &MILES JAMES, L., ODELL, P. & SCOTT, B. 218
                                      COMMERCE STREET MONTGOMERY AL 36104
HARGROVE, JENNIFER                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARGROVE, JENNIFER                    THE POTTS LAW FIRM, LLP 3737 BUFFALO SPEEDWAY STE 1900 HOUSTON TX 77098
HARGROVE, JUDITH                      WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                      BOUNDAS, JOHN T. HOUSTON TX 77017
HARGROVE, LUCILLE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
HARGROVE, TONI                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
HARGROVE, TONI                        GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                      MINNEAPOLIS MN 55402
HARGROVE, TONI                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARGROVE, TONI                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HARGROVE, TONI                        PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HARGROVE, TONI                        SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                      90401
HARI, RENE                            GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                      MINNEAPOLIS MN 55402
HARJO, APRIL                          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HARJO, APRIL                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                      ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
HARJO, CYNTHIA                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                      EMILY FAIRFAX VA 22031
HARJO, CYNTHIA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
HARKER, KATHLEEN                      COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                      INDIANAPOLIS IN 46204
HARKNESS, VICTORIA; YAMAKI, MARY      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                      ROBINSON, JR. MARK P. KAR NEWPORT BEACH CA 92660
HARLAN, CHERYL                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
HARLAN, JUDYTH                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      LAMPKIN II, JAMES W. MONTGOMERY AL 36104
HARLAN, JUDYTH                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARLAND, SHONDA                       MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                      11050
HARLOW, LINDA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
HARLOW, MELISSA                       ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                      77007
HARMAN, SHIRLEY                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
HARMER, CATHERINE                     JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
HARMER, WENDY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARMON, ELISA                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HARMON, HELDA                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HARMON, ILA                           FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HARMON, TANGERLEY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231



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Claim Name                       Address Information
HARMS, MILDRED                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HARNER, MONA                    KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
HARNESS, CRYSTAL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARNESS, LORRAINE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HARNEY, KIMBERLI                MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
HARNEY, THERESA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAROLD, MONIQUE                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HAROLD-GRAHAM, CHERYL           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARP, CEANNA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HARP, SHIRLEY                   HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
HARPER, ANNETTE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARPER, BELINDA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HARPER, DENISE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARPER, GLORIA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
HARPER, HILDA                   LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET KOHRS, NICHOLAS HIGHTOWER,
                                KRISTIE LAKE CHARLES LA 07060
HARPER, IRENE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARPER, JEWELL                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
HARPER, JEWELL                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HARPER, JEWELL                  LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
HARPER, JEWELL                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HARPER, JEWELL                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
HARPER, JO ANN                  SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
HARPER, KATHERINE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARPER, LARINE                  KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
HARPER, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARPER, MARY                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HARPER, PAMELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARPER, SAMARIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARPER, SHERRI                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
HARPER, SHERYLL                 THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
HARPER, STEPHANIE               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HARPER, TAMMY                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660



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Claim Name                       Address Information
HARPER, WHITNEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARPER-KRISSMAN, JILL           FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HARPP, BETH                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HARPP, BETH                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARRAKA, JANICE                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HARRELL, ANGELA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HARRELL, BELINDA                DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
HARRELL, BRENDA                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
HARRELL, CATHERINE              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HARRELL, DEBORAH                SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
HARRELL, DELORES                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRELL, JANE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARRELL, JOANNE                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HARRELL, JOANNE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARRELL, MICHELE                COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
HARRELL, MICHELE                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD GORI, RANDY
                                L. EDWARDSVILLE IL 62025
HARRELL, MICHELLE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRELL, PAMELA                 THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
HARRELL, SHERRY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRELL, SUSAN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARRELL, VICKY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRELSON, KATHRYN              THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
HARRELSON, SARAH                BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
HARRER, TAMMY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIET COLLINS                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
HARRIGAN, CATHERINE             POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
HARRIGER, MARY                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HARRINGTON, BARBARA             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HARRINGTON, CAROL               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HARRINGTON, CAROL               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
HARRINGTON, DAWN                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
HARRINGTON, DEBRA               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HARRINGTON, JANET               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRINGTON, JONNET              DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HARRINGTON, MARY                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HARRINGTON, ROSE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
HARRINGTON, SANDRA              SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
HARRINGTON, SARAH               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HARRINGTON, SARAH               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARRINGTON, VIRGINIA            LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                NJ 08648
HARRINGTON, YVONNE              THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
HARRINGTON-GREENE, SANDRA       ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HARRIS, ALISON                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HARRIS, ANDREA                  CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
HARRIS, ANGELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, ANNETTE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, ANNIE                   TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
HARRIS, ASHLEY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HARRIS, AYESHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, BARBARA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HARRIS, BARBARA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HARRIS, BENITA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HARRIS, BETTY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, BEULAH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARRIS, BEVERLY                 JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
HARRIS, CARLA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HARRIS, CAROL                   COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
HARRIS, CAROLYN                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILSON, MICHAEL A. BUFFALO NY
                                14202-3725
HARRIS, CAROLYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, CAROLYN                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HARRIS, CHANDRA                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HARRIS, CHRISTY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARRIS, CODY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HARRIS, CREOLA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, CYNTHIA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HARRIS, DEANNA                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
HARRIS, DEANNA                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
HARRIS, DEBBIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, DEBORAH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARRIS, DEBORAH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, DEBORAH                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157


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Claim Name                                Address Information
HARRIS, DEBORAH                          PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
HARRIS, DELORES                          NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                         11747
HARRIS, DIANE                            THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
HARRIS, DIANE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, DIANNE                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
HARRIS, DONNA                            WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                         BOUNDAS, JOHN T. HOUSTON TX 77017
HARRIS, DORIS                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, ELAINE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, ELIZABETH                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
HARRIS, ERIKA                            NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                         11747
HARRIS, EVELYN                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
HARRIS, GLORIA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, GWENDOLYN                        POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                         LECKMAN, T. MATTHEW CONSHOHOCKEN PA 19428
HARRIS, GWENDOLYN                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
HARRIS, JACQUELINE                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
HARRIS, JACQUELYN                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
HARRIS, JANELL                           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
HARRIS, JANELLE                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                         77098
HARRIS, JANET                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
HARRIS, JANET                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, JANICE                           ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
HARRIS, JARNELL                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, JAYLYNN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, JEAN                             GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                         MINNEAPOLIS MN 55402
HARRIS, JENNIFER                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, JESSICA                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
HARRIS, JOHN EST OF JULIANNE HARRIS      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
HARRIS, JOYCE                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
HARRIS, JOYCE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, JOYCE                            THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HARRIS, JOYCE                            PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HARRIS, JOYCE                            THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
HARRIS, JOYCE                            WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700



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Claim Name                             Address Information
HARRIS, JOYCE                          DALLAS TX 75219
HARRIS, JUDITH                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, JUDY                           THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
HARRIS, JULIE                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HARRIS, JUNE                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
HARRIS, KAREN                          HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                       AL 03520
HARRIS, KATHY                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
HARRIS, KATHY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
HARRIS, KENDRA                         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HARRIS, KENDRA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
HARRIS, KENYETTA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
HARRIS, KIMBERLY                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
HARRIS, KIMBERLY                       GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                       MINNEAPOLIS MN 55402
HARRIS, KIMBERLY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, KIMBERLY                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HARRIS, KIMBERLY                       PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HARRIS, KIMBERLY                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
HARRIS, KIMBERLY AND HARRIS, MICHAEL   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                       HILL NJ 08002
HARRIS, LASHIKA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
HARRIS, LAURA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, LILLIE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
HARRIS, LINDA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, LINDA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
HARRIS, LISA                           JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                       PAUL MN 55101
HARRIS, LISA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, MABEL                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
HARRIS, MABEL                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
HARRIS, MARIAN                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
HARRIS, MARION                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, MARY                           DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HARRIS, MARY                           DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                       ANTHONY ST. LOUIS MO 63102
HARRIS, MARY                           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX



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Claim Name                       Address Information
HARRIS, MARY                    77098
HARRIS, MARY                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HARRIS, MARY                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HARRIS, MAXINE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HARRIS, MELVINA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HARRIS, MILDRED                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, NATASHA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, NATASHA                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
HARRIS, NETTY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HARRIS, ODIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HARRIS, OZELLA                  MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
HARRIS, PAMELA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HARRIS, PAMELA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARRIS, PATRICIA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HARRIS, PATRICIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARRIS, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, PAULETTE                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
HARRIS, PAULETTE                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HARRIS, PAULETTE                LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
HARRIS, PAULETTE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HARRIS, PAULETTE                ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
HARRIS, RACHAEL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, RHONDA                  WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
HARRIS, RITA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARRIS, RITA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
HARRIS, RITA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, RITA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HARRIS, RITA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HARRIS, ROBBIN                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
HARRIS, ROBIN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, ROSIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, SANDRA                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HARRIS, SANDRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, SHANNON                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                              Address Information
HARRIS, SHAROL                         MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                       DAVID M. MINNEAPOLIS MN 55404
HARRIS, SHARON                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, SHAUNTOY                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
HARRIS, SHELIA                         MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                       KNOXVILLE TN 37929
HARRIS, SHELIA                         HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                       63101
HARRIS, SHEVONE                        NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                       11747
HARRIS, SONYA                          WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                       NJ 08002
HARRIS, STEPHANIE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, TAYLOR                         DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                       63102
HARRIS, TERRY                          FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HARRIS, TIFFANI                        SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
HARRIS, TOCCARA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS, TRACIE                         THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
HARRIS, VENESSIA                       ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
HARRIS, VICTORIA                       WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                       NJ 08002
HARRIS, ZANIESHA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
HARRIS-DAVIS, KATIE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
HARRIS-HACKWORTH-MALDONADO, TONYA      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
HARRIS-PENNINGTON, JANET               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRIS-THOMAS, BRENDA                  MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                       KNOXVILLE TN 37929
HARRISON, ANNETTE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRISON, CARMEN                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRISON, CAROL                        CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
HARRISON, DAISY                        FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HARRISON, JACQUELINE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRISON, JANE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRISON, KATHALEEN                    BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                       ROBERT BRENT LOS ANGELES CA 90024
HARRISON, KATIE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRISON, KRYSTAL                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
HARRISON, LINDA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
HARRISON, LYKEISHA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
HARRISON, MARILYN                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
HARRISON, MARILYN               GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
HARRISON, MARILYN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRISON, MARILYN               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HARRISON, MARILYN               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HARRISON, MARION                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRISON, MARLENE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARRISON, MARY                  KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
HARRISON, MARY                  LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
HARRISON, MICHELLE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRISON, MYRTLE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HARRISON, RACHEL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARRISON, RACHEL                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HARRISON, RACHEL                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HARRISON, RAYNA                 BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
HARRISON, REBECCA               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HARRISON, RUTH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARRISON, VIVIAN                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HARRISON, WILLIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARROD, JENNIFER (GILBERT)      THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
HARROLD, MARY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HARROW, SHARON                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HARROW, SHARON                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARSH, TAMMY                    THE SEGAL LAW FIRM AMOS, II, CHARLES EDWARD & SEGAL, SCOTT 810 KANAWHA BLVD,
                                EAST CHARLESTON WV 25301
HARSHAW, MARY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HARSHBARGER, ANGELA             FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
HARSHBERGER, LINDA              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HARSHEY, PAULA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HARSTAD, SHIRLEY                THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
HART, ADDIE                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
HART, ANGELA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HART, DEBORAH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HART, ELIZABETH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HART, JOAN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HART, OLLIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HART, PATRICIA                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
HART, QUEEN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
HART, REBEKAH                   BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
HART, SAHAJA                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HART, SANDRA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HART, SHERRY                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HART, SHERRY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HART, SONJA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HART, STACEY                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
HART, TAMMY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HART, TAMMY                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HART, TICOPIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HART-HARRIS, BEVERLY            MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
HARTIE, MARTHA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HARTLEIN, VIRGINIA              DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
HARTLEIN, VIRGINIA              LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HARTLEIN, VIRGINIA              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HARTLESS, JANET                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARTLEY, GEORGIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARTLEY, JANE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARTLEY, LINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARTLEY, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARTLEY, PAMELA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARTLEY, PAMELA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HARTMAN, DEBRA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HARTMAN, DEBRA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARTMAN, DEIDRA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HARTMAN, DOROTHY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARTMAN, HEIDI                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HARTMAN, HEIDI                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
HARTMAN, LINDA                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
HARTMAN, MARCELLA               MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
HARTMAN, MARSHA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HARTMAN, TEANN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARTMAN, TONIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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Claim Name                       Address Information
HARTMAN, TONIA                  75231
HARTMANN, KIMBERLY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARTNETT, DARLA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HARTSFIELD, LADEVIA             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HARTSHORNE, TERRI               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
HARTSOCK, KAREN                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HARTUNG, DIANE                  MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
HARTWEG, ANN                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HARTWELL, DARNELL               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARTWELL, ELLA                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
HARTWELL, JAMIE                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HARTWIG, AMY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HARTY, DONNA                    MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
HARTZELL, SHARITY               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HARVESTON, LELIA                BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
HARVEY, ANGELA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HARVEY, BLANCHE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HARVEY, DOROTHY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARVEY, ISABEL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARVEY, JENNY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HARVEY, JOYCE                   MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
HARVEY, KAREN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HARVEY, KATHY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARVEY, NORENE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARVEY, PAMELA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HARVEY, PATRICIA                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
HARVEY, SHASTA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HARVEY, SHERRELLE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HARVEY, VERA                    HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
HARVEY, VICTORIA                SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002


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Claim Name                       Address Information
HARVEY, VONTRECIA               LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
HARVEY-STEVENS, LINDA           THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
HARVILLE, JANIS                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HARWICK, MARGARET               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HASAKA, ROXANNA                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
HASBARGEN, DEBRA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
HASCALL, SHERRIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HASENAUER, MICHELLE             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HASHAW, DIANA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HASHIM, SADIYA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HASHMAN, MICHON                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HASKELL, FLORENCE               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
HASKEW, JACQUELINE              HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
HASKIN, RUBY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HASKINS, CAROL                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
HASKINS, PATTY                  TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
HASKINS, SARAH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HASLACKER, ONEITA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HASPER, STEPHANIE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HASSE, BARBARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HASSELL, GALE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HASSELL, RACHEL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HASSLER, EDITH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HASTINGS, COURTNI               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HASTINGS, DIANA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HASTINGS, JUDITH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HASTINGS, KATHY                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HASTINGS, YVONNE                HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
HATANAKA, SARA                  KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
HATCH, PATRICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HATCH, SHARON                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HATCH, TANYA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HATCH, TANYA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HATCH, TANYA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HATCH-WILLS, CHRISTY            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HATCH-WILLS, CHRISTY            THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157


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Claim Name                        Address Information
HATCH-WILLS, CHRISTY             PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HATCHER, EMMA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                 EMILY FAIRFAX VA 22031
HATCHER, EMMA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
HATCHER, MARJORIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
HATCHER, MELISSA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HATCHER, NANNETTE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HATCHER, PAULA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                 EMILY FAIRFAX VA 22031
HATEM, GERDA                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                 ORANGE VA 02296
HATFIELD, DONNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HATFIELD, ELIZABETH              BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                 30603
HATFIELD, JANICE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HATFIELD, TERESA                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
HATLEY-HENDRICKSON, JASMINE      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HATMAKER, VICKIE                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 NEW ORLEANS LA 70130
HATTAN, EILEEN                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HATTEN, HELEN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HATTEN, JASMINE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
HATTERMAN, PAT                   REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                 BINSTOCK, ROBERT J. HOUSTON TX 77027
HATTON, CAROL                    BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                 ROBERT BRENT LOS ANGELES CA 90024
HATTON, NORMA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HATTON, VICTORIA                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                 CHARLESTON WV 25301
HAUCK, DOLORES                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                 ORANGE VA 02296
HAUCK, RACHEL                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                 EDWARDSVILLE IL 62025
HAUG, LAURA                      THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
HAUGEN, WANDA                    WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
HAUGER, BRENDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
HAUGHEY, FRED                    MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                 YORK NY 10017
HAUK, KATHLEEN                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HAUN, LULA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAUN, RUTH                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
HAUN, RUTH                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAUN, RUTH                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HAUN, RUTH                       PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HAUPT, CARLA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
HAUSE, NANCY                     DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                 63102


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HAUSER, BARBARA                 THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
HAUSER, DIANE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HAUSER, DIANE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HAVENS, LISA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HAVENS-CURTIS, DONNA            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HAVERLY, BESSIE                 MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                DAVID M. MINNEAPOLIS MN 55404
HAVERSTICK, ELIZABETH           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HAVICK, DARLENE                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HAVILAND, DEBBIE                POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
HAWE, PEARL                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HAWES, DOREEN                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
HAWK, BONNIE                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HAWK, CLAIRE                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
HAWK, ELEANOR                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAWK, JOANNE CHARGING           BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
HAWK, JOANNE CHARGING           BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
HAWK, MARY                      WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
HAWKES, CHERYL                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HAWKES, JO-ANNE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAWKINS, ALMA                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HAWKINS, BEATRICE               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
HAWKINS, DENISE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAWKINS, DORIS                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAWKINS, DOROTHY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAWKINS, DOROTHY                LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
HAWKINS, ENDELER                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HAWKINS, ENDELER                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAWKINS, ERICA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAWKINS, EVELYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAWKINS, JEAN                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
HAWKINS, LINDA                  MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
HAWKINS, LORI                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HAWKINS, MABLE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                          Address Information
HAWKINS, MOLLY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAWKINS, MONIQUE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HAWKINS, NATISHA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
HAWKINS, RENADA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
HAWKINS, RHONDA                    GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
HAWKINS, SHARON                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAWKINS, SUSAN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAWKINS, SUZANNE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
HAWKINS, TIJUANA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HAWKINS, TWAKAWANA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
HAWKINS, WENDY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAWKINS-BELDEN, LAURIE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HAWKINS-NEWTON, RHONDA             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
HAWKS, LAURA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HAWLEY, BETTY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAWLEY, PAMELA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HAWORTH, MELISSA                   BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                   ROBERT BRENT LOS ANGELES CA 90024
HAWSEY, KATHLEEN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAWTHORNE, COLLEEN                 LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                   SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
HAWTHORNE, JOYCE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAWTHORNE, MARY                    WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                   DALLAS TX 75219
HAWTHORNE, TIFFENY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
HAX, BARBARA                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
HAY, ANNA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAY, CAROL                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
HAY, MONICA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HAYDEL, MELANIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAYDEN, JENNIFER                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                   11747
HAYDEN, KAREN                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HAYDEN, MICHELLE                   MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
HAYDEN, SERENA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAYDEN, SHAWNA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                          Address Information
HAYDEN, SHAWNA                     MEADOWS, TED G. MONTGOMERY AL 36104
HAYDEN, TAMMY                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
HAYDEN, THERESA                    BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
HAYEK-MILLER, CAROL                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HAYES, AMANDA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HAYES, ANNIE                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
HAYES, BERNICE                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
HAYES, BRANDY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAYES, CYNTHIA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAYES, DEBRA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
HAYES, EVELYN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAYES, GERALDINE                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HAYES, GLORIA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HAYES, JEANNETTE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
HAYES, JO                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAYES, JOE                         WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
HAYES, JOYCE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAYES, JOYCE                       LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                   SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
HAYES, JOYCE                       WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
HAYES, KATHLEEN                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
HAYES, KAYLA                       JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
HAYES, KELLY                       MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                   ARTHUR M. NEW ORLEANS OH 70130
HAYES, KIMBERLY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HAYES, LINDA                       DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                   ANTHONY ST. LOUIS MO 63102
HAYES, LINDA                       LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HAYES, LINDA                       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HAYES, MANDY                       JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                   PAUL MN 55101
HAYES, MARIA                       CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
HAYES, MARTHA                      HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                   AL 03520
HAYES, MARTHA                      DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                   ANTHONY ST. LOUIS MO 63102
HAYES, MARTHA                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HAYES, MARTHA                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660



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Claim Name                               Address Information
HAYES, MARY                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAYES, MELISSA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
HAYES, MERLE                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
HAYES, PATRICIA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
HAYES, PAULA                            CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                        14202-3725
HAYES, PEGGY                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAYES, RITA                             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
HAYES, SHARON                           GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                        PA 19102
HAYES, SHARON                           ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
HAYES, SHARON                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAYES, SHARON                           MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
HAYES, SHARON                           KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
HAYES, SHIRLEY                          GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HAYES, STACY                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
HAYES, SYNT                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAYES, TAMMY                            GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                        PA 19102
HAYES, TAMMY                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
HAYES, TAMMY                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAYES, TAMMY                            THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HAYES, TAMMY                            PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HAYES, VERONICA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
HAYES-GREER, JOANNA                     THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                        CHARLESTON WV 25301
HAYES-HATTER, HEATHER EST OF TERRY      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
HAYES                                   NJ 08648
HAYES-HOLLINGSWORTH, CHETIQUA           MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                        YORK NY 10017
HAYES-STASIO, MICHAELEENE               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                        14202-3725
HAYLETT, FRANCES                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
HAYMAN, SHELIA                          POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
HAYNES, BEVERLY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAYNES, CAROL                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAYNES, CLARA                           JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                        PAUL MN 55101
HAYNES, DEBRA                           BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                        ROBERT BRENT LOS ANGELES CA 90024
HAYNES, DOLORES                         GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                        MINNEAPOLIS MN 55402
HAYNES, EMMA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                            Address Information
HAYNES, GLENDA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
HAYNES, KIMBERLY                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                     STREET, SUITE PENSACOLA FL 32502
HAYNES, MATTIE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAYNES, PAUL D. AND HAYNES, AMY      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                     HILL NJ 08002
HAYNES, RENEE                        ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HAYNES, RENEE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
HAYNES, RHONDA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
HAYNES, SUSAN                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                     77098
HAYNES, SUSAN                        LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                     94111
HAYNES, TANYA                        ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HAYNES, TANYA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
HAYS, CARRIE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAYS, HELEN                          ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HAYS, HELEN                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
HAYS, KATHLEEN                       DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                     ANTHONY ST. LOUIS MO 63102
HAYS, KATHLEEN                       LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HAYS, KATHLEEN                       LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                     MANHATTAN BEACH CA 90266
HAYS, KATHLEEN                       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                     ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HAYS, KATHLEEN                       ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                     S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
HAYS, LINDA                          HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
HAYS, MADONNA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
HAYS, MARY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
HAYS, NICHOLE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAYS, PATRICIA                       DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                     ANTHONY ST. LOUIS MO 63102
HAYS, PATRICIA                       LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HAYS, PATRICIA                       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                     ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HAYS, SHELLY                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
HAYWARD, CAROLYN                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                     EMILY FAIRFAX VA 22031
HAYWARD, CAROLYN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
HAYWARD, EUNICE                      MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                     ORLEANS LA 70130
HAYWOOD, ANNIE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                          Address Information
HAYWOOD, MARIE                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HAYWOOD, MARIE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HAYWOOD, MARY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAZ, HILDA                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HAZARD, AMBER                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAZEL, DOROTHY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HAZEL, TERESA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
HAZELGROVE, ARLINE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
HAZELTON, VALERIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
HAZELWOOD, CLARA                   SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                   94104
HAZELWOOD, EDWINA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAZELWOOD, KATHLEEN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HAZEN, PATRICIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HAZEN, ROSANNE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HAZEN, ROSANNE                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
HAZEN, ROSANNE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAZEN, ROSANNE                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HAZEN, ROSANNE                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HAZEN, YVONNE                      GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                   EVAN D. EDWARDSVILLE IL 62025
HAZLETT, CARLEEN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HAZLETT, MARY                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
HAZSLIP, PATRICIA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
HEAD, JOY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEAD, LOIS                         MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                   TAMPA FL 33602
HEAD, LUANN                        THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                   CHARLESTON WV 25301
HEAD, PATRICIA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
HEADD, SHELIA                      SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                   01153
HEADLAND, TAMI                     WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                   DALLAS TX 75219
HEADLEY, LEONARA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEADLEY, PATRICIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEALD, ANNETTE                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                   EDWARDSVILLE IL 62025
HEALD, ISABELLE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231



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Claim Name                       Address Information
HEALY, KATHLEEN                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
HEAPE, CHERRY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HEARD, DEBORAH                  POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
HEARD, EMMA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEARD, HAZEL                    FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SCHULTZ, DEBRA LUFF, DALLAS TX 75231
HEARD, JODI                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEARD, JUDY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEARD, PERCILLA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HEARD, ROSE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HEARD, ROSE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEARD, ROSE                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HEARD, ROSE                     PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
HEARD, ROSE                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HEARD, SANDRA                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
HEARD, VALERIE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HEARN, DOVINDER                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEARN, LYNETTE                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
HEARN, NATOSHA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HEARNS, ROBIN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEARNS, ROBIN                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HEARNS, ROBIN                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HEARVEY, ETHIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HEARVEY, LATANYA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HEATH, ARDYTH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEATH, ARDYTH                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HEATH, ARDYTH                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HEATH, CLAIRE                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
HEATH, CLAIRE                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, MARK DALLAS TX 75202
HEATH, EVELYN                   JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
HEATH, FRANKIE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HEATH, GWENDOLYN                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HEATH, RACHAEL                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HEATHER HALL                    WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
HEATHER HIBBERT                 JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
HEATHER SIKES                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119


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Claim Name                       Address Information
HEATHERLY, CHARLOTTE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEATHERLY, CHARLOTTE            THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HEATHERLY, CHARLOTTE            PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HEATON, BARBARA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEATON, CAROL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HEAVENER, GERALDINE             LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HEAVENER, GERALDINE             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
HEAVIN, AMY                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HEBDON, DEBBIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HEBERLINE, CLARA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HEBERT, DIANNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEBERT, DONNA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HEBERT, JOAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEBERT, SUSAN                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
HEBRON, JACQUELINE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HECK, DEBRA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HECK, DIANE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HECKER, GARY                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
HECKER, GERALDINE               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HECKMAN, EDNA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HECKMAN, EVONADELLE             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HECKMAN, NATALIYA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HECKMAN, TAMMY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HEDELL, HELEN                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HEDELL, HELEN                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
HEDGCOCK, MARILYN               KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
HEDGECOCK, LENA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HEDGER, STEPHANIE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HEDGES, BARBARA                 BEASLEY ALLEN CROW METHVIN PORTIS &MILES JAMES, LAUREN A. 218 COMMERCE STREET
                                MONTGOMERY AL 36104
HEDRICK, LISA                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
HEDRICK, NITRA                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
HEEDLES-NIEVES, TIFFANY         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231



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Claim Name                       Address Information
HEER, JOHN                      NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
HEFFERN, JOYCE                  REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J EPHRON,
                                MELISSA HOUSTON TX 77027
HEFFERNAN, DIANE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEFFERNAN, JAN                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HEFFERNAN, SUZANNE              BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
HEFFERNAN, SUZANNE              BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
HEFFINGTON, FRANCES             DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HEFFNER, CHERYL                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HEFFNER, CHERYL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEFFNER, CHERYL                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HEFFNER, CHERYL                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HEFLIN, GAIL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEFLIN, JUDY                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HEFLIN, VIVIAN                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
HEFLIN, VIVIAN                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
HEFNER, ROBIN                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
HEFTY, MARLENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEGDE, DIPTI                    ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
HEGLER, REGINA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEGVOLD, KATHLEEN               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HEHAR, DAVINDERJIT              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEIDEN, SHARON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEIDI WISE                      MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
HEIGLE, SHIRLEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEIKES, TERESA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HEIMAN, PATRICIA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HEIMBACH, AMY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEIMLICH, JOLYNNE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HEIN, ARLENE                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
HEIN, CHARLETTE                 CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 RIDDLE, KRISTOFER
                                S. CHICAGO IL 60602
HEIN, MARJORIE                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
HEIN, MARJORIE                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
HEIN-MACALUSO, MARGARET         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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                                       LTL Management LLC
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                                                  List
                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
HEINEMANN, SHARON               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
HEINISCH, SHIRLEY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HEINISCH, SHIRLEY               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HEINISCH, SHIRLEY               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HEINKEL, BARBARA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEINKEL, BARBARA                DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
HEINKING, BONNIE                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
HEINOLD, JUDITH                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HEINOLD, JUDITH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HEINZ, ASHLEY                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
HEINZ, LYNN                     THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
HEINZ, NANCY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEISE, ANGELIQUE                WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
HEISER, DONNA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HEISS, SANDRA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HEISZ, KATHI                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HEKKEMA, PATRICIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HEKKEMA, PATRICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEKKEMA, PATRICIA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HEKKEMA, PATRICIA               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HELD, PATRICIA                  GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
HELEN SAMPSON                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC PUTNICK, MARY ELIZABETH 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
HELFER, KELLEY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HELLAND, JULIE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HELLARD, BETTY                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HELLER, ANGELA                  LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
HELLER, CARYLON                 HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
HELLER, DANYETTA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HELLER, DEBORAH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HELLER, LUANN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HELLER, SANDRA                  ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                FELLER, JOEL J. PHILADELPHIA PA 19103
HELLERSTEDT, JOANNE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
HELLERSTEDT, JOANNE             MEADOWS, TED G. MONTGOMERY AL 36104
HELLIWELL, LINDA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HELLIWELL, LINDA                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
HELLIWELL, LINDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HELLIWELL, LINDA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HELLIWELL, LINDA                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HELLNER, NOGA                   GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
HELLNER, NOGA                   BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
HELLWIG, RACHAEL                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HELM, CHRISTINA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HELM, GLORIA                    SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
HELM, MELISSA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HELMAN, KAREN                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HELMAN, KAREN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HELMBRIGHT, NANCY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HELMER, JILLIAN                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HELMERS, LILLIAN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HELMERS, LOLA                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HELMERS, LOLA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HELMES, LOLA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HELMES, LOLA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HELMS, BARBARA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HELMS, BARBARA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HELMS, BELINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HELMS, EVARY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HELMS, LESLEY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HELMS, LYNDA                    BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
HELMS, MARILYN                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HELMS, VICKY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HELTON, FRANCES                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
HELTON, JENNIFER                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HELTON, KIMBERLY                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
HELTON, KIMBERLY                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HELTON, KIMBERLY                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HELTON, REBECCA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX


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Claim Name                       Address Information
HELTON, REBECCA                 77098
HELTON, SHARON                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HELVESTON, NATASHA              BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
HELVESTON, NATASHA              BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
HEMENWAY, ROSE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEMINGWAY, JUDITH               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HEMMER, CHRISTINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEMMER, ROSE                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HEMMERLING, JOANN               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
HEMMERLING, JOANN               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE,
                                ROBINSON, JR. MARK P. LU NEWPORT BEACH CA 92660
HEMMIG, LORI                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HEMMIG, LORI                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HEMMIN, MICHELLE                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HEMMINGER, SALLY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HEMMINGER, SALLY                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
HEMMINGER, SALLY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEMMINGER, SALLY                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HEMMINGER, SALLY                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HEMMIS, SUSAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HEMPHILL, DARLENE               THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
HEMPHILL, MANNIE                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HEMPHILL, MARTHA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEMPHILL-PIPKIN, GEORGIA        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENAGHAN, GLORIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENAO, CRISTINA                 BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
HENAULT, PATRICIA               THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
HENCKEN, AMANDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HENDERSON, AMANDA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HENDERSON, AMBER                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENDERSON, BRENDA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENDERSON, CAROLYN              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HENDERSON, DELIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENDERSON, ETHELENE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HENDERSON, ETHELENE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENDERSON, ETHELENE             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HENDERSON, ETHELENE             PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768


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Claim Name                        Address Information
HENDERSON, FRANKIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENDERSON, GAYLE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENDERSON, GLORIA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                 EMILY FAIRFAX VA 22031
HENDERSON, HELEN                 BEASLEY ALLEN CROW METHVIN PORTIS &MILES JAMES, LAUREN A. 218 COMMERCE STREET
                                 MONTGOMERY AL 36104
HENDERSON, JENNIE                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                 LOUIS MO 63119
HENDERSON, JERI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENDERSON, JOYCE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                 77098
HENDERSON, KETKEO                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENDERSON, LISA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                 ORANGE VA 02296
HENDERSON, MARGIE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
HENDERSON, MARTHA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
HENDERSON, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENDERSON, MICHELLE              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HENDERSON, MICHELLE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
HENDERSON, NORMA                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                 63102
HENDERSON, PATRICIA              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                 EMILY FAIRFAX VA 22031
HENDERSON, PATRICIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
HENDERSON, SARA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HENDERSON, SARA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
HENDERSON, TARA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                 STREET, SUITE PENSACOLA FL 32502
HENDERSON-HILDEBRAND, HELEN      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
HENDLEY, TANICA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
HENDON, ALICE                    MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
HENDON, CYNTHIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENDRICK, HELEN                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                 77007
HENDRICKS, ELLEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENDRICKS, LAURIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENDRICKS, TERESA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                 ORANGE VA 02296
HENDRICKSON, DEBORAH             JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                 77098
HENDRICKSON, JANINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENDRICKSON, VANESSA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENDRIX, CHARLOTTE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENDRIX, JACQUELYN               REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J EPHRON,
                                 MELISSA HOUSTON TX 77027



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Claim Name                         Address Information
HENDRIX, KAY                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                  77007
HENDRIX, MARIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENDRIX, MELISSA                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                  BOUNDAS, JOHN T. HOUSTON TX 77017
HENDRIX, PEGGY                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HENDRIX, PEGGY                    FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                  THOMAS ROE NASHVILLE TN 37215
HENDRYX, DELLA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
HENEGAR, PATRICIA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
HENES, MARTHA                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                  ORANGE VA 02296
HENGEHOLD, MARTHA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENINGER GARRISON DAVIS, LLC      2224 1ST AVE NORTH CARROLL, ANNA M. BROSS, WILLIAM L. BIRMINGHAM AL 03520
HENLEY, ALESHA                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                  EVAN D. EDWARDSVILLE IL 62025
HENLEY, DONNA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENN-RANEY, LEE ANN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
HENNEBERGER, JANICE               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                  14202-3725
HENNECY, LINDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
HENNESSEY, DOREEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENNIGAN, PAMELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENNIGAN, PAMELA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HENNIGAN, PAMELA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HENNINGER, ANNETTE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENNLEIN, BONNIE                  POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                  LECKMAN, T. MATTHEW CONSHOHOCKEN PA 19428
HENNON, PENELOPE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HENRIE, LINDA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  LAMPKIN II, JAMES W. MONTGOMERY AL 36104
HENRIKSEN, KATHY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
HENRIQUEZ, MARIA                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                  CHARLESTON WV 25301
HENRY, ANNA                       DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HENRY, BEVERLY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENRY, CHRISTY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENRY, CHRISTY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
HENRY, DEBORAH                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
HENRY, DEBRA                      LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                  SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
HENRY, DORIS                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENRY, JEAN                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
HENRY, KIMBERLY                   JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX


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Claim Name                       Address Information
HENRY, KIMBERLY                 77002
HENRY, LAURIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENRY, LINDA                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HENRY, MARGARET                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HENRY, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENRY, MAUREEN                  GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
HENRY, MIGDALIA                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
HENRY, NANCY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENRY, PATRICIA                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
HENRY, ROBIN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENRY, SARA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HENRY, SARUXJIT                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HENRY, SHERREE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HENRY, TABITHA                  CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
HENRY, THERESA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HENRY, TINA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENRY-LORELLI, JENNIFER         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HENRYHAND, SELINE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HENSEL, GLORIA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HENSELEIT, KATHLEEN             NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
HENSELL, SHEILA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HENSEN, CARLA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HENSLEE, ANGELA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HENSLEE, ANGELA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
HENSLEY, AMBER                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENSLEY, CONNIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HENSLEY, DEBORAH                MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
HENSLEY, DEBORAH                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HENSLEY, FLORINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENSLEY, GLADYS                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HENSLEY, HEIDI                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HENSLEY, JENNIFER               SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153



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                                       LTL Management LLC
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Claim Name                       Address Information
HENSLEY, MARI-GRACE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENSON, DENISE                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
HENSON, DENISE                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HENSON, DENISE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HENSON, JEAN                    MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
HENSON, LINDA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HENSON, ROBIN                   COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B.
                                INDIANAPOLIS IN 46204
HENSON-SAUNDERS, MARY           THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
HENTHORNE, JARI                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
HENTON, DEANNA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HENTON, DEANNA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
HENTON, THERESE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HENTZ, EVELYN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HENZIE, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HENZLER, BETTY                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HEPP, CINDY                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HEPWORTH, LORENE                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HERBEK, MARILYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERBERGER, ANN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERBERT, ANN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERBERT, DOREEN                 MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
HERBERT, NANCY                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
HERBERT, SUSAN                  SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
HERBERT, VALARY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HERBIN, CYNTHIA                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
HERD, SANDRA                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
HEREDIA, ANDREA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HEREDIA, ANDREA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HEREDIA, ANDREA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEREDIA, ANDREA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HEREDIA, ANDREA                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
HEREDIA, CONNIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
HEREDIA, DELIA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HEREDIA, ISABEL                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HEREDIA, NORMA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HERING, HELENA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HERKERT-SOYARS, HEATHER         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HERMAN, BARBARA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HERMAN, ROBIN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERMAN-JOHNSON, ELOISE          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HERMANN, DEBRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERMANN, REBECCA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HERMES, SUZETTE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERMESMAN, MARY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HERMILLER, ANNE                 SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
HERMON, SHELIA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HERNANDEZ, ALICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERNANDEZ, ALICIA               LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
HERNANDEZ, ALIDA                SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
HERNANDEZ, APRIL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERNANDEZ, CARMEN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERNANDEZ, CATHERINE            FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HERNANDEZ, CHRISTI              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HERNANDEZ, DEBORAH              WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
HERNANDEZ, DEBORAH              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HERNANDEZ, DIANA                DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
HERNANDEZ, DONNA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HERNANDEZ, EDNA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HERNANDEZ, ELEANOR              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HERNANDEZ, ELIZABETH            GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
HERNANDEZ, ELIZABETH            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERNANDEZ, ELIZABETH            WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
HERNANDEZ, ESMERELDA            ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HERNANDEZ, ESMERELDA            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HERNANDEZ, EUGENIA              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007



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Claim Name                       Address Information
HERNANDEZ, EVA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HERNANDEZ, EVA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
HERNANDEZ, EVA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERNANDEZ, EVA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HERNANDEZ, EVA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HERNANDEZ, EVELYN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERNANDEZ, FLORA                COHEN, PLACITELLA & ROTH 127 MAPLE AVE. PLACITELLA, CHRISTOPHER M. GEIER,
                                DENNIS M. RED BANK NJ 07701
HERNANDEZ, GABRIELLE            NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
HERNANDEZ, GAIL                 HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
HERNANDEZ, GRISELDA             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HERNANDEZ, JOANN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERNANDEZ, JUANITA              GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
HERNANDEZ, KAREN                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
HERNANDEZ, LENA                 POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                LECKMAN, T. MATTHEW CONSHOHOCKEN PA 19428
HERNANDEZ, LYSETTE              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HERNANDEZ, MAGDALENA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERNANDEZ, MAGDALENA            THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HERNANDEZ, MAGDALENA            PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HERNANDEZ, MARCELLA             BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
HERNANDEZ, MARCELLA             BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
HERNANDEZ, MARIA                MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                YORK NY 10017
HERNANDEZ, MARIA                MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
HERNANDEZ, MARIA                JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
HERNANDEZ, MARIA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HERNANDEZ, MILCA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HERNANDEZ, OTILIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERNANDEZ, PANFILITA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERNANDEZ, REGINA               BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
HERNANDEZ, ROSA                 COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
HERNANDEZ, SANTA                THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
HERNANDEZ, SILVER               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HERNANDEZ, SILVER               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HERNANDEZ, STACY                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502



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                                       LTL Management LLC
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Claim Name                       Address Information
HERNANDEZ, SUSANA               HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
HERNANDEZ, VERA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HERNANDEZ, YOLANDA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HERNANDEZ, YOLANDA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERNANDEZ, YOLANDA              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HERNANDEZ, YOLANDA              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HERNANDEZ-FUNTES, MIRTA         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERNANDEZ-MELTON, JULIA         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERNDON, DEBORAH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERNDON, DORNITA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERNDON, KOURTNEY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HERNDON, RUBY                   THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                FERRARO, JR, JAMES L MIAMI FL 33131
HEROLD, SUSAN                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
HEROUX, JEANNE                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
HERR, BETH                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HERRELL, JUDY                   MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
HERRELL, KAY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HERRELL, KAY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERRELL, KAY                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HERRELL, KAY                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HERRERA, ANA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HERRERA, DELILAH                ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
HERRERA, DIANA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
HERRERA, ESTELA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HERRERA, ESTELA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
HERRERA, HILDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HERRERA, KATHYA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERRERA, LILLIAN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERRERA, MARGARET               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HERRERA, MARIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERRERA, MICHELLE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HERRERA, MICHELLE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERRERA, MICHELLE               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HERRERA, MICHELLE               PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
HERRERA, MONICA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HERRERA, MYRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
HERRERA, RICHANN                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HERRERA, SARA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERRERA, SARAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERRERA, SYLVIA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HERRERA-CHAVEZ, KAREN           BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
HERRIGES, HEATHER               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HERRING, EVONNE                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
HERRING, EVONNE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HERRING, EVONNE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERRING, EVONNE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HERRING, EVONNE                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
HERRING, IDA                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
HERRING, SHARRON                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HERRING, SHAUNA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HERRING, SUSAN                  COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 SANDIFER, TAKEENA T.
                                MULLIGAN, EDWARD B. INDIANAPOLIS IN 46204
HERRING, TONYA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
HERRING, TONYA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HERRING, TONYA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HERRING, TRUDY                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HERRINGTON, ANNA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HERRINGTON, BETTY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERRINGTON, RAE                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
HERRMANN, LINDA                 SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
HERRO, GAYLYN                   HENINGER GARRISON DAVIS, LLC BROSS, WILLIAM L. 2224 1ST AVE NORTH BIRMINGHAM
                                AL 35203
HERRON, ALISON                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
HERRON, LATANYA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HERRON, LATANYA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HERRON, PHOEBE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERRON, ROBBIE                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HERRYGERS, ANN                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HERRYGERS, ANN                  LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
HERSCHOWSKY, TEENA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
HERSCHOWSKY, TEENA              MEADOWS, TED G. MONTGOMERY AL 36104
HERSHAN, PATRICIA               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HERSHBERGER, LINDA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HERSHEY, GINA                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
HERSHEY, HEIDI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERSHEY, LYNETTE                WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
HERSHEY, PATRICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERSHEY, PATRICIA               BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
HERSHMAN, ANGELA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERSHMAN, ANGELA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HERSHMAN, ANGELA                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HERSMAN, JUDY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HERTEL, KRISTEN                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HERTZ, PAMELA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HERTZ, PAMELA                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
HERTZ, PAMELA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERTZ, PAMELA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HERTZ, PAMELA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HERVEY, BARBARA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERVIEUX, SUSAN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HERZFELD, ANN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HERZING, DEBBIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HESER, IRENE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HESLIN, OLIVIA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HESLIN, OLIVIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HESS, BARBARA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HESS, CHERYL                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HESS, GLORIA                    KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
HESS, MARCIA                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HESS, MARY                      WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
HESS, SANDRA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HESS, STEPHANIE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HESSELTON, JOAN                 DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
HESSON, SUSAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HESTER, BOBBIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HESTER, CHARLAINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                               Address Information
HESTER, DELORES                         ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
HESTER, FREIDA                          HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                        AL 03520
HESTER, GERMAINE                        MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                        TAMPA FL 33602
HESTER, KATHERYN                        DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                        ANTHONY ST. LOUIS MO 63102
HESTER, KATHERYN                        LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HESTER, KATHERYN                        LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                        MANHATTAN BEACH CA 90266
HESTER, KATHERYN                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                        ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HESTER, KATHERYN                        ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                        S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
HESTER, MARY                            NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                        11747
HESTER, TAMMY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
HESTON, RAYMOND AND HESTON, SANDRA      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
HETHERINGTON, DIANA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
HETHERINGTON, DONNA                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                        ORANGE VA 22960
HETHERINGTON, DONNA                     HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                        46290
HETTINGER, KIMBERLY                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                        BOUNDAS, JOHN T. HOUSTON TX 77017
HETZER, ANNE                            DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                        63102
HEUERTZ, SHELLY                         GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HEUN, MIE                               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEUVEL, VIVIANE                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
HEWES, DAWN                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEWETT, EMMA                            FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HEWITT, JESSICA                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                        77098
HEWITT, KAREN                           ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
HEWITT, KAREN                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
HEWITT, SHARYL                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
HEWLETT, ISABELLA                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                        STREET, SUITE PENSACOLA FL 32502
HEWLETT, SYLVIA                         NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                        11747
HEWLING, LORI                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HEYGOOD, ORR & PEARSON                  6363 N. STATE HIGHWAY 161, STE 450 IRVING TX 75038
HEYING, MARIE                           BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
HEYWARD, CAROLYN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                              Address Information
HEYWARD, EUNICE                        MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                       ORLEANS LA 70130
HEYWARD, RUTH                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
HEYWARD, THELMA                        DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                       ANTHONY ST. LOUIS MO 63102
HEYWARD, THELMA                        LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HEYWARD, THELMA                        LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                       MANHATTAN BEACH CA 90266
HEYWARD, THELMA                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HEYWARD, THELMA                        ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                       S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
HIATT, CANDACE                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HIATT, LILLIENNE                       ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
HIATT, MARY                            NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                       PR 00918
HIBBARD, CAROL                         THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
HIBBLER, ELLA                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
HIBBLER, NANCY                         SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
HIBBS, JUDY                            WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                       NJ 08002
HIBBS, KAREN                           ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
HIBBS, KAREN                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
HIBLER, AZLINE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HICE, CATHLEEN                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HICKERSON, SHELIA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HICKEY, JULIA EST OF JERRY HICKEY      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                       HILL NJ 08002
HICKEY, ROSEANN                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
HICKMAN, DONNIE                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
HICKMAN, DONNIE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
HICKMAN, HEIDI                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HICKMAN, JOANN                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
HICKMAN, MARY                          GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                       EDWARDSVILLE IL 62025
HICKMAN, SARA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HICKMAN-CALDWELL, JUDY                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                       70130
HICKS, BOBBIE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HICKS, CARMELIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HICKS, CHRISTINE                       GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                       EDWARDSVILLE IL 62025



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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
HICKS, CRYSTAL                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HICKS, GLADYS                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HICKS, GLORIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HICKS, HATTIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HICKS, KAREN                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HICKS, KATHLEEN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HICKS, LYNN                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
HICKS, MAGDALENE                COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
HICKS, MAGDALENE                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HICKS, MARY                     MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
HICKS, MICHELLE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HICKS, NANCY                    CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
HICKS, NANCY                    BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
HICKS, NICHOLE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HICKS, PATRICIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HICKS, PAULA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HICKS, REGINA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
HICKS, SANDRA                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
HICKS, SANDRA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HICKS, SANDRA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HICKS, SHARKEA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
HICKS, SHARON                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
HICKS, STELLA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HICKS, STEPHANIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HICKS, TIFFANY                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
HICKS, VERGA                    HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
HICKS, VICKIE                   MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
HICOK, CAROL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HIDALGO, GLORIA                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
HIDALGO, NIVA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HIDALGO, YVONNE                 DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
HIDER, KAREN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HIEBER, JANICE                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098



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                                       LTL Management LLC
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Claim Name                       Address Information
HIETPAS, LINDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HIEYE, ELIZABETH                MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
HIGDON, CORINNE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HIGDON, MARTHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HIGGINBOTHAM, DONNA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HIGGINBOTHAM, LINDA             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HIGGINS, ANNIE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HIGGINS, CHRISTINE              SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
HIGGINS, CHRISTINE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HIGGINS, CHRISTINE              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HIGGINS, CHRISTINE              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HIGGINS, DEBRA                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
HIGGINS, DEBRA                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
HIGGINS, GLINNA                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HIGGINS, JOANN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HIGGINS, KATHY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HIGGINS, KIM                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HIGGINS, LAURA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
HIGGINS, MARGARET               MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
HIGGINS, MARIANN                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HIGGINS, REBECCA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HIGGINS, ROSEANN                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HIGGINS-MULDER, CHARLINE        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HIGGS, JUNE                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
HIGGS, JUNE                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HIGGS, JUNE                     LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
HIGGS, JUNE                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HIGGS, JUNE                     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
HIGH, ELIZABETH                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HIGH, ELIZABETH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HIGH, MARLENE                   DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024


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Claim Name                       Address Information
HIGH, MARLENE                   KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
HIGHMAN, AMANDA                 WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
HIGHTOWER, ARMA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HIGHTOWER, BETTY                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD ARVOLA,
                                MEGAN T. EDWARDSVILLE IL 62025
HIGHTOWER, BRENDA               MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
HIGHTOWER, DONNA                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
HIGHTOWER, DONNA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HIGHTOWER, DOROTHY              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HIGLEY, HELEN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HIGLEY, TERI                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HIGMAN, LESLIE                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HILBORN, PHYLLIS                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILBURN, JUDY                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HILBURN-HENDERSON, QV           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HILDABRAND, CONNIE              THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
HILDE, MARTHA                   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
HILDEBRAND, ALICE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILDERBRAND, DEBORAH            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HILDRETH, DEBRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILDRETH, KATHLEEN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILDRETH, LYNN                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HILE, LAURA                     COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B.
                                INDIANAPOLIS IN 46204
HILEMAN, DAISY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILF, KELLY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HILF, KELLY                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
HILF, KELLY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILF, KELLY                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HILF, KELLY                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HILL, ALICE                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HILL, ALICE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HILL, AUGUSTA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILL, BETTY                     JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
HILL, BILLIE                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.



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Claim Name                          Address Information
HILL, BILLIE                       ORANGE VA 02296
HILL, CAROL                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HILL, CAROL                        GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
HILL, CAROL                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILL, CAROL                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HILL, CAROL                        PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HILL, CASANDRA                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
HILL, CHARLESETTA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILL, CHARLOTTE                    MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
HILL, CHARLOTTE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILL, CHERYL                       THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                   ORLEANS LA 70130
HILL, CHERYL                       DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                   77024
HILL, CHERYL                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
HILL, CHRISTINE                    SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                   94104
HILL, DEBORAH                      EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP EICHEN, BARRY R. & KELLY, JOHN P 40
                                   ETHEL ROAD EDISON NJ 08817
HILL, DEBORAH                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
HILL, DORIS                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HILL, DOROTHY                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HILL, ELLEN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILL, EUNICE                       ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HILL, EUNICE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HILL, HAZEL                        POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
HILL, IRENE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILL, JANICE                       THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
HILL, JOY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILL, JOYCE                        HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                   63101
HILL, JOYCE                        MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                   ORLEANS LA 70130
HILL, JUANITA                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
HILL, JUANITA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HILL, JUANITA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILL, JUANITA                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HILL, JUANITA                      PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
HILL, JULIA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
HILL, JULIE                        FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
HILL, JULIE                        DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX


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Claim Name                       Address Information
HILL, JULIE                     77024
HILL, JUNE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HILL, KAREN                     POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
HILL, KASITY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILL, KELLIE                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
HILL, LANETTA                   BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
HILL, LILLIAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILL, LINDA                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HILL, LINDA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HILL, LISA                      PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
HILL, LOIRAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILL, LORI                      GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
HILL, LORI                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HILL, LYDIA                     THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
HILL, MATHILDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILL, MICHELLE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILL, PAMELA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILL, PAMELA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HILL, RACHEL                    POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
HILL, RHONDA                    GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
HILL, ROBIN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILL, ROBIN                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HILL, ROBIN                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HILL, ROSA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILL, SANDRA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILL, SHARON                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HILL, SHIRLEY                   PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
HILL, SUSAN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILL, SYLVIA                    THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
HILL, TERRI                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HILL, THERESA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILL, TIFFANY                   THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
HILL, TIMIRRA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HILL, TINA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HILL, TONYA                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
HILL, VALERIE                   THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130



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                                            LTL Management LLC
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Claim Name                            Address Information
HILL, VENISE                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
HILL, VURLENDA                       GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                     EDWARDSVILLE IL 62025
HILL, WILHEMIA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
HILL, YOKEASHA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
HILL, YOLANDA                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                     ORANGE VA 02296
HILL-BROWN, JOSEPHINE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
HILL-ESCOBEDO, NITA                  DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                     77024
HILL-ESCOBEDO, NITA                  KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
HILL-HALL, SHIRLEY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
HILL-KINNEY, CAROLYN                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                     STREET, SUITE PENSACOLA FL 32502
HILLAND, BARBARA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
HILLARD, PATRICIA                    MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                     ORLEANS LA 70130
HILLENDAHL, JOYCE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILLER, JANET                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILLER, WENDY                        LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                     SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
HILLIARD MARTINEZ GONZALES, LLP      719 SOUTH SHORELINE BOULEVARD PINEDO, THOMAS CHRISTOPHER CORPUS CHIRSTI TX
                                     07837
HILLIARD, ETHEL                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILLIARD, EUNICE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
HILLIARD, JULIE                      MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                     YORK NY 10017
HILLIARD, JULIE                      THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                     CHARLESTON WV 25301
HILLIARD, KAREN                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                     77098
HILLIARD, PEARL                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
HILLIE, BRENDA                       ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                     LOUIS MO 63119
HILLIGOSS, JANET                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                     MINNEAPOLIS MN 55402
HILLIGOSS, JANET                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILLIGOSS, JANET                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HILLIGOSS, JANET                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HILLIKER, LISA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILLIN, KATHY                        DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                     ANTHONY ST. LOUIS MO 63102
HILLIN, KATHY                        LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HILLIN, KATHY                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                     ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660


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Claim Name                       Address Information
HILLIS, ROSE                    NAPOLI SHKOLNIK PLLC 400 BROADHOLLOW RD, STE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
HILLMER, SHARON                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILLS, GAIL                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILLS, TAQUITA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HILLYER, LINDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HILSCHER, CAROL                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HILTON, CYNTHIA                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
HILTON, LINDA                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
HILTON, LINDA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HILTON, LORI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILTON, SARAH                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HILTON, SARAH                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
HILTON, SARAH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HILTON, SARAH                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HILTON, SARAH                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HILTON, THERESA                 KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
HILTON, THERESA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HILTON, THERESA                 LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
HIMDEN, JULIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HIMDEN, KAY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HINCH, JULIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HINDMAN, CYNTHIA                BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
HINDMAN, LINDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HINDRICHS, DAWN                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HINDS, BESSIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HINDS, DEBRA                    HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
HINDS, FRANCES                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HINDS, JASMINE                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HINDY, NANCY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HINES, AMANDA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HINES, BRENDA                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HINES, CARMEL                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
HINES, DOLORES                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296



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Claim Name                       Address Information
HINES, DONNA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HINES, EARLITHA                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HINES, KRISTY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HINES, LEE                      THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
HINES, LISA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HINES, MILDRED                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
HINES, PAULETTE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HINES, ROBIN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HINES, SHERRY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HINES, TINA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HINES, TINA                     SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
HINES, WENDY                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HINEY, THERESA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HINKLE, BETTY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HINKLE, CLAUDIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HINKLE, GINA                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
HINKLE, HONDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HINKLE, JOANNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HINKLE, JOANNA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HINKLE, JOANNA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HINKLE, MEGAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HINKLE, PAMELA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HINKLE, TERRI                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HINKLEY, JEANETTE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HINMAN, MERRY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HINMAN, MERRY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HINMON, HEATHER                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HINOJOSA, DOLORES               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HINOJOSA, ROSA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HINOTE, SYLVIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HINRICHS, GAYLE                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HINSHAW, JUDY                   LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                NICHOLAS LAKE CHARLES LA 07060
HINSON, JAN                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HINSON, LYNDA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006


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Claim Name                       Address Information
HINSON, LYNDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HINSON, TERESA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HINTON, BARBARA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HINTON, CAROLYN                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HINTON, KAREN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HINTON, LISA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HINTON, MICHELLE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HINTON, SHAWNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HINTZ, VICELDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HINTZ-RUSH, CINDY               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HIPPLE, JACQUELYN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HIPPLEY, KAREN                  JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
HIRL-BELL, CYNTHIA              THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
HIRSCH, DIANE                   MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
HIRSCH, TEBRA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HIRSCHMAN, CAROL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HIRST, JANIE                    FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
HISCHE, CYNTHIA                 COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
HISCHE, CYNTHIA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 BINSTOCK, MELISSA HOUSTON TX
                                77098
HISE, DEBORAH                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HISER, FANNIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HISH, DORIS                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HITCH, JACQUELINE               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HITCHCOCK, EILEEN               NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
HITCHCOCK, PATRICIA             BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
HITCHCOCK, PENNIE               JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
HITCHCOCK, SHEILA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HITCHMAN, JOANNE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HITE, KIMBERLY                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HITT, GEORGIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HITTLER, LISA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HITZ, PATRICIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HIVELY, MICHELLE                ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
HIX, JOELLYN                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HIXON, VALARIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HIXON, VALERIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                          Address Information
HIXSON, TERESA                     JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                   PAUL MN 55101
HJELM, NANCY                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
HJELM, NANCY                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HLADEK, GENEVIEVE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HO, JULIE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOAG, CHRISTA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOAGE, ELIZABETH                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HOAGE, ELIZABETH                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HOAGLAND, KATHY                    HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                   63101
HOANG, ANNIE                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
HOBBS, ALICE                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
HOBBS, ALICE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HOBBS, AYESIA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
HOBBS, CHRISTINE                   HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
HOBBS, DOLLISHA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
HOBBS, LESA                        DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                   ANTHONY ST. LOUIS MO 63102
HOBBS, LESA                        LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HOBBS, LESA                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HOBBS, SUSAN                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
HOBSCHAIDT, LYNN                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HOBSON, STEPHANIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOCHBERG, SYLVIA                   REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J EPHRON,
                                   MELISSA HOUSTON TX 77027
HOCHREIN, LYNN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOCKENBERRY, BELINDA               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HOCKENBURY, CORINE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOCKER, MARY                       WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
HODAPP, REBECCA                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                   PR 00918
HODESH, ILENE                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
HODGE, CHRISTINE                   CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                   CHICAGO IL 60602
HODGE, JOHNNETTA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HODGE, LINDA                       THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                   CHARLESTON WV 25301
HODGE, MANDY                       HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                   CHRISTOPHER CORPUS CHIRSTI TX 07837



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                                       LTL Management LLC
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Claim Name                       Address Information
HODGE, MARY                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HODGE, MARY                     SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
HODGE, NELLIE                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
HODGE, PENNY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HODGE, RAMONA                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
HODGES, BARBARA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HODGES, BARBARA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HODGES, BETTY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HODGES, BETTY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HODGES, FRANCES                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
HODGES, HESTER                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HODGES, KATHY                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HODGES, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HODGES, SHIRLEY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HODGINS, MABLE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HODGINS, MABLE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HODGINS, MABLE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HODGINS, MABLE                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
HODGSON, MARIAN                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HODGSON, MARIE                  MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
HOE, NANCY                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MCGEE, AMANDA D MANHATTAN
                                BEACH CA 90266
HOEHL, IRENE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOELLER, JEANNE                 JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
HOELMER, LAVON                  NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
HOEME, DANIELLE                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
HOERNER, KAREN                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HOERNING-THOMAS, AUDREY         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HOERNING-THOMAS, AUDREY         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOES, GOLDIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOFAKER, VEDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOFEIN, MERICI MARCANO          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HOFER, PHYLLIS                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
HOFER, PHYLLIS                  MEADOWS, TED G. MONTGOMERY AL 36104
HOFF, CHRISTINA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HOFF, LAURA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOFF, LILLIAN                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HOFFART, CONSTANCE              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HOFFART, CONSTANCE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOFFER, MICHELE                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HOFFER, ROBIN                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HOFFMAN, BARBARA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOFFMAN, DAWN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOFFMAN, EILEEN                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HOFFMAN, EILEEN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOFFMAN, JANELL                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HOFFMAN, JILL                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HOFFMAN, KATHYA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HOFFMAN, MARION                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOFFMAN, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOFFMAN, NANCY                  MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
HOFFMAN, PATRICIA               WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
HOFFMAN, REBECCA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HOFFMAN, ROXANNE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOFFMAN, SHEILA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HOFFMAN, VANESSA                WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
HOFFMANN, JANIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOFFNAGLE, FRANCES              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HOFFNER, MELISSA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HOFHEIMER, ELAINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOFHEIMER, ELAINE               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HOFHEIMER, ELAINE               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HOFMANN, BRITTNEY               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HOFMANN, BRITTNEY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOFMANN, LARAINE                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HOFMANN, MARCIA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
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Claim Name                       Address Information
HOFMANN, PATRICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOFWEGEN, SHELLE VAN            THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                FERRARO, JR, JAMES L MIAMI FL 33131
HOGAN, DOROTHY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOGAN, FRANCES                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HOGAN, HATTIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOGAN, MARCHETTE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOGAN, MARCHETTE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOGAN, MARCHETTE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HOGAN, MARY                     THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
HOGAN, POLLY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOGANS, TIFFANY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOGATE, LISA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOGELAND, ANGELA                MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
HOGLEN, CARRIE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HOGUE, GENEVA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HOHNEKER, MAXINE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HOINES-MEAD, SHEILA             THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
HOLCOMB, QUEEN                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HOLCOMB, TERRI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLCOMB, VICKI                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HOLCOMBE, HELEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLCOMBE, SUSAN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLDAWAY, DIANE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLDEN, ANTOINETTE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HOLDEN, CYNTHIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOLDEN, DORIS                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOLDEN, EVELYN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HOLDEN, LAURA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HOLDEN, LINDA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HOLDER, DELMA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HOLDER, JACINTA                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
HOLDER, ROSETTA                 REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                BINSTOCK, ROBERT J. HOUSTON TX 77027
HOLDER, SOPHIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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Claim Name                       Address Information
HOLDER, SOPHIA                  75231
HOLDING, COURTNEY               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
HOLDREDGE, ANGELA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOLECEK, CHRISTINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLGIN, MARY                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HOLICKA, DEBRA                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
HOLLAND LAW FIRM                300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO 63101
HOLLAND, ANGELA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLLAND, CLAUDIA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HOLLAND, CLAUDIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
HOLLAND, DARLENE                CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
HOLLAND, JANICE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLLAND, JENNIFER               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOLLAND, JENNIFER               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLLAND, JENNIFER               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HOLLAND, JENNIFER               PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
HOLLAND, JOELLEN                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HOLLAND, KATHLEEN               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HOLLAND, KIM                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HOLLAND, KIMBERLY               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HOLLAND, LEXI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLLAND, LYNDA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HOLLAND, LYNDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOLLAND, MONA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOLLAND, RASHEEDA               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HOLLAND, SANDRA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HOLLAND, TIFFANY                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HOLLAND-CROSS, JANICE           DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HOLLANDER, JOAN                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
HOLLANDSWORTH, EVELYN           THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
HOLLARS, ANNETTE                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HOLLEN, LESA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HOLLENBACH, SUSAN               THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
HOLLENBECK, DANA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098


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Claim Name                               Address Information
HOLLENBECK, ERICKA                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
HOLLER, JANE                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLLERBACH, KAREN                        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HOLLEY, ANGELA                           DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HOLLEY, ASHLEY                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
HOLLEY, BRENDA                           HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                         AL 03520
HOLLEY, CLARA                            GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HOLLEY, GLADYS E. EST OF LUTHER HOLLEY   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
HOLLEY, SHAKIA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLLIDAY, EMMA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
HOLLIDAY, TIFFANY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLLIER, SHIRLEY                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
HOLLIFIELD, AVA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLLINGSWORTH, DIANIA                    BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                         75202
HOLLINGSWORTH, TERRAH                    MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                         KNOXVILLE TN 37929
HOLLINS, CASSANDRA                       NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                         11747
HOLLIS, BARBARA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLLIS, DELLA                            DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HOLLIS, DONNA                            SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
HOLLIS, GWENDOLYN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLLIS, ISIS                             GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                         PA 19102
HOLLIS, LINDA                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
HOLLIS, LINDA                            THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HOLLIS, LINDA                            KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
HOLLISTER, JEAN                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
HOLLISTER, PAMELA                        PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
HOLLMAN, ARZETTA                         MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                         ORLEANS LA 70130
HOLLOMAN, JANICE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLLOMAN, LUCINDA                        NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                         PR 00918
HOLLOMAN, YOLANDA                        TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
HOLLON, KIMBERLY                         MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                         ORLEANS LA 70130
HOLLOWAY, ADRIANNE                       SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                         07102-4573
HOLLOWAY, ADRIANNE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
HOLLOWAY, ADRIANNE                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HOLLOWAY, ADRIANNE                       PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768


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Claim Name                       Address Information
HOLLOWAY, BLANCHE               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HOLLOWAY, LAKEZIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HOLLOWAY, ROWENA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HOLLOWAY, SONYA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HOLMAN, CAROLYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOLMAN, CATHERINE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOLMAN, JOYCE                   CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
HOLMAN, MARY                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HOLMAN, PATRICIA                SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
HOLMAN, REGINA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOLMES, AGNES A.                WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
HOLMES, ANITA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLMES, ANNMARIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOLMES, BRANDY                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HOLMES, CARRIE                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
HOLMES, CONNIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOLMES, DEBORAH                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HOLMES, DEEANNA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HOLMES, DEEANNA                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
HOLMES, GUSSIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLMES, JANET                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLMES, JANICE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOLMES, JOY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOLMES, LATOSHA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HOLMES, LILLIE                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
HOLMES, LINDA                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
HOLMES, LINDA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HOLMES, LINDA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HOLMES, LISA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLMES, LYNNE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                       Address Information
HOLMES, LYNNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLMES, LYNNE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HOLMES, LYNNE                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
HOLMES, MAMIE                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
HOLMES, MARGARET                POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
HOLMES, MARIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HOLMES, MARLENE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HOLMES, MARSHA                  DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
HOLMES, MELINDA                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
HOLMES, MERIDITH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOLMES, MERIDITH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLMES, MERIDITH                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HOLMES, MERIDITH                PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
HOLMES, MERIDITH                SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
HOLMES, NATALIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLMES, PATRICIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HOLMES, RACHEL                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
HOLMES, SUSAN                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HOLMES, VIVIAN                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
HOLMQUIST, ELAINE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HOLMQUIST, KATHLEEN             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HOLSCHBACH, JUDITH              JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
HOLSHUE, CORNELIA               COHEN, PLACITELLA & ROTH 127 MAPLE AVE. PLACITELLA, CHRISTOPHER M. GEIER,
                                DENNIS M. RED BANK NJ 07701
HOLSHUE, CORNELIA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HOLSINGER, HELEN                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HOLSTAD, ROBIN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLT, CANDACE                   WEITZ & LUXENBERG RELKIN, ELLEN & SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE
                                210 CHERRY HILL NJ 08002
HOLT, CATHERINE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLT, CONNIE                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HOLT, DELORES                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLT, FRANKIE                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
HOLT, FRANKIE                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266



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Claim Name                       Address Information
HOLT, FRANKIE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HOLT, FRANKIE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                LUKEI, SHANNON KARAVATOS, NEWPORT BEACH CA 92660
HOLT, HELEN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLT, LINDA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
HOLT, TAMMY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOLTERMANN, PATRICIA            LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
HOLTMAN, SUSAN                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HOLTON, EUNITA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HOLTS, MARSHA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HOLTSLANDER, KIMBERLY           ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
HOLUB, TAMARA                   SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
HOLUBICZKE, ORIANA              BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
HOLUBICZKE, ORIANA              BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, MARK DALLAS TX 75202
HOLUBIK, BONNIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOLUBIK, BONNIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOLUBIK, BONNIE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HOLUBIK, BONNIE                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
HOLY, JACKLYN                   TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
HOLZ, BECKY                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
HOLZ, KAREN                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HOLZBORN, MINNIE                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HOMACK, MEAGHAN                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HOMAN, PATTI                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HOMAN, RUTH                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HOMER, GABRIELE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOMER, JANIECE                  ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
HOMEYER, KELLI                  SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
HOMEYER, LAURA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOMIRE, DARLENE                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
HOMM, LADEE                     THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
HOMQUIST, ELAINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HONEA, KAREN                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HONEA, MARY                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031



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Claim Name                       Address Information
HONEY, LAURA                    BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
HONEYCUTT, PATRICIA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HONEYCUTT, PATRICIA             WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
HONEYCUTT, RACHEAL              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HONG, SEUNG                     MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
HONG, SEUNGYEON                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
HONG, SEUNGYEON                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HONG, SEUNGYEON                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HONG, SEUNGYEON                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HONKALA, DOROTHY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HONOLD, DEBORAH                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HOOD, BRENDA                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
HOOD, BRENDA                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HOOD, BRENDA                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
HOOD, BRENDA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HOOD, DONNA                     DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HOOD, DOROTHY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOOD, GENEVA                    HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
HOOD, ICIE                      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HOOD, MARTHA                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HOOD, MARY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOOD, SIDNEY                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HOOK, ROSE                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HOOKER, MARTHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOOKS, CAROL                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HOOKS, DOROTHY                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
HOOPER, BETTIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOOPER, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOOPER, LINDA                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
HOOPER, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOOPER, LINDA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HOOPER, LINDA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HOOPER, RENEE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOOPER, RENEE                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402


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Claim Name                       Address Information
HOOPER, RENEE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOOPER, RENEE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HOOPER, RENEE                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HOOPER, VALARIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOOPER-VANCE, BERTHA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOOT, ELIZABETH                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HOOVER, CARLA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HOOVER, CHERI                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HOOVER, DEANNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOOVER, DELLIA                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
HOOVER, JANE                    ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
HOOVER, JOELLEN                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
HOOVER, JUDITH                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HOOVER, PATRICIA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HOOVER, VERONICA                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HOPE, JEANNE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOPE, MELISSA                   BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
HOPE, SHARON                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HOPKINS, BETSY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOPKINS, BRENDA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HOPKINS, BRENDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOPKINS, JANIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOPKINS, JOY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOPKINS, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOPKINS, SANDRA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HOPKINS, SANDRA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOPKINS, SANDRA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
HOPKINS, SHANNON                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HOPKINS, SHARON                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOPKINS, TINA                   BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
HOPKINS, TOMMYE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOPKINS-KILLEBREW, SANDRA       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOPKINSON, TERESA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOPPE, EILEEN                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
HOPPER, DEBORAH                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HOPPER, JENNY                   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING


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Claim Name                         Address Information
HOPPER, JENNY                     KNOXVILLE TN 37929
HOPPER, SONYA                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                  77007
HOPPER-HOLLIDAY, AMANDA           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOPPOCK, CAROL                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                  14202-3725
HOPSON, ANITA                     HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
HOPSON, JUDITH                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                  ORANGE VA 02296
HORACE-THOMPSON, PATRICIA         MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                  YORK NY 10017
HORBUND, KATHRYNE                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                  11747
HORCH, KATHLEEN                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                  ORANGE VA 02296
HORD, PENNY                       DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                  ANTHONY ST. LOUIS MO 63102
HORD, PENNY                       LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HORD, PENNY                       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                  ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HORDOROVIC, PAMELA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
HORELICA, MELANIE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
HORGE-SMITH, JUDY                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                  STREET, SUITE PENSACOLA FL 32502
HORIHAN, NANCY                    COHEN, PLACITELLA & ROTH 127 MAPLE AVE. PLACITELLA, CHRISTOPHER M. GEIER,
                                  DENNIS M. RED BANK NJ 07701
HORKEY, PAMELA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
HORN, BARBARA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HORN, DENISE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
HORN, DENISE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HORN, DENISE                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HORN, DENISE                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HORN, GLENDA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HORN, JO                          THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
HORN, KRISTII                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
HORN, MARCIE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HORN, ROSE                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
HORN, SUSAN                       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                  ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HORNBACHER, SHERRY                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                  11747
HORNBECK, BEATRICE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HORNBUCKLE, JEANETTE              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HORNBUCKLE, JEANETTE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
HORNE, EMILY                      ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226



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Claim Name                       Address Information
HORNE, LOSSIE                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
HORNE, SACOTTA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HORNE, TAMMY                    SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
HORNER, GERALDINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HORNER, KIMBERLY                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
HORNER, KIMBERLY                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HORNER, SIMON                   NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
HORNING, PATRICIA               GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
HORNSBY, DONNA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HORNSBY, RITA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOROWITZ, THELMA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HORSCH-NUSBAUM, RUTH            WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
HORSE, CARLA HIGH               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HORSE, GRACE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HORSLEY, ALLISON                BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
HORSLEY, SHEENA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HORTON, ANNIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HORTON, CRYSTAL                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HORTON, DEBORAH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HORTON, DEBORAH                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
HORTON, DEBORAH                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
HORTON, JEAN                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HORTON, JEAN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HORTON, JOYCE                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HORTON, LAURA                   WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
HORTON, LINDA                   HENINGER, GARRISON, DAVIS, LLC 2224 1ST AVE NORTH CARROLL, ANNA M. BROSS,
                                WILLIAM L. BIRMINGHAM AL 35203
HORTON, MARIA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HORTON, PEGGY                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
HORTON, PEGGY                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HORTON, PEGGY                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HORTON, PENNY                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102



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Claim Name                       Address Information
HORTON, PENNY                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HORTON, PENNY                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HORTON, SHERRI                  WATERS & KRAUS, LLP MACLEAN, LESLIE - 3141 HOOD STREET, STE 700 DALLAS TX
                                75219
HORTON, TERYKA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HORTON, TERYKA                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
HORTON, WYVONNA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HORWITZ, SHEILA                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
HOSACK, JOANNE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOSALE, PAULA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOSBROUGH, YVONNE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOSEIN, CHARLENE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HOSEIN, FARIYAL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOSHKO-SMITH, ANDREA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOSKIE, DELORES                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HOSKINS, BEVERLY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HOSKINS, JULIA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HOSKINS, PEGGY                  WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
HOSKINS, RUTH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOSLER, LORI                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HOSWOOT, TENSIA                 HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
HOTCHKISS, RITA                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HOTH, KATHRYN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOUCHIN, LINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOUCK, LILLIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOUDE, RACHEL                   THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
HOUGE, DORLENE                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HOUGE, DORLENE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
HOUGH, SUSANNE                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
HOUGHTON, KATHERINE             THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
HOUK, LAURA                     SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
HOULE, DAWN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOUMIEL, PATRICIA               PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050



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Claim Name                        Address Information
HOUPT, CAROL                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOUSE, CHRISTINA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOUSE, DAWN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOUSE, DIONDRA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
HOUSE, JACQUELINE                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                 YORK NY 10017
HOUSE, KIM                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
HOUSE, OCTAVIA                   PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
HOUSE, TANIKA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
HOUSEHOLDER, MARYELLEN           FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HOUSEL, JENNIFER                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
HOUSEL, KATHLEEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOUSEL, KATHLEEN                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HOUSEL, KATHLEEN                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HOUSEMAN, WILMA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOUSER, DONNA                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HOUSER, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOUSLEY, YVONNE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                 77098
HOUSTON, ANSLEA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOUSTON, CAROLYN                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                 CHARLESTON WV 25301
HOUSTON, CATHERINE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                 77098
HOUSTON, EULAH                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                 EMILY FAIRFAX VA 22031
HOUSTON, EULAH                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
HOUSTON, EUNICE                  SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
HOUSTON, HALEY                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HOUSTON, HILDA                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HOUSTON, IDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOUSTON, KASHIA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                 14202-3725
HOUSTON, MARY                    HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
HOUSTON, SARAH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOUSTON-HENDRIX, LINDA           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOUTS, DAWN                      GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                 EDWARDSVILLE IL 62025
HOVDE, DASSOW, & DEETS, LLC      10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN 46290
HOVERTER, HOLLY                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                 EMILY FAIRFAX VA 22031
HOVERTER, HOLLY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
HOVEY, BETTY                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                 EMILY FAIRFAX VA 22031
HOVEY, BETTY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                       Address Information
HOVIS, ASHLEY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HOVORKA, JUDITH                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HOWARD, BARBARA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HOWARD, BERTHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOWARD, BERTHA                  SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
HOWARD, DANIELLE                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
HOWARD, EDNA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HOWARD, EMMA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HOWARD, EVELYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOWARD, GOLDIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOWARD, HALLIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOWARD, IRENE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOWARD, JACQUELINE              THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
HOWARD, JANET                   GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
HOWARD, JOEDAJA                 KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
HOWARD, JOEDAJA                 LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
HOWARD, KARLA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOWARD, LAKISHIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOWARD, LAKISHIA                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
HOWARD, LAKISHIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOWARD, LAKISHIA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HOWARD, LAKISHIA                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HOWARD, LAKISHIA                KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
HOWARD, LOIS                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HOWARD, MARTHA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOWARD, MARY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HOWARD, NOEL                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOWARD, PAMELA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HOWARD, REBECCA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOWARD, ROSALYN                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
HOWARD, SHERRIE                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HOWARD, SHERRIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HOWARD, TINA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOWARD, WANDA                   HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
HOWARD, YVONNE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOWDER, BETTY                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA


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Claim Name                          Address Information
HOWDER, BETTY                      70130
HOWE, AMY                          WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                   NJ 08002
HOWE, INEESHA                      NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                   BERMAN, W. STEVE GREAT RIVER NY 11739
HOWE, JEAN                         WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                   DALLAS TX 75219
HOWE, JENNIFER                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
HOWE, MARIA                        DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                   ANTHONY ST. LOUIS MO 63102
HOWE, MARIA                        LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HOWE, MARIA                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HOWELL, CHERI                      WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
HOWELL, CHERYL-ANNE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HOWELL, CHERYL-ANNE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOWELL, CHERYL-ANNE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HOWELL, CHERYL-ANNE                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HOWELL, KELLY                      CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
HOWELL, LORRIE                     MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
HOWELL, MARY                       WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                   HILL NJ 08002
HOWELL, PATRICIA                   THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
HOWELL, RACHEL                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HOWELL, SHELIA                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                   ANTHONY ST. LOUIS MO 63102
HOWELL, SHELIA                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HOWELL, SHELIA                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HOWELL, SONYA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOWERY, CATHERINE                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
HOWES, GAIL                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOWLETT, SARAH                     THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                   MADISON MS 39110
HOWRY, VIRGINIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOWSE, NICOLE                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
HOY, BEVERLY                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
HOY, BEVERLY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HOY, BEVERLY                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HOY, BEVERLY                       PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HOYLE, PATRICIA                    THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                   CHARLESTON WV 25301
HOYLE, TANYA                       GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HOYT, LISA                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502


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Claim Name                       Address Information
HOYT, REBEKAH                   THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
HRANITZKY, JEANNE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HRYNYSHEN, REBECCA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUANG, MELANIE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HUAROTTE, ROCIO                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUBBARD, CHRISTINE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HUBBARD, CRISTAN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUBBARD, DEBORAH                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
HUBBARD, DEBRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUBBARD, ERNESTINE              LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
HUBBARD, ERNESTINE              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
HUBBARD, GEMMA                  ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
HUBBARD, HELEN                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
HUBBARD, JESSICA                WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
HUBBARD, JOANN                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
HUBBARD, JOYCE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUBBARD, KATHLEEN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUBBARD, LAURA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUBBARD, LISA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HUBBARD, LISA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUBBARD, LORA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HUBBARD, LORA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUBBARD, PAMELA                 BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
HUBBARD, PATRICIA               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HUBBARD, TRASCHELL              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUBBARD, VIIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HUBBARD, VIRGINIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HUBBARD, WILMA                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
HUBBERT, DEBORAH                ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450
                                FELLER, JOEL CASEY, MATTHEW A. PHILADELPHIA PA 19103
HUBER, CONNIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HUBER, DIANE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUBER, GLADYS                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HUBER, LAVONNE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUBER, MARY                     BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 BUDD, RUSSELL W DALLAS TX
                                75219
HUBERTY, DAWN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
HUBERTY, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUBLER, SANDRA                  BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
HUCH, ELIZABETH                 FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD RAGGIO, JOHN LUFF, DALLAS TX 75231
HUCHTON, JONETTE                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HUCKABEE, ASHLEY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HUCKABY, BETTY                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
HUCKABY, SHANNON                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUCKER, NANCY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HUCKO, EWA                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HUCKS-FERRELL, CYNTHIA          HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
HUDAK, KIMBERLY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HUDDLESTON, LORI                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUDDLESTON, SARAH               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HUDDLESTON, SUSAN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUDGINS, EVELYN                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HUDGINS, EVELYN                 LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
HUDGINS, JOYCE                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
HUDSON, AUGUSTA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUDSON, BARBARA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HUDSON, BELINDA                 FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD RAGGIO, JOHN LUFF, DALLAS TX 75231
HUDSON, BRENDA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HUDSON, BRENDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUDSON, CASANDRA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
HUDSON, CASSANDRA               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
HUDSON, CHER                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUDSON, CYNTHIA                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
HUDSON, DEBORA                  ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
HUDSON, DEVONIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUDSON, DONNA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUDSON, DYANNE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUDSON, JANEEL                  SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098



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Claim Name                       Address Information
HUDSON, JANET                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HUDSON, JANIS                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HUDSON, JANIS                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUDSON, JENNIFER                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUDSON, JOYCE                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
HUDSON, KAREN                   BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
HUDSON, KARIE                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
HUDSON, LESLI                   BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
HUDSON, LONA                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
HUDSON, MARY WHITE              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HUDSON, MARY WHITE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUDSON, MILDRED                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUDSON, SALLY                   MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
HUDSON, TAMMIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUDSON, TERESA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HUDSON, TERESA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUDSON-NEVEU, SHARON            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
HUDSPETH, LORRAINE              MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
HUDSPETH, MARILYN               WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
HUDSPETH, PAULA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUELSKAMP, CHERYL               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUERTA, GLORIA                  SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
HUERTA, KATHLEEN                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HUERTA, MARIA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HUERTA, SANDRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUETT, LESLIE JEAN              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HUETT, ODESSA                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
HUEY, MAMIE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HUEY, ROBIN                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
HUF, KIRSTEN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUFF, COLLEEN                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725



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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
HUFF, COLLEEN                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HUFF, DEBORAH                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HUFF, GERRI                     WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
HUFF, JIMMIE                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
HUFF, KAREN                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HUFF, KIMBERLY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUFF, LISA                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HUFF, LISA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUFF, PAMELA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUFF, PAULA                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HUFF, SALLY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HUFF, ZEREANA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUFFINE, SHANNON                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HUFFMAN, ANNETTE                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HUFFMAN, COLLEEN                HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
HUFFMAN, MAUREEN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUFFMAN, SUSAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUFFMASTER, MAPLE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUFKINS, CATHY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HUFSTEDLER, KAREN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUFSTEDLER, KAREN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUFSTEDLER, KAREN               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HUFSTEDLER, KAREN               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HUGGINS, GENNEIEVESE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUGGINS, SANDRA                 LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                NICHOLAS LAKE CHARLES LA 07060
HUGGLER, DONNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUGHART, CONNIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUGHES, BILLIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUGHES, BRENDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HUGHES, CAROL                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
HUGHES, CHASTITY                DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
HUGHES, CLAIRE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
HUGHES, CLAIRE                  MEADOWS, TED G. MONTGOMERY AL 36104
HUGHES, CLAUDIA                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
HUGHES, CYNTHIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUGHES, CYNTHIA                 THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
HUGHES, CYNTHIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUGHES, CYNTHIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HUGHES, DEBORAH                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HUGHES, ELLA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HUGHES, EMILY                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HUGHES, GAIL                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUGHES, GAY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUGHES, JACQUELINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUGHES, JANET                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUGHES, JUDY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUGHES, KATIE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HUGHES, LORETTA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUGHES, MAJORIE                 MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
HUGHES, MARGARET                DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
HUGHES, MARY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HUGHES, MELISSA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUGHES, PEGGY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUGHES, PEGGY                   THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
HUGHES, ROSE                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HUGHES, ROSEMARY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUGHES, SHARON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUGHES, SHEFFEY                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
HUGHES, SHEFFEY                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HUGHES, SHEFFEY                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
HUGHES, SHEFFEY                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HUGHES, SHEFFEY                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
HUGHES, TERRY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HUGHES, TERRY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                             Address Information
HUGHES, VICKIE                        GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                      PA 19102
HUGHES, VICKIE                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                      EMILY FAIRFAX VA 22031
HUGHES-BRANT, CHRISTINE               THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                      CHARLESTON WV 25301
HUGULEY, ADRIENNE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HULEN, DONNA                          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HULL, CAROLYN                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                      EMILY FAIRFAX VA 22031
HULL, JOHNNIE                         THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                      MADISON MS 39110
HULL, JULIE                           THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                      ORANGE VA 02296
HULL, LORRAINE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HULL, MARY                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
HULLEY, TONJA                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HULLINGER, MARGARET                   SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
HULME, SUSAN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HULSENBERG, TARA                      CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                      14202-3725
HULSEY, JAMES AND HULSEY, BONNIE      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                      HILL NJ 08002
HUMAGAIN, ALISHA                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                      EMILY FAIRFAX VA 22031
HUMAGAIN, ALISHA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                      STREET MONTGOMERY AL 36104
HUMBER, MARVA                         GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                      EVAN D. EDWARDSVILLE IL 62025
HUMBERT, YUKANA                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HUMBLE, ROBERTA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
HUMPAL, HELEN                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                      77098
HUMPHREY, CAROLINE                    KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
HUMPHREY, CAROLINE                    LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
HUMPHREY, DELLA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
HUMPHREY, DONNA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUMPHREY, JULIE                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
HUMPHREY, LINDA                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                      ORANGE VA 02296
HUMPHREY, NORM                        NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                      PR 00918
HUMPHREY, PATRICIA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HUMPHREY, PATRICIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
HUMPHREY, QUEEN                       NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                      11747
HUMPHRIES, JUDITH                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.



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Claim Name                              Address Information
HUMPHRIES, JUDITH                       ORANGE VA 22960
HUMPHRIES, JUDITH                       HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                        46290
HUMPICH, LISA LEA; TAYLOR SR., ROBERT   NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                        PR 00918
HUNBOLD, DENISE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUND, PATRICIA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUNDLEY, LINDA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUNDLEY, SHERYL                         MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                        YORK NY 10017
HUNLEY, LINDA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
HUNLEY, MARY                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
HUNNELL, PATRICIA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
HUNNICUTT, DOROTHY                      NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                        PR 00918
HUNOLD, DENISE                          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HUNOLD, DENISE                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                        ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
HUNSAKER, PAMELA                        MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
HUNT, ABIGAIL                           GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HUNT, ANN                               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
HUNT, BONNIE                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
HUNT, BRENDA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUNT, CORA                              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUNT, DEBORAH                           ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HUNT, DEBORAH                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
HUNT, ERINN                             DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HUNT, ESTELLA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
HUNT, EVELYN                            THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                        ORANGE VA 02296
HUNT, JOY                               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUNT, JULIA                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
HUNT, KAREN                             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                        ORANGE VA 02296
HUNT, KATHERINE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
HUNT, KATHLEEN                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
HUNT, LACOLE                            DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                        ANTHONY ST. LOUIS MO 63102
HUNT, LACOLE                            LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HUNT, LACOLE                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                        ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HUNT, LATANYA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
HUNT, LAUNA                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HUNT, LAUNA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUNT, LISA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HUNT, LYNETTE                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HUNT, MARILYN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUNT, MELANIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HUNT, MICHELLE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUNT, MILLIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HUNT, NEVA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUNT, SARAH                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
HUNT, SUSAN                     MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
HUNTER, ANGELA                  SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
HUNTER, ANIQUA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUNTER, ANNIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUNTER, BARBARA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUNTER, BARBARA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HUNTER, BETTY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUNTER, BRENDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUNTER, CINDY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUNTER, DEANGILA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUNTER, DEBBIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUNTER, DIANE                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
HUNTER, JACQUELINE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUNTER, JACQUELINE              GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
HUNTER, JACQUELINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUNTER, JACQUELINE              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HUNTER, JACQUELINE              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HUNTER, JANICE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HUNTER, JAZMIN                  TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
HUNTER, JOANN                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HUNTER, JUDITH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUNTER, KATHLEEN                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HUNTER, KELLY                   DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
HUNTER, KIMBERLY                ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103


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                                       LTL Management LLC
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Claim Name                       Address Information
HUNTER, KIMBERLY                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HUNTER, KRISTEN                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
HUNTER, LAKESHA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
HUNTER, LAKESHA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HUNTER, LAKESHA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HUNTER, LINDA                   HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
HUNTER, LOUELLA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUNTER, LYNDA                   MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                DAVID M. MINNEAPOLIS MN 55404
HUNTER, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUNTER, NATASHA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HUNTER, PAMELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUNTER, PRISCILLA               ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
HUNTER, ROSE                    MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
HUNTER, VALERIA                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
HUNTER, VALERIE                 WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
HUNTER, VALERIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUNTER-DISPENNETT, REBECCA      DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HUNTER-STEVENSON, MARGARET      NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
HUNTINGTON, JEANINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUNTLEY, ALMEDA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HUNTLEY, ALMEDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUNTLEY, JANA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HUNTLEY, LASHUNDA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUNTLEY, LASHUNDA               GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
HUNTLEY, LASHUNDA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUNTLEY, LASHUNDA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HUNTLEY, LASHUNDA               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HUNTLEY, LINDA                  WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
HUNTLEY, LINDA                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HUNTSMAN, DENISE                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HURLBUT, STEPHANIE              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HURLEY, AMANDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
HURLEY, BETSY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HURLEY, BETSY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HURLEY, DONNA                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
HURLEY, LORETTA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HURLEY, NINA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HURLEY, PATRICIA                WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
HURLEY, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HURLOCKER, CAROL                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HURLOCKER, CAROL                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HURSEY, ORALIA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HURSIN, KAREN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HURST, DANIELLE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HURST, DOROTHY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HURST, MARY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HURST, PEGGY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HURST, SHERRY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HURST, SUSAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HURT, MARY                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HURT, RONICA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HURTADO, ELIZABETH              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HURTADO, ELIZABETH              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HURTADO, ELIZABETH              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HURTADO, ELIZABETH              PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
HURTADO, LINDA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HURTAK, LORA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HURTIG, DEBORAH                 WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
HUSAIN, UNZIALINA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HUSAK, SHIRLEY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUSEBO, JANICE                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HUSEBO, JANICE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUSH, SARAH                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUSMAN, HEIDI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUSMAN, HEIDI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
HUSMAN, HEIDI                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HUSMAN, HEIDI                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HUSMAN, HEIDI                   KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
HUSSAIN, RUBINA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUSSEY, CHRISTINE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HUSSUNG, HOPE                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HUSTED, BEVERLY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HUSTLER, NANCY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUSTON, CAROL                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HUTCHENS, CHERYL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUTCHENS, LORA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HUTCHERSON, CHARLENE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUTCHESON, CHARMAINE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUTCHESON, JILL                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HUTCHINGS, KRISTI               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
HUTCHINS, AGNES                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUTCHINS, AUDREY                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
HUTCHINS, CLEOMAE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUTCHINS, ELAINE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HUTCHINS, ELAINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUTCHINSON, ANDREA              GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
HUTCHINSON, BERNA               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
HUTCHINSON, FLORENCE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUTCHINSON, LORI                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HUTCHINSON, MARTHA              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
HUTCHINSON, SARA                LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
HUTCHINSON, THURSDAY            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HUTCHINSON-COURSE, LIANA        THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
HUTCHISON, DEBORAH              HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
HUTCHISON, DIANE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUTCHISON, JENNIFER             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUTHNANCE, CHARLOTTE            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUTSLER, SHERRI                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
HUTSON, DIANE                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA


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Claim Name                       Address Information
HUTSON, DIANE                   70130
HUTSON, LAURA                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
HUTSON-MAYER, EDNA              DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HUTTER, CINDY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUTTER, JOYCE                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
HUTTON, ADRIENNE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
HUTTON, ADRIENNE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HUTTON, HEIDI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HUTTON, NANCY                   THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 FERRARO, JR., JAMES
                                L. DIMATTEO, DANIEL J. MIAMI FL 33131
HUTZAYLUK, STEPHANIE            DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
HUTZLER, IVY                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
HUTZLER, IVY                    LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
HUTZLER, IVY                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
HUTZLER, IVY                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
HUTZLER, IVY                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
HUYCK, DIANE                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
HUYCK, PATRICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HVIZDOS, RUTHANN                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
HVIZDOS, RUTHANN                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
HYATT, CARLA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
HYATT, CARLA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
HYATT, CARLA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HYATT, CARLA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HYATT, CARLA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
HYATT, JANICE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HYCHE, BETTY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HYCHE, RELDA                    WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
HYDE, EMMA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
HYDE, FAYE                      COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
HYDE, JAMI                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HYDE, RHONDA                    SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
HYLAND, CHERYL                  MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
HYLAND, CHERYL                  KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
HYLAND, KATHY                   THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW


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Claim Name                             Address Information
HYLAND, KATHY                          ORLEANS LA 70130
HYLANDER, MICHELLE                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
HYMAN, LAQUAWN                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HYMAN, LEONA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HYMAN, SHANITY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HYMAN-BUCY, BRENDA                     NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                       PR 00918
HYMON, ALTHEA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
HYSLOP, MARY                           JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
HYSMITH, RHONDA                        ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
HYSMITH, RHONDA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
HYVARINEN, ANNE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
HYVARINEN, ANNE                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
HYVARINEN, ANNE                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
IACONO, CAROL                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
IACONO, CAROL                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
IACUZZO, MARY AND IACUZZO, JOHN        LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                       NJ 08648
IANNARONE, DIANE                       GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
IANNIELLO, JOANN                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
IBARRA, MARIA                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
IBARRA, MELANIE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
IBARRA, NORMA                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
IBARRONDO, SANDRA                      WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
IBOLD, REGINE                          ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                       ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
ICE, CASSANDRA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ICKES, CHERYL                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
ICKES, SHEILA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
IDA CALABRO                            ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119
IERACI, DIANE                          THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                       CHARLESTON WV 25301
IFKEWITSCH, CAROL                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
IGLESIAS, MARTHA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
IIDA, PATRICIA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
IKNER, JULIE ; LOPEZ, ROSA; MARTINE,   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                       KNOXVILLE TN 37929
ILER, ATHALENE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ILES, BARBARA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ILES, DORETHA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
ILES, DORETHA                   MEADOWS, TED G. MONTGOMERY AL 36104
ILGES, DEBRA                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
ILLARRAMENDI, LIZETTE           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
ILLIAN, DEA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ILLIAN, JACQUELINE              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
ILOILO, DEBRA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
IMBODEN, TINA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
IMLER, ANGELA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
IMPELL, NANCY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
IMPELLIZZERI, AUDREY            CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
IMPEY, GILLIAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
IMRAN, SONIA                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
IMTIAZ, SYEDA                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
IMTIAZ, SYEDA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
IMTIAZ, SYEDA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
INCALCATERA, EILEEN             GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
INCLEMA, PAULETTE               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
INFANTE, OLIVIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
INGENTHRON, ROSA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
INGERSOLL, KIMMARIE             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
INGHRAM, PAMELA                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
INGLETON, TIA                   ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
INGLIS, GLORIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
INGRAHAM, SHOYNDELLE            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
INGRAHM, SHIRLEY                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
INGRAM, DEBORAH                 MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
INGRAM, DOROTHY                 TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
INGRAM, EBONY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
INGRAM, GARDENIA                HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
INGRAM, KIMBERLY                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
INGRAM, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
INGRAM, MARGIE                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD



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Claim Name                              Address Information
INGRAM, MARGIE                         EDWARDSVILLE IL 62025
INGRAM, SHIRLEY                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
INGRAM, SUSAN                          DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                       ANTHONY ST. LOUIS MO 63102
INGRAM, SUSAN                          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
INGRAM, SUSAN                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
INGRAM, VIRGIE                         FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
INIGUEZ, MARSHA                        BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
INMAN, BARBARA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
INMAN, MATTIE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
INNIS, LINDA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
INNOCENTI, ANNE                        GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                       EDWARDSVILLE IL 62025
INNOCENTI, ANNE-MARIE                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
INOCENCIO, ESTELLE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
INSCORE, CHERYL                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
INTREPIDO, LISA                        JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                       PAUL MN 55101
INZANA, ANN                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
IOSSA, DANIEL SR AND IOSSA, HOLLY      WEITZ & LUXENBERG C/O F. ALEXANDER EIDEN 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                       HILL NJ 08002
IOSSI, THERESA                         THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
IQBAL, JIAN                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
IRBY, DOROTHY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
IRBY, JUDY                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
IRBY, SHARON                           DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
IRBY, VEADA                            MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                       YORK NY 10017
IRENE ZYSK                             BARON & BUDD, P.C. MANN, JONAS 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX
                                       75219
IRENE, NILDA                           WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                       NJ 08002
IRETON, KHRISTINA                      MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                       KNOXVILLE TN 37929
IRINA MELKUMOVA                        ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119
IRIZARRY, MARIANNE                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                       YORK NY 10017
IRIZARRY, SONIA                        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
IRONS, ELISHER                         GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                       EDWARDSVILLE IL 62025
IRONS, SUSAN                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
IRONSIDE, PATRICIA                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
IRONSIDE, PATRICIA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                             Address Information
IROZ, JOYCE                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
IRVIN, ANNA                           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                      77098
IRVIN, BETTY                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                      EMILY FAIRFAX VA 22031
IRVIN, BETTY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
IRVIN, JACQUELINE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
IRVIN, RACHEL                         DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
IRVIN, VERNA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
IRVINE, MARIE                         CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                      14202-3725
IRVING, CARLETTA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
IRVING, HOLLY                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                      EMILY FAIRFAX VA 22031
IRVING, HOLLY                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
IRWIN, BETTY                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                      EMILY FAIRFAX VA 22031
IRWIN, BETTY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
IRWIN, THERESA                        BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                      30603
IRWIN, TRUDY                          DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                      63102
ISA, TAMI                             THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, D.,
                                      FERRARO, JR. J. DIMATT MIAMI FL 33131
ISAAC, DEBORAH                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ISAAC-MERCER, MIA                     NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                      11747
ISAACS, VIRGINIA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ISAACSON, ELSIE                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                      ORANGE VA 02296
ISAACSON, LISA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
ISAACSON, ROEANN                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ISABEL RODRIGUEZ                      LENZE LAWYERS, PLC LENZE, JENNIFER A 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN
                                      BEACH CA 90266
ISABEL RODRIGUEZ                      ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                      S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
ISABELL, LAKEISHA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ISACKSON, SHARON                      SALTZ MONGELUZZI & BENDESKY PC COHAN, JOSHUA C 1650 MARKET ST., 52ND FLOOR
                                      PHILADELPHIA PA 19103
ISAGUIRRE, CYNTHIA                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ISBELL, DENNISE; WINTERS, SYLVIA      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                      ROBINSON, JR. MARK P. KAR NEWPORT BEACH CA 92660
ISCHAY, ANA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
ISENBERG, BONNIE                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                      ORANGE VA 02296
ISENBERG, ROBIN                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
ISENBERG, ROBIN                 MEADOWS, TED G. MONTGOMERY AL 36104
ISGRIG, CAROLYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ISGRO, JOANNE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ISHAM, LISA                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
ISHAM, NANCY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ISHMAEL, ADRIAN                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
ISIANG, ROSEMARIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ISLER, ANNETTE                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ISLES, SUSAN                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
ISLES, SUSAN                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ISLES, SUSAN                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ISOM, FRANCINE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ISSACS, CHARLEEN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ISSHAC, REEM                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ISTRE, AMY                      PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
ISTRE, BRETT                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ISTVANOVICH, PATRICIA           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ITALIANO, DONNA                 MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
ITLIONG, AMANDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ITURRALDE, RITA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ITURRERIA, SUSAN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ITURRERIA, SUSAN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ITURRERIA, SUSAN                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ITURRERIA, SUSAN                PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
ITURRERIA, SUSAN                SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
IULIANO, DANIELA                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
IUPPA, MARY                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
IVANOV, LYUDMILA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
IVASIECKO, VENISSA              ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                FELLER, JOEL J. PHILADELPHIA PA 19103
IVERS, EILEEN                   MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
IVERSON, JOYCE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
IVEY, MARGARET                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
IVEY, MISHELLE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
IVEY, REBA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                             Address Information
IVEY, TERRY                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
IVLER, LAURIE                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
IVORY, BRIDGET                        THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                      ORLEANS LA 70130
IVORY, EARLINE                        JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
IVORY, MARIE                          NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                      11747
IVORY, SHERRY                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
IVORY, YUMEKA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
IVY, ELLA                             BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 BUDD, RUSSELL W DALLAS TX
                                      75219
IWANOW, CHRISTINE                     HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
IZZO, DEBRA                           MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                      YORK NY 10017
JAAFAR, VIRGINIA                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                      77098
JAAP, JERI                            DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
JAAP, JERI                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JABARA, LYNN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JABLON, MIRIAM                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JABLONOWSKI, ROBIN                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                      77098
JABOUIN, MARIE                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                      77098
JACHYM, LORRAINE                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                      77098
JACINTO, C & JACINTO, G EST OF A      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
JACINTO                               NJ 08648
JACK, ADRIAN                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
JACK, AUDREY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
JACKOWIAK, ROBERTA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
JACKS, DEBORA                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JACKSON, ADA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
JACKSON, ALETHA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, ALICESTINE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
JACKSON, ALICESTINE                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                      MINNEAPOLIS MN 55402
JACKSON, ALICESTINE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, ALICESTINE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JACKSON, ALICESTINE                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JACKSON, ALVINA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
JACKSON, ALVINA                       TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
JACKSON, ALYSSIA                      SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA



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Claim Name                       Address Information
JACKSON, ALYSSIA                19103
JACKSON, AUDREY                 FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LUFF, PATRICK - DALLAS TX 75231
JACKSON, BARBARA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JACKSON, BARBARA                COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
JACKSON, BARBARA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, BARBARA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JACKSON, BELINDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, BETTIE                 MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
JACKSON, BEVERLY                WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
JACKSON, BIRDGETTE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, BOBBIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JACKSON, BRENDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, CAROL                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JACKSON, CECELIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JACKSON, CEDIA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
JACKSON, CHENIKA                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
JACKSON, CHERI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, CHRISTINA              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
JACKSON, CHRISTINA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JACKSON, CYNTHIA                JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
JACKSON, CYNTHIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, CYNTHIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JACKSON, DEBORAH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, DEBRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, DEBRA                  SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
JACKSON, DELORES                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
JACKSON, DELORES                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JACKSON, DIANE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JACKSON, DONNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, DORIS                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JACKSON, DOROTHY                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JACKSON, DRUCILLA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JACKSON, ELFRIEDE               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JACKSON, ELIZABETH              MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
JACKSON, ELLEN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                               Address Information
JACKSON, ELOIS                          BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                        70130
JACKSON, ELOIS                          BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                        75202
JACKSON, FANNIE                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
JACKSON, FRANKIE                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
JACKSON, FRANKIE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
JACKSON, GAIL                           LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                        SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
JACKSON, GLORIA                         DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                        63102
JACKSON, GUSTIEN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, GWENDOLYN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, HELEN                          DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
JACKSON, HELEN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, HERMENIA                       WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                        BOUNDAS, JOHN T. HOUSTON TX 77017
JACKSON, HILDA                          GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
JACKSON, HILDA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
JACKSON, IRENE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
JACKSON, JAMIE                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
JACKSON, JANET                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, JANET                          FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JACKSON, JANICE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
JACKSON, JOAN                           GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                        MINNEAPOLIS MN 55402
JACKSON, JOAN                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, JOAN                           THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JACKSON, JOAN                           PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JACKSON, JOAN                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
JACKSON, JOEVA                          MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                        ORLEANS LA 70130
JACKSON, JOHN AND JACKSON, PHYLLIS      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
JACKSON, JUDITH                         CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                        GA 30009
JACKSON, JUDITH                         BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                        30060
JACKSON, JULIA                          NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                        11747
JACKSON, JUNIE                          HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                        63101
JACKSON, KAREN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, KATIE                          ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.



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Claim Name                               Address Information
JACKSON, KATIE                          LOUIS MO 63119
JACKSON, KELBY AND JACKSON, AMANDA      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
JACKSON, KELLI                          WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                        BOUNDAS, JOHN T. HOUSTON TX 77017
JACKSON, KIM                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                        STREET, SUITE PENSACOLA FL 32502
JACKSON, LARAE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, LATISHA                        DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
JACKSON, LAVERDA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
JACKSON, LELA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
JACKSON, LILLIE                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
JACKSON, LINDA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
JACKSON, LINDA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, LINNEA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
JACKSON, LISA                           KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
JACKSON, LISA                           LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
JACKSON, LITA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, LOIS                           THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
JACKSON, LORRAINE                       HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                        63101
JACKSON, LOUISE                         DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                        77024
JACKSON, MAKESHA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
JACKSON, MANNISE                        WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                        NJ 08002
JACKSON, MARGARET                       GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                        MINNEAPOLIS MN 55402
JACKSON, MARGARET                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, MARGARET                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JACKSON, MARGARET                       PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JACKSON, MARI                           THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
JACKSON, MARIE                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
JACKSON, MARY                           LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                        NJ 08648
JACKSON, MARY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, MAUREEN                        FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JACKSON, MELODY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, MYRA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
JACKSON, NANCY                          MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                        YORK NY 10017
JACKSON, NIKISHA                        NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                        11747
JACKSON, PAMELA                         WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K


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                                                LTL Management LLC
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Claim Name                                Address Information
JACKSON, PAMELA                          BOUNDAS, JOHN T. HOUSTON TX 77017
JACKSON, PATRICIA                        CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                         14202-3725
JACKSON, PATRICIA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
JACKSON, PAULINE                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
JACKSON, PLESHETTE                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
JACKSON, REBECCA                         THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                         CHARLESTON WV 25301
JACKSON, RENIA                           BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
JACKSON, ROEANER                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, RUBY                            THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                         CHARLESTON WV 25301
JACKSON, RUBY                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
JACKSON, RUTH                            MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                         YORK NY 10017
JACKSON, SABRINA                         GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                         MINNEAPOLIS MN 55402
JACKSON, SANDRA                          DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                         ANTHONY ST. LOUIS MO 63102
JACKSON, SANDRA                          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
JACKSON, SANDRA                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
JACKSON, SHALISSA                        ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
JACKSON, SHARON                          MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
JACKSON, SHELIA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, SHENIEKA                        CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                         14202-3725
JACKSON, SHIRLEY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, SHIRLEY                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
JACKSON, STEPHEN AND JACKSON, SUSAN      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
JACKSON, SUSAN                           THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                         CHARLESTON WV 25301
JACKSON, SUSAN                           FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JACKSON, TAMEKA                          MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
JACKSON, THELMA                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
JACKSON, TOMMIE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
JACKSON, VALERIE                         PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
JACKSON, VALERIE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, VANESSA                         BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                         75202
JACKSON, VERLETTA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, VERONICA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON, VIVIAN                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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                                        LTL Management LLC
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                                                  List
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Claim Name                       Address Information
JACKSON, VIVIAN                 75231
JACKSON, VONDA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
JACKSON, VONDA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
JACKSON, VONDA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
JACKSON, WANDA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
JACKSON, YVONNE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JACKSON-CARPIA, DENISE          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACKSON-GOUDINE, CAROLYN        GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
JACOB, JILL                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACOB, PATRICIA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JACOBI, STACEY                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JACOBS, BETTY                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
JACOBS, BONNIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JACOBS, GERI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACOBS, KAREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACOBS, KRISTIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACOBS, LOIS                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JACOBS, MARIE                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JACOBS, ROBERTA                 LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET KOHRS, NICHOLAS HIGHTOWER,
                                KRISTIE LAKE CHARLES LA 07060
JACOBS, RUTH                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
JACOBS, STEPHANIE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JACOBSEN, CATHERINE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JACOBSEN, VICTORIA              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JACOBSON, ANGELA                MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
JACOBSON, ANN                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
JACOBSON, LORI                  NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
JACOBSON, VERNA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JACQUELINE DICKSON              ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
JACQUELINE GOMEZ                LENZE LAWYERS, PLC LENZE, JENNIFER A 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN
                                BEACH CA 90266
JACQUELINE GOMEZ                ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
JACQUELINE MCSWEENEY            ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119



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Claim Name                       Address Information
JACQUES, FAITH                  BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
JACQUES, GOLDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JACQUES, LINDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JACQUET, GAIL                   HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
JACQUEZ, NANCY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JACQUEZ, NANCY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JACQUEZ, NANCY                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JACQUEZ, NANCY                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
JACQUEZ, NANCY                  SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
JADALLAH, AMAL                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
JAEHNIG, DENISE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JAGHAB, HANAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JAGIER, MAUREEN                 SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                11530
JAGNEAUX, CAROLYN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JAIME CONWAY                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
JAJI, LATORIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JAKAN, JANET                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
JAKOBETZ, ROBERTA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JALOVE, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JAMBAZIAN, ANUSH                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
JAMES, ANNIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JAMES, BARBARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JAMES, CHARLENE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JAMES, CLIFFIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JAMES, CORNELIA                 BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
JAMES, DESIREE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JAMES, DOMICA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JAMES, DORIS                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
JAMES, DORIS                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
JAMES, ELIZABETH                JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
JAMES, ELSIE                    MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130



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Claim Name                       Address Information
JAMES, EUNICE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JAMES, JACQUELINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JAMES, JANNIE                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
JAMES, JANNIE                   LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
JAMES, JANNIE                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
JAMES, JANNIE                   ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
JAMES, JANNIE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
JAMES, JANUARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JAMES, JOYCE                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JAMES, JOYCE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JAMES, KAREN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JAMES, KAREN                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JAMES, KATHRYN                  MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
JAMES, LEN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JAMES, LIDIA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JAMES, LINDA                    SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
JAMES, LYNETTE                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
JAMES, LYNETTE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
JAMES, MARCIA                   BEASLEY ALLEN CROW METHVIN PORTIS &MILES SCOTT, BRITTANY SAMANTHA 218 COMMERCE
                                STREET MONTGOMERY AL 36104
JAMES, MARLENE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JAMES, MARLENE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JAMES, NITZA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JAMES, NONIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JAMES, RHONDA                   MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
JAMES, RHONDA                   KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
JAMES, ROSE                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
JAMES, RUTH                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JAMES, RUTH                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JAMES, SANDRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JAMES, SANDRA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
JAMES, SHEILA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JAMES, TRENESSA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JAMES, TYANN                    HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM



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Claim Name                       Address Information
JAMES, TYANN                    AL 03520
JAMES, VICTORIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JAMES, WILHEMINA                MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
JAMESON, ALBERTA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JAMESON, DEBORAH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JAMESON, PAM                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JAMHOUR, DORIS                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JAMIE SKEHAN                    WATERS & KRAUS, LLP MACLEAN, LESLIE 3141 HOOD STREET, STE 700 DALLAS TX 75219
JAMISON, DEBORA                 DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
JAMISON, DESEREE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JAMISON, DONNA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
JAMISON, DONNA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
JAMISON, DONNA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
JAMISON, EMMA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JAMISON, JIMMIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JAMISON, JIMMIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JAMISON, KATHY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JAMISON, KATHY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JAMISON, LINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JAMISON, REGINA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JANAGAP, ISABEL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JANAS, GRACE                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JANAS, GRACE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JANDA, JULIE                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
JANE HUMPHREY                   WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
JANE SHERET                     BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                COMMERCE STREET MONTGOMERY AL 36104
JANE, CYNTHIA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JANECEK, PATRICIA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JANES, LINDA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JANES, LINDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JANES, LINDA                    THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
JANET BOYERS                    MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
JANET SHUTE                     MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
JANET WRIGHT                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,


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Claim Name                       Address Information
JANET WRIGHT                    S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
JANET, JONETTE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JANET, JONETTE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JANETH CARNEY                   MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
JANICE ALSTON                   MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
JANICE DELEEUW                  JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
JANICE LITZKOW                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
JANICE MEZA                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
JANICKI, CAROLE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JANICKI, CAROLE                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JANIE FLORES                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
JANIGA, LINDA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
JANIGA, MAUREEN                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
JANKE, DEBRA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JANKOWIAK, ERIN                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
JANKOWSKI, DIANE                SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
JANN, SHARON                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JANNA HONICUTT                  MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
JANNELLI, LAUREN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JANNEY, VICKI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JANSEN, DENISE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JANSKY, WYONIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JANUARY, DOLLIE                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
JANUARY, DOLLIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JANUARY, DOLLIE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JANUARY, DOLLIE                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JANUZZI, NICOLE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JAQUINTA, MELODY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JARACZ, NORMA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
JARAM, MARY                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
JARAMILLO, CHRISTINA            THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
JARAMILLO, CHRISTINA            HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290



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                                              LTL Management LLC
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Claim Name                              Address Information
JARAMILLO, TINA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
JARBOE, GRACE                          MILLER DELLAFERA PLC 3420 PUMP RD., PMD 404 MILLER, PETER A. HENRICO VA 23233
JARDINE, MARY                          ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                       ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
JARMUZ, MARIANNE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
JARMUZ, MARIANNE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JARMUZ, MARIANNE                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JARMUZ, MARIANNE                       PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JARNIGAN, TREVA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JAROSZCZYK, MALGORZATA                 COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
JAROSZCZYK, MALGORZATA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JARRELL, STEPHANIE                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
JARRELL, TERANITA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JARRELLS, SHIRLEY                      WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
JARRETT, STEPHNEY                      ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119
JARRETT-WARDLOW, BESSIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JARVIS, ORLAGH                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JARVIS, ROSE                           CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
JARVIS, WILMA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
JASKOWSKI, MELISSA                     THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                       CHARLESTON WV 25301
JASON J. JOY & ASSCIATES P.L.L.C.      909 TEXAS STREET, SUITE 1801 HOUSTON TX 77002
JASON, HELEN                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JASON, KERWIN                          ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                       ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
JASPER, ANGELA                         CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
JASPER, MARY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JATHO, LAURIE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JATRAS, KATHY AND JATRAS, JAMES        LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                       NJ 08648
JAUBERT, MARY                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 22960
JAUBERT, MARY                          HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                       46290
JAUREGUI, CLAUDIA                      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
JAURIGUE, JESSIE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JAVIS, CHARLENE                        MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                       YORK NY 10017
JAVNER, TERRI                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
JAY, DEBORAH                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
JAYNES, ANN                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
JAYNES, ANN                     MEADOWS, TED G. MONTGOMERY AL 36104
JAYNES, RUSSELL                 NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
JAYROE, JANICE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JAZBINSEK, VALERIE              MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
JAZMIN MITCHELL                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
JAZRAWI, ANGEEL                 WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
JEAN DRAEGER                    WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
JEAN SICKLES                    MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
JEAN, CAROL                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
JEAN, DIETZ                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JEAN-BAPTISTE, MARIE            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JEANNE RUTKOWSKI                ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
JEANNIE TRAVIS                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
JEANTET, REBBIE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JEANTY, MARIE                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
JECMINEK, GOLDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JEFFERS, ANTONIA                MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
JEFFERS, DEBBIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JEFFERS, JULIA                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
JEFFERS, MARIE                  LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
JEFFERSON, ANNA                 LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET HIGHTOWER, KRISTIE LAKE
                                CHARLES LA 07060
JEFFERSON, BETTY                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
JEFFERSON, DORIS                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JEFFERSON, JACQUELINE           ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JEFFERSON, JACQUELINE           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JEFFERSON, JOANN                MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
JEFFERSON, LUCINDA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JEFFERSON, NETTIE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JEFFERSON, RUBY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JEFFERSON, THELMA               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
JEFFERY, ALANNA                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024



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Claim Name                       Address Information
JEFFERY, CHRISTINE              MILLER DELLAFERA PLC 3420 PUMP RD., PMD 404 HENRICO VA 23233
JEFFERY, MARY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
JEFFERY, MARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JEFFERY, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JEFFERY, MARY                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JEFFERY, MARY                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
JEFFORDS, BETTY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JEFFORDS, JULIE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JEFFORDS, JULIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JEFFREY, EMILY                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
JEFFREY, INGRID                 SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
JEFFREY, INGRID                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JEFFREY, INGRID                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JEFFREY, INGRID                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JEFFREYS, LISA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JEFFRIES, DONNA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JEFFRIES, LAURIE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JEFFRIES, TONYA                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
JELICH, JOAN                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
JEMISON, GWENDOLYN              MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
JEMMOTT, DENISE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
JENA CRUMEDY                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
JENDERSECK, GERALDINE           SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
JENGO, NORA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JENKINS, ADA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JENKINS, ANGELA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JENKINS, CANDICE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
JENKINS, CATHY                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JENKINS, CHERYL                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JENKINS, CONSTANCE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JENKINS, CYNTHIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JENKINS, DEBRA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JENKINS, DEBRA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.



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Claim Name                       Address Information
JENKINS, DEBRA                  MINNEAPOLIS MN 55402
JENKINS, DEBRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JENKINS, DEBRA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JENKINS, DEBRA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JENKINS, DONNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JENKINS, ERNESTINE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JENKINS, EULA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JENKINS, HELEN                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
JENKINS, HELEN                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
JENKINS, JACQUELINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JENKINS, JOSEPHINE              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JENKINS, JOSEPHINE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JENKINS, KATHLEEN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JENKINS, KAY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JENKINS, KELLIE                 ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
JENKINS, LATANYA                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
JENKINS, LATANYA                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
JENKINS, LATANYA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
JENKINS, MARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JENKINS, MARY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JENKINS, MICHELLE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JENKINS, MONNIE                 HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
JENKINS, PATRICIA               SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
JENKINS, RAMONA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JENKINS, ROBIN                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
JENKINS, SURENTHIA              THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
JENKINS, WILLIE                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
JENKINSON, KRISTEN              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JENKS, FAYE                     POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
JENKS, YVONNE                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
JENNERICH, KAREN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JENNETTE, CARMEN                MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
JENNIE MORRIS                   DRISCOLL FIRM, P.C. JOHNSON, PAUL W. 211 N. BROADWAY, STE. 2440 ST. LOUIS MO
                                63102
JENNIFER GUARA                  MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464


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                                                      Entered 02/17/22 16:31:44            Desc Main
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Claim Name                       Address Information
JENNIFER HEITMAN                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
JENNIFER LEONARD                PARKER WAICHMAN, LLP MUHLSTOCK, MELANIE H 6 HARBOR PARK DRIVE PORT WASHINGTON
                                NY 11050
JENNIFER MAGGI                  BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                COMMERCE STREET MONTGOMERY AL 36104
JENNIFER MINNICK                WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
JENNIFER MOSLEY                 WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
JENNIFER REELEY                 WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
JENNIFER SORRELS                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
JENNINGS, ANTOINETTE            COHEN, PLACITELLA & ROTH 127 MAPLE AVE. PLACITELLA, CHRISTOPHER M. GEIER,
                                DENNIS M. RED BANK NJ 07701
JENNINGS, CAROL                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JENNINGS, DARLA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
JENNINGS, DARLA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
JENNINGS, EMMA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JENNINGS, JACQUELINE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JENNINGS, JEANNE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JENNINGS, JUDITH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JENNINGS, LENA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JENNINGS, PATREACE              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JENNINGS, TREASTIE              GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
JENNINGS, VICTORIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JENNISON, BRENDA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JENSEN, AMANDA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
JENSEN, BONNIE                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
JENSEN, CHERYL                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
JENSEN, DAGMAR                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JENSEN, DALENE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JENSEN, DALENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JENSEN, DALENE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JENSEN, DALENE                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
JENSEN, DEBORAH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JENSEN, HOLLY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JENSEN, LORI                    JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101



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Claim Name                       Address Information
JENSEN, MAIREAD                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
JENSEN, MAIREAD                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JENSEN, MAIREAD                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JENSEN, MAIREAD                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JENSEN, SARAH                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JENSON, DONNA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JEPSEN, RHODA                   ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
JEPSON, KAREN                   MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
JERNIGAN, GAIL                  SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
JEROME, DELORES                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JERRICKS, DEBORAH               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
JERRY WONSEY                    MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
JERRY, HELEN                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JESKE, ROBIN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JESSEE, ANGELITA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JESSUP, ALICE                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JESTER-CORAZZINI, SHIRLEY       DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
JESZENKA, NANCY                 NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
JETER, DELORES                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JETER, MARCIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JETER, VIRGINIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JETT, ANNIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JETT, CARLA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JETTON, KIMBERLY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JEWELL, CONNIE                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
JEWELL, DIANE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JEWELL, KAREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JEWELL, MARY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
JEWELL, MELISSA                 COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
JEWELL, NANCY                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JEWELL, TRICIA                  TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
JIANNALONE-COMING, DELLA        MILLER DELLAFERA PLC 3420 PUMP RD., PMD 404 HENRICO VA 23233
JILEK, CONSTANCE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JILES, MARY                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502


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Claim Name                          Address Information
JILLSON, ROSE-MARIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JIMENEZ, DEBBIE                    WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                   NJ 08002
JIMENEZ, LILIBET                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
JIMENEZ, LOURDES                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   LAMPKIN II, JAMES W. MONTGOMERY AL 36104
JIMENEZ, MARIA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
JIMENEZ, MILDRED                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
JIMENEZ, PAULITA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
JIMINEZ, LETICIA                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
JIMISON, LADONNA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
JIMMERSON, BEVERLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JINRIGHT, REBECCA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
JIRAUD, TRICIA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JIROUSEK, MICHELLE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
JITE-OGBUEHI, LUCY                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                   ANTHONY ST. LOUIS MO 63102
JITE-OGBUEHI, LUCY                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
JITE-OGBUEHI, LUCY                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
JO, NIKI                           CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
JOAN RUSH                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC PUTNICK, MARY ELIZABETH 17 EAST MAIN
                                   STREET, SUITE 200 PENSACOLA FL 32502
JOAN WIESELER                      DAVIS, BETHUNE & JONES, L.L.C. DAVIS, GRANT L. 1100 MAIN STREET, SUITE 2930
                                   KANSAS CITY MO 64196
JOAN, MARRERO-MOORE                THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
JOANIS, BARBARA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
JOANN, HEMMERLING                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
JOBE, JOANN                        NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                   11747
JOBE, MEMARIE                      THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                   ORLEANS LA 70130
JOCK, JACQUELINE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOCYLN FRANKLIN                    MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
JODI TAYLOR                        ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
JODON, JANET                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
JOELL, BETTY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOFFE, ELIZABETH                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
JOHANN, SYLVIA                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY


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Claim Name                                Address Information
JOHANN, SYLVIA                           14202-3725
JOHANNSEN, JANET                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHANSEN, DIAN                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
JOHANSEN, MARIA                          THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
JOHANSON, JENNIFER                       ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
JOHANSON, MARY                           SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
JOHANSON,ROBERTA; SMOLLER, LORRAINE      COHEN, PLACITELLA & ROTH, PC ATTN CHRISTOPHER MICHAEL PLACITELLA 127 MAPLE
                                         AVENUE RED BANK NJ 07701
JOHANSON,ROBERTA; SMOLLER,LORRAINE       BEASLEY ALLEN LAW FIRM ATTN PATRICIA LEIGH O'DELL 218 COMMERCE ST MONTGOMERY
                                         AL 36104
JOHN, PATRICIA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHN, SANDRA                             DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                         ANTHONY ST. LOUIS MO 63102
JOHN, SANDRA                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
JOHN, SANDRA                             LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
JOHN, SANDRA                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
JOHNER, DIANE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNS, DANA                              ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                         LOUIS MO 63119
JOHNS, DENISE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNS, GISELLE                           LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                         SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
JOHNS, MARIE                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNS, NANCY                             GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                         MINNEAPOLIS MN 55402
JOHNS, NANCY                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNS, NANCY                             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JOHNS, NANCY                             PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JOHNS, TAMIKA                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
JOHNS, TAMIKA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNS, TAMIKA                            THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JOHNS, TAMIKA                            PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JOHNSEN, BARBARA                         TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
JOHNSEN, DOROTHY                         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
JOHNSEN, SOPHIE                          ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                         FELLER, JOEL J. PHILADELPHIA PA 19103
JOHNSEY, CASSANDRA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
JOHNSN, TASHAUNA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON BECKER, PLLC                     444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST. PAUL MN 55101
JOHNSON BECKER, PLLC                     444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
JOHNSON LAW GROUP                        2925 RICHMOND AVENUE, SUITE 1700 G TOBIN, A TIZENO, B ADHAM HOUSTON TX 77098
JOHNSON, ALEJANDRINA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
JOHNSON, ALICE                           GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
JOHNSON, ALICE                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104

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                                               LTL Management LLC
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Claim Name                               Address Information
JOHNSON, ALMA                           MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                        YORK NY 10017
JOHNSON, AMANDA                         SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
JOHNSON, AMBER                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, AMY                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, AMY                            TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
JOHNSON, ANGELA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, ANITA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, ANN                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, ANNIE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, ANNIE                          MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                        ORLEANS LA 70130
JOHNSON, ANTIONETTE                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
JOHNSON, ANTIONETTE                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
JOHNSON, ANTIONETTE                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                        ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
JOHNSON, ANTOINETTE                     THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
JOHNSON, APRIL                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, AQUIRA                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JOHNSON, ARLENE                         GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                        MINNEAPOLIS MN 55402
JOHNSON, ARLENE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, ARLENE                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JOHNSON, ARLENE                         PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JOHNSON, ARTIS                          CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                        14202-3725
JOHNSON, ASHLEY                         EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
JOHNSON, ASHLEY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, ATTIE                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
JOHNSON, BARBARA                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                        ORANGE VA 02296
JOHNSON, BARBARA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, BARBARA                        BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                        TX 75219
JOHNSON, BARBARA AND JOHNSON, JOHN      COHEN, PLACITELLA & ROTH 127 MAPLE AVE. PLACITELLA, CHRISTOPHER M. GEIER,
                                        DENNIS M. RED BANK NJ 07701
JOHNSON, BEATRICE                       WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
JOHNSON, BEATRICE                       MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                        ORLEANS LA 70130
JOHNSON, BERDETTA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
JOHNSON, BETTY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, BETTY                          COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                        JONATHAN A. INDIANAPOLIS IN 46204
JOHNSON, BETTY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, BETTY                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007


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Claim Name                               Address Information
JOHNSON, BEVERLEY                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
JOHNSON, BEVERLY                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, BEVERLY                         WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                         BOUNDAS, JOHN T. HOUSTON TX 77017
JOHNSON, BILLIE JEAN & JOHNSON, JERAMY   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
JOHNSON, BONNIE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, BRANDI                          GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                         PA 19102
JOHNSON, BRANDI                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, BRANDY                          WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                         BOUNDAS, JOHN T. HOUSTON TX 77017
JOHNSON, BRENDA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, CACHET                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, CARLA                           DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                         63102
JOHNSON, CARLENE                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
JOHNSON, CAROLINA                        BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
JOHNSON, CAROLINA                        BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 NEW ORLEANS LA 70130
JOHNSON, CAROLINA                        KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
JOHNSON, CAROLYN                         THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
JOHNSON, CAROLYN                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, CARRIE                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
JOHNSON, CATHERINE                       WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                         NJ 08002
JOHNSON, CATHERINE                       HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                         63101
JOHNSON, CATHERINE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, CATHY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, CATHY                           THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JOHNSON, CATHY                           PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JOHNSON, CECELIA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
JOHNSON, CHARLENE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, CHARLOTTE                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
JOHNSON, CHERYL                          COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                         JONATHAN A. INDIANAPOLIS IN 46204
JOHNSON, CHERYL                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
JOHNSON, CHRISTY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, CINDY                           SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
JOHNSON, CLANTHA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, CLARA                           ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
JOHNSON, CLARA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
JOHNSON, CLARA                  MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, CLARICE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
JOHNSON, CONNIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, CONSTANCE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, CONSTANCE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, CONSTANCE              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JOHNSON, CONSTANCE              PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
JOHNSON, CONSTANCE              SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
JOHNSON, CRISTINA               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JOHNSON, CYNTHIA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JOHNSON, CYNTHIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, CYNTHIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, CYNTHIA                BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
JOHNSON, DANITA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
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JOHNSON, DARLENE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, DAWN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, DEBBIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, DEBORAH                WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
JOHNSON, DEBORAH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, DEBORAH                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
JOHNSON, DEBRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, DEENA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOHNSON, DELORIES               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
JOHNSON, DENISE                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
JOHNSON, DIANA                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
JOHNSON, DIANE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, DIANE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, DIANE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JOHNSON, DIANE                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
JOHNSON, DIANE                  THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
JOHNSON, DIANE                  FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LUFF, PATRICK - DALLAS TX 75231
JOHNSON, DOLLY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, DONNA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
JOHNSON, DONNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, DONNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
JOHNSON, DORA                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
JOHNSON, DORIS                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JOHNSON, DOROTHY                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
JOHNSON, DOROTHY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, DOROTHY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, DOROTHY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOHNSON, EARLINE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOHNSON, EDNA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, EDNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, ELAINE                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
JOHNSON, ELAINE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, ELIZABETH              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
JOHNSON, ERNESTINE              FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
JOHNSON, ETHEL                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOHNSON, EVELYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, EVELYN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOHNSON, FRANCES                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
JOHNSON, FRANCESIA              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JOHNSON, FRANCINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, GAIL                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
JOHNSON, GAIL                   DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
JOHNSON, GAYLE                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
JOHNSON, GEORGIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, GLENICE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, GLENNA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JOHNSON, GLENNA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, GLORIA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JOHNSON, GLORIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, GLORIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, GLORIA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
JOHNSON, GLORIA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
JOHNSON, GLORIA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660



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Claim Name                       Address Information
JOHNSON, GUADALUPE              KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
JOHNSON, GUADALUPE              LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
JOHNSON, GWENDOLYN              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, HAZEL                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JOHNSON, HEATHER                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOHNSON, HELEN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JOHNSON, HELEN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, HELEN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, HELEN                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JOHNSON, HELEN                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
JOHNSON, HILMA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JOHNSON, IRENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, ISABELL                WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
JOHNSON, JACKLYN                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JOHNSON, JACKLYN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, JACQUELINE             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JOHNSON, JACQUELINE             DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
JOHNSON, JACQUELINE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, JANET                  WEITZ & LUXENBERG RELKIN, E; SHARMA, B 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
JOHNSON, JANICE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, JANIE                  BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
JOHNSON, JAYNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, JENNIFER               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, JENNIFER               BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
JOHNSON, JERENA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, JESSICA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, JOANETTA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, JOANN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOHNSON, JOANNE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, JOSEPHINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, JOYCE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JOHNSON, JOYCE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, JOYCE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, JOYCE                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.


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Claim Name                       Address Information
JOHNSON, JOYCE                  KANSAS CITY MO 64196
JOHNSON, JOYCE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOHNSON, JUDITH                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JOHNSON, JUDITH                 CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
JOHNSON, JUDITH                 BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
JOHNSON, JUDITH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, JUDITH                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
JOHNSON, JUDY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, JUDY                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JOHNSON, JULIE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
JOHNSON, KANDY                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
JOHNSON, KANDY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, KARA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, KATHERINE              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JOHNSON, KATHLEEN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, KATHLEEN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, KATHLEEN               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JOHNSON, KATHLEEN               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JOHNSON, KATHLEEN               SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
JOHNSON, KATHRYN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, KEISHA                 PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
JOHNSON, KELLIAN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, KELLIAN                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
JOHNSON, KELLY                  THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
JOHNSON, KELLY                  SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
JOHNSON, KIM                    GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
JOHNSON, KRISTI                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
JOHNSON, KRISTIN                MILLER DELLAFERA PLC 3420 PUMP RD., PMD 404 HENRICO VA 23233
JOHNSON, LADONNA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JOHNSON, LATRICIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOHNSON, LAUREN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, LENNIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOHNSON, LILLIAN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
JOHNSON, LILLIAN                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, LILLIE                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
JOHNSON, LINDA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
JOHNSON, LINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, LINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, LINDA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
JOHNSON, LISA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, LISA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, LISA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JOHNSON, LISA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JOHNSON, LISA                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
JOHNSON, LISA MARIE             JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
JOHNSON, LOIS                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, LORI                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
JOHNSON, LORNA                  MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
JOHNSON, LORRIANE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, LOUISE                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
JOHNSON, LOUISE                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
JOHNSON, LUANNA                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
JOHNSON, LUCILLE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, LYDIA                  MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                DAVID M. MINNEAPOLIS MN 55404
JOHNSON, LYDIA                  REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                BINSTOCK, ROBERT J. HOUSTON TX 77027
JOHNSON, MAMIE                  BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
JOHNSON, MANYA                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
JOHNSON, MARCENE                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JOHNSON, MARIE                  THE MILLER FIRM, LLC SHAH, TAYJES M. 108 RAILROAD AVE. ORANGE VA 22960
JOHNSON, MARILYN                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOHNSON, MARITA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JOHNSON, MARTHA                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
JOHNSON, MARY                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
JOHNSON, MARY                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
JOHNSON, MARY                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725



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Claim Name                       Address Information
JOHNSON, MARY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JOHNSON, MARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, MARY                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
JOHNSON, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, MARY                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JOHNSON, MARY                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
JOHNSON, MARY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOHNSON, MARY                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JOHNSON, MATILDA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
JOHNSON, MATILDA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, MATTIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, MAUREEN                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
JOHNSON, MAXINE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, MELISSA                MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
JOHNSON, MELODY                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JOHNSON, MICHELLE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOHNSON, MILDRED                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, MILDRED                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JOHNSON, MILDRED                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JOHNSON, MILLICENT              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
JOHNSON, MILLIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOHNSON, MONICA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
JOHNSON, NADINE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, NAJARA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JOHNSON, NANCY                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
JOHNSON, NANCY                  WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
JOHNSON, NORMA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JOHNSON, OLLIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, OTTIS                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
JOHNSON, PAMELA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, PATEAR                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, PATRICE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, PATRICIA               ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
JOHNSON, PATRICIA               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102


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Claim Name                       Address Information
JOHNSON, PATRICIA               DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
JOHNSON, PATRICIA               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
JOHNSON, PATRICIA               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
JOHNSON, PATSY                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
JOHNSON, PEACHES                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOHNSON, PEGGY                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JOHNSON, PEGGY                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
JOHNSON, PHASARYA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JOHNSON, QULANDA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, REATHA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, REBECCA                THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
JOHNSON, REGINA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
JOHNSON, RENEE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, RHONDA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JOHNSON, RHONDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, RITA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, ROBIN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, ROBIN                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JOHNSON, ROSALIE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOHNSON, ROSALINDA              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JOHNSON, ROSE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, ROSELYN                BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
JOHNSON, ROSIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOHNSON, SAMANTHA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, SAMANTHA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JOHNSON, SAMANTHA               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JOHNSON, SANDRA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
JOHNSON, SANDRA                 BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
JOHNSON, SANDRA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
JOHNSON, SANDRA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
JOHNSON, SARA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
JOHNSON, SARAH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, SHARON                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JOHNSON, SHARON                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JOHNSON, SHARON                 TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 EPHRON, MELISSA HOUSTON TX 77098
JOHNSON, SHARON                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JOHNSON, SHARON                 KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
JOHNSON, SHEILA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, SHEILA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
JOHNSON, SHELIA                 HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
JOHNSON, SHELIA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
JOHNSON, SHELIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET JAMES,
                                CHARLES MONTGOMERY AL 36104
JOHNSON, SHELIA                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
JOHNSON, SHELIA                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
JOHNSON, SHERRI                 NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
JOHNSON, SHERRY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, SHERRY                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
JOHNSON, SHERRY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, SHERRY                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JOHNSON, SHERRY                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JOHNSON, SHIRLEY                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
JOHNSON, SHIRLEY                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JOHNSON, SHIRLEY                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
JOHNSON, SHIRLEY                LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
JOHNSON, SHIRLEY                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
JOHNSON, SHIRLEY                ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
JOHNSON, SIMON                  BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
JOHNSON, SOPHONA                DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
JOHNSON, STACEE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOHNSON, STACI                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
JOHNSON, STACI                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
JOHNSON, STACI                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660



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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
JOHNSON, STACIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, STEPHANIE              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JOHNSON, STEPHANIE              BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. BUDD,
                                RUSSELL W DALLAS TX 75219
JOHNSON, SUE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOHNSON, SULANDRA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JOHNSON, SUSAN                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
JOHNSON, SUZANNE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOHNSON, TAMARA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOHNSON, TANISHIA               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JOHNSON, TATIA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
JOHNSON, TERESA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, TERESA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
JOHNSON, TERESA                 JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
JOHNSON, TERRI                  SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
JOHNSON, THERESA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOHNSON, TINA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, TINA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, TONYA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, TONYA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
JOHNSON, TRINERE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOHNSON, VALERIE                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JOHNSON, VERNESSA               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
JOHNSON, VERNITA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JOHNSON, VICKI                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
JOHNSON, VICKI                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
JOHNSON, VICKI                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
JOHNSON, VICKIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON, VICTORIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOHNSON, VIRGIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, WAKANDA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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                                       LTL Management LLC
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                                                  List
                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
JOHNSON, WANDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, WANDA                  HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
JOHNSON, WANDA                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
JOHNSON, WILLIE                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
JOHNSON, WILLIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON, WILLIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOHNSON, YVONNE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
JOHNSON-COATES, TONDRA          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON-JACKSON, DONNA          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSON-LORUSSO, CHRISTINE      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON-RADFORD, JUDY           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON-RAY, TRACY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON-TYNER, NIKKI            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSON-WAITES, DAVETTA         BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
JOHNSON-WHATLEY, JEANNE         CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
JOHNSON-WHATLEY, JEANNE         BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
JOHNSTON, ADRIENNE              MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
JOHNSTON, ANN                   BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
JOHNSTON, ANTOINETTE            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSTON, AUTHOREE              LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
JOHNSTON, CARRIE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JOHNSTON, CHERYL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSTON, JANE                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
JOHNSTON, JESSIE                ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                FELLER, JOEL J. PHILADELPHIA PA 19103
JOHNSTON, KARYL                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
JOHNSTON, LINDA                 LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
JOHNSTON, MARGARET              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSTON, MARGUERITA            MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
JOHNSTON, MIRIAM                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JOHNSTON, PATRICIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSTON, REBECCA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSTON, RONDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSTON, RONDA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR. MARK P. KAR NEWPORT BEACH CA 92660
JOHNSTON, SHARON                SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002


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Claim Name                       Address Information
JOHNSTON, SHERI                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOHNSTON-HURST, DEBBY           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOHNSTONE, SHIRLEY              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JOINER, LILLIAN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOINER, MICHELLE                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
JOINER, RUTH                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOINTER, LINDA                  BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
JOLICOEUR, SUSAN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOLLA, GWENDOLYN                MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
JOLLIFFE, KAREN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOLLOTTA, ANTOINETTE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOLLY, SHARON                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
JONAS, BARBARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONAS, BARBARA                  JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
JONAS, SUSAN                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JONAS, WILHEMINA                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
JONES, AGNES                    HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH CARROLL, ANNA M. BROSS,
                                WILLIAM L. BIRMINGHAM AL 03520
JONES, ALEXIS                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JONES, ALEXIS                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, ALICE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, ALISHA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, AMANDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, ANDREA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, ANGEL                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JONES, ANGELICA                 CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
JONES, ANNA                     FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
JONES, ANNETTE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, ANNIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, ANTOINETTE               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
JONES, APRIL                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JONES, AQUILA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
JONES, ASHLEY                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JONES, ASHLEY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX



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Claim Name                       Address Information
JONES, ASHLEY                   77007
JONES, AUDREY                   HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
JONES, BARBARA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
JONES, BARBARA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JONES, BARBARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, BARBARA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JONES, BARBARA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JONES, BELINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, BESSIE                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
JONES, BETTY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, BETTY                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JONES, BETTYE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, BLUETTE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, BOBBIE                   SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
JONES, BRENDA                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
JONES, BRENDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, BRENDA                   FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
JONES, BRENDA                   THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
JONES, BRENDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, BRENDA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
JONES, BRENDA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
JONES, BRYNNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, CANDICE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, CARLENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, CAROLE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, CAROLYN                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
JONES, CAROLYN                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JONES, CAROLYNNE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, CATHERINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, CHEREE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, CHERYL                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JONES, CHERYL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, CHRISTA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JONES, CHRISTIELOU              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, CHRISTINE                FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231


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Claim Name                       Address Information
JONES, CLARA                    ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                FELLER, JOEL J. PHILADELPHIA PA 19103
JONES, CLAUDETTE                JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
JONES, CONNIE                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
JONES, CONNIE                   HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
JONES, CONNIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, CYNTHIA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
JONES, CYNTHIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, CYNTHIA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
JONES, CYNTHIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, CYNTHIA                  THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
JONES, CYNTHIA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JONES, CYNTHIA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JONES, CYNTHIA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JONES, CYNTHIA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
JONES, DAWN                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
JONES, DAWN                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JONES, DEANNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, DEBRA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JONES, DEBRA                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
JONES, DECARLA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, DECARLA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, DECARLA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JONES, DECARLA                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
JONES, DENISE                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
JONES, DEWANA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JONES, DIANE                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
JONES, DIANE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, DIANNE                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
JONES, DIANNE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, DOLORES                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, DONA BROWNE              DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
JONES, DONNA                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
JONES, DONNA                    BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 NEW ORLEANS LA 70130
JONES, DORA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JONES, DORIS                    SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ


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Claim Name                       Address Information
JONES, DORIS                    07102-4573
JONES, DORIS                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JONES, DORIS                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JONES, DOROTHY                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
JONES, EARNESTINE               SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
JONES, EILEEN                   WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
JONES, ELBA                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
JONES, ELIZABETH                DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
JONES, ELLA                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JONES, ELSIE                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
JONES, EMILY                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
JONES, EMILY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, EMMA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, ERIN                     ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
JONES, FANNIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, FANNIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, FANNIE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JONES, FANNIE                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JONES, FAY                      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
JONES, FRANCINE                 SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
JONES, FRANCINE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, FRANCINE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JONES, FRANCINE                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JONES, GAY                      MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
JONES, GERTIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, GINGER                   THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
JONES, GLADYS                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
JONES, GLORIA                   THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
JONES, GRETCHEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, GROVERLYN                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
JONES, GWENDOLYN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, GWENDOLYN                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
JONES, GWENDOLYN                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
JONES, HARRIETTA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, HATTIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JONES, HEATHER                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                              Address Information
JONES, HOPE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, JACQUELINE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, JACQUELINE                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
JONES, JACQUELINE AND JONES, JOHN      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                       HILL NJ 08002
JONES, JACQUELYN                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
JONES, JANET                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, JEAN                            FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
JONES, JEANETTE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, JENNIE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
JONES, JENNIFER                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, JOAN                            ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
JONES, JOANN                           DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
JONES, JONEE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, JOSEPHINE                       DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                       ANTHONY ST. LOUIS MO 63102
JONES, JOSEPHINE                       LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                       MANHATTAN BEACH CA 90266
JONES, JOSEPHINE                       LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
JONES, JOSEPHINE                       ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                       & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
JONES, JOSEPHINE                       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
JONES, JOYCE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, JUDITH                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
JONES, JUDY                            THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
JONES, JULIE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, KAREN                           KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
JONES, KAREN                           LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
JONES, KAREN                           WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                       DALLAS TX 75219
JONES, KAREN                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
JONES, KATHERINE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
JONES, KATHLEEN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, KATHRYN                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
JONES, KATHRYN                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, KATHRYN                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JONES, KATHRYN                         PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
JONES, KATHRYN                         KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
JONES, KATHY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, KAY                             THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                       CHARLESTON WV 25301
JONES, KENIADA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                       Address Information
JONES, KENIADA                  75231
JONES, KIMBERLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, KIRRA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JONES, KWANA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, KWANA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JONES, LABRENDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, LAKYDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, LAURA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, LENA                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
JONES, LESLIE                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
JONES, LESLIE                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
JONES, LESLIE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
JONES, LILLIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, LILLIE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JONES, LILLIE                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JONES, LINDA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JONES, LINDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, LINDA                    THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID
                                A. MIAMI FL 33131
JONES, LISA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, LISA                     FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
JONES, LORI                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JONES, LULA                     NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
JONES, LULA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, MABEL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, MABLE                    MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
JONES, MABLE                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JONES, MAGGIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, MARCELLA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JONES, MARCIA                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
JONES, MARGARET                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, MARGARET                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, MARGARET                 ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226



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Claim Name                       Address Information
JONES, MARGARITE                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
JONES, MARIAN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JONES, MARIANNE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, MARIE                    LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
JONES, MARTHA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
JONES, MARY                     SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
JONES, MARY                     NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
JONES, MARY                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
JONES, MARY                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
JONES, MARY                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JONES, MARY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, MARY                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
JONES, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, MARY                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
JONES, MARY                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JONES, MARY                     PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
JONES, MARY                     BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
JONES, MARY                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JONES, MELISSA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, MIA                      THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
JONES, MICHAELA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JONES, MILDRED                  BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
JONES, MONA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, MONA                     SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
JONES, NANCY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, NANCY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, NANCY                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JONES, NANCY                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JONES, NELLIE                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
JONES, NETA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, NETRA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, NETRA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, NETRA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JONES, NETRA                    PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768


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Claim Name                       Address Information
JONES, NETTIE                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
JONES, NICOLE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, NORA                     WEITZ & LUXENBERG RELKIN, ELLEN & SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE
                                210 CHERRY HILL NJ 08002
JONES, NORMA                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
JONES, NORMA                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
JONES, NORMA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
JONES, PAMELA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, PAMELA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JONES, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, PATRICIA                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
JONES, PATRICIA                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
JONES, PATRICIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JONES, PAULA                    WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
JONES, PAULINE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JONES, PENELOPE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, PHYLLIS                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
JONES, RABINA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JONES, RACHAEL                  WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
JONES, RAMONA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, RAVEVONDERLYNN           FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JONES, REBA                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
JONES, REGINA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JONES, RHONDA                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
JONES, RHONDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, RHONDA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JONES, RHONDALYN                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JONES, RITA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, ROBERTA                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
JONES, ROBIN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JONES, ROSE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, ROSELLE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                       Address Information
JONES, ROSEMARY                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
JONES, RUBY                     BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
JONES, RUTH                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, RUTH                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JONES, SANDRA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, SANDRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, SANDRA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
JONES, SANDRA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JONES, SANDRA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JONES, SHARION                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, SHARION                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
JONES, SHARION                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, SHARION                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JONES, SHARION                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JONES, SHARLINE                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JONES, SHARON                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, SHARON                   WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
JONES, SHARON                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
JONES, SHERRY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, SHERYL                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
JONES, SHIRLEY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, SHIRLEY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JONES, SHIRLEY                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JONES, SONJA-RENEE              MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
JONES, SUSAN                    PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
JONES, SUSAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, SUZANNE                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
JONES, SYLVIA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
JONES, SYLVIA                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
JONES, SYLVIA                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
JONES, TAMARA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JONES, TAMIKA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, TAMMY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JONES, TERESA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY


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Claim Name                       Address Information
JONES, TERESA                   14202-3725
JONES, TERESA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JONES, TERRASE                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
JONES, TERRI                    HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
JONES, THELLA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, THELMA                   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
JONES, THERESA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, THERESIA                 TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
JONES, TINA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
JONES, TINA                     LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
JONES, TONISHA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JONES, TONYA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, TRACY                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
JONES, TRACY                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
JONES, TRACY                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
JONES, TRINA                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
JONES, TRINA                    BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
JONES, VALORIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, VANESSA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, VANESSA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
JONES, VANESSA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, VANESSA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JONES, VANESSA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JONES, VENIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, VICKIE                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JONES, VIRGINIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, VIVIAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, VONCILE                  CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
JONES, WANDA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JONES, WANDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, WANDA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JONES, WANDA                    TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098



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Claim Name                       Address Information
JONES, WENDY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JONES, WILLIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES, WILMA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JONES, YVETTE                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JONES-BUTLER, BRITTANY          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JONES-PURYEAR, MARCEL           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES-SANDERS, KRISTAL          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONES-WAUGH, PATRICIA           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JONSEOF, TERRI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOOS, GLORIA                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
JOPEK, JENNIFER                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
JORDAN, BADYRE                  JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
JORDAN, BERENICE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JORDAN, BETTY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JORDAN, BEVERLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JORDAN, CAROL                   JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
JORDAN, CATHERINE               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
JORDAN, CATHERINE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JORDAN, CHARLENE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JORDAN, DANAE (A MINOR)         THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
JORDAN, DELORIS                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
JORDAN, DORPHINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JORDAN, EUNICE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JORDAN, GINGER                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JORDAN, JAYLESSA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JORDAN, JOELLEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JORDAN, JUANITA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JORDAN, KATHRYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JORDAN, KAY                     BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
JORDAN, KELLY                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
JORDAN, KIERRA                  MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
JORDAN, KRISTIN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JORDAN, LOIS                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JORDAN, MARY VISHER             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
JORDAN, MILDRED                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
JORDAN, MILDRED                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JORDAN, MURTICE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104

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Claim Name                       Address Information
JORDAN, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JORDAN, RACHEL                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JORDAN, RHONDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JORDAN, RHONDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JORDAN, RHONDA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JORDAN, RHONDA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JORDAN, SAMANTHA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JORDAN, SAMANTHA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JORDAN, SANYA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JORDAN, SHIRLEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JORDAN, VALERIE                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
JORDAN, VENESSA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JORDAN, VENESSA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JORDAN, VENESSA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JORDAN, VENESSA                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
JORDAN, VIRGINIA                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
JORDAN-ROBINSON, LAURIE         GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
JORDON, MARY                    NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
JORDON, PAMELA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
JORDON, SHERON                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JORDON, VERNESTA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JORGENSEN, SUE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
JORGENSON, BONNIE               DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
JOSE, ELIZABETH SAN             ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
JOSE, LOURDES                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOSEPH, AMY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOSEPH, AUDREY                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MCGEE, AMANDA D MANHATTAN
                                BEACH CA 90266
JOSEPH, BRENDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOSEPH, DALE                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
JOSEPH, DORIS                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
JOSEPH, MARGARET                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOSEPH, PAMELA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007



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Claim Name                       Address Information
JOSEPH, PATRICIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOSEPH, REGINA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOSEPH, SABRINA                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
JOSEPH, SHAYNA                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
JOSEPH, THERESA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOSEPHINE MAGDZIAK              HENINGER GARRISON DAVIS, LLC BROSS, WILLIAM L. 2224 1ST AVE NORTH BIRMINGHAM
                                AL 35203
JOSEPHINE PARKER                BARON & BUDD, P.C. MANN, JONAS 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX
                                75219
JOSEPHINE TOCCI-CORNELISON      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC PUTNICK, MARY ELIZABETH 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
JOSEPHS, CONSTANCE              COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
JOSEPHSON, SUSAN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOSEY, GLORIA                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
JOSEY, JEROLENE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOSHUA, DONNA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOSHUA, PAULETTE                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
JOSHUA, PAULETTE                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
JOSHUA, PAULETTE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
JOSHUA, SHANQUITA               DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
JOSLYN, ROBIN                   TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
JOTBLAD, CHARLENE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOUET, ROSEMARY                 THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
JOUKL, JUDIT                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
JOUNAKOS, EVELYN                WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
JOVANOVSKI, CVETKA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JOWANDA PEARSON                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
JOWERS, DOROTHY GRANT           COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
JOWERS, KATHLEEN                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JOWERS, KATHLEEN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JOWETT, DONNA                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
JOY, CAROL                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
JOYAL, JOYCE                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918


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Claim Name                       Address Information
JOYCE SMITH                     MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
JOYCE WANUALA                   WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
JOYCE, AMANDA                   CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
JOYCE, DELORIS                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
JOYCE, LONNIE                   NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
JOYCE, MARILYN                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
JOYCE, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOYNER, BARBARA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOYNER, PAMELA                  HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
JOYNER, PAULA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JOYNER-WIGGINS, NIKEISHA        HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
JOZEFIAK, MICHELINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JUANITEZ, TERESITA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JUANITEZ, TERESITA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JUANITEZ, TERESITA              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JUANITEZ, TERESITA              PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
JUAREZ, APRIL                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
JUAREZ, DANIELLE                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
JUAREZ, HEIDY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JUAREZ, MARYELLEN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JUAREZ, TERESA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
JUAREZ-DELGADILLO, IVAN         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
JUDD, CATHY                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
JUDD, JOANN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JUDE, REBECCA                   FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LUFF, PATRICK - DALLAS TX 75231
JUDGE, EMMA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JUDGE, SHARELL                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JUDITH GASPER                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
JUDITH, COVIL,                  LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                NJ 08648
JUDKINS, CARTER                 BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
JUDSON, JOANNE                  COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
JUDY LINDSEY                    MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
JUDY, WILMA                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103



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Claim Name                       Address Information
JUELFS, CYNTHIA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JUELFS, CYNTHIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JUGE, STEPHANIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JUGUILION, NANCY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JULIA FRAZIER                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
JULIAN, KRISTY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JULIAN, MARIFIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JULIAN, SHERYL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JULIE KONYS-COLSON              MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
JULIOUS, NANCY                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
JULIOUS, NANCY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JULIUS, CAROLYN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JUMP, JOHNNA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JUMP, JOHNNA                    THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
JUMP, JOHNNA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JUMP, JOHNNA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JUMP, MISTY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JUMPER, GARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JUNCEWICZ, THERESA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JUNES, PEGGY                    MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
JUNG, SUSAN                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
JUNGWIRTH, JEANNINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JURADO, EVANGELINA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
JUREK, LINDA                    LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET HIGHTOWER, KRISTIE LAKE
                                CHARLES LA 07060
JURRUS, BETSY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JURSKI, ELIZABETH               WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
JUSTICE, ANGELA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
JUSTICE, ANGELA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JUSTICE, ANNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JUSTICE, KATHY                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
JUSTICE, LESLIE                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
JUSTICE, LESLIE                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119



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Claim Name                       Address Information
JUSTICE, LESLIE                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
JUSTICE, LESLIE                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
JUSTICE, LINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
JUSTICE, LINDA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
JUSTICE, LINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
JUSTICE, LINDA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
JUSTICE, LINDA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
JUSTICE, PATRICIA               MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
JUSTICE, TANYA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KAAIKALA, SHIRLEY               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
KABACK, FRAN                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
KABACK, FRAN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KACHELHOFFER, AUDREY            MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
KACIR, JOAN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KACKLEY, DEBORAH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KACZALA, PAMELA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KACZMAREK, JOSEPHINE            CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
KACZOR, COLENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KADER, JOAN                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
KADERLI, JUANITA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KADIS-STRAUSS, RUTH             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KADLEC, SALLY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KAEHLER, CYNTHIA                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
KAELIN, ANN                     THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
KAEMPFE, MARTHA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KAEO, SHADA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KAGEL, INA                      WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
KAHL, JESSICA                   SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
KAHLER, STEPHANIE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KAHLER, TINA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KAHN, DIANE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KAHN, DIANE                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                LUKEI, SHANNON KARAVATOS, NEWPORT BEACH CA 92660
KAHN, LIBBY                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
KAHN, LIBBY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                       Address Information
KAHN, MARIANA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KAHN, PATRICIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KAHRAMAN, KATHLEEN              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
KAILIHIWA, GWENDOLYN            LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
KAINER, BARBARA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
KAIRIS, BEVERLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KAISER, ALLISON                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KAISER, BARBARA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KAISER, CHRISTINE               LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
KAISER, CHRISTINE               BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
KAISER, DEBBRA                  WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
KAISER, DEBRA                   SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
KAISER, DONNA                   TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
KAISER, SHIRLY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KAKOURIS, SHERRIE               GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
KALAMDANI, NUTAN                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KALANTARI, NOSSRAT              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KALBFELL, BETH                  FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
KALDROVICS, ELIZABETH           KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
KALEDA, RAMINTA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
KALFRAT, CHERI                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
KALIB, BARBARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KALIS-FRISK, BONNIE             SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
KALL, DEBORAH                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
KALLEN, GLENDA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
KALLEN, JENNIFER                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
KALLINGAL, MATILDA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KALLMAN, LISA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
KALMBACH, JONQUELYNE            ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
KALMBACH, JONQUELYNE            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KALMBACH, NENA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KALTENBACH, NANCY               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
KALVELS, DENNIS                 NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY



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                                          LTL Management LLC
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Claim Name                          Address Information
KALVELS, DENNIS                    PR 00918
KAM, SUSAN                         ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
KAMANY, BETTY                      FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LUFF, PATRICK - DALLAS TX 75231
KAMBERG, ELIZABETH                 FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                   THOMAS ROE NASHVILLE TN 37215
KAMENS, PATRICIA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
KAMERIK, VICKIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KAMHOLZ, VIRGINIA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
KAMIN, LESLIE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KAMINSKI, DEBORAH                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
KAMINSKY, IVA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KAML, SHARON                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KAMLITZ, RHONDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KAMP, MARIE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KAMPA, CINDY                       DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                   KANSAS CITY MO 64196
KAMPS, DIANE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KAMSCH, CLAUDETTE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KANDRACH, JULIET                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                   EDWARDSVILLE IL 62025
KANE, AMY                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
KANE, ANNA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KANE, ANNE                         MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                   TAMPA FL 33602
KANE, PAMELA                       LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
KANE, SALLY                        ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
KANE-HARRISON, MAUREEN             ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
KANE-HARRISON, MAUREEN             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KANEFSKY, CAROLE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KANELLOPOULOS, ANNA                SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                   94104
KANER, LINDA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KANER, SUSAN                       DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
KANG, BARINDER                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
KANGANIS, KIMBERLY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
KANGAS, CARREN                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098



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                                          LTL Management LLC
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                                                     List
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Claim Name                          Address Information
KANKIEWICZ, GERALDINE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
KANN, JONELLE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KANN, JONELLE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KANN, JONELLE                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KANN, JONELLE                      PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
KANNADY, CYNTHIA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KANTIS, SHERRI                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
KANTIS, SHERRI                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KANTOR, IRIS                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KANUPP, MARGARUETTE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
KANUPP, MARGARUETTE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KANWISCHER, DELORES                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
KAONA, JANICE                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
KAOUGH, VERONICA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KAPCSOS, MARY                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
KAPELA, SANDRA                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
KAPELI, SALUA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
KAPKE, RENEE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KAPLAN, BARBARA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KAPLAN, LINDA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KAPLAN, MERYL                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
KARABATSOS, MARIANNA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
KARAHALIOS, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KARAS, TERESA                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
KARASIK, PATRICIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KARAWETIAN, SANDRA                 JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
KARAZIM, LINDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KAREN GAY                          ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
KAREN LAWRENCE                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
KAREN LEVY                         PARKER WAICHMAN, LLP MUHLSTOCK, MELANIE H 6 HARBOR PARK DRIVE PORT WASHINGTON
                                   NY 11050
KAREN STURGES                      BARON & BUDD, P.C. MANN, JONAS 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX
                                   75219
KAREN VOLLMER                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK & RAGGIO, JOHN 5473 BLAIR ROAD DALLAS
                                   TX 75231
KARHOFF, JEANNE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                            Address Information
KARHOFF, JEANNE                      MEADOWS, TED G. MONTGOMERY AL 36104
KARL, CINDY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KARL, MARY                           THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                     ORANGE VA 02296
KARLEN, ELIZABETH                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
KARLIC, PATRICIA                     MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                     KNOXVILLE TN 37929
KARLIN, RONNIE                       CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                     14202-3725
KARLINSKY, ELSIE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
KARLOWICZ, MARIA & EST OF JERZY      KARLOWICZ, MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23
                                     FLOOR NEW YORK NY 10017
KARLSON, VANESSA                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                     EVAN D. EDWARDSVILLE IL 62025
KARO, JOAN                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
KARO, JOAN                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KARO, JOAN                           THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KARPER, PATRICIA                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                     BOUNDAS, JOHN T. HOUSTON TX 77017
KARRER, CATHERINE                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                     LOUIS MO 63119
KARSCH, STELLA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
KARSIKAS, CASSANDRA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
KASBERG, NANCY                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
KASEY, NORMA                         BEASLEY ALLEN CROW METHVIN PORTIS &MILES JAMES, LAUREN A. 218 COMMERCE STREET
                                     MONTGOMERY AL 36104
KASH, NAJWA                          DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                     ANTHONY ST. LOUIS MO 63102
KASH, NAJWA                          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
KASH, NAJWA                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                     ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
KASINSKAS, ROSEMARY                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
KASINSKAS, ROSEMARY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
KASKEL, MARIAN                       ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
KASKEL, MARIAN                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
KASKUS, MARYANN                      BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                     ROBERT BRENT LOS ANGELES CA 90024
KASPAR, LORI                         GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KASPRZAK, LINDA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KASPRZAK, LINDA                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KASPRZAK, LINDA                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
KASSEM, MAY                          PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
KASSIMALI, MAUREEN                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KASTANAS, WANDA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
KASTANAS, WANDA                 MEADOWS, TED G. MONTGOMERY AL 36104
KASTNER, CAROL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KASTNER, DIANA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KASTNER, PATRICIA               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KASZA, CARMEN                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KASZER, ANN                     SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
KASZER, ANN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KASZTL, SHIRLEY                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
KASZUBA, SANDRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KATALINAS, MARGARET             NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
KATES, KIMBERLEY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KATH, ELLEN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KATH, SHARON                    SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
KATHAIN, NELLIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KATHARINE HAMILTON              ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
KATHERINE GODLEY                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
KATHERINE STOVER                SULLO & SULLO, LLP SULLO, ANDREW F. 2020 SOUTHWEST FWY. SUITE 300 HOUSTON TX
                                77098
KATHLEEN COHRS                  JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
KATHLEEN DOMINCZAK              JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
KATHLEEN NIELSEN                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
KATHLEEN SALAZAR                MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
KATHRYN MCCANN                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
KATHY BALSKI                    MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
KATHY BREAUX                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
KATHY JAME                      ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
KATHY RUNYAN                    BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                COMMERCE STREET MONTGOMERY AL 36104
KATIC, NANCY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KATS, DONNA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KATSOURIS, IRENE                WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
KATSOV, ALLA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KATTMAN, LESLIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KATTMAN, LESLIE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KATTMAN, LESLIE                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
KATZ, BEVERLY                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
KATZ, CAROLYN                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY


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Claim Name                       Address Information
KATZ, CAROLYN                   14202-3725
KATZ, ELLEN                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KATZ, GEORGIA                   WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
KATZ, ISRAELA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KATZ, JANET                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KATZ, PATRICE                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
KATZ, ROBERTA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
KAUFER, LOIS                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KAUFFMAN, JANET                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KAUFMAN, LEE                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
KAUFMAN, SUSAN                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
KAUFMANN, JONALYN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KAUHANE, JENNIFER               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KAULFUS, SIDNEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KAULLEN, DIANE                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
KAUP, VIRGINIA                  POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
KAUPA, PAULA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KAURANEN, KATHLEEN              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KAVANAUGH, SANDRA               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
KAVARANA, IMROZE                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
KAVIANI, MITRA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
KAVOOKJIAN, LEAH                COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
KAWELASKE, SUZANNA              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
KAWELASKE, SUZANNA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KAWELASKE, SUZANNA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KAWELASKE, SUZANNA              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KAWELASKE, SUZANNA              PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
KAY, BRENDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KAY, EVELYN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KAY, SHARON                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KAY, SUSAN                      CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
KAY-SANDERS, DARLENE            SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
KAYAFAS, MADELINE               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
KAYSEY ADAMS                    JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101


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Claim Name                       Address Information
KAZAR, TIA                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KAZEE, MYRTHA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
KAZMAC, MELISSA                 SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
KEALA, HASEL                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
KEALAKAI, KAHEALANI             DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
KEANE, DEBRA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KEANE, KATHLEEN                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
KEANE-BECKMAN, PATRICIA         THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
KEANEY, LYNN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEARNEY, MARIE                  LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
KEARNS, DEBORAH                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
KEARNS, DEBRA                   COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
KEARNS, MARY                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD ARVOLA,
                                MEGAN T. EDWARDSVILLE IL 62025
KEARNS, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEARSE, JENNIFER                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
KEAST, VIRGINIA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KEATHLEY, BESSIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEATING, HELEN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEATING, REBECCA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KEATING, RENEE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KEATING, RENEE                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
KEATING, RENEE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEATING, RENEE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KEATING, RENEE                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
KEATON, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KEAWEAMAHI, ALICE               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
KEEFE BARTELS                   170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
KEEFER, PATRICIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KEEFFE, DESIREE                 KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
KEEGAN, MARTHA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
KEEGAN, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
KEEL, NITA                      DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
KEELE, DANNA                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
KEELER, BONNIE                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
KEEN, DEBBIE                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
KEEN, MARI                      CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
KEEN, PHYLLIS                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
KEENA, JANICE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEENAN, BETTY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEENAN, BONNIE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KEENAN, CARA                    BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
KEENAN, CELESTE                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
KEENAN, CELESTE                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
KEENAN, CHANNE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KEENAN, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEENAN-MELVIN, ROSEMARY         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEENE, BARBARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEENE, CYNTHIA                  TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
KEENE, ROBERTA                  BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
KEENE, ROSEMARIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KEENER, EULA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
KEENER, ROSEMARY                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
KEENOY, RENA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KEESEE, MELISSA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KEETON, BRANDI                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KEETON, MILDRED                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEETON, PATRICIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KEETON, PATRICIA                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
KEETON, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEETON, PATRICIA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KEETON, PATRICIA                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
KEETON, SANDRA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
KEEVEN, KAREN                   JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
KEHRES, KATHRYN                 MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. NEW ORLEANS
                                OH 70130
KEIFFER, LORI                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
KEIHN, SHERYLL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                       Address Information
KEIL, VICTORIA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
KEILY, NANCY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEINON, MICHELLE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
KEINON, MICHELLE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KEISLER, ANGELA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEISLING, JUANITA               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
KEISTLER, NANCY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEITGES, DIEDRE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEITH, AMELIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEITH, CHRISTINA                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
KEITH, KATHLEEN                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
KEITH, RANDY                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
KEITH, RANDY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KEITH, SUSAN                    WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
KEITH, TERENCE                  NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
KEKAHUMA, WILLEMMA              DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
KELEHER, CHERYL DAINEE          LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
KELIIKULI, BERNADINE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELIIPIO, DONNA                 SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
KELLAM, CAROLYN                 DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
KELLAR, MARY                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
KELLEHER, LAURA                 BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
KELLEHER, SARA                  BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
KELLEMS, MARIA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
KELLER, BETTY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
KELLER, CARIE                   KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
KELLER, CAROLYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KELLER, KAREN                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
KELLER, KAREN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KELLER, KETTA                   SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
KELLER, SARAH                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KELLER, SHARON                  SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
KELLER, SHELBY                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
KELLEY, ADRIANE                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
KELLEY, ANGELA                  WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
KELLEY, ANNIE                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036


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Claim Name                       Address Information
KELLEY, BERNADETTE              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
KELLEY, BRENDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KELLEY, BRENDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLEY, BRENDA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KELLEY, BRENDA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
KELLEY, DELORA                  LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
KELLEY, ESTHER                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLEY, GAIL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLEY, JACQUELINE              ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
KELLEY, JACQUELINE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KELLEY, JENNY                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
KELLEY, KAREN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KELLEY, KAREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLEY, KAREN                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KELLEY, KAREN                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
KELLEY, LASHAWN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KELLEY, LINDA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KELLEY, LISA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLEY, MARY                    MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
KELLEY, PATSY                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
KELLEY, ROBIN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLEY, ROXANNE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLEY, SANDRA                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
KELLEY, VALERIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLEY, VERONICA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLEY-THIRY, JUDY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLICUT, SALLY                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
KELLOGG, NATALIE                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KELLOGG, PATRICIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KELLUM, LANETOR                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
KELLY RUTT                      BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                COMMERCE STREET MONTGOMERY AL 36104
KELLY WILLIAMS                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
KELLY, ANTOINETTE               WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
KELLY, ARLENA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLY, BOBBI                    WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
KELLY, BRIANA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
KELLY, BRIANA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KELLY, BRIANA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
KELLY, BUNNIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLY, CAROL                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
KELLY, CAROL                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
KELLY, CATHY                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
KELLY, CHERYL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLY, CORRINE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLY, DAWN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLY, DEBRA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KELLY, DIANE                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
KELLY, DIANE                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
KELLY, DIANE                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
KELLY, DIANE                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
KELLY, DIANNE                   FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
KELLY, ELISSA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
KELLY, ELIZABETH                BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
KELLY, EVELYN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KELLY, GENEVIEVE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KELLY, GLADYS                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
KELLY, GRACE                    GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
KELLY, GRACIELA                 MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
KELLY, KAREN                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KELLY, KAREN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KELLY, KATHA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLY, KATHLEEN                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
KELLY, KATHLEEN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KELLY, KATHLEEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLY, KATHLEEN                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KELLY, KATHLEEN                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
KELLY, KATHRYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLY, KIMBERLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLY, LAURIE                   KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
KELLY, LAURIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLY, LINDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                       Address Information
KELLY, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLY, LINDA                    PORTER & MALOUF, PA P.O. BOX 12768 HARRIS, LAUREL LI JACKSON MS 39236-2768
KELLY, MARGARET                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KELLY, MARGARET                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KELLY, MARGARET                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
KELLY, MARGARET                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLY, MARGARET                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KELLY, MARGARET                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
KELLY, MARGARET                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
KELLY, MARIANNE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
KELLY, MARIANNE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KELLY, MARIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLY, MARLO                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
KELLY, MARY ROSE                MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
KELLY, MATTIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KELLY, MAY                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KELLY, MITZI                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
KELLY, PAMELLA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KELLY, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLY, ROBIN                    BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
KELLY, RUTH                     THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
KELLY, SANDRA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KELLY, SARA                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
KELLY, SHARON                   ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
KELLY, SHEILA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLY, SUSAN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KELLY, SUSAN                    KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
KELLY, TAYLOR                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLY, TERESA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KELLY, THELMA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLY, TRACY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELLY, TRINITY                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KELLY, VALERIE                  LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, STEPHENSON, W. CAMERON 316
                                SOUTH BAYLEN ST., SUITE 400 PENSACOLA FL 32502
KELSEY, DANIELLE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELSEY, DELORES                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KELSEY, JERI                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031


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                                       LTL Management LLC
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Claim Name                       Address Information
KELSEY, JERI                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KELSO, JENNIFER                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
KEMIREMBE, TEDDY                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
KEMP, JEAN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEMP, JENNIFER                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
KEMP, MAXINE                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
KEMP, PAMELA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEMP, PATRICIA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
KEMP, ROSALYNDA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
KEMP, SANDRA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
KEMPER, JUDY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEMPF, KATHY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEMPF, KATHY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KEMPF, TRACIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KENDALL, GLORIA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
KENDRICK, ELIZABETH             CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
KENDRICK, ELIZABETH             BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
KENDRICK, LISA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
KENDRICK, LJILJANA              BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
KENDRICK, RHONDA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
KENDRICK, WILLIE                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
KENDRICK, WILLIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KENDRIX, YOLANDA                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
KENEFICK, JEAN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
KENEFICK, JEAN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KENEIPP, STEPHANIE              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
KENERLY-DARBY, PATRICIA         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KENNAMER, LISA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KENNEDY, ANDREA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KENNEDY, BETHANY                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
KENNEDY, BETHANY                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
KENNEDY, BILLY                  NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918



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Claim Name                               Address Information
KENNEDY, BRENDA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
KENNEDY, CHRISTINA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
KENNEDY, CRYSTAL                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
KENNEDY, DOROTHY                        BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                        ROBERT BRENT LOS ANGELES CA 90024
KENNEDY, EDITH                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KENNEDY, JAN                            TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                        62025
KENNEDY, JANET                          JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                        PAUL MN 55101
KENNEDY, JOANNE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
KENNEDY, JOYCE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KENNEDY, KIMBERLY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KENNEDY, LISA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KENNEDY, LOIS                           ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
KENNEDY, LOLA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KENNEDY, LORINE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KENNEDY, MARY                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
KENNEDY, NANCY & KENNEDY, ROBERT W      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
KENNEDY, NAOMI                          HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
KENNEDY, NATASHA                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                        77098
KENNEDY, PAULINE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
KENNEDY, SHANNON                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KENNEDY, SHARON                         POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
KENNEDY, SONYA                          THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                        AZ 08501
KENNEDY, SUSAN                          THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
KENNEDY, TANYA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KENNEDY, TIFFANY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KENNEMER, PATSY                         MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                        YORK NY 10017
KENNETT, AMY                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KENNEY, BERTHA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KENNEY, MARLENE                         COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
KENNEY, MARY                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KENNEY-CHAPMAN, RENE                    WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
KENNISON, KATHERINE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
KENNON, DORSHA                          ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
KENNON, DORSHA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
KENNON, ELIZABETH                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
KENNY, CHRISTY                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE


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Claim Name                       Address Information
KENNY, CHRISTY                  ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
KENNY, DEBORAH                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
KENNY, JUDITH                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KENNY, PHYLLIS                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
KENOSHA, TRINIDAD               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KENSEY, SONJA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KENT, CATHERINE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KENT, KARA                      HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
KENT, LORI                      CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
KENT, MINGYON                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KENT, MONICA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KENT, MONICA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KENT, MONICA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KENT, MONICA                    PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
KENT, MONICA                    KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
KENT, SANDRA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KENT, WILLIAMS                  THE GORI LAW FIRM, P.C. C/O SARAH SALGER 156 N. MAIN STREET EDWARDSVILLE IL
                                62025
KENT, WILLIAMS                  FEARS NACHAWATI, PLLC C/O DARREN MCDOWEL 5473 BLAIR ROAD DALLAS TX 75231
KENYON, CAROL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KEOGLER, SANDRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEOWN, ANNE                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KEPHART, LORETTA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEPHART, LORETTA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KEPHART, LORETTA                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
KEPOO-COLE, HELENI              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KERBE, CHRISTINE                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
KERBY, HOPE                     BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
KERCHINER, CATHY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KERCHINER, CATHY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KERCHINER, CATHY                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KERCHINER, CATHY                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
KERIK, CAROL                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
KERINS, BERNADETTE              KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
KERKESLAGER, CATHERINE          JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
KERN, BARBARA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KERN, BARBARA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
KERN, BARBARA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KERN, BARBARA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
KERN, DEIDRE                    PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
KERN, MARILYN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KERN, SHIRLEY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
KERN, SHIRLEY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KERNAN, DARLENE                 THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
KERNELL, REBECCA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KERNER, SHARON                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
KERNS, GRACE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KERNS, LAURA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KERNS, MADGE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KERNS, MARY                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
KERP, SUSAN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KERP, SUSAN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KERP, SUSAN                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KERP, SUSAN                     PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
KERP, SUSAN                     SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
KERPASH, BILLIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KERR, BEVERLY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KERR, CATHERINE                 JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
KERR, CATHLENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KERR, KELLY                     ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
KERR, MICHELLE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KERR, NANETTE                   MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                DAVID M. MINNEAPOLIS MN 55404
KERRIGAN, KAREN                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KERRIGAN, KAREN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KERRIGAN, KAREN                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KERRIGAN, KAREN                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
KERSHAW, DEDE                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
KERSHAW, DEDE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
KERSHNER, TAMMY                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KERTAI, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KERTH, MARGARET                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KERWIN, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                          Address Information
KERZEL, ARDUE                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
KESHIA KERN                        WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                   NJ 08002
KESHIAN, CHRISTINE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KESIA TOWNSEND                     MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
KESLER, DEBRA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KESLER, NANCY                      COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                   JONATHAN A. INDIANAPOLIS IN 46204
KESSEL, CHARLOTTE                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                   PAUL MN 55101
KESSENICH, CAROL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KESSLER, CANDICE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KESSLER, JODY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KESSLER, JUDITH                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
KESSLER, LYNNE                     CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                   GA 30009
KESSLER, LYNNE                     BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                   30060
KESTERSON, JAMIE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
KETCHUM, SHARI                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
KETTERMAN, JESSICA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEY, AGNES                         TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                   62025
KEY, CECILIA                       MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
KEY, ELSA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KEY, ESTHER                        LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
KEY, ESTHER                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
KEY, JANET                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
KEY, JANET                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KEY, JEAN                          FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
KEY, JESSICA                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
KEY, SANDRA                        ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
KEY, SHACOYA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
KEY, SHAKEITA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEY, SHERRY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KEYLON, FREDA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEYS, BOBBIE                       HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                   63101
KEYS, DEBRA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                               Address Information
KEYS, DEBRA                              MEADOWS, TED G. MONTGOMERY AL 36104
KEYS, DEBRA                              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KEYS, DEBRA                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
KEYS, LISA                               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
KEYS-CHAVIS, EDNA                        BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
KEYSER, JOAN                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KEZER, BARBARA                           BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                         70130
KEZER, BARBARA                           BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                         75202
KHALID, SHAISTA                          CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                         14202-3725
KHALIQ, DEBBIE                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         BULLARD, MALLORY C. MONTGOMERY AL 36104
KHAN, AMY                                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                         14202-3725
KHAN, BLONDELL                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KHAN, FAHIMA                             ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
KHAN, JOLYNN                             SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                         01153
KHAN, NAOMI ; SANTILLAN; LYNDA           FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD MCDOWELL, DARREN DALLAS TX 75231
KHAN, NAOMI ; SANTILLAN; LYNDA           FEARS NACHAWATI LAW FIRM MCDOWELL, DARREN 5473 BLAIR ROAD DALLAS TX 75231
KHAN, NASREEN ASHRAF & EST OF MOHAMMAD   KHAN, MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23
                                         FLOOR NEW YORK NY 10017
KHAN, SHAIRA                             CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                         14202-3725
KHATCHIKIAN-ZOPKO, JANET                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KHAZZAKA, ALICE                          KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
KHAZZAKA, ALISE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
KHAZZAKA, ALISE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KHAZZAKA, ALISE                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KHAZZAKA, ALISE                          PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
KHODOS, MIRA                             BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                         ROBERT BRENT LOS ANGELES CA 90024
KHOMA, OKSANA                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
KHONG, MARGARET                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
KHOSRAVI, SHANNON                        FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
KHOURY, DENISE                           MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                         TAMPA FL 33602
KHURI, LILLY                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIBBEY, TERESA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIBBLE, VALERIE                          GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                         EDWARDSVILLE IL 62025
KIBORT, JENNIFER                         DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
KIDD, ASHLEY                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502


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Claim Name                       Address Information
KIDD, CHARLENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIDD, CLARINE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KIDD, KELLY                     JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
KIDD, SHEILA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIDD, VICKIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIDWELL, VICTORIA               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KIEHN, LAURIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KIEKBUSCH, MARION               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIELBASA, KATHLEEN              MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
KIELCZWESKI, KIM                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
KIELCZWESKI, KIM                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
KIELCZWESKI, KIM                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
KIELISZEK, CLARA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KIELISZEK, CLARA                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
KIELISZEK, CLARA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIELISZEK, CLARA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KIELISZEK, CLARA                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
KIENTZ, JONNIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIERNAN, ANNE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KIERNAN, JULIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KIESEL LAW, LLP                 8648 WILSHIRE BLVD. HAYTHAM FARAJ, PAUL R. KIESEL BEVERLY HILLS CA 90211
KIESEL, JOANNE                  SALTZ MONGELUZZI & BENDESKY PC COHAN, JOSHUA C 1650 MARKET ST., 52ND FLOOR
                                PHILADELPHIA PA 19103
KIESLING, CONNIE                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
KIESZ, SUZANNE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIETUR, JESSICA                 SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
KIGHT, CYNTHIA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
KIHN, DIANNA                    JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
KIJAK, LISA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KIJAK, LISA                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KIJAK, LISA                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
KIKER, FLORA                    GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
KIKER, GLORIA CRISCO            FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
KIKUGAWA, WENDY                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.



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Claim Name                          Address Information
KIKUGAWA, WENDY                    ORANGE VA 02296
KILBANE, KATHLEEN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KILBOURNE, APRIL                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
KILBURN, CHARLETT                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KILBURN, JENNIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KILEY, JOAN                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
KILEY, JOAN                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KILGO, SELENA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KILGORE, BETTY                     TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
KILGORE, JANET                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KILGORE, LETITIA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 22960
KILGORE, LETITIA                   HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                   46290
KILGORE, SANDY                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
KILLENBEC, ANGEL                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
KILLENBEC, ANGEL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KILMARTIN, KATHLEEN                HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                   63101
KILPATRICK, AMY                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                   EDWARDSVILLE IL 62025
KILPATRICK, CHASITY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
KILPATRICK, SUSAN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
KILTY, JENNIFER                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
KILTY, KELLEY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIM O'BRIEN                        ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
KIM, JI HYUNG                      MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                   YORK NY 10017
KIM, JUNGHYUN                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KIM, KWAN                          WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                   HILL NJ 08002
KIM, MICHELLE                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
KIM, YUN                           GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                   EDWARDSVILLE IL 62025
KIM-DOMINGUEZ, ELEANOR             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIMBALL, DEBBIE                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
KIMBARL, JUANITA                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                   75202
KIMBERLEY STARR                    SULLO & SULLO, LLP SULLO, ANDREW F. 2020 SOUTHWEST FWY. SUITE 300 HOUSTON TX
                                   77098


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Claim Name                       Address Information
KIMBERLEY, SHIRLEY              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KIMBERLY GARLICK                JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
KIMBERLY NIPPER                 FLETCHER V. TRAMMELL TRAMMELL, FLETCHER V 3262 WESTEIMER, SUITE 423 HOUSTON TX
                                77098
KIMBLE, DONNA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
KIMBLE, DONNA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KIMBLE, GLORIA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
KIMBLE, GLORIA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
KIMBLE, JULIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIMBLE, KAREN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KIMBLE, LISA                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
KIMBLE, TAMMY                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
KIMBROUGH, KAREN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIMBROUGH, KIMBERLY             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KIME, KATHLYN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KIMMEL, PATRICIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KIMMERLING, SHEENA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIMMONS, KARIN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KIMPLE, CINDY                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KINARD, JOHNNIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KINARD, THERESA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KINBERGER, CYNTHIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KINCADE, LORA                   SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
KINCHION, DADIE                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
KINDER, EVA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KINDLE, MECHELE                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
KINDLEY, LINDA                  MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
KINDRED, MARY                   HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
KING, ANNA                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
KING, ATHALA                    THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
KING, AUDREY                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
KING, CAROL                     MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
KING, CASSANDRA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031



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                                          LTL Management LLC
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Claim Name                          Address Information
KING, CASSANDRA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KING, CHRISTIANA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KING, CINDY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KING, DAVID                        WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                   HILL NJ 08002
KING, DIANNA                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
KING, DONNA                        DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                   ANTHONY ST. LOUIS MO 63102
KING, DONNA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
KING, DONNA                        LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
KING, DONNA                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
KING, ELIZABETH                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
KING, EQUILLA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KING, EVA                          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
KING, FAYOLA                       CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
KING, FRANNY                       POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                   BRASLOW, DEREK T CONSHOHOCKEN PA 19428
KING, GERALDINE                    MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                   KNOXVILLE TN 37929
KING, GERALDINE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
KING, GRACW                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KING, HELEN                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
KING, IRIS                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
KING, JANICE                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
KING, JANICE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KING, JEANNIE                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
KING, JUDY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KING, KATHRYN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KING, KIMBERLY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KING, LATONIA                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
KING, LINDA                        BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                   75202
KING, LOUISE                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
KING, MARY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KING, MARY JANE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KING, MELBA                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660



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Claim Name                       Address Information
KING, MELISSA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KING, MICHELLE                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
KING, MYRTLE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KING, NELL                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KING, PATRICIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KING, PHYLLIS                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
KING, SHARALYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KING, SHEILA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KING, SHELLEY                   CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
KING, SHELLY                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
KING, SHIRLEY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KING, SYBIL                     GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
KING, TERRY                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
KING, THERESA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KING, VERA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR BOWDEN, WESLEY A. ST. LOUIS MO 63119
KING, VICTORIA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
KING, VIRGINIA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
KING, VIRGINIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KING, VIVIAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KING, WILMA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KING, YOLANDA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
KING-CARTER, ALLEEN             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KING-GREEN, LATRICE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KINGERY, ELOISE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KINGREE, SARAH                  KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
KINGS, CASEY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KINGSBURY, KIM                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KINGSBURY, KIMBERLY             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KINGSTON, DEBRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KINGSTON, KATHY                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
KINKLE, SYLVIA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960


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Claim Name                       Address Information
KINLER, ELIZABETH               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
KINLER, ELIZABETH               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KINNARD, KIMBRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KINNARD, KIMBRA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KINNAW, FERNI                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
KINNAW, FERNI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KINNETT, KELLIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KINNEY, MARK                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
KINNEY, RHONDA                  WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
KINNISON, JANICE                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
KINSEL, PATSY                   BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
KINSEY, NANCY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KINSEY, SUE                     KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
KINSEY-MCDIARMID, DEBORAH       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
KINSLOW, TANYA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KINSTLER, JESSICA               WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
KINTCHEN, MATTIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KINTER, TONI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KINTZ, NICOLE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KINTZEL, DAWN                   WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
KIRALY, JUDY                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
KIRBY, ASIA                     WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
KIRBY, BARBARA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
KIRBY, BARBARA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
KIRBY, CAROLE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KIRBY, CHERYL                   SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
KIRBY, DANA                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KIRBY, DEBRA                    WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
KIRBY, DONNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIRBY, LAUREN                   MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
KIRBY, LINDA                    THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
KIRBY, LINDA                    TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
KIRBY, MARGET                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
KIRBY, SHEILA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103


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Claim Name                          Address Information
KIRBY-FONDULIS, DEBRA              THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                   CHARLESTON WV 25301
KIRCHHOFF, LYNN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KIRCHHOFF, LYNN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIRCHHOFF, LYNN                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KIRCHHOFF, LYNN                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
KIRCHNER, FAYE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIRCHNER, MARY                     GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
KIRCHNER, MARY                     SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                   94104
KIRIAKOU, ANNIE                    DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                   KANSAS CITY MO 64196
KIRK, BENNY                        NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                   PR 00918
KIRK, BRENDA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIRK, DEBORAH                      ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                   ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
KIRK, EVA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KIRK, FRANLIN                      NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                   PR 00918
KIRK, JANE                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
KIRK, JANICE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KIRK, KAREN                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KIRK, KAREN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIRK, KAREN                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KIRK, MARTHA                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
KIRK, SUSAN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIRK, VICKI                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KIRK-BROWN, MILDRED                CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                   CHICAGO IL 60602
KIRKATRICK, CATHERINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIRKDOFFER, ETTA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIRKENDALL, ELEANOR                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
KIRKENDALL, JUDY                   MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 09006
KIRKLAND, ERNESTINE                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                   ANTHONY ST. LOUIS MO 63102
KIRKLAND, ERNESTINE                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
KIRKLAND, ERNESTINE                LENZE KAMERRER MOSS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207
                                   MANHATTAN BEACH CA 90266
KIRKLAND, ERNESTINE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
KIRKLAND, ERNESTINE                ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                   S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660



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Claim Name                       Address Information
KIRKLAND, LAURAETTE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KIRKLAND, LYNNE                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
KIRKLAND, RUBY                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
KIRKLAND, WENDY                 HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
KIRKLEY, LOUISE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIRKLIN, NANCY                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
KIRKPATRICK, CYNTHIA            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
KIRKPATRICK, DIANE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KIRKPATRICK, MILDRED            FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
KIRKPATRICK, ROSALIE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIRKPATRICK, TERESA             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
KIRKS, DEBORAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIRKSEY, BETTY                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
KIRKSEY, LINDA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
KIRKWOOD, ALICE                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
KIRKWOOD, CHRISTY               KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
KIRKWOOD, LESSIE                MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
KIRLAK, KATHLEEN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIRSCH, JOANNA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KIRSCHBAUM, LISA                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
KIRSCHNICK, JUANITA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIRSCHT, MICHELLE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KIRSHNER, LILIANA               MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
KIRSHOFF, ANDREA                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
KIRSHY, THERESA                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
KISER, ANGELA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KISER, LAWONA                   BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
KISER, SHAWNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KISER, SHIRLEY                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
KISER, SHIRLEY                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
KISER, SHIRLEY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KISS, THERESA                   FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
KISSELL, MARIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
KISSELL, MARIA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
KISSELL, MARIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KISSELL, MARIA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KISSELL, MARIA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
KISSING, SANDRA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KISSINGER, BARBARA              GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
KISSINGER, JUDY                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
KISSINGER, REGINA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KISSLING, ALISON                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KISSOON, UMAWATTIE              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
KITCHEN, JOANNE                 EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
KITCHEN, JOANNE                 SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
KITCHEN, LINDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KITCHEN, PATRICIA               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
KITCHEN, TERESA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KITCHEN, TERRI                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KITCHENS, KATHERINE             THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                FERRARO, JR, JAMES L MIAMI FL 33131
KITCHENS, MARY                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
KITHCART, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KITKOSKY, KACY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KITT, KATRINA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KITT, MICHELLE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KITT, MICHELLE                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
KITT, MICHELLE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KITT, MICHELLE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KITT, MICHELLE                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
KITTENPLAN, JAMIE               GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
KITTLE, DEBORAH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KITTLE, LISA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KITTRELL, BETTY                 MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. BEUERMAN, CHARLES JAMISON
                                AUSTIN TX 78701
KITTS, LINDA                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KIVORA, JANET                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KIYABU, JOY                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KIZZIAR, ORA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231


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Claim Name                               Address Information
KIZZIE, BETTY                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
KJERSGAARD, MONICA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KLAIBER, KIM                             WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                         NJ 08002
KLAR, SANDRA                             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
KLAR, SANDRA                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
KLATT, CHRISTINE                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
KLAUER, JENELLE                          WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                         BOUNDAS, JOHN T. HOUSTON TX 77017
KLAUS, PAM                               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KLAW, TERESA                             GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KLAWUHN, RANDA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KLAYMAN, HOPE AND KLAYMAN, MARK STEVEN   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
KLEE, JOANNE                             CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                         14202-3725
KLEIMAN, RITA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KLEIN, BETTY                             MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
KLEIN, CAROLE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KLEIN, FRANCINE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KLEIN, KATHLEEN                          DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                         63102
KLEIN, KELLY                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
KLEIN, MICHELLE                          DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                         63102
KLEIN, SHARON                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
KLEIN-DAVIS, STEPHANIE                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                         ANTHONY ST. LOUIS MO 63102
KLEIN-DAVIS, STEPHANIE                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
KLEIN-DAVIS, STEPHANIE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
KLEINER, MARILYN                         GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                         PA 19102
KLEIPE, DONNA                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
KLEIS, AMANDA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KLEKAS, NANCY                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
KLEM, DEBRA                              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KLEMETSON, MARTHA (COMBS)                BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                         30603
KLEMM, JOY                               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                         BOUNDAS, JOHN T. HOUSTON TX 77017
KLEMPNER, RODORA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KLENA, STEPHEN                           NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                         PR 00918



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Claim Name                             Address Information
KLENDER, CRYSTAL                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                      77098
KLEPPIN, DENISE                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                      77098
KLICK, PAUL III AND KLICK, JULIE      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                      HILL NJ 08002
KLIEVER, SUSAN                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
KLIK, WALTER J. AND KLIK, DANA        WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                      HILL NJ 08002
KLIMES, JACQUELIN                     KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
KLIMKE, ANDREA                        GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                      EDWARDSVILLE IL 62025
KLINDT, KAREN                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KLINE & SPECTER, P.C.                 1525 LOCUST ST. PRISCILLA JIMENEZ , LEE B BALEFSKY PHILADELPHIA PA 19102
KLINE, BRENDA                         SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
KLINE, CYNTHIA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
KLINE, KATHERINE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KLINE, KEVIN                          NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                      PR 00918
KLINE, SHELLY                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
KLINE, WENDY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
KLINGAMAN, PRISCILLA                  COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B.
                                      INDIANAPOLIS IN 46204
KLINGBERG, ELEANOR                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                      11747
KLINGER, BILLY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KLINGER, SHAWNA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
KLINGFORTH, SALLY                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
KLINGLER, MELINDA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                      77098
KLINKHAMMER, SHANNON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KLINNERT, LEVETA                      ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                      LOUIS MO 63119
KLIPFEL, BEVERLY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KLISSAS, DENISE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KLOBERDANZ, PATRICIA                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                      BOUNDAS, JOHN T. HOUSTON TX 77017
KLOCK, ELAINE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KLOCK, KAREN                          THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
KLOCK, KAREN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KLOCK, THERESA                        JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                      PAUL MN 55101
KLOCKE, CAROL                         DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                      ANTHONY ST. LOUIS MO 63102
KLOCKE, CAROL                         LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
KLOCKE, CAROL                         ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                      & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660



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Claim Name                       Address Information
KLOCKE, CAROL                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
KLOOCK, JENNIFER                REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J EPHRON,
                                MELISSA HOUSTON TX 77027
KLOPP, DEBORA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KLOSTER, BARBARA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KLOSTERMAN-ROCK, VERONICA       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KLOSTERMAN-ROCK, VERONICA       GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
KLOSTERMAN-ROCK, VERONICA       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KLOSTERMAN-ROCK, VERONICA       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KLOSTERMAN-ROCK, VERONICA       PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
KLUG, RITA                      MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
KLYCZEK, ANTOINETTE             CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
KLYLE, PATTY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KNABB, RUTH KNIGHT              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KNABLE, JENNIE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KNAPEREK, LAURA                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
KNAPIK, LAURA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KNAPP, BEVERLY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KNAPP, DAVID AND KNAP, KAY      MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                YORK NY 10017
KNAPP, DOROTHY                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
KNAPP, ESTHER                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
KNAPP, ESTHER                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KNEBEL, MARIA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
KNEBEL, MARIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KNECHT, DEBORA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KNECHT, GEORGETTE               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
KNESPEL, CINDY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KNEZOVICH, MELISSA              NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
KNIERIM, PATRICIA               HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
KNIGHT, BARBARA                 THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
KNIGHT, CATHERINE               LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
KNIGHT, CORINNE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                       Address Information
KNIGHT, CORINNE                 75231
KNIGHT, DARLENE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KNIGHT, DOROTHY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KNIGHT, EDNA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
KNIGHT, ESTELLA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
KNIGHT, KATHRYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KNIGHT, KIMBERLY                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
KNIGHT, LAWANDA                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
KNIGHT, LINDA                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
KNIGHT, MARCELLA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KNIGHT, MARTHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KNIGHT, PHYLLIS                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KNIGHT, POLLY                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
KNIGHT, RAYFENNETTE             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KNIGHT, SHENDRELL               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KNIGHT, TRACY                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
KNIGHT-HORSLEY, TAMMIE          FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LUFF, PATRICK - DALLAS TX 75231
KNIGHTEN, ARLENE                DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
KNIGHTEN, SHIRLEY               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
KNIPE, MARY                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KNIPE, MARY                     LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
KNIPPLE, VICKY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KNIPSCHILD, PATRICIA            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KNISELY, LINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KNISKERN, JULIA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
KNISSEL, CHRISTINA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KNOB, JENNIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KNOBLAUGH, AMELIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KNOEBEL, BARBARA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KNOLL, BRENDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KNOLL, JODI                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.


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                                                LTL Management LLC
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Claim Name                               Address Information
KNOLL, JODI                              ORANGE VA 02296
KNOLL, LINDA                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
KNOLL, RAMONA                            LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                         SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
KNOPPEL, JOHANNE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KNOPPS, SANDRA                           MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                         YORK NY 10017
KNOTEK, JANET                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
KNOTT, ALICE                             BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                         70130
KNOTT, ALICE                             BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                         75202
KNOTT, KRISTINA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KNOTTS, JUDITH                           COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                         JONATHAN A. INDIANAPOLIS IN 46204
KNOTTS, LINDA                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
KNOWLES, CATRICE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KNOWLES, MONIQUE                         DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                         63102
KNOWLES, STELLA                          HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                         63101
KNOWLES-FERGUSUN, CATHERINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KNOX, ANITA                              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
KNOX, ANTHONY AND KNOX, LEIA ELIZABETH   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
KNOX, DEBRA                              DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                         KANSAS CITY MO 64196
KNOX, DONNIS                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
KNOX, JOYCE                              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KNOX, JULIA                              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
KNOX, LINDA                              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KNOX, MIRIAM                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KNOX, PAMELA                             FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
KNUDSEN, EDNA                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
KNUDSEN, EDNA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KNUDSEN, EDNA                            THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KNUDSEN, EDNA                            PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
KNUDSEN, MARLENE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KNUDSEN, THERESA                         POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
KNUPP, ANN                               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
KNUST, JUDY                              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
KNUTSON, CHANTEL                         GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                         EDWARDSVILLE IL 62025



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Claim Name                          Address Information
KNUTSON, JOYCE                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KNUTSON, KRISTINA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KO, KAREN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KO, KAREN                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
KOBEL, SHERRY                      CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
KOBO, RONNY                        COHEN, PLACITELLA & ROTH 127 MAPLE AVE. PLACITELLA, CHRISTOPHER M. GEIER,
                                   DENNIS M. RED BANK NJ 07701
KOCAY, SUSAN                       BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                   ROBERT BRENT LOS ANGELES CA 90024
KOCH, CATHERINE                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
KOCH, CATHY                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
KOCH, GLENDA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KOCH, GLENDA                       THE POTTS LAW FIRM, LLP 3737 BUFFALO SPEEDWAY STE 1900 HOUSTON TX 77098
KOCHER, CAROL                      THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
KOCHERA, ANNE                      LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                   SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
KOCIAK, KAREN                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
KOCIS, SANDRA                      ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
KOCK, KIMBERLY                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
KOCKOS, DANIELLE                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
KOEHLER, ANNETTE                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
KOEHLER, MAUREEN                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
KOEHLER, MAUREEN                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                   CHARLESTON WV 25301
KOEHLER, TERRI                     COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                   JONATHAN A. INDIANAPOLIS IN 46204
KOENIG, CYNTHIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KOENIG, LINDA                      HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
KOENIG, SANDRA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KOENIG, SARA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KOENIG, SUSAN                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
KOENTOPP, MINDY                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KOERBER, AMBER                     DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102
KOERNER, TONI                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KOERPERICH, SUSAN                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
KOFFLIN, PATRICIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                              Address Information
KOHL, KAREN                            THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
KOHL, KATHY                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KOHL, LINDA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KOHLER, LINDA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
KOHLER, LINDA                          GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                       MINNEAPOLIS MN 55402
KOHLER, LINDA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KOHLER, LINDA                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KOHLER, LINDA                          PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
KOHLIEM, LINDA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
KOHN, ANNJANETTE                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                       77098
KOHN, LILA                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KOHN, NADINE                           COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
KOHN, NADINE                           ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
KOHUT, SARAH                           NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                       11747
KOINIS, PAULINE                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
KOJETIN, CHRISTINA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
KOKOSZKA, MICHELLE                     ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                       ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
KOKOTAJLO, FRANK AND KOKOTAJLO, MARIANN LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                        NJ 08648
KOLB, DANIELLE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KOLB, MARYANN                          WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
KOLCZYNSKI, LEANNE                     MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                       ARTHUR M. NEW ORLEANS OH 70130
KOLESAR, GAIL                          CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
KOLIN, MARGARET                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KOLLEN-RICE, MELISSA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KOLLMANN, LAURIE                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
KOLODKIN, JUDITH                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KOLONICH, PATSY                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
KOLOZIE, VIRGINIA                      HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                       63101
KOLZET, MONICA                         BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                       75202
KOMNATH, ARLENE                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
KOMORA, VELDA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
KOMP, REBECCA                          JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.



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Claim Name                          Address Information
KOMP, REBECCA                      PAUL MN 55101
KONDRLA, CHARLENE                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                   11747
KONECNE, LISA                      JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                   77002
KONEN, ALYCE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KONING, CHARLOTTE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KONKEL, MARGUERITE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
KONKIN, CHRISTINA                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
KONOPA, PONPET                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KONSTANTINI, LILI                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                   KANSAS CITY MO 64196
KOO, JENNIE                        MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                   ARTHUR M. NEW ORLEANS OH 70130
KOOLS, KAREN                       MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                   KNOXVILLE TN 37929
KOON, PEGGY                        DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102
KOON, SUE                          ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
KOONS, JACKLYN                     MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
KOONTZ, ANN                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
KOONTZ, FREDA                      KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
KOONTZ, FREDA                      LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
KOORS, PATRICIA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
KOPEL, ROSALIND                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KOPER, MARLENE                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
KOPP, SUMMER                       ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
KOPPELMANN, DONNA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
KOPSIAN, NORA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
KORBER, JERRI                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KORBHOLZ, WILLIAM AND              LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
KORBHOLZ,KATHERINE                 NJ 08648
KORKMAZ, SUSAN                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KORKOWSKI, ELAINE                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
KORKOWSKI, KARIN                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
KORMANIK, CAROL                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KORNACKI, THERESA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
KORNBLUM, MARY                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                   77098


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Claim Name                       Address Information
KORNEGAY, JEANNE                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KORNEGAY, PATSY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KORNEGAY, VANESSA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KORNER-HENSLEY, PATRICIA        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KORNINEKO, VICTORIA             SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
KORNMAN, TERRY                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
KORNMAN, TERRY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KORNMAN, TERRY                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
KORNMAN, TERRY                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
KORODY, PATRICIA                HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
KOROLEWICZ, JUDY                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KOROTKA, BARBARA                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
KOROTKA, BARBARA                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
KORSKY, POLLY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KORTH, LINDA                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KORTYNA, KATHY                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
KORTZ, TERESA                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
KORZENICKI, ROBIN               WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
KOSHGARIAN, DIANNE              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
KOSHGARIAN, DIANNE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KOSICEK, TINA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
KOSKOWITZ, ALICIA               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KOSNAC, MONICA                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
KOSS, ANNETTE                   HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
KOSTENBAUDER, PATRICIA          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
KOSTERMAN, GAYLE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KOSTICK, NANCY                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
KOSTIK, JOYCE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KOSTKA, JESSIE                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
KOSTUK, KATHY                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
KOSTY, CHERYL                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102


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Claim Name                       Address Information
KOSZALKOWSKI, ZINA              THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
KOTERASS, MONA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KOTERBA, DONNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KOTLEWSKY, SHAUN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KOTLIK, DONNA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KOTSIFAKIS, CARLA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KOUGH, DONNA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KOURI, AURORA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KOUTOUJIAN, MARLENE             GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
KOVAC, ADA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KOVAC, CARYN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KOVACEVICH, BARBARA             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
KOVACEVICH, BARBARA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
KOVACEVICH, ROXANNE             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KOVACH, DEBRA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
KOVACH, DEBRA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
KOVACH, TRACY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KOVALCIK, PAMELA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
KOVALICK, COLLEEN               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KOWAL, BARBARA                  CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
KOWAL, BARBARA                  BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
KOWAL, MARIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KOWALESKY, JUDITH               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KOWALEWSKI, GERALDINE           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KOWALEWSKI, GERALDINE           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KOWALEWSKI, GERALDINE           THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KOWALEWSKI, GERALDINE           PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
KOWALSKI, DOLORES               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
KOWALSKI, MARY                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KOWALSKY, LINDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KOWASIC, TRACY                  JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
KOYM, PATTI                     SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
KOZECKE, LINDSEY                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006



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Claim Name                       Address Information
KOZELISKI, JACKIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KOZUCH, CASSIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KRACHE, TIFFANY                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
KRAEMER, WILMA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KRAFT, ANITA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KRAFT, GALADRIALLE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KRAFT, LAURELYNN                TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
KRAFT, MARCY                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
KRAINSKI, CATHY                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KRAJCIK, NANCY                  KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
KRAJEWSKA, KRYSTYNA             DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
KRAJEWSKA, KRYSTYNA             LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
KRAJEWSKA, KRYSTYNA             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
KRAKAUER, LINDSAY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KRAKOWSKI, AUDREY               GOLOMB & HONIK, P.C. GOLOMB, RICHARD M. 1835 MARKET STREET, SUITE 2900
                                PHILADELPHIA PA 19103
KRAKOWSKI, AUDREY               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KRAMER, CHERYL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KRAMER, INEZ                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KRAMER, TRESHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KRAMER, VALERIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KRAMER-KELLER, MARSHA           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KRAMP, JULIE                    POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                LECKMAN, T MATTHEW BRASLOW CONSHOHOCKEN PA 19428
KRANCE, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KRANER, MARY                    GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
KRANICH, EVA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KRANITZ-FISH, ILENE             ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
KRANMAS, PHYLLIS                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KRANTMAN, VICKIE                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KRANTZ, VALERIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KRASON, AUDREY                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KRASOVEC, JUDY                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KRASOW, DYANNE                  SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
KRASS, CAROL                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KRASZCZAK, MARY                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036


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Claim Name                       Address Information
KRATTENMAKER, DOROTHY           CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILSON, MICHAEL A. BUFFALO NY
                                14202-3725
KRATZER, DELORES                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
KRAUCHUK, PAULA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KRAUS, FAYE                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
KRAUS, FAYE                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
KRAUSE, ANGELA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KRAUSE, DENA                    THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
KRAUSE, LOREEN                  SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
KRAUSE, SHIRLEY                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
KRAWCZYK, RITA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
KRAWCZYK, SHERYL                KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
KRAY, LINDA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KREBS, JENNIFER                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KREBS, JENNIFER                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KREBS, JENNIFER                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KREBS, JENNIFER                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
KREBS, KATHLEEN                 KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
KREEGER, MELISSA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
KREGELIKA, ANTOINETTE           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KREGELIKA, ANTOINETTE           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KREGELIKA, ANTOINETTE           THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KREGELIKA, ANTOINETTE           PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
KREGO, ELIZABETH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KREIDER, DEBORAH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KREIDER, MARIA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
KREIS, GEORGETTA                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
KREISBERG, MARCIA               HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
KREITZER, JULIE                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
KREJCI, NANCY                   NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
KRELO, JULIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KREMAR, DOROTHY                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
KREMER, TINA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KRENIS, DENISE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KRENZ, PATRICIA                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
KRENZER, CANDY                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
KREPS, NANCY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
KRESS, BOBI                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
KRESS, BOBI                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KRESSLER, ELIZABETH             FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
KRESTIAN, LORRAINE              LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
KRICHBAUM, KATHY                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
KRIEG, MARGIE                   THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
KRIEGER, BEATRICE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KRISE, CAROL                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
KRISE, CAROL                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
KRISZTINICZ, TREACY             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KRIVITZKY, ANITA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KRNJAIC, NADA                   JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
KROCIAN, SUSAN                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KROCKER, PATRICIA               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KRODEL, NORMA                   BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
KROEGER, TWILA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
KROKO, SARAH                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KROLIKOWSKI, CLAUDIA            DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
KROLL, CORRINE                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
KROMREY, ANNETTE                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
KRONER, CYNTHIA                 LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
KRONICK, LEEZA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
KROON, TERRI                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
KROPOG, SUSAN                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
KROPP, DEBRA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KROPP, DEBRA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KROPP, DEBRA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KROPP, DEBRA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
KROPP, TERRY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KRUCIK, KATHLEEN                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
KRUEGER, JEAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KRUEGER, JEANETTE               BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660



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                                        LTL Management LLC
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Claim Name                        Address Information
KRUEGER, LORI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KRUEGER, MARIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET JAMES,
                                 CHARLES MONTGOMERY AL 36104
KRUEGER, NANCY                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                 STREET, SUITE PENSACOLA FL 32502
KRUEGER, TIFFANY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
KRUEGER, WERNER                  NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                 PR 00918
KRUG, CAROLE                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                 EMILY FAIRFAX VA 22031
KRUMPACH, PAMELA                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                 KANSAS CITY MO 64196
KRUPP, SHERLEY                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
KRUPP, SHIRLEY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KRUSE, BETH                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                 77098
KRUSE, JOAN                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                 ORANGE VA 02296
KRUSE, WANDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KRUSEMARK, CHRISTINA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
KRYS, ABBEY                      BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                 75202
KRYWANIO-BUNO, JOANNE            ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                 LOUIS MO 63119
KRYZANSKI, BRIAN                 LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                 NJ 08648
KRZYZOSIAK, NORMA                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 NEW ORLEANS LA 70130
KUBANEK, DEBRA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
KUBANEK, DEBRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KUBANEK, DEBRA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KUBANEK, DEBRA                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
KUBANEK-SVETKODICH, BARBARA      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
KUBANEK-SVETKODICH, BARBARA      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
KUBBE, LINDA                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                 77007
KUBIAK, MARIA                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                 ANTHONY ST. LOUIS MO 63102
KUBIAK, MARIA                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
KUBIAK, MARIA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                 ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
KUBIAK, SUSAN                    THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
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KUBISKI, TERRY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
KUBISKI, TERRY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
KUBLIC, ROSE                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
KUBLIC, ROSE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
KUCA, DOREEN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KUCEJ, BARBARA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KUCHARSKI, BETH                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
KUCHINSKI, ROBIN                ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
KUCIJA, PEGGY                   SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
KUEFNER, PAMALA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
KUEHLER, CHARLENE               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
KUEHN, EVA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
KUHLEMAN-HEATH, GERALDINE       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KUHLMANN, DEBORAH               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
KUHN, DONNA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KUHN, GERRI                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KUHN, JOYLENE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KUHN, VICTORIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KUHR-GROUT, KATHRYN             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KULDEEP, SURUJDAI               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
KULICK, LINDA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
KUMAR, RONITA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KUMIEGA, CHARMAINE              NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
KUMP, SHELLY                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
KUNC, PAMELA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KUNTZ, KELLIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KUPAU, DAVIDENE                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
KUPERMAN, MAUREEN               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
KUPIS, DARLENE                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
KUPPINGER, MISTY                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
KUPREL, LISA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
KURANZ, LYNN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KURAS, DAWN                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
KURCZESKI, FRANCES              GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
KURDES, FRANCES                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                              Address Information
KURDES, FRANCES                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KURDES, FRANCES                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KURDES, FRANCES                        PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
KURDI, HALA                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
KURETZKAMP, KAREN                      SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
KURIA, JANE                            WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
KURIAN, LISSY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
KURIAN, LISSY                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
KURIAN, LISSY                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
KURKA, KATHRYN                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KUROWSKI, BRENDA                       MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
KUROWSKI, BRENDA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KURTAGIC, SANELA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KURTEN, TRUDY                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 22960
KURTH, SUSAN                           WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
KURTZ, HILARY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KURTZ, KAREN                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
KURZER, MARIE                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
KURZER, MARIE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
KUSCHE, CATHY                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
KUSCHE, CATHY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
KUSHER, JANET                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KUSLER, PAULA                          JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                       77002
KUTCHBACK, MELANIE                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
KUTI, BARBARA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
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KUTSCHER, MARY                         DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
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                                       PR 00918
KUYKENDALL, CATHERINE                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
KUYKENDALL, DONNA                      WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
KUYKENDALL, LINDA                      MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
KUYKENDALL, MARIA AND KUYKENDALL, JAMES WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
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KUYPERS, JACQUELYN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
KUZMA, MARY                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231


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Claim Name                              Address Information
KUZMINSKI, JOY WISNESKI                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
KWAS, SUZANNE                          THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                       ORLEANS LA 70130
KWIATKOWSKI, DEBBIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
KWIATKOWSKI, NORMA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KWIATT, CANDISE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
KWOK, MAWARTY                          DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
KYE, ALLISON                           CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
KYE, JACQUIS                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
KYLE, BRIDGET                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
KYLE, CYNTHIA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
KYLES, BREANA                          NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                       11747
KYNCL, CONNIE                          GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
KYRK, CHRISTINA                        SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                       07102-4573
KYSAR, MATTIE                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
KYSAR, MATTIE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
KYTE, DEBRA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LA MERE, CARESSA                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LA MUNYON, JUSTINE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
LA VARTA, CATHERINE                    HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
LAASKO, DEBRA                          THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                       CHARLESTON WV 25301
LABARBERA, ARLENE                      CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
LABARBERA, CAROLINE                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
LABARR-MABRY, DOMENICA AND AMANDA      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                       NJ 08648
LABAT, COLLEEN                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LABEAUME, CAROL                        ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119
LABEAUX, GLADYS                        CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
LABENS, MYRA                           DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                       63102
LABOK, MARY                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
LABORDE, LINDA                         GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                       EDWARDSVILLE IL 62025
LABORDE, ROSEMARY                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LABORDE, ROSEMARY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
LABOUNTY, DONNA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LABOVE, DESIREE                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
LABOVITCH, CAREN                BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
LABOVITCH, CAREN                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
LABOY, GLENDA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
LABRECQUE, PAULA                TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
LABRECQUE, WINIFRED             ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LABRECQUE, WINIFRED             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LABRIOLA, KARAN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LABRIOLA, MARISA                SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
LACASCIA, BEVERLY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LACEY, DOREEN                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
LACEY, ELIZABETH                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
LACEY, EMMA                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET SALGER, SARA M MATHEWS, D.
                                TODD EDWARDSVILLE IL 62025
LACEY, TRINA                    FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
LACHANCE, DENISE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LACK, ANITA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LACKEY, BARBARA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LACKEY, KARALYN                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
LACKEY, KARALYN                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
LACLAIR, CHARLENE               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LACOE, SUE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LACOUR, PEGGY                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
LACOUR, SONIA                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
LACROIX, CATHERINE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LACY, ELSA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LACY, KELLY                     KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
LACY, MARCIA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LADAY-NUNES, SONYA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LADD, JANET                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
LADD, SHELLY                    EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
LADDUSAW, WANDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LADICK, DOROTHY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LADNER, DOROTHY                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW


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                                       LTL Management LLC
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Claim Name                       Address Information
LADNER, DOROTHY                 ORLEANS LA 70130
LADNER, TONIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LADNER, TONIA                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
LADNER, TONIA                   MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
LADNER, TONIA                   KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
LADNIER, JILL                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
LADSON, NANELL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAFATA, DONNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAFAYE, JULIE                   SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
LAFAZAN, DEENA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAFERNEY, MARY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAFERNEY, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAFERNEY, MARY                  LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, STEPHENSON, W. CAMERON 316
                                SOUTH BAYLEN ST., SUITE 400 PENSACOLA FL 32502
LAFERNEY, MARY                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LAFERNEY, MARY                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LAFFERRE, NELLIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAFFERTY, SHELIA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LAFLAMME, BEVERLY               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
LAFLEUR, CAROLYN                MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
LAFLEUR, JEAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAFOND, VERBENIA                ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
LAFONTAINE, KAREN               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LAFONTANO, BARBARA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAFORCE, BARBARA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAFORTUNE, MAUREEN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAFOSSE, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAFRAMBOISE, LISA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LAFRANCE, EULA                  MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
LAFRANCE, EULA                  KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
LAFRANCE, FRANCINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAFRANCE, GAIL                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
LAFRANCE, JULIA                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
LAFRANCE, SUZANNE               NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
LAGACE, ELAINE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAGARRA, ANGELA                 COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
LAGLE, SYLVIA                   HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520



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Claim Name                       Address Information
LAGRANGE, SUZANNE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAGRONE, MARTHA                 HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
LAGUER, CARMEN                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LAGUER, CELINES                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAGUNA, GLORIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAGUNAS, MARYJANE               THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                FERRARO, JR, JAMES L MIAMI FL 33131
LAHMAN, FRIEDA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LAICHE, SHARON                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LAICHE, SHARON                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAIGHA DEROUEN                  DAVIS, BETHUNE & JONES, L.L.C. DAVIS, GRANT L. 1100 MAIN STREET, SUITE 2930
                                KANSAS CITY MO 64196
LAIN, CYNTHIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LAIN, EMMA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAING, JANELA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAIRAMORE, TANYA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LAIRD, DIANN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAIRD, HELEN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAIRD, MARTHA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAIRD, SHARON                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
LAIRD, SUSAN                    ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
LAIRD, SUSAN                    MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
LAKE, APRIL                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAKE, GALE                      WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
LAKE, MICHELE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LAKE, SUSAN                     NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
LAKE, SUZANNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAKE, SYLVIA                    HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
LAKE, SYNTHIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAKE, TERRI                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAKES, DEBORAH                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
LAKESHIA WILLIAMS               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC PUTNICK, MARY ELIZABETH 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
LALANIA DESHONG                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119


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Claim Name                          Address Information
LALLY, COLLEEN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LALOGGIA, ROSE                     LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                   94111
LALONDE, KAREN                     HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                   CHRISTOPHER CORPUS CHIRSTI TX 07837
LALONE, LILLIAN                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                   77098
LAM, LESLIE                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
LAMA, LANIE                        BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                   70130
LAMA, LANIE                        BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                   75202
LAMAN, MARGARET                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                   ANTHONY ST. LOUIS MO 63102
LAMAN, MARGARET                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LAMAN, MARGARET                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
LAMANNA, JAMIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAMAQUE, SHANTAL                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
LAMAQUE, SHANTAL                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
LAMAR, SUSAN                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
LAMAR-DAVIS, JAUICE                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
LAMAS, DEYANIRA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
LAMAY, FLOSSIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAMB, BETTE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAMB, CHASTITY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAMB, DEBORAH                      CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                   ATLANTA GA 30319
LAMB, ELIZA                        GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
LAMB, ELLEN                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
LAMB, EUN                          THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
LAMB, GENA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LAMB, GENA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAMB, GENA                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LAMB, GENA                         PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LAMB, JANICE                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
LAMB, LORETTA                      JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                   PAUL MN 55101
LAMB, MADGE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LAMB, MADGE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
LAMB, MADGE                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LAMB, MADGE                     PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
LAMBERT, ANGELA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LAMBERT, CYNTHIA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LAMBERT, CYNTHIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAMBERT, DEBORAH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAMBERT, ELAINE                 THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
LAMBERT, JOAN                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
LAMBERT, LISA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAMBERT, LYNNE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAMBERT, PAMELA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
LAMBERT, PATSY                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
LAMBERT, RITA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LAMBERT, ROSIE                  WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
LAMBERT, SABRINA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LAMBERT, SARAH                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
LAMBERT-BUNDICK, MARY           ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LAMBERTI, KATHLEEN              GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
LAMBIE, JOYCE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
LAMBIE, SHERYL                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LAMBIE, SHERYL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAMFERS, DENISE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAMI, KATHRYN                   WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
LAMM, BRENDA                    SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
LAMM, LINDA                     LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
LAMONDE, DONNA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
LAMONICA, AUDREY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAMONT, ANNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAMONT, PATRICIA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LAMONTE, MARIBEL                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LAMORE, JULIE                   CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
LAMOTHE, CHERYL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAMPARZYK, CLAUDIA              WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
LAMPE, LISA                     TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
LAMPHIER, MICHELLE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAMPKIN, PATRICIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231


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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
LAMSON, THERESA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
LAMY, DIANNE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAMZON, AMELITA                 JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
LANAHAN, LINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LANCASTER, ALEXIS               JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
LANCASTER, HOLLI                JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
LANCASTER, JANET                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
LANCASTER, SANDRA               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
LANCIS, PAMELA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LANCLOS, BERNICE                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LANCLOS, BERNICE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAND, BARABA                    MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
LAND, JENNA                     ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
LAND, LINDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAND, SHARON                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
LANDELLS, CAROL                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
LANDEROS, MELBA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LANDERS, SASHA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LANDERVILLE, JUANITA            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LANDES, CYNTHIA                 KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
LANDGRAF, DARLENE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LANDI, LUCY                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LANDI, LUCY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
LANDINGHAM, MARY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LANDIS, ANGELA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LANDIS, ANGELA                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
LANDIS, ANGELA                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
LANDIS, BEVERLY                 HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
LANDIS, CORDIE                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
LANDIS, DANIELLE                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LANDIS, DANIELLE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LANDIS, KATHLEEN                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036



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                                       LTL Management LLC
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Claim Name                       Address Information
LANDIS, LYDIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LANDIVAR, MICHELE               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
LANDMAN, CHERYL                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
LANDO, FRANCES                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
LANDRETH, BOBBIE                MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
LANDRUM, ANNETTE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LANDRUM, BOBBIE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
LANDRUM, CAROL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LANDRY, ANNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LANDRY, BARBARA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LANDRY, DEBORAH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LANDRY, DELIA                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
LANDRY, DORISE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
LANDRY, MARY                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
LANDRY, SANDRA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LANDRY, SANDRA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LANDRY, SHARON                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LANDRY, TIFFANY                 ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
LANDUYT, KAREN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LANDUYT, KAREN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LANE, ANGELA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LANE, ANGELA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LANE, CHERINA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LANE, CRYSTAL                   FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
LANE, DONNA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LANE, GAYLA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LANE, JACQUELINE                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
LANE, JACQUELINE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LANE, JENNIFER                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017


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Claim Name                         Address Information
LANE, MAGGIE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
LANE, MARGARET                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LANE, MARK AND LANE, THONGMI      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                  NJ 08648
LANE, VERA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
LANE, WANDA                       HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                  63101
LANE-TERRY, DEBRA                 LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                  SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
LANEAR, DEBRA                     MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
LANEGRAN, ELIZABETH               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                  77098
LANEY, NELDA                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                  EMILY FAIRFAX VA 22031
LANEY, NELDA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
LANEY, STACI                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LANG, DONNA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LANG, JAMIE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LANG, JOINNINE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
LANG, KELLY                       BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                  ROBERT BRENT LOS ANGELES CA 90024
LANG, LANOME                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LANG, MICHELLE                    GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                  PA 19102
LANG, MICHELLE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
LANG, MICHELLE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LANG, MICHELLE                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LANG, MICHELLE                    PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
LANG, PEGGY                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                  ORANGE VA 02296
LANGAN, PATRICIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
LANGE, EDNA                       JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                  77002
LANGE, FRANCES                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LANGE, FRANCES                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LANGE, FRANCES                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LANGE, LINDA                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LANGE, LISA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LANGEN, DIANA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
LANGEN, DIANA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LANGEN, DIANA                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LANGEN, DIANA                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LANGER, ANDREA                    BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                  ROBERT BRENT LOS ANGELES CA 90024
LANGEVIN, JR., ALBERT             NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY


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Claim Name                       Address Information
LANGEVIN, JR., ALBERT           PR 00918
LANGFORD, DEBORAH               HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
LANGFORD, GERTRUDE              MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
LANGFORD, VELMA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LANGFORD-KEEHN, LESLEY          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LANGHAM, RODNESHIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LANGIS, ELENH                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LANGIS, ELENH                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LANGLEY, ALICE                  POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
LANGLEY, FRANCES                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LANGLEY, KRYSTAL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LANGLEY, KRYSTAL                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LANGLEY, LISA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LANGLEY, LISA                   SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
LANGLEY, MARGARET               BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
LANGLEY, MARGARET               BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
LANGLEY, SHERRY                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LANGONE, NANCY                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
LANGSTAFF, DEBRA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LANGSTON, DIANE                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LANGSTON, MARION                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LANGSTON, WILETTA               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
LANHAM, BARBARA                 ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
LANHAM, BARBARA                 MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
LANHAM, LADONNA                 SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
LANHAM, VANESSA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LANIER, SHEILA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LANKFORD, LORA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LANKSHEAR, BRENDA               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
LANKTON, REBECCA                COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B.
                                INDIANAPOLIS IN 46204
LANNING, JILL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
LANNING-BOYD, DONNA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LANOUE, WENDY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LANSBERRY, LINDA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LANSDALE, MARY                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
LANSDALE, MARY                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LANSDALE, MARY                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LANSDELL, AMANDA                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
LANSDELL, AMANDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LANSDELL, AMANDA                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LANSDELL, AMANDA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LANSDOWNE, CAROLYN              NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
LANSKI, CAROLE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LANTAYA, LORETTA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LANTHIER, GEMMA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
LANTZ, KATHRYN                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
LANTZ, LYNNDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LANUM, BARBARA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
LANZ, CYNTHIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LANZ, CYNTHIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LANZ, CYNTHIA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LANZ, CYNTHIA                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
LANZA, NANCI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LANZO, STEPHEN                  LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                NJ 08648
LAPAN, MICHELLE                 THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
LAPERE, BERNARDINA              KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
LAPHAM, JULIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAPKA, MARIA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LAPLANTE, ANN                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
LAPOINTE, PATTI                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
LAPONSEY, CHERYL                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LAPORTA, JANICE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAPORTE, CYNTHIA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
LAPORTE, MICHELLE               THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
LAPORTE, VENUS                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAPPE, SONIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
LARA, CHRISTINE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LARA, CHRISTINE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LARA, CHRISTINE                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
LARA, CLARA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LARA, JOANNE                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
LARA, MARIA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LARA, SANDRA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LARA, SANDRA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LARA, SARAH                     DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
LARA, STEPHANIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LARCHEVEQUE, DEE                PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
LARCHEVEQUE, JACLYN             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LARES, FELICITAS                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LARES, FELICITAS                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LARGE, WANDA                    MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
LARGRIMAS, VIVIAN               THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
LARIBEE, CYNTHIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LARINO, ROSALINA                BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
LARISON, LISA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LARISSA LOMAX                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
LARKIN, AUDREY                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
LARKIN, MARGIE                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LARKIN, MICHELLE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LARKIN, REBECCA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
LARKIN, SUSAN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LARKINS, DENISE                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LARMOND, VALROSE                BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
LARNEY, STEPHANIE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LAROCCA, EULA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LAROCCA, NICOLE                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
LAROCQUE, SANDRA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231



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Claim Name                       Address Information
LAROSE, LEE                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
LAROUSSE, CHRISTY               GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
LARRAMENDY, RAMONA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LARRAMENDY, RAMONA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LARRAMENDY, RAMONA              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LARRAMENDY, RAMONA              PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
LARREA, NANCY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LARRISON, SANDIE                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
LARRISON, SANDIE                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LARRISON, SANDIE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LARSEN, BARBARA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
LARSEN, LUCRETIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LARSEN, PAULI                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
LARSON, CAROLYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LARSON, CARRIE                  THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
LARSON, CHRISTINE               HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
LARSON, CONSTANCE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LARSON, DIANE                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
LARSON, DOLORES                 FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
LARSON, DOLORES                 FRAZER PLC; FRAZER II, T., FRAZER III, T., & MCMURTRAY, P. 30 BURTON HILLS
                                BLVD, STE 450 NASHVILLE TN 37215
LARSON, EILEEN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LARSON, ERIKA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LARSON, JEANIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LARSON, KARIN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LARSON, KRISTIN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LARSON, LILLIAN                 WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
LARSON, MARTHA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LARSON, MARTHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LARSON, REBECCA                 SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
LARSON, SHELIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LARUSSA, SUSAN                  LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
LARUSSO, MADONNA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LASALLE, SHIRIKA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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Claim Name                       Address Information
LASALLE, SHIRIKA                75231
LASECKI, RUTH                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
LASECKI, RUTH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LASECKI, RUTH                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LASECKI, RUTH                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LASH, ANNE                      NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
LASH, CHARLOTTE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LASH, SHARON                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
LASHANDA BODY                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
LASHBAUGH, CARMEN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LASHBROOK, LAUREN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LASSETER, BETTY                 ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
LASSITER, VERONICA              WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
LASSONDE, CYNTHIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LASTER, CONNIE                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
LASTER, WANDA                   BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
LASWELL, DIANNA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LATA, SNJEZANA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LATARTE, MIMI                   BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
LATHAM, BETTY                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
LATHAM, PATRICIA                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
LATHAM, ROSE                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
LATHAM, WANDA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
LATHAM, WILMA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
LATHROP, JULIA                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
LATHROP, JULIA                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, MARK DALLAS TX 75202
LATIMER, CAROLE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
LATIMER, JOSEPHINE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LATIMER, PEARLEAN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LATIN, LORETTA                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
LATORRE, DANIELLE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LATOUSHA JACKSON                JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
LATOYA TAYLOR                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
LATRICE, CANDICE                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LATTA, JOYCE                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.


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                                       LTL Management LLC
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Claim Name                       Address Information
LATTA, JOYCE                    MINNEAPOLIS MN 55402
LATTA, YVONNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LATTERY, DIANE                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LATTERY, DIANE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LATTIMORE, TAWANA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LATTING, DOROTHY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LATU, MELESULIFA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LATULIPPE-LARUS, JULIE          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAUB, BARBARA                   MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
LAUDENORIO, JOSEPHINE           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LAUDERBAUGH, BRENDA             FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LAUERMAN, PATRICIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAUF, SANDRA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
LAUFENBERG, KATHLEEN            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAUFFENBURGER, ELIZABETH        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAUGHERY, ELIZABETH             ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LAUGHLIN, KATHLEEN              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAUGHLIN, MICHELLE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAUGHRUN, SHERYL                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
LAUMAN, FRIEYA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
LAURA HANSON                    FLETCHER V. TRAMMELL TRAMMELL, FLETCHER V 3262 WESTEIMER, SUITE 423 HOUSTON TX
                                77098
LAURA LODER                     HENINGER GARRISON DAVIS, LLC BROSS, WILLIAM L. 2224 1ST AVE NORTH BIRMINGHAM
                                AL 35203
LAURENCE, TERESA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
LAURENDINCE, ALICE              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LAURENDINCE, ALICE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAURENT, MARGARET               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAURENT, MAUREEN                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
LAURENT, MAUREEN                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LAURENT, MAUREEN                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
LAURENT, RONNICA                MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
LAURENT, STEFANIE               MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
LAURIELLO, LOIS                 COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
LAURIELLO, LOIS                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 BINSTOCK, MELISSA HOUSTON TX



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Claim Name                       Address Information
LAURIELLO, LOIS                 77098
LAURSEN, DEBORAH                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
LAURY, CAROLINE                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
LAUTERBACH, CATHERINE           MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
LAUVAS, TRUDY                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
LAUVER, NIKOLAJA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
LAUX-VANDEHEY, WENDY            WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
LAUZIERE, DIANE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAVALAIS, DOROTHY               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LAVANDERA, RAMONA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LAVECK, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAVEDER, LORRAINE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAVENA, VERA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAVENDER, AUDREY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAVENDER, KAREN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAVENDER, KAREN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAVENDER, KAREN                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LAVENDER, KAREN                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
LAVENDER, KAREN                 SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
LAVENHAR, CHELSEA               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LAVERDI, LYNN                   ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
LAVERGNE, LOUISE                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LAVERGNE, RUTH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAVERTY, NANCY                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LAVIGNA, MARY                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
LAVIGNA, MARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAVIGNA, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAVIGNA, MARY                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LAVIGNA, MARY                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
LAVIOLETTE, TERRI               NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
LAVOIE, KAREN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAVOIE, KAREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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                                             LTL Management LLC
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                                                        List
                                                            Entered 02/17/22 16:31:44           Desc Main
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Claim Name                             Address Information
LAVONNE SMITH                         BARON & BUDD, P.C. MANN, JONAS 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX
                                      75219
LAW OFFICE OF GRANT D. AMEY, LLC      PO BOX 67 FAIRHOPE AL 03653
LAW, DEBRA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAW, KAREN                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
LAW, NANCY                            ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LAWDIS, FRANCES                       ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                      77007
LAWHON, TEENA                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                      77098
LAWHON, TERESA                        DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                      ANTHONY ST. LOUIS MO 63102
LAWHON, TERESA                        LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LAWHON, TERESA                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                      ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LAWING, BARBARA                       ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                      ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
LAWLER, AMY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAWLER, BELINDA                       ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LAWLER, BELINDA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
LAWLER, CHEVELLE                      GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                      EDWARDSVILLE IL 62025
LAWLESS, KIMBERLY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAWLEY, PATRICIA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAWLOR, ELIZABETH                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                      EDWARDSVILLE IL 62025
LAWRENCE, ALICIA                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LAWRENCE, ALICIA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
LAWRENCE, BARBARA                     NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                      BERMAN, W. STEVE GREAT RIVER NY 11739
LAWRENCE, BETSY                       LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                      SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
LAWRENCE, BETTY                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                      EMILY FAIRFAX VA 22031
LAWRENCE, BETTY                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
LAWRENCE, CHRISTINE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                      77098
LAWRENCE, DEBBIE                      BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                      ROBERT BRENT LOS ANGELES CA 90024
LAWRENCE, DEBORAH                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
LAWRENCE, ELLEN                       LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LAWRENCE, ELLEN                       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                      ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LAWRENCE, JANICE                      MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                      ORLEANS LA 70130
LAWRENCE, JOSHALYN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
LAWRENCE, JUNE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAWRENCE, KAREN                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
LAWRENCE, KATHLEEN              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAWRENCE, LISA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAWRENCE, MARTHA                BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
LAWRENCE, PATRICIA              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LAWRENCE, PATRICIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAWRENCE, PATRICIA              THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
LAWRENCE, PAULA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAWRENCE, SALLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAWRENCE, SAMANTHA              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LAWRENCE, SANDRA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAWRENCE, SANDRA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LAWRENCE, SHELLKILA             LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
LAWRENCE, SUSAN                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
LAWRENCE, SYLVIA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
LAWS, CHERLYN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAWS, FLORENCE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAWS, JESSICA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAWSHE, VALERIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAWSON, CRYSTAL                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LAWSON, DONNA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LAWSON, DONNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAWSON, DONNA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LAWSON, DONNA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LAWSON, ETHEL                   SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
LAWSON, JENNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAWSON, JENNIFER                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAWSON, JULIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LAWSON, KANDACE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
LAWSON, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAWSON, LOIS                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LAWSON, LOIS                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LAWSON, PAMELA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LAWSON, PAMELA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                         Address Information
LAWSON, SUSAN                     KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
LAWTON, CONNIE                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                  BOUNDAS, JOHN T. HOUSTON TX 77017
LAWTON, RONNI                     JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
LAWTON-MINETTI, SHARON            FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LAX, CECELIA                      DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                  63102
LAX, NETTIE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAY, MELVINA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAY, TAMMY                        NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                  11747
LAY, TERESA                       MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                  11050
LAYLAND, VANESSA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
LAYMAN, CYNTHIA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                  ORANGE VA 22960
LAYMAN, CYNTHIA                   HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                  46290
LAYMAN, JUDITH                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                  14202-3725
LAYMAN, LINDA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
LAYMAN, PATRICIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAYNE, STEPHANIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAYPO, LINDA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAYTON, BRENDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
LAYTON, GEORGIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAYTON, LINDA                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                  EMILY FAIRFAX VA 22031
LAYTON, MONICA                    HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                  63101
LAZAR, WENDY                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                  77007
LAZARE, DEBRA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
LAZARO, MARTHA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
LAZARUS, ROBIN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
LAZENBY, LILLIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAZETTE, DIANNE AND LAZETTE,      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
CHRISTOPHER                       HILL NJ 08002
LAZIK, GERALDINE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAZO, MARIA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAZZARA, ELIZABETH                WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                  NJ 08002
LAZZARA, FRANCES                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
LAZZARINO, GINA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LAZZARINO, GINA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231



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Claim Name                       Address Information
LE AITKEN, FRANKIE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LE BLANC, TRINNITY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LE DOYEN, CECILIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LE DOYEN, CECILIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LE DOYEN, CECILIA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LE DOYEN, CECILIA               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LEA, LETHA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEACH, ALICIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEACH, ANN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEACH, EVELYN                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
LEACH, GLORIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEACH, JO ELLEN                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
LEACH, SANDRA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
LEACH, SANDRA                   THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
LEACH, SUSAN                    CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
LEACH, TERESA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEACH-JAYROE, ANGELA            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEADLEY, MARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEADLEY, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEADLEY, MARY                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LEADLEY, MARY                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
LEAHY, BRIDGET                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEAHY, LINDA                    POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                LECKMAN, T. MATTHEW CONSHOHOCKEN PA 19428
LEAKE, SHARON                   BEASLEY ALLEN CROW METHVIN PORTIS &MILES JAMES, LAUREN A. 218 COMMERCE STREET
                                MONTGOMERY AL 36104
LEAMAN, THURMA                  BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
LEAMER, BETH                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
LEANN DECK                      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
LEANNA LAMBERT                  DAVIS, BETHUNE & JONES, L.L.C. DAVIS, GRANT L. 1100 MAIN STREET, SUITE 2930
                                KANSAS CITY MO 64196
LEAR, ANGIE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEARCH, CYNTHIA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LEARCH, CYNTHIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEARED, TAMMRA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN



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Claim Name                       Address Information
LEARED, TAMMRA                  STREET, SUITE PENSACOLA FL 32502
LEARY, JANINE                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LEARY, JANINE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEARY, SHANNA                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
LEARY, SHANNA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LEARY, SHANNA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LEAS, CATHLEEN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEASE, JANET                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
LEASE, JANET                    LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
LEASE, JANET                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LEASE, JANET                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
LEASE, JANET                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LEATH, GAYNELL                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
LEATH, KAREN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEATHERMAN, MARY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEATHERS, ANITA                 ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                WASHINGTON DC 20006
LEATHERS, ANITA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
LEATHERS, ELAINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEATHERWOOD, FONTAINE           ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LEAVELLE, LINDA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LEAVER, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEBARON, ALEENE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEBBERT-HERLEN, STACEY          DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
LEBEAU, ROSEMARY                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
LEBEAU-KEEN, ROSE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEBER, JUNE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEBLANC, ANGIE                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LEBLANC, DEBORAH                HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
LEBLANC, DIANA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LEBLANC, GERTRUDE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEBLANC, STEPHANIE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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                                       LTL Management LLC
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Claim Name                       Address Information
LEBOEUF, PENNY                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LEBOEUF, TAIRA                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
LEBOUEF, ELOISE                 THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
LEBOUEF, NANCY                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
LEBOUEF, NANCY                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LEBOUEF, NANCY                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LEBRON, INGRID                  MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
LECATES, VICKI                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LECHNER, ELEANOR                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LECHNER, ELEANOR                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LECHUGA, MYRNA                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
LECK, JEAN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LECKEY, PATSY                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
LECKY, BARBARA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
LECKY, BARBARA                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
LECLAIR, KIMBERLY               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
LECLERC, TAMMY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LECLERCQ, SHIRLEY               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LECOMPTE-CHRISTHILF, DONNA      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LECONCE, LISA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEDAY, JENNIFER                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LEDBETTER, CAROLYN              THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
LEDBETTER, JEANNETTE            ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                WASHINGTON DC 20006
LEDBETTER, JEANNETTE            BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
LEDBETTER, KATHLEEN             GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
LEDBETTER, MELINDA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEDBETTER, MELINDA              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LEDBETTER, MELINDA              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LEDELL, SUSAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEDER, CATHLEEN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEDER, CHRISTINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                         Address Information
LEDERMANN, TRACY                  SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
LEDESMA, DIANA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
LEDESMA, JEANNETT                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
LEDESMA, SONIA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                  ORANGE VA 02296
LEDFORD, DOROTHY                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                  63102
LEDFORD, FRANCES                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                  EMILY FAIRFAX VA 22031
LEDFORD, FRANCES                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
LEDFORD, JANICE                   FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
LEDFORD, JOSEPHINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEDRIDGE, ROBIN                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                  ANTHONY ST. LOUIS MO 63102
LEDRIDGE, ROBIN                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LEDRIDGE, ROBIN                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                  ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LEE, ADA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEE, AMY                          FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD RAGGIO, JOHN LUFF, DALLAS TX 75231
LEE, ANNIE                        KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
LEE, ASHLEY                       WEITZ & LUXENBERG RELKIN, ELLEN & SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE
                                  210 CHERRY HILL NJ 08002
LEE, BETSY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
LEE, BETTY                        DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
LEE, BEVERLY                      GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                  MINNEAPOLIS MN 55402
LEE, CALLISTA                     MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                  ORLEANS LA 70130
LEE, CAROLINE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
LEE, CATHY                        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
LEE, CHASITY                      GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                  PA 19102
LEE, CHRISTINA AND LEE, TED       WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                  HILL NJ 08002
LEE, CYNTHIA                      MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
LEE, DANIELLE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
LEE, DARLENE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEE, DEBORAH                      ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                  LOUIS MO 63119
LEE, DEBORAH                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
LEE, DEBORAH                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LEE, DESIDELLA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                  EMILY FAIRFAX VA 22031
LEE, DESIDELLA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
LEE, DIANA                        MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701



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                                          LTL Management LLC
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Claim Name                          Address Information
LEE, DIANE                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
LEE, DONA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LEE, DOREEN                        CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
LEE, ELISE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LEE, GEORGE                        WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
LEE, GLORIA                        MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
LEE, GLORIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEE, GLORIA                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
LEE, GWENDOLLYN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
LEE, HELLENA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LEE, HELLENA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEE, HELLENA                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LEE, HELLENA                       PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
LEE, INEZ                          WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
LEE, JENNIFER                      DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                   ANTHONY ST. LOUIS MO 63102
LEE, JENNIFER                      LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                   MANHATTAN BEACH CA 90266
LEE, JENNIFER                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LEE, JENNIFER                      ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                   & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
LEE, JENNIFER                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LEE, JILL                          ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
LEE, JUDY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEE, JUDY                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LEE, JUDY                          PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LEE, KIMBERLY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEE, LAURA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEE, LESLIE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEE, LINDA                         WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
LEE, LOU                           MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
LEE, MARTHA                        COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                   JONATHAN A. INDIANAPOLIS IN 46204
LEE, MARY                          ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LEE, MARY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LEE, MATILDA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LEE, MAY                           WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
LEE, MELINDA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEE, MELISSA                       SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002


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Claim Name                         Address Information
LEE, NATALIE                      BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                  70130
LEE, PATRICIA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEE, PEGGY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEE, RAMELLE                      WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                  DALLAS TX 75219
LEE, REBECCA                      GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                  PA 19102
LEE, RHONDA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEE, SARAH                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                  EMILY FAIRFAX VA 22031
LEE, SUE                          CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                  14202-3725
LEE, TAMERA                       ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                  77007
LEE, VERONICA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEE, YOLANDA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
LEE-DARKO, CHRISTINA              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                  EMILY FAIRFAX VA 22031
LEE-DARKO, CHRISTINA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
LEEBERN, SHANNON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEEDY, MARY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEEN, ELIZABETH                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
LEEN, LEAH                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
LEES, SHARON                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                  EMILY FAIRFAX VA 22031
LEFEVERE, CARRIE                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                  EVAN D. EDWARDSVILLE IL 62025
LEFLORE, DIANNE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
LEFTWICH, AUTUMN                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
LEGAY, LINDA                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                  EMILY FAIRFAX VA 22031
LEGAY, LINDA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
LEGENDRE, SUSAN                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                  EMILY FAIRFAX VA 22031
LEGENDRE, SUSAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
LEGER, GAIL                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEGGANS, POLLY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEGGET, LACHARRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEGGETT, JO ANN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
LEGGETT, LAURA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEGGETT, VICKI                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
LEGGIERE, LEILA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
LEGLER, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEGLER, PATRICIA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LEGLER, PATRICIA                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LEGOFF, MAUREEN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEGRAND, MARGARET               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEHMAN, HELEN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEHMAN, KAY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEHMAN, KELLY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEHMAN, LUZ                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEHMAN, SHANNON                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEHMANN, BETTY                  GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
LEHMANN, LOIS                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEHN, ELLISSA                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
LEHN, ELLISSA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEHN, ELLISSA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LEHN, ELLISSA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LEHNHOFF-MCCRAY, ROBIN          DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
LEHNHOFF-MCCRAY, ROBIN          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LEHNHOFF-MCCRAY, ROBIN          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LEHR, PAMELA                    SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
LEICHLITER, CHRISTINE           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEIER, KATHLEEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEIGH, JANIS                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEIGH, NELLY                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
LEIGH, RACHEL                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEIGHTON, TAMMY                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LEIKNESS, AMY                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LEIKNESS, AMY                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LEINEN, MARY                    CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
LEIRER, GAYLE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEISCHNER, SHERRI               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LEISURE, EVA                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LEISURE, EVA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LEITNER, JENNIFER               THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
LEITZMAN, VERNA                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017


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                                       LTL Management LLC
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Claim Name                       Address Information
LEJARDE, ROSARITA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEJEUNE, LANORA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEMANOWICH, THERESA             WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
LEMASTER, CHRISTY               POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
LEMASTER, DEBORAH               SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
LEMASTER, TERRI                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEMELIN, CATHY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEMELLE, CONNIE                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
LEMELLE, KATHY                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LEMIEUX, PATRICIA               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
LEMIRE, ANGELA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
LEMIRE, NANCY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEMKE, JANE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEMMONS, JANICE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEMON, GABRIELLE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEMON, SUSAN                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
LEMONS, BOBBIE                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
LEMONS, CYNTHIA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LEMOTTE, KATHLEEN               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
LEMOX, ANGELA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEMUS, LETICIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LENK, SYLVIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LENNON, LINDA                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
LENON, DARLA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
LENORT, SUSAN                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
LENS, AURELIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LENT, JILL                      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LENTINE, PATRICIA               WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
LENTINE, ROSEMARY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LENTZ, BEVERLY                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
LENZE KAMERRER MOSS, PLC        J LENZE, J MOSS, L KAMERRER,A MCGEE 1300 HIGHLAND AVE, SUITE 207 MANHATTAN
                                BEACH CA 90266
LENZE LAWYERS, PLC              JENNIFER A LENZE, AMANDA D MCGEE 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH
                                CA 90266
LEO, JENNIFER                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,



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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
LEO, JENNIFER                   ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
LEON, GUADALUPE                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
LEON, KARA                      THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
LEON, KELLY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEON-TABOADA, MIGDALIA          DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
LEONARD, BARBARA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEONARD, JACKIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEONARD, JAMES                  NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
LEONARD, LATANYA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEONARD, LATANYA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LEONARD, LAUREN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEONARD, LINDA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
LEONARD, LINDA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LEONARD, MARIE                  WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
LEONARD, MARIE                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
LEONARD, SHARONETTE             LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
LEONARDI, RANDI                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
LEONBERGER, DEBORAH             JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
LEONE, ROSEMARY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEOPARD, RITA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEPE, MARGARITA                 HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
LEPIN, LINDSEY                  LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
LEPKOWSKI, LINDA                LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
LEPORE, GALE                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
LEPORIS, TERESA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEPPER, TAMMY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEPPIG, MARY                    MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
LERMA, REBECCA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
LERMA, SANDRA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LERNER, ELISE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEROY, MARLENE                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
LEROY, MARLENE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098



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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
LESAGE, LINDA                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
LESCAILLE, MERCEDES             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LESEBERG, LUCINDA               DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
LESHER, LISA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LESHINE, MARTHA                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
LESKO, MARGARET                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
LESLEY, NATARSHA                WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
LESLIE HARF                     MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
LESLIE WARNER                   BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                COMMERCE STREET MONTGOMERY AL 36104
LESLIE, AMANDA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
LESLIE, CAROLYN                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
LESLIE, DENISE                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
LESLIE, ETHER                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
LESLIE, KATHERINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LESLIE, KATRINA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LESMEISTER, JEAN                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LESNIAK, JANE                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LESNIAK, JANE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LESTER, ADIA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LESTER, ANITA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LESTER, ANITA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LESTER, ANITA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LESTER, BRENDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LESTER, DEBORAH                 REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                BINSTOCK, ROBERT J. HOUSTON TX 77027
LESTER, DEBRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LESTER, ELLEN                   BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
LESTER, JEWELL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LESTER, LORRAINE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LESTER, NANCY                   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
LESTER, PATRYCE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LESTER, RENEE                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LESTER, SHERRY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LESTER, TAMMY                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102



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Claim Name                                Address Information
LESTER, TAMMY                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LESTER, TAMMY                            LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LESTER, TAMMY                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LESURE, GLORIA                           CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                         14202-3725
LETHCOE, AUDRA                           ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
LETHCOE, AUDRA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
LETKE, PAULA                             CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                         14202-3725
LETO, PATSY                              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LETT, AMBER                              ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                         LOUIS MO 63119
LETT, KATHERINE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
LETTIRE, MICHELE                         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LETTIRE, MICHELE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
LETTMAN, BARBARA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
LEU, CORY                                NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                         PR 00918
LEVAN, MYRNA                             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
LEVANDO, VERA                            WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                         BOUNDAS, JOHN T. HOUSTON TX 77017
LEVARI, KATHLEEN                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
LEVARIO, DONNA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
LEVAY, TERI                              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
LEVENBURG, PATRICIA                      MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                         TAMPA FL 33602
LEVENSON, DEBORAH                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEVENTIS, CATHERINE                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LEVEQUE, BARBARA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEVERCOM, VALERIE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEVERETT, ANN                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
LEVERING, LAURA                          ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LEVERING, LAURA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
LEVERING, LAURA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEVI, JONIE                              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEVIN SIMES LLP                          1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA 94111
LEVIN, LOIS                              KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
LEVIN, PAPANTONIO,THOMAS,MITCHELL &      PROCTOR, P.A. 316 SOUTH BAYLEN ST., SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL
                                         32502
LEVINE, ANDREA                           SALTZ, MONGELUZZI & BENDESKY, P.C. C/O LAWRENCE R. COHAN ONE LIBERTY PLACE



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Claim Name                          Address Information
LEVINE, ANDREA                     1650 MARKET ST 52ND FL PHILADELPHIA PA 19103
LEVINE, ANNE                       DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
LEVINE, SALLY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LEVINS-COMER, AULANA               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
LEVOYER, LISA                      WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
LEVULIS, LORREE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LEVY KONIGSBERG LLP                C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP NJ 08648
LEVY, BEAULAH                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LEVY, CAROL                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEVY, DOROTHY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEVY, GERALD                       WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                   HILL NJ 08002
LEVY, INA                          NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                   11747
LEVY, JEARLEAN                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
LEVY, MIRIAM                       DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
LEVY, SHEILA                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
LEVY, SHEILA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LEW, BARBARA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWALLEN, MACHELLE                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LEWANDOWSKI, DEBORAH               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
LEWANDOWSKI, DEBORAH               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
LEWANDOWSKI, LOUISE                MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
LEWIN, COLLEEN                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LEWINSKI, BARBARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWIS, ANDREA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWIS, ANGELA                      ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                   ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
LEWIS, ANN                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWIS, ANN                         BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                   70130
LEWIS, ANN                         BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                   75202
LEWIS, ANNETTE                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
LEWIS, ANNIE                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
LEWIS, ANNIE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LEWIS, BARBARA                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
LEWIS, BARBARA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
LEWIS, BARBARA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
LEWIS, BERLENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWIS, BETTY                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
LEWIS, BONNIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWIS, BRENDA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LEWIS, BRIDGET                  JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
LEWIS, BRITTANY                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
LEWIS, CANDACE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                LAMPKIN II, JAMES W. MONTGOMERY AL 36104
LEWIS, CANDACE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWIS, CANDACE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEWIS, CARLA                    SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
LEWIS, CARLESSA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWIS, CAROLE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWIS, CARRIE                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LEWIS, CARRIE                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LEWIS, CHANTEL                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEWIS, CHRISTIE                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
LEWIS, CINDI                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LEWIS, CINDY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEWIS, CRYSTAL                  COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
LEWIS, CRYSTAL                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LEWIS, CYNTHIA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LEWIS, CYNTHIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEWIS, CYNTHIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEWIS, DARNICE                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LEWIS, DARNICE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LEWIS, DEBRA                    DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
LEWIS, DIANA                    CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
LEWIS, DIANA                    BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
LEWIS, DIANE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEWIS, DINA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
LEWIS, DONNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWIS, DOROTHY                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
LEWIS, E.J.                     NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
LEWIS, EMILY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWIS, ERNA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWIS, FIFI                     BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
LEWIS, FRANKIE                  SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
LEWIS, FRANKIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEWIS, GAIL                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWIS, GINA                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
LEWIS, HANNA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEWIS, JACKIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEWIS, JACKIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWIS, JACKIE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LEWIS, JACKIE                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LEWIS, JANETTE                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
LEWIS, JANNIE                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
LEWIS, JEANETTE                 ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
LEWIS, JENNIFER                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
LEWIS, JONI                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEWIS, JOSEPHINE                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LEWIS, JOYCE                    MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
LEWIS, JULIA                    THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 DIMATTEO, DANIEL J.
                                MIAMI FL 33131
LEWIS, KAISE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEWIS, KAREN                    MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
LEWIS, KARYEN                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LEWIS, LAJOYA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWIS, LAKESIKA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEWIS, LAURA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEWIS, LAURA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWIS, LAURA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LEWIS, LAURA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157



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Claim Name                       Address Information
LEWIS, LAURA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LEWIS, LAURA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
LEWIS, LENA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWIS, LETICIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWIS, LILLIE                   THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
LEWIS, LINDA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEWIS, LISA                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
LEWIS, LISA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWIS, MARGARET                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LEWIS, MARGARET                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEWIS, MARIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEWIS, MARY                     SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
LEWIS, MARY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEWIS, MARY                     FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
LEWIS, MELISSA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LEWIS, MERICA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEWIS, MISSIE                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
LEWIS, MONICA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEWIS, MONIQUE                  JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
LEWIS, PAMELA                   COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
LEWIS, PATRICIA                 THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
LEWIS, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWIS, PEGGY                    MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
LEWIS, RAMONA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWIS, RENEE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEWIS, ROBERTA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LEWIS, SANDRA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEWIS, SAUNDRA                  THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
LEWIS, SHARON                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LEWIS, SHIRLEY                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
LEWIS, SUSAN                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
LEWIS, SUSAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
LEWIS, TAMMIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWIS, TAMMIE                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LEWIS, TERRI                    ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                WASHINGTON DC 20006
LEWIS, TERRI                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
LEWIS, TRACY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEWIS, URACHEL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWIS, VALERIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWIS, VIVIAN                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
LEWIS, VIVIAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEWIS, VIVIAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWIS, VIVIAN                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LEWIS, VIVIAN                   PORTER & MALOUF, PA P.O. BOX 12768 HARRIS, LAUREL LI GIVENS, JOHN T. JACKSON
                                MS 39236-2768
LEWIS, WENDY                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
LEWIS, WENDY                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LEWIS, WENDY                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LEWIS, YVETTE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LEWIS, YVETTE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LEWIS-GOMEZ, NANNELL            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEWIS-GOMEZ, NANNELL            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LEWIS-HORN, DEBORAH             NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
LEWIS-JONES, SONIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEYRER, MEREDITH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LEYVAS, LORETTA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LEZAMA, PHYLLIS                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LHOTA, JOYCE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LIANI, MARTHA                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
LIANZO, VICTORIA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LIBERSTON, CAREN                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
LIBERT, BARBARA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LIBMAN, MARJORIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LICH, MICHELLE                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
LICHENSTEIN, JANET              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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                                       LTL Management LLC
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Claim Name                       Address Information
LICHTENFELS, REBECCA            ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LICHTENFELS, REBECCA            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LICHTENWALNER, LORI             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LICHTIG, RITA                   KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
LICKTEIG, GWENDOLYN             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LICKTEIG, KATHLEEN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LICON, DORA                     MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
LIDDELL, MYRA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LIDDELL, SYLVIA                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
LIDDIL, RITA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LIDDIL, RITA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
LIDDIL, RITA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LIDDIL, RITA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LIDDIL, RITA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LIDDLE, MARYANN                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LIDYOFF, DIANE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LIEBEL, CATHRYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LIEBERMAN, ADRIENNE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LIEBERMAN, ASTRID               NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
LIEBERMAN, MARCIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LIECHTY, JOAN                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
LIENHART, STEPHANIE             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LIEURANCE, SHIRLEY              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LIEVANOS, MARIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LIEVANOS, MARIA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LIEVANOS, MARIA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LIGGETT, EVELYN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LIGGETT, EVELYN                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LIGGETT, MARY                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
LIGGETT, MARY                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
LIGGINS, TIANA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LIGHT, AMY                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
LIGHT, CHRISTINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LIGHT, ELAINE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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                                       LTL Management LLC
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Claim Name                       Address Information
LIGHT, ELAINE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LIGHT, ELAINE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LIGHT, ELAINE                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
LIGHT, JUDITH                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LIGHT, LINDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LIGHT, SHARON                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LIGHTCAP-MILLER, EILEEN         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LIGHTFOOT, DIANA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LIGHTSEY, DONA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LIGHTWINE, COLLEEN              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
LIGNEY, JANET                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
LIGNEY, JANET                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
LIGNEY, JANET                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LIGNEY, JANET                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LIGON, DEBORAH                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LIHANI, KAREN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LIKA, MEVLUDE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LILES, BRANDY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LILEY, JACQUELINE               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
LILL, EVANNE                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LILL, EVANNE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LILLARD, TANYA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LILLEOIEN, ANN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LILLIAM DELGUIDICE              ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
LILLIE BROWN                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
LILLIE, LAMEQUE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LILLIE, LAMEQUE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LILLIS, CONSTANCE               BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
LILLY, ANITA                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
LILLY, MICHELLE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LILLY, SHAUNDRA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LIM, ARWANI                     BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219



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Claim Name                          Address Information
LIMA, THERESA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
LIMING, JUDY                       ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
LIN, CHIN                          THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                   CHARLESTON WV 25301
LINARES, MAGDALENA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
LINCECUM, HELEN                    JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                   PAUL MN 55101
LINCOLN, KIMBERLY                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                   EDWARDSVILLE IL 62025
LINCOLN, LANA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
LIND, CINDY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LINDA CARNEY                       THE MILLER FIRM, LLC SHAH, TAYJES M. 108 RAILROAD AVE. ORANGE VA 22960
LINDA DUNLOP                       FLETCHER V. TRAMMELL TRAMMELL, FLETCHER V 3262 WESTEIMER, SUITE 423 HOUSTON TX
                                   77098
LINDA EASTBURG                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
LINDA FROMAN                       BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                   COMMERCE STREET MONTGOMERY AL 36104
LINDA LESMEISTER                   FLETCHER V. TRAMMELL TRAMMELL, FLETCHER V 3262 WESTEIMER, SUITE 423 HOUSTON TX
                                   77098
LINDA PERDOMO                      ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
LINDA STANLEY                      MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
LINDA WALKER                       ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
LINDAHL, CORAL                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LINDAHL, CORAL                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LINDAHL, VICKI                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LINDAHL, VICKI                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
LINDAHL, VICKI                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LINDAHL, VICKI                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LINDAHL, VICKI                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LINDBERG, CARMELA                  SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                   01153
LINDBERG, KATHRYN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LINDBLOM, LAURA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LINDE, ANA VANDE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LINDELL, SUELLA                    GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
LINDEMAN, JOANN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
LINDER, JEANETTE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
LINDGREN, HEATHER                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
LINDGREN, KELLY                 MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
LINDNER, DOLORES                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LINDQUIST, SUZANNE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LINDQUIST, SUZANNE              GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
LINDQUIST, SUZANNE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LINDQUIST, SUZANNE              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LINDQUIST, SUZANNE              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LINDSAY, BREEANN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LINDSAY, FLOSSIE                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LINDSAY, KATIE                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
LINDSAY, LARAYNE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LINDSEY, BRENDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LINDSEY, CHARLENE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
LINDSEY, DONNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LINDSEY, KATHY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LINDSEY, KIARA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LINDSEY, LILLIE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LINDSEY, LYDIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LINDSEY, MARIBEL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LINDSEY, MARTHA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LINDSEY, MARTHA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LINDSEY, MELINDA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LINDSEY, OLIF                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LINDSEY, THERESA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LINDSTROM, BARBARA              DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
LINDSTROM, MARIANNE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LINDTNER, DENISE                MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
LINDY, TAMMIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LINFIELD, BRENDA                POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
LINGARD, MARIA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
LINGEN, MARY                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LINGEN, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LINGNER, ONA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LINHORST, CAROL                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
LINHORST, CAROL                 NAPOLI SHKOLNIK, PLLC LOPALO, CHRISTOPHER R. 400 BROADHOLLOW, SUITE 305
                                MELVILLE NY 11747


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                                       LTL Management LLC
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Claim Name                       Address Information
LINICOMN, VERTENIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LINICOMN, VERTENIA              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LINICOMN, VERTENIA              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LINK, BEVERLEY                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LINK, GLENDA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LINN, GAIL                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LINN, KATHLEEN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LINNE, ALEXIS                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LINSCOMB, COURTNEY              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LINSEY, BRENDA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
LINSEY, BRENDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LINSEY, MARILYN                 THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
LINTON, JONI                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
LINTZ, WENDY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LINTZENICH, BARBARA             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
LINVILLE, TERESA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LIPCOMB, MADDONNA               GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
LIPCOMB, MADDONNA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LIPCOMB, MADDONNA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LIPCOMB, MADDONNA               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LIPDSKI, MAGDALENE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LIPFORD, BEATRICE               DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
LIPKE, GEORGIA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LIPMAN, CYNTHIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LIPMAN, CYNTHIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LIPMAN, CYNTHIA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LIPMAN, CYNTHIA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LIPPINCOTT, CHRISTINE           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LIPPOLT, LINDA                  MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
LIPPS, LINDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LIPPS, PEGGY                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
LIPSCOMB, MINNIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LIPSEY, CAROL                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296



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                                          LTL Management LLC
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                                                     List
                                                         Entered 02/17/22 16:31:44           Desc Main
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Claim Name                          Address Information
LIRANZO, EVELYN                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LISA AYERS-ZIEGLER                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
LISA GARCIA                        BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                   COMMERCE STREET MONTGOMERY AL 36104
LISA HOLIC                         JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                   PAUL MN 55101
LISA LOPEZ                         ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
LISA MILLS                         ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
LISA PIGNATIELLO                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                   PAUL MN 55101
LISA RASH                          ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
LISAK, BARBARA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
LISENBY, NITA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LISH, DENISE                       THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                   AZ 08501
LISKEY, SHERRI                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LISKEY, SHERRI                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LISLE, LORRAINE                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
LISLE, LORRAINE                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
LISS, VICKIE                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
LISSIMORE, ANTOINETTE              WEITZ & LUXENBERG RELKIN, E; SHARMA, B 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                   HILL NJ 08002
LISSIMORE, YOLANDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LISTENGART, JANIE                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
LISTER, BERTHA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LISTON, JUDITH                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
LISTON, MARY                       ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
LITSON, SARAH                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LITSON, SARAH                      GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
LITSON, SARAH                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LITSON, SARAH                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LITSON, SARAH                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LITTLE, AMY                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
LITTLE, BONNIE                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                   EDWARDSVILLE IL 62025
LITTLE, CYNTHIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LITTLE, DEBRA                      BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095


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Claim Name                       Address Information
LITTLE, DERVIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LITTLE, ERMA                    WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
LITTLE, GLORIA                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
LITTLE, JOSEPHINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LITTLE, JOYCE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
LITTLE, JUDY                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LITTLE, NELLIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LITTLE, PAMELA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LITTLE, VALISIA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LITTLE, VALISIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LITTLEBIRD, CHLORIS             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
LITTLEJOHN, STEPHANIE           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LITTLEJOHN, TRACY               FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
LITTLETON, CAROLYN              NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
LITTLETON, DEBRA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LITTLJOHN, BETTY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LITVIN, EILEEN                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILSON, MICHAEL A. BUFFALO NY
                                14202-3725
LIU, TANGELA                    MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
LIVAUDAIS, SHARON               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LIVAUDAIS, SHARON               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LIVAUDAIS, SHARON               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LIVAUDAIS, SHARON               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LIVELY, TERESA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LIVENGOOD, BETSY BELL           THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
LIVESAY, DEBRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LIVESEY, MARGARET               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LIVINGSTON, ARCOLA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LIVINGSTON, JANE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LIVINGSTON, JANE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LIVINGSTON, JULIA               LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
LIVINGSTON, KATHRYN             KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
LIVINGSTON, SANDRA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
LIVINGSTON, SANDRA              MEADOWS, TED G. MONTGOMERY AL 36104
LIVINGSTON, SANDRA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LIVINGSTON, SANDRA              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LIVINGSTON, SANDRA              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LIZAOLA, JOAN                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
LLANES, DEBRA                   BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
LLINAS, ROSEMARY                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
LLORIN, LENA                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
LLORIN, LENA                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LLORIN, LENA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LLOYD, BARBARA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LLOYD, BARBARA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LLOYD, JEAN                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
LLOYD, JEANNETTE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LLOYD, JOYCE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LLOYD, KELLEY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LLOYD, MARY                     KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
LLOYD, SHARON                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LLOYD, SHIRLEY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LLOYD-LEE, BELINDA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOBATO, CHRISTINE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
LOBDELL, KATHERINE              SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
LOBIANCO, DAWN                  THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
LOCICERO, ANNE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
LOCKARD, ELIZABETH              WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
LOCKARD, JOHNNA                 BEASLEY ALLEN CROW METHVIN PORTIS &MILES JAMES, LAUREN A. 218 COMMERCE STREET
                                MONTGOMERY AL 36104
LOCKE, ASHLEY                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
LOCKE, ASHLEY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOCKE, ASHLEY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOCKE, ASHLEY                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LOCKE, ASHLEY                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
LOCKE, DANIELLE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LOCKE, GLORIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOCKE, LINDA KLAUS              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOCKE, TAMMIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOCKETT, GLADYS                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
LOCKHART, BARBARA               NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
LOCKHART, BETSY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOCKHART, BRANDI                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOCKHART, NANCY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOCKLEAR, BERNICE               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
LOCKLEAR, GEROLDINE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOCKLEAR, ROSA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LOCKLEAR, VIRGINIA              GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
LOCKLIN, TERRIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOCKWOOD, CHRISTIE              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LOCKWOOD, SAMANTHA              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
LOCKWOOD, VICKIE                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
LODAHL, LISA                    TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
LODGE, LOTTIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LODHI, BEBEM                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LODOVICO, JUDITH                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LODOVICO, JUDITH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOE, TERRY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOE, TERRY                      GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
LOE, TERRY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOE, TERRY                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LOE, TERRY                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LOEHR, MICHELLE                 SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
LOFGREN, JENNIFER               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOFLAND, NICOLE                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LOFLIN, TINA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOFQUIST, KELLY                 MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
LOFTON, DENISE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LOFTON, DENISE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOFTON, ROBERTA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOFTON, VERONICA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOFTUS, ANGELA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LOFTUS, THERESE                 SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY



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Claim Name                           Address Information
LOFTUS, THERESE                     11530
LOGAN, BEVERLY                      NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                    11747
LOGAN, BRENDA                       BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                    70130
LOGAN, BRENDA                       BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                    75202
LOGAN, JESSIE                       FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LUFF, PATRICK - DALLAS TX 75231
LOGAN, MARILYN                      MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                    YORK NY 10017
LOGAN, MARTA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOGAN, PAULETTE                     BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                    75202
LOGAN, ROBERTA                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                    ORANGE VA 02296
LOGAN, SANDRA                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                    ORANGE VA 02296
LOGAN, SHUNTEKA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
LOGAN, WYNESTER                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                    EVAN D. EDWARDSVILLE IL 62025
LOGGAINS, TERESA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOGGIA, RAMONA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
LOGOZZO, SUSAN                      MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
LOGRASSO, CARMELA                   COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B.
                                    INDIANAPOLIS IN 46204
LOGRIPPO, MARIA                     WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                    NJ 08002
LOHR, DONNA                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                    EMILY FAIRFAX VA 22031
LOHR, DONNA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
LOHR, LAUREN                        NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                    11747
LOHR, PAMELA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOHR, SUSAN                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOHRENZE, PATTY                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                    BOUNDAS, JOHN T. HOUSTON TX 77017
LOISELLE, JAZMINE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                    ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
LOKER, NANCY                        SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
LOKEY, JAMES AND LOKEY, MARIAN      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                    HILL NJ 08002
LOLLAR, LAURAMAE                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                    77007
LOLLEY, JANET                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOLLIS, GLORIA                      DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                    ANTHONY ST. LOUIS MO 63102
LOLLIS, GLORIA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOLLIS, GLORIA                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LOLLIS, GLORIA                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE



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Claim Name                       Address Information
LOLLIS, GLORIA                  ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LOMACK, SUSANNAH                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LOMAS, MARYHELEN                KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
LOMAS, MARYHELEN                LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
LOMBARDI, BERNADETTE            FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LOMBARDI, JOAN                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LOMBARDI, JOAN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOMBARDI, KELLY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LOMBARDI, VALERIE               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
LOMBARDO, JEAN                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
LOMBARDO, KATRINA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOMBARDO, LOUISE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LOMBARDO, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOMBARI, KATHLEEN               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LOMELI, FRANCISCA               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
LOMELO, DEBORAH                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
LOMO, NAKESHIA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LON, BARBARA                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
LONDON, DIANE                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
LONG, ANTONIQUE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LONG, BARBARA                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
LONG, BARBARA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LONG, CARLA                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
LONG, CAROL                     DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
LONG, CAROLYN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LONG, CRYSTAL                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
LONG, DARLENE                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
LONG, DENISE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LONG, DIANE                     THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
LONG, DONNA                     WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
LONG, FRANCINA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LONG, GLENDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
LONG, GLORIA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
LONG, JAMIE                     CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
LONG, JAMIE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET ZINNS,
                                SHARON MONTGOMERY AL 36104
LONG, JAMIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LONG, JOANN                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LONG, LINDA                     MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
LONG, LINDA                     KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
LONG, LISA                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LONG, LISA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LONG, LOTTIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LONG, MARILYN                   PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
LONG, MARILYN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LONG, MARION                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
LONG, MARLYN                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LONG, NOBUKO                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
LONG, PAULA                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LONG, PAULA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LONG, RACHELLE                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
LONG, REBECCA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LONG, RUTH                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LONG, SANDRA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LONG, TRINDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LONG, VALERIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LONG, VIRGINIA                  MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
LONGANECKER, MARYLOU            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LONGBERRY, AUTUMN               POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
LONGENECKER, JOELLA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LONGFELLOW, ANNA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LONGLEY, LYNDA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LONGMIRE, LINDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LONGMIRE, LINDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LONGMIRE, LINDA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157



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Claim Name                              Address Information
LONGMIRE, LINDA                         PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LONGMIRE, STEPHANIE                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                        77098
LONGO, BERNICE                          NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                        11747
LONGO, VICTORIA                         GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
LONGOBARDI, ROSA                        GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                        EDWARDSVILLE IL 62025
LONGORIA, ALIMA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LONGORIA, JACKIE AND LONGORIA, DANIEL   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
LONIE, ALICIA                           DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                        63102
LONIGRO, LYNNE                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
LOO-LEW, CAROLINE                       MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
LOO-LEW, CAROLINE                       KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
LOOKINGBILL, FRANCES                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
LOOKINGBILL, FRANCES                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOOKINGBILL, FRANCES                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LOOKINGBILL, FRANCES                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LOOMIS, DIANNE                          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                        ROBERT BRENT LOS ANGELES CA 90024
LOOMIS, SONIA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOONEY, MAUREEN                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOOPER, DEBRA                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                        STREET, SUITE PENSACOLA FL 32502
LOPA, ROSANNE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOPATKA, VICTORIA                       REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J EPHRON,
                                        MELISSA HOUSTON TX 77027
LOPATO, ALEA                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                        ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
LOPER, TAMARA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
LOPEZ, ADELITA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
LOPEZ, ALMA                             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
LOPEZ, AMANDA                           THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
LOPEZ, AMELIA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOPEZ, AMY                              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                        ORANGE VA 02296
LOPEZ, ARCANGELA                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
LOPEZ, ARCANGELA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
LOPEZ, BARBARA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
LOPEZ, BARBARA                          GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                        MINNEAPOLIS MN 55402
LOPEZ, BARBARA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
LOPEZ, BARBARA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LOPEZ, BARBARA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LOPEZ, BERNADETTE               BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
LOPEZ, CAROL                    SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
LOPEZ, CAROLINA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOPEZ, CHRISTINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOPEZ, DARLENE                  KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
LOPEZ, DARLENE                  LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
LOPEZ, ELISA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
LOPEZ, EVA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LOPEZ, FLORA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOPEZ, GAYLE                    WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
LOPEZ, GRETA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOPEZ, IRENE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LOPEZ, JANE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LOPEZ, JANET                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LOPEZ, JENNIFER                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LOPEZ, JENNIFER                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOPEZ, JOSEFINA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LOPEZ, KATHRYN                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LOPEZ, KIMBERLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOPEZ, KRIS                     DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
LOPEZ, LAURA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LOPEZ, LOURDES                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOPEZ, MARGARET                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOPEZ, MARGEAUX                 MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
LOPEZ, MARIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOPEZ, MARIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOPEZ, MARIA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LOPEZ, MARIA                    PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
LOPEZ, MARITZA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOPEZ, MARTA                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
LOPEZ, MELISSA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOPEZ, MILAGROS                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LOPEZ, MILAGROS                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
LOPEZ, NATASHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOPEZ, RITA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231

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                                             LTL Management LLC
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Claim Name                             Address Information
LOPEZ, ROSA                           KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
LOPEZ, ROSIE                          THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
LOPEZ, SARA                           THE MILLER FIRM, LLC SHAH, TAYJES M. 108 RAILROAD AVE. ORANGE VA 22960
LOPEZ, SUSAN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOPEZ, SYLVIA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOPEZ, SYLVIA                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                      77098
LOPEZ, VANESSA                        LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                      SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
LOPEZ-LUCERO, MARTHA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LOPEZ-MONGUIA, SONIA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                      EMILY FAIRFAX VA 22031
LOPEZ-MONGUIA, SONIA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                      ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
LOPEZ-REY, SELENA                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                      ANTHONY ST. LOUIS MO 63102
LOPEZ-REY, SELENA                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LOPEZ-REY, SELENA                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                      ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LOPEZ-RODRIGUEZ, ELIZABETH            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
LOPEZ-RODRIGUEZ, ELIZABETH            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOPEZ-RODRIGUEZ, ELIZABETH            THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LOPEZ-RODRIGUEZ, ELIZABETH            PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LOPOSKY, LINDA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
LOQUIST, JANE                         TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                      62025
LOR, SONIA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LORBER, LINDA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
LORD, CHRISTINE AND LORD, EDWARD      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                      NJ 08648
LORD, CYNTHIA                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LORD, DEBORAH                         SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                      07102-4573
LORD, JAYNE                           GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                      EDWARDSVILLE IL 62025
LORD, SHIRLEY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOREDO, RHONDA                        WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                      BOUNDAS, JOHN T. HOUSTON TX 77017
LORENA GALLOW                         BARON & BUDD, P.C. MANN, JONAS 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX
                                      75219
LORENTZ, CHERYLL                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
LORENZ, CATHY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LORETH, JULIANNE                      LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                      94111
LORETTA BOOLUKOS                      JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                      PAUL MN 55101
LORI BROWN                            DAVIS, BETHUNE & JONES, L.L.C. DAVIS, GRANT L. 1100 MAIN STREET, SUITE 2930
                                      KANSAS CITY MO 64196



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Claim Name                       Address Information
LORI GUZIKOWSKI                 MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
LORI ZEOLI                      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC PUTNICK, MARY ELIZABETH 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
LOS, ROBIN                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LOSCHIAVO, DOROTHY              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
LOSE, STACY                     BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
LOSER, TONI                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LOSEY, HEATHER                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LOSEY, HEATHER                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOSI, SANDRA                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
LOSOYA, EDNA                    MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
LOSTOCCO, GERALDINE             GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
LOSTROH, CONNIE                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
LOSURE, RHONDA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
LOTHIAN, LINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOTT, MARCY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LOTT, ROBIN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOUDERBOUGH, ROSAL              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOUDERMILK, ETHEL               NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
LOUDERMILK, LINDA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOUDON, PATRICIA                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
LOUDON, PATRICIA                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
LOUGH, MARILYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOUGHLIN, KELLY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOUGHRAN, MAUREEN               TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
LOUGHRAN, REGINA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOUGHREY, BARBARA               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
LOUHISDON, PATRICIA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOUIS, JENELL                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LOUPE, ELSIE                    MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
LOUQUE, SHEILA                  WEITZ & LUXENBERG RELKIN, E; SHARMA, B 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
LOUT, CYNTHIA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098


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Claim Name                       Address Information
LOUTHAN, BEVERLY                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
LOUVIERE, MARIE                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LOUVIERE, TERRI                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOVATO, MARY                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LOVE, APRIL                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOVE, BRANDY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOVE, CHERYL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOVE, CLAIRE                    JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
LOVE, DIXIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOVE, JOELANE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
LOVE, LOLA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOVE, LOLA                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LOVE, LOLA                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LOVE, NANCY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOVE, REBECCA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LOVE, RITA                      DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
LOVE, RITA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LOVE, RITA                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LOVE, RITA                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LOVE, SHAWNEL                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
LOVE, SHIRLEY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOVE, TARA                      KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
LOVE, TORY                      DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
LOVE, TORY                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LOVE, TORY                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LOVE-CAMPBELL, SANDRA           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOVE-HOWARD, GLINDA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOVEJOY, DIANE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOVEJOY, GAYLE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOVEJOY, VIRGINIA               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
LOVELACE, BARBARA               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LOVELACE, BARBARA               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LOVELACE, BARBARA               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LOVELADY, CYNDY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOVELADY, CYNDY                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
LOVELADY, CYNDY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
LOVELADY, CYNDY                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LOVELADY, CYNDY                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LOVELAND, NANCY                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
LOVELESS, TINA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LOVELESS, TINA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOVELL, LAURA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LOVELL, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOVELL, LINDA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LOVELL, LORI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOVELL, MARY                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LOVELL, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOVELL, SHIRLEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOVERN, PAMELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOVETT, EVELYN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LOVETT, EVELYN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOVETT-DURHAM, PATRICIA         CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
LOVETT-DURHAM, PATRICIA         BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
LOVIN, JENNIFER                 MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
LOVINCY, STEPHANIE              THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
LOVING, CAMISHA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOVITT, MAVIS                   LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                NICHOLAS LAKE CHARLES LA 07060
LOW, KATHERINE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LOW, KATHERINE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOW, RHONDA                     COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B.
                                INDIANAPOLIS IN 46204
LOWDER, BEVERLEY                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LOWDER, GEROLDINE               PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
LOWE, ADRIENNE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOWE, ADRIENNE                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LOWE, BARBARA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LOWE, CATHERINE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LOWE, CHERYL                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
LOWE, CHERYL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOWE, CHERYL                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157



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Claim Name                        Address Information
LOWE, CHERYL                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LOWE, DAWN                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
LOWE, DONNA                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                 ORANGE VA 02296
LOWE, GLORIA                     POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
LOWE, JAMES AND LOWE, LAURA      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                 HILL NJ 08002
LOWE, JENNIFER                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                 STREET, SUITE 200 PENSACOLA FL 32502
LOWE, KRISTINA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
LOWE, LORENA                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                 ORANGE VA 02296
LOWE, MARY                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LOWE, PAMELA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOWE, PATRICIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOWELL, DIMITY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOWELL, DIMITY                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LOWELL, DIMITY                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LOWELL, JACKIE                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                 STREET, SUITE PENSACOLA FL 32502
LOWENBERG, SUSAN                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LOWENBERG, SUSAN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
LOWERY, ALLISON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOWERY, ANGELA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOWERY, CASSANDRA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
LOWERY, CHRISTY                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                 ORANGE VA 02296
LOWERY, DONNA NUNLEY             MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                 KNOXVILLE TN 37929
LOWERY, ELEANOR                  CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                 GA 30009
LOWERY, ELEANOR                  BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                 30060
LOWERY, KAREN                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                 ORANGE VA 02296
LOWERY, KAREN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOWERY, KAREN                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                 77007
LOWERY, LINDA                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                 YORK NY 10017
LOWERY, NICOLE                   NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                 PR 00918
LOWMAN, DEBORAH                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
LOWMAN, JOANNE                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                 ANTHONY ST. LOUIS MO 63102
LOWMAN, JOANNE                   LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                 MANHATTAN BEACH CA 90266



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                                       LTL Management LLC
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                                                  List
                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
LOWMAN, JOANNE                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LOWMAN, JOANNE                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
LOWMAN, JOANNE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LOWMAN, PAMELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOWREY, BONNIE                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
LOWREY, KRISTY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LOWRY, DIANE                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LOWRY, HELEN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LOWRY, JESSIE                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
LOWRY, PAMELA                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
LOYD, CAROLINE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOYD, CAROLINE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LOYD, CAROLINE                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LOYD, JENNIFER                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LOZA, MARIA                     THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
LOZA, SANDRA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOZADO, PAULA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LOZANO, JANIE                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
LOZANO, ROSA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LOZANO, ROSA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LOZANO, ROSA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LOZANO, ROSA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LUALLIN, BETTY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LUAVASA, DIANNE                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LUBAS-SIRIANNI, ELIZABETH       CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
LUBBERS, CAROL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LUBCKE, JANICE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LUBIN, NOREEN                   PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
LUBINSKI, DONNA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUBKOWSKI, HENRIETTA            CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
LUBOFF, SUSAN                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
LUCANTONI, YVETTE               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725



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Claim Name                       Address Information
LUCAS, AMBER                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUCAS, BARBARA                  LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
LUCAS, CRESIA                   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
LUCAS, DIANNA                   SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
LUCAS, GERTIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LUCAS, JESSICA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LUCAS, JULIE                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
LUCAS, KARIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUCAS, LUCILE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LUCAS, MARGARET                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LUCAS, NORMA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LUCAS, NORMA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LUCAS, PATRICIA                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
LUCAS, REBECCA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LUCAS, SANDI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUCAS, VIRGINIA                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
LUCCI, DOREEN                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
LUCENTE, KIMBERLYN              SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
LUCERO, ANANI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LUCERO, CRYSTAL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUCERO, FRANCHESCA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUCERO, NATALIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUCERO, NICOLE                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LUCES, AIDA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LUCEY, PRISCILLA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LUCIA, MELISSA                  WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
LUCIANI, CARRIE                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
LUCIANI, CARRIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUCIANI, CARRIE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LUCIANI, CARRIE                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LUCIER, CLAUDIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUCINDA DROST                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101



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Claim Name                       Address Information
LUCIO, MIGDALIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LUCIOUS, OZELL                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
LUCIUS, JUANITA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUCKETT, LORETTA                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
LUCKEY, CARABETH                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
LUCKNER-BABASH, ANN             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LUCY JITE-OGBUEHI               LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
LUCY JITE-OGBUEHI               ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, & LUKEI, S
                                19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
LUDEKE, NAIDA                   FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD RAGGIO, JOHN LUFF, DALLAS TX 75231
LUDEMAN, MARCIA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
LUDINGTON, CHERYL               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUDWICK, KAREN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
LUDWICK, KAREN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LUDWIG, AMBER                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LUDWIG, BRENDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
LUDWIG, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LUDWIG, MELYNDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
LUE, BARBARA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
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LUECKE, JOAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUECKER, KATHERINE              LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
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LUEDEKE, NADIA                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
LUEDTKE, BARBARA                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LUEDTKE, BARBARA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LUERA, JOSIE                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
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LUERA, SANDRA                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
LUERA, SONIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUERSSEN, EDWINA                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
LUERSSEN, EDWINA                SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
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LUETTE, DAWN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
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                                77098


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Claim Name                          Address Information
LUFT, CAROL                        MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
LUGLI, CHRISTINE                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
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LUGO, MARISELA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
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LUJAN, NORMA                       DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
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                                   EDWARDSVILLE IL 62025
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LUKE, OSA                          ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LUKE, RUTH                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUKEN, CATHERINE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
LUKEN, CATHERINE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LUKER, SHIRLEY                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
LUKIC, JULIE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUM, DAVID                         LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                   NJ 08648
LUMAN, PATRICIA                    MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                   ARTHUR M. NEW ORLEANS OH 70130
LUMAS, TANASHISKA                  BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
LUMBRERA, JENNY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUMPKIN, MARY                      CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
LUMPP, NANCY                       FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
LUNA, ABBIE                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
LUNA, BELINDA                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LUNA, BELINDA                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LUNA, BISSOONDAI                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
LUNA, DAISY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUNA, JESSICA                      MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
LUNA, JOSIE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUNA, JUANA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
LUNA, MAGGIE                       GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
LUNA, MARY                         HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                   63101
LUNA, NAYDA                        SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                   19103
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LUNA, PATRICIA                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LUNA, PATRICIA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                               Address Information
LUNA, VICTORIA                          MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                        YORK NY 10017
LUND, DOLORES                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
LUND, ELEANOR                           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                        77098
LUND, JANE                              MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
LUND, JENNIE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUND, KARLA                             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
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LUND, LAUREL                            BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
LUNDBERG, REBECCA                       COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B.
                                        INDIANAPOLIS IN 46204
LUNDE, BARBARA                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                        77098
LUNDON, KATHLEEN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUNDQUIST, KRISTINE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUNDY, LUNDY, SOILEAU & SOUTH, LLP      501 BROAD STREET KOHRS, HIGHTOWER, LUNDY, LAKE CHARLES LA 07060
LUNN, DIANE                             NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                        11747
LUNN, ELLEN                             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
LUNN, ELLEN                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
LUNN, SUSAN                             DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
LUPE MATA                               LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
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LUPE MATA                               ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, & LUKEI, S
                                        19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
LUPE, LAVINIA                           DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
LURTY, DEBORAH                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
LUSARDI, MADELINE                       POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
LUSBY, PAULA                            ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
LUSBY, PAULA                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
LUSK, PAMELA                            THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                        ORANGE VA 02296
LUSTER, JO ELLEN                        CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                        CHICAGO IL 60602
LUTE, BROOKE                            ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                        LOUIS MO 63119
LUTHER, CAROL                           ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
LUTHER, FRANKIE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUTHER, LINDA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
LUTHER, LISA                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                        ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
LUTJENS, DENISE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUTON, REBECCA                          BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                        CA 92660



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                                                         Entered 02/17/22 16:31:44           Desc Main
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Claim Name                          Address Information
LUTON, SALLIE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUTRINGER, LANA                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
LUTTRELL, JESSICA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUTTRELL, SENA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
LUTTRELL, TA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUTZ, CHRISTENE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUTZ, CHRISTENE                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
LUTZ, CHRISTENE                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
LUTZ, EMMA                         THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
LUTZ, KATHLEEN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LUTZ, KELLY                        GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                   EVAN D. EDWARDSVILLE IL 62025
LUTZ, PATRICIA                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
LUTZ, SHANNON                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LUYE, RITA                         POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
LY, KAREN                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LYDAY, ERIKA                       ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
LYDEN, SHARYN                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
LYDIA TORRES                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                   STREET, SUITE 200 PENSACOLA FL 32502
LYERLA, KATHY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LYERLA, KATHY                      LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, STEPHENSON, W. CAMERON 316
                                   SOUTH BAYLEN ST., SUITE 400 PENSACOLA FL 32502
LYFORD, LESLIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LYLE, DORRAINE                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
LYLE, KATHERINE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LYLES, APRIL                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LYLES, BARBARA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LYLES, BRENDA                      DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102
LYLES, DORIS                       CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
LYLES, GERALDINE                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
LYMAN, LINDA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
LYMAN, NANCY                       CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                   CHICAGO IL 60602
LYN, HEATHER                       FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
LYNCH, BARBARA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LYNCH, CHERNICIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LYNCH, CHRISTINA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LYNCH, ELEANOR                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                          Address Information
LYNCH, ELEANOR                     MEADOWS, TED G. MONTGOMERY AL 36104
LYNCH, JENNIFER                    SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
LYNCH, JENNIFER                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LYNCH, JUDITH                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LYNCH, KATHLEEN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LYNCH, LADONNA                     KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
LYNCH, LINDA                       WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
LYNCH, LINDA                       LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
LYNCH, LINDA                       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
LYNCH, MAMIE                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
LYNCH, SAUNDRA                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
LYNCH, TINA                        BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                   75202
LYNCH, VANESSA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LYNCH, WHITNEY                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
LYNCH-BRADSHER, KAYE               GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                   EDWARDSVILLE IL 62025
LYND, DIANE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LYNN DONAGHY                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                   STREET, SUITE 200 PENSACOLA FL 32502
LYNN KERIAZAKOS                    MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
LYNN, BETTYE                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
LYNN, ELOISE                       HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                   CHRISTOPHER CORPUS CHIRSTI TX 07837
LYNN, JANNIE                       GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
LYNN, JUDY                         MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                   KNOXVILLE TN 37929
LYNN, KAREN                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
LYNN, KAY                          WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
LYNN, SANDY                        FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
LYNN, SUSAN                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
LYON, VICKIE                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
LYONS, ALICE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LYONS, ALTHEA                      MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
LYONS, ANNA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LYONS, BEVERLY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
LYONS, BLANCHIE                    FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231



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Claim Name                              Address Information
LYONS, CHERYL                           LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET KOHRS, NICHOLAS HIGHTOWER,
                                        KRISTIE LAKE CHARLES LA 07060
LYONS, DORIS                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
LYONS, JEANNE                           WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                        DALLAS TX 75219
LYONS, JESSICA                          ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
LYONS, LAMESHIA                         WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                        NJ 08002
LYONS, LINDA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LYONS, MARIE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
LYONS, OLIVIA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
LYONS, REGINA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
LYONS, ROBIN                            POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
LYONS, SHARON                           ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
LYONS-FAIRBANKS, JANET                  WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                        NJ 08002
LYSZCZAK, MARLENE                       GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
LYTCH, TANISHA                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
LYTLE, CYNTHIA                          MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
LYTLE, WANDA                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
M FABIAN, M BOTVINICK AND D BOTVINICK   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
M. BLACKMORE                            MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
MAASBERG, ANN                           WEITZ & LUXENBERG RELKIN, E; SHARMA, B 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
MAASS, KATHLEEN                         CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                        14202-3725
MABE, JANET                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MABILE, KATHY                           MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                        ORLEANS LA 70130
MABILE, NANCY                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
MABRY, MELISSA                          NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                        11747
MABRY, NAKEYAH                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
MABSON, LATAISHA                        DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                        63102
MACALUSO, DIANE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
MACAPULAY, SALLY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MACARTHUR, LYNN                         GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                        EDWARDSVILLE IL 62025
MACCIOLI, MARY                          GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                        PA 19102
MACCIOLI, MARY                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031


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Claim Name                       Address Information
MACDONALD, AMY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MACDONALD, AUDREY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MACDONALD, CAROLYN              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MACDONALD, CHRISTINA            HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
MACDONALD, EILEEN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MACDONALD, LAURA                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MACDONALD, MARY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MACDONALD, MARY                 FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LUFF, PATRICK - DALLAS TX 75231
MACDONALD, NANCY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MACDONALD, PAMELA               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MACDONALD, PAMELA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MACDOUGAL, SHERYL               DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MACE, AMANDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MACE, JANE                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MACERA, CHERYL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MACFARLAND, VICTORIA            WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
MACH, SUSAN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MACHADO, ASHLEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MACHADO, DONNA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MACHADO, KAREN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MACHANGO, MADELEINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MACHI, JOSEPHINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MACHIA, REGINA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
MACIAS, ELEONOR                 SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
MACIAS, FRANCIS                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
MACIAS, FRANKIE                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MACIAS, GLORIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MACIAS, MARIA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MACIAS, MARIA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
MACIAS, ROSALINDA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MACILHANEY, ELIZABETH           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MACINTYRE, REBECCA              DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MACK, ARMENTHA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MACK, BARBARA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MACK, BONNIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MACK, FELECIA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MACK, GALEN                     PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050



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Claim Name                       Address Information
MACK, JACQUELINE                MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
MACK, LINDA                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MACK, LINDA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MACK, LINSHASA                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
MACK, LYNDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MACK, NICOLINA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MACK, PATRICIA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MACK, PATRICIA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MACK, PATRICIA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MACK, QUEENA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MACK, SHIRLEY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MACK-GIBSON, AIMEE              NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MACK-MCCORMICK, DOROTHY         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MACKAY, VELICIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MACKENZIE, CYNTHIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MACKENZIE, CYNTHIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MACKENZIE, CYNTHIA              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MACKENZIE, MARGARET             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MACKERETH, ROBERTA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MACKERT, CYNTHIA                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
MACKEY, CORA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MACKEY, ELIZABETH ANN           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MACKEY, GERRI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MACKEY, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MACKEY, NINA                    POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
MACKEY, PEGGY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MACKEY, SHARON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MACKEY-JONES, BERTHA            MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
MACKIEWICZ, JUMIATI             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MACKIEWICZ, NANCY               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MACKIN, VIVIAN                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,


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                                         LTL Management LLC
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Claim Name                         Address Information
MACKIN, VIVIAN                    ROBERT BRENT LOS ANGELES CA 90024
MACKINAW, SANDRA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                  EMILY FAIRFAX VA 22031
MACKINAW, SANDRA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
MACKINNEY, HEIDI                  MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                  TAMPA FL 33602
MACKOUSE, SANDRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MACLENNAN, PRISCILLA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MACLEOND, RONDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
MACMINN, GERALDINE N. ET AL,      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                  HILL NJ 08002
MACMURPHY, CHRISTINA              POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                  BRASLOW, DEREK T CONSHOHOCKEN PA 19428
MACNAUGHTON, JOAN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MACO, JOYCE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
MACOMBER, NANCY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MACON, LUCRITIA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MACON, SHIRLEY                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MACON, SHIRLEY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
MACON, TCIAYA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                  77098
MACY, PAULA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MADAJ-BERGER, JUDITH              REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                  BINSTOCK, ROBERT J. HOUSTON TX 77027
MADDALENA, DIANA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                  14202-3725
MADDEN, BRENDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MADDEN, BRENDA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
MADDEN, CHARLOTTE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
MADDEN, DEBBIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MADDEN, DEBRA                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                  EVAN D. EDWARDSVILLE IL 62025
MADDEN, ELLA                      SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                  94104
MADDEN, KAREEN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MADDEN, KAREEN                    SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                  90401
MADDEN, LAURIE                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                  11747
MADDEN, LENA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MADDEN, MARY                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
MADDEN, PATRICIA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MADDEN, SUE                       DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MADDERN, SUSAN                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MADDOX, AMBER                     WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL


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Claim Name                       Address Information
MADDOX, AMBER                   NJ 08002
MADDOX, BARBARA                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
MADDOX, DEANA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
MADDOX, DOVIE                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MADDOX, JENNIFER                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MADDOX, JENNY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MADDOX, JENNY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MADDOX, KAREN                   PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
MADDREY, SHELINA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MADDUX, LORAIN                  MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
MADEWELL, MARGARET              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MADHO, RITA                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MADISON, ANN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MADISON, CAROL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MADISON, SHELIA                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
MADISON, SHIRLEY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MADISON, WILLIET                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MADISON, WILLIET                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MADISON, WILLIET                LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
MADISON, WILLIET                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MADISON, WILLIET                ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MADOLE, KAREN                   THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
MADONNA MCALEER                 JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
MADRAZO, TINA                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
MADRETZKE, MICHELLE             ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
MADRID, CLARA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MADRID, CLARA                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
MADRID, CLARA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MADRID, CLARA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MADRID, CLARA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MADRID, GEORGIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MADRID, GLORIA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
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Claim Name                       Address Information
MADRIGAL, BRIGIDA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MADRIGAL, JOSEPHINE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MADRIGAL, SYLVIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MADSEN, DORI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MADSEN, FRANCES                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MADSEN, JACQULYN                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MADSEN, SHARRON                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MAESTRI, BONNIE                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
MAFFEI, KAREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAFFETT, BARBARA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MAFFIN, KATHLEEN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MAGALLANES, DANA                THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
MAGANA, BARBARA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAGANA, GUADALUPE               KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
MAGANA, GUADALUPE               LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
MAGANA, GUADALUPE               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MAGAO, PAULA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MAGBAG, PRISCILLA               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MAGBAG, PRISCILLA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MAGEE, ANN                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MAGEE, JOYCE                    MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
MAGEE, MARIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAGEE, PATRICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MAGEE, PATRICIA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MAGEE, QUANDARIA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MAGER, JOAN                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MAGER, JOAN                     LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
MAGER, JOAN                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MAGER, JOAN                     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MAGER, JOAN                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MAGERA, BARBARA                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
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Claim Name                       Address Information
MAGG, ROBERTA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAGGARD, CAROL                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MAGGARD, HELEN                  THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
MAGGARD, JEANNETTE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAGGIORE, LORRAINE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MAGHIAR, NIKKI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAGID, JOYCE                    MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. MIGLIORI, DONALD A. MT. PLEASANT SC 29464
MAGILL, ANNE                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MAGLIOCHETTI, MICHELLE          GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MAGLONE, VERONICA               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MAGNANTI, PATRICIA              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MAGNUSON, LINDA                 HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
MAGRUDER, CAROL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAGUIRE, ANA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
MAGUIRE, SHARON                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
MAGUREAN, KATHLEEN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAHABIR, LILLIAN                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MAHAFFEY, LISHA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MAHALEY, RACHEL                 HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
MAHAN, JERRI                    JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
MAHAN, LANA                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MAHARAJ, GENA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MAHARG, DENISE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAHARG, DENISE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MAHARG, DENISE                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MAHARRY, CAROLYN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAHER, ALICE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MAHER, CINDY                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MAHER, CINDY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MAHER, ELIZABETH                SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
MAHER, LOUISE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAHER, MARY                     BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
MAHER-DRISCOLL, DIANE           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MAHINSKE, JANICE                SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501


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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
MAHLERT, DIANE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MAHN, SARA                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MAHOLICK, ELAINE                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MAHON, ELIZABETH                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
MAHONE, HARRIET                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
MAHONEY, CONSTANCE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAHONEY, JUDY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MAHONEY, JUDY                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MAHONEY, JUDY                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
MAHONEY, MAUREEN                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MAHONEY, SANDRA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MAHRA,, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAHTANI, SHOBA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAHUKA, TAMMYLEIGH              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MAIBACH, DAWN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MAIBACH, DAWN                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
MAIBACH, DAWN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAIBACH, DAWN                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MAIBACH, DAWN                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MAIDEN, CONNIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MAIDEN, RANDI                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MAIELI, CINDY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MAIER, AMANDA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MAIER, AMANDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MAIER, JOANNA                   MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
MAIKHAIL, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAIN, HOLLY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MAIN, RICHELLE                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MAINE, JENNIFER                 HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
MAINER, VERA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MAINES, JOAN                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031



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                                       LTL Management LLC
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Claim Name                       Address Information
MAINES, JOAN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MAINES, MELODY                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MAINORD, GLORIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MAINVILLE, BOBBY                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MAINVILLE, BOBBY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MAIOCCO, ALICE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MAISH, CARRIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAITLAND, ELOISE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MAITLAND, ELOISE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAITLAND, ELOISE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MAITLAND, ELOISE                PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
MAITLAND, ELOISE                SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
MAJCHER, BONNIE                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MAJCHER, DEBRA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MAJEED, NESHA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MAJEED, NESHA                   CELLINO & BARNES, P.C. GOLDSTEIN, BRIAN A. 2500 MAIN PLACE TOWER BUFFALO NY
                                14202-3725
MAJESKI, GEORGETTA              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MAJKO, KALEY                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
MAJOR, DEBORAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAJOR, KATHRYN                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MAJORS, MAMIE                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MAJORS, PAULA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MAKAROPLOS, DAWN                HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
MAKAS SR., JERRY                NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
MAKER, MILDRED                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
MAKOR, ANNAMAE                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
MAKOR, ANNAMAE                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
MAKSYN, TERESA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MALANDRA, ELFREDA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALAPERO, MARIANNE              MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929


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Claim Name                              Address Information
MALASKI, ROBERTA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALATINO, ANGELICA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
MALAVES, CATHY                         MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                       TAMPA FL 33602
MALAZARTE, MYRNA                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
MALCHRIST, DONNA                       MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                       ARTHUR M. NEW ORLEANS OH 70130
MALCOLM, JENNIFER                      DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                       ANTHONY ST. LOUIS MO 63102
MALCOLM, JENNIFER                      LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                       MANHATTAN BEACH CA 90266
MALCOLM, JENNIFER                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MALCOLM, JENNIFER                      ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                       & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MALCOLM, JENNIFER                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MALDONADO, CLARA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MALDONADO, ELSA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALDONADO, EVELYN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALDONADO, GENA                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
MALDONADO, JEANETTE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MALDONADO, LISA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MALDONADO, MARIA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALDONADO, MARIA                       NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                       PR 00918
MALDONADO, MOISES EST OF SARA MALDONADO WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
MALDONADO, NOHELIA                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MALDONADO, PATRICIA                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119
MALDONADO, REJENE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALDONADO, TAMMY                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MALDONADO, TAMMY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALDONADO, TAMMY                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MALDONADO, TAMMY                       PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MALDONADO, VELSA                       BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                       70130
MALDONADO, VELSA                       BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                       75202
MALENICK, MARY                         GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                       PA 19102
MALEY, JENNIFER                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALGERI, JUDY                          LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET HIGHTOWER, KRISTIE LAKE
                                       CHARLES LA 07060
MALHERBE, LOUANN                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
MALIK, SHASHI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALINKY, DORIS                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MALINOWSKI, DIANA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALKIEWICZ, GINA                DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
MALKIEWICZ, GINA                KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
MALLARD, CAROLYN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALLARD, JACQUELINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALLARD, JENNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALLARD, LILLIE                 FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD RAGGIO, JOHN LUFF, DALLAS TX 75231
MALLARI, IRENE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MALLAS, SHIRLEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALLETT, DIANE                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MALLETT, JOAN                   HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
MALLIA-STACHE, JO-ANN           GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MALLICOAT, LINDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALLMANN, JAMIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MALLON, JANA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALLON, KARA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MALLON, ROSE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MALLORY, ARWYN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MALLORY, NANNIE                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MALLORY, REBA                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MALLORY, SHIRLEY                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MALLORY, SHIRLEY                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MALLORY, SHIRLEY                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MALLOW, HAZEL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALLOY, NORMA                   WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
MALLOY, SARAH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALLOY, SARAH                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MALLOY, SHEILA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MALLOY, SHEILA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MALLOY, TERRI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALLUM, CYNDY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MALM, ELIZABETH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALM, KATHRYN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALM, MISTY                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098


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Claim Name                       Address Information
MALMBERG, STEPHANIE             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MALONE, BESSIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MALONE, DIANE                   HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
MALONE, DOROTHY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALONE, FRANCES                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MALONE, GRACIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALONE, JOANN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALONE, KANDICE                 HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
MALONE, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MALONEY, DIANE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALONEY, RITA                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MALONEY, SILVANA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MALOTT, DEBRA                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
MALTESE, JENNA                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
MALTOS, MARY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MALTOS, MARY                    LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
MALVIN, AUDREY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MALY, GAYLE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MAMIE HALL-NASH                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
MAMIE HALL-NASH                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, & LUKEI, S
                                19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MAMON, EDITH                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MANAHAN, JOSEPHINE              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MANAOIS, KIMBERLY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MANCHA, JOANNE                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
MANCINI, ANNA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MANCINI, CATHLEEN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MANCINI, ELEANOR                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MANCINO, MARY                   SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
MANDEL, DEBRA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MANDEL, MARCIA                  POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                LECKMAN, T. MATTHEW CONSHOHOCKEN PA 19428
MANDEL, MARCIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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                                       LTL Management LLC
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Claim Name                       Address Information
MANDIS, MAGDELINE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MANDRELL, DARLA                 HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
MANERING, SAMANTHA              LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
MANES, LORI                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MANESS, AUDREY                  DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
MANESS, JORDAN                  SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
MANESS, RETTA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MANESS-MCMINN, CHRISTIE         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MANEVICH, PATRICIA              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MANFREDE, BETTY                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MANFREDE, BETTY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MANGANO, HEATHER                THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
MANGERI, SANDY                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MANGES, BARBARA                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
MANGIONE, CAROL                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MANGIONE, CAROL                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
MANGOINE, SHEILA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MANGREN, YVETTE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MANGUM, CASSANDRA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MANHART, KATHLEEN               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MANIEKA GARRETT                 MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
MANISCALCO, CHRISTINE           CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MANIULIT, CYNTHIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MANKINS, JENNIFER               MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
MANLEY, JOANNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MANLEY, KAREN                   COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
MANLEY, LETHA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MANLEY, SABRINA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MANN, ERIN                      GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
MANN, ERIN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MANN, ERIN                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MANN, ERIN                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MANN, KATHE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MANN, LINDA                     ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
MANN, MARY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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                                       LTL Management LLC
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Claim Name                       Address Information
MANN, MARY                      MEADOWS, TED G. MONTGOMERY AL 36104
MANN, MARY                      GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
MANN, MAUREEN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MANN, MICHELLE                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MANN, MICHELLE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MANN, NANCY                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
MANN, NELLIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MANN, PATRICIA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MANN, VENUS                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MANNA, SANNA-MARIE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MANNERS, JUNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MANNI, DIANE                    BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
MANNING, DORIS                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MANNING, GLENDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MANNING, HAZEL                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
MANNING, HAZEL                  HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
MANNING, KAREN                  JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
MANNING, LINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MANNING, MARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MANNING, MELISSA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MANNING, MONIKA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
MANNING, MONIQUE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MANNING, PATRICIA               DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
MANNING, PHYLLIS                SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
MANNING, RUBY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MANNING, SHEILA                 HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
MANNING, SHIRLEY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MANNINGS, ALTHEA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MANNS, MARLITA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MANRING, DIXIE                  HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
MANSFIELD, CINDY                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
MANSFIELD, KATHLEEN             BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024



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Claim Name                            Address Information
MANSFIELD, KATHRYN                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                     SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
MANSFIELD, STEPHANIE                 ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                     FELLER, JOEL J. PHILADELPHIA PA 19103
MANSFIELD, WILMA                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                     STREET, SUITE PENSACOLA FL 32502
MANSOURI, HEDIEH                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MANSUN, JUDITH                       GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                     MINNEAPOLIS MN 55402
MANSUR, NAJULLAH                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
MANTEGNA, DEBBI                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MANTEL, MARY                         GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MANTHEIY, BARBARA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MANTOLINO, CORAZON                   EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
MANTON, PATRICIA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MANTOVI, LORRAINE                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                     YORK NY 10017
MANUEL, ASHLEY                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
MANUEL, DIANA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MANUEL, JOSEFEA                      HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                     CHRISTOPHER CORPUS CHIRSTI TX 07837
MANUEL, KELLIE                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MANUEL, KIMMARIE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
MANUEL, LONNETTA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
MANUEL, SUSAN                        FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MANUELE, MARY                        TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
MANUZON, ROSANNA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MANWARREN, PATRICIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MANZ, ROBERT                         WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                     HILL NJ 08002
MANZANARES-VELASQUEZ, JEANNETTE      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MANZI, MARY                          DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                     ANTHONY ST. LOUIS MO 63102
MANZI, MARY                          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MANZI, MARY                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                     ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MANZI, TANIA                         DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
MANZO, FERN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAPLES, ALBIZIA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
MAPLES, REINESHA                     THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
MAPP, VIRGINIA                       THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                     CHARLESTON WV 25301
MAR-YAM-YAHRIB, AATEN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
MARABLE, GWENDOLYN                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                     STREET, SUITE PENSACOLA FL 32502
MARABLE-DONOVAN, MARGARET            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
MARANO, BERNICE                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MARASCO, ANGELA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MARBLE, ANNA                    BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
MARBLE, CHRISTINA               SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
MARBLE, ROCHELLE                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MARBLE, ROCHELLE                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MARBLE, ROCHELLE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MARBLE, TINA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MARCEL, JOYCE                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
MARCEL, JOYCE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MARCEL, KIMBERLY                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
MARCELLO, DENISE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MARCELLO, DENISE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARCELLO, DONNA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARCHAND, ANNE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARCHANT, MARLENE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARCHELL, AQUILANTE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARCHESANO, ROSEMARY            COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
MARCHESE, DEBORAH               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MARCHESE, LINDA                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
MARCHESE, SHARON                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
MARCHESKIE, RACHAEL             FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MARCHETTI, CAMMY                CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
MARCHETTI, MARIE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MARCHMAN-FAKE, PEGGY            WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
MARCIA RAY-KRIEGER              ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
MARCIA WIDNER                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
MARCINEK, LORAINE               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
MARCLEY, DARSHA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MARCOLINE, ANITA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MARCUM, ANNITA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MARCUM, BRENDA                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101



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Claim Name                           Address Information
MARCUM, CANDICE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARCUM, CHRIS                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARCUM, SARA                        DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                    ANTHONY ST. LOUIS MO 63102
MARCUM, SARA                        LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MARCUM, SARA                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                    ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MARCUS, DALE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARCUS, DEBORAH                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
MARDEN, LOUISE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
MARDEN, LOUISE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARDEN, LOUISE                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MARDEN, LOUISE                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MARDIS, LEANN                       PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
MAREIRA, KIMBERLY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAREK, JANIE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAREK, STARLETTE                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MARELLI, PEGGY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
MARENT, CHRISTINA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARES, URSULA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARESH-DRISCOLL, BONNIE             FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SCHULTZ, DEBRA LUFF, DALLAS TX 75231
MARETT, KEVIN AND MARETT, LORI      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                    HILL NJ 08002
MARFISI, MINDY                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
MARGARET CAMPBELL                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                    LOUIS MO 63119
MARGARET GREENWALD                  LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                    MANHATTAN BEACH CA 90266
MARGARET GREENWALD                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, & LUKEI, S
                                    19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MARGARET LAMAN                      LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                    MANHATTAN BEACH CA 90266
MARGARET LAMAN                      ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, & LUKEI, S
                                    19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MARGARET MCCULTY                    LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                    MANHATTAN BEACH CA 90266
MARGARET MCCULTY                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, & LUKEI, S
                                    19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MARGARETTE MCNEECE                  LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                    MANHATTAN BEACH CA 90266
MARGARETTE MCNEECE                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, & LUKEI, S
                                    19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MARGENE WIRTZ                       ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                    LOUIS MO 63119
MARGERUM, AGNES                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                    ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MARGIE CHARLIE                      ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                    LOUIS MO 63119



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Claim Name                       Address Information
MARGRETTA, SARAH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARIA HORTON                    LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
MARIA HORTON                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, & LUKEI, S
                                19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MARIA KLINE                     BARON & BUDD, P.C. MANN, JONAS 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX
                                75219
MARIA KUBIAK                    LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
MARIA KUBIAK                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, & LUKEI, S
                                19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MARIA MYERS                     LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
MARIA MYERS                     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, & LUKEI, S
                                19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MARIA PADILLA, ANNA             NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
MARIA PEREZ                     BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                COMMERCE STREET MONTGOMERY AL 36104
MARIANACCIO, DOLORES            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARIANELA SANCHEZ               THE MILLER FIRM, LLC SHAH, TAYJES M. 108 RAILROAD AVE. ORANGE VA 22960
MARIANNE GENNARIO               WATERS & KRAUS, LLP MACLEAN, LESLIE 3141 HOOD STREET, STE 700 DALLAS TX 75219
MARIE, MERYL                    MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
MARILYN MATESKI                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
MARIN, BECKY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MARIN, DEBBIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARIN, GRACIELA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MARINACCIO, BONITA              MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
MARINACE, JESSICA               ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
MARINARO, DEBBIE                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MARINELLI, MARY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARINELLI, VERONICA             GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MARINO, LISA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARINO, MARIE                   HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
MARINUS, HEATHER                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARION HAMMITT                  LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
MARION HAMMITT                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MARION, LISA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MARISA SACKS                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
MARK HARRIS                     LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
MARK HARRIS                     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19



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Claim Name                          Address Information
MARK HARRIS                        CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MARKARIAN, HILDA                   GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
MARKER, GINA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARKEY, EILEEN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
MARKHAM, DELLA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARKHAM, JENNIFER                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
MARKHAM, JENNIFER                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
MARKHAM, MARTHA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARKHAM, MARTHA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
MARKIN, TANYA                      GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
MARKIN, TANYA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARKIN, TANYA                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MARKIN, TANYA                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MARKLAND, DIANNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARKLEY, LEIGH                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARKOVIC, DANIJELA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARKOVITZ, CATHY                   THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                   AZ 08501
MARKS, BARBARA                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
MARKS, DORIS                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
MARKS, JUDY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
MARKS, LISA                        FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
MARKS, MARY                        THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                   AZ 08501
MARKS, NELLIE                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
MARKS, NELLIE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARKS, PATRICIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
MARKS, RUTH P. AND ALAN MARKS      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                   NJ 08648
MARKS, WEIDA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
MARKS, ZONIWEESE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
MARKUS, KELLY                      BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                   CA 92660
MARKUS, MARIA                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
MARKWARDT, LUCILLE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
MARLAND, ELIZABETH                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
MARLEY, MARY                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
MARLEY, MARY                    MEADOWS, TED G. MONTGOMERY AL 36104
MARLIN, JULIA                   WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
MARLOW, AUDREY                  FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
MARLOW, AUDREY                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
MARLOW, CONNIE                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MARLOW, JANE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARLOW, WANDA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MARLYS WRIGHT                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
MARNEY, VIVIAN                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MARNEY, VIVIAN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARO, JULIA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAROFSKY, ADRIENNE              GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
MAROFSKY, ADRIENNE              POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
MARONEY, LINDSAY                DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
MAROTTA, THERESA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARPLES, CAROLE                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MARQUARDT, COLLEEN              DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
MARQUETT, ELIZABETH             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARQUEZ, AMANDA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MARQUEZ, CHRISTINA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARQUEZ, DOLORES                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARQUEZ, EDUVIJES               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARQUEZ, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARQUEZ, MARYLOU                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARQUEZ-LOPEZ, OMA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARQUEZ-REPISO, ILEANA          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARQUIS, JOYCE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARR, JOANNE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARRACCINO, JOSPEHINE           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARRACHE, YVIE                  KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
MARRERO, GLENDA                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
MARRERO, LIBRADA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MARRERO, MARIA                  MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050



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Claim Name                       Address Information
MARRERO, MARIA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MARRERO, MARIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARRIMON, BETTY                 MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
MARRIOTT, GENA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MARRON, MARIA                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
MARRON, MARIA                   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
MARROQUIN, MARIA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MARROTT, LISA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MARROW, TRACY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARRUJO, GINA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARS-PRINE, TAMMY               MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
MARSCHKE, IRENE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARSEE, CONNIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARSEY, VIRGINIA                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
MARSH, ABBY                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MARSH, ALESHIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MARSH, BARBARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARSH, HETTIE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
MARSH, REBECCA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARSHAK, JODY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MARSHALL, ANGELA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARSHALL, CATHERINE             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MARSHALL, CHE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARSHALL, ELISA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARSHALL, ETHEL                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARSHALL, ETHEL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARSHALL, ETHEL                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MARSHALL, ETHEL                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
MARSHALL, GWENDOLYN             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MARSHALL, JENNONE               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MARSHALL, JILL                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MARSHALL, JOYCE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
MARSHALL, JOYCE                 MEADOWS, TED G. MONTGOMERY AL 36104
MARSHALL, KATINA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARSHALL, LACEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARSHALL, LORETTA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARSHALL, LYTASHE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MARSHALL, MARILYN               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MARSHALL, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARSHALL, MATRICIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARSHALL, PATRICIA              THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
MARSHALL, ROBIN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARSHALL, SANDRA                KIESEL LAW, LLP PALMER, MELANIE MENESES 8648 WILSHIRE BLVD. BEVERLY HILLS CA
                                90211
MARSHALL, STEPHANIE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARSHALL, TENEKA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MARSHALL, TONYA                 HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
MARSHALL, VIRGINIA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MARSHALL-GRAHAM, MYRTLE         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MARSHALL-PARRIS, LATRECIA       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARSON, JUDY                    JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
MARSTELLER, SUZANNE             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MARSTON, TERRY                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
MARSZALEC, KAREN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTEL, MINA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MARTEL, MINA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
MARTELLA, PATRICIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTEN, EILEEN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MARTEN, JUDITH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARTEN, JUDITH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTEN, JUDITH                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MARTEN, JUDITH                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
MARTENS, SHARON                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTER, JAQUELINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTHA HEMPHILL                 MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
MARTIN, ALICE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MARTIN, ANDREA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTIN, ANNA                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103


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Claim Name                       Address Information
MARTIN, ANNEMARIE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MARTIN, ARLENE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MARTIN, BARBARA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTIN, BETTY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MARTIN, BETTY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARTIN, BETTY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTIN, BONNIE                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MARTIN, BONNIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARTIN, BRITTANY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTIN, CHERYL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTIN, CINDY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MARTIN, CINDY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARTIN, CINDY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTIN, CLAUDIA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MARTIN, CLAUDIA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MARTIN, CONNIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARTIN, CONSTANCE               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
MARTIN, CYNTHIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTIN, DAWN                    ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
MARTIN, DENISE                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
MARTIN, DIANNE                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
MARTIN, DONNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTIN, DONNA                   MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
MARTIN, DOROTHY                 THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
MARTIN, EARNESTINE              WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MARTIN, ELEANOR                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MARTIN, ELEANOR                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARTIN, ELISABETH               JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
MARTIN, ELIZABETH               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTIN, ETHEL                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
MARTIN, EVE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTIN, EVELYN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MARTIN, FRANCES                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTIN, GLORIA                  BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
MARTIN, JACQUELINE              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MARTIN, JACQUELINE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
MARTIN, JACQUELINE              MEADOWS, TED G. MONTGOMERY AL 36104
MARTIN, JAMESENA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MARTIN, JOANN                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
MARTIN, JOANNE                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
MARTIN, JOEANN                  ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                FELLER, JOEL J. PHILADELPHIA PA 19103
MARTIN, JUDY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTIN, JULIA                   ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
MARTIN, JULIE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MARTIN, KAREN                   PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
MARTIN, KAREN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARTIN, KARLA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MARTIN, KATHERINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTIN, KATHRYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARTIN, KATIE                   WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
MARTIN, KIMBERLY                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
MARTIN, KIMBERLY                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
MARTIN, LARA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARTIN, LAURENA                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
MARTIN, LESLIE                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
MARTIN, LINDA                   KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
MARTIN, LINDA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MARTIN, LISA                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
MARTIN, LIZABETH                CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
MARTIN, LIZABETH                BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
MARTIN, LORETTA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MARTIN, LOUISE                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MARTIN, LOUISE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARTIN, LYNDA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MARTIN, LYNDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARTIN, MARILYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTIN, MARILYN                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017



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Claim Name                       Address Information
MARTIN, MARJORY                 MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
MARTIN, MARTHA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARTIN, MARY                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MARTIN, MARY                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
MARTIN, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTIN, MELINDA                 WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
MARTIN, MURIEL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARTIN, NANCY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTIN, NORA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTIN, PAMELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTIN, PHYLLIS                 SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
MARTIN, PRISCILLA               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MARTIN, PRISCILLA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARTIN, RENELLE                 COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
MARTIN, RHONDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARTIN, RHONDA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
MARTIN, RHONDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTIN, RHONDA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MARTIN, RHONDA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MARTIN, RHONDA                  GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
MARTIN, ROBIN                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
MARTIN, ROBIN                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
MARTIN, SANDRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTIN, SHELLA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARTIN, SHERRIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTIN, SHERRY                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MARTIN, SHERRY                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MARTIN, SHERRY                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MARTIN, SHIRLEY                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MARTIN, SHIRLEY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARTIN, SHIRLEY                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MARTIN, SHIRLEY                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MARTIN, SHIRLEY                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MARTIN, SONDRA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                       Address Information
MARTIN, SONDRA                  75231
MARTIN, SONJA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MARTIN, TAMIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTIN, TAMMY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTIN, THERESA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTIN, VALERIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARTIN, VERONICA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTIN, VIRGINIA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MARTIN, VIRGINIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARTIN, WANDA                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
MARTIN, YVONNE                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MARTIN-GORDON, JACQUELINE       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARTIN-HATFIELD, LINDA          DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MARTIN-HATFIELD, LINDA          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MARTIN-HATFIELD, LINDA          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MARTIN-MCCLURKIN, OLETA         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTINCHALK, SUZANNE            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARTINDALE, GWINDA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MARTINEZ, AILIL                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MARTINEZ, ALMA                  DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
MARTINEZ, ANGELINA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MARTINEZ, ANNA                  NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
MARTINEZ, BARBARA               LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
MARTINEZ, CAMELLIA              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MARTINEZ, CARMEN                PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
MARTINEZ, CAROLINE              POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
MARTINEZ, CATHY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MARTINEZ, CECILIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTINEZ, CHARLOTTE             BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
MARTINEZ, CLORISA               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MARTINEZ, DANIEL                NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
MARTINEZ, DIANE                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
MARTINEZ, DINICE                HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038



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                                       LTL Management LLC
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Claim Name                       Address Information
MARTINEZ, DONILA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
MARTINEZ, DONILA                HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
MARTINEZ, ELISA                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
MARTINEZ, ELIZABETH             ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MARTINEZ, ELOISE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MARTINEZ, ESTHER                SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
MARTINEZ, IRENE                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MARTINEZ, IRENE                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MARTINEZ, JAMIE                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MARTINEZ, JAMIE                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
MARTINEZ, JAMIE                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MARTINEZ, JAMIE                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MARTINEZ, JAMIE                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MARTINEZ, JULIE                 ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
MARTINEZ, KRISTI                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MARTINEZ, LAURA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARTINEZ, LINDALEE              MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
MARTINEZ, LYNDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTINEZ, LYNDA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MARTINEZ, LYNDA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MARTINEZ, MARGARET              WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
MARTINEZ, MARGARET              HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
MARTINEZ, MARIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MARTINEZ, MARIA                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
MARTINEZ, MARIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTINEZ, MARIA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MARTINEZ, MARIA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MARTINEZ, MARIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MARTINEZ, MARIA                 KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
MARTINEZ, MARRY                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MARTINEZ, MARRY                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MARTINEZ, MARTHA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTINEZ, MARTHA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098



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Claim Name                         Address Information
MARTINEZ, MARY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                  ORANGE VA 22960
MARTINEZ, MARY                    HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                  46290
MARTINEZ, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTINEZ, MARY                    MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
MARTINEZ, MELINDA                 LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                  94111
MARTINEZ, MELISSA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
MARTINEZ, MISTY                   WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                  NJ 08002
MARTINEZ, ORALIA                  MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 09006
MARTINEZ, PAMELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTINEZ, ROSABELLE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTINEZ, ROSALINDA               HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                  CHRISTOPHER CORPUS CHIRSTI TX 07837
MARTINEZ, SALLY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTINEZ, SANDRA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MARTINEZ, SANDRA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
MARTINEZ, SANTOS                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTINEZ, SHELBY                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                  ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MARTINEZ, SHIRLEY                 NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                  PR 00918
MARTINEZ, SULEMA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
MARTINEZ, SYBIL                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                  11747
MARTINEZ, TAMMY                   MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
MARTINEZ, TANOA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTINEZ, VICKIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
MARTINEZ, YOLANDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTINEZ, YVETTE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTINEZ-AUGUSTINE, YOLANDA       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTINEZ-BAEZA, ELIZABETH         GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MARTINEZ-HERRON, SANDRA           DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MARTINEZ-MELO, NORMA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTINIAN & ASSOCIATES, INC.      2801 CAHUENGA BLVD WEST LOS ANGELES CA 09006
MARTINO-STRID, GRACE              TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
MARTINOWICZ, MARY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
MARTINS, LORI                     DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                  77024
MARTINSON, SUSAN                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MARTINTONI, MARIAN                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                  77007
MARTIRE, LORRAINE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
MARTIS, PATRICIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                          Address Information
MARTIS, PATRICIA                   MEADOWS, TED G. MONTGOMERY AL 36104
MARTLING, KATY                     POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
MARTONE, DOROTHY                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
MARTOVITZ, LAURA                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
MARTSOLF, TERESE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTY, TAMMY                       POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
MARTZ, LYNNE                       GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
MARTZ, LYNNE                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
MARTZ, PATRICIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
MARTZ, PATRICIA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
MARTZ, PATRICIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARTZ, PATRICIA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MARTZ, PATRICIA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MARUNA, DOREEN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARUNA, JANET                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARVEL, DEBORAH                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
MARVIN, DARLA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARX, KAY                          ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
MARX, LYNDA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARX, YVONNE                       WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
MARXER, MARY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MARY BAKER                         ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
MARY BROWN                         ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
MARY CHRISTOPHERSEN                LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207 MANHATTAN
                                   BEACH CA 90266
MARY CHRISTOPHERSEN                ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                   CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MARY CURTIS                        WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                   NJ 08002
MARY DODD                          LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                   MANHATTAN BEACH CA 90266
MARY DODD                          ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                   CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MARY DRODDY                        ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
MARY EDWARDS                       FLETCHER V. TRAMMELL BINSTOCK, MELISSA & TRAMMELL, FLETCHER V 3262 WESTEIMER,
                                   SUITE 423 HOUSTON TX 77098
MARY ERPINAR                       JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                   PAUL MN 55101
MARY ERVI                          JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                   PAUL MN 55101
MARY HAMMER                        LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                   MANHATTAN BEACH CA 90266



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Claim Name                          Address Information
MARY HAMMER                        ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                   CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MARY KING                          MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
MARY MANZI                         LENZE KAMERRER MOSS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207
                                   MANHATTAN BEACH CA 90266
MARY MANZI                         ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                   CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MARY MCCAUGHAN                     MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
MARY TAYLOR                        DAVIS, BETHUNE & JONES, L.L.C. DAVIS, GRANT L. 1100 MAIN STREET, SUITE 2930
                                   KANSAS CITY MO 64196
MARY UNDERDALE                     THE MILLER FIRM, LLC SHAH, TAYJES M. 108 RAILROAD AVE. ORANGE VA 22960
MARY YELVERTON                     MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
MARZKA, PATRICIA                   MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
MASCHINOT, DEBRA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
MASCHMAN, DANA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MASCHMAN, DANA                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MASCITELLI, LISA                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
MASCITELLI, LISA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MASHBURN, JANIE                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
MASHELL, LINDA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
MASHIKE, KAREN                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
MASI, LINDA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
MASIELLO, CAROLE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MASKO, CHRISTINE                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                   SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
MASLOWSKI, JANET                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MASON, ANNIE                       WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
MASON, BRENDA                      TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
MASON, CHERYL                      GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
MASON, CHERYL                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MASON, CHERYL                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MASON, CHERYL                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MASON, CLARA                       ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MASON, CLARA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
MASON, CLAUDETTE                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MASON, DEBORAH                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MASON, DEBORAH                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MASON, DEBORAH                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MASON, DELPHINE                    SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
MASON, DONA AND MASON, KEN         WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                   HILL NJ 08002
MASON, DONNA                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296


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Claim Name                       Address Information
MASON, HOPE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MASON, HOPE                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MASON, HOPE                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MASON, JEANNINE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MASON, JOAN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MASON, LATRICE                  THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
MASON, LINDA                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MASON, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MASON, MIRIAM                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MASON, PANDORA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MASON, PEGGY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MASON, POLLY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MASON, RUBY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MASON, VALERIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MASON, VICTORIA                 WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
MASON-REIBSON, MYNA             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MASORTI, BECKI                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
MASSARO, ELISABETTA             NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MASSENGILL, SHIRLEY             THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
MASSER, GLORIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MASSETTI, KIMBERLY              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MASSEY, BONITA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MASSEY, CYNTHIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MASSEY, EFFIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MASSEY, JENNIFER                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MASSEY, KIMBERLY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MASSEY, LINDA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MASSEY, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MASSEY, MARCY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MASSEY, VALERIE                 WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
MASSEY-GOLEMATIS, JOYCE         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MASSEY-GUINN, JENNIFER          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MASSI, JENNIFER                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MASSICOT, KRISTIN               EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP EICHEN, BARRY R. & KELLY, JOHN P 40
                                ETHEL ROAD EDISON NJ 08817
MASSIE, DIANE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MASSIE, SANDY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MASSINGILL, BARBARA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104

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                                       LTL Management LLC
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Claim Name                       Address Information
MASSINGILL, PAMELA              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MAST, CAROL                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MAST, MARY                      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MASTERS, KIM                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MASTERS, LOIS                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MASTERS, PATRICIA               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MASTERS, PATRICIA               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MASTERS, PATRICIA               LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
MASTERS, PATRICIA               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MASTERS, PATRICIA               ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MASTERS, SUSANNA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MASTERSON, KATELYNN             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MASTERSON, NINA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MASTERSON, NINA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MASTERSON, NINA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MASTRANDREA, CLARA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MASTRANGELO, HELENE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MASTRIANNI, JEAN                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MASTRIPPOLITO, KIM              HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
MASTRIPPOLITO, KIMBERLY         MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
MASUD, FAIROZ                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MATA, CARMEN                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
MATA, ELVIA                     THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
MATA, JOLYNN                    DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
MATA, LUPE                      DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MATA, LUPE                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MATA, LUPE                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MATAMOROS, ARACELI              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATARAZZO, JENNIFER             DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
MATATT, CAROLINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MATAYA, JENNIFER                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036



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                                       LTL Management LLC
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Claim Name                       Address Information
MATE, JOZSEFNE                  MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                YORK NY 10017
MATELJAN, CAROLE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MATELJAN, CAROLE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MATEO, GLADYS                   GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
MATERASSCO, VITA                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
MATEUS, MARIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATHAT, SHEILA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATHE, MARGARET                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATHENY, JENNIFER               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATHEOS, DEBRA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MATHERNE, PATRICIA              MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
MATHEWS, BOBBIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATHEWS, CLAUDELL               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATHEWS, DAWNA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MATHEWS, JUNE                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MATHEWS, KIMBERLY               ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
MATHEWS, MELINDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATHEWS, NOLA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATHIES, ZOE                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MATHIS, ADA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MATHIS, ADA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATHIS, ADA                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MATHIS, ADA                     PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
MATHIS, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATHIS, MARCELLA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MATHIS, PHYLLIS                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATHIS, PHYLLIS                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MATHIS, STACEY                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
MATHIS, TERI                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MATHIS, TRACY                   WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
MATHSON, MARCIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATHURIN, LILIAN                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
MATHURINE, LYDIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATIAS, ADILENE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MATIAS, BARBARA                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301


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                                       LTL Management LLC
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Claim Name                       Address Information
MATIAS, CAROL                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MATIAS, PAMELA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MATIKONIS, JOANNE               LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
MATLOCK, WANDA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MATNEY, ANITA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MATNEY, SHARON                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MATONIK, KIM                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MATOS, TAISHA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATOS, WANDA                    SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
MATOUS, FAITH                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MATRANGA, CYNTHIA               LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
MATSAYKO, CAROLYN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MATSON, LISA                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MATSUMOTO, LUANNE               BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
MATSUOKA, LORI                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MATTEI, MARIE                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
MATTEO, NICOLE                  COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
MATTEONI, DIANA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MATTERN, GEORGIA                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
MATTERN, MISTY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATTESON, KATHLEEN              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MATTESON, VICKY                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
MATTESON, VICKY                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
MATTHEW, CAROLINE               BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
MATTHEW, CAROLINE               BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
MATTHEW, SHARON                 FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD MCDOWELL, DARREN LUFF, PATRICK -
                                PLUFF2FNLAWFIRM.C DALLAS TX 75231
MATTHEW, VERDMAY                POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
MATTHEWS, BARBARA               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MATTHEWS, CAROL                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
MATTHEWS, CHAPLE MOORE          FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215


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Claim Name                       Address Information
MATTHEWS, CLAIRE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MATTHEWS, CYNTHIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MATTHEWS, DEBORAH               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MATTHEWS, DEBORAH               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATTHEWS, DEBORAH               LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
MATTHEWS, DEBORAH               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MATTHEWS, DEBORAH               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MATTHEWS, DELORES               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATTHEWS, ELISE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MATTHEWS, EVELYNE               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MATTHEWS, JESSICA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATTHEWS, JESSIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATTHEWS, KAREN                 THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
MATTHEWS, LINDA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MATTHEWS, MEGAN                 POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                LECKMAN, T MATTHEW BRASLOW CONSHOHOCKEN PA 19428
MATTHEWS, MICHELLE              WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
MATTHEWS, OPHELIA               DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
MATTHEWS, PAMELA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATTHEWS, PAMELA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MATTHEWS, PATRICIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATTHEWS, PATRICIA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MATTHEWS, PEARL                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MATTHEWS, ROBIN                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MATTHEWS, SANDRA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATTHEWS, SANDRA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MATTHEWS, SANDRA                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MATTHEWS, STEPHANIE             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MATTHEWS, TAMMY                 JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
MATTHEWS, WENDY                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MATTHEWS-HARDEN, ADRIAN         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MATTHEY, PATRICIA               MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
MATTHEY, PATRICIA               MOTLEY RICE, LLC LANCE OLIVER & DONALD MIGLIORI 28 BRIDGESIDE BLVD MOUNT
                                PLEASANT SC 29464
MATTHIS, SHIRLEY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MATTIA, SHELAH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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                                                LTL Management LLC
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Claim Name                                Address Information
MATTIA, SHELAH                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATTIA, SHELAH                           THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MATTIA, SHELAH                           PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
MATTICK, DIANE                           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
MATTIE HOLLOWAY                          MORELLI LAW FIRM, PLLC MORELLI, BENEDICT P & SIROTKIN, DAVID T 777 THIRD
                                         AVENUE, 31ST FLOOR NEW YORK NY 10017
MATTINGLY, BETTY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATTINGLY, GINA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATTINGLY, JO                            GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MATTOCKS, ROBIN & WINTERROWD, LORNA      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
MATTOS, JOYCE                            JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
MATTOS, KELLY                            JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
MATTOX, ALICE                            THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
MATTOX, CANDANCE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATTOX, DONNA                            LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MATTOX, DONNA                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, DANIEL S. LUKEI NEWPORT BEACH CA 92660
MATTOX, SHARA                            CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                         ATLANTA GA 30319
MATTSON, LAVONNE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATTSON, STEPHANIE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
MATTSON, STEPHANIE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MATTSON, STEPHANIE                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MATTSON, STEPHANIE                       PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MATTY, LYNN                              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
MATULICH, ERIKA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
MATUS, BOBBY                             FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LUFF, PATRICK - DALLAS TX 75231
MATZEN, YVONNE                           WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                         BOUNDAS, JOHN T. HOUSTON TX 77017
MAUCERI, COLLEEN                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAUCH, FLORINE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAUCH, FLORINE                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
MAUER, CHRISTY                           ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
MAUER, KATHRYN                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAUER, SHARON                            THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
MAULDEN, KATHERYN                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
MAULDEN, KATHERYN                        LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                         94111
MAULE-FIELDS, CONNIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAULL, GLORIA                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231


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                                       LTL Management LLC
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Claim Name                       Address Information
MAUPIN, LAURA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MAUPIN, LYNDA                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MAUREEN LAURENT                 LENZE KAMERRER MOSS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207
                                MANHATTAN BEACH CA 90266
MAUREEN LAURENT                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MAURER, TARA                    BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
MAURIELLO, DIANE                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
MAURO, DEBORAH                  MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
MAURO, SANDRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAURONI, CYNDI                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MAXA, MAXINE                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MAXAM, SUSAN                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MAXAM-FRANK, ELIZABETH          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MAXEL, KATHY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MAXEY, DONNA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MAXEY, TAMARA                   MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
MAXINE FLORES                   LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207 MANHATTAN
                                BEACH CA 90266
MAXINE FLORES                   ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MAXON, JEANETTE                 THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
MAXSON, JILL                    MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
MAXTED, DEIRDRE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAXWELL, BARBARA                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
MAXWELL, CHERYL                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MAXWELL, CHRISTINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAXWELL, CHRISTINE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MAXWELL, DAWNA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MAXWELL, JACQUELYN              DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MAXWELL, KAREN                  BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
MAXWELL, KIMBERLY               JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
MAXWELL, PHEBE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MAXWELL, SHARON                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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                                               LTL Management LLC
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Claim Name                              Address Information
MAXWELL, SHARON                        GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                       MINNEAPOLIS MN 55402
MAXWELL, SHARON                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAXWELL, SHARON                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MAXWELL, SHARON                        PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MAXWELL, SHEILA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MAXWELL, VICKIE                        JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
MAY, BETTY                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAY, CAROL                             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MAY, IDA                               GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                       MINNEAPOLIS MN 55402
MAY, IDA                               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAY, IDA                               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MAY, IDA                               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MAY, LAURA                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MAY, LESLIE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAY, MICHELLE                          DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                       ANTHONY ST. LOUIS MO 63102
MAY, MICHELLE                          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MAY, MICHELLE                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MAY, MYRTIS                            ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
MAY, NANCY                             ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MAY, NANCY                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MAY, PEGGY A. ESTATE OF BERTHA HOSECLAW WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
MAY, PENNY                             ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
MAY, ROSEMARY                          HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
MAY, SUSIE                             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MAY, TREVA                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MAY-ROSARIO, VENITA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MAYBEE, DIANA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAYBERRY, AILEEN                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAYBERRY, SHERRY                       ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
MAYE, KATIE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAYE, TERESA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAYER, DENISE                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
MAYER, DENISE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MAYER, GINA                            ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MAYER, JOAN                            ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031


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Claim Name                        Address Information
MAYER, JOAN                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
MAYER, JODY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAYER, LYNN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAYER, VIRGINIA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                 77098
MAYES, CHARLEAN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
MAYES, LINNETTE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
MAYES, TONI                      WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                 NJ 08002
MAYETTE, MARY                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MAYFIELD, ALOMA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAYFIELD, GAYLE                  LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                 SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
MAYFIELD, THEODORA               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MAYFIELD, TORRIE                 TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
MAYFIELD, TRENA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAYID, MARISSA                   SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                 01153
MAYKOWSKI, DAWN                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                 PAUL MN 55101
MAYNARD, CYNTHIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAYNARD, KIMBERLY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAYNARD, PATRICIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
MAYNARD-SCHOOBAAR, GERVAISE      GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
MAYNOR, SHANETTE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAYO, CALAMITY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                 77007
MAYO, DIANA                      POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
MAYO, HATTIE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
MAYO, JENNIFER                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAYO, REBA                       NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                 11747
MAYO, RUTH                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
MAYO-FAULKS, CAROLYN             HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                 63101
MAYOL, SUSAN                     THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                 ORLEANS LA 70130
MAYON, ELAINE                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MAYORGA, HILDA                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                 KANSAS CITY MO 64196
MAYS, ADRIENE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
MAYS, BOBBIE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
MAYS, JUDY                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                          Address Information
MAYS, MARGARET                     CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                   ATLANTA GA 30319
MAYS, WILLIE                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
MAYS-DICKENS, SHUANA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
MAYSON, GLADYS                     ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                   ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
MAYSONET, ILEANA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAYTIDU, ROBERT                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
MAZANETZ, BRENDA                   JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
MAZARESE, MARIA                    HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                   63101
MAZARIEGOS, H ESTATE OF DARLA      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
MAZARIEGOS                         NJ 08648
MAZEAU-AHKEAH, REBECCA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAZUREK, ELLEN                     HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
MAZUROWSKI, KAREN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
MAZYCK, VALERIE                    PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
MAZZARELLA, MARCIA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
MAZZEO, SHANNON                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
MAZZUCA, KATHLEEN                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
MAZZUCA, KATHLEEN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
MAZZUCA, KATHLEEN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MAZZUCA, KATHLEEN                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MAZZUCA, KATHLEEN                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
MAZZUCA, SANDRA                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
MC-CAW-MUSSIO, LYNETTE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
MCABEE, SUSAN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCADAMS, LOU                       ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MCAFEE, CHERYL                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
MCAFEE, PAULA                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
MCAFEE, WANDA                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
MCAFEE, WANDA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
MCAFFEE, HEATHER                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCAFFEE, LINDA                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MCALEXANDER, ALICE                 ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                   FELLER, JOEL J. PHILADELPHIA PA 19103
MCALILEY, SUANNE                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG



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                                       LTL Management LLC
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Claim Name                       Address Information
MCALILEY, SUANNE                ANTHONY ST. LOUIS MO 63102
MCALILEY, SUANNE                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MCALILEY, SUANNE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MCALISTER, DELORIES             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCALISTER, GENOVEVA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCALISTER, VALERIE              GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
MCANALLY, JANICE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCANALLY, MARCI                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCANALLY, TANNA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCANDREWS, SARAH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCANINCH, JANICE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCARTHUR, AMY                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MCARTHUR, SYMPHONI              DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
MCAVEY, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCAVOY, SANDRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCBEE, MONICA                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
MCBEE, SHARON                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCBRIDE, ANNA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MCBRIDE, CARMEN                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MCBRIDE, CARMEN                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MCBRIDE, CRYSTAL                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MCBRIDE, JUNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCBRIDE, MARLO                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCBRIDE, PATRICIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCBRIDE, RAE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCBRIDE, VERONICA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCBROOM, DEBRA ANN              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MCBROOM, KATHY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCBRYANT, CAROLYN               LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
MCCABE, BELINDA                 DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
MCCABE, JOLENE                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101


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                                       LTL Management LLC
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Claim Name                       Address Information
MCCABE, PAULA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCABE, STACY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MCCABE, STACY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCABE-GERMAN, SHARON           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCAFFERY, DONNA                THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
MCCAIN, ANN                     SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
MCCAIN, BERNICE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCCAIN, HILDA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MCCAIN, MILDRED                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MCCAIN, WANDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCALEB, DEBORAH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCALISTER, BARBARA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCALL, AMY                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
MCCALL, DEBRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCALL, LOIS                    BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
MCCALL, MARLENE                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
MCCALL, MAUREEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCALL, SHARON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCALL, SHUBIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCCALLA, EMMA                   THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
MCCALLION, KELLY                COHEN, PLACITELLA & ROTH 127 MAPLE AVE. PLACITELLA, CHRISTOPHER M. GEIER,
                                DENNIS M. RED BANK NJ 07701
MCCALLISTER, JANICE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCALLISTER, VALERIE            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCALLUM, JUDITH                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MCCALLUM, JUDITH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCANDLESS, SANDRA              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MCCANDLESS, SANDRA              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
MCCANE, GWEN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCANN, BRITTANY                MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
MCCANN, GINGER                  NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
MCCANN, HILDRED                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
MCCANN, JUDITH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCANN, KRIS-ANN                JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
MCCANN, PAMELA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                       Address Information
MCCANN, TEQUITA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCCANN-MUELLER, HEATHER         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCANTS, JOANN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCARGISH, CYNTHIA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCCARIUS, DANA                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
MCCARLEY, KELLY                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MCCARLEY, MARY                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MCCARRELL, SAMANTHA             REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J EPHRON,
                                MELISSA HOUSTON TX 77027
MCCARTER, NANCY                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MCCARTER, SANDRA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCARTHY, ANNA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
MCCARTHY, ANNETTE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MCCARTHY, BARBARA               JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
MCCARTHY, CAROLYN               WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
MCCARTHY, GERALDINE             SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
MCCARTHY, KERRIE                BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
MCCARTHY, KRISTINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCARTHY, LAURA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCARTHY, LORI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCARTHY, MARY                  LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
MCCARTHY, MAURA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCARTHY, MICHELLE              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MCCARTHY, MICHELLE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCARTHY, PATRICIA              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MCCARTHY, SUSAN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCARTHY, WENDY                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MCCARTNEY, CATHY                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
MCCARTNEY, MEGAN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCARTY, ELIZABETH              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MCCARTY, JANICE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MCCARTY, JANICE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCARTY, JERI                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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Claim Name                                Address Information
MCCARTY, JERI                            75231
MCCARTY, PAULA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
MCCARTY, ROBIN                           CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                         14202-3725
MCCARTY, TONJA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
MCCARVER, JANA                           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                         77098
MCCARVER, TRACY                          THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                         ORLEANS LA 70130
MCCARY, TAMMIE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCASLAND, SANDRA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCASLIN, DANA                           THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
MCCASLIN, YVONNE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCASTER, SABRINA                        GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                         MINNEAPOLIS MN 55402
MCCAULEY, PEGGY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
MCCAULEY, THOMAS AND MCCAULEY, GAIL      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
MCCAWLEY, SARITA                         WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                         DALLAS TX 75219
MCCLAFLIN, TERI                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
MCCLAIN, BRENDOLYN                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCLAIN, DON                             NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                         PR 00918
MCCLAIN, DONNA                           THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
MCCLAIN, JILL                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCLAIN, JUDITH                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCLAIN, LOIS                            BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                         75202
MCCLAIN, MELISSA                         GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                         MINNEAPOLIS MN 55402
MCCLAIN, MELISSA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCLAIN, MELISSA                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MCCLAIN, MELISSA                         PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MCCLAIN, MERRA                           THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
MCCLAIN, RITA                            NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                         11747
MCCLAIN, SELINA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
MCCLAIN-COSTON, THELMA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCLANAHAN, KAREN                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
MCCLANAHAN, KAREN                        GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                         MINNEAPOLIS MN 55402
MCCLANAHAN, KAREN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
MCCLANAHAN, KAREN               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MCCLANAHAN, KAREN               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MCCLANAHAN, REGINA              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
MCCLARNON, LORI                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCCLEAD, MARTHA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCLEARN, MEILING               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCLEARN, MEILING               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCLEARN, MEILING               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MCCLEARY, JACQUELINE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCLELAND, MARIE                THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
MCCLELAND, PATRICIA             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCCLELLAN, BARBARA              WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
MCCLELLAN, SHARON               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCLELLAND, GAYLE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCLELLON, REGINA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCCLENDON, BRIANNA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCCLENDON, CAROLYN              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCLENDON, JUDY                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
MCCLENDON, RUTH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCLENDON, SHANDA               MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
MCCLENDON-MITCHELL, SPRING      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MCCLENNEN, NANCY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCLENON, BELINDA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCLENTON, DARLENE              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MCCLENTON, DARLENE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCLEOD, CORA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCLESKEY, FASHONDA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCLINTOCK, SONYA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCLINTOCK, VIRGINIA            MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
MCCLINTOCK, VIRGINIA            KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
MCCLINTON, MAMIE                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
MCCLINTON-MATTHEWS, JULIE       MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                DAVID M. MINNEAPOLIS MN 55404
MCCLOSKEY, CHARLENE             LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
MCCLOSKEY, LAUREL               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCLOUD, MARGARET               PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050


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Claim Name                       Address Information
MCCLOUD, SHARON                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCLUER, SHERILL                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MCCLUNEY, ANGELEAN              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCCLUNG, CAROLYN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCLURE, CORREEN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCLURE, DEBORAH                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MCCLURE, HEIDI                  KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
MCCLURE, KATHY                  JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
MCCLURE, LINDA                  BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
MCCLURE, MARGARET               NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MCCLURE, MARGHANNA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCCLURG, JANICE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCLUSKEY, MARYELLEN            FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MCCLUSKY, DOROTHY               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MCCOLLEY, ELIZABETH             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCCOLLINS, SYLVIA               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MCCOLLUM, BETTY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCOLLUM, WANDA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MCCOMB, REBECCA                 SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
MCCOMBS, MICHELLE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCONAHIE-GEORGE, KRISTIE       SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
MCCONKEY-LONG, SHEILA           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCONNELL, HEATHER              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MCCONNELL, LAURA                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MCCONNELL, NANCY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCONNELL, RUTH                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MCCONNELL, RUTH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCONNELL, WHITNEY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCONNER, FRANCES               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MCCOOL, JACQULYNNE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCCOOL, LAURA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MCCORD, CAMELLA                 COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
MCCORD, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCORKLE, AVA                   SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
MCCORMACK, ARLENE               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929


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                                       LTL Management LLC
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Claim Name                       Address Information
MCCORMACK, DEBORAH              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCORMACK, JOANN                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCCORMICK, CAROLYN              NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MCCORMICK, CYNTHIA              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MCCORMICK, DEBORAH              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MCCORMICK, DEBORAH              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCORMICK, DIANE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCCORMICK, HEATHER              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCORMICK, JOAN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCORMICK, KAREN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCORMICK, KIMBERLY             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCORMICK, LINDA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCORMICK, LORI                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
MCCORMICK, MONIQUE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCORMICK, REBECCA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCORMICK, YVONNE               POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
MCCORMICK-OTIS, PATRICIA        THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
MCCORVEY, CHIQUETTA             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MCCOWN, CAROL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCOWN, JUDY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCOY, ANGELA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MCCOY, ANNE-MARIE               DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
MCCOY, AWILDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCOY, INA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCOY, JANETTE                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MCCOY, JANETTE                  LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
MCCOY, JANETTE                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MCCOY, JANETTE                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MCCOY, JANETTE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MCCOY, KATHY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCOY, KRYSTLE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCCOY, LUBERTA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCOY, MARY                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
MCCOY, MONICA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MCCOY, ROBERTA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231


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Claim Name                       Address Information
MCCOY, SATARIA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MCCOY, SHANNA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCOY, TAMARA                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
MCCOY, TAMMY                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MCCOY, TAMMY                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MCCOY, TAMMY                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MCCOY, TIFFANY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCOY, TRACY                    MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
MCCOY, VICTORIA                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MCCOY, WANDA                    DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
MCCRACKEN, SUE-ELLEN            FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MCCRAE, PEGGI                   THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
MCCRARY, VIVIAN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCRAY, BETTY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCRAY, ESTELL                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MCCRAY, IRENE                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MCCRAY, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCRAY, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCRAY, ODESSA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MCCRAY, WILLIAM                 NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
MCCREA, TERRI                   NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
MCCREADY, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCREARY, WILLIE                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MCCREE, KAREN                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
MCCREIGHT, SANDRA               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MCCREIGHT, SANDRA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCRORY, KATHERINE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCROSKEY, JESSICA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCROSKEY, TONYA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MCCROSSEN, CYNDY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCUE, THERESA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
MCCUIN, ELIZABETH               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX



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Claim Name                       Address Information
MCCUIN, ELIZABETH               77007
MCCUIN, LATRICE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCULLEN, CAROL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCULLEN, CAROL                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MCCULLEN, CAROL                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MCCULLERS, BEVERLY              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MCCULLERS, BEVERLY              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCULLEY, CANDACE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCULLEY, LYNETTE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MCCULLEY, RITA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCULLEY, STACY                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MCCULLOUGH, HEIDI               THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
MCCULLOUGH, IRAZELLA            ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MCCULLOUGH, LISA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MCCULLOUGH, LISA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCULLOUGH, PEGGY               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MCCULLOUGH, ROSE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCULLY, KIMBERLY               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MCCULTY, MARGARET               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MCCULTY, MARGARET               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MCCULTY, MARGARET               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MCCULTY, MARGARET               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MCCUMBEE, PENNY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCUMBER, EVELYN                HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
MCCUNE, ANITA                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
MCCUNE, ANITA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCCUNE, PATRICIA                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MCCURDY, CAROLINE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCCURDY, CINDY                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
MCCURDY, PAMELA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCURDY, QUINDELL               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCCURTY, CORINE                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
MCDADE, MAUREEN                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MCDADE, MAUREEN                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MCDADE, MAUREEN                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE


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Claim Name                       Address Information
MCDADE, MAUREEN                 ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MCDADE, MELODY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCDAMIEL, NANCY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCDANIEL, CORLA                 SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
MCDANIEL, DEBORAH               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCDANIEL, JACKIE                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MCDANIEL, JILL                  TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
MCDANIEL, LATASHA               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MCDANIEL, LYNDA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCDANIEL, MELISSA               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
MCDANIEL, SYLENIA               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MCDANIEL, WANDA                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
MCDANIELS, AMIKA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MCDEAVITT, CYNTHIA              BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
MCDEAVITT, CYNTHIA              BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
MCDERMAID, JANET                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCDERMAND, EDITH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCDERMITT-WEBER, EILEEN         THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
MCDERMOTT, JANET                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MCDERMOTT, LAURIE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCDERMOTT, NANNA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCDOE, ELLA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCDONALD, ANGELIA               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MCDONALD, ANGELIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
MCDONALD, BETTY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCDONALD, BEVERLY               MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                DAVID M. MINNEAPOLIS MN 55404
MCDONALD, BRENDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCDONALD, BRITTANY              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MCDONALD, CAROL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCDONALD, CHRISTINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCDONALD, DEBORA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCDONALD, DIANA                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
MCDONALD, FAYE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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                                        LTL Management LLC
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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
MCDONALD, FAYE                  75231
MCDONALD, HELEN                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
MCDONALD, IRENE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MCDONALD, JAYD                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCDONALD, JAYNE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCDONALD, JERRY                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MCDONALD, KRISTY                POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
MCDONALD, LAURA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCDONALD, LILLIE                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MCDONALD, MARILYN               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
MCDONALD, MARJORIE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCDONALD, MARJORIE              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MCDONALD, MARJORIE              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
MCDONALD, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCDONALD, MARY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCDONALD, MATTHEW               WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
MCDONALD, MAYONA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCDONALD, MAYONA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCDONALD, MAYONA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MCDONALD, MAYONA                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MCDONALD, NELL                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MCDONALD, NICOLE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCDONALD, PATRICIA              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MCDONALD, RITA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCDONALD, ROBIN                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
MCDONALD, RUBY                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
MCDONALD, SHARON                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCDONALD, SHELIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCDONALD, TAMMY                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MCDONALD, TONI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCDONALD-ADDISON, TERESA        CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MCDONNELL, JUDITH               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MCDONOUGH, CHERYL               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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                                       LTL Management LLC
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Claim Name                       Address Information
MCDONOUGH, COLLEEN              LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                NJ 08648
MCDOUGAL, DEBBIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCDOUGALL, LINDA                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MCDOUGALL, LINDA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MCDOUGLE, VIRGINIA              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MCDOUGLE, VIRGINIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCDOWELL, DENISA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCDOWELL, JUDITH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCDOWELL, KRISTI                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCDOWELL, LAURIE                SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
MCDOWELL, MARGUERITE            MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
MCDOWELL, NANCY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCDOWELL, NASHIRA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MCDOWELL, RUBY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCDOWELL, SARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCDOWELL, TAMARA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCDUFFIE, FRANCINE              WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
MCDUFFIE, VESTA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MCDUFFIE, VESTA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCELHANEY, CYNTHIA              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MCELHANEY, DARLENE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCELMEEL, AMANDA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCELROY, CHRISTA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCELROY, SHERRI                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MCELROY-ELLISON, ROSA           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCELVEEN, PAULINE               FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
MCELVENEY, JACQUELINE           PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
MCELWEE, INGRIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCENDREE, CONNIE                MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
MCEUEN, JOAN                    BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
MCFADDEN, DARLENE               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MCFADDEN, DEBBY                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD



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Claim Name                       Address Information
MCFADDEN, DEBBY                 EDWARDSVILLE IL 62025
MCFADDEN, MARILYN               HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
MCFADDEN, MATTIE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCFADDEN, SANDRA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCFADDEN, SARAH                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MCFALL, APRIL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCFALL, CAROL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCFALL, CONNIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCFALL, JANEY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCFALL, TASHA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
MCFARLAND, ANNETTE              DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MCFARLAND, JANIE                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MCFARLAND, KATHLEEN             DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
MCFARLAND-BOGAN, CASSANDRA      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCFARLANE, JENNY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCFATE, MADELINE                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
MCFATE, MADELINE                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
MCFETRIDGE, EILEEN              BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
MCGARRITY, CAROL                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MCGARRY, ALYCE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCGARTH, SHERYL                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCGASKEY, KYNA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MCGAUGHY, JASSMEKA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCGEAR, DOROTHY                 MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
MCGEE, ALICE                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MCGEE, BARBE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCGEE, BRENDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCGEE, CHIQUITA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCGEE, CYNTHIA                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
MCGEE, DAWN                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCGEE, SHANNA                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
MCGEE-LEMONS, DIANE             WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002



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Claim Name                       Address Information
MCGHEE, BAMBI                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MCGHEE, DEBORAH                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
MCGHEE, DELORES                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
MCGHEE, MICALYNE                THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
MCGIBBONEY, BRENDA              ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450
                                FELLER, JOEL CASEY, MATTHEW A. PHILADELPHIA PA 19103
MCGILL, GWENDOLYN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCGILL, JOHNNIE                 EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP EICHEN, BARRY R. 40 ETHEL ROAD EDISON
                                NJ 08817
MCGILL, KAREN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCGILL, MELINDA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MCGILL, SARA                    JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
MCGILL, THERESA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCGILLIS, YVONNE                THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
MCGINNIS, BERNADETTE            CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
MCGINNIS, PATTY                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
MCGIRT, PAULETTE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCGLOCKLIN, MELISSA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCGLONE, KIMBERLY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCGLOTHIN, RIKAYAH              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCGLOTHIN, RIKAYAH              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCGLOTHIN, RIKAYAH              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MCGLOTHIN, RIKAYAH              PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
MCGLOTHIN, RIKAYAH              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR. MARK P. KAR NEWPORT BEACH CA 92660
MCGONIGLE, JOYCE                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MCGONIGLE, JOYCE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCGONIGLE, JOYCE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCGONIGLE, JOYCE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MCGONIGLE, JOYCE                PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
MCGOUGH, AGNES                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCGOUGH, CATHY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCGOVERN, BRENDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCGOVERN, FERN                  COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
MCGOWAN, ANGELA                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
MCGOWAN, CATHERINE              MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
MCGOWAN, DELETHIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCGOWAN, LENA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231


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Claim Name                              Address Information
MCGOWAN, SHANNON                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MCGOWAN, STEPHANIE                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                       YORK NY 10017
MCGOWIN, ALEXANDRA                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
MCGOWIN, ALEXANDRA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MCGOWIN, CHIQUITA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MCGRADY, BETTY                         BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                       30603
MCGRADY, KARIN                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
MCGRAIL, RENEE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCGRATH, DEBRA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCGRATH, GWENDOLYN                     MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                       ORLEANS LA 70130
MCGRAW, BARBARA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MCGRAW, LISA                           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
MCGRAW, NICHOLE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCGREGOR, KARIN                        BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                       70130
MCGREGOR, KARIN                        BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                       75202
MCGREGOR, RUTHIE                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MCGREGOR, TERRY                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
MCGREW, VONNIE                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
MCGREW, VONNIE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MCGRIFF, MARQUETTE                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
MCGRUDER, KAREN                        TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
MCGUIRE, CHARLOTTE                     DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                       63102
MCGUIRE, DEBORAH                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCGUIRE, DOROTHY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCGUIRE, ELIZABETH                     LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                       SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
MCGUIRE, JASMINE H.A. EST OF JAZETHRINE LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                        NJ 08648
MCGUIRE, LINDA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MCGUIRE, SANDRA                        ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
MCGUIRE, SHIRLEY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCHENRY, TERI                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
MCHUGH, MARY                           ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006



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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
MCHUGH, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCHUGH, TRACY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCHUGH, TREVA                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
MCINERNEY, JOAN                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MCINERNEY, MARJORIE             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MCINNIS, LESLIE                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
MCINNIS, MAJORIE                MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
MCINTIRE, REITA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCINTOSH, CAROLYN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCINTOSH, DOROTHY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCINTOSH, JACQUELINE            JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MCINTOSH, MICHELLE              GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
MCINTYRE, BARBARA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCINTYRE, DARETHA               ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
MCINTYRE, PEGGY                 JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
MCISAAC, VERONICA               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MCKAIN, KAREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKAY, BARBARA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MCKAY, EMER                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MCKAY, HELENE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCKAY, MARGARET                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MCKAY, MARGARET                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCKAY, NORA                     WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
MCKAY, YVONNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKEAL, PEGGY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKEAN, DONNA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCKEE, ANGELA                   WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
MCKEE, CONNIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKEE, CYNTHIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCKEE, CYNTHIA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
MCKEE, CYNTHIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKEE, CYNTHIA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MCKEE, CYNTHIA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768



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                                            LTL Management LLC
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Claim Name                            Address Information
MCKEE, DEBRA                         JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
MCKEE, HATTIE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKEE, JACQUELINE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKEE, MARTHA                        ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                     LOUIS MO 63119
MCKEE, MARY                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
MCKEE, PATRICIA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
MCKEE, SHELLY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
MCKEE, SUSAN                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                     EMILY FAIRFAX VA 22031
MCKEE, SUZANNE                       BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                     TX 75219
MCKEE, YVONNE                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
MCKEEVER, JOANNE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKELLEY, DOMINQUE                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                     ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
MCKELPHIN, JUDITH                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                     77007
MCKELPHIN, PAULETTE                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                     77007
MCKENNA, ANN-MARIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKENNA, BARBARA                     GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                     PA 19102
MCKENNA, CAROL                       WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                     BOUNDAS, JOHN T. HOUSTON TX 77017
MCKENNA, KAREN                       GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                     EDWARDSVILLE IL 62025
MCKENNA, MARJORIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKENNA, STACI                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                     ORANGE VA 02296
MCKENNEY, ELIZABETH                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
MCKENNEY, SANDY                      GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                     EDWARDSVILLE IL 62025
MCKENNEY, SHANEE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKENNIE, BERNICE                    BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
MCKENZIE, ABBY                       MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                     TAMPA FL 33602
MCKENZIE, ANDREA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
MCKENZIE, EDRENA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKENZIE, JANNES; TONEY, GLENDA      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                     ORANGE VA 02296
MCKENZIE, JENNIFER                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MCKENZIE, JUDITH                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKENZIE, KATHY                      ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
MCKENZIE, QMETEE                     DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                     63102



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Claim Name                       Address Information
MCKEOWN, ELAINE                 SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
MCKERR, SARAH                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
MCKEW, SUSAN                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MCKIE, DENISE                   JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
MCKIERMAN, MARIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCKIERMAN, MARIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKIERMAN, MARIA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MCKIERMAN, MARIA                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MCKILLOP, DIANE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MCKILLOP, DIANE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCKIM, BETTY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKIM, OPAL                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKINIGHT, LISA                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
MCKINIGHT, LISA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKINIGHT, LISA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MCKINIGHT, LISA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MCKINLEY, CAMELA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKINLEY, CHRISTINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKINLEY, DEBERIA               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MCKINLEY, DEBRA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MCKINLEY, LADY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCKINLEY, MONICA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKINLEY, RAMONA                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MCKINLEY, SHEREE                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
MCKINLEY, TERRI                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCKINNEY, BROOKER               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCKINNEY, CAROL                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MCKINNEY, CAROL                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCKINNEY, DERLYN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKINNEY, DORIS                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCKINNEY, ETHEL                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCKINNEY, GERTIE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCKINNEY, HARRIET               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
MCKINNEY, JANET                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                       Address Information
MCKINNEY, JANET                 75231
MCKINNEY, JANIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKINNEY, KAREN                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MCKINNEY, LINDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCKINNEY, LINDA                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
MCKINNEY, LINDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKINNEY, LINDA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MCKINNEY, LINDA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MCKINNEY, MARY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCKINNEY, PATRICIA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCKINNEY, SCHUWONDA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKINNEY, SHERRILL              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCKINNEY, TANA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKINNEY, VIRGIE                HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
MCKINNON, BELINDA               SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
MCKINNON, LISA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCKINSEY, JULIE                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
MCKINZIE, SHIRLEY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCKINZIE, SHIRLEY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKINZIE, SHIRLEY               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MCKINZIE, SHIRLEY               PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
MCKNAB, KATHY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MCKNIGHT, ANN                   MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
MCKNIGHT, DELPHIA               THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
MCKNIGHT, JANET                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MCKNIGHT, KATHRYN               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCKNIGHT, ROSE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MCKNIGHT, THERESA               POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
MCKNIGHT, VERNELIA              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MCKONE, CLARISSA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCKOY, MARIE                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MCKOY, MOYA                     BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
MCKOY, PAMELA                   FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
MCLACHLAN, DORRET               WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL


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                                       LTL Management LLC
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Claim Name                       Address Information
MCLACHLAN, DORRET               NJ 08002
MCLAIN, PAULA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCLANE, BRENDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCLANE, BRENDA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
MCLANE, BRENDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCLANE, BRENDA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MCLANE, BRENDA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MCLANE, MICHELLE                MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
MCLAREN, ASHLEY                 WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
MCLAT, JEAN                     GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
MCLAUGHLIN, CAMILLE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCLAUGHLIN, DONNA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCLAUGHLIN, KIMBERLY            ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MCLAUGHLIN, KIMBERLY            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCLAUGHLIN, MANDY               ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
MCLAUGHLIN, MARY                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MCLAUGHLIN, PAULA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCLAURIN, CYNTHIA               MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
MCLAURY, JENNIFER               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCLEAN, ANNIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCLEAN, CAROL                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MCLEAN, JACQUELINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCLEAN, JILL                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCLEAN, JILL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCLEAN, JILL                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MCLEAN, JILL                    PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
MCLEAN, JILL                    SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
MCLEAN, MAJESTA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCLEAN, RUTH                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MCLEAN, VICKIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCLEAREN, ANDREA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MCLELLAN, EVELYN                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCLEMORE, PATTY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCLENDON, MARGARET              NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MCLENNAN, MARIANNE              JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002


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                                       LTL Management LLC
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Claim Name                       Address Information
MCLEOD, OLIVIA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MCLEOD, OLIVIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCLEOD, SHEILA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCLIN, KATHLEEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCLOUGHLIN, SHARI               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MCLOUGHLIN, SHARI               HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
MCLUCAS, BETTY                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MCLUCAS, CHERYL                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCMACKIN, VIOLET                BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
MCMAHAN, PATTI                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MCMAHON, LESLIE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MCMAHON, LESLIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCMANIGLE, LEONA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCMANUS, DEBORAH                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MCMANUS, JENNIFER               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCMANUS, LORRAINE               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MCMANUS, LORRAINE               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MCMANUS, LORRAINE               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MCMANUS, SANDRA                 TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
MCMANUS, SUSAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCMANUS, SUSAN                  POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
MCMANUS, TINA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCMASTER, CATHERINE             ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MCMASTER, CATHERINE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCMASTER, GLORIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCMASTER, POLLY                 THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
MCMATH, LYNDA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
MCMATH, PATSY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCMICHAEL, LORETTA              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MCMICHAEL, LORETTA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCMICKLE, LUANNE                DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
MCMILLAN, CONSTANCE             MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017



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Claim Name                        Address Information
MCMILLAN, DEBRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCMILLAN, GWENDOLYN              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MCMILLAN, JACQUELINE             DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                 ANTHONY ST. LOUIS MO 63102
MCMILLAN, JACQUELINE             LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                 MANHATTAN BEACH CA 90266
MCMILLAN, JACQUELINE             LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MCMILLAN, JACQUELINE             ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                 & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MCMILLAN, JACQUELINE             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                 ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MCMILLAN, LORI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCMILLAN, MAKEISHA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
MCMILLAN, TIFFANY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCMILLEN, NANCY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
MCMILLER, BERTHA                 SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
MCMILLER, PATRICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCMILLER-IFEADIKE, ROSALIND      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
MCMILLIAN, BARBARA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
MCMILLIAN, CRISTIE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                 77098
MCMILLIAN, MILDRED               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCMILLIAN, MILDRED               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MCMILLIAN, MILDRED               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MCMILLIAN, SHIRLEY               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
MCMILLIAN-GRACE, ELLA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCMINN, PATRICIA                 TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                 62025
MCMONTGOMERY, LOIS               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                 77007
MCMORRIS, KATHERINE              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MCMULLAN, CLAIRE                 MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                 KNOXVILLE TN 37929
MCMULLEN, CONCETTA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
MCMULLEN, DIXIE                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MCMULLEN, DIXIE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                 ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MCMULLEN, KIMBERLY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCMURRAY, BEVERLY                THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
MCMURRAY, LAURA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCMURTREY, SANDRA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCNABB, ANN                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
MCNABB, HUE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCNABB, HUE                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MCNABB, HUE                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768


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Claim Name                       Address Information
MCNABB, MARY                    BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
MCNAIR, ANNETTE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCNAIR, BRENDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCNAIR, LEDELL                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
MCNAMARA, BONNIE                MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
MCNAMARA, DEIDRE                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MCNAMARA, NORMA                 LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
MCNAMEE, JENNIFER               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MCNAMEE, WINIFRED               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MCNATT, VICKIE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MCNEAL, TONYA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCNEECE, MARGERETTE             DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MCNEECE, MARGERETTE             LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MCNEECE, MARGERETTE             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MCNEEL, BARBARA                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
MCNEELY, KIMBERLY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCNEELY, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCNEESE, KAREN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCNEIL, ALICE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCNEIL, BRENNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCNEIL, ROSA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCNEIL, SARAH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCNEILL, COLEEN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCNEILL, DEBRA                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
MCNEILL, DEBRA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MCNEILL, DIANE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCNEILL-GEORGE, DANGELA M       COHEN, PLACITELLA & ROTH 127 MAPLE AVE. PLACITELLA, CHRISTOPHER M. GEIER,
                                DENNIS M. RED BANK NJ 07701
MCNELIS, ELISSA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MCNESBY, JEANNINE               ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
MCNETT, JANE                    THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID
                                A. MIAMI FL 33131
MCNEVIN, KAREN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
MCNEW, DORIS                    FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
MCNICHOLAS, SIOBHAN             BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
MCNICHOLS, DONNA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCNULTY, GAIL                   MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
MCNULTY, SHIRLEY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCNUTT, KATIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCNUTT, SARANDA                 TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
MCNUTT, SUSAN                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MCNUTT, SUSAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
MCPARTLIN, MARY                 POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                LECKMAN, T. MATTHEW CONSHOHOCKEN PA 19428
MCPHERSON, BETTY                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
MCPHERSON, DAWN                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MCPHERSON, ROBIN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCPHERSON, SHARON               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCPHILLIP, JEAN                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MCPHILLIP, JEAN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCPHILLIPS, LAURIE              DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MCPHILLIPS, LAURIE              DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
MCPHILLIPS, LAURIE              LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MCPHILLIPS, LAURIE              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MCQUADE, ROBIN                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MCQUAIN, LIBBY                  JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
MCQUATE, KATRINA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCQUAY, WENDY                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MCQUEEN, DAPHNE                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MCQUEEN, SANDRA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCQUILLAN, MARY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCQUILLAN, MARY                 THE POTTS LAW FIRM, LLP 3737 BUFFALO SPEEDWAY STE 1900 HOUSTON TX 77098
MCQUILLEN, KAREN                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
MCQUILLEN, KAREN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCQUILLEN, KAREN                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
MCQUILLEN, KAREN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCQUILLEN, KAREN                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157



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Claim Name                       Address Information
MCQUILLEN, KAREN                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MCQUITTY, MARTHA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCQUOWN, LINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCQUOWN, LINDA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MCQUOWN, LINDA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
MCRAE, CHRISTINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCRAE, GWENDLYN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCRAE, SUSAN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCREYNOLDS, ELKE                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
MCSHANE, DARLENE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCSHANE, DARLENE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MCSHANE, DARLENE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
MCSHEA, ELIZABETH               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MCSHERRY, REBECCA               CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
MCSURDY, ROSINA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCSWAIN, DEANNA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCSWAIN, LORI                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MCSWAIN, PHYLLIS                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MCSWEENEY/LANGEVIN, LLC         2116 SECOND AVENUE SOUTH MCSWEENEY,RHETT A LANGEVIN, DAVID M MINNEAPOLIS MN
                                55404
MCTAMNEY, LAURALEE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCTAMNEY, LAURALEE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCTAMNEY, LAURALEE              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MCTAMNEY, LAURALEE              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MCTAMNEY, LAURELEE              GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
MCTIGUE, CAROLE                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MCVAY, MARCIA                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
MCVAY, PAMELA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCVEAN, CYNTHIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MCVEAN, CYNTHIA                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
MCVEAN, CYNTHIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MCVEAN, CYNTHIA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MCVEAN, CYNTHIA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MCVEY, BEVERLY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MCVEY, LANA                     THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST


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                                          LTL Management LLC
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Claim Name                          Address Information
MCVEY, LANA                        CHARLESTON WV 25301
MCWATERS, LOU                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
MCWATTY, LORNA                     MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
MCWHORTER, MADGE                   SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
MCWILLIAMS, CATHERINE              THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                   MADISON MS 39110
MCWILLIE, DIANE                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
MCWILLIE, DIANE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
MCWOODS, SUNDRA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MCZEAL, ANISSA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEACHAM, DEBRA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
MEACHEM, JERI                      THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
MEACHEM, ROBERTA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
MEAD, NAN                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
MEAD, PATRICIA                     FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
MEAD, STANLEY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEADE, ARLENE                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
MEADE, HEIDI                       BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
MEADOR, CAROL                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEADOR, CHRISTINA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
MEADOR, CHRISTINA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
MEADOR, CHRISTINA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEADOR, CHRISTINA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MEADOR, CHRISTINA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MEADOR, SHARON                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEADOWS, DONNA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEADOWS, JENNIFER                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
MEADOWS, JUDY                      DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102
MEADOWS, LUANA                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MEADOWS, MELISSA                   WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                   NJ 08002
MEADOWS, PHYLLIS                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEADOWS, STEPHANIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
MEADOWS, VICKIE                    SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
MEADWOS, JUDITH                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
MEALS, VICKI                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEALY, BECKY                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
MEANS, BARBARA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                              Address Information
MEANS, BARBARA                          MEADOWS, TED G. MONTGOMERY AL 36104
MEANS, JANICE                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                        STREET, SUITE PENSACOLA FL 32502
MEANS, LANDRIA                          MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                        ORLEANS LA 70130
MEARA, DEBORAH                          GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MEARS, FRANCIS                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEARS, MARCIA                           ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
MEARS, MARCIA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
MEARS, MARCIA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEARS, MARCIA                           THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MEARS, MARCIA                           PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
MEARS, ORAH                             FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
MECADON, LISA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MECHELLE DOBBS                          WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                        NJ 08002
MECOM, SONJA                            JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                        77098
MEDCALF, MARJORIE                       ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MEDCALF, MARJORIE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
MEDD, COURTNEY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
MEDEIROS, KATHLEEN                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
MEDELLIN, GRACIELA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEDFORD, CHRISTY                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
MEDFORD, NADINE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
MEDGES, JANA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEDINA, ALICE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEDINA, ANDRIANA                        NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                        PR 00918
MEDINA, ANGELINA                        FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MEDINA, ANTOINETTE                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
MEDINA, DENELDA                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                        77098
MEDINA, DESTINY                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MEDINA, DORIS AND MEDINA, TEMISTOCOLE   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
MEDINA, FRNACES                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
MEDINA, FRNACES                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEDINA, FRNACES                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MEDINA, FRNACES                         PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MEDINA, IVELISSE                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                        77098
MEDINA, MARGARET                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                              Address Information
MEDINA, MARY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MEDINA, MARY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEDINA, MARY                           THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MEDINA, MARY                           PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
MEDINA, MIGDALIA                       BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                       70130
MEDINA, MIGDALIA                       BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                       75202
MEDINA, PHYLLIS                        DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MEDINA, RAQUEL                         WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                       NJ 08002
MEDINA, ROSA                           KIESEL LAW, LLP 8648 WILSHIRE BLVD. FARAJ, HAYTHAM BEVERLY HILLS CA 90211
MEDINA, THELMA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEDINA, VIENGXAY                       GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MEDINA,MIRNDA,POULOT,BARSA,BARRN,HAWRTH ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC.; 19 CORPORATE PLAZE DR
,                                       ROBINSON, JR. MARK P. KAR NEWPORT BEACH CA 92660
MEDLENNOFF, PAM                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
MEDLEY, HELEN                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MEDLEY, HELEN                          TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
MEDLEY, JENNIFER                       JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                       PAUL MN 55101
MEDLEY, JODY                           NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                       11747
MEDLIN, DOROTHY                        WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
MEDLOCK, EMILY                         WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
MEDLOCK, MARY                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MEDRANO, EMELIE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEDRANO, IRMA                          MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                       YORK NY 10017
MEDRANO, KIMBERLYN                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
MEDRANO, MOLLY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEDRANO, NICOLE                        DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                       KANSAS CITY MO 64196
MEDSKER, MAGGIE                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MEDSKER, PEGGY                         HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                       AL 03520
MEDVED, ANDREA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MEDVED, PHYLLIS                        POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                       LECKMAN, T MATTHEW BRASLOW CONSHOHOCKEN PA 19428
MEEHAN, JUDY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEEHAN, JUDY                           FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MEEK, BARBARA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEEK, CAROL                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEEK, VIVIAN                           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX


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Claim Name                              Address Information
MEEK, VIVIAN                            77098
MEEKINS, DELZORA                        BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                        TX 75219
MEEKINS, NICOLE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
MEEKINS, TELISHA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEEKS, JANET                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
MEEKS, JANICE                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                        STREET, SUITE PENSACOLA FL 32502
MEEKS, JESSLYN                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
MEEKS, JESSLYN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEEKS, JESSLYN                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MEEKS, JESSLYN                          PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
MEEKS, REBECCA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEEKS, REBECCA                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MEEKS, REBECCA                          PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MEEKS, SHIRLEY                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
MEERDO, ELEANOR ESTATE OF GEORGE MEERDO WEITZ & LUXENBERG C/O F. ALEXANDER EIDEN 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
MEFFORD, MARY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEGARIOTIS, JOANNA                      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
MEGGETT, ANGELA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEGHAED, SHARVAT                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEGHANA, JOSHI                          KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
MEHAFFY, JOYCE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEHR, HASINA                            DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                        KANSAS CITY MO 64196
MEHREN, MARGARET                        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MEIER, ARLENE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEIER, CYNTHIA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
MEIER, CYNTHIA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEIER, CYNTHIA                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MEIER, CYNTHIA                          PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
MEIER, CYNTHIA                          SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                        90401
MEIER, GAIL                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
MEIERS, BEVERLY                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                        ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
MEIKLE, AMBER                           ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
MEIKLE, ELIZABETH C. AND MEIKLE, GARY   LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
P.                                      NJ 08648
MEINERS, BARBARA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEINHARDT, CATHERINE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
MEINHOLD, CORINE                        FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098


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                                               LTL Management LLC
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                                                        List
                                                            Entered 02/17/22 16:31:44             Desc Main
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Claim Name                              Address Information
MEIROWITZ & WASSERBERG, LLP            C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW YORK NY 10017
MEIROWITZ, HARRIETT                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
MEISINGER, DEBRA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEISTER, KAREN                         GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                       EVAN D. EDWARDSVILLE IL 62025
MEIXNER, ELLEN                         COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
MEIXNER, ELLEN                         ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
MEJIA, AHUILITZLI                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MEJIA, ANNETTE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEJIA, CYNTHIA                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
MEJIA, MIRYAM                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MEJIA, NELLY                           WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                       DALLAS TX 75219
MEJIA, TRISHA                          THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                       CHARLESTON WV 25301
MEJIA, ZENAIDA                         GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                       EDWARDSVILLE IL 62025
MELANCON, DORIS                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MELANCON, KATHERINE                    MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                       ORLEANS LA 70130
MELANIE H MUHLSTOCK/PARKER             WAICHMAN LLP; 6 HARBOR PARK DR PORT WASHINGTON NY 11050
MELANIE TRUDEAU                        ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119
MELANSON, ANDREA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MELANSON, ANDREA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MELANSON, ANDREA                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MELANSON, ANDREA                       PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
MELBA RODRIGUEZ                        WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                       NJ 08002
MELBERGER, BERNADETTE                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                       PA 19102
MELBERGER,B, RHODE,J; ROCKS,P; WORLEY,K ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
MELBERGER,B, RHODE,J; ROCKS,P; WORLEY,K BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
MELBERGER,B, RHODE,J; ROCKS,P; WORLEY,K ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MELBERGER,B, RHODE,J; ROCKS,P; WORLEY,K THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MELBERGER,B, RHODE,J; ROCKS,P; WORLEY,K PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MELBY, MELISSA                         DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                       KANSAS CITY MO 64196
MELCHER, PHYLLIS                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MELCHI, JUDITH                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MELCHIOR, JOAN                         WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
MELDER, BRENDA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
MELDER, BRENDA                  MEADOWS, TED G. MONTGOMERY AL 36104
MELE, ELEANOR                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MELENCIANO, ISABEL              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MELENDEZ, ALIDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MELENDEZ, LYNN                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MELHORN, DEBBIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MELILLO, MONICA                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MELINDA BOHLMAN                 EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP EICHEN, BARRY R. & KELLY, JOHN P. 40
                                ETHEL ROAD EDISON NJ 08817
MELISSA BURKE                   FLETCHER V. TRAMMELL BINSTOCK, MELISSA & TRAMMELL, FLETCHER V 3262 WESTEIMER,
                                SUITE 423 HOUSTON TX 77098
MELISSA GIRTON                  LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207 MANHATTAN
                                BEACH CA 90266
MELISSA GIRTON                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MELISSA NELSON                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
MELISSA RAULSTON                JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
MELISSIA BOHNET                 JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
MELIUS, RITA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MELL, JOYCE                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MELL, ROSE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MELLINGER, VIVIAN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MELNYK, STEPHANIE               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MELNYK, STEPHANIE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MELSON, CANDY                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MELTON, DOROTHY                 MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
MELTON, GLORIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MELTON, JUDY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MELTON, KELLA                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
MELTON, KELLY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MELTON, MARY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MELTON, SLOANE                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
MELTON, TAMI                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MELTON, TERESA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
MELTZER, ELISE                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
MELVILLE, JOANNE                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MELVIN, DEBORAH                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MELVIN, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MELVIN, YVETTE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEMEH, IJEOMA                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
MEMOLI, DEBORAH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MENA, IRENE                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MENA, IRENE                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MENARD, TERESA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MENDEL, LINDA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MENDENHALL, CAROL               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MENDENHALL, JULIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MENDES, DEBRA                   BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
MENDES, NICOLE                  COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
MENDES-HOLMES, DEBRA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MENDEZ, DELIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MENDEZ, DELIA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MENDEZ, DELIA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MENDEZ, DELIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MENDEZ, ESTER                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MENDEZ, MORENA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MENDEZ, NILDA                   MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
MENDEZ, SHIRLEY                 THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
MENDEZ, VICTORIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MENDICINO, LORI                 MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
MENDO, JULIETTE                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MENDONSA, MELISSA               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MENDOZA, ADELAIDA               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
MENDOZA, AMIE                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MENDOZA, BRIDGET                DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
MENDOZA, CONSTANCE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MENDOZA, FLORENCE               COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204



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Claim Name                       Address Information
MENDOZA, JULIETA                WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
MENDOZA, LETITIA                SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
MENDOZA, LINDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MENDOZA, MARIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MENDOZA, MARIA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MENDOZA, MARIA                  MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
MENDOZA, MARIA                  KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
MENDOZA, ROSE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MENDOZA, VANESSA                HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
MENEFEE, ELVIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MENEFEE, GALE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MENEFEE, LINDA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MENEFEE, NASHERNEDRA            DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
MENEFEE, TEMEKA                 WEITZ & LUXENBERG RELKIN, E; SHARMA, B 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
MENENDEZ, IRENE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MENENDEZ, JESSICA               THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 FERRARO, JR., JAMES
                                L. MIAMI FL 33131
MENESES, DORIS                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MENG, KATHRYN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MENG, KATHRYN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MENG, KATHRYN                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MENG, KATHRYN                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
MENG, SHARON                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MENGEL, DIANE                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MENHAL, PATTY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MENHAL, PATTY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MENKING, DORIS                  BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
MENNE, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MENNELLA, THEODORA              COHEN, PLACITELLA & ROTH 127 MAPLE AVE. PLACITELLA, CHRISTOPHER M. GEIER,
                                DENNIS M. RED BANK NJ 07701
MENNOR, TERRI                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MENOKEN, JUANITA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MENOKEN, JUANITA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MENSTER, KRISTINE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MENSTER, KRISTINE               GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402



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Claim Name                              Address Information
MENSTER, KRISTINE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MENSTER, KRISTINE                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MENSTER, KRISTINE                       PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MENTO, CATHERINE                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
MENTO, CATHERINE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
MENTO, CATHERINE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MENTO, CATHERINE                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MENTO, CATHERINE                        PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
MENUCK, JACQUELINE                      BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                        75202
MENZEL, PEGGY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MENZEL, PEGGY                           THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MENZEL, PEGGY                           PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MEO, CONSTANCE                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
MERCADO, ELIZABETH                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                        ORANGE VA 02296
MERCADO, ESTHER                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
MERCADO, KATHRYN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MERCADO, KATHRYN                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MERCADO, KATHRYN                        PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MERCADO, MARIA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
MERCER, HELEN                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MERCER, JEAN                            BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                        70130
MERCER, JEAN                            BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                        75202
MERCER, LINDA                           DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MERCER, LINDA                           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                        77098
MERCER, LINDA                           LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                        94111
MERCER, MELONEE                         THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
MERCER, PIER                            GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                        EVAN D. EDWARDSVILLE IL 62025
MERCER, REBEKAH                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
MERCER, ROBERT C AND MERCER, KATHLEEN   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
MERCER, TARA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MERCER, TERESA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MERCHANT, PATRICIA                      BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                        70130
MERCHANT, PATRICIA                      BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                        75202
MERCHANT, VIVIAN                        DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MERCIER, KAREN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MERECKA, SAN JUANITA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                       Address Information
MERECKA, SAN JUANITA            75231
MEREDITH, AISHA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MEREDITH, AISHA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEREDITH, AISHA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MEREDITH, AISHA                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
MEREDITH, CHRISTINA             DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MEREE, LUCILLE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MERENA, JOSEPHINE               TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
MERENDA, TAMARA                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MERICLE, ANNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MERIDA, KARYN                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MERINO, MARIA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MERINO, SONIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MERIWETHER, TONI                MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
MERKLE, LYNN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MERKLE, SHIRLEY                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MERKNER, LORI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MERLO, TINA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MERRELL, GINA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MERRELL, JANET                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MERRICK, ALTHEA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MERRICK, ALTHEA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MERRILL, MARGARET               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MERRILL, SANDRA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MERRILL, VANESSA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MERRILL, YVONNE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MERRIMAN, BRENDA                TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
MERRIMAN, EBONEY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MERRIMAN, EBONEY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MERRIMAN, EBONEY                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MERRIMAN, EBONEY                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MERRIT, NADIA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MERRITT, CAROLYN                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MERRITT, CAROLYN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MERRITT, FRAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                              Address Information
MERRITT, FRAN                          MEADOWS, TED G. MONTGOMERY AL 36104
MERRITT, FRAN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MERRITT, FRAN                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MERRITT, FRAN                          PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MERRITT, KAREN                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MERRITT, SUE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MERRITT, TERESA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MERRIWETHER, CHARLOTTE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MERROW, BEVERLY                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MERRYFIELD, DEANNA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MERRYMAN, ELIZABETH                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
MERRYMAN, ELIZABETH                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MERRYMAN, NORMA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MERSINO, JILL                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MERSON, DAWN                           WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
MERZ, BEVERLY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MERZ, JEANNIE                          ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119
MESA, MARIA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MESA, MARIA                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
MESCIA, CHRISTINE                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MESCIA, CHRISTINE                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MESEROLE, CHERYL                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
MESKISESKIS, MARY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MESLER, SUSAN                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
MESLER, SUSAN                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MESSENGER, DAWN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MESSER, DEBORAH                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MESSER, DOROTHY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MESSER, KATHY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MESSER, MICHELLE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MESSER, SHARON                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MESSERLI, CAROL A AND MESSERLI, TERRY A WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
MESSINA, GLORIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MESSINA, KATHRYN                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MESSING, ELIZABETH                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098


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Claim Name                       Address Information
MESTRE, LORI                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
METCALF, DIANE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
METCALF, LORETTA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
METCALF, NANCY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
METCALF-STEM, TINA              SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
METCALFE, CORDELIA              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
METCALFE, CORDELIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
METHENEY, SHIRLEY               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
METHENEY, SHIRLEY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
METOYER, CHARLOTTE              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
METSCHER, DEBRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
METTETAL, KIMBERLY              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
METTLER, LINDA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
METTS, CATHY                    MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
METZ, JANET                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
METZ, JANET                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
METZ, TIFFANY                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
METZ, TIFFANY                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
METZ, TIFFANY                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
METZ, TIFFANY                   LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
METZ, TIFFANY                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
METZ, TIFFANY                   ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
METZGER, CAROL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
METZGER, CAROL                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
METZGER, CAROL                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
METZGER, FRANCES                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
METZGER, JOYCE                  NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
METZGER, MICHELLE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
METZGER, PAULINE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
METZKE, JUNE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
METZLER, ANNA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
METZLER, CAROL                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231



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Claim Name                               Address Information
METZLER, DIANNA                          GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                         PA 19102
METZLER, DIANNA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
METZLER, DIANNA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
METZLER, DIANNA                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
METZLER, DIANNA                          PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
METZLER, JUDITH                          DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                         ANTHONY ST. LOUIS MO 63102
METZLER, JUDITH                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE,
                                         ROBINSON, JR. MARK P. LU NEWPORT BEACH CA 92660
METZLER, LINDA                           GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
METZNER, ROSEMARY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
MEYER, ALISON                            CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                         14202-3725
MEYER, ANDREA                            MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                         ORLEANS LA 70130
MEYER, ANGELA                            MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                         KNOXVILLE TN 37929
MEYER, BARBARA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
MEYER, CARLENE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEYER, CAROL                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEYER, CONSTANCE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
MEYER, DEIRDRE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEYER, GAIL                              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MEYER, JOLENE                            COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                         INDIANAPOLIS IN 46204
MEYER, LUCINDA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
MEYER, MARIJO                            MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                         YORK NY 10017
MEYER, PAMELA                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
MEYER, PAMELA                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
MEYER, PATRICIA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
MEYER, PHYLLIS                           MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                         YORK NY 10017
MEYER, RUDEAN                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
MEYER, SONIA                             HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                         AL 03520
MEYERS, DESIREE                          MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
MEYERS, DORIS                            THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
MEYERS, ELIZABETH EST OF ROBERT MEYERS   LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                         NJ 08648
MEYERS, LISA                             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231


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Claim Name                       Address Information
MEYERS, MICHELE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEYERS-BURNS, EILEEN            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MEYHOFER, MARY                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MEZA, GUADALUPE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MEZA, MARIA                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MICALLEF, THERESA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MICHAEL, HELEN                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MICHAEL, HELEN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MICHAEL, MICHELLE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MICHAELIS, LINDA                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
MICHAELS, ALICE                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
MICHAELS, DIANA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MICHAELS, FRANCES               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MICHAELSON, BARBARA             COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
MICHAELSON, KIM                 BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
MICHALES, WANDA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MICHALES, WANDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MICHALIK, FELICE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MICHALSKI, DARLENE              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MICHALSKI, LINDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MICHALSKI, WENDI                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MICHAUD, LISA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MICHAUD, NANCY                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
MICHAUD-SCHEVIS, MICHELINE      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MICHEL, DOLORES                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MICHEL, JANNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MICHELE VITALE                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC PUTNICK, MARY ELIZABETH 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
MICHELLE ALVAREZ                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
MICHELLE CLARK                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
MICHELLE MAY                    LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207 MANHATTAN
                                BEACH CA 90266
MICHELLE MAY                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MICHELLI, MELISSA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                         Address Information
MICHELS, ANN                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
MICHINI, MARGARET                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                  11747
MICHLES, BERNICE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MICHLONEY, MARTHA                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                  BOUNDAS, JOHN T. HOUSTON TX 77017
MICHNOWSKI, NANCY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
MICHON, MARGARET                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
MICHOT, VIRGINIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MICK, LU                          GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                  MINNEAPOLIS MN 55402
MICK, LU                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MICK, LU                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MICK, LU                          PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MICKELSON, LINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MICKENS, GLADYS                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MICKEY, DIANNE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MIDDAUGH, DONNA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
MIDDLEBROOKS, PATRICIA            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
MIDDLETON, CONNIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
MIDEY, DEBORAH                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MIERA, DOROTHY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
MIERA, PAMELA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
MIERA, PAMELA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MIERA, PAMELA                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MIERA, PAMELA                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MIGHT, SHIRLEY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MIGUEL, ILIANA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                  ORANGE VA 02296
MIGUEZ, MELISSA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MIHALITSAS, ANTONIETTA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MIJANGOS, EUSEBIA                 THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
MIJARES, TERESA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MIKELS, JUNE                      DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MIKI, TERESA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MIKKELSEN, ANGELA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MIKKELSEN, DEBORAH                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                  BOUNDAS, JOHN T. HOUSTON TX 77017
MIKKELSEN, KATHLEEN               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                  STREET, SUITE PENSACOLA FL 32502
MIKOLAJCZAK, TERRY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
MIKULA, WENDY                     MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501



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                                            LTL Management LLC
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Claim Name                            Address Information
MIKULKA, LOIS                        CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                     14202-3725
MIKUS, MARIE                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
MILAM, TONI                          DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                     ANTHONY ST. LOUIS MO 63102
MILAM, TONI                          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MILAM, TONI                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                     ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MILANO, LUCI                         GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                     PA 19102
MILBERG COLEMAN BRYSON PHILLIPS      GROSSMAN; 800 S GAY ST STE 1100 LAURA WELLING KNOXVILLE TN 37929
MILBURN, SANDRA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
MILBY, ALICE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILBY, VIOLET                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
MILDRED JOHNSON                      ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                     LOUIS MO 63119
MILEM, ANN                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
MILES, AMANDA                        ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MILES, ANTOINETTE                    WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                     NJ 08002
MILES, APRIL                         GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                     EDWARDSVILLE IL 62025
MILES, BARBARA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILES, BELINDA                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                     ORANGE VA 02296
MILES, BETTYGLEN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILES, BEVERLY                       COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 SANDIFER, TAKEENA T. KNOLL,
                                     JONATHAN A. INDIANAPOLIS IN 46204
MILES, COURTNEY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILES, JUANITA                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                     ORANGE VA 02296
MILES, LINDA                         NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                     11747
MILES, LINDA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
MILES, MARY                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                     77007
MILES, RACHEL                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
MILES, SHANTA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILETICH, DENISE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
MILEY, DARLA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILEY, DIANA                         MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                     ORLEANS LA 70130
MILFORD, ROBIN                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                     EMILY FAIRFAX VA 22031
MILFORD, ROBIN                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                            Address Information
MILGRIM, JIMMIE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
MILHOUSE, MARTHA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILIAN, NIRIA                        ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                     LOUIS MO 63119
MILIANO, ROSEMARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILICH, SUSAN                        GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                     MINNEAPOLIS MN 55402
MILICI, THERESA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
MILINA, CYNTHIA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILINA, CYNTHIA                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                     77098
MILITELLO, JANICE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILITRANO, ELIZANDRA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                     EMILY FAIRFAX VA 22031
MILLAR, EVE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
MILLAR, EVE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLAR, EVE                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MILLAR, EVE                          PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MILLEN, PAULA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER DELLAFERA PLC                 3420 PUMP RD., PMD 404 HENRICO VA 23233
MILLER, ALLEN                        WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                     BOUNDAS, JOHN T. HOUSTON TX 77017
MILLER, ANN AND MILLER, JEFFREY      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                     HILL NJ 08002
MILLER, ARLENE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, BARBARA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, BARBARA                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MILLER, BARBARA                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                     ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MILLER, BERNADINE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
MILLER, BETSY                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                     EMILY FAIRFAX VA 22031
MILLER, BETSY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
MILLER, BETTY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, BETTY                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                     77098
MILLER, BRENDA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
MILLER, BRONWYN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, CARLENE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
MILLER, CAROL                        LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MILLER, CAROL                        LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                     MANHATTAN BEACH CA 90266
MILLER, CAROL                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                     ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MILLER, CAROL                        ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.


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Claim Name                       Address Information
MILLER, CAROL                   & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MILLER, CAROLANN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, CAROLYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, CATHIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILLER, CERMORIA                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
MILLER, CHARLOTTE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MILLER, CHERIE                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
MILLER, CHERYL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, CHERYL                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MILLER, CHRISTINE               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MILLER, CIMME                   BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
MILLER, CLARA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MILLER, CONNIE                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
MILLER, CRISTINA                POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
MILLER, DARLENE                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MILLER, DEBORAH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, DEBORAH                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MILLER, DEBRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, DEBRA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MILLER, DENISE                  ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                FELLER, JOEL J. PHILADELPHIA PA 19103
MILLER, DIANE                   LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                NICHOLAS LAKE CHARLES LA 07060
MILLER, DIANE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MILLER, DIANE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILLER, DORIS                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MILLER, DOROTHY                 WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
MILLER, DOROTHY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MILLER, EDEN                    KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
MILLER, EDEN                    LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
MILLER, ELAINE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MILLER, ELAINE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MILLER, ELEANOR                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MILLER, ELEANOR                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILLER, ELENA                   LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,



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Claim Name                       Address Information
MILLER, ELENA                   NICHOLAS LAKE CHARLES LA 07060
MILLER, ELIZABETH               WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
MILLER, ELIZABETH               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, ELONA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILLER, GAIL                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MILLER, GAYLA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, GEORGIANA               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MILLER, GLADYS                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MILLER, HEATHER                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, IDA                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MILLER, IDA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILLER, IMA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILLER, INA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, INA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MILLER, JACQUELINE              BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
MILLER, JANET                   CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
MILLER, JANET                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET ZINNS,
                                SHARON MONTGOMERY AL 36104
MILLER, JANET                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, JANET                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MILLER, JEAN                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MILLER, JEANETTE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILLER, JENNIFER                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
MILLER, JOAN                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MILLER, JOAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, JOANNE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILLER, JOSEPHINE               NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MILLER, JUDITH                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
MILLER, JULIE                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MILLER, JULIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILLER, JUSTINE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MILLER, KAREN                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MILLER, KAREN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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                                       LTL Management LLC
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Claim Name                       Address Information
MILLER, KAREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, KATHERINE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILLER, KATHLEEN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILLER, KATHLEEN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, KATHY                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
MILLER, KAY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILLER, KAYDEE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MILLER, KIMBERLEE               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MILLER, LABRONDA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MILLER, LEANNE                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MILLER, LEIGH                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MILLER, LESLEY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MILLER, LILIAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, LINDA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MILLER, LINDA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MILLER, LINDSAY                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MILLER, LISA                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
MILLER, LISA                    LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
MILLER, LIZABETH                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
MILLER, LOIS                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MILLER, LOIS                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
MILLER, LORETTA                 JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
MILLER, LORETTA                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MILLER, LORI                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MILLER, LORRAINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, LORRI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, LULA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MILLER, LYNNE                   MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
MILLER, MARGARET                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILLER, MARGARET                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, MARGE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                              Address Information
MILLER, MARGERY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, MARILU                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MILLER, MARILYN                        DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MILLER, MARILYN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, MARY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MILLER, MARY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, MELISSA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MILLER, MELISSA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MILLER, MICHELLE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MILLER, MICHELLE                       GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
MILLER, MONICA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, NANCY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, NANCY AND REIS, JOAN           NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                       PR 00918
MILLER, NANNIE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, PAM                            THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
MILLER, PAMELA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, PAMELA                         TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
MILLER, PATRICIA                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
MILLER, PATRICIA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MILLER, PATRICIA                       LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                       SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
MILLER, PATSY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MILLER, PAULINE                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
MILLER, PRUDENCE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, RACHEAL                        ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
MILLER, REBECCA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, RENATE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, ROBIN                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MILLER, ROBIN                          GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                       MINNEAPOLIS MN 55402
MILLER, ROBIN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, ROBIN                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MILLER, ROBIN                          PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MILLER, ROBIN                          SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                       90401
MILLER, RONALD RAYMOND, EST OF V MILLER LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                        NJ 08648
MILLER, RUTHANN                        THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                       CHARLESTON WV 25301


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Claim Name                       Address Information
MILLER, SABRA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MILLER, SABRINA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, SALLY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MILLER, SANDRA                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
MILLER, SAUNDRA                 TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
MILLER, SHANA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILLER, SHARRON                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MILLER, SHEILA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, SHERRY                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MILLER, SHIRLEY                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MILLER, SHIRLEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, SONYA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
MILLER, SUSAN                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MILLER, SUSIE                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
MILLER, TAMI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, TAMRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, TASHA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
MILLER, TIERNEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, TIFFANY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, TRACI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILLER, TRACY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MILLER, VERONICA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILLER, VERONICA                JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
MILLER, VIVIAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, WANDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILLER, WANDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLER, WILMA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILLET, RUBY                    MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
MILLETT, SANDRA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MILLICAN, AUNDREAX              THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
MILLIER, KATHLEEN               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MILLIGAN, BETTY                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031



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Claim Name                       Address Information
MILLIGAN, BETTY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILLIGAN, VICKEY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLIKEN, MAUREEN               ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
MILLINER, JOYCE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MILLING, SHANNON                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
MILLING, SHANNON                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLINGER, SUNNY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILLIORN, MICHELE               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
MILLISON, KATHLEEN              MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
MILLS, AMY                      MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                DAVID M. MINNEAPOLIS MN 55404
MILLS, ARLENE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MILLS, BESSIE                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MILLS, BESSIE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MILLS, CAROLE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLS, CAROLYN                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MILLS, CAROLYN                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MILLS, CAROLYN                  LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
MILLS, CAROLYN                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MILLS, CAROLYN                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MILLS, CATHY                    SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
MILLS, DELORES                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MILLS, DELORES                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILLS, DIANNA                   BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
MILLS, DONNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLS, DONNA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MILLS, EFFIE                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MILLS, ELIZABETH                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MILLS, ERMA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MILLS, HAZELENE                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MILLS, JOSIE                    HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
MILLS, JULIET                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660


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                                       LTL Management LLC
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Claim Name                       Address Information
MILLS, KAREN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILLS, LIDIA                    HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
MILLS, LISA                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MILLS, LYNN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILLS, MARIA                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MILLS, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILLS, MERILYN                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MILLS, SHERI                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MILLS, VALERIE                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MILLS-ALEXANDER, LINDA          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILLS-MCCOY, ANNETTE            THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MILLSAPS, CHRISTINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILNE, VIRGINIA                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MILNE-PEDERSEN, JOANN           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MILNER, JOYCE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILNER, VALERIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MILO, ERLINDO                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
MILO, GLORIA                    BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
MILORO, ELIZABETH               DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
MILSTEAD, DEBRA                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
MILTON, BETTY                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
MILWOOD, PATRICIA               MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
MIMS, ANGELICA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MIMS, BERTHA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MIMS, ROSA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MIMS-MYERS, OLIVIA              LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
MINARD, TOMMIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MINATREA, NERESA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MINCH, SONJA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MINDOCK, GINA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MINER, BETTY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MINER, MARY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
MINER, MARY                     MEADOWS, TED G. MONTGOMERY AL 36104
MINER, NANCY                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MINER, NANCY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MING, AMANDA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MING, AMANDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MING, GAYNA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MINGGIA, VANESSA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MINICK, LISA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MINIELLY, KIMBERLY              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MININNI, JANE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MINIX, VERONICA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MINIX, VERONICA                 LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
MINJAREZ-HOLMES, THERESA        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MINK, KAREN                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MINK, KAREN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MINKLER, SHIRLEY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MINNA, TONYA                    BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
MINNER, JOANN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MINNICK, JUANITA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MINNICK, MICHAELA               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MINNIE NANCE                    LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207 MANHATTAN
                                BEACH CA 90266
MINNIE NANCE                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MINNIEFIELD, RUBY               MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
MINNIX, CHANDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MINOR, BRIDGETTE                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MINOR, SHEILA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MINOR, SYLVIA                   LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
MINOR-JACKSON, DEENEAN          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MINSQUERO, SANDRA               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MINTER, ANN                     THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                FERRARO, JR, JAMES L MIAMI FL 33131
MINTON, DEBORAH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
MINYARD, FLORENCE JONES         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MINYARD, TRACY                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MINZGHOR, SARAH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MIOLEN, LAURA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MIRABAL, VIRGINIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MIRABELLI, CECILIA              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MIRABELLI, CECILIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MIRACLE, JUDY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MIRACLE, MARTHA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MIRACLE, MARY                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MIRACLE, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MIRANDA, ANNE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MIRANDA, ANNE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MIRANDA, LINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MIRANDA, MARGO                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
MIRANDA, MARIA                  SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
MIRANDA, MARIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MIRANDA, MARIA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MIRANDA, MARIA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MIRANDA, VERONICA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MIRCHANDANI, RAJINI             ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
MIRE, MICHELE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MIRELES, JOSEFINA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MISARES-MOTRONEA, VALERIA       MILLER DELLAFERA PLC 3420 PUMP RD., PMD 404 HENRICO VA 23233
MISBACH, JUDY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MISCHLER, NANCY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MISFELDT, GLORIA                WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
MISHOE, LAFAYE                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MISIR, JULIE                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MISKOFSKI, KERRY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MISURA, BONNIE                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464



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Claim Name                       Address Information
MITCHELL, ALICE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHELL, ANSELMA               HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
MITCHELL, ANTOINETTE            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MITCHELL, ARETHA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHELL, ARLENE                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MITCHELL, BERNADETTE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHELL, BONNIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MITCHELL, CALISTA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHELL, CAROL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHELL, CAROLYN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHELL, CHINA                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
MITCHELL, CHRISTINE             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MITCHELL, CHRISTINE             THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
MITCHELL, CHRISTINE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MITCHELL, CLARISSA              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MITCHELL, CLAUDINE              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MITCHELL, CYNTHIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MITCHELL, CYNTHIA               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MITCHELL, DARLENE               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MITCHELL, DARLENE               DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MITCHELL, DARLENE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHELL, DEBORAH               NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MITCHELL, DEBORAH               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MITCHELL, DENISE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
MITCHELL, DENISE                LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
MITCHELL, DIANE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MITCHELL, DIANNE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHELL, DOROTHY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHELL, ESSIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHELL, EVETTA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHELL, HEATHER               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MITCHELL, IMOGENE               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MITCHELL, IRENE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MITCHELL, JANE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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                                        LTL Management LLC
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                                                      Entered 02/17/22 16:31:44            Desc Main
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Claim Name                       Address Information
MITCHELL, JANE                  75231
MITCHELL, JANE                  MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
MITCHELL, JANE                  KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
MITCHELL, JEANETTE              MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
MITCHELL, JEANINE               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MITCHELL, JEANNINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHELL, JENNIFER              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MITCHELL, JENNIFER              LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
MITCHELL, JOY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MITCHELL, JOY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MITCHELL, JOYCE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHELL, JULIET                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MITCHELL, JULIET                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHELL, JULIET                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MITCHELL, JULIET                PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
MITCHELL, KAREN                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MITCHELL, KATHRYN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MITCHELL, KATHRYN               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MITCHELL, KATHY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHELL, LAURA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
MITCHELL, LAURA                 HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
MITCHELL, LAURIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MITCHELL, LAURIE                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
MITCHELL, LAURIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHELL, LAURIE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MITCHELL, LAURIE                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MITCHELL, LETITIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHELL, LILLIAN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHELL, LINDA                 COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
MITCHELL, LINDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHELL, LINDA                 KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
MITCHELL, MARZETTA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MITCHELL, MYRTLE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHELL, PAMELA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MITCHELL, PATRICA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHELL, PATRICIA              GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD


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                                       LTL Management LLC
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Claim Name                       Address Information
MITCHELL, PATRICIA              EDWARDSVILLE IL 62025
MITCHELL, PAULA                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MITCHELL, RITA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHELL, ROSE                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MITCHELL, ROSE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MITCHELL, ROSE                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MITCHELL, ROSE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MITCHELL, ROZENIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MITCHELL, SABRINA               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
MITCHELL, SHIRLEY               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MITCHELL, SHIRLEY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MITCHELL, SUSAN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MITCHELL, TISHA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MITCHELL, TRENISE               THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
MITCHELL, VANESSA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHELL, VONCIELE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MITCHELL-EVAK, LAURA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHELL-TILLEY, MARILYN        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MITCHEM, CARLETTA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MITCHEM, CARLETTA               GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
MITCHEM, CARLETTA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHEM, CARLETTA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MITCHEM, CARLETTA               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MITCHMORE, KRYSTAL              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MITCHUM, SUSAN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MITCHUM, SUSAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MITCHUM, SUSAN                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MITCHUM, SUSAN                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MITCHUSSON, RHONDA              BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
MITTS, HEATHER                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MIXON, DEBORAH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MIXON-GIBSON, NAOMI             FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098



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                                       LTL Management LLC
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Claim Name                       Address Information
MIZAK, CHERYL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MIZE, PAMELA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MIZELL, ADA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MIZELL, CARLENE                 EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
MIZELL-WILLIAMS, REBECCA        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
MKRTCHYAN, ELEN                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MOAK, JEANNETTE                 THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
MOBLEY, BARBARA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOBLEY, BEVERLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOBLEY, DEBORAH                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOBLEY, DOROTHY                 KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
MOBLEY, DOROTHY                 LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
MOBLEY, JAMES                   NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
MOCADLO, MARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOCERI, PEARL                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOCK, DEBRA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOCKLER, BARBARA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MODENESSI, DORA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MODENESSI, DORA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MODISETTE, MARTHA               GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
MODISETTE, MARTHA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MODISETTE, MARTHA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MODISETTE, MARTHA               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MOE, CORRINE                    GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
MOELLENDORF, MARALEE            MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
MOELLER, COSETTE                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MOERS, SHARON                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOFFATT, DEBRA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOFFETT, DENISE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MOFFETT, DENISE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOFFITT, ELEANOR                THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
MOFIELD, LEONA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOGAN, LINDA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MOHAMED, EILEEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOHAMMAD, CYNTHIA               BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006


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Claim Name                             Address Information
MOHAMMAD-ZADEH, DIANNA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MOHAMMADI, DANA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MOHAMMED, MARY                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MOHAMMED, TAHIRA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOHEAD, CHRISTIANA                     SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                       19103
MOHLER, AMANDA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MOHLER, KELSEY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOHLER, LISSA                          THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                       CHARLESTON WV 25301
MOHLER, SHANNON                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MOHR, ALLANA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOHR, ANN                              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOHRE, LILY                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MOHROR, BARBARA                        LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MOHROR, BARBARA                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MOHYDE, PATRICE AND SCALIZI, MICHAEL   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                       HILL NJ 08002
MOISE, CATHERINE                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MOJARADI, STEPHANIE                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                       SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
MOLDENHAUER, ANGELA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MOLER, LANA                            JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                       PAUL MN 55101
MOLINA, DAWN                           GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                       PA 19102
MOLINA, MARIA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOLINA, PEDRO                          NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                       PR 00918
MOLINA, YOLANDA                        WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                       NJ 08002
MOLINAR, STEPHANY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MOLINARO, VALERIE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOLINELLI, LOURDES                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                       77098
MOLINSKI, KIMBERLY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOLKO, SHIRLEY                         KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
MOLL, MARY                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOLLER, ANTOINETTE                     MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                       TAMPA FL 33602
MOLLERE, BEATRIZ                       MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
MOLLEUR, JOLIE                         GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103



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                                       LTL Management LLC
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Claim Name                       Address Information
MOLLEUR, JOLIE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MOLLOY, NICKI-ANN               BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
MOLLOY, SHARON                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOLLOY, SHARON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOLLOY, VICKI                   MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
MOLNAR, BARBARA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MOLNAR, BARBARA                 REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J EPHRON,
                                MELISSA HOUSTON TX 77027
MOLNAR, BARBARA                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
MOLNAR, BARBARA                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MOLOGNE, KALA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOLTER, RHONDA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MOLY, MARIA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOMAN, CAROL                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOMOKI, SYLVIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOMOU, HORTENSE                 JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
MONA HAMMONS                    MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
MONACO, CAROLYN                 LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
MONACO, DELIA                   PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
MONACO, JANET                   FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD RAGGIO, JOHN LUFF, DALLAS TX 75231
MONAHAN, SHANNON                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILSON, MICHAEL A. BUFFALO NY
                                14202-3725
MONAHAN, SHARON                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MONCADA, BEVERLY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MONCALIERI, EILEEN              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MONCHILOVICH, COLLEEN           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MONCY, AMIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONDOK, GRACE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MONDRAY, ALFREDA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MONDRO, ARLENE                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
MONDUL, CHARLENE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONDY, ALICE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONDY, OLEVIA                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MONDY, OLIVIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONE, NEETA                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103



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Claim Name                       Address Information
MONFET, PATRICIA                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
MONGE, LORI                     JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
MONGELLI, LISA                  ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
MONGO, MAUREEN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MONGONE, ANGELINA               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MONIA, JANER                    MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
MONIA, JANER                    KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
MONICA GRAVES                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
MONIZ, PAULINE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONJE, PATRICIA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MONKEMEIER, LILLIAN             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONKEN, MONA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MONKIEWICZ, CAROL               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MONKS, VALARIE                  COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
MONLUX, ROXANNE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MONNIER, LISA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MONREAL, KRISTINE               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MONROE, CAROL                   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
MONROE, DIANE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONROE, DORIS                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MONROE, EXIA                    GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
MONROE, EXIA                    SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
MONROE, FRANCES                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MONROE, ISABELLA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONROE, JAYME                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MONROE, JERRILYN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONROE, KHALID                  NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
MONROE, LINDA                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
MONROE, MARTHA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MONROE, MARTHA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MONROE, MARY                    PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
MONROE, MICHELLE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MONROE, PAMELA                  LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
MONROE, SUSAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONROE, TAMELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONROE, TAMMY                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036


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                                       LTL Management LLC
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Claim Name                       Address Information
MONSON, BARBARA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MONSOUR, MARIE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MONTAGUE, LEATHA                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MONTAGUE, SHANNON               BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
MONTAIE, NAOMI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONTALVAN, BERTA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MONTALVO, CARLA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONTALVO, JENNIFER              DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MONTALVO, JENNIFER              LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MONTALVO, JENNIFER              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MONTALVO, RAMONA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MONTANA, AMY                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MONTANEZ, SELINA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
MONTANEZ, SUSAN                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MONTANO, PENNY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MONTANO, PENNY                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
MONTANO, PENNY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONTANO, PENNY                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MONTANO, PENNY                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MONTE, BARBARA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MONTE, BARBARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONTEJANO, NORMA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONTEJO, MARIA                  BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
MONTELEONE, ANNA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONTERO, LUZVIMINDA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MONTERROSO, JOANN               GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
MONTERROSO, JOANN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONTERROSO, JOANN               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MONTERROSO, JOANN               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MONTES, DENISE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MONTES, IRENE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MONTES, SYLVIA                  DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
MONTEZ, EVA                     DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
MONTEZ, EVANGELINA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONTGOMERY, BROKIKIA            DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196


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Claim Name                               Address Information
MONTGOMERY, CHARLENE                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                         MINNEAPOLIS MN 55402
MONTGOMERY, JANET                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONTGOMERY, JESSICA                      BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
MONTGOMERY, JOHN P EST OF K MONTGOMERY   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
MONTGOMERY, JOYCE                        GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
MONTGOMERY, LILLY                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
MONTGOMERY, MARCIA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
MONTGOMERY, MARLO                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONTGOMERY, MELANIE                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
MONTGOMERY, ROCHELLE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
MONTGOMERY, TERESA                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
MONTGOMERY, TERESA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
MONTGOMERY, TRACEY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONTIE, PATRICIA                         SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
MONTIEL, CHRISTINA                       WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                         NJ 08002
MONTIHO, MARLENE                         COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                         INDIANAPOLIS IN 46204
MONTIJO, TRACY                           DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                         KANSAS CITY MO 64196
MONTOOTH, CYNTHIA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
MONTOSA, SYLVIA                          ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                         ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
MONTOSA, SYLVIA                          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                         KNOXVILLE TN 37929
MONTOYA, ANNABELLE                       SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                         77098
MONTOYA, ERNISTINA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
MONTOYA, LISA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONTOYA, MARIA                           DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                         63102
MONTOYA, MARY                            DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
MONTOYA, ROSE                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
MONTOYA, ROSE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONTOYA, ROSE                            THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MONTOYA, ROSE                            PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MONTSINGER, JENIFER                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
MONZON, CHRISTINE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONZON, JOSEPHINE                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098



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Claim Name                       Address Information
MONZON, MARIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MONZON, MARIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MONZON, MARIA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MONZON, MARIA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MONZON, MARIA                   KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
MOODY, ANN                      MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
MOODY, CARLENE                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MOODY, JAYMIE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MOODY, JAYMIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOODY, JOY                      NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MOODY, KAITLYN                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MOODY, LINDA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MOODY, LINDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOODY, LYNDA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MOODY, LYNDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOOLAH, PATRICE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOOMEY, JANE                    THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
MOON, CHRISTINA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOON, COYOTE                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MOON, JILL                      BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
MOON, KOURTNEY                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MOON, NANCY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOON, SARA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOON-GAINES, HELEN              KIESEL LAW, LLP 8648 WILSHIRE BLVD. FARAJ, HAYTHAM BEVERLY HILLS CA 90211
MOONE, KATHERINE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MOONEY, CHRISTINA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOONEY, ELIZABETH               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MOONEY, WANDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, ADRIENNE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, AMBER                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, AMIE                     EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
MOORE, ANGELA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MOORE, ANGELA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MOORE, ANNA                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017


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Claim Name                       Address Information
MOORE, ANNIE                    LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
MOORE, APRIL                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
MOORE, AUDRA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, BARBARA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MOORE, BARBARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, BARBARA                  BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
MOORE, BARBARA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MOORE, BARBARA                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MOORE, BARBARA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MOORE, BERNADINE                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MOORE, BERTHA                   MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
MOORE, BETTY                    HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
MOORE, BLONDY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOORE, BRENDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOORE, BRIDGET                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOORE, CAROLYN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MOORE, CAROLYN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOORE, CASSANDRA                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
MOORE, CATHERINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, CHARLIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, CHARLOTTE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOORE, CHRISTINE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOORE, CRYSTAL                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MOORE, CYNTHIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, DARLENE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOORE, DARLENE                  JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
MOORE, DAWN                     WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
MOORE, DEANNA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOORE, DEANNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, DEANNA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MOORE, DEANNA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MOORE, DEBORA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY



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Claim Name                       Address Information
MOORE, DEBORA                   14202-3725
MOORE, DEBORAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, DEBORAH                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOORE, DEBRA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, DONNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, DONNA                    BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
MOORE, DONNA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
MOORE, DOROTHY                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MOORE, DOROTHY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOORE, DOROTHY                  WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
MOORE, EMMA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, EPHYANIA                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
MOORE, ERICA                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
MOORE, ERIKA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, EVELYN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOORE, EVELYN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOORE, GERTIE                   THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
MOORE, GRACE                    KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
MOORE, GRACE                    LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
MOORE, HELEN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, HELEN                    THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
MOORE, HWA                      THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
MOORE, JACQUELIN                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOORE, JACQUELINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, JAMIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOORE, JANICE                   FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
MOORE, JENNIFER                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
MOORE, JILL                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MOORE, JILL                     LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
MOORE, JILL                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MOORE, JILL                     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
MOORE, JILL                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MOORE, JOHNNIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOORE, JONELLA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN


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Claim Name                       Address Information
MOORE, JONELLA                  STREET, SUITE PENSACOLA FL 32502
MOORE, JOYCE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOORE, JUDITH                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MOORE, KARMA                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
MOORE, KATHLEEN                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
MOORE, KATHLEEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, KATRINA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MOORE, KATY                     DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
MOORE, KIMBERLY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOORE, KRISTA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOORE, LAURA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MOORE, LAURA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOORE, LEONA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOORE, LESA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, LILLIE                   HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
MOORE, LINDA                    ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                FELLER, JOEL J. PHILADELPHIA PA 19103
MOORE, LINDA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MOORE, LINDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOORE, LINDA                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MOORE, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, LINDA                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MOORE, LINDA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MOORE, LINDSAY                  HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
MOORE, LISA                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MOORE, LOIS                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOORE, LOU                      SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
MOORE, LOUISE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOORE, LOUISE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, LOUISE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MOORE, LOUISE                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
MOORE, LOUISE                   KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
MOORE, MABEL                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD



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Claim Name                       Address Information
MOORE, MABEL                    EDWARDSVILLE IL 62025
MOORE, MAMIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOORE, MARGARET                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOORE, MARILYN                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
MOORE, MARTHA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MOORE, MARTHA                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
MOORE, MARY                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MOORE, MARY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOORE, MARY                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
MOORE, MARYLL                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOORE, MYRNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, NANCY                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MOORE, NANCY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MOORE, NANCY                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
MOORE, NORMA                    JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
MOORE, ORA                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MOORE, ORA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOORE, PAMULA                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MOORE, PAMULA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MOORE, PAMULA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MOORE, PHYLLIS                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
MOORE, RACHEL                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOORE, RAMA                     BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
MOORE, REBECCA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOORE, ROSE                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MOORE, RUTH                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MOORE, RUTH                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MOORE, RUTH                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MOORE, SANDRA                   MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
MOORE, SANDRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, SARAH                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOORE, SCOTT                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918



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Claim Name                       Address Information
MOORE, SHANNA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MOORE, SHARON                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOORE, SHELLEY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOORE, SHIRLEY                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MOORE, STACEY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MOORE, STACY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, SUE                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MOORE, SUSAN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOORE, SUSAN                    ONDERLAW, LLC BLACK, J., RADOS, ST. & ONDER, J. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
MOORE, SUSAN                    WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
MOORE, SUSAN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOORE, TALIA                    WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
MOORE, TAMMY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, TANYA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MOORE, TERRY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, TERRY                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MOORE, TERRY                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MOORE, TONYA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MOORE, TONYA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOORE, VALERIE                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
MOORE, VERONICA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE, WILLA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MOORE, WILLA                    CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
MOORE, YAZMEIN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOORE-ALLEN, LILLIE             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MOORE-BLACK, LATASHA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOORE-GAINES, PAMELA            GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
MOORE-HAZELWOOD, SONJA          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOOREHEAD, KATHY                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MOOREHEAD, KATHY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOORERE, CHARLENE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOORHEAD, NANCY                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031



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Claim Name                              Address Information
MOORHEAD, NANCY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MOOROW, CAROL                          NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                       PR 00918
MOPPIN, MARILYN                        WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
MOQUIN, ELIZABETH                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORA, AMPARO                           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
MORACE, DANIELLE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORADO, FEDERIKA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORAGA, BARBARA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MORAHAN, DIANA                         DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                       KANSAS CITY MO 64196
MORAITAKIS, LISA                       CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                       GA 30009
MORAITAKIS, LISA                       BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                       30060
MORALE, JOANNE                         POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                       BRASLOW, DEREK T CONSHOHOCKEN PA 19428
MORALES, ALMA                          DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                       63102
MORALES, ARCELIA                       BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                       75202
MORALES, CARMEN                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MORALES, CARMEN                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MORALES, CARMEN                        PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MORALES, CHRISTINA                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MORALES, DEBRA                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
MORALES, JACKELINE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MORALES, KATHLEEN                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MORALES, LEILANI                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MORALES, LETICIA                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
MORALES, LILLIAN                       NAPOLI SHKOLNIK PLLC 400 BROADHOLLOW RD, STE 305 BERMAN, W. STEVEN MELVILLE NY
                                       11747
MORALES, MARION                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORALES, MARLENE M & EST OF OSCAR      MORALES, MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23
                                       FLOOR NEW YORK NY 10017
MORALES, NAOMI                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MORALES, NAOMI                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORALES, NAOMI                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MORALES, NAOMI                         PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
MORALES, NAOMI                         KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211



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Claim Name                       Address Information
MORALES, OLGA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORALES, OMAYRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORALES, PAULA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORALES, ROSEMARIE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORALES, SANDRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORALES, SARA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MORALES, SHERI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORALES, SUSAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORALES, SYLVIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORAN, CLARE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORAN, EVELYN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORAN, LINDA                    MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
MORAN, MARGARITA                COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
MORAN, MARIA                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
MORAN, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORAN, PENELOPE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MORANDA, PATRICIA               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MORAR, STEPHANIE                ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
MORAST, FRANCES                 MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
MORAVINSKI, ELAINE              MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
MORDESSA, JEAN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MORE, DEBRA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOREAU, STEPHANIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOREELS, EMMA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOREHEAD, TERESA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MOREIRA, DEBRA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MOREIRA, DEBRA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MOREIRA, MARIA                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
MOREIRA, MARITZA                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
MOREIRA, MARITZA                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
MOREJON, ROSA                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MORELLI LAW FIRM, PLLC          B MORELLI, D SIROTKIN, P FALLICK, J SHATYNSKI, 777 THIRD AVE, 31ST FL NEW YORK
                                NY 10017
MORELLI, MARLENE                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202



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Claim Name                       Address Information
MORELLI, ROSALIE                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MORELOCK, GAIL                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MORENO, ADRIANA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MORENO, CHERYL                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MORENO, DAWN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORENO, DEBORAH                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MORENO, DENISE                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MORENO, ESPERANZA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MORENO, ESTELLA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MORENO, IRENE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORENO, MARTA                   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
MORENO, ORELIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORENO, SANDRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORENO, SILVIA                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
MORENO, TAMERA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MORENO, VICTORIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MORENO, VICTORIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORENO, VICTORIA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MORENO, VICTORIA                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MORETTI, DONNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORETZ, JENNY                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MOREY, CLARA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOREY, COURTNEY                 NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
MOREY, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORGAN & MORGAN                 GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST TAMPA FL 33602
MORGAN, AIMEE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MORGAN, AMBER                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MORGAN, ANN                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MORGAN, ANN                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MORGAN, ANN                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MORGAN, ANNA                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MORGAN, ANNA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660



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Claim Name                       Address Information
MORGAN, BARBARA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MORGAN, BARBARA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MORGAN, BETTY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORGAN, BRENDA                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MORGAN, CAROLYN                 MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
MORGAN, CATHERINE               MOTLEY RICE, LLC 50 CLAY STREET, SUITE 1 HOYLE, THOMAS DAVID MORGANTOWN WV
                                26501
MORGAN, CHARLOTTE               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MORGAN, CHARLOTTE               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MORGAN, CRYSTAL                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MORGAN, CYNTHIA                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
MORGAN, CYNTHIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MORGAN, CYNTHIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORGAN, CYNTHIA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MORGAN, CYNTHIA                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
MORGAN, DEBRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORGAN, DELORIS                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORGAN, DIANA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MORGAN, DONNA                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MORGAN, DONNA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MORGAN, DONNA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MORGAN, DOROTHEA                THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
MORGAN, HESTER                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MORGAN, INELL                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
MORGAN, IRMA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MORGAN, JEN                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MORGAN, JENNIFER                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MORGAN, JO                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MORGAN, JOY                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MORGAN, JOYCE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MORGAN, JUDITH                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MORGAN, JULIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MORGAN, KEITHER                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORGAN, LINDA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MORGAN, MARIE                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MORGAN, MARILYN                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX


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Claim Name                       Address Information
MORGAN, MARILYN                 77007
MORGAN, MARTHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORGAN, MARY                    THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
MORGAN, MARY                    DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
MORGAN, MARY                    KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
MORGAN, MELINDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORGAN, MICHELLE                KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
MORGAN, PENELOPE                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MORGAN, REGINA                  BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
MORGAN, ROSE                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MORGAN, ROSELEE                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
MORGAN, SALLIE                  MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
MORGAN, SARA                    TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
MORGAN, SARA-FAYE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORGAN, SHAYLYNN                HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
MORGAN, SUSAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MORGAN, TERI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORGAN, TERRI                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MORGAN, TRACY                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MORGAN, VALERIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORGAN, VALERIE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MORGAN, VALERIE                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MORGAN, VIRGINIA                BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
MORGAN-ROEHRICH, KRISTINE       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MORGANFIELD, LINDA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MORGEN, ELIZABETH               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MORGENROTH, PAULA               HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
MORI, SUMIYO                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORICETTES, MARIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORICI, BETTY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MORIGI, KATHLEEN                BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
MORIMITSU, MARIA                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MORIN, JEAN                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MORIN, JEAN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
MORIS, RUTH                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MORLAN, LISA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MORO, SHERRY                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MORPHEW, MARCIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORQUECHO, ROSA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MORRA, DENISE                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MORRELL, ARLENE                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MORRELL, ELIZABETH              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MORRELL, ELIZABETH              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MORRELL, GRACE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MORRELL, GRACE                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
MORRELL, GRACE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORRELL, GRACE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MORRELL, GRACE                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MORRILL, PAMELA                 CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
MORRILL, PEGGY                  JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
MORRIS BART & ASSOCIATES        601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW ORLEANS LA 70130
MORRIS, BARBARA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MORRIS, BARBARA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MORRIS, BETTY                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
MORRIS, BETTY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORRIS, BEVERLY                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
MORRIS, BRENDA                  THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
MORRIS, CAROLE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MORRIS, CATHERINE               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
MORRIS, CATHY                   BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 BUDD, RUSSELL W DALLAS TX
                                75219
MORRIS, CINDY                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MORRIS, CRYSTAL                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MORRIS, CRYSTAL                 HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
MORRIS, DAWANAH                 FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LUFF, PATRICK - DALLAS TX 75231
MORRIS, DEBBIE                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017



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                                       LTL Management LLC
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                                                  List
                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
MORRIS, DEBRA                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
MORRIS, DORIS                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORRIS, FREDDIE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MORRIS, FREDDIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MORRIS, GLADYS                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORRIS, JESSICA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MORRIS, JESSICA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORRIS, JUDITH                  KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
MORRIS, JUDY                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MORRIS, KIMBERLY                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
MORRIS, LINDA                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MORRIS, LISA                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MORRIS, MARGARET                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MORRIS, MARY                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MORRIS, NANCY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MORRIS, RHONDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORRIS, ROXANE                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
MORRIS, SARAH                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MORRIS, SELESTER                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MORRIS, SHANE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MORRIS, SHANNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORRIS, SHARON                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MORRIS, SHIRLEY                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MORRIS, SHIRLEY                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MORRIS, SHIRLEY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MORRIS, STEPHANIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORRIS, SUSAN                   MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 THOMAS, CAROLINE W. MURRAY,
                                STEPHEN B. NEW ORLEANS OH 70130
MORRIS, SYLVIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORRIS, TANYA                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
MORRIS, TEAZU-TATIANA           FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MORRIS, TERESA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MORRIS, TRACY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORRIS, TRAYCEE                 COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
MORRIS, UNA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                       Address Information
MORRIS, UNA                     75231
MORRIS, VICKIE                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MORRIS, VICKIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MORRIS, VICKIE                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MORRIS, VICKIE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MORRIS, WENDY                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MORRIS, WENDY                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MORRIS, WENDY                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MORRIS-JACKSON, SUSAN           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORRISION, ROSETTA              MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                DAVID M. MINNEAPOLIS MN 55404
MORRISON, ANNA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MORRISON, CAROLYN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORRISON, CONNIE                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
MORRISON, DARLENE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORRISON, DEBORAH               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MORRISON, DIANE                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MORRISON, DIANNE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MORRISON, GYPSY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MORRISON, HELEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORRISON, JAYNE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MORRISON, JEANETTIA             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MORRISON, JEANETTIA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MORRISON, KENESHIE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORRISON, MARION                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
MORRISON, MARION                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
MORRISON, PATRICIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORRISON, PAULA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MORRISON, RAYNA                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MORRISON, RUBY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORRISON, SHELIA                BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
MORRISON, TAMMY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORROW, DANA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORROW, IDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORROW, KAREN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                       Address Information
MORROW, KAREN                   75231
MORROW, KESHIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORROW, LATISHA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORROW, MARGARET WHEELER        DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MORROW, PAMELA                  WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
MORSE, CONNIE                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MORSE, CORA                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MORSE, CORA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MORSE, DEANNA                   WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
MORSE, JAVONNA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MORSE, JOSEPHINE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                LUKEI, SHANNON KARAVATOS, NEWPORT BEACH CA 92660
MORSE, ROSEMARY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MORSE, THERESA                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
MORSTADT, ANNE                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MORTELLARO, MADELINE            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MORTEZAZADEH, MITRA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORTIMER, CATHERINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORTIMER, LAURA                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
MORTIS, INGER                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORTON, ANGELA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MORTON, BAHIYA                  DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
MORTON, BEVERLY                 WEITZ & LUXENBERG RELKIN, ELLEN & SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE
                                210 CHERRY HILL NJ 08002
MORTON, CARSON                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MORTON, DONNA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
MORTON, JUDITH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MORTON-MAULTSBY, ROSIE          NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MORTZ, SUZETTE                  LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
MORYKAN, SUSAN                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MORZAN, SANDRA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MOSBACHER, MARSHA               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MOSBY, LASHAUN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOSCHETTO, JOAN                 WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
MOSCOVICI, HEDY                 HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038



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Claim Name                       Address Information
MOSELEY, AGNES                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOSER, BONNIE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MOSER, BONNIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOSER, BRANDY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOSER, JANALEE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MOSER, JANALEE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOSER, JOYCE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOSER, JOYCE                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MOSER, JOYCE                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MOSER, RHONDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOSER, SUZANNE                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
MOSES, CASEY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOSES, TIELA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MOSHER, KATHLEEN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOSHIER, KATHY                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MOSHIER, KATHY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOSKAL, LOUISE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOSKOWITZ, SHARON               POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                LECKMAN, T MATTHEW BRASLOW CONSHOHOCKEN PA 19428
MOSLEY, DALE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOSLEY, DIANNA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MOSLEY, DIANNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOSLEY, DOROTHY                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
MOSLEY, EDNA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MOSLEY, EDNA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOSLEY, EMILY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOSLEY, HAZEL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOSLEY, JEFFELYN                FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
MOSLEY, JOSLYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOSLEY, KATIE                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MOSLEY, LATASHA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MOSLEY, ROBERTA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MOSLEY, TAMMY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOSQUEDA, ELIDA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MOSQUEDA, ELIDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                       Address Information
MOSS, BARBARA                   BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 BUDD, RUSSELL W DALLAS TX
                                75219
MOSS, BRENDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOSS, DELPHINE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOSS, DELPHINE                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MOSS, FLORENCE                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
MOSS, JANICE                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MOSS, MARLAINA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MOSS, PATRICIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOSS, PENNY                     COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
MOSSA, DEBORAH                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
MOSSA, DEBORAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOSTELLER, PAMELA               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
MOTA, MARITZA                   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
MOTA-DUBON, JULIA               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MOTE, RENEE                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MOTEN, DIETRA                   BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
MOTES, ALISHA                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
MOTLEY RICE, LLC                50 CLAY STREET, SUITE 1 MIGLIORI, GREENE, HOYLE, HALL,ORENT MORGANTOWN WV
                                26501
MOTLEY RICE, LLC                28 BRIDGESIDE BLVD. T HOYLE, D MIGLIORI, L OLIVER MT. PLEASANT SC 29464
MOTLEY, OCTAVIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOTRONI, LOIS                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOTSINGER, LOIS                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MOTT, LINDA                     JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
MOTT, MARY                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MOTTER, STEPHENIE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MOTTOLA, ANN                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MOULD, DEBRA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOULTRIE, MARY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOUNT, JUANITA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MOUNT, RITA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOUNT, WENDY                    HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101


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Claim Name                       Address Information
MOUNTAIN, JEAN                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
MOUTON, MARY                    THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
MOUTREY, MICHELLE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MOWERY, AMIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOXEY, LISA                     TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
MOXLEY, SUSAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOY, PATRICIA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MOYA, ERIKA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MOYA, KRISTI                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
MOYE, LYNDA                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MOYE, ROSEMARY                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MOYER, BONNIE                   BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
MOYER, DIANNA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOYER, JUNE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOYER, KELLY                    THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
MOYERS, MELANIE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MOYES, EDNA                     POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
MOYNIHAN, TERESA                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MOZINGO, BETTY                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MOZINGO, BETTY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MOZINGO, PAMELA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MRAVEC, REGENIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MRAVINTZ, KRYSTAL               WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
MRAZ, JOSEPHINE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MRAZ, JOSEPHINE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MROZEK, PHYLLIS                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MSZYCO, ANNETTE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MUCCI, KIM                      ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
MUCHA, ERICA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MUCHE, ROSEANNA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MUCKLER, MARSHA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MUDD, CHARLOTTE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MUDD, HELEN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                              Address Information
MUDD, PAMELA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MUDGE, NATALIE                         DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                       KANSAS CITY MO 64196
MUELLER LAW PLLC                       404 W. 7TH STREET MARK MUELLER, CHARLES BEUERMAN AUSTIN TX 78701
MUELLER, ALICE                         WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                       DALLAS TX 75219
MUELLER, LINDA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MUELLER-DOHERTY, DIANE                 LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                       94111
MUHLBAIER, LORRAINE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MUHLHAUSER, KATHRYN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MULANAX-CRAWFORD, MONICA               BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                       CA 92660
MULBERRY, CAROL                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MULBERRY, CAROL                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MULBERRY, CAROL                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MULBERRY, CAROL                        PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MULDER, DEBRA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MULDOON, TINA                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
MULDOWNEY, CHARLOTTE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
MULDREW, DEBRA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MULDREW, DEBRA                         GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                       MINNEAPOLIS MN 55402
MULDREW, DEBRA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MULDREW, DEBRA                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MULDREW, DEBRA                         PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MULDREW, ETTA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MULDROW, ALLESIA                       TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                       62025
MULE, ANGELA                           ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MULE, ANGELA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MULE, MARGARET                         THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                       ORLEANS LA 70130
MULHOLLAND, DONNA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MULIER, MARY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MULINS, TAMMY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MULLAN, MARILOU RE: ARDYS C. LANE      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                       HILL NJ 08002
MULLEN, JOANNE                         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MULLEN, JOANNE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
MULLEN, JOY                            ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
MULLEN, JOYCE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
MULLEN, JOYCE                   MEADOWS, TED G. MONTGOMERY AL 36104
MULLEN, MARY                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MULLEN, MIMI                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MULLENDORE, JAMIE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MULLENNAX, JUDY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MULLER, CECILA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MULLER, DEBORAH                 MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
MULLER, PATRICIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MULLICA, ALICIA                 THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
MULLICA, PATRICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MULLINS, BEVERLY                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MULLINS, CONNIE                 SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
MULLINS, DEBORAH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MULLINS, GINA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MULLINS, JENNIFER               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MULLINS, JUDY                   BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
MULLINS, LORA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MULLINS, MELISSA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MULLINS, MONICA                 EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
MULLINS, MONICA                 SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
MULLINS, PATRICIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MULLINS, TERESA                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
MULVEY, DIANE                   TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
MULVEY, KAY F                   LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                NJ 08648
MULVHILL, SHANNON               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MULVIHILL, SHANNON              WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
MUMALLAH, LESLIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MUMMAREDDI, SANDHYA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MUMMERT, NOLA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MUMMERT, NOLA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MUNCEY, DEBORAH                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
MUNCH, BARBARA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
MUNCH, NANCY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MUND, EILEEN                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MUNDEN, DIONA                   ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
MUNDEN, KIM                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MUNDO, ANA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MUNGER, MARCELLA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MUNGLE, CONNIE                  KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
MUNGUIA, DIANE                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
MUNGUIA, ROSE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MUNIZ, ELICIA                   GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
MUNIZ, MARIBEL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MUNIZ, MAYRA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MUNN, BRENDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MUNNS, MARIZELA                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
MUNOZ, BARBARA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MUNOZ, DELFINA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MUNOZ, DELFINA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MUNOZ, DELFINA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MUNOZ, SHARON                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MUNRO, CLARINDA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MUNRO, CLARINDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MUNRO, MARGARET                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MUNSELLE, TERRI                 LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
MUNSON, CHRISTINE               JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
MUNSON, DEBRA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MUNSON, NICKOLE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MUNSTERMAN, DENISE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MUNTER, SUSAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MUNTER, SUSAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MUNTER, SUSAN                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MUNTER, SUSAN                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
MUNZ, MARGARET                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MUNZER, XAN                     LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
MURARIK, CATHY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
MURCHISON, CLAUDINE             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MURDOCK, ADELL                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MURDOCK, ALISA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MURDOCK, RHONDA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MURDOCK, SANDRA                 WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
MUREUX, MARY                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MURGA, KIMBERLY                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
MURILLO, REBECCA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MURILLO, REBECCA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MURILLO, REBECCA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
MURPHY, ANDREA                  COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
MURPHY, ANN                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MURPHY, ANNMARIE                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MURPHY, APRIL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MURPHY, BETTY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MURPHY, BRENDA                  PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
MURPHY, BRENDA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MURPHY, BRENDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MURPHY, CAROL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MURPHY, CHRISTINA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MURPHY, DAWN                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
MURPHY, DAWN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MURPHY, DAWN                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MURPHY, DAWN                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
MURPHY, DONNA                   MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
MURPHY, EUGENIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MURPHY, FRANCES                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MURPHY, IDA                     POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
MURPHY, JACQUELYN               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MURPHY, JAYMIE                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
MURPHY, JUDI                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MURPHY, KANDACE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MURPHY, KELLY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MURPHY, KELLY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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                                       LTL Management LLC
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Claim Name                       Address Information
MURPHY, KELLY                   MEADOWS, TED G. MONTGOMERY AL 36104
MURPHY, LINNIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MURPHY, MARY                    GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
MURPHY, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MURPHY, MEREDITH                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MURPHY, NANCY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MURPHY, NELLIE                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
MURPHY, PAULETTE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MURPHY, REBECCA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MURPHY, REBECCA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MURPHY, REBECCA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MURPHY, REBECCA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MURPHY, SHARON                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MURPHY, SHARON                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
MURPHY, SHARON                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
MURPHY, SHARON                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MURPHY, SHELLEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MURPHY, SONORA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MURPHY, SONORA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MURPHY, SONORA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MURPHY, SUSAN                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
MURPHY, TARA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MURPHY, TERRY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MURPHY, ZOELLEN                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MURPHY-CLEARY, PAMELA           CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MURPHY-COONEY, COLLEEN          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MURPHY-MCCOY, CHARLENE          HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
MURRAY LAW FIRM                 650 POYDRAS STREET, SUITE 2150 S MURRAY, A MURRAY, C THOMAS NEW ORLEANS OH
                                70130
MURRAY, BERDIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MURRAY, BILLIE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MURRAY, CORINNE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MURRAY, CORINNE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
MURRAY, CORINNE                 MEADOWS, TED G. MONTGOMERY AL 36104
MURRAY, DEBRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MURRAY, DENISE                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
MURRAY, DIANE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MURRAY, DONNA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MURRAY, DONNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MURRAY, DONNA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
MURRAY, DONNA                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
MURRAY, DORIS                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MURRAY, ELAINE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MURRAY, EVA                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
MURRAY, EVELYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MURRAY, HEATHER                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MURRAY, JAMIE                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MURRAY, JUDITH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MURRAY, JUDY                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MURRAY, LELA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MURRAY, LESLIE                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
MURRAY, LINDA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MURRAY, LORI                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MURRAY, LORRAINE                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MURRAY, LOUIS J                 MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                YORK NY 10017
MURRAY, LOUISE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MURRAY, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MURRAY, MARY                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MURRAY, MARYLYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MURRAY, PAULA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MURRAY, SHARLA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MURRAY, SHARON                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MURRAY, SHIRLEY                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MURRAY-AKINS, DONNA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MURRAY-BAUGH, LISA              DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
MURRAY-DAVIES, LINDA            WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
MURRELL, GERIANN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MURRIEL, MATTIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MURRY, FAYE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
MURRY, JUDITH                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MURRY, SUSAN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MUSARRA, MICHELE                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
MUSCHETTE, SANDRA               LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
MUSCI, LISA                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
MUSE, MEGAN                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MUSE, ROSA                      PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
MUSETTI, MINDY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MUSGRAVE, ADRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MUSGRAVE, CHERYL                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MUSGRAVE, GAYLE                 KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
MUSGROVE, CYNTHIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MUSGROVE, PAMELA                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
MUSICK, MELINDA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MUSICK, MELINDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MUSIN, SHARRON                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MUSSELMAN, JANICE               MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
MUSSER, VIRGINIA                WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
MUSTARO, MARYANNE               KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
MUSTON, SANDRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MUTSCHLER, REBECCA              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MUTTA, DEBRA                    HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
MUTTS, BRENDA                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
MUZYTSCHENKO, MARCIA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MY GEISHA CLARKSON              JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
MYCHAYLIW, MARY                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
MYER, PHYLLIS                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MYEROW, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MYERS, ADESIMBO                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
MYERS, ANDREA                   DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
MYERS, BETH                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MYERS, BILLY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
MYERS, BONNIE J.                WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
MYERS, BUFFIE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MYERS, CANDACE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MYERS, CAROL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MYERS, CHARMAINE                NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
MYERS, CLAUDIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MYERS, COLLINS                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MYERS, COLLINS                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MYERS, DEBRA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MYERS, DIANE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MYERS, ELAINE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MYERS, GEORGIA                  ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
MYERS, JALANDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MYERS, JANICE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MYERS, JARMA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
MYERS, JEANNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MYERS, JOLA                     HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
MYERS, KELLY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MYERS, LOUANN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MYERS, MANDY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MYERS, MARIA                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
MYERS, MARIA                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
MYERS, MARIA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
MYERS, MARTHA                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MYERS, PAMELA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MYERS, PATRICIA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MYERS, PATRICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MYERS, REVA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MYERS, RHONDA                   SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                11530
MYERS, RHONDA                   POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                BRASLOW, DEREK T CONSHOHOCKEN PA 19428
MYERS, RUTH                     MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130


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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
MYERS, STELLA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
MYERS, SUE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MYERS, TAMI                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
MYERS, TERETHA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
MYERS, THERESA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MYERS, TINA                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MYERS, TINA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MYERS, VIVIAN                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MYERS, VIVIAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MYERS-ANTROBUS, TERESA          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
MYGRANT, LOU                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
MYLES, MARTHA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
MYLES, NORMA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
MYLES, NORMA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MYLES, PAULA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MYLES, SANDRA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
MYLES, SANDRA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MYRICK, RHONDA                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
MYRICKS, DAPHINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
MYRICKS, JANET                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
MYTON, DEBRA                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
NABORS, ELEANOR                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NABORS, LAURA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NABZDYK, JENNIFER               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
NACE, CHERYL                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
NACKERUD, DEBORAH               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
NACKERUD, DEBORAH               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NADEAU, CAROLYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NADEAU, GRAYCE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
NADEAU, NANCY                   TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025


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Claim Name                       Address Information
NADEL, ESTHER                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NADIA BURNS                     MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
NADYA, NIETO                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NADZIEJKO, MARGARET             DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
NAELITZ, JENNIFER               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NAGEL, KATHLEEN                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
NAGEL, MAE                      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
NAGEL, REBECCA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NAGY, KIMBERLY                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
NAGY, LISA                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
NAILLING, BEVERLY               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NAIR, KEMLESH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NAIR, KIMBERLY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NAIRN, SUSAN                    BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
NAJAR, CAROLINE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NAJERA-DUNBAR, PAMELA           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NAJWA KASH                      LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207 MANHATTAN
                                BEACH CA 90266
NAJWA KASH                      ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
NALEPINSKI, MARY                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
NALLE, ELEANOR                  COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
NALLEY, LAURIE                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
NALLS-PORTIS, TEMARA            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NAMUGENYI, CHRISTINE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NANAANSAH, STEPHANIE            TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
NANCARROW, MARY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NANCE, BETTY                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
NANCE, DELORES                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
NANCE, DORENE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NANCE, JANET                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NANCE, JULIE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NANCE, MELONIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NANCE, MINNIE                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102



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Claim Name                                Address Information
NANCE, MINNIE                            LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
NANCE, MINNIE                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
NANCE, RHODA                             THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                         CHARLESTON WV 25301
NANCE, SHARON                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NANCE, SHARON                            THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
NANCE, SHARON                            PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
NANCE, TIFFENY                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
NANCY CROWE                              LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207 MANHATTAN
                                         BEACH CA 90266
NANCY CROWE                              ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                         CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
NANCY LEBOUEF                            LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207 MANHATTAN
                                         BEACH CA 90266
NANCY LEBOUEF                            ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                         CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
NANTISTA, FRANCES                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NANTZE, MONTA                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
NAOMI FAAPOULI                           LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207 MANHATTAN
                                         BEACH CA 90266
NAOMI FAAPOULI                           ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                         CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
NAPIER, DEBRA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NAPIER, DONNA                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
NAPIER, JOANN                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NAPIER, REVA                             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
NAPIER, TERRILEE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NAPIERALA, LYNNE                         SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                         94104
NAPITUPULU, TAMBARIA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
NAPOLEAN, TEBERIA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
NAPOLI BERN RIPKA SHKOLNIK & ASSOC,      LLP 3500 SUNRISE HIGHWAY, STE T-207 BERMAN, W. STEVE GREAT RIVER NY 11739
NAPOLI SHKOLNIK                          C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY PR 00918
NAPOLI SHKOLNIK, PLLC                    400 BROADHOLLOW, STE 305; BERMAN, W STEVEN; LOPALO, CHRISTOPHER R MELVILLE NY
                                         11747
NAPOLI, JOAN                             ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
NAPOLI, JOAN                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
NAPOLITANO, LORI                         GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                         PA 19102
NAPOLITANO, LORI                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
NAPOLITANO, LORI                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NAPOLITANO, LORI                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
NAPOLITANO, LORI                         PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768



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NAPPIER, PATRICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NAQUIN, LYNN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NAQUIN, SHERRY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NARAD, GYONGYIKE                DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
NARANJO, EVANGELY               DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
NARANJO, KIMBERLY               COHEN, PLACITELLA & ROTH 127 MAPLE AVE. PLACITELLA, CHRISTOPHER M. GEIER,
                                DENNIS M. RED BANK NJ 07701
NARASIMHAN, SHEELA              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
NARCAVAGE, KAREN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NARCOMEY, CARLA                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
NARON, CARON                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NARRAGON, CAROL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NASCO, PEI                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NASH, BARBARA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
NASH, JULIA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NASH, KIMBERLY                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
NASH, KIMBERLY                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
NASH, KIMBERLY                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
NASH, LANACE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NASH, SUZANNE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NASH, SUZANNE                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
NASH, SUZANNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NASH, SUZANNE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
NASH, SUZANNE                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
NASH, TERRY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NASHWINTER, PATRICIA            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NASON, YVONNE                   THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
NASSON, BESSIE                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
NASSOUR, DANA                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
NASTASI, MARISSA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NATALIA BURGESS                 JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
NATARAJAN, NALINI               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296



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Claim Name                         Address Information
NATERA, ERICA                     EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
NATHAN, ARLETHEA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
NATHAN, DEBORAH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NATHAN, FRAIDA                    LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                  NJ 08648
NATHAN, LYNN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NATHAN, ROSHONE                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                  70130
NATHAN, ROSHONE                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                  75202
NATION, LAURA                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                  BOUNDAS, JOHN T. HOUSTON TX 77017
NATIONAL COUNCIL NEGRO WOMEN      NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                  BERMAN, W. STEVE NEW YORK NY 10118
NATTER, ANNIE                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
NATTRESS, INGE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
NATTRESS, INGE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NATTRESS, INGE                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
NATTRESS, INGE                    PORTER & MALOUF, PA P.O. BOX 12768 HARRIS, LAUREL LI GIVENS, JOHN T. JACKSON
                                  MS 39236-2768
NATTRESS, INGE                    SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                  90401
NAUD, LEONA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NAUERT, CHIQUITA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NAUGHTON, RANEY                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                  EDWARDSVILLE IL 62025
NAUGLE, CHRISTINA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                  STREET, SUITE PENSACOLA FL 32502
NAUSER, LAURA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NAVA, AMEY                        MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                  KNOXVILLE TN 37929
NAVARRETE, CECILIA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
NAVARRETE, MARIA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
NAVARRO, CRYSTAL                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
NAVARRO, DAWN                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
NAVARRO, KIMBERLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NAVARRO, MARIAM                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                  EDWARDSVILLE IL 62025
NAVARRO, MARINA                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                  ANTHONY ST. LOUIS MO 63102
NAVARRO, MARINA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
NAVARRO, MARINA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                  ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
NAVARRO, RUFINA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
NAVARRO, SENAIDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NAVATTA, RACHEL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NAVY, ROMOLICE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NAWROCKI, NANCY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
NAY, LANIS                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NAY, PEGGY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NAYSHLOS, ZHANNA                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
NAZARKO, XHENSILA               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
NAZARKO, XHENSILA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NAZAROVA, NATALIA               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
NAZIM, CELESTE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
NAZIM, CELESTE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NDZEIDZE, RAQUEL                SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
NEAL, APRIL                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
NEAL, APRIL                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
NEAL, ASHLEY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NEAL, BEVERLY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEAL, CAROL                     JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
NEAL, CHERYL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEAL, CINDY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NEAL, GENESIS                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEAL, KATHY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEAL, KIMBERLY                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
NEAL, LOLA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEAL, LORNA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NEAL, MARY                      MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
NEAL, MARY                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
NEAL, MELISSA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEAL, RHONDA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
NEAL, ROBIN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEAL, SHIRLEY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEAL, SHONIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NEAL, TAMARA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEAL, VICKIE                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
NEAL, YVETTE                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
NEAL-SMITH, SHONA               COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
NEALEY, RACHEL                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296



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Claim Name                       Address Information
NEALING, DORIS                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEALON, BRENDA                  SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
NEARS, CATHERINE                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
NEBEKER, LINDA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
NEBEKER, LINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEBORSKY, SANDRA                BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
NED, DELONDA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NEDD, JEAN                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEEDHAM, DANETTE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEEDHAM, DONNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEEDHAM, SHELIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEEDS, MARLENE                  WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
NEEL, DORIS JOHNSON             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEEL, SAMINATHA                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
NEELAND, KIM                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
NEELD, ELLEN                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
NEELD, ELLEN                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
NEELEY, ELIZABETH               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEELEY, SUSAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEEME, JERILYN                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
NEENHOLD, BARBARA               COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
NEESE, ANDREA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEFF, ELIZABETH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEFF, ELIZABETH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEFF, PATRICIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NEGRETE, BRENDA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
NEGRON, GENEVIEVE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NEGRON, JOHANY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEIBERT, VALERIE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NEICE, RUTH                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
NEICE, SAMANTHA                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
NEIDIG, CINDY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEIDIG, DENISE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
NEIDIG, DENISE                  MEADOWS, TED G. MONTGOMERY AL 36104
NEIDLINGER, MARTHA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEIGHBORS, BETSY                THE MILLER FIRM, LLC SHAH, TAYJES M. 108 RAILROAD AVE. ORANGE VA 22960
NEILL, LORETTA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
NEILL, LORETTA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEILL, SHANNON                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEILSON, STARLA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEISES, ANN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEISS, NICOLE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEJMAN, JULIE                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
NELIGH, SHYLA                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
NELLEN, ENOLA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
NELSON, ADRIS                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NELSON, AFTON                   HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
NELSON, ALICE                   MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
NELSON, AMELIA                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
NELSON, BRENDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NELSON, CAROL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NELSON, CAROLYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NELSON, CHARLOTTE               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
NELSON, DEBORA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NELSON, DEBRA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
NELSON, DEBRA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
NELSON, DELIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NELSON, DELIA                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
NELSON, DELIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NELSON, DELIA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
NELSON, DELIA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
NELSON, DIANE                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
NELSON, DIANE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
NELSON, DIANE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NELSON, DIANE                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
NELSON, DONNA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
NELSON, DONNA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NELSON, DONNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
NELSON, DONNA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
NELSON, DONNA                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
NELSON, DONNA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NELSON, EMMA                    THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
NELSON, ERIN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NELSON, EVA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NELSON, HANNAH                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
NELSON, HANNAH                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
NELSON, JANICE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NELSON, JO                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
NELSON, JOSETTE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NELSON, JUDY                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
NELSON, JUDY                    LENZE KAMERRER MOSS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207
                                MANHATTAN BEACH CA 90266
NELSON, JUDY                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
NELSON, JUDY                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
NELSON, JUDY                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
NELSON, LAURA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NELSON, LAUREN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NELSON, LESLIE                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
NELSON, LISA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NELSON, LUCY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NELSON, MARSHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NELSON, MARTHA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NELSON, MARTINA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
NELSON, MARY                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
NELSON, MARY                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
NELSON, MECO                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NELSON, MELINDA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
NELSON, MICHELLE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NELSON, NICOLE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
NELSON, PATRICIA                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
NELSON, ROSEMARIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
NELSON, SADIE                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
NELSON, SELENA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
NELSON, SELENA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NELSON, SHERRYE                 LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
NELSON, STACY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NELSON, VANESSA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NELSON, VICKIE                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
NELSON, VICKIE                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
NELSON, YVONNE                  SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
NELSON-EDWARDS, DENISE          MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
NELSON-HINDS, LORI              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NELSON-MAYO, SANDRA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEMATI, PAULINE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEMECEK, GAIL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEMEROFSKY, MARYLOU             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEMITZ, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NESBETH, JORDANNE               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
NESBIT, SANDI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NESBITT, CORALITA               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
NESBITT, ROXANNE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NESBITT, VICTORIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NESKO, LINDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NESS, JAMIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NESS, JOLEEN                    REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J EPHRON,
                                MELISSA HOUSTON TX 77027
NESSET, JOANNE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NESSETH, HELEN                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
NETHERLAND, LINDA               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
NETHERLAND, LINDA               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
NETHERLAND, LINDA               LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
NETHERLAND, LINDA               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
NETHERLAND, LINDA               ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
NETTERVILLE, DEBBIE             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,



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                                       LTL Management LLC
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Claim Name                       Address Information
NETTERVILLE, DEBBIE             EMILY FAIRFAX VA 22031
NETTLES, BARBARA                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
NETTLES, BARBARA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
NETTLES, KATHRYN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NETTLES, TERRI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NETTLETON, JENNY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NEUBAUM, KATHLEEN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEUCKLAVOK, PAMELIA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEUENSWANDER, KELLY             GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
NEUFELD, CAROL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEUMAN, BEVERLY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEUMAN, MILAGROS                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEUMAN, SHARRI                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
NEUMAN, SHARRI                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
NEUMAN, SHARRI                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
NEUMANN, PEGGY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEUMANN, ROBIN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEUMANN, SANDRA                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
NEUMANN, SHARON                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
NEUMAYER, LINDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEVAREZ, IRMA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEVAREZ, STACY                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
NEVAREZ, STACY                  HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
NEVARRAH KING                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
NEVEL, LORI                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEVERETTE, DOROTHY              BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
NEVINS, LYNN                    SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
NEVINS, MARY                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
NEW, SHERRY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEWAYNO, DIANNE                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
NEWBERN, MAE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEWBERRY, BARBARA               BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024



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Claim Name                       Address Information
NEWBERRY, FLORA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEWBRAUGH, MURINE               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
NEWBURN, LENA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEWBURN, LENA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEWBURN, LENA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
NEWBURN, LENA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
NEWBURN, PEARL                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
NEWBURY, ANDREA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEWBURY, DONNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEWBY, PEGGY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEWCOMB, KIRSTEN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEWCOMB, LISA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NEWCOME, DONNA                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
NEWELL, JENNIFER                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEWELL, KATHRYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEWELL, NORMA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEWKIRK, GLENNA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEWKIRK, GLENNA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEWKIRK, GLENNA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
NEWKIRK, GLENNA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
NEWKIRK, JANET                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
NEWKIRK, JANET                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
NEWKIRK, SONIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NEWLIN, ANN                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
NEWLIN, ANN                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
NEWLIN, ANN                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
NEWLIN, JANET                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
NEWLUN, DENA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NEWMAN, ALICE                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
NEWMAN, BARBARA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NEWMAN, CAROLYN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NEWMAN, IRINA                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
NEWMAN, JOYCE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEWMAN, LINDA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX


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Claim Name                          Address Information
NEWMAN, LINDA                      77098
NEWMAN, LISA                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
NEWMAN, MARY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEWMAN, NANCY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEWMAN, PATSY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEWMAN, SANDRA                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
NEWMAN, TRACY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEWMAN, YNETTE                     MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                   ORLEANS LA 70130
NEWMAN-OVERTON, SHERYL             THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                   ORLEANS LA 70130
NEWSOM, HATTIE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
NEWSOME, AFTON                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEWSOME, ETHELYN                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
NEWSOME, JACQUELINE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
NEWSOME, MARY                      THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                   MADISON MS 39110
NEWSOME, TAMARA                    BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                   30603
NEWSOME, VELMA                     SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
NEWTON, ANNA                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
NEWTON, ANNA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
NEWTON, BARBARA                    ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                   ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
NEWTON, CHERYL                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
NEWTON, CYNTHIA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
NEWTON, DEBORAH                    SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                   07102-4573
NEWTON, DEBORAH                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
NEWTON, DEBORAH                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
NEWTON, DEBORAH                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
NEWTON, MARY                       JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                   77002
NEWTON, MICHELLE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
NEWTON, SANDRA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
NEWTON, STACEY                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
NEWTON, TAMMY                      CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                   ATLANTA GA 30319
NEWTON, TIARXA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NEY, MARY                          ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                   ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
NEZ, CHARLENE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
NG, BRENDA                      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
NG, SHERRY                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
NGUYEN, HIEN                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
NGUYEN, HIEN                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
NGUYEN, LYNDA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NGUYEN, NGAN                    MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
NGUYEN, THI BE                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
NGUYEN, THU                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NGUYEN, TUYET                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
NGUYEN, VAN                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
NIBA, FLORENCE                  THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
NIBLOCK, STELLA                 BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
NICASTRO, DOREEN                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
NICASTRO, TAMMY                 ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
NICE, CLAUDIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NICELY, PATRICIA                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
NICHOL, CAROLYN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NICHOLAS, BERYL                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
NICHOLAS, DAWN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NICHOLAS, DELOIS                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
NICHOLAS, DOROTHY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NICHOLAS, JENNIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NICHOLAS, LAURI                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
NICHOLAS, LEANN                 MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
NICHOLAS, ROSIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NICHOLE WILSON                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
NICHOLLS, BARBARA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NICHOLS, ADELE                  HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
NICHOLS, BARBARA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NICHOLS, BERNICE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NICHOLS, BRIDGETT               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
NICHOLS, CHERI                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NICHOLS, DEBORAH                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
NICHOLS, DEBORAH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NICHOLS, EDELMIRA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NICHOLS, FAITH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NICHOLS, FAITH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NICHOLS, FAITH                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
NICHOLS, FAITH                  PORTER & MALOUF, PA P.O. BOX 12768 HARRIS, LAUREL LI GIVENS, JOHN T. JACKSON
                                MS 39236-2768
NICHOLS, HENRIETTE              NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
NICHOLS, LASONIA                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
NICHOLS, LOUELLA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NICHOLS, MARY                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
NICHOLS, PATRICIA               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
NICHOLS, PEARLINE               THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
NICHOLS, RUTH                   MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
NICHOLS, SANDRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NICHOLS, SANDRA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
NICHOLS, SANDRA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
NICHOLS, SHNISE                 SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
NICHOLS, SHONDA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NICHOLS, TONETTA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NICHOLS, VERNA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
NICHOLS, VIRGIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NICHOLSON, ANGEL                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NICHOLSON, CAREY                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
NICHOLSON, CYNTHIA              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
NICHOLSON, CYRIL                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
NICHOLSON, DIANE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NICHOLSON, HAZEL                MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
NICHOLSON, HELEN                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
NICHOLSON, LINDA                THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
NICHOLSON, MARY                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
NICHOLSON, MICHELLE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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                                               LTL Management LLC
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                                                        List
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Claim Name                              Address Information
NICHOLSON, NATHAN ESTATE OF H NICHOLSON WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
NICHOLSON, RITA                        ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119
NICHOLSON, SANDRA                      ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
NICHOLSON, SUSAN                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
NICHOLSON, VANESSA                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                       EVAN D. EDWARDSVILLE IL 62025
NICKALOFF, LANA                        KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
NICKEL, MARGARET                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
NICKELLS, EMILY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NICKELS, KRISTAN                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NICKERSON, BEA                         KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
NICKLES, CHRISTINE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NICKSON, ALETHEA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NICODEM, SHIRLEY                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
NICOL, BONNIE                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
NICOL, SHERRI                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
NICOLAN, MARY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
NICOLARD, DEANNA                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
NICOLE BROWN                           ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119
NICOLETTE, LINDA                       POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
NICOLL, NANCY                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
NICOSIA, JUDITH                        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
NICOTRA, CINDY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NIDAY, LAUREL                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NIEBERGER, RAE                         ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
NIEBUHR, STACEY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NIEDBALSKI, MARGUERITE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                       77098
NIEDERBERGER, CRYSTAL                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
NIEDERBERGER, CRYSTAL                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
NIEDZWIECKI, CHERYL                    ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                       ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
NIEHAUS, SHARON                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
NIEHUAS, DANA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NIEHUAS, DANA                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
NIEHUAS, DANA                          PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
NIELSEN, ADRIENNE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                       Address Information
NIELSEN, AMY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NIELSEN, CYNTHIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NIELSEN, CYNTHIA                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
NIELSEN, CYNTHIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NIELSEN, CYNTHIA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
NIELSEN, CYNTHIA                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
NIELSEN, DENISE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NIELSEN, JESSICA                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
NIELSEN, JESSICA                LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
NIELSEN, JESSICA                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
NIELSEN, JESSICA                ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
NIELSEN, JESSICA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
NIELSEN, KARIN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NIELSEN, PHYLLIS                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
NIELSEN, REBECCA                NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
NIELSON, KATHRYN                COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
NIELSON, MARY                   MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
NIESEN, MARGIE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
NIESEN, MARGIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NIESEN, PATRICIA                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
NIETO, CLAUDIA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
NIETO, JEANNE                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
NIETO, ROSEMARIE                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
NIETO, VALERIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NIEVES, ANNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NIEVES, BRENDA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
NIEVES, BRENDA                  HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
NIFOROS, TONYA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NIKEL, VIVIAN                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
NIKI COSBY                      BISNAR AND CHASE ANTURNOVICH, TOM & CHASE, BRIAN D. 1301 DOVE STREET, SUITE
                                120 NEWPORT BEACH CA 92660
NIKIESHA GIBSON-MEADOWS         WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
NIKOGHOSYAN, ZARUHI             GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
NIKOLAUS, DEANNA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502



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Claim Name                       Address Information
NIKOUI, NEDA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NILAN, KAREN                    THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
NILGES, MICHELLE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NIMITZ, PEGGY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
NIMITZ, PEGGY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NIMORI, JILL                    THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
NINA MASTERSON                  LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207 MANHATTAN
                                BEACH CA 90266
NINA MASTERSON                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
NINI, BARBARA                   SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
NINI, LETICIA                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
NIPPERT, LAURIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NIRO, RITA                      WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
NISAR, DARLINE                  HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
NISHA, AMINA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NISSEN, BELMAR                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
NISSEN, LYDIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NISWONGER, KAREN                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
NISWONGER, SHARON               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NIVENS, DIANA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
NIVENS, DIANA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NIVNSKI, RHONDA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
NIVNSKI, RHONDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NIX, ELLEN                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
NIX, ELLEN                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
NIX, GLORIA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NIX, JOYCE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NIX, KIMBERLY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NIX, VICTORIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NIXON, AMBER                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NIXON, BARBARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NIXON, BETTY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NIXON, CYNTHIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NIXON, GWEN                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX



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                                        LTL Management LLC
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Claim Name                       Address Information
NIXON, GWEN                     77007
NIXON, JACQUELINE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NIXON, MARY                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
NIXON, MARY                     MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
NIXON, SARA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NIXON, URSULA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NIXON, VICKIE                   TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
NIYA TAYLOR                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
NIZNIK, LILYA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NOAH, BETTY                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
NOAKER, ANGELA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NOAKER, HALIMA                  LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
NOBLE, ALEASE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NOBLE, BETTY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
NOBLE, CHARLOTTE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NOBLE, JEAN                     EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD ROSENBERG, EVAN EDISON
                                NJ 08817
NOBLE, JOANNA                   SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
NOBLE, MARY                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
NOBLE, TANA                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
NOBLE, TANA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NOBLE, TRACEY                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
NOBLES, ALLYSON                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NOBLES, DENISE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
NOBLES, DENISE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NOBLES, MARIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NOBLES, SHARON                  SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
NOBLITT, JEWEL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NOE, BILLIE                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
NOE, JOYCE                      MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
NOE, VIOLET                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NOEL, ELIZABETH                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102


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                                          LTL Management LLC
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Claim Name                          Address Information
NOEL, EVA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
NOEL, SALLY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NOGUEIRA, MARIA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
NOLA GEER                          LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207 MANHATTAN
                                   BEACH CA 90266
NOLA GEER                          ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                   CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
NOLAN, CAROL                       WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                   DALLAS TX 75219
NOLAN, CINDY                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
NOLAN, MARGARET                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
NOLAN, MILDRED                     MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
NOLAN, SUSAN                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
NOLAN, VERONICA                    MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
NOLE, JUDY                         CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
NOLEN, PAMELA                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
NOLEN, PAMELA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
NOLEN, STEPHANIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NOLES, WANDA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NOLL, DEBORAH                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
NOLTING, LINDA                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
NONNWEILER, PATRICIA               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
NOON, AMY                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
NOON, AMY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
NOONAN, CHRISTINE                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
NOONAN, JULIE                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
NOONAN, JULIE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
NOOTE, KIMBERLY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
NORCROSS, MELISSA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
NORD, MARY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NORDICK, TRUDY                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                   ANTHONY ST. LOUIS MO 63102
NORDICK, TRUDY                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
NORDICK, TRUDY                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
NORDLUND, DOVIE                    BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                   70130



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                                       LTL Management LLC
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Claim Name                       Address Information
NORDLUND, DOVIE                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
NORDLUND, ELIZABETH             FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
NORDSTORM, GISELA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NORENBERG, COLETTE              KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
NORHEIM, JULIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NORHEIM, JULIE                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
NORHEIM, JULIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NORHEIM, JULIE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
NORHEIM, JULIE                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
NORICK, LYDIA JANE              WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
NORINSKY, RHONA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
NORMA BYRD                      ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
NORMA JONES                     LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207 MANHATTAN
                                BEACH CA 90266
NORMA JONES                     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
NORMA MAURICE                   FLETCHER V. TRAMMELL TRAMMELL, FLETCHER V 3262 WESTEIMER, SUITE 423 HOUSTON TX
                                77098
NORMAN, AUBREY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NORMAN, BOBBIE                  WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
NORMAN, DEBORAH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NORMAN, GLORIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NORMAN, LINDA                   THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
NORMAN, MARY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NORMAN, OLLIE                   SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
NORMAN, PEGGY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NORMAN, TAMORA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NORMANDEAU, OPAL                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
NORMANDIN, CAROLE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NORRED, SHERRI                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
NORRIS, AMANDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NORRIS, AMANDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NORRIS, AMANDA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
NORRIS, AMANDA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
NORRIS, DENISE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NORRIS, DIANE                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102



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Claim Name                       Address Information
NORRIS, DORIS                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NORRIS, DORIS                   THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
NORRIS, JACQUELINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NORRIS, KANDY                   PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
NORRIS, KIM                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NORRIS, KRISTIN                 WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
NORRIS, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NORRIS, PATRICIA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
NORRIS, REDITH                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
NORRIS, REDITH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NORRIS, REDITH                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
NORRIS, REDITH                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
NORRIS, SARAH                   WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
NORRIS, SHELIA                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
NORRIS, TANSY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NORRIS-MARTIN, RITA             ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
NORTH, KAREN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NORTH, ROBIN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NORTHCOTT-PARKS, TERESA         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NORTHROP, NICOLETTE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NORTHROP, SHARON                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NORTHUP-DALTON, SHARON          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
NORTON, CATHLEEN                JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
NORTON, CATHY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
NORTON, CHRISTINE               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
NORTON, GLENDA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
NORTON, GLENDA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
NORTON, MARY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
NORTON, MOLLIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NORTON, REBECCA                 ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
NORTON, SARA                    MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
NORTON, TRACIE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
NORWICH, STEFANIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NORWOOD, DELORIS                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007


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Claim Name                              Address Information
NORWOOD, DOROTHY                       ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119
NORWOOD, GLADYS                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NORWOOD, JOAN                          THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                       CHARLESTON WV 25301
NORWOOD, MEMORY                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
NORWOOD, MEMORY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
NOSIK, LARISA                          JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                       77002
NOTTERMANN, CAROL                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
NOTTERMANN, CAROL                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
NOTTINGHAM, JUNE                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
NOTTINGHAM, MARGARET                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NOTTINGHAM,PATRICIA EST OF J NOTTINGHAM LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                        NJ 08648
NOULLET, BETTY                         MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
NOUTSARINH SAENSANE                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119
NOVACK, LINDA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
NOVACK, NANCY                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
NOVACK, NANCY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
NOVAK, ANNETTE                         THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 22960
NOVAK, ANNETTE                         HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                       46290
NOVAK, PEGGY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NOVAK-HALLWAY, TRUDY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
NOVELLINO, PETER & EST OF KAREN        NOVELLINO, MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23
                                       FLOOR NEW YORK NY 10017
NOVICKY, DOLORES                       COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
NOVOSEL, ROSEMARIE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
NOVOSEL, ROSEMARIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NOVOSEL, ROSEMARIE                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
NOVOSEL, ROSEMARIE                     PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
NOWAK, MANUELA                         THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
NOWAKOWSKI, JEANETTE                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
NOWAKOWSKI, MARY                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
NOWE, MARGARET                         GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                       PA 19102
NOWELL, CYNTHIA                        JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
NOWICKI, DONNA                         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006



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Claim Name                       Address Information
NOWICKI, DONNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NOWICKI, JENNIFER               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
NOWICKI, LINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NOWINSKI, BARBARA               ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
NOWINSKI, BARBARA               MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
NOWLIN, SHARON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NOYES, CANDI                    POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                LECKMAN, T. MATTHEW CONSHOHOCKEN PA 19428
NUCHERENO, LYNNE                COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
NUCKLES, AGNES                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NUCKLES, AGNES                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
NUCKLES, AGNES                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
NUCKOLS, PEGGY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NUFFER, DEBRA                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
NUFFER, DEBRA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
NUFFER, DEBRA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
NUGENT, KAREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NUGENT, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NUGENT, YONG                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILSON, MICHAEL A. BUFFALO NY
                                14202-3725
NULTY, PHYLLIS                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
NUNAN, SUSAN                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
NUNES, LAURIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
NUNEZ, CHRISTINA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NUNEZ, GAITRI                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
NUNEZ, MICHELLE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
NUNEZ, MINNIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NUNEZ, REGINA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
NUNLEY, JULIA                   NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
NUNLEY, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NUNLEY, SANDRA                  THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
NUNLEY-CALLENDER, ZONIA         FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
NUNN, CATHY                     THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
NUNN, LASHAWN                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
NUNN, MARY                      MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
NUNNERY, BRENDA                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130


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                                             LTL Management LLC
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Claim Name                             Address Information
NUNNERY, VIOLET                       GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                      EDWARDSVILLE IL 62025
NURYS, NINO                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NUSBAUM, SHARLENE                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
NUSS, DAWN                            NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                      11747
NUSS, KATHRYN                         GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                      PA 19102
NUSSBAUM, BETTE                       WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                      HILL NJ 08002
NUTALL, DEBORAH                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                      77098
NUTGRASS, SHARON                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
NUTTER, TRISTAN                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                      STREET, SUITE PENSACOLA FL 32502
NUZZO, DONNA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
NWABA, UCHECHI                        DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                      63102
NWOKOGBA, MELODY                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
NYHAN, MARY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
NYMAN, DIANE                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
NYMAN, WENDY                          PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
NYSTROM, MEGAN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
O'CONNELL, JOHN; BERKOWITZ, ALAN      NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                      PR 00918
O'CONNELL, MICHAEL                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                      PR 00918
O, BETTY                              GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                      EDWARDSVILLE IL 62025
O, MARGARET                           CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                      14202-3725
O, PATRICIA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
OACHS, MICHELLE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OAKES, JOSEPHINE                      LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                      94111
OAKES, MARGARET                       ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                      77007
OAKES, MARIANNE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OAKLEY, KATHLEEN                      COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
OAKLEY, LISA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OAKLEY, MARTHA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OAKLEY, REBECCA                       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                      ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
OAKLEY, SALLY                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
OAKMAN, CAROL                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
OAKS, LORI                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
OAKS, LORI                      GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
OAKS, LORI                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OAKS, LORI                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
OAKS, LORI                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
OASIN, LEA                      WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
OATIS, BARBARA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
OATMAN, JUDY                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
OATMAN, JUDY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
OBANION, PEGGY                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
OBANNON, AMANDA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
OBASI, NKEM                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
OBENDORFER, JOAN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
OBER, ANGELA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OBER, ELIZABETH                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
OBERDIER, MARY                  THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
OBERG, DEBORAH                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
OBERHAUSEN, CHERYL              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OBERMILLER, DEBRA               HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
OBERTACZ, CAROLYN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OBRIAN, ROBIN                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
OBRIEN, CATHY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW PARENT, GREGORY J.
                                WASHINGTON DC 20006
OBRIEN, CORINNE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
OBRIEN, GERALDINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OBRIEN, HELENE                  KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
OBRIEN, HELENE                  LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
OBRIEN, JOANN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
OBRIEN, MARGARET                BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
OBRIEN, MICHELE                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
OBRIEN, NICOLE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
OBRIEN, SHARON                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
OBRIEN, WILMA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OBRIEN, WILMA                   THE POTTS LAW FIRM, LLP 3737 BUFFALO SPEEDWAY STE 1900 HOUSTON TX 77098
OBRYANT, BRENDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
OCADIZ, MARIA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
OCAIN, PATRICIA                 JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
OCALLAGHAN, MARGARET            BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
OCAMPO, DIANA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
OCAMPO, DIANA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
OCAMPO, VERDELL                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
OCANAS, MARIBEL                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
OCCHUIZZO, GINA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OCHOA, DELIA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
OCHOA, LORRAINE                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
OCHOTECO, IRMA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
OCHOTECO, IRMA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OCHOTECO, IRMA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
OCHOTECO, IRMA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
OCKERT, RITA GREGORY            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
OCKMOND, KATHLEEN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OCLANDER, PATRICIA              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
OCONNELL, AILEEN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OCONNELL, ANNEMARIE             GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
OCONNELL, GERALDINE             DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
OCONNELL, GERALDINE             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
OCONNELL, GERALDINE             LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
OCONNELL, GERALDINE             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
OCONNELL, KATHLEEN              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
OCONNELL, LINDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OCONNELL, LINDA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
OCONNELL, LINDA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
OCONNELL, TRACI                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OCONNOR, ADA                    ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
OCONNOR, ANNE                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
OCONNOR, ANNE                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
OCONNOR, BEVERLY                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
OCONNOR, CHRISTINA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OCONNOR, ECKO                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OCONNOR, HARRIET                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
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Claim Name                       Address Information
OCONNOR, ILENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OCONNOR, ILENE                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
OCONNOR, ILENE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
OCONNOR, KATHERINE              JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
OCONNOR, KATHLEEN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OCONNOR, LINDA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
OCONNOR, MARY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
OCONNOR, MAUREAN                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
OCONNOR, MELANIE                JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
OCONNOR, REBECCA                DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
OCONNOR, SHARON                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
OCONNOR-FITZGEREALD, JANE       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ODDSON, TRACY                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ODELL, JOAN                     SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
ODELL, PAMELA                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
ODHIAMBO, JACQUELINE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ODOM, CHARLES                   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
ODOM, DOLORES                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ODOM, FRANCES                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ODOM, MARIANNE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ODOM, PEARLENE                  MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
ODOM, TREINA                    BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ODOM, TRUDY                     BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
ODOM, ZEBBIE                    BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ODOM, ZEBBIE                    BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
ODONNELL, ANNMARIE              DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
ODONNELL, AUDREY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ODONNELL, CALLY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ODONNELL, CYNTHIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ODONNELL, KAREN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ODONNELL, MICHELLE              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ODONNELL, RUTHANN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ODONNELL, SALLY                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
ODONNELL, SHERREL               DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ODRISCOLL, YVONNE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                          Address Information
ODUMS, JO                          LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                   NICHOLAS LAKE CHARLES LA 07060
OECHSNER, KATHLEEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OECHSNER, KATHLEEN                 THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
OEHLERT, JEAN                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
OEHLERT, PEGGY                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
OEI LIPP, LIAN SIANG               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
OEI LIPP, LIAN SIANG               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
OELKE, MICHELLE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OESTERLE, SYLVIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OETINGER, HOLLY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OFARRELL, LOUISE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OFERT, CATHERINE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
OFFERMAN, ADELAIDE                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
OFFILL, ETHEL                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OFFUTT, IDA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
OFIELD, MARY                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
OFSTAD, BRANDI                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
OGBOMAN, MONEERA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OGBOMON, MONEERA                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
OGBONNAH, OBIAGELI                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
OGBONNAH, OBIAGELI                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
OGLE III, JAMES                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                   PR 00918
OGLE, LISA                         ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                   FELLER, JOEL J. PHILADELPHIA PA 19103
OGLE, PAMELA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OGLE, TYWANA                       ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
OGLESBY, CECILIA                   COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                   INDIANAPOLIS IN 46204
OGLESBY, MICHELLE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OGLESBY, PATTY                     BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                   ROBERT BRENT LOS ANGELES CA 90024
OGLESBY, RITA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
OGLETREE, BETTY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OGLETREE, RITA                     MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
OGORMAN, TRACEY                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
OGORMAN, TRACEY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
OGRADY, MARNA                      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN


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                                                LTL Management LLC
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Claim Name                                Address Information
OGRADY, MARNA                            STREET, SUITE PENSACOLA FL 32502
OGRAM, MARIE                             FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                         THOMAS ROE NASHVILLE TN 37215
OHALLORAN, KATHLEEN                      CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                         CHICAGO IL 60602
OHANLON, ANITA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OHANLON, DONNA                           COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
OHANLON, DONNA                           FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
OHANLON-YOUNG, PATRICIA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
OHARA, LORI                              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
OHARA, LORI                              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OHARA, LORI                              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
OHARA, LORI                              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
OHARA, LORI                              KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
OHARA, PHYLLIS                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OHARE, PATRICIA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
OHLENBUSCH, GRACE                        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
OHLER, DONNA                             LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
OHLINGER, JEAN                           DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
OHLMAIER, MARTHA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
OHLMS, MARTHA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OHLUND, STEVEN AND OHLUND, PATRICIA      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
OHMAN, PATRICIA                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
OHRING, JEAN                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OINONEN, CATHLEEN                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
OJO, REBECCA                             ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
OKANE, MILDRED                           FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
OKE, MARGARET                            BEASLEY ALLEN CROW METHVIN PORTIS &MILES JAMES, L., ODELL, P. & SCOTT, B. 218
                                         COMMERCE STREET MONTGOMERY AL 36104
OKEEFE, KATHLEEN                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OKEEFFEE, ERIN                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
OKEEFFEE, ERIN                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OKEEFFEE, ERIN                           THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
OKEEFFEE, ERIN                           PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
OKELLEY, SHERRI                          THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                         ORLEANS LA 70130
OKEN, WILDA                              WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                         DALLAS TX 75219
OKERSON, ROBERTA                         THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                         ORLEANS LA 70130
OKON, TARA                               THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                         ORLEANS LA 70130


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Claim Name                          Address Information
OKORO, ALETHA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
OLA DAVIS                          LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207 MANHATTAN
                                   BEACH CA 90266
OLA DAVIS                          ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                   CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
OLANYK, LADONNA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
OLAUGLIN, LINDA                    KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
OLBRYS, NANCY                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
OLDES, SHARON                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
OLDHAM, DORIS                      GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                   EVAN D. EDWARDSVILLE IL 62025
OLDHAM, KIM                        DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102
OLDHAM, MICHELLE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
OLDHAM, MICHELLE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
OLDHAM, SANDRA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLDS, DORIS                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
OLDS, DORIS                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
OLDS, JOYCE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLEARY, MAURA                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
OLEARY, NANCY                      EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP EICHEN, BARRY R. & KELLY, JOHN P 40
                                   ETHEL ROAD EDISON NJ 08817
OLECH, PAMELA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
OLGE, LINDA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
OLICHNEY, MARIE                    MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 THOMAS, CAROLINE W. MURRAY,
                                   STEPHEN B. NEW ORLEANS OH 70130
OLINDE, ELLEN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLINER, RENEE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
OLINER, RENEE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLINER, RENEE                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
OLINGER, FREDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLINSKI, PATRICIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
OLIPHANT, DEBORAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLIVA, JACQUELINE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLIVACZ, BARBARA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
OLIVAREZ, REBECCA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
OLIVE, DORINE                      SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
OLIVE, LIZZIE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
OLIVE, LIZZIE                   MEADOWS, TED G. MONTGOMERY AL 36104
OLIVER, ABBIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
OLIVER, ALICE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLIVER, ASHLI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLIVER, CASEY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLIVER, DOROTHY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLIVER, ELIZABETH               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
OLIVER, FAITH                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
OLIVER, FAITH                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
OLIVER, FAITH                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
OLIVER, GLENDA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
OLIVER, JOSEPHINE               BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
OLIVER, KELLY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
OLIVER, LAROYAL                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
OLIVER, LISA                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
OLIVER, LISA                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
OLIVER, LISA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
OLIVER, MARLA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLIVER, MARLA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
OLIVER, MARLA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
OLIVER, PAMELA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
OLIVER, RAMONA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLIVER, ROSEMARIE               SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
OLIVER, TAMMY                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
OLIVER-WRIGHT, ANGELA           BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
OLIVERAS, NILDA                 MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
OLIVERO, NIDIA, E               WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
OLIVIER, CLAIRE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
OLIVO, MARY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
OLIX, TERA                      CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
OLKIVES, CHRISTINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLLER, NITA                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
OLLER, NITA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
OLLER, NITA                     MEADOWS, TED G. MONTGOMERY AL 36104
OLLER, VICTORIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLLIFF, ANITA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLLIS, CONNIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
OLMELIO, VILMA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
OLMOS, MARIA                    SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
OLSEN, ALETA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLSEN, CHARLENE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLSEN, IRENE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLSEN, KAREN                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
OLSEN, SHARON                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
OLSHEFSKI, MARIANNE             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
OLSON, ADELLA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLSON, DARLENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLSON, DIANA                    THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
OLSON, DIANA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLSON, JACQUELINE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
OLSON, KATHLEEN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
OLSON, KATHLEEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLSON, KATHLEEN                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
OLSON, KATHLEEN                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
OLSON, KELLY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLSON, KIMBERLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLSON, MARLENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLSON, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLSON, NANCY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
OLSON, PATRICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
OLSON, SANDRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OLSON, SHELLI                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
OLSON, THELMA                   WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
OLSON, VANESSA                  ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
OLTEN, THERESE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
OLTEN, THERESE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
OLVERA, LENCY                   SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
OLVERA, LENCY                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
OLVERA, LIDIA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
OLVERSON, TAMEEKA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
OMALLEY, BONNIE                 ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450
                                FELLER, JOEL CASEY, MATTHEW A. PHILADELPHIA PA 19103
OMALLEY, LAURA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OMALLEY, LINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OMALLEY, MARCELLA               BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
OMALLEY, NANCY                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
OMALLEY-KOSTNER, KAREN          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
OMALLEY-KOSTNER, KAREN          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OMALLEY-KOSTNER, KAREN          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
OMALLEY-KOSTNER, KAREN          PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
OMANOFF, JOYCE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OMAR, LUCRECIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
OMBRELLINO, CONCETTA            ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
ONAN, VIRGINIA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
ONDA, WENDY                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ONDELL, CATHERINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ONDERLAW, LLC                   BLACK, RADOS, ONDER, BLAIR, BOWDEN, ORDIWAY; 110 E. LOCKWOOD, 2ND FL ST. LOUIS
                                MO 63119
ONEAL, BONNIE                   MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
ONEAL, HAZEL                    SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
ONEAL, JAMILA                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 TREVINO, MARGOT CUBBERLY
                                WALT BRAHMBHATT SEJAL K HOUSTON TX 77017
ONEAL, JAMILA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ONEAL, LISA                     CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
ONEAL, MELISSA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ONEIL, ANNETTE                  POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
ONEIL, SUSAN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ONEILL, BETTY                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
ONEILL, BONNITA                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
ONEILL, DAWN                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ONEILL, DIANA                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
ONEILL, KATHLEEN                MOTLEY RICE, LLC 50 CLAY STREET, SUITE 1 HOYLE, THOMAS DAVID MORGANTOWN WV
                                26501
ONEILL, KATHRYN                 ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
ONEILL, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ONEILL, RITA                    BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ONEILL-PIRRUNG, CAROLE          CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY



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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
ONEILL-PIRRUNG, CAROLE          14202-3725
ONEY, BETH                      MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
ONIFADE, DEATRUS                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ONKURU, VARSHA                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
ONTARIO, HOSEA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ONUKIAVAGE, MARYANN             JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
OOTEN, JERI                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
OPAL HARDY                      ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
OPENSHAW, JIMMIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OPPEL, TAMMY                    BEASLEY ALLEN CROW METHVIN PORTIS &MILES JAMES, L., ODELL, P. & SCOTT, B. 218
                                COMMERCE STREET MONTGOMERY AL 36104
OPPENBERG, JOSEPHINE            DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
OPPERMAN, LORI                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
OQUENDO, SYLVIA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
OQUINN, TIFFANY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ORBEN, ELLEN                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ORCINO, JENNIFER                MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
ORCUTT, DEBORAH                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ORCUTT, DORIS                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ORCUTT, PATRICIA                WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
ORDER, BARBARA VAN              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ORDONEZ, SHERRY                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ORDOYNE, ROXANNE                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ORE, MARTHA                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
OREAR, PRUDENCE                 CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
OREBAUGH, BRENDA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ORECCHIA, LAVINIA               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
OREILLY, AMY                    HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
OREILLY, ANNE                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
OREILLY, MARGARET               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                          Address Information
OREL, INA                          MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                   11050
ORELLANA, KATHLEEN                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
ORELLANA, LUZ                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OREM, LAURA                        GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
OREM, MARTHA                       THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
OREY, MARSHA                       ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
ORF, MARQUITA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
ORISCHAK, MARGARET                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ORITI, ELISSA                      NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                   BERMAN, W. STEVE GREAT RIVER NY 11739
ORLANDO, AURORA                    COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
ORLANDO, DEANNA                    BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                   30603
ORLANDO, JUDY                      DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ORLANDO, KRISTINA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
ORLANDO, MAUREEN                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                   EVAN D. EDWARDSVILLE IL 62025
ORLICH, ANNE                       DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                   ANTHONY ST. LOUIS MO 63102
ORLICH, ANNE                       LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ORLICH, ANNE                       ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                   & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
ORLICH, ANNE                       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ORLIK, ROSALBA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ORLOSKI, SANDRA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
ORLOWSKI, CHRISTINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ORMAN, MICHELLE                    GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
ORMAN, MICHELLE                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
ORMOND, AMBER                      GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
ORMSBY, DOROTHY                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                   PR 00918
ORNDOFF, BETTY                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
ORNELAS, PATRICIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ORONA, EVANGELISTA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
ORONA, EVANGELISTA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ORONA, EVANGELISTA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ORONA, EVANGELISTA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ORONA-SHELL, JOSEFINA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231



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Claim Name                       Address Information
OROPEZA, MARTHA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
OROPEZA, MARTHA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
OROPEZA, MARTHA                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
OROPEZA, MARTHA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
OROPEZA, MARTHA                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
OROS, BRENDA                    TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
OROVET, PAMELA                  ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                FELLER, JOEL J. PHILADELPHIA PA 19103
OROZCO, SANDRA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
OROZCO, SOPHIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
OROZCO, SOPHIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OROZCO, SOPHIA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
OROZCO, SOPHIA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
OROZCO, YOLANDA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ORPINEDA, BERSABELA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ORR, ANNIE                      JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
ORR, ASHLEY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ORR, BARBARA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ORR, CYNTHIA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ORR, JACQUELINE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ORR, KATHLEEN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ORSINI, ROSE                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ORTA-VALDOVINOD, PAMELA         MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
ORTEGA, CARMEN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ORTEGA, CAROL                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ORTEGA, CAROL                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
ORTEGA, DONNA                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ORTEGA, ELIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ORTEGA, ELIZABETH               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ORTEGA, JESSICA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ORTEGA, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ORTEGA, RACQUEL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ORTEGA, RONDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
ORTEN, SHELLY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ORTHMANN, YVONNE                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ORTIGOZA, MARIA                 DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
ORTISI, MARY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ORTIZ, ADRIANA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ORTIZ, ALICE                    BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
ORTIZ, ANITA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ORTIZ, BETH                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ORTIZ, BETH                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ORTIZ, CONNIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ORTIZ, EILEEN                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ORTIZ, ERICA                    WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
ORTIZ, EVELYN                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ORTIZ, EVELYN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ORTIZ, FRANCISCA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ORTIZ, GLADYS                   MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
ORTIZ, INGRID                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ORTIZ, ISABEL                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ORTIZ, KAYLA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ORTIZ, KAYLA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ORTIZ, KAYLA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ORTIZ, KAYLA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ORTIZ, MARIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ORTIZ, MARIA                    TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
ORTIZ, MARISELA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ORTIZ, MELISSA                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
ORTIZ, NAARA                    WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
ORTIZ, NATALIE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ORTIZ, SARAH                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ORTIZ, SONIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                LAMPKIN II, JAMES W. MONTGOMERY AL 36104
ORTMAN, PAMELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ORTNER, LEANN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ORTOLANO, NANCY                 REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                BINSTOCK, ROBERT J. HOUSTON TX 77027
ORTON, LINDA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX


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                                        LTL Management LLC
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Claim Name                       Address Information
ORTON, LINDA                    77007
ORVILLE, ELDER                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ORZECK, MARILYN                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
OSBORNE, CLAUDETTE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OSBORNE, DEANNA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OSBORNE, DEBRA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
OSBORNE, IDA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
OSBORNE, SHIRLEY                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
OSBORNE, SHIRLEY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
OSBORNE-CURRY, JANNIE           THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
OSBURN, BARBARA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OSCHMAN, CHRISTINE              LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
OSHAUGHNESSY, SHELLIE           FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
OSHEA, JUDY                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
OSHEI, LINDA                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
OSORIO, JUANITA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
OSSEN, BEVERLY                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
OSTEN, CAROL                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
OSTEN, CAROL                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
OSTERDOCK, APRIL                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
OSTERHOUDT, LORETTA             FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
OSTERLAND, RENEE                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
OSTERLAND, RENEE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
OSTOLAZA, LUISA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OSTRANDER, DEE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OSTRAWSKI, KIMBERLY             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OSTRENGA, LUCILLE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OSTROFF, MICHELE                SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
OSTROM, LAURA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OSTROSKI, DEBORAH               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
OSTROSKI, SHARON                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
OSTROVSKIS, LILIJA              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
OSTROWSKI, KRISTIE              WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 MANDIA, JOSEPH J BOYLE, ERIN
                                M CHERRY HILL NJ 08002
OSUCH, CHRISTINE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231


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                                              LTL Management LLC
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Claim Name                             Address Information
OSUNLAJA, ANDREA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OSWALD, MARIA                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
OSWALD, NORMA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OTA, MARGARET                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OTAVAKA-DUREW, MONICA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                       11747
OTERO, IMARA                           CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
OTERO, LILY I & EST OF JOSEPH ARROYO   MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                       YORK NY 10017
OTILLIO, CORRIN                        WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                       DALLAS TX 75219
OTILLIO, CORRIN                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77007
OTIS, BARBARA                          MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
OTIS, BARBARA                          KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
OTIS, DET                              MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                       YORK NY 10017
OTIS, MAREE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OTIS, PACIENCIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OTOOLE, DENISE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OTOOLE, TIFFANY                        SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
OTT, DARLENE                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
OTT, JANIE                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OTT, MARY                              HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                       63101
OTT, SUSAN                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
OTT, SUSAN                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OTT, SUSAN                             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
OTT, SUSAN                             PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
OTTEMAN, MADELINE                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
OTTENS, CHANTELLE                      SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
OTTENS, CHANTELLE                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
OTTENS, CHANTELLE                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
OTTER, LEWANA                          FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
OTTIANO, GLORIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OUELLETTE, MARIA                       REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                       BINSTOCK, ROBERT J. HOUSTON TX 77027
OUELLETTE, PATRICIA                    LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 03653
OUGH, KEELA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OUIMETTE, CAROLYN                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
OUIMETTE, DONNICE                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
OULES, LORI                            ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
OUSLEY, BERNADINE                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266


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Claim Name                          Address Information
OUSLEY, BERNADINE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
OUSLEY, REGINA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OVER, ALICE                        WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
OVERBY, CHARLOTTE                  SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                   01153
OVERDAHL, NANCY                    WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
OVERMAN, ANGELA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OVERMAN, ANGIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OVERMAN, JANICE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OVERMAN, JANICE                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
OVERSON, SYLVIA                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                   SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
OVERSTREET, RAMONA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
OVERSTREET, VIVIAN                 MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
OVERSTREET, VIVIAN                 KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
OVERTON, ANNA                      COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
OVERTON, ANNA                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
OVERTON, CAROLYN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
OVERTON, GAYLE                     BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
OVERTON, GLENNA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
OVERTON, PATRICIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OVERTON, PATRICIA                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                   75202
OVERTON, TONI                      REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                   BINSTOCK, ROBERT J. HOUSTON TX 77027
OVIEDO, HILDA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OVIEDO, MARIA                      MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
OVIEDO, MARIA                      DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                   77024
OVIEDO, MARIA                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
OVIEDO, MARIA                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
OVITT, DARNELLE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OVITT, SANDRA                      SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                   01153
OWEN, ALICIA                       BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                   CA 92660
OWEN, CATHERINE                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
OWEN, CHRISTINE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
OWEN, DEBORAH                      THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
OWEN, DESIRAE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OWEN, EVA                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
OWEN, JERRI                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098


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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
OWEN, JOAN                      DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
OWEN, JOAN                      LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
OWEN, JOAN                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
OWEN, JOAN                      ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
OWEN, JOAN                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
OWEN, MAIRIOIN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
OWEN, REBECCA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OWENS, BERNIDA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
OWENS, BOBBIE                   HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
OWENS, BONNIE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
OWENS, BRENDA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
OWENS, CALLIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
OWENS, CARRIE                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
OWENS, CHARSSIE                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
OWENS, CHAVALLA                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
OWENS, CRYSTAL                  THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
OWENS, DARLENE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
OWENS, DEBORAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OWENS, DEBORAH                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
OWENS, DENISE                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
OWENS, DISHANNON                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OWENS, DONNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OWENS, EVELYN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
OWENS, HELEN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
OWENS, HOLLY                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
OWENS, HOLLY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OWENS, HOLLY                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
OWENS, HOLLY                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
OWENS, JANET                    GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
OWENS, JANET                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
OWENS, JOHN                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025


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Claim Name                       Address Information
OWENS, KAREN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OWENS, LATRISHA                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
OWENS, LENA                     KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
OWENS, LENA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OWENS, LISA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
OWENS, LISA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OWENS, MARGARET                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
OWENS, MARJORIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
OWENS, MARY                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR. MARK P. KAR NEWPORT BEACH CA 92660
OWENS, MICA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
OWENS, PERMEISHA                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
OWENS, RHONDA                   ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
OWENS, RUNNETTE                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
OWENS, SARAH                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
OWENS, SARAH                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
OWENS, SHAMONDA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
OWENS, SHARON                   MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                DAVID M. MINNEAPOLIS MN 55404
OWENS, SHARON                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
OWENS, SUSAN                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
OWENS, TONI                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OWENS, WANDA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
OWINGS, ANA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
OWINGS, DAWNETTE                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
OWINGS, DAWNETTE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
OWSLEY, CONSUELO                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OWSLEY, YOLANDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
OWUSU, DINAH                    BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
OXENDINE, CHRISTINE             MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
OXENDINE, ELAINE                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
OXENDINE, KATHERINE             DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
OXENDINE, KATHERINE             LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
OXENDINE, KATHERINE             LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
OXENDINE, KATHERINE             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE



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Claim Name                       Address Information
OXENDINE, KATHERINE             ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
OXENDINE, KATHERINE             ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
OXENRIDER, DEBBIE               SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
OXFORD, CLARA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAAHANA, MARGARET               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAAHANA, MARGARET               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PABON, GLADYS                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PABON, ZEMINA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PABROS, GIZELDA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PACE, BETTYE                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PACE, CINDY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PACE, DIANE                     COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
PACE, GWENDOLYN                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
PACE, HOLLIS                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PACE, INEZ                      DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
PACE, MARIA                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PACE, MICHELLE                  CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
PACE, MICHELLE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PACE, SHARON                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PACE, TAMARA                    BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
PACE, TAMBRIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PACE, TERRIE                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
PACE, WILLA                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
PACE, WILLA                     BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
PACHECO, ANNETTE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PACHECO, GILBERTA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PACHECO, IRENE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PACHECO, JO-ANN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PACHECO, MARGIE                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
PACHECO, RACHEAL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PACHECO, TRUDY                  BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660



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Claim Name                       Address Information
PACHLA, CHRISTINE               DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PACHOV, ASHLEY                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PACHT, ROBERTA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PACHULSKI, NITA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PACI, COLLEEN                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
PACILLI, ROSEMARIE              BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
PACILLI, ROSEMARIE              BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
PACK, CARMALEE                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
PACK, CARMALEE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PACK, CARMALEE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PACK, CARMALEE                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PACK, DONETTE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PACK, MARSHA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PACKER, DOROTHY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PACKER, JOYCE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PACKER, VICTORIA                ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
PACKETT, NORA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PACKETT, NORA                   FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD RAGGIO, JOHN LUFF, DALLAS TX 75231
PACKWOOD, CHARLENE              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PACKWOOD, SANDRA                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
PADALINO, KRISTINE              WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
PADELSKY, STEPHANIE             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PADFIELD, LAURA                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
PADGETT, JULAINE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PADGETT, KARSANDRA              THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
PADGETT, SHERMAN                NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
PADGETT, VERONICA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PADGETT, VERONICA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PADGETT, VERONICA               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PADILLA, ANA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PADILLA, CHRISTINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PADILLA, DORA                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
PADILLA, ERIC                   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002



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Claim Name                       Address Information
PADILLA, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PADILLA, NORMA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PADILLA, ROSE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PADILLA, ROSE                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
PADILLA, ROSE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PADILLA, ROSE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PADILLA, ROSE                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PADILLA, YOLANDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PADILLA-REYES, ANDREA           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PADIN, BETZALDA                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
PAFUNDI, SILVIA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PAFUNEI, SILVIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAGAN, HOPE                     DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
PAGANO, CARMELA                 LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
PAGE, ANTOINETTE                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
PAGE, BARBARA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PAGE, BONNIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PAGE, CHERISH                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PAGE, CONNIE                    WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
PAGE, CRYSTAL                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
PAGE, DEBRA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAGE, DIANE                     MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CTR, 7TH FL, 201 N. FRANKLIN ST
                                TAMPA FL 33602
PAGE, DONNA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PAGE, DONNA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAGE, FLORA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PAGE, JOSEPH O.                 WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
PAGE, LISA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAGE, RACHEL                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PAGE, ROBIN                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PAGE, TAMARA                    SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
PAGE, THERESA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PAGE, TINA                      MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
PAGE, VIVIAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAGEL, ANNABELLE                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098


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Claim Name                       Address Information
PAGLIA, CARLA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PAGLICCIA, SUSAN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAGNANI, PATRICIA               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PAGUE, MARY                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PAIGE, BARBARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAIGE, CORINNE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAIGE, EARNESTINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAIGE, JASMINE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAIGE, PATRICIA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PAIGE, SYLVIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAINTER, BONNIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PAINTER, DEBORAH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAINTER, JOYCE                  WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
PAINTER-IRISH, DEBORAH          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PAIT, LISA                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PAKAN, SHARON                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PALACIO, ANGELA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PALACIOS, ERMELA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PALACIOS, LIZZETH               FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD MCDOWELL, DARREN LUFF, PATRICK -
                                PLUFF2FNLAWFIRM.C DALLAS TX 75231
PALACIOS, VICTORIA              KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
PALACIOUS, VICTORIA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PALACIOUS, VICTORIA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PALACIOUS, VICTORIA             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PALACIOUS, VICTORIA             PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
PALADINO, JO ANN                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PALADINO, PAULINE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PALAFOX, DIANA                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
PALANO, MARION                  GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
PALASCHAK, DEBORAH              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PALAZZO, CAROL                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, MARK NEW ORLEANS LA 70130
PALAZZO, COLLEEN                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PALAZZO, JEANNE                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
PALAZZO, JEANNE                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
PALAZZO, JEANNE                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
PALAZZO, JEANNE                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.


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Claim Name                       Address Information
PALAZZO, JEANNE                 & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
PALAZZO, JEANNE                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PALAZZO, ZOLA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PALEPALE, LEUTU                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PALERMO, DIANE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PALERMO, DIANE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PALERMO, DIANE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PALERMO, DIANE                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
PALERMO, MARLETTE               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
PALETTA, LISA                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
PALISOC, SUSAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PALL, DEVRE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PALL, DEVRE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PALL, DEVRE                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PALL, DEVRE                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PALLAS, SAUNDRA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PALLETTE, MARCIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PALM, BARBARA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PALM, TRUDY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PALMA, DIK                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PALMA, GAYLE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PALMAI, CAROL                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PALMER, BARBARA                 BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
PALMER, BOBBIE                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PALMER, CHARLENE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PALMER, CYNTHIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PALMER, DEBRA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PALMER, JAMIE                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PALMER, LINDA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PALMER, MARCIA                  PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
PALMER, MARIE                   THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                FERRARO, JR, JAMES L MIAMI FL 33131
PALMER, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PALMER, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PALMER, MARY                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157


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Claim Name                       Address Information
PALMER, MARY                    PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
PALMER, MARY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PALMER, NANCY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PALMER, NANCY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PALMER, NICOLE                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
PALMER, ROSLYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PALMER, SUSAN                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
PALMER, TONI                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PALMERTON, ELIZABETH            FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PALMORE, MELISSA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PALNICK, IRENE                  ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
PALOMINO, APRIL                 TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
PALONE, RIKKI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PALUH, SALLY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PALUMBO, BETSY                  BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
PALUMBO, JOAN                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
PALUMBO, PAMELA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PALUMBO, ROSEANN                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
PALUMBO, ROSEANN                ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
PALUMBO, SABRINA                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PALUZZI, LORRAINE               JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
PAMALA RYALS                    THE FERRARO LAW FIRM, P.A. BECERRA, J, FERRARO, J & JAGOLINZER, D 600 BRICKELL
                                AVENUE, SUITE 3800 MIAMI FL 33131
PAMELA DENNIS                   LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207 MANHATTAN
                                BEACH CA 90266
PAMELA DENNIS                   ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
PAMELA GALAT                    LENZE KAMERRER MOSS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207
                                MANHATTAN BEACH CA 90266
PAMELA GALAT                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
PAMELA GRAHAM                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
PAMELA HINTZ                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
PAMELA HORVATH                  BISNAR AND CHASE ANTURNOVICH, TOM & CHASE, BRIAN D. 1301 DOVE STREET, SUITE
                                120 NEWPORT BEACH CA 92660
PAMELA VALENTI                  MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
PAMPLIN, CRYSTAL                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231


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Claim Name                       Address Information
PAMS, LATOYIA                   SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
PAMS, LATOYIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PAMS, LATOYIA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PAMS, LATOYIA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PAMULA MOORE                    LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207 MANHATTAN
                                BEACH CA 90266
PAMULA MOORE                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
PAN, LILING                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAN, LILING                     THE POTTS LAW FIRM, LLP 3737 BUFFALO SPEEDWAY STE 1900 HOUSTON TX 77098
PAN, LILING                     SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
PANAGOS, HELEN                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PANALIGAN, ELAIZA               DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
PANARO, SANDRA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PANDOLA, KIMBERLY               TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
PANDOLFO, BEATRICE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PANE, CHRISTINE                 ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
PANERIS, ALEXANDRA              DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PANFIL, CHERYL                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PANICHELLA, MARY                MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
PANIZA, ROSA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PANKINS, ANNIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PANKOW, DELIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PANNELL, LINDA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PANNELL, LINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PANNELL, NANCY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PANNELL, NANCY                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
PANNELL, NANCY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PANNELL, NANCY                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PANNELL, NANCY                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PANNULLO, ANTONELLA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PANNULLO, MAUREEN               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PANNULLO, MAUREEN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PANTALONE, NANCY                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PANTERA, ANNA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY



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Claim Name                       Address Information
PANTERA, ANNA                   14202-3725
PANTOJA, CHRYSTAL               WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
PANTOJA, PRISCILLA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PANULLO, LOIS                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAOLONE, TERESA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PAONE, KATHLEEN                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PAPAGNI, LINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PAPICH, SHARON                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PAPICH, SHARON                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PAPIOMITIS, CYNTHIA             GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PAPP-ROCHE, EVELYN              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PAPP-ROCHE, EVELYN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAPP-ROCHE, EVELYN              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PAPP-ROCHE, EVELYN              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PAPPAS, CAROL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAPPAS, MARYANN                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PAPPAS, SHERRY                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PAQUETTE, ANDREA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAQUETTE, ANDREA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PAQUETTE, ANDREA                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PARADISE, VIRGINIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARAISON, MAMA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARANDIAN, SOUDABEH             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PARAS, GINA                     SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
PARDASANI, VIDYA                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
PARDO, KAMMIE                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
PARDUE, CONNIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAREDES, ANNABELLE              DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PAREDES, NICHOLE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARENT, SHIRLEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARENTEAU, ROBERTA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARENTI, DAWN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PARHAM, BEVERLY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PARHAM, BEVERLY                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PARHAM, BEVERLY                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PARHAM, ESSILENE                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747


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Claim Name                       Address Information
PARHAM, LORI                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PARIS, AMANDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARIS, BARBARA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PARIS, DANI                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
PARIS, DANI                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
PARISH, KITTY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARISHER, PAMELA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PARISI, CHRISTINA               COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
PARISI, LYNDA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PARISIEN, CRYSTAL               GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
PARISIEN, CRYSTAL               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARISIEN, CRYSTAL               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PARISIEN, CRYSTAL               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PARISON, JENNIFER               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PARK, NANCY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PARK, PHYLLIS                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARK, RITA                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
PARK, ROSA                      MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
PARKE, JOANN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PARKE, SHARON                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PARKER WAICHMAN, LLP            6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
PARKER, ALICE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PARKER, ALISON                  POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
PARKER, AMANDA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PARKER, ANNA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PARKER, ANNA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PARKER, BETTYE                  CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
PARKER, CAROLYN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PARKER, CHARLOTTE               GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
PARKER, CHERYL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PARKER, CHRISTINA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PARKER, CINDI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PARKER, DAWN                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PARKER, DEANA                   BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH


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Claim Name                       Address Information
PARKER, DEANA                   CA 92660
PARKER, DEBORAH                 HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
PARKER, DIANA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARKER, DONNA                   CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
PARKER, DOROTHY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARKER, EDNA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PARKER, FREDDIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PARKER, GAYLE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARKER, GLORIA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PARKER, IVY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARKER, JAMI                    SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
PARKER, JUANITA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARKER, JUANITA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PARKER, JULIE                   SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
PARKER, KATIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARKER, KRISTYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PARKER, LINDA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PARKER, LORA                    ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                WASHINGTON DC 20006
PARKER, LORA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
PARKER, LOWELLA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PARKER, LOWELLA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PARKER, LOWELLA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PARKER, MARY                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
PARKER, PATRICIA                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PARKER, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARKER, PEGGY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARKER, PENNY                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
PARKER, ROBIN                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PARKER, ROBIN                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PARKER, SANDRA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PARKER, TAMMY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PARKER, VANESSA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PARKER, VARNICE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PARKER, VENESSA                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA


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                                       LTL Management LLC
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                                                  List
                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
PARKER, VENESSA                 PA 19102
PARKER, WANDA                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
PARKER, WANDA                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
PARKERS, ASMODEUS               REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J EPHRON,
                                MELISSA HOUSTON TX 77027
PARKERSON, ODESSA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PARKERSON, REBECCA              WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
PARKERSON-STROMAN, LUCY         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PARKHILL, SUSAN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PARKHURST, VERLA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARKIN, LINDA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PARKINSON, SUSAN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARKISON, SHEILIA               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PARKMAN, SHARON                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARKS, BARBARA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
PARKS, BRENDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARKS, CAROLYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARKS, CHRISTINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARKS, DONA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PARKS, ELLA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARKS, EVELYN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PARKS, KATERIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PARKS, LILLIAN                  HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
PARKS, MELISSA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PARKS, SHERLIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PARKS-FRISKEY, GEANNIE          REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                BINSTOCK, ROBERT J. HOUSTON TX 77027
PARMAR, KOKILA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
PARMELEE, LINDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARMENTIER, HEIDI               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARNAGIAN, ADELTRAUD            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
PARNELL, PATRICIA               DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
PARNELL, PATRICIA               DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196



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Claim Name                       Address Information
PARNITZKE, JOYCE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARRA, RACHAEL                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
PARRAS, ANN                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
PARRIGIN, JUDY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARRILLA, BARBARA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARRIOTT, JAIME                 JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
PARRIS, KENDRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARRISH, BONNIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARRISH, DELCINE                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
PARRISH, DELCINE                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
PARRISH, GLALINDA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PARRISH, INGE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PARRISH, MARTHA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PARRISH, MARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PARRISH, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARRISH, MARY                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PARRISH, MARY                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PARRISH, SUSAN                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
PARRISH, SUSAN                  TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
PARRISH, VERONICA               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PARRY, DIANE                    MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
PARRY, JOANN                    THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
PARSELLS, NANCY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PARSHALL, INGE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PARSLEY, LEANNA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PARSLEY, MARY                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
PARSON, BETH                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PARSONS, CHASTITY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARSONS, DEBORAH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARSONS, DORIS                  MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
PARSONS, JANNA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PARSONS, JUDY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PARSONS, KATHY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PARSONS, KIMBERLY               DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036


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Claim Name                       Address Information
PARSONS, LAURA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARSONS, LENA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PARSONS, LINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARSONS, LISA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PARSONS, NICKI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARSONS, ROSA                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PARSONS, SANDRA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PARSONS, SHIRLEY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARSONS, TERRY                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
PARSONS, VIRGINIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PARTEE, YVONNE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PARTEN, BILLIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PARTEN, MARTHA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PARTISH, DONNA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PARTON, GLORIA                  ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
PARTON, RENEE                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PARTON, RUTHANNE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARTRIDGE, MARY                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PARTRIDGE, MARY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PARTRIDGE, MARY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PARTRIDGE, YVONNE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PARYS, MARY                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PAS, CARLA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PASACA, MELISSA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PASCARELLI, GWENDOLYN           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PASCAVAGE, FRANCES              GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
PASCHALL, ELIZABETH             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PASCHALL, ELIZABETH             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PASCHALL, ELIZABETH             PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PASCHANG, MARTHA                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
PASCOE, MARGARET                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PASCUAL, MERCEDES               THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
PASCUAL, SACHA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
PASCUAL, SACHA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266


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                                       LTL Management LLC
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Claim Name                       Address Information
PASCUAL, SACHA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PASCUCCI, BEATRICE              MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                DAVID M. MINNEAPOLIS MN 55404
PASCUZZO, ANN                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PASHA, MARSHA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PASHA, MARSHA                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
PASHA, MARSHA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PASHA, MARSHA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PASHA, MARSHA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PASKOSKI, JANICE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PASKOSKI, JANICE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PASKOVICH, LAURETTA             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PASOS, MARCELLA                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
PASQUARELLI, JOYCE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PASS, DOROTHY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PASS, VIRGINIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PASSIK, BETTY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PASSIK, BETTY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PASSIO, REGINA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PASSMORE, HELEN                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PASSON, JULIE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PASTERNACK, BEVERLY             THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
PASTERNAK, MARILYN              POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
PASTOR, ELAINE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PASTOR, KAREN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PASTORE, JACLYN                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PASTORE, LINDA                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
PASTORI, VERONIQUE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PASTOVIC, LINDA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PATAKY, MAGDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PATAKY, NANCY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PATAKY, NANCY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PATALIK, CHERIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PATE, ANNETTE                   MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
PATE, CHRISTINE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PATE, CHRISTY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006


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Claim Name                       Address Information
PATE, CHRISTY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PATE, ETTA                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PATE, JENNIFER                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PATE, LEIGH                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PATE, NANCY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PATE, RUBY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PATE, TINA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PATEL, CHANDRKLEKHA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PATEL, JAINA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PATEL, NILABEN                  POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
PATEL, SUDHA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PATEL, URMILA                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
PATEL, USHA                     HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
PATEL, VAISHALI                 BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
PATERNOSTER, ANNA               MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
PATINO, BLANCA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PATINO, KATHERINE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PATISHNOCK, ROBERTA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PATLA, BETTY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PATMORE, PATRICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PATOCK, CARRIE                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
PATOCK, CARRIE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
PATRANELLA, LENORA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PATRICIA DELVALLE               LENZE KAMERRER MOSS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207
                                MANHATTAN BEACH CA 90266
PATRICIA DELVALLE               ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
PATRICIA DIAS                   LENZE KAMERRER MOSS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207
                                MANHATTAN BEACH CA 90266
PATRICIA DIAS                   ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
PATRICIA GALLARNEAU             ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
PATRICIA GORDEN-OZGUL           LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207 MANHATTAN
                                BEACH CA 90266
PATRICIA GORDEN-OZGUL           ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
PATRICIA HAMMOND                LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207 MANHATTAN
                                BEACH CA 90266



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Claim Name                       Address Information
PATRICIA HAMMOND                ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
PATRICIA HAYS                   LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207 MANHATTAN
                                BEACH CA 90266
PATRICIA HAYS                   ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
PATRICIA HOBSON                 JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
PATRICIA JOHNSON                LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207 MANHATTAN
                                BEACH CA 90266
PATRICIA JOHNSON                ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
PATRICIA MACK                   LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207 MANHATTAN
                                BEACH CA 90266
PATRICIA MACK                   ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
PATRICIA PEACOCK                MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
PATRICIA WHITE                  MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
PATRICK, ANGELA                 MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
PATRICK, CLARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PATRICK, DARLENE                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PATRICK, DARLENE                ASHCRAFT & GEREL, LLP GREEN, J, LYONS, P & PARFITT, M 1825 K STREET, SUITE
                                700, NW WASHINGTON DC 20006
PATRICK, JOLEEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PATRICK, KATHLEEN               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PATRICK, LORI                   WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
PATRICK, LORRAINE               HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
PATRICK, PATRICIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PATRICK, STARLIN                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
PATRONSKI, NELLIE               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
PATTERSON, ANNIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PATTERSON, BARBARA              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PATTERSON, BONNEY               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PATTERSON, CAROL                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PATTERSON, CAROL                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PATTERSON, CAROL                COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
PATTERSON, CECILIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PATTERSON, CHRISTINE            THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
PATTERSON, CORLISS              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PATTERSON, CYNTHIA              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY


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Claim Name                       Address Information
PATTERSON, CYNTHIA              14202-3725
PATTERSON, DONNA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PATTERSON, EVA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PATTERSON, EVA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PATTERSON, JANA                 THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
PATTERSON, JEWELLENE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PATTERSON, KARAN                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PATTERSON, LAURA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PATTERSON, LINDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PATTERSON, LORI                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PATTERSON, MARGARET             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PATTERSON, MARY                 TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
PATTERSON, MATTIE               WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
PATTERSON, PENELOPE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PATTERSON, RAHESHA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PATTERSON, SANDRA               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PATTERSON, SANDRA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PATTERSON, SHANNON              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PATTERSON, SHELLEY              DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
PATTERSON, SHELLEY              LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
PATTERSON, SHELLEY              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PATTERSON, SHERRILL             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PATTERSON, SONYA                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
PATTERSON, SUSAN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PATTERSON, SUZANNE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PATTERSON, SUZANNE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PATTERSON, SUZANNE              ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
PATTERSON, SUZANNE              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PATTERSON, SUZANNE              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PATTERSON, VANITA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PATTERSON, VICKI                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PATTERSON, WANDA                COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
PATTI FORD                      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
PATTI WHELAN                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119


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Claim Name                          Address Information
PATTI, DEBORAH                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
PATTI, PATRICIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PATTISON, MARY                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PATTISON, MARY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
PATTIT, DONNA                      CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
PATTON, BECKY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
PATTON, CALVET                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PATTON, DIANE                      ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
PATTON, DOREEN                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
PATTON, DOROTHY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
PATTON, JESSIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PATTON, JESSIE                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
PATTON, JOYCE                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
PATTON, LINDA                      POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
PATTON, MILDRED                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
PATTON, PENNY                      MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
PATTON, ROSEMARY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PATTON, ROSEMARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
PATTON, TONYA                      HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                   CHRISTOPHER CORPUS CHIRSTI TX 07837
PATTON, TRACI                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
PATTON, WILLIE                     MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                   ORLEANS LA 70130
PAUGH, MELISSA                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
PAUL, BARBARA                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
PAUL, BRENDA                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
PAUL, BRENDA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
PAUL, BRENDA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
PAUL, EVA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAUL, EVELYN                       CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
PAUL, SHORINE                      WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                   NJ 08002
PAUL, SUSAN                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
PAULA FAUST                        ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.


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Claim Name                       Address Information
PAULA FAUST                     LOUIS MO 63119
PAULA HORNER                    MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
PAULA LOVETT                    FLETCHER V. TRAMMELL TRAMMELL, FLETCHER V 3262 WESTEIMER, SUITE 423 HOUSTON TX
                                77098
PAULA OLSON-MARTIN              ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
PAULETTE JOSHUA                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207 MANHATTAN
                                BEACH CA 90266
PAULETTE JOSHUA                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
PAULETTE SAUNDERS               FEARS NACHAWATI LAW FIRM LUFF, PATRICK 5473 BLAIR ROAD DALLAS TX 75231
PAULETTE, DONNA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAULETTI, CELINA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PAULEY, MARIANNE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PAULEY, ROSEMARY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAULEY, SHERRY                  THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
PAULINE HALL                    SULLO & SULLO, LLP SULLO, ANDREW F. 2020 SOUTHWEST FWY. SUITE 300 HOUSTON TX
                                77098
PAULING, GERALDINE              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PAULING, GERALDINE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PAULS, ANTOINETTE               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
PAULSEN, DEBRA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
PAULSON, JULIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PAULSON, KAREN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAULSON, REINA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAULSON, ROBERTA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PAULSON, SHIRLEY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAULSON, TERESA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAULSON, TERESA                 THE POTTS LAW FIRM, LLP 3737 BUFFALO SPEEDWAY STE 1900 HOUSTON TX 77098
PAULSON-APICELLA, BARBARA       ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PAULUS, LAURA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PAULY, SUSAN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PAVANO, KATHERINE               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
PAVEY, ANA                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PAVEY, NANCY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAVLAK, ELIZABETH               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PAVLIK, JENNIFER                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAVY, SARA                      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN



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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
PAVY, SARA                      STREET, SUITE PENSACOLA FL 32502
PAVY, SARA                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PAWELCZYK, CYNTHIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAWLAK, JOEY                    WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
PAWLICK, MARY                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PAWLICKI, KATHY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAWLOW, JEANETTE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PAXMAN, LYNDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAXTON, BETTY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAXTON, SANDRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAXTON, TELLAR                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PAYER, GABRIELE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAYNE, AMANDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAYNE, BARBARA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PAYNE, BETTY                    CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
PAYNE, CAROLYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAYNE, DARLENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAYNE, DONNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAYNE, GINA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAYNE, JANET                    FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
PAYNE, KAY                      BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
PAYNE, KIMBERLY                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PAYNE, LOIS                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAYNE, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAYNE, MARY                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PAYNE, MARY                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PAYNE, MICHELLE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PAYNE, PATRICIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PAYNE, PATSY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PAYNE, SHELBY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PAYNE, TREASA                   HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
PAYNE, TUCHLIN                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
PAYNE, TUCHLIN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAYNE, TUCHLIN                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PAYNE, TUCHLIN                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PAYNE-THOMAS, SENNIE            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                       Address Information
PAYNE-THOMAS, SENNIE            75231
PAYSON, JANICE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PAYTE, LORIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PAYTON, ANITA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PAYTON, BEATRICE                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
PAYTON, DEBRA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PAYTON, GEZELL                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PAYTON, LEVONE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PAYTON, MALISSA                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
PAYTON, RHONDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PAYTON, SANDRA                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
PAZEN, THEA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEABODY, VITA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PEABODY, VITA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PEACE, KAREN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PEACE, LEANN                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
PEACE, LEANN                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
PEACE, LEANN                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PEACE, MAGGIE                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
PEACE, MAGGIE                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
PEACE, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEACE, SHEILA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEACE, TAMMY                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
PEACH, VICTORIA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PEACH, VICTORIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PEACOCK, VICTORIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PEAK, NANCY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEAK, ROBBIN                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PEARCE, DIANE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEARCE, KATHLEEN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEARCE, MARY                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PEARCE, MARY                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PEARCE, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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                                          LTL Management LLC
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                                                         Entered 02/17/22 16:31:44            Desc Main
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Claim Name                          Address Information
PEARL FOX                          FLETCHER V. TRAMMELL TRAMMELL, FLETCHER V 3262 WESTEIMER, SUITE 423 HOUSTON TX
                                   77098
PEARL, MARY                        ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
PEARLSTEIN, DEBORAH                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
PEARSON, AGNES                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
PEARSON, CHRISTINE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
PEARSON, CONNIE                    MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
PEARSON, DEBORAH                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                   ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
PEARSON, DEIRDRE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
PEARSON, ETHEL                     THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                   CHARLESTON WV 25301
PEARSON, EUGENIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
PEARSON, EUGENIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEARSON, EUGENIA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PEARSON, EUGENIA                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
PEARSON, JENNIFER                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEARSON, JOANN                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
PEARSON, JOANNE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
PEARSON, JOHNNIE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
PEARSON, JUANITA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
PEARSON, KATHRYN                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PEARSON, KATHRYN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
PEARSON, KELLY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEARSON, LELON                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
PEARSON, MARIA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEARSON, PATRICIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEARSON, STEPHANIE                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
PEARSON, VERNA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
PEARTREE, EVA                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
PEARTREE, EVA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEARYER, SHEILA                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
PEASE, SHAUNA                      LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                   94111
PEASLEE, JUDITH                    MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                   KNOXVILLE TN 37929
PEAVY, KIMBERLY                    FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231



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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
PECARSKY, ROSEMARIE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PECK, BARBARA                   SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
PECK, COURTNEY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PECK, EDWARD                    DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
PECK, LINDA                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
PECK, SYLVIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PECKHAM, JOYAL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PECKINPAUGH, LINDA              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PECKINS, STEFANI                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PECKMAN, MARY                   WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
PECORA, ANGELA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
PECOT, ROBERTA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEDERSEN, CARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEDERSEN, SHARON                LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET KOHRS, NICHOLAS HIGHTOWER,
                                KRISTIE LAKE CHARLES LA 07060
PEDERSEN, SUSAN                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
PEDERSEN, SUSAN                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
PEDERSEN, SUSAN                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PEDERSON, REBECCA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PEDI, ANNA                      SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
PEDIGO, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEDRAZA, VERONICA               WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
PEDRONI, KATHLEEN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEEBLES, CHEYRLE                THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
PEEK, CHRISTINE                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PEELER, KIM                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEEPLES, ZINA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PEERY, BETTY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PEGGY HORTON                    LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207 MANHATTAN
                                BEACH CA 90266
PEGGY HORTON                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
PEGLOW, AMANDA                  WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
PEGUES, CHRISTY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PEHLE, ELIZABETH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEHOWIC, AUDREY                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
PEINE, BARBARA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX


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                                        LTL Management LLC
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Claim Name                       Address Information
PEINE, BARBARA                  77098
PEIRCE, KARINA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PEIRCE, VALERIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEKAR, DONNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PELAEZ, ALFREDY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PELAGIO, MARIA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PELLECHIA, DENISE               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PELLEGRINI, NANCY               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
PELLEGRINI, NANCY               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
PELLETIER, KELLY                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PELLETIER, ROBIN                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PELLETIER, SALLY                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PELLMAN, JANIS                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PELT, PEGGY                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PELTER, ISABELLA                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
PELTIER, JERRI                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PELTON, MYRNA                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
PELTZER-MCGOIE, EVA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PELUZZO, ANTOINETTE             THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
PEMBERTON, KRISTINE             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PEMBERTON, TATINA               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PENA, BEVERLY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PENA, CHER                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PENA, HELENA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PENA, KAREN                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PENA, LILLIAM                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PENA, LINDA                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
PENA, REYNA                     WEITZ & LUXENBERG RELKIN, E; SHARMA, B 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
PENA, ROSA                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PENA, ROSA                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX


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Claim Name                       Address Information
PENA, ROSA                      77098
PENA, SILVIA                    BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
PENA, SYLIVA                    BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 NEW ORLEANS LA 70130
PENA, VANESSA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PENADO, MARIA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PENAFLOR, CECILIA               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
PENAFLOR, CECILIA               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
PENALOZA, BLANCA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
PENCE, CHRISTINE                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
PENCIAK, MOIRA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PENDEA, ADRIANA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PENDER, JOAN                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
PENDER, JOAN                    THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
PENDER-KING, DEBORAH            WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
PENDERGAST, BRENDA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PENDERGAST, SANDRA              DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
PENDERGRASS, CONNIE             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PENDLETON, BARBARA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PENDLETON, BARBARA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PENDLETON, BARBARA              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PENDLETON, BARBARA              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PENDLETON, GWENDOLYN            FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
PENDLEY, GAIL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PENDLEY, GAIL                   REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                BINSTOCK, ROBERT J. HOUSTON TX 77027
PENEDO, LYNN                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PENIKIS, KRISTEN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PENLEY, BRITTANY                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
PENLEY, SARAH                   BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
PENN, DIANE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PENN, DIANE                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PENN, DIANE                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PENNER, JANET                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
PENNEY, DIANE                   WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
PENNINGTON, CONNIE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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                                       LTL Management LLC
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Claim Name                       Address Information
PENNINGTON, KAREN               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PENNINGTON, MARGUERITE          DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
PENNINGTON, MARGUERITE          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
PENNINGTON, MARGUERITE          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PENNINGTON, MARGUERITE          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, ROBINSON, JR., MARK P. 19 CORPORATE
                                PLAZE DRIVE NEWPORT BEACH CA 92660
PENNINGTON, MARVETTA            WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
PENNINGTON, NANCY               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
PENNY HORD                      LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207 MANHATTAN
                                BEACH CA 90266
PENNY HORD                      ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J, KARAVATOS, K, LUKEI, S 19
                                CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
PENNYWELL, MARLENE              WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
PENSON, THELMA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PENTA, CECILE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PENTECOST, ANGLIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PENTECOST, ASHLEY               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PENTELLA, VICKI                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PENTINIO, TIESHIA PEREA         COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
PEOPLES, MARJORIE               THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
PEOPLES, SHEREE                 THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
PEPIN, ELAINE                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
PEPIN, JEAN                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PEPIN, TAMMY                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
PEPIN, TAMMY                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
PEPIN, TAMMY                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PEPLINSKI, DOROTHY              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PEPPER, ROBIN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PEPPIN, CATHY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PEQUENO, BERTHA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PERA, CHRISTA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PERA, CHRISTA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERA, CHRISTA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PERALES, MARGARITA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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                                                        List
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Claim Name                               Address Information
PERALES, MARGARITA                       75231
PERALTA, GISELLE                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
PERAMAS, CARMEN                          WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                         NJ 08002
PERARCE, MELINDA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERAULT, JOANNE                          KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
PERAZA, LYNETTE                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                         77098
PERC, PAMELA                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERCHINSKY, TERRIE                       GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                         EDWARDSVILLE IL 62025
PERDOMO, KINSEY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERDUE, PENNY                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEREA, NORA                              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
PEREGRINA, FELICIA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
PEREGRINA, FELICIA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEREGRINA, FELICIA                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PEREGRINA, FELICIA                       PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
PEREGRINA, FELICIA                       KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
PEREIRA, MARIA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
PEREIRA, ROSY                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PEREYRA, PAULINE                         DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                         63102
PEREZ JR., EDUARDO                       NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                         PR 00918
PEREZ, ANGELICA                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
PEREZ, ANGELITA                          FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PEREZ, AWILDA                            HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                         63101
PEREZ, BELEN                             GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PEREZ, BELINDA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEREZ, CARMEN                            JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
PEREZ, CELIA EST OF ELUTERIA RODRIGUEZ   FEARS NACHAWATI, PLLC C/O DARREN MCDOWEL 5473 BLAIR ROAD DALLAS TX 75231
PEREZ, CYNTHIA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEREZ, DAJON                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEREZ, EVELYN                            FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PEREZ, FRANCISCA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
PEREZ, KATIE                             ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PEREZ, KATIE                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
PEREZ, LAURIE                            JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                         77098
PEREZ, LINDA                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                            Address Information
PEREZ, LINDA                         KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
PEREZ, LUCILLE                       SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                     01153
PEREZ, LUCILLE                       MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                     DAVID M. MINNEAPOLIS MN 55404
PEREZ, MARGARITA                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                     YORK NY 10017
PEREZ, MARIA                         MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                     KNOXVILLE TN 37929
PEREZ, MARIA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEREZ, MARY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEREZ, MARY                          BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                     70130
PEREZ, MARY                          BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                     75202
PEREZ, MELINDA                       ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                     77007
PEREZ, MINERBA                       GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PEREZ, MONICA                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                     77098
PEREZ, NANCY                         THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                     ORANGE VA 02296
PEREZ, NIDIA                         THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                     ORANGE VA 02296
PEREZ, NILDA                         THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
PEREZ, NORMA                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                     ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
PEREZ, RUBYANN                       MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                     YORK NY 10017
PEREZ, SANDRA                        WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                     DALLAS TX 75219
PEREZ, SOPHIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEREZ, SUSAN AND PEREZ, ERNESTO      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                     HILL NJ 08002
PEREZ, SYLVIA                        MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
PEREZ, SYLVIA                        KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
PEREZ, TRINI                         THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                     AZ 08501
PEREZ, VALERIE                       HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                     63101
PEREZ-HUDSON, GABRIELA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PEREZ-MATOS, CECILIA                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                     70130
PEREZ-MATOS, CECILIA                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                     75202
PEREZ-VALDEZ, ELIZABETH              MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                     YORK NY 10017
PERICHT, CAROL                       DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PERIDORE, MICKAEL                    GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                     PA 19102
PERIDORE, MICKAEL                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                     EMILY FAIRFAX VA 22031



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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
PERIGO, JANICE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERIMAN, LYNN                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
PERKIN, BARBARA                 THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
PERKINS, ALYCE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PERKINS, AMANDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERKINS, ANNETTE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PERKINS, CARRIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PERKINS, DARYL                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
PERKINS, DEBORAH                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PERKINS, DONNA                  SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
PERKINS, DONNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PERKINS, DONNA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PERKINS, DONNA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PERKINS, EDNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERKINS, FAYE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PERKINS, JACQUELINE             JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
PERKINS, JAMESETTA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PERKINS, JENNIFER               GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET BUXNER, EVAN D. EDWARDSVILLE
                                IL 62025
PERKINS, JESSICA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PERKINS, JOYCE                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
PERKINS, JUNE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
PERKINS, KAREN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PERKINS, LADAWN                 JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
PERKINS, LILLIE                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
PERKINS, MARIANNE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERKINS, MICHELLE               ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                FELLER, JOEL J. PHILADELPHIA PA 19103
PERKINS, NANCY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERKINS, NANCY                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PERKINS, PATRICE                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PERKINS, PEARLIE                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PERKINS, RUTH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
PERKINS, SHARON                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PERKINS-TAYLOR, TRENETTE        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PERKINSON, TAMAR                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
PERKINSON, TAMAR                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
PERKINSON, TAMAR                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PERKOLA, CAROLYN                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PERKOLA, CAROLYN                HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
PERKS, LILLIAN                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PERKS, MARY                     MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
PERLMAN, ALYSE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PERLMAN, ALYSE                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
PERLMAN, ALYSE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
PERLMAN, GAIL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERLMAN, SARA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PERLOFF, LINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PERMAUL, CHUNAWATTIE            DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PERMENTER, DARLA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PERNYESZI, JOLANDA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PERO, ADELYN                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
PERRAULT, SHELIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PERREIRA, MEGHAN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERRERO, CHERYL                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PERRI, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERRIN, JUDY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PERRINO, LAMAYI                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PERRONE, MICHELE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PERRONE, MICHELE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
PERRONE-SIMON, PEGGY            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PERROTT, DAWN                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
PERROTTO, SUSAN                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PERRY, ALMETRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERRY, ANGELA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PERRY, BARBARA                  MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
PERRY, CARRIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
PERRY, CARRIE                   MEADOWS, TED G. MONTGOMERY AL 36104
PERRY, CATHERINE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PERRY, CATHY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERRY, CYNTHIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERRY, DEBORAH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PERRY, DEBORAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERRY, DEBORAH                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PERRY, DEBRA                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
PERRY, DEBRA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
PERRY, DORIS                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PERRY, DORIS                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PERRY, DOROTHY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PERRY, DOROTHY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERRY, DOROTHY                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PERRY, DOROTHY                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PERRY, EARNESTINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERRY, ELLA                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PERRY, ELLA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PERRY, FRANCES                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PERRY, GLORIA                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
PERRY, JOQUAYLA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERRY, JUDITH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERRY, JULIA                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
PERRY, JULIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERRY, JULIETTE                 SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
PERRY, KAREN                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PERRY, KAREN                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
PERRY, KAREN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERRY, LINDA                    SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
PERRY, LISA                     DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
PERRY, LORI                     ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
PERRY, LOUISE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PERRY, LUCRETIA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PERRY, MARCIA                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
PERRY, MARIA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231


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Claim Name                       Address Information
PERRY, NANCY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERRY, PATRICIA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PERRY, PATRICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PERRY, PATSY                    WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
PERRY, PAULA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PERRY, ROBERTA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PERRY, SANDRA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PERRY, SANDRA                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
PERRY, SHANNON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERRY, SHARON                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERRY, SUSAN                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PERRY, SUSAN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PERRY, SUZANNE                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
PERRY, TONYA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PERRY, TREVA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERSAUD, DEOMATTIE              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PERSICHILLI, DENISE             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PERSICK, EDNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERSICO, ASHLEY                 BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
PERSINGER, SUSAN                LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
PERSON, DEEBORAH                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PERSON, DEEBORAH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PERSON, TRANETTA                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
PERSONS, DIANE                  BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
PERTEETE, ANNIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PERU, DELORES                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PERU, DELORES                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PERU, DELORES                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PERU, DELORES                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PERULLO, SANDRA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PERVENANZE, MARY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PESCITELLI, BARBARA             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
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Claim Name                       Address Information
PESICEK, PATRICIA               MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
PESICKA, ALMA                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
PESTELL, JOYCE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PETALOUS, SHARON                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                ROBINSON, JR., MARK P. MONTGOMERY AL 36104
PETER, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PETERS, ANTONIA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PETERS, APRIL                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PETERS, ARLYS                   NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
PETERS, BELINDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PETERS, BELINDA                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
PETERS, BELINDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PETERS, BELINDA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PETERS, BELINDA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PETERS, BELINDA                 KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
PETERS, BEVERLY                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PETERS, CAROL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PETERS, CORINNE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PETERS, DONNA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PETERS, ERIN                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
PETERS, GEORGIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PETERS, JOELENE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PETERS, JULIE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PETERS, JUNE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PETERS, KIM                     JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
PETERS, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PETERS, NANCY                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PETERS, ROBIN                   BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
PETERS, SHERRY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PETERS, TERESA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PETERSEN, GARNETT               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
PETERSEN, INHTA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PETERSEN, INHTA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157



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Claim Name                             Address Information
PETERSEN, INHTA                        PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PETERSEN, JANA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PETERSEN, JUDITH                       MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
PETERSEN, MARGARET                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
PETERSEN, PAMELA                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PETERSEN, SUSAN                        HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
PETERSON, ANN                          CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
PETERSON, ANNE                         CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
PETERSON, ANNIE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
PETERSON, CATHERINE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PETERSON, CHERYL                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PETERSON, CHRISTINE                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
PETERSON, CHRISTINE                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
PETERSON, CINDY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
PETERSON, CONNIE                       NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                       11747
PETERSON, DARLENE                      DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                       63102
PETERSON, DELLA                        BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                       70130
PETERSON, DELLA                        BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                       75202
PETERSON, DONNA                        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PETERSON, DREW EST OF D & L PETERSON   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                       HILL NJ 08002
PETERSON, JANET                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
PETERSON, JANET                        KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
PETERSON, JENNIFER                     NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                       BERMAN, W. STEVE GREAT RIVER NY 11739
PETERSON, JUDITH                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
PETERSON, KAREN                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
PETERSON, KARIN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PETERSON, KIMBERLY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
PETERSON, LILIAN                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PETERSON, LISA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
PETERSON, LORETTA                      THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
PETERSON, LORIAN                       ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PETERSON, LORIAN                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
PETERSON, LYNETTE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104



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                                                  List
                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
PETERSON, MARILEE               MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
PETERSON, MARJORIE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PETERSON, NANCY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PETERSON, NANCY                 MCSWEENEY/LANGEVIN, LLC MCSWEENEY, RHETT A. 2116 SECOND AVENUE SOUTH
                                MINNEAPOLIS MN 55404
PETERSON, OLGA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PETERSON, PAMELA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PETERSON, PATRICIA              DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PETERSON, PATRICIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PETERSON, PAULETTE              BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
PETERSON, SANDRA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PETERSON, SHARON                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PETERSON, THERESA               COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 SANDIFER, TAKEENA T. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
PETERSON, VICKI                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PETERSON, VICKI                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PETETANT, COURTNEY              WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
PETKA, ANNE                     GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
PETRACO, CAROL                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
PETREDIS, PATRICIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PETRICCIOLLI, PATRICIA          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PETRIE, CATHY                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
PETRIE, CHRISTINA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PETRO, NORMA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PETROFF, GERALDINE              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PETROFF, GERALDINE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PETRONE, KATHLEEN               COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
PETRONE, MARY                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
PETROSINO, MARIE                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
PETROSYAN, YERANUHI             DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
PETROVANI, NICOLA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PETROVANI, NICOLA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PETROVEY, LORRAINE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PETROVEY, LORRAINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PETROVEY, LORRAINE              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157



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Claim Name                          Address Information
PETROVEY, LORRAINE                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
PETRUCCI, THERESA                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                   75202
PETRUCELLI, JENNIFER               THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
PETRUCELLI-SWITZER, TRACEY         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
PETRUS, PAMELA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
PETRY, JAMIE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PETT, ANN                          CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
PETTAWAY, SONYA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
PETTAWAY, SONYA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
PETTI, KATHLEEN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
PETTI, ROSEMARIE                   LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                   94111
PETTIES, DEZBA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PETTIGREW, ANN                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
PETTIGREW, CHRISTINE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
PETTIS, MARJORIE                   CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                   ATLANTA GA 30319
PETTIT, JUDITH                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
PETTIT, JUDITH                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PETTIT, JUDITH                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PETTIT, JUDITH                     PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
PETTITT, VIRGINIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
PETTS, PATSY                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
PETTUS, DANA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
PETTWAY, GLORIA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
PETTWAY, GLORIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
PETTWAY, NORMA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
PETTWAY, TASHA                     GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
PETTY, CAROL                       ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
PETTY, GABRIELE                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
PETTY, LINDA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
PETTY, NANCY                       ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                   ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103


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Claim Name                       Address Information
PETTY, RUBY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PETTY, SANDRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PETTY-OLSON, DARLA              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PEUGH, PATRICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PEVETO, PATSY                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PFEFFER, LISA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PFEFFER, MARSHA                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
PFEIFER, JOAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PFEIFER, PATRINA                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
PFEIFER, PATRINA                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
PFEIFER, PATRINA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PFEIFFER, CAROL                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PFEIFFER, DANIELLE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PFEIFFER, DAWN                  PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
PFEIFFER, ELLEN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PFEIFFER, TAMMY                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PFIFER, ALLYSON                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PFIFER, ALLYSON                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PFRENZINGER, HARRIET            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PHANNENSTIEL, DIANE             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PHANOR, LOU                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PHEIFER, PATRICIA               THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
PHELPS, CARLEEN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PHELPS, CONNIE                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PHELPS, DEBORAH                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PHELPS, PAMELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PHELPS, RONDA                   ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
PHELPS, RONDA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PHILEMON, MARY                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
PHILLIP, BARBARA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PHILLIPPE, JESSICA              WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
PHILLIPPELLO, ELISE             MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW



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Claim Name                       Address Information
PHILLIPPELLO, ELISE             ORLEANS LA 70130
PHILLIPS, ANN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PHILLIPS, ARNELLA               THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
PHILLIPS, BARBARA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PHILLIPS, BARBARA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PHILLIPS, BEVERLY               KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
PHILLIPS, BRENDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PHILLIPS, CHERIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PHILLIPS, CHERIE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PHILLIPS, CHERIE                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
PHILLIPS, CHERIE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
PHILLIPS, CONNIE                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PHILLIPS, CONNIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PHILLIPS, DANA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PHILLIPS, DEBORAH               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PHILLIPS, DEBRA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PHILLIPS, DESTINI               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PHILLIPS, DIANNE                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PHILLIPS, DONNA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PHILLIPS, EDWARD                NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
PHILLIPS, EMY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PHILLIPS, ERIN                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
PHILLIPS, EVELYN                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PHILLIPS, FAYE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PHILLIPS, GERALDINE             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PHILLIPS, GERALDINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PHILLIPS, IRENE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PHILLIPS, JANET                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PHILLIPS, JANET                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PHILLIPS, JOANN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PHILLIPS, JOANN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PHILLIPS, JOANN                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PHILLIPS, JODI                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PHILLIPS, JODI                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PHILLIPS, KATHRYN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                       Address Information
PHILLIPS, KIM                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
PHILLIPS, LINDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PHILLIPS, LORILYN               THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
PHILLIPS, LORINE                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
PHILLIPS, LOUISE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PHILLIPS, MAE                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
PHILLIPS, MARCIA                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
PHILLIPS, MARCIA                THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
PHILLIPS, MARJORIE              HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
PHILLIPS, MARY                  KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
PHILLIPS, MARY                  LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
PHILLIPS, MELDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PHILLIPS, MESHI                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PHILLIPS, NANCY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PHILLIPS, NANCY                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PHILLIPS, PEGGY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PHILLIPS, ROBYN                 MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
PHILLIPS, ROBYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PHILLIPS, ROSA                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
PHILLIPS, ROXANN                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PHILLIPS, SARAH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PHILLIPS, SHARON                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PHILLIPS, TAMI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PHILLIPS, TARA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PHILLIPS, TINA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PHILLIPS, TINA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PHILLIPS, VALERIE               BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
PHILLIPS, VALERIE               BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
PHILLIPS, WILLORA               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PHILLIPS, WILLORA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PHILLIPS, WILMA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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                                       LTL Management LLC
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Claim Name                       Address Information
PHILLIPS-COX, SUSAN             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PHILPOT, MICHELLE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PHIPPEN, PATSY                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PHIPPEN, PATSY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PHIPPS, ALICE                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
PHIPPS, ALICE                   HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
PHIPPS, LIZA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PHIPPS, LIZA                    LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
PHIPPS, LORRAINE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PHIPPS, MARIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PHYLLIS ETTINGER                REICH & BINSTOCK, LLP BINSTOCK, ROBERT J. & REICH, DENNIS J. 4265 SAN FELIPE
                                BLVD, SUITE 1000 HOUSTON TX 77027
PHYLLIS FARROW                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
PHYLLIS KENNEY                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
PIACENZA, LORIN                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PIASCIK, TERESA                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
PIASCZYK, EROLETTA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PIATT-RUTLEDGE, SHANNON         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PIAZZA, BARBARA                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
PICARDI, MARIE                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
PICCIANO, CAROL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PICCIRILLO, DOLORES             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PICHARDO, HUMBERTO              MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                YORK NY 10017
PICKAR, DIANE                   THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
PICKARD, FRANCES                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PICKARD, MILAGROS               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PICKARD, MILAGROS               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PICKETT, JANICE                 REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                BINSTOCK, ROBERT J. HOUSTON TX 77027
PICKETT, PATRICIA               THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
PICKETT, PATRICIA               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
PICKETT, PEGGY                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN


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Claim Name                       Address Information
PICKETT, PEGGY                  STREET, SUITE PENSACOLA FL 32502
PICKLE, KELLY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PICKLE, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PICKLE, MARY                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
PICKLE, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PICKLE, MARY                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PICKLE, MARY                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PICKNEY, DOROTHY                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
PICONE, MARIA                   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
PICOU, CINDY                    COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
PICOU, GLENDA                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
PICOU, ROSE                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PIECH, SANDRA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
PIECORO-HEATON, SUSAN           PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
PIEFER, SUE                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
PIEKANSKI, DIANE                POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                LECKMAN, T. MATTHEW CONSHOHOCKEN PA 19428
PIEKLIK, SUZANNE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PIEL, DORCAS                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PIELACH, CONCETTA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PIEPER, KELLY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PIEPER, VICKI                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
PIEPER, VICKI                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
PIEPER, VICKI                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PIERCE, CAROL                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PIERCE, DEANNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PIERCE, ESSIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PIERCE, JOYCE                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PIERCE, JOYCE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PIERCE, JULIE                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PIERCE, KATHY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PIERCE, LETITIA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PIERCE, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PIERCE, MARY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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Claim Name                       Address Information
PIERCE, MARY                    75231
PIERCE, REBECCA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PIERCE, REBECCA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PIERCE, SANDRA                  WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
PIERCE, SHANIKA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PIERCE, SHARON                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
PIERCE, SHARON                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
PIERCE, SHARYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PIERCE, SONDRA                  JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
PIERCE, SUSAN                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PIERCE, VICKIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PIERCE-FITZGERALD, RENETTA      EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP EICHEN, BARRY R. & KELLY, JOHN P 40
                                ETHEL ROAD EDISON NJ 08817
PIERCEY, JOAN                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
PIERCEY, JOAN                   LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
PIERCEY, JOAN                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
PIERCEY, JOAN                   ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
PIERCEY, JOAN                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PIERI, PAULINE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PIERRE-LOUISE, GLYNIS           FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PIERSON, PORTIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PIESCHEK, DAWN                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PIETRON, BARBARA                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
PIETRUSZKA, MARTA               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
PIETSCH, KATHLEEN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PIETZKE, CHERYL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PIETZKE-WITMER, SILVIA          COHEN, PLACITELLA & ROTH 127 MAPLE AVE. PLACITELLA, CHRISTOPHER M. GEIER,
                                DENNIS M. RED BANK NJ 07701
PIFER, DIANE                    SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
PIGG, KATHY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PIGNATELLI, DELANN              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PIGNATELLI, DELANN              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PIKE, LINDA                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017



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Claim Name                       Address Information
PIKE, SHARON                    BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
PIKE, TAMMARA                   COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 SANDIFER, TAKEENA T. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
PIKUL, PAULA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PIKUL, PAULA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PIKULA, TERI                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
PILAKINGTON, TAMA               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
PILAKINGTON, TAMA               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
PILAKINGTON, TAMA               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PILAPIL, JOCELYN                SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
PILCH, MARY                     WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
PILCHER, BRENDA                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
PILCHER, JANET                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PILE, ELEANOR                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PILEGARD, VIRGINIA              DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
PILEGARD, VIRGINIA              LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
PILEGARD, VIRGINIA              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PILIPOVICH, JOANNA              BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
PILKINGTON, DENISE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PILLE, CYNTHIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PILLEN, AMIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PILLERS, CHRISTINE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PIMENTEL, MONICA                HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
PIMENTEL, NORMA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PINA, MARGIE                    THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
PINCHELN, ANGELA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PINCHEON, ANGIE                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PINCKNEY, AMANDA                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PINCKNEY-DUGAN, KRISTEN         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PINE, NICOLE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PINEDA, ANITA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PINEDA, ISIDORA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PINEDA, JOANNE                  TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
PINEIRO, LOYDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PINEIRO-ZUCKER, DIANE           ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031


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Claim Name                            Address Information
PINEIRO-ZUCKER, DIANE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
PINES, SANDRA                        CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                     14202-3725
PINGREE, REBECCA A/K/A WASHAKIE      DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PINHEIRO, CARMEN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
PINK, DEBRA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
PINKER, MARY                         CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                     14202-3725
PINKERTON, JACQUELYN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
PINKERTON, SHARON                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                     ORANGE VA 02296
PINKOSKI, SHARON                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                     77098
PINKSTON, ADRIENNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PINNACLE, ANNIE                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PINNIX, SUE                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                     EMILY FAIRFAX VA 22031
PINNIX, SUE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
PINO, ANDREA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PINO, GLORIA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
PINO, LISA                           THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                     CHARLESTON WV 25301
PINSKE, LOIS                         THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                     ORANGE VA 02296
PINTARCH, SARAH                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                     EMILY FAIRFAX VA 22031
PINTO, BONNIE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PINTO, LORI                          COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
PINTO, LORI                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                     77007
PIONTKOWSKI, JOANNE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PIPER, ANN                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PIPER, ANN                           THE POTTS LAW FIRM, LLP 3737 BUFFALO SPEEDWAY STE 1900 HOUSTON TX 77098
PIPER, JUANADYNE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PIPER, LINDA                         ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                     ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
PIPER, MARY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PIPES, MARY                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                     ORANGE VA 02296
PIPKIN, ANNIE                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
PIPKIN, DELORES                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PIPKIN, EVELYN                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PIPKINS, DELNA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
PIPKINS, FELICE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                             Address Information
PIPKINS, SUSAN                        DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                      ANTHONY ST. LOUIS MO 63102
PIPKINS, SUSAN                        LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
PIPKINS, SUSAN                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                      ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PIPOLO, GRACE                         CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                      14202-3725
PIPPITT, ALEXANDRA                    BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                      ROBERT BRENT LOS ANGELES CA 90024
PIQUE, CALLEY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PIRIE, SUSAN                          BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                      TX 75219
PIRRAGLIA, HOLLY                      HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
PIRRELLO, LYNNE                       ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PIRRELLO, LYNNE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
PIRTLE, JANEEN                        MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                      YORK NY 10017
PISANESCHI, NICOLE                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PISANO, BARBARA                       ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                      LOUIS MO 63119
PISANO, CARISSA                       ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                      77007
PISANO, DONNA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
PISANO, MICHELE                       WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                      BOUNDAS, JOHN T. HOUSTON TX 77017
PISAPIA, PATRICIA                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                      EMILY FAIRFAX VA 22031
PISAPIA, PATRICIA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                      MEADOWS, TED G. MONTGOMERY AL 36104
PISCIONE, EVE                         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PISH, KRISTI                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PISSAS, MIRIAM                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
PISTOLE, MARY                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                      77098
PITCHER, DEBORAH                      GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
PITCHFORD, ROSE                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
PITCOCK, PENNY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PITEA, CHERYL                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
PITEO, JEAN                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PITSTICK, SANDRA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
PITT, BEVERLY                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                      75231
PITTAWAY, COLIN & EST OF FRANCES      PITTAWAY, MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23
                                      FLOOR NEW YORK NY 10017
PITTEL, CHRISTA                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                      77098



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Claim Name                       Address Information
PITTMAN, CAROLINE               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PITTMAN, FREDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PITTMAN, KALONI                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PITTMAN, LAURA                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
PITTMAN, LAURA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PITTMAN, LIZZIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PITTMAN, PATRICIA               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PITTMAN, TEENA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PITTMAN, YVONNE                 WEITZ & LUXENBERG RELKIN, E; SHARMA, B 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
PITTOF, JOHANNA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PITTS, ALICE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PITTS, DEBRA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PITTS, ERIN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PITTS, JOYCE                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PITTS, KYNESHA                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
PITTS, LINDA                    WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
PITTS, MARGARET                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
PITTS, MARY                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PITTS, MELISSA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PITTS, PATRICIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PITTS, ROSIE                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
PITTS, SHARON                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PITTS, SHEILA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PITTS, TALICIA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PITTSLEY, LINDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PIUROWSKI, AMY                  MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
PIVAC, JANESS                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PIVAC, JANESS                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PIXLER, TRACI                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PIZANO, IRMA                    JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
PIZINGER, CARYL                 MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464



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Claim Name                       Address Information
PIZON, MARTA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PIZZO, JANICE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PIZZONI, VENUS                  CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
PIZZONI, VENUS                  KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
PIZZONIA, MARY                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PIZZUTI, LORRAINE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PLACE, DEBRA                    PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
PLAISANCE, MARY                 ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
PLAKAS, GINA                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
PLANK, JENNIFER                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PLANK, SUSAN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PLANK, SUSAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PLANK, SUSAN                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PLANK, SUSAN                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PLANT, MARY                     GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
PLANTE, CAROL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PLANTE, CLAIRE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PLASCENCIA, VERONICA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PLASS, DIANE                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
PLATER, DOROTHY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PLATER, TAMMY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PLATH, SHARON                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PLATOS, LORETTA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PLATT, AMBER                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PLATT, CAROL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PLATZ, BARBARA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PLATZ, BARBARA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PLAUTZ, SALLY                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PLAVAN, NANCY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
PLAVAN, NANCY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PLAVSIC, JOYCE                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PLAYFORD, MYTYL                 MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                DAVID M. MINNEAPOLIS MN 55404
PLEDGER, JANA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PLEFREY, MARY LOU               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PLEMONS, DOROTHY                ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103


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Claim Name                       Address Information
PLENERT, HELEN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PLESHE, LU-ANN                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PLETSCH, DIANE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PLEW, PAMELA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PLEXICO, BARBARA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PLITT, KATHLEEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PLITT, KATHLEEN                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PLITT, KATHLEEN                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PLOCHER, BETH                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PLONT, MICHELLE                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
PLOTNER, DEANNA                 BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
PLOTT, DIANE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PLOWMAN, BILLIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PLOWMAN, LORETTA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PLUBELL, DENISE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PLUBELL, DENISE                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
PLUBELL, DENISE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PLUBELL, DENISE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PLUBELL, DENISE                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PLUM, LYNDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PLUMMER, ETHEL                  BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
PLUMMER, HAZEL                  BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. BUDD,
                                RUSSELL W DALLAS TX 75219
PLUMMER, KATHLEEN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PLUNKETT, SHARI                 ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
PLUTA, DORIS                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
POAG, VIRGINIA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
POARCH, KIMBERLY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
POBICKI, MICHELE                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
POCK, RHONDA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
POCKLINGTON, SALLY              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PODGORSKI, KATHLEEN             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PODGORSKI, TRACY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PODMORE, MARGARET               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
PODNOS, JOAN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PODNOS, JOAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PODNOS, JOAN                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157


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Claim Name                           Address Information
PODWILS, EILENE                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                    EMILY FAIRFAX VA 22031
PODWILS, EILENE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
POE, ANNA                           NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                    11747
POE, BELINDA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
POE, CHERYL                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POELING, DEANNA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
POFERL, LORI                        GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                    MINNEAPOLIS MN 55402
POFF, DONNA                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
POGORELC, CHERYL                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
POGUST BRASLOW & MILLROOD, LLC      8 TWR BRIDGE, #940, 161 WASHINGTON ST LECKMAN, T MATTHEW BRASLOW CONSHOHOCKEN
                                    PA 19428
POINDEXTER, BERNITA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
POINTER, DARCELLE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POINTER, MARIA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
POIO, NANCY                         WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                    BOUNDAS, JOHN T. HOUSTON TX 77017
POIRIER, LORRAINE                   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                    HILL NJ 08002
POKOS, JUDITH                       THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                    AZ 08501
POLAN, WILMA                        FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                    THOMAS ROE NASHVILLE TN 37215
POLANCO, ROSIE                      DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
POLANCO, ROSIE                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                    77007
POLAND, KAREN                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POLAND, PAMELA                      MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
POLAND, SHARON                      MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                    YORK NY 10017
POLCEN, KAREN                       DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                    ANTHONY ST. LOUIS MO 63102
POLCEN, KAREN                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
POLCEN, KAREN                       LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                    MANHATTAN BEACH CA 90266
POLCEN, KAREN                       LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
POLCEN, KAREN                       ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                    & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
POLCEN, KAREN                       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                    ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
POLE, PAM                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
POLES, PATSY                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                    ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
POLIN, MIYA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                          Address Information
POLIN, MIYA                        75231
POLINICE, CAROLYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POLINSKI, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POLITE, CASSANDRA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
POLITO, PATRICIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
POLITTE, BRENDA                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
POLIZZI, LINDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POLK, BARBARA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POLK, DORIS                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
POLK, DORIS                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
POLK, JOANN                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
POLK, KIM                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POLLACK, RUTH                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
POLLARD, DEBORAH                   SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                   07102-4573
POLLARD, GENEVA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POLLARD, MARY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POLLARD, PEGGY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
POLLARD, SUSAN                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
POLLARD-OJO, LINDA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                   ANTHONY ST. LOUIS MO 63102
POLLARD-OJO, LINDA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
POLLARD-OJO, LINDA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
POLLASTRO, ALISON                  COHEN, PLACITELLA & ROTH 127 MAPLE AVE. PLACITELLA, CHRISTOPHER M. GEIER,
                                   DENNIS M. RED BANK NJ 07701
POLLICK, NANCY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POLLINGER, HELEN R AND             WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
POLLINGER,WILLIAM                  HILL NJ 08002
POLLOCK, NANETTE                   BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                   ROBERT BRENT LOS ANGELES CA 90024
POLLORENA, SANDRA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
POLLORENO, ELIZABETH               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POLLWORTH, PATSY                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                   KANSAS CITY MO 64196
POLLY SHUMAN                       ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
POLLY, HELENE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POLOMARENKO, ROBIN                 MILLER DELLAFERA PLC 3420 PUMP RD., PMD 404 HENRICO VA 23233
POLSON, SUSAN                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
POLSON, SUSAN                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
POLSON, SUSAN                   MEADOWS, TED G. MONTGOMERY AL 36104
POLTER, KATHIE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
POLTO, TARA                     SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
POLUS, LISA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
POLVINEN, ARLENE                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
POMERLEAU, JOANNE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
POMEROY, ANN                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
POMPA, ORALIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POMPONIO, CINDY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PONCE, AGNES                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PONCE, GRACIELA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PONCHART, JODY                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
PONDER, ALICIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PONDER, CAROLYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PONDER, DEBORAH                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PONDER, GINNY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PONDER, RUTH                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PONDILLO, KATHY                 SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
PONDILLO, KATHY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PONDILLO, KATHY                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PONDILLO, KATHY                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PONGRACZ-BARTHA, ERICKA         ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
PONGRACZ-BARTHA, ERICKA         MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
PONTARELLI, NANCY               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
PONTE, DONNA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PONTICELLO, CONSTANCE           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PONTIOUS, DIANE                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
PONTO, TONI                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
POOL, MELISSA                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
POOL, MELISSA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
POOL, MELISSA                   LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
POOL, MELISSA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
POOL, MELISSA                   ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
POOLE, BARBARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
POOLE, CHARLOTTE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
POOLE, DAISY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POOLE, DEIDRE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
POOLE, DOROTHY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
POOLE, KRISTY                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
POOLE, PATRICIA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
POOLE, ROZELLA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
POOLE, TOMMIE                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
POOLE, TOMMIE                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
POOLE, VICTORIA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
POORE, LAURA                    WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
POPE, JANICE                    WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
POPE, LENORA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
POPE, MARY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
POPE, ORIA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
POPE, SHARON                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
POPE, STARYA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
POPE, THERESA                   PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
POPE, WILLETTE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
POPLEON, KENDRA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
POPLICK, HEIDII                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
POPOV, SHARON                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
POPOV, SHARON                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POPP, EILEEN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POPPINS, MARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
POPVICH, SHIRLEY                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
POPVICH, SHIRLEY                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
POPVICH, SHIRLEY                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
POPYNIA, JUDY                   NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
PORCHER, CLAUDIA                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725


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                                          LTL Management LLC
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Claim Name                          Address Information
PORCHER, PATRICIA S                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
POREDA, IRENE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PORRAZZO, PATRICIA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PORRES, NIVIA                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
PORTA, JO                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
PORTAL, GLORIA                     THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                   FERRARO, JR, JAMES L MIAMI FL 33131
PORTEOUS, HEIDI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PORTER & MALOUF, PA                P.O. BOX 12768 HARRIS, LAUREL LI GIVENS, JOHN T. JACKSON MS 39236-2768
PORTER, BEVERLY                    HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                   CHRISTOPHER CORPUS CHIRSTI TX 07837
PORTER, CATHY                      THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
PORTER, DOLORES                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                   11747
PORTER, GWENDOLYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PORTER, INITA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
PORTER, JANE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PORTER, LILLIE                     DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102
PORTER, MARNA                      THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                   AZ 08501
PORTER, MARSHA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
PORTER, MISTY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PORTER, REBECCA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
PORTER, ROSE                       MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
PORTER, ROSIE                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
PORTER, RUBY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PORTER, SARA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PORTER, SHAYLA                     WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                   NJ 08002
PORTER, SHERRY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
PORTER, VANESSA                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
PORTER, VERONICA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
PORTER-PANT, DOROTHY               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
PORTERA, JUDY                      MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                   ORLEANS LA 70130
PORTERFIELD, MARION                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PORTERFIELD, NANCY                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PORTILLES, DEANNA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296



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Claim Name                              Address Information
PORTILLO, MILAGRO                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
PORTILLO, YOLANDA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PORTMAN, EVELYN                        WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
PORTNOI,MARJORIE EST OF HERBERT PORTNOI WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
PORTUGAL, ELIZABETH                    HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                       CHRISTOPHER CORPUS CHIRSTI TX 07837
POSANTE, BARBARA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
POSERINA, ANNE                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
POSEY, JANNAE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
POSEY, JANNAE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POSEY, JANNAE                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
POSEY, JANNAE                          PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
POSEY, JANNAE                          KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
POSILLICO, JEANNE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
POSLUSZNY, TIFFANY                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
POSO, TANYA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POSS, DIANE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POSTON, DEBRA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
POSTON, LINDA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POTEET, MARY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POTEET, REBECCA                        MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                       YORK NY 10017
POTERE, VIRGINIA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
POTKOSKI, CHARLOTTE                    WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
POTTER, BETH                           NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                       11747
POTTER, DORIS                          TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
POTTER, MINNIE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POTTER, SHERRY                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
POTTER, SUE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POTTERS-TILKIN, CHRISTINE              PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
POTTS LAW FIRM                         3737 BUFFALO SPEEDWAY, SUITE 1900 ROJAS, RACHAL HOUSTON TX 77098
POTTS, ANNETTE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
POTTS, ANNETTE                         GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                       MINNEAPOLIS MN 55402
POTTS, ANNETTE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POTTS, ANNETTE                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
POTTS, ANNETTE                         PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
POTTS, BRENDA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POTTS, CONTANCE                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                       Address Information
POTTS, CONTANCE                 75231
POTTS, DEBORAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POTTS, DEBRA                    BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
POTTS, JANIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
POTTS, SANDRA                   THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
POTVIN, MICHELE                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
POULAIN, BRENDA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
POULILLO, REGINA                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
POULILLO, REGINA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
POULIN, CAROL                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
POULIN, DEBRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POUNDS, BETTE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
POUST, LYN                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
POVERELLI, DOROTHY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POWE, APRIL                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
POWELL, ALICE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POWELL, ALICIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
POWELL, ANNABELLE               GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
POWELL, ANNIE                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
POWELL, BETTY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POWELL, BETTYE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
POWELL, BRENDA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
POWELL, CAROLYN                 WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
POWELL, CHARLENE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POWELL, CYNTHIA                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
POWELL, DAWN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
POWELL, DEBRA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
POWELL, DONNA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
POWELL, DORIS                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
POWELL, DOROTHY                 DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
POWELL, DOROTHY                 KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
POWELL, ELLIS                   HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038



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Claim Name                       Address Information
POWELL, GENEVA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POWELL, GEORGINA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POWELL, GWENEVER                WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
POWELL, JOANNE                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
POWELL, JOHNQUNELL              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POWELL, KAREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POWELL, LATINA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
POWELL, LINDA                   HENINGER GARRISON DAVIS, LLC BROSS, WILLIAM L. 2224 1ST AVE NORTH BIRMINGHAM
                                AL 35203
POWELL, MARSHA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
POWELL, NANCY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
POWELL, NANCY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POWELL, NANCY                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
POWELL, NANCY                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
POWELL, NANCY                   SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
POWELL, REBECCA                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
POWELL, SANDRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POWELL, SARA                    POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                BRASLOW, DEREK T CONSHOHOCKEN PA 19428
POWELL, SHERRY                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
POWELL, SHERRY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
POWELL, SHIRLEY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
POWELL, STACY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
POWELL, SUSAN                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
POWELL, WANDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POWELL, WILMA                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
POWELL, WILMA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
POWELL, WILMA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
POWELL-COLE, ROSALIND           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
POWELL-PARK, ERIKA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POWER, ESTELL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POWERS, BETTY                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
POWERS, CHRISTINA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POWERS, CINDY                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
POWERS, CINDY                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
POWERS, ELOISE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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                                                  List
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Claim Name                       Address Information
POWERS, EUNICE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
POWERS, EVELYN                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
POWERS, EVELYN                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
POWERS, GENEVA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
POWERS, IRENE                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
POWERS, JEAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POWERS, JOANN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POWERS, JOLITA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
POWERS, KATHLEEN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POWERS, MARGARET                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POWERS, PATRICIA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
POWERS, SONDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POWERS, STACY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POWERS, VICTORIA                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
POWERS, VICTORIA                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
POWERS, VICTORIA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
POYNTER, MELINDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
POZARSKI, CHERYL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRACK, VICTORIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRADO, NIKOLE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PRADOS, SUSAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRASHER, BEVERLY                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PRASIL, THERESA                 JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
PRATER, LISA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRATER, MARIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PRATER, PRISCILLA               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PRATHER, GLENDA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PRATL, SUSAN                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
PRATLEY, WENDY                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PRATT, BENITA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PRATT, CATHY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PRATT, CYNTHIA                  COHEN, PLACITELLA & ROTH, P.C. C/O CHRISTOPHER PLACITELLA 127 MAPLE AVENUE RED
                                BANK NJ 07701
PRATT, JOYCE                    POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
PRATT, LOUISIA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX


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                                        LTL Management LLC
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Claim Name                       Address Information
PRATT, LOUISIA                  77098
PRATT, MAGGIE                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
PRATT, REGINA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRATT, REGINA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PRATT, REGINA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PRATT, STEPHANIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRAVATA, FRANCES                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRAWOTO, JUNI                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
PRAY, GALE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PREACELY, LULA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PREBLE, STACY                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                FELLER, JOEL J. PHILADELPHIA PA 19103
PRECIADO, EMELENA               SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
PRECIADO, PEDRO                 LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                NJ 08648
PREDDY, LILLIAN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PREDIUM-MORRIS, VELMA           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PREECE, BRENDA                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
PREER, WANDA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PREGLER, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PREJEAN, SHARON                 COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
PRESBERRY, DIONNE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRESCOTT, ALYCE                 LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET HIGHTOWER, KRISTIE LAKE
                                CHARLES LA 07060
PRESCOTT, SUSAN                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PRESLEY, SANDRA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PRESLEY, STEPHANIE              BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
PRESLEY, STEPHANIE              BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
PRESNAL, ROSE                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
PRESTON, ALINE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PRESTON, CHLOE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRESTON, DIANA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRESTON, MARCELLA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PRESTON, MICHELLE               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PRESTON, MICHELLE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PRESWORSKY, PAULA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRETE, SANDRA                   NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739


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                                       LTL Management LLC
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                                                  List
                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
PRETTYPAINT, LORI               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PREUSS, JOY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PREVITI, PATRICIA               DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
PREVOST, CAROL                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PREVOST, GEORGIANA              GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
PREZWODEK, JANICE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PREZWODEK, JANICE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PREZWODEK, JANICE               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PREZWODEK, JANICE               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PRIBYL, HEIDI                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PRICE, ANDREA                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
PRICE, ANGIE                    WEITZ & LUXENBERG RELKIN, ELLEN & SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE
                                210 CHERRY HILL NJ 08002
PRICE, ANNE                     COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
PRICE, BEATRICE                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
PRICE, BEVERLY                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PRICE, BOBBIE                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PRICE, BRENDA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PRICE, COLLEEN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PRICE, DARNELLA                 THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
PRICE, DONNA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
PRICE, ERIKA                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PRICE, ESTELLA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRICE, GINGER                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRICE, GINGER                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
PRICE, GINGER                   BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
PRICE, INEZ                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRICE, JACKIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PRICE, JANIE                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
PRICE, JENNIFER                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRICE, KATHY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRICE, LA SHAWN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRICE, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRICE, MARJORIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
PRICE, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRICE, PATRICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PRICE, TAMRUS                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
PRICHER, DEBRA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
PRIDGEN, BETH                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PRIDGEN, HELEN                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PRIDGEN, SUSAN                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PRIEL, ANDY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRIEST, CATHERINE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PRIEST, RUTH                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRIEVO, DEBORAH                 SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
PRIM, DOROTHY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PRIMMER, JEANNETTE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRINCE, ANTIONETTE              JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
PRINCE, BRENDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PRINCE, BRENDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRINCE, BRENDA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PRINCE, CLARA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PRINCE, CRYSTAL                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PRINCE, JUNE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PRINCE, JUNE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRINCE, JUNE                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PRINCE, JUNE                    PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
PRINCE, KATHLEEN                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
PRINCE, KENYA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PRINCE, NOEL                    THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
PRINCE, NOEL                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PRINCE, PATRICIA                FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
PRINCE, PATTI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRINGLE, DEBRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRINGLE, MARYLADENE             THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
PRINGLE, NORALEAN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PRINSTER, BARBARA               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
PRINZ, SANDRA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PRISCO, MARY                    WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
PRITCHARD, DONNA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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PRITCHARD, DONNA                MEADOWS, TED G. MONTGOMERY AL 36104
PRITCHARD, JANIE                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PRITCHETT, EDITH                THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
PRITCHETT, JESSICA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRIVITERA, TARA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PROBERT, EILEEN                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR SHATYNSKI, JENNIE LORRAINE
                                NEW YORK NY 10017
PROBY, DONNA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PROCOPIO, JANET                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PROCTER, LYNN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PROCTOR, JANICE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PROCTOR, JOAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PROCTOR, LAYNA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
PROCTOR, LAYNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PROCTOR, LILLIAN                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PROFFITT, LUCILLE               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PROFFITT, TANYA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PROPERNICK, LORI                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
PROPES, JUDY                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PROPST, SHARON                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PROSA, JULIE                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
PROSA, JULIE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PROST, BARBARA                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
PROST, BRENDA                   HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
PROUDFOOT, EVELYN               MILLER DELLAFERA PLC 3420 PUMP RD., PMD 404 HENRICO VA 23233
PROUT, PATRICIA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PROUTT, NIKKISHIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PROVANCE, MICHELLE              THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
PROVINCE, LORI                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
PROVINCE, LORI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRUETT, KAREN                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PRUETT, STACI                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
PRUIETT, JUANITA                BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,



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Claim Name                       Address Information
PRUIETT, JUANITA                ROBERT BRENT LOS ANGELES CA 90024
PRUITT, ANGELA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
PRUITT, DONNA                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
PRUITT, DOROTHY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PRUITT, INGRID                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
PRUITT, INGRID                  HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
PRUITT, KAREN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
PRUITT, LEANNA                  LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
PRUNTY, ANTIONETTE              THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
PRUSAK, KATHRYN                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
PRUSKIN, LINDA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PRYOR, BERTHA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRYOR, CAROLYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRYOR, CAROLYN MICHELLE         LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                NJ 08648
PRYOR, CHRISTINE                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
PRYOR, CYNTHIA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
PRYOR, GWENDOLYN                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PRYOR, HEIDI                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PRYOR, HEIDI                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
PRYOR, HEIDI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRYOR, HEIDI                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PRYOR, HEIDI                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PRYSLAK, BARBARA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PRZYBYLOWICZ, NORMA             BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
PRZYSTUP, BETH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PSCHENICA, CARISSA              THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
PSOLKA, JANET                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
PUCCIA, JOAN                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
PUCKETT, ASHLEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PUCKETT, JOELLEN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PUCKETT, JUDITH                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PUCKETT, MARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
PUCKETT, PAMELA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PUCKETT, TERRY                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502


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Claim Name                              Address Information
PUCO, CHRISTIE                         NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                       11747
PUDELEK, KAREN                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
PUDER, SANDRA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
PUDLOSKI, KATHERINE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
PUFFENBARGER, GLORIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PUGH, ALICE                            JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
PUGH, ANNETTE                          SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                       07102-4573
PUGH, ANNETTE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
PUGH, ANNETTE                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PUGH, ANNETTE                          PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PUGH, BARBARA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
PUGH, BARBARA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PUGH, BARBARA                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PUGH, BARBARA                          PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
PUGH, BETTYE                           THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
PUGH, HEATHER                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
PUGH, JANESE                           ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
PUGH, MARY                             BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
PUGH, ROSETTA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PUGH, SINDY                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
PUGH, WANDA                            CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
PUGLIESE, MARY                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
PUGLIESE, PRISCILLA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
PUGLISSI, DONNA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PULCINI, LYNN                          THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                       ORLEANS LA 70130
PULEO, CARMELYN                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
PULIDO, BERTHA                         MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
PULIDO, MARIA                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
PULIDO, MARIA AND PULIDO,, VICTOR      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                       NJ 08648
PULIDO, TERRI                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PULLEN, BARBARA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PULLEN, INGRID                         THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                       ORLEANS LA 70130
PULLEN, SHARON                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098



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                                                LTL Management LLC
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Claim Name                               Address Information
PULLEY, KIMBERLY                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
PULLEY, LYNN                             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
PULLIAM, VELMA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PULLIN, BARBARA                          THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                         CHARLESTON WV 25301
PULLUAIM, ROSIE                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
PULVER, BETTY                            SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                         01153
PULVER, HEATHER                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PUMALA, KAREN                            JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
PUMO, DARLENE                            FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PUNIHAOLE, CECILIA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PUNZO, ANGELINA                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
PURDY, DARLENE                           THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                         MADISON MS 39110
PURDY, JANICE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PURDY, JANICE                            THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
PURDY, JANICE                            PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
PURDY, JEROME & EST OF DANIELLE PURDY    MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                         YORK NY 10017
PURDY, SANDI                             ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
PURDY, TERESA                            WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                         DALLAS TX 75219
PURDY-LEDFORD, JUDY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PURNELL, LAKEYAH                         DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                         KANSAS CITY MO 64196
PURVES, MARGE                            MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                         YORK NY 10017
PURVIS, VALENE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PURVIS,NICHELLE EST OF EVANGELINE        WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
PURVIS                                   HILL NJ 08002
PURYEAR, ANNIE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PURYEAR, DORA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PUSATERI, ANGELA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PUSATERI, DIANNE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
PUSEY, BARBARA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PUSHARD, SHELLY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PUST, DONALD J., EST OF DARLENE G PUST   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
PUSZKARCZUK, ROSEMARY                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
PUSZKARCZUK, ROSEMARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
PUTEK, JACQUELYN                         THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                         CHARLESTON WV 25301



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                                               LTL Management LLC
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Claim Name                              Address Information
PUTHUMANA, AGEE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
PUTIN, DIANNE                           WEITZ & LUXENBERG RELKIN, E; SHARMA, B 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
PUTMAN, GERALDINE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PUTNAM, MARIA                           PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
PUTZ, CHRISTINE                         ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                        FELLER, CHRISTINE PHILADELPHIA PA 19103
PUZAK, LORI                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
PYBURN, CINDY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
PYERITZ-WHITMOYER, DAWN                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
PYLANT, MARGUERITE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
PYLE, MARY                              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
PYNE, KIMBERLY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
QADEER, NADIA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
QAMARUDDIN, ASLAM & QAMARUDDIN, SALMA   MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                        YORK NY 10017
QUAIDER, ROSA                           ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
QUAILES, MELISSA                        ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
QUALIATO, DARLENE                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
QUALLS, BILLIE                          ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                        LOUIS MO 63119
QUALLS, WILLIE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
QUANNAH SMITH                           MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
QUARESIMA, KATHLEEN                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
QUARLES, CINDY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
QUARLES, DELORES                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
QUARLES, MARY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
QUARLES, MARY                           GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                        MINNEAPOLIS MN 55402
QUARLES, MARY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
QUARLES, MARY                           THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
QUARLES, MARY                           PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
QUASCHNICK, SANDRA                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                        ORANGE VA 02296
QUAST, ESTHER                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
QUATTROCIOCCHI, VIRGINIA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
QUAVE, FRANCES                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
QUEBEC, FE                              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
QUEEN, MCMILLIAN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
QUESADA, LAURA                  BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
QUEVEDO, RITA                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
QUEZADA, YOLANDA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
QUIAMBAO, ELONA                 LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
QUIATCHON, VICTORIA             LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
QUIBODEAUX, CHARLOTTE           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
QUICK, MICHELENE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
QUICK, MICHELENE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
QUICK, SHIRLEY                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
QUICK, SHIRLEY                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
QUICK, SHIRLEY                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
QUICKLE, BECKY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
QUIGG, MARIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
QUIGLEY, BETH                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
QUIGLEY, BETH                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
QUIGLEY, LAKYIA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
QUIGLEY, MARIAN                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
QUIGLEY, ROBIN                  DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
QUIGLEY, ROBIN                  KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
QUIJANO, PACITA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
QUIJENCIO, ELIZABETH            ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
QUILES, MARIA                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
QUILES, NINA                    MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
QUILLEN, CAROL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
QUILLEN, JACQUELINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
QUILLIN, DOROTHY                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
QUININ, FRANCES                 BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
QUINION, LISA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
QUINLEY, VICKIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
QUINLIVAN, DIANE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
QUINN, ANGIE                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
QUINN, JACKIE                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
QUINN, LISA                     MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A.



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Claim Name                       Address Information
QUINN, LISA                     MCSWEENEY, RHETT A. MINNEAPOLIS MN 55404
QUINN, MICHELE                  PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
QUINN, NANCY                    POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                LECKMAN, T. MATTHEW CONSHOHOCKEN PA 19428
QUINN-BRIGGS, KATHERINE         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
QUINONES, ELIZABETH             SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
QUINONES-GARCIA, GEORGINA       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
QUINONEZ, YOLANDA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
QUINTANA, DELORIS               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
QUINTANA, ESTELLA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
QUINTANA, LISA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
QUINTANA, MICHELLE              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
QUINTANA, SANDRA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
QUINTANILLA, ANGELICA           ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
QUINTANILLA, DEBBIE             DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
QUINTERO, SARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
QUINTON, DOROTHY                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
QUINTON, JESSICA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
QUIRCH, JOYCELYNN               BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
QUIRK, RAMONA                   LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET KOHRS, NICHOLAS HIGHTOWER,
                                KRISTIE LAKE CHARLES LA 07060
QUIRK, RAMONA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
QUIRK, RAMONA                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
QUIRK, RAMONA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
QUIRK, RAMONA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
QUIRK, RAMONA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
QUIROGA, JUANITA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
QUIROS, GAIL                    BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
QUIROZ, CORINA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
QUIROZ, PATTY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
QUIROZ, PAULA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
QUISENBERRY, THERESA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
QUITTER, PATRICIA               KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
R. CHIONSKI, STANLEY            NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
RA, C                           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
RAAD-BIER, LISA                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102


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Claim Name                          Address Information
RAASCH, MARIETA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
RABALAIS, ROBYN                    MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                   11050
RABALAIS, TAHNEE                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
RABASCA, LINDA                     GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
RABE, DOTTIE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RABENA, MARJORIE                   LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                   94111
RABINOVITCH, IRINA                 PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
RABUCK, VOHNIE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
RABURN, DENISE                     THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
RABY, LINDA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RACASI, LYNNE                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
RACE, SUE                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
RACHAEL MARCHESKIE                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
RACHAL, HATTIE                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
RACHAL, PATSY                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
RACHEL HANSON                      ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
RACHEL SATNAN                      FLETCHER V. TRAMMELL TRAMMELL, FLETCHER V 3262 WESTEIMER, SUITE 423 HOUSTON TX
                                   77098
RACHELS, MELISSA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
RACHICK, JANE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RACIOPPO, MARIE                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
RACKOV-TOKICH, NELLIE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
RACKOW, JANET                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
RACKOW, JANET                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RACKOW, JANET                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RACKOW, JANET                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
RADA, CECILIA                      THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
RADAR, CAROL                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RADBILL, NATALIE                   MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
RADBILL, NATALIE                   KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
RADCLIFFE, BETTYE                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
RADCLIFFE, GIANNINA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RADEL, JAIME                       LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MCGEE, AMANDA D MANHATTAN
                                   BEACH CA 90266
RADEMACHER, ANNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RADEMACHER-HAMILTON, TRACEY        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RADEMAKER, PEARL                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,


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                                       LTL Management LLC
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Claim Name                       Address Information
RADEMAKER, PEARL                EMILY FAIRFAX VA 22031
RADENHAUSEN, LINDA              SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
RADER, MILDRED                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RADER, PATRICE                  COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
RADER, SHARON                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
RADFORD, BRIDGET                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RADFORD, COLLEEN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RADFORD, CONNIE                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
RADFORD, LELIA                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
RADFORD, MELISSA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RADIG, DOROTHY                  COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
RADILOFF, KAREN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RADKE, NANCY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RADTKE, NANCY                   WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
RADTKE, NANCY                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
RADTKE, NANCY                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
RADTKE, NANCY                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
RADZAI, VICTORIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RAE, PEGGY                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RAE, PEGGY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RAEL, JENNIFER                  WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
RAFIDI, JANE                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RAFIDI, LISA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAFUSE, STEPHANIE               NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
RAGAN, IRENE                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
RAGER, LANA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAGIS, LOUISE                   SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
RAGLAND, LORETTA                WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
RAGLIN, ANNA                    FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
RAGNO, JODI                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
RAGO, KRISTINA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAGONE, BARBARA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAGONE, LOUISE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
RAGONE, LOUISE                  MEADOWS, TED G. MONTGOMERY AL 36104
RAGSDALE, ANNA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
RAGSDALE, LANA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RAGSEALE, DARLA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
RAGUDO, EVANGELINE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RAHIMINMANESH, PARVIN           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
RAHM, BEATRICE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RAHMAAN, KLALIHAH               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAHMING-WADE, LEARLEAN          GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
RAIHER, MANDE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAIMONDI, BONNIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RAIMONDI, SANDRA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RAIMUNDO, JEANNETTE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RAINER, DAWN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAINER, KIM                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RAINER, KIM                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAINER, KIM                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RAINER, KIM                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
RAINES, JUDY                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RAINES, MARTHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAINES-DREW, JUSTINE            DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
RAINEY, ADRIANA                 JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
RAINEY, BEATRICE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAINEY, ETHEL                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RAINEY, LATOYA                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
RAINEY, LATOYIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAINEY, MARILYN                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
RAINEY, STEPHANIE               ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
RAINEY, VIRGINIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAINONE, KATHLEEN               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RAINS, DONNA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RAINS, KATHY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RAINVILLE, KAREN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
RAINVILLE, KAREN                MEADOWS, TED G. MONTGOMERY AL 36104
RAJAMOHAN, SUGIRTHA             HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
RAJCAN, JOSEPHINE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RAJUNAS, LORI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAK, JOANNA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RAK, JOANNA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAK, JOANNA                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RAK, JOANNA                     PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
RAK, VICTORIA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
RAK-PIETRYLA, CAROL             THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
RAKIN, CORINNE                  SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
RAKIP, SANDRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RALEIGH, VICTORIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RALEY, JOHNNYE                  MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
RALEY, SHARON                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
RALL, DEBRA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RALLS, CHERYL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RALPH, LAURA                    SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
RALPH, PATRICIA                 LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
RAMA, VIOLETA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RAMBO, CARMEL                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
RAMBO, LATRESE                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
RAMBO, PATRICIA                 JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
RAMBO, SHARON                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RAMBOW, DANA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
RAMCHARAN, CHARINA              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
RAMCHARAN, ROMEY                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
RAMDEEN, TESSA                  ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
RAMENSKY, CORALEE               THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
RAMER, GERALDINE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RAMER, GERALDINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RAMEY, ALICE                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
RAMIE, KATHLEEN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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                                       LTL Management LLC
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Claim Name                       Address Information
RAMIE, KATHLEEN                 MEADOWS, TED G. MONTGOMERY AL 36104
RAMIREZ, ALEJANDRA              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
RAMIREZ, ANA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
RAMIREZ, CAMI                   THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
RAMIREZ, CHRISTINA              MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
RAMIREZ, DARYL                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
RAMIREZ, GLORIA                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
RAMIREZ, HELEN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RAMIREZ, IRENE                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
RAMIREZ, IRENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAMIREZ, IRENE                  LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
RAMIREZ, IRENE                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
RAMIREZ, IRENE                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
RAMIREZ, IRENE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
RAMIREZ, JESUSITA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAMIREZ, JOANNA                 THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
RAMIREZ, LUZ                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAMIREZ, MAGALY                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
RAMIREZ, MARIA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
RAMIREZ, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAMIREZ, MYRNA                  GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
RAMIREZ, NORMA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAMIREZ, PATRICIA               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RAMIREZ, RITA                   NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
RAMIREZ, STEPHANIE              DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
RAMIREZ, SYLVIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAMIREZ, TATIANA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAMIREZ, WILMA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
RAMLOCHAN, CHARMATTIE           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAMO, MARILYN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RAMON, DAYMARA                  THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
RAMON, ELIPIHNA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
RAMON, ELIPIHNA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
RAMON, JOAN                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RAMOS, ALICE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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                                        LTL Management LLC
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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
RAMOS, ALICE                    75231
RAMOS, CARMEN                   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
RAMOS, CONSUELO                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
RAMOS, JEMIMA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RAMOS, LINDA                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
RAMOS, LUISA                    MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
RAMOS, MANUELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAMOS, MARGARITA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAMOS, MARIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RAMOS, ROBINA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RAMOS, SHERRYANNE               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RAMOS, SYLVIA                   COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
RAMOS, VALERIE                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
RAMOS-MORALES, NILDA            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RAMOUTAR, CAMLA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
RAMPLEY, PEGGY                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RAMPY, SUSAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAMSAY, JULIE                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
RAMSBURG, MARY                  NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
RAMSEY, ALVA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAMSEY, APRIL                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RAMSEY, CHERYL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RAMSEY, DEBRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAMSEY, GINA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAMSEY, JANICE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
RAMSEY, JOLENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAMSEY, LILLIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAMSEY, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAMSEY, SHANNON                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAMUNDO, CAROL                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
RAMXEY, ROBERTA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
RANALDI, DEBORAH                BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
RANALLI, SHIRLEY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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                                       LTL Management LLC
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Claim Name                       Address Information
RANATZA, GLORIA                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
RANCOUR, RHONDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RAND, LORI                      THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
RAND, MARY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAND, SANDRA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RANDALL, ALVINA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RANDALL, CHARLOTTE              GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
RANDALL, EDNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RANDALL, GINA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RANDALL, MARY                   BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
RANDALL, MICHELLE               THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
RANDALL, NICOLE                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
RANDALL, NINETTE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RANDALL, PEGGY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RANDALL, PORCHIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RANDALL, VIVIAN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RANDAZZO, JOANNE                HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
RANDI SCHERER                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
RANDLE, CHIQUITA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RANDLE, CHIQUITA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RANDLE, DELORES                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RANDLE, ESTHER                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RANDLE, NICOLE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RANDLE, RAISHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RANDOLPH, ALICIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RANDOLPH, DEBRA                 BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
RANGEL, CORINE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
RANGEL, LETICIA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
RANGEL, YOLANDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RANGEL, YOLANDA                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
RANGEL, YOLANDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
RANGEL, YOLANDA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RANGEL, YOLANDA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
RANKE, PAULA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RANKIN, ANGELA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RANKIN, LAURIE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RANKIN, LAURIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RANKIN, MARY                    GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
RANKIN, MILDRED                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
RANKIN, MILDRED                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
RANKIN, PAMELA                  WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
RANOIA, ANTOINETTE              KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
RANSDELL, SHIRLEY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RANSFORD, JENNIFER              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                LAMPKIN II, JAMES W. MONTGOMERY AL 36104
RANSFORD, JULIA                 LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
RANSOM, SHARI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RANSOM, SHEILA                  JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
RANSOM, SHEILA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RANSOM, SHEILA                  SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
RANSON, VICTORIA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
RANSOPHER, MARILYN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RANTZ, CECELIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RANTZ, RETA                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
RANZIE, DOLORES                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAO, SUSAN                      BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
RAOUF, FARIBA                   HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
RAPE, CHRIS                     HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
RAPIN, DONNA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RAPOSA, JOYCE                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
RAPOZA, KAREN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RAPP, KATHY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAPTIS, MARIE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RARANGA, GRANDELYN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAS, JUDITH                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725



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Claim Name                       Address Information
RASBAND, JACQUELINE             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
RASH, APRIL                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RASH, KAREN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RASHBA, LINDA                   MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
RASHIED, BRENDA                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
RASHIED, BRENDA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RASINSKI, JENNIFER              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
RASLER, WENDI                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RASMUSSEN, COLLEEN              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RASMUSSEN, DARCELL              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RASMUSSEN, JOANNE               LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
RASMUSSEN, TAMARA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RASNER, LESLIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RASNICK, GERALDINE              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
RASPOTNIK, DEBORAH              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RASSEGA, ALLA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RASSEGA, ALLA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RATAJCZAK, LELANIE              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
RATAJCZYK, TAMMY                DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
RATCLIFF, SHARON                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RATCLIFFE, GINGER               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
RATHBONE, DEBORAH               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RATHBURN-HUTCHENS, LORI         SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
RATHSADA, AMBER                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RATLIFF, CARLEENE               WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
RATLIFF, CHERI                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
RATLIFF, HELEN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RATLIFF, JAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RATLIFF, MARILYN                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
RATLIFF, ROBYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RATLIFF, ROBYN                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207



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Claim Name                       Address Information
RATTA, RENEE                    SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
RATTO, DIANE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAU, DONNA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RAU, MARIE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RAULERSON, KATHLEEN             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RAULSTON, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAULT, NICOLE                   MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
RAUSA, PASQUALINA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RAUTTER, LORETTA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RAVAS, HELEN                    HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
RAVELLETTE, BRANDY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAVELLETTE, VIRGINIA            MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
RAVENCRAFT, ELAINE              GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
RAVENEL, TINA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
RAVENELL, TIFFANY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAVENSCROFT, SUSAN              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RAVERT, COLLEEN                 GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
RAVILIOUS, IRENE                SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
RAVIN, WANDA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RAWLINGS, ANGELA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAWLINGS, LINA                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
RAWLINGS, VELVA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAWLINS, CAROL                  NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
RAWLINS, JANICE                 SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
RAWLS, APRIL                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
RAWLS, APRIL                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
RAWLS, CAITLYN                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
RAWLS, DEBORAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAWLS, RUTH                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RAY, AMANDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAY, BARBARA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAY, BRENDA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                              Address Information
RAY, CARI                              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAY, CRYSTAL                           DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                       63102
RAY, CRYSTAL                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAY, CRYSTAL                           WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
RAY, DALE                              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
RAY, DEBRA                             DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
RAY, GLENDA                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
RAY, JENNA                             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
RAY, KATHERINE                         HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
RAY, KIMBERLY                          CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
RAY, LAURA                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
RAY, LAURA                             GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                       MINNEAPOLIS MN 55402
RAY, LAURA                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAY, LAURA                             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RAY, LAURA                             PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
RAY, LINDA                             DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                       ANTHONY ST. LOUIS MO 63102
RAY, LINDA                             LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
RAY, LINDA                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
RAY, LINDA                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       LUKEI, SHANNON KARAVATOS, NEWPORT BEACH CA 92660
RAY, LISA                              PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
RAY, LISA                              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
RAY, LISA                              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
RAY, MARGARET                          GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                       EDWARDSVILLE IL 62025
RAY, MINNIE                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
RAY, SABATELLI, III EST OF C. SABATELLI LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                        NJ 08648
RAY, SABRINA                           DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                       KANSAS CITY MO 64196
RAY, SHARON                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
RAY, SHELIA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAY, SHIRLEY                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
RAY, SUSAN                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAY-LAWSON, JENNIFER                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAYBURN, LINDA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAYFORD, OZZIE                         FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
RAYFORD, PATRICIA                      FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LUFF, PATRICK - DALLAS TX 75231
RAYMER, MARSHA                         MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY


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                                           LTL Management LLC
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Claim Name                          Address Information
RAYMER, MARSHA                     11050
RAYMOND, ALISHA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
RAYMOND, ANGELA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
RAYMOND, BECKY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
RAYMOND, DEBRA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAYMOND, IRENE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAYMOND, JUDITH                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
RAYMOND, LOUANE                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                   PR 00918
RAYMOND, PEGGY                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
RAYNE STEENS, LA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
RAYNE STEENS, LA                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                   ANTHONY ST. LOUIS MO 63102
RAYNE STEENS, LA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAYNE STEENS, LA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RAYNE STEENS, LA                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
RAYNE STEENS, LA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
RAYNE STEENS, LA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
RAYNER, ANITA                      MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
RAYNER, DEBBIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAYNES, PATRICIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RAYNOR, ANN                        ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RAYNOR, ANN                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
RAZEK, STEPHANIE                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
RAZOUK, SHERRI                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REA, DONNA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REA, MARY                          SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
REACARD, LINDA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
READ, CYNTHIA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
READDY, SHELIA                     CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                   GA 30009
READDY, SHELIA                     BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                   30060
READE, VICTORIA                    JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                   PAUL MN 55101
REAGAN, LAURA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
REAGAN, RAE                        POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
REAGIN, SUSAN                      HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                   AL 03520
REALE, BONNIE                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
REAMES, KAY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
REAMES, KAY                     MEADOWS, TED G. MONTGOMERY AL 36104
REAMS, ANGELA                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
REAMS, GWENDOLYN                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REAPE, YVONNE                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
REASER, ANNIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REASON, DONNA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
REASON, DONNA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
REASOR, BRENDA                  COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
REAVER, NANCY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REAVES, ANGELA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
REAVES, CAROLINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REAVES, CAROLINE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
REAVES, CAROLINE                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
REAVY, PATRICIA                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
REAY, LINDA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REBECCA FISHER                  MORELLI LAW FIRM, PLLC MORELLI, BENEDICT P. & SIROTKIN, DAVID T 777 THIRD
                                AVENUE, 31ST FLOOR NEW YORK NY 10017
REBO, LORI                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REBOLLEDO, GLORIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REBOLLEDO, GLORIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REBOLLEDO, GLORIA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
REBROVICH, PATRICIA             POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
RECIGNO, GLORIA                 ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
RECIO, JOAN                     DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
RECKER, PATRICIA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RECKER, PATRICIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RECKNER, GERALDINE              WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
RECTOR, DONNA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RECTOR, DONNA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RECTOR, NICOLE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RECZKA, JOANNE                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
REDA, EMILIA                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
REDD, ALISHA                    THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
REDDELL, RENEE                  SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ



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Claim Name                       Address Information
REDDELL, RENEE                  07102-4573
REDDEN, SANDRA                  BEASLEY ALLEN CROW METHVIN PORTIS &MILES JAMES, LAUREN A. 218 COMMERCE STREET
                                MONTGOMERY AL 36104
REDDEN, TERESA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REDDICK, DEBRA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REDDICK, TERRI                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
REDDING, CLARA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REDDING, DEBORAH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REDDING, DEBORAH                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
REDDING, DEBORAH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REDDING, DEBORAH                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
REDDING, DEBORAH                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
REDDING, ELIZABETH              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
REDDING, ELLEN                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
REDDING, IDELMA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
REDDING, LUANA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
REDDING, OLLIE                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
REDDIX, SHERRI                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REDDOCH, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REDDY, SANDRA                   BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
REDFEARN, JULIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REDFERN, BETTY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REDINGER, GLORIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REDMAN, KATHLEEN                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
REDMAN, KATHLEEN                BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
REDMON, NORMA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REDMON, VIRGIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REDMOND, ANGELA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
REDMOND, BARBARA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
REDMOND, HELEN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REDMOND, WINIFRED               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REDNER, ROLENA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
REDNER, ROLENA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
REDNER, ROLENA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
REDONDO, JULIA                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
REDSTOCK, TERRI                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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                                       LTL Management LLC
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Claim Name                       Address Information
REDSTOCK, TERRI                 MEADOWS, TED G. MONTGOMERY AL 36104
REECE, CAROL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REECE, CAROLE                   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
REECE, ROXIE                    MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
REECE, TRACY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REED, ALICIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REED, AMBER                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REED, CARRIE                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
REED, CATHERINE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
REED, CHYNA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REED, DEADRIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REED, DEBRA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REED, DENA                      JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
REED, EDDIE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REED, ELIZABETH                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
REED, ELIZABETH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REED, EMMA                      THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
REED, IMOGENE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REED, JOANNE                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
REED, KAREN                     GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
REED, LINDA                     DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
REED, LOUELLA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REED, MARGARET                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
REED, MARIA                     NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
REED, MARIA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REED, MARY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REED, NATASHA                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
REED, OLIVIA                    FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
REED, RAHNEE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REED, ROSE                      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
REED, ROXANNE                   WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219


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                                       LTL Management LLC
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                                                  List
                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
REED, SHIRLEY                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
REED, SUSAN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REED, SUSANNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REED, TAMMY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REED, TERRI                     JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
REED, THERESA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
REED, THERESA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REED, VICKIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REED, VICTORIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REED-CHAVEZ, LYNN               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REED-HARRIS, CONSTANCE          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REED-HINES, LINDA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
REED-JOSEPH, ILIZA              LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
REED-JOSEPH, ILIZA              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
REEDER, JOANIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REEL, STARLENE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REES, CAROL                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REES, GLADYS                    THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
REESE, ANA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REESE, APRIL                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
REESE, DELORIS                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REESE, DONNA                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
REESE, DONNA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
REESE, EDITH                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REESE, JUDITH                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
REESE, JUDY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REESE, MILLICENT                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REESE, REBECCA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REESE, RUTH                     DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
REESE, TERESA                   SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
REESE, TERI                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
REETZ, SALLY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231



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                                       LTL Management LLC
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                                                  List
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Claim Name                       Address Information
REEVE, PEARLIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REEVES, BARBARA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REEVES, CAROLYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REEVES, CHERYL                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
REEVES, CONNIE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
REEVES, DENISE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REEVES, KAYLEEN                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
REEVES, NORMA                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
REEVES, ROBERTA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REEVES, SUSAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REEVES, TONYA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REGALDO, RICHARD G.             WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
REGALIA, BETTY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REGELE, KATHLEEN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REGENOLD, JOSEPHINE             THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
REGENSBURG, MADY                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
REGENSBURG, MADY                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
REGENSBURG, MADY                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
REGENSBURG, MADY                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                LUKEI, SHANNON KARAVATOS, NEWPORT BEACH CA 92660
REGENWETHER, REBECCA            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REGINA MITCHELL                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
REGINA, IVANNSKA LA             WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
REGISTER, MELISSA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REGISTER, RENEE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REGUERO, YVONNE                 COHEN, PLACITELLA & ROTH 127 MAPLE AVE. PLACITELLA, CHRISTOPHER M. GEIER,
                                DENNIS M. RED BANK NJ 07701
REGUERO, YVONNE                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
REHAK, KATHLEEN                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
REHBECK, ANN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REHBECK, ANN                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
REHBECK, ANN                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
REHBERG, MARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REHFELDT, RUTHANNE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                               Address Information
REHLER, HELEN                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REHM, ANNE                               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REHMANN, MAUREEN                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
REIBMAN, BARBARA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REICH & BINSTOCK, LLP                    4265 SAN FELIPE BLVD, #1000 REICH, M EPHRON, D REICH, R BINSTOCK HOUSTON TX
                                         77027
REICH, ESTHER                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
REICH, NICOLE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REICHENBACH-NICHOLS, NORMA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
REID, CHRISTINE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REID, DENISE                             ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
REID, DENISE                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
REID, DIANE                              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
REID, IDA                                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
REID, MICHELE                            ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
REID, MILLICENT                          MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                         TAMPA FL 33602
REID, SANDRA                             BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                         TX 75219
REID, YASMEEN                            BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                         70130
REIDER, SUSAN                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
REIDY, LORETTA                           GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
REIFENSTAHL, PATRICIA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
REIFSTECK, SALLY                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
REIFSTNIDER, CRAIG EST OF J REIFSNIDER   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
REIGLE, JENNIFER                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
REIL, DEBBIE                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REILLY, ALICE                            NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                         BERMAN, W. STEVE GREAT RIVER NY 11739
REILLY, ALICE-MARIE                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
REILLY, ALICE-MARIE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
REILLY, ILENE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REILLY, TERESA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REILY, KAREN                             GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
REILY, KAREN                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
REIMAN, MARY                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REIMERS, DEANA                           LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
REIMERS, DEANA                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE


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Claim Name                       Address Information
REIMERS, DEANA                  ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
REINA, MARLISSE                 SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
REINBERGER, MARIETTA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REINCKE, BARBARA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REINER, SHERRI                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
REINER, SHERRI                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
REINER, SHERRI                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
REINHARD, JANICE                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
REINHARD, MARTHA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
REINHARDT, CATHERINE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REINHARDT, DEBRA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REINHARDT, MONIKA               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
REINHARDT, PATRICIA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REINHARDT, SARAH                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REINHART, ANN                   MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
REINHART, CONNIE                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
REINHART, GAIL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REINHOLD, MICHELLE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REINIER, DEBRA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REINKE, CAROL                   PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
REINSTEDLER, SHERI              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REINUS, JINNI                   MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
REIS, MARIA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REISDORF, STEPHANIE             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REISING, CHRISTINE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REISING, CHRISTINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REISING, CHRISTINE              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
REISMER, NORMA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RELFORD, LORI                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RELFORD, LORI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REMBERT, CAROLYN                HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
REMER, KITTY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REMICK, LISA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
REMICK, LISA                    MEADOWS, TED G. MONTGOMERY AL 36104
REMINGTON, SUEANNE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REMMER, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REMMEREID, DEBORAH              LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
REMOLLINO, DENISE               WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
REMPAS, LUCY                    HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
RENATA TRAWICK                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
RENCH, PEGGY                    MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
RENCHEN, JOANN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RENCK, KATHLEEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RENDA, SHANNON                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
RENDE, CARMELA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RENDLEMAN, MICHELLE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RENEE BROWN                     BARON & BUDD, P.C. MANN, JONAS 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX
                                75219
RENEE MORGAN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK & RAGGIO, JOHN 5473 BLAIR ROAD DALLAS
                                TX 75231
RENEE SOLLERS                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
RENES, IRENE                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
RENFER, CHRISTINA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RENGEL, SABINA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RENIE, STACEY                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RENN, JERRY                     MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
RENN, STELLA                    THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
RENNA, GENEIEVE                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
RENNA, GENEVIEVE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RENNA, GENEVIEVE                THE POTTS LAW FIRM, LLP 3737 BUFFALO SPEEDWAY STE 1900 HOUSTON TX 77098
RENNER, DOLLY                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
RENNER, DOLLY                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 NEW ORLEANS LA 70130
RENNICK, DAWN                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
RENNINGER, MARY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RENO, RENE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RENSHAW, NANCY                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
RENT, MICHELE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RENTERIA, LETITIA               ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226



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                                       LTL Management LLC
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                                                  List
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Claim Name                       Address Information
RENWAND, CYNTHIA                POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
RENZI, CHERYL                   PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
RENZI, CLAIRE                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
REO, CHERYL                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REPLOGLE, MARILYN               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REPLOGLE, VIRGINIA              THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
REPOLA, KIM                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REPPELL, BRENDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REPPELL, BRENDA                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
REPPELL, BRENDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REPPELL, BRENDA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
REPPELL, BRENDA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
REPPER, LOIS                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REPSCHLAGER, DOLORES            CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
RESAU, NANCY                    POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
RESENDIS, CHERYL                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
RESL-LOSCHNER, ADRIANA          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RESNICK, VICTORIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RESPICIO-SANCHEZ, ARIN          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RESSLER, LILLIE                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
RESURECCION, BELEN              MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
RETHAFORD, CHERYL               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RETRUM, JEAN                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
RETTER, MARTHA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RETTER, MARTHA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RETTIG-BRODY, LISA              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
REULE, WINNIFRED                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
REUTER, BETTY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REUTER, DEBORAH                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
REUTER, DEBORAH                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
REUTER, DEBORAH                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
REUTER, DEBRA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REUTER, DEBRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REUTER, DEBRA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157


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Claim Name                       Address Information
REUTER, DEBRA                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
REUTER, DEBRA                   LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
REUTER, DEBRA                   ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
REUTER, ERNESTINE               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
REVELL, SHEILA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REVELS, RACHEL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REVES, SONJA                    WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
REVIS, GWEN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REWINSKI, GILLA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
REWINSKI, GILLA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REY-MOLINA, BERTA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REYES, ANN                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
REYES, CYNTHIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REYES, DONNA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REYES, ELISA                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
REYES, JESSICA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REYES, LISA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REYES, MARIA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
REYES, STELLA                   BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
REYES, TINA                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
REYES, TINA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REYES, TRACY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
REYES, VENUS                    MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
REYES, VIOLA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
REYES, ZULEYKA                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
REYNA, ELVIRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REYNA, KOSHELLA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REYNAGA, BRIDGET                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
REYNARD, KAREN                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
REYNHOUT, THERESA               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K


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Claim Name                       Address Information
REYNHOUT, THERESA               BOUNDAS, JOHN T. HOUSTON TX 77017
REYNOLDS, ANGALA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REYNOLDS, ANN                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
REYNOLDS, BESSIE                MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
REYNOLDS, BETTY                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
REYNOLDS, BETTY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REYNOLDS, CAROL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REYNOLDS, CHARLENE              POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
REYNOLDS, CONNIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REYNOLDS, CONSTANCE             BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
REYNOLDS, CYNTHIA               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
REYNOLDS, DANA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
REYNOLDS, DAWN                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
REYNOLDS, DEBBIE                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
REYNOLDS, DEBORAH               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
REYNOLDS, DEBORAH               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
REYNOLDS, DELTA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
REYNOLDS, DELTA                 LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
REYNOLDS, DIANNE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REYNOLDS, DONNA                 KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
REYNOLDS, DONNA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
REYNOLDS, ELLEN                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
REYNOLDS, HARLOW                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
REYNOLDS, HELEN                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
REYNOLDS, HELEN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
REYNOLDS, JACQUELINE            DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
REYNOLDS, JACQUELINE            LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
REYNOLDS, JACQUELINE            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
REYNOLDS, JACQUELYN             LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
REYNOLDS, JACQUELYN             ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
REYNOLDS, JUDY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REYNOLDS, KIERSTEN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REYNOLDS, LORI                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                         Address Information
REYNOLDS, LORI                    MEADOWS, TED G. MONTGOMERY AL 36104
REYNOLDS, LYNNE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
REYNOLDS, LYNNE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
REYNOLDS, MIA                     WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                  NJ 08002
REYNOLDS, NITA                    FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
REYNOLDS, PAMELA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
REYNOLDS, PATRICIA                BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                  CA 92660
REYNOLDS, PEGGY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
REYNOLDS, REBECCA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REYNOLDS, REGINA                  THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
REYNOLDS, ROLANDA                 THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
REYNOLDS, SABRINA                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                  KANSAS CITY MO 64196
REYNOLDS, SALLY                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                  LOUIS MO 63119
REYNOLDS, SHARON                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
REYNOLDS, SHARON                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
REYNOLDS, STACEY                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                  BOUNDAS, JOHN T. HOUSTON TX 77017
REYNOLDS, STACY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REYNOLDS, TAMMY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REYNOLDS, TERRI                   ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                  LOUIS MO 63119
REYNOLDS-ENSMINGER, BARBARA       FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
REYNOLDS-PATTERSON, PATRICIA      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REYNOSO, AMIE                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
REYOME, LYNDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
REZEK, ALBERTA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
RHEA, CHRISTINA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                  77007
RHEA-GUY, CHRISTINA               HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                  CHRISTOPHER CORPUS CHIRSTI TX 07837
RHEIN, JO ANN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
RHINA DICKERSON                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                  PAUL MN 55101
RHINEHART, MACKENZIE              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
RHOADES, TAMARA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                  EMILY FAIRFAX VA 22031
RHOADES, TAMARA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
RHOADES, TAMARA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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                                                LTL Management LLC
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Claim Name                               Address Information
RHOADES, TAMARA                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RHOADES, TAMARA                          PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
RHOADS, PAMELA                           THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
RHOADS, SUZY                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RHOADS, TAMARA                           DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                         63102
RHODA, CARLA                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RHODEN, ALICE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RHODES, CATHY                            JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
RHODES, CHARLOTTE                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
RHODES, DOROTHY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RHODES, ESTHER                           ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                         WASHINGTON DC 20006
RHODES, ESTHER                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                         STREET MONTGOMERY AL 36104
RHODES, HELEN                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RHODES, JASMINE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RHODES, MARGARET                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
RHODES, MARGARET                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
RHODES, PATRICIA                         BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                         CA 92660
RHODES, PATSY                            WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
RHODES, PEGGY                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RHODES, STEPHANIE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RHODES, TAMARA                           MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                         ARTHUR M. NEW ORLEANS OH 70130
RHODES, TERESA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
RHODIS, ATHENA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RHONDA BROWN                             THE MILLER FIRM, LLC SHAH, TAYJES M. 108 RAILROAD AVE. ORANGE VA 22960
RHONDA DAVIS                             ANDRUS WAGSTAFF, P.C. NORTHRUP, ALBERT 7171 WEST ALASKA DRIVE LAKEWOOD CO
                                         80226
RHONDA-JAMES, AIDA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RHYMER, GWEN                             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
RHYMES, SHARON                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
RIALE, MARCIA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIBBENS, MARTHA                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
RIBBENS, MARTHA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
RIBBS, VICTORIA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIBKEN, TINA                             FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
RICALDI, FLORENCIA & RICALDI, HIBERMAN   MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                         YORK NY 10017
RICCIARDONE, ELIZABETH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICE, CAROL                              MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464


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Claim Name                       Address Information
RICE, CHARMEL                   THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
RICE, CORILEE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RICE, DEBRA                     MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
RICE, DOLORES                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
RICE, GEORGIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICE, GLADYS                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RICE, JOANN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICE, LAURA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RICE, LINDA                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
RICE, LINDA                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
RICE, LINDA                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
RICE, MADELINE                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
RICE, MARY                      CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
RICE, MICHELLE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICE, PATRICIA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RICE, RENEE                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
RICE, RENNA                     BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
RICE, SABRINA                   PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
RICE, SANDRA                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
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                                75231
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RICE, SONYA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RICE, TERESA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RICE, TERESA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RICE, TERRI                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RICE, VELMA                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RICE, VELMA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RICE-CALKINS, PATRICIA          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RICE-CALKINS, PATRICIA          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RICE-CALKINS, PATRICIA          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
RICH, BERNICE                   JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
RICH, GLENDA                    FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
RICH, JANETTA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
RICH, JANETTA                   MEADOWS, TED G. MONTGOMERY AL 36104
RICH, LORRAINE                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RICH, SONIA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RICH, WENDY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICHARD, CRYSTAL                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
RICHARD, DALE                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
RICHARD, DONNA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RICHARD, DONNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RICHARD, EARLINE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RICHARD, EARLINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RICHARD, FRANCES                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RICHARD, GWENDOLYN              POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
RICHARD, JAMIE                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
RICHARD, LINDA                  COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
RICHARD, MARILYN                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RICHARD, PAULA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RICHARD, PAULINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RICHARD, SHARON                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICHARD, UNA                    MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
RICHARDI, SHIRLEY               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RICHARDS, BERTIE                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
RICHARDS, CAROLYN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICHARDS, CONNIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RICHARDS, CONNIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICHARDS, HELEN                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
RICHARDS, JUANITA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICHARDS, KIMBERLY              THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
RICHARDS, LISA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICHARDS, MELODY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RICHARDS, SANDRA                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
RICHARDS, SHANNON               THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                FERRARO, JR, JAMES L MIAMI FL 33131
RICHARDS, TASHA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
RICHARDS, TERRIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICHARDS-KRACHER, BEVERLY       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RICHARDSON, ALICE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RICHARDSON, ANA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RICHARDSON, AUDREY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICHARDSON, BARBARA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICHARDSON, BETTY               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
RICHARDSON, BONNIE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RICHARDSON, BONNIE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICHARDSON, BONNIE              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RICHARDSON, BONNIE              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
RICHARDSON, CHRISTI             WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
RICHARDSON, CHRISTINA           JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
RICHARDSON, CORTISHA            GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
RICHARDSON, CYNTHIA             ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RICHARDSON, CYNTHIA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RICHARDSON, DEBORAH             MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
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RICHARDSON, DENISE              BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
RICHARDSON, ELAINE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RICHARDSON, ELEANOR             MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
RICHARDSON, EVELYN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICHARDSON, KAYLE               DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
RICHARDSON, KERESA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RICHARDSON, KIMBERLY            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RICHARDSON, LAKIESHA            THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
RICHARDSON, LINDA               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RICHARDSON, LINDA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RICHARDSON, LISA                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
RICHARDSON, LISA                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
RICHARDSON, LISA                LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
RICHARDSON, LISA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
RICHARDSON, LISA                ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660



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Claim Name                       Address Information
RICHARDSON, LUCY                THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                FERRARO, JR, JAMES L MIAMI FL 33131
RICHARDSON, MARION              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RICHARDSON, NATASHA             HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
RICHARDSON, NATASHA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICHARDSON, NORMA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICHARDSON, PAM                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICHARDSON, PATRICIA            MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
RICHARDSON, PAULETTE            TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
RICHARDSON, RETHA               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RICHARDSON, ROSE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RICHARDSON, ROSE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICHARDSON, ROSE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RICHARDSON, ROSE                PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
RICHARDSON, SANDRA              THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
RICHARDSON, SHIRLEY             THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
RICHARDSON, SHIRLEY             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RICHARDSON, VERONICA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICHARDSON, VICTORIA            ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
RICHARDSON, WILLIE              MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
RICHBURG, BOBBIE                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
RICHBURG, FAYE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RICHBURG, KIMBERLY              THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
RICHE, ALISE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICHEY, JOY                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
RICHEY, JUDITH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICHEY-HARRIS, PATSEY           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RICHMOND, GEORGIANA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RICHMOND, LATOSHA               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
RICHMOND, MARY                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
RICHMOND, POLLY                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
RICHTER, CARLA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RICHTER, CASSANDRA              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RICHTER, LANETTE                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RICHTER, LYNN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231


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Claim Name                          Address Information
RICHTER, MARY                      NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                   BERMAN, W. STEVE NEW YORK NY 10118
RICK, BARBARA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
RICK, BARBARA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICK, BARBARA                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RICKER, CHERYL                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
RICKER, DEBRA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICKETTS, ANGELA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICKETTS, CONNIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
RICKETTS, KATHLEEN                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                   75202
RICKETTS, KATHRYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICKETTS, TALISSA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICKMAN, NANCY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICKS, COLLEEN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
RICKS, COLLEEN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICKS, COLLEEN                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RICKS, KINYUADA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
RICO, AMY                          BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                   ROBERT BRENT LOS ANGELES CA 90024
RICO, CARLA                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
RICO, DIANE                        GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
RICO, DIANE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RICO, DIANE                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RICO, DIANE                        PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
RICO, LILLIE                       SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                   07102-4573
RICO, LILLIE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
RICO, LILLIE                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RICO, LILLIE                       PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
RICO, MARIA                        JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                   77002
RICO-SCHLEGEL, CARMEN              BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
RIDDEL, LISA                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
RIDDLE, JANIS                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIDDLE, LUCILLE                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
RIDENER, JANET                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIDENOUR, CORINA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
RIDENOUR, DOROTHA                  ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                   ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
RIDEOUT, KIMBERLY                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102


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Claim Name                               Address Information
RIDEOUT, RITA                            FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
RIDER, CAMI                              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIDER, KELLY                             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
RIDGE, DEBRA                             MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                         KNOXVILLE TN 37929
RIDGES, PATSY                            BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                         30603
RIDLEY, ANTOINETTE                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
RIDLEY, JANE                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIDLEY, YVONNE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIDNER, SHIRLEY                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
RIEBESELL, ANN                           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
RIEBSCHLAGER, JOYCE                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
RIEDERS, SUMMER                          ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RIEGEL, AMY                              LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
RIEGEL, AMY                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
RIEGEL, SANDRA                           POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
RIEGER, BARBARA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
RIEGLER, BONNIE                          GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
RIEKS, MADGE                             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
RIELLY, SUSAN                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
RIENDEAU, PATRICIA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
RIENZO, SUSAN                            JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
RIESER, PATTY                            ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
RIFFE, LYNEITA                           POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
RIFFEL, CHRISTINA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIGAS, FAIDRA                            GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
RIGBY, CAROL                             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
RIGBY, CAROL                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
RIGGIN, VERONICA                         DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                         63102
RIGGINS, DEBRA                           GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
RIGGINS, JODI                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIGGINS, LORI M EST OF MAGDALENE BRACE   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
RIGGINS, PATRICIA                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
RIGGINS, PATRICIA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
RIGGINS, PATRICIA               MEADOWS, TED G. MONTGOMERY AL 36104
RIGGIO, JEANNETTE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIGGIO, LENA                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
RIGGIO, MARIA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RIGGS, ALICIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIGGS, JENNIFER                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIGGS, ROSANNE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
RIGGS, THREASE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIGGS, TORESA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RIGGS-STEPHENSON, EMILY         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIGLER, MARIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIGOR-FERNANDES, MARIE          CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
RIGSBY, BRENDA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
RIGSBY, DORIS                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIHANI, LOIS                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
RIKSVOLD, STEPHANIE             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RILEY, AMISSA                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
RILEY, AVA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RILEY, BARBARA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RILEY, CHRISTINA                COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
RILEY, CHRISTINA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
RILEY, CYNTHIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RILEY, DEBORAH                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RILEY, DENISE                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
RILEY, DENISE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RILEY, GENA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RILEY, ILA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RILEY, LISA                     THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
RILEY, MARY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RILEY, ROSETTA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RILEY, SHELDON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RILEY, SHERRY                   WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
RILEY, TAYLOR                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
RILEY, TERESA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RIMP, PAULINE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                       Address Information
RIMP, PAULINE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIMP, PAULINE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RIMP, PAULINE                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
RIMP, PAULINE                   KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
RINALLO, THERESA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RINCON, DOLORES                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RINEHART, VICKIE                ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
RINEY, ELIZABETH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RING, DEBBIE                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 TREVINO, MARGOT CUBBERLY
                                WALT BRAHMBHATT SEJAL K HOUSTON TX 77017
RING, DEBRA                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
RING, DIANNA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RINGBAUER, THEA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RINGBAUER, THEA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RINGBAUER, THEA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RINGBAUER, THEA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
RINGENER, JANIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RINGER, EDITH                   KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
RINGER, EDITH                   LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
RINGER, KATHRYN                 THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
RINGGENBERG, VERLENE            ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
RINGLE, PATRICIA                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
RINGWALD, ZOE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
RINKS, LACEY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RINNIX, JAMISHA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RINWALSKE, IDA                  MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
RION, RUBY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RION, RUBY                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RION, RUBY                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
RIOPEDRE, ROSA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
RIORDAN, PATRICIA               DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
RIOS, CECILIA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
RIOS, CHERYL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIOS, CLAUDIA                   WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
RIOS, DEBRA                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
RIOS, ESTHER                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
RIOS, JOSIE                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017


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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
RIOS, MELISSA                   THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
RIOS, RACHEL                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RIOS, ROSEMARY                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RIOS-ALVARADO, ANNA             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RIOS-SAMUELS, MELISSA           WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
RIPKA, BETTY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RIPKA, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIPLEY, JULIA                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
RIPLEY, MARGARET                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
RIPPEE, DIANE                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
RIPPERTON, PATRICIA             WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
RIPPIE, MARGARET                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
RIPPIE, TERESA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RISBERG, NANCY                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RISBERG, NANCY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RISCO, ROSARIO                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RISCOE, JANICE                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
RISEMAS, DARLENE                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RISER, DOROTHY                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
RISLEY, HOPE                    HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
RISLEY, HOPE                    CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
RISNER, REBECCA                 JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
RISNER, SHANDA                  SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
RISSLER, SONYA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RIST, MARY                      LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
RISTAU, SUSAN                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RITA NALICK                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC PUTNICK, MARY ELIZABETH 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
RITCHEY, CAROL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RITCHEY, TONYA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RITCHIE, BOBBIE-JO              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RITCHIE, CARIE                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,


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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
RITCHIE, CARIE                  EVAN D. EDWARDSVILLE IL 62025
RITCHIE, CHERYL                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
RITCHIE, CINDY                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RITCHIE, CINDY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RITCHIE, CINDY                  MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
RITCHIE, JUDY                   BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
RITCHIE, MAE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RITCHIE, STEPHANIE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RITCHIE, TINA                   COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
RITCHIE, TINA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RITCHIE, TINA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RITCHIE, TINA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
RITCHIE, TINA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
RITENOUR, VIOLA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RITENOUR, VIOLA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RITSON, ROSE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RITTENHOUSE, LISA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RITTER, BRENDA                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
RITTER, MARJORIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RITTER, MARJORIE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RITTER, MARJORIE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
RITTER, PATRICIA                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
RITZ, BETTY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RITZEN, SUSAN                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
RIVA, BROOKE                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
RIVAS, AIDA                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
RIVAS, IRENE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RIVAS, NELDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIVAS, OLIVIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIVER, WILHELMINA               NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
RIVERA, AMELIA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
RIVERA, ANA                     THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
RIVERA, ANNETTE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RIVERA, AUREA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103


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Claim Name                       Address Information
RIVERA, BRENDA                  MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
RIVERA, DONNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIVERA, ELIZABETH               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIVERA, EVELISSE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIVERA, FRANCES                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RIVERA, JUANITA                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
RIVERA, KATHERINE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
RIVERA, LESLIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIVERA, LUZ                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RIVERA, LUZ                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
RIVERA, MAGDALIA                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
RIVERA, MARGARITA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIVERA, MARIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIVERA, MARTHA                  ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
RIVERA, OLGA                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
RIVERA, OLGA                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
RIVERA, OLGA                    LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
RIVERA, OLGA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
RIVERA, OLGA                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
RIVERA, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIVERA, PRISCILA                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
RIVERA, SAMANTHA                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
RIVERA, SHEILA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RIVERA, VIRGINIA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
RIVERA, VIRGINIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RIVERA, WANDA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RIVERA, YAMILETTE               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RIVERA, YAMILETTE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RIVERA-FRENCH, LISA             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RIVERO, MAGALY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RIVERS, BRENDA                  MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929



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Claim Name                       Address Information
RIVERS, DIANE                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
RIVERS, JOAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIVERS, JUDITH                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RIVERS, MARGIE                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
RIVERS, VETRESS                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIVET, DEBORAH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RIVET, DEBORAH                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
RIVET, DEBORAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIVET, DEBORAH                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RIVET, DEBORAH                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
RIVIERA, DANIELLE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIYADH, SULMA                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
RIYADH, SULMA                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
RIZZI, PAMELA                   CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
RIZZO, DOROTHY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RIZZO, EVA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RIZZO, MARY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RIZZO, SUZETTE                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
RIZZO, THERESA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ROACH, JOANN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROACH, MARY                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ROACH, MOLLI                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ROALEF, CAROLE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ROALEF, CAROLE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROAN, BONNIE                    GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
ROAN, BONNIE                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ROANE, LINDA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROANE, VONNE                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ROARK, LAURA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ROARK, MARTHA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROATH, DEBORAH                  LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
ROBALLO, MARIA                  JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
ROBB, ANITA                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ROBB, DENISE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
ROBBINS, AILEAN                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ROBBINS, BEVA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROBBINS, CARMELITA              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ROBBINS, CHARLOTTE              NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
ROBBINS, GWENDOLYN              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ROBBINS, GWENDOLYN              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROBBINS, JANICE                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
ROBBINS, KAY                    SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
ROBBINS, KIMBERLEE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBBINS, LINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBBINS, PATRICIA               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
ROBBINS, PATRICIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROBBINS, TIFFANIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBBINS-GAGICH, BELINDA         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBEN, DEBROAH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROBEN, DEBROAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBEN, DEBROAH                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ROBEN, DEBROAH                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ROBERGE, BONNIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROBERSON, ANITA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ROBERSON, ANITA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROBERSON, BARBARA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERSON, BETTY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERSON, CATHERINE             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROBERSON, CHARLOTTE             KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
ROBERSON, CONNIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERSON, TERESA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROBERTIELLO, DOROTHY            GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
ROBERTS, AMANDA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ROBERTS, AMANDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
ROBERTS, AMANDA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ROBERTS, AUDREY                 MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 09006



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                                       LTL Management LLC
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Claim Name                       Address Information
ROBERTS, BRANDY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROBERTS, BRENDA                 SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
ROBERTS, CAROL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERTS, CAROL                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROBERTS, CAROLINE               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ROBERTS, CARRIE                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
ROBERTS, CARRIE                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ROBERTS, CARRIE                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ROBERTS, CATHERINE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROBERTS, CHERIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROBERTS, CHERRIN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERTS, CHERYLL                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR. MARK P. KAR NEWPORT BEACH CA 92660
ROBERTS, DEBORAH                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ROBERTS, DEBORAH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROBERTS, DIANA                  LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
ROBERTS, ELSIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERTS, EVA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ROBERTS, HELEN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERTS, IRENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERTS, IRMA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERTS, JACKIE                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
ROBERTS, JANE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERTS, JO                     WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
ROBERTS, JOYCE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROBERTS, KAREN                  ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
ROBERTS, KATHERINE              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ROBERTS, KIMBERLEE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERTS, KIMBERLY               GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
ROBERTS, LATISHA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERTS, LINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERTS, LISA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROBERTS, LOULA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERTS, MARCIA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ROBERTS, MARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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                                       LTL Management LLC
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Claim Name                       Address Information
ROBERTS, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERTS, MARY                   WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
ROBERTS, MARY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ROBERTS, MICHELLE               MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
ROBERTS, MICHELLE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERTS, NANCY                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
ROBERTS, NANCY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERTS, NANCY                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ROBERTS, NANCY                  LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
ROBERTS, NANCY                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ROBERTS, NANCY                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
ROBERTS, ODUSCO                 DALIMONTE RUEB, LLP DALIMONTE, J., ORENDI, J. & RUEB, G. 1250 CONNECTICUT
                                AVENUE NW, SUITE 200 WASHINGTON DC 20036
ROBERTS, PATRICE                WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
ROBERTS, PATRICIA               SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
ROBERTS, PATRICIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROBERTS, PATRICIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROBERTS, PAULINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERTS, PEGGY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERTS, PENELOPE               WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
ROBERTS, PHYLLIS                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERTS, RAMONIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERTS, REBECCA                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
ROBERTS, REBECCA                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ROBERTS, REBECCA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ROBERTS, SANDRA                 NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
ROBERTS, SHAMECA                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
ROBERTS, STACY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROBERTS, SUE                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ROBERTS, SYLVIA                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
ROBERTS, TABITHA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROBERTS, TAMARA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296



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                                                  List
                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
ROBERTS, TERRI                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ROBERTS, TERRI                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROBERTS, TIFFANY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROBERTS, TIMMI                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ROBERTS, TONI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERTS, TRACY                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ROBERTS, TRACY                  TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
ROBERTS, WENDI                  SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
ROBERTSON, ANITA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ROBERTSON, ANNIE                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
ROBERTSON, BELINDA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROBERTSON, CAROLYN              GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
ROBERTSON, DENISE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROBERTSON, DOLORES              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROBERTSON, DREMA                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
ROBERTSON, GEORGETTE            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROBERTSON, JANICE               COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 SANDIFER, TAKEENA T. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
ROBERTSON, JUDY                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ROBERTSON, JUNE                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
ROBERTSON, KIM                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROBERTSON, LORIE                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ROBERTSON, MARY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERTSON, NANCY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERTSON, NUVIA                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ROBERTSON, PAMELA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERTSON, PATRICIA             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ROBERTSON, SHANNON              LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
ROBERTSON, SHIRLEY              FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD MCDOWELL, DARREN LUFF, PATRICK -
                                PLUFF2FNLAWFIRM.C DALLAS TX 75231
ROBERTSON, TINA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBERTSON-WOODCOOK, SALLY       FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
ROBESON, BECKY                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102



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                                                LTL Management LLC
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Claim Name                                Address Information
ROBESON, BECKY                           LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ROBESON, BECKY                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ROBIN RUSSO                              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                         STREET, SUITE 200 PENSACOLA FL 32502
ROBINS, JERRY                            MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                         YORK NY 10017
ROBINS, NEDRA                            MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                         ORLEANS LA 70130
ROBINSON CALCAGNIE ROBINSON SHAPIRO      DAVIS; KARAVATOS, LUKEI, ROBINSON, COLLINS; 19 CORPORATE PLZ DR NEWPORT BEACH
                                         CA 92660
ROBINSON, ADELINE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
ROBINSON, ALICE                          GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                         PA 19102
ROBINSON, ALISIA                         BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
ROBINSON, ANNETTE                        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
ROBINSON, ANNIE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBINSON, BENNIE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
ROBINSON, BEVERLY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBINSON, BRANDY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBINSON, CAROL                          GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ROBINSON, CAROL                          BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                         70130
ROBINSON, CAROL                          TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
ROBINSON, CAROLYN                        FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                         THOMAS ROE NASHVILLE TN 37215
ROBINSON, CHARLENE                       THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
ROBINSON, CHASITY                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                         77098
ROBINSON, CHERYL                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBINSON, CHERYLEE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBINSON, CLAIRE                         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ROBINSON, CLAIRE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
ROBINSON, CORA                           CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                         CHICAGO IL 60602
ROBINSON, CORINE                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
ROBINSON, CYNTHIA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
ROBINSON, DIANN                          GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ROBINSON, DONNA                          ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ROBINSON, DONNA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
ROBINSON, DONNA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
ROBINSON, DORIS                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
ROBINSON, EARLINE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
ROBINSON, ERNA                  SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
ROBINSON, ERNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROBINSON, ERNA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ROBINSON, ERNA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ROBINSON, FELICIA               KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
ROBINSON, FELICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBINSON, FELISHA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBINSON, FLEESA                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
ROBINSON, GLAYDS                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
ROBINSON, GLORIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBINSON, GRACITA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBINSON, HELEN                 SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
ROBINSON, JANET                 LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
ROBINSON, JENNIFER              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBINSON, JOAN                  ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
ROBINSON, JOAN                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
ROBINSON, JOYCE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBINSON, KATHY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBINSON, KELSEY                HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
ROBINSON, LAKISHA               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ROBINSON, LANNIE                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ROBINSON, LANNIE                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
ROBINSON, LEAH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROBINSON, LEAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBINSON, LEAH                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ROBINSON, LENORA                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ROBINSON, LENORA                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
ROBINSON, LIANE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROBINSON, LILA                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ROBINSON, LILA                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
ROBINSON, LINDA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ROBINSON, LINDA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ROBINSON, LISA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017



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                                            LTL Management LLC
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Claim Name                            Address Information
ROBINSON, LORETTA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBINSON, LUCILLE                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ROBINSON, LUCILLE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
ROBINSON, MARSHA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBINSON, MARY                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
ROBINSON, MARY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBINSON, MARY                       THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
ROBINSON, MELISSA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                     ORANGE VA 02296
ROBINSON, MILLARD AND ROBINSON,      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
MIREILLE                             HILL NJ 08002
ROBINSON, MITZI                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBINSON, NAN                        DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                     ANTHONY ST. LOUIS MO 63102
ROBINSON, NAN                        LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ROBINSON, NAN                        LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                     MANHATTAN BEACH CA 90266
ROBINSON, NAN                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                     ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ROBINSON, NAN                        ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                     S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
ROBINSON, OZELLA                     ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                     FELLER, JOEL J. PHILADELPHIA PA 19103
ROBINSON, PAMELA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBINSON, PATRICIA                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                     ANTHONY ST. LOUIS MO 63102
ROBINSON, PATRICIA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ROBINSON, PATRICIA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                     ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ROBINSON, PAULA                      JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                     77002
ROBINSON, RACHEL                     FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
ROBINSON, REYNA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
ROBINSON, ROBERTA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ROBINSON, ROBIN                      WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                     BOUNDAS, JOHN T. HOUSTON TX 77017
ROBINSON, RUTH                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
ROBINSON, RUTH                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                     77098
ROBINSON, SANDRA                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ROBINSON, SANDRA                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                     14202-3725
ROBINSON, SANDRA                     FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD MCDOWELL, DARREN LUFF, PATRICK -
                                     PLUFF2FNLAWFIRM.C DALLAS TX 75231
ROBINSON, SERENA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBINSON, SHERI                      LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                     MANHATTAN BEACH CA 90266
ROBINSON, SHERI                      ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,



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                                       LTL Management LLC
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Claim Name                       Address Information
ROBINSON, SHERI                 S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
ROBINSON, SHERRI                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
ROBINSON, SHERRI                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ROBINSON, SHERRI                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ROBINSON, SHERRY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROBINSON, SHIRLEY               HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
ROBINSON, TAHIRAH               FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD RAGGIO, JOHN LUFF, DALLAS TX 75231
ROBINSON, TASHA                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
ROBINSON, TASHA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBINSON, TASHA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ROBINSON, TASHA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ROBINSON, TELISHA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBINSON, TERESA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBINSON, TERRI                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROBINSON, THELMA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBINSON, TRACY                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ROBINSON, TWANNA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ROBINSON, VANESSA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBINSON, WILLYE                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
ROBINSON, YVONNE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROBINSON-GRIM, ADDIE            GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
ROBINSON-HORTON, GAIL           CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ROBINSON-HOUGH, MARLENE         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBINSON-MIODOVSKI, MOLLIE      DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
ROBISHAW, NINA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROBISON, JULIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBISON, PATRICIA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ROBLES, ELAINE                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ROBLES, ELAINE                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
ROBLES, MARYANN                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ROBLES, VIRGINIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROBOZ, MANIRVA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROBY, ALICE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROBYN RABALAIS                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119


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Claim Name                       Address Information
ROCCI, DIANA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROCCO, ALICIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROCCO, ARLYN                    ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
ROCCO, CATHERINE                SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
ROCCO, MARGARET                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROCHA, DYMPHNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROCHE, JEANMARIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROCHELEAU, KIMBERLEY            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROCHELLE ERNZEN                 BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                COMMERCE STREET MONTGOMERY AL 36104
ROCHFORD, PATRICIA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROCK, BONNY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROCKETT, EULA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
ROCKHOLD, DIONNE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROCKHOLD, DIONNE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ROCKHOLD, DIONNE                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ROCKS, PAMELA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROCKS, PAMELA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROCKS, PAMELA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ROCKS, PAMELA                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
ROCKS, PAMELA                   SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
ROCKWELL, MARY                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ROCKWELL, ROSE                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ROCKWELL, TRACY                 SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
ROCKWELL-JOYCE, JOY             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ROCKWOOD, GENEVA                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ROCKWOOD, GENEVA                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
ROCKWOOD, ROSEMARY              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ROCRAY, PATRICIA                JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
RODAS, SANDRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RODDY, BETH                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RODDY, DAISY                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
RODDY, DIANE                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RODDY, DIANE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
RODDY, DIANE                    MEADOWS, TED G. MONTGOMERY AL 36104
RODDY, ROUQUKRIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RODDY, SHONDA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
RODELIUS, DORIS                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RODELIUS, DORIS                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RODEMANN, LYNN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RODEN, ARDELL                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RODEN, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RODER, ANNE                     DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
RODERICK, BARBARA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RODGERS, ARLEAN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RODGERS, LINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RODGERS, MICHELLE               FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
RODGERS, PAULA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RODGERS, SANDRA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RODGERS, SHIRLEY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RODGERS, THERESA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RODGERS, THERESA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
RODGRIGUEZ, BRANDY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RODI, THERESA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RODRICKS, ANDREA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RODRIGUE, CLAUDIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RODRIGUE, DANIELLE              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
RODRIGUES, IRENE                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
RODRIGUEZ, ALISA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RODRIGUEZ, ANDREA               WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
RODRIGUEZ, ANYSSA               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RODRIGUEZ, BERTHA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RODRIGUEZ, BLANCA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RODRIGUEZ, BOBBIE               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
RODRIGUEZ, BONNIE SAVOIE        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RODRIGUEZ, BRANDY               DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
RODRIGUEZ, CATHERINE            NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY



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Claim Name                       Address Information
RODRIGUEZ, CATHERINE            PR 00918
RODRIGUEZ, CELINDA              DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
RODRIGUEZ, CLAUDIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RODRIGUEZ, CYNTHIA              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
RODRIGUEZ, DEBBIE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RODRIGUEZ, DELMY                THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                FERRARO, JR, JAMES L MIAMI FL 33131
RODRIGUEZ, DORA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
RODRIGUEZ, ELIZABETH            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RODRIGUEZ, EMELLY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RODRIGUEZ, EUNICE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RODRIGUEZ, EVELYN               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RODRIGUEZ, EVELYN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RODRIGUEZ, EVELYN               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
RODRIGUEZ, G-ANN                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
RODRIGUEZ, GISELA               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
RODRIGUEZ, GISELA               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
RODRIGUEZ, GRACE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RODRIGUEZ, HOPE                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
RODRIGUEZ, HOPE                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
RODRIGUEZ, IDANIZ               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RODRIGUEZ, IRIS                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
RODRIGUEZ, IRMA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RODRIGUEZ, ISABEL               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
RODRIGUEZ, ISABEL               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
RODRIGUEZ, ISABEL               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
RODRIGUEZ, JANET                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RODRIGUEZ, JASMINE              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
RODRIGUEZ, JASMINE              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RODRIGUEZ, JENNIFER             FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
RODRIGUEZ, JODY                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
RODRIGUEZ, KATHLEEN             HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
RODRIGUEZ, KATHLEEN             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RODRIGUEZ, KATHLEEN             CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
RODRIGUEZ, KATHLEEN             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
RODRIGUEZ, KATHLEEN             MEADOWS, TED G. MONTGOMERY AL 36104
RODRIGUEZ, KATHLEEN             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RODRIGUEZ, KATHLEEN             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RODRIGUEZ, KATHLEEN             PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
RODRIGUEZ, LETICIA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RODRIGUEZ, LILIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RODRIGUEZ, LINDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RODRIGUEZ, LUCY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RODRIGUEZ, MARIA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
RODRIGUEZ, MARIA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
RODRIGUEZ, MARISELA             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RODRIGUEZ, MARITZA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RODRIGUEZ, MARY                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
RODRIGUEZ, MELISSA              MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
RODRIGUEZ, NANCY                WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
RODRIGUEZ, OLGA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
RODRIGUEZ, ORTENSIA             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RODRIGUEZ, PATRICIA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RODRIGUEZ, RUTH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RODRIGUEZ, SHANNON              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RODRIGUEZ, TAMMY                THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
RODRIGUEZ, VERONICA             MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
RODRIGUEZ, VIVIAN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RODRIGUEZ-BENGE, LINDA          GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
RODRIGUEZ-CATO, CARMEN          CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
RODRIGUEZ-GARCIA, LAYNYS        MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
RODUTA, ANNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RODWELL, ALISA                  SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
ROE, BETTY                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROE, DELORES                    GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
ROE, DELORES                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ROE, MERRY                      THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
ROE, MINNIE                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ROE, NANCY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROE, SHERI                      ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.


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Claim Name                       Address Information
ROE, SHERI                      LOUIS MO 63119
ROE, SHERI                      BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
ROEBUCK, YVONNE                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ROEDER, CLANCY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROEMISCH, LISA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROEPENACK, DEWELLYN             MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
ROESCH, BRITTANY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROESCH, JUDITH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROESCHEN, ANNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROESKE, BARBARA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ROESLER, SUSAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROESNER, SHIRLEY                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ROGACH, ROSEANNE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROGACH, ROSEANNE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGACH, ROSEANNE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ROGACH, ROSEANNE                PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
ROGER, DIONICIA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ROGER, DIONICIA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ROGERS, ALICE                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ROGERS, ALICE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ROGERS, ALLISON                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGERS, AMY                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ROGERS, ANNIE                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
ROGERS, BONNIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGERS, CAMILLE                 THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
ROGERS, CARRIE                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ROGERS, CHARLOTTE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGERS, CHERYL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGERS, CYNTHIA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ROGERS, DELORES                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGERS, DIANA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGERS, DONNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGERS, DONNA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ROGERS, DONNA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ROGERS, DOROTHY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROGERS, DOROTHY                 HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101


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Claim Name                       Address Information
ROGERS, ELAINE                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ROGERS, ELAINE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROGERS, FRANKIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGERS, GLORIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGERS, GWENDOLYN               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ROGERS, JANA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROGERS, JANICE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGERS, JESSIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROGERS, JOHNNIE                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ROGERS, JULIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROGERS, KATHY                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
ROGERS, KEMBERLY                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
ROGERS, KEMBERLY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGERS, KEMBERLY                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ROGERS, KEMBERLY                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ROGERS, LATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGERS, LAURIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGERS, LINDA                   MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
ROGERS, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROGERS, LORETTA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
ROGERS, LORETTA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ROGERS, LORETTA                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
ROGERS, LORETTA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ROGERS, LORETTA                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
ROGERS, LUANNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROGERS, MARGARET                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGERS, MARGIE                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ROGERS, MARILYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROGERS, MARJORIE                BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
ROGERS, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGERS, MARY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROGERS, MYRTLE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGERS, NICOLE                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ROGERS, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGERS, PHYLLIS                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                              Address Information
ROGERS, REBECCA                        HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
ROGERS, ROBIN                          ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ROGERS, ROBIN                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ROGERS, ROSEMARIE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGERS, SALLIE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGERS, SANDRA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGERS, SHANNON ESTATE OF JACK GARRISON WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
ROGERS, SHARRON                        WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
ROGERS, SHEILA                         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ROGERS, SHEILA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ROGERS, SHENITA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGERS, SHIRLEY                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
ROGERS, STACY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGERS, SUSAN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGERS, VALLERIE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGERS, VICKI                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGERS, VICKIE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROGGENBURG, LINDA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ROGIENSKI, ARLENE                      SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
ROGIER, GAIL                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ROGOWSKI, SUSAN                        WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
ROHANI, LEILA                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
ROHLMAN, ELAINE                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
ROHLMAN, ELAINE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ROHR, CATHERINE                        WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
ROHRER, LAVERNE                        FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ROJAS, ANNA                            FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ROJAS, CLAUDIA                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
ROLAND, BERNICE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROLAND, LETITCIA                       SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                       07102-4573
ROLAND, LETITCIA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ROLAND, LETITCIA                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ROLAND, LETITCIA                       PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ROLAND, RAMONA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROLDAN, DEBORAH                        WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
ROLES-MEIER, TERESA                    DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                       KANSAS CITY MO 64196


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                                       LTL Management LLC
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                                                  List
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Claim Name                       Address Information
ROLEY, KYMBAL                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ROLFE, LYNN                     HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
ROLFER, LAURIE                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ROLLAND, CHERYL                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ROLLAND, JANE                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
ROLLE, VERA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROLLER, BONNIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROLLER, DAWN                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ROLLER, VERONICA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROLLING, LAURELL                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROLLING, VIRGINIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROLLINGS, LEIGH-ANN             SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
ROLLINS, KELLIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROLLINS, KELLIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROLLINS, KELLIE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ROLLINS, KELLIE                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
ROLLINS, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROLLINS, SHARON                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROLLINS, TAMINA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROLLSTIN, CHRISTAL              HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
ROLOFF, PHYLLIS                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ROLPH, MARYANN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROMA, ELEANOR                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
ROMAN, ANISSA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROMAN, ANNA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROMAN, CARMEN                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ROMAN, CINDY                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ROMAN, DORIS                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROMAN, EVELYN                   SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
ROMAN, GLADYS                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROMAN, JACQUELINE               THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
ROMAN, MARIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROMAN, MARISOL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROMAN-VILLADA, MAYLEE           DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ROMANCHOK, MARY                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW


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Claim Name                       Address Information
ROMANCHOK, MARY                 YORK NY 10017
ROMANO, CHERYL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROMANO, DEBORAH                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ROMANO, DOREEN                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
ROMANO, ELIZABETH               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROMANO, FILOMENA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ROMANO, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROMANOFSKI, LORA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROMANS, CAROLYN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROMANSKI, CATHERINE             MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
ROMBOLA, IDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROME, JUDITH                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ROMEO, NOREEN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROMERO, ANGELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROMERO, CASSANDRA               THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
ROMERO, CHASITY                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
ROMERO, EVELYN                  JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
ROMERO, JACKIE                  ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
ROMERO, JULIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROMERO, LISA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROMERO, LUCY                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ROMERO, MATILDA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROMERO, ROSALINDA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROMERO, YVETTE                  BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
ROMIOUS, CHARITA                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
ROMMELL, SUSIE                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
RONA PERROTTA                   SULLO & SULLO, LLP SULLO, ANDREW F. 2020 SOUTHWEST FWY. SUITE 300 HOUSTON TX
                                77098
RONDA, ZULMA                    SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
RONDA, ZULMA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RONDA, ZULMA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RONDA, ZULMA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
RONDON, RHONDA                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
RONEY, KECIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
RONEY, KECIA                    MEADOWS, TED G. MONTGOMERY AL 36104
RONEY, LISA                     MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
RONEY, MADELINE                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
RONGERO, ESTER                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
ROOD, CLARA                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ROOD, CLARA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROOHAN, JANICE                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ROOHAN, JANICE                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
ROOKER, LESLIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROOKS-BURKIT, CYNTHIA           KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
ROONEY, DARLENE                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ROONEY-COTTRELL, CAROLYN        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROOP, BRENDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROOT, KORRI                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROOT, LINDA                     BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ROOT, MARY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROOTE, CHERYL                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ROOTE, CHERYL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROPELE, ANGELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROPER, ELIZABETH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROPER, ELIZABETH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROPER, ELIZABETH                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ROPER, ELIZABETH                PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
ROPER, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROPER, VERONICA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RORRISON, PATRICIA              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ROSA FLORENTINO                 DAVIS, BETHUNE & JONES, L.L.C. DAVIS, GRANT L. 1100 MAIN STREET, SUITE 2930
                                KANSAS CITY MO 64196
ROSA, NORA                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ROSADO, MARTHA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROSADO, SANTOS                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROSALES, CHRISTINE              ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
ROSARIO, EVELYN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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Claim Name                       Address Information
ROSARIO, EVELYN                 75231
ROSARIO, MARILYN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSARIO, MELINDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSARIO, RITA CAUSSADE          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
ROSARIOEREYES, PAMELA           LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
ROSAS, GLORIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROSATO, FRANCES                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSATO, MARIA                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ROSATO, MARIA                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
ROSBERG, KENNALY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROSBROOK, LISA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ROSCOE, DIANA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROSCOE, EALEEN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSCOE, KIMBERLY                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
ROSE BROWN                      FLETCHER V. TRAMMELL TRAMMELL, FLETCHER V 3262 WESTEIMER, SUITE 423 HOUSTON TX
                                77098
ROSE, AMBER                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROSE, ARLENE                    KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
ROSE, ARLENE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSE, ARLENE                    LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
ROSE, ARLENE                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ROSE, CHERAE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSE, CHERYL                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROSE, CHRYSTAL                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ROSE, ELIZABETH                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ROSE, FERRANTI                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ROSE, FERRANTI                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROSE, IRENE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSE, JAMIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSE, JANET                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ROSE, JOYCE                     POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
ROSE, KAREN                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
ROSE, KAREN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSE, KAREN                     LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
ROSE, KAREN                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ROSE, KAREN                     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660


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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
ROSE, KAREN                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ROSE, KRISTY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROSE, LIZZIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSE, MARCIA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROSE, MARIANNE                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ROSE, MARVELLA                  LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
ROSE, MARY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSE, MEGAN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSE, MINDY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROSE, NAKETA                    SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
ROSE, REBECCA                   TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
ROSE, REBECCA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSE, ROSIE                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
ROSE, SUSAN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROSE, SUSAN                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ROSE, SUSAN                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ROSE, SYLVIA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ROSE, SYLVIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROSE, TINA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSE, VALERIE                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ROSE, VICKY                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ROSE-BUCHANAN, ENID             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROSECRANS, RENEE                ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                WASHINGTON DC 20006
ROSECRANS, RENEE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
ROSEFELD, JOSEPHINE             BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ROSELL, ELIZABETH               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSELLE, PAMELA                 FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD RAGGIO, JOHN LUFF, DALLAS TX 75231
ROSELLO, DARBY                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
ROSELYN MCMAHON                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
ROSEMAN, LYN                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ROSEMARIA YORK                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101



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Claim Name                              Address Information
ROSEMARY, BROOKS                       POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
ROSEN, HILDEGARD                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
ROSEN, JULLIAN                         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ROSEN, JULLIAN                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ROSEN, LYNN                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ROSENBARGER, LINDA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ROSENBARKER, KIMBERLY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ROSENBAUER, DEBRA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSENBERG, AUDREY                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ROSENBERG, AUDREY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ROSENBERG, CATHLEEN                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ROSENBERG, JUDITH                      WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                       NJ 08002
ROSENBERG, MARSHA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
ROSENBERGER, GLORIA                    EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP EICHEN, BARRY R. - KELLY, JOHN P - 40
                                       ETHEL ROAD EDISON NJ 08817
ROSENBERGER, SUE                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ROSENBLUM, LINDA & EST OF BARRY G      ROSENBLUM, MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23
                                       FLOOR NEW YORK NY 10017
ROSENBLUM, MALKA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSENCRANCE, MARIAN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
ROSENDIN, KATHLEEN                     BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                       CA 92660
ROSENSTEEL, CRYSTAL                    SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
ROSENSWAIKE, BARBARA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSENTHAL, CARMEN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSENTHAL, LINDA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ROSENZWEIG, ROBIN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSETH, KANDY                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
ROSETTI, CATHY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSICK, ELAINE                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
ROSINSKI, BARBARA                      BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                       CA 92660
ROSINSKI, CHRISTINE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
ROSKI, JOYCE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSKOP, MARGARET                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
ROSPOND, GABRIELA                      MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
ROSQUETTE, KATHRYN                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN



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                                          LTL Management LLC
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Claim Name                          Address Information
ROSQUETTE, KATHRYN                 STREET, SUITE PENSACOLA FL 32502
ROSS FELLER CASEY, LLP             1 LIBERTY PL,1650 MARKERT ST,#3450 J FELLER, M CASEY, R ROSS,C FELLER
                                   PHILADELPHIA PA 19103
ROSS, AMBER                        GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
ROSS, ANISSA                       WEITZ & LUXENBERG RELKIN, ELLEN & SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE
                                   210 CHERRY HILL NJ 08002
ROSS, ANN                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
ROSS, BERTHA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSS, BETSY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
ROSS, BETTY                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
ROSS, BETTY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
ROSS, CAROL                        MOTLEY RICE, LLC 50 CLAY STREET, SUITE 1 ORENT, JONATHAN D. MORGANTOWN WV
                                   26501
ROSS, CHRISTINE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
ROSS, CINDY                        DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ROSS, CRISTYNE                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
ROSS, DOROTHY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSS, ESTHER                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSS, GAIL                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
ROSS, GRACE                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
ROSS, GRACE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
ROSS, GRACE                        WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
ROSS, HELEN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSS, IDELLA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSS, JEWEL                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
ROSS, KEELE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSS, LAMEASIA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSS, LAURA                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
ROSS, LUZVIMINDA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
ROSS, LYNN                         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ROSS, LYNN                         BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                   70130
ROSS, LYNN                         BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                   75202
ROSS, MARILYN                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
ROSS, MARY                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
ROSS, MATTIE                       ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006



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Claim Name                              Address Information
ROSS, MATTIE                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ROSS, MATTIE                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
ROSS, NICOLE                           THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
ROSS, PAMELA                           GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                       EDWARDSVILLE IL 62025
ROSS, PATRICIA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
ROSS, ROSA                             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
ROSS, SHARLINDA                        MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
ROSS, SHERRY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ROSS, SUSAN                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSS, TAMMY                            GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ROSS, TONI                             THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                       CHARLESTON WV 25301
ROSS, VERONIKA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ROSS, VICKI                            KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
ROSS, VIRGINIA                         CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
ROSS, WANDA                            BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
ROSS,NEIL W. ESTATE OF NANCY ELLEN ROSS WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
ROSS-DUSKIN, PATRICIA                  BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                       30603
ROSS-JOHNSON, IDA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSSER, BRENDA                         ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                       ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
ROSSER, VICKI                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ROSSER-LEWIS, HELEN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSSEY, MARYANN                        BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                       70130
ROSSI, DENISE                          WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
ROSSI, LISA                            BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
ROSSIGNOL, SONYA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ROSSMAN, HARRIET                       BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                       TX 75219
ROSSOW, CHERYL                         ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                       ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
ROST, PHYLLIS                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ROST-BECK, ANGELA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSTEK, DANIELLE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROSZAK, ROSE                           BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
ROTH, BARBI                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
ROTH, JANEEN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROTH, MARILYNN                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
ROTH, SHERRY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROTH, SUSAN                     DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
ROTHDEUTSCHM, JOSEPH            NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
ROTHSCHILD, KATIE               PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
ROTHSCHILD, LESLIE              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ROTHWELL, EMMA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ROTT, DOREEN                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ROTT, DOREEN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROTTER, LENORA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROUGHTON, KAYLA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROUNDTREE, JUANTA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ROUNSAVILLE, JODY               LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
ROUNSAVILLE, JODY               ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
ROUNSLEY, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROUSE, ADRIENNE                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ROUSE, ANNA                     NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
ROUSE, ELIZABETH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROUSE, GRACE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROUSE, PEGGY                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ROUSE, SALLY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ROUSE, SHERRYANN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROUSH, MAXINE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ROUSSEAU, DEBORAH               THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
ROUSSEAU, MERI-LYN              THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
ROUTH, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROUX, MARY                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ROVITO, YOLANTA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROWE, AMANDA                    THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
ROWE, BECKY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROWE, BRIANNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROWE, CHERYL                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ROWE, CYNTHIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROWE, DEBRA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                         Address Information
ROWE, DEBRA                       MEADOWS, TED G. MONTGOMERY AL 36104
ROWE, DENISE                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ROWE, DENISE                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                  ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ROWE, KIRSTEN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
ROWE, LISA                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
ROWE, LOUANNE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROWE, RAQUEL                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROWE, RAYNEE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
ROWE, ROSEMARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROWE, SHARON                      LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                  SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
ROWE, TRACIE                      WEITZ & LUXENBERG RELKIN, ELLEN & SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE
                                  210 CHERRY HILL NJ 08002
ROWELL, TAMALA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROWLAND, JOYCE                    EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
ROWLAND, KARA                     BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
ROWLAND, LYNNE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROWLAND, SANDRA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                  14202-3725
ROWLAND, SHELLIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROWLAND, SUSAN                    MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
ROWLEY, DARLENE                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                  STREET, SUITE 200 PENSACOLA FL 32502
ROWLEY, PATRICIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROWSER, FREZENA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROWSEY, SYDNEY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROY, ANGELA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROY, CHERYL                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
ROY, CLAIRE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROY, DEBRA                        DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                  63102
ROY, FRANCES                      MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                  ORLEANS LA 70130
ROY, IDA                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
ROY, MARIE                        FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ROY, SHARON                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                  ORANGE VA 02296
ROY, SHEILA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ROYAL, DONNA                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ROYBAL, VICTORIA                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                  ROBERT BRENT LOS ANGELES CA 90024
ROYBAL-SALAZAR, GLORIA            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
ROYSE, SARAH                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
ROZUM, KATHRYN                    ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.


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                                                            Entered 02/17/22 16:31:44             Desc Main
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Claim Name                              Address Information
ROZUM, KATHRYN                         LOUIS MO 63119
RUANE, THERESE                         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RUANE, THERESE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
RUBAGO, ROSANNA                        BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                       70130
RUBATT, DAWN                           HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                       CHRISTOPHER CORPUS CHIRSTI TX 07837
RUBEN, ROXANNE                         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RUBENACKER, RENE                       HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
RUBENSTEIN, SINDY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
RUBIN, ANNE                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUBIN, SHARON                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUBINO, HEATHER                        HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                       AL 03520
RUBIO, ROMELIA                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
RUBY WALKER                            MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
RUBY, KAREN                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUBY, MADELINE                         GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                       EDWARDSVILLE IL 62025
RUCH, DELIA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUCK, VERONICA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUCKER, ALYSSA                         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RUCKER, CARLA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUCKER, DIANDRE ESTATE OF WILLIAM MCGEE WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
RUCKER, GAIL                           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
RUCKER, HARRIETT                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
RUCKER, JEANETTE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUCKER, MARY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
RUCKER, TIFFANY                        DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
RUCKER, TIFFANY                        DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                       KANSAS CITY MO 64196
RUCKER, WILLANNA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUCKH, DELORIS                         DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                       77024
RUDAN, NICOLE                          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                       SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
RUDD, ANGELA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUDEN, XIANGYI                         SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                       01153
RUDMAN, ANKA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUDOFSKY, JOYCE                        DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
RUDOLPH, EILEEN                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
RUDOLPH, LORA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                       Address Information
RUDT, MOLLIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUDY, MADELINE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RUDZINSKI, CHRISTINE            ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RUE, ROXANNE                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
RUE, THERESA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
RUEDA, JULITA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
RUEFF, PAMELA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RUETZLER, SALLY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RUFF, DELORIS                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RUFF, REGINA                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
RUFF, WILLISHA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
RUFFIN, CANARY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RUFFIN, LORETTA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUFFIN, RUTH                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUFFIN, RUTHANN                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
RUFFIN, RUTHANN                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
RUFFIN, RUTHANN                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
RUFFIN, TERRI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUFFIN, THERESA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RUFINO, EVELISA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
RUFUS, NITA                     NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
RUGE, JEAN                      GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
RUGGIERO, MARIE                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
RUGGIERO, MARIE                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
RUHL, TERESA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUHLOW, DEBORAH                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
RUIZ, CYNTHIA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RUIZ, LOLA                      WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
RUIZ, LUCIA                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
RUIZ, LUCIA                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
RUIZ, LUCIA                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
RUIZ, LUCIA                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                LUKEI, SHANNON KARAVATOS, NEWPORT BEACH CA 92660



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Claim Name                       Address Information
RUIZ, MAKI                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
RUIZ, MARITZA                   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
RUIZ, MARY                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RUIZ, MARY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RUIZ, MICHELLE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RUIZ, MICHELLE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RUIZ, PRISCILLA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RUIZ, ROBIN                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RUIZ, VICTORIA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
RUIZ-LAW, MARIA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
RUIZ-LAW, MARIA                 LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
RUIZ-SUTHERLAND, BRUNILDA       GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
RUKA, FAITH                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RULAND, DANA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RULLI, CATHERINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUMBAUGH, DEBORAH               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RUMBAUGH, FERN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUMBLES, CAROL                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RUMMEL, JOYCE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
RUMMELL, SHARON                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUMORE, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUMPH, EVETTE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUMPLE, REGINA                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
RUMRILL, KEVIN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUMSCHLAG, MARILYN              MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                DAVID M. MINNEAPOLIS MN 55404
RUMSEY, GEORGANN                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
RUMSEY, JANET                   JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
RUMSEY, KELLI                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
RUNDAG, KAREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUNDE, BARBARA                  LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
RUNDLE, JEANNE                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
RUNDLE, PAMELA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX



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                                               LTL Management LLC
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                                                             Entered 02/17/22 16:31:44           Desc Main
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Claim Name                              Address Information
RUNDLE, PAMELA                         77007
RUNION, DORETTA                        BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                       75202
RUNKLE, ELIZABETH                      WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
RUNNELS, MICHAEL W & EST OF JIMMY      RUNNELS, MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23
                                       FLOOR NEW YORK NY 10017
RUNYON, STEPHANIE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
RUNYON, STEPHANIE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUNYON, STEPHANIE                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RUNYON, STEPHANIE                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
RUPERT, CHARLOTTE                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
RUPERT, ROSA                           CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
RUPERT-SJOLANDER, DEBRA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
RUPP, DAWN                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
RUPP, JUDY                             ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                       ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
RUPPEL, PETER                          NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                       PR 00918
RUSACKAS, ROBIN                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
RUSH, DONNA                            GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                       EDWARDSVILLE IL 62025
RUSH, ELIZABETH                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
RUSH, FRANCES                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
RUSH, FRANCES                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
RUSH, PATRICIA                         MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                       YORK NY 10017
RUSH, SHIRLEY                          THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
RUSHIA, BARBARA                        ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RUSHIA, BARBARA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
RUSHING, KRISTIE                       ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RUSHING, KRISTIE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
RUSHNOCK, MARY                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
RUSHWORTH, TINA                        SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                       07102-4573
RUSHWORTH, TINA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
RUSHWORTH, TINA                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RUSHWORTH, TINA                        PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
RUSK, PATRICIA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231



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Claim Name                       Address Information
RUSKUSKI, DIANE                 COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
RUSKUSKI, DIANE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 BINSTOCK, MELISSA HOUSTON TX
                                77098
RUSS, BIRGITTA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUSS, SANDRA                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
RUSSAW, TWILA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUSSELL, AMY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUSSELL, ANNA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
RUSSELL, ARIEL                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
RUSSELL, BARBARA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RUSSELL, BARBARA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUSSELL, BRENDA                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
RUSSELL, CAROLYN                WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
RUSSELL, CAROLYN                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
RUSSELL, CAROLYN                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
RUSSELL, CELESTE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUSSELL, HOLLY                  SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
RUSSELL, KAREN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUSSELL, KATHLEEN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUSSELL, KATHRYN                MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
RUSSELL, LATRESA                KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
RUSSELL, LATRESA                LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
RUSSELL, LAURIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RUSSELL, MANDI                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
RUSSELL, MARTHA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RUSSELL, MARTHA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RUSSELL, MARTHA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUSSELL, MARY                   THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
RUSSELL, MARY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
RUSSELL, MELISSA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RUSSELL, MELLONIE               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
RUSSELL, PAMELA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RUSSELL, PAMELA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUSSELL, PAMELA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RUSSELL, PAMELA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768


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                                                          Entered 02/17/22 16:31:44           Desc Main
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Claim Name                           Address Information
RUSSELL, RALENE                     MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
RUSSELL, REBECCA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                    77098
RUSSELL, ROXANNE                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                    77007
RUSSELL, SUSANN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
RUSSELL, SUSANN                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                    MINNEAPOLIS MN 55402
RUSSELL, SUSANN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUSSELL, SUSANN                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RUSSELL, SUSANN                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
RUSSELL, THERESA                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                    ANTHONY ST. LOUIS MO 63102
RUSSELL, THERESA                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
RUSSELL, THERESA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                    ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
RUSSELL, TRUDY                      DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
RUSSELL, YVONNE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUSSELL-MALOW, JANET                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUSSELL-MOSS, NINA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
RUSSO, BARBARA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
RUSSO, CHRISTINE                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                    14202-3725
RUSSO, FRANCINE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
RUSSO, GEORGIANNA                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                    FELLER, CHRISTINE PHILADELPHIA PA 19103
RUSSO, JOAN                         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RUSSO, JOAN                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
RUSSO, LINDA                        DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                    63102
RUSSO, LUCIA EST OF JUDE RUSSO      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                    HILL NJ 08002
RUSSO, PAULA                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                    77098
RUSSO, PHYLLIS                      CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                    14202-3725
RUSSO, SHAWNA                       MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
RUSSOTTI, SUSAN                     NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                    11747
RUSTICO, JEAN                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
RUTH, BRENDA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUTH, CASSANDRA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
RUTH, CHRISTIANNE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                    77098
RUTH, KAY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
RUTH-LETT, NETTI                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUTHERFORD, DIANE               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
RUTHERFORD, MARY                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RUTHERFORD, MARY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RUTHERFORD, MARY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RUTHERFORD, MARY                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
RUTHERFORD, MARY                PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
RUTKOWSKI, JEANNE               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
RUTKOWSKI, JEANNE               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
RUTKOWSKI, JEANNE               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
RUTKOWSKI, LORETTA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RUTKOWSKI, ROXANNE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RUTLAND, DEOLA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RUTLAND, MARGARET               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RUTLEDGE, BILLIE                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
RUTLEDGE, ELAINE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RUTLEDGE, ELAINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RUTLEDGE, JANELL                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
RUTNIK, JANET                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RUTUSHIN, DEBRA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
RUVALCABA, EMERITA              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
RUZGIS, SUSAN                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
RYALS, GEORGIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RYALS, JOY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RYALS, PAMALA                   THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                FERRARO, JR, JAMES L MIAMI FL 33131
RYAN KIRKLAND                   BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                COMMERCE STREET MONTGOMERY AL 36104
RYAN, ALICE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RYAN, BRENDA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
RYAN, CAROL                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RYAN, CAROL                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RYAN, DEBRA                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025


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Claim Name                       Address Information
RYAN, DIANNA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RYAN, ELIZABETH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RYAN, JANIS                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RYAN, JEANNIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RYAN, LILLIAN                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
RYAN, LILLIAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RYAN, LINDA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RYAN, MARIE                     THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                FERRARO, JR, JAMES L MIAMI FL 33131
RYAN, OLIVIA                    TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
RYAN, PATRICIA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
RYAN, RITA                      PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
RYAN, SUSAN                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RYANN-MANN, KATHLEEN            NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
RYANS, EULA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RYBICKI, BONNIE                 WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
RYBICKI, LEONA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
RYDEN, CATHY                    LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
RYDER, JOY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
RYDZINSKI, ADELE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
RYERSON, DAMARIS                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
RYLANT, TANYA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
RYLEY, TINA                     GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
RYSDYK, CHRISTINE               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
RZANCA, MARILYN                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RZANCA, MARILYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
RZEPECKI, RITA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
RZEPECKI, RITA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SAARI, PAMELA                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
SAAVEDRA, SONIA                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SABALA, RITA                    BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660


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Claim Name                       Address Information
SABATINE, LISA                  CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
SABATINO, RANDY                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
SABB, DEBORAH                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SABB, LUBERDA                   FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
SABB, TRANACE                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SABEL, MARGARET                 SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
SABELLA, OLINDA                 KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
SABER, BARBARA                  LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
SABLAN, JULIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SABOE, CINDY                    LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
SABOURIN, MARGARET              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SABOURIN, MARGARET              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SABOURIN, MARGARET              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SACCANY, AMANDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SACCURATO, STEPHANIE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SACHER, HELENE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SACHS, JUDITH                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
SACHS, MARLENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SACHTELBEN, NANCY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SACK, SANDRA                    SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
SACKETT, DAPHNE                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
SACKETT, MARY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SACKRIDER, MARGARET             HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
SACKS, SHEILA                   WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
SADDLER, MARGARET               THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
SADDLER-PHILLIBERT, SONIA       SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
SADLER, BETTY                   MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                DAVID M. MINNEAPOLIS MN 55404
SADLER, MELANIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SADLER, SANDRA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SADLER, SANDRA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SADLER, SANDRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SADLER, SANDRA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SADLER, SANDRA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SADLER, SUZAN                   NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207


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                                          LTL Management LLC
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Claim Name                          Address Information
SADLER, SUZAN                      BERMAN, W. STEVE GREAT RIVER NY 11739
SADOWSKI, CHRISTINE                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
SADOWSKI, SUSAN                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SADWIN, SUE                        WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                   HILL NJ 08002
SAEZ, TATIANA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAFFORD, JENNIFER                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
SAFIER-KAPLAN, CAROL               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
SAFKOS, SUSAN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAFLOR, ELEUTERIA                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                   63101
SAGE, JOYCE                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
SAGO, THERESA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAHIN, NAZLI                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
SAHYOUN, WENDY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
SAI, MARY                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
SAIA, LINDA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAIA, PETER                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
SAJDERA, JOZEFA                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                   PR 00918
SAKCRISKA, ANTOINETTA              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SAKOWSKI, CAROLYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALADYGA, JACQUELYNN               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
SALAMANCA, SILVIA                  KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
SALAMI, DESHONDRA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SALAMIPOUR, MARYAM                 THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                   AZ 08501
SALAMO, HILDA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
SALAMONE, SANDRA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                   EVAN D. EDWARDSVILLE IL 62025
SALAS, ALICE                       GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SALAS, DEENA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALAS, DOLORES                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
SALAS, HOLLY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALAS, SAN                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALAS, SUSANA                      HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
SALAZAR, ALYSSA                    MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
SALAZAR, ANTONIETTA                WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
SALAZAR, CELIA                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                   ANTHONY ST. LOUIS MO 63102
SALAZAR, CELIA                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266


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                                       LTL Management LLC
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Claim Name                       Address Information
SALAZAR, CELIA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SALAZAR, CYNTHIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SALAZAR, DOLORES                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SALAZAR, DOLORES                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
SALAZAR, JANICE                 SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
SALAZAR, JOSEPHINE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SALAZAR, KATHYNA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SALAZAR, LORI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SALAZAR, LORI                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SALAZAR, LORI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALAZAR, LORI                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SALAZAR, LORI                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SALAZAR, MARIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SALAZAR, MARSHA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SALAZAR, MARTHA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SALAZAR, MONICA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SALAZAR, MONICA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SALAZAR, MONICA                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
SALAZAR, MONICA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SALAZAR, MONICA                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
SALAZAR, NORA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALAZAR, PEARL                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SALAZAR, VERONICA               COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 SANDIFER, TAKEENA T. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
SALAZAR-ROYBAL, GLORIA          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALCE, RUTH                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALCEDO, MARIA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SALCIDO, HELEN                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SALDANA, ANNIE                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
SALDANA, ANTHONY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SALDANA, GRACIELA               FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD RAGGIO, JOHN LUFF, DALLAS TX 75231
SALDANA, KAY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALDANA, SANDRA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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Claim Name                       Address Information
SALDANA, SANDRA                 75231
SALDANA-KINTNER, LAURA          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SALDIVAR, JULIA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SALEEM, FRIEDA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SALEEM, FRIEDA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
SALEEN, JESSIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SALEM, NANCY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SALERNO, BARBARA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALERNO, WANDA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SALES, CHARLOTTE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALES, CINDY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALFEN, JONDA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SALGUERO, ELSA                  BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
SALI, JOYCE                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
SALIBA, ROSE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SALIGAN, YAESURI                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SALIMA, FAAIUGA                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
SALINAS, ENRIQUETA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALINAS, JUANA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SALINAS, MARIA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SALISBURY, BRENDA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALKIN, JUDITH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALKO, DENNIS                   NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
SALKOW LAW, APC                 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA 90401
SALLAS, BETH                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SALLEE, JACQUELINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALLEY, JUDY                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
SALLEY, MONTIA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SALLFELDER, WYNELLE             COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
SALLFELDER, WYNELLE             ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SALLING, GILLIAN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALLIS, PAMELA                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
SALLOUM, MAUREEN                LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111



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                                           LTL Management LLC
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                                                          Entered 02/17/22 16:31:44           Desc Main
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Claim Name                           Address Information
SALLY, ASHOK                        GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                    PA 19102
SALLYANN ELIAS                      MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
SALMANS, JULIE                      SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER DANIEL, SINDHU
                                    S. NEWARK NJ 07102-4573
SALMINEN, GEORGIA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SALMON, DEBORAH                     BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                    70130
SALMON, DEBORAH                     BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                    75202
SALMON, JONNIE                      BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                    70130
SALMON, JONNIE                      BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                    75202
SALMON, JUDITH                      MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                    YORK NY 10017
SALMON-MUSSO, LILLIAN               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                    PA 19102
SALOMAO, POLYANA                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                    ANTHONY ST. LOUIS MO 63102
SALOMAO, POLYANA                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SALOMAO, POLYANA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                    ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SALSBERG, RENEE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
SALTER, KAREN                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALTER, KAREN                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SALTER, KAREN                       PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SALTER, MARY                        WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
SALTER, MYLOVE                      LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, STEPHENSON, W. CAMERON 316
                                    SOUTH BAYLEN ST., SUITE 400 PENSACOLA FL 32502
SALTER, RUBY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALTER, WILLIE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALTERS, LAKEYSHA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALTERS, REBECCA                    THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                    ORLEANS LA 70130
SALTERS, SYDNEY                     CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                    ATLANTA GA 30319
SALTERS, TOMMIE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
SALTO, ADELINA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALTPAW, JACQUELINE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALTZ MONGELUZZI & BENDESKY PC      1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA 19103
SALVADOR, ANA                       SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                    77098
SALVADOR, TERESITA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALVATORE, MARY                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                    ORANGE VA 22960
SALVATORE, MARY                     HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                    46290
SALVEMINI, LISA                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                    MINNEAPOLIS MN 55402



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                                       LTL Management LLC
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Claim Name                       Address Information
SALVEMINI, LISA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALVEMINI, LISA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SALVEMINI, LISA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SALVO, LAURA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SALVO, LAURA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SALVO, LAURA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SALVO, LAURA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SALYER, LYNN                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SALYER, YONA                    THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
SALYERS, BARBARA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SALYERS, BARBARA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SALYERS, BRENDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SALYERS, JONELLA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SALYERS, SHELIA                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SALZMANN, JEAN                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SAM, JENNY                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SAMARA, IBTESAM                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SAMAREL, RUTH                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SAMAYOA, CAROLINA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SAMBI, GEMMA                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MCGEE, AMANDA D MANHATTAN
                                BEACH CA 90266
SAMBO, CAROL                    JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
SAMBURSKY, JEAN                 WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
SAMET, HELEN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAMETINI, GLORIA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SAMETINI, GLORIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SAMMONS, SARA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
SAMMONS, SUSAN                  THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
SAMPIETRO, MARY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SAMPLE, BARBARA                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
SAMPLE, DORIS                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SAMPLE, GENA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007


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                                                  List
                                                      Entered 02/17/22 16:31:44             Desc Main
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Claim Name                       Address Information
SAMPLE, MARY                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
SAMPLER, DOREEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAMPLES, BETTY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAMPSON, HANNAH                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SAMPSON, IRIS                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SAMPSON, JO ANN                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SAMPSON, LISA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SAMPSON, PHILANA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAMS, ANETTE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAMS, SCARLETT                  SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
SAMSON, CARLA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAMUEL, CRYSTAL                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SAMUEL, DEBORAH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SAMUEL, HILDA                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
SAMUEL, VAN                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SAMUELS, DEBORA                 MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
SAMUELS, LESIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAMUELS, RACHAEL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAMUELS, VIRGIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAMUELSBARIL, DEBORAH           WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
SAMUELSEN, BARBARA              LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SAMUELSEN, BARBARA              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
SAMUELSON, ROSE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SAMUELU, LIPENS                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SAMURA, KOYA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAN FILIPPO, SARAH              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SAN FILIPPO, SARAH              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAN FILIPPO, SARAH              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SAN FILIPPO, SARAH              PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
SAN FILIPPO, SARAH              SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
SAN JUAN, ELISABETH             JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
SAN NICOLAS, DIANA              THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
SANABRIA, GLADYS                SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
SANBORN, SANDRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANCHEZ, ADELITA                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA


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                                        LTL Management LLC
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Claim Name                       Address Information
SANCHEZ, ADELITA                70130
SANCHEZ, ADELITA                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
SANCHEZ, AIDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SANCHEZ, ALICIA                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
SANCHEZ, AMANDA                 JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
SANCHEZ, ANABEL                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SANCHEZ, ANGELA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SANCHEZ, BRENDA                 ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SANCHEZ, CARMEN                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SANCHEZ, CINDY                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SANCHEZ, CONCEPCION             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANCHEZ, DORA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SANCHEZ, DORELIA                WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
SANCHEZ, FLORENCIA              ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SANCHEZ, GENA                   WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
SANCHEZ, IRENE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SANCHEZ, ISABEL                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SANCHEZ, IVETTE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SANCHEZ, JESUSA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SANCHEZ, JESUSA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SANCHEZ, JUANITA                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
SANCHEZ, JULIE                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SANCHEZ, JULIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SANCHEZ, JULIE                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SANCHEZ, JULIE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SANCHEZ, KAREN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SANCHEZ, KAREN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SANCHEZ, LAURA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANCHEZ, LENA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANCHEZ, LESLIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SANCHEZ, LINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
SANCHEZ, LINDA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SANCHEZ, MARGARET               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANCHEZ, MARIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANCHEZ, MARINA                 SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
SANCHEZ, MARTHA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SANCHEZ, MARTHA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SANCHEZ, MARTHA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. KA NEWPORT BEACH CA 92660
SANCHEZ, MONICA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SANCHEZ, MONICA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SANCHEZ, MONICA                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
SANCHEZ, MONICA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SANCHEZ, MONICA                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
SANCHEZ, NATALIE                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SANCHEZ, NORA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SANCHEZ, PAMELA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SANCHEZ, PURIFICACION           DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SANCHEZ, PURIFICACION           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANCHEZ, PURIFICACION           LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SANCHEZ, PURIFICACION           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SANCHEZ, ROSALINDA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SANCHEZ, ROSELINDA              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SANCHEZ, SHARON                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SANCHEZ, TAMMY                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SANCHEZ, VERONICA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SANCHEZ, YANETH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANCHEZ, YOLANDA                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
SANCHEZ, YUDMILA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANCHEZ, YUDMILA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SANCHEZ, YUDMILA                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SANCHEZ, YVONNE                 MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
SANCHEZ, YVONNE                 KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
SANCHEZ-LOPEZ, SANDRA           ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SANCTIS, MARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SANDAGE, SHARON                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX


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Claim Name                           Address Information
SANDAGE, SHARON                     77007
SANDAU, LEONA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
SANDAU, LEONA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANDAU, LEONA                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SANDAU, LEONA                       PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SANDBERG, GEORGIA                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                    CHARLESTON WV 25301
SANDBORN, MARY                      DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SANDEEN, LAUREN                     MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                    DAVID M. MINNEAPOLIS MN 55404
SANDELIN, LUCY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANDERS PHILLIPS GROSSMAN, LLC      100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY 11530
SANDERS VIENER GROSSMAN, LLP        100 HERRICKS ROAD MINEOLA NY 11501
SANDERS, ANNA                       NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                    11747
SANDERS, BARBARA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANDERS, CAROL                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
SANDERS, DEBORAH                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
SANDERS, DEBRA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANDERS, DENNISE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
SANDERS, DONNA                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SANDERS, EVELINA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
SANDERS, JANET                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
SANDERS, JANICE                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SANDERS, KATHLEEN                   KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
SANDERS, MANOLITA                   HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
SANDERS, MELEIA                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                    LOUIS MO 63119
SANDERS, MELICA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANDERS, MONTERESA                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                    PA 19102
SANDERS, MONTERESA                  LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                    NICHOLAS HIGHTOWER, KRISTIE LAKE CHARLES LA 70601
SANDERS, PATRICIA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                    14202-3725
SANDERS, PATRICIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANDERS, PATTY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANDERS, PAULA                      BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                    70130
SANDERS, PAULA                      BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                    75202
SANDERS, RONDELL                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                    77098
SANDERS, ROSE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANDERS, RUTH                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104


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                                               LTL Management LLC
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Claim Name                              Address Information
SANDERS, SHANNON                       BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                       75202
SANDERS, SHERRI                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SANDERS, TEMETRUS                      THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                       CHARLESTON WV 25301
SANDERS, TINA                          MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                       KNOXVILLE TN 37929
SANDERS, WILLIE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANDERSON, LAURIE                      SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                       07102-4573
SANDERSON, LAURIE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SANDERSON, LAURIE                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SANDERSON, LAURIE                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SANDERSON, ROBIN                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SANDIFER, KATHERINE                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
SANDIFER, MARY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANDLAUFER, DEBORAH                    SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                       07102-4573
SANDLAUFER, DEBORAH                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SANDLAUFER, DEBORAH                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SANDLIN, LORINE                        MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                       YORK NY 10017
SANDLIN, TAMMY                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SANDLIN, THERETHA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SANDMAN, JANET                         CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                       ATLANTA GA 30319
SANDMAN, JANET                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET ZINNS,
                                       SHARON MONTGOMERY AL 36104
SANDMAN, JANET                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANDOVAL, ANGIE                        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SANDOVAL, CYNTHIA                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SANDOVAL, DENICE                       NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                       11747
SANDOVAL, DOLORES                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANDOVAL, GRACIELA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SANDOVAL, JULIE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANDOVAL, KATHIE                       DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                       63102
SANDOVAL, KELLY ESTATE OF PATSY HOCKING WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
SANDOVAL, MARIA                        ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                       ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
SANDOVAL, MILDRED                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SANDOVAL, TANYA                        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN



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Claim Name                                Address Information
SANDOVAL, TANYA                          STREET, SUITE PENSACOLA FL 32502
SANDRA AARON                             BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                         COMMERCE STREET MONTGOMERY AL 36104
SANDRA DONLEY                            BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                         COMMERCE STREET MONTGOMERY AL 36104
SANDRA TONSETH                           WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                         NJ 08002
SANDRETH, VIRGINIA                       SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
SANDS, SWANNA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANDUSKY, LAQUITA                        THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                         MADISON MS 39110
SANDUSKY, LORETTA                        DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                         ANTHONY ST. LOUIS MO 63102
SANDUSKY, LORETTA                        LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SANDUSKY, LORETTA                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SANDUSKY, LORETTA                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         LUKEI, SHANNON KARAVATOS, NEWPORT BEACH CA 92660
SANDWELL, REISHA                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SANFORD, BRANDI                          WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                         BOUNDAS, JOHN T. HOUSTON TX 77017
SANGASTIANO, DONNA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANGER, SARAH                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
SANGUINETTI, MARIA                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
SANJORJO, PERPETUA                       MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                         ARTHUR M. NEW ORLEANS OH 70130
SANNICOLAS, KIMBERLY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
SANNING, CAROL                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
SANNING, CAROL                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANNING, CAROL                           THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SANNINO, SUSAN                           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
SANSHUCK, SHIREEN                        ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
SANTANA, ANN                             FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 EPHRON, MELISSA HOUSTON TX
                                         77098
SANTANA, CARMEN N.                       WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
SANTANA, DELIA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANTANA, MARTHA                          DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SANTANA, ROBERT AND SANTANA, DIANNA      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
SANTANGELO, PATRICIA                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
SANTEE, VALDA                            DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                         63102
SANTEL, SHARYN                           FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SANTELLANA, ELIDA                        JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX



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                                        LTL Management LLC
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Claim Name                       Address Information
SANTELLANA, ELIDA               77002
SANTIAGO, CARMEN                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SANTIAGO, IDELLA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SANTIAGO, IVONNE                LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
SANTIAGO, LESLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANTIAGO, MAYRA                 MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
SANTIAGO, MYRNA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SANTIAGO, NANCY                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
SANTIAGO, SANDRA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANTIAGO, SARA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SANTIAGO, SHANNON               THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
SANTIAGO, TRINA                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
SANTIBANEZ, ALEJANDRA           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SANTILLI, TULLIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SANTO, BARBARA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SANTORA, JANET                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SANTOS, AMELIA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
SANTOS, ANALEXIS                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANTOS, CRISTINA                THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
SANTOS, DOROTHY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANTOS, ELIZABETH               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SANTOS, JUDYTH                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
SANTOS, JUDYTH                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
SANTOS, MARISOL                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
SANTOS, MONINA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
SANTOS, MONINA                  HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
SANTOS, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANTOS, PATRICIA                REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                BINSTOCK, ROBERT J. HOUSTON TX 77027
SANTOYA, GINA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SANVILLE, NANCEE                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SAPAUGH, DEBRA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SAPIDA, RAFFAELA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAPP, DEIDRAE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
SAPP, DEIDRAE                   MEADOWS, TED G. MONTGOMERY AL 36104
SAPP, DEIDRAE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAPP, DEIDRAE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SAPP, DEIDRAE                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SAPP, EULA                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SAPP, EULA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SAPP, JOYCE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAPP, MIRANDA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SAPP, TRACI                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SAPPER, PAULA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SARA AYERS                      BARON & BUDD, P.C. MANN, JONAS 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX
                                75219
SARABIA, JASMINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SARAH MASON                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SARAH, KATHY                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SARANTOPOULOS, CHARLOTTE        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
SARANTOU, AMY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SARANTOU, AMY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SARAPPO, ELAINE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SARCHETTE, SANDRA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SARCHETTE, SANDRA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SARCHETTE, SANDRA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SARCHETTE, SANDRA               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SARCONE, NANCY                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SARCONE, NANCY                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SARDONI, REBECCA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SARGENT, AMBER                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SARGENT, BONNIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SARGENT, DEANNA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SARGENT, OCTAVIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SARIAN, FLORA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SARIANO, MARIA                  BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
SARKADI, SILVIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SARMIENTO, ROSSINIA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SARTAIN, ROBIN                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SARTIN, BETTY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SARVER, DIANE                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098


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Claim Name                       Address Information
SARVEY, VICTORIA                WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
SASAKI, ELENA                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
SASALA, SHANNON                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
SASS, REBECCA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SASSER, SUSAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SASSER, TERRIE                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SATCHELL, VIVIAN                MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
SATCHMEI, BATOUL                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SATHER, PATRICIA                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
SATISON, AUDREY                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SATTERFIELD, PATRICIA           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAUCEDO, CLARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAUCEDO, DELFINA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAUCEDO, MONICA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SAUCEDO, MONICA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAUCEDO, MONICA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SAUCEDO, MONICA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SAUCEDO, MONICA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SAUCEDO, YOLANDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAUCER, LORI                    MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
SAUCIER, KAYLE                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SAUCIER, LEONIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SAUER, SHEILA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SAUL, SCOTTYE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAULNIER, MELISSA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAULSBERRY, CHRISTINE           HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
SAULSBERRY, GENEVA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SAULTER, LEAH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAULTERS, LINDA                 THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
SAUNDERS, DIANA                 MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                YORK NY 10017
SAUNDERS, FRANCES               HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
SAUNDERS, KATHRYN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SAUNDERS, LISSA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SAUNDERS, MILDRED               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAUNDERS, RUBY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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                                               LTL Management LLC
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                                                             Entered 02/17/22 16:31:44           Desc Main
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Claim Name                              Address Information
SAUNDERS, RUBY                         75231
SAUNDERS, SAUNDRA                      MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                       KNOXVILLE TN 37929
SAUNDERS, SHARON                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SAUNDERS, TERESA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAUNDERS, WILMA                        ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                       ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
SAUNDERS, YVONNE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SAUSMAN, LESLIE                        THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
SAUSMAN, SHANNON                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SAUSMAN, SHANNON                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAUSMAN, SHANNON                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SAUSMAN, SHANNON                       PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SAUTER, NANCY                          KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
SAUVAGE, JULIETTE                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
SAUVE, APRIL                           JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                       PAUL MN 55101
SAUVE, EVE                             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SAVA, DANIELA                          ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119
SAVAGE, ANGELA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAVAGE, BETSY AND SAVAGE, JOSEPH       WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                       HILL NJ 08002
SAVAGE, DAWN                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAVAGE, DEBORAH                        THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
SAVAGE, DIANE                          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SAVAGE, DIANE                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
SAVAGE, FRANCES                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAVAGE, IDONIA                         BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                       75202
SAVAGE, JOJEAN                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAVAGE, LAUREN                         JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
SAVAGE, RACHEL                         MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
SAVITSKY, BROOKE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAVITZ, NORMA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SAVOIE, MARY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAVONA, MAUREEN                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
SAVOY, MARGARET                        ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
SAVUSA, ELIZABETH                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAWEZ, SORAYA                          NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                       11747
SAWICKI, STELLA                        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SAWKA, LINDA AND SAWKA, CHARLES A      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY


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Claim Name                              Address Information
SAWKA, LINDA AND SAWKA, CHARLES A      HILL NJ 08002
SAWRIE, BETTY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SAWTELLE, LORRIE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAWYER, BONNIE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SAWYER, BONNIE                         GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                       MINNEAPOLIS MN 55402
SAWYER, BONNIE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAWYER, BONNIE                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SAWYER, BONNIE                         PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SAWYER, DONNA                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
SAWYER, DONNA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SAWYER, DONNA                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
SAWYER, ELIZABETH                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAWYER, ELIZABETH                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SAWYER, ELIZABETH                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
SAWYER, JANIE                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
SAWYER, JOY                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAWYER, KAREN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAWYER, THERESA                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
SAWYER-DEAQUINO, RHONDA                BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
SAWYERS, KAREN                         MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
SAX, CYNTHIA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SAXON, CINDY                           MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                       TAMPA FL 33602
SAYERS, DEBRAH                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SAYLER, SARAH                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAYLES, BERTHA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SAYLES, MONIQUE                        WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                       NJ 08002
SAYLES, OLLIE                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SAYLOR, APRIL                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAYLOR, ESTHER                         GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SAYLOR, GEORGIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAYLOR, KRISTINE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAYLOR, TERESA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SAYLOR, VICKIE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SAYSACKDY, BROOKE                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SCAFF, PAMELA                          ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006


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                                       LTL Management LLC
         Case 21-03032-MBK   Doc 178 FiledService
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                                                  List
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Claim Name                       Address Information
SCAFF, PAMELA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCAFFIDI, SUSAN                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SCAFURI, LORETTA                MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
SCAGLIONE, JOAN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCALA, MARILYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCALES, CHRISTINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCALES, CRYSTAL                 JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
SCALF, TONYA                    HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
SCALF, YANET                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SCALZO, DONNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCANLON, SANDRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCARBERRY, BEATRICE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCARBERRY, TERESA               WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
SCARBOROUGH, JONI               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCARBOROUGH, PAULA              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SCARBOROUGH-OLAGUE, MARY        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCARLATO, THERESA               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SCARLATO, THERESA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCARLET, DESSEREE               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SCARLETT, LILLIE                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SCARLETT, LILLIE                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SCARLETT, LILLIE                LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
SCARLETT, LILLIE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SCARLETT, LILLIE                ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
SCARLETT, SARAH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCARLETT-ROGERS, JANET          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCARLETT-ROGERS, JANET          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SCARLETT-ROGERS, JANET          PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SCARPINO, LORI                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SCARRONE, MICHELLE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCARROW, CONNIE                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
SCATTAREGGAN, LAURA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCATTERFIELD, MELISSA           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCERBO, DONNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHABER, GINGER                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
SCHACK, LYNN                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SCHACKEL, JANEEN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHACKEL, JANEEN                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SCHACKEL, JANEEN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHACKEL, JANEEN                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SCHACKEL, JANEEN                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SCHAEFER, KATHLEEN              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHAEFER, KRISTIN               DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
SCHAEFER, LAURA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SCHAEFER, LORRAINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHAEFER-ROGERS, KRISTIN        FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SCHAEFERLE, JOYCE               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SCHAEFERLE, JOYCE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHAFER, DONNA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SCHAFER, ELLEN                  WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
SCHAFER-FLATT, NATALIE          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHAFFER, JANE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHAFFER, LESLIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHAFFER, LYNDA                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
SCHAFFER, MARY                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SCHAFLE, JOAN                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SCHALIT, ERICA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHAMP, KAREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHANTZ, THERESE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHAPIRO, LIQUN                 MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
SCHAPPERLE, MARGIE              POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                LECKMAN, T MATTHEW BRASLOW CONSHOHOCKEN PA 19428
SCHAPS, SCOTT                   MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                YORK NY 10017
SCHARFSTEIN, HARRIET            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHARP, LEAH                    BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
SCHATTEN-FORREST, KAAYDAH       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SCHATTILLY, TERRY               BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
SCHATTILLY, TERRY               BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
SCHATZ, STEFANI                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SCHAUB, LARA                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY


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                                                  List
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Claim Name                       Address Information
SCHAUB, LARA                    PR 00918
SCHAUB, NORA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHAUB, NORA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SCHAUB, NORA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SCHAUMKEL, ALISI                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHAUR, MARGARET                DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
SCHAUWECKER, JEAN               FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
SCHEELE, SUSAN                  POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                LECKMAN, T. MATTHEW CONSHOHOCKEN PA 19428
SCHEFFER, MARY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHEFFER, TINA                  SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
SCHEFFER, TINA                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
SCHEFTNER, TRACIE               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SCHEFTNER, TRACIE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHEFTNER, TRACIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHEFTNER, TRACIE               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SCHEFTNER, TRACIE               PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
SCHEIDT, CYNTHIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHEIDT, CYNTHIA                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SCHEIDT, CYNTHIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHEIDT, CYNTHIA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SCHEIDT, CYNTHIA                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SCHEINFELD, JANE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHELER, MARCIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SCHELL, HELEN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHELLER, JUDY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHELLING, MARY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHENCK, MARILYN                SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
SCHENCK, VICKIE                 THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
SCHENK, JACQUELINE              DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SCHENK, JACQUELINE              LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SCHENK, JACQUELINE              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SCHENK, LORRAINE                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SCHENK, LORRAINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHENK, TAMMY                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN


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                                       LTL Management LLC
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Claim Name                       Address Information
SCHENK, TAMMY                   STREET, SUITE PENSACOLA FL 32502
SCHENK-GRASSMYER, MARIE         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SCHENKER, PAMELA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHEPIS, KERI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHERER, LORI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHERER, SUSAN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHERER, TAMARA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SCHESSO, JUDITH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHEUER, TERRY                  KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
SCHEUMAN, NORMA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHEUREN, MARGERY               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SCHEXNIDER, DESERIE             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SCHIAVONI, KELLIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHICK, RENEE                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SCHIED, KAREN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SCHIEFER, PAULINE               MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
SCHIFFMAN, EVALYN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHILD, CHRISTINE               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SCHILL, DELORES                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SCHILLING, BARBARA              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SCHILLING, EVY                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SCHILLING, JOANNE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHIMKE, STACIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHIMPF, EVELYN                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SCHINDLER, DIANE                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SCHINDLER, EUGENIA              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SCHINDLER, SAMMIE               HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
SCHINGLE, BRENDA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHIPPERS, DAWN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHIPULA, JOYCE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SCHIRLLS, DENISE                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SCHIRMER, ESTHER                ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
SCHLAHT, CONSTANCE              DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728



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                                       LTL Management LLC
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                                                  List
                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
SCHLARB, TINA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
SCHLEE, BEVERLEY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SCHLEEF, PATRICIA               JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
SCHLEIF, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHLEY, KATHLEEN                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR. MARK P. KAR NEWPORT BEACH CA 92660
SCHLITTER, ELEANORE             MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
SCHLOSSER, CHRISTINE            MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
SCHLOSSER, DEBRA                LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
SCHLOSSER, KOBY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHLOSSER, LISA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHLOSSER, LORNA                COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
SCHMALHOFER, MARIA              POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                LECKMAN, T. MATTHEW CONSHOHOCKEN PA 19428
SCHMALZ, AMY                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SCHMANDT, LAURIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHMEAR, SHERYL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHMERMUND, STEPHANIE           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHMICK, ELIZABETH              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHMIDT, DELORIS                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SCHMIDT, DINAH                  SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
SCHMIDT, JAYME                  SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
SCHMIDT, JUDY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHMIDT, KATHY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHMIDT, MARALDINE              CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
SCHMIDT, RUBY                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SCHMIDT, VICKI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHMIDTKE, KATHLEEN             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SCHMIGIEL, CAROLYN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHMITT, CYNTHIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHMITT, JOAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHMITT, SHARON                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SCHMITZ, ANN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHMITZ, ANN                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402



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Claim Name                       Address Information
SCHMITZ, ANN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHMITZ, ANN                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SCHMITZ, ANN                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SCHMITZ, SCHELLY                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SCHMUCKER, MALI                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
SCHMUCKER, MELANIE              POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
SCHNAPP, ARLENE                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
SCHNAPP, IRENE                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SCHNAPP, IRENE                  LENZE KAMERRER MOSS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVE, SUITE 207
                                MANHATTAN BEACH CA 90266
SCHNAPP, IRENE                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SCHNAPP, IRENE                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
SCHNAPP, IRENE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SCHNEBELEN, CATHY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHNEBLE, FRANCES               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SCHNECK, ELIZABETH              MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
SCHNECKLOTH, DAWN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHNEIDER, ARLENE               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SCHNEIDER, CAROL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHNEIDER, MICHELLE             EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP EICHEN, BARRY R. & KELLY, JOHN P 40
                                ETHEL ROAD EDISON NJ 08817
SCHNEIDER, PATRICIA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHNEIDER, RHONDA               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SCHNEIDER, RONEKA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHNELLE, SUSAN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHNOEBELEN, PAMELA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHNUR, TERRY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SCHOCH, KATHY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHOCK, BRENDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHOCK, ELSA                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SCHOCK, TRISHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHOEN, AUDRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHOEN, KATHLEEN                WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
SCHOEN, PATTY                   BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
SCHOENGART, SHIRLEY             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHOENIKE, DARLENE              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SCHOENTRUP, SABRINA             SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
SCHOEPP, EVA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SCHOEPP, EVA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
SCHOFIELD, CHRISTI              HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
SCHOFIELD, MARY                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SCHOFIELD, PATRICIA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHOLIN, JOANNE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHOLL, CAROL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHOLL, PAMELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHOLTZ, KAY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHOLZ, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHOOLEY, KATHERINE             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SCHOOLEY, KATHERINE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHOONMAKER, DORIS              DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
SCHOONOVER, GAIL                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHOONOVER, GAIL                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SCHOONOVER, GAIL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHOONOVER, GAIL                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SCHOONOVER, GAIL                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SCHORMANN, SALLY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SCHORR, CAROL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHORY, REBECCA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHOW, KERI                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SCHRADER, PAMELA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHRAM, KAREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHRECK, BETTY                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SCHREIBER, JUDY                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
SCHREIBER, TIFFANY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHREIBER, WANDA                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
SCHREIFELS, JENIFER             WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
SCHRENKEL, DARLENE              WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
SCHROADER, BEATA                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
SCHROCK, AMANDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHROCK, JULIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHROEDER, BARBARA              NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918



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                                       LTL Management LLC
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Claim Name                       Address Information
SCHROEDER, CHARLOTTE            ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SCHROEDER, CHARLOTTE            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHROEDER, CHRISTINA            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHROEDER, MEREDITH             SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
SCHROEDER, REBECCA              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SCHROER, SHARON                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
SCHROERS, SANDRA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHROERS, SANDRA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SCHROERS, SANDRA                KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
SCHROETER, DIANA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SCHUBERT, LYDIA                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
SCHUDE, CHRISTEN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHUELER, CATHERINE             THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
SCHUELLER, DIAN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHUERER, FAY                   HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
SCHUETZ, LINDA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SCHUETZ, LINDA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SCHUETZ, LINDA                  LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
SCHUETZ, LINDA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SCHUETZ, LINDA                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
SCHUETZ, PAULA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SCHUKERT, SHEILA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHUKERT, SHEILA                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SCHUKERT, SHEILA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHUKERT, SHEILA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SCHUKERT, SHEILA                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SCHULER, MARZELLA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHULMAN, KATHLEEN              GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
SCHULMAN, SHIRLEY               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SCHULTE, KAREN                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
SCHULTE, LOUISE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHULTES-GILLASPY, LOIS         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHULTZ, AMANADA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHULTZ, AMANDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
SCHULTZ, AMANDA                 MEADOWS, TED G. MONTGOMERY AL 36104
SCHULTZ, CARLA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHULTZ, DEBORAH                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SCHULTZ, GERALDINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHULTZ, JUANITA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SCHULTZ, JULIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHULTZ, PAULA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHULTZ, ROBIN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHULTZ, SAMANTHA               POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
SCHULTZ, SUSAN                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SCHULTZ, SUSAN                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SCHULTZ, SUSAN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHULTZ, TAMI                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SCHULTZ, TINA-MARIE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHULTZ, VALERIE                CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
SCHULTZ, WENDY                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
SCHULZ, JOANN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHULZ, NANCY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHULZE, JACQUELYN              SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
SCHULZE, THERESA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SCHUMACHER, JODY                POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
SCHUMACHER, NANCY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHUMACHER, SHARON              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHUMAN, DEBRA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHUMANN, MELISSA               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SCHUNCKE, DIANA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SCHURMAN, REBECCA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHURMAN, REBECCA               GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SCHURMAN, REBECCA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHURMAN, REBECCA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SCHURMAN, REBECCA               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SCHUSTER, CAMILLE               FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD RAGGIO, JOHN LUFF, DALLAS TX 75231
SCHUSTER, MICHELLE              GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
SCHUT, SHERRI                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SCHUT, SHERRI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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                                       LTL Management LLC
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Claim Name                       Address Information
SCHUT, SHERRI                   MEADOWS, TED G. MONTGOMERY AL 36104
SCHUTT, DOROTHY                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SCHWAB, CATHLEEN                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SCHWAB, DEBORAH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHWAB, DEBORAH                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SCHWAB, DEBORAH                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SCHWAB, LINDA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SCHWAB, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHWABAUER, MARY                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SCHWALBACH, SHELLY              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHWALM, TRACY                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SCHWARTS, LINDA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SCHWARTS, LINDA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SCHWARTS, LINDA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SCHWARTZ, ANN                   DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
SCHWARTZ, BETTY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHWARTZ, CONNIE                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SCHWARTZ, DEBRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHWARTZ, EVA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCHWARTZ, LINDA                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
SCHWARTZ, LINDA                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
SCHWARTZ, PEGGY                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SCHWARTZ, RHONDA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SCHWARTZ, ROSALIND              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHWARTZ, ROSALLIND             GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
SCHWARTZENBERGER, KIM           DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
SCHWARZ, LAURA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SCHWARZ, LISA                   WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
SCHWARZ, LISA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SCHWARZ, MARIBEL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCHWARZE, SHIRLEY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                              Address Information
SCHWEERS, ELIZABETH                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SCHWEIGER, EVELYN                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                        ORANGE VA 02296
SCHWEINSBERG, LYNNE                     BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                        70130
SCHWERY, JOLENE                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                        77098
SCHWERZEL, SUSAN                        BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                        75202
SCHWIEN, JOANNE                         TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
SCHWINN, BARBARA                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                        77098
SCIFO, MARY                             MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                        DAVID M. MINNEAPOLIS MN 55404
SCIMECA, MARY                           GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SCIVOLETTI, CONNEE                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
SCOGGAN, THOMAS AND TREGANOWAN, EMILY   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
SCOGGINS, BETTY                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
SCOGGINS, RHONDA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCOTT, ANGELA                           BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                        CA 92660
SCOTT, ANNA                             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
SCOTT, ASHLEY                           THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                        CHARLESTON WV 25301
SCOTT, AZALEE                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
SCOTT, BARBARA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
SCOTT, BEVERLY                          GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                        PA 19102
SCOTT, BEVERLY                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
SCOTT, BEVERLY                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
SCOTT, BEVERLY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCOTT, BEVERLY                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SCOTT, BEVERLY                          PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
SCOTT, BRENDA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCOTT, CAROL                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
SCOTT, CAROLYN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCOTT, CHARLENE                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
SCOTT, CRYSTAL                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCOTT, DANA                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCOTT, DEANNE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCOTT, DEE                              CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                        ATLANTA GA 30319



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Claim Name                       Address Information
SCOTT, DELORES                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SCOTT, DONNA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SCOTT, DORA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCOTT, DOROTHY                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SCOTT, EARLENE                  BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
SCOTT, ELSIE                    THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
SCOTT, EMMA                     TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
SCOTT, EMMA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCOTT, EMMA                     BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
SCOTT, FARINA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SCOTT, FARINA                   LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
SCOTT, FRANCINE                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
SCOTT, GWENDOLYN                WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
SCOTT, HURNEITHA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SCOTT, JAKEETA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SCOTT, JAMESETTA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCOTT, JANICE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCOTT, JOYCE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCOTT, JUDITH                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
SCOTT, JUDY                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SCOTT, JUDY                     FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
SCOTT, JULIA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SCOTT, KAREN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SCOTT, KATHLEEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCOTT, KERRIE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SCOTT, KIM                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCOTT, KIMBERLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCOTT, KISHA                    JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
SCOTT, KRISTIN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SCOTT, LAURA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCOTT, LAURA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660



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Claim Name                       Address Information
SCOTT, MARINA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
SCOTT, MELBA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCOTT, MICHELLE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SCOTT, MICHELLE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCOTT, NANCY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCOTT, NANCY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCOTT, NANCY                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SCOTT, NANCY                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SCOTT, NAOMI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCOTT, NORA                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SCOTT, ODESSA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCOTT, PATSY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCOTT, PAULINE                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
SCOTT, PAULINE                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SCOTT, PEBBLE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCOTT, REBECCA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SCOTT, REBECCA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCOTT, REGINA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCOTT, ROCHELLE                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
SCOTT, ROSALAND                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCOTT, ROSALYN                  HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
SCOTT, ROSEMAY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCOTT, ROSEMAY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCOTT, ROSEMAY                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SCOTT, ROSEMAY                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SCOTT, RUTH                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SCOTT, SHANNON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCOTT, SHEILA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCOTT, SHILINDA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SCOTT, SONDRA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SCOTT, TAMMY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCOTT, VELMA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SCOTT, YVONNE                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130



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Claim Name                       Address Information
SCOTT-BRUE, ANNETTE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCOUTEN, TERESA                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SCOWEN, DEBORAH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCOZZAFAVA, ROSANNE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCRIBNER, AMANDA                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
SCROGGINS, PATTY                MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
SCROGGINS, TERRI                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
SCROGGS, MARCELLA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCROOGINS, NANCY                ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
SCRUGGS, CAROLYN                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SCRUGGS, CAROLYN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCRUGGS, CHERYL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SCRUGGS, CYNTHIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SCRUGGS, DANIELLE               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SCRUGGS, DEBBIE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SCRUGGS, FRANCES                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR. MARK P. KAR NEWPORT BEACH CA 92660
SCRUGGS, LUVINA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SCRUGGS, STEPHANIE              TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
SCRUGGS, SYLVIA                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
SCUDDER, HELEN                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SCULLIN, HELENA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SCURRY, MICHELLE                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
SCWANTJE, MARK                  NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
SEABLOOM, CATHERINE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SEABLOOM, CATHERINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEABLOOM, CATHERINE             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SEABLOOM, CATHERINE             PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SEABORN, JULIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SEABURN-SEARS, LEISA            PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
SEAGER, AMY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEAGO, PATRICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                              Address Information
SEAGO, PATRICIA                        MEADOWS, TED G. MONTGOMERY AL 36104
SEAL, DARLENE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEAL, JANICE                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SEALE, ALCIE                           THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                       ORLEANS LA 70130
SEALE, TANYA                           GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SEALS, HAZEL                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEALS, INEZ                            ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
SEAMONE, LISA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEARER, MARY                           ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SEARER, MARY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SEARGEANT, BRANDI                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEARLES, EVELYN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEARS, BARBARA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEARS, BEVERLY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEARS, DONNA                           DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                       63102
SEARS, KAREN                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SEARS, SHARON                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
SEARS, VICKIE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SEARS-VANDERWERKEN, JENNIFER           THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
SEASTREAM, DORIS EST OF DOROTHY FILMORE WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
SEATS, BRUNICE                         GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
SEAY, DARLENE                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
SEAY, DARLENE                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SEBETH, MARIETTA                       DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SECK, MELISSA                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
SECREST-KENT, DEBORAH                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SECREST-KENT, DEBORAH                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
SECRIST, KRISSA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEDAR, REBECCA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SEDAR, REBECCA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEDAR, REBECCA                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SEDAR, REBECCA                         PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
SEDICINO, JANICE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SEDICINO, JANICE                       GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                       MINNEAPOLIS MN 55402
SEDICINO, JANICE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
SEDICINO, JANICE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SEDICINO, JANICE                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SEDITA, CAROL                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SEDON, NANCY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SEE, BETTY                      CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
SEE, BETTY                      BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
SEEBOLD, JOYCE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEEFELDT, HEIDI                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SEEFELDT, LINDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEEGARS, CAROLYN                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SEEGER WEISS LLP                550 BROAD ST., SUITE 920 C SEEGER, A BADARUZZAMAN, D SINDHU NEWARK NJ
                                07102-4573
SEEKINS, KERRI                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SEEKINS, KERRI                  THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
SEELEY, THERESA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEELIG, AMY                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SEELY, MICA                     WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
SEELY, WILMA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEERUP, ROSEMARIE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SEESE, VIRGINIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEGAL, ALYN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SEGAL, TERRY                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SEGEBART, TANYA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SEGEDY, AVIS                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SEGEDY, AVIS                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SEGER, SUSAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEGHIAN, ILANA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEGLER, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEGREAVES, JULIE                KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
SEGUIN, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SEGUIN-CLARK, KATHLEEN          NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
SEGURA, DESSICA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SEGVICH, CATHY                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SEIBLES, BRITTAINY              DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102



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Claim Name                       Address Information
SEIDEL, SARI                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SEIDMAN, LYNNE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SEIFER, CARYN                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SEIFERT, COLLEEN                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SEIFFERT, SIEGRID               NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
SEIGLER, SUSAN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SEIJA, MARTHA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEILER, MARILYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEILING, JEANETTE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEIPLE, KRISTA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
SEIPLE, KRISTA                  HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
SEISS, PATSY                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SEITZ, PEGGY                    COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
SEKMAN, KERRY                   MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
SELBERG-DECKER, PAMELA          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SELBY, CRYSTAL                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SELBY, NORA                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SELBY, WANDA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SELERT, STACIE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SELF, KRISTY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SELF, MARY                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SELF, PHYLLIS                   GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
SELIG, FAYE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SELIG, FAYE                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SELLARS, BETTY                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
SELLERS, ANN                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SELLERS, CAITLIN                THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
SELLERS, JEANETTE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SELLERS, LORRAINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SELLERS, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SELLERS, NINA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SELLERS, NOVICE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SELLERS, ROXANNE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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                                       LTL Management LLC
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Claim Name                       Address Information
SELLERS, ROXANNE                MEADOWS, TED G. MONTGOMERY AL 36104
SELLERS, SHANNON                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SELLERS, SHELBA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SELLERS, VICTORIA               GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD ARVOLA,
                                MEGAN T. EDWARDSVILLE IL 62025
SELLMAN, LAURA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SELLS, JUDITH                   COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
SELLS, MARGARET                 DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
SELTZER, BARBARA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SELTZER, CINDY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SEMAAN, VIRGINIA                BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
SEMAGO, RACHEL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEMAN, BARBARA                  BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 BUDD, RUSSELL W DALLAS TX
                                75219
SEMAN, JOAN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SEMAN, JOANNE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SEMBLER, SUSAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEMEL, JUDITH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEMENAS, ROSEMARY               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
SEMENAS, ROSEMARY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SEMENAS, ROSEMARY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEMENAS, ROSEMARY               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SEMENAS, ROSEMARY               PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
SEMIEN, MONICA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEMITKA, NINA                   MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
SEMLER, CAROL                   COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
SEMLER, DOREEN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SEMMEL, BARBARA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEMMENS, SUSAN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SEMMENS, SUSAN                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SEMMENS, SUSAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEMMENS, SUSAN                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SEMMENS, SUSAN                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SEMMER, KATRINA                 MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
SEMONES, SHARON                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SEMPADIAN, VILMA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SENA-HERNANDEZ, CHRISTINA       MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
SENA-HERNANDEZ, CHRISTINA       KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211



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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
SENGER, THERESA                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SENNET, SHARON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SENOSK, DENISE                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SENOSK, DENISE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
SENSABAUGH, ALICIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SENSIBAUGH, MICHELE             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SENSOR, ALICE                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SENTER, CLAUDIA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SENTZ, TRACY                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
SEPE, DELFIN                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
SEPER, VIOLET                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SEPTER, TRENA                   HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
SEPULVEDA, MARTHA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SEPULVEDA, MARTHA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEPULVEDA, MARTHA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SERDA, SANDAY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SERGEANT, ISABELL               THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
SERIGNEY, CARRIE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SERIKAKU, GEORGINA              HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
SERJERN, LETTY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SERMENO, JULIANA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SERNA, CLAUDIA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SERNA, CLAUDIA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, DANIEL S. LUKEI NEWPORT BEACH CA 92660
SERNA, MARICELA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SERRANO, EDILSA                 WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
SERRANO, ELEANOR                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SERRANO, LINDA                  DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
SERRANO, LINDA                  KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
SERRANO, LUZ                    HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
SERTIC, JENNIFER                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SERVA, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SERVIN, SYLVIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SESKIN, MARILYN                 MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
SESKIN, MARILYN                 MOTLEY RICE, LLC LANCE OLIVER & DONALD MIGLIORI 28 BRIDGESIDE BLVD MOUNT


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Claim Name                       Address Information
SESKIN, MARILYN                 PLEASANT SC 29464
SESSION, FLORIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SESSION, JANICE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SESSIONS, MARIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SESSOMS, VESTA                  TORHOERMAN LAW LLC DAVIS, STEVEN D. 101 W. VANDALIA SUITE 350 EDWARDSVILLE IL
                                62025
SETO, JENNIFER                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SETSER, STARLA                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
SETTERS, SANDRA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SETTIPANI, MICHELE              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SETTIPANI, MICHELE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SETZER, CANDY                   KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
SEVERINO, CAROLYN               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SEVERINO, MONICA                BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
SEVINSKY, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEWARD, ALMA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SEWARD, BOBBI                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
SEWARD, DENISE                  BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
SEWELL, KATHLEEN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SEWELL, LORI                    WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
SEWELL, SHANIQUA                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SEXTON, CAROLE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEXTON, ELISHA                  LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
SEXTON, HOLLY                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SEXTON, HOLLY                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SEXTON, PATRICIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SEXTON, PATRICIA                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SEXTON, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEXTON, PATRICIA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SEXTON, PATRICIA                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SEXTON, VANESSA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SEXTON-RUSSELL, PAMELA          ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                FELLER, JOEL J. PHILADELPHIA PA 19103
SEXTRO, SKYLAR                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SEYLLER, SUZA                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SEYLLER, SUZA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266


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                                                LTL Management LLC
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Claim Name                                Address Information
SEYLLER, SUZA                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SEYMOUR, BARBARA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
SHABAZZ, EDITH                           REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J EPHRON,
                                         MELISSA HOUSTON TX 77027
SHABAZZ, SHELLEY                         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SHABAZZ, SHELLEY                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
SHACK, MICHELE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHACKELFORD, BRENDA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHACKELFORD, CELIA                       DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SHACKLEFORD, JANENE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHADE, EVA                               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
SHADE, GLORIA                            GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                         PA 19102
SHADER, PATRICIA AND SHADER, ROBERT      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                         NJ 08648
SHADRICK, CAROL                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
SHADWICK, MABLE                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
SHADY, CYNTHIA                           ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
SHADY, CYNTHIA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
SHAFER, LINDA                            GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                         PA 19102
SHAFFER, SANDRA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHAFFERY, MELISSA                        MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                         YORK NY 10017
SHAGER, ALANA                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
SHAH, MALTI                              NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                         11747
SHAHHOSSEINI, MASOUMEH                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
SHAHZAD, SHERRI                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
SHAKESPEARE, GERALDINE                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SHAKESPEARE, GERALDINE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
SHALHOOB, SHARON                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
SHALL, DEBRA                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
SHALLMAN, CAROLINE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
SHALLY, MARTHA                           ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
SHALLY, MARTHA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104


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                                               LTL Management LLC
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Claim Name                               Address Information
SHAMBURGER, RHONDA                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                        ORANGE VA 02296
SHAMBURGER, VALERIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHAMEKA MOORE                           BISNAR AND CHASE ANTURNOVICH, TOM & CHASE, BRIAN D. 1301 DOVE STREET, SUITE
                                        120 NEWPORT BEACH CA 92660
SHAMMAS, GRACE                          CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                        14202-3725
SHAMSELDIN, BAHIA                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                        STREET, SUITE 200 PENSACOLA FL 32502
SHAMY, TONYA                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
SHANAHAN, NICOLE                        EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
SHANDLE, RANDALL                        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                        STREET, SUITE PENSACOLA FL 32502
SHANDOR, BARBARA                        GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                        EDWARDSVILLE IL 62025
SHANDORF, MARILYN                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHANE, MARTHA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
SHANER, LINDA                           DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SHANK, ERIN                             ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
SHANK, MICHELLE                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
SHANK, MINNIE                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
SHANK, PATRICIA AND SHANK, KENNETH      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
SHANK, REBECCA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
SHANKS, KATHLEEN                        PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
SHANKWEILER, KATHRYN                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                        ANTHONY ST. LOUIS MO 63102
SHANKWEILER, KATHRYN                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SHANKWEILER, KATHRYN                    LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                        MANHATTAN BEACH CA 90266
SHANKWEILER, KATHRYN                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                        ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SHANKWEILER, KATHRYN                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                        S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
SHANNAHAN, BARBARA                      WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
SHANNON COOKSON                         JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                        PAUL MN 55101
SHANNON GEORGE                          JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                        PAUL MN 55101
SHANNON, ANN                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
SHANNON, JO ANN                         KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
SHANNON, LOLA                           MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                        YORK NY 10017
SHANNON, MARY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHANNON, RUTH                           DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036



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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
SHANNON, SUMMER                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
SHANNON, SUSAN                  WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
SHANNON, SUSAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHANNON, TOMIKA                 HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
SHANSTROM, DEBORAH              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHAPIRO, HARRIET                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHAPIRO, LINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHAPIRO-FUCHS, NANCY            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHAPIRO-TERNER, ELLEN           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHARAF, VIDA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
SHARESHIAN, JENNIFER            GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SHARESHIAN, JENNIFER            BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
SHARIFIRAD, AFSHAN              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SHARION TAYLOR                  FLETCHER V. TRAMMELL TRAMMELL, FLETCHER V 3262 WESTEIMER, SUITE 423 HOUSTON TX
                                77098
SHARKEY, MARIE                  BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
SHARMA, BETTY                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
SHARMA, SAVITA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHARON ADEE                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SHARON GORE                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SHARON KALLINA                  FLETCHER V. TRAMMELL TRAMMELL, FLETCHER V 3262 WESTEIMER, SUITE 423 HOUSTON TX
                                77098
SHARON MURRAY                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SHARON SENA                     BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                COMMERCE STREET MONTGOMERY AL 36104
SHARP, CAROLYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHARP, DONNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHARP, DORIL                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SHARPE, BARBARA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHARPE, DENISE                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SHARPE, DENISE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHARPE, FLORENCE                SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
SHARPSTEEN, MARY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHARPSTEEN, MELISSA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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                                          LTL Management LLC
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Claim Name                          Address Information
SHARPTON, DARLA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHARRI GRABLE-HUMPHREY             MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
SHASKY, LEE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
SHASKY, LEE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHASKY, LEE                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SHASKY, LEE                        PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
SHATARA, NANCY                     BEASLEY ALLEN CROW METHVIN PORTIS &MILES SCOTT, BRITTANY SAMANTHA 218 COMMERCE
                                   STREET MONTGOMERY AL 36104
SHATASHVILI, LIYA                  THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                   ORLEANS LA 70130
SHATTO, VICTORIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
SHATTUCK, JUDY                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
SHAUT, MARIE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
SHAVER, JAN                        ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SHAVER, JAN                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
SHAVER, KATTIE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
SHAVER-ROELOFS, MARIANNE           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
SHAVERS, TIFFANY                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SHAVERS, TRESARAIE                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
SHAW, AMBER                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHAW, AVA                          GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                   EDWARDSVILLE IL 62025
SHAW, BELVIA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
SHAW, BERTHA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHAW, BETTY                        ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
SHAW, BOBBIE                       PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
SHAW, CAROLYN                      MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                   KNOXVILLE TN 37929
SHAW, CONNIE                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SHAW, DIANE                        CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
SHAW, DOROTHY                      FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                   THOMAS ROE NASHVILLE TN 37215
SHAW, DOROTHY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHAW, ESTHER                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
SHAW, HAZEL                        NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                   11747
SHAW, JACQUELINE                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
SHAW, JACQUELINE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHAW, JEANIE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
SHAW, JEANIE                    MEADOWS, TED G. MONTGOMERY AL 36104
SHAW, JEANIE                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SHAW, JEANIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHAW, JEANIE                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SHAW, JEANIE                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SHAW, KATHLEEN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHAW, LISA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHAW, MARTHA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHAW, PATRICIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHAW, PAULA                     TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
SHAW, REBECCA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SHAW, REBECCA                   BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
SHAW, ROSA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHAW, ROSE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHAW, ROSE                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SHAW, ROSE                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SHAW, SUSITHEA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SHAW, SUSITHEA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHAWHAN, JOANIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHAWHAN, JOANIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHAWHAN, JOANIE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SHAWHAN, JOANIE                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
SHAY, JANET                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SHAYANNA GREEN                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SHEA, BEVERLY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHEA, COLLEEN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHEA, COLLEEN                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SHEA, COLLEEN                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SHEA, DONNA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHEA, GLENDA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHEA, GWEN                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHEA, THERESE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHEAFFER, CYNTHIA               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
SHEALEY, LARRECIA               EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP EICHEN, BARRY R. - KELLY, JOHN P - 40
                                ETHEL ROAD EDISON NJ 08817
SHEARER, BARBARA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231


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                                       LTL Management LLC
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Claim Name                       Address Information
SHEARER, BARBARA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SHEARLOCK, CHERYL               MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
SHEARS, ELOISA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SHEARS, EVELYN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SHEARS, EVELYN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHEARS, PATRICIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHEASBY, RUBY                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
SHED, CYNTHIA                   WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
SHEEDER, JAMIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHEEHAN, ANNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHEEHAN, CONSTANCE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHEEHAN, CONSTANCE              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SHEEHAN, CONSTANCE              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SHEEHAN, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHEER, DOROTHY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHEETS, BLANCH                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
SHEFF, HEIDI                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SHEFFEY, MEIKO                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SHEFFIELD, MARGARET             ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SHEFFIELD, MARGARET             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHEFFIELD, SALLY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHEFLIN, ROCHELLE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHEILA DENYER                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
SHELBURNE, DIANA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHELBY, AMANDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHELBY, DENICE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHELBY, ELEANOR                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHELBY, MELINDA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SHELEY, MANUELA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SHELKER, NANCY                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SHELL, AMY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHELL, JUSTINE                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301



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                                       LTL Management LLC
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Claim Name                       Address Information
SHELL, KRISTIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHELL, LAUREN                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SHELL, OLA                      DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
SHELL, SANDRA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHELLEY, ALTAVIA                DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
SHELLEY, SUNNY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHELLNUT, SANDRA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SHELLNUT, SANDRA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHELLY, SUZANNE                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SHELTON, APRIL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHELTON, CONNIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHELTON, DARLENE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SHELTON, DARLENE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHELTON, DEBRA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SHELTON, DEMETRIUS              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHELTON, GYPSIE                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SHELTON, JACQUELINE             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHELTON, JOY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHELTON, KATHY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHELTON, LAURA JO               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHELTON, LYNETTE                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
SHELTON, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHELTON, PAMELA                 HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
SHELTON, REGINA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHELTON, REGINA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHELTON, SHIRLEY                COHEN, PLACITELLA & ROTH 127 MAPLE AVE. PLACITELLA, CHRISTOPHER M. GEIER,
                                DENNIS M. RED BANK NJ 07701
SHELTON, SHIRLEY                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SHELTON, THERESA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHEMONIS, DONNA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007


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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44             Desc Main
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Claim Name                       Address Information
SHEMORY, JILL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHENBERGER, DEBORAH             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SHENEFIELD, JACQUELYN           THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, D.,
                                FERRARO, JR. J. DIMATT MIAMI FL 33131
SHENESKY, DONNA                 COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
SHENESKY, DONNA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 BINSTOCK, MELISSA HOUSTON TX
                                77098
SHENSKY, KAREN                  ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
SHENTON, LORRAINE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHENTON, MARY                   GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
SHEPARD, BETTY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHEPARD, MAXINE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHEPARD, MEG                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
SHEPARD, RITA                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
SHEPARD, SHERI                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SHEPHERD, CAROL                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHEPHERD, CAROL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHEPHERD, CAROL                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SHEPHERD, CAROL                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
SHEPHERD, DEBORAH               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SHEPHERD, GAIL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHEPHERD, JANET                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHEPHERD, KATHY                 MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
SHEPHERD, LOUISE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHEPHERD, MARSHA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHEPHERD, MARSHA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHEPHERD, MICHELE               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SHEPHERD, MICHELE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHEPHERD, NANCY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHEPHERD, NANCY                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SHEPHERD, NANCY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHEPHERD, NANCY                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SHEPHERD, NANCY                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SHEPHERD, PHYLLIS               HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
SHEPHERD, SHERRI                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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                                       LTL Management LLC
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Claim Name                       Address Information
SHEPPARD, BILLIE                COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
SHEPPARD, GWENDOLYN             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHEPPARD, GWENDOLYN             FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SHEPPARD, JUDY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHEPPARD, KATHERINE             POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
SHEPPARD, MARY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHEPPARD, PAMELA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHEPPARD, SANDRA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SHEPPARD, SANDRA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHEPPARD, TERESSA               BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
SHEPPARD, TERESSA               BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
SHERARD, SUSAN                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SHERBLOM, DEBRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHERFEY, GAIL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHERIDAN, ANNMARIE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHERIFF, GLORIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHERKANOWSKI, HELEN             MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
SHERLOCK, BETTY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHERMAN, AMY                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
SHERMAN, ARLENE                 THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
SHERMAN, CLAIR                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHERMAN, CYNTHIA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SHERMAN, DULCIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHERMAN, HEIDI                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHERMAN, MARGEREITTE            DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SHERMAN, NANCY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHERMAN, ROSE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHERMAN, TAMMY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHERRILL, BEVERLY               THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
SHERRILL, BLANCHE               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SHERRILL, BLANCHE               DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SHERROD, CATHERINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHERRON, ALEATHIA               DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036



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                                                       List
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Claim Name                            Address Information
SHERRY CALLIS                        ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                     LOUIS MO 63119
SHERRY CRONK                         MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
SHERRY KOVAR                         FEARS NACHAWATI LAW FIRM GIBSON, N, LONG, J, LUFF, P, MCCARLEY, M 5473 BLAIR
                                     ROAD DALLAS TX 75231
SHERRY REECE                         MCSWEENEY/LANGEVIN, LLC MCSWEENEY, RHETT A. 2116 SECOND AVENUE SOUTH
                                     MINNEAPOLIS MN 55404
SHERRY, CHARINE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
SHERRY, CHARINE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHERRY, CHARINE                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SHERRY, CHARINE                      PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
SHERWOOD, EDNA                       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                     ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SHERWOOD, JEAN                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
SHERWOOD, SUZANNE                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SHETTERLY, GEORGIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
SHEVENOCK, GEORGIANNA                MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                     DAVID M. MINNEAPOLIS MN 55404
SHEVIS, YOSHIKO                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
SHEVRIN, JOYCE                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SHIBLES, PATRICIA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                     77007
SHIEKMAN, MINDY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHIELA, PAYNE                        MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                     ARTHUR M. NEW ORLEANS OH 70130
SHIELDS, ANN                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHIELDS, BETTIE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
SHIELDS, KATHERINE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHIELDS, KATINA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHIELDS, MARCIA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHIELDS, VICKI                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                     77098
SHIELDS, WILLIE                      MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                     KNOXVILLE TN 37929
SHIELDS-MARLEY, MARIA                THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
SHIFFER, CAROLANN                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SHIFFER, CAROLANN                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                     ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
SHIFFLETT, DARLENE                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                     77007
SHIFFMAN, CAROL ESTATE OF ROGER      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
SHIFFMAN                             HILL NJ 08002
SHIHADEH, SAMIA                      CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                     14202-3725
SHIKOWSKI, SUSAN                     WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                     DALLAS TX 75219
SHILES, GENEVA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
SHILLING, KATHLEEN              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SHILLING, KATHLEEN              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHILLMAN, DOROTHY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHILTS, JEANNE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHIMKO, CATHERINE               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SHIMON, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHINER, JUDITH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHINHOLSTER, MARGIE             GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SHINN, JULIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHINN, JUNE                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SHIOSEE, YVONNE                 MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
SHIPLEY, CRYSTAL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHIPLEY, DORENDA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SHIPLEY, JENNIFER               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHIPLEY, PATRICIA               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SHIPLEY, SHERRY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHIPLEY, VIRGINIA               BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
SHIPOS, JEAN                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SHIPP, KAREN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHIRER, JUDY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHIRK, JANET                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHIRLEY RUBELL                  FEARS NACHAWATI LAW FIRM LUFF, P., RAGGIO, J. & SCHULTE, S. 5473 BLAIR ROAD
                                DALLAS TX 75231
SHIRLEY, BETTY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHIRLEY, CHERYL                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SHIRLEY, CHERYL                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHIRLEY, IRENE                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
SHIRLEY, MARTI                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SHIRLEY, TERESA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SHISILA, DEBRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHIVELY, HOLLY                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
SHIVELY, LINDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHIVER, ELLEN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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                                                      Entered 02/17/22 16:31:44             Desc Main
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Claim Name                       Address Information
SHIVER, IRENE                   CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
SHIVER, IRENE                   BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
SHIVERS, EURA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHIVERS, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHIVERS, NOLA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SHIVERS, PAULINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHIVLEY, SANDRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHIWMANGAL, DHANMATTEE          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHLIGER, DAYNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHLIGER, DAYNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHLIGER, DAYNA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SHLIGER, DAYNA                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
SHLYONSKY, MILENA               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SHMAEFF, OSIE                   LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                NICHOLAS LAKE CHARLES LA 07060
SHOCKEY, FONDA                  MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
SHOCKEY, NITA                   NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
SHOCKLEY, KAREN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHOCKLEY, KARMISHA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHOCKLEY, SUSAN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHOEMAKE, SARA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHOEMAKER, COLETTE              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
SHOEMAKER, DELONA               SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
SHOEMAKER, JULIANNE             GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
SHOEMAKER, STEPHANIE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHOENFELT, CATHERINE            THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
SHOFFETT, RENE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SHOGREN, BETH                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SHOLARS, DIANNA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHONING, JENNY                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
SHONKWILER, LISA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHOOK, SHARON                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SHOOP, BETTY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHOOP, BETTY                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098



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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
SHOOSHTARI, AGDAS               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHOPE, KATHRYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHOPTAUGH, MELISSA              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SHORES, JANICE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHORT, CAROLE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHORT, CAROLE                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
SHORT, CAROLE                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SHORT, CAROLE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
SHORT, DEBORAH                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
SHORT, DEEDEE                   THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
SHORT, GLADYS                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHORT, JEWELL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHORT, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHORT, LOIS                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SHORT, MADONNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHORT, MARY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHORT, MICHELLE                 HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
SHORT, NANCY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHORT, TINA                     SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                11530
SHORT, TINA                     POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                BRASLOW, DEREK T CONSHOHOCKEN PA 19428
SHORTER, ELIZABETH              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHORTER, LINDA                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
SHORTER, MARY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHORTER, VALARIE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHORTRIDGE, LISA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SHORTT, VICKI                   SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
SHOTTER, DIANE                  ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
SHOUP, SUSAN                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SHOVAN, DIANE                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SHOVER, JILL                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHOWERS, SUNDAYE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHPUR, TINA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHRABLE, RAMONA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SHRABLE, RAMONA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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                                       LTL Management LLC
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Claim Name                       Address Information
SHRABLE, RAMONA                 MEADOWS, TED G. MONTGOMERY AL 36104
SHRADER, ARLENE                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SHREFFLER, ZOE                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
SHRELL, JULIE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SHREVE, KIM                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET SALGER, SARA M MATHEWS, D.
                                TODD EDWARDSVILLE IL 62025
SHRIFT, GWEN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHRINER, DAROTHEY               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SHROCK, CHEREE                  ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
SHRODES, CATHERINE              CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
SHRODES, CATHERINE              BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
SHROPSHIRE, PEGGY               GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
SHROYER, PATRICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHUFORD, MASHELL                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
SHUGERT, DAWN                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
SHUKRI, CLARA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHULAR, NANCY                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
SHULER, BARBARA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SHULER, BARBARA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
SHULER, ELIZABETH               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHULER, VICKI                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SHULL, DONNA                    ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                WASHINGTON DC 20006
SHULL, DONNA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
SHULL, KIMERI                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
SHULL, LEE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHULUND, SUZAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHUMAILA RANI                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
SHUMAKE, DEBORAH                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
SHUMAN, CATHERINE               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SHUMAN, MARION                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SHUMAN, TRACEY                  MOTLEY RICE, LLC 50 CLAY STREET, SUITE 1 HOYLE, THOMAS DAVID MORGANTOWN WV
                                26501
SHUMPERT, MARY                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA


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Claim Name                       Address Information
SHUMPERT, MARY                  70130
SHUMPERT, MARY                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
SHUMSKY, NIKKI                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SHUPE, CAROLE                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SHUPE, CHRISTINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SHUPE, MARJORIE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SHUPP, VELMA                    BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
SHUPP, VELMA                    BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
SHURY, YVONNE                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SHUSTER, DOREEN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SHY-COLLINS, JOELLA             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SIBLEY, PHYLLIS                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SIBLEY, PHYLLIS                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SICKLES, SHANNON                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SIDDEN, ANNA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SIDDEN, ANNA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SIDDIQ, PAMELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIDDIQ, PAMELA                  FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
SIDDIQUI, SHAMEEM               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIDDIQUI, YASMIN                SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
SIDERS, PAMELA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SIDES, BETTY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SIDHU, DANA                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SIDONIS, BYLLYE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIDORICK, KELLY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SIDRANSKY, LISA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SIDRANSKY, LISA                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SIDRANSKY, LISA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIDRANSKY, LISA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SIDRANSKY, LISA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SIDROW-WOLFSON, BARBARA         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SIEBER, ANNA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031



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                                       LTL Management LLC
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Claim Name                       Address Information
SIEG, CINDY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SIEGAL, ELAINE                  ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450
                                FELLER, JOEL CASEY, MATTHEW A. PHILADELPHIA PA 19103
SIEGELBAUM, MARSHA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIEGMUND, BRANDY                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SIEKIERZYNSKI, MARILYN          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SIELOFF, VERA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SIEMEN, TINA                    MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
SIEMON, KATHY                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SIERRA, DENISE                  BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
SIERRA, DENNITA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SIERRA, GLORIA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
SIERRA, GLORIA                  HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
SIERRA, NATALIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SIERSDORFEW, SUSAN              DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
SIFFORD, JANET                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SIFFORD, PANSY                  FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
SIGALA, BARBARA                 LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
SIGET, DEBORAH                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SIGMAN, CAROLINE                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
SIGNORINI, KRENA                LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
SIGNORINO, KATHERINE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIHOTA, HARINDER                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SIKORA, BETTY                   WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
SILBER, JOYCE                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SILBY, TAMMY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SILCOTT, EDNA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SILCOX, DOLORES                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
SILCOX, LINNEA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SILER, LINDA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SILER, PAULINE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SILER, SYLVIA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296



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                                                      Entered 02/17/22 16:31:44             Desc Main
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Claim Name                       Address Information
SILER, TAMMY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
SILK, CATHERINE                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SILLIN, HELEN                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
SILLITO, PHYLLIS                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SILLIVEN, LETICIA               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SILLIVEN, LETICIA               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SILLIVEN, LETICIA               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
SILLS, RACHEL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SILMON, ANTIONETTE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SILPATH, KIMBERLY               SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
SILVA, ANDROMEDA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SILVA, KAMALA                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
SILVA, LARI                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SILVA, LORI                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
SILVA, MARIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SILVA, MARIA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SILVA, MARIA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SILVA, RENEE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SILVA, RENEE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SILVA, RENEE                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SILVA, RENEE                    PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
SILVA, RENEE                    SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
SILVA, RUTH                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SILVA, SHELLIE                  COHEN, PLACITELLA & ROTH 127 MAPLE AVE. PLACITELLA, CHRISTOPHER M. GEIER,
                                DENNIS M. RED BANK NJ 07701
SILVA, TANYA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SILVER, CAROL                   BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
SILVER, GAIL                    COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
SILVER, JANICE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SILVER, LYDIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SILVER, PATRICIA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SILVER, PATRICIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SILVERMAN, MARION               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SILVERMAN, NENA                 FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY DALLAS TX 75231
SILVERMAN, SALLY                HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
SILVERMAN, WENDY                MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501


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                                       LTL Management LLC
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                                                  List
                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
SILVERS, LONNA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SILVERS, LUCRETIA               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SILVERSHER, BETTY               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SILVERTHORN, MARYA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SILVES, JOAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SILVEY, DOROTHY                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
SILVEY, DOROTHY                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SILVIA, MICHAELA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SILVIA, PATRICIA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SILVIO, KATHY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SILZA, NANCY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SIMANSKIS, CLYDEAN              GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
SIMAS, JULIETA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMCOCK, JACQUELINE             ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SIMCOCK, JACQUELINE             ASHCRAFT & GEREL, LLP GREEN, J, LYONS, P & PARFITT, M 1825 K STREET, SUITE
                                700, NW WASHINGTON DC 20006
SIMENTAL, DEBORAH               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SIMEONE, DONNA                  ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
SIMKOVIC, KAREN                 MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
SIMMONDS, JO                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMMONS HANLY CONROY            ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
SIMMONS, ANDREA                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
SIMMONS, ANNIE                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
SIMMONS, AUDREY                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SIMMONS, AUDREY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SIMMONS, AUDREY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SIMMONS, BOBBIE                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
SIMMONS, BRANDY                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SIMMONS, BRENDA                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
SIMMONS, BRENDA                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
SIMMONS, CARRIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMMONS, CARRIE                 THE POTTS LAW FIRM, LLP 3737 BUFFALO SPEEDWAY STE 1900 HOUSTON TX 77098



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                                       LTL Management LLC
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Claim Name                       Address Information
SIMMONS, CARRIE                 SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
SIMMONS, DIANA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMMONS, ELIZABETH              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMMONS, EMMA                   THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
SIMMONS, EVONYA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SIMMONS, FELECIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SIMMONS, GLORIA                 LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
SIMMONS, JACQUELINE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SIMMONS, JUDITH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMMONS, LAKESHA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMMONS, LANA                   WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
SIMMONS, LATISHA                DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
SIMMONS, LISA                   THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
SIMMONS, MARGIE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SIMMONS, MARTHA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SIMMONS, MARY                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
SIMMONS, NANCY                  HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
SIMMONS, SHARON                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
SIMMONS, SHELA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
SIMMONS, SHERNIKKA              WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
SIMMONS, SINISE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMMONS, SOPHIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SIMMONS, SYMONE                 HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
SIMMONS, TAMMY                  MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
SIMMONS, TAMMY                  KIESEL LAW, LLP 8648 WILSHIRE BLVD. FARAJ, HAYTHAM BEVERLY HILLS CA 90211
SIMMONS, TERICA                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
SIMMONS, TRACY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SIMMONS, WYNETTE                MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
SIMMONS-GILLESPIE, ALICIA       SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
SIMMONS-KENDALE, LYNORA         THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SIMMS, JANET                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMMS, MADELYN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SIMMS, MADELYN                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE



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Claim Name                               Address Information
SIMMS, MADELYN                          ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SIMMS, PAMULA                           THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                        ORANGE VA 02296
SIMMS, SABRINA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
SIMMS, SHARON                           MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                        YORK NY 10017
SIMMS, WANDA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMON, BARBARA                          MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
SIMON, DANIELLE                         DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                        63102
SIMON, HEIDI                            MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
SIMON, JOLENE                           ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
SIMON, JOLENE                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
SIMON, LINDA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMON, PEGGY                            JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
SIMON, SANDRA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
SIMON, SELESIA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMON, SUSAN & EST OF DANIEL SIMON      MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                        YORK NY 10017
SIMON-SCHWARTZ, PAMELA                  SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER BADARUZZAMAN,
                                        ASIM M NEWARK NJ 07102-4573
SIMONDS, LUCILLE                        THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                        MADISON MS 39110
SIMONE, DEBORAH                         DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                        KANSAS CITY MO 64196
SIMONE, PATRICIA                        TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
SIMONETI, STYLIANA                      ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                        ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
SIMONETTI, DOROTHY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMONS, JEAN                            FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SIMONSON, JOANN                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMONSON, JOANN                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SIMONTON, NIKKI                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SIMPKINS, SUZANNE                       MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
SIMPSOM, THERESA                        WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                        NJ 08002
SIMPSON, BRENDA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMPSON, CHRISTINE                      CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                        14202-3725
SIMPSON, CYNTHIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMPSON, DENISE                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
SIMPSON, DIANNE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMPSON, DONNA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMPSON, DORIS                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
SIMPSON, GINGER                         NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                        PR 00918


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Claim Name                       Address Information
SIMPSON, GLORIA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SIMPSON, JANET                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SIMPSON, LINDA                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SIMPSON, LINDA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SIMPSON, LINDA                  LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
SIMPSON, LINDA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SIMPSON, LINDA                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
SIMPSON, MARIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SIMPSON, MARIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMPSON, MARIE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SIMPSON, MARIE                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
SIMPSON, MARILYN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMPSON, NANCY                  NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
SIMPSON, NARDA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SIMPSON, SHARON                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMPSON, SHEILA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMPSON, SHELLENIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMPSON, STACY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SIMPSON, TERESA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SIMPSON, THERESA                WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
SIMPSON, TONYA                  SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
SIMPSON, TYSHA                  ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SIMPSON-MULLINGS, MARGARET      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SIMS, BARBARA                   GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
SIMS, CECILY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMS, CHANTEL                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SIMS, CONNIE                    LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                NJ 08648
SIMS, DAWN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMS, DAWN                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SIMS, DAWN                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
SIMS, DIANE                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SIMS, DIANE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SIMS, EMMA                      ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226



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                                                         Entered 02/17/22 16:31:44           Desc Main
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Claim Name                          Address Information
SIMS, GLORIA                       THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                   CHARLESTON WV 25301
SIMS, GUADALUPE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMS, JOYCE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMS, KIM                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
SIMS, LISA                         DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                   KANSAS CITY MO 64196
SIMS, LOLA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMS, MARY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMS, MARY                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
SIMS, MAXINE                       SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                   77098
SIMS, MICHELLE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
SIMS, MYRA                         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SIMS, NANCY                        SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                   07102-4573
SIMS, ORALEAN                      DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                   ANTHONY ST. LOUIS MO 63102
SIMS, ORALEAN                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SIMS, ORALEAN                      LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                   MANHATTAN BEACH CA 90266
SIMS, ORALEAN                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SIMS, ORALEAN                      ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                   S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
SIMS, SHARON                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMS, SHARON                       ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
SIMS, SHIRLEY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIMS, TAMMY                        GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                   EDWARDSVILLE IL 62025
SIMS, VICKIE                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
SIMS-HARDEN, JESSICA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
SIMSON, LODONNA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
SINCLAIR, LISA                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SINCLAIR, LISA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
SINCLAIR, RAVEN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
SINCOFF, BARBARA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
SINDY GONZALES                     JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                   PAUL MN 55101
SINE, NORMA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SING, LANA                         BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                   ROBERT BRENT LOS ANGELES CA 90024



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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
SINGELAIS, MICHELE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SINGER, AMY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SINGER, AMY                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SINGER, AMY                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SINGER, BARBARA                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
SINGER, CAROLYN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SINGER, MARCI                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
SINGER, MICHELLE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SINGH, AMANDA                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SINGH, EVA                      GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SINGH, JUDY                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SINGH, KUMARI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SINGH, RAJ                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SINGH, RAJ                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SINGH, SARDAMA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SINGH, SAVITRI                  MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
SINGLE, MICHELE                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SINGLE, SUSAN                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
SINGLETARY, JEAN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SINGLETARY, ROSA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SINGLETON, ALBERTHA             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SINGLETON, ANN                  TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
SINGLETON, CHUNESE IVORY        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SINGLETON, ELIZABETH            SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
SINGLETON, MARY                 COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
SINGLETON, SHARON               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SINGLETON, TAUNI                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SINGLETON-GABOIAN, LINDA        THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
SINGLEY, TOMACHIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SINIBALDI, BERNADETTE           CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SINISCALCHI, MARYANN            GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA


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                                       LTL Management LLC
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Claim Name                       Address Information
SINISCALCHI, MARYANN            PA 19102
SINISH, SHARON                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
SINISI, DORA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SINK, DEBORAH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SINKEWITZ, MISTY                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
SINKOVEC, NANCY                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SINNETT, LADONNA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SINOPOLI, SHERI                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SIPE, STACY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIPES, DAEOSIONAE               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SIRA, EMILY                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SIRES, VIRGINIA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SIRIANNI, DEBORAH               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SIRIANNO, JULIE                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SIRISOPHON, DEBORAH             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SIRMAN, SHEILA                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET SALGER, SARA M MATHEWS, D.
                                TODD EDWARDSVILLE IL 62025
SIRONEN, MARY                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SIRRIDGE, JOANN                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SIRRIDGE, JOANN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SISEMORE, VADA                  SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
SISI, MARY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SISK, LINDA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SISK, SHANNON                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SISKO, TINA                     ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
SISNEROZ, ROSIE                 NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
SISSINE, GRACIELA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SISSINE, GRACIELA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SISSINE, GRACIELA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SISSINE, GRACIELA               PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
SISTRUNK, IRIS                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SITAL, EMILY                    ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103



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Claim Name                              Address Information
SITLER, ANDREA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIX, ROBIN                             WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                       NJ 08002
SIZEMORE, CARMEN                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
SIZEMORE, CARMEN                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SIZEMORE, DONNA                        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SIZEMORE, GLENDA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIZEMORE, JOAN                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SIZEMORE, JOAN                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SIZEMORE, JOAN                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SIZEMORE, JOAN                         PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SIZEMORE, MARCELLA                     MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
SIZEMORE, MONICA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SKAFF, KIRSTA                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
SKAGGS, NICKIE                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
SKAGGS, PAMELA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SKALA, KATHY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SKALA, KATHY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SKALA, KATHY                           THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SKALA, KATHY                           PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
SKALA, MARY                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SKALLA, PATTI                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SKEIE, DARLENE                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SKELF, SHAWN                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SKELLY, ROBERTA                        NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                       11747
SKELTON, ELEANOR                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SKELTON, JENNIFER                      DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                       KANSAS CITY MO 64196
SKENANDORE, CHRISTINE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
SKERMAN, ANNA                          MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
SKESTONE, JUDITH                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SKIDMORE, SALLY                        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SKIKOS, CRAWFORD, SKIKOS & JOSEPH      ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA 94104
SKILES, KATHLEEN                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SKILLINGS, DORIS                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SKINNER, CATHY                         WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
SKINNER, CRYSTAL                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SKINNER, DEBRA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
SKINNER, DEBRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SKINNER, DEBRA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SKINNER, DEBRA                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
SKINNER, DEBRA                  KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
SKINNER, DIANA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SKINNER, LUCILLE                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SKINNER, WINONA                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SKIPPER, BETTY                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SKIPPER, BETTY                  LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
SKIPPER, REBA                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SKIPPER, REBA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SKIPPER, REBA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SKIPPER, REBA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SKIPPER, VERONICA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SKIPPER, VIRGINIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SKIPWITH, ALANA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SKIPWITH, CHYU                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SKOFF, VICTORIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SKOGERBOE, JACCI                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SKOGERBOE, JACQUELINE           THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
SKOGMAN, KAREN                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
SKOLASKI, DEBORAH               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SKOMP, ANNA                     DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
SKORACZEWSKI, PATRICIA          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
SKORUPSKI, DEBRA                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SKOUTELAS, VASILIKI             CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SKOWEN, MARIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SKOWRON, CHRISTINA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SKRAASTAD, MARY                 SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
SKULNIK, SYDELL                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SKUPIEN, LINDA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SKURSKY, SUSAN                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
SLACK, CYNTHIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
SLACK, KAYSHA                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SLACK, KAYSHA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SLACK, KAYSHA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SLADE, CYNTHIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SLADE, LELIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SLADE, LISA                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SLADE, THERESA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SLAGLE, CAROL                   HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
SLAGLE, RACHEL                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
SLAGLE, SONIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SLAGLE, TINA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SLAMA, LORAINE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SLAMES, JUDITH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SLANE, MADGE                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SLANE, MADGE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SLANEY, STEPHANI                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SLANKARD, LINDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SLAPIN, JANA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SLATE, DEBRA                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SLATER, MARY                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SLATER, PAULA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
SLATER, SANDY                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
SLATER, SUE                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SLAUGHTER, CAROLYN              THE MILLER FIRM, LLC SHAH, TAYJES M. 108 RAILROAD AVE. ORANGE VA 22960
SLAUGHTER, FANNIE               SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
SLAUGHTER, NELSA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SLAUGHTER, PAMELA               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SLAUGHTER, PAMELA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SLAVIN, ELYSE                   MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
SLAVIN, JOANNE                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SLAVIN, JOANNE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SLAVIN, LINDA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502



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                                       LTL Management LLC
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                                                  List
                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
SLAWSON, ROSEMARIE              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SLAWSON, ROSEMARIE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SLAY, BONNIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SLAYDEN, RENE                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
SLAYTON, ROSEMARY               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SLAYTON, SARAH                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SLAZYK, CATHY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SLAZYK, CATHY                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SLAZYK, CATHY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SLAZYK, CATHY                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SLAZYK, CATHY                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SLEDGE, EMILY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SLEDGE, LILLIE                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SLEETER, JANET                  POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
SLEMP, LOIS                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SLINGERLAND, MAKIKO             ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                FELLER, JOEL J. PHILADELPHIA PA 19103
SLOAN, BURNADELL                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SLOAN, CAROL                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SLOAN, CRYSTAL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SLOAN, DARCIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SLOAN, EDNA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SLOAN, EDNA                     BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
SLOAN, KRISTINE                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SLOAN, MARGARET                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SLOAN, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SLOAN, VERONICA                 ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
SLOANE, MINDY (MELINDA)         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SLOBE, BEVERLY                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SLOCUM, GAIL                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SLOCUM, JOYCE                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
SLOGGIE, CHERYL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SLOMICZ, BARBARA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SLOMOVIC, LORRAINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SLONE, JENNIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SLONE, TESSA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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                                       LTL Management LLC
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Claim Name                       Address Information
SLOPER, LISA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SLOPER, LISA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SLOPER, LISA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SLOPER, LISA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SLOPER, LISA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SLOTTE, SOPHIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SLOWEY, KATHERINE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SLUCHER, BETTY                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SLUIS, SONYA VER                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SLUSSER, GRACE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SLUSSER, MARJORIE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SLUTSKY, BETTE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SLUTZKIN, JUDITH                SALTZ MONGELUZZI & BENDESKY PC COHAN, JOSHUA C 1650 MARKET ST., 52ND FLOOR
                                PHILADELPHIA PA 19103
SLYCORD, JOSEPHINE              DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SLYCORD, JOSEPHINE              LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
SLYCORD, JOSEPHINE              LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SLYCORD, JOSEPHINE              ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
SLYCORD, JOSEPHINE              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SMAAGAARD, KIM                  THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
SMALL, ARLENE                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SMALL, DARLINE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMALL, EDITH                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMALL, GLADIS                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMALL, MICHELLE                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SMALL, TERRICETA                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SMALL, VERNETTA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMALL, VIVIAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMALLEY, JOANNE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMALLEY, REBECCA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMALLS, MELANIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMALLWOOD, BEVERLY              DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SMALLWOOD, IMA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007



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                                                            Entered 02/17/22 16:31:44             Desc Main
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Claim Name                              Address Information
SMARDO, KERRY                          POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
SMARR, CHERYL                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
SMART, ELSIE                           NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                       11747
SMART, FRANCES                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
SMART, FRANCES                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SMART, LORI                            ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SMART, MELODY                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
SMART, REBECCA                         BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
SMART, ROSE                            WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
SMATHERS, TERRIE                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SMEDLEY, DONNA                         MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                       11050
SMEDLEY, MARIE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMEETON, GINA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMELLEY, JUDY                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SMELLIE, JOAN                          MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                       11050
SMETACEK, RANJANA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SMID, REGINA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMIDDY, LESLIE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SMIGEL, NAOMI                          SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
SMIGIELSKI, BRENDA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SMILEY, ANN                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SMILEY, KRIS                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J 17 EAST MAIN
                                       STREET, SUITE 200 PENSACOLA FL 32502
SMILEY, RAMONA & EST OF RONNIE J SMILEY MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                        YORK NY 10017
SMILEY, SALLY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMILEY, TAMMY                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
SMILEY, TERESA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SMITH (MO), ANN                        GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                       MINNEAPOLIS MN 55402
SMITH (MO), ANN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH (MO), ANN                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SMITH (MO), ANN                        PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SMITH, ADELLE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, ADRIENNE                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231



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Claim Name                       Address Information
SMITH, ALEISA                   LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                NICHOLAS LAKE CHARLES LA 07060
SMITH, ALEISA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, ALEISA                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SMITH, ALEISA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, ALEISA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SMITH, ALEISA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SMITH, ALFREDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, ALICE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, ALISA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SMITH, ALNITA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, AMANDA                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
SMITH, AMANDA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SMITH, AMY                      DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
SMITH, AMY                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SMITH, AMYJON                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SMITH, AMYJON                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, ANN                      GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
SMITH, ANNA                     THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
SMITH, ANNE                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SMITH, ANNE                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SMITH, ANNE                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SMITH, ANNETTE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, ARIEL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, ASHLEY                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SMITH, BARBARA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SMITH, BARBARA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, BARBARA                  COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
SMITH, BARBARA                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
SMITH, BARBARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, BERNICE                  ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SMITH, BETTY                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031


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                                       LTL Management LLC
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                                                  List
                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
SMITH, BETTY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, BETTY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SMITH, BETTY                    LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
SMITH, BETTYE                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
SMITH, BEVERLEIGH               THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
SMITH, BEVERLY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, BONNIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, BRANDY                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SMITH, BRENDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, BRENDA                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SMITH, BRENDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, BRENDA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SMITH, BRENDA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SMITH, BRENDA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SMITH, BRITTANY                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
SMITH, BRITTANY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, BRITTNEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, BRITTNI                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SMITH, BUFFY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, CAMMY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, CANDICE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, CAROL                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SMITH, CAROL                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, CAROL                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, CAROLYN                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
SMITH, CAROLYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, CARRIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, CARRIE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SMITH, CARRIE                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SMITH, CASSIE                   THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
SMITH, CATHERINE                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SMITH, CHARLEEN                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SMITH, CHARLOTTE                TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
SMITH, CHERI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, CHERRY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, CHERYL                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098



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                                       LTL Management LLC
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                                                  List
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Claim Name                       Address Information
SMITH, CHLOE                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SMITH, CHRISTINA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, CHRISTINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, CHRISTINE                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SMITH, CHRISTINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, CHRISTINE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SMITH, CHRISTINE                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SMITH, CINDY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, CLEMENTINE               LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
SMITH, CONNIE                   MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
SMITH, CONNIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, CONNIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, CONNIE                   LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
SMITH, CONNIE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
SMITH, CRYSTAL                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SMITH, CRYSTAL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, CYNTHIA                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
SMITH, DANA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, DARLENE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, DAWN                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SMITH, DAWN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, DEBORAH                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SMITH, DEBORAH                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SMITH, DEBORAH                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
SMITH, DEBORAH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, DEBORAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, DEBRA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, DEBRA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, DELORES                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, DENICE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, DENISE                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SMITH, DENISE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, DENISE                   THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW



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Claim Name                       Address Information
SMITH, DENISE                   ORLEANS LA 70130
SMITH, DENISE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, DESIREE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, DIANA                    PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
SMITH, DIANA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, DIANE                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
SMITH, DIANE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, DIANE                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SMITH, DINA                     THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
SMITH, DONNA                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
SMITH, DONNA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SMITH, DONNA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, DONNA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
SMITH, DORIS                    THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
SMITH, DOROTHY                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SMITH, DOROTHY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, DOROTHY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, EARNESTINE               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SMITH, EARNESTINE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, ELIZABETH                MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
SMITH, ELIZABETH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, ELSIE                    COHEN, PLACITELLA & ROTH 127 MAPLE AVE. PLACITELLA, CHRISTOPHER M. GEIER,
                                DENNIS M. RED BANK NJ 07701
SMITH, EMMA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, ESTA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, EVELYN                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
SMITH, EVELYN                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
SMITH, EVELYN                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
SMITH, EVELYN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, FRANCES                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SMITH, FRANCES                  POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
SMITH, FREDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, GERALDINE                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747



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Claim Name                       Address Information
SMITH, GLORIA                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
SMITH, GLORIA                   FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
SMITH, GLORIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, GLORIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, GLORIA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SMITH, GLORIA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SMITH, GRACE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, GRATHA                   HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
SMITH, GREG                     NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
SMITH, GWENDOLYN                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SMITH, GWENDOLYN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, GWENDOLYN                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
SMITH, HARLENE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, HERMENIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, IDA                      ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SMITH, INEZ                     WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
SMITH, IRA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, IRIS                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, IRMA                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SMITH, IRMA                     BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
SMITH, IRMA                     BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
SMITH, JACQUALYN JOHNSON        MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
SMITH, JACQUELINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, JAMIE                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
SMITH, JAMIE                    WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
SMITH, JANET                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SMITH, JANET                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SMITH, JANET                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, JANET                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SMITH, JANET                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
SMITH, JANET                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SMITH, JANET                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SMITH, JANET                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SMITH, JANICE                   HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
SMITH, JEANNE                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
SMITH, JEANNETTE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, JESSICA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, JESSIE                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SMITH, JILL                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, JOAN                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SMITH, JOAN                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
SMITH, JOANNE                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
SMITH, JOCELYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, JODIE                    THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
SMITH, JOHANNA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SMITH, JUDITH                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SMITH, JUDITH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, JUDITH                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SMITH, JUDY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, JULIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, JULIA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, JULIE                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SMITH, JUSTINE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, KAREN                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SMITH, KAREN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, KAREN                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SMITH, KARLA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, KATHRYN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SMITH, KATHRYN                  THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
SMITH, KATHY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SMITH, KATHY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, KATHY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, KATHY                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017



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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
SMITH, KELLI                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SMITH, KELLI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, KELLI                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SMITH, KELLI                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SMITH, KESHA                    WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
SMITH, KIM                      NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
SMITH, KRISTI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, LAKESIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, LAQUANYA                 TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
SMITH, LARITA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, LARITA                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SMITH, LARITA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, LARITA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SMITH, LARITA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SMITH, LAURA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, LAURETTA                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
SMITH, LAWANNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, LEANNA                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
SMITH, LEE                      GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
SMITH, LEEANN                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
SMITH, LEILA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SMITH, LEILA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, LELA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, LILLIAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, LINDA                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
SMITH, LINDA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SMITH, LINDA                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SMITH, LINDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, LOIS                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, LOIS                     BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
SMITH, LONA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                          Address Information
SMITH, LORI                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, LORI                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, LORRAINE                    BARON & BUDD, P.C. MANN, JONAS 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX
                                   75219
SMITH, LUCY                        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
SMITH, LYNN                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
SMITH, LYNN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, LYNNAM                      DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                   KANSAS CITY MO 64196
SMITH, MARGARET                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
SMITH, MARGARET                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, MARGARET                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, MARIAN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, MARIANNE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, MARIANNE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, MARIANNE                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SMITH, MARIANNE                    PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
SMITH, MARIANNE                    KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
SMITH, MARJORIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, MARTHA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, MARTHA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, MARTHA                      THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                   ORLEANS LA 70130
SMITH, MARY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, MARY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, MARY                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
SMITH, MELINDA                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
SMITH, MI                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
SMITH, MICHAELA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
SMITH, MICHELLE                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SMITH, MICHELLE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, MISA                        ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SMITH, MISA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, MONICA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
SMITH, MONIQUE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
SMITH, NANCY                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                              Address Information
SMITH, NANCY                           MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, NANCY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, NICHOLE                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SMITH, NORA                            BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                       30603
SMITH, PAMELA                          NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                       11747
SMITH, PATRICIA                        NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                       11747
SMITH, PATRICIA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, PATRICIA                        THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
SMITH, PATRICIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, PATRICIA                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SMITH, PATRICIA                        PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SMITH, PATRICIA                        PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
SMITH, PATRICIA                        KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
SMITH, PATRICIA A. ESTATE OF GARY SMITH WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
SMITH, PATSY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, PATTY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, PAULA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, PAULA                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
SMITH, PAULINE                         CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
SMITH, PAULINE                         BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                       75202
SMITH, PERNECIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, PHYLLIS                         ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                       ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
SMITH, PHYLLIS                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
SMITH, PHYLLIS                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SMITH, PRISCILLA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, QUANNAH                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, RACHEL                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SMITH, RAE                             CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
SMITH, RANDA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SMITH, RAQUEL                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, RAQUEL                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SMITH, RAQUEL                          PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SMITH, RENEE                           CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
SMITH, RENEE                           ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031


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Claim Name                       Address Information
SMITH, RENEE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, RITA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, RITA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, RITA                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
SMITH, ROBIN                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SMITH, ROBIN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, ROBYN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, ROMANA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, ROSEMARY                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
SMITH, RUBY                     THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
SMITH, RUTH                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SMITH, RUTH                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, RUTHIE                   HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
SMITH, SAMIERRAH                MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
SMITH, SANDRA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, SANDRA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
SMITH, SANDRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, SANDRA                   THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
SMITH, SANDRA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, SANDRA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SMITH, SANDRA                   REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                BINSTOCK, ROBERT J. HOUSTON TX 77027
SMITH, SARAH                    BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
SMITH, SHANNA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SMITH, SHARO                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, SHARON                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
SMITH, SHARON                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, SHARON                   MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                DAVID M. MINNEAPOLIS MN 55404
SMITH, SHARON                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, SHELBY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SMITH, SHELBY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, SHERRY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, SHERRY                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130



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Claim Name                       Address Information
SMITH, SHERRY                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, MARK DALLAS TX 75202
SMITH, SHIRLEY                  MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
SMITH, SHIRLEY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, SONIA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, SONJA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SMITH, SONJA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, SOPHIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, STACEY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, STACY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, STARR                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, STEPHANIE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SMITH, SUSAN                    SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
SMITH, SUSAN                    GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
SMITH, SUSAN                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SMITH, SUSAN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, SUSAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, SUSAN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, SUSETTE                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SMITH, SUSETTE                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SMITH, SUSETTE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SMITH, SUZANNE                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
SMITH, TAMEKA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, TAMMIE GARZA             SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
SMITH, TAMMY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, TANYA                    WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
SMITH, TARA                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SMITH, TARJI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, TARNASHA                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
SMITH, TAWNYA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SMITH, TERESA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, TERESA                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402



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Claim Name                       Address Information
SMITH, TERESA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, TERESA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SMITH, TERESA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SMITH, TERESA A.                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, TERISHA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SMITH, THOMASINE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, TINA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, TINA                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SMITH, TONDELIA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SMITH, TRACI                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, TRACI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, TRACI                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SMITH, TRACI                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SMITH, TUNYA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, TYRA                     MILLER DELLAFERA PLC 3420 PUMP RD., PMD 404 HENRICO VA 23233
SMITH, VALENE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, VALERIE                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
SMITH, VALERIE                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SMITH, VALERIE                  ASHCRAFT & GEREL, LLP GREEN, J, LYONS, P & PARFITT, M 1825 K STREET, SUITE
                                700, NW WASHINGTON DC 20006
SMITH, VALERIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, VALERIE                  BEASLEY ALLEN CROW METHVIN PORTIS &MILES JAMES, L., ODELL, P. & SCOTT, B. 218
                                COMMERCE STREET MONTGOMERY AL 36104
SMITH, VANESSA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, VERA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, VERNA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, VERONICA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, VICKIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, VIOLA                    BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
SMITH, WANDA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SMITH, WANDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, WANDA                    FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
SMITH, WANDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH, WENDY                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
SMITH, WILLIE                   LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
SMITH, WILLODEAN                HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM


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Claim Name                       Address Information
SMITH, WILLODEAN                AL 03520
SMITH, WILMA                    MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
SMITH, WYNENNA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH, YVETTE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH, YVETTE                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SMITH-BROWN, SHEENA             SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
SMITH-COOPER, JOANN             DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
SMITH-COWAN, TAMMY              THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
SMITH-CRAWFORD, JENNIFER        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH-ERVING, LINDA             MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
SMITH-FERRELL, JANET            ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SMITH-FERRELL, JANET            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMITH-FUTRELL, VIVIAN           DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SMITH-FUTRELL, VIVIAN           LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SMITH-FUTRELL, VIVIAN           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SMITH-GILBERT, ANGELA           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH-JOHNSON, ALICIA           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SMITH-MCCLURE, DOROTHY          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SMITH-MORRIS, RITA              GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
SMITH-MYERS, DEANNE             THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
SMITH-PARKS, LISA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITH-PRIMO, LINDA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITHSON, BARBARA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMITHSON, DIANA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMNITH, HELEN                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SMNITH, HELEN                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
SMOCK, CONNIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMOCK, DIANA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMOLANICK, KATHERINE            DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SMOOT, DEBORAH                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SMOOT, TRACINE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMOTER, SUSAN                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SMOTER, SUSAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SMOTHERMAN, LOUIDA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMOTHERS, BETTY                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW


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Claim Name                       Address Information
SMOTHERS, BETTY                 YORK NY 10017
SMOTHERS, LINDA                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
SMOUDIANIS, CHRISTINE           CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SMULLEN, AUDRA                  WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
SMUZINSKY, JOYCE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMYRNIOTES, JO                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SMYSER, LAURA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMYTH, JANET                    LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
SMYTH, LAUREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SMYTH, PATRICIA                 COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
SMYTHE, PATSY                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SNARR-COALE, MICHELLE           NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
SNEADE, LATOYA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SNEED, CATHERINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SNEED, MARIA                    MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                DAVID M. MINNEAPOLIS MN 55404
SNELL, CORA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SNELL, JANETTA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SNELL, KATHLENE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SNELL, KRISTIN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SNELL, WENDY                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SNELLEN, ANGELA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SNELLGROVE, CHASITY             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SNELLING, DAWN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SNELLING, DAWN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SNELLING, TANYA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SNELLS, SHARHONDA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SNELSON, GAYLE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SNIDER, DOROTHY                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SNIDER, TONIA                   MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
SNIPES, ELNORA                  CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
SNIPES, ELNORA                  BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
SNODEN, REBECCA                 WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112



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Claim Name                       Address Information
SNODGRASS, DONNA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SNOES, JOANN                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SNOES, JOANN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SNOOK, REBECCA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SNOW, CRYSTAL                   HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
SNOW, DEANNA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SNOW, DELYNN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SNOW, JULIE                     BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
SNOW, LISA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SNOW, MYRTLE                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
SNOW, ROBBIN                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SNOW, TONI                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SNOW, WENDY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SNOW-TRUGLIO, WENDY             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SNOW-TRUGLIO, WENDY             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SNOWDEN, DELORES                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SNOWTON, RAQKISHA               THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
SNUIN, SHEILA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SNYDER, BILLIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SNYDER, COLENE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SNYDER, CONNIE                  BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 BUDD, RUSSELL W DALLAS TX
                                75219
SNYDER, KAREN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SNYDER, KIMBERLY                POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                LECKMAN, T. MATTHEW CONSHOHOCKEN PA 19428
SNYDER, LINDA                   DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
SNYDER, MADELINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SNYDER, PHYLLIS                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
SNYDER, ROSALIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SNYDER, SHARON                  BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
SNYDER, SHARON                  SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
SNYDER, SHIRLEY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                          Address Information
SNYDER, SHIRLEY                    MEADOWS, TED G. MONTGOMERY AL 36104
SNYDER, SHIRLEY                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
SNYDER, SHIRLEY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SNYDER, SHIRLEY                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SNYDER, SHIRLEY                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SNYDER, SUSAN                      TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
SO, PAULA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
SOARES, DOROTHY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
SOBER, CHERYL                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
SOBHANI, SHIREEN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOBIESKI, LYNDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOBLES, CHARLOTTE                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SOBOCINSKI, PATRICIA               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
SOBOJINSKI, MONTA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOBOTKA, HELEN                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
SOBOTKER, GLADYS                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
SOBOTKER, GWENDOLYN                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
SOBOTKER, GWENDOLYN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
SOCHACKI, KRISTIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SODDERS, CAROL                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SODERMAN, SANDRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOENS, PATRICIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
SOER, VICKI                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
SOFIELD, KAREN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOFMAN, BESSIE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
SOFMAN, BESSIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOFMAN, BESSIE                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SOFMAN, BESSIE                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SOGOL, ROSALINDA                   SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
SOGUILON, RUTHANN                  MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 09006
SOHN, ROBIN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOILEAU, AMANDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOILEAU, DARLENE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOILEAU, PATRICIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
SOILEAU, PATRICIA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
SOILEAU, PATRICIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOILEAU, PATRICIA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157



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Claim Name                       Address Information
SOILEAU, PATRICIA               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SOIREZ, CHASITY                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SOJKA, DEMARIAS                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
SOJKA, DEMARIAS                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
SOKOLOW, PEARL                  WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
SOLANKY, SHEELA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOLANO, ADELA                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
SOLANO, IRMA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOLARI, DONNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOLBRIG, JUSTINE                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SOLDAN, DENICE                  COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
SOLES, KATHERINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SOLIDUM, JUDITH                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SOLIDUM, JUDITH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SOLIDUM, JUDITH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOLIDUM, JUDITH                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SOLIDUM, JUDITH                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
SOLIS, CAROL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOLIS, CHERIANN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SOLIS, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOLIS, MARIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SOLIS, PIXIE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SOLITRO, ANGELA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SOLIVAN, MIRIAM                 WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
SOLIZ, ELIZABETH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SOLIZ, SARAH                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOLLARS, PATRICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOLLECITO, BECKY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOLMAN, DEBORAH                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SOLOMAN, ANNIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOLOMAN, VERONICA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOLOMON, ELIZABETH              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SOLOMON, MARTHA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SOLOMON, MARTHA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
SOLOMON, MARTHA                 MEADOWS, TED G. MONTGOMERY AL 36104
SOLOMON, PENNY                  TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
SOLOMON, RUTH                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SOLOMON, SUSAN                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
SOLORIO-FIMBREZ, LEAH           DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SOLORIO-FIMBREZ, LEAH           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
SOLORZANO, LILIANA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOLOWSKI, KAREN                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SOLTYS, MITZI                   THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
SOMERS, DEBORAH                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
SOMERS, GERALDINE               BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
SOMMER, JASMINE                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SOMMER-KRESSE, SUE              MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
SOMMERS, THERESA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SONDKER, MICHELE                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
SONGER, BERNARDETTE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SONIA EICHENWALD                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SONIA TAMOLIUNAS                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SONJA SODERSTROM                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SONNIER, MAVIS                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SONNIER, MELISSA                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
SONNIER, SHIRLEY                MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
SONYA BARNES                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SONYA MERRILL                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SONZINI, LINDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SOON, LEAFA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOPER, LISA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOPHRONIA, VICTORIA             SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
SORANO, CATHERINE               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SORENSEN, LARENE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SORENSEN, STEPHANIE             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,


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Claim Name                       Address Information
SORENSEN, STEPHANIE             EMILY FAIRFAX VA 22031
SORENSEN, VICKY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SORENSON, L                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SORENSON, L                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SORIA, MATILDA                  THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
SORIANO, MEGIN                  BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
SORICH-BENDER, NANETTE          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SORRELL, KATHLEEN               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SORRELLS, BESSIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOS, SUSAN                      KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
SOSA, MARIA                     MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
SOSNOSKI, DAWN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOSTEK, GALE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOTELLO, JOYCE                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
SOTO, AMBER                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SOTO, BERNADETTE                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
SOTO, BEVERLEE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOTO, DIANE                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SOTO, IVETTE                    DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
SOTO, MARIA                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SOTO, MARIA                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SOTO, MARIA                     LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
SOTO, MARIA                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SOTO, MARIA                     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
SOTO, MARTHA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOTO, ORALIA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SOTO, PATRICIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOTO, PATRICIA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SOTO, PATRICIA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SOTO, REINA                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SOTO, TERESA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SOTO, VICTORIA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SOTO-MARQUEZ, MARIANA           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SOTO-MARQUEZ, MARIANA           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOTO-MARQUEZ, MARIANA           THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157


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Claim Name                       Address Information
SOTO-MARQUEZ, MARIANA           PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
SOTO-ROMAN, MARIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOTOLONGO, GERALDA              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SOUDER, MARLENE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SOUDERS, MARY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SOUDYN, JILL                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SOUDYN, JILL                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SOUKUP, IRIS                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOUSA, ELAINE                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SOUSS, ROSE                     SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
SOUTER, LINDA                   HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
SOUTHARD, JULIANNE              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SOUTHARD, JULIANNE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SOUTHARD, TERESA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SOUTHARD, THERESA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOUTHCOTT, BONNIE               ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450
                                FELLER, JOEL CASEY, MATTHEW A. PHILADELPHIA PA 19103
SOUTHERLAND, JULIE              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SOUTHERLAND, MARIA              DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SOUTHERN, PATRICIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOUTHWICK, LINDA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SOUTHWORTH, SHARON              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SOUZA, JUDITH                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SOUZA, LORRAINE                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SOUZA, MARGUERITE               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SOUZA, MARIA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SOUZA, NICOLET                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SOUZA, SARA                     GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
SOUZE, SAMANTHA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SOVINSKI, SHARON                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SOVINSKI, TERESA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SOWARDS, MARY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SOWARDS, MARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                              Address Information
SOWARDS, MARY                          MEADOWS, TED G. MONTGOMERY AL 36104
SOWDEN, LINDA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SOWELL, DELORIS                        POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
SOWELL, JUDY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SOWERS, DINA                           PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
SOWERS, FLORENCE                       REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                       BINSTOCK, ROBERT J. HOUSTON TX 77027
SOWLES, JOYCE                          GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                       EDWARDSVILLE IL 62025
SOWRAY, GWENDOLINE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SOYKA-WELLES, SHARI                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SOZA, DELORES                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPAAR, ANN                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SPAAY, KELLY                           DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SPADARO, SALOME                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPADONI, JOAN                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
SPADY, JOSEPHINE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPAETH, LAURA                          WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
SPAHN, CYNTHIA                         EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
SPAIN, BARBARA                         TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
SPAIN, FAY                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPAIN, LINDA LOU                       ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SPAIN,STEVEN EST OF KAREN SUE ANN SPAIN WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
SPALDING, CYNTHIA                      SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                       77098
SPANGENBERG, SUSAN                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
SPANGLER, BARBARA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SPANGLER, LOUISE                       WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
SPANGLER, MARIETTA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPANGLER, TERESA                       ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SPANGLER, TERESA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SPANKO, BRENDA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPANN, LAURIE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPANN, SHERRIE                         HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
SPANO, GRACE                           GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SPANO, ISABEL                          CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                       CHICAGO IL 60602
SPANO, TERRY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPARKMAN, CHASITY                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SPARKMAN, MARGARET                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104


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                                              LTL Management LLC
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Claim Name                              Address Information
SPARKMAN, MARGARET                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                       MINNEAPOLIS MN 55402
SPARKMAN, MARGARET                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPARKMAN, MARGARET                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SPARKMAN, MARGARET                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SPARKMAN, STACEY                       DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                       ANTHONY ST. LOUIS MO 63102
SPARKMAN, STACEY                       LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SPARKMAN, STACEY                       LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                       MANHATTAN BEACH CA 90266
SPARKMAN, STACEY                       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SPARKMAN, STACEY                       ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                       S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
SPARKS, BILLIE                         WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                       DALLAS TX 75219
SPARKS, CINNAMON                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SPARKS, CINNAMON                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPARKS, CINNAMON                       THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SPARKS, CINNAMON                       PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SPARKS, DEBRA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPARKS, JULIA                          GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                       PA 19102
SPARKS, LENORA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SPARKS, MELISA                         ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119
SPARKS, MICHELLE                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SPARKS, PATRICIA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPARKS, PATRICIA                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SPARKS, PAUL AND SPARKS, SAMANTHA      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                       HILL NJ 08002
SPARKS, TONYA                          WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                       NJ 08002
SPARROW, BEVERLY                       SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
SPARROW, LAUREN                        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SPATAFORE, BEVERLY                     THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                       CHARLESTON WV 25301
SPATES, CECILIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPAULDING, DIANA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SPAULDING, SANDRA                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
SPAUN, MICHELLE                        ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119
SPAYER, MARCIA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SPEAKMAN, TERESA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SPEARMAN, MARY                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX



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Claim Name                       Address Information
SPEARMAN, MARY                  77098
SPEARS, ERICA                   ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SPEARS, KIMBERLY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPEARS, LORETTA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPEARS, TANISHA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPEARS-HAMILTON, HELENA         BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
SPECA, ABBEY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SPECHT, ANGELINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPECHT, ELIZABETH               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SPECK, BARBARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPEECE, KAREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPEED, KIMBERLY                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SPEER, IRENE                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SPEER, IRENE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SPEER, JULIE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SPEER, LORI                     WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
SPEER, RAMONA                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SPEES-MCGOW, CHRISTINA          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SPEICHER, MARYANNE              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SPEICHER, MARYANNE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPEIGHT, JACQUELINE             DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SPEIGHT, JACQUELINE             LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
SPEIGHT, JACQUELINE             LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SPEIGHT, JACQUELINE             ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
SPEIGHT, JACQUELINE             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SPEIGHT, KIMBERLY               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SPEIGHT, PAMELA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SPEIGHT, PAMELA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SPEIR, PATRICIA                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
SPEIRS, LINDA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SPELL, JOHNIE                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SPELLER, BETTY                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
SPELLS, VOLETA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SPELLS, VOLETA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SPELMAN, KATHY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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                                                LTL Management LLC
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Claim Name                               Address Information
SPELMAN, KATHY                           MEADOWS, TED G. MONTGOMERY AL 36104
SPELTS, CHANTEL                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPELTS, SPELTS                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPENCE, BETTY                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                         STREET, SUITE 200 PENSACOLA FL 32502
SPENCE, DEBORAH                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
SPENCE, ENECITA                          BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
SPENCE, LINDA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPENCE, ROSEMARY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPENCER, ANN                             THE MILLER FIRM, LLC SHAH, TAYJES M. 108 RAILROAD AVE. ORANGE VA 22960
SPENCER, ANNETTE                         ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                         77007
SPENCER, BETTY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
SPENCER, CAROLYN                         GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                         PA 19102
SPENCER, CATHIE EST OF DOUGLAS SPENCER   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
SPENCER, DARLENE                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
SPENCER, HESTER                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPENCER, JUDITH                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
SPENCER, MARTHA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPENCER, MARVA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
SPENCER, MARY                            KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
SPENCER, MARY                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
SPENCER, MARYANN                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SPENCER, MARYLOU                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPENCER, MIRIAM                          GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SPENCER, PATRICIA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
SPENCER, PATRICIA                        POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
SPENCER, SHERIE                          MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                         ARTHUR M. NEW ORLEANS OH 70130
SPENCER, SHERRY                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
SPENCER, SUSAN                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
SPENCER, TERRY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPENCER, TODD & BHARAMI, MIRIAM          MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                         YORK NY 10017
SPENCER, VENUE                           LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MOSS, JAIME MANHATTAN
                                         BEACH CA 90266
SPENCER, VICTORIA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
SPENNY, GLADYS                           BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                         70130
SPENNY, GLADYS                           BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX


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                                        LTL Management LLC
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Claim Name                       Address Information
SPENNY, GLADYS                  75202
SPERBECK, VIRGINIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPERBER, MARIAN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SPERRY, BETTY                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SPETRINI, PATRICIA              BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
SPETRINI, PATRICIA              BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
SPICER, BARBARA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SPICER, JACQUELINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPIEGEL-WIRHOL, PAMELA          BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
SPIEGEL-WIRHOL, PAMELA          BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
SPIELAR, YAFFA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPIELMAN, LISA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SPIELMAN, LISA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SPIER, KATJE                    BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 NEW ORLEANS LA 70130
SPIEZY, LAURA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SPIKER, BRENDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPIKES, BRENDA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SPIKES, CASSANDRA               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SPIKES, CASSANDRA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SPIKES, SOLAMIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SPIKES-BICKHAM, KELA            MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
SPILLER, GAIL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPILLER, JESSICA                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
SPILLER, JESSICA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPILLERS, DANA                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
SPINA, ELIZABETH                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SPINELLI, JILL                  COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
SPINELLI, JOANNE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SPINK, JUDY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPINKS, VELDA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SPINNER, PATRICIA               THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
SPINNEY, JILL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPINOSI-TKACIK, MARILYNN        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SPITZ, SHEILA                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
SPITZER, DEBORAH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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                                       LTL Management LLC
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Claim Name                       Address Information
SPIVEY, BARBARA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SPIVEY, BERTHA                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
SPIVEY, KATHY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SPLAIN, KATHLEEN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPODOFORA, CARMELA              WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
SPOLLEN, JUDY                   THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 FERRARO, JR., JAMES
                                L. MIAMI FL 33131
SPOON, PATRICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SPOONEMORE, DEBRA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPOONER, CHRISI                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SPOONER, PAMELA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SPORKA, GRACE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPOTTS, JEAN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SPOTTS, NORMA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SPRADLIN, CAROLYN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPRADLIN, LISA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SPRADLIN, TERESA                DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
SPRADLIN, TERESA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SPRAGUE, PATRICIA               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SPRAGUE, TERESA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SPRAGUE, TERESA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SPRAGUE, TERESA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SPRAGUE, TERESA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SPRAKER, FAYE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPRING, CAROLYN                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
SPRINGER, LESLIE                MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
SPRINGER, SARAH                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SPRINGER, SUSAN                 WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
SPRINGER, SUSAN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SPRINGFIELD, APRIL              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SPRINGFIELD, APRIL              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SPRINKLE, MARY                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098



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                                       LTL Management LLC
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Claim Name                       Address Information
SPROUSE, MARLENA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SPRY, DENISE                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SPRY, DENISE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SPURR, JOSEPHINE                SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
SPYCHALSKI, NANCY               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SQUILLACE, NIKI                 WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
SQUIRES, DAWN                   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
SRIDEVI, KORIPELLA              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SRIVANI, JADE                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ST JOHN, AUDREY BALANAY         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ST. ARNOLD, AMY                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ST. CHARLES, ANNA               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ST. CHARLES, ANNA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ST. CLAIR, MELISSA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ST. CLAIR, VIRGINIA             GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
ST. GEORGE, TRUDY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ST. GERMAIN, TAMI               NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
ST. JOHN, DEBBIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ST. JOHN, DEBBIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ST. JOHN, DEBBIE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ST. JOHN, DEBBIE                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ST. LAURENT, SANDRA             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ST. LOUIS, TANIA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ST. MARTIN, CAROL               COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
STAAB, DEBRA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STACEY DOMAGALSKI               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
STACEY, GAIL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STACHELEK, JACQUELINE           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STACHURA, DIANE                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
STACKMAN, GAIL                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. MIGLIORI, DONALD A. MT. PLEASANT SC 29464
STACY, ANN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STACY, HELEN                    SULLO & SULLO, LLP SULLO, ANDREW F. 2020 SOUTHWEST FWY. SUITE 300 HOUSTON TX



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Claim Name                       Address Information
STACY, HELEN                    77098
STACY, JOYCE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STACY, JOYCE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STACY, JOYCE                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
STACY, MAREE                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
STACY, MELISSA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
STACY, SHARON                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
STACY, SHERRIE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
STACY, SHERRIE                  HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
STACY, THORA                    BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
STAFF, KIMBERLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STAFFORD, CASSANDRA             FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
STAFFORD, DONNA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STAFFORD, DONNA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
STAFFORD, DONNA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
STAFFORD, FAY                   BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
STAFFORD, LESLIE                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
STAFFORD, LESLIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STAFFORD, MARY                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
STAFFORD, NANCY                 ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
STAFFORD, PATSY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STAFFORD, SHARON                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
STAFFORD, SHIRLEY               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STAFFORD, WILMA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
STAGER, CHRISTY                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
STAHL, DEBRA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STAHL, DONNA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STAHL, DONNA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
STAHL, DONNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STAHL, DONNA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
STAHL, DONNA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
STAHL, LORA                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
STAHL, LORA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STAHL, RITA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STAHL, SHELBY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STAHLMAN, DARLENE               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
STAIGER, CATHERINE              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006



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                                       LTL Management LLC
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Claim Name                       Address Information
STAIGER, CATHERINE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STALEY, AMY                     EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP EICHEN, BARRY R. - KELLY, JOHN P - 40
                                ETHEL ROAD EDISON NJ 08817
STALEY, BELINDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STALEY, GRACE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STALEY, STACY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STALEY, STACY                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
STALKER, CARON                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
STALKER, CATHERINE              GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
STALKER, PATRICIA               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
STALLARD, NANCEE                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
STALLINGS, CYNTHIA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STALLINGS, LINDA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
STALLINGS, LINDA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STALLIONS, BETTIE               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
STALLIONS, BETTIE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STALLWORTH, MARY                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
STALNAKER, BONNIE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STALNAKER, REBECCA              KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
STALNAKER, VELMA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STALNAKER, VELMA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STALNAKER, VELMA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
STALNAKER, VELMA                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
STAMEY, JULIA                   BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
STAMPER, PATTY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STAMPER, REBECCA                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
STAMPER, REBECCA                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
STAMPER, REBECCA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
STAMPER, VIRGINIA               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
STAMPS, DEBORAH                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
STAMPS, KAREN                   LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
STAMPS, KAREN                   ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
STAMPS, KARMEN                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102



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Claim Name                              Address Information
STAMPS, KARMEN                          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
STAMPS, KARMEN                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                        ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
STAMPS, MARY                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STAMPS, ROSIE                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
STANBURY, DAISY                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
STANCATO, SHIRLEY                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
STAND, ELIZABETH                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STANDEFER, ELIZABETH                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
STANDFORD, RUTHA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STANDIFER, DOROTHY                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
STANDIFER, MELLIE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
STANDING, BARBARA                       ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                        ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
STANEK, PAMELA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
STANFILL, SHIRLEY                       DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
STANFORD, CANDYSE AND STANFORD,, JOHN   LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                        NJ 08648
STANFORD, JENNIFER                      WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                        NJ 08002
STANFORD, ROBIN                         FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
STANGELAND, LINDA                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
STANGELAND, LINDA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
STANGL, DORIS                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
STANGL, DORIS                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STANGL, DORIS                           THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
STANGL, DORIS                           PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
STANKO, JAN                             ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                        LOUIS MO 63119
STANLEY, BETTIE                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
STANLEY, BONNIE                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
STANLEY, BONNIE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
STANLEY, CAROL                          ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                        LOUIS MO 63119
STANLEY, CONNIE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STANLEY, GENA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STANLEY, GENEVIEVE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STANLEY, JANET                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STANLEY, JENNIFER                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
STANLEY, KELLIE                         DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG


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Claim Name                       Address Information
STANLEY, KELLIE                 ANTHONY ST. LOUIS MO 63102
STANLEY, KELLIE                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
STANLEY, KELLIE                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
STANLEY, MARGARET               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STANLEY, MAXINE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
STANLEY, NINA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
STANLEY, NINA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STANLEY, REGINA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STANLEY, ROBYN                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
STANLEY, SHERRY                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
STANLEY, SHIRLEY                MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
STANSBURY, ASHLEY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STANSBURY, KAREN                BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
STANTON, PHYLLIS                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STANTON-IRICK, JEANNE           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STANULA, CATHRYN                SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
STAPELTON, ANGELA               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
STAPELTON, ANGELA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STAPLES, JOAN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STAPLES, KAYLIE                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
STAPLETON, DEBORAH              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
STARCHER, VANESSA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STARK, ELISHA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
STARK, LILLIAN                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
STARK, LOUISE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
STARK, MARY                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
STARK, MARY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STARK, VIRGINIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STARKE, LUWANDA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
STARKES, BONNIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STARKEY, FRANCES                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301



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                                       LTL Management LLC
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Claim Name                       Address Information
STARKEY, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STARKEY, TERRI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STARKS, CHERYL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STARKS, DOROTHY                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
STARKS, ERNETTE                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
STARKS, LAWANDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STARKS, ROBIN                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
STARKS, SAUNDRA                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
STARKWEATHER, DOLORES           THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
STARLING, MARY                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
STARMAN, KIM                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
STARMAN, KIM                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STARNES, LILLIAN                FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
STARNES, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STARNES, TAMYRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STAROSKY, MICHELLE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STARR, DEON                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STARR, IZETTA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
STARR, JILL                     DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
STARR, LISA                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
STARR, LOIS                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STARR, RENEE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STARR, SALLYE                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
STARR, VICKIE                   MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
STARUCH, MARGARET               MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
STASNY, BEVERLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STATEN, MARQUITA                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
STATEN, SUE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STATEN, VESTOR                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
STATFELD, ADRIENNE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STATHAM, JEANNE                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
STATHOULIS, JOANNE              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN



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Claim Name                       Address Information
STATHOULIS, JOANNE              STREET, SUITE PENSACOLA FL 32502
STATLER, PAMELA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
STATON, BARBARA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STAUBER, KAROL                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
STAUFFER, CINDY                 SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
STAVESKI, PATRICIA              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
STAVESKI, PATRICIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STAZO, LISA                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
STEADHAM, DEBBIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEADMAN, RHODA                 HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
STEARN, MELISSA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STEARNS, NORMA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
STEARNS, NORMA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STEARNS, VICTORIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEARNS, VICTORIA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
STEBELTON, KYLEEN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEDMAN, KATHRYN                BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
STEEDMAN, NORMA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEELE, ANGELA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
STEELE, BOBBIE                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
STEELE, CARMELA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEELE, FELICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEELE, GAIL                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STEELE, GAIL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEELE, GAIL                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
STEELE, GAIL                    PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
STEELE, GAIL                    KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
STEELE, JEANETTE                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
STEELE, JEANNE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
STEELE, JUSTINE                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
STEELE, MACKENZIE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
STEELE, ROSEMARIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEELE, SANDRA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
STEELE, TAMIKA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEELE, TAMMY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEELE-SCHAEFFER, JUDY          CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY


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Claim Name                       Address Information
STEELE-SCHAEFFER, JUDY          14202-3725
STEEN, ELISHA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STEENBLOCK, BESSIE              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
STEENS, LA RAYNE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEENS, LA RAYNE                SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
STEFFEE, PATRICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEFFEN, DARLENE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STEFFEY, JO                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
STEGALL, ELANE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STEGEMAN, TEDDIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEGER, GLENDA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
STEHL, TONI                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
STEHLER, CAROLYN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STEHLY, JEANELLE                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
STEIGER, MARY                   HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH CARROLL, ANNA M. BROSS,
                                WILLIAM L. BIRMINGHAM AL 03520
STEIGERWALT, RUTH               NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
STEIN, JANET                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEIN, JILLYAN                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
STEIN, JULIANNE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEIN, JULIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEIN, MARCIA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
STEIN, NINA                     THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                FERRARO, JR, JAMES L MIAMI FL 33131
STEIN, PAMELA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
STEIN, ROCHELLE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEINBACH, LEANNE               BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
STEINBERG, ASHLEY               SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
STEINBERG, ASHLEY               BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. BUDD,
                                RUSSELL W DALLAS TX 75219
STEINBERG, ELENN                ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                WASHINGTON DC 20006
STEINBERG, HARRIET              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEINBERG, SANDRA               WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
STEINER, KAREN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEINER, LINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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                                           LTL Management LLC
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Claim Name                           Address Information
STEINER, MARY                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
STEINER, RUTH                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEINKE, MARY                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
STEINKIRCHNER, CHRISTINE            DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
STEINKRAUS, LUCIA                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
STEINKRAUS, LUCIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEINLINE, STEPHANIE                DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                    KANSAS CITY MO 64196
STEINLINE, STEPHANIE                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                    77098
STELIGA, GAIL                       GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                    PA 19102
STELK, THERESA                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
STELLA SEGUN                        DAVIS, BETHUNE & JONES, L.L.C. DAVIS, GRANT L. 1100 MAIN STREET, SUITE 2930
                                    KANSAS CITY MO 64196
STELLNER, MARLENE                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                    ORANGE VA 02296
STEMM, CYNTHIA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
STEMPER, AMANDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEMPF, KATHRYN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEMPLE, CATHERINE                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                    EVAN D. EDWARDSVILLE IL 62025
STEMPLE, SYLVIA                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                    BOUNDAS, JOHN T. HOUSTON TX 77017
STENGEL, ROBERT                     WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                    HILL NJ 08002
STENHOUSE, CAROL                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                    ORANGE VA 02296
STENNETT, KIM                       DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                    ANTHONY ST. LOUIS MO 63102
STENNETT, KIM                       LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
STENNETT, KIM                       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                    ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
STENNETT, KIMBERLY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
STENSKE, DOROTHY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STENSON, SHADEE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STENTIFORD, ELEANOR                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEPANETS, OLGA                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                    77007
STEPHANIE SEILER                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                    LOUIS MO 63119
STEPHANIE SMITH                     MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
STEPHEN, KALISH, AND , SUZANNE      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                    NJ 08648
STEPHEN, LINDA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
STEPHENS, BARBARA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104



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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
STEPHENS, BETTY                 JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
STEPHENS, BOBBIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STEPHENS, CRYSTAL               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
STEPHENS, DEBORAH               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
STEPHENS, DEBORAH               BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
STEPHENS, DEBORAH               BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
STEPHENS, GERALDINE             BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
STEPHENS, GERALDINE             BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
STEPHENS, KARLEEN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STEPHENS, KATHY                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
STEPHENS, REBECCA               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
STEPHENS, RHONDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEPHENS, SANDRA                LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
STEPHENS, SHARON                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEPHENS, SHIRLEY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEPHENS, SHIRLEY               BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
STEPHENS, TOINETTE              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
STEPHENS, TREVIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STEPHENS, VERA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STEPHENS, VICKY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STEPHENSON, ALICIA              DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
STEPHENSON, HELEN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEPHENSON, JENNIFER            DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
STEPHENSON, JENNIFER            LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
STEPHENSON, JENNIFER            LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
STEPHENSON, JENNIFER            ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
STEPHENSON, JENNIFER            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
STEPHENSON, KAREN               DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
STEPHENSON, KATHERINE           FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
STEPHENSON, LOIS                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
STEPHENSON, VERA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
STEPNITZ, CONNIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEPNITZ, CONNIE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STEPP, SYLVANIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STEPPE, WENDY                   DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
STEPPER, SUZANNE                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
STERBA, WANDA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
STERGION, MARCIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STERIS, PENNY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STERLING, MARTHA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STERMER, ASHLEY                 FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
STERN, GEORGIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STERN, JANA                     BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
STERN, JUDY                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
STERN, JUDY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STETHEM, JANET                  WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
STETTNER, JEAN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STETTNER, SUZI                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
STEUBER, PATRICIA               THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
STEVEN, JENIFER                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STEVENS, ANGELA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEVENS, BARBARA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEVENS, BETTE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STEVENS, DEBRA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STEVENS, FRANCES                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEVENS, GWENDOLYN              KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
STEVENS, JEAN                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
STEVENS, JOSEPHINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEVENS, KRISTINE               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
STEVENS, LARA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
STEVENS, MARGARET               ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
STEVENS, MARGARET               TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
STEVENS, MARIA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
STEVENS, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
STEVENS, MICHELLE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEVENS, NANCIANNE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEVENS, NICOLE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STEVENS, NILA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
STEVENS, PAMELA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEVENS, PATRICIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STEVENS, TABATHA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
STEVENS, TERESA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEVENS, TERRI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEVENS, ULLA                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
STEVENS-MOLER, ALMA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEVENSON, CLAUDIA              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
STEVENSON, CLAUDIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STEVENSON, COLLEEN              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
STEVENSON, JOYCE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEVENSON, JUDY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEVENSON, LINDA                MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
STEVENSON, MARGARET             HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
STEVENSON, MARY JEAN            THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
STEVENSON, SABRINA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEVENSON, SANDY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEVENSON, SHALEILAH            THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
STEWARD, DADRIAN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEWARD, DOROTHY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEWARD, JENNIFER               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEWARD, MELISSA                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
STEWARD, MILDRED                MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
STEWARD, RACHEL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEWART, ALYCEFAYE              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
STEWART, AMBER                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
STEWART, BARBARA                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
STEWART, BARBARA                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
STEWART, BRENDA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STEWART, CANDACE                POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
STEWART, CHARLINE               WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
STEWART, CYNTHIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
STEWART, DARLENE                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
STEWART, DARLENE                BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
STEWART, DEBORAH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STEWART, DEBORAH                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
STEWART, DEBORAH                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
STEWART, DEBORAH                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STEWART, DEENA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEWART, DELLA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STEWART, DIANA                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
STEWART, ESTHER                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STEWART, JEANETTE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STEWART, JULIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STEWART, JULIE                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
STEWART, JUNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEWART, KATHY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEWART, KELLIE                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
STEWART, KELLIE                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
STEWART, KELLIE                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
STEWART, KELLY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STEWART, LAURIELEE              GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
STEWART, LILA                   BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
STEWART, LINDSEY                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
STEWART, LISA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
STEWART, LOISTINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEWART, LUCY                   MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
STEWART, MARILYN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STEWART, NANCY                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
STEWART, PAMELA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
STEWART, PEARL                  EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP EICHEN, BARRY R. & KELLY, JOHN P 40
                                ETHEL ROAD EDISON NJ 08817
STEWART, RACHEAL                LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502


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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
STEWART, RACHEL                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
STEWART, ROSALIND               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
STEWART, SERAH                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
STEWART, SERAH                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
STEWART, SHERRI                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEWART, STACY                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
STEWART, SUSAN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STEWART, SUSAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEWART, TAMMY                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
STEWART, TAMMY                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
STEWART, TERESA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STEWART, TINA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STEWART, TONI                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
STEWART, TONI                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
STEWART, TRACY                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
STEWART, TRACY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STEWART, VALERIE                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
STEWART, VICKI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEWART, VIRGINIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STEWART, YOLANDA                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
STICK, KATHLEEN                 JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
STICKLE, STEPHANIE              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
STICKLER, KASEY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STICKLER, RINA                  THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
STICKLES, JUDITH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STICKROD, JODORA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STIDHAM, BOBBI                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
STIDHAM, REBECCA                KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
STIDHAM, SHARON                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STIGERS, SHONDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STIGGERS, DOROTHY               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
STIGGERS, DOROTHY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STIGLER, MARGARET               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.



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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44             Desc Main
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Claim Name                       Address Information
STIGLER, MARGARET               LOUIS MO 63119
STIGLIANO, DIANE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STIGOL, DR. LUISA               WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
STILES, GINGER                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
STILES, MAUREEN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STILES, PEGGY                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
STILES, REBECCA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STILES, ROBIN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STILL, STACEY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STILL, VALERIE WARDELL          LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET HIGHTOWER, KRISTIE LAKE
                                CHARLES LA 07060
STILLMAN, CHERYL                MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
STILLWAGGON, CHRISTINA          ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                FELLER, JOEL J. PHILADELPHIA PA 19103
STILLWELL, ANDREA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STILTNER, PRISCILLA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STILTNER, PRISCILLA             GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
STILTNER, PRISCILLA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STILTNER, PRISCILLA             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
STILTNER, PRISCILLA             PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
STILWELL, LAURA                 THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
STINER, SHIRLEY                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
STINNETT, CLARA                 ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
STINSON, DEBBIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STINSON, DOROTHY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STINSON, JANET                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
STINSON, JANET                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STINSON, NIKKI                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
STIPE, EARLENE                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
STIRCKLAND, TAMMY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STIRCKLAND, TAMMY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STIRCKLAND, TAMMY               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
STIRCKLAND, TAMMY               PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
STITT, HELEN                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
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Claim Name                       Address Information
STITT, TERI                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STOB, DEBORAH                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
STOCK, DOLORES                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STOCK, DORIS                    MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
STOCK, PATRICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STOCK, VALERIE                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
STOCK, VALERIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STOCKS, MARGARET                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STOCKS, SANDRA                  ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
STOCKS, VICTORIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STOCKTON, JUNE                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
STOCKTON, KATHY                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
STOCKTON, KATHY                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
STOCKTON, KATHY                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
STOCKTON, PATRICIA              BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
STOCKTON, PATRICIA              BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
STOCKTON, SHANNON               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STOCKTON, STPHANIE              POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
STOCKTON, TAMALYN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STOCKTON, TAMALYN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STOCKTON, TAMALYN               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
STOCKTON, TAMALYN               PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
STOCKTON, TAMALYN               SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
STOCKTON, TONYA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STOCKUM, ANDREA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STODDARD, DEBORAH               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
STODDARD, KATHLEEN              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STODDARD, KATHLEEN              GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
STODDARD, KATHLEEN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STODDARD, KATHLEEN              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
STODDARD, KATHLEEN              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
STODDARD, REBECCA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STODDARD, SHARON                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
STODGHILL, JANICE               DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
STODOLAK, DAVID D               MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                YORK NY 10017
STOEHR, DEBRA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
STOEHR, DEBRA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
STOERMER, DORIS                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
STOFER, DARLENE                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
STOGNER, DORIS                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
STOGNER, TERRY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STOIA, SHARON                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STOJANOVIC, JANET               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
STOKER, MARGARET                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STOKES, ADRIENNE                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
STOKES, DESTINE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STOKES, HAZEL                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
STOKES, IDA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STOKES, JEAN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STOKES, JENNIFER                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STOKES, RHONDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STOKES, RYONNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STOKES, SANDRA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
STOKES, SANDRA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STOKES, TAWANAHA                KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
STOKES, VICKIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STOKES-SOTHERN, EMMA            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STOKMAN, LINDA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
STOKMAN, LINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
STOLLER, SHEENA                 TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
STOLLER, SYLVIA                 SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
STOLTZFUS, GAIL                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STOLTZFUS, TERRI                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
STOMMEL, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STONE, DANIELLE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STONE, DEBBIE                   SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573



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Claim Name                       Address Information
STONE, DEBBIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STONE, DEBBIE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
STONE, DEBBIE                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
STONE, HELEN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STONE, JENNIFER                 THE MILLER FIRM, LLC SHAH, TAYJES M. 108 RAILROAD AVE. ORANGE VA 22960
STONE, JOHANNA                  WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
STONE, JUDITH                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
STONE, KATHLEEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STONE, MARY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STONE, PAMELA                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
STONE, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STONE, RENEE                    SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
STONE, RITA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STONE, TAMARA                   BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
STONE, TINA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STONEHOCKER, BARBARA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STONER, EUGENIA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
STONER, JENNY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STONER, KATHLEEN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STONER, YVONNE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STONICHER, SARAH                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
STONICHER, SARAH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STONITSCH, RENEE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STOPCHINSKI, SUSAN              GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
STOPCYNSKI, HELENE              GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
STOPINSKI, DIANA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
STORANDT, KAREN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STORANDT, KAREN                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
STORANDT, KAREN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STORANDT, KAREN                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
STORANDT, KAREN                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
STORLIE, POLLY                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
STORM, CATHY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
STORM, LISA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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                                                      Entered 02/17/22 16:31:44             Desc Main
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Claim Name                       Address Information
STORTI, JANET                   DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
STORY, BARBARA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STORY, BARBARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STORY, BARBARA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
STORY, BARBARA                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
STORY, BARBARA                  KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
STORY, DAWN                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
STORY, JANELLE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STOTLER, MELVA                  COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
STOTT, DELORIS                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR. MARK P. KAR NEWPORT BEACH CA 92660
STOTT, DONNA                    KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
STOTTS, SANDRA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
STOUDERMIRE, MARY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STOUFFER, JUNE                  TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
STOUGH, RENITA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
STOUGH, RENITA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STOUT, CAROLYN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STOUT, ETHEL                    WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
STOUT, LORETTA                  WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
STOUT, MONICA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STOUT, MONICA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
STOUT, NICOLE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
STOUT, SHERRI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STOVALL, GLADYS                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STOVALL, KYRA                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
STOVALL, LENA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STOVALL, LOU                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STOVER, ALMA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STOVER, ALMA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STOVER, ALMA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
STOVER, CASEY                   SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
STOVER, LANARMA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STOVER, PAMELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STOVER, REBECCA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
STOVER-POLK, KAROL              DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
STOWE, RITA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231


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                                       LTL Management LLC
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                                                  List
                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
STOWE, ROBIN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STOWELL, NANCY                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
STOWERS, ANITA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
STOWERS, MARY                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
STRAATMAN, SUSAN                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
STRABEL, JEANNE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STRACHN, MILDRED                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STRADFORD, LASHAE               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
STRAHAN, RAMONA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
STRAHAN, RYNDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STRAIGHT, LAURA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
STRAIN, GLADYS                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STRANDVOLD, FREDA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STRANGE, JANICE                 ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
STRATER, ERIN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STRATHY, LORRAINE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STRATTON, JUDITH                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
STRATTON, NANCY                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
STRATTON, NANCY                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
STRATTON, NANCY                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
STRATTON, NANCY                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
STRATTON, NANCY                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
STRATTON, NINA                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
STRATTON, PAT                   THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
STRATTON, STEPHANIE             DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
STRAUB, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STRAUBE, SHARI                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
STRAUGHN, DENA                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
STRAUSE, CAROL                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STRAWHORN, PHYLLIS              DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
STRAWHORN, PHYLLIS              LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266


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Claim Name                       Address Information
STRAWHORN, PHYLLIS              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
STRAWTHER, MARY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STREET, ELIZABETH               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
STREET, JANICE                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
STREET, JANICE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STREET, MELBA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
STREET, PATRICIA                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
STREET, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STREETER, CLAUDETTE             ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
STREETER, STEVEN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STREEVAL, BETTY                 WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
STRELAU, JADWIGA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STRELEC, CRYSTAL                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
STRELECKY, LISA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STRETZ, MELISSA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STRICKLAND, CAROLYN             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STRICKLAND, ELIZABETH           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STRICKLAND, NELL                CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
STRICKLAND, NELL                BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
STRICKLAND, OLIVIA              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
STRICKLAND, PEGGY               NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
STRICKLAND, STACEY              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STRICKLAND, VONDA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STRICKLEN, MONICA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STRICKLEN, MONICA               GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
STRICKLEN, MONICA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STRICKLEN, MONICA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
STRICKLEN, MONICA               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
STRIEGLE, ALICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STRINGER, BECKY                 TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
STRINGER, DOROTHY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STRINGER, KATHERINE, SR.        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STRINGER, LOLA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STRINGFELLOW, MARTHA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STRINGFELLOW, MOESHA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                           Address Information
STRINGFELLOW, THOMAS AND KAREN      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                    NJ 08648
STRINGHAM, HEIDI                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                    77098
STRNAD, LAURIE                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                    77098
STROBL, LINDA                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                    77098
STROBL, PAULETTA                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                    11747
STROH, NORMA                        DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                    ANTHONY ST. LOUIS MO 63102
STROH, NORMA                        LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
STROH, NORMA                        LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                    MANHATTAN BEACH CA 90266
STROH, NORMA                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                    ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
STROH, NORMA                        ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                    S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
STROHL, JANE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STROJEK, KATHLEE                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                    11747
STROM, BERNADETTE                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                    MINNEAPOLIS MN 55402
STROM, LYNN                         THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
STRONEY, MARIE                      GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                    PA 19102
STRONG, AMANDA                      THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                    ORLEANS LA 70130
STRONG, BARBARA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
STRONG, DENISE                      BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                    70130
STRONG, JULIANNE                    ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                    ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
STRONG, REBECCA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STRONG, RENA                        MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                    YORK NY 10017
STRONG, SHEREE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
STRONG, TERRINA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                    75231
STRONG, WANDA                       MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
STROTH, REBECCA                     BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                    70130
STROTH, REBECCA                     BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                    75202
STROTHER, CRYSTAL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STROTHER, CRYSTAL                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
STROTHER, CRYSTAL                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
STROUD, GLORIA                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
STROUD, GLORIA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104


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                                       LTL Management LLC
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Claim Name                       Address Information
STROUD, GLORIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STROUD, JODENE                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
STROUD, KECIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STROUPE, BEVERLY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STROZIER, DENISKA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STRUBLE, SANDRA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STRUCK, SHARON                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STRUNC, KITTRELL                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
STRUNK, DEBORAH                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
STRUTHERS, NANCY                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
STRUVE, DARLENE                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
STRYJEWSKI, LORETTA             CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
STRYKOWSKI, IDA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
STUART, ANNA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STUART, CONNIE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
STUART, FRAN                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
STUART, IRMA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STUART, JILL                    BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
STUART, JILL                    BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
STUART, SHANA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
STUART, UNNI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STUBBS, BEATRICE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STUBBS, PAMELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STUBBS, SABRINA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STUBBS, SANDRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STUCHENKO-SPARKS, JO-ANN        JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
STUCKENSCHEIDER, CHANEL         JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
STUCKER, DEBORAH                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
STUCKER, MARILYN                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
STUCKER, PATRICIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STUCKERT, STACY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                       Address Information
STUCKERT, STACY                 75231
STUCKEY, NIHIVAH                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
STUCKEY, OLLIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STUDEBAKER, MARGARET            THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
STUESSEL, SAMANTHA              EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
STUKES, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STULL, BONNIE                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
STUMP, MICHELLE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
STUMPF, DOROTHY                 BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
STUMPF, LAVERNE                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
STUMPF, LAVERNE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STUMPF, LAVERNE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
STUMPF, LAVERNE                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
STUMPF, NICHOLE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
STUMPF, NICOLE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STUMPF, SUSAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STUMPNER, MARY                  TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
STUPKA, LAUREL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STURDIVANT, DOTSIE              SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
STUREY, SHARON                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
STURGEON, JUDY                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
STURGILL, BESSIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STURGILL, JENNY                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
STURGILL, NANCY                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
STURGIS, BETTY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STURMAN, JOYCE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
STURMAN, JOYCE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STURMAN, JOYCE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
STURMAN, JOYCE                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
STURN, VIDA                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
STUSAK, MARILYN                 CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
STUSAK, MARILYN                 BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
STUSAK, MARILYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STUSAK, MARILYN                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
STUSAK, MARILYN                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
STUTES, SHEILA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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                                              LTL Management LLC
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                                                            Entered 02/17/22 16:31:44            Desc Main
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Claim Name                             Address Information
STUTSMAN, AMANDA                       ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119
STUTSON, REBECCA                       EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
STUTTERS, KATHERINE                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                       PR 00918
STUTZMAN, MALORA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
STYLES, PATRICIA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
STYRON, PATRICIA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SUAREZ, BELKIS                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
SUAREZ, CHARMIAN                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
SUAREZ, ISABEL EST OF FRAY A. SUAREZ   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                       HILL NJ 08002
SUAREZ, KELLY                          DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                       ANTHONY ST. LOUIS MO 63102
SUAREZ, KELLY                          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SUAREZ, KELLY                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SUAREZ, LUCY                           CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
SUBASIC, JOANN                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SUBER, EVELYN                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
SUBER, JEAN                            ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
SUBER, JEAN                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SUBER, LYNNE                           WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
SUBER, MISTY                           GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                       EDWARDSVILLE IL 62025
SUCHANEK, WILVA                        FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SUCHOMEL, MARY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SUCI, PARNI                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SUCKER, CARRIE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SUDDS, AMIE                            GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SUDLER, OMYRA                          GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SUEDEKUM, JERI EST OF ALMON SUEDEKUM   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                       HILL NJ 08002
SUERKEN, PATRICIA                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
SUESS, LIZBETH                         CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                       14202-3725
SUGERMAN, ARLENE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
SUHR, AURA                             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
SUHREPTZ, NANCY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
SUIRE, ROXANE                   LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
SUIRE, ROXANE                   ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
SUIRE, ROZANE                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SUIRE, ROZANE                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SUIRE, ROZANE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SUJETA, NORMA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SUKSDORF, CHRISTINA             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SULA, BARBARA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SULE, VERNETTA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SULGIT, PRISCILLA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SULKOWSKI, DEBORAH              SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
SULLIVAN, BARBARA               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SULLIVAN, BETTY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SULLIVAN, BEULAH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SULLIVAN, BRENDA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SULLIVAN, CARRIE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SULLIVAN, CHARLOTTE             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SULLIVAN, DEBORAH               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SULLIVAN, EMILY P.              GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
SULLIVAN, HELEN                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SULLIVAN, HELEN                 WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
SULLIVAN, INGRID                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SULLIVAN, JACQUELYN             GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SULLIVAN, JEANETTE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SULLIVAN, LACINDA               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
SULLIVAN, LAURA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SULLIVAN, LENORE                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SULLIVAN, LINDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SULLIVAN, LINDA                 THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
SULLIVAN, LORETTA               JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101


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                                       LTL Management LLC
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Claim Name                       Address Information
SULLIVAN, MARGARET              MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
SULLIVAN, MARY                  LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET KOHRS, NICHOLAS HIGHTOWER,
                                KRISTIE LAKE CHARLES LA 07060
SULLIVAN, MARY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SULLIVAN, MAUREEN               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SULLIVAN, MELANIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SULLIVAN, MICHELLE              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SULLIVAN, MIRIAM                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SULLIVAN, PHYLLIS               WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
SULLIVAN, REBECCA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SULLIVAN, ROSEMARY              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SULLIVAN, RUBY                  FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
SULLIVAN, SANDRA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SULLIVAN, SHANNA                SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
SULLIVAN, SPENYADA              WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
SULLIVAN, TEANICKE              DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
SULLIVAN, TINA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SULLIVAN-MYERS, CHANTEL         NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
SULLIVAN-WATKINS, TAMMY         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SULLO & SULLO, LLP              2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX 77098
SULLO, JULIA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SULTZE, CYNTHIA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SUMMER, TRACY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SUMMERLIN, DONNA                BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
SUMMERS, CAROL                  HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
SUMMERS, CAROL                  CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
SUMMERS, DEEANNA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SUMMERS, FRANCES                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SUMMERS, JACQUELYNE             ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SUMMERS, MICHELLE               SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
SUMMERS, SUSAN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SUMMERSET, PRISCILLA            MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
SUMMERVILLE, BARBARA            THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.



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                                       LTL Management LLC
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Claim Name                       Address Information
SUMMERVILLE, BARBARA            ORANGE VA 02296
SUMNER, CHERYL                  CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
SUMNER, CHERYL                  BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
SUMNER, DIANA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SUMNER, DIANA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
SUMNER, VICKY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SUMPLE, JOANN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SUMPTER, BETTY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SUMPTER, LINDA                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
SUMPTER, LOLITA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SUMPTER, LOLITA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SUMPTER, LOLITA                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
SUMPTER, LOLITA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SUMPTER, LOLITA                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
SUMPTER, THERESA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SUMPTER, WALDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SUNDAY, PAMELA                  FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY DALLAS TX 75231
SUNDE, KAREN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SUNDERMAN, SHERRI               SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
SUNDERMEYER, JUDY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SUNDGREN, KELLY                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SUNDY, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SUNSHINE, CINDY                 DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
SUPPLE, CHRYSTAL                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SURAEZ, MIRIAM                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SURBER, BARBARA                 WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
SURBER, SIOBHAN                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SURETTE, GLADYS                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SURGENER, LINDA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SURGENER, LINDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SURLES, BERNIECE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SURMAN, DEBRA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SURMAN, DEBRA                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.



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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
SURMAN, DEBRA                   MINNEAPOLIS MN 55402
SURMAN, DEBRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SURMAN, DEBRA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SURMAN, DEBRA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SURMAN, ELIZABETH               BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
SURRENCY, EDITH                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SURRENCY, LISA                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
SUSAN BRIDGERS                  MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
SUSAN DOBRZENIECK               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SUSAN FLESHMAN                  MCSWEENEY/LANGEVIN, LLC MCSWEENEY, RHETT A. 2116 SECOND AVENUE SOUTH
                                MINNEAPOLIS MN 55404
SUSAN HAEFNER                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
SUSAN RICHIE                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SUSAN SIMPSON                   TORHOERMAN LAW LLC DAVIS, STEVEN 101 W. VANDALIA SUITE 350 EDWARDSVILLE IL
                                62025
SUSANNA MAGNUSON                EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP EICHEN, BARRY R. & KELLY, JOHN P. 40
                                ETHEL ROAD EDISON NJ 08817
SUSANNE TOBACK                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
SUSCHANKE, ALICE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SUSEWIND, BRENDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SUSKA, CAROLYN                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SUTCLIFFE, S.                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
SUTCLIFFE, S.                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SUTER, DEAN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SUTHERLAND, DIANNA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SUTHERLAND, RUTH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SUTHERLAND, SHENINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SUTTER, GLORIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SUTTLE, LAURA                   SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
SUTTLE, LAURA                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
SUTTLE, LAURA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SUTTLE, LAURA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SUTTLE, LAURA                   LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
SUTTLE, LAURA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SUTTLE, LAURA                   ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660



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                                       LTL Management LLC
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Claim Name                       Address Information
SUTTON, BARBARA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SUTTON, DANIELLE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SUTTON, ELSIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SUTTON, ESSIE                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
SUTTON, ESSIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SUTTON, KATHY                   WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
SUTTON, MELISSA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SUTTON, ROSITA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SUTTON, SHEILA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SUTTON, SUZANNE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SUTYAK, JUDY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SUZANNE FRICK                   WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
SUZUKI, AGNES                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
SVANDA, DEBBIE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SVATEK, KATHRYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SVELMOE, DEBRA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SWAFFORD, CAROL                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
SWAIM, SELINA                   WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
SWAIN, ADA                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SWAIN, DEBORAH                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SWALLOW, LISA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SWALLOWS, JENNY                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
SWAN, CAROLYN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SWAN, KAREN                     CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
SWAN, MARION                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SWANAGER, VICKI                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
SWANCUTT, LAUREEN               GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SWANER, NANCY                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
SWANEY, ANNA                    SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
SWANEY, PEGGY                   BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
SWANGER, DIANE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                       Address Information
SWANGO, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SWANN, GLORIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SWANN, VALERIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SWANN, VALERIE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SWANN, VALERIE                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SWANSON, BONNIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SWANSON, CHERRY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SWANSON, DELIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SWANSON, ELIZABETH              DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
SWANSON, FRANCES                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SWANSON, HEIDI                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SWANSON, HEIDI                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SWANSON, JOYCE                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
SWANSON, MARTHA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
SWANSON, NICOLE                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
SWANSON, SALLY                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
SWARTLING, LORRAINE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SWARTS, JOYCE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SWARTZ, LYNETTE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SWEANEY, JODI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SWEARINGEN, LESLIE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SWEARINGEN, LESLIE              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SWEARINGEN, LESLIE              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SWEARINGIN, BRENDA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SWEARINGTON, LESLIE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SWEAT, LORA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SWEAT, ROBERTA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SWEATT, MARILYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SWECKER, BRENDA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SWECKER, CAROLYN                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SWEDBERG, KRISTY                BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
SWEEDEN, LOUISE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SWEENEY, CATHY                  SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
SWEENEY, CLAUDIA                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
SWEENEY, JOYCE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SWEENEY, JUDY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006



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Claim Name                       Address Information
SWEENEY, JUDY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SWEENEY, KIMBERLY               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SWEENEY, LINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SWEERE, SHELLEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SWEET, DONNA                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SWEET, ELIZABETH                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SWEET, PENNY                    JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
SWEETEN, MELISSA                DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
SWEETMAN, LINDA                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
SWEETSER, ANN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SWEGLE, KAE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SWEIS, ELEN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SWEITZER-SIMENTAL, TAMMY        DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
SWENSON, BEVERLY                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
SWENSON, CLAUDIA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
SWENSON, JANICE                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SWENSON, JESSIE                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
SWENSON, MARLYN                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SWENSON, MARLYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SWEOWAT, AGNES                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SWETISH, ELIZABETH              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SWETMAN, KATHLEEN               MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
SWETS, LINDA                    POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
SWETT, MARY                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
SWIACKE, MARIA                  EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP EICHEN, BARRY R. & KELLY, JOHN P 40
                                ETHEL ROAD EDISON NJ 08817
SWIFT, MARY                     POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
SWIFT, STAR                     BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
SWIGER, LISA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SWIHART, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SWINDALL, MARY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SWINDELL, MARGARET              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SWINDLE, ELIZABETH              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098



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                                       LTL Management LLC
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Claim Name                       Address Information
SWINDLE, KAREN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SWINDLE, SUE                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
SWINDLE, SUE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SWINDLEHURST, CYNTHIA           ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SWINDLEHURST, CYNTHIA           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SWINEY, ARETHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SWING, LOUISE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SWINNEY, MELINDA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
SWINT, DOROTHY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SWISHER, JEANETTE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SWITZER, CHRISTINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SWOPE, DEBRA                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
SWOPE, DEBRA                    THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
SWOPE, MARY                     THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
SWOPE, MELINDA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
SWORD, MARGARET                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SYAS, ELIZABETH                 HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
SYAS, EMMA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SYBERT, LORRIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SYBERT, LORRIE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SYBERT, LORRIE                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SYBERT, PAMELA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
SYED, YASMIN                    LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET HIGHTOWER, KRISTIE LAKE
                                CHARLES LA 07060
SYKES, CARLEN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SYKES, CARLEN                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
SYKES, CARLEN                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
SYKES, LOUISE                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
SYKES, SHELIA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
SYKES, STEPHANIE                LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
SYLVESTER, DOROTHY              MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
SYLVESTER, JEANNE               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
SYLVESTER, TIKIRA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
SYLVIA GARCIA                   BISNAR AND CHASE ANTURNOVICH, TOM & CHASE, BRIAN D. 1301 DOVE STREET, SUITE
                                120 NEWPORT BEACH CA 92660
SYLVIA HERTL                    BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                COMMERCE STREET MONTGOMERY AL 36104


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                                               LTL Management LLC
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Claim Name                              Address Information
SYMES, KRISTINE                         THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
SYMMONDS, TINA                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                        77098
SYNCHUK, LYUDMYLA                       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                        ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
SYNDER, NANCY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SYNDOR, STEPHANIE                       NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                        11747
SYSLO, BEVERLY                          GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
SYSOUVANH, LUANN                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
SYX, SHELIA                             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
SYX, SHELIA                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
SZABLEWSKI, LINDA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SZABO, JANICE                           FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
SZCZERBA, MARY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
SZCZESNY, MARIANNE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
SZE-DONGHIA, MICHELE                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                        11747
SZITAS, VIRGINIA                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                        ORANGE VA 22960
SZITAS, VIRGINIA                        HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                        46290
SZOLUSHA, LENORA                        THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                        CHARLESTON WV 25301
SZUMERA, KELLY                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                        ORANGE VA 02296
SZWAJKOWSKI, BRITTANY                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                        PA 19102
SZYMANSKI, MARGARET                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
SZYMIK, MARY                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
TABAG, LORETTA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
TABAG, LORETTA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TABAG, LORETTA                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TABARINI, CHRISTINA                     MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                        KNOXVILLE TN 37929
TABB, CHAMIKA                           ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
TABB, JACULINE                          FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TABB, KIMBERLY J. AND TABB, ROBERT L.   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
TABOR, ENZIL                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TABOR, PEGGY                            FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                        THOMAS ROE NASHVILLE TN 37215
TABOR, SARA                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TABOR, SARAH                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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                                       LTL Management LLC
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Claim Name                       Address Information
TABOR, SARAH                    MEADOWS, TED G. MONTGOMERY AL 36104
TABOR, SHERRY                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
TACKABURY, LYN                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
TACKER, LISA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
TACKER, SHIRLEY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TACKER, SHIRLEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TACKER, SHIRLEY                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TACKETT, LATASHA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
TACKITT, JULIA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
TADDEI, KATHRYN                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
TADLOCK, KATHLEEN               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TADROS, ELLEN                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
TADROUS, MAHA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
TAFFEL, CINDY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TAFOYA, LISA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAFT-HICKS, TERRI               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
TAGGART, CAROL                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TAGGART, DIANA                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
TAGGART, DORA                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
TAGUE, LENORA                   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
TAHAJIAN, GERALDINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAHCHAWWICKAH, KIMBERLY         THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
TAHIJA, BONITA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TAHIJA, BONITA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAHIJA, BONITA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TAHIJA, BONITA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TAIBI, LILLIAN                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TAIBI, LILLIAN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TAIT, JENNIFER                  SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
TAKACH, TITANIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TAKOSKY, TASHA                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
TAKOTEY, PENNY                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
TAKUSHI, YOSHIKO                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
TALAMANTES, PATRICIA            DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG


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Claim Name                       Address Information
TALAMANTES, PATRICIA            ANTHONY ST. LOUIS MO 63102
TALAMANTES, PATRICIA            LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
TALAMANTES, PATRICIA            LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
TALAMANTES, PATRICIA            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
TALAMANTES, PATRICIA            ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
TALAMANTES, TOMA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TALARICO, LYNDA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
TALAVERA, ADELAIDA              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TALAVERA, VERONICA              DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
TALBERT, LUWANA                 BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
TALBOT, CAROL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TALBOTT, ROBYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TALBOTT, SHERI                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
TALERICO, ANN                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
TALIAFERRO, LINDA               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
TALIK, EILINE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TALLARIDE, KIM                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TALLEY, BRENDA                  SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
TALLEY, FLORENCE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TALLEY, JUDY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TALLEY, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TALLEY, SUSAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TALLEY, WAYDEN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TALLMAN, LORETTA                HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
TALLMAN, MELISSA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
TALLY, MARY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TALLY, MARY                     LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
TALTON, AMBER                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
TALUCCI, BARBARA                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
TALVACCHIO, SUSAN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TALVACCHIO, SUSAN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TALVACCHIO, SUSAN               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TALVACCHIO, SUSAN               PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
TAM, TAMMY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                          Address Information
TAMASKA, ZITA                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
TAMEZ, ANNA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAMMIE CLARK                       ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
TAMOR, LENA                        MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                   ORLEANS LA 70130
TAN, REGINA                        GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
TANACREDI, GLADYS                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
TANAKA, JOYCE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
TANGUMA, RHONDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TANIS, BERNICE                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
TANK, LEE                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
TANKE, ELEANOR                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
TANKERSLEY, APRIL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TANKURSLEY, BONITA                 LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                   SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
TANNAHILL, PAMELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TANNAHILL, PAMELA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TANNAHILL, PAMELA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TANNER, BECKY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TANNER, CATHERINE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                   77098
TANNER, LOIS                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TANNER, QUINELL                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
TANNER, REBECCA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
TANT, ROB                          BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                   75202
TANYA LESTER                       WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                   NJ 08002
TANYER, VERONICA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
TAONUS, REBECCA                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                   SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
TAPIA, MILDRED                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
TAPLEY, ANGELA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAPLEY, KATHY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAPP, BARBARA                      FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TAPP, DEBRA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
TAPP, DEBRA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAPP, DEBRA                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TAPP, DEBRA                        PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768



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                                       LTL Management LLC
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Claim Name                       Address Information
TAPPAN, KADRINA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAPPER, GAIL                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TARABINI, LAURA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TARALLO, MARYANN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TARANGO, DEANNA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TARANTO, MARION                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TARCHEA, TAMMY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TARCZAN, DOLORES                HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
TARCZY, ANTOINETTE              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TARCZY, ANTOINETTE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TARDIF, FRANCES                 CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
TARDIF, FRANCES                 BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
TARLOW, ERIKA                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
TARR, ASHLEY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TARR, LOLA                      BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
TARRIO, STEPHANIE               MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                DAVID M. MINNEAPOLIS MN 55404
TARSKY, ILENE                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
TART, BARBARA                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
TART, WANDA                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
TARVER, SANDRA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TASCHLER, KAREN                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
TASHJIAN, DIAN                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
TASHJIAN, DIAN                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
TASSIO, ANN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TASSONI, PATRICIA               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
TASVIBI, SUZAN                  WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
TAT, MARILYN                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
TATE, ALEXANDRIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TATE, CARRIE                    BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
TATE, CYNTHIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TATE, PAMELA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
TATE, PARA                      LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
TATE, SHARON                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TATE, SHEILA                    THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501


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                                       LTL Management LLC
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Claim Name                       Address Information
TATE, SHIRLEY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
TATE, STEPHANIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TATE, TINA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TATE, TYLANNA                   WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
TATE, VERONICA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
TATE-LEWIS, DENISE              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
TATOR, CAROLYN                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TATRO, JAIME                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TATUM, CAROLYN                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
TATUM, CRYSTAL                  LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
TATUM, FELESIA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
TATUM, JEANETTE                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
TATUM, LILLIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAUBER, AMBER                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
TAUBER, CHRISTINA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TAUBER, CHRISTINA               GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
TAUBER, CHRISTINA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAUBER, CHRISTINA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TAUBER, CHRISTINA               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TAUCHER, LINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TAUFETEE, LAMONA                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
TAUFETEE, LAMONA                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
TAUFETEE, LAMONA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
TAUTEROUFF, MARY                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
TAUTEROUFF, MARY                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
TAUTEROUFF, MARY                LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
TAUTEROUFF, MARY                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
TAUTEROUFF, MARY                ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
TAUZIER, LORETTA                MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
TAUZIN, ANITA                   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929


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                                       LTL Management LLC
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Claim Name                       Address Information
TAVAKE, MARY                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
TAVARES, APRYL                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TAVENDER, SHIRLEY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TAVERA, YORMARY                 BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
TAWANA SAXON-AIKINS             JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
TAWN UNDERWOOD                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
TAWNEY, CAROL                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TAWNEY, CAROL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TAYARA, RANIA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
TAYLOR, ALFREDA                 HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
TAYLOR, AMANDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, AMBER                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
TAYLOR, AMBER                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
TAYLOR, ANASTASIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, ANDREA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
TAYLOR, ANGELINE                LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
TAYLOR, ANNIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, ANNIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TAYLOR, BARBARA                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
TAYLOR, BARBARA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
TAYLOR, BELINDA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TAYLOR, BETTY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TAYLOR, CALLIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TAYLOR, CALLIE                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
TAYLOR, CALLIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, CALLIE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TAYLOR, CALLIE                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TAYLOR, CANDY                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
TAYLOR, CARLA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
TAYLOR, CARMELIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TAYLOR, CAROL                   THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101


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Claim Name                       Address Information
TAYLOR, CAROLYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, CAROLYN                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TAYLOR, CARON                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TAYLOR, CATHLEEN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, CHRISTINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, CYNTHIA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
TAYLOR, CYNTHIA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
TAYLOR, DALE                    MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
TAYLOR, DEBRA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
TAYLOR, DEBRA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TAYLOR, DEBRA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TAYLOR, DENISE                  JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
TAYLOR, DENISE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TAYLOR, DEWANNA                 THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
TAYLOR, DIANE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, DOREEN                  SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
TAYLOR, DOROTHY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TAYLOR, ELIZABETH               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TAYLOR, ELNORA                  WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
TAYLOR, EMILEE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TAYLOR, GABRIELA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, GLORIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, GWENDOLYN               ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
TAYLOR, HATTIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, HELEN                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
TAYLOR, HOLLY                   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
TAYLOR, IOLA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TAYLOR, IOLA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TAYLOR, IRENE                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
TAYLOR, JACQUELINE              JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
TAYLOR, JAMIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, JANET                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
TAYLOR, JEANNE                  WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112



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Claim Name                       Address Information
TAYLOR, JODY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
TAYLOR, JUDITH                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
TAYLOR, JUDITH                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TAYLOR, KIM                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, KIMBERLY                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
TAYLOR, LAURA                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
TAYLOR, LAUREN                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
TAYLOR, LAVERNE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
TAYLOR, LEAH                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
TAYLOR, LETITIA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
TAYLOR, LETITIA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
TAYLOR, LETITIA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
TAYLOR, LINDA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
TAYLOR, LINDA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TAYLOR, LINDA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
TAYLOR, LISETTE                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
TAYLOR, LISETTE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
TAYLOR, LORENNA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
TAYLOR, LORENNA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
TAYLOR, LORENNA                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
TAYLOR, LORENNA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
TAYLOR, LORENNA                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
TAYLOR, MAGGIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TAYLOR, MARCELLA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
TAYLOR, MARIE                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
TAYLOR, MARIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, MARION                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TAYLOR, MARION                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
TAYLOR, MARION                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202


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Claim Name                       Address Information
TAYLOR, MARY                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
TAYLOR, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TAYLOR, MARY                    COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
TAYLOR, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, MELISSA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TAYLOR, MICHELLE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, NICCOLE                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
TAYLOR, OLLIE                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
TAYLOR, PAMELA                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
TAYLOR, PATRICIA                POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                LECKMAN, T. MATTHEW CONSHOHOCKEN PA 19428
TAYLOR, PATRICIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TAYLOR, PATRICIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TAYLOR, PEGGY                   TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
TAYLOR, PEGGY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, PRINA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, RENONDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TAYLOR, REVA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TAYLOR, ROBBIN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TAYLOR, ROBBIN                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
TAYLOR, ROBBIN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, ROBBIN                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TAYLOR, ROBBIN                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TAYLOR, ROSALIND                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, SANDRA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TAYLOR, SANDRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, SAVIITRI                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, SHARON                  THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
TAYLOR, SHEILA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, STEPHANY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, SUSAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, TONI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, TRACY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, TRUDY                   LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
TAYLOR, VERO                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR, VIRGINIA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.


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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
TAYLOR, VIRGINIA                ORANGE VA 02296
TAYLOR, VIRGINIA                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
TAYLOR, VIRGINIA                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
TAYLOR, VIRGINIA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
TAYLOR, YAKESHIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR-BIRCHUM, MARY            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TAYLOR-ROBINSON, JOAN           BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
TAYLOR-THOMAS, REBECCA          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
TAYLOR-WILLIAMS, BONNIE         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TEACH, CARMEN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TEACHEY, CHARLOTTE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TEAGARDENER, NANCY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TEAGUE, KATHY                   SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
TEAGUE, SUSAN                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TEAGUE, SUSAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TEAGUE, TONJUA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
TEASDALE, CASSIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TEBBUTT, MICHELLE               GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
TEBEEST, SANDRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TEBO, BETTY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TEDDER, MICHELLE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TEDDER, SARA                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
TEDFORD, BARBARA                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
TEDFORD, BARBARA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
TEDOFF, CAROL                   SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
TEEPLES, RHONDA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
TEEPLES, RHONDA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
TEEPLES, RHONDA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
TEES, DONNA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TEJANI, GULZAR                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
TELESCA, MARISA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TELFAIR, TONI                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
TELLESON, JULIE                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
TELLIJOHN, DEBRA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TEMBER, AUDREY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TEMKIN, ANNA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098



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Claim Name                       Address Information
TEMPCHIN, SHEILA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
TEMPLE, ADDIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TEMPLE, ALEXIA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TEMPLE, BONNIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TEMPLE, BONNIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TEMPLE, BONNIE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TEMPLE, BONNIE                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
TEMPLE, BONNIE                  KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
TEMPLE, CLARA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
TEMPLE, CLARA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
TEMPLE, JESSICA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TEMPLE, KEISHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TEMPLE, SHERYL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TEMPLETON, KRISTIN              SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
TEMPLETON, NANCY                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
TENDER, IDA                     NAPOLI SHKOLNIK PLLC 400 BROADHOLLOW RD, STE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
TENDICK, CONNIE                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
TENEBRUSO, KAREN                PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
TENENBAUM, PEARL                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
TENENBAUM, PEARL                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TENENBAUM, PEARL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TENENBAUM, PEARL                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TENENBAUM, PEARL                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TENER, BARBARA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TENHET, CARRIEN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TENHOUTEN, SHERRI               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
TENIENTE, SARAH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TENINTY, KATHLEEN               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
TENNANT, NANCY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TENNEFELD, DANA                 MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
TENNEY, EXIE                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
TENNEY, EXIE                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
TENNEY, MARTIN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TENNIS, RAMONA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
TENNIS, RAMONA                  MEADOWS, TED G. MONTGOMERY AL 36104
TENNYSON, HAYLEY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TENNYSON, JODEE                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
TENNYSON, KRISTEN               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
TENNYSON, SHERYL                LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
TERANDO, LORRAINE               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
TERANDO, LORRAINE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TEREN, CORRINE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TEREN, CORRINE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TEREN, CORRINE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TERESA STEEN                    JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
TERESITA BETANCOURT             JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
TERFLINGER, SHERRY              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
TERHUNE, CHRISTINE              NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
TERHURNE, LOIS                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TERHURNE, LOIS                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TERIFAJ, VICTORIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TERMINELLO, CASEY               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TERPAL, RHONDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TERRA, LEIGH                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
TERRAZINO, MARY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TERREBONNE, JOYCELYN            MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
TERRELL, CITHOLETTA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TERRELL, DEBBIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TERRELL, DONNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TERRELL, GENEIVE                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TERRELL, GENEIVE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TERRELL, JANE                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TERRELL, LOIS                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
TERRELL, LOIS                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TERRELL, MARIA                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
TERRELL, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TERRELL, TRACI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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                                       LTL Management LLC
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Claim Name                       Address Information
TERRILL, MELITA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TERRY, ALICE                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
TERRY, CAROL                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TERRY, CATHERINE                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TERRY, CATHERINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TERRY, CHARLENE MITCHELL        LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET HIGHTOWER, KRISTIE LAKE
                                CHARLES LA 07060
TERRY, CHARLOTTE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TERRY, CHARLOTTE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TERRY, CHARLOTTE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TERRY, CHARLOTTE                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TERRY, GLADYS                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TERRY, JEANETTE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TERRY, JUDY                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
TERRY, NADINE                   THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
TERRY, PAMELA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TERRY, ROBIN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TERRY, ROBIN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TERRY, SABRENA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
TERRY, SHARON                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TERRY, SHARON                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TERRY, SHAWNA                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
TERRY, TINISHA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TERRY-WELLS, TERESA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TERWILLIGER, JUDY               GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
TESSER, AUDREY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TESSUM, DENISE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TESTA, CAMILLA                  WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
TESTA, JUDITH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TESTA, LILLIAN                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
TESTA, LILLIAN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
TESTA, PHYLLIS                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TESTA, SARAH                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
TESTA, STEPHANIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TESTER, VICKIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TESTERMAN, MARY                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,


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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
TESTERMAN, MARY                 EMILY FAIRFAX VA 22031
TESTERMAN, MARY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TETLOW, LAURIE                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
TETREAULT, CHERYL               NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
TETREAULT, RUTH                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
TEUBERT, LORETTA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TEUTA, VERONICA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TEUTLE, GRACIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TEUTON, CAROLINE                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
TEVES, JOYCE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TEVIS, BETTE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TEW, ELAINE                     FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
THACKER, CASEY                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
THACKER, DEBORAH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THACKER, DOTTIE                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
THACKER, DOTTIE                 LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                NICHOLAS HIGHTOWER, KRISTIE LAKE CHARLES LA 70601
THAI, SUSAN                     POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
THAIN, SANDRA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
THAIN, SANDY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THARP, VIVIAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THARPE, MAGGIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THAYER, BETTY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THAYER, EVELINE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THAYER, JULIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THAYER, LYNETTE                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
THAYER, NELITA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
THAYER-GRAHAM, MARIE            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
THE BENTON LAW FIRM, PLLC       1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
THE DIAZ LAW FIRM, PLLC         208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J. MADISON MS 39110
THE DUGAN LAW FIRM, APLC        ONE CANAL PLACE, 365 CANAL ST, STE 1000 NEW ORLEANS LA 70130
THE ENTREKIN LAW FIRM           3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX AZ 08501
THE FERRARO LAW FIRM, P.A.      600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, FERRARO, DIMATTEO MIAMI FL 33131
THE MILLER FIRM, LLC            108 RAILROAD AVE. J SELDOMRIDGE, M MILLER, T SHAH ORANGE VA 02296



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                                       LTL Management LLC
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                                                  List
                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
THE SEGAL LAW FIRM              C AMOS II, J FOSTER, S SEGAL 810 KANAWHA BLVD, EAST CHARLESTON WV 25301
THE SIMON LAW FIRM, PC          800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
THE SMITH LAW FIRM, PLLC        300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
THEIS, LAURIE                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
THELEN, PHILOMENA               MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
THELMA CHURCH                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
THELUSMA, MARIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THEOLOGOU, BARBARA              SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
THERESA RIDDLE                  DAVIS, BETHUNE & JONES, L.L.C. DAVIS, GRANT L. 1100 MAIN STREET, SUITE 2930
                                KANSAS CITY MO 64196
THERIOT, BEVERLY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THERIOT, CHARLENE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THERIOT, NANCY                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
THERMILUS, PATRICIA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THEROUX, CLAIRE                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
THEROUX, CLAIRE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THIAC, RITA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THIBODEAU, TERRI                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THIBODEAU, TERRI                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
THIBODEAU, TERRI                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
THIBODEAUX, BETTIE              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
THIEL, ANUMPUM                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THIEL, CRYSTAL                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
THIELEN, TERESA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
THIGPEN, DOVIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THIGPEN, REGENA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
THIGPEN, REGENA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
THILMANY, STEPHANIE             DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
THINT, MAYMON                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THIXTON, PATRICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOLE, RANAE                    BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
THOMAS, ADWOA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THOMAS, ALBERTA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMAS, ALEXANDRA               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
THOMAS, ALEXANDRA               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE,


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Claim Name                       Address Information
THOMAS, ALEXANDRA               ROBINSON, JR. MARK P. LU NEWPORT BEACH CA 92660
THOMAS, ALEXANDRA               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                LUKEI, SHANNON KARAVATOS, NEWPORT BEACH CA 92660
THOMAS, ALICE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMAS, ANDREA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
THOMAS, ANGELA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
THOMAS, ANGELA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMAS, ANNETTE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THOMAS, ARLA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
THOMAS, BENNIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMAS, BENNIE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
THOMAS, BENNIE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
THOMAS, BETTY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
THOMAS, BETTY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMAS, BETTY                   THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
THOMAS, BONITA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMAS, BRENDIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, BRIGITTE                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
THOMAS, CECELIA                 WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
THOMAS, CHARITY                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
THOMAS, CHARLIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, CHERYL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, COCANDRA                LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
THOMAS, CRYSTAL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, CRYSTAL                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THOMAS, CYNTHIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THOMAS, DANIELLE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, DEBBIE                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
THOMAS, DEBBIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMAS, DEBORAH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMAS, DERRICKA                WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
THOMAS, DIANE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, DIANNE                  ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
THOMAS, DILSIE                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098



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Claim Name                       Address Information
THOMAS, DONNA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMAS, DORA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THOMAS, DOROTHY                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
THOMAS, EMIKO                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
THOMAS, ESTHER                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
THOMAS, ESTHER                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMAS, GLORIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMAS, GWENDOLYN               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THOMAS, HAZEL                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THOMAS, HELEN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, JACQUELINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, JEAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, JEANNE                  JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
THOMAS, JENNIFER                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
THOMAS, JETTIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, JILLONDRIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, JOAN                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
THOMAS, JOANN                   WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
THOMAS, JODI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, JODI                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
THOMAS, JODI                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
THOMAS, JOSEPHINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, JOYCE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, JOYCE                   TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
THOMAS, JUANITA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THOMAS, KATELAN                 JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
THOMAS, KATHRYN                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
THOMAS, KIMBERLY                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
THOMAS, KOWANYA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
THOMAS, KRISTIN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THOMAS, LAKISHA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
THOMAS, LAKISHA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMAS, LAURA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THOMAS, LEEOTIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMAS, LENORA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                       Address Information
THOMAS, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMAS, LINDA                   FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
THOMAS, LINDA                   TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
THOMAS, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, LINDA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
THOMAS, LINDA                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
THOMAS, LORI                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THOMAS, LORI                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
THOMAS, LUCINDA                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
THOMAS, LUT                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, LYDIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, LYNN                    MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
THOMAS, MARGARET                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
THOMAS, MARGARET                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, MARGARET                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
THOMAS, MARIE                   SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
THOMAS, MARLENE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMAS, MARLENE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, MARLENE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
THOMAS, MARLENE                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
THOMAS, MARLENE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
THOMAS, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMAS, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, MARY                    BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
THOMAS, MATELINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMAS, MAXINE                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
THOMAS, MONICA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THOMAS, NELVIN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, NICANORA                POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
THOMAS, OLIVIA                  HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
THOMAS, PAMELA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMAS, PAMELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, PATRICE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMAS, PATRICE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, PATRICE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157


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Claim Name                       Address Information
THOMAS, PATRICE                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
THOMAS, PATRICIA                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
THOMAS, PEARLENA                HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
THOMAS, RHONDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, ROBERTA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, ROSEANN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, ROZENA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
THOMAS, RUTHIE                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
THOMAS, SANDRA                  HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
THOMAS, SANDRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, SARA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, SHANTA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS, SHARON                  BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
THOMAS, SHARON                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMAS, SHELLEY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THOMAS, SHELLY                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
THOMAS, SHIRLEY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMAS, SHIRLEY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THOMAS, STEPHANIE               KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
THOMAS, STEPHANIE               LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
THOMAS, STEPHANIE               LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
THOMAS, SUSAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMAS, SUSAN                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
THOMAS, SUSAN                   DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
THOMAS, SUZANNE                 MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
THOMAS, TANGLER                 SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
THOMAS, TANYA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
THOMAS, TANYA                   MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
THOMAS, THERESA                 THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
THOMAS, TONI                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
THOMAS, TONI                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
THOMAS, TONI                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660



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                                       LTL Management LLC
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Claim Name                       Address Information
THOMAS, TRACY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
THOMAS, TRACY                   LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
THOMAS, VICKY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMAS, WENDY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS-JUDKINS, DELORES         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS-LEWIS, SHEILA            LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
THOMAS-LEWIS, SHEILA            ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
THOMAS-LEWIS, SHELIA            DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
THOMAS-LEWIS, SHELIA            LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
THOMAS-LEWIS, SHELIA            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
THOMAS-SALVATI, KAREN           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMAS-TILLMAN, SYNTHIA         SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
THOMASON, CONNIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMASON, DONNA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
THOMASON, DONNA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMASON, SUZANNE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THOMASON, VICKY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMASON, VICKY                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
THOMASON, VICKY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMASON, VICKY                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
THOMASON, VICKY                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
THOMASON, VIRGINIA              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
THOMASON, VIRGINIA              LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
THOMASSIAN, REINA               THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
THOMASSON, CLAIRE               NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
THOMASTON, SHARON               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
THOMASTON, SHARON               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
THOMASTON, SHARON               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
THOMPKINS, DIANNA               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
THOMPKINS, DORRINE              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
THOMPSO, NATASHA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
THOMPSON, ANDREA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,



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Claim Name                       Address Information
THOMPSON, ANDREA                EMILY FAIRFAX VA 22031
THOMPSON, ANDREA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMPSON, ANGELA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
THOMPSON, ANNETTE               DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
THOMPSON, ANNETTE               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
THOMPSON, APRYL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMPSON, AUDREY                MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
THOMPSON, BARBARA               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
THOMPSON, BARBARA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMPSON, BARBARA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMPSON, BARBARA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THOMPSON, BARBY                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
THOMPSON, CARLA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
THOMPSON, CARLIN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMPSON, CAROL                 SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
THOMPSON, CHERYL                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
THOMPSON, CHERYL                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
THOMPSON, CHERYL                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
THOMPSON, CHRISTINE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMPSON, CHRISTINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMPSON, CLAUDIA               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
THOMPSON, CLEOLA                THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
THOMPSON, CONNIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMPSON, CRYSTAL               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMPSON, CRYSTAL               BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
THOMPSON, DAVID                 NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
THOMPSON, DEBBIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMPSON, DEBORAH               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
THOMPSON, DEBRA                 WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
THOMPSON, DIANA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMPSON, DIANNE                THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
THOMPSON, DOROTHY               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THOMPSON, ELIZABETH             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
THOMPSON, ELIZABETH             WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
THOMPSON, GERALDINE             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
THOMPSON, HELEN                 MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
THOMPSON, HENRIETTA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMPSON, IRETTA                MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
THOMPSON, JACQUELINE            DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
THOMPSON, JANICE                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
THOMPSON, JANICE                LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
THOMPSON, JANICE                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
THOMPSON, JANICE                ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
THOMPSON, JANICE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
THOMPSON, JEAN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THOMPSON, JOAN                  SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
THOMPSON, JOANN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMPSON, JUDITH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMPSON, JUDITH                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
THOMPSON, KAREN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMPSON, KATHERINE             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
THOMPSON, KATHY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMPSON, KATHY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMPSON, KATHY                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
THOMPSON, KATHY                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
THOMPSON, KIM                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMPSON, KIMBERLY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMPSON, LAURA                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
THOMPSON, LAURA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
THOMPSON, LAURA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMPSON, LAURA                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
THOMPSON, LAURA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMPSON, LAURA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
THOMPSON, LAURA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
THOMPSON, LINDA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THOMPSON, LISA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,



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Claim Name                       Address Information
THOMPSON, LISA                  EMILY FAIRFAX VA 22031
THOMPSON, LISA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMPSON, LISA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THOMPSON, LOIS                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMPSON, LORNA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMPSON, LYNDA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
THOMPSON, MADGE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THOMPSON, MAGDALINE             HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
THOMPSON, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMPSON, MARY                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
THOMPSON, NATALIE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMPSON, NINA                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
THOMPSON, NORMA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMPSON, PAMELA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
THOMPSON, PARTHENA              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
THOMPSON, PATRICIA              GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
THOMPSON, PATRICIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMPSON, PATRICIA              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
THOMPSON, PATRINA               THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
THOMPSON, PEGGY                 HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
THOMPSON, PHYLLIS               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMPSON, RACHEL                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
THOMPSON, RENA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
THOMPSON, RENA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMPSON, RUTH                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
THOMPSON, RUTH                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
THOMPSON, SANDRA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMPSON, SAVANNAH              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMPSON, SHELIA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
THOMPSON, SHIRLEY               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
THOMPSON, SHIRLEY               HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
THOMPSON, SHIRLEY               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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Claim Name                       Address Information
THOMPSON, SHIRLEY               75231
THOMPSON, SHIRLEY BREWER        WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
THOMPSON, SUE                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
THOMPSON, SUE                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
THOMPSON, SUSAN                 SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
THOMPSON, SUSAN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMPSON, SUSAN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THOMPSON, SUZANNE               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
THOMPSON, SUZANNE               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
THOMPSON, SUZANNE               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
THOMPSON, SYLVIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMPSON, SYLVIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMPSON, TAMMY                 JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
THOMPSON, TANNY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMPSON, TERIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THOMPSON, TERRY                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
THOMPSON, VALERIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THOMPSON, VERNA                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
THOMPSON, VIRGINIA              THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
THOMPSON, WANDA                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
THOMPSON-KENNEDY, ANGELA        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THOMPSON-LOTT, JANICE           THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
THOMSEN, LINDA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
THOMSON, LAURIE                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
THOMSON, LYNNE                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
THORDARSON, MARILYN             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THORESON, SUSAN                 JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
THORLTON, VERNICE               KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
THORLTON, VERNICE               LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
THORN, DORIS                    MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
THORNBERRY, PATRICIA            THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
THORNBURG, ALINA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THORNBURG, ALINA                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
THORNBURG, ALINA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THORNBURG, ALINA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157


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                                       LTL Management LLC
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Claim Name                       Address Information
THORNBURG, ALINA                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
THORNBURG, MARY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THORNBURG, PEGGYE               CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
THORNBURG, PEGGYE               BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
THORNE, CINDY                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
THORNE, RUBY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THORNELL, STEPHANIE             WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
THORNER, FRITZI                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THORNHILL, DONNA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THORNOCK, SHIRLEY               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
THORNSBERRY, OKLA               KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
THORNSBERRY, OKLA               LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
THORNTON, BERYL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THORNTON, CARRIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THORNTON, CHARLENE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THORNTON, CHARLENE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THORNTON, CHRISTINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THORNTON, DENISE                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
THORNTON, EARNESTINE            THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
THORNTON, EVELYN                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THORNTON, IMANI                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THORNTON, JEAN                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
THORNTON, KARLA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
THORNTON, PAMELA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
THORNTON, RACHELL               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THORP, MARCIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THORP, SHARON                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
THORPE, CHERYL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THORPE, CHRISTEEN               CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
THORPE, ELAINE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
THORPE, KAREN                   TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
THORSON, CONNIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THORSON, RANDI                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
THORSON, RANDI                  MEADOWS, TED G. MONTGOMERY AL 36104
THRASH, MARY                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
THRASH, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THRASH, SYRENTHIA               NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
THRASHER, RHONDA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THRASHER, TRACEY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THREADGILL, EVA                 GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
THREADGILL, EVA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
THREATT, TONYA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
THROOP, KIM                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THROWER, PATSY                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
THULL, LUANN VAN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
THURMAN, JUDITH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
THURMAN, MARGARET               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
THURMAN, MARGARET               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
THURMOND, MARGARET              MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
THURSTON, SHERILYN              DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
THWEATT, JOANNE                 LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
TIBBETTS, ROSALIE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TIBBETTS, ROSALIE               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TIBBETTS, ROSALIE               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
TIBBETTS, SARA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
TICEAHKIE, JANICE               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
TICHENOR, VICKI                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
TIDLINE, WANDA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
TIDMORE, GWENDOLYN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TIDWELL, MADELINE               THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                FERRARO, JR, JAMES L MIAMI FL 33131
TIDWELL, PATTY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TIEDEMAN, CAROLYN               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TIEDEMANN, TINA                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
TIEMAN, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                       Address Information
TIENKEN, BONNIE                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
TIERNAN, DORIS                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TIERNEY, COLLEEN                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TIERNEY, KATHERINE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TIERNEY, PENELOPE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TIETGE, HANSI                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
TIFFFANY WESTENSKOW             ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
TIGHE, JACQUELINE               THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
TILDEN, JANE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TILFORD, LORETTA                WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
TILL, CONNIE                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
TILL, CONNIE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TILL, GLADYS                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
TILLER, SUZANNE                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
TILLERY, DORIS                  WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
TILLEY, AUDREY                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
TILLEY, AUDREY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TILLEY, AUDREY                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TILLEY, AUDREY                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TILLEY, SUSAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TILLMAN, LOTTIE                 HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
TILLMAN, MINNIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TILLMAN, PETRA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
TILLMAN, REGINA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
TILLMAN, SHELIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TILNEY, CLARA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TILTON, MARY                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
TIMA, CHERYL                    MILLER DELLAFERA PLC 3420 PUMP RD., PMD 404 HENRICO VA 23233
TIMAR, JUDITH                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
TIMAR, JUDITH                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TIMBERLAKE, JAYNE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TIMES, HILLARY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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Claim Name                          Address Information
TIMES, HILLARY                     75231
TIMIAN, KELLY                      DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
TIMIAN, YVONNE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TIMM, LISA                         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TIMM, LISA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
TIMMER, DAWN                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TIMMERMAN, JULIA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
TIMMINS, HELEN                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
TIMMONS, DAWN                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
TIMMONS, ELIZABETH                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102
TIMMONS, RHONDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TIMMONS, SARAH                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
TIMMS, GINGER                      MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
TIMMS, JANENE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
TIMMS, JANENE                      GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
TIMMS, JANENE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TIMMS, JANENE                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TIMMS, JANENE                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TIMMS, JUDITH                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TIMONE, REGINA                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
TIMPANO, NANCY                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
TIMPONE, BETTYANN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
TIMS, PATRICIA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
TIN, PRIM                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TINA BROOME                        ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
TINA REEVES                        ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
TINA, MARLOW                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TINCHER, ELIZABETH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TINCOMBE, CAROLINE                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
TINDALL, SARAH                     WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                   HILL NJ 08002
TINER, SANDRA                      NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                   11747
TINGEL, MARCIA                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
TINGLER, JACQUELINE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231



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Claim Name                       Address Information
TINGSTROM, PAMELA               COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 HALL JR., ALTON J.
                                INDIANAPOLIS IN 46204
TINKHAM, KAREN                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
TINNEY, SHIRLEY                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
TINOCO, RAMONA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
TINSLEY, DONNA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
TINSLEY, LACRESSA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TINSLEY, MICHELLE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TIPP, MARIAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TIPPETT, CHRISTY                JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
TIPPETT, SHERRI                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TIPPS, MARY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TIPPS, MARY                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
TIPPS, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TIPPS, MARY                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TIPPS, MARY                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TIPTON, CHERYL                  LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET HIGHTOWER, KRISTIE LAKE
                                CHARLES LA 07060
TIPTON, GERMAINE                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
TIPTON, GERMAINE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
TIPTON, LINDA                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
TIPTON, PATRICIA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TIPTON-BELL, JILL               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TISCHLER, MOLLY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TISCHNER, JOYCE                 COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
TISCHNER, JOYCE                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 NEW ORLEANS LA 70130
TISDALE, CAROLYN                THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
TISHMAN, CAROL                  WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
TISI, JESSICA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TISINO, DEBBIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TISINO, DEBRA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
TISNADO, PEARL                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TITTLE, DEBORRA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TITTLE, POLLY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TITTLE, RENA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TITTLE, TOMMIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                          Address Information
TITUS, LOTTIE                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
TITUS, ROSALYNNE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
TLAPA, GUADALUPE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TLOCZKOWSKI, PATRICA               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
TLUSTY, GRACE                      SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                   01153
TOALE, MARY                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOBAGI, MILEN                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
TOBEY-BOWERS, BRITTANY             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOBIAS, DOROTHY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
TOBIAS, ROMONA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOBIAS, SARAH                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOBIN, ELIZABETH                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
TOBIN, GERALDINE                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102
TOBIN, THERESA                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
TOBLIN, EILEEN                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TOBLIN, EILEEN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
TOBOLA, WANDA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
TOBOLA, WANDA                      GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
TOBOLA, WANDA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOBOLA, WANDA                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TOBOLA, WANDA                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TOCCHINI, DELPHINE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOCCI, CHARLESSA SCHOENBERGER      THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                   MADISON MS 39110
TOCHE, MICHELLE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
TODD, BECKY                        FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TODD, BEVERLY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
TODD, BEVERLY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TODD, BEVERLY                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TODD, BEVERLY                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TODD, CHRISTINA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
TODD, CHRISTINA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
TODD, CHRISTINE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
TODD, CHYRISE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TODD, CYNTHIA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
TODD, DENISE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
TODD, DENISE                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TODD, DENISE                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TODD, EMMA                      BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
TODD, EMMA                      BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
TODD, FRANCES                   MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
TODD, FRANCES                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TODD, JOANNE                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TODD, LILLIAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TODD, MADONNA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TODD, MAMMIE                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
TODD, PATRICIA                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
TODD, SUSAN                     TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
TODD, TIFFANY                   BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
TODDY, OLGA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TODECHEENE, CAROL               POGUST BRASLOW & MILLROOD, LLC EIGHT TOWER BRIDGE, STE 940, 161 WASHINGTON ST
                                LECKMAN, T. MATTHEW CONSHOHOCKEN PA 19428
TODISH, BARBARA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
TOENISKOETTER, PATRICIA         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOEPPER, JOYCE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOFTNESS, ELLA                  EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP EICHEN, BARRY R. & KELLY, JOHN P 40
                                ETHEL ROAD EDISON NJ 08817
TOKARSKI, MARLENE               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TOLAN, BONITA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOLAND, DEBBIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TOLBERT, ANGELA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TOLBERT, ANTIONETTE             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
TOLBERT, BRENDA                 CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
TOLBERT, CAROLINE               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
TOLBERT, GLENDA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
TOLBERT, GLORIA                 MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
TOLBERT, SONJA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOLEDO, SATURNIA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TOLEN, DORSELL                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
TOLENTINO, CYNTHIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOLENTINO, IMELDA               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
TOLER, MARLINE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                              Address Information
TOLER, STEPHANIE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOLES, FELICIA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOLHURST, LINDA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOLIVER, MICHELLE                      THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
TOLIVER, RENEE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
TOLLE, GAYLE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOLLEFSON, KATHERINE & TOLLEFSON, KEVIN LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                        NJ 08648
TOLLEY, ROSE                           NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                       11747
TOLLIS, JANINE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOLLISON, LINDA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOLLIVER, ELLA                         ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
TOLLOTY, BARBARA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
TOM, MAGGIE                            DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
TOMASETTI, BRIDGETT                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
TOMASETTI, BRIDGETT                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOMASETTI, BRIDGETT                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TOMASI, AMY                            JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                       PAUL MN 55101
TOMBLIN, LINDA                         THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                       CHARLESTON WV 25301
TOMBLINSON, THEODORE & TOMBLINON, SUE A WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
TOME, LORRAINE                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
TOMESCH, EDWINA                        MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
TOMICH, BEVERLY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
TOMLIN, DWENAH                         GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                       EVAN D. EDWARDSVILLE IL 62025
TOMLINSON, KIMBERLY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
TOMLINSON, LINN                        MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
TOMPKINS, CAMILLE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOMPKINS, MARSHA                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
TOMPKINS, MARSHA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
TOMPKINS, SANDRA                       NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                       BERMAN, W. STEVE GREAT RIVER NY 11739
TOMPKINS, VIRGINIA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOMS, LINDA                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
TOMS, MADELINE                         THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 22960
TOMS, MADELINE                         HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                       46290



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Claim Name                       Address Information
TONCHE, RAUL                    LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                NJ 08648
TONDREAU, MARY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TONER, JOAN                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TONEY, CYNTHIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TONEY, HEATHER                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
TONEY, HELENE                   MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
TONEY, JILL                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TONEY, JILL                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TONEY, JILL                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TONEY, JILL                     PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
TONEY, LOUISE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TONEY, THERESA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
TONEY, THERESA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                STREET MONTGOMERY AL 36104
TONGCO, DIANNE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TONGCO, DIANNE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TONGCO, DIANNE                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TONGE, CHRISSIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TONI, MARIANNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TONI, MARIANNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TONI, MARIANNA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TONI, MARIANNA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TONJA WOOTHTAKEWAHBITTY         ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
TOOMER, ANNETTE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOOMER, PEARL                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
TOOMEY, CAROL                   MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
TOOTHMAN, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOPLENSZKI, EVA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TOPOL, REGI                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOPP, DONNA                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TOPP, DONNA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TOPPINS, LINDA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
TORBETT, TONY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TORHOERMAN LAW LLC              101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL 62025
TORHURST, LINDA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TORIBIO, LEILANI                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TORIBIO, LEILANI                THE POTTS LAW FIRM, LLP 3737 BUFFALO SPEEDWAY STE 1900 HOUSTON TX 77098
TORIBIO, LEILANI                SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401

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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
TORNES, LEYLA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TORO, DOREEN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TORO, SANDY                     SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
TORRE, NANCY                    GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
TORREGANO, TERRY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TORREGANO, TERRY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TORRES, ADDY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TORRES, ANA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TORRES, ANGELICA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TORRES, ANN                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TORRES, CHRISTINE               CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
TORRES, DELIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TORRES, DENISE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
TORRES, JOSEPHINE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
TORRES, JOYCE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TORRES, JOYCE                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
TORRES, JOYCE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TORRES, JOYCE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TORRES, JOYCE                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TORRES, KIMBERLY                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
TORRES, KIMBERLY                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TORRES, KIMBERLY                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
TORRES, KIMBERLY                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
TORRES, LEANN                   WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
TORRES, LIGIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TORRES, LINDA                   SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
TORRES, LUISA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TORRES, MARCELA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TORRES, MARGARET                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TORRES, MARIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TORRES, MAXIMO                  MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                YORK NY 10017
TORRES, MIOSOTY                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
TORRES, MIOSOTY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TORRES, MIOSOTY                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TORRES, MIOSOTY                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TORRES, NIVIA                   THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101


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Claim Name                       Address Information
TORRES, ROXANA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TORRES, WANDA                   CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
TORRES, YERENIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TORREY, CATHERINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TORRY, ETTA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TORSKE, JULIE                   SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
TORZILLI, MILDRED               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOSCANO, MARY                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
TOSEV, KATA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOSKIN, KATHY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TOTH, JANE                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
TOTOS, KAREN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TOTTERDALE, DARYL               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
TOUCHTON, VICKY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOURE, KATHERINE                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
TOURO, ELVERA                   BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 BUDD, RUSSELL W DALLAS TX
                                75219
TOUSEY, DEBRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOUTANT, LISA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
TOUZA, LINDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TOUZA, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOUZA, LINDA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TOVAR, MARIE                    GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
TOVAR, MONICA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOVAR, MONICA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TOVAR, MONICA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TOVAR-BUSTOS, ISABEL            SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
TOWARD, TRACY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOWLER, BEVERLY                 SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
TOWNER, ALICE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOWNS, LUCILLE                  MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
TOWNSEN, LENORA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TOWNSEND, DEBORA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
TOWNSEND, JAMIE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TOWNSEND, JUSTINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOWNSEND, LAURIE                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TOWNSEND, MARJORIE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                          Address Information
TOWNSEND, MARJORIE                 75231
TOWNSEND, PATRICIA                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                   ORLEANS LA 70130
TOWNSEND, SARAH                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
TOWNSEND, STELLA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOWNSEND-FLEET, PATRICIA           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
TOY, MARY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TOYNBEE, SHERRI                    ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
TRAAEN, JAN                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
TRACHT, PEGGY                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
TRACY BROWN                        MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
TRACY LITTLEJOHN                   SEEGER WEISS LLP BADARUZZAMAN, ASIM & SEEGER, CHRISTOPHER 550 BROAD ST., SUITE
                                   920 NEWARK NJ 07102-4573
TRACY, JASMINE                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
TRADER, BRITTANY                   JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                   77002
TRADER, EDYTHE                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
TRAESTER, ELIZABETH                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TRAESTER, ELIZABETH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
TRAHAN, JEWELL                     WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                   DALLAS TX 75219
TRAHAN, KATINA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
TRAHAN, KIMBERLY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRAHAN, MELODY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRAHAN, PATRICIA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
TRAHAN, PATRICIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
TRAHERN, DEBRA                     BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                   70130
TRAHERN, DEBRA                     BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                   75202
TRAIL, RITA                        ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TRAINER, JOANN                     TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                   62025
TRAINHAM, VALARIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRAINOR, TAYLOR                    KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
TRAMEL, LESLIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRAMMEL, RUTH                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
TRAMMELL PC                        3262 WESTHEIMER ROAD, SUITE 423 M BINSTOCK, M EPHRON HOUSTON TX 77098
TRAMMELL, CARYLON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRAMMELL, DONNA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TRAMONTANO, PAMELA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
TRAMONTOZZI, MARJORIE           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRAN, CHANH                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
TRAN, THUY                      WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
TRAN, TUYET-NHUNG               DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
TRANBARGER, GLENDA              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
TRANBARGER, GLENDA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TRANT, JANE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TRAPAGA, MARTHA                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
TRAPANI, NORENE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TRAPINI, SYLVIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRAPP, DEBORAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRAPPLER, WILMA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TRAPPLER, WILMA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TRASKELL, MICHELLE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TRAUTMAN, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRAVE, SHARON                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
TRAVER, BARBARA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TRAVER, LORETTA                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
TRAVERS, SANDRA                 THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
TRAVIS, CHERYLE                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
TRAVIS, HERVETTE                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
TRAVIS, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRAVIS, LYNN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRAVIS, SARAH                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
TRAVIS, SARAH                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TRAWICK-SPEAKS, NANCY           ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
TRAWICK-SPEAKS, NANCY           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TRAXLER, ANGIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRAXLER, DOREEN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TRAYLOR, ANTONETTE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRAYLOR, BRENDA                 BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
TRAYLOR, GLORIA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX



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Claim Name                       Address Information
TRAYLOR, GLORIA                 77098
TRAYLOR, KELLY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TRAYLOR, KELLY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRAYLOR, KELLY                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TRAYLOR, KELLY                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TRAYLOR, KELLY                  KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
TRAYLOR, SUSAN                  MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
TRAYNOR, MARLENE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TREADWAY, FLORIA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
TREADWAY, YOULANDA              TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
TREADWELL, JULIE                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TRECHTER, MARGO                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TREECE, LEEANNA                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
TREFTZ, EMILY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TREGO, JENNIFER                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TREJO, ANTELINA                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
TREMAINE, TAWNIA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TREMBATH, CAROLINE              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
TREMBLAY, JANE                  JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
TREMBLEY, JUDITH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TRENBATH, LORI                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TRENT, CYNTHIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TRENT, DONNA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TRENT, SHERRY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRENT, WENDY                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
TREPANIER, HEIDE                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TREPANIER, HEIDE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TRESENRITER, BARBARA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRESHANKY, SUSAN                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
TRESSEL, MILDRED                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRESSLER, BARBARA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TRESSLER, MARY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TRETO, MARGARITA                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
TREVINO, JENNIFER               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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                                               LTL Management LLC
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Claim Name                               Address Information
TREVINO, LINDA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TREVINO, MAGDALENA                      BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
TREVINO, OLIVIA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TREVINO, PAULINE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TREVINO, SELMA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
TREZEK, LAURA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
TRIANA, ROSEANN                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
TRIBBLE, GLORIA                         MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                        YORK NY 10017
TRIBE, RITA                             BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                        70130
TRICE, BARBARA                          FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TRICE, CAROLYN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRICE, MARY                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRICE, MARY                             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TRICE, MARY                             PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TRICIA CARNES                           ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                        LOUIS MO 63119
TRIEGLAFF, VICKI                        CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                        GA 30009
TRIEGLAFF, VICKI                        BARNES LAW GROUP, LLC 31 ATLANTA STREET BARNES, BETSY J. MARIETTA GA 30060
TRIGG, JACQUELINE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
TRIGGS, GAILA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
TRIGNANI, CAROLE                        ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                        FELLER, JOEL J. PHILADELPHIA PA 19103
TRILONE, ROSA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
TRIMBLE, ANNIE                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
TRIMBLE, GWENDOLYN                      LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                        NICHOLAS LAKE CHARLES LA 07060
TRIMBLE, LINDA K. EST OF MARY MASK      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                        NJ 08648
TRIMBLE, NORMA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRIMMER, SHARRON                        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                        STREET, SUITE PENSACOLA FL 32502
TRINCA, VICTORIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRINGALI, LORRAINE                      CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                        14202-3725
TRINGALI, LOUISE                        FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TRINIDAD, MARIA                         GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
TRIPLETT, CANDIUS                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
TRIPLETT, GREGNICCA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRIPLETT, PATRICIA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRIPP, KARLA                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                       Address Information
TRIPP, KARLA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
TRIPP, KARLA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRIPP, KARLA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TRIPP, KARLA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TRIPP, KATHY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TRIPP, KATHY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRIPP, KATHY                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TRIPP, KATHY                    PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
TRISTANI, PHILOMENA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TRIVETTE, PATSY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRIVITT, SUSAN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TROCCOLI, ANN                   MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
TROCOLOR, MARISA                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
TROGDON, BARBARA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TROIA, ELIZABETH                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TROJAN, BARBARA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TROMAN, KIMBERLY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TRONCOSO, CONNIE                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
TRONCOSO, CONNIE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, DANIEL S. LUKEI NEWPORT BEACH CA 92660
TRONCOSO, DANA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TROOP, KRISTEN                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
TROTCHIE, JILLEEN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TROTOCHAU, LISA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
TROTTER, LAURA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TROTTER, SHERRY                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
TROTTER, SHERRY                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
TROTTER, SHERRY                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
TROTTER, SHERRY                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
TROTTER, SHERRY                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
TROTTIER, NANCY                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
TROUBLEFIELD, BARBARA           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TROUPE-SINCLAIR, BARBARA        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TROUT, AMANDA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
TROUTT, MARGARET                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TROVATO, CAROL                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098


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Claim Name                       Address Information
TROVER, CAROLYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TROWBRIDGE, HENRIETTA           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TROWER, TONYA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TRSTENSKY, SANDRA               MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
TRUAX, NORA                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
TRUCKS, ANGELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRUDEAU, JUDITH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TRUDEN, CATHY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TRUDY HATTEN                    MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
TRUELAND, RUTH                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TRUELAND, RUTH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TRUESDALE, CAROLYN              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TRUESDALE, PATRICIA             CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
TRUESDALE, QUEANNA              SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
TRUJILLO, ANNAMARIE             FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
TRUJILLO, CONNIE                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
TRUJILLO, CONNIE                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
TRUJILLO, DARLENE               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TRUJILLO, DARLENE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TRUJILLO, EMILY                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
TRUJILLO, HEATHER               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TRUJILLO, IRENE                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
TRUJILLO, JAIRLENE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TRUJILLO, KATHERINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRUJILLO, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRUJILLO, TIFFANY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRULL, CAROL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRULL, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRULL, NANCY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
TRULUCK, JAN                    MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
TRUMAN, MARY                    LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET KOHRS, NICHOLAS HIGHTOWER,
                                KRISTIE LAKE CHARLES LA 07060
TRUMAN, VEDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRUMP, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRUMPS, JOYCELYN                MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW


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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
TRUMPS, JOYCELYN                ORLEANS LA 70130
TRUPIA, LILLIAN                 MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
TRUSCOTT, CYNTHIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TRUSEDELL, AMANDA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRUSLOW, DAWN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRUSSELL, LOUBIRDA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRYBA, AMY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TRYBALSKI, BARRIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TSADILAS, VICTORIA              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TSAUDARIDIS, STEPHANIE          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TSCHABRUNN, ROSE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TSCHIDA, MYRTLE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TSHAMALA, JEAN                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
TSOSIE, MARY                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
TUBBS, MONICA                   CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
TUBER, CAROLE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TUBERGAN, LISA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TUCK, LENITA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TUCK, LUCILLE                   COHEN, PLACITELLA & ROTH 127 MAPLE AVE. PLACITELLA, CHRISTOPHER M. GEIER,
                                DENNIS M. RED BANK NJ 07701
TUCK, LUCILLE                   EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP 40 ETHEL ROAD EDISON NJ 08817
TUCK, SARETTA                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
TUCKER, AMY                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
TUCKER, ANITA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TUCKER, APRIL                   MILLER DELLAFERA PLC 3420 PUMP RD., PMD 404 HENRICO VA 23233
TUCKER, BARBARA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TUCKER, BARBARA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TUCKER, BETTY                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
TUCKER, CAROL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TUCKER, CAROLINE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TUCKER, CAROLINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TUCKER, CAROLINE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TUCKER, CAROLINE                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TUCKER, CAROLYN                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
TUCKER, CYNTHIA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098


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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44             Desc Main
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Claim Name                       Address Information
TUCKER, DANA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TUCKER, DORTHY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TUCKER, ELLEN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TUCKER, INA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TUCKER, IRIS                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TUCKER, JANET                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TUCKER, JENNIFER                WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
TUCKER, JOANN                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TUCKER, JUANITA                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
TUCKER, JUANITA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TUCKER, LATASHA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TUCKER, LOU                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
TUCKER, LOYCE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TUCKER, MARY                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
TUCKER, MELBA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TUCKER, MICHELLE                SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
TUCKER, NORMA                   WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
TUCKER, PATRICIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TUCKER, PENNY                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
TUCKER, ROSLYN                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TUCKER, TAMMY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TUCKER, TONI                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TUCKER, TONI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TUCKER, TONI                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TUCKER, TONI                    PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
TUCKER, VIVIAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TUCKER, WANDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TUCKER, WANDA                   MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
TUCKER, YOLANDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TUCKER-WALTERS, ANDRA           ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
TUGGLE, EMMIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TUILETUFUGA, IO                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TUINSTRA, JUDI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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                                       LTL Management LLC
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Claim Name                       Address Information
TUINSTRA, JUDI                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
TUINSTRA, JUDY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TULEO, GERALDINE                MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
TULIEBITZ, VALENTINA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TULL, TAMMY                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
TULLOSS, SUZANNE-MARIE          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TULLY, JOAN                     THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
TUMAMBING, MERCEDES             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
TUMAMBING, MERCEDES             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TUMEO, ANN                      CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
TUNNELL, KASEE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TUPPER, STEPHANIE               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
TURBIN, LILLIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURCHIARO, LORI                 GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
TURE-OROURKE, LISA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TUREK, DIANE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURISH, MELODIE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
TURK, BEVERLY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TURK, BEVERLY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TURK, PATRICIA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
TURK, SHIRLEY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TURLEY, LORA                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
TURLEY, MARGARET                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
TURLEY, SHARON                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
TURMEL, REBECCA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TURNAGE, CYNTHIA                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
TURNAGE, CYNTHIA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
TURNBOUGH, PATRICIA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNBULL, JUDY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TURNER, ADGENDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNER, ADIS                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNER, ALICE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNER, AMY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TURNER, ANGELA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TURNER, BELINDA                 BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
TURNER, BETTE                   DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728



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Claim Name                       Address Information
TURNER, BONNIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNER, BRENDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNER, CARAL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TURNER, CARAL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNER, CARAL                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TURNER, CARAL                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TURNER, CARMEL                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
TURNER, CAROLYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNER, CHRISTY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNER, CORLETTE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TURNER, DANIELLE                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TURNER, DEBRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNER, DENISE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TURNER, DOMINIQUE               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
TURNER, DONNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNER, DONNA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TURNER, ETHEL                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
TURNER, FRANCINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNER, JENNIFER                WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
TURNER, JOAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNER, JOSEPHINE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TURNER, JOYCE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TURNER, JUANITA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNER, KAREN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TURNER, KATHRYN                 MILLER DELLAFERA PLC 3420 PUMP RD. PMB 404 HENRICO VA 23233
TURNER, KIMBERLY                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
TURNER, KRISTI                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
TURNER, LAUREN                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TURNER, LULA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNER, LYNDIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TURNER, LYNN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TURNER, LYNN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNER, LYNN                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TURNER, LYNN                    PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
TURNER, MAGGIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNER, MARGARET                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW


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Claim Name                       Address Information
TURNER, MARGARET                YORK NY 10017
TURNER, MARGARET                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
TURNER, MARGIE                  MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
TURNER, MARJORIE                LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
TURNER, MARY                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TURNER, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TURNER, MONICA                  BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
TURNER, NAKISHA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TURNER, ONEIDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNER, ORA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TURNER, PATRICIA                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
TURNER, PATRICIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TURNER, PEARLEAN                HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
TURNER, REGINA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
TURNER, ROBIN                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TURNER, SAMMIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNER, SANDRA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
TURNER, SHANNON                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNER, SHANNON                 THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
TURNER, SHARON                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
TURNER, SHARON                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TURNER, SHIRLEY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TURNER, SONDRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNER, SUSAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNER, TINA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNER, VICKI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNER, YVETTE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TURNER-CHAMERS, MELISSA         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TURNER-CHAMERS, MELISSA         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNER-CHAMERS, MELISSA         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TURNER-CHAMERS, MELISSA         PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TURNER-ROWE, EDNA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURNQUIST, CLAUDIA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TURNQUIST, DIXIE                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.


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Claim Name                       Address Information
TURNQUIST, DIXIE                ORANGE VA 22960
TURNQUIST, DIXIE                HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
TURPIN, FRANKIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TURPIN, PAMELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURREL, PRISCILLA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TURRENTINE, BRENDA              SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
TUSA, CINDY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TUSHAJ, ELIZABETH               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TUSHER, THEIDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TUSKAN-SOWATSKEY, RUTH          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TUSKE, SUSAN                    WEITZ & LUXENBERG RELKIN, ELLEN & SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE
                                210 CHERRY HILL NJ 08002
TUTSON, BENITA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TUTTLE, BARBARA                 BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
TUTTLE, GINA                    COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
TUTTLE, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TUTTLE-KOLL, DONNA              BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
TUYMER, CHERYL                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
TUZZI, NORA                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
TVEDE, CONNIE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
TVEDE, CONNIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TWAIT, MARY                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
TWITTY, LATWANYEPT              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TWOMBLY, PATRICIA               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
TWOMEY, ANITA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
TWOREK, KATHY                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
TYE, BERNICE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TYE, LORETTA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TYES, CINDA                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
TYISKA, HAZEL                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TYLER, CHRISTY                  ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450
                                FELLER, JOEL CASEY, MATTHEW A. PHILADELPHIA PA 19103
TYLER, HEIDI                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TYLER, JANICE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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                                                  List
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Claim Name                       Address Information
TYLER, JOSHUA                   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
TYLER, KELLY                    FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
TYLER, KOURY                    DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
TYLER, LAURA                    MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
TYLER, LAURA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TYLER, LAURA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TYLER, LAURA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TYLER, LAURA                    PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
TYLER, LINDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TYLER, LINDA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
TYLER, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TYLER, LINDA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
TYLER, LINDA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
TYLER, MELISSA                  PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
TYLER, MINNIE                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                FELLER, JOEL J. PHILADELPHIA PA 19103
TYLER, TERRY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TYLER, THEA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TYLER-GRAY, JOYCE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TYNER, ANA                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
TYNES, ALLISON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TYNES, ANNE                     LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
TYNES, PAMULA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TYRAN, TIFFANY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TYRE, GAIL                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
TYREE, ALEXANDRA                DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
TYREE, CAROL                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
TYREE, CHERYL                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
TYREE, LISA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
TYRON, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
TYSON, JANICE                   JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
TYSON, LAUREN                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
TYSON, LAUREN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
TZOUGROS, MARIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231



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Claim Name                       Address Information
UBALDINI, DEBORAH               MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
UCCI, DOREEN                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
UCHIDA, DIANA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
UDANI, GEETA                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
UDDIN, YASMIN                   MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                DAVID M. MINNEAPOLIS MN 55404
UDITSKY, DAVEEDA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
UDITSKY, DAVEEDA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
UHL, ROBERTA                    THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
UHRIG, NORA                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
UHURA-WILDS, JOLEN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
UITENHAM, TINA                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
UKEN, DARLENE                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
ULANOWICZ, NANCY                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ULANSKI, CHRISTINA              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ULIBARRI, VIOLA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ULLOA, MADRIGAL                 JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
ULMAN, BRIDGET                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ULMER, CAROL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ULMER, LINDA                    MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
ULMER, MARY                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ULRICH, VALERIE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ULSTAD, TERESA                  JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
UMBALIN, ALICE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
UMBANHOWAR, MARY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
UMBARGER, MARIE                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
UMBAUGH, CHERYL                 FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
UMBLE, KIMBERLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
UMBREIT, MARY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
UMINSKI, KELLY                  BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
UMPHRIES, LISA                  WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
UNCLEBACH, MARGARET             TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
UNDERCUFFLER, LURETTA           DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
UNDERELL, MICHELLE              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
UNDERHILL, MARY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
UNDERHILL, MARY                 MEADOWS, TED G. MONTGOMERY AL 36104
UNDERWOOD, ANN                  MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
UNDERWOOD, ARELLA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
UNDERWOOD, ARELLA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
UNDERWOOD, ARELLA               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
UNDERWOOD, KRISTI               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
UNDERWOOD, LINDA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
UNDERWOOD, MARSHA               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
UNDERWOOD, MARSHA               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
UNDERWOOD, MARSHA               LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
UNDERWOOD, MARSHA               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
UNDERWOOD, MARSHA               ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
UNDERWOOD, PEGGY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
UNDERWOOD, PEGGY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
UNDERWOOD, PEGGY                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
UNDERWOOD, PEGGY                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
UNGER, TERI                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
UNKENHOLZ, CAROL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
UNLAUB, BETTY                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
UNRUH, SANDRA                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
UNRUH, SANDRA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
UNRUH, SANDRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
UNRUH, SANDRA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
UNRUH, SANDRA                   PORTER & MALOUF, PA P.O. BOX 12768 HARRIS, LAUREL LI GIVENS, JOHN T. JACKSON
                                MS 39236-2768
UNTERNAHRER, PATRICIA           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
UNTIED, GINGER                  THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
UPAH, DEBRA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
UPCHURCH, MICHELLE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
UPSHUR, CAROLYN                 MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
UPSHUR, CORITA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
UPTON, KRISTA                   THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
URBAN, ANDREA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
URBAN, DOLORES                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
URBANCZYK, MICHELLE             MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
URBANO, REGINA                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY


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Claim Name                       Address Information
URBANO, REGINA                  11747
URBANSKY, LILLIAN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
URBAS, BEVERLY                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
URBINA, TINA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
URBINA, TINA                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
URELLA, DIANA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
URF, BONNIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
URIBE, DANITA                   BARRETT LAW GROUP 404 COURT SQUARE NORTH LEXINGTON MS 39095
URIBE, MARIA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
URICK, DONNA                    GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
URICK, DONNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
URICK, DONNA                    THE POTTS LAW FIRM, LLP 3737 BUFFALO SPEEDWAY STE 1900 HOUSTON TX 77098
URREA, TOMMY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
URRUTIA, BLANCA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
URRUTIA, LETICIA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
USHA, RIHAL                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
USHER, DEBRA                    POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
USHER, REBECCA                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
UTECHT, ELIZABETH               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
UTECHT, MARY                    LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
UTLEY, DEBRA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
UTT, WANDA                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
UTTERBACK, PAMELA               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
UTTERBACK, PAMELA               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
UTTERBACK, PAMELA               LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
UTTERBACK, PAMELA               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
UTTERBACK, PAMELA               ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
UYEMURA, SONHUI                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
UYEMURA, SONHUI                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
UYEMURA, SONHUI                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
UYEMURA, SONHUI                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
UZAIKO, CHERYL                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VACA, DEBRA                     DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
VACA, DORENE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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                                          LTL Management LLC
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Claim Name                          Address Information
VACA, DORENE                       MEADOWS, TED G. MONTGOMERY AL 36104
VACCA, CHERYL                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VACCARO, PATRICIA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
VACHIRA, SUVANNA                   TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                   62025
VACI, FRANCES                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
VADEBONCOEUR, CARA                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
VADEBONCOEUR, CAROLYN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VAFAKOS, VIRGINIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
VAI, STEPHANIE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
VAI, STEPHANIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VAI, STEPHANIE                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
VAI, STEPHANIE                     PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
VAI, STEPHANIE                     SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                   90401
VAIL, JANICE                       ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
VAIL, JANICE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
VAILE, LINDA                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
VAISBEN, EDNA                      POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
VALADE, DENISE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
VALBRUN, LYNDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VALCARCEL, GRISELLE                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
VALDESPINO, TERESA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
VALDEZ, CARMEN                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
VALDEZ, EMILIA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
VALDEZ, EMILY                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
VALDEZ, ERIKA                      LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                   SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
VALDEZ, FLORCITA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
VALDEZ, KASANDRA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
VALDEZ, LARENA                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
VALDEZ, MARY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VALDEZ, PAMELA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VALDEZ, PEGGY; WOLF, MARGARET      LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MOSS, JAIME KAMERRER,
                                   LAURIE MANHATTAN BEACH CA 90266
VALDEZ-PARKER, AMANDA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VALE, MARIA                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.



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                                       LTL Management LLC
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Claim Name                       Address Information
VALE, MARIA                     ORANGE VA 02296
VALENCIA, ANA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
VALENCIA, DANIELE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VALENCIA, GLORIA CARDONA        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
VALENCIA, MARIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VALENCIA, MARILYN               NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
VALENCIA, VIRGINIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VALENCIA, VIRGINIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VALENCIA, VIRGINIA              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
VALENCIA, VIRGINIA              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
VALENDY, LAURA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VALENTE, EMMA                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
VALENTE, LISA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VALENTIN, FRANCES               COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
VALENTIN, LEAZETTE              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
VALENTINE, BARBARA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VALENTINE, CATHERINE            FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
VALENTINE, EVA                  FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
VALENTINE, GERTRUDE             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VALENTINE, JANNA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VALENTINE, JEANETTE             GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
VALENTINE, JOYCE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VALENTINE, JUANITA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VALENTINE, PATRICIA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VALENTINE, PATRICIA             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
VALENTINE, PATRICIA             PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
VALENTINE, SHIRLEY              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VALENTINE, TANESHA              DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
VALENTINER, CHERYL              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
VALENTUKONIS, ELIZABETH         BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
VALENZUELA, MONICA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VALERE, KANDY                   SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
VALERIE PARKER                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
VALIAN, ANA                     THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
VALK, BEVERLY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VALLANCE, KAREN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VALLANDIGHAM, JEANNE            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231

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Claim Name                         Address Information
VALLARTA, GUADALUPE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
VALLE, DEANNE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VALLEJO, CANDACE                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                  PAUL MN 55101
VALLEJOS, JOANN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
VALLES, LINDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VALLEY, CORRINA                   WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                  NJ 08002
VALLEY, LOIS                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VALLIDO, ALIW                     BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                  ROBERT BRENT LOS ANGELES CA 90024
VALLIER, ANTOINETTE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VALUEFF, NANCY                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                  EDWARDSVILLE IL 62025
VALURE, TANYA                     POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
VALVERDE, ANGELINA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VAN ALLEN, LYNN                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                  ORANGE VA 02296
VAN BIBBER-MARTIN, STEPHANIE      THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                  CHARLESTON WV 25301
VAN BREE, LING                    DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
VAN BUREN, MONICA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VAN BUREN, MONICA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
VAN BUREN, MONICA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
VAN DERVORT, SHARYN               JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                  PAUL MN 55101
VAN DEUSON, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VAN DOREN, CONSTANCE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VAN DUSEN, NANCY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VAN DYKE, DEBERA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VAN DYKE, DOROTHY                 HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                  63101
VAN EXEL, GLORIA                  KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
VAN FLEET, SUSAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VAN HASELEN, CARMEN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VAN HORN, JEWELL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VAN KEUREN, FRANCES               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
VAN LEEUWEN, CAROL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VAN LENT, TAMI                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
VAN LIEW, WANDA                   ASHCRAFT & GEREL, LLP GREEN, J; LYONS, P 1825 K STREET, SUITE 700, NW
                                  WASHINGTON DC 20006
VAN LIEW, WANDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                  STREET MONTGOMERY AL 36104
VAN NESS, MARCIA                  MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                  DAVID M. MINNEAPOLIS MN 55404
VAN OORT, SUZANNE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
VAN ORD, SYLVIA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY


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Claim Name                       Address Information
VAN ORD, SYLVIA                 14202-3725
VAN PELT, TAMMY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VAN REMORTEL, JOANNE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VAN RYDER, CARMEN               DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
VAN SKIVER, JANET               TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
VAN TASSEL, TAMERA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VAN WALLINGA, JACQUELINE        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VAN WINKLE, KAREN               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VAN WINKLE, TERRYLE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VAN ZILE, LISA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
VAN, VIVIAN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VANAMBURGH, NANCY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VANARIA, CATHERINE              SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
VANCAMP, PENNY                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
VANCE, ANN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VANCE, ANNA                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
VANCE, BARBARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VANCE, JUDITH                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VANCE, MILLIE                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
VANCE, MILLIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VANCE, NENA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VANCE, SHERI                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VANCE, THELMA                   SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
VANCOL, LYNDA                   WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
VANCUYCK, SHIRLEY               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
VANDALL, DEANNA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VANDAVEER, SHARON               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
VANDENBERG, JO-ANNE             SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
VANDENBERG, LORI                HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
VANDENBERG, MARILYN             ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
VANDENBERG, MARILYN             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VANDENBERG, SUSAN               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
VANDENBROEKE, ASHLEY            JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
VANDENHEUBEL, ROSE              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
VANDENHEUBEL, ROSE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                          Address Information
VANDENHEUBEL, ROSE                 MEADOWS, TED G. MONTGOMERY AL 36104
VANDERAA, JUNE                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
VANDERBUNTE, SHANNON               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VANDERBUSCH, BEATRICE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
VANDERGRIFFT, DAWN                 FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD MCDOWELL, DARREN LUFF, PATRICK -
                                   PLUFF2FNLAWFIRM.C DALLAS TX 75231
VANDERHAM, DANIELLE                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
VANDERKOUS, DEANNA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
VANDERLIP, JENNIFER                WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                   DALLAS TX 75219
VANDERMEER-JACKSON, KATHERINE      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
VANDERPOOL, PATRICIA               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                   ANTHONY ST. LOUIS MO 63102
VANDERPOOL, PATRICIA               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
VANDERPOOL, PATRICIA               LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                   MANHATTAN BEACH CA 90266
VANDERPOOL, PATRICIA               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
VANDERPOOL, PATRICIA               ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                   S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
VANDERSTOKKER, MICHELLE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VANDEWARKER, SHARON                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
VANDEWARKER, SHARON                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VANDEWARKER, SHARON                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
VANDEWARKER, SHARON                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
VANDYKE, GLADYS                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                   ANTHONY ST. LOUIS MO 63102
VANDYKE, GLADYS                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
VANDYKE, GLADYS                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
VANDYNE, LINDA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VANELLA, MICHELLE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VANETTA, MICHAEL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
VANGIESEN, MARGARET                WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                   DALLAS TX 75219
VANHOY, DOLLIE                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
VANIKIOTIS, KIM                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                   SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
VANKINSCOTT, PILAR                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                   NJ 08002
VANKIRK, CAROLYN                   BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                   ROBERT BRENT LOS ANGELES CA 90024
VANKIRK, NANCY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VANLIER, DEBRA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VANMETER, LORIE                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296



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Claim Name                          Address Information
VANN, DOROTHY                      DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
VANN, EVA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VANN, VERNICE                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
VANNA, DAWN                        MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
VANNESS, NATASHA                   DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                   77024
VANNESS, SHARON                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VANNOSTRAND, TAMARA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VANNURDEN, LAURIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
VANORE, RITA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VANOVER, LESLIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
VANOVER, TERRESA                   THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
VANPAGE, DEBRA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
VANPOOL, CORIN                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
VANPOOL, CORIN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VANRIPER, JEANETTE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
VANSIPE, JUDITH                    SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
VANSLYCK, CAROLYN                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                   KANSAS CITY MO 64196
VANTELL, ALBERTA                   MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
VANTEYLINGEN, MARGARETHA           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VANWAARDHUIZEN, CHRISTINA          DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102
VANWYCK, DEENA                     WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                   NJ 08002
VANZILE, PAULA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VAQUEZ, DIANE                      PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
VARAGNOLO, MARIA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
VARDA, BARBARA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VARELA, SUSANA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
VARGA, BRANDY                      WEITZ & LUXENBERG RELKIN, E; SHARMA, B 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                   HILL NJ 08002
VARGA, YOLANDA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
VARGAS, ANDREA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
VARGAS, ANDREA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VARGAS, ANDREA                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
VARGAS, ANDREA                     PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
VARGAS, DEBORAH                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
VARGAS, DEBORAH                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
VARGAS, DIANA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VARGAS, ERICA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
VARGAS, GLORIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VARGAS, JODY                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
VARGAS, JODY                    LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
VARGAS, JODY                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
VARGAS, JODY                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
VARGAS, JODY                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
VARGAS, LILIA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
VARGAS, LYDIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VARGAS, YESENIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VARIAN-WILLIAMS, BETH           THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
VARISCO, KATRINA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
VARISCO, KATRINA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VARLEY, MELINDA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
VARNADO, CAROLYN                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
VARNAUSKAS, TINA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VARNER, BRANDY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VARNER, CAROLE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
VARNER, KATHY                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
VARNER, SUE                     WEXLER WALLACE LLP 55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
VARNER, VIVIAN                  WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
VARNUM, MALINDA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VARONA, MARAY                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
VARR, LESLIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VARR, LESLIE                    SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
VARSANIK, DAILLE                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
VARVARESOS, CARLA               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
VARVARESOS, CARLA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VARVIL, CONSTANCE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VASBINDER, ROSIE                BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
VASCONI, REBECCA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
VASQUEZ, DEBORAH                THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101


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Claim Name                              Address Information
VASQUEZ, ELIZABETH                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
VASQUEZ, ENILDA                        SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
VASQUEZ, JEANETTE SPEARS               LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                       SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
VASQUEZ, JESSE                         WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                       HILL NJ 08002
VASQUEZ, NORMA                         DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                       63102
VASQUEZ, OLGA                          WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                       NJ 08002
VASQUEZ, PATRICIA                      THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
VASQUEZ, PATRICIA AND VASQUEZ, SANTIAGO WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
VASQUEZ, RAMONA                        FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
VASQUEZ, SORAIDA                       MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                       KNOXVILLE TN 37929
VASSEF, ESMAT                          ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
VASSER, SHARON                         GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
VASTERELLA, ROSE                       BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                       70130
VASTERELLA, ROSE                       BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                       75202
VATNE, SHARON                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
VAUDREUIL, LINDA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
VAUGHAN, LINDA                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
VAUGHAN, PRISCILLA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VAUGHAN, SANDI                         POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
VAUGHN, ALESIA                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
VAUGHN, CATHEY                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
VAUGHN, CATHEY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VAUGHN, CATHEY                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
VAUGHN, CATHEY                         PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
VAUGHN, CRISTY                         CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                       ATLANTA GA 30319
VAUGHN, DELORES                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
VAUGHN, DIANNE                         GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
VAUGHN, DOLORES                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
VAUGHN, LISA                           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
VAUGHN, MARTHA                         GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
VAUGHN, MARY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
VAUGHN, MARY                           GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
VAUGHN, PAMELA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                              Address Information
VAUGHN, RAMONA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VAUGHN, RUTH                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
VAUGHN, STEPHANIE                      SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
VAUGHN, VICKIE                         THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
VAUGHN,GORDON ESTATE OF BOBBIE J VAUGHN WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
VAUGHT, GEORGIE                        TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
VAUGHT, KATHLEEN                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VAVIA, MARY                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VAVRINEC, KIMBERLY                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
VAWTER, DEBRA                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
VAY, BARBARA                           KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
VAZQUEZ, DALIA                         REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J EPHRON,
                                       MELISSA HOUSTON TX 77027
VAZQUEZ, EVA                           MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                       YORK NY 10017
VAZQUEZ, JAMIE                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
VAZQUEZ, JENIFFER                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
VAZQUEZ, MARIA LUQUE                   THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 FERRARO, JR., JAMES
                                       L. MIAMI FL 33131
VAZQUEZ, MELISSA                       BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                       CA 92660
VAZQUEZ, NORMA                         POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
VAZQUEZ, SONIA                         MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                       KNOXVILLE TN 37929
VEAL, ELLA                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VEAL, ROBIN                            GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                       PA 19102
VEAL, SAMILYA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
VEASEY, DIANE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VEASQUEZ, BASSEMATH                    HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                       63101
VEASY-HOGG, THERESA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
VEASY-HOGG, THERESA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
VEAZY, RACHEL                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
VEENENDAAL, ANN VAN                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                       BOUNDAS, JOHN T. HOUSTON TX 77017
VEFFER, LINDA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
VEGA, ALICIA                           JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
VEGA, CARMEN                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
VEGA, CARRIE                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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                                        LTL Management LLC
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Claim Name                       Address Information
VEGA, CARRIE                    75231
VEGA, DARLENE                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
VEGA, DOLORES                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VEGA, FELICIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VEGA, NATALIA                   FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
VEGA, OLGA                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
VEGA, REBECCA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VEGA-MORALES, AIDA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VEGGE, ROSEMARY                 KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
VEGGE, ROSEMARY                 LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
VEGHER, KIM                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VEGHER, KIMBERLY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VEIT, DEBRA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VEITCH, BRENDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VEKSLER, BARBARA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VELA, BENITA                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
VELA, CHRISTINA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VELA, CYNTHIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VELA, PATRICIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VELASQUEZ, CORINE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VELASQUEZ, LORRINA              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
VELASQUEZ, MARISELA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VELAZQUEZ, ESTELA               DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
VELAZQUEZ, MARIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VELAZQUEZ, NITZA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VELAZQUEZ-GRIFFIN, MARY         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VELEZ, MARIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VELEZ, THERESA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
VELLA, CAMILLE                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
VELLA, MARY                     JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
VELLONE, JANICE                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
VELLONE, JANICE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VELMONT, ESTHER                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
VENABLE, EDNA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
VENEGAS, CATHY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VENEZIA, LUCINDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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                                       LTL Management LLC
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Claim Name                       Address Information
VENTERS, LISA                   MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                DAVID M. MINNEAPOLIS MN 55404
VENTRICE, SHERI                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VENTRO, LINDA                   PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
VERA BROWN                      JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
VERA, CAREY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VERA, MARIA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VERA, TONYA                     NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
VERA, VICTORIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VERA, VICTORIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VERA, VICTORIA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
VERA, VICTORIA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
VERA, VICTORIA                  KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
VERCHER, RHONDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VERDIN, DONNIA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
VERDUCCI, DARLENE               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
VERDUGO, VICTORIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VERDUIN, HELEN                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
VERDUSCO, MATINA                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
VERGES, DELORES                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
VERHEST, LORRAINE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VERIKOKKOS, BARBARA             SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
VERIKOKKOS, BARBARA             BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
VERLIE, VICTORIA                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
VERLING, PATRICIA               COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
VERMA, ANUPAMA                  KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
VERMES, AGNES                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
VERNAY, MARJORIE                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
VERNON, BONNIE                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
VERNON, JEFF                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
VERNON, JENNIFER                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VERON, JOY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VERSLUIS, CHARLENE              MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
VERWEY, CANDICE                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
VERWEY, CANDICE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
VERWEY, CANDICE                 MEADOWS, TED G. MONTGOMERY AL 36104
VESA, ROSEMARY                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
VESS, SUESON                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VESSELS, MARY                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
VESTAL, JANET                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
VESTERBY, CAROL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VETRINI, VANESSA                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
VETTER, MARION                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VEZINAW, GENIDA                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
VICARI, CARRIE                  JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
VICE, BRENDA                    LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET KOHRS, NICHOLAS HIGHTOWER,
                                KRISTIE LAKE CHARLES LA 07060
VICE, REGINA                    WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
VICENTINI, LARA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VICIAN, JULIA                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
VICK, BARBARA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VICK, MARY                      GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
VICK, MICHELLE                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
VICK, SONYA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VICKERSTAFF, CAROLYN            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VICKERY, BETTY                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
VICKERY, KIMMIE                 SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
VICKERY, OFELIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VICKERY, PATRICIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VICKS, DEBORAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VICKS, EILEEN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VICORY, CATHY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VICTOR, CYNTHIA                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
VICTOR, ELIZA                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
VICTOR, NORA                    THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
VICTOR, WILLIE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR. MARK P. KAR NEWPORT BEACH CA 92660
VICTORIA MANSY                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502



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                                       LTL Management LLC
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Claim Name                       Address Information
VICTORIA STAFFORD               BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                COMMERCE STREET MONTGOMERY AL 36104
VICTORIA, ISELA                 WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
VICTORIAN, LILLIAN              MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
VICTORINO, GLORIA               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
VICTORINO, NADINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VICTORINO, VICTORIA             CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
VICTORY, TABITHA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
VIDAL, IVANNA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
VIDAL, MARIA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
VIDAL, MARIA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VIDAURI, JACQUELINE             HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
VIDETIC, MARGARET               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VIDOCK, BARBARA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VIDRA, MARIA                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
VIDRO, MARILYN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VIE, DENISE                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
VIEHMEYER, CHERYL               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
VIEHMEYER, CHERYL               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
VIEHMEYER, CHERYL               LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
VIEHMEYER, CHERYL               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
VIEHMEYER, CHERYL               ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
VIELE, DENISE                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
VIELE, KAREN                    JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
VIELMA, MARIA                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
VIENT, JACKY                    MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
VIERA, CARMEN                   NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
VIERA, SHARTEEN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VIGIL, BEVERLEY                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
VIGIL, PATTY                    WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
VIGIL, TANIA                    THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
VIGORITO, MARGARITE             GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103


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Claim Name                       Address Information
VIKASHNI, JAZMINE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VIKASHNI, JAZMINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VIKASHNI, JAZMINE               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
VIKASHNI, JAZMINE               PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
VILARDI, GINA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
VILEN, TRISHA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
VILEN, TRISHA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VILHAUER, JUDY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VILLA, ANA                      JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
VILLA, CAROLINA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
VILLA, LYNN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VILLA, TERESA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VILLACIS, SUZETTE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VILLADAMIGO, PATRICIA           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VILLAFANA, ELIZABETH            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VILLAGOMEZ, KATHLEEN            ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
VILLAGOMEZ, KATHLEEN            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VILLAGOMEZ, MARTHA              LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
VILLALOBOS, LETICIA             WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
VILLALOBOS, MARTHA              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
VILLALPANDO, ANGELA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VILLALPANDO, DOLORES            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VILLALPANDO, JESSICA            ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
VILLANUEVA, HEATHER             BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
VILLANUEVA, LILY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VILLANUEVA, MISCHELLIA          THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
VILLANUEVA, TINA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
VILLANUEVA, TINA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VILLARI, NANCY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VILLARI, NANCY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VILLARI, NANCY                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
VILLARI, NANCY                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
VILLARREAL, AMALIA              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
VILLARREAL, CLAUDIA             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231


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Claim Name                       Address Information
VILLARREAL, DENISE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VILLARREAL, ELOISA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VILLARREAL, ERLINDA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VILLARREAL, JACQULIN            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VILLARREAL, NATASHA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VILLARREAL, YOLANDA             GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
VILLARREAL, ZOWIE               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
VILLE, JODY                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
VILLE, JODY                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
VILLE, JODY                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
VILLEDA, ANA                    SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
VILLELLA, ROBERTA               BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
VILLYARD, KARA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
VINCENT, BETTY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VINCENT, BEVERLY                SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
VINCENT, DEBRA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
VINCENT, ELNORA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VINCENT, ERNESTINE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VINCENT, ETHEL                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
VINCENT, JANICE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VINCENT, LETHA                  ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
VINCENT, NANSALMAA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VINCENT, SHARI                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
VINCENT, TAFFII                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VINCENT, TRACY                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
VINCENT-MOORE, DANELL           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VINCI, GLENDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VINCIGUERRA, KATHLEEN           ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
VINCIGUERRA, SUSANNA            KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
VINEGAR, FAIGIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VINES, JOHNNIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
VINES, KELLIE                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
VINES, KELLIE                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
VINES, TERESA                   MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
VINES, TERESA                   KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
VINEYARD, KATHRYN               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
VINEZEANO, BWVERLY              WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
VINING, DORTHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VINK, KIMBERLY                  WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
VINSON, BARBARA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VINSON, BRAYLINNA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VINSON, BRAYLINNA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VINSON, CHARLOTTE               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
VINSON, EMILY                   HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
VINSON, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VINSON, MARY                    BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, MARK DALLAS TX 75202
VINTON, STEPHANIE               THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
VINUEZA, STACEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VINUYA, ALICIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VINUYA, ALICIA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
VINUYA, ALICIA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
VIOLA, JANET                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
VIOX, MARITA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VIPRINO, LINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VIRATA, MAY                     CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
VIRCKS, MARLENE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VIRGADAMO, FRANCES              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
VIRGIL, ADRIANA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VIRGILIO, DORISE                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
VIRGILITO, JENNIFER             COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
VIRGINIA HILLIARD               BARON & BUDD, P.C. MANN, JONAS 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX
                                75219
VIRGINIA SWEENEY                BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                COMMERCE STREET MONTGOMERY AL 36104
VIRGINIA, TERRI                 SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
VIRUET, JESSICA                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA



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                                        LTL Management LLC
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Claim Name                        Address Information
VIRUET, JESSICA                  PA 19102
VISCLOSKY, RUTH                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                 77098
VISCOUNTY, JANE                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                 BOUNDAS, JOHN T. HOUSTON TX 77017
VISCUSI, PATRICIA                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                 PA 19102
VISE, LINDA                      HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                 AL 03520
VISO, NATALIE                    FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
VISO, VINCEE                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                 77098
VITAL, TAUNINGA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
VITALE, CARRIE                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                 ORLEANS LA 70130
VITALE, DENICE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VITALE, JEAN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VITARELLI, NATALIE               NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                 11747
VITCH, CATHERINE                 MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                 TAMPA FL 33602
VITIELLO, LINDA                  HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
VITIELLO, PHYLLIS                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VITOLS, BRITT                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                 YORK NY 10017
VITOLS, BRITT                    HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
VITRANO, ANNA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
VITRANO, ANNA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                 MINNEAPOLIS MN 55402
VITRANO, ANNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VITRANO, ANNA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
VITRANO, ANNA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
VITTO, GLORIA                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                 14202-3725
VIVIAN JACOBS                    BARON & BUDD, P.C. MANN, JONAS 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX
                                 75219
VLAUN, SUSAN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VO, CAM                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
VOGEL, MICHELE                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                 STREET, SUITE PENSACOLA FL 32502
VOGELSANG, STEFANIE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
VOGELSONG, DEANNA                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                 63102
VOGL, JENNIFER                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VOGT, LINDA                      GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                 EDWARDSVILLE IL 62025
VOGT, MARION                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                 77098



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Claim Name                          Address Information
VOILAND, JOANNE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
VOLESKY, LISA                      WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                   BOUNDAS, JOHN T. HOUSTON TX 77017
VOLK, ELAINE                       BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                   75202
VOLK, MARY                         JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                   PAUL MN 55101
VOLKER-LOGUIDICE, AMANDA           GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                   PA 19102
VOLKER-LOGUIDICE, AMANDA           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
VOLKER-LOGUIDICE, AMANDA           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VOLKER-LOGUIDICE, AMANDA           THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
VOLKER-LOGUIDICE, AMANDA           PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
VOLKOVA, TATIANA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
VOLLAIRE, VANESSA                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                   KANSAS CITY MO 64196
VOLPE, MAUREEN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
VOLPP, BETH                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
VOLSTED, PATRICIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
VOLZ, KIM                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
VOLZ, MAUREEN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VOMDORP, JANICE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
VON ASHEN, KRISTINE                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                   MINNEAPOLIS MN 55402
VON ASHEN, KRISTINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VON ASHEN, KRISTINE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
VON ASHEN, KRISTINE                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
VON ASTEN, CAROL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VON BROCKDORFF, LOUISE             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
VON DRASEK, MIRIAM                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VON HAWKER, BRENDA SCHULTZ         THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
VONDERSCHMIDT, REBECCA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VONDRA, MIKA                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
VONESH, CAROL                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
VONESH, CAROL                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
VONOESEN, MARCELLA                 WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                   NJ 08002
VONSEGGERN, KATHLEEN               DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
VONWALDNER, SUZANNE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VORELL, LOUISE                     MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464



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Claim Name                       Address Information
VORGA, JOANN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VORTES, CHANTEL                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
VORWALD, BARBARA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VOSEFSKI, HOLLY                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
VOSGIEN, LACIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VOSS, CINDY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VOSS, DENISE                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
VOSSLER, BETTY                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
VOSSLER, MELERAY                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
VOTSIS, ELENI                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
VOUDREN, REGINA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
VOYCE, VICKI                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
VOYLES, SHIRLEY                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
VRANEK, LANA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
VREELAND-CORPE, LESLIE          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VRENON, DEBORAH                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
VRENON, DEBORAH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
VUICH, LEONA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VUKELICH, MARIA                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
VUKELICH, MARIA                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
VUKELICK, MARIA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
VUKELICK, MARIA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
VUKELICK, MARIA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
VUKOTICH, DENISE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
VULHOP, CAROLE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WAARDENBURG, NANCY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WABY, CHRISTINE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WADDELL, AUDREY                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WADDELL, AUDREY                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WADDELL, AUDREY                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WADDELL, AUDREY                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WADDELL, EVELYN                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WADDELL, KATHLEEN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
WADDELL, KATHLEEN               MEADOWS, TED G. MONTGOMERY AL 36104
WADDELL, MARIANA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WADDLE, GAYLE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WADDLE, PEGGY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WADE, CHEREE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WADE, DIANE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WADE, DOROTHY                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
WADE, EDNA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WADE, EMILY                     THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
WADE, HELEN                     WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
WADE, KANESHA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WADE, LOIS                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WADE, MARILYN                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WADE, MARILYN                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WADE, MARILYN                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WADE, OCTAVIUS                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WADE, SHERYL                    FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD RAGGIO, JOHN LUFF, DALLAS TX 75231
WADE, TONI                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WADE, YVONNE                    BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
WADLEY, ANNALISA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WADLEY, WILLIE                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
WADNIZAK, VIRGINIA              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WADSWORTH, LOIS                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WADSWORTH, LOIS                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WAERSTAD, ANGELINE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WAGENKNECHT, VANESSA            BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 BUDD, RUSSELL W DALLAS TX
                                75219
WAGENMANN, SUZANNE              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WAGER, CHERYL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WAGER, ELIZABETH                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WAGES, MARY                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WAGES, MARY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WAGGONER, MARILYN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WAGGONER, PAMELA                MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P.
                                FALLICK, PERRY S. NEW YORK NY 10017
WAGNER, ANN                     LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502


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                                       LTL Management LLC
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Claim Name                       Address Information
WAGNER, APRIL                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WAGNER, BARBARA                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WAGNER, BRIANNA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WAGNER, BRIANNA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WAGNER, CAROL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WAGNER, CATRINA                 SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
WAGNER, DONNA                   NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
WAGNER, ELIZA                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WAGNER, EMILY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WAGNER, JULIE                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
WAGNER, KAREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WAGNER, KHANTRELL               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WAGNER, LAUREL                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WAGNER, MARY                    THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
WAGNER, PAMELA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WAGNER, PHYLLIS                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WAGNER, PHYLLIS                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WAGNER, PHYLLIS                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WAGNER, PHYLLIS                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WAGNER, REBECCA                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
WAGNER, RUTH                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
WAGNER, SAVANNAH                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WAGNER, SHIRLEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WAGNER, SUSAN                   NAPOLI SHKOLNIK PLLC 400 BROADHOLLOW RD, STE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
WAGNER, SUSAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WAGNILD, KATHLEEN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WAGNON, DONNA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WAGONER, CONSTANCE              JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
WAGONER, OIREAL                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
WAGSTAFF & CARTMELL, LLP        4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
WAGUESPACK, ANDREA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WAHL, VICKI                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WAHNEE, TONI                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098



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                                                        List
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Claim Name                               Address Information
WAIT, ANGIE                              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
WAITE, AGNES                             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
WAITE, JEANINE                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WAITE, JEANINE                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
WAITE, JOANNE                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
WAITE, NANCY                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
WAITERS, NICOLE                          DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
WAITES, MARY                             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
WAITES, PATRICIA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WAITES, TERESA                           JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                         77002
WAITS, JULIA                             HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                         63101
WAITS, TERRI                             TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
WAKE, KEASHUANA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WAKEFIELD, KIMBERLY                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
WAKEN-HALL, CAROLYN                      MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                         KNOXVILLE TN 37929
WAKSMUNSKI, CONSTANCE                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
WAKSMUNSKI, CONSTANCE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
WALAZEK, SANDRA                          MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                         YORK NY 10017
WALBECK, JANET                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALBERG, SUSAN A & WALLBERG, ALEXANDER   MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
C                                        YORK NY 10017
WALBORN, AUDRIENNE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALBORN, CAROL-ANN                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
WALCH, TERESA                            ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WALCH, TERESA                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
WALDEN, CHAKA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALDEN, TIFFANY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALDER, CECELIA                          DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
WALDMAN, SUSAN                           KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
WALDO, ROSA                              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                         EMILY FAIRFAX VA 22031
WALDO, ROSA                              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
WALDON, SANDRA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
WALDOW, AMY                              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
WALDRON, KAREN                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WALDROP, HELEN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WALDROP, HELEN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALDROP, LINDA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WALES, KAREN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALK, SHIRLEY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALKER, ALICIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALKER, ALICIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALKER, ALICIA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WALKER, ALICIA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WALKER, ALLINE                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
WALKER, ALLISON                 CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
WALKER, ALLISON                 BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
WALKER, AMANDA                  FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
WALKER, ANGELA                  WEITZ & LUXENBERG RELKIN, E; SHARMA, B 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
WALKER, ANGELA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALKER, ANGELIA                 ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
WALKER, BARBARA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WALKER, BARBARA                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
WALKER, BELINDA                 JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
WALKER, BETTIE                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WALKER, BETTIE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
WALKER, BRENDA                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
WALKER, CARRIE                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
WALKER, CHARLENE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALKER, CHERIE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WALKER, CHERYL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALKER, CHINITA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALKER, CYNTHIA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WALKER, CYNTHIA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
WALKER, DANA                    MILLER DELLAFERA PLC 3420 PUMP RD., PMD 404 HENRICO VA 23233


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                                       LTL Management LLC
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Claim Name                       Address Information
WALKER, DARLENE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WALKER, DEVANIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WALKER, DONNA                   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
WALKER, DONNA                   MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
WALKER, DWEDE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALKER, FAYE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WALKER, FREDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALKER, FREDA                   ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
WALKER, GERTRUDE                NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
WALKER, HELEN                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WALKER, JANE                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
WALKER, JANET                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALKER, JOYCE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALKER, JUDITH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALKER, KAREN                   HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
WALKER, LESLEY                  JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
WALKER, LETHA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALKER, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALKER, LINDA                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
WALKER, LINDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALKER, LINDA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WALKER, LINDA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WALKER, LISA                    THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
WALKER, LOUISE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WALKER, LUCY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALKER, LULA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WALKER, MARILYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALKER, MARILYN GORE            PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
WALKER, MARJORIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALKER, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALKER, MECHIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALKER, MICHELLE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALKER, MICHELLE                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
WALKER, MICHELLE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALKER, MICHELLE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WALKER, MICHELLE                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768


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                                                  List
                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
WALKER, MICHELLE                KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
WALKER, MYRON                   FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
WALKER, OFELIA                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
WALKER, PATRICE                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
WALKER, PATRICIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALKER, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALKER, RENEYA                  WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
WALKER, SABRINA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALKER, SABRINA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALKER, SANDRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALKER, SANDRA KELLAR           POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
WALKER, SELENA                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
WALKER, SHARON                  NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
WALKER, SHERIDY                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
WALKER, SHERYL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALKER, SHIRLEY ANN             ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WALKER, SHIRLEY ANN             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALKER, SHIRRINA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALKER, SOPHRONIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WALKER, TAWANNA                 JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
WALKER, TONYA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALKER, TRACY                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
WALKER, TRESSA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALKER, VANESSA                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
WALKER, VERONICA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALKER, VIKTORIA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WALKER, VIOLET                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALKER, VIVIAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALKER, VIVIAN                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WALKER, WILLIE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WALKER, WILLIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALKER, YANA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX



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Claim Name                       Address Information
WALKER, YANA                    77098
WALKER-DETLOFF, BETTY           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALKER-DETLOFF, BETTY           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALKER-DETLOFF, BETTY           THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WALKER-DETLOFF, BETTY           PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WALKER-MCGEE, STACY             DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WALKER-MCGEE, STACY             LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WALKER-MCGEE, STACY             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WALKEY, LEONISE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALKEY, LEONISE                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
WALKEY, LEONISE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALKEY, LEONISE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WALKEY, LEONISE                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WALKUW, ARNES                   THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
WALL, JOAN                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WALL, KIMBERLY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WALL, LORRIE                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WALL, LORRIE                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WALL, MARY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALL, MONICA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WALL, NANCY                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WALL, PRISALLA                  WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
WALL, SHARLYN                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
WALLACE, AMANDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALLACE, AMMIE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WALLACE, ANA                    MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
WALLACE, BARBARA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALLACE, BETTY                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WALLACE, BETTY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALLACE, CAROLYN                HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
WALLACE, CAROLYN                BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
WALLACE, CHARLENE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALLACE, CYNTHIA                ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226



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Claim Name                       Address Information
WALLACE, DIANE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALLACE, DOROTHY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALLACE, FRANCES                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WALLACE, GRETCHEN               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WALLACE, IDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALLACE, J.A.W.                 BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
WALLACE, JANNA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WALLACE, LISA                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
WALLACE, MARGIE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WALLACE, MARGIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALLACE, MARIA                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
WALLACE, MARIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WALLACE, NADINE                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WALLACE, PANILLA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WALLACE, PANILLA                MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
WALLACE, PANILLA                KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
WALLACE, PATRICIA               FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
WALLACE, PATRICIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALLACE, SADIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WALLACE, SHADRA                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
WALLACE, SHADRA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WALLACE, SHELDA                 JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
WALLACE, SHERRY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALLACE, SUSAN                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
WALLACE, TERESA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALLACE, WANDA                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
WALLACE-MERRITT, PENNY          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALLAND, JUDY                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WALLEN, JULIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALLENBERG, ELEANOR             ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WALLER, CARLA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALLER, CHARLENE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALLER, FRANCES                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
WALLER, HEIDRUN                 WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
WALLER, KELLI                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WALLER, LOIS                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALLER, PAULETTE                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
WALLER, REBECCA                 DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
WALLER, RUTH                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WALLER, WANDA                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
WALLICK, LAURA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
WALLINGSFORD, PENNY             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALLINGSFORD, PENNY             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALLINGSFORD, PENNY             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WALLINGSFORD, PENNY             PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
WALLIS, OCEAIN                  CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
WALLNER, BRENDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALLS, EVELYN                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
WALLS, GLENDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALLS, KAREN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALLS, LEROJUA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALLS, MELODY                   SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
WALLS, VIRGIE                   LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET HIGHTOWER, KRISTIE LAKE
                                CHARLES LA 07060
WALPOLE, ROSEMARIE              COHEN, PLACITELLA & ROTH 127 MAPLE AVE. PLACITELLA, CHRISTOPHER M. GEIER,
                                DENNIS M. RED BANK NJ 07701
WALRUFF, ROSEMARY               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WALSH, CAROLYN                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
WALSH, DORA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WALSH, DORA                     LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
WALSH, ELENA                    JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
WALSH, FELICIA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WALSH, FELICIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALSH, LINDA                    MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
WALSH, LISA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALSH, MELISSA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WALSH, PATTIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44             Desc Main
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Claim Name                       Address Information
WALSH, REBECCA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WALSH-LENNON, EILISH            JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WALSHAK, BARBARA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WALSTON, CARRIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALSTON, FLORA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALTER, BARBARA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALTER, JUDITH                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WALTER, KAREN                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
WALTER, MYRA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WALTERMIRE, SHARLA              CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
WALTERS, AKIKO                  SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
WALTERS, AYANNA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WALTERS, BRENDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALTERS, BUNNY                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
WALTERS, CAROL                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WALTERS, CAROL                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WALTERS, CAROL                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WALTERS, CAROL                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WALTERS, CHARLOTTE              WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
WALTERS, CHRISTINE              COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
WALTERS, CYNTHIA                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WALTERS, CYNTHIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WALTERS, JUDY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALTERS, MARGARAET              THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
WALTERS, MICHELLE               BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
WALTERS, ROSALIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALTERS, SHELLI                 MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
WALTERS, SUSAN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WALTERS, THOMASCENE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALTERS, THOMASCENE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALTERS, THOMASCENE             THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WALTERS, THOMASCENE             PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
WALTERS, TINA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALTERS-HAUSER, JANET           ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006


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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
WALTERS-HAUSER, JANET           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALTERS-SANCHEZ, SUSAN          FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WALTERSDORF, REGINA             NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
WALTHALL, TERRI                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WALTHALL, TERRI                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALTHER, ALMA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WALTMAN, MARLENE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALTON, ALICE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WALTON, AMBER                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WALTON, AMBER                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALTON, BERTHA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WALTON, BERTHA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALTON, BOBBIE                  BLIZZARD & NABERS, LLP 5020 MONTROSE BLVD SUITE 410 HOUSTON TX 77006
WALTON, CARLA                   TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
WALTON, CHRISTY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALTON, DARLEEN                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
WALTON, EDNA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALTON, EDNA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
WALTON, EDNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALTON, EDNA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WALTON, EDNA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WALTON, ELIZABETH               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALTON, KAREN                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WALTON, MARY                    MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
WALTON, MICHELE                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
WALTON, ROSAYLN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WALTON, ROSE                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WALTON, RUSTY                   NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
WALTON, SHERRION                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WALTON-SMITH, CHELCE            WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
WALTZ, TERRY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WAMACK, DAWN                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
WAMPLER, CAROL                  BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219



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Claim Name                       Address Information
WAMSLEY, PATRICIA               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WANDA MCCROSKEY                 FLETCHER V. TRAMMELL TRAMMELL, FLETCHER V 3262 WESTEIMER, SUITE 423 HOUSTON TX
                                77098
WANDA SHETTLES                  BARON & BUDD, P.C. MANN, JONAS 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX
                                75219
WANDA, MERRY                    THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
WANG, LISA                      DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WANG, LISA                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WANG, LISA                      LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
WANG, LISA                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WANG, LISA                      ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WANGELIN, TAMARA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WANIEWSKI, IRENE                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WANKET, KIMBERLY                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WANN, MARGARET                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
WANNEMACHER, CAROL              ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
WAPNIAK, JEANINE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WARADZIN, JOYCE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WARD, ALICE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WARD, CARLA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WARD, CHRISTINE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WARD, DAISY                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WARD, DONNA                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WARD, ELIZABETH                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WARD, EMMA                      MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
WARD, ESTHER                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WARD, FELICIA                   WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
WARD, FRANKYE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WARD, GINNY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WARD, GLENNIS                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WARD, IRMA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WARD, JANET                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WARD, JUNE                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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Claim Name                       Address Information
WARD, JUNE                      75231
WARD, KATHLEEN                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WARD, KINDYERRA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WARD, LENA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WARD, LESLIE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WARD, LORI                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WARD, LUVENIA                   SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
WARD, MARGARET                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WARD, MARGARET                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WARD, MARVA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WARD, ONTAYAI                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WARD, PENNY                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WARD, RACHELLE                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WARD, REBECCA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WARD, SHARRON                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WARD, SHERRON                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WARD, SHERRON                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WARD, TAHSA                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WARD, TAMARA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WARD, TARA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WARD, TERI                      PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
WARD, TINA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WARD, VALERIE                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
WARDELL, LUCILLE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WARDEN, DONNA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WARDLAW, ODETTE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WARDY, ANNETTE                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
WARE, GEORGIA                   THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
WARE, GERALDINE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WARE, KAREN                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WARE, KATHERN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WARE, KIMBERLY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WARE, LINDA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
WARE, LINDA                     MEADOWS, TED G. MONTGOMERY AL 36104
WARE, LORETTA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WARE, PATRICIA                  MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
WARE, RENEE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WARE, ROSEATTA                  FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LUFF, PATRICK - DALLAS TX 75231
WARE, THERESA                   POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
WARFORD, SHELLA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WARFORD, SHELLA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WARFORD, SHELLA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WARICHAK, DIANE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WARING, CINNAMON                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WARIX, SHIRLEY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WARNER, BARBARA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WARNER, BROOKLYN                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WARNER, CECELIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WARNER, CYNTHIA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WARNER, DENIESE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WARNER, KATHY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WARNER, KATHY                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
WARNER, SANDRA                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
WARNKE, LUCINDA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WARNKE, LUCINDA                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
WARNKE, LUCINDA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WARNKE, LUCINDA                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WARNKE, LUCINDA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WARNOCK, LINDA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
WARRE, LORE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WARREN, BERNICE                 MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
WARREN, BRENDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WARREN, BRITTANY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WARREN, CAROL                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102


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                                              LTL Management LLC
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                                                            Entered 02/17/22 16:31:44            Desc Main
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Claim Name                             Address Information
WARREN, CAROL                          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WARREN, CAROL                          LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                       MANHATTAN BEACH CA 90266
WARREN, CAROL                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WARREN, CAROL                          ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                       S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WARREN, CAROL & EST OF RICKY HALLETT   MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                       YORK NY 10017
WARREN, DEBORAH                        LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                       SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
WARREN, EDNA                           DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                       63102
WARREN, ELIZABETH                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
WARREN, ELIZABETH                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
WARREN, ELVIRA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
WARREN, FRANCES                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
WARREN, JAMIE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WARREN, JOANN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WARREN, JULIA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WARREN, LEE                            SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
WARREN, LINDA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
WARREN, LINDA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WARREN, LINDA                          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WARREN, LINDA                          PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WARREN, LYNN                           THE MILLER FIRM, LLC SHAH, TAYJES M. 108 RAILROAD AVE. ORANGE VA 22960
WARREN, MYRIA                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
WARREN, MYRIA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
WARREN, OCTAVIA                        JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                       PAUL MN 55101
WARREN, PAMELA                         THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
WARREN, PAMELA                         ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WARREN, PAMELA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
WARREN, RENEE                          THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                       FERRARO, JR, JAMES L MIAMI FL 33131
WARREN, SANDRA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
WARREN, SHARON                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
WARREN, SHELLEY                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
WARREN, SHIRLEY                        ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007



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                                       LTL Management LLC
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Claim Name                       Address Information
WARREN, SUELLYN                 BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
WARREN, SUSAN                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WARREN, SUSAN                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
WARREN, TARA                    JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
WARREN, TONYA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WARREN, TREVA                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WARREN, TREVA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WARREN, TREVA                   LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
WARREN, TREVA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WARREN, TREVA                   ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WARREN-HENDERSON, SANDRA        CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WARRING, MARY                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
WARSHAWSKY, BEVERLY             THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
WARYAS, PAMELA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WASBERG, MICHELE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WASBERG, MICHELE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WASBERG, MICHELE                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WASCOM, BRENDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WASHBURN, JO ANN                SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
WASHBURN, THERESA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WASHINGTON, ARETHA              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WASHINGTON, ARLINDA             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WASHINGTON, BERNITA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WASHINGTON, BRIDGET             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WASHINGTON, CASHANNA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WASHINGTON, CASSANDRA           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WASHINGTON, CHINON              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WASHINGTON, CHRISY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WASHINGTON, DELORISTINE         HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
WASHINGTON, DORIS               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WASHINGTON, EVELYN              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WASHINGTON, GAIL                JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
WASHINGTON, JOSIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WASHINGTON, JOYCE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WASHINGTON, LAKISHA             THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW


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Claim Name                       Address Information
WASHINGTON, LAKISHA             ORLEANS LA 70130
WASHINGTON, LULA                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WASHINGTON, LULA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WASHINGTON, MARIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WASHINGTON, MARTHA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WASHINGTON, MARY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WASHINGTON, MARY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WASHINGTON, MAYRENE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WASHINGTON, MECHELL             DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
WASHINGTON, MECHELL             GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
WASHINGTON, MILDRED             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WASHINGTON, MILDRED             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WASHINGTON, OLA                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
WASHINGTON, ORA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WASHINGTON, ORA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WASHINGTON, ORA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WASHINGTON, RITA                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WASHINGTON, ROSALYN             BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
WASHINGTON, ROSALYN             BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
WASHINGTON, SALOME              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WASHINGTON, SANDRA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WASHINGTON, SHARON              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WASHINGTON, SHARON              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WASHINGTON, SHEILAH             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WASHINGTON, SUNDAE              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WASHINGTON, VALERIE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WASHINGTON, VANESSA             GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WASHINGTON, VANESSA             DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WASHINGTON, VANESSA             LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WASHINGTON, VANESSA             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WASHINGTON, VERA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WASHINGTON, VERONICA            MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
WASHINGTON, WENDY               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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Claim Name                       Address Information
WASHINGTON, WENDY               75231
WASSON, MARY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WASSON, MARY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WASSON, SUSAN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WASSON, YVONNE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WASTON, OLIVIA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WATCHORN, BRENDA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WATCHORN, BRENDA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WATERHOUSE, KAY                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
WATERMAN, MISTY                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WATERMAN, ROSE                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WATERMAN, ROSE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WATERS & KRAUS, LLP             S CHESTER-SCHINDLER, L MACLEAN 3141 HOOD STREET, STE 700 DALLAS TX 75219
WATERS, BETSY                   WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
WATERS, BURNELL                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WATERS, CELESTINE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WATERS, CHRIS                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WATERS, CORIENA                 MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
WATERS, CYNTHIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WATERS, DONNA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WATERS, DORA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WATERS, ELIZABETH               ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
WATERS, JANICE                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WATERS, JESSICA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WATERS, JOANNA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
WATERS, JOANNA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WATERS, JOANNA                  KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
WATERS, MISTY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WATERS, SALLY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WATERS, SALLY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WATERS, VIRGINIA                THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
WATERSON, MARIA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX



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Claim Name                       Address Information
WATERSON, MARIA                 77098
WATFORD, PAULETTE               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
WATFORD, STACY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WATHKE, REBECCA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WATKINS, ADELHEID               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WATKINS, ADELHEID               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WATKINS, ANDREA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WATKINS, ANDREA                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
WATKINS, ANTOINETTE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WATKINS, BESSIE                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WATKINS, CASSANDRA              GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
WATKINS, FETINA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WATKINS, GLADYS                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WATKINS, GRACE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WATKINS, GRACE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WATKINS, JAMIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WATKINS, JERRI                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WATKINS, JUDY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WATKINS, KATHLEEN               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WATKINS, LATASHA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WATKINS, MARY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WATKINS, NANCY                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WATKINS, NANCY                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WATKINS, NANCY                  LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
WATKINS, NANCY                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WATKINS, NANCY                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WATKINS, PAMELA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WATKINS, SHARI                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WATKINS, TAMMY                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WATKINS, VALARIE                HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
WATKINS-BRADLEY, MARY           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WATKINS-ELLIS, MODIA            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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Claim Name                       Address Information
WATLINGTON, TAWANA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WATLINGTON, TAWANA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WATSON, BARBARA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WATSON, BARBARA                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
WATSON, BRENDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WATSON, BRENDA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WATSON, BRENDA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WATSON, CAROL                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
WATSON, DEBORAH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WATSON, DEBRA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WATSON, EMMA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WATSON, ESTHER                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
WATSON, GRACE                   TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
WATSON, GRACIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WATSON, JACQUELINE              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WATSON, JOYCE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WATSON, JULIE                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WATSON, KAREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WATSON, KAREN                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WATSON, KAREN                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WATSON, KARIE                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WATSON, LILLIAN                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WATSON, MARCIA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WATSON, MARILYN                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WATSON, MARLA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WATSON, MELISA                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
WATSON, MERILYN                 NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
WATSON, PATRICIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WATSON, REBECCA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WATSON, RONEISHA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WATSON, SHANNON                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WATSON, SHARON                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WATSON, SHIRLEY                 TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
WATSON, SIMONNE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX


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                                        LTL Management LLC
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                                                  List
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Claim Name                       Address Information
WATSON, SIMONNE                 75231
WATSON, TAMICA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WATSON, TERESA                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
WATSON, TERRI                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WATSON, THERESA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WATSON, TRAUTE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WATSON, VANESSA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WATSON-COTTON, DOROTHY          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WATTERS, DENISE                 MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
WATTERS, JACKIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WATTS, ANGIELEE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WATTS, ANITA                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WATTS, BRENDA                   FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
WATTS, CARLENE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WATTS, CARLENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WATTS, CARLENE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WATTS, CARLENE                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WATTS, DOROTHY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WATTS, EUGENIA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WATTS, JESSICA                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
WATTS, JUDITH                   THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
WATTS, JUNE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WATTS, KAREN                    GIRARDI & KEESE 1126 WILSHIRE BLVD. GIRARDI, THOMAS V. LOS ANGELES CA 90017
WATTS, KAREN                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
WATTS, KELSEY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WATTS, LAURA                    ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
WATTS, PAULA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WATTS, RUBY                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WATTS, SANDRA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WATTS, SHELIA DOYLE             MORGAN & MORGAN GOETZ, MICHAEL, ONE TAMPA CITY CNTR 7TH FL, 201 N FRANKLIN ST
                                TAMPA FL 33602
WAUGH, CLARICE                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
WAUGH, CLARICE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WAUGH, PEGGY                    THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101



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                                                LTL Management LLC
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                                                        List
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Claim Name                               Address Information
WAUN, DEBORAH                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
WAVERLY, SHAVONDA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
WAXMAN, LORRAINE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
WAXMAN, LORRAINE                         GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                         MINNEAPOLIS MN 55402
WAXMAN, LORRAINE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WAXMAN, LORRAINE                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WAXMAN, LORRAINE                         PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WAY, AUDREY                              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEAKLAND, DEBORAH                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                         ORANGE VA 02296
WEALAND, MABEL                           WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                         BOUNDAS, JOHN T. HOUSTON TX 77017
WEARS, BARBARA                           FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
WEATHERFORD, IOTRA                       BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                         75202
WEATHERFORD, KATHERINE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEATHERHOLT, PATRICIA                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                         BOUNDAS, JOHN T. HOUSTON TX 77017
WEATHERLY, PHILA                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
WEATHERLY, SHARON                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
WEATHERMAN, PRISCILLA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
WEATHERS, MARY                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
WEATHERS, ROSALIND                       DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                         KANSAS CITY MO 64196
WEATHERS, SANDRA R AND WEATHERS, BRIAN   LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
L                                        NJ 08648
WEATHERS, SHARON                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEATHERWAX, MARY                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
WEATHERWAX, PATRICIA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
WEATHINGTON, DENISE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
WEAVER, BETTY                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
WEAVER, BETTY                            THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WEAVER, BETTY                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. KA NEWPORT BEACH CA 92660
WEAVER, COLLEEN                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEAVER, DEBORA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
WEAVER, DEBRA                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
WEAVER, EBONI                            ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226



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Claim Name                       Address Information
WEAVER, ESSIE                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
WEAVER, HELEN                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WEAVER, HELEN                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WEAVER, JOYCE                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WEAVER, JOYCE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WEAVER, JUDY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WEAVER, KASSANDRA               WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
WEAVER, KATHLEEN                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WEAVER, LORI                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WEAVER, LUCINDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEAVER, MARNA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WEAVER, MAUREEN                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WEAVER, MISTY                   FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
WEAVER, SHERRY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WEAVER, TAMMY                   CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
WEAVER, TAMMY                   BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
WEAVER, YVONNE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEBB, ANNA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEBB, CATHERINE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WEBB, CHRISTINA                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
WEBB, CORA                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WEBB, DEBORAH                   MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
WEBB, GAIL                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEBB, JEANETTE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEBB, JERALDEAN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WEBB, KARYL                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
WEBB, KATRINA                   MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
WEBB, KELLI                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
WEBB, KELLY                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WEBB, KELLY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEBB, KELLY                     MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
WEBB, LATOSHA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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Claim Name                         Address Information
WEBB, LATOSHA                     75231
WEBB, LYNN                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
WEBB, LYNN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEBB, LYNN                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WEBB, LYNN                        PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
WEBB, PHYLLIS                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                  EMILY FAIRFAX VA 22031
WEBB, PHYLLIS                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
WEBB, PHYLLIS                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEBB, RACHELLE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
WEBB, SHERRIE                     KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
WEBB, THELMA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
WEBB, WANDA                       GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                  PA 19102
WEBBER, DEBORAH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEBBER, EDNA                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WEBBER, KAREN                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
WEBBER, KIM                       BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                  75202
WEBER, CARMELA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
WEBER, DOROTHY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                  ORANGE VA 02296
WEBER, JULIE                      WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                  NJ 08002
WEBER, KRISTY                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WEBER, LEAH                       WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                  BOUNDAS, JOHN T. HOUSTON TX 77017
WEBER, LYNDA                      BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                  75202
WEBER, MARY                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                  ORANGE VA 02296
WEBER, MARY                       CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                  14202-3725
WEBER, P                          LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                  SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
WEBER, PATRICIA                   ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
WEBER, RHONDA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
WEBER, SHARON                     BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                  30603
WEBER, WENDY                      SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                  94104
WEBER-BOSWORTH, LYNN              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
WEBER-MULLICAN, KAREN             ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WEBER-SCALLIONS, MARY             THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.



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Claim Name                       Address Information
WEBER-SCALLIONS, MARY           MADISON MS 39110
WEBSTER, ANN                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WEBSTER, ANN                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WEBSTER, ANN                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WEBSTER, BETTY                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WEBSTER, CARMA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
WEBSTER, CINDY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WEBSTER, DIANE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WEBSTER, DIANE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEBSTER, JAMIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEBSTER, JUDITH                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WEBSTER, KAREN                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WEBSTER, MARGARET               CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
WEBSTER, REGINA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEBSTER, SHAWNNESSY             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEBSTER, SUEANN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEDDELL, WENDY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEDDINGTON, LAURA               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WEDDINGTON, LAURA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WEDDINGTON, LAURIE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEDDINGTON, VIVIAN              GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
WEDDLE, SUSAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEDEL, KELLY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WEDEMEYER, MICHELLE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEDLICK-ORTIZ, ELLEN            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WEDLICK-ORTIZ, ELLEN            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEDLICK-ORTIZ, ELLEN            THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WEDLICK-ORTIZ, ELLEN            PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
WEDLICK-ORTIZ, ELLEN            SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
WEED, CLORINDA                  SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                11530
WEED, CLORINDA                  HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
WEEDEN, TERRI                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WEEDMAN, CAROL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEEKLEY, CYNTHIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEEKLY, LUELLA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231


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Claim Name                       Address Information
WEEKS, ANGELA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WEEKS, BARBARA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WEEKS, MALUDI                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
WEEKS, SHARON                   CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
WEEKS, TAMMY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WEEKS, TANNAZE                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WEEKS, TAWANNA                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
WEEKS, TAWANNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEEKS, VICKI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEEKS-BAILEY, KATHLEEN          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEEKS-HARDWICK, HELEN           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WEEMS, JANET                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WEEMS, JANET                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WEEMS, MARTHA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WEEMS, MARTHA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WEESE, BARBARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEGER, CAROLYN                  TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
WEGER, CHRISTINA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEGHORST, CRYSTAL               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WEHLING, LAUREL                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
WEIDE, SHARON                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WEIDENHAMER, NANCY              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WEIGEL, GINGER                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WEIGHT, VALERIE                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
WEILER, JULIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WEIMER, MARY                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WEIMER, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEINBERG, CINDY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEINER, JENNIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WEINER, MARILYN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WEINER, MARILYN                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WEINER, MARY                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031



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Claim Name                               Address Information
WEINER, MARY                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS O'DELL, PATRICIA LEIGH 218 COMMERCE
                                        STREET MONTGOMERY AL 36104
WEINER, SUSAN                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEINHEIMER, MARGARET                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEINHOLD, MARGARET                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
WEINREICH, ROBERTA                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
WEINRIEB, HARRIETT                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEINSTEIN, EVE                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
WEINTRAUB, LINDA                        ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WEINTRAUB, LINDA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
WEIR, DEBRA                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEIRICH, GENEVIEVE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEIS, ARLENE                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
WEIS, KATARINA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEISBERG, ABBIE                         THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
WEISBROD, JUDITH                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                        77098
WEISE, LORETTA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEISENBERG, CARYN                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
WEISENFELD, DENISE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEISGARBER, JEANNE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
WEISLO, MARY                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
WEISS, DARLENE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEISS, JANICE ESTATE OF JOEL WEISS      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                        NJ 08648
WEISS, LAURA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEISS, LAURA                            THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WEISS, LAURA                            PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WEISS, LAURA                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                        ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WEISS, PATRICIA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
WEISS, SARAH                            FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WEISS, SUE                              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
WEISS, TERI                             ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WEISS, TERI                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
WEISSER, JANEL                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                        77098
WEISZ, MARGIT                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
WEITMAN, DAVID                          WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002


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Claim Name                       Address Information
WEITZ & LUXENBERG               220 LAKE DRIVE EAST, SUITE 210 SHARMA, JENKINS, MURTHA,BOYLE,EIDEN CHERRY HILL
                                NJ 08002
WELBORN, CONNIE                 TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
WELCH, BARBARA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WELCH, BRENDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WELCH, COREYONNA                KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
WELCH, COREYONNA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WELCH, COREYONNA                LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
WELCH, DEANNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WELCH, KAREN                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WELCH, KIMBERLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WELCH, LINDA                    WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
WELCH, LINDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WELCH, LISA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WELCH, LYNN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WELCH, TONYA                    ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
WELCHER, REGINA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WELCOME, FLORENCE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WELDING, KELLY                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WELDON, KIMBERLY                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
WELDON, MARTHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WELDON, SHELBY                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WELDON, WENDY                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
WELKER, CYNTHIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WELKER, PAMELLA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WELLINGTON, SONIQUA             HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
WELLINGTON, UNIQUE              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WELLINGTON, UNIQUE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WELLMAN, LINDA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WELLMAN, MARY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WELLS, APRIL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WELLS, BARBARA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WELLS, BARBARA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
WELLS, BERTHA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WELLS, BRENDA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WELLS, BRENDA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
WELLS, CAROL                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WELLS, CATHY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WELLS, DAWN                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WELLS, DEBORAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WELLS, GAYLE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WELLS, HOLLEY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WELLS, JAMIE                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
WELLS, JEANNIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WELLS, KIMBERLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WELLS, LUCIENNE                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
WELLS, MARCIA                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
WELLS, MARCIA                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
WELLS, MARGIE                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
WELLS, MARSHA                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
WELLS, MELLONY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WELLS, NAOMI                    SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
WELLS, PAMELA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
WELLS, RACHEL                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WELLS, RHONDA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WELLS, ROSA                     WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
WELLS, RUTH                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WELLS, SAMANTHA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WELLS, SAMANTHA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WELLS, SAMANTHA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WELLS, SHANNON                  ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
WELLS, SHIRLEY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WELLS, SONYA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WELLS, SONYA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WELLS, TEMPLE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WELLS, TERRI                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WELLS, VICTORIA                 CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
WELLS-ONYIOHA, DEBRA            HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
WELSCH, REGINA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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                                       LTL Management LLC
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Claim Name                       Address Information
WELSH, BEVERLY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WELSH, DANA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WELSH, DANA                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WELSH, MARISELA                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WELSH, MILDRED                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WELTON, RENEE                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WELTON, RENEE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WELTON, ROBIN                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
WENDELL, KANDY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WENDOVER, KERRIANNE             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WENDT, JOY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WENDY COOK                      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J. 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
WENGERT, KRISTINA               POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
WENKER, KATHERINE               DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
WENSKOVITCH, KATHLEEN           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WENTURINE, JANET                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WENZELL, SANDRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WERCKMAN, BONNIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WERHAN, MARY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WERKHEISER, CHRISTINE           LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WERKHEISER, CHRISTINE           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
WERMONT, MARCIA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
WERNECKE, OLIVIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WERNER, BARBARA                 SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
WERNER, BARBARA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WERNER, BARBARA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WERNER, MARILYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WERREN, MARY                    DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                77024
WERSEL, TRACY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WERT, GENEVIEVE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WERTH, WANDA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
WERY, MARY                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WESAW, BEVERLY                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WESAW, BEVERLY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WESCOTT, ANNETTE                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K


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                                          LTL Management LLC
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Claim Name                          Address Information
WESCOTT, ANNETTE                   BOUNDAS, JOHN T. HOUSTON TX 77017
WESLEY, BLOSSOM                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
WESLEY, BRIGITTE                   LEVIN, PAPANTONIO, THOMAS,MITCHEL & PROCTOR, STEPHENSON, W. CAMERON 316 SOUTH
                                   BAYLEN ST, STE 400 PENSACOLA FL 32502
WESLEY, DEMETRIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
WESLEY, HALEY                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WESLEY, JANIE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
WESLEY, STEPHANIE                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
WESLEY-SWEENEY, SPRING             COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
WESLEY-SWEENEY, SPRING             ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                   77007
WESSEL, SARA                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WESSELS, CAROLYN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
WESSLING, JULIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEST, AMY                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
WEST, ANTIONETTE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEST, BARBARA                      MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                   ORLEANS LA 70130
WEST, BESSIE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEST, BRITTANY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEST, CAROL                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
WEST, CAROLE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEST, DONNEL                       FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WEST, DORIS                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEST, ELIZABETH                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEST, ELIZABETH                    POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
WEST, ELIZABETH                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                   77098
WEST, EVELYN                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEST, GINGIA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
WEST, HEIDI                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEST, JANE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
WEST, JANICE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEST, JULIA                        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
WEST, LINDA                        GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                   EDWARDSVILLE IL 62025
WEST, LISA                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                   77098
WEST, LUCIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEST, MAGDALENE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
WEST, MARCIA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
WEST, MARY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEST, MELANIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEST, MYRA                      JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
WEST, NANCY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEST, NANCY                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WEST, NANCY                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WEST, NANCY                     WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
WEST, PAMELA                    WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
WEST, PATRICIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEST, REBECCA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WEST, SANDRA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEST, SCELITA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WEST, TERESA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEST, THERESA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WEST, TRESA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WEST, VICCI                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WEST, WILLENE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WEST-BROWN, KATHLEEN            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WESTBERG, LINDA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WESTBERG, LINDA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WESTBERG, LINDA                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
WESTBERG, LINDA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WESTBERG, LINDA                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WESTBERRY, NANCY                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WESTBERRY, NANCY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WESTBROOK, CYNTHIA              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WESTBROOK, ELIZABETH            CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
WESTBROOK, ELIZABETH            BARNES LAW GROUP, LLC 31 ATLANTA STREET ROSICHAN, BENJAMIN R. MARIETTA GA
                                30060
WESTBROOK, ELIZABETH            BARNES LAW GROUP, LLC 31 ATLANTA STREET BENJAMIN ROSICHAN & JOHN BEVIS
                                MARIETTA GA 30060
WESTBROOK, SHAUNTEL             SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
WESTBROOKS, DELORES             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WESTERFIELD, ELVA               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WESTERMAN, MARIANNE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WESTFALL, CHANDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WESTFALL, DARLENA               THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301


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                                              LTL Management LLC
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Claim Name                             Address Information
WESTGATE, CAROL                        WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
WESTHOFF, REBECCA                      JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
WESTLING, JANET                        THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
WESTMAN, FREDA                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
WESTMARK, CYNTHIA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WESTMORELAND, ANGELA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
WESTMORELAND, SHARON                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
WESTON, MARION                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WESTON, MELISSA                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
WESTPHALE, NANCY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WESTRATE, PAULA A & WESTRATE, DANIEL   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                       HILL NJ 08002
WETHERALD, DEBBIE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WETSEL, THERESA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WETTERSTEN, NANCY                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
WETTERSTEN, NANCY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
WEXLER WALLACE LLP                     55 WEST MONROE STREET, SUITE 3300 CHICAGO IL 60603
WEYAND, JANET                          NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                       PR 00918
WEYANT, DOROTHY                        JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                       PAUL MN 55101
WEYER, ANGIE                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
WEYER, SARAH                           JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
WEYH, LISA                             DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                       63102
WEZENSKY, CINDY                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
WHALEN, CATHY                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
WHALEN, DENA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
WHALEN, KIMBERLY                       THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
WHALEN, MARY                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
WHALEY, DEBRA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHALEY, ELAINE                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHALEY, GRACE                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
WHALEY, SANDRA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHALEY, STACY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHALEY, VICKIE                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
WHALING, DEBORAH                       WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112



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                                       LTL Management LLC
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Claim Name                       Address Information
WHARRY, ALYSE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHATLEY, NORMA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHATLEY, PAULA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHATMOUGH, LURA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WHEATON, HELEN                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WHEATON, HELEN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHEATON, TAMRA                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WHEATON, TYRONE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHEELER, BONNIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHEELER, BRENDA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WHEELER, BRENDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHEELER, CANDI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHEELER, CHRISTINA              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WHEELER, DOLORES                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WHEELER, FAYE                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WHEELER, JUDY                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WHEELER, JUDY                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WHEELER, JUDY                   LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
WHEELER, JUDY                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WHEELER, JUDY                   ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WHEELER, KENAH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHEELER, KENAH                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
WHEELER, KENAH                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHEELER, KENAH                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WHEELER, KENAH                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WHEELER, LEAANN                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
WHEELER, LEAANN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHEELER, LEAANN                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WHEELER, LEAANN                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WHEELER, MARTHA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WHEELER, NANCY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHEELER, SAMEKA                 BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
WHEELER, SARAH                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006



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                                               LTL Management LLC
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Claim Name                              Address Information
WHEELER, SARAH                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
WHEELER, SHELLI                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
WHEELER, TRACEY                         GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                        MINNEAPOLIS MN 55402
WHEELER, TRACEY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHEELER, TRACEY                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WHEELER, TRACEY                         PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WHEELER, TWILA                          FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD SHAHAN, AMY LUFF, DALLAS TX 75231
WHEELER, VICKIE                         GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                        EVAN D. EDWARDSVILLE IL 62025
WHEET, GLADIES                          COHEN, PLACITELLA & ROTH 127 MAPLE AVE. GEIER, DENNIS M. RED BANK NJ 07701
WHEET, GLADIES                          BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 NEW ORLEANS LA 70130
WHELAN, CHERYL                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHELAN, JOHNNA ESTATE OF J M VANHOOSE   FEARS NACHAWATI, PLLC C/O DARREN MCDOWEL 5473 BLAIR ROAD DALLAS TX 75231
WHELAN, KRISTINE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
WHELAND, CLAUDIA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
WHELAND, CLAUDIA                        GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                        MINNEAPOLIS MN 55402
WHELAND, CLAUDIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHELAND, CLAUDIA                        THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WHELAND, CLAUDIA                        PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WHELEN, CAROLYN                         WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                        BOUNDAS, JOHN T. HOUSTON TX 77017
WHELESS, DARLEEN                        SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
WHELESS, ROSE                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
WHERLEY, VICTORIA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
WHETSTONE, RAECHEL                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHICKER, DONNA                          BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                        70130
WHICKER, DONNA                          BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                        75202
WHIGHAM, NELL                           FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WHILE, BARBARA                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                        77098
WHILLANS, MICKEY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
WHIPPLE, CATHLEEN                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
WHISENANT, JOYCE                        SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                        07102-4573
WHISENHUNT, BRENDA                      MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                        YORK NY 10017
WHITACRE, JANE                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
WHITACRE, SUSAN                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
WHITAKER, CAROLYN               DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
WHITAKER, CONSTANCE             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WHITAKER, DEBORAH               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WHITAKER, DIANA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHITAKER, HELEN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                LAMPKIN II, JAMES W. MONTGOMERY AL 36104
WHITAKER, JANICE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WHITAKER, JOYCE                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
WHITAKER, MARTHA                WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
WHITAKER, RUTH                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WHITAKER, WANDA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WHITAKER, WANDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHITCOMB, CHRISTINA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITCOME, JESSICA               ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
WHITE, ALICIA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WHITE, ALMA                     MCSWEENEY/LANGEVIN, LLC MCSWEENEY, RHETT A. 2116 SECOND AVENUE SOUTH
                                MINNEAPOLIS MN 55404
WHITE, AMIE                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WHITE, AMIE                     AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WHITE, AMY                      CHILDERS, SCHLUETER & SMITH, LLC 1932 NORTH DRUID HILLS ROAD, SUITE 100
                                ATLANTA GA 30319
WHITE, ANDREA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WHITE, ANGELA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, ANGELA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WHITE, ANNETTE                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WHITE, AUDREY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WHITE, AUDREY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHITE, BARBARA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WHITE, BARBARA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHITE, BECKY                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
WHITE, BETTY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, BONITA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHITE, BRENDA                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WHITE, CAROL                    LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                NJ 08648


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Claim Name                       Address Information
WHITE, CAROLE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, CAROLINE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, CAROLYN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WHITE, CAROLYN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHITE, CHARLOTTE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, CHARLOTTE                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WHITE, CONNIE                   JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
WHITE, CYNTHIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHITE, CYNTHIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, CYNTHIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WHITE, DAISY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHITE, DAISY                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
WHITE, DAISY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, DAISY                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WHITE, DAISY                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WHITE, DANA                     DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
WHITE, DEBORAH                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WHITE, DEBORAH                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WHITE, DEBORAH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHITE, DORIS                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WHITE, DORRIS                   CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WHITE, EDITH                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, EMMA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, ERICA                    THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
WHITE, EVA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, FRANKIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, JANET                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, JANET                    ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WHITE, JANIE                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
WHITE, JAYNE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHITE, JENNIFER                 KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
WHITE, JENNIFER                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, JERRY                    WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
WHITE, JILL                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, JOYCE                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,


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Claim Name                       Address Information
WHITE, JOYCE                    EMILY FAIRFAX VA 22031
WHITE, JUANITA                  MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
WHITE, KAREN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, KATHLEEN                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WHITE, KERRI                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHITE, KIMBERLY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, KRISTEN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, LAKESHIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, LASHONDRA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, LAURIE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WHITE, LAURIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHITE, LEIGH                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WHITE, LEIGH                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHITE, LILLIAN                  WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
WHITE, LILLIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHITE, LINDA                    DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
WHITE, LISA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHITE, MANDI                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WHITE, MARGARET                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WHITE, MARJORIE                 LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
WHITE, MARQUITA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, MARSHA                   REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                BINSTOCK, ROBERT J. HOUSTON TX 77027
WHITE, MARY                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WHITE, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, MARY                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WHITE, MARY                     LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
WHITE, MARY                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WHITE, MARY                     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WHITE, MELANIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, MELISSA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WHITE, MELISSA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WHITE, MERRIE                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WHITE, MICHELLE                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WHITE, MONICA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098


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                                              LTL Management LLC
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Claim Name                              Address Information
WHITE, MONICA                          ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
WHITE, NADIA                           THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
WHITE, NANCY                           GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WHITE, NATALIE                         JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
WHITE, NINA                            ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                       FELLER, JOEL J. PHILADELPHIA PA 19103
WHITE, OMA                             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, PAMELA                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
WHITE, PATRICIA                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
WHITE, PATRICIA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
WHITE, PATRICIA                        FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
WHITE, PAULA                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
WHITE, PHYLLIS                         GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                       MINNEAPOLIS MN 55402
WHITE, PHYLLIS                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, PHYLLIS                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WHITE, PHYLLIS                         PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WHITE, REBECCA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, REGINA                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
WHITE, REGINA                          LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                       94111
WHITE, RITA                            SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
WHITE, ROBIN                           NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                       11747
WHITE, ROSALYN                         THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                       MADISON MS 39110
WHITE, ROSCOE                          WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                       HILL NJ 08002
WHITE, ROSE                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
WHITE, ROSLYN                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
WHITE, RUBY                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
WHITE, SANDRA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, SCARLETT                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, SHARON                          ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WHITE, SHERRY AND WHITE, DANIEL D      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                       HILL NJ 08002
WHITE, SUSAN                           ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WHITE, SUSAN                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, SUSAN                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
WHITE, SYLVIA                          NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                       11747



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                                       LTL Management LLC
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Claim Name                       Address Information
WHITE, TABRIL                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
WHITE, TABRIL                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
WHITE, TAMICA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, TARA                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WHITE, TENEILLE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITE, THERESA                  JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
WHITE, VADA                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WHITE, VADA                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WHITE, VADA                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WHITE, VANESSA BARNETT          FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WHITE, VICKIE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHITE, YULONDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHITE, YVETTE                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WHITE, ZIPPORAH                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
WHITE-HENDERSON, TRENICA        DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WHITE-HENDERSON, TRENICA        LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WHITE-HENDERSON, TRENICA        LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
WHITE-HENDERSON, TRENICA        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WHITE-HENDERSON, TRENICA        ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WHITE-JOHNSON, ANGELIQUE        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITECOTTON, BRANDY             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WHITECOTTON, BRANDY             LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
WHITED, DEBORAH                 HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH CARROLL, ANNA M. BROSS,
                                WILLIAM L. BIRMINGHAM AL 03520
WHITEFACE, DEANNA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WHITEHEAD, AMELIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WHITEHEAD, AMELIA               MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
WHITEHEAD, AMELIA               KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
WHITEHEAD, BARBARA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WHITEHEAD, DIANA                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WHITEHEAD, DIANA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITEHEAD, JOYCE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITEHEAD, MARILYN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITEHURST, MARY                GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA



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Claim Name                       Address Information
WHITEHURST, MARY                PA 19102
WHITELEY, PAMELA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WHITELY, JUDY                   LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
WHITEMAN, MARY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WHITENER, BETTIE                WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
WHITERS, CARLA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITESELL, AMY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITESIDE, KELLY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHITESIDE, ROBBIE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHITESIDE, ROLANDA              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WHITFIELD, CAROL                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WHITFIELD, SONJA                POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
WHITFIELD, VICTORIA             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHITFIELD-GILMORE, NAKIA        GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
WHITFILED, ELLEN                JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
WHITLATCH, KAREN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHITLEY, CONSTANCE              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WHITLEY, MARGARET               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHITLEY, RHONDA                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
WHITLEY, SUZANNE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITLEY, WILMA                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
WHITLOCK, KATHERINE             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WHITLOCK, RHONDA                LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
WHITMAN, BRENDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHITMAN, LINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHITMAN, RUTH                   HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
WHITMAN, SHARON                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
WHITMER, LILLIAN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITMIRE, JERRY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHITMON, TERESA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WHITMON, TERESA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                               Address Information
WHITMON, TERESA                          MEADOWS, TED G. MONTGOMERY AL 36104
WHITMORE, ELLA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
WHITMORE, EVONNE                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
WHITNEY, KAREN                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITNEY, LILLIAN                         POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
WHITNEY, SANDRA M AND WHITNEY, WILLIAM   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
WHITSON, CYNTHIA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
WHITSON, JOYCE                           FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WHITSON, KATHLEEN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITSON, MICHELLE                        ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                         LOUIS MO 63119
WHITSON, SYLVIA                          MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                         ORLEANS LA 70130
WHITT, ANNETTE                           BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                         CA 92660
WHITT, MOCHEET                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITT, MOCHEET                           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
WHITT, SANDRA                            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITT, TRACEY                            MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                         KNOXVILLE TN 37929
WHITTAKER, DARLENE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITTED, FRANCIS                         THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                         CHARLESTON WV 25301
WHITTED, JENNIFER                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
WHITTED, LATOYA                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
WHITTEN, JEANNETTE                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITTEN, JOVANNIE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITTEN, JULIA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITTEN, LORELLA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITTEN, TAMMY                           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                         KNOXVILLE TN 37929
WHITTIER, PRISCILLA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITTINGTON, GLENDA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITTINGTON, KATHYRINE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITTINGTON, LAWANDA                     SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                         07102-4573
WHITTINGTON, LAWANDA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
WHITTINGTON, LAWANDA                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WHITTINGTON, LAWANDA                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WHITTINGTON, NAOMI                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
WHITTINGTON, RAQUELA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
WHITTLE, YOULANDA                        BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,


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Claim Name                       Address Information
WHITTLE, YOULANDA               ROBERT BRENT LOS ANGELES CA 90024
WHITTLEY, MARGARET              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITTLEY, MISTY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITTMORE, JOAN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITTMORE, JOAN                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WHITTMORE, JOAN                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WHITTY, TAMMY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHITWORTH, DORINDA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WHOBREY, BELINDA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHOBREY, SARAH                  MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
WHOLL, MARLENE                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
WHRITENOUR, KRISTINE            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WHYTE, RUTHLIN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WIANT, LINDA                    WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
WIBBENMEYER, PATRICIA           HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
WIBLE, GREGORY                  NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
WICHTL, CORRINE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WICKER, NICKOLE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WICKERSHEIMER, JULIE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WICKLER, LINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WICKLUND, JUANITA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WICKMAN, LISETTE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WICKS, ANTRENA                  BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
WICKS, ANTRENA                  BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
WICKS, KIM                      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WICKSTROM, SHERRY               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WICKSTROM, SHERRY               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WICKSTROM, SHERRY               LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
WICKSTROM, SHERRY               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WICKSTROM, SHERRY               ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WICKWARE, TIFFANY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WIDEL, BARBARA                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WIDEL, BARBARA                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
WIDEMAN, JOSEPHINE              WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
WIDEN-SALPETER, SUSAN           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104


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Claim Name                       Address Information
WIDNER, RACHEL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WIEBERG, JUDY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WIEBOLD, CAROL                  WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
WIEDRICH, PEGGY                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WIENCH, JULIE                   SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
WIENCZAK, CRYSTAL               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WIENCZAK, CRYSTAL               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WIENER, RACHELLE                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WIER, APRIL                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WIERSIG, LAVON                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WIESE, DELORES                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WIESNER, SHARON                 LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
WIEST, DEBBIE                   GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WIGERSMA, ANGELIQUE             JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
WIGGETT, CHERYL                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WIGGINS, ADELE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WIGGINS, ANNETTE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WIGGINS, BELINDA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WIGGINS, BESSIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WIGGINS, JENNIFER               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WIGGINS, JUDY                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
WIGGINS, JUDY                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
WIGGINS, LISA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WIGGINS, MATTIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WIGGINS, MIAVA                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WIGGINS, NECIA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WIGGINS, NINNIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WIGGINS, PATSY                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
WIGGINS, SHANNA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WIGGINS, SHARON                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
WIGGINS, TINA                   LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
WIGGINS-BATES, JAYMIE           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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                                        LTL Management LLC
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Claim Name                       Address Information
WIGGINS-BATES, JAYMIE           75231
WIGGLE, ROSALIE                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WIGGLESWORTH, SUZANNE           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WIGGS, ANGILA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WIGINTON, TERRI                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WIIKI, JANET                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WIKSE, JOYCE                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WIKSE, JOYCE                    LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
WIKSE, JOYCE                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WIKSE, JOYCE                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WIKSE, JOYCE                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WILBANKS, JOANNA                PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
WILBANKS, MARGARET              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILBORN, EMMA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WILBORN, RAQUEL                 SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
WILBORN-NOBLE, LUEBERTHA        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILBOURN, FELICIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILBUR, GRETCHEN                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WILBURN, BRIGITTE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILBURN, DORIS                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILBURN, LISA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILBURN, MELA                   MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
WILBURN, MELA                   KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
WILBURN, MELISSA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILBURN, PAULA                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
WILBURN, VALERIE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILCHER, REBECCA                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
WILCHER, ROSIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILCOX, BETTY                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WILCOX, LACEY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILCOX, MARGARET                WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
WILCOX, SARAH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILCOX, TERESA                  MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
WILD, RANDY                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WILDA, DONNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
WILDE, DEBBIE                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
WILDER, DEBBIE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WILDER, ELISE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILDER, ELISE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILDER, ELISE                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WILDER, JACQUELINE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILDER, JEANNE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILDER, JO                      GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WILDER, LUBERTHA                SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
WILDER, SUSAN                   COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 SANDIFER, TAKEENA T. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
WILDEROTTER, JANE               COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
WILDMAN, SHARON                 CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
WILDS, SARA                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
WILDSTEIN, CLAIRE               POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 ROJAS, RACHAL HOUSTON TX
                                77098
WILES, BERNICE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILES, KAREN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILES, VANESSA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WILEY, CARYL                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILEY, CORA                     JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
WILEY, DEBORAH                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WILEY, DORIS                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILEY, EVI                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILEY, JAMES                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
WILEY, LINAE                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
WILEY, MARGARET                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILEY, MAYBELLE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILEY, MICHELLE                 WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
WILEY, MYRNA                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WILEY, MYRNA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILEY, SUSAN                    BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
WILEY, WANDA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILFORD, ANA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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                                                      Entered 02/17/22 16:31:44             Desc Main
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Claim Name                       Address Information
WILHELM, DEBORAH                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
WILHELM, EILEEN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILHELM, EILEEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILHELM, EILEEN                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WILHELM, EILEEN                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
WILHELM, MARALENE               WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
WILHOITE, LEIGH                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
WILIIAMS, ANITA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILK, IRENA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WILKERSON, ANGELA               HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
WILKERSON, ANNETTE              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WILKERSON, CAROLYN              HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
WILKERSON, DORA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILKERSON, GLORIA               GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
WILKERSON, GLORIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILKERSON, GLORIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILKERSON, GLORIA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WILKERSON, GLORIA               PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
WILKERSON, NISHEA               WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
WILKES, ELIZABETH               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILKES, EVA                     GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
WILKES, EVA                     LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET LUNDY, MATTHEW KOHRS,
                                NICHOLAS LAKE CHARLES LA 70601
WILKES, KATIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILKES, OLA                     NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
WILKIE, SUSAN                   LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
WILKINS , FRANCES               NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
WILKINS, BARBARA                LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
WILKINS, BETTY                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WILKINS, JUANITA                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
WILKINS, JUANITA                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
WILKINS, NORDINA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILKINS, REBECCA                DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX



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                                            LTL Management LLC
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Claim Name                           Address Information
WILKINS, REBECCA                    77024
WILKINSON, AMANDA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                    77098
WILKINSON, ARLENE                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                    ORANGE VA 02296
WILKINSON, CHRISTINA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
WILKINSON, HELEN                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
WILKINSON, JOSEPHINE                MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
WILKINSON, JOSEPHINE                KIESEL LAW, LLP 8648 WILSHIRE BLVD. FARAJ, HAYTHAM BEVERLY HILLS CA 90211
WILKINSON, MONICA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILKINSON, SILVIA                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
WILKS, HARRIET                      BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                    75202
WILKS, KELLY                        FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WILKS, MARCIA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
WILKS, PATRICIA                     THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
WILKSON, CHRISTI                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                    SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
WILL, DEBRA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLARD, LILY                       LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
WILLARD, SHIRLEY                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WILLARD, VELMA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLARD, VELMA                      THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WILLARD, VELMA                      PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WILLBANKS, TINA                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                    ORANGE VA 02296
WILLETT, AUDREY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
WILLETT, AUDREY                     GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                    MINNEAPOLIS MN 55402
WILLETT, AUDREY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLETT, AUDREY                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WILLETT, AUDREY                     PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WILLETT, CHRISTY                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WILLETT, CHRISTY                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                    ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
WILLETT, MARGARET                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
WILLETT, THERESE                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WILLEY, JUNE                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
WILLEY, VIRGINIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLHOUSE, BARBARA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                    MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAM, RONNING, AND WILLIAM,      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
ELIZABETH                           NJ 08648
WILLIAM, SPOONER, IV                WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                    HILL NJ 08002
WILLIAMS HART LAW FIRM              8441 GULF FREEWAY, SUITE 600 BRAHMBHATT,BOUNDAS,TREVINO,CUBBERLY HOUSTON TX


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                                        LTL Management LLC
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Claim Name                       Address Information
WILLIAMS HART LAW FIRM          77017
WILLIAMS, ABBIE                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WILLIAMS, ALBERTA               THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                AZ 08501
WILLIAMS, ALFREDIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, ALFREDIA              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WILLIAMS, ALMA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, AMANDA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, ANGELA                ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
WILLIAMS, ANGELIA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, ANITA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, ANITA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, ANNIE                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WILLIAMS, ANNIE                 BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. BUDD,
                                RUSSELL W DALLAS TX 75219
WILLIAMS, ANTRANETTE            JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WILLIAMS, APRIL                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, ARCHENCHALA           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, ARLENE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, AUDRIANNA             ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WILLIAMS, AUGUSTA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WILLIAMS, BARBARA               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WILLIAMS, BARBARA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, BARBARA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, BERNICE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, BERTINA               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WILLIAMS, BETTY                 WEITZ & LUXENBERG SHARMA, BHARATI O 220 LAKE DRIVE EAST, SUITE 210 CHERRY HILL
                                NJ 08002
WILLIAMS, BETTY                 HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
WILLIAMS, BETTY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, BETTY                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WILLIAMS, BILLYE                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WILLIAMS, BOBBIE                BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
WILLIAMS, BONNIE                ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
WILLIAMS, BRENDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119



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                                       LTL Management LLC
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Claim Name                       Address Information
WILLIAMS, BRYANT                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, CANDACE               COHEN, PLACITELLA & ROTH, P.C. C/O CHRISTOPHER PLACITELLA 127 MAPLE AVENUE RED
                                BANK NJ 07701
WILLIAMS, CAROL                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WILLIAMS, CAROL                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WILLIAMS, CAROLYN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, CAROLYN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, CARRIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, CATHERINE             REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J EPHRON,
                                MELISSA HOUSTON TX 77027
WILLIAMS, CATRINA               WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
WILLIAMS, CHARLENE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, CHARLOTTE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, CHARMINE              DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
WILLIAMS, CHERYL                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, CHRISTINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, CIERRA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, CLAUDIA               BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
WILLIAMS, CONNIE                LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET HIGHTOWER, KRISTIE LAKE
                                CHARLES LA 07060
WILLIAMS, CONNIE                REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J
                                BINSTOCK, ROBERT J. HOUSTON TX 77027
WILLIAMS, CRYSTAL               SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
WILLIAMS, CRYSTAL               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, CYNTHIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, DANA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WILLIAMS, DANA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, DANNIELL              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WILLIAMS, DARLENE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, DAWN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, DAWNISE               THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
WILLIAMS, DEANNA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, DEBBIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, DEBORAH               WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
WILLIAMS, DEBORAH               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, DEBORAH               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, DEBRA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
WILLIAMS, DEBRA                 MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, DEBRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, DELYNDRIA             FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WILLIAMS, DENISE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, DEON                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, DESTANY               ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
WILLIAMS, DIANA                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
WILLIAMS, DIANA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WILLIAMS, DIANE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, DIANE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WILLIAMS, DIANNA L              MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                YORK NY 10017
WILLIAMS, DONETTA               BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                30603
WILLIAMS, DONNA                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
WILLIAMS, DONNA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, DONNA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, DONNA                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
WILLIAMS, DONNA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, DORIS                 AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WILLIAMS, DOROTHY               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WILLIAMS, DOROTHY               MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
WILLIAMS, DOROTHY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, DOROTHY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, DOROTHY               THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
WILLIAMS, DOROTHY               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WILLIAMS, DOROTHY               PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
WILLIAMS, EDDIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, ELIZABETH             THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
WILLIAMS, ELLEN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, ELOUISE               DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
WILLIAMS, EMMA                  THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
WILLIAMS, EMMA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, EVA                   THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
WILLIAMS, EVELYN                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502



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Claim Name                       Address Information
WILLIAMS, FLORENCE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, FLORENCE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, FLORENCE              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WILLIAMS, FLORENCE              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WILLIAMS, FRANCES               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, GAIL                  GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
WILLIAMS, GAIL                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WILLIAMS, GAIL                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, GAIL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, GAIL                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WILLIAMS, GAIL                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WILLIAMS, GAIL                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, GAYLE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WILLIAMS, GENEVA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, GENEVA                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WILLIAMS, GENEVA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WILLIAMS, GENIVA                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
WILLIAMS, GEORGIANA             WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
WILLIAMS, GLENDA                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WILLIAMS, GLICERIA              LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WILLIAMS, GLICERIA              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
WILLIAMS, GOLDIE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, HAZEL                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, HEATHER               THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                FERRARO, JR, JAMES L MIAMI FL 33131
WILLIAMS, HELEN                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
WILLIAMS, HELEN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, IDA                   ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
WILLIAMS, IDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, ILONA                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
WILLIAMS, ISHAVEKA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, JACQUELINE            THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301


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                                       LTL Management LLC
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Claim Name                       Address Information
WILLIAMS, JAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, JANE                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WILLIAMS, JANET                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
WILLIAMS, JANET                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WILLIAMS, JANET                 CHEELEY LAW GROUP ROBERT D. CHEELEY 2500 OLD MILTON PKWY, STE 200 ALPHARETTA
                                GA 30009
WILLIAMS, JANICE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, JANICE                THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
WILLIAMS, JANICE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, JANIE                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
WILLIAMS, JANIS                 THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
WILLIAMS, JANNETTE              BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
WILLIAMS, JEAN                  WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
WILLIAMS, JEAN                  FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
WILLIAMS, JEAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, JEANA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WILLIAMS, JEANETTE              MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
WILLIAMS, JEANETTE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, JEANNETTE             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WILLIAMS, JELANI                TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
WILLIAMS, JENNIFER              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WILLIAMS, JESSICA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, JESSIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, JESSIE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, JEWELL                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, JILLIAN               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WILLIAMS, JOAN                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
WILLIAMS, JOHNNIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, JOSEPHINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, JOYCE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, JOYCE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, JOYCE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WILLIAMS, JOYCELYN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, JUDITH                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WILLIAMS, JUDITH                LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207


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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
WILLIAMS, JUDITH                MANHATTAN BEACH CA 90266
WILLIAMS, JUDITH                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WILLIAMS, JUDITH                ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WILLIAMS, JUDITH                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WILLIAMS, JUDY                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WILLIAMS, JULIA                 PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
WILLIAMS, JULIA                 DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
WILLIAMS, JULIE                 SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
WILLIAMS, KAREN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, KATHA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, KATHERINE             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, KATHERINE             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WILLIAMS, KATHLEEN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, KATHLEEN              WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
WILLIAMS, KAWANA                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WILLIAMS, KENA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, KENDRA                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WILLIAMS, KENDRA                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WILLIAMS, KENDRA                LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
WILLIAMS, KENDRA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WILLIAMS, KENDRA                ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WILLIAMS, KIM                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, KIMBERLY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, KRISTINA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, KRYSTAL               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WILLIAMS, KRYSTAL               BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
WILLIAMS, KRYSTAL               BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
WILLIAMS, LA VA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WILLIAMS, LALICA                HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
WILLIAMS, LARHONDA              AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WILLIAMS, LASHELLE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, LATEASHA              BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
WILLIAMS, LATEASHA              BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202



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Claim Name                       Address Information
WILLIAMS, LATONIA               MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
WILLIAMS, LATOYA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WILLIAMS, LAURA                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
WILLIAMS, LAVEDA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, LAVERNE               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WILLIAMS, LINDA                 SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
WILLIAMS, LINDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, LINDA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WILLIAMS, LINDA                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WILLIAMS, LINDA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, LINDA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WILLIAMS, LORI                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, LORRIE                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WILLIAMS, LOUISE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, MABLE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WILLIAMS, MARA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, MARA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, MARA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WILLIAMS, MARA                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
WILLIAMS, MARGARET              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, MARGARET              LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
WILLIAMS, MARGARET              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, MARGARET              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WILLIAMS, MARIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, MARIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, MARILYN               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, MARILYN               DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WILLIAMS, MARILYN               LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WILLIAMS, MARILYN               LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
WILLIAMS, MARILYN               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WILLIAMS, MARILYN               ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WILLIAMS, MARTA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296



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Claim Name                       Address Information
WILLIAMS, MARTHA                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WILLIAMS, MARTHA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, MARVA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, MARY                  MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
WILLIAMS, MARY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, MARY                  DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
WILLIAMS, MARY                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WILLIAMS, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, MARY                  THE DIAZ LAW FIRM, PLLC 208 WATERFORD SQUARE, SUITE 300 DIAZ JR., GERALD J.
                                MADISON MS 39110
WILLIAMS, MARY                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WILLIAMS, MARY                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
WILLIAMS, MARY                  BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
WILLIAMS, MARY                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WILLIAMS, MARY                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WILLIAMS, MARY                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WILLIAMS, MARY                  LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
WILLIAMS, MARY                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WILLIAMS, MARY                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WILLIAMS, MAUDE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, MAUDE                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WILLIAMS, MAUDIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, MELANESA              DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WILLIAMS, MELANESA              LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WILLIAMS, MELANESA              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WILLIAMS, MELANIE               ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WILLIAMS, MELANIE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, MELISSA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, MELISSA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, MELISSA               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WILLIAMS, MELISSA               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WILLIAMS, MELISSA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, MELVINITA             ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WILLIAMS, MICHELE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, MICHELLE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, MILDRED               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231


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Claim Name                       Address Information
WILLIAMS, MINA                  NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
WILLIAMS, MONICA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, NACOLE                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WILLIAMS, NADINE                MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
WILLIAMS, NATASHIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, NEOMIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, NIBEEBAH              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, NICOLE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, NICOLE                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WILLIAMS, NIKITA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, NOVLETTE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, NOVLETTE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, OLLIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, OSHUNNA               CLIFFORD LAW OFFICES, P.C. 120 N. LASALLE STREET, SUITE 3100 MCNULTY, PETER J.
                                CHICAGO IL 60602
WILLIAMS, PAMELA                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WILLIAMS, PAMELA                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
WILLIAMS, PAMELA                DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WILLIAMS, PAMELA                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WILLIAMS, PAMELA                LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
WILLIAMS, PAMELA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WILLIAMS, PAMELA                ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WILLIAMS, PATREETA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, PATRICIA              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WILLIAMS, PATRICIA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, PATRICIA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, PAULA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WILLIAMS, PAULA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, PEGGY                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
WILLIAMS, PENNY                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WILLIAMS, PERRY                 MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
WILLIAMS, RAECHELL              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, RAECHELL              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, RAECHELL              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WILLIAMS, RAECHELL              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WILLIAMS, RENEE                 SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501


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                                                LTL Management LLC
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Claim Name                               Address Information
WILLIAMS, RHONDA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, RHONDA                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WILLIAMS, RHONDA                         PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WILLIAMS, RITA                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                         ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
WILLIAMS, ROBIN                          DANIEL & ASSOCIATES, LLC 7941 KATY FREEWAY, #791 DANIEL, PATRICK HOUSTON TX
                                         77024
WILLIAMS, ROBIN                          KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
WILLIAMS, RONDA                          DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
WILLIAMS, RONDA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, ROSALIE                        DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                         KANSAS CITY MO 64196
WILLIAMS, ROSIE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, RUBY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, RUTH                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, RUTH                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, SALLIE                         THE ENTREKIN LAW FIRM 3101 N. CENTRAL AVE., STE. 740 ENTREKIN, LANCE PHOENIX
                                         AZ 08501
WILLIAMS, SAMMI                          MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
WILLIAMS, SAMMI                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, SANDRA                         BLASINGAME, BURCH, GARRARD & ASHLEY, P.C. 440 COLLEGE AVE, STE 320 ATHENS GA
                                         30603
WILLIAMS, SANDRA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, SANDRA                         BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                         70130
WILLIAMS, SANDRA                         BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                         75202
WILLIAMS, SANDY                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, SHADRIEL                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, SHARON                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, SHAVONNE                       THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                         CHARLESTON WV 25301
WILLIAMS, SHAWNTEL                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, SHEILA                         NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                         11747
WILLIAMS, SHERITA                        DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                         63102
WILLIAMS, SHERRY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, SHIRLEY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                         MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, SHIRLEY                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                         75231
WILLIAMS, SHIRLEY                        JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                         77098
WILLIAMS, SHIRLEY AND WILLIAMS, GEORGE   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                         HILL NJ 08002
WILLIAMS, SMITHIE                        AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                         STREET, SUITE PENSACOLA FL 32502
WILLIAMS, SONIA                          DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                         ANTHONY ST. LOUIS MO 63102


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                                       LTL Management LLC
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Claim Name                       Address Information
WILLIAMS, SONIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, SONIA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WILLIAMS, SONIA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WILLIAMS, SOPHIA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, STAR                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, STARLEETH             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, SUZANNA               MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
WILLIAMS, SUZANNA               KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
WILLIAMS, TAMARA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, TAMARA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, TAMEITHA              JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                PAUL MN 55101
WILLIAMS, TAMMY                 MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
WILLIAMS, TANISHA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, TEREON                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, TERESA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, THELMA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, TIFFANY               LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
WILLIAMS, TINA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WILLIAMS, TONYA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, TRACY                 BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
WILLIAMS, TRELANA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIAMS, TRENA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WILLIAMS, UCINDY                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WILLIAMS, VALERIE               DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
WILLIAMS, VANESSA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, VERA                  MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
WILLIAMS, VERONICA              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS, VIRGINIA              SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
WILLIAMS, WANDA                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WILLIAMS, WANDA                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
WILLIAMS, WENDY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, WILLETTE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                         Address Information
WILLIAMS, WILLETTE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS, WILLETTE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WILLIAMS, WILLETTE                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WILLIAMS, WILLOR                  MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                  ORLEANS LA 70130
WILLIAMS, WILMA                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                  63102
WILLIAMS, YOLANDA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                  EMILY FAIRFAX VA 22031
WILLIAMS, YOLANDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS-ANDERSON, CHERYL         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS-EVANS, DEMETRESS         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS-GAINES, DEBORAH          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS-GAINES, DEBORAH          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS-GAINES, DEBORAH          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WILLIAMS-GAINES, DEBORAH          PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WILLIAMS-LOCKHART, DESIREE        MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                  YORK NY 10017
WILLIAMS-MCCLENDON, REMONA        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS-PERKINS, PAMELA          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMS-PERKINS, PAMELA          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS-PERKINS, PAMELA          THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WILLIAMS-PERKINS, PAMELA          PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
WILLIAMS-PERKINS, PAMELA          KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
WILLIAMS-SCHMIDT, SHEILA          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS-SHAKIR, ELOUISE          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS-SMITH, MATTIE            ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMS-THOMPSON, STEPHANEY      BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                  CA 92660
WILLIAMSON, ANITA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMSON, CRISTAL               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                  ORANGE VA 02296
WILLIAMSON, CRYSTAL               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMSON, DANA                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                  63101
WILLIAMSON, DEBORAH               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMSON, DENISE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMSON, DENISE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMSON, DENISE                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WILLIAMSON, DENISE                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WILLIAMSON, DOROTHY               GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                  MINNEAPOLIS MN 55402
WILLIAMSON, DOROTHY               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMSON, DOROTHY               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157


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Claim Name                         Address Information
WILLIAMSON, DOROTHY               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WILLIAMSON, JACQUELINE            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
WILLIAMSON, JEANNIE               THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
WILLIAMSON, JOANNE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMSON, KEISHA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
WILLIAMSON, LORI                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                  EDWARDSVILLE IL 62025
WILLIAMSON, MARTHA                THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                  ORLEANS LA 70130
WILLIAMSON, MARY                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                  EMILY FAIRFAX VA 22031
WILLIAMSON, MARY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMSON, MELANIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMSON, RACHEL                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
WILLIAMSON, ROSE                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WILLIAMSON, ROSE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
WILLIAMSON, SHARON                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMSON, SUE                   SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
WILLIAMSON, SYBLE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMSON, TONDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMSON, VERNELL               MCSWEENEY/LANGEVIN, LLC 2116 SECOND AVENUE SOUTH MCSWEENEY, RHETT A. LANGEVIN,
                                  DAVID M. MINNEAPOLIS MN 55404
WILLIAMSON, YVETTE                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                  77007
WILLIAMSON-HORSEMAN, JODI         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIAMSON-JOHNSON, BEATRICE      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
WILLIAMSTON, EFFIE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLICH, PATRICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIE, ELEANOR                   LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET KOHRS, NICHOLAS HIGHTOWER,
                                  KRISTIE LAKE CHARLES LA 07060
WILLIFORD, BRANDY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLINGHAM, CEOLA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                  ORANGE VA 02296
WILLINGHAM, MILDRED               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
WILLINK, SHERYL                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
WILLINSKY, RHIANNA                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                  63102
WILLIS, ALANA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIS, ALECIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIS, ANGELA                    MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                  YORK NY 10017
WILLIS, BERNITA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIS, CINDY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIS, DOROTHY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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                                       LTL Management LLC
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Claim Name                       Address Information
WILLIS, ELISA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIS, FARRAH                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
WILLIS, FELICIA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WILLIS, GAY                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
WILLIS, JAMES                   NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
WILLIS, JOAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIS, JOSEPHINE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIS, KANDI                   TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
WILLIS, KRISTEN                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIS, KRISTEN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIS, KRISTEN                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WILLIS, KRISTEN                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
WILLIS, MARTHA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIS, MARTHA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIS, MODISHA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIS, NATASHA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIS, PATSY                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
WILLIS, PEARLIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIS, RELINDA                 WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
WILLIS, ROSIE                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WILLIS, SONYA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLIS, STEPHANIE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLIS, SUSAN                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WILLIS, TAMARA                  ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
WILLIS, VIOLA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLIS, VIOLA                   NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
WILLKOM, CAROL                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLMAN, LINDA                  NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
WILLMORE, VALERIE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WILLMORE, VALERIE               LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
WILLOUGHBY, CAROLINA            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WILLOUGHBY, KAREN               LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
WILLOVER, KATHERINE             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN



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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44             Desc Main
                                  Document    Page 1401 of 1437
Claim Name                       Address Information
WILLOVER, KATHERINE             STREET, SUITE PENSACOLA FL 32502
WILLOW, KYE                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WILLOW, KYE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLS, ADDIE                    SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
WILLS, KATHRYN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILLS, KATHRYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLS, KATHRYN                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WILLS, KATHRYN                  PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
WILLS, KATHRYN                  KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
WILLS, TENNEH                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
WILLS, VIRGINIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILLS-GOTTLIEB, MARIE           FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WILLSEY, DONNA                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
WILLSEY, DONNA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILLSEY, DONNA                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WILLSEY, DONNA                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WILLSON, CINDY                  SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
WILMA ERWIN                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
WILMORE, TASHETA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILMOTH, NANCY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILNER, LUZ                     FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WILSHUSEN, BARBARA              WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
WILSON, ALICE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILSON, ALICIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILSON, AMANDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILSON, AMY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILSON, AMY                     SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
WILSON, AMY                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
WILSON, ANITA                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
WILSON, ANITA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WILSON, ARLENE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILSON, BARBARA                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILSON, MICHAEL A. BUFFALO NY
                                14202-3725
WILSON, BARBARA                 DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
WILSON, BARBARA                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
WILSON, BARBARA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILSON, BERKITA                 THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
WILSON, BERNICE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILSON, BEVERLY                 MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501



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                                       LTL Management LLC
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Claim Name                       Address Information
WILSON, BONITA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILSON, BONNIE                  SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
WILSON, BRENDA                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WILSON, CANDICE                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
WILSON, CAROL                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WILSON, CHRISTINA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILSON, CHRISTINE               BISNAR AND CHASE 1301 DOVE STREET, SUITE 120 ANTUNOVICH, TOM G NEWPORT BEACH
                                CA 92660
WILSON, CRYSTAL                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILSON, CYNTHIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILSON, DARLENE                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
WILSON, DAWN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILSON, DEBORAH                 KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
WILSON, DEBORAH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILSON, DEMETRIA TOWNS          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILSON, DEVRAN                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WILSON, DOROTHY                 THE FERRARO LAW FIRM, P.A. 600 BRICKELL AVENUE, SUITE 3800 JAGOLINZER, DAVID A
                                FERRARO, JR, JAMES L MIAMI FL 33131
WILSON, EARSHLA                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
WILSON, ELIZABETH               COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 SANDIFER, TAKEENA T. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
WILSON, ELSIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILSON, ERIKA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
WILSON, FLORA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILSON, FLORA                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
WILSON, FLORA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILSON, FLORA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WILSON, FLORA                   PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WILSON, IRIS                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILSON, IRLYNDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILSON, JANET                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WILSON, JOANNE                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WILSON, JOHNNELL                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILSON, JOYCE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILSON, JULIANNA                ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX



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Claim Name                       Address Information
WILSON, JULIANNA                77007
WILSON, KAREN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILSON, KATRINA                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WILSON, KATRINA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILSON, KESISHA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILSON, KIMBERLY                ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WILSON, KIMBERLY                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILSON, KWEILIN                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WILSON, KWEILIN                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WILSON, KWEILIN                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WILSON, LADONNA                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WILSON, LAURIE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILSON, LAURIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILSON, LAURIE                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WILSON, LELIA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WILSON, LEQUISA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILSON, LILLY                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
WILSON, LISA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILSON, LORETTA                 FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
WILSON, LORI                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
WILSON, MAGGIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILSON, MARGARET                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
WILSON, MARGARET                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
WILSON, MARIA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WILSON, MARIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILSON, MARIAN                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WILSON, MARIAN                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WILSON, MARIAN                  LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
WILSON, MARIAN                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WILSON, MARIAN                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WILSON, MARJORIE                MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                ARTHUR M. NEW ORLEANS OH 70130
WILSON, MARY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
WILSON, MARY                    MEADOWS, TED G. MONTGOMERY AL 36104
WILSON, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILSON, MARY                    WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
WILSON, MARY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WILSON, MARY JANE               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILSON, MAUREEN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILSON, MELANIE                 ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
WILSON, MELBA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILSON, MIA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILSON, MICHELE                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WILSON, MONYIA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILSON, NICOLE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILSON, NICOLETTE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WILSON, PAMELA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WILSON, PATRICIA                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WILSON, PATSY                   HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
WILSON, PHYLLIS                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WILSON, PHYLLIS                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILSON, PHYLLIS                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WILSON, PHYLLIS                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WILSON, REBECCA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILSON, RETHA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WILSON, RITA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILSON, ROSARIO                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WILSON, ROSHON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILSON, RUTH                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WILSON, SADE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILSON, SARA                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WILSON, SARA                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WILSON, SARA                    LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
WILSON, SARA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WILSON, SARA                    ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WILSON, SHARON                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILSON, SHEKEYIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                              Address Information
WILSON, SHELIA                         THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
WILSON, SHERRY                         GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                       PA 19102
WILSON, SHERRY                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
WILSON, SHERRY                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILSON, SONIA                          DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                       ANTHONY ST. LOUIS MO 63102
WILSON, SONIA                          LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WILSON, SONIA                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                       ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WILSON, STEPHEN EST OF VIRGINIA M      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
WILSON                                 HILL NJ 08002
WILSON, SUZANNE                        GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WILSON, TERESA                         ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                       EMILY FAIRFAX VA 22031
WILSON, TERESA                         MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                       ARTHUR M. NEW ORLEANS OH 70130
WILSON, TINA                           BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                       75202
WILSON, TRACEY                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
WILSON, TRINI                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WILSON, TURKESSA                       DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
WILSON, WANDA                          ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                       77007
WILSON, ZELMETRA                       AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                       STREET, SUITE PENSACOLA FL 32502
WILT, EDRIA                            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
WILT, HANNA                            LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                       NJ 08648
WILWERT, HELEN                         GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                       PA 19102
WIMBERLEY, TAMMIE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WIMBERLY, AMBROSINA                    BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                       70130
WIMBERLY, AMBROSINA                    BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                       75202
WIMBERLY-TATUM, CAROLYN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WIMBLEY, SHARON                        FEARS NACHAWATI LAW FIRM 5473 BLAIR ROAD LONG, CHARLOTTE DALLAS TX 75231
WIMMER, TAMMY                          MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
WINBUSH, ANGELA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WINCHESTER, BONNIE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
WINCHESTER, KRIS                       DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                       ANTHONY ST. LOUIS MO 63102
WINCHESTER, KRIS                       LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WINCHESTER, KRIS                       LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                       MANHATTAN BEACH CA 90266
WINCHESTER, KRIS                       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE



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                                            LTL Management LLC
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                                                       List
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Claim Name                            Address Information
WINCHESTER, KRIS                     ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WINCHESTER, KRIS                     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                     S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WINDHAM, BRENDA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
WINDHAM, SUSAN                       MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
WINDISCH, ROSEMARIE                  WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                     HILL NJ 08002
WINDNAGLE, LAURA                     THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
WINDSOR, CAROL                       DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                     63102
WINDSOR, JEANNE                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
WINE, MARY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WINES, DORA                          MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                     YORK NY 10017
WINES, MARY                          THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                     ORANGE VA 02296
WINFIELD, JULIA                      BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                     ROBERT BRENT LOS ANGELES CA 90024
WINFIELD, RETHA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
WINFIELD, SHEILA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
WINFREE, SCARLETT                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                     ORANGE VA 02296
WING, BARBARA                        HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                     AL 03520
WING, JOHN ESTATE OF CAROL WING      LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                     NJ 08648
WING, KATHERINE                      LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, STEPHENSON, W. CAMERON 316
                                     SOUTH BAYLEN ST., SUITE 400 PENSACOLA FL 32502
WINGATE, MARJORIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                     75231
WINGATE, SHARYN                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WINGATE, SHARYN                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
WINGERT, KRISTINE                    SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                     07102-4573
WINGERT, KRISTINE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
WINGERT, KRISTINE                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WINGERT, KRISTINE                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WINGET, EILEEN                       THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
WINGFIELD, SHARI                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
WINGO, LYNDA                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                     MEADOWS, TED G. MONTGOMERY AL 36104
WINGO, LYNDA                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WINGO, LYNDA                         THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WINGO, LYNDA                         PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
WINGO-RUST, ANGELA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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Claim Name                       Address Information
WINGO-RUST, ANGELA              MEADOWS, TED G. MONTGOMERY AL 36104
WINGO-RUST, ANGELA              GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
WINGO-RUST, ANGELA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WINGO-RUST, ANGELA              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WINGO-RUST, ANGELA              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WINIARCZYK, KAROL               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WINK, NICOLE                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WINKELMAN, SARAH                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WINKELMAN, SARAH                GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
WINKELMAN, SARAH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WINKELMAN, SARAH                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WINKELMAN, SARAH                PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WINKELSPECHT, THERESA           HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
WINKLER, JUDY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WINKLER, NANCY                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
WINKLER, REBECCA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WINKLER, RUTH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WINN, KATRINA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WINN, KIMBERLY                  COHEN, PLACITELLA & ROTH 127 MAPLE AVE. PLACITELLA, CHRISTOPHER M. GEIER,
                                DENNIS M. RED BANK NJ 07701
WINN, LYNN                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WINNETT, DENYSE                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WINNINGHAM, JACQUALINE          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WINPHRIE, LATRISHA              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WINSLOW, BETTY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WINSLOW, KARI                   MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
WINSLOW, PHYLLIS                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WINSOR, DEBORA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WINSOR, SHIRLEY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WINSTEAD, CINDY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WINSTEAD, JENNIFER              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WINSTEAD, MARY                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WINSTEAD, MARY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WINSTEL, LORI                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WINSTON, BARBARA FISHER         BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
WINSTON, DEBRA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
WINSTON, DEBRA                  MEADOWS, TED G. MONTGOMERY AL 36104
WINSTON, JUDY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WINSTON, KERRI                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
WINSTON, MARY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WINSTON, PAULA                  THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
WINSTON, VICKI                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WINTER, CAROL                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WINTER, CAROL                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WINTER, CAROL                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WINTER, JENELLE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WINTERS, CATHERINE              BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
WINTERS, CATHERINE              BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
WINTERS, ELLA                   MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
WINTERS, IRINE                  HEYGOOD, ORR & PEARSON 6363 N. STATE HIGHWAY 161, SUITE 450 IRVING TX 75038
WINTERS, KIMBERLY               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WINTERS, MARTHA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WINTERS, MARY                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
WINTERS, MARY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WINTERS, PATSY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WINTERS, PATSY                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WINTERS, SHANA                  SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
WINTERS, SHAVON                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
WINTERS, SUSAN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WINTERS, YVONNE                 MORRIS BART & ASSOCIATES 601 POYDRAS ST. 24TH FLOOR BARNES, BETSY J. NEW
                                ORLEANS LA 70130
WINTHER, STACEY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WION, AMANDA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WIPPLER, AMANDA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WIREMAN, KATHY                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
WIRICK, SANDRA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WIRTH, SONJA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WISE, BEVERLY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WISE, BRENDA                    GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
WISE, BRENDA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WISE, CLARA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
WISE, CLARISSA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WISE, LARENDA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WISE, MARILYN                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WISE, SHERRY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WISECUP, ALICIA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WISEMAN, APRIL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WISEMAN, DANA                   WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
WISER, BARBARA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WISNER, MARIANNE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WISNESKI, JOY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WISNIEWSKI, CYNTHIA             GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
WISNIEWSKI, SONIA               WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
WISNIOWICZ, LISA                THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
WISSINGER, STEPHANIE            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WISSMILLER, BOBBIE              DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
WISTNER, JO                     WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
WITHERINGTON, SHELBA            JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WITHERS, GAIL                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
WITHERS, JUDITH                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
WITHERSPOON, CINDY              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WITHERSPOON, MARY               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WITHERSPOON, MARY               BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
WITHOLW, BILLIE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WITHOLW, BILLIE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WITHOLW, BILLIE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WITHOLW, BILLIE                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
WITHROW, DEBORAH                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WITHROW, ELIZABETH              BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
WITHROW, LINDA                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
WITHROW, PAMELA                 THE BENTON LAW FIRM, PLLC 1825 MARKET CENTER BLVD., STE 350 DALLAS TX 75207
WITKOWSKI, DONNA                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WITLIN, HELEN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WITSOE, MARY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WITT, JANE                      ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX


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                                                LTL Management LLC
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Claim Name                               Address Information
WITT, JANE                              77007
WITT, JESSICA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WITT, KAY                               BEASLEY ALLEN CROW METHVIN PORTIS &MILES JAMES, L., ODELL, P. & SCOTT, B. 218
                                        COMMERCE STREET MONTGOMERY AL 36104
WITT, LONETTA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WITT, MARY                              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
WITT, VICTORIA                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
WITTE, DARLENE                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                        75231
WITTENBERG, PATRICIA                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WITTER, DEBORAH                         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WITTER, JOANNE S AND WITTER, TERRY      WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                        HILL NJ 08002
WITTER, LYNN                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                        MEADOWS, TED G. MONTGOMERY AL 36104
WITTHOHN, BARBARA                       ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                        EMILY FAIRFAX VA 22031
WITTIG, EVELYN                          ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                        ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
WITTIG, HELGA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WITTMER, KATHLEEN                       NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                        11747
WITTROCK, RICHARD                       NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                        PR 00918
WITTWER, DONNA                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                        77098
WIX, TRAVIA                             SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER BADARUZZAMAN,
                                        ASIM M NEWARK NJ 07102-4573
WIXOM, KATRINA                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WLODARCZYK, KIM                         CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                        14202-3725
WNEK, LORETTA                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOELFEL, MARY                           DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                        ANTHONY ST. LOUIS MO 63102
WOELFEL, MARY                           LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                        SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
WOELFEL, MARY                           LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WOELFEL, MARY                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                        ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WOFSE, JOY                              ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                        77007
WOHLERS, JEANNE                         ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                        FELLER, JOEL J. PHILADELPHIA PA 19103
WOHLERT, CAROLYN                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOHLERT, CAROLYN                        LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WOHLERT, CAROLYN                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                        ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
WOHLMAN, MARSHA                         NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                        PR 00918
WOHLWEND, BARBARA                       ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE



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Claim Name                       Address Information
WOHLWEND, BARBARA               ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WOJCESHONEK, LINDA              ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WOJCIK, CAROLYN                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOJCIK, KATHRYN                 NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
WOJCIK, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOJNAR, MARY                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
WOJTA, PAMELA                   BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
WOJTUL, MARION                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOJTUSKI, CECELIA               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOLCOTT, BRANDI                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOLD, DOLORES                   HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
WOLD, PATRICIA                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WOLF, BEVERLY                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WOLF, DIANE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOLF, DONATTA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOLF, IRENE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOLF, LAUREN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOLF, PAULA                     PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
WOLF, SHARON                    NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
WOLF, SUSIE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOLF, SUSIE                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOLF, SUSIE                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WOLF, SUSIE                     PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
WOLF, SUSIE                     SALKOW LAW, APC 1540 7TH STREET, SUITE 206 SALKOW, RICHARD SANTA MONICA CA
                                90401
WOLFE, CAROLEE                  MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
WOLFE, DEBORAH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOLFE, DIANNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOLFE, EVA                      THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WOLFE, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOLFE, LOVIE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WOLFE, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOLFE, PATRICIA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOLFE, PATRICIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WOLFENDEN, INGRID               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOLFF, MARLENE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,


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Claim Name                        Address Information
WOLFF, MARLENE                   EMILY FAIRFAX VA 22031
WOLFGANG, WANDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
WOLFORD, INEZ                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WOLFORD, INEZ                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
WOLFORD, JENNETTE                LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                 SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
WOLFORD, MARY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
WOLFRAM, MARY                    MOTLEY RICE, LLC 28 BRIDGESIDE BLVD. HOYLE, THOMAS DAVID MT. PLEASANT SC 29464
WOLKINS, JACQUELINE              WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                 BOUNDAS, JOHN T. HOUSTON TX 77017
WOLLE, LISA                      COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 MULLIGAN, EDWARD B. KNOLL,
                                 JONATHAN A. INDIANAPOLIS IN 46204
WOLLWAGE, SUSAN                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                 STREET, SUITE PENSACOLA FL 32502
WOLNY, SUSAN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOLTZ, GAIL                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOMACK, AMANDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOMACK, ANGELA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOMACK, BERNICE                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                 STREET, SUITE PENSACOLA FL 32502
WOMACK, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOMACK, MARILYN                  MURRAY LAW FIRM 650 POYDRAS STREET, SUITE 2150 MURRAY, STEPHEN B. MURRAY,
                                 ARTHUR M. NEW ORLEANS OH 70130
WOMACK, STEPHANIE                ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                 LOUIS MO 63119
WOMBLES, LILA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WONG, SHIRLEY; YOUNG, LINDA      BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                 ROBERT BRENT LOS ANGELES CA 90024
WONG-FARENBAUGH, LINDA           THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                 ORANGE VA 02296
WONG-SAM, SANDRA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOO, BENGTA                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
WOOD, ANNE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
WOOD, BETTY                      TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
WOOD, CATHY                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                 EMILY FAIRFAX VA 22031
WOOD, CHERYL                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOOD, CYNTHIA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
WOOD, DEBORAH                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                 SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
WOOD, DEBRA                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                 ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WOOD, DIANNA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOOD, GLORY                      ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                 EMILY FAIRFAX VA 22031
WOOD, GLORY                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET



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WOOD, GLORY                     MEADOWS, TED G. MONTGOMERY AL 36104
WOOD, HEIDI                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WOOD, JACQUELINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOOD, JENNIFER                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOOD, JOANNE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOOD, KATHRYN                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
WOOD, KATHY                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
WOOD, KITTY                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WOOD, LINDA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOOD, MADELINE                  DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
WOOD, MARGARET                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WOOD, MARGARET                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOOD, MARY                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOOD, MARY                      AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WOOD, MISTY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOOD, PATSY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOOD, SHARLENE                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WOOD, SHIRL                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOOD, TAMMY                     REICH & BINSTOCK, LLP 4265 SAN FELIPE BLVD, SUITE 1000 REICH, DENNIS J EPHRON,
                                MELISSA HOUSTON TX 77027
WOOD, TERRI                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOOD, THEODORA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOOD, TONI                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOOD, TRACY                     GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WOOD, TRACY                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WOOD, TRACY                     GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
WOOD, TRINA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WOOD, VALERIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WOOD-DONATELLI, DONNA           MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
WOOD-GARDNER, DONNA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODALL, LINDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOODALL, RUBY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODALL, SHERRY                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
WOODARD, BRENDA                 WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700



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Claim Name                       Address Information
WOODARD, BRENDA                 DALLAS TX 75219
WOODARD, DARLA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODARD, FRANCINE               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODARD, TERRY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WOODARD, YOLANDA                BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DALLAS TX 75219
WOODBURY, PAULINE               BARON & BUDD, P.C. 3102 OAK LAWN AVENUE, SUITE 1100 DANIEL, SINDHU S. DALLAS
                                TX 75219
WOODE, WANDA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WOODEARS, MARCELLA              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODEN, BRIDGET                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WOODEN, ESTHER                  LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
WOODEN, LAGUAMYA                PARKER WAICHMAN, LLP 6 HARBOR PARK DRIVE PORT WASHINGTON NY 11050
WOODFORK, KIM                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODGEARD, KATHERINE            ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WOODGEARD, KATHERINE            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOODHAM, SHERRIE                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WOODHAM, SHERRIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOODLE, LOUISE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WOODLE, LOUISE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOODLEY, JACQUELINE             BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOODMAN, JHOMEYR                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WOODMANCY, SUSAN                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WOODMANSEE, NANCY               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WOODRAD, ROSALYN                DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
WOODROME, AMY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODRUFF, CINDY                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WOODRUFF, GRACE                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WOODRUFF, GRACE                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WOODRUFF, GRACE                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WOODS, ARIETA                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
WOODS, BARBARA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WOODS, BARBARA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WOODS, BELINDA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODS, BRENDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODS, CAROL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
WOODS, CHEYAN                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WOODS, CHRISTINE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODS, CYNTHIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODS, DEBRA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODS, DONNA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOODS, ELEANOR                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODS, IMELDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOODS, INGRIA                   HILLIARD MARTINEZ GONZALES, LLP 719 SOUTH SHORELINE BOULEYARD PINEDO, THOMAS
                                CHRISTOPHER CORPUS CHIRSTI TX 07837
WOODS, JANET                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WOODS, JANET                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOODS, JESSICA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WOODS, KAREN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODS, KARIMA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WOODS, KERSTA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODS, KIMBERLIN                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WOODS, KRISHUNA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WOODS, LAUREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODS, LEEANA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODS, LILLIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODS, LIZABETH                 DIAMOND LAW 1700 E. RIVER ROAD, 65237 TUCSON AZ 85728
WOODS, MARIA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODS, MARTHA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODS, MICHELLE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODS, MISTY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOODS, PAMELA                   BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
WOODS, PAMELA                   BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
WOODS, PATTY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WOODS, REBECCA                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
WOODS, ROBIN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODS, SANDRA                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
WOODS, SUSAN                    FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WOODS, VICTORIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WOODSON, JESSICA                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
WOODSON, SALLIE                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WOODWARD, DARLA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
WOODWARD, DARLA                 MEADOWS, TED G. MONTGOMERY AL 36104
WOODWARD, DARLA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODWARD, DARLA                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WOODWARD, DARLA                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
WOODWARD, KATHLEEN              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WOODWORTH, DARLENE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODWORTH, NANCY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODWORTH, SHULA                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WOODY, ANGEL                    WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
WOODY, DEBORAH                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WOODY, JANICE                   FRAZER PLC 30 BURTON HILLS BLVD, STE 450 MCMURTRAY, PATRICK D. FRAZER III,
                                THOMAS ROE NASHVILLE TN 37215
WOODY, JESSICA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOODY, MILDRED                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
WOODY, SANDRA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOODYARD, MADLYN                CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WOOFTER, VIOLA                  WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
WOOL, JOYCE                     KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
WOOLARD, MONICA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOOLDRIDGE, TERRI               SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
WOOLDRIDGE, TERRI               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOOLDRIDGE, TERRI               THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WOOLDRIDGE, TERRI               PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WOOLEN, LANETTE                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOOLEN, LANETTE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOOLEN, LANETTE                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WOOLEN, LANETTE                 PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
WOOLEY, DEBBIE                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WOOLEY, KATELYNN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOOLFOLK, KARLA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOOLFOLK, SHARON                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOOLISON, DONNA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOOLIVER, CONNIE                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOOLLEY, SUSAN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOOLLEY, SUSAN                  GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
WOOLLEY, SUSAN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
WOOLLEY, SUSAN                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WOOLLEY, SUSAN                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WOOLSTRUM, INA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WOOSLEY-SMITH, SHIRLEY          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOOSTER, DIANA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOOTEN, BELINDA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOOTEN, CATHERINE               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WOOTEN, DEBBIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WOOTEN, DONNA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WOOTEN, DOROTHY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WOOTEN, JUDITH                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WOOTEN, JUDITH                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
WOOTEN, JUDITH                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
WOOTEN, JUNE                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WOOTEN, JUNE                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WORCESTER, MELISSA              WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                DALLAS TX 75219
WORD, DANITA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WORD, DEBORAH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WORDEN, VANESSA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WORKMAN, CAROLYN                LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
WORKMAN, LESLIE                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WORKMAN, LOVADA                 FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WORKMAN, MISTY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WORKMAN, REBECCA                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WORKS, LINDA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WORKS, STACY                    POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
WORLEY, BARBARA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WORLEY, DOROTHY                 MARTINIAN & ASSOCIATES, INC. 2801 CAHUENGA BLVD WEST LOS ANGELES CA 90068
WORLEY, DOROTHY                 KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
WORLEY, HEATHER                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WORLEY, JILLIAN                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WORLEY, KATIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WORLEY, LOREEN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WORLEY, MARY                    LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,
                                SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
WORM, JUDITH                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WORSECK, AMY                    BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130


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Claim Name                       Address Information
WORSECK, AMY                    BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
WORSFOLD, SHIRLEY               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WORSHAM, NEDRA                  SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
WORSLEY, CHARLOTTE              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WORSTELL, DELORIS               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WORTH, BARBARA                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WORTH, BONNIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WORTH, VIRGINIA                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
WORTHAM, LAWANDA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WORTHEN, BRENDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WORTHINGTON, BARBARA            ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WORTHINGTON, CAROLE             FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WORTHINGTON, DEBORAH            BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WORTHY, DEBORAH                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WORTMAN, SANDY                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WOSENU, ASTER                   DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
WOZNUK, LINDA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WRAY, ANITA                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WRAY, ANITA                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WRAY, ANITA                     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WRAY, ANITA                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WRAY, BETTY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WRAY, KATHERINE                 MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
WRAY, YVONNE                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WREATH, KELLY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WREGLESWORTH, JANICE            TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                62025
WREN, BARBARA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WREN, CATHERINE                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WREN, SUSAN                     NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
WREN, SUSAN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WRENN, PATRICIA                 THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
WRIGHT, ANGIENECKIA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WRIGHT, ANNA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098



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Claim Name                       Address Information
WRIGHT, AUDREY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WRIGHT, BAZALENE                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WRIGHT, BEAUTY                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WRIGHT, BELINDA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WRIGHT, BETTY                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WRIGHT, BETTY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WRIGHT, BETTY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WRIGHT, BILLIE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WRIGHT, BRENDA                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
WRIGHT, BRENDA                  BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
WRIGHT, BROOKE                  ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WRIGHT, CANDI                   GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
WRIGHT, CAROLYN                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
WRIGHT, CARRIE                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
WRIGHT, CHARLES                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WRIGHT, CHARLOTTE               FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WRIGHT, CHERYL                  CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
WRIGHT, CHRISTIAN               ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WRIGHT, CLAUDETTE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WRIGHT, CYNTHIA                 DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
WRIGHT, DARLENE                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
WRIGHT, DEBORAH                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
WRIGHT, DEBORAH                 POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
WRIGHT, DESIREE                 GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
WRIGHT, DIANNE                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
WRIGHT, DODI                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WRIGHT, DORIS                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WRIGHT, DOROTHY                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WRIGHT, DOROTHY                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WRIGHT, EDITH                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119


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Claim Name                       Address Information
WRIGHT, ELESA                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
WRIGHT, ESSIE                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WRIGHT, FRANCES                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WRIGHT, GAIL                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WRIGHT, HELEN                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
WRIGHT, HERBERT                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WRIGHT, IRENE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WRIGHT, JACQUELYN               THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
WRIGHT, JANET                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WRIGHT, JANET                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WRIGHT, JANET                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WRIGHT, JANET                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WRIGHT, JANICE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WRIGHT, JANICE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WRIGHT, JE NAE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WRIGHT, JEAN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WRIGHT, JEANA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WRIGHT, KAREN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WRIGHT, KAREN                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
WRIGHT, KATIE                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
WRIGHT, KATIE                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WRIGHT, KATIE                   LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
WRIGHT, KATIE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WRIGHT, KATIE                   ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WRIGHT, KATRINA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WRIGHT, KELLY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WRIGHT, LATOSHIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WRIGHT, LAURIE                  GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                EVAN D. EDWARDSVILLE IL 62025
WRIGHT, LENORE                  HENINGER GARRISON DAVIS, LLC 2224 1ST AVE NORTH BROSS, WILLIAM L. BIRMINGHAM
                                AL 03520
WRIGHT, LINDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WRIGHT, LISA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104



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Claim Name                       Address Information
WRIGHT, LISA                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
WRIGHT, LISA                    LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
WRIGHT, LOIS                    POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
WRIGHT, MAE                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WRIGHT, MARGARET                SULLO & SULLO, LLP 2020 SOUTHWEST FWY. SUITE 300 SULLO, ANDREW F. HOUSTON TX
                                77098
WRIGHT, MARIA                   THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
WRIGHT, MARY                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
WRIGHT, MILDRED                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
WRIGHT, MILTONA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WRIGHT, NANCY                   MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
WRIGHT, NIKKI                   ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
WRIGHT, NOREEN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WRIGHT, PAMELA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WRIGHT, PATRICIA                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WRIGHT, PEGGY                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
WRIGHT, REBECCA                 COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 SANDIFER, TAKEENA T. KNOLL,
                                JONATHAN A. INDIANAPOLIS IN 46204
WRIGHT, RHONDA                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
WRIGHT, RHONDA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
WRIGHT, SANDRA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WRIGHT, SERENA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WRIGHT, SHERRI                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
WRIGHT, SHIRLEY                 MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
WRIGHT, TERRIE                  NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
WRIGHT, VERNDEEN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WRIGHT, VERNITA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WRIGHT, WANDA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WRIGHT, YOLANDA                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WRIGHT-ARNOLD, LINDA            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
WRIGHT-BRANTLEY, ANGELA         MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
WRIGHT-LAURENT, KATHERINE       NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
WRIGHT-NG, SHIRLEY              ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,


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Claim Name                        Address Information
WRIGHT-NG, SHIRLEY               EMILY FAIRFAX VA 22031
WRIGHT-NG, SHIRLEY               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
WRIGHT-POLZIN, PAULINE           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
WRIGHT-TICE, KAREN               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
WRINKLE, LISA                    HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                 63101
WROBLEWSKI, SADIE                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WRUCK, MARY                      DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
WU, GUI                          JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                 77098
WUBBEN, THERESA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WULF, SHERRY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WUNDER, RETTA                    GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
WYATT, DEBORAH                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
WYATT, FLORENCE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WYATT, JANET                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WYATT, JOYCE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
WYATT, LESLIE                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                 BOUNDAS, JOHN T. HOUSTON TX 77017
WYATT, MARY                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                 75231
WYATT, NANCY                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
WYATT, NANCY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WYATT, ROBBIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WYATT, ROBIN                     DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                 63102
WYATT, ROBIN                     DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                 ANTHONY ST. LOUIS MO 63102
WYATT, ROBIN                     LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WYATT, ROBIN                     LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                 MANHATTAN BEACH CA 90266
WYATT, ROBIN                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                 ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WYATT, ROBIN                     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                 S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WYBLE, CAROLYN                   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                 KNOXVILLE TN 37929
WYCKOFF, RONDA                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                 EMILY FAIRFAX VA 22031
WYCKOFF, RONDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                 MEADOWS, TED G. MONTGOMERY AL 36104
WYCKOFF, SHAVONNE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WYCUFF, PATRICIA                 ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                 77007
WYGAL, ANNE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WYLIE, JUDITH                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG



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Claim Name                          Address Information
WYLIE, JUDITH                      ANTHONY ST. LOUIS MO 63102
WYLIE, JUDITH                      LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                   MANHATTAN BEACH CA 90266
WYLIE, JUDITH                      LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WYLIE, JUDITH                      ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                   & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
WYLIE, JUDITH                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
WYLLIE, JOAN                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
WYLLIE, JOAN                       KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
WYLONG, MARY                       KLINE & SPECTER, P.C. 1525 LOCUST ST. JIMENEZ, PRISCILLA PHILADELPHIA PA 19102
WYMAN, CINDY                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   LAMPKIN II, JAMES W. MONTGOMERY AL 36104
WYMAN, JENNIFER                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
WYNKOOP, JEAN                      NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                   11747
WYNN, BARBARA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WYNN, DAISY                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
WYNN, DAISY                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
WYNN, MARJORIE                     CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
WYNN, MARY JANE                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
WYNN, ROBIN                        ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
WYNN-YELDELL, ADRIANA              FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
WYNNE, JAMES                       NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                   PR 00918
WYNOS, JACQUELINE                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                   STREET, SUITE PENSACOLA FL 32502
WYNSTRA, KAY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
WYROSDICK, RUBY                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
WYSKIEL, BARBARA                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
WYSKIEL, BARBARA                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
WYSOCKI, CYNTHIA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
XIONG, IE                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
XIONG, LE                          FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
YADEN, DORIS                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YADON, LORIE                       ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
YADON, LORIE                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                   MEADOWS, TED G. MONTGOMERY AL 36104
YAEGEL, TERESA                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
YAGER, ANNA                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
YAGUDAYEV, NADIA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX



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Claim Name                       Address Information
YAGUDAYEV, NADIA                75231
YAKHIN, SARA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
YAKUBISIN, SANDRA               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
YAKUBOVA, SVETLANA              DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                63102
YAMZON, KATHLEEN                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
YANCY, KATHLEEN                 GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
YANDELL, CAROL                  SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
YANDELL, KAYLYNN                FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
YANDELL, SHELLEY                WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
YANG, CECILIA                   GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
YANKO, DELORES                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YANKOSKY, BARBARA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
YANKTON, SUSAN                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
YANNO, ELEANOR                  THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
YANNO, MARGARET                 NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
YANNONE, CATHERINE              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
YANNONE, MARY                   LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
YARBER, ANNE                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 22960
YARBER, ANNE                    HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                46290
YARBOROUGH, JO                  JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
YARBOROUGH, RUBY                LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
YARBOROUGH, RUBY                ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
YARBROUGH, ASIA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
YARBROUGH, CAROL                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
YARBROUGH, GERALDINE            ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
YARBROUGH, KATHERINE            DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
YARBROUGH, KATHERINE            LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
YARBROUGH, KATHERINE            LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
YARBROUGH, KATHERINE            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
YARBROUGH, KATHERINE            ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
YARBROUGH, MIRIAM               LEVIN, PAPANTONIO, THOMAS, MITCHELL & PROCTOR, P.A. 316 SOUTH BAYLEN ST.,


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Claim Name                          Address Information
YARBROUGH, MIRIAM                  SUITE 400 BOWDEN, WESLEY A. PENSACOLA FL 32502
YARBROUGH, RENA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YARBROUGH, RUBY                    DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                   ANTHONY ST. LOUIS MO 63102
YARBROUGH, RUBY                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
YARBROUGH, RUBY                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
YARBROUGH, SUSAN                   JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                   77098
YARDEN, LINDA                      CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
YARDLEY, MARY                      MOTLEY RICE, LLC 50 CLAY STREET, SUITE 1 HALL, SCOTT B. MORGANTOWN WV 26501
YARMO, CAROLE                      MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                   YORK NY 10017
YARNALL, CAROLINE                  DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                   KANSAS CITY MO 64196
YARO, LINDA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YASENCHOK, LORI                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                   14202-3725
YASICK, DONNA                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YASSEIN, LALLAFATIHA               ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                   ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
YATES, AGNES                       THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                   ORANGE VA 02296
YATES, DONNA                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YATES, DONNA                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
YATES, EUNICE                      KEEFE BARTELS 170 MONMOUTH STREET RUHL, JENNIFER HARWOOD RED BANK NJ 07701
YATES, EUNICE                      LAW OFFICE OF GRANT D. AMEY, LLC PO BOX 67 FAIRHOPE AL 36533
YATES, ILA                         FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
YATES, JAIME                       ANDRUS WAGSTAFF, P.C. 7171 WEST ALASKA DRIVE CRONE, JOHN R. LAKEWOOD CO 80226
YATES, JANE                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YATES, JEAN                        FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
YATES, JOANNE                      FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                   75231
YATES, JOLYNN                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YATES, LINDA                       TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
YATES, MICHELLE                    SANDERS VIENER GROSSMAN, LLP 100 HERRICKS ROAD MINEOLA NY 11501
YAW, TINA                          ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                   EMILY FAIRFAX VA 22031
YBARRA, SOPHIA                     ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                   LOUIS MO 63119
YEAGER, CORRINE                    WATERS & KRAUS, LLP C/O SUSANNAH CHESTER-SCHINDLER 3141 HOOD STREET, SUITE 700
                                   DALLAS TX 75219
YEAGER, JANA                       TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
YEAGER, KELLI                      DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                   63102
YEAKEL, STEPHANIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YEARWOOD, ALMENA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YEATTS, JEANE                      ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YECCO, MARIA                       MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING


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Claim Name                         Address Information
YECCO, MARIA                      KNOXVILLE TN 37929
YEISLEY, KATHY                    WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                  BOUNDAS, JOHN T. HOUSTON TX 77017
YELDA, SAUDIKA                    MEIROWITZ & WASSERBERG, LLP C/O DANIEL WASSERBERG 535 FIFTH AVE, 23 FLOOR NEW
                                  YORK NY 10017
YELDELL, ELLA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
YELINEK, CAROL                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
YELVERTON, BETSY                  ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
YELVERTON, BETSY                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
YENALAVITCH, MARION               CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                  14202-3725
YENSER, SUZANNE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YERGEN, MARJORIE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YERIKIAN, SALPY                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
YESCAS, PENNY                     EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP EICHEN, BARRY R. - KELLY, JOHN P - 40
                                  ETHEL ROAD EDISON NJ 08817
YESTER, JENNIFER                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                  77098
YESUPRIYA, JOYCE                  MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                  YORK NY 10017
YETTNER, JENNIFER                 GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                  EDWARDSVILLE IL 62025
YEZEK, CHARLOTTE                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
YGLESIA, PATRICIA                 BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                  70130
YGLESIA, PATRICIA                 BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                  75202
YIN, JUN                          DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                  KANSAS CITY MO 64196
YINGLING, MELODY                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                  ANTHONY ST. LOUIS MO 63102
YINGLING, MELODY                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
YINGLING, MELODY                  LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                  MANHATTAN BEACH CA 90266
YINGLING, MELODY                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                  ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
YINGLING, MELODY                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                  S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
YISRAEL, QETSIYAH                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
YLINIEMI, PATRICIA                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
YLINIEMI, PATRICIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                  MEADOWS, TED G. MONTGOMERY AL 36104
YMILIANO, ZENAIDA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                  75231
YOCOM, LISA                       DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                  ANTHONY ST. LOUIS MO 63102
YOCOM, LISA                       LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
YOCOM, LISA                       LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                  MANHATTAN BEACH CA 90266


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Claim Name                       Address Information
YOCOM, LISA                     ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
YOCOM, LISA                     ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
YOCUM, PENNY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
YOCUM, SUE                      WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
YODER, ROBERTA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
YODER, SHEILA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
YODER, SHERRIL                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
YOELL, MARLA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOKLEY, MARGARET                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
YOKLEY, WENDY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
YOLANDA MARTIN                  BISNAR AND CHASE ANTURNOVICH, TOM & CHASE, BRIAN D. 1301 DOVE STREET, SUITE
                                120 NEWPORT BEACH CA 92660
YONGEN, LEONA                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
YORBA, LISA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
YORK, BEATRICE                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
YORK, DELORES                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
YORK, DELORES                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
YORK, DELORES                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
YORK, DONNA                     THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
YORK, JEANNINE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YORK, LINDA                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
YORK, NICHOLE                   DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
YORK, NICHOLE                   LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
YORK, NICHOLE                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
YORK, SHARON                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YORK, SUSAN                     JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
YORK-BEY, ELEANOR               ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
YOSHIDA, ANDRIYANI              BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
YOSHIDA, ANDRIYANI              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
YOSHIDA, ANDRIYANI              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
YOSHIKAWA, YUKO                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOST, JODIE                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,


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Claim Name                       Address Information
YOST, JODIE                     EMILY FAIRFAX VA 22031
YOST, LINDA                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
YOST, VICTORIA                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
YOUNG, ALBERTA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
YOUNG, ALICE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOUNG, ALMA                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
YOUNG, ANGELA                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
YOUNG, BEVERLY                  THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
YOUNG, BONNIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOUNG, BRENDA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
YOUNG, BRENDA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
YOUNG, BRENDA                   AYLSTOCK, WITKIN, KREIS & OVERHOLTZ PLLC THORNBURGH, DANIEL J 17 EAST MAIN
                                STREET, SUITE 200 PENSACOLA FL 32502
YOUNG, BRENDA                   JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 TIZENO, ASHLEY HOUSTON TX
                                77098
YOUNG, BRIDGETTE                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
YOUNG, CANDACE                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOUNG, CAROLYN                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOUNG, CARROL                   NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
YOUNG, CYNTHIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOUNG, DEBORAH                  JOHNSON BECKER, PLLC 444 CEDAR ST, SUITE 1800 ST. PAUL MN 55101
YOUNG, DEBORAH                  POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
YOUNG, DELORES                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOUNG, DENISE                   WEITZ & LUXENBERG C/O MICHELLE C. MURTHA 220 LAKE DRIVE EAST, SUITE 210 CHERRY
                                HILL NJ 08002
YOUNG, DENISE                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
YOUNG, DONCELLA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
YOUNG, DONNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOUNG, DOROTHY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOUNG, ERICA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOUNG, GEORGE (JUANITA)         NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918
YOUNG, GINGER                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
YOUNG, ILENE                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
YOUNG, ILENE                    LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
YOUNG, JANET                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOUNG, JANET                    ONDERLAW, LLC J. ONDER, W. BLAIR & S. RADOS 110 E. LOCKWOOD, 2ND FLOOR ST.
                                LOUIS MO 63119
YOUNG, JENNIFER                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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Claim Name                       Address Information
YOUNG, JENNIFER                 MEADOWS, TED G. MONTGOMERY AL 36104
YOUNG, JOANN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
YOUNG, JUANITA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOUNG, KAREN                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
YOUNG, KARLA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOUNG, KIM                      CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
YOUNG, KRISTA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
YOUNG, LINDA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
YOUNG, LINDA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
YOUNG, LINDA                    GOLDENBERGLAW, PLLC 800 LASALLE AVE., SUITE 2150 GOLDENBERG, STUART L.
                                MINNEAPOLIS MN 55402
YOUNG, LINDA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOUNG, LINDA                    THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
YOUNG, LINDA                    PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
YOUNG, LINDA                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
YOUNG, LISA                     ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
YOUNG, LORNA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOUNG, LOUANNE                  LENZE KAMERRER MOSS, PLC 1300 HIGHLAND AVE, SUITE 207 MANHATTAN BEACH CA 90266
YOUNG, MARILYN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
YOUNG, MARION                   THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
YOUNG, MARTA                    CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
YOUNG, MARY                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOUNG, MATERIA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOUNG, MORGAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOUNG, OTTIS                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOUNG, PAMELA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
YOUNG, PAMELA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOUNG, PEGGY                    ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
YOUNG, PEGGY                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
YOUNG, PENNY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOUNG, PORSCHIA                 DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
YOUNG, PORSCHIA                 LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
YOUNG, PORSCHIA                 LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
YOUNG, PORSCHIA                 ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
YOUNG, PORSCHIA                 ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVS COLLINS, J., KARAVATOS, K. & LUKEI,
                                S. 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
YOUNG, REBECCA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET


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                                       LTL Management LLC
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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
YOUNG, REBECCA                  MEADOWS, TED G. MONTGOMERY AL 36104
YOUNG, REBECCA                  THE DUGAN LAW FIRM, APLC ONE CANAL PLACE, 365 CANAL STREET, SUITE 1000 NEW
                                ORLEANS LA 70130
YOUNG, RUTH                     DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
YOUNG, RUTH                     ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
YOUNG, RUTH                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
YOUNG, SABRINA                  WEITZ & LUXENBERG 220 LAKE DRIVE EAST, SUITE 210 SHARMA, BHARATI O CHERRY HILL
                                NJ 08002
YOUNG, SANDRA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOUNG, SHARON                   SEEGER WEISS LLP 550 BROAD ST., SUITE 920 SEEGER, CHRISTOPHER NEWARK NJ
                                07102-4573
YOUNG, SHARON                   SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                01153
YOUNG, SHARRIE                  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
YOUNG, SHERRY                   SALTZ MONGELUZZI & BENDESKY PC 1650 MARKET ST., 52ND FLOOR PHILADELPHIA PA
                                19103
YOUNG, SHERRY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
YOUNG, SHERRY                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOUNG, SONYA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
YOUNG, SUZANNE                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
YOUNG, SUZANNE                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
YOUNG, SUZANNE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
YOUNG, TAMMY                    FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
YOUNG, TERESA                   ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
YOUNG, TERESA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
YOUNG, TERESITA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
YOUNG, TINA                     BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
YOUNG, VICKI                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOUNG, WANDA                    THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
YOUNG-ARREDONDO, RUTH           BAUM, HEDLUND, ARISTEI & GOLDMAN,PC 10940 WILSHIRE BLVD, SUITE 1600 WISNER,
                                ROBERT BRENT LOS ANGELES CA 90024
YOUNG-HORNER, STACEY            FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
YOUNG-RUSS, LANITA              JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
YOUNG-TUNE, DEBORAH             MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
YOUNGBLOOD, APRIL               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
YOUNGBLOOD, DORIS               MOTLEY RICE, LLC 50 CLAY STREET, STE 1 MIGLIORI, DONALD A. MORGANTOWN WV 26501
YOUNGBLOOD, TERESA              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296


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                                              LTL Management LLC
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Claim Name                             Address Information
YOUNGERS, HEIDI                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOUNGMAN, LOIS                         TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
YOUNGS, MARY                           TORHOERMAN LAW LLC 101 W. VANDALIA SUITE 350 DAVIS, STEVEN D. EDWARDSVILLE IL
                                       62025
YOUNT, KELLY                           ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YOWS, MARY                             THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 02296
YTELL, SHARON                          GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                       EDWARDSVILLE IL 62025
YU, HUI                                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
YUDELL, TAMAR                          ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YUELLING, JEANNE                       FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
YUGAISHTRI, DAT                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
YUHAS, ANNA                            DRISCOLL FIRM, P.C. 211 N. BROADWAY, STE. 2440 DRISCOLL, JOHN J. ST. LOUIS MO
                                       63102
YUNG, SCHERN                           GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD BUXNER,
                                       EVAN D. EDWARDSVILLE IL 62025
YUPANQUI, DINORA                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
YURECKO, TAWANYA                       ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
YURECKO, TAWANYA                       BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
YUSUF, APRIL                           SANDERS PHILLIPS GROSSMAN, LLC 100 GARDEN CITY PLAZA, SUITE 500 GARDEN CITY NY
                                       01153
YVONNE HAWLEY                          MOTLEY RICE, LLC SCOTT, CARMEN S. 28 BRIDGESIDE BLVD. MT. PLEASANT SC 29464
YVONNE MERENDON                        JOHNSON BECKER, PLLC 444 CEDAR ST. STE 1800 B ADHAM, S HAUER, M JOHNSON ST.
                                       PAUL MN 55101
ZABELLE, SANDRA                        ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, SUITE 3450
                                       ROSS, ROBERT FELLER, JOEL J. PHILADELPHIA PA 19103
ZABLAN, LUCIENNE                       JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                       77098
ZABOORI, ZHILA                         ONDERLAW, LLC BLAIR, W., ONDER, J. & RADOS, S. 110 E. LOCKWOOD, 2ND FLOOR ST.
                                       LOUIS MO 63119
ZACCARIA, MARY                         THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                       ORANGE VA 22960
ZACCARIA, MARY                         HOVDE, DASSOW, & DEETS, LLC 10201 WEST 103RD STREET, SUITE 500 INDIANAPOLIS IN
                                       46290
ZACCHINO, GAETANA                      ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ZACCHINO, GAETANA                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ZACHARA, MARZENA AND ZACHARA, WESLEY   LEVY KONIGSBERG LLP C/O MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP
                                       NJ 08648
ZACHARIA, HELEN                        DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ZACHARY, MARJORY                       ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZACHARY, MATTIE                        FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                       75231
ZACHER, CYNTHIA                        ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZADE, SANDRA                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                       MEADOWS, TED G. MONTGOMERY AL 36104
ZADEH, ASIEH                           ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX



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Claim Name                       Address Information
ZADEH, ASIEH                    77007
ZADROZNY, JOYCE                 ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ZAFIRAKIS, KELY                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ZAGARSKI, PAULA                 GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
ZAHOREC, DARLENE                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZAJAC, KAREN                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZAJAC, MAUREEN                  ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ZAK, KATHLEEN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ZAKIYYAH JOHNSON-SALAAM         BEASLEY ALLEN CROW METHVIN PORTIS MILES JAMES, L., O'DELL, P. & SCOTT, B. 218
                                COMMERCE STREET MONTGOMERY AL 36104
ZAKS, NANCY                     MORELLI LAW FIRM, PLLC 777 THIRD AVENUE, 31ST FLOOR MORELLI, BENEDICT P. NEW
                                YORK NY 10017
ZAKY, ANNE                      CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ZALE, MOREGAN                   FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ZALESKI, GENEVIEVE              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ZALKIND, SHELLEY                FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ZAMARIPA, PATRICIA              DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
ZAMARRIPA, DOLORES              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZAMBATARO, JANET                ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ZAMBATARO, JANET                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ZAMBERLAN, LYNN                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ZAMBRANO, BRIANA                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ZAMBRANO, MARILUZ               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ZAMNUIK, JOYCE                  JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ZAMORA, AGNES                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZAMORA, BETHANY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZAMORA, CLAUDIA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ZAMORA, HOPE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZAMORA, ROSA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZAMORA, SHERRY                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZAMORA, VICTORIA                JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ZAMPIRRI, MARGARET              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZAMPOGNA, GINA                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZAMUDIO, GUILLERIMINA           FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231



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Claim Name                       Address Information
ZAMZAM, KEFAH                   ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ZANCA, CAROL                    LUNDY, LUNDY, SOILEAU & SOUTH, LLP 501 BROAD STREET KOHRS, NICHOLAS HIGHTOWER,
                                KRISTIE LAKE CHARLES LA 07060
ZANDARSKI, CATHY                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ZANDARSKI, CATHY                BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
ZANE, DELLA                     GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
ZANE, DELLA                     BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ZANE, DELLA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZANE, DELLA                     THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ZANE, DELLA                     PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
ZANGHI, FRANCES                 CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ZANK, JENIE                     BURNS CHAREST LLP 900 JACKSON STREET, SUITE 500 COX, SPENCER M. DALLAS TX
                                75202
ZANKICH, THELMA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ZANOTELLI, HERMINE              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ZANTOW, BARBARA                 ASHCRAFT & GEREL, LLP 1825 K STREET, SUITE 700, NW WASHINGTON DC 20006
ZANTOW, BARBARA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ZAPALAC, BENITA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ZAPALAC, COEY                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ZAPPITELLI, JOHANNA             ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZARAGOZA, MARIA                 THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
ZARAZUA-GUZMAN, MARIA           DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ZAREMBA, JOYCE                  DONALD L. SCHLAPPRIZZI P.C. 211 N BROADWAY, SUITE 2430 SCHLAPPRIZZI, CRAIG
                                ANTHONY ST. LOUIS MO 63102
ZAREMBA, JOYCE                  LENZE LAWYERS, PLC LENZE, JENNIFER A. 1300 HIGHLAND AVENUE, SUITE 207
                                MANHATTAN BEACH CA 90266
ZAREMBA, JOYCE                  LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ZAREMBA, JOYCE                  ROBINSON CALCAGNIE ROBINSON SHAPIRO DAVI COLLINS, J., KARAVATOS, K., LUKEI, S.
                                & ROBINSON, M., 19 CORPORATE PLAZE DRIVE NEWPORT BEACH CA 92660
ZAREMBA, JOYCE                  ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. NEWPORT BEACH CA 92660
ZARIC-WOLDANSKI, ROZINA         ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZARKIN, PATTI                   MELANIE H MUHLSTOCK/PARKER WAICHMAN LLP 6 HARBOR PARK DR PORT WASHINGTON NY
                                11050
ZASKE, DIONNE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ZASPEL, MARY                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZAVALA, MARIA                   DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ZAVISTOSKI, BRENDA              GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102



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                                                      Entered 02/17/22 16:31:44           Desc Main
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Claim Name                       Address Information
ZAWISTOWSKI, PAMELA             JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ZAYSZLY, CAROL                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZBICHORSKI, PATRICIA            GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ZEALOR, EVELYN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ZECCHINI, MARY                  EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP EICHEN, BARRY R. - KELLY, JOHN P - 40
                                ETHEL ROAD EDISON NJ 08817
ZECCHINO, LORI                  ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZECCHINO, LORI                  THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ZECCHINO, LORI                  PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ZEGLIN, LISA                    AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC P.O. BOX 12630 (32591) 17 EAST MAIN
                                STREET, SUITE PENSACOLA FL 32502
ZEIDMAN, DEBORAH                GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ZEIG, PATRICIA                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
ZEIGLER, JESSICA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ZELINSKI, DONNA                 TRAMMELL PC 3262 WESTHEIMER ROAD, SUITE 423 BINSTOCK, MELISSA HOUSTON TX 77098
ZELLMANN, DEANNA                THE SEGAL LAW FIRM AMOS, II, C., FOSTER, J. &, SCOTT S 810 KANAWHA BLVD, EAST
                                CHARLESTON WV 25301
ZEMPEL, BETTY                   EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP EICHEN, BARRY R. & KELLY, JOHN P 40
                                ETHEL ROAD EDISON NJ 08817
ZENZEL, CINDY                   ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ZEOLI, LORIANN                  GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ZEPEDA, JOSEPHINE               DALIMONTE RUEB, LLP 1250 CONNECTICUT AVENUE NW, SUITE 200 WASHINGTON DC 20036
ZEREN, LESLIE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZERINGUE, DARLENE               COHEN & MALAD, LLP ONE INDIANA SQUARE, SUITE 1400 KNOLL, JONATHAN A.
                                INDIANAPOLIS IN 46204
ZESCHKE, GEORGENE               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ZESK, LAURA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZETTERSTROM, ROBIN              THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ZGRODNIK, MARION                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZIBELL, NANCI                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
ZICARI, LYNNE                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ZIEL, VALLARY                   WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
ZIELINSKI, BARBARA              CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ZIEMANN, KATHLEEN               ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZIEMBRA, SHARON                 WAGSTAFF & CARTMELL, LLP 4740 GRAND AVE., SUITE 300 KANSAS CITY MO 64112
ZIEMER, MELISSA                 THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ZIER, KAREN                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZILAFRO, CYNTHIA                LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ZILAFRO, CYNTHIA                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660


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                                       LTL Management LLC
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Claim Name                       Address Information
ZILIO, LINDA                    NAPOLI SHKOLNIK, PLLC 400 BROADHOLLOW, SUITE 305 BERMAN, W. STEVEN MELVILLE NY
                                11747
ZILLMER, JEANNINE               THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ZIMBARDI, SHERRY                ROSS FELLER CASEY, LLP ONE LIBERTY PLACE, 1650 MARKERT STREET, STE 3450 ROSS,
                                ROBERT FELLER, JOEL CASEY PHILADELPHIA PA 19103
ZIMBARDI, SHERRY                MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN 800 S. GAY ST STE 1100 LAURA WELLING
                                KNOXVILLE TN 37929
ZIMMER, PAMELA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ZIMMERMAN, BARBARA              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ZIMMERMAN, EVELYN               FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ZIMMERMAN, HONG                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ZIMMERMAN, HONG                 LEVIN SIMES LLP 1700 MONTGOMERY ST STE 250 BAUTIA II, JUAN P. SAN FRANCISCO CA
                                94111
ZIMMERMAN, JUDY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZIMMERMAN, LISA                 MUELLER LAW PLLC 404 W. 7TH STREET MUELLER, MARK R. AUSTIN TX 78701
ZIMMERMAN, MARILYNNE            FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ZIMMERMAN, RITA                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ZIMMERMAN, SANDRA               EICHEN, CRUTCHLOW, ZASLOW & MCELROY, LLP EICHEN, BARRY R. - KELLY, JOHN P - 40
                                ETHEL ROAD EDISON NJ 08817
ZIMMERMAN, SHIRLEY              FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ZIMMERMAN, SUZANNE              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZIMMERMAN, SUZANNE              THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ZIMMERMAN, SUZANNE              PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ZIMO, HEATHER                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ZINDA, ELIZABETH                JASON J. JOY & ASSCIATES P.L.L.C. 909 TEXAS STREET, SUITE 1801 HOUSTON TX
                                77002
ZINGARELLI, DONNA               JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ZINGONE, JOANN                  HOLLAND LAW FIRM 300 N. TUCKER BLVD., SUITE 801 HOLLAND, ERIC D. ST. LOUIS MO
                                63101
ZINGONE, JOANN                  SKIKOS, CRAWFORD, SKIKOS & JOSEPH ONE SANSOME ST., SUITE 2830 SAN FRANCISCO CA
                                94104
ZINK, KIMBERLY                  SIMMONS HANLY CONROY ONE COURT STREET WILLIAMS, ANDY S. ALTON IL 62002
ZINK, TERESA                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZINKHAN, SUSANNA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ZINN, DIANE                     FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ZINNECKER, LINDA                GORI JULIAN & ASSOCIATES, P.C. 156 N. MAIN STREET MATHEWS, D. TODD
                                EDWARDSVILLE IL 62025
ZIRBEL, DIANNE                  POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
ZIRIADA, ALICE                  WILLIAMS HART LAW FIRM 8441 GULF FREEWAY, SUITE 600 BRAHMBHATT, SEJAL K
                                BOUNDAS, JOHN T. HOUSTON TX 77017
ZIRKLE, BRENDA                  FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098


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Claim Name                       Address Information
ZIRKLE, KAREN                   DAVIS, BETHUNE & JONES, L.L.C. 1100 MAIN STREET, SUITE 2930 DAVIS, GRANT L.
                                KANSAS CITY MO 64196
ZIRPOLO, PATRICIA               BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ZITELLA, DIANA                  THE SIMON LAW FIRM, PC 800 MARKET STREET, SUITE 1700 ST. LOUIS MO 63101
ZITMAN, GLORIA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ZITOLI, MARIA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ZOELLER, CYNTHIA                KIESEL LAW, LLP 8648 WILSHIRE BLVD. KIESEL, PAUL R. BEVERLY HILLS CA 90211
ZOLL, BONNIE                    ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZOLONOWSKI, GERALDINE           CELLINO & BARNES, P.C. 2500 MAIN PLACE TOWER WILLIAMS, MICHAEL J. BUFFALO NY
                                14202-3725
ZORN, ANGELA                    ASHCRAFT & GEREL 8280 WILLOW OAKS CORP DR. STE 600 PARENT, GREGORY J.; VASSIL,
                                EMILY FAIRFAX VA 22031
ZORN, ANGELA                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ZORNES, KAREN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZORNES, KAREN                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ZOU, CHUNYE                     ARNOLD & ITKIN LLP K ARNOLD, J ITKIN, N WEXLER 6009 MEMORIAL DRIVE HOUSTON TX
                                77007
ZOUCHA, SUSAN                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZUBEN, DONNA                    LENZE LAWYERS, PLC 1300 HIGHLAND AVENUE, SUITE 207 MANHATTAN BEACH CA 90266
ZUBEN, DONNA                    ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO, DAVIS, INC. 19 CORPORATE PLAZE DRIVE
                                ROBINSON, JR., MARK P. LU NEWPORT BEACH CA 92660
ZUCATI, MICHELLE                BURNS CHAREST LLP 365 CANAL STREET, SUITE 1170 COX, SPENCER M. NEW ORLEANS LA
                                70130
ZUCCONI, LAUREN                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ZUCHOWSKI, KAREN                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ZUCHOWSKI, KAREN                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZUCHOWSKI, KAREN                THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ZUCHOWSKI, KAREN                PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
ZUCK, CLARA                     ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZUCKER, DONNA                   GOLOMB & HONIK, PC 1515 MARKET ST., SUITE 1100 STANOCH, DAVID J. PHILADELPHIA
                                PA 19102
ZUCKER, DONNA                   BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ZUCKER, DONNA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZUCKER, DONNA                   THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ZUCKER, DONNA                   PORTER & MALOUF, PA P.O. BOX 12768 JACKSON MS 39236-2768
ZUFFOLETTO, JULES               POTTS LAW FIRM 3737 BUFFALO SPEEDWAY, SUITE 1900 HOUSTON TX 77098
ZULAICA, ANDREA                 JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ZUMBRINK, UZMA                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ZUMBRUN, SHIRLEY                ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZUMTOBEL, LINDA                 FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ZUNIGA, JIMMY                   NAPOLI SHKOLNIK C/O PAUL J. NAPOLI 270 MUNOZ RIVERA AVE., SUITE 201 HATO REY
                                PR 00918


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                                       LTL Management LLC
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Claim Name                       Address Information
ZUNIGA, LISHA                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZUNIGA, MONICA                  FEARS NACHAWATI LAW FIRM LUFF, PATRICK RAGGIO, JOHN 5473 BLAIR ROAD DALLAS TX
                                75231
ZUNIGA, ROSA                    JOHNSON LAW GROUP ADHAM, BASIL 2925 RICHMOND AVENUE, SUITE 1700 HOUSTON TX
                                77098
ZUNT, REBECCA                   FLETCHER V. TRAMMELL 3262 WESTEIMER, SUITE 423 HOUSTON TX 77098
ZURBOLA, JUDITH                 NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP 3500 SUNRISE HIGHWAY, SUITE T-207
                                BERMAN, W. STEVE GREAT RIVER NY 11739
ZURCHER, SUSAN                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104
ZURLIGEN, GRETCHEN              ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZUROWSKI, MICHELLE              GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ZURSTADT, BARBARA               GOLOMB & HONIK, P.C. 1835 MARKET STREET, SUITE 2900 PHILADELPHIA PA 19103
ZUZNIS, JOYCE                   ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZWALD, KATHY                    JOHNSON LAW GROUP 2925 RICHMOND AVENUE, SUITE 1700 ADHAM, BASIL HOUSTON TX
                                77098
ZWALLY, DOROTHY                 ONDERLAW, LLC 110 E. LOCKWOOD, 2ND FLOOR ST. LOUIS MO 63119
ZWALLY, DOROTHY                 THE SMITH LAW FIRM, PLLC 300 CONCOURSE BLVD SUITE 104 RIDGELAND MS 39157
ZWALLY, DOROTHY                 PORTER & MALOUF, PA P.O. BOX 12768 GIVENS, JOHN T. JACKSON MS 39236-2768
ZWAYER, JENNIFER                THE MILLER FIRM, LLC 108 RAILROAD AVE. SELDOMRIDGE, JEFF T. MILLER, MICHAEL J.
                                ORANGE VA 02296
ZWERNER, CYNTHIA                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C. 218 COMMERCE STREET
                                MEADOWS, TED G. MONTGOMERY AL 36104




                         Total Creditor count 43055




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